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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE

                                                                    Chapter 11
In re
                                                                    Case No.: 19-10210 (LSS)
                                            1
CR Holding Liquidating, Inc., et al.,
                                                                    (Jointly Administered)
                               Debtors.



                                                AFFIDAVIT OF SERVICE



STATE OF NEW YORK                      )
                                       )    ss:
COUNTY OF KINGS                        )

I, Jennifer S. Goode, declare:

          1.       I am over the age of 18 years and not a party to these chapter 11 cases.

          2.       I am employed by Donlin, Recano & Company, Inc., (“DRC”), 6201 15th Avenue,
                   Brooklyn, NY 11219.

          3.       On the 30th day of March, 2023, DRC, at my direction and under my supervision, caused
                   a true and accurate copy of the Motion of the Debtors for Entry of Orders (I) Establishing
                   dismissal procedures, (II) Authorizing dismissal of the Debtors’ Chapter 11 Cases, (III)
                   Authorizing Sale of Remnant Assets, (IV) Permitting offset of Further Fees under 28
                   U.S.C. § 1930 (a) (6) against overpayments and (V) Granting related relief (Docket No.
                   1778), to be served via electronic mail upon the parties as set forth on Exhibit 1; and via
                   U.S. First Class Mail upon the parties as set forth on Exhibit 2, attached hereto.

          4.       On the 31st day of March, 2023, DRC, at my direction and under my supervision, caused a
                   true and accurate copy of the Motion of the Debtors for Entry of Orders (I) Establishing
                   dismissal procedures, (II) Authorizing dismissal of the Debtors’ Chapter 11 Cases, (III)
                   Authorizing Sale of Remnant Assets, (IV) Permitting offset of Further Fees under 28
                   U.S.C. § 1930 (a) (6) against overpayments and (V) Granting related relief (Docket No.
                   1778), to be served via U.S. First Class Mail upon the parties as set forth on Exhibit 3,
                   attached hereto.




1
   The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: CR Holding
Liquidating Inc. (f/k/a Charlotte Russe Holding Inc.) (4325); CR Holdings Liquidating Corporation (f/k/a Charlotte Russe Holdings
Corporation) (1045); CR Intermediate Liquidating Corporation (f/k/a Charlotte Russe Intermediate Corporation) (6345); CR
Enterprise Liquidating, Inc. (f/k/a Charlotte Russe Enterprise, Inc.) (2527); CR Liquidating, Inc. (f/k/a Charlotte Russe, Inc.)
(0505); CR Merchandising Liquidating, Inc. (f/k/a Charlotte Russe Merchandising, Inc.) (9453); and CR Administration
Liquidating, Inc. (f/k/a Charlotte Russe Administration, Inc.) (9456). The Debtors’ mailing address is 3111 Camino Del Rio N.
Suite 400, San Diego, CA 92108.
CR00264
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I declare under penalty of perjury that the foregoing is true and correct to the best of my personal knowledge.
Executed this 6th day of April, 2023, Brooklyn, New York.




                                                                By
                                                                        Jennifer S. Goode

Sworn before me this
6th day of April, 2023



      Notary Public




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.




                         EXHIBIT 1
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000057P001-1409S-265                       000040P001-1409S-265                               000062P001-1409S-265                       000149P001-1409S-265
505 SONOMA CORP DBA GIC                    ANAN ENTERPRISE INC DBA SARAH                      ANDREW S CONWAY,ESQ                        ASHBY & GEDDES PA
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000149P001-1409S-265                       000070P001-1409S-265                               000070P001-1409S-265                       000082P001-1409S-265
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000112P001-1409S-265                       000112P001-1409S-265                               000108P002-1409S-265                       000108P002-1409S-265
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000092P001-1409S-265                       000092P001-1409S-265                               000148P001-1409S-265                       000130P001-1409S-265
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000004P001-1409S-265                       000047P001-1409S-265                               000032P001-1409S-265          000050P001-1409S-265
DELAWARE SECRETARY OF STATE                DOUBLE H SOURCING                                  EAST LION CORP                ELLA L CLOTHING INC
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000145P001-1409S-265                    000045P001-1409S-265                                 000124P001-1409S-265                        000125P001-1409S-265
JONES DAY                               JP ORIGINAL CORP                                     K & L GATES LLP                             K & L GATES LLP
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                                                     Case 19-10210-LSSCharlotte
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000027P001-1409S-265                                 000106P001-1409S-265                                 000106P001-1409S-265                                 000003P003-1409S-265
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DEB SECREST,AUTHORIZED AGENT                         CAROL E MOMJIAN, SENIOR DEP ATTORNEY GENERAL         DOUGLAS D HERRMANN; MARCY J MCLAUGHLIN               DOUGLAS D HERRMANN; MARCY J MCLAUGHLIN
OFFICE OF UNEMPLOYMENT COMPENSATION TAX SERVICES     OFFICE OF THE ATTORNEY GENERAL                       HERCULES PLAZA STE 5100                              HERCULES PLAZA STE 5100
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000083P001-1409S-265                                 000084P001-1409S-265                                 000085P001-1409S-265                                 000139P001-1409S-265
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000141P001-1409S-265                                 000141P001-1409S-265                                 000141P001-1409S-265                                 000043P001-1409S-265
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000054P001-1409S-265                     000128P002-1409S-265                                000058P002-1409S-265                        000052P002-1409S-265
PRODUCT DEVELOPMENT INTL.                Perkins Coie LLP                                    R AHN                                       RHAPSODY CLOTHING INC DBA
SANDY                                    Brian Audette                                       CHEYRIN CINDY PARK                          PEARL SHINN
1350 BROADWAY                            131 S. Dearborn Street Suite 1700                   5801 E WASHINGTON BLVD                      9885 Novara Lane
STE 601                                  Chicago IL 60603-5559                               COMMERCE CA 90040-2323                      CYPRESS CA 90630
NEW YORK NY 10018                        baudette@perkinscoie.com                            BELLABETTYFASHION@GMAIL.COM                 bryan.k@rhapsodyclothing.com
SANDY@PDIFASHION.COM


000028P002-1409S-265                     000028P002-1409S-265                                000089P001-1409S-265                        000132P001-1409S-265
RICHARDS LAYTON & FINGER PA              RICHARDS LAYTON & FINGER PA                         ROBINSON BROG LEINWAND GREENE ET AL         SAUL EWING ARNSTEIN & LEHR LLP
MARK D COLLINS;BRETT M HAYWOOD           MARK D COLLINS;BRETT M HAYWOOD                      FRED B RINGEL                               Mark Minuti
ONE RODNEY SQUARE                        ONE RODNEY SQUARE                                   875 THIRD AVE.,9TH FLOOR                    1201 N. Market Street, Suite 2300
920 NORTH KING STREET                    920 NORTH KING STREET                               NEW YORK NY 10022                           P.O. Box 1266
WILMINGTON DE 19801                      WILMINGTON DE 19801                                 FBR@ROBINSONBROG.COM                        WILMINGTON DE 19899-1266
COLLINS@RLF.COM                          HAYWOOD@RLF.COM                                                                                 mark.minuti@saul.com


000015P001-1409S-265                     000016P001-1409S-265                                000017P001-1409S-265                        000034P001-1409S-265
SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION                  SECURITIES AND EXCHANGE COMMISSION          SHANTEX GROUP LLC
NY REG OFFICE BANKRUPTCY DEPT            SEC OF THE TREASURY OFFICE OF GEN COUNSEL           PHIL OFC BANKRUPTCY DEPT                    DAVID ORLAND
BROOKFIELD PL                            100 F ST NE                                         ONE PENN CTR                                530 7TH AVE
200 VESEY ST STE 400                     WASHINGTON DC 20549                                 1617 JFK BLVD STE 520                       STE 703
NEW YORK NY 10281-1022                   SECBANKRUPTCY@SEC.GOV                               PHILADELPHIA PA 19103                       NEW YORK NY 10018
NYROBANKRUPTCY@SEC.GOV                                                                       SECBANKRUPTCY@SEC.GOV                       DAVID@SHANTEX.US


000158P001-1409S-265                     000060P001-1409S-265                                000071P001-1409S-265                        000079P001-1409S-265
SHI & ASSOCIATES                         SIMON PROPERTY GROUP LP                             SINGER & LEVICK PC                          SITE CENTERS CORP
BO SHI,ESQ                               RONALD M TUCKER, ESQ                                MICHELLE E SHRIRO,ESQ                       ERIC C COTTON,ESQ
401 BROADWAY STE 409                     225 WEST WASHINGTON ST                              16200 ADDISON ROAD STE 140                  3300 ENTERPRISE PARKWAY
NEW YORK NY 10013                        INDIANAPOLIS IN 46204                               ADDISON TX 75001                            P O BOX 228042
SHIATTORNEY@YAHOO.COM                    RTUCKER@SIMON.COM                                   MSHRIRO@SINGERLEVICK.COM                    BEACHWOOD OH 44122
                                                                                                                                         ECOTTON@SITECENTERS.COM


000110P001-1409S-265                     000110P001-1409S-265                                000135P001-1409S-265                        000090P001-1409S-265
SOLOMON WARD SEIDENWURM & SMITH LLP      SOLOMON WARD SEIDENWURM & SMITH LLP                 SOUTH MILHAUSEN, P.A.                       SPECTOR & JOHNSON PLLC
MICHAEL D BRESLAUER,ESQ                  MICHAEL D BRESLAUER,ESQ                             Jon E. Kane, Esq.                           HOWARD MARC SPECTOR
401 B STREET STE 1200                    401 B STREET STE 1200                               Gateway Center                              12770 COIT ROAD STE 1100
SAN DIEGO CA 92101                       SAN DIEGO CA 92101                                  1000 Legion Place, Ste. 1200                DALLAS TX 75251
MBRESLAUER@SWSSLAW.COM                   WYONES@SWSSLAW.COM                                  ORLANDO FL 32801                            HMSPECTOR@SPECTORJOHNSON.COM
                                                                                             jkane@southmilhausen.com


000144P002-1409S-265                     000144P002-1409S-265                                000157P001-1409S-265                        000121P001-1409S-265
SULLIVAN HAZELTINE ALLINSON LLC          SULLIVAN HAZELTINE ALLINSON LLC                     SULMEYERKUPETZ, A PROFESSIONAL CORP         THE COUNTY OF LOUDOUN
WILLIAM D SULLIVAN;WILLIAM A HAZELTINE   WILLIAM D SULLIVAN;WILLIAM A HAZELTINE              ELISSA D MILLER                             STEVEN F JACKSON, ASST COUNTY ATTORNEY
919 NORTH MARKET ST.,STE 420             919 NORTH MARKET ST.,STE 420                        CHAPTER 7 TRUSTEE FOR JESSMYN IN USA CORP   ONE HARRISON ST S.E.,5TH FLOOR
WILMINGTON DE 19801                      WILMINGTON DE 19801                                 333 SOUTH GRAND AVE.,STE 3400               P O BOX 7000
WHAZELTINE@SHA-LLC.COM                   BSULLIVAN@SHA-LLC.COM                               LOS ANGELES CA 90071                        LEESBURG VA 20177-7000
                                                                                             EMILLER@SULMEYERLAW.COM                     STEVE.JACKSON@LOUDOUN.GOV
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THE ROSNER LAW GROUP LLC           THE ROSNER LAW GROUP LLC                            THE SARACHEK LAW FIRM                        THE VINTAGE SHOP
FREDERICK ROSNER ; JASON GIBSON    FREDERICK ROSNER ; JASON GIBSON                     JOSEPH E SARACHEK, ESQ                       AUSTIN KIM DANNY SHIN
824 N MARKET ST STE 810            824 N MARKET ST STE 810                             101 PARK AVE.,27TH FLOOR                     MSK APPAREL INC
WILMINGTON DE 19801                WILMINGTON DE 19801                                 NEW YORK NY 10178                            1015 S CROCKER ST #R-14
ROSNER@TEAMROSNER.COM              GIBSON@TEAMROSNER.COM                               JOE@SARACHEKLAWFIRM.COM                      LOS ANGELES CA 90021
                                                                                                                                    AUSTIN4778@HOTMAIL.COM


000055P001-1409S-265               000154P001-1409S-265                                000038P001-1409S-265                         000081P002-1409S-265
THE VINTAGE SHOP                   TN DEPT OF REVENUE                                  TOPSON DOWNS LOVE FIRE                       TX-COMPTROLLER OF PUBLIC ACCOUNTS
AUSTIN KIM DANNY SHIN              TN ATTORNEY GENERAL'S OFFICE, BANKRUPTCY DIVISION   DANIEL ABRAMOVITCH                           CHRISTOPHER S MURPHY
MSK APPAREL INC                    PO BOX 20207                                        3840 WATSEKA VAE                             ASSISTANT ATTORNEY GENERAL
1015 S CROCKER ST #R-14            NASHVILLE TN 37202-0207                             CULVER CITY CA 90232                         BANKRUPTCY & COLLECTIONS DIV MC 008
LOS ANGELES CA 90021               AGBANKDELAWARE@AG.TN.GOV                            DANIELABRAMOVITCH@TOPSONDOWNS.COM            P O BOX 12548
DANNY_VINTAGESHOP@HOTMAIL.COM                                                                                                       AUSTIN TX 78711-2548
                                                                                                                                    BK-CMURPHY@OAG.TEXAS.GOV

000155P001-1409S-265               000005P001-1409S-265                                000031P001-1409S-265                         000143P001-1409S-265
U.S. DEPARTMENT OF JUSTICE         US ATTORNEY FOR DELAWARE                            VALUELINE GROUP CO LTD                       VANDERBURGH COUNTY TREASURER
ARI D KUNOFSKY                     CHARLES OBERLY ELLEN SLIGHTS                        DAVID WANG                                   BANKRUPTCY CLERK
TRIAL ATTORNEY, TAX DIVISION       1007 N ORANGE ST                                    FL 7 HUATIAN BLDG NO                         ROOM #210 CIVIC CENTER COMPLEX
P O BOX 227                        STE 700                                             18 HOUJIE BLVD S HOUJIE TOWN DONGGUAN CITY   I NW MARTIN LUTHER KING JR.,BLVD
WASHINGTON DC 20044                WILMINGTON DE 19801                                 GUANGDONG PROVINCE 523960                    EVANSVILLE IN 47708-1882
ARI.D.KUNOFSKY@USDOJ.GOV           USADE.ECFBANKRUPTCY@USDOJ.GOV                       CHINA                                        TREASURER@VANDERBURGHGOV.ORG
                                                                                       DAVID@TOPGLORYFOOTWEAR.COM

000033P001-1409S-265               000046P001-1409S-265
VEN BRIDGE CO LTD                  ZHENGPENG TRADE CO LTD
SEAN GOGARTY                       SUNNY
35TH FL NO 96                      RM 502 BLDG 2 HETONG JIN YUAN
EAST ZHUANXING RD                  QN FEN RD
SHANGHAI                           WENZHOU
CHINA                              CHINA
SPGTEXTILES@GMAIL.COM              SUNNY.ZHENGPENG@GMAIL.COM




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000013P001-1409S-265               000023P001-1409S-265                        000151P001-1409S-265                     000086P001-1409S-265
ARIZONA ATTORNEY GENERALS OFFICE   BANK OF AMERICA MERRILL LYNCH               CHATHAM COUNTY TAX COMMISSIONER          CLARK HILL PLC
PO BOX 6123                        MATTHEW POTTER                              THERESA C HARRELSON                      DAVID M BLAU,ESQ
MD 7611                            100 FEDERAL STREET                          POST OFFICE BOX 8324                     151 S OLD WOODWARD AVE STE 200
PHOENIX AZ 85005-6123              BOSTON MA 02110                             SAVANNAH GA 31412-8324                   BIRMINGHAM MI 48009




000006P001-1409S-265               000007P001-1409S-265                        000114P001-1409S-265                     000048P001-1409S-265
DELAWARE SECRETARY OF STATE        DELAWARE STATE TREASURY                     DONALD C COWAN JR                        FORTUNE DYNAMIC INC
DIVISION OF CORPORATIONS           BANKRUPTCY DEPT                             1265 SCOTTSVILLE ROAD                    TRACY MAN
401 FEDERAL ST STE 4               820 SILVER LAKE BLVD                        ROCHESTER NY 14624                       21923 FERRERO PKWY
DOVER DE 19901                     STE 100                                                                              CITY OF INDUSTRY CA 91789
                                   DOVER DE 19904



000152P002-1409S-265               000153P001-1409S-265                        000009P001-1409S-265                     000037P001-1409S-265
FOX ROTHSCHILD LLP                 FOX ROTHSCHILD LLP                          FRANCHISE TAX BOARD                      GLOBAL CAPITAL FASHION INC
TERENCE G. BANICH                  JOHNNA M. DARBY                             BANKRUPTCY SECTION MS A 340              SIMON LEUNG
321 N. CLARK ST., SUITE 1600       919 N. MARKET ST., SUITE 300                PO BOX 2952                              247 WEST 35TH ST
CHICAGO IL 60654-4614              WILMINGTON DE 19801                         SACRAMENTO CA 95812-2952                 11 FL FRONT
                                                                                                                        NEW YORK NY 10001



000099P001-1409S-265               000142P002-1409S-265                        000127P001-1409S-265                     000097P001-1409S-265
GOLDBERG WEPRIN ET AL              HINDS & SHANKMAN LLP                        IBM CORP                                 IMPERIAL COUNTY TREASURER
NEAL M. ROSENBLOOM, ESQ.           21257 HAWTHORNE BLVD.,2ND FLOOR             MARIE-JOSEE DUBE                         TAX COLLECTOR
1501 BROADWAY 22ND FL              TORRANCE CA 90503                           275 VIGER EAST                           KAREN VOGEL
NEW YORK NY 10004                                                              MONTREAL QC H2X 3R7                      940 WEST MAIN STREET
                                                                               CANADA                                   SUITE 106
                                                                                                                        EL CENTRO CA 92243


000001P001-1409S-265               000002P001-1409S-265                        000073P001-1409S-265                     000102P001-1409S-265
INTERNAL REVENUE SVC               INTERNAL REVENUE SVC                        LECLAIRRYAN PLLC                         LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
CENTRALIZED INSOLVENCY OPERATION   CENTRALIZED INSOLVENCY OPERATION            NICLAS A FERLAND;ILAN MARKUS             DIANE WADE SANDERS
PO BOX 7346                        2970 MARKET ST                              545 LONG WHARF DRIVE,9TH FLOOR           P.O. BOX 17428
PHILADELPHIA PA 19101-7346         MAIL STOP 5 Q30 133                         NEW HAVEN CT 06511                       AUSTIN TX 78760
                                   PHILADELPHIA PA 19104-5016



000119P001-1409S-265               000044P001-1409S-265                        000010P001-1409S-265                     000091P001-1409S-265
MEYERS RODBELL AND ROSENBAUM PA    MEZZANINE USA INC                           MICHIGAN DEPT OF TREASURY TAX POL DIV    MISSOURI DEPARTMENT OF REVENUE
NICOLE C. KENWORTHY                CHRISTOPHER KIM                             LITIGATION LIAISON                       STEVEN A GINTHER
6801 KENILWORTH AVE STE 400        1015 S CROCKER ST R29                       430 WEST ALLEGAN ST                      SPECIAL ASSISTANT ATTORNEY GENERAL
RIVERDALE MD 20737-1385            LOS ANGELES CA 90021                        2ND FL AUSTIN BUILDING                   BANKRUPTCY UNIT
                                                                               LANSING MI 48922                         P O BOX 475
                                                                                                                        JEFFERSON CITY MO 65105-0475


000036P001-1409S-265               000056P001-1409S-265                        000042P002-1409S-265                     000150P001-1409S-265
REALPLAY CORP DBA RIPLAY INC       REGENT SUTTON LLC                           SAMIL SOLUTION                           SAN DIEGO COUNTY TREASURER-TAX COLLECTOR
MARK HSIA                          AVI COHEN                                   PAUL KANG                                DAN MCALLISTER,TREASURER-TAX COLLECTOR
18350 SAN JOSE AVE                 1411 BROADWAY                               6F RIO BLDG 790-2 YEOKSAM                BANKRUPTCY DESK
CITY OF INDUSTRY CA 91748          8TH FL                                      SEOUL 06248                              1600 PACIFIC HIGHWAY, ROOM 162
                                   NEW YORK NY 10018                           KOREA                                    SAN DIEGO CA 92101
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000012P001-1409S-265                      000011P001-1409S-265
SOCIAL SECURITY ADMINISTRATION            US EPA REG 3 OFFICE OF REG COUNSEL
OFFICE OF THE GEN COUNSEL REGION 3        BANKRUPTCY DEPT
300 SPRING GARDEN ST                      1650 ARCH ST
PHILADELPHIA PA 19123                     PHILADELPHIA PA 19103




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037403P001-1409A-265                036349P001-1409A-265                         036349S001-1409A-265                         031698P001-1409A-265
LA CANTERA RETAIL LP                1 800 GOT JUNK                               1 800 GOT JUNK                               1-800-GOT -JUNK?
AKA THE SHOPS AT LA CANTERA         DEPT 3419                                    301 877 GREAT NORTHERN WAY                   1-800-GOT -JUNK? COMMERCIAL SE
BROOKFIELD PROPERTY REIT INC        PO BOX 123419                                VANCOUVER BC V5T4T5                          LLOYD PARK
350 N ORLEANS ST STE 300            DALLAS TX 75312-3419                                                                      DEPT 3419 PO BOX 123419
CHICAGO IL 60654-1607                                                                                                         DALLAS TX 75312-3419



034372P001-1409A-265                031154P001-1409A-265                         033549P001-1409A-265                         034702P001-1409A-265
1-800-GOT -JUNK? COMMERCIAL SERVI   1420 N PARHAM ROAD LLC                       1700 OVI+A2A3EDO MARKETPLACE BLVD            1900 BRYANT STREET INVESTORS LLC
DEPT 3419                           REGENCY SQUARE MALL                          HOLDINGS LLC                                 BRYANT STREET INVESTORS LLC
PO BOX 123419                       MALL MANAGEMENT OFFICE                       701 13TH ST NW                               BRYANT STREET MANAGEMENT CO INC
DALLAS TX 75312-3419                1420 N PARHAM RD                             STE 1000                                     2352 POST ST
                                    RICHMOND VA 23229                            WASHINGTON DC 20005                          STE 200
                                                                                                                              SAN FRANCISCO CA 94115


036860P001-1409A-265                031155P001-1409A-265                         034408P001-1409A-265                         031699P002-1409A-265
1900 BRYANT STREET INVESTORS LLC    1900 BRYANT STREET INVESTORS, LLC            1900 BRYANT STREET INVESTORS, LLC            1903 SOLUTIONS LLC
BRYANT STREET MANAGEMENT CO INC     1900 BRYANT STREET INVESTORS                 PO BOX 5040                                  LEAH MAURICIO
2352 POST ST STE 200                MICHELLE NOLASCO                             SAN JOSE CA 95150-5040                       2549 EASTBLUFF DR STE 378
SAN FRANCISCO CA 94115              PO BOX 5040                                                                               NEWPORT BEACH CA 92660
                                    SAN JOSE CA 95150-5040



036350P002-1409A-265                034328P001-1409A-265                         037237P001-1409A-265                         037237S001-1409A-265
1903 SOLUTIONS LLC                  2200 NORTH MAPLE AVENUE - 1007128            2200 NORTH MAPLE AVENUE - 10071280 LLC       2200 NORTH MAPLE AVENUE - 10071280 LLC
ALBERT C BRUNELLE                   KEYBANK NATIONAL ASSOCIATION                 PERKINS COIE LLP                             Michael O'Hanlon
2549 EASTBLUFF DR STE 378           8115 PRESTON RD                              CO BRIAN A AUDETTE                           KeyBank National Association, Manager
NEWPORT BEACH CA 92660              STE 500                                      131 S DEARBORN ST STE 1700                   8115 Preston Road, Suite 500
                                    DALLAS TX 75225                              CHICAGO IL 60603                             Dallas TX 75225



030882P001-1409A-265                031156P001-1409A-265                         030682P002-1409A-265                         033550P002-1409A-265
2253 APPAREL INC DBA CELEBRITY      2307 TIPPECANOE MALL                         24 7 CLOTHING INC                            24 SEVEN
GISELA GALDAMEZ                     SIMON PROPERTY GROUP LP                      2253 E WASHINGTON BLVD                       41 MADISON AVE FL 37
PINK /LIVERPOOL                     867731 RELIABLE PKWY                         LOS ANGELES CA 90021-3212                    NEW YORK NY 10010-2257
1708 GAGE RD                        CHICAGO IL 60686-0077
MONTEBELLO CA 90640



037238P001-1409A-265                031700P001-1409A-265                         030683P001-1409A-265                         036147P001-1409A-265
24 SEVEN LLC                        24SEVEN, LLC                                 26 INTERNATIONAL INC                         26 INTERNATIONAL INC
EVAN LUPION                         PO BOX 5786                                  BETH CRUZ                                    1500 S GRIFFITH AVE
105 MAXESS RD                       HICKSVILLE NY 11802-5786                     1500 S GRIFFITH AVE                          LOS ANGELES CA 90021
SUITE 201                                                                        LOS ANGELES CA 90021
MELVILLE NY 11747



035352P001-1409A-265                010028P001-1409A-265                         031157P001-1409A-265                         010142P001-1409A-265
3 FACTOR LLC                        370MO BOTTOM RDTAUSSIG RDTD                  3917 WEST RIDGE MALL, LLC                    39TH ST TRANSPORTATION DEV DIS
SPYRO MALASPINAS                    DIRECTOR OF FINANCE                          32824 COLLECTION CTR DR                      CITY OF INDEPENDENCE FINANCE
4939 W RAY RD SUITE 4-217           415 ELM GROVE LN                             CHICAGO IL 60693-0328                        DEPARTMENT PO BOX 1019
CHANDLER AZ 85226                   HAZELWOOD MO 63042                                                                        INDEPENDENCE MO 64050-0519
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031701P001-1409A-265                    037239P001-1409A-265                      031702P001-1409A-265                      030684P001-1409A-265
3GS CONSULTING LLC                      3K TECHNOLOGIES LLC                       3K TECHNOLOGIES, LLC                      4 WHAT ITS WORTH, INC
JUDSON C GROSHONG                       3K TECHNOLOGIES LLC                       PURNIMA KULKARNI                          JAMIE RUSSI
JUDSON GROSHONG                         1114 CADILLAC CT                          3K TECHNOLOGIES LLC                       5815 SMITHWAY ST
33 WOODHILL DR                          MILPITAS CA 95035                         1114 CADILLAC CT                          COMMERCE CA 90040
REDWOOD CITY CA 94061                                                             MILPITAS CA 95035



034301P001-1409A-265                    031158P001-1409A-265                      031159P001-1409A-265                      031160P001-1409A-265
4 WHAT ITS WORTH, INC                   4536 WHITE OAKS MALL LP                   4645 FASHION VALLEY MALL, LLC             4832 SIMON PROPERTY GROUP, INC
5815 SMITHWAY ST                        WHITE OAKS MALL LP                        PO BOX 53271                              3788 PAYSPHERE CIR
COMMERCE CA 90040                       3392 PAYSPHERE CIR                        LOS ANGELES CA 90074-3271                 CHICAGO IL 60674
                                        CHICAGO IL 60674




031160S001-1409A-265                    034144P001-1409A-265                      033363P001-1409A-265                      030793P001-1409A-265
4832 SIMON PROPERTY GROUP, INC          4925 MAYFLOWER SQUARE ONE, LLC            5 STAR APPAREL - VIGOSS GIRL              505 SONOMA CORP
SIMON PROPERTY GROUP LP                 14169 COLLECTIONS CTR DR                  BARBARA VARNHAGEN                         DBA GIC INTERNATIONAL
RONALD M TUCKER ESQ                     CHICAGO IL 60693                          31 W 34TH ST                              KEVIN PAN
225 WEST WASHINGTON ST                                                            4TH FLOOR                                 3812 SEBASTOPOL RD
INDIANAPOLIS IN 46204                                                             NEW YORK NY 10001                         SANTA ROSA CA 95407



037419P001-1409A-265                    036148P001-1409A-265                      036148S001-1409A-265                      033241P001-1409A-265
505 SONOMA CORP DB GIC INTERNATIONAL    505 SONOMA CORP DBA GIC                   505 SONOMA CORP DBA GIC                   5TH AVENUE PARTNERS
LEE STERLING ALD                        3812 SEBASTOPOL RD                        BARNES AND THORNBURG LLP                  SE SAN DIEGO HOTEL (NEGOTIATED HOTEL RATES)
505 SONOMA CORP DBA GIC INTERNATIONAL   SANTA ROSA CA 95407                       DAVID M POWLEN KEVIN G COLLINS            1047 5TH AVE
3812 SEBASTOPOL RD                                                                222 DELAWARE AVENUE                       SAN DIEGO CA 92101
SANTA ROSA CA 95407                                                               SUITE 1200
                                                                                  WILMINGTON DE 19801


031161P001-1409A-265                    031162P001-1409A-265                      034472P001-1409A-265                      030685P001-1409A-265
7607-WOODLAND HILLS MALL LLC            7703 KING OF PRUSSIA-THE PLAZA            7712-LEHIGH VALLEY ASSOCIATES             8 OAK LANE LLC DBA SHADE CRITT
7693 COLLECTIONS CTR DR                 KING OF PRUSSIA-THE PLAZA                 PO BOX 829428                             3601 SE OCEAN BLVD
CHICAGO IL 60693                        PO BOX 829412                             PHILADELPHIA PA 19182-9446                #103
                                        PHILADELPHIA PA 19182-9412                                                          SEWALL'S POINT FL 34996




030883P001-1409A-265                    031703P001-1409A-265                      031163P001-1409A-265                      037535P001-1409A-265
8 STAR APPAREL INC                      8 X 8 INC                                 8544FLORIDA MALL ASSOC, LTD               A
MARK TUNNELL                            2125 O'NEL DR                             FLORIDA MALL ASSOCIATES LTD               1
1514 S EASTERN AVE                      SAN JOSE CA 95131                         PO BOX 406360                             MURFREESBORO TN 37130-8611
COMMERCE CA 90040                                                                 ATLANTA GA 30384-6360                     UNITED STATES




037536P001-1409A-265                    037537P001-1409A-265                      031704P001-1409A-265                      036351P001-1409A-265
A                                       A                                         A AND E PRODUCTS GROUP                    A AND E PRODUCTS GROUP
1                                       1                                         NOEL WALDRON                              MAINETTI USA INC
GARDENA CA 90248                        NEW YORK NY 10018                         DEPT # 40190                              DEPT AT 40190
US                                      UNITED STATES                             ATLANTA GA 31192-0190                     ATLANTA GA 31192-0190
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031705P001-1409A-265             030768P001-1409A-265                      034219P003-1409A-265                      036352P001-1409A-265
A AND G REALTY PARTNERS, LLC     A AND O LOGISTICS LLC                     A AND O LOGISTICS LLC                     A AND O LOGISTICS LLC
445 BROADHOLLOW RD               JEREMY KARLOVITS                          CORAL KENOLIO                             PO BOX 936694
STE 410                          2280 ENRICO FERMI DR STE 27               2280 ENRICO FERMI DR STE 23               ATLANTA GA 31193-6694
MELVILLE NY 11747                SAN DIEGO CA 92154                        SAN DIEGO CA 92154




033777P001-1409A-265             031165P001-1409A-265                      030884P001-1409A-265                      030686P001-1409A-265
A M SACCULLO LEGAL LLC           A-L 95 CREEKSIDE TC PHASE 2 LP            A3 DESIGN                                 AA FASHION INC
27 CRIMSON KING DR               8827 W SAM HOUSTON PKWY N                 SK GRAPHICS INC                           DALE DISCHNER
BEAR DE 19701                    STE 200                                   STEVEN AHN                                2741 E ALAMEDA ST
                                 HOUSTON TX 77040                          1612 E 14TH ST                            LOS ANGELES CA 90058
                                                                           LOS ANGELES CA 90021



036149P001-1409A-265             009939P001-1409A-265                      005437P001-1409A-265                      006990P001-1409A-265
AA FASHION INC                   AASD TAX OFFICE                           DEBRA I ABANIKANDA                        DANIELA L ABARCA
2741 E ALAMEDA ST                200R E CRAWFORD AVE                       1167 WILLMOHR ST                          7 VAN NESS ST
LOS ANGELES CA 90058             ALTOONA PA 16602                          APT 2F                                    NORWALK CT 06850
                                                                           BROOKLYN NY 11212




007001P001-1409A-265             004000P001-1409A-265                      008182P001-1409A-265                      002671P001-1409A-265
ARIBA ABBASI                     DAEZSHA D ABBOTT                          MAURICE ABBOTT                            EMILY F ABDENOUR
605 GLENWOOD LN                  1903 N LINCOLN AVE                        5059 S 76TH E AVE #B                      4907 UXTON CT
LOMBARD IL 60148                 118                                       TULSA OK 74145                            STERLING HEIGHTS MI 48310
                                 URBANA IL 61801




036500P001-1409A-265             000571P001-1409A-265                      001780P001-1409A-265                      008686P001-1409A-265
FARAH ABDOU                      YASMINE Y ABDOUNI                         SHAYMAA H ABDRABOU                        EMI O ABEGUNDE
10848 GLEN COVE CIR APT 208      5927 BLACK OAK DR                         220 NE 12TH AVE                           3814 GREAT FALLS CT
ORLANDO FL 32817                 TOLEDO OH 43615                           LOT 48                                    IRVING TX 75062
                                                                           HOMESTEAD FL 33030




009109P001-1409A-265             009009P002-1409A-265                      009514P001-1409A-265                      032812P001-1409A-265
DENISE M ABELLA                  KARINA M ABELLA                           JADEN M ABELS                             ABES TRASH SVC INC
10781 FGCU SOUTH BRIDGE LOOP B   751 DOVER GLEN DR                         412 ELM DR                                8123 CHRISTENSEN LN
FORT MYERS FL 33965              ANTIOCH TN 37013-1863                     SIBLEY IA 51249                           OMAHA NE 68122




006702P001-1409A-265             031706P001-1409A-265                      009870P001-1409A-265                      036354P001-1409A-265
MALEAHA R ABINA                  ABINGTON TOWNSHIP POLICE DEPT             ABINGTON TOWNSHIP TAX COLLECTO            ABLE INDUSTRIAL PRODUCTS INC
11100 N HARRISON ST              CORINNE DORN                              1176 OLD YORK RD                          WAL FAB INC
KC MO 64155                      1166 OLD YORK RD                          ABINGTON PA 19001                         2006 SO BAKER AVE
                                 ABINGTON PA 19001                                                                   ONTARIO CA 91761
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031707P001-1409A-265            003411P001-1409A-265                    037098P001-1409A-265                      031708P001-1409A-265
ABLE INDUSTRIAL PRODUCTS, INC   CHANNING ABLES                          CHANNING DEVIN ABLES                      ABM SYSTEM PARKING
WALFAB INC                      6811 CURRINGTON CIR                     6811 CURRINGTON CIR                       AMPCO SYSTEM PARKING
WILLIAM REDDING                 LOUISVILLE KY 40258                     LOUISVILLE KY 40258                       3000 CHARLESTON TOWN CTR
2006 SO BAKER AVE                                                                                                 CHARLESTON WV 25389-0008
ONTARIO CA 91761



030687P001-1409A-265            036150P001-1409A-265                    005205P001-1409A-265                      005642P001-1409A-265
ABN INC DBA WEAREVER            ABN INC DBA WEAREVER                    ALEXANDRA H ABNEY                         CARMELA ABORDO
GINA BECK                       230 W 39TH ST 5TH FLOOR                 9706 MARBY GRANGE WAY                     309 CATOR AVE
230 W 39TH ST                   NEW YORK NY 10018                       BAKERSFIELD CA 93312                      JERSEY CITY NJ 07305
5TH FL
NEW YORK NY 10018



008703P001-1409A-265            004216P001-1409A-265                    008830P001-1409A-265                      032067P001-1409A-265
ABIR C ABOULHOSN                FUASTINA H ABOUNA                       AIMEE S ABRAHAM                           GREG ABRAHAM
14201 WHIRLAWAY PL              2428 COMMON RD                          58 DUSTMAN LN                             646 KENNEDY ST
MIDLOTHIAN VA 23112             WARREN MI 48092                         BARDONIA NY 10954-2043                    APT 108
                                                                                                                  OAKLAND CA 94606




006857P001-1409A-265            037184P001-1409A-265                    007565P001-1409A-265                      006061P001-1409A-265
ANAILI ABREU                    ASHLEY ABREU                            ASHLEY M ABREU                            EMAN A ABRHAM
12824 SW 28TH ST                ASHLEY M ABREU                          1857 DUNN COVE DR                         33 ILLINOIS AVE
MIRAMAR FL 33027                1857 DUNN COVE DR                       APOPKA FL 32703                           2
                                APOPKA FL 32703                                                                   SOMERVILLE MA 02145




007286P001-1409A-265            031709P001-1409A-265                    003907P001-1409A-265                      032796P001-1409A-265
CARLA ABRIL                     ABSO                                    JACK D ABUDA                              MARY ABUJBARA
5344 GUINEA RD                  STERLING TALENT SOLUTIONS               437 ST FRANCIS BLVD                       21688 GATEWAY CTR DR #125
FAIRFAX VA 22032                PO BOX 35626                            DALY CITY CA 94015                        DIAMOND BAR CA 91765
                                NEWARK NJ 07193-5626




006817P001-1409A-265            031710P001-1409A-265                    034410P002-1409A-265                      031164P001-1409A-265
EMILLY ABUNDIS                  AC PROFESSIONAL HANDYMEN LLC            ACADIANA MALL CMBS LLC                    ACADIANA MALL CMBS, LLC
1811 76TH ST                    JAMES BURBANO                           NAMDAR REALTY GROUP LLC                   PO BOX 5542
BYRON CENTER MI 49315           PO BOX 489                              JOSHUA S HACKMAN                          CAROL STREAM IL 60197-5542
                                SADDLE BROOK NJ 07663                   150 GREAT NECK RD STE 304
                                                                        GREAT NECK NY 11021



034202P001-1409A-265            033484P001-1409A-265                    033525P001-1409A-265                      030885P001-1409A-265
ACADIANA MALL CMBS, LLC         ACCEL NETWORKS LLC                      ACCELA WORLWIDE LOGISTICS INC             ACCENT ACCESSORIES LLC
2030 HAMILTON PL BLVD           ONE ROCKEFELLER PLAZA                   JOSHUA SPRENG                             ANGELO GRILLI
STE 500                         STE 1427                                PO BOX 2037                               DEPT # 100072
CHATTANOOGA TN 37421-6000       NEW YORK NY 10020                       HAGERSTOWN MD 21742                       PO BOX 150468
                                                                                                                  HARTFORD CT 06115-0468
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036355P001-1409A-265          031711P001-1409A-265                   030886P001-1409A-265                       036151P002-1409A-265
ACCENT WIRE PRODUCTS INC      ACCENT WIRE PRODUCTS, INC              ACCESSORIES HOUSE NY                       ACCESSORIES HOUSE NY LLC
PO BOX 207550                 ADSG INC DBA ACCENT WESTERN            ACCESSORIES HOUSE NY LLC                   KELLY CHEUNG
DALLAS TX 75320-7550          ANGELA TAYLOR                          KELLY CHEUNG                               10 W 33RD ST STE 502
                              PO BOX 207550                          10 W33RD ST                                NEW YORK NY 10001
                              DALLAS TX 75320-7550                   STE 502
                                                                     NEW YORK NY 10001


031712P001-1409A-265          035072P001-1409A-265                   036356P001-1409A-265                       033537P001-1409A-265
ACCO ENGINEERED SYSTEMS INC   ACCO ENGINEERED SYSTEMS INC            ACCO ENGINEERED SYSTEMS INC                ACCOUNT CONTROL TECHNOLOGYINC
JAY WARNER                    1133 ALADDIN AVE                       6265 SAN FERNANDO RD                       PO BOX 8012
6265 SAN FERNANDO RD          SAN LEANDRO CA 94577                   GLENDALE CA 91201                          CANOGA PARK CA 91309
GLENDALE CA 91201




031713P001-1409A-265          030887P001-1409A-265                   036152P001-1409A-265                       005794P001-1409A-265
ACCRUENT                      ACE ALLIANCE INC                       ACE ALLIANCE INC                           MADILYN H ACEDO
DEPT 3636                     MARISEL LIGERALDE                      4512 S BROADWAY                            448 ATLAS PEAK
PO BOX 123636                 4512 S BROADWAY                        LOS ANGELES CA 90037                       LAS VEGAS NV 89183
DALLAS TX 75312-3636          LOS ANGELES CA 90037




006097P001-1409A-265          000894P001-1409A-265                   009418P001-1409A-265                       000478P001-1409A-265
ALYSHA M ACEVEDO              ARACELI ACEVEDO                        CHANTAL M ACEVEDO                          REBECA ACEVES
39 CEDAR ST                   COND PARQUE 228 #100                   11813 GROVEVIEW WAY                        857 MARSHALL AVE
2                             CALLE DR VEVE                          SANFORD FL 32773                           APT #5
PATERSON NJ 07501             BAYAMON PR 00961                                                                  ST PAUL MN 55104




005446P001-1409A-265          003290P001-1409A-265                   000889P001-1409A-265                       033433P001-1409A-265
ASHLEY ACHAN                  BROOK ACHESON                          KEISHA M ACHURRA                           ACI WORLDWIDE CORP
424 MORRIS AVE                195 JENKINS RD                         3812 DAIQUIRI CT                           6060 COVENTRY DR
APT 5D                        FORT RECOVERY OH 45846                 VIRGINIA BEACH VA 23456                    ELKHORN NE 68022
BRONX NY 10451




009041P001-1409A-265          001620P001-1409A-265                   031714P001-1409A-265                       036357P001-1409A-265
SARAH J ACKERMAN              KAYLA ACKLEY                           ACORNS GROW INC                            ACORNS GROW INC
48 CHERRY AVE                 122 AVERYHILL RD                       ROB SAUNDERS                               5300 CALIFORNIA AVE
WEST SAYVILLE NY 11796        LEDYARD CT 06339                       19900 MACARTHUR BLVD                       IRVINE CA 92617
                                                                     STE 400
                                                                     IRVINE CA 92612



002991P001-1409A-265          036374P001-1409A-265                   005818P001-1409A-265                       009265P001-1409A-265
ADRIANNA ACOSTA               AMANDA G ACOSTA                        ANYSSA M ACOSTA                            CELIA D ACOSTA
3031 W DESERT COVE AVE        504 W 1720 N                           7758 LITTLE VLY AVE                        846 W JULIE DR
PHOENIX AZ 85029              PROVO UT 84604                         LAS VEGAS NV 89147                         TEMPE AZ 85283
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001087P001-1409A-265             037284P001-1409A-265                        007100P001-1409A-265                         001507P001-1409A-265
FELICIA A ACOSTA                 FELICIA A ACOSTA                            MARIAH ACOSTA                                NATALY ACOSTA
1625 GRAND AVE                   FELICIA ACOSTA                              4009 BARBARA VISTA AVE                       8334 W MONTE VISTA
SPRING VALLEY CA 91977-4331      4850 WILLIAMSBURG LN                        ALBUQUERQUE NM 87121                         PHOENIX AZ 85037
                                 APT 9
                                 LA MESA CA 91942



006582P001-1409A-265             004087P001-1409A-265                        031715P001-1409A-265                         035073P001-1409A-265
ODALYS A ACOSTA                  RANGELA R ACOSTA                            ACTION VERB LLC                              ACTION VERB LLC
41 S SHANNON RD                  2065 E DON CARLOS AVE                       JUSTIN SINCLAIR                              8605 SANTA MONICA BLVD 20898
APT 11107                        TEMPE AZ 85281                              8605 SANTA MONICA BLVD                       WEST HOLLYWOOD CA 90069
TUCSON AZ 85745                                                              #20898
                                                                             WEST HOLLYWOOD CA 90069



004910P001-1409A-265             003923P001-1409A-265                        005787P001-1409A-265                         007954P001-1409A-265
JENNY ACUNA                      JOANNA L ACUNA                              JOLEEN ACUNA                                 MALIYA R ACUNA
3286 SW 24 ST                    7593 WOODBINE WAY                           2103 FORT DONELSON                           11022 BENWELL DR
MIAMI FL 33145                   SAN DIEGO CA 92114                          SAN ANTONIO TX 78245                         LYNWOOD CA 90262




031716P001-1409A-265             035074P002-1409A-265                        036358P001-1409A-265                         036358S001-1409A-265
ACXIOM LLC                       ACXIOM LLC                                  ACXIOM LLC                                   ACXIOM LLC
THE INTERPUBLIC GROUP OF COMPA   CB BLACKARD III                             301 E DAVE WARD DR                           MITCHELL WILLIAMS SELIG GATES
JANICE EMMONS                    301 E DAVE WARD DR                          CONWAY AR 72032                              AND WOODYARD PLLC
301 E DAVE WARD DR               CONWAY AR 72032                                                                          STAN D SMITH ESQ
CONWAY AR 72032                                                                                                           425 WEST CAPITOL AVE STE 1800
                                                                                                                          LITTLE ROCK AK 72201-3525


031717P002-1409A-265             036359P001-1409A-265                        031718P001-1409A-265                         002406P001-1409A-265
AD ART SIGN CO                   AD ART SIGN CO                              ADA COUNTY TREASURER                         ALEXANDRA ADAMACHE
AD ART INC                       150 EXECUTIVE PK BLVD STE # 2100            VICKY J MCINTYRE                             1447 MONDANA PL
DANA LONG                        SAN FRANCISCO CA 94134                      200 W FRONT ST                               PITTSBURG CA 94565
150 EXECUTIVE PK BLVD                                                        BOISE ID 83701-2868
STE # 2100
SAN FRANCISCO CA 94134


001502P001-1409A-265             031719P001-1409A-265                        034279P001-1409A-265                         007083P001-1409A-265
STAVROS ADAMIDES                 ADAMS GRUB HUB, LLC                         ADAMS GRUB, LLC                              AIYANA M ADAMS
1 JANET DR                       ADAM LEE                                    416 COMMERCIAL AVE                           121-17 GRAYSON ST
SPRING VALLEY NY 10977           416 COMMERCIAL AVE                          APT 5                                        QUEENS NY 11413
                                 APT 5                                       S. SAN FRANCISCO CA 94080
                                 S. SAN FRANCISCO CA 94080



009529P001-1409A-265             008279P001-1409A-265                        035446P001-1409A-265                         001369P001-1409A-265
ALEXANDER ADAMS                  AMBER C ADAMS                               BRYTTANY N ADAMS                             GIANNA R ADAMS
735 SUMMER DR                    4580 MARSHALL RUN CIR                       1705 S HIGHLAND AVE LOMBARD                  432 ROSARIO LN
ATLANTA GA 30328                 101                                         LOMBARD IL 60148                             WHITE LAKE MI 48386
                                 GLEN ALLEN VA 23059
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006932P001-1409A-265                    004084P001-1409A-265                           004636P001-1409A-265                    009671P001-1409A-265
KATHERINE M ADAMS                       KEYERA R ADAMS                                 LEXUS ADAMS                             RHONDA ADAMS
9300 DAVIS RD S                         4909 RAVEL STONE CT                            7550 TOUCHSTONE ST                      1276 HOLMES RD
MOUNT VERNON IN 47620                   RALEIGH NC 27610                               HOUSTON TX 77028                        APT 8
                                                                                                                               YPSILANTI MI 48198




007818P003-1409A-265                    007336P001-1409A-265                           000852P001-1409A-265                    003583P002-1409A-265
SHANEKA L ADAMS                         SYDNEY ADAMS                                   TARA K ADAMS                            TERIA N ADAMS
8421 BERKSHIRE VILLAGE CRT              17538 W 95TH AVE                               8306 NOBLET RD                          5558 SOFTWOOD TERRACE
RALEIGH NC 27616                        ARVADA CO 80007                                DAVISON MI 48423                        OLNEY MD 20832-2240




001299P001-1409A-265                    006846P001-1409A-265                           005946P001-1409A-265                    000641P002-1409A-265
TIFFANI K ADAMS                         DAVID S ADDERHOLD                              CECILIE B ADDIS                         SYDNEY N ADDISON-BISHOP
1215 WISDOM DR                          340 HUCKLEBERRY HILLS LN                       10345 ALMAYO AVE                        2903 MANSFIELD ST
CEDAR HILL TX 75104-7339                TUSCUMBIA AL 35674                             106                                     ROANOKE VA 24012
                                                                                       LOS ANGELES CA 90064




034375P001-1409A-265                    034147P001-1409A-265                           002765P001-1409A-265                    004092P001-1409A-265
ADECCO USA, INC                         EMILOMO ADELAKUN                               HIILANI K ADELSTEIN                     AMINA ADEMOVIC
DEPT CH# 10544                          14220 HIGHLAND MEADOW RD                       94-337 ANANIA DR                        250 PARDELLA AVE
PALATINE IL 60055-0544                  CHARLOTTE NC 28273                             10                                      SAINT LOUIS MO 63125
                                                                                       MILILANI HI 96789




036153P001-1409A-265                    002046P001-1409A-265                           035447P001-1409A-265                    006124P001-1409A-265
ADESSO INTERNATIONAL                    TABITHA M ADIAN                                HANNAH E ADKINS                         JILL A ADKINS
ROOM 1102-5 11TH FLOOR 9 WING HONG ST   1409 E CRESTWOOD DR                            4202 RIVER RD                           8745 OLENMEAD DR
CHEUNG SHA WAN KOWLOON                  VICTORIA TX 77901-3411                         VIENNA WV 26105                         LEWIS CENTER OH 43035
HONG KONG




002896P001-1409A-265                    033315P001-1409A-265                           035246P001-1409A-265                    031720P001-1409A-265
CARLEY B ADKINSON                       ADMINISTRATIVE RESOURCE OPTIONS INC            ADOBE INC                               ADOBE SYSTEMS INC
2060 SOUTH BAY SPRINGS RD               JACK BAIN                                      DANNY WHEELER                           ROSABEL ASTORGA
DOTHAN AL 36305                         200 WEST ADAMS STE 2000                        3900 ADOBE WAY                          29322 NETWORK PL
                                        CHICAGO IL 60606                               LEHI UT 84043                           CHICAGO IL 60673-1293




035075P001-1409A-265                    035076P001-1409A-265                           035077P001-1409A-265                    035078P001-1409A-265
ADOBE SYSTEMS INC                       ADOBE SYSTEMS INC                              ADOBE SYSTEMS INC                       ADOBE SYSTEMS INC
WEBSITE ANALYTICS/AEM                   AEM ASSETS                                     MULTI SOLUTION: ARCH AND LAUNCH SVC     WEBSITE IMAGE STORAGE
345 PARK AVE                            345 PARK AVE                                   345 PARK AVE                            345 PARK AVE
SAN JOSE CA 95110                       SAN JOSE CA 95110                              SAN JOSE CA 95110                       SAN JOSE CA 95110
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033245P001-1409A-265                      031721P001-1409A-265                            031722P001-1409A-265                       031723P001-1409A-265
ADP                                       ADP, INC                                        ADRIAN HALLAUER                            ADSPACE NETWORKS, INC
CHRISTINE MAILHOIT                        PO BOX 31001-1874                               3216 GEARY BLVD                            KATHERINE PEREZ
11 N EASTERN BLVD 3RD FL                  PASADENA CA 91110-1874                          UNIT A                                     PO BOX 8454
SALEM NH 03079                                                                            SAN FRANCISCO CA 94118                     PASADENA CA 91109-8454




034390P001-1409A-265                      030847P001-1409A-265                            005133P001-1409A-265                       031724P001-1409A-265
ADSUAR MUNIZ GOYCO SEDA AND PEREZ-O       ADSUAR MUNIZ GOYCO SEDA AND PEREZOCHOA, PSC     DEANNA F ADUAMANFOH                        ADVANCED MECHANICAL SVC
PEREZOCHOA PSC                            PO BOX 70294                                    29 CEDARGROVE AVENUES                      PETER LUBAS
PO BOX 70294                              SAN JUAN PR 00936-8294                          LAKE GROVE NY 11755                        2475 REGENT AVE
SAN JUAN PR 00936-8294                                                                                                               ORLANDO FL 32804




036361P003-1409A-265                      031725P002-1409A-265                            003064P001-1409A-265                       035414P001-1409A-265
ADVANCED MECHANICAL SVCS                  ADVENT INTERNATIONAL CORP                       RAKSHITH ADYAR                             RAKSHITH ADYAR
JERRY SHARR                               800 BOYLSTON ST STE 3300                        50 SARATOGA AVE                            231 RIPLEY ST
2475 REGENT AVE                           BOSTON MA 02199-8069                            APT 248                                    SAN FRANCISCO CA 94110
ORLANDO FL 32804                                                                          SANTA CLARA CA 95051




030888P001-1409A-265                      030769P001-1409A-265                            009237P001-1409A-265                       008161P001-1409A-265
AEROMAX INC                               AERONET, INC                                    MAAME ESI A AFEDZIE                        ANTOINETTE A AFRIYIE
SUZIE NOAL                                JOHN DYMON                                      100 STATE ST                               9 ROVITZ PL
28W079 INDUSTRIAL AVE                     42 CORPORATE PK                                 CORINNE TOWERS                             SPRING VALLEY NY 10977
LAKE BARRINGTON IL 60010                  #150                                            FRAMINGHAM MA 01701
                                          IRVINE CA 92606



033552P001-1409A-265                      035079P001-1409A-265                            037857P002-1409A-265                       034425P003-1409A-265
AFTERPAY                                  AFTERPAY US INC                                 AGENT HR INC                               AGENTHRINC
380 LA TROBE ST                           PO BOX 328                                      ACCOUNTS PAYABLE                           A/K/A ARG
LEVEL 16                                  SAN FRANCISCO CA 94104-0328                     4485 TENCH RD SUITE 520                    PO BOX 772154
MELBOURNE VI 3000                                                                         SUWANEE GA 30024                           DETROIT MI 48277-2154
AUSTRAILIA



033348P001-1409A-265                      008429P001-1409A-265                            035448P001-1409A-265                       006635P001-1409A-265
AGILYSYS TECHNOLOGY SOLUTIONS GROUP LLC   MARIONE JANEL M AGPAOA                          THAIS A AGRAMONTE                          AMBER D AGUILAR
28925 FOUNTAIN PKWY                       PO BOX 331212                                   4522 D ST                                  42200 MAIN ST APT 61
SOLON OH 44139                            KAHULUI HI 96733                                PHILADELPHIA PA 19120                      TEMECULA CA 92590




005602P001-1409A-265                      007017P001-1409A-265                            035449P001-1409A-265                       005815P001-1409A-265
CITLALLI AGUILAR                          KAREN AGUILAR                                   LESLI AGUILAR                              MYKA M AGUILAR
211 DARBY TRAILS DR                       11517 HUMBOLDT ST                               5040 MARIN CIR                             5711 MARIETTA DR
SUGAR LAND TX 77479                       NORTHGLENN CO 80233                             LAS VEGAS NV 89122                         ARLINGTON TX 76017
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002774P001-1409A-265          003053P001-1409A-265                      022077P001-1409A-265                      009261P001-1409A-265
PERLA AGUILAR                 STEPHANIE G AGUILAR                       YATZIRI AGUILARCARBAJAL                   JESSICA M AGUILARSANCHEZ
1109 FELECITA RD              4531 KAY PL                               5100 N HWY 99                             302 STUDENT CTR DR
ARVIN CA 93203                LAS VEGAS NV 89107                        #44                                       331
                                                                        STOCKTON CA 95212                         SAN MARCOS TX 78666




001867P001-1409A-265          005026P001-1409A-265                      001731P001-1409A-265                      007241P001-1409A-265
ANA AGUILERA                  ARABIA F AGUILERA                         TERESA AGUILERA                           CELESTE A AGUIRRE
24505 JENKINS DR              2405 SOUTHERN BLVD                        2635 HOPKINS AVE                          618 OAK AVE
MORENO VALLEY CA 92553-3964   13A                                       LANSING MI 48912-3015                     AURORA IL 60506
                              BRONX NY 10458




006799P001-1409A-265          005106P001-1409A-265                      002734P001-1409A-265                      036681P001-1409A-265
GABRIELLA P AGUIRRE           MARIA F AGUIRRE                           ROSA AGUSTIN                              NIDA AHMAD
65 COUGAR PL                  11201 NW 89ST JEANNETTE VILLAS            2308 PEARSON CT                           1354 S PLEASANT HILL GATE
NORTH LIBERTY IA 52317        APT 301                                   C                                         WAUKEGAN IL 60085
                              DORAL FL 33178                            LAS VEGAS NV 89106




001304P001-1409A-265          008911P001-1409A-265                      007280P001-1409A-265                      006194P001-1409A-265
DOUACHAI AHMED                FATIMA E AHMED                            MARIA AHMED                               TAJRIAN AHMED
1054 MARGARET ST              2565 SUTTERS MILL DR                      8900 SUNSET PK LN                         76 LAWRENCE AVE
SAINT PAUL MN 55106           HERNDON VA 20171                          CONROE TX 77302                           DANBURY CT 06810




033472P001-1409A-265          037538P002-1409A-265                      003062P001-1409A-265                      030449P001-1409A-265
AIF CPA GROUP PSC             AIG PROPERTY CASUALTY INC                 KIANA AIKEN                               KIANA AIKEN
GERARDO FELIZ PEREZ           KEVIN J LARNER ESQ                        3966 HERITAGE CROSSING PL SW              ADDRESS INTENTIONALLY OMITTED
B5 TABONUCO STREET            80 PINE ST 13TH FL                        POWDER SPRINGS GA 30127
STE 216 PMB 193               NEW YORK NY 10005
GUAYNABO PR 00968



031726P001-1409A-265          030794P001-1409A-265                      036154P001-1409A-265                      005163P001-1409A-265
AIKO CUNNAN                   AIM INTERNATIONAL INC                     AIM INTERNATIONAL INC                     HADEEL AIOUB
600 N CENTRAL AVE             WNM INTERNATIONAL INC                     16885 VIA DEL CAMPO CT #318               125 BUCKINGHAM WAY
APT 409                       AUDRA STENGER                             SAN DIEGO CA 92127                        MOUNT LAUREL NJ 08054
GLENDALE CA 91203             16885 VIA DEL CAMPO CT
                              #318
                              SAN DIEGO CA 92127


030770P001-1409A-265          036391P001-1409A-265                      003799P001-1409A-265                      034688P002-1409A-265
AIRE-RIDE TRANSFER INC        ANTHONY K AIWOHI                          ALEXUS B AJACLEMONS                       AK- WASHINGTON COUNTY TAX COLLECTOR
MATT GEIGER                   728 HARBOUR TOWN DR                       4817 ASHBROOK PL                          BRIAN R LESTER
595 SHREWSBURY AVE            LAKE DALLAS TX 75065                      LAS VEGAS NV 89147                        280 N COLLEGE AVE STE 501
STE 204                                                                                                           FAYETTEVILLE AK 72701
SREWSBURY NJ 07702
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031727P001-1409A-265                  035080P001-1409A-265                           000466P001-1409A-265                           007577P001-1409A-265
AKAMAI TECHNOLOGIES INC               AKAMAI TECHNOLOGIES INC                        MARY K AKANA                                   MONICA N AKINYI
BILLING SUPORT CENTER                 150 BROADWAY                                   4701 NE 72ND AVE                               12116 GREENWAY CT
150 BROADWAY                          CAMBRIDGE MA 02142                             K127                                           #101
CAMBRIDGE MA 02142                                                                   VANCOUVER WA 98661                             FAIRFAX VA 22033




005976P001-1409A-265                  008151P001-1409A-265                           033427P001-1409A-265                           006026P001-1409A-265
MIKAL A AKRAM                         SKYLAR E AKSAMITOWSKI                          AKT LLP                                        TEBA AL JARAH
9122 STEEL ST                         225 DUNDEE AVE UNIT 16                         5946 PRIESTLY DR                               8 FULLER PL UNIT 203
DETROIT MI 48228                      GREELEY CO 80634                               STE 200                                        8 FULLER PL
                                                                                     CARLSBAD CA 92008                              ESSEX JUNCTION VT 05452




035450P001-1409A-265                  037935P001-1409A-265                           032187P002-1409A-265                           009838P002-1409A-265
JARAH TEBA AL                         AL- KIM HASTIE REVENUE COMMISSIONER            AL- LAUDERDALE COUNTY REVENUE COMMISSIONER     AL- MADISON COUNTY TAX COLLECTOR
8 FULLER PL UNIT 203                  PO DRAWER 1169                                 DANNY R HENDRIX                                LYNDA HALL
8 FULLER PL                           MOBILE AL 36633                                PO BOX 794                                     100 NORTHSIDE SQUARE RM 116
ESSEX JUNCTION VT 05452                                                              FLORENCE AL 35631                              HUNTSVILLE AL 35801-4820




037891P001-1409A-265                  005837P001-1409A-265                           034482P001-1409A-265                           010315P001-1409A-265
AL- TEDDY J FAUST JR                  DEEMA O AL-OMAR                                ALA MOANA HOLDING LLC                          ALABAMA
BALDWIN COUNTY REVENUE COMMISSIONER   2440 JEAN MARIE ST                             ALA MOANA CENTER                               CORPORATE TAX SECTION
PO BOX 1549                           CORONA CA 92882                                PO BOX 860267                                  PO BOX 327435
BAY MINETTE AL 36507                                                                 MINNEAPOLIS MN 55486-0267                      MONTGOMERY AL 36132-7435




000304P001-1409A-265                  000018P001-1409A-265                           000019P001-1409A-265                           000170P001-1409A-265
ALABAMA ATTORNEY GENERAL              ALABAMA DEPT OF                                ALABAMA DEPT OF                                ALABAMA DEPT OF LABOR
STEVE MARSHALL                        ENVIRONMENTAL MANAGEMENT                       CONSERVATION AND NATURAL RESOURSES             COMMISSIONER
501 WASHINGTON AVE                    1400 COLISEUM BLVD                             N GUNTER GUY JR COMMISSIONER OF CONSERVATION   649 MONROE ST
MONTGOMERY AL 36130                   MONTGOMERY AL 36130-1463                       64 N UNION ST                                  MONTGOMERY AL 36131
                                                                                     MONTGOMERY AL 36130



000114P001-1409A-265                  009737P001-1409A-265                           009738P001-1409A-265                           009806P001-1409A-265
ALABAMA DEPT OF REVENUE               ALABAMA DEPT OF REVENUE                        ALABAMA DEPT OF REVENUE                        ALABAMA DEPT OF REVENUE
50 NORTH RIPLEY ST                    PO BOX 327431                                  PO BOX 327430                                  PO BOX 327321
MONTGOMERY AL 36132                   MONTGOMERY AL 36132-7431                       MONTGOMERY AL 36132-7430                       MONTGOMERY AL 36132-7320




009807P001-1409A-265                  009998P001-1409A-265                           032813P001-1409A-265                           032813S001-1409A-265
ALABAMA DEPT OF REVENUE               ALABAMA DEPT OF REVENUE                        ALABAMA POWER CO                               ALABAMA POWER CO
PO BOX 327435                         3140 GORDON PERSON BLDG                        SOUTHERN CO                                    MARK A CROSSWHITE CEO
MONTGOMERY AL 36132-7435              50 N NORTH RIPLEY ST                           SAM WHITE                                      600 NORTH 18TH ST
                                      MONTGOMERY AL 36104                            1280 OAKBROOK DR                               BIRMINGHAM AL 35291
                                                                                     NORCROSS GA 30093
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035381P001-1409A-265         000410P001-1409A-265                    032814P001-1409A-265                    032814S001-1409A-265
ALABAMA POWER CO             ALABAMA STATE TREASURY                  ALAGASCO                                ALAGASCO
ERIC T RAY                   UNCLAIMED PROPERTY DIVISION             PO BOX 2224                             605 RICHARD ARRINGTON JR
BALCH AND BINGHAM LLP        RSA UNION BUILDING                      BIRMINGHAM AL 35246                     BIRMINGHAM AL 35203
1901 SIXTH AVE N STE 1500    100 NORTH UNION ST
BIRMINGHAM AL 35203          STE 636
                             MONTGOMERY AL 36104


005052P001-1409A-265         031728P001-1409A-265                    008508P001-1409A-265                    002711P001-1409A-265
ALYA ALAHMED                 ALANA PERINO                            GISELLA ALANIS                          CYNTHIA N ALANIZ
13241 CUSTOM HOUSE CT        4151 EMERALD ST                         2247 S 33RD ST                          490 E F ST
FAIRFAX VA 22033             APT 4                                   MILWAUKEE WI 53215                      COLTON CA 92324
                             OAKLAND CA 94609




002279P001-1409A-265         008421P001-1409A-265                    000305P001-1409A-265                    000020P001-1409A-265
THALIA B ALANIZ              KATHERINE ALANYA                        ALASKA ATTORNEY GENERAL                 ALASKA DEPT OF ENVIRONMENTAL CONSERVATION
341 YOLANDA DR               39 WILSON ST                            JAHNA LINDEMUTH                         DEPT OF NATURAL RESOURCES
EL PASO TX 79915             BRENTWOOD NY 11717                      1031 W 4TH AVE                          550 W 7TH AVE
                                                                     STE 200                                 STE 1260
                                                                     ANCHORAGE AK 99501-1994                 ANCHORAGE AK 99501-3557



000171P001-1409A-265         000411P001-1409A-265                    000115P001-1409A-265                    000516P001-1409A-265
ALASKA DEPT OF LABOR AND     ALASKA DEPT OF REVENUE                  ALASKA/JUNEAU COMMISSIONER'S OFFICE     CRISTAL ALBA
WORKFORCE DEVELOPMENT        UNCLAIMED PROPERTY                      PO BOX 110400                           715 GENEVIEVE DR
COMMISSIONER                 TREASURY DIVISION                       JUNEAU AK 99811                         SOUTH ELGIN IL 60177
PO BOX 11149                 PO BOX 110405
JENEAU AK 99811              JUNEAU AK 99811-0405



004375P001-1409A-265         003362P001-1409A-265                    032673P001-1409A-265                    030183P001-1409A-265
ALYSSA J ALBARELLA           VERONICA ALBARELLA                      ALBERT URESTI MPA                       ALEX ALBERTINI
189 CLINTON ST               189 CLINTON ST                          BEXAR COUNTY TAX ASSESSOR               ADDRESS INTENTIONALLY OMITTED
WOODBRIDGE NJ 07095          WOODBRIDGE NJ 07095                     TAX ASSESSOR-COLLECTOR
                                                                     PO BOX 2903
                                                                     SAN ANTONIO TX 78299-2903



004792P001-1409A-265         035451P001-1409A-265                    005881P001-1409A-265                    009236P001-1409A-265
ELIZABETH ALCALA MURILLO     MURILLO ELIZABETH ALCALA                EMILY S ALCANTARA                       ADDRIANNA C ALCARAZ
3717 BECK AVE                3717 BECK AVE                           6 MALCOLM ST                            213 W 25TH ST
BELL CA 90201                BELL CA 90201                           NORTH PROVIDENCE RI 02904               SOUTH SIOUX CITY NE 68776




003953P001-1409A-265         037145P001-1409A-265                    030848P001-1409A-265                    007940P001-1409A-265
CHELSEAMALIAH D ALCARAZ      ALCIDES A REYES-GILESTRA ESQ            ALCIDES A REYESGILESTRA, ESQ            MONICA G ALCON
590 FARRINGTON HWY 524-247   867 MUÑOZ RIVERA AVE                    PO BOX 195036                           126 RALEIGH ST
KAPOLEI HI 96707             SAN JUAN PR 00925                       SAN JUAN PR 00919-5036                  DENVER CO 80219
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006315P001-1409A-265        030184P001-1409A-265                     004107P001-1409A-265                       034521P001-1409A-265
YASMINE ALDAY               ALEX ALDEN                               ANDREA N ALDERMAN                          ALDERWOOD MALL HOLDING, LLC
3015 VAL VERDE DR NE        ADDRESS INTENTIONALLY OMITTED            13947 GROVE PK DR                          SDS-12-3019
ALBUQUERQUE NM 87110                                                 STERLING HEIGHTS MI 48313                  PO BOX 86
                                                                                                                MINNEAPOLIS MN 55486-3019




032815P001-1409A-265        037382P001-1409A-265                     031166P001-1409A-265                       000618P001-1409A-265
ALDERWOOD MALL LLC          ALDERWOOD MALL LLC                       ALDERWOOD MALL, LLC                        ALLYSSA M ALDRICH
MALL MANAGEMENT             BROOKFIELD PROPERTY REIT INC             ALDERWOOD MALL HOLDING LLC                 6439 BENTON RD
3000 184TH ST SW            JULIE M BOWDEN                           SDS123019                                  PADUCAH KY 42003
LYNNWOOD WA 98037           350 N ORLEANS ST STE 300                 PO BOX 86
                            CHICAGO IL 60654-1607                    MINNEAPOLIS MN 55486-3019



037423P001-1409A-265        033783P001-1409A-265                     004456P002-1409A-265                       001292P001-1409A-265
ALLYSSA MICHELLE ALDRICH    ALECIA GARRIDONEAL                       ANAHI ALEGRIA                              ALEXANDRA ALEJANDRO
ALLYSSA M ALDRICH           PO BOX 25                                3100 S MAIN ST APT 4C                      BB9 CALLE D
6439 BENTON RD              CAMBRIA WI 53923                         SANTA ANA CA 92707-4251                    CALLE D BB-9
PADUCAH KY 42003                                                                                                TOA BAJA PR 00949-5350




006491P001-1409A-265        001752P001-1409A-265                     008846P001-1409A-265                       004559P001-1409A-265
CYNTHIA N ALEMAN            ALEXA ALESSANDRI                         AUTUMN H ALEXANDER                         CHLOE ALEXANDER
1400 NIMITZ WAY             51 OVERLOOK RD                           809 RIDGELAWN AVE                          9535 EAST 10TH ST
MESQUITE TX 75181           POUGHKEEPSIE NY 12603                    HAMILTON OH 45013                          INDIANAPOLIS IN 46229




002381P001-1409A-265        004916P001-1409A-265                     006411P001-1409A-265                       036561P001-1409A-265
DANIELLE ALEXANDER          DBRIA M ALEXANDER                        ELAJIA ALEXANDER                           JENNIFER ALEXANDER
3453 PARKRIDGE PL           336 LAUREN CIR DR                        3625 DONALD AVE                            15835 FOOTHILL LP APT 331
LAS CRUCES NM 88005         ENGLEWOOD OH 45322                       INDIANAPOLIS IN 46224                      PFLUGERVILLE TX 78660-3231




004341P001-1409A-265        030415P001-1409A-265                     006038P001-1409A-265                       006545P001-1409A-265
JOHRDAN ALEXANDER           JOHRDAN ALEXANDER                        LAKENYA J ALEXANDER                        MIYA I ALEXANDER
4839 HARVEST RD             ADDRESS INTENTIONALLY OMITTED            9603 CUSTER RD                             383 HEWES ST
COLORADO SPRINGS CO 80917                                            APT 1511                                   APT 1B
                                                                     PLANO TX 75025                             BROOKLYN NY 11211




007836P001-1409A-265        009408P001-1409A-265                     006102P001-1409A-265                       009543P001-1409A-265
MORGAN A ALEXANDER          TAIZA K ALEXANDER                        TIFFANY N ALEXANDER                        VALENCIA ALEXANDER
18 BOXBERRY LN              400 S ROTHERWOOD AVE RM 301              10014 MOORGATE AVE                         120 KENSINGTON AVE
ROCHESTER MA 02770          EVANSVILLE IN 47714                      APT 202                                    1R
                                                                     SPOTSYLVANIA VA 22553                      SPRINGFIELD MA 01108
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031730P001-1409A-265            034226P001-1409A-265                  003223P001-1409A-265                        037479P001-1409A-265
ALEXEY GULENKO PHOTOGRAPHY      ALEXEY GULENKO PHOTOGRAPHY            KYLAH ALEXIS                                WOODLYNE ALEXIS-BRASWELL
ALEXEY GULENKO                  2605 HASTE ST                         98A MALLETS BAY AVE                         8618 WISSAHICKON AVE
2605 HASTE ST                   APT 202                               WINOOSKI VT 05403                           PHILADELPHIA PA 19128
APT 202                         BERKELEY CA 94704
BERKELEY CA 94704



005676P001-1409A-265            003148P001-1409A-265                  004850P001-1409A-265                        008071P001-1409A-265
WOODLYNE D ALEXISBRASWELL       DAISY G ALFARO                        JAQUELINE M ALFARO                          STEFFANE V ALFARO
8618 WISSAHICKON AVE            3018 MOSS SPRING                      14975 E 50TH PL                             11026 TIARA ST
PHILADELPHIA PA 19128           SAN ANTONIO TX 78224                  DENVER CO 80239                             NORTH HOLLYWOOD CA 91601




030185P001-1409A-265            002418P001-1409A-265                  009616P001-1409A-265                        031167P001-1409A-265
ALEXA ALFORD                    GINA M ALFORD                         SHENNELL G ALFORD                           ALGONQUIN COMMONS
ADDRESS INTENTIONALLY OMITTED   2011 INVERTON RD                      716 COLLINGS AVE                            MATTHEW MASON AS RECEIVER
                                DUNDALK MD 21222                      OAKLYN NJ 08107                             320 NORTH MAIN ST
                                                                                                                  STE 200
                                                                                                                  ANN ARBOR MI 48104



031731P001-1409A-265            008391P001-1409A-265                  006153P001-1409A-265                        031732P002-1409A-265
ALI MARIE INC                   BAHIA ALI                             LEJLA ALIC                                  ALICE T CHAPMAN
3138 BARBARA CT                 2609 DALITY DR                        9322 LONGHORN CT                            5002 GAZANIA DRIVE
LOS ANGELES CA 90068            RALEIGH NC 27604                      FAIRDALE KY 40118                           SAN JOSE CA 95111-3916




007463P001-1409A-265            008692P001-1409A-265                  009900P001-1409A-265                        005756P001-1409A-265
SHALIMAR ALICEA                 DINA ALIEDANI                         ALIEF ISD TAX OFFICE                        MYKELA A ALINDA
95 CHESTNUT ST                  1200 E OLD SETTLERS BLVD              14051 BELLAIRE BLVD STE 100                 21819 E 141ST ST S
304                             1018                                  HOUSTON TX 77083                            COWETA OK 74429
HOLYOKE MA 01040                ROUND ROCK TX 78864




001453P001-1409A-265            030889P001-1409A-265                  008074P001-1409A-265                        031733P001-1409A-265
CHARISSE ALIP                   ALISA MICHELLE DESIGNS INC            ELEANOR ALISHAV                             ALL AMERICAN LOCK CORP
1727 SCOTT RD                   4344 TUJUNGA AVE                      4724 LEDGE AVE                              TINO VICENTE
APT M                           STUDIO CITY CA 91604                  TOLUCA LAKE CA 91602                        7575 REYNOLDS CIR
BURBANK CA 91504                                                                                                  HUNTINGTON BEACH CA 92647




032816P001-1409A-265            032817P001-1409A-265                  033539P001-1409A-265                        005438P001-1409A-265
ALL STATES MALL SVC II          ALL STATES SVC                        ALL SVC REFUSE                              KANDACE ALLAH
PO BOX 93717                    PO BOX 94258                          PO BOX 9001099                              2937 FREDRICK DOUGLAS BLVD
LAS VEGAS NV 89193              LAS VEGAS NV 89193                    LOUISVILLE KY 40290-1099                    APT 260
                                                                                                                  NEW YORK NY 10039
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004530P001-1409A-265                        009343P001-1409A-265                 001379P001-1409A-265                        001379S001-1409A-265
CHRISTINA R ALLAIRE                         KACEE J ALLARD                       KAYLA M ALLARD                              KAYLA M ALLARD
714 OVERBROOK DR                            5205 WEST THUNDERBIRD RD             94 GLEN RD                                  39 POIRIER PL
FORT WALTON BEACH FL 32547                  APT 2216                             BURLINGTON VT 05401-4134                    BURLINGTON VT 05408
                                            GLENDALE AZ 85306




033388P001-1409A-265                        005424P001-1409A-265                 006116P001-1409A-265                        035452P001-1409A-265
ALLEGIS GROUP INC                           ALEXA I ALLEN                        BRITTNEY A ALLEN                            BRITTNEY A ALLEN
AEROTEK                                     2300 REBSAMEN PK RD                  6335 SWALERO RD                             7575 EL CAJON BLVD APT10
3689 COLLECTION CTR DR                      E317                                 LA MESA CA 91942                            LA MESA CA 91942
CHICAGO IL 60693                            LITTLE ROCK AR 72202




036436P001-1409A-265                        002854P001-1409A-265                 008718P001-1409A-265                        006015P002-1409A-265
CHIARA ALLEN                                EBONI ALLEN                          GERALNEISHA D ALLEN                         JASMINE S ALLEN
3359 GLACIER DR                             7397 HOLLYVIEW DR                    355 E PRIMM BLVD 5347                       3033 OHIO DRIVE APT 4052
LAKE ORION MI 48360                         MEMPHIS TN 38125                     1108                                        FRISCO TX 75035-6573
                                                                                 JEAN NV 89019




001339P002-1409A-265                        033771P001-1409A-265                 035453P001-1409A-265                        003112P001-1409A-265
MEGAN ALLEN                                 MEGAN ALLEN                          MEGAN ALLEN                                 MEGAN N ALLEN
220 LONG BRANCH AVE                         616 S FAIRVIEW AVE                   1815 WATERS EDGE DR                         5376 SUMMERSONG DR
BAYVILLE NJ 08721-1032                      LANSING MI 48912                     TOMS RIVER NJ 08753                         14
                                                                                                                             BATTLE CREEK MI 49015




035454P001-1409A-265                        006217P001-1409A-265                 005165P001-1409A-265                        007710P001-1409A-265
MEGAN N ALLEN                               RHEAGAN L ALLEN                      SYMONE ALLEN                                TYLER A ALLEN
616 S FAIRVIEW AVE                          2525 SHILOH RD                       408 S MAIN ST                               11212 WESTPARK DR
LANSING MI 48912                            LOT 290                              3                                           #623
                                            TYLER TX 75703                       BEEBE AR 72012                              HOUSTON TX 77042




008656P001-1409A-265                        006201P001-1409A-265                 005177P001-1409A-265                        030795P001-1409A-265
KELLY A ALLENDE                             LEIGHA R ALLESHOUSE                  JAYDEN ALLEY                                ALLIANCE CO
33 SANDY HOLLOW CT                          270 COUNTY RTE 52                    3312 COLLEGE AVE                            PARUL SAXENA
RIVERHEAD NY 11901                          GREENWICH NY 12834                   TERRE HAUTE IN 47803                        JB11 2ND FL KHIRKI EXTNMALVI
                                                                                                                             MALVIYA NEW DELHI
                                                                                                                             MALVIYA, NEW DELHI, 110017
                                                                                                                             INDIA


036155P001-1409A-265                        037693P001-1409A-265                 037693S001-1409A-265                        031734P001-1409A-265
ALLIANCE CO                                 ALLIANCE CO                          ALLIANCE CO                                 ALLIANCE RETAIL CONST INC
JB11 11ND FLOOR KHIRKI EXTN MALVIYA NAGAR   DEEPAK TREHAN                        MR OM MUKHEJA                               6000 CLARK CTR AVE
NEW DELHI 110017                            X12 OKHLA PHASE 2                    11 MOUNTAIN WOOD RD                         SARASOTA FL 34238
INDIA                                       NEW DELHI                            STAMFORD CT 06903
                                            INDIA
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010612P001-1409A-265            008995P002-1409A-265                     032773P001-1409A-265                         036372P001-1409A-265
ALLIANZ GLOBAL RISKS US         KNIYAH M ALLICK                          ALLIED ACCTQ SVC                             ALLIED UNIVERSAL SECURITY
800 SOUTH FIGUEROA ST           2079 S KIRKMAN RD APT 159                422 BEDFORD AVE                              POBOX 828854
LOS ANGELES CA 90017            ORLANDO FL 32811-2266                    BELLMORE NY 11710                            PHILADELPHIA PA 19182-8854




031735P001-1409A-265            030187P001-1409A-265                     002988P001-1409A-265                         005057P001-1409A-265
ALLIED UNIVERSAL SECURITY SVC   ALEXANDRA ALLIN                          ALEXANDRA C ALLIN                            KIMBERLY C ALLISON
UNIVERSAL PROTECTION SVC        ADDRESS INTENTIONALLY OMITTED            4313 E GREENWAY                              903 VINE ST
FRED HAEGELE                                                             PHOENIX AZ 85032                             DALLAS CENTER IA 50063
PO BOX 828854
PHILADELPHIA PA 19182-8854



003287P001-1409A-265            004491P001-1409A-265                     001600P001-1409A-265                         003914P001-1409A-265
ALELEAH N ALLOTEY               SOPHIE M ALLRED                          SALINA ALLY                                  RAY GREGORY O ALMAGER
1727 NE ROSA PARKS WAY          7702 CALLE DE ALCALDE                    282 PARAMARIBO ST                            8117 DOREEN AVE
PORTLAND OR 97211               PINE VALLEY CA 91962-1382                PUNTA GORDA FL 33983-5853                    FORT WORTH TX 76116




035455P001-1409A-265            008087P001-1409A-265                     003646P001-1409A-265                         006839P001-1409A-265
RAY GREGORY O ALMAGER           ESTREA V ALMAGUER                        DANIELA ALMANZA                              JACQUELINE L ALMANZA
519 KEELER ST                   4398 E 94TH PL                           3282 SENTINEL CIR                            3444 E SANTA FE LN
SPUR TX 79370                   THORNTON CO 80229                        LAWRENCEVILLE GA 30043                       GILBERT AZ 85297




001520P001-1409A-265            030591P001-1409A-265                     001834P001-1409A-265                         004626P001-1409A-265
MARICELA D ALMANZA              SANTANA ALMANZA                          SANTANA M ALMANZA                            BRIANNA M ALMANZAR
723 WATSON ST                   ADDRESS INTENTIONALLY OMITTED            4466 LARK AVE                                1312 BURKEDALE DR
AURORA IL 60505-5245                                                     SAN ANTONIO TX 78228-6007                    PORT LAVACA TX 77979




033369P001-1409A-265            004997P001-1409A-265                     006058P001-1409A-265                         009410P001-1409A-265
ALMAR SALES CO INC              LOLITA ALMARAZ                           ALEXANDRIA ALMEIDA                           ELIZABETH ALMEIDA
DAVID GADELOFF                  235 5 28 5 RD                            232 BROAD ST APT 2                           25 EAGLE AVE
320 5TH ST                      GRAND JUNCTION CO 81503                  BRIDGEWATER MA 02324                         BROCKTON MA 02302
3RD FLOOR
NEW YORK NY 10001



006772P001-1409A-265            003932P001-1409A-265                     036644P001-1409A-265                         035456P001-1409A-265
ISABELLA C ALMEIDA              NICOLE R ALMENDARES                      MAXINE ALMENDRA                              SERENA N ALMODOVAR
9119 ORCHID SHADE DR            510 BLUE SAGE PL                         2820 HIGHGATE LN                             1564 ARBORWOOD CIR
EL DORADO HILLS CA 95762        SIMPSONVILLE SC 29680                    TRACY CA 95377-8238                          ROMEOVILLE IL 60446
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000495P001-1409A-265           036127P001-1409A-265                            002701P001-1409A-265                        033300P001-1409A-265
TAYLOR ALMOND                  ALMONT AMBULATORY SURGERY CENTER LLC            MELISSA M ALNASER                           ALOHA FREIGHT FORWARDERS INC
108 AUBURN CT                  FRANCIS J FLYNN JR                              1037 E 12 MILE RD                           ROBERT PAJOR
WRIGHT CITY MO 63390           6220 W 3RD ST                                   MADISON HEIGHTS MI 48071                    1800 ANDERSON AVE
                               #115                                                                                        COMPTON CA 90220
                               LOS ANGELES CA 90036



003710P001-1409A-265           004504P001-1409A-265                            030890P002-1409A-265                        036156P002-1409A-265
MAITE ALONSO                   ALEXIA ALONZO                                   ALPARGATAS USA INC DBA HAVAIAN              ALPARGATAS USA INC DBA HAVAIAN
8221 JESUS BAZAN ST            888 NW 25TH AVE                                 JENNIFER SHERIDAN                           513 BOOCACCIO AVE
MONTE ALTO TX 78538            MIAMI FL 33125                                  513 BOCCACCIO AVE                           VENICE CA 90291-4806
                                                                               VENICE CA 90291-4806




036373P001-1409A-265           036635P001-1409A-265                            006507P001-1409A-265                        004205P001-1409A-265
ALPHA DOG ADA SIGN             MARIA ALSTON                                    ZAQUEALA ALSTON                             EDITH ALTAMIRANO
4321 ANTHONY CT # 7            PO BOX 52271                                    1600 EAST WASHINGTON BLVD                   7905 FLORENCE ST
ROCKLIN CA 95677               DURHAM NC 27717                                 FORT WAYNE IN 46803                         LAMONT CA 93241




037400P001-1409A-265           034481P001-1409A-265                            004104P001-1409A-265                        008125P001-1409A-265
ALTAMONTE MALL LLC             ALTAMONTE MALL VENTURE                          BRENDA ALTIERI                              MARWA ALTIMEMY
BROOKFIELD PROPERTY REIT INC   US BANK NATIONAL ASSOCIATION                    4224 S 76TH AVE                             10005 ROCKWELL TER
JULIE M BOWDEN                 PO BOX 860251                                   PHOENIX AZ 85043                            OKLAHOMA CITY OK 73162
350 N ORLEANS ST STE 300       MINNEAPOLIS MN 55486-0251
CHICAGO IL 60654-1607



002382P001-1409A-265           031736P001-1409A-265                            032818P001-1409A-265                        032818S001-1409A-265
ALEXIS M ALTOMONTE             ALTOONA AREA SCHOOL DISTRICT                    ALTOONA WATER AUTHORITY                     ALTOONA WATER AUTHORITY
6 GRENOBLE CT                  ACCT# 22417 TAX OFFICE                          PO BOX 3150                                 900 CHESTNUT AVE
MATAWAN NJ 07747               200 E CRAWFORD AVE REAR                         ALTOONA PA 16603                            ALTOONA PA 16601
                               ALTOONA PA 16602




007556P001-1409A-265           004119P001-1409A-265                            007200P001-1409A-265                        003774P001-1409A-265
CLARISSA N ALVA                ABI P ALVARADO                                  ASHLEY ALVARADO                             CASSANDRA M ALVARADO
116 MEADOW DR                  5281 BERKSHIRE CT                               8759 W STATE AVE                            2520 W WHITENDALE AVE
CONVERSE TX 78109              APT 9                                           GLENDALE AZ 85305                           VISALIA CA 93277
                               STEPHENS CITY VA 22655




004038P001-1409A-265           008200P001-1409A-265                            004152P001-1409A-265                        007475P001-1409A-265
DAIANNY ALVARADO               DIANNE M ALVARADO                               JACQUELINE ALVARADO                         KARLY ALVARADO
1745 WELLS RD                  86 SAN JUAN AVE                                 2310 W 29TH PL                              35 CHESTNUTHILL AVE
124                            DALY CITY CA 94015                              LOS ANGELES CA 90018                        CRANSTON RI 02920
ORANGE PARK FL 32073
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000826P001-1409A-265      007054P001-1409A-265                            006853P001-1409A-265                     009190P001-1409A-265
MARTHA L ALVARADO         MONTSERRAT ALVARADO                             SARAI ALVARADO                           WHITNEY M ALVARADO
1388 W 11TH ST            31600 126TH AVE SE SPC 120                      436 BROOKSHIRE DR                        3108 MCDOWELL RD
POMONA CA 91766           AUBURN WA 98092                                 COLUMBIA SC 29210                        WAYNESBORO PA 17268




006117P001-1409A-265      005856P001-1409A-265                            009252P001-1409A-265                     000519P001-1409A-265
YARELI ALVARADO           GABRIELA Y ALVARENGA                            CAITLIN ALVAREZ                          DIOSELIN ALVAREZ
5972 PEDRICK RD           14593 EARLHAM CT                                8451 MEADOW WING CIR                     9195 PORTLAND RD NE
DIXON CA 95620            WOODBRIDGE VA 22193                             COLORADO SPRINGS CO 80927                7
                                                                                                                   SALEM OR 97305




007151P001-1409A-265      007178P001-1409A-265                            008868P001-1409A-265                     002657P001-1409A-265
FATIMA ALVAREZ            FORTUNATO ALVAREZ                               IRASEMA ALVAREZ                          JACKELINE ALVAREZ
1741 CONCORD DR           619 E SANDERLING ST                             3330 W GREENWAY RD                       6619 HUNTSMAN BLVD
MARIETTA GA 30060         ONTARIO CA 91764                                APT#2115                                 SPRINGFIELD VA 22152
                                                                          PHOENIX AZ 85053




007085P001-1409A-265      009240P001-1409A-265                            006361P001-1409A-265                     003980P001-1409A-265
JEZAIDA ALVAREZ           JULIA ALVAREZ                                   KELLY S ALVAREZ                          MIREYA ALVAREZ
919 SE MLK JR BLVD        320 FRANCISCAN CT                               9 CANTON ST                              5612 RYEGRASS DR
STUART FL 34994           APT 17                                          PROVIDENCE RI 02908                      ROCKFORD IL 61102
                          FREMONT CA 94539




003050P001-1409A-265      000745P001-1409A-265                            008064P001-1409A-265                     003176P001-1409A-265
NANCY I ALVAREZ           PATRICIA ALVAREZ                                SARAHI C ALVAREZ                         VALERIA ALVAREZ
1441 DETROIT AVE          1302 N TOPSAIL AVE                              1002 WESLEY AVE                          19 EVERETT ST
242                       COLTON CA 92324                                 SUISUN CITY CA 94585                     2
CONCORD CA 94520                                                                                                   EAST BOSTON MA 02128




004280P001-1409A-265      004443P001-1409A-265                            033293P001-1409A-265                     033540P001-1409A-265
EMILY G ALVELO            BRIANNA ALVES                                   ALYSA RIMA KREITEM                       AMACAI INFORMATION CORP
1126 WILLOW AVE           186 MILFORD ST                                  ALYSIA KREITEM CONSULTING                LOCALEZE
HOBOKEN NJ 07030          NEW BEDFORD MA 02745                            17 WAYNE PL                              JAMIE CASAMENTO
                                                                          SAN FRANCISCO CA 94133                   PO BOX 9135
                                                                                                                   UNIONDALE NY 11555-9135



031737P001-1409A-265      033425P001-1409A-265                            005567P001-1409A-265                     007367P001-1409A-265
AMANDA KELLY LIMITED      AMANDA MINTZ CREATIVE MANAGEMENT LLC            TIFFANY AMANDA                           ANISSA R AMARAL
142 SOUTHWARK BRIDGE RD   58 WEST 58TH ST 32B                             75 RAINTREE LN                           12225 W LOCUST LN
LONDON SE1 0DG            NEW YORK NY 10019                               ORMOND BEACH FL 32174                    AVONDALE AZ 85323
UNITED KINGDOM
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005957P001-1409A-265      031168P003-1409A-265                        031168S001-1409A-265                    005767P001-1409A-265
JENNA M AMARAL            AMARILLO MALL LLC                           AMARILLO MALL LLC                       ADDISON AMATO
28 TANGLEWOOD DR          GREGORY GREENFIELD AND ASSOC LTD            KELLEY DRYE AND WARREN LLP              3405 W LONE CACTUS DR
NEW BEDFORD MA 02740      AMY KUEHN                                   ROBERT L LEHANE                         PHOENIX AZ 85027
                          2870 PEACHTREE RD NW                        101 PARK AVE
                          ATLANTA GA 30305-2918                       NEW YORK NY 10178



005183P001-1409A-265      004969P001-1409A-265                        003485P001-1409A-265                    035457P001-1409A-265
LORELEI G AMATO           ELIZABETH AMAYA RIVAS                       CAROLINA AMAYA                          RIVAS ELIZABETH AMAYA
41 CHURCH ST              1650 WEST CHESTER PIKE APT M-H              8 ANDERSON LN                           1650 WEST CHESTER PIKE APT M-H
NEW PALTZ NY 12561        M-H 2                                       LYNN MA 01902                           M-H 2
                          WEST CHESTER PA 19465                                                               WEST CHESTER PA 19465




033553P001-1409A-265      031738P001-1409A-265                        031739P001-1409A-265                    030891P001-1409A-265
AMAZONCOM                 AMBER ELIZABETH JAHN                        AMBER MCKEE                             AMBIANCE APPAREL
410 TERRY AVE NORTH       AMBER JAHN                                  2200 ADELINE ST                         HELEN KANG
SEATTLE WA 98109          1539 MCALLISTER ST                          STE 265                                 2415 E 15TH ST
                          SAN FRANCISCO CA 94115                      OAKLAND CA 94607                        LOS ANGELES CA 90021




036157P001-1409A-265      037244P001-1409A-265                        006737P001-1409A-265                    008049P001-1409A-265
AMBIANCE APPAREL          AMBIANCE USA INC                            DAISY M AMBRIS                          PAULINA E AMBRIZ
2415 E 15TH ST            AMBIANCE APPAREL                            3516 CHAPS RANCH AVE                    4143 N PERSHING AVE
LOS ANGELES CA 90021      2415 E 15TH ST                              NORTH LAS VEGAS NV 89031                STOCKTON CA 95207
                          LOS ANGELES CA 90021




008550P001-1409A-265      002299P001-1409A-265                        032819P002-1409A-265                    032819S001-1409A-265
YADIRA AMBRIZ             JAYLAH AMBUSH                               AMEREN ILLINOIS                         AMEREN ILLINOIS
3909 ALMEDA GENOA         3835 GREEN POND RD                          PO BOX 66884                            1901 CHOUTEAU AVE
HOUSTON TX 77047          BETHLEHEM PA 18020                          ST LOUIS MO 63166                       ST. LOUIS MO 63104




032820P002-1409A-265      032820S001-1409A-265                        001808P001-1409A-265                    030583P001-1409A-265
AMEREN MISSOURI           AMEREN MISSOURI                             SADE AMERICA                            SADE AMERICA
PO BOX 66301              1901 CHOUTEAU AVE                           6031 LANCELOT LN SE                     ADDRESS INTENTIONALLY OMITTED
ST LOUIS MO 63166         ST. LOUIS MO 63104                          SMYRNA GA 30080-5766




032821P001-1409A-265      032821S001-1409A-265                        037425P002-1409A-265                    036378P001-1409A-265
AMERICAN ELECTRIC POWER   AMERICAN ELECTRIC POWER                     AMERICAN ELECTRIC POWER                 AMERICAN EXPRESS
PO BOX 371496             1 RIVERSIDE PLZ                             THOMAS LINDSAY                          PAYMENT PROCESSING
PITTSBURGH PA 15250       COLUMBUS OH 43215                           PO BOX 371496                           PO BOX 650448
                                                                      PITTSBURGH PA 15250-7496                DALLAS TX 75265-0448
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033301P001-1409A-265                          033301S001-1409A-265                                 033301S002-1409A-265                     035389P002-1409A-265
AMERICAN EXPRESS BIP                          AMERICAN EXPRESS BIP                                 AMERICAN EXPRESS BIP                     AMERICAN EXPRESS TRAVEL RELATED SVCS CO INC
AMERICAN EXPRESS COMMERICAL ACCOUNT PROGRAM   PO BOX 0001                                          PO BOX 650448                            BECKET AND LEE LLP
CPS REMITTANCE PROCESSING                     LOS ANGELES CA 90096-8000                            DALLAS TX 75265-0448                     PO BOX 3001
1801 NW 66TH AVE STE 103 C                                                                                                                  MALVERN PA 19355
PLANTATION FL 33313-4571



010608P001-1409A-265                          035199P001-1409A-265                                 030892P001-1409A-265                     031169P001-1409A-265
AMERICAN FIRE AND CASUALTY INS CO LIBERTY     AMERICAN FIRE AND CASUALTY INS CO LIBERTY            AMERICAN INTERNATIONAL INDUSTR           AMERICAN NATIONAL INSURANCE CO
175 BERKELEY ST                               5062 BRITTONFIELD PKWY                               STEVE GOMEZ                              EDGEWATER MALL
BOSTON MA 02116-5066                          EAST SYRACUSE NY 13057                               2220 GASPAR AVE                          2660 EASTCHASE LN STE 100
                                                                                                   LOS ANGELES CA 90040                     MONTGOMERY AL 36117




037696P001-1409A-265                          037870P001-1409A-265                                 031740P001-1409A-265                     032822P001-1409A-265
AMERICAN NATIONAL INSURANCE CO INC            AMERICAN PACIFIC                                     AMERICAN PRODUCTS INC                    AMERICAN WATER AND ENERGY SAVERS
TARA B ANNWEILER                              KAREN L EDDY                                         13909 LYNMAR BLVD                        4431 N DIXIE HWY
ONE MOODY PLAZA 18TH FL                       13951 MAGNOLIA AVE                                   TAMPA FL 33626                           BOCA RATON FL 33431
GALVESTON TX 77550                            CHINO CA 91710




032822S001-1409A-265                          005628P001-1409A-265                                 006323P001-1409A-265                     004059P001-1409A-265
AMERICAN WATER AND ENERGY SAVERS              ABIGAIL A AMES                                       CONSUELO AMES                            ELIZABETH AMESQUITA
1 WATER ST                                    325 COLLINWOOD LOOP                                  29311 KICKAPOO MEADOWS LN                5350 N NOTTINGHAM AVE
CAMDEN NJ 08102                               FOLEY AL 36535                                       WALLER TX 77484                          CHICAGO IL 60656




003668P001-1409A-265                          000689P001-1409A-265                                 009613P001-1409A-265                     035330P002-1409A-265
GUILLERMO AMEZCUA                             BRITTANY N AMIDON                                    HAYLEY AMIEL                             AMKO DISPLAYS LLC
6001 ALFREDO ST                               383 SECOND ST                                        18 DENVER DR                             LAW OFFICES OF SUNG JIN LEE
CHINO CA 91710                                YPSILANTI MI 48197                                   NEW CITY NY 10956                        AMIT DESHMUKH
                                                                                                                                            400 KELBY ST
                                                                                                                                            SUITE 1003
                                                                                                                                            FORT LEE NJ 07024


031741P001-1409A-265                          034316P001-1409A-265                                 004340P001-1409A-265                     003191P001-1409A-265
AMKO DISPLAYS, LLC                            AMKO DISPLAYS, LLC                                   JENNA L AMMONS                           MALIYAH J AMRULLAH
PAUL ROTHSTEIN                                7 PURCELL CT                                         38270 SE COUPLAND RD                     7440 LA VENTURA DR SOUTH
7 PURCELL CT                                  MOONACHIE NJ 07074                                   ESTACADA OR 97023                        JACKSONVILLE FL 32210
MOONACHIE NJ 07074




035458P001-1409A-265                          031742P002-1409A-265                                 004042P001-1409A-265                     031743P001-1409A-265
MALIYAH J AMRULLAH                            AMSI HOUSING AND RELOCATION                          LAEL D AMTHOR                            AMY LOZY
5012 BIRKENHEAD RD                            AMERICAN MARKETING SYSTEM INC                        302 RED BUD CIR                          EMILOMO ADELAKUN
JACKSONVILLE FL 32210                         ROBB FLEISCHER                                       BRUCEVILLE TX 76630                      14220 HIGHLAND MEADOW RD
                                              2800 VAN NESS AVE                                                                             CHARLOTTE NC 28273
                                              SAN FRANCISCO CA 94109
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006336P001-1409A-265                037942P001-1409A-265                         036158P001-1409A-265                      030893S001-1409A-265
SAMMARY AN                          ANAMIKA GUPTA                                ANAN ENTERPRISE INC DBA SARAH             ANAN ENTERPRISE INC DBA SARAH LA
730 BEDLOW DR                       359 HASKINS CT SE                            LA 2080 E 25TH ST                         KHANG & KHANG LLP
STOCKTON CA 95210                   ADA MI 49301                                 VERNON CA 90058                           JOON M KHANG
                                                                                                                           4000 BARRANCA PARKWAY STE 250
                                                                                                                           IRVINE CA 92604



030893P004-1409A-265                037932P001-1409A-265                         008364P001-1409A-265                      004682P001-1409A-265
ANAN ENTERPRISES INC DBA SARAH LA   ANAN ENTERPRISES INC DBA SARAH LA            MICHAELA I ANANG                          BEATRIZ ANAYA
KYLE KIM                            WESLEY H AVERY                               15317 WILFORD WAY                         12524 S TRUMBULL AVE
2080 E 25TH ST                      758 E COLORADO BLVD 210                      EDMOND OK 73013                           ALSIP IL 60803
VERNON CA 90058                     PASADENA CA 91206




002209P001-1409A-265                030681P001-1409A-265                         001435P001-1409A-265                      003340P001-1409A-265
CHIARA ANAYA                        SHELLA ANDAL-OPENA                           KIMBERLY S ANDALOPENA                     STEPHANIE L ANDERSEN
2708 SALIX CIR                      ADDRESS INTENTIONALLY OMITTED                43 ST GERMAIN CT                          3842 E 127TH LN
NAPERVILLE IL 60564                                                              PLEASANT HILL CA 94523                    THORNTON CO 80241




003401P001-1409A-265                035459P001-1409A-265                         006359P001-1409A-265                      004660P002-1409A-265
ALECIA ANDERSON                     ALECIA ANDERSON                              ASHLEY M ANDERSON                         AUTUMN ANDERSON
150 SOUTHFIELD AVE                  1455 WASHINGTON BLVD                         54 9TH AVE                                3900 ADELINE ST APT 311
STAMFORD CT 06902                   405                                          D                                         OAKLAND CA 94608
                                    STAMFORD CT 06902                            HUDSON FALLS NY 12839




008374P001-1409A-265                009203P001-1409A-265                         006779P001-1409A-265                      008155P001-1409A-265
BRIANNA ANDERSON                    CHAKIRA L ANDERSON                           CHARITY V ANDERSON                        CYMONE ANDERSON
3031 WOOD POPPY DR                  8137 WEST THURSTON AVE                       2491 ELIZABETH PIKE                       3540 N INWOOD
SAINT LOUIS MO 63031                8117 W SCRANTO                               MINERAL WELLS WV 26150                    6202
                                    MILWAUKEE WI 53218                                                                     WICHITA KS 67226




007592P001-1409A-265                007801P001-1409A-265                         007892P001-1409A-265                      003609P001-1409A-265
DARA A ANDERSON                     DEANNA ANDERSON                              DEANNA G ANDERSON                         DENISE ANDERSON
1147 SOUTHVIEW DR APT 201           2562 TITUS AVE                               4948 AVE A                                541 BRIDLE RIDGE
201                                 OMAHA NE 68112                               RAPID CITY SD 57701                       204
OXON HILL MD 20745                                                                                                         RALEIGH NC 27609




008498P001-1409A-265                036476P001-1409A-265                         010358P001-1409A-265                      036492P001-1409A-265
DESTINY U ANDERSON                  DIANA ANDERSON                               ELAINE ANDERSON                           ERIN ANDERSON
521 ROWDY DR                        32035 BAYWOOD ST                             WILLIAMSON COUNTY CLERK                   302 BUMPY TRL
ROYCE CITY TX 75189                 LAKE ELSINORE CA 92532                       PO BOX 624                                DAWSONVILLE GA 30534
                                                                                 FRANKLIN TN 37065-0624
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007670P001-1409A-265            006604P001-1409A-265                      007156P001-1409A-265                       009580P001-1409A-265
JADA ANDERSON                   JAYME L ANDERSON                          JORDAN A ANDERSON                          KARRINGTON ANDERSON
302 CORDELIA WAY                5584 HARDY AVE                            17350 MAX RD                               6802 UTSA BLVD
FLORENCE AL 35633               107                                       PEYTON CO 80831                            4204
                                SAN DIEGO CA 92115                                                                   SAN ANTONIO TX 78249




030430P001-1409A-265            001271P001-1409A-265                      005167P001-1409A-265                       003021P002-1409A-265
KATELYN ANDERSON                KATELYN M ANDERSON                        LAUREN ANDERSON                            LISA L ANDERSON
ADDRESS INTENTIONALLY OMITTED   812 ELM ST                                810 N ANDALUSIA WAY                        420 MOHICAN DR
                                EL CERRITO CA 94530                       MOUNTAIN HOUSE CA 95391                    FREDERICK MD 21701




007727P001-1409A-265            002229P001-1409A-265                      030519P001-1409A-265                       000729P001-1409A-265
MADISON L ANDERSON              MARISSA E ANDERSON                        MEGHAN ANDERSON                            MEGHAN L ANDERSON
11302 MERCEDES                  2118 LARA LN                              ADDRESS INTENTIONALLY OMITTED              100 VIA ROYALE APT 109
REDFORD MI 48239                TRACY CA 95377                                                                       JUPITER FL 33458




007034P001-1409A-265            008726P001-1409A-265                      000998P001-1409A-265                       030599P001-1409A-265
MORGAN ANDERSON                 PRECIOUS D ANDERSON                       SCOTT W ANDERSON                           SCOTT W ANDERSON
255 HONEYSUCKLE CIR             2856 MILAM ST                             9848 LIBERTY ST                            ODC
APT 1007                        SHREVEPORT LA 71103                       ALTA LOMA CA 91737                         ADDRESS INTENTIONALLY OMITTED
LAWRENCEVILLE GA 30046




002485P001-1409A-265            009247P001-1409A-265                      008015P001-1409A-265                       007573P001-1409A-265
SHAYLA ANDERSON                 SHONTAE ANDERSON                          ARIANA ANDRADE                             DEJA S ANDRADE
717 EAST MARIETTA AVE           640 DR MARY MCLEOD BETHUNE BLV            206 NEW YORK AVE                           20 WESTMINSTER ST
PEORIA HEIGHTS IL 61616         DAYTONA BEACH FL 32114                    3                                          L1
                                                                          PROVIDENCE RI 02905                        BOSTON MA 02136




030321P001-1409A-265            001672P001-1409A-265                      000789P001-1409A-265                       007452P001-1409A-265
DULCE ANDRADE                   DULCE O ANDRADE                           IMELDA M ANDRADE                           ISABELLA M ANDRADE
ADDRESS INTENTIONALLY OMITTED   21021 ALDINE WESTFIELD RD                 1867 HACIENDA AVE                          12701 N PENNSYLVANIA AVE
                                #5109                                     LAS VEGAS NV 89119                         268 N
                                HUMBLE TX 77338                                                                      OKLAHOMA CITY OK 73120




002489P001-1409A-265            004108P001-1409A-265                      005932P001-1409A-265                       037880P002-1409A-265
REYNA ANDRADE                   TERESA P ANDRADE                          ANYARIS ANDRADES                           ANDREA BOUMAN
5447 29TH PL SW                 106 SUMNER ST                             CALLE 39                                   A/K/A ANDREA TAGLIONE
NAPLES FL 34116                 QUINCY MA 02169                           JARDINES DE CO                             1400 SILVER DR
                                                                          CAROLINA PR 00983                          HANCOCK MI 49930
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031744P001-1409A-265                        002567P001-1409A-265                  007641P001-1409A-265                        005404P001-1409A-265
ANDREA ORTEGA COSTIGAN                      BRIANA ANDREWS                        BRITTANY L ANDREWS                          DIAMOND D ANDREWS
10 MAIN ST                                  667 LAKE FOREST LN P12                115 MERRIMONT DR                            668 RUTLAND RD
#187                                        NORTON SHORES MI 49441                HUEYTOWN AL 35023                           3B
SAN QUENTIN CA 94964                                                                                                          BROOKLYN NY 11203




009500P001-1409A-265                        005841P001-1409A-265                  002107P001-1409A-265                        008019P001-1409A-265
JADE ANDREWS                                KRYSTOPHER K ANDREWS                  NATOSHA L ANDREWS                           SAMANTHA M ANDREWS
1801 BRIAR AVE                              3561 KINGS CROSSROAD RD               104 GREENGABLE WAY                          569 PENDALE ST
UTICA NY 13501                              GREENVILLE NC 27834                   CHESAPEAKE VA 23322                         STATEN ISLAND NY 10306




002590P001-1409A-265                        006284P001-1409A-265                  035460P001-1409A-265                        006771P001-1409A-265
BRIANNA S ANDRUS                            KARLA M ANDUJAR RIOS                  RIOS KARLA M ANDUJAR                        JESSICA L ANGEL
615 BURLINGTON CT                           15234 HARRINGTON COVE DR              15234 HARRINGTON COVE DR                    4195 SYCAMORE DR
EDGEWOOD MD 21040                           ORLANDO FL 32824                      ORLANDO FL 32824                            SAN DIEGO CA 92105




031745P001-1409A-265                        032674P001-1409A-265                  009226P001-1409A-265                        002183P002-1409A-265
ANGELA ANDREOFF                             ANGELA WOOD, TAX COLLECTOR            JASMINE C ANGELES                           ANGELICA C ANGUIANO
68-1118 N KANIKU DR                         DAVID A RUFF                          6319 BETSY ROSS CT                          2800 SW VILLA WEST DR APT 86
APT 2303                                    280 N COLLEGE STE 202                 CENTERVILLE VA 20121                        TOPEKA KS 66614-5437
KAMUELA HI 96743-7781                       FAYETTEVILLE AR 72701




004721P001-1409A-265                        000898P001-1409A-265                  002789P001-1409A-265                        030688P002-1409A-265
JASMINE A ANGUIANO                          KARINA ANGUIANO                       LEXEE RAE ANGULO                            ANK ENTERPRISE INC
240 E TRIDENT DR                            1100 HUNTER DR                        13403 WEST CITRUS CT                        110 E9TH ST
PITTSBURG CA 94565                          ELGIN IL 60120                        LITCHFIELD PARK AZ 85340                    STE A759
                                                                                                                              LOS ANGELES CA 90079-1759




032675P001-1409A-265                        035363P001-1409A-265                  031170P001-1409A-265                        010529P001-1409A-265
ANN HARRIS BENNETT TAX ASSESSOR-COLLECTOR   ANNAPOLIS MALL OWNER LLC              ANNAPOLIS MALL OWNER, LLC                   ANNE ARUNDEL COUNTY
MIKE SULLIVAN                               LECLAIRRYAN PLLC                      FILE #54730                                 OFFICE OF FINANCE
PO BOX 4622                                 NICLAS A FERLAND                      LOS ANGELES CA 90074-4730                   PO BOX 427
HOUSTON TX 77210-4622                       545 LONG WHARF DR 9TH FL                                                          ANNAPOLIS MD 21404-0427
                                            NEW HAVEN CT 06511



035081P002-1409A-265                        031747P001-1409A-265                  033784P001-1409A-265                        036390P001-1409A-265
ANNET TECHNOLOGIES USA INC                  ANNIE TRAN                            ANONA STUDIO LLC                            ANONA STUDIO LLC
DBA RETRANSFORM                             10031 RIDGLEY DR                      RENEE SHORTELL                              PO BOX 137
LYNN PETERS                                 GARDEN GROVE CA 92843                 PO BOX 137                                  ERWINNA PA 18920
6330 LBJ FWY STE 230                                                              ERWINNA PA 18920
DALLAS TX 75240
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030894P002-1409A-265        037248P001-1409A-265                     007488P001-1409A-265                        003288P002-1409A-265
ANORA MODE INC              ANORA MODE INC                           ALYSSA M ANTANTIS                           ASHLEY ANTENOR
YOON JUNG KIM               1015 S CROCKER ST S04                    921 2ND ST 15136                            1564 G ST
1015 S CROCKER ST STE S04   LOS ANGELES CA 90021                     MCKEES ROCKS PA 15136                       ELMONT NY 11003-3841
LOS ANGELES CA 90021




037545P001-1409A-265        031748P001-1409A-265                     004954P001-1409A-265                        031749P001-1409A-265
ASHLEY ANTENOR              ANTHONY BROWN                            COURTNEY ANTHONY                            ANTONIO G FERNANDO III
1364 G STREET               7190 W SUNSET BLVD                       2932 HUNTER RIDGE DR                        1190 SILK OAK DR
ELMONT NY 11003             #334                                     APT 108                                     SUISUN CITY CA 94585
                            LOS ANGELES CA 90046                     BIRMINGHAM AL 35235




006329P001-1409A-265        001704P001-1409A-265                     001377P001-1409A-265                        030405P001-1409A-265
ALEAH V ANTONIO             MARISELA ANTONIO                         KELLY ANTONUCCI                             JIM ANTOSHAK
11011 PALMS BLVD            1723 CORINTH AVE                         241 KNICKERBOCKER DR                        ADDRESS INTENTIONALLY OMITTED
201                         APT 4                                    PITTSBURGH PA 15235-4726
LOS ANGELES CA 90034        LOS ANGELES CA 90025-6745




006813P001-1409A-265        035461P001-1409A-265                     009147P001-1409A-265                        031750P001-1409A-265
JANETH ANTUNEZ TORRES       TORRES JANETH ANTUNEZ                    SARAH B ANTWI                               AP GRAPHIC INSTALLATIONS LLC
1711 GESSNER RD APT 92      1711 GESSNER RD APT 92                   12866 MCCARTHY CIR                          1294 INWOOD AVE
HOUSTON TX 77080            HOUSTON TX 77080                         PHILADELPHIA PA 19154                       BRONX NY 10452




035462P001-1409A-265        007338P001-1409A-265                     035463P001-1409A-265                        008795P001-1409A-265
ALESSANDRA APAIRCIO         MITZY J APARICIO                         MITZY J APARICIO                            SABRINA I APEL
88 GEORGE ST                412 CAMPUS VIEW DR                       19902 APPLE RIDGE PL                        50A MORRIS ST
3R                          APT 6002C                                MONTGOMERY VILLAGE MD 20886                 REVERE MA 02151
BROOKLYN NY 11206           TOWSON MD 21204




031938P001-1409A-265        033290P001-1409A-265                     030164P001-1409A-265                        030689P001-1409A-265
COLLEEN APGAR               APL LOGISTICS                            CECILY APODACA                              APOLLO APPAREL GROUP LLC
1628 18TH AVE               ACCOUNTS RECEIVABLE                      ADDRESS INTENTIONALLY OMITTED               EDWARD
SAN FRANCISCO CA 94122      16220 N SCOTTSDALE RD STE 300                                                        1407 BROADWAY
                            SCOTTSDALE AZ 85254-1798                                                             STE 2000
                                                                                                                 NEW YORK NY 10018



036159P001-1409A-265        036609P001-1409A-265                     004512P001-1409A-265                        033544P001-1409A-265
APOLLO APPAREL GROUP LLC    LESLIE APONTE                            MELENY D APONTE                             APPALOOSA LONDON
1407 BROADWAY STE 2000      163 ECHO LAKE RD                         39 WILSON ST                                DOMINIC MEAKER
NEW YORK NY 10018           WATERTOWN CT 06795                       BRENTWOOD NY 11717                          UNIT 13 BALTIMORE HOUSE
                                                                                                                 BATTERSEA REACH JUNIPER DR
                                                                                                                 LONDON SW18 1TS
                                                                                                                 UNITED KINGDOM
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030796P002-1409A-265             036160P001-1409A-265                        031171P001-1409A-265                      036392P001-1409A-265
APPAREL UNITED                   APPAREL UNITED                              APPLE BLOSSOM MALL                        APPLE BLOSSOM MALL
ANANT SADANA                     7 COMMUNITY CENTER OKHLA PHASE 2            MAYFLOWER APPLE BLOSSOM LP                14183 COLLECTIONS CTR DR
7 COMMUNITY CTR                  NEW DELHI 110020                            14183 COLLECTIONS CTR DR                  CHICAGO IL 60693
OKHLA INDUSTRIAL AREA PHASE 2    INDIA                                       CHICAGO IL 60693
NEW DELHI DELHI 110020
INDIA


033799P001-1409A-265             036393P001-1409A-265                        035464P001-1409A-265                      009394P001-1409A-265
APPLE INC                        APPLE INC                                   TAELOR A APPLE-VONJAROSCHKAPOHL           TAELOR APPLEVONJAROSCHKAPOHL
HARRY CHOW                       ONE APPLE PARK WAY                          1701 E COTATI AVE                         1701 E COTATI AVE
ONE APPLE PARK WAY               CUPERTINO CA 95014                          #99                                       #99
CUPERTINO CA 95014                                                           ROHNERT PARK CA 94928                     ROHNERT PARK CA 94928




031751P001-1409A-265             036394P001-1409A-265                        035465P001-1409A-265                      032823P001-1409A-265
APS FINISHING INC                APS FINISHING INC                           KUUIPO APUNA-BOYD                         AQUA OH
ANTONIO VALADEZ                  3165 E SLAUSON AVE                          450 KAAO CIR                              PO BOX 1229
3165 E SLAUSON AVE               VERNON CA 90058                             KAHULUI HI 96732                          NEWARK NJ 07101
VERNON CA 90058




032823S001-1409A-265             032824P001-1409A-265                        032824S001-1409A-265                      031752P001-1409A-265
AQUA OH                          AQUA PENNSYLVANIA                           AQUA PENNSYLVANIA                         AQUENT LLC
762 W LANCASTER AVENUE           PO BOX 1229                                 762 W LANCASTER AVENUE                    FILE 70238
BRYN MAWR PA 19101               NEWARK NJ 07101                             BRYN MAWR PA 19101                        LOS ANGELES CA 90074-0238




035209P001-1409A-265             002744P001-1409A-265                        008702P001-1409A-265                      003154P001-1409A-265
AQUENT LLC                       ALICIA M AQUINO                             BRYANNA AQUINO                            MONICA M AQUINO
ACCOUNTS RECEIVABLE              2103 HARTNELL ST                            21CLAREMONT ST                            16995 MALAGA DR
511 BOYLSTON ST                  2                                           MALDEN MA 02148                           MORGAN HILL CA 95037
3RD FLOOR UNIT 3101              UNION CITY CA 94587
BOSTON MA 02116



010391P002-1409A-265             032392P002-1409A-265                        010458P002-1409A-265                      009951P002-1409A-265
AR- CRAIGHEAD COUNTY COLLECTOR   AR- PULASKI COUNTY TREASURER                AR- SEBASTIAN COUNTY TAX COLLECTOR        AR-BENTON COUNTY TAX COLLECTOR
TESHA D TAGGART                  DEBRA BUCKNER                               KATHY L CAPERTON                          TOMMIE HARDRICK
PO BOX 9276                      PO BOX 430                                  PO BOX 1358                               215 EAST CENTRAL AVE
JONESBORO AR 72403               LITTLE ROCK AR 72203                        FORT SMITH AR 72902                       RM 101
                                                                                                                       BENTONVILLE AR 72712



001013P001-1409A-265             008632P001-1409A-265                        035466P001-1409A-265                      009439P001-1409A-265
CHELSEA C ARACIL                 MAYRANI ARAGON CASTELLANOS                  CASTELLANOS MAYRANI ARAGON                DEBORAH L ARAGON
801 DUTTON ST                    127 E 59TH ST                               127 E 59TH ST                             505 AMANDA AVE
WINTERS CA 95694-1737            304                                         304                                       FOLEY AL 36535
                                 MINNEAPOLIS MN 55419                        MINNEAPOLIS MN 55419
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031753P001-1409A-265        036395P001-1409A-265                   001588P001-1409A-265                     006645P001-1409A-265
ARAMARK REFRESHMENT SVC     ARAMARK REFRESHMENT SVC                DIVINA ARAMKUL                           ARLENE A ARANDA
ARAMARK CORP                17044 MONTANERO AVE STE # 4            8219 LAUFFER WAY                         928 FUCHSIA LN
17044 MONTANERO AVE         CARSON CA 90746                        SACRAMENTO CA 95758                      SAN DIEGO CA 92154
STE # 4
CARSON CA 90746



036557P001-1409A-265        001994P001-1409A-265                   002055P001-1409A-265                     003140P001-1409A-265
JANESSA V ARANDA            MELISSA ARANDA                         STEPHANIE ARANDA                         BLANCA L ARAUJO MERCADO
101 W CALLE ANTONIA         11724 AQUIFER CT                       15411 SUNSET RIDGE DR                    1750 E 51 ST
TUCSON AZ 85706             EL PASO TX 79936-1074                  ORLAND PARK IL 60462                     BROOKLYN NY 11234




035467P001-1409A-265        001814P001-1409A-265                   031172P002-1409A-265                     031172S001-1409A-265
MERCADO BLANCA L ARAUJO     VANESSA M ARAUJO                       ARBOR PLACE II LLC                       ARBOR PLACE II LLC
1750 E 51 ST                701 S WESTERN AVE                      BY CBL AND ASSOCIATES MANAGEMENT INC     BY CBL AND ASSOCIATES MANAGEMENT INC
BROOKLYN NY 11234           307                                    GARY RODDY                               CALEB HOLZAEPFEL
                            SIOUX FALLS SD 57104                   2030 HAMILTON PL BLVD STE 500            736 GEORGIA AVE STE 300
                                                                   CHATTANOOGA TN 37421-6000                CHATTANOOGA TN 37402



005213P001-1409A-265        003557P001-1409A-265                   004365P001-1409A-265                     035468P001-1409A-265
LEILANI R ARCA              ARELI ARCE                             NATALIA ARCE                             DOMINIQUE N ARCE-LISBOA
6400 FOLSOM BLVD            2102 9TH AVE E                         TIMOTEO 8                                9607 COPPER HARBOR
229                         BRADENTON FL 34208                     33                                       HOUSTON TX 77095
SACRAMENTO CA 95819                                                TOA BAJA PR 00949




001874P001-1409A-265        004693P001-1409A-265                   035469P001-1409A-265                     035470P001-1409A-265
DOMINIQUE N ARCELISBOA      PAOLA B ARCELUS MORALES                MORALES PAOLA B ARCELUS                  BETHANY E ARCHER
15306 HARRIS CANYON LN      7951 ETIWANDA AVE                      7951 ETIWANDA AVE                        180 HIMANGO RD
CYPRESS TX 77429            14106                                  14106                                    ESKO MN 55733
                            RANCHO CUCAMONGA CA 91739              RANCHO CUCAMONGA CA 91739




002660P001-1409A-265        008350P001-1409A-265                   008369P001-1409A-265                     036366P001-1409A-265
BRINA J ARCHER              ELISE ARCHER                           HAYLI N ARCHER                           ALEXANDRA ARCHETTI
8708 HURLBUT ST             4222 MCWHINNEY BLVD                    25534 HEMINGWAY AVE                      24 KATIE COURT
SAN DIEGO CA 92123          #311                                   UNIT B                                   EAST HANOVER NJ 07936
                            LOVELAND CO 80538                      STEVENSON RANCH CA 91381




007823P001-1409A-265        008046P001-1409A-265                   031754P002-1409A-265                     036396P001-1409A-265
SARAH E ARCHUAL             LUCIA D ARCHULETA                      ARCVISION INC                            ARCVISION INC
9600 TABERNA LN             7089 WAGON RIDGE DR                    DIANE GISI                               1950 CRAIG RD STE 300
OLMSTED TOWNSHIP OH 44138   COLORADO SPRINGS CO 80923              1950 CRAIG RD STE 300                    ST LOUIS MO 63146
                                                                   ST LOUIS MO 63146
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031173P001-1409A-265                    037738P001-1409A-265                      034325P001-1409A-265                    006719P001-1409A-265
ARDEN FAIR ASSOCIATES LP                ARDEN FAIR MALL ASSOCIATES LP             SAMUEL MCCURLEY ARDREY                  STEVEN L ARECHIGA
1689 ARDEN WAY STE 1167                 BALLARD SPAHR LLP                         801 46TH AVE                            41670 RD 125
SACRAMENTO CA 95815                     DUSTIN P BRANCH                           SAN FRANCISCO CA 94121                  OROSI CA 93647
                                        2029 CENTURY PARK EAST STE 800
                                        LOS ANGELES CA 90067-2029



005512P001-1409A-265                    009016P001-1409A-265                      006080P001-1409A-265                    005759P001-1409A-265
ZOE R AREL                              ARLETH ARELLANES                          CYNTHIA ARELLANO                        JASMINE N ARELLANO
132 CHACE RD                            601 BECKLEY DR                            457 S MANZANITA CT                      7648 E 121ST AVE
EAST FREETOWN MA 02717                  MIDLAND TX 79703                          CANBY OR 97013                          CROWN POINT IN 46307




006023P001-1409A-265                    003816P001-1409A-265                      005395P001-1409A-265                    009595P001-1409A-265
YVETTE M ARELLANO                       CINDY ARENAS                              BRITTANY ARENDT                         JAIDE M ARENSDORF
10467 MOLETTE ST                        811 19TH AVE W                            13096 MESSINA CIR                       2915 S GORDON AVE
BELLFLOWER CA 90706                     BRADENTON FL 34205                        FISHERS IN 46038                        WICHITA KS 67217




009677P001-1409A-265                    036397P001-1409A-265                      031755P001-1409A-265                    004931P001-1409A-265
LEILANI M AREVALO                       ARG AGENT HR RECRUITING GROUP             ARG(AGENT HR RECRUITING GROUP)          ANA G ARGUETA TUNON
10768 SANTA CRUZ RD                     PO BOX 772154                             AGENTHRINC                              36 BLACK BROOK RD
DESERT HOT SPRINGS CA 92240             DETROIT MI 48277-2154                     PO BOX 772154                           SOUTH EASTON MA 02375
                                                                                  DETROIT MI 48277-2154




008024P001-1409A-265                    031756P001-1409A-265                      007493P001-1409A-265                    035471P001-1409A-265
SYDNEY E ARHANGELSKY                    ARIANNA J JAMESON                         AMBER G ARIAS                           AMBER G ARIAS
602 SW CAPRINGTON ST                    PO BOX 459                                10941 ALCLAD AVE                        13344 CLOSE ST
#2                                      GLENNVILLE CA 93226                       WHITTIER CA 90605                       WHITTIER CA 90605
BENTONVILLE AR 72712




004700P001-1409A-265                    004343P001-1409A-265                      000306P001-1409A-265                    009889P001-1409A-265
ANETH M ARIAS                           ARIANNA A ARIAS                           ARIZONA ATTORNEY GENERAL                ARIZONA CORP COMMISSION
4 ARMSTRONG ST                          275 CHERYL PL                             MARK BRNOVICH                           ANNUAL REPORTS-CORP DIV
BRENTWOOD NY 11717                      CHULA VISTA CA 91911                      1275 WEST WASHINGTON ST                 1300 WEST WASHINGTON
                                                                                  PHOENIX AZ 85007                        PHOENIX AZ 85007-2929




000021P001-1409A-265                    000116P001-1409A-265                      000412P001-1409A-265                    009740P001-1409A-265
ARIZONA DEPT OF ENVIRONMENTAL QUALITY   ARIZONA DEPT OF REVENUE                   ARIZONA DEPT OF REVENUE                 ARIZONA DEPT OF REVENUE
1110 W WASHINGTON ST                    1600 W MONROE                             UNCLAIMED PROPERTY UNIT                 PO BOX 29079
PHOENIX AZ 85007                        PHOENIX AZ 85007                          PO BOX 29026                            PHOENIX AZ 85038-9079
                                                                                  PHOENIX AZ 85038-9026
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009914P001-1409A-265                          010299P001-1409A-265                               010503P001-1409A-265                       030790P001-1409A-265
ARIZONA DEPT OF REVENUE                       ARIZONA DEPT OF REVENUE                            ARIZONA DEPT OF REVENUE                    ARIZONA DEPT OF REVENUE
COLLECTIONS DIVISION                          PO BOX 29070                                       PO BOX 29010                               AUSIT SECTION
1600 WEST MONROE ST                           PHOENIX AZ 85038-9070                              PHOENIX AZ 85038-9010                      PO BOX 29032
PHOENIX AZ 85007                                                                                                                            PHOENIX AZ 85038-9032




000022P001-1409A-265                          000172P001-1409A-265                               000173P001-1409A-265                       037544P001-1409A-265
ARIZONA GAME AND FISH DEPT                    ARIZONA INDUSTRIAL COMMISSION - PHOENIX            ARIZONA INDUSTRIAL COMMISSION - TUCSON     ARIZONA MILLS MALL LLC
5000 W CAREFREE HIGHWAY                       CHAIRMAN                                           CHAIRMAN                                   A DELAWARE LIMITED LIABILITY CO
PHOENIX AZ 85086-5000                         800 WEST WASHINGTON ST                             2675 E BROADWAY BLVD                       SIMON PROPERTY GROUP LP RONALD M TUCKER
                                              PHOENIX AZ 85007                                   TUCSON AZ 85716                            225 WEST WASHINGTON ST
                                                                                                                                            INDIANAPOLIS IN 46204



031174P001-1409A-265                          032825P001-1409A-265                               032825S001-1409A-265                       007160P001-1409A-265
ARIZONA MILLS, LLC                            ARIZONA PUBLIC SVC CO                              ARIZONA PUBLIC SVC CO                      ALECIA M ARIZPE
PO BOX 402298                                 PO BOX 2907                                        400 NORTH 5TH ST                           3121 SE ADAMS ST
ATLANTA GA 30384-2298                         PHOENIX AZ 85062                                   PHOENIX AZ 85004                           TOPEKA KS 66605




000307P001-1409A-265                          000413P001-1409A-265                               000023P001-1409A-265                       010585P001-1409A-265
ARKANSAS ATTORNEY GENERAL                     ARKANSAS AUDITOR OF STATE                          ARKANSAS DEPT OF                           ARKANSAS DEPT OF FINANCE AND ADM
LESLIE RUTLEDGE                               UNCLAIMED PROPERTY DIVISION                        ENVIRONMENTAL QUALITY                      PO BOX 919
323 CTR ST                                    1401 WEST CAPITAL AVE                              5301 NORTHSHORE DR                         LITTLE ROCK AR 72203-0919
STE 200                                       STE 325                                            NORTH LITTLE ROCK AR 72118-5317
LITTLE ROCK AR 72201-2610                     LITTLE ROCK AR 72201



000117P001-1409A-265                          000174P001-1409A-265                               010597P001-1409A-265                       001626P001-1409A-265
ARKANSAS DEPT OF FINANCE AND ADMINISTRATION   ARKANSAS DEPT OF LABOR                             ARKANSAS SECRETARY OF STATE                MEGGAN M ARMER
1509 WEST 7TH ST                              DIRECTOR                                           STATE CAPITOL                              18777 MIDWAY RD
LITTLE ROCK AR 72201                          10421 WEST MARKHAM                                 LITTLE ROCK AR 72201-1094                  703B
                                              LITTLE ROCK AR 77205                                                                          DALLAS TX 75287-2793




004086P002-1409A-265                          033444P001-1409A-265                               037708P002-1409A-265                       004090P001-1409A-265
KARIS L ARMSTEAD                              ARMSTRONG CASTING                                  CYANNA ARMSTRONG                           CYANNA V ARMSTRONG
15908 W LUNDBERG ST                           ARMSTRONG UTILITIES                                626 ROBINSON SPRINGS RD                    21160 EASTWOOD BLVD
SURPRISE AZ 85374-4313                        6444 SANTA MONICA BLVD                             FLORA MS 39071                             WARREN MI 48089
                                              LOS ANGELES CA 90038




006705P001-1409A-265                          035472P001-1409A-265                               007314P001-1409A-265                       002165P001-1409A-265
KENNIESHA ARMSTRONG                           KENNIESHA ARMSTRONG                                KYLESIMONE M ARMSTRONG                     NICOLA ARMSTRONG
127 WHISPERING HILLS DR                       PO BOX 713                                         740 WILLOW BROOK RD                        35 NEWTON ST
NAPERVILLE IL 60540                           WESTMONT IL 60559                                  CHEASPEAKE VA 23320                        MERIDEN CT 06450
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006769P001-1409A-265             036955P002-1409A-265                         008217P001-1409A-265                    036640P001-1409A-265
SHAKIKKA ARMSTRONG               ARN DISTRIBUTORS INC                         ALEXIS CATHERIN A ARNADO                MARY ARNER
218 E WYANDOTTE ST               LAWRENCE M JACOBSON                          921 EASTRIDGE DR                        7113 FIRST AVE SOUTH
SHREVEPORT LA 71101              GLICKFELD FIELDS AND JACOBSON LLP            FAIRFIELD CA 94534                      ST. PETERSBURG FL 33707
                                 8383 WILSHIRE BLVD
                                 SUITE 341
                                 BEVERLY HILLS CA 90035


036398P001-1409A-265             037146P001-1409A-265                         000909P001-1409A-265                    001108P001-1409A-265
ARNOLD AND PORTER                ARNOLD AND PORTER                            ALLISON M ARNOLD                        ARAFEL S ARNOLD
POBOX 759451                     THREE EMBARCADERO CTR                        7940 HARVEST DR                         8420 W LAUREL LN
BALTIMORE MD 21275-9451          10TH FLOOR                                   FRANKFORT IL 60423                      PEORIA AZ 85345
                                 SAN FRANCISCO CA 94111-4024




008705P001-1409A-265             003625P001-1409A-265                         000992P001-1409A-265                    037436P001-1409A-265
BRIONNIE ARNOLD                  DALIS ARNOLD                                 DEBORAH ARNOLD                          DEBORAH L ARNOLD
202 KODIAK DR                    4432 CUARZO AVE                              1538 MISTY SKY DR                       1538 MISTY SKY DR
VACAVILLE CA 95687               ALBUQUERQUE NM 87114                         HENDERSON NV 89052                      HENDERSON NV 89052




005484P001-1409A-265             009592P001-1409A-265                         031175P001-1409A-265                    034451P001-1409A-265
MYA K ARNOLD                     PARIS ARNOLD                                 ARNOT REALTY CORP                       ARNOT REALTY CORP
7198 ADMIRAL PEARY HIGHWAY       10667 OAK LN                                 MARGIE JOHNS                            PO BOX 8000
LORETTO PA 15940                 APT 18203                                    PO BOX 8000                             DEPT 794
                                 BELLEVILLE MI 48111                          DEPT 794                                BUFFALO NY 14267
                                                                              BUFFALO NY 14267



005053P001-1409A-265             034935P001-1409A-265                         034954P001-1409A-265                    029691P002-1409A-265
RILEY N AROCHO                   ARONOV                                       ARONOV                                  ARONOV (LANDLORD)
215 EAST COLLIERS MILLS RD       EAST RIDGE MALL LLC                          UNIVERSITY MALL LLC                     EAST RIDGE MALL LLC
NEW EGYPT NJ 08533               ARONOV REALTY MANAGEMENT INC                 CLO ARONOV REALTY MANAGEMENT INC        ARONOV REALTY MANAGEMENT INC
                                 P 0 BOX 235000 361235000                     PO BOX 235000 361235000                 PO BOX 235000 (361235000)
                                 3500 EASTERN BLVD (36116-1781)               3500 EASTERN BLVD (36116-1781)          3500 EASTERN BLVD (36116-1781)
                                 MONTGOMERY AL                                MONTGOMERY AL 36123-5000                MONTGOMERY AL 36116


029692P002-1409A-265             008815P001-1409A-265                         003515P001-1409A-265                    007416P001-1409A-265
ARONOV (LANDLORD)                STACY ARREDONDO                              YESENIA ARREDONDO                       ALECIA I ARREGUIN
UNIVERSITY MALL LLC              926 SOUTH KENNEDY                            4795 BLACKHAWK WAY                      1005 EAST GLEN AVE
ARONOV REALTY MANAGEMENT INC     TYLER TX 75701                               DENVER CO 80239                         PEORIA HEIGHTS IL 61616
PO BOX 235000 (361235000)
3500 EASTERN BLVD (36116-1781)
MONTGOMERY AL 36123-5000


009476P002-1409A-265             006574P001-1409A-265                         035473P001-1409A-265                    002656P001-1409A-265
RUBY ARREGUIN                    LINDA ARREOLA GONZALEZ                       GONZALEZ LINDA ARREOLA                  JULISSA ARREOLA
3411 99TH ST E                   2235 MANNINGTON AVE                          2235 MANNINGTON AVE                     2219 DALY ST
PALMETTO FL 34221-8009           RENO NV 89512                                RENO NV 89512                           LOS ANGELES CA 90031
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005978P001-1409A-265            033554P001-1409A-265                          033814P001-1409A-265                      036399P001-1409A-265
COURTNEY ARRIAGA                ARROW STAFFING                                ARROW STAFFING SVC                        ARROW STAFFING SVC
325 RIDGEWAY LN                 1600 SOUTH GROVE AVE #B                       REDLANDS EMPLOYMENT SVC                   499 WEST STATE ST
LEXINGTON NC 27295              ONTARIO CA 91761                              JEFF THALMAYER                            REDLANDS CA 92373
                                                                              499 WEST STATE ST
                                                                              REDLANDS CA 92373



033555P001-1409A-265            031757P001-1409A-265                          031176P001-1409A-265                      037737P001-1409A-265
ARROW SYSTEMS INTEGRATION       ARROWHEAD MTN SPRING WATER                    ARROWHEAD TOWNE CENTER LLC                ARROWHEAD TOWNE CENTER LLC
1820 PRESTON PK BLVD            PO BOX 856158                                 NEW RIVER ASSOCIATES                      BALLARD SPARH LLP
STE 2800                        LOUISVILLE KY 40285                           BUD MASON                                 DUSTIN P BRANCH
PLANO TX 75093                                                                PO BOX 511256                             2029 CENTURY PARK EAST STE 800
                                                                              LOS ANGELES CA 90051-7811                 LOS ANGELES CA 90067



033414P002-1409A-265            008838P001-1409A-265                          007145P001-1409A-265                      003733P001-1409A-265
SAMANTHA ARROWOOD               ANNA S ARROYO                                 CATHELINE ARROYO                          JANICE ARROYO
3315 MONTGOMERY DRIVE APT 143   7410 ALEXANDER ST                             157 PERRY AVE #3                          RB1 CALLE 11
SANTA CLARA CA 95054-3037       #D                                            WORCESTER MA 01610                        CALLE 11 RB1
                                GILROY CA 95020                                                                         TRUJILLO ALTO PR 00976-6440




002462P001-1409A-265            036637P001-1409A-265                          006466P001-1409A-265                      005377P001-1409A-265
MARIA D ARROYO                  MARILYN ARROYO                                STEPHANIE ARROYO                          BRITTNY C ARSENAULT
14 WEST MAIN ST                 1442 SHEANA LN                                9311 MIRROR CIR                           129 REYNOLDS ST
APT 12                          KISSIMMEE FL 34744-5004                       WESTMINSTER CA 92683                      3
EPHRATA PA 17522                                                                                                        NEW BEDFORD MA 02746




007616P001-1409A-265            001728P001-1409A-265                          009000P001-1409A-265                      001759P001-1409A-265
SOFIJA ARSENIC                  LATASHA ARTACHE                               IRIS M ARTEAGA                            LILIANA ARTEAGA
610 ADAM LN                     3144 WHITE CT                                 1452 MICHIGAN ST                          1932 S 61ST AVE
CAROL STREAM IL 60188           SAN JOSE CA 95127-3269                        HAMMOND IN 46320                          CICERO IL 60804-1648




001754P001-1409A-265            036554P001-1409A-265                          000949P001-1409A-265                      033476P001-1409A-265
BRITTANY ARTER                  JAMIE ARTHUR                                  JAMIE A ARTHUR                            ARTISAN CREATIVE INC
325 N OAK ST                    1040 O'BARR DR                                132 OLDE PLANTATION DR                    DEPT LA 23496
BREESE IL 62230-1775            GASTONIA NC 28054                             MT. HOLLY NC 28120                        PASADENA CA 91185-3496




031758P001-1409A-265            036161P001-1409A-265                          030797P001-1409A-265                      036162P001-1409A-265
ARTIST'S SVC LLC                ARTISTIC FABRIC AND GARMENT                   ARTISTIC MILLINERS (PVT) LTD              ARTISTIC MILLINERS PVT LTD
4104 24TH ST 151                39/A BLOCK 6 PECHS SHAHRA-E-FAISAL            IMRAN AHMED                               PLOT NO 4 SECTOR 25 KORANGI INDUSTRIAL AREA
SAN FRANCISCO CA 94114-3615     KARACHI 75400                                 PLOT NO 4 SECTOR 25 KORANGI               KARACHI
                                PAKISTAN                                      INDUSTRIAL AREA                           PAKISTAN
                                                                              KARACHI
                                                                              PAKISTAN
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008661P001-1409A-265         002293P001-1409A-265                            004809P001-1409A-265                    000754P001-1409A-265
ARIANA S ARTISWELCH          PRISCILLA M ARTUSO                              SAMANTHA J ARVILA                       IRMA ARZATE
361 DENNIS CT                31700 CONCORD DR                                21 CAMPUSVIEW RD                        778 E LA VERNE AVE
361                          APT B                                           APT 5                                   POMONA CA 91767-2814
TOLEDO OH 43604              MADISON HEIGHTS MI 48071                        MANKATO MN 56001




005742P001-1409A-265         037313P001-1409A-265                            030798P002-1409A-265                    036163P001-1409A-265
MARIAH I ARZU                MARIAH IVETTE ARZU                              ASA TEXTILE SOURCING S A                ASA TEXTILE SOURCING S A
508 E 163RD ST               MARIAH IVETTE ARZU                              ILIANA LOLAS                            OFICINA 301 EDIFICIA AXXIS AV ALVAREZ
2C                           508 E 163RD ST                                  AV ALVAREZ CALDERON 185                 CALDERON 185
BRONX NY 10451               2C                                              3RD FL                                  SAN ISIDRO 15073
                             BRONX NY 10451                                  LIMA LIMA 27                            PERU
                                                                             PERU


031759P002-1409A-265         035082P001-1409A-265                            030895P001-1409A-265                    010233P001-1409A-265
ASCEND SOFTWARE INC          ASCEND SOFTWARE INC                             ASCENSION LINGERIE AND SWIMSUIT         ASCENSION PARISH SALES TAX
500 S KRAEMER BLVD           500 S KRAEMER BROA STE 350                      3520 NW 46TH ST                         AUTHORITY
STE 350                       CA 92821                                       MIAMI FL 33142                          PO BOX 1718
BROA CA 92821                                                                                                        GONZALES LA 70707




005459P001-1409A-265         035474P001-1409A-265                            009574P001-1409A-265                    035475P001-1409A-265
ANGELIQUE L ASENCIO RUIZ     RUIZ ANGELIQUE L ASENCIO                        ALLISON ASH                             TIFFANY B ASHCRAFT
533 HILLBRIGHT PL #2         533 HILLBRIGHT PL #2                            13425 BELL RD                           6111 HIGHVIEW RD
SAN JOSE CA 95123            SAN JOSE CA 95123                               MARYSVILLE OH 43040                     MATTHEWS NC 28104




002523P001-1409A-265         031177P003-1409A-265                            031177S001-1409A-265                    001610P001-1409A-265
APRIL V ASHE                 ASHEVILLE MALL CMBS LLC                         ASHEVILLE MALL CMBS LLC                 DAVIN S ASHFORD
1832 STATE ST                BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGEMENT INC    731 N IDAHO ST
HARRISBURG PA 17103          GARY RODDY                                      CALEB HOLZAEPFEL                        SAN MATEO CA 94401-1120
                             2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300
                             CHATTANOOGA TN 37421                            CHATTANOOGA TN 37402



031760P001-1409A-265         037819P001-1409A-265                            030896P002-1409A-265                    005191P001-1409A-265
ASHLAND CITY                 ASHLEIGH M BELL                                 ASHLEY MASON LLC                        CAMERON K ASHLEY
PO BOX 1839                  ASHLEIGH MARIE BELL                             MICHELLE J MULLENEAUX                   6230 CAMBRIDGE DR
ASHLAND CITY KY 41105-1839   28 HICKORY HILL LN                              21224 BEACH BLVD                        HARRISBURG NC 28075
                             FREDERICKSBURG VA 22405                         HUNTINGTON BEACH CA 92648




001742P001-1409A-265         006366P001-1409A-265                            005603P001-1409A-265                    000720P001-1409A-265
DEJA ASHLEY                  MEGHAN E ASHLEY                                 RASHIDA ASHLEY                          DANIELLE ASHMORE
327 IRVINE PL                1548 CHESTNUT ST                                64-80 KISSENA BLVD                      4601 N 75TH ST
ELMIRA NY 14901              BOWLING GREEN KY 42101                          FLUSHING NY 11367                       SCOTTSDALE AZ 85251
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030297P001-1409A-265                 003660P001-1409A-265                   032826P001-1409A-265                      032826S001-1409A-265
DANIELLE ASHMORE                     MISHAL ASHRAF                          ASHWAUBENON WATER AND SEWER UTIL          ASHWAUBENON WATER AND SEWER UTIL
ADDRESS INTENTIONALLY OMITTED        4616A OLD CT RD                        PO BOX 187                                2155 GROSS ST
                                     BALTIMORE MD 21208                     GREEN BAY WI 54305                        GREEN BAY WI 54304




030799P001-1409A-265                 036164P001-1409A-265                   007073P001-1409A-265                      005131P001-1409A-265
ASIA PACIFIC TRADING CO INC          ASIA PACIFIC TRADING CO INC            EMOND A ASIAMAH                           MAGGIE A ASMUSSEN
GRACE SHEH                           5132 S ALAMEDA ST                      27 RAYMOND ST                             2845 WEST KANDICE CT
5132 S ALAMEDA ST                    VERNON CA 90058                        WORCESTER MA 01607                        MERIDIAN ID 83646
VERNON CA 90058




035083P001-1409A-265                 031761P001-1409A-265                   036952P001-1409A-265                      008574P001-1409A-265
ASPECT LOSS PREVENTION LLC           ASPECT LOSS PREVENTION, LLC            ASPEN SPECIALTY INSURANCE CO              TAYLOR M ASPER
6625 WEST 78TH ST STE 280            VERISK CRIME ANALYTICS INC             175 CAPITAL BLVD STE 300                  6056 ALBERT AVE
MINNEAPOLIS MN 55439                 GENERAL POST OFFICE                    ROCKY HILL CT 06067                       NORTH RIDGEVILLE OH 44039
                                     PO BOX 27508
                                     NEW YORK NY 10087-7508



000604P001-1409A-265                 002682P001-1409A-265                   003613P001-1409A-265                      032728P001-1409A-265
ALINA M ASTACIO                      BRISEIDA ASTORGA                       MARGARITA ASTORGAFIGUEROA                 AT AND T
1500 N CONGRESS AVE                  3631 W 85TH PL                         17400 ARROW BLVD APT #76                  PO BOX 105262
WEST PALM BEACH FL 33401             CHICAGO IL 60652                       FONTANA CA 92335                          ATLANTA GA 30348-5262




033556P001-1409A-265                 033557P001-1409A-265                   037251P001-1409A-265                      037251S001-1409A-265
AT AND T BUSINESS DSL INTERNET SVC   AT AND T CAPITAL SVC                   AT AND T CORP                             AT AND T CORP
ONE AT&T WAY                         ONE AT&T WAY                           AT AND T SVC INC                          MARIN L WEST
BEDMINSTER NJ 07921                  BEDMINSTER NJ 07921                    KAREN A CAVAGNARO - LEAD PARALEGAL        4331 COMMUNICATIONS DRIVE FLR 4W
                                                                            ONE AT&T WAY ROOM 3A104                   DALLAS TX 75211
                                                                            BEDMINSTER NJ 07921



033558P001-1409A-265                 032729P001-1409A-265                   035084P001-1409A-265                      033559P001-1409A-265
AT AND T LOCAL SVC                   AT AND T MOBILITY                      AT AND T MOBILITY NATIONAL ACCOUNTS LLC   AT AND T VPN TUNNELING SVC
ONE AT&T WAY                         PO BOX 6463                            1025 LENOX PK BLVD NORTHEAST              ONE AT&T WAY
BEDMINSTER NJ 07921                  CAROL STREAM IL 60197-6463             ATLANTA GA 30319                          BEDMINSTER NJ 07921




033492P001-1409A-265                 031178P003-1409A-265                   031178S001-1409A-265                      005803P001-1409A-265
AT SYSTEMS                           ATC GLIMCHER LLC                       ATC GLIMCHER LLC (XX-XXXXXXX)             OCEANNA ATCHISON
ATTN:ACCOUNTS RECEIVABLE             WASHINGTON PRIME GROUP INC             WASHINGTON PRIME GROUP INC                12001 CALLE NARANJA
PO BOX 15009                         FROST BROWN TODD LLC                   STEPHEN IFEDUBA                           EL CAJON CA 92019
LOS ANGELES CA 90015-5060            301 E FOURTH ST                        180 E BROAD ST
                                     CINCINNATI OH 45202                    COLUMBUS OH 43215
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003616P001-1409A-265            006923P001-1409A-265                     004265P001-1409A-265                      031762P001-1409A-265
ERICA ATCHLEY                   CHRISTINA V ATCITTY                      KRISTELLE A ATENCIO                       ATHENS-CLARKE COUNTY
601 JUDY LN                     1915 N 26TH PL APT8                      9706 ARAPAHO ST                           BUSINESS TAX OFFICE
COPPERAS COVE TX 76522          PHOENIX AZ 85008                         SPRING VALLEY CA 91977                    PO BOX 1748
                                                                                                                   ATHENS GA 30603




007703P001-1409A-265            035476P001-1409A-265                     002798P001-1409A-265                      037343P001-1409A-265
AILIN ATILANO                   JADA J ATKINS                            TIFFANY M ATKINS                          TIFFANY M ATKINS
7720 PURPLE CONE RD SW          127 SOUTH PITTSBURGH ST                  18 WEST ST                                TIFFANY ATKINS
ALBUQUERQUE NM 87121            ZELIENOPLE PA 16063                      4                                         213 CALVIN ST FL 3
                                                                         TUNKHANNOCK PA 18657                      DUNMORE PA 18512




009166P001-1409A-265            031179P001-1409A-265                     037228P001-1409A-265                      037228S001-1409A-265
JAZMINE ATKINSON                ATLANTA OUTLET SHOPPES LLC               ATLANTA OUTLET SHOPPES LLC                ATLANTA OUTLET SHOPPES LLC
9201 UNIVERSITY CITY DR         PO BOX 809324                            BARLAY DAMON LLP                          HORIZON GROUP PROPERTIES INC
BELK HALL 331                   CHICAGO IL 60680-9234                    KEVIN M NEWMAN                            JAMES DIXON
CHARLOTTE NC 28223                                                       BARCLAY DAMON TOWER                       10275 W HIGGINS RD STE 560
                                                                         125 E JEFFERSON ST                        ROSEMONT IL 60016
                                                                         SYRACUSE NY 13202


031180P001-1409A-265            034243P001-1409A-265                     032827P001-1409A-265                      032827S001-1409A-265
ATLANTIC CITY ASSOCIATES, LLC   ATLANTIC CITY ASSOCIATES, LLC            ATLANTIC CITY ELECTRIC                    ATLANTIC CITY ELECTRIC
TANGER MANAGEMENT LLC           NUMBER THREE LLC                         PO BOX 13610                              500 NORTH WAKEFIELD DR
ACCOUNTS RECEIVABLE             TANGER MANAGEMENT LLC                    PHILADELPHIA PA 19101                     NEWARK DE 19702
NUMBER THREE LLC                3200 NORTHLIN AVE STE 360
3200 NORTHLIN AVE STE 360       GREENSBORO NC 27408
GREENSBORO NC 27408


032828P001-1409A-265            032828S001-1409A-265                     036934P001-1409A-265                      031763P001-1409A-265
ATMOS ENERGY                    ATMOS ENERGY                             ATMOS ENERGY CORP                         ATOM DESIGNS
PO BOX 790311                   THREE LINCOLN CENTRE STE 1800            BANKRUPTCY                                CORINNE MCMANUS
ST LOUIS MO 63179               DALLAS TX 75240                          PO BOX 650205                             443 NEW CROSS RD
                                                                         DALLAS TX 75265                           LONDON SE14 6TA
                                                                                                                   UNITED KINGDOM



034284P001-1409A-265            033560P001-1409A-265                     033463P001-1409A-265                      003139P001-1409A-265
ATOM DESIGNS                    ATRADIUS CREDIT INSURANCE                ATRILOGY SOLUTIONS GROUP INC              ISABELLE C ATROUNI
443 NEW CROSS RD                230 SCHILLING CIR                        DIANE MABBITT                             504 CROSBY LN
LONDON SE14 6TA                 STE 240                                  9085 E MINERAL CIR                        ROCHESTER NY 14612
UNITED KINGDOM                  HUNT VALLEY MD 21031                     STE 340
                                                                         CENTENNIAL CO 80112



009398P001-1409A-265            004900P001-1409A-265                     037901P001-1409A-265                      000380P001-1409A-265
MEKENNA ATTERHOLT               SRINIVAS K ATTIPALLI                     ATTORNEY GENERAL OF THE UNITED STATES     ATTORNEY GENERAL'S OFFICE
114 TRESSEL ST                  5200 IRON HORSE PKWY                     US DEPARTMENT OF JUSTICE                  CONSUMER SVC DIVISION
BEREA OH 44017                  APT 331                                  OFFICE OF CHIEF COUNSEL                   1400 BREMER TOWER
                                DUBLIN CA 94568                          950 PENNSYLVANIA AVENUE NW                445 MINNESOTA ST
                                                                         WASHINGTON DC 20530-0001                  ST. PAUL MN 55101
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000382P001-1409A-265            000387P001-1409A-265                           000392P001-1409A-265                    034207P001-1409A-265
ATTORNEY GENERAL'S OFFICE       ATTORNEY GENERAL'S OFFICE                      ATTORNEY GENERAL'S OFFICE               ATTORNEYS FOR DISABLED AMERICANS
CONSUMER PROTECTION DIVISION    CONSUMER PROTECTION AND ANTITRUST BUREAU       CONSUMER PROTECTION SECTION             2047 CARTER HILL RD
PO BOX 22947                    33 CAPITOL ST                                  30 EAST BROAD ST                        MONTGOMERY AL 36106
JACKSON MS 39225-2947           CONCORD NH 03301                               17TH FL
                                                                               COLUMBUS OH 43215-3428



033561P001-1409A-265            031764P001-1409A-265                           002312P001-1409A-265                    000931P001-1409A-265
ATTUNIX CORP                    AUBRI BALK, INC                                KAITLYN D AUBUCHON                      CRYSTAL MARIE AUCOIN
10500 NE 8TH ST                 5 RIVERINGTON ST                               901 TRUDY LN                            12 MAGNA VISTA DR
STE 625                         STE 3                                          O'FALLON MO 63366                       AUBURN MA 01501
BELLEVUE WA 98004               NEW YORK NY 10002




030293P001-1409A-265            036165P001-1409A-265                           010390P001-1409A-265                    033781P001-1409A-265
CRYSTAL MARIE AUCOIN            AUDREY THREE PLUS ONE                          AUGUSTA LICENSE AND INSPECTION          AUGUSTA MALL LLC
ADDRESS INTENTIONALLY OMITTED   1100 S SAN PEDRO ST STE N-07                   PO BOX 9270                             BPR-FF LLC
                                LOS ANGELES CA 90015                           AUGUSTA GA 30916-9270                   SDA-12-2765
                                                                                                                       PO BOX 86
                                                                                                                       MINNEAPOLIS MN 55486-2765



037398P002-1409A-265            031181P001-1409A-265                           005958P001-1409A-265                    030897P001-1409A-265
AUGUSTA MALL LLC                AUGUSTA MALL, LLC                              KHANT AUNG                              AURA ACCESSORIES LLC
BROOKFIELD PROPERTY REIT INC    GGP LP LLC                                     6248 E GARY CIR                         TIMOTHY GAULIN
JULIE M BOWDEN                  SDA-12-2765                                    MESA AZ 85205                           2229 PLAINFIELD PIKE
350 N ORLEANS ST STE 300        PO BOX 86                                                                              JOHNSTON RI 02919
CHICAGO IL 60654-1607           MINNEAPOLIS MN 55486-2765



036166P002-1409A-265            032829P001-1409A-265                           032829S001-1409A-265                    031765P001-1409A-265
AURA ACCESSORIES LLC            AURORA WATER                                   AURORA WATER                            AUSTIN R HEPPLER
TIMOTHY J GAULIN                PO BOX 719117                                  15151 E ALAMEDA PKWY                    AUSTIN HEPPLER
2229 PLAINFIELD PIKE 2ND FL     DENVER CO 80271                                AURORA CO 80012                         2501 EASTON DR
JOHNSTON RI 02919                                                                                                      BURLINGAME CA 94010




004033P001-1409A-265            007792P001-1409A-265                           004543P001-1409A-265                    007919P001-1409A-265
CARLIE A AUSTIN                 CHAUNDRA M AUSTIN                              CORINEA L AUSTIN                        KAYLA AUSTIN
11630 IRIS SPRING CT            3509 MARIPOSA RD SW                            3385 PEACHTREE CORNERS CIR              5240 EL TRIO WAY
RIVERVIEW FL 33579              HUNTSVILLE AL 35805                            APT N                                   3
                                                                               NORCROSS GA 30092                       ORLANDO FL 32818




001150P001-1409A-265            035477P001-1409A-265                           000564P001-1409A-265                    033562P001-1409A-265
VIRGINIA C AUSTIN               VIRGINIA C AUSTIN                              JESSALYN AUSTRIA                        AUTHORIZENET
PO BOX 233                      1015 MYRICK ST                                 7169 HOOD RIVER AVE                     CYBERSOURCE CORP
MILFORD VA 22514-2130           FREDERICKSBURG VA 22401                        LAS VEGAS NV 89179                      1295 CHARLESTON RD
                                                                                                                       MOUNTAIN VIEW CA 94043
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035085P001-1409A-265            033563P001-1409A-265                         033454P001-1409A-265                     032830P001-1409A-265
AUTHORIZENET                    AUTHORIZENET CREDIT CARD CONTRACT            AUTOMATIC PARTNERS LLC                   AUTORIDAD DE ACUEDUCTOS Y
POST OFFICE BOX 8999            CYBERSOURCE CORP                             748 SOUTH MEADOWS PKWY                   ALCANTARILLADOS
SAN FRANCISCO CA 94128          1295 CHARLESTON RD                           STE A9-259                               PO BOX 70101
                                MOUNTAIN VIEW CA 94043                       RENO NV 89521                            SAN JUAN PR 00936




032830S001-1409A-265            032831P001-1409A-265                         032831S001-1409A-265                     033416P001-1409A-265
AUTORIDAD DE ACUEDUCTOS Y       AUTORIDAD DE ENERGIA ELECTRICA               AUTORIDAD DE ENERGIA ELECTRICA           AVAAP USA INC
604 AVENIDA BARBOSA             PO BOX 363508                                AVENIDA PONCE DE LEON 17 1/2             510 THORNALL ST STE 250
EDIF SERGIO CUEVAS BUSTAMANTE   SAN JUAN PR 00936                            SANTURCE, SAN JUAN PR 00911              EDISON NJ 08837
HATO RAY, SAN JUAN PR 00926




035086P002-1409A-265            001266P001-1409A-265                         034343P001-1409A-265                     033564P001-1409A-265
AVALARA INC                     MICHELLE M AVALOS                            AVENUES MALL LLC                         AVEPOINT INC
255 S KING ST                   1032 S FLEETWELL AVE                         867550 RELIABLE PKWY                     525 WASHINGTON BLVD
SEATTLE WA 98104-2832           WEST COVINA CA 91791-3516                    CHICAGO IL 60686-0075                    STE 1400
                                                                                                                      JERSEY CITY NJ 07310




002490P001-1409A-265            003241P001-1409A-265                         002536P001-1409A-265                     001245P001-1409A-265
TAYLOR N AVERY                  YANAHI AVILA CASTILLO                        KATIA AVILA VASQUEZ                      BRIANDA P AVILA
3971 S LAKEWOOD DR              4017 TACOMA ST                               2333 CANVASBACK DR                       3005 W CONCORD AVE
MEMPHIS TN 38128                IRVING TX 75062                              INDIANAPOLIS IN 46234                    ALHAMBRA CA 91803




035478P001-1409A-265            006032P001-1409A-265                         005534P001-1409A-265                     000718P001-1409A-265
CASTILLO YANAHI AVILA           DALIA A AVILA                                JASMIN AVILA                             MARIA D AVILA
8129 ZION TRL                   3136 S PULASKI RD                            4685 W 102ND PL                          790 NORTH G ST
FORT WORTH TX 76137             B                                            WESTMINSTER CO 80031                     SAN BERNADINO CA 92410
                                CHICAGO IL 60623




006293P001-1409A-265            007859P001-1409A-265                         035479P001-1409A-265                     003084P001-1409A-265
MARISOL AVILA                   SELENA J AVILA                               VASQUEZ KATIA AVILA                      LAKSHMI B AVILAMARTINEZ
406 HOLLYBROOK DR               9028 W GRANADA RD                            2333 CANVASBACK DR                       8003 KELOK WAY
INEZ TX 77968                   PHOENIX AZ 85037                             INDIANAPOLIS IN 46234                    CLAYTON CA 94517




005362P001-1409A-265            005294P001-1409A-265                         008910P001-1409A-265                     003572P001-1409A-265
CAROLINA AVILES                 ERIKA AVILES                                 MARIA C AVILES                           MELISSA V AVINA
5516 KALAHARI LN                800 N HAYES AVE                              1516 16TH ST W                           701 W 57TH ST
LAS CRUCES NM 88011             DINUBA CA 93618                              BRADENTON FL 34205                       LOS ANGELES CA 90037
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001684P001-1409A-265             005324P001-1409A-265                  032832P001-1409A-265                      030898P001-1409A-265
CHRISTINA R AWAD                 SARA AWAD                             AWS SVC CENTER                            AXESORY SOURCE LLC
885 N GODFREY ST                 3000 HARVEST PL                       PO BOX 3050                               TANIEL POGHARIAN
ALLENTOWN PA 18109-1858          DARIEN IL 60561                       DES MOINES IA 50316                       11880 COMMUNITY RD
                                                                                                                 STE 340
                                                                                                                 POWAY CA 92064



036167P001-1409A-265             037185P001-1409A-265                  001252P001-1409A-265                      005547P001-1409A-265
AXESORY SOURCE LLC               AXESORY SOURCE LLC                    AMANDA L AXTELL                           AMANDA Y AYALA
11880 COMMUNITY RD STE 340       TANIEL POGHARIAN                      6533 SE PINE CREEK WAY                    2018 QUAIL VLY EAST DR
POWAY CA 92064                   11129 AVENIDA DE LOS LOBOS            PORTLAND OR 97267-1928                    MISSOURI CITY TX 77459
                                 SAN DIEGO CA 92127




008960P001-1409A-265             001220P001-1409A-265                  037182P001-1409A-265                      007323P001-1409A-265
ANGELICA AYALA                   ANNABEL AYALA                         ANNABEL AYALA                             DESIAH R AYALA
1028 PROSPECT AVE                1021 HUNTSWOOD WAY                    ANNABEL AYALA                             508 SW 51ST ST
#3                               OXNARD CA 93030                       1615 IMPATIENS DR                         OKLAHOMA CITY OK 73109
SCRANTON PA 18505                                                      OXNARD CA 93030




005838P001-1409A-265             006274P001-1409A-265                  005098P001-1409A-265                      003029P002-1409A-265
FRIDA M AYALA                    JAHIRA N AYALA                        JENNIFER Y AYALA                          KNYEL AYALA
303 E SOUTH MOUNTAIN AVE 85042   3932 W GDN DR                         21 WATCHUNG AVE                           5902 MEMORIAL HWY APT 1010
PHOENIX AZ 85042                 PHOENIX AZ 85029                      2                                         TAMPA FL 33615-5054
                                                                       BELLEVILLE NJ 07109




000593P001-1409A-265             000521P001-1409A-265                  001113P001-1409A-265                      004055P001-1409A-265
LESLY M AYALA                    NAILA G AYALA                         LOURDES A AYALATORO                       AKAYLA AYERS
628 BURTONWOOD DR                2908 MILLIE AVE                       161 DEERTREE DR                           9 IVY HALL
GASTONIA NC 28054                LAS VEGAS NV 89101                    ATHENS GA 30605                           DOVER DE 19904




037636P001-1409A-265             001701P001-1409A-265                  007370P001-1409A-265                      010492P001-1409A-265
NATALIE AYERS                    NATALIE L AYERS                       PEARL AYITEY                              SHERRI AYLOR
5028 BONNY KAYE CT               5028 BONNY KAYE CT                    1350 EISENHOWER CIR                       COUNTY TAX ASSESSOR-COLLECTOR
ANTELOPE CA 95843                ANTELOPE CA 95843                     APT 401                                   PO BOX 2289
UNITED STATES                                                          WOODBRIDGE VA 22191                       AMARILLO TX 79105-2289




007474P001-1409A-265             037192P001-1409A-265                  008793P001-1409A-265                      034699P003-1409A-265
EDNA AYO                         EDNA AYO                              OLIVIA J AYRES                            AZ- MARICOPA COUNTY TREASURER
1899 CRINAN DR                   118 DELHI AVE                         10321 GERMANTOWN RD                       CIVIL SERVICES DIVISION
SAN JOSE CA 95122                STOCKTON CA 95206                     BERLIN MD 21811-2854                      ATTN: PETER MUTHIG
                                                                                                                 225 W MADISON ST
                                                                                                                 PHOENIX AZ 85003
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006658P001-1409A-265       032833P001-1409A-265                 032833S001-1409A-265                        000673P001-1409A-265
ANASTACIA AZOR             B P TRUCKING INC                     B P TRUCKING INC                            MELISSA E BABU
1429 LOVAT CT              PO BOX 386                           55 NICKERSON RD                             300 STONE RIDGE DR
RIVERSIDE CA 92507         ASHLAND MA 01721                     ASHLAND MA 01721                            SUNNYVALE TX 75182




030899P001-1409A-265       037156P001-1409A-265                 007389P001-1409A-265                        004250P001-1409A-265
BABY BLING                 BABY BLING                           JANESSA J BACA                              VICTORIA C BACA
4275 N THANKSGIVING WAY    BABY BLING BOWS                      2525 CHELTON LN                             1323 W MICHIGAN AVE
STE 300                    SUMMER HARRIS                        PUEBLO CO 81001                             PHOENIX AZ 85023
LEHI UT 84043              4275 THANKSGIVING WAY
                           SUITE 300
                           LEHI UT 84043


000615P001-1409A-265       008803P001-1409A-265                 008833P001-1409A-265                        008986P001-1409A-265
PAUL V BACCAY              FARHA S BACHA                        IVY S BACKER                                ANIYAH K BADGER
9014 CAMBRIDGE CIR         75-05 35TH AVE                       230 ACADEMY AVE                             8017 THOURON AVE
VALLEJO CA 94591           D5                                   PROVIDENCE RI 02908                         PHILADELPHIA PA 19150
                           JACKSON HEIGHTS NY 11372




037719P002-1409A-265       000770P001-1409A-265                 004643P001-1409A-265                        000748P001-1409A-265
NAYSHA N BAEZ              MARIA D BAEZ                         NAYSHA N BAEZ                               MARIA BAEZA
101 NORTON ST APT 2        9995 FERON BLVD B                    101 NORTON ST                               754 N HOLMES AVE
WATERBURY CT 06708         RANCHO CUCAMONGA CA 91730            2                                           ONTARIO CA 91764-3512
                                                                WATERBURY CT 06708




007363P001-1409A-265       037600P001-1409A-265                 001476P001-1409A-265                        006084P001-1409A-265
JASLYN S BAGGS             JASLYN S BAGGS                       RACQUEL D BAGLEY                            TIARRA BAGLEY
4600 MIRA LOMA DR          4600 MIRA LOMA DR 10-G               1821 CLIFFBROOK LN APT#E                    505 HIGHLANDS DR
10-G                       RENO NV 89502                        APT E                                       DESOTO TX 75115
RENO NV 89052              UNITED STATES                        RICHMOND VA 23227




006202P001-1409A-265       004878P001-1409A-265                 035480P001-1409A-265                        037092P002-1409A-265
HEATHER F BAGWELL          KAITLYN L BAIER                      SAUCEDA CHRISTINA BAILEN-                   BAILEY BLUE LLC
228 RIVER FOREST DR        E7631 NORTH COUNT RD E               3044 SAN MATEO WAY                          RANDI WISHNOW
BOILING SPRINGS SC 29316   ELK MOUND WI 54739                   UNION CITY CA 94587                         16130 VENTURA BLVD STE 320
                                                                                                            ENCINO CA 91436




030900P001-1409A-265       000935P001-1409A-265                 005714P001-1409A-265                        002899P001-1409A-265
BAILEY BLUE, LLC           CYNTHIA BAILEY                       DENICE B BAILEY                             INDIA BAILEY
LISA SCHREIMAN             405 E PILOT ST                       110 DEERFIELD PL                            81 ELAINE RD
1441 E 16TH ST             APT C5                               FLORENCE AL 35630                           MILFORD CT 06460
LOS ANGELES CA 91436       DURHAM NC 27707
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008162P001-1409A-265            007882P001-1409A-265                 009655P001-1409A-265                        002738P001-1409A-265
KAITLYNN E BAILEY               KAREN BAILEY                         LINESHA N BAILEY                            PERKELISH R BAILEY
102 BOYDTON PLANK DR            11680 STIVALI AVE                    1734 BENNETT DR                             935 SPRING CREEK WAY
STEPHENS CITY VA 22655          LAS VEGAS NV 89183                   APT 1307                                    DOUGALSVILLE GA 30134
                                                                     WEST DES MOINES IA 50265




001201P001-1409A-265            008354P001-1409A-265                 001089P001-1409A-265                        006181P001-1409A-265
SHANEKIA N BAILEY               MEKIYAH N BAILEYROBINSON             CHARLOTTE A BAILOR                          ALEXIS N BAIN
102 CIR DR                      1821 OATES DR                        1134 MAGNOLIA ST                            6002 ALTERSGATE LN
APT 1                           425                                  COLORADO SPRING CO 80907                    APT 1203
SHANNON MS 38868                MESQUITE TX 75150                                                                ARLINGTON TX 76001




001784P001-1409A-265            007659P001-1409A-265                 003246P001-1409A-265                        002760P001-1409A-265
DAWN BAIR                       AWA BAJINKA                          HALEY A BAJOR                               NICOLE BAK
21 WALNUT ST                    139 CHESTNUT ST APT 3                84 NASHUA RD                                4424 N NAGLE
CLIFTON HGTS PA 19018           CHELSEA MA 01250                     WINDHAM NH 03087                            HARWOOD HEIGHTS IL 60706




009623P001-1409A-265            009131P001-1409A-265                 001290P001-1409A-265                        033457P001-1409A-265
ANITA L BAKER                   GINA BAKER                           KAYLLEIGH M BAKER                           LUCAS BAKER
112 SEWARD                      800 FONT ST                          7941 N HICKORY ST                           DEPT 1200
104                             SAN FRANSICO CA 94123                APT 6                                       766 SUTTER ST
DETROIT MI 48202                                                     KANSAS CITY MO 64118                        APT # 56
                                                                                                                 SAN FRANCISCO CA 94109



009519P001-1409A-265            006730P001-1409A-265                 002133P001-1409A-265                        000482P001-1409A-265
LUKE M BAKER                    NIKIA J BAKER                        SARAH BAKER                                 SIANEA N BAKER
3100 TURNBERRY LN               4011 PAYNE DR                        2184 SHADY GROVE COVE                       48 BONNIE CT
ANN ARBOR MI 48108              FORT WASHINGTON MD 20744             HERNANDO MS 38632                           APT 11
                                                                                                                 SMYRNA DE 19977




030198P001-1409A-265            001880P001-1409A-265                 004307P002-1409A-265                        009558P001-1409A-265
AMANDA BALADEZ                  AMANDA M BALADEZ                     KISHAALEE BALAGURU                          EMMA M BALBONI
ADDRESS INTENTIONALLY OMITTED   1209 NEPTUNE DR                      19422 TRANSHIRE RD                          16 SULLIVAN ST
                                CHULA VISTA CA 91911                 MONTGOMERY VILLAGE MD 20886-5019            SPRINGFIELD MA 01104




003872P001-1409A-265            003503P001-1409A-265                 032834P001-1409A-265                        032834S001-1409A-265
YILEIRI E BALBUENA              LESLIE A BALDERRAMAS                 BALDWIN EMC                                 BALDWIN EMC
7852 CALZADA WAY                315 PINEHURST ST                     PO BOX 220                                  19600 STATE HIGHWAY 59
ELK GROVE CA 95758              LAKELAND FL 33805                    SUMMERDALE AL 36580                         SUMMERDALE AL 36580-3016
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031766P001-1409A-265              010537P001-1409A-265                  035323P001-1409A-265                           035323S001-1409A-265
BALDWIN CO REVENUE COMMISSIONER   BALDWIN COUNTY                        BALDWIN COUNTY ELECTRIC MEMBERSHIP CORP        BALDWIN COUNTY ELECTRIC MEMBERSHIP CORP
PO BOX 1549                       PO BOX 538517                         SILVER VOIT AND THOMPSON ATTORNEYS AT LAW PC   ALAN SCHOTT
BAY MINETTE AL 36507              ATLANTA GA 30353-8517                 4317-A MIDMOST DRIVE                           19600 HIGHWAY 59
                                                                        MOBILE AL 36609                                SUMMERDALE AL 36580




030901P001-1409A-265              036169P001-1409A-265                  000864P001-1409A-265                           002040P001-1409A-265
BALDWIN SUN INC                   BALDWIN SUN INC                       ALYSSA R BALDWIN                               BRIDGET M BALDWIN
LARRY MONTOYA                     140 N ORANGE AVE                      705 GREGORY DR                                 4156 STUBBINGTON LN
140 N ORANGE AVE                  CITY OF INDUSTRY CA 91744             NEWARK DE 19702                                INDIANAPOLIS IN 46239
CITY OF INDUSTRY CA 91744




004783P001-1409A-265              007711P001-1409A-265                  002208P001-1409A-265                           008753P001-1409A-265
HAYLEE A BALDWIN                  MANESHA M BALDWIN                     VICTORIA D BALDWIN                             TENIESHA BALENTINE
5408 BUCKLEY FOREST TRL           3026 DOBBS CIR                        3342 BROWNLEA CIR                              548 TIMBER RIDGE RD
WALKERTOWN NC 27051               MONTGOMERY AL 36116                   ANTELOPE CA 95843                              SUNRISE BEACH MO 65079




004975P001-1409A-265              001654P001-1409A-265                  006255P001-1409A-265                           007061P001-1409A-265
JORDAN E BALES                    HILLARY D BALL                        LESLIE R BALL                                  KATHERINE BALLARD
773 N SEARLS RD                   120 CANAL ST                          25 ISAIAH DR                                   1050 W FAYETTE AVE
WEBBERVILLE MI 48892              LEBANON OH 45036                      JEFFERSON GA 30549                             SPRINGFIELD IL 62704




008141P001-1409A-265              002690P001-1409A-265                  001555P001-1409A-265                           009368P001-1409A-265
WILLIAM C BALLARD                 MIRANDA J BALLENTINE                  MINERVA BALLESTEROS                            SOFIA BALLI
5857 SOUTH SUNSET HILL AVE        506 E 10TH AVE                        950 W 4TH AVE                                  18385 BABCOCK RD
BATON ROUGE LA 70805              TARENTUM PA 15084                     APACHE JUNCTION AZ 85120-6607                  SAN ANTONIO TX 78255




007102P001-1409A-265              004554P001-1409A-265                  005237P001-1409A-265                           036749P001-1409A-265
TENESSA M BALLINGER               MEGI BALLIU                           ZAINAB BALLOUT                                 SARA BALOCH
11 OVERLOOK DR                    13836 77TH AVE FLUSHING NY            2538 NORTH SHEFFORD CT                         20707 INDIGO RIVER LN
FRANKLIN OH 45005                 66A                                   WICHITA KS 67205                               KATY TX 77449
                                  NEW YORK NY 11367




001649P001-1409A-265              007691P001-1409A-265                  031767P001-1409A-265                           032835P001-1409A-265
SARA M BALOCH                     DESTINY BALSAMOMIKELS                 BALTIMORE COUNTY, MARYLAND                     BALTIMORE GAS AND ELECTRIC CO
5019 ROYAL AMBER LN               378 E LAWSON AVE                      FIRE INSPECTION FEE                            PO BOX 1431
KATY TX 77493                     378                                   PO BOX 64076                                   BALTIMORE MD 21203
                                  FOLEY AL 36535                        BALTIMORE MD 21264-4076
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032835S001-1409A-265            033840P002-1409A-265                     003184P001-1409A-265                       004938P001-1409A-265
BALTIMORE GAS AND ELECTRIC CO   BALTIMORE GAS AND ELECTRIC CO            MELISSA BALTIMORE                          BRIAUNA N BALTZELL
110 W FAYETTE ST                GAIL BUSH                                4919 DUNMAN AVE                            304 15TH AVE SE
BALTIMORE MD 21201-3708         PO BOX 1475                              WOODLAND HILLS CA 91364                    MINNEAPOLIS MN 55414
                                BALTIMORE MD 21201




033258P001-1409A-265            007118P001-1409A-265                     009734P001-1409A-265                       005797P001-1409A-265
ADRIANNA BAMBER                 MONIQUE BANAGA                           BANCO POPULAR                              ASHLEY N BANDA
1241 24TH AVE                   6 BITTERSWEET DR                         PO BOX 363228                              3900 SCR 1200 #14
SAN FRANCISCO CA 94110          EAST HARTFORD CT 06108                   SAN JUAN PR 00936-3228                     MIDLAND TX 79706




007570P002-1409A-265            004132P001-1409A-265                     031182P001-1409A-265                       032836P001-1409A-265
ELIANNA M BANDA                 ASHLEY A BANDISON                        BANGOR MALL, LLC                           BANGOR WATER DISTRICT
1509 K ST APT 185               146-36 176ST                             PO BOX 829461                              PO BOX 1129
MODESTO CA 95354                JAMAICA NY 11434                         PHILADELPHIA PA 19182-9461                 BANGOR ME 04402




032836S001-1409A-265            009730P001-1409A-265                     009731P001-1409A-265                       009723S001-1409A-265
BANGOR WATER DISTRICT           BANK OF AMERICA                          BANK OF AMERICA                            BANK OF AMERICA NA
614 STATE ST                    450 B ST STE 100                         RETAIL FINANCE GROUP                       BANK OF AMERICA MERRILL LYNCH
BANGOR ME 04402-1129            SAN DIEGO CA 92101                       100 FEDERAL ST                             MATTHEW POTTER
                                                                         BOSTON MA 02110                            100 FEDERAL ST
                                                                                                                    BOSTON MA 02110



009723S002-1409A-265            009723S003-1409A-265                     009723S004-1409A-265                       009723S005-1409A-265
BANK OF AMERICA NA              BANK OF AMERICA NA                       BANK OF AMERICA NA                         BANK OF AMERICA NA
40 BROAD ST                     MORGAN LEWIS AND BOCKIUS LLP             MORGAN LEWIS AND BOCKIUS LLP               RICHARDS LAYTON AND FINGER PA
BOSTON MA 02109                 CHRISTOPHER CARTER                       JULIA FROST DAVIES                         MARK D COLLINS BRETT M HAYWOOD
                                ONE FEDERAL ST                           ONE FEDERAL ST                             ONE RODNEY SQUARE
                                BOSTON MA 02110                          BOSTON MA 02110                            920 NORTH KING ST
                                                                                                                    WILMINGTON DE 19801


009723P001-1409A-265            009732P001-1409A-265                     003421P001-1409A-265                       007585P001-1409A-265
BANK OF AMERICA, NA             BANK OF HAWAII                           CELINA BANKS                               DEANDRAE BANKS
100 FEDERAL ST                  PO BOX 2900                              59 HARRAL AVE                              3603 BARED WIRE
9TH FL                          HONOLULU HI 96846-6000                   BRIDGEPORT CT 06604                        KILLEEN TX 76549
BOSTON MA 02110




008284P001-1409A-265            005155P001-1409A-265                     004870P001-1409A-265                       003266P001-1409A-265
ISJAMONEE M BANKS               JAZMINE R BANKS                          JULIA A BANKS                              NASYA D BANKS
5 LA COSTA DR                   3305 EAST ROME BLVD                      1902 MARY ELLEN DR                         7629 JOHNNYCAKE RD
EGG HARBOR TOWNSHI NJ 08234     APT 1002                                 COLUMBIA MO 65202                          WINDSOR MILL MD 21244
                                NORTH LAS VEGAS NV 89086
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029676P001-1409A-265       005050P001-1409A-265                 030552P001-1409A-265                    003189P001-1409A-265
TONI BANKS                 DAVID H BANKSKONG                    PATRICIA BANTER                         SANDRA BANUELOS
418 OGLE AVE               6115 SANTA CRUZ AVE                  ADDRESS INTENTIONALLY OMITTED           625 8TH ST
FRUITLAND MD 21826         RICHMOND CA 94804                                                            BAKERSFIELD CA 93304




007575P001-1409A-265       033565P001-1409A-265                 003149P001-1409A-265                    003669P001-1409A-265
MARIANNE V BANZUELO        BAR ARCHITECTS                       JAQUELINE F BARAHONA                    MICHELLE S BARAHONA
9405 WROUGHT IRON CT       901 BATTERY ST                       10225 HILLHAVEN AVE                     2906 EAGLE NEST LN
FAIRFAX VA 22032           STE 300                              203                                     HUMBLE TX 77396
                           SAN FRANCISCO CA 94111               TUJUNGA CA 91042




009162P001-1409A-265       005407P001-1409A-265                 002693P001-1409A-265                    002262P001-1409A-265
JOAIDA BARAJAS             KASSANDRA M BARAJAS                  MELISSA BARAJAS                         SANDRA BARAJAS
1111 AVALON AVE            25860 THUNDERCLOUD CT                1650 PREUSS RD                          28TH AVE W
2234                       MORENO VALLEY CA 92553               LOS ANGELES CA 90036                    515
SAN MARCOS TX 78666                                                                                     BRADENTON FL 34205




009469P001-1409A-265       031768P001-1409A-265                 000620P001-1409A-265                    030199P001-1409A-265
VERONICA BARAJAS           BARBARA TYSON                        TIFFANI M BARBEE                        AMANDA M BARBER
807 PK ST SW               16217 VALENCIA BLVD                  110 WOODLET LN                          ADDRESS INTENTIONALLY OMITTED
GRAND RAPIDS MI 49504      LOXAHATCHEE FL 33470                 BOLINGBROOK IL 60490




005158P001-1409A-265       007272P001-1409A-265                 003126P001-1409A-265                    003963P001-1409A-265
IESHA BARBER               KOLBY M BARBER                       XIARA BARBER                            KRYSTAL S BARBONTIN
1801 NORTH ATLANTA AVE     1350 N LBJ DR                        442 WEST CLINTON ST                     1917 HARRISON AVE
TULSA OK 74110             APT 332                              ELMIRA NY 14901                         B
                           SAN MARCOS TX 78666                                                          SAN DIEGO CA 92113




029635P001-1409A-265       008408P001-1409A-265                 035481P001-1409A-265                    034689P001-1409A-265
JENNIFER C BARBUZON        SKYLAR M BARCH                       SKYLAR M BARCH                          BARCLAY DAMON LLP
1338 W CALLE RIO LOBO      32 TRL RIDGE DR                      32 TRAIL RIDGE DR                       KEVIN M NEWMAN ESQ
TUCSON AZ 85714            MELISSA TX 75454                     MELISSA TX 75454                        SCOTT L. FLEISCHER, ESQ.
                                                                                                        BARCLAY DAMON TOWER
                                                                                                        125 EAST JEFFERSON STREET
                                                                                                        SYRACUSE NY 13202-2020


037709P002-1409A-265       003366P001-1409A-265                 008329P001-1409A-265                    004140P001-1409A-265
DESTINY BARCLAY            DESTINY BARCLAY                      TAMERAH BARCUS                          SHIANN T BARDELL
12727 SANDBUR VALLEY WAY   12727 SANDBUR VLY WAY                27 GOVERNOR ST                          PO BOX 2201
HOUSTON TX 77045           HOUSTON TX 77045                     NEWARK NJ 07102                         405 SW 1ST STR
                                                                                                        BATTLE GROUND WA 98604
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034236P001-1409A-265      003124P001-1409A-265                 004190P001-1409A-265                     008051P001-1409A-265
JORGE BARDINA             BRITTANY BARDWELL                    TERESA C BARELA                          BRITTANY BARFIELD
300 16TH AVE              1200 WEST TIDWELL                    314 WILDWOOD DR                          3905 SHENTON RD
#303                      1803                                 SOUTH SAN FRANCISC CA 94080              RANDALLSTOWN MD 21133
SAN FRANCISCO CA 94118    HOUSTON TX 77091




037470P001-1409A-265      005124P001-1409A-265                 030269P001-1409A-265                     037562P001-1409A-265
SENAY BARIS               SENAY E BARIS                        CATHERINE BARNELLO                       CATHERINE BARNELLO
36 DELEMERE BLVD          36 DELEMERE BLVD                     ADDRESS INTENTIONALLY OMITTED            7562 YORK DR
ROCHESTER NY 14450        FAIRPORT NY 14450                                                             CLAYTON MO 63105




000766P001-1409A-265      035482P001-1409A-265                 005174P001-1409A-265                     004490P001-1409A-265
CATHERINE I BARNELLO      CATHERINE I BARNELLO                 COURTNEY M BARNES                        GAYLE N BARNES
7562 YORK DR #1E          7562 YORK DR APT 1E                  6120 GDN OAKS DR                         2993 HOLLY RD
CLAYTON MO 63105          CLAYTON MO 63105                     TUSCALOOSA AL 35405                      ALPINE CA 91901




001923P001-1409A-265      008565P001-1409A-265                 009698P001-1409A-265                     002480P001-1409A-265
KAITLYN BARNES            KYMEJA A BARNES                      SHEQASHA S BARNETT COOPER                ADISON L BARNETT
210 MILL LN APT #106      673 WINCHESTER AVE                   87 EDGEWOOD ST                           175 CLEVERDON PKWY
ST AUGUSTINE FL 32084     LINCOLN PARK MI 48146                SPRINGFIELD MA 01109                     1934B
                                                                                                        DAPHNE AL 36526




035483P001-1409A-265      002807P001-1409A-265                 001128P001-1409A-265                     030391P001-1409A-265
ADISON L BARNETT          CATRINA BARNETT                      SHENEE BARNETT                           JESSICA BARNHART
129 CARONDOLET CT NORTH   3504 WOODLAWN FARMS                  1596 ANDOVER LN                          ADDRESS INTENTIONALLY OMITTED
MOBILE AL 36608           SCHERTZ TX 78154                     FREDERICK MD 21702




001057P001-1409A-265      007498P001-1409A-265                 001584P001-1409A-265                     006661P001-1409A-265
JESSICA L BARNHART        JENNIFER I BAROCIO                   ASHLEY M BARONE                          ALEXIS C BARRAGAN
2304 N BUSINESS RT 5      7950 W CLAYTON DR                    1051 LN CREEK WAY                        1115 SOUTH CLELA
CAMDENTON MO 65020        PHOENIX AZ 85033                     BISHOP GA 30621-1183                     LOS ANGELES CA 90022




000805P001-1409A-265      003776P001-1409A-265                 007658P001-1409A-265                     008462P001-1409A-265
NOHEMI BARRAGAN           ALONDRA T BARRAZA                    ANGELIQUE V BARRAZA                      JAZMIN BARRENO
1090 E E ST               4006 W PARADISE AVE                  7460 KITTY HAWK RD                       13562 JASPER LN
ONTARIO CA 91764          VISALIA CA 93277                     LOT #27                                  CLIFTON VA 20124
                                                               CONVERSE TX 78109
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009039P001-1409A-265       003662P001-1409A-265                      001241P001-1409A-265                      006899P001-1409A-265
ADILENE R BARRERA          DALIA V BARRETO                           JUANA BARRETO                             ASHLEIGH M BARRETT
1427 RAMONA LN             1650 S CAMPUS AVE                         2800 WILLOW AVE APT177                    8948 FINNSECH DR
SAINT CHARLES MO 63304     APT 78                                    CLOVIS CA 93612                           RENO NV 89506
                           ONTARIO CA 91761




008909P001-1409A-265       009462P001-1409A-265                      037467P001-1409A-265                      002672P001-1409A-265
CAMERON D BARRETT          MCKENNA H BARRETT                         RENA BARRETT                              RENA D BARRETT
223 N COOPER AVE #2        315 S 82ND ST                             RENA BARRETT                              6474 RIDGE RD UPER
CINCINNATI OH 45215        MILWAUKEE WI 53214                        6474 RIDGE RD UPPER                       PARMA OH 44129
                                                                     PARMA OH 44129




002005P001-1409A-265       002804P001-1409A-265                      008737P001-1409A-265                      030634P001-1409A-265
ALLISON BARRETTFRANCIS     ANJELEEKA BARRIENTOS                      SERENA N BARRIENTOS                       TANIA BARRIENTOS
47 WADE ST                 5620 COLLINS RD                           942 SAPPHIRE CT                           ADDRESS INTENTIONALLY OMITTED
1                          922                                       SAN JOSE CA 95136
WEST HAVEN CT 06516-1932   JACKSONVILLE FL 32244




009112P001-1409A-265       002361P001-1409A-265                      001147P001-1409A-265                      004714P001-1409A-265
AMY A BARRON               ANALYSSA C BARRON                         LATRICE BARRON                            MIREYA B BARRON
904 39TH AVE W             63 N SIERRA MADRE ST                      2545 NE 50TH PL                           1019 OLSON PL
BRADENTON FL 34205         MOUNTAIN HOUSE CA 95391                   OCALA FL 34479                            DUNCANVILLE TX 75137




003419P001-1409A-265       035484P001-1409A-265                      030902P001-1409A-265                      004738P001-1409A-265
VIVIANA J BARRON           VIVIANA J BARRON                          BARRONS EDUCATIONAL SERIES                DESTINEE H BARRUS
620 FLINTSTONE DR          437 S CENTER ST                           JACKIE RAAB                               580 N 2ND AVE
SANTA ANA CA 92704         ORANGE CA 92866                           250 WIRELESS BLVD                         COAL CITY IL 60416
                                                                     HAUPPAUGE NY 11788




002151P001-1409A-265       000757P001-1409A-265                      030644P001-1409A-265                      035485P001-1409A-265
VANESSA A BARRUTIA         TERESA BARSUASKAS                         TERESA BARSUASKAS                         ARIA M BARTLEY
9260 CROSSMEADOW DR        700 S HARBOUR ISLAND BLVD #206            ADDRESS INTENTIONALLY OMITTED             1 UNIVERSITY PK DR
BEAUMONT TX 77706-3824     TAMPA FL 33602                                                                      LU BOX 1091
                                                                                                               NASHVILLE TN 37204




005159P001-1409A-265       004865P001-1409A-265                      036656P001-1409A-265                      009088P001-1409A-265
ALEYDA BARTOLO             CHELSEA S BARTON                          MELISSA S BARTON                          TAWANA W BARTON
10000 CLUB CREEK           2828 SW 130TH TER                         401 S LAKEVIEW                            18 TREMONT AVE
APT1003                    MIRAMAR FL 33027                          DERBY KS 67037-1310                       BUFFALO NY 14213
HOUSTON TX 77036
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000920P001-1409A-265      002758P001-1409A-265                 007479P001-1409A-265                     035486P001-1409A-265
KOURTNEY J BARTZ          KYANNA N BARZEY                      JARVICA D BASDEN                         KYRA M BASGALL
301 CROWN                 307 KINGFISH DR                      3836 FRANKLIN ST                         7701 WCR 116
WYOMING MI 49548          KISSIMMEE FL 34759                   OMAHA NE 68111                           #24B
                                                                                                        MIDLAND TX 79706




005439P001-1409A-265      008119P001-1409A-265                 006876P001-1409A-265                     001145P001-1409A-265
KAMRYN BASH               AYSHA M BASHARAT                     NAJAH BASKERVILLE                        RAYMUNDO BASKINAS
15 CANTON ST              2751 TYBURN OAKS CT                  320 NORTH PENNSYLVANIA AVE               1671 CROSSROADS ST
WEST HAVEN CT 06516       WALDORF MD 20601                     ATLANTIC CITY NJ 08401                   CHULA VISTA CA 91915




002824P001-1409A-265      002130P001-1409A-265                 001312P001-1409A-265                     006516P001-1409A-265
AUBRIANA M BASMA          AHLIYAH N BASS                       ALYSSA BASS                              TRISTA R BASS
1221 SCHILLER ST          4703 MARTHAS WAY                     228 N 5TH AVE                            312 CAMBOUT ST
RACINE WI 53403           GROVETOWN GA 30813                   BEECH GROVE IN 46107                     COLUMBIA SC 29210




009242P001-1409A-265      005319P001-1409A-265                 035487P001-1409A-265                     009334P001-1409A-265
JORDYN M BASSLER          LAURA E BATCHELOR                    BRYTTANY N BATES                         DANIELLE M BATES
216 E MOUNTAIN VIEW DR    3 LANTERN LN                         4025 WEBB CT                             4901 NW LINDEN RD
FLAGSTAFF AZ 86001        LONDONDERRY NH 03053                 COLUMBIA SC 29204                        KANSAS CITY MO 64151




008203P001-1409A-265      006632P001-1409A-265                 005259P001-1409A-265                     003128P001-1409A-265
KYLEIGH R BATES           MARKAYLA BATES                       SAMANTHA K BATES                         SHERYL BATLLE
2922 W 27TH ST S          7942 CALVARY CT                      6910 MERION CT                           1095 WEST 37 ST
WICHITA KS 67217          MANASSAS VA 20109                    RAPID CITY SD 57702                      HIALEAH FL 33012




035488P001-1409A-265      008228P001-1409A-265                 002148P001-1409A-265                     007630P001-1409A-265
YESENIA BATRES            NYROBI N BATSON                      TRENTON BATTERSHAW                       DESIREE L BATTJES
18410 SANDY DR            12 SHADY LAKE CIR                    1601 S 20TH ST                           1230 SENECA ST SW
APT #103                  JACKSON NJ 08527                     UNIT 3                                   WYOMING MI 49509
CANYON COUNTRY CA 91387                                        LINCOLN NE 68502




008372P001-1409A-265      031183P001-1409A-265                 034338P001-1409A-265                     009004P001-1409A-265
KYLAH R BATTLE            BATTLEFIELD MALL                     BATTLEFIELD MALL, LLC                    EVE L BAUER
13202 MATTIE CIR          BATTLEFIELD MALL LLC                 862502 RELIABLE PKWY                     5025 COLLWOOD BLVD APT 1202
APT 13                    862502 RELIABLE PKWY                 CHICAGO IL 60686-0025                    SAN DIEGO CA 92115
NEWPORT NEWS VA 23608     CHICAGO IL 60686-0025
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008472P001-1409A-265               030903P001-1409A-265                         006818P001-1409A-265                     002856P001-1409A-265
KAYLA A BAUER                      BAUHAUS APPAREL LLC                          LOREN R BAUMBERGER                       KAREN J BAUTISTA DOMINGUEZ
32 HORSETAIL CT                    KEN ABBOTT                                   10415 BERNADETTE DR                      152 N ALBERT AVE
DARDENNE PRAIRIE MO 63368          322 S DATE AVE                               EVANSVILLE IN 47725                      SOUTH BEND IN 46619
                                   ALHAMBRA CA 91803




007545P001-1409A-265               035489P001-1409A-265                         002956P001-1409A-265                     036731P001-1409A-265
AURORA BAUTISTA                    DOMINGUEZ KAREN J BAUTISTA                   MIRIAM BAUTISTA                          RHANDI BAUTISTA
6115 S KILDARE AVE                 152 N ALBERT AVE                             1655 S 43RD ST                           1275 CENTRAL BLVD # 2338
CHICAGO IL 60629                   SOUTH BEND IN 46619                          APT 5                                    BRENTWOOD CA 94513
                                                                                SAN DIEGO CA 92113




008274P001-1409A-265               031770P001-1409A-265                         036403P001-1409A-265                     003407P001-1409A-265
HANNAH C BAVADI                    BAXTER FAWCETT DESIGN STUDIO                 BAXTER FAWCETT DESIGN STUDIO             KEANA S BAXTER
7336 CHESAPEAKE COVE ST            UNIT A                                       UNIT A 23A BENWELL RD                    54 RIDGEWOOD AVE
LAS VEGAS NV 89166                 23A BENWELL RD                               LONDON 0 N7 7BL                          APT 2
                                   LONDON N7 7BL                                UNITED KINGDOM                           NEWARK NJ 07108
                                   UNITED KINGDOM



031771P001-1409A-265               031184P001-1409A-265                         009055P001-1409A-265                     033805P005-1409A-265
BAY AREA COMPLIANCE LABS CORP      BAY PARK SQUARE                              SADE I BAYAN                             BAYARD PA
INDUSTRIAL BLDG NO 13              SIMON PROPERTY GROUP LP                      4059 LOCERBIE CIR                        ERIN R FAY; DANIEL BROGAN; GREGORY J FLASSER
6F THE 3RD PHASE OF WANLI          PO BOX 776438                                SPRING HILL TN 37174                     600 NORTH KING ST
SHIHUA RD FUTIAN FREE TRADE ZONE   CHICAGO IL 60677-6438                                                                 STE 400
SHENZHEN 518038                                                                                                          WILMINGTON DE 19801
CHINA


008322P001-1409A-265               031185P001-1409A-265                         036404P001-1409A-265                     037500P001-1409A-265
SHECAINA R BAYAWA                  BAYBROOK MALL                                BAYBROOK MALL LLC                        BAYBROOK MALL LLC
1830 LANAKILA AVE                  SDS-12-1851                                  PO BOX 86                                BROOKFIELD PROPERTY REIT INC
HONOLULU HI 96817                  PO BOX 86                                    MINNEAPOLIS MN 55486-1851                JULIE M BOWDEN
                                   MINNEAPOLIS MN 55486-1851                                                             350 N ORLEANS ST STE 300
                                                                                                                         CHICAGO IL 60654-1607



005601P001-1409A-265               008557P001-1409A-265                         008152P001-1409A-265                     031186P001-1409A-265
AUTUMN R BAYER                     MEGHAN BAYERSDORFER                          CARLY M BAYLARK                          BAYSHORE SHOPPING CENTER
14805 MCVAY AVE                    4535 LAKE FORREST DR                         1907 EAGLE CT                            BAYSHORE SHOPPING CENTER PROPE
SAN JOSE CA 95127                  ATLANTA GA 30342                             POTTERVILLE MI 48876                     8343 DOUGLAS AVE
                                                                                                                         STE 200
                                                                                                                         DALLAS TX 75225



036405P001-1409A-265               034332P001-1409A-265                         031187P001-1409A-265                     005975P001-1409A-265
BAYSHORE SHOPPING CENTER           BAYSHORE SHOPPING CENTER PROPERTY            BAYSHORE TOWN CENTER, LLC                SHAMIYA BAZEMORE
8343 DOUGLAS AVE STE 200           8343 DOUGLAS AVE                             STEINER PROPERTIES LLC                   3624 NOTTAWAY ST
DALLAS TX 75225                    STE 200                                      PO BOX 635025                            NORFOLK VA 23513
                                   DALLAS TX 75225                              CINCINNATI OH 45263-5025
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030904P001-1409A-265                 036170P001-1409A-265                       035325P001-1409A-265                       036171P001-1409A-265
BBASE IDG LIMITED                    BBASE IDG LIMITED                          BBC APPAREL GROUP LLC                      BBC APPAREL GROUP LLC DBA
DANIEL VAUGHAN                       7F E WAH FACTORY BUILDING                  LAZARUS AND LAZARUS PC                     DOLLHOUSE
STUDIO D 8F DRAGON INDUSTRIAL BLDG   56-60 WONG CHUK HANG RD                    HARLAN M LAZARUS                           1407 BROADWAY
93 KING LAM ST LAI CHI KOK           WONG CHUK HANG                             240 MADISON AVE 8TH FL                     NEW YORK NY 10018
CENTRAL HONG KONG                    HONG KONG                                  NEW YORK NY 10016
HONG KONG


030905P001-1409A-265                 030690P001-1409A-265                       036172P001-1409A-265                       033566P001-1409A-265
BBC APPAREL GROUP, LLC DBA           BBCO INC / LUNACHIX                        BBCO INC LUNACHIX                          BBT COMMERCIAL FINANCE
DBA DOLLHOUSE DENIM                  CECY MENDOZA                               1753 EAST 21ST ST                          317 W HIGH ST
SINDI                                1753 EAST 21ST ST                          LOS ANGELES CA 90058                       HIGH POINT NC 27261
1407 BROADWAY                        LOS ANGELES CA 90058
NEW YORK NY 10018



030906P001-1409A-265                 036173P001-1409A-265                       010614P001-1409A-265                       030907P001-1409A-265
BC USA                               BC USA                                     BCBSM INC                                  BCNU
PEGGY CHENG                          101 QUINT ST                               KKR                                        STEPS APPAREL GROUP INC
101 QUINT ST                         SAN FRANCISCO CA 94124                     JEREMIAH LANE                              JOSH RODNER
SAN FRANCISCO CA 94124                                                          3535 BLUE CROSS RD                         1105 SOUTH BOYLE AVE
                                                                                EAGAN MN 55122                             LOS ANGELES CA 90023



032837P001-1409A-265                 032837S001-1409A-265                       009955P001-1409A-265                       033336P001-1409A-265
BCWSA                                BCWSA                                      BDO USA, LLP                               BDP TECHNOLOGY SOLTIONS LLC
PO BOX 3333                          1275 ALMSHOUSE RD                          2201 E CAMELBACK RD                        TIN BACON
HARLEYSVILLE PA 19438                WARRINGTON PA 18976                        STE 360                                    244 NORTH MAIN ST
                                                                                PHOENIX AZ 85016                           STE 3
                                                                                                                           CONCORD NH 03301



036406P001-1409A-265                 035217P002-1409A-265                       003172P002-1409A-265                       006803P001-1409A-265
BE SOCIAL PUBLIC RELATIONS           RATHER BE                                  ASHLEY BEACH                               BRITTANY E BEAHM
844 N GENESEE AVE                    A/K/A MONOCRACY INC                        923 TRCY CREEK RD APT 3                    153 EDWARDS AVE
LOS ANGELES CA 90046                 MAYRA VALERIO                              VESTAL NY 13850-5135                       SWANNANOA NC 28778
                                     6001 E WASHINGTON BLVD #B
                                     #307
                                     COMMERCE CA 90040


004729P001-1409A-265                 033431P001-1409A-265                       031772P001-1409A-265                       034418P001-1409A-265
SARENA BEAL                          JAMES BEAN                                 BEAR COMMUNICATIONS, INC                   BEAR COMMUNICATIONS, INC
1065 ROSE DR                         601 WILLIAM ST                             CHRISTINE RISS                             PO BOX 670354
BENICIA CA 94510                     APT # 336                                  PO BOX 670354                              DALLAS TX 75267-0354
                                     OAKLAND CA 94612                           DALLAS TX 75267-0354




034418S001-1409A-265                 034365P001-1409A-265                       006981P001-1409A-265                       001401P001-1409A-265
BEAR COMMUNICATIONS, INC             BEAR STRNS COM MG SEC INC MG PT            EGYPT A BEARD                              MAKENZIE BEARD
RANDY TEMPLE                         9062 OLD ANNAPOLIS RD                      1416 ABBEYHILL DR COLUMBUS OH              4611 BIRCH HOLLOW DR
4009 DISTRIBUTION DR STE 200         COLUMBIA MD 21045                          WORTHINGTON OH 43085                       LINCOLN NE 68516
GARLAND TX 75041
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008693P001-1409A-265            036473P001-1409A-265                          002499P001-1409A-265                    001601P001-1409A-265
ELIZABETH R BEARDEN             DESIREE BEARDSLEY                             DESIREE D BEARDSLEY                     ASYA S BEASLEY
1792 FEATHER REED LN            709 TROY COVE                                 709 TROY COVE                           6647 COUNTRY CLUB RD
GREENWOOD IN 46143              JONESBORO AR 72401                            JONESBORO AR 72401                      6647 COUNTRY C
                                                                                                                      OMAHA NE 68152




030242P001-1409A-265            005316P001-1409A-265                          007039P001-1409A-265                    004495P001-1409A-265
AVERY M BEASLEY                 JASMINE N BEATTY                              EMILEE BEAUDION                         ANNELIESE BEAULIEU
ADDRESS INTENTIONALLY OMITTED   178 LOCKMAN AVE                               146 LONGDALE DR                         9 NICHOLS AVE
                                5B                                            LIVERPOOL NY 13090                      BROOKLINE NH 03033
                                STATEN ISLAND NY 10303




009396P001-1409A-265            031773P001-1409A-265                          034180P001-1409A-265                    030908P001-1409A-265
PHABIE BEAUPLAN                 BEAUTIFUL PICTURE PRODUCTIONS, INC            BEAUTIFUL PICTURE PRODUCTIONS, INC      BEAUTY FILL LLC
800 WEST MARIETTA ST NW         LACEY SHAW                                    1844 TURK ST APT 3                      1319 NORTH BROAD ST
ATLANTA GA 30318                1844 TURK ST APT 3                            SAN FRANCISCO CA 94115                  HILLSIDE NJ 07205
                                SAN FRANCISCO CA 94115




031774P001-1409A-265            005275P001-1409A-265                          004631P001-1409A-265                    009434P001-1409A-265
BEAUTYCON MEDIA INC             LARRISHA J BEAVER                             SAVANNAH M BEAVER                       CAMERON BECCLES
1626 WILCOX AVE                 720 MORRISON AVE                              6247 WARDS GAP RD                       2822 ELISTON ST
#392                            SACRAMENTO CA 95838                           CASAR NC 28020                          BOWIE MD 20716
LOS ANGELES CA 90028




007120P001-1409A-265            008937P001-1409A-265                          002095P001-1409A-265                    006844P001-1409A-265
BRIANA BECERRA                  BRIANNA H BECK                                MIKYLA S BECK                           BREANNA BECKER
17113 ARDMORE AVE               2915 NW 9TH ST                                2121 WEST MAIN ST                       811 LINK DR
BELLFLOWER CA 90706             LINCOLN NE 68521                              2094                                    APT 37
                                                                              MESA AZ 85201                           DUNCANVILLE TX 75116




006187P001-1409A-265            009415P001-1409A-265                          002729P001-1409A-265                    001159P001-1409A-265
BRITTANY M BECKER               JULIANNA M BECKER                             KATHRYN J BECKETT                       MELISSA O BECKFORD
8CHESTNUT ST                    105 WOODBRIDGE DR                             811 BOWERS AVE                          2943 NW 68TH AVE
MIDLEBORO MA 02346              SLIPPERY ROCK PA 16057                        RUNNEMEDE NJ 08078                      MARGATE FL 33063-2064




035490P001-1409A-265            005629P001-1409A-265                          002036P001-1409A-265                    005930P001-1409A-265
TRANIQUE A BECKFORD             CAPRICE J BECKHAM                             COURTNEY E BECKJOHNSON                  LISA BECKNER
8104 WEBB RD                    115 TRAIN DR                                  2410 MADERA CIR                         2736 SOUTH GLENWOOD
APT 2208                        SUMMERVILLE SC 29486                          APT 147                                 SPRINGFIELD IL 62703
RIVERDALE GA 30274                                                            PORT HUENEME CA 93041
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033466P001-1409A-265                  006494P001-1409A-265                  035491P001-1409A-265                      006135P001-1409A-265
NGAA BEDELL                           JENNIFER BEDOLLAMAGO                  GRETCHEN E BEELER                         ACACIA Y BEEMON
925 FELL ST APT #5                    12208 ALEXANDER RD                    1594 VISTA LN                             542 WOODY DR
SAN FRANCISCO CA 94117                EVERETT WA 98204                      APT 3                                     JACKSON MS 39212
                                                                            CLARKSVILLE TN 37043




009215P001-1409A-265                  009215S001-1409A-265                  007621P001-1409A-265                      001703P001-1409A-265
JENNIFER A BEEMSTERBOER               JENNIFER A BEEMSTERBOER               ASHLEY N BEGLEY                           CORY B BEHLER
1109 W MAIN ST                        240 ESSEX LN                          8530 W WINDROSE DR                        316 AMY CT
523                                   NEW LENOX IL 60451                    PEORIA AZ 85381                           #1
PEORIA IL 61606                                                                                                       SHILLINGTON PA 19607




006908P001-1409A-265                  005955P001-1409A-265                  003704P001-1409A-265                      004020P001-1409A-265
KERI N BEHLES                         DOMINIQUE M BEHRENS                   SHEALEE BEHRENS                           KENDRA L BEISWENGER
1644 PORTSMOUTH LAKE DR               15 HARVEST WAY                        4338 SPRINGFIELD ST                       1022 VLY GROVE RD
BRANDON FL 33511                      LITTLE EGG HARBOR NJ 08087            SIOUX CITY IA 51108                       VALLEY GROVE WV 26060




004637P001-1409A-265                  006774P001-1409A-265                  030909P002-1409A-265                      006082P001-1409A-265
SARA J BEITLER                        YASDI BEJARANO                        BEKKA FASHION INC                         DAIZHANNA A BELCHER
11 AMETHYST WAY                       23461 HWY 59                          910 S LOS ANGELES ST STE 808              4320 BOSTIC DR
JACKSON NJ 08527                      PORTER TX 77365                       LOS ANGELES CA 90015-1792                 101
                                                                                                                      GREENVILLE NC 27834




031188P001-1409A-265                  034107P001-1409A-265                  037765P001-1409A-265                      035407P001-1409A-265
BELDEN MALL LLC                       BELDEN MALL LLC                       BELDEN MALL LLC                           BELL COUNTY
1 EAST WACKER DR                      1 EAST WACKER DR                      BALLARD SPAHR LLP                         TAX APPRASIAL DISTRICT OF BELL COUNTY
#3600                                 STE 3600                              DUSTIN P BRANCH                           PO BOX 390
CHICAGO IL 60601                      CHICAGO IL 60601                      2029 CENTURY PARK EAST STE 800            BELTON TX 76513
                                                                            LOS ANGELES CA 90067-2909



035407S001-1409A-265                  035392P001-1409A-265                  006261P001-1409A-265                      006042P001-1409A-265
BELL COUNTY                           GINA BELL                             ALEXIS K BELL                             ASHLEIGH M BELL
MCCREARY VESELKA BRAGG AND ALLEN PC   6033 NW 15TH CT                       240 ONLEY RD                              28 HICKORY HILL LN
TARA LEDAY                            MARGATE FL 33063                      102                                       FREDERICKSBURG VA 22405
PO BOX 1269                                                                 SALISBURY MD 21804
ROUND ROCK TX 78680



009701P001-1409A-265                  035493P001-1409A-265                  030910P001-1409A-265                      004902P001-1409A-265
MIRANDA L BELL                        JASMINE B BELL-MAYHORN                BELLA TUNNO                               KRISTINA BELLAS
619 WEST 1ST ST                       10320 S VERNON AVE APT2               250 N TRADE ST                            50 SAN GREGORIO CT
WILLIAMSBURG PA 16693                 2                                     STE 201                                   DANVILLE CA 94526
                                      CHICAGO IL 60628                      MATTHEWS NC 28105
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030911P001-1409A-265            003203P001-1409A-265                      035492P001-1409A-265                     005648P001-1409A-265
BELLE TRENDZ                    ALIX M BELLE                              ALIX M BELLE                             DOMINIC BELLETTINI
PAWAN K JAIN                    5807 HARR AVE                             1413 4TH ST SE                           520 BALBOA ST
ROSE MEDRANO                    APT A                                     ROCHESTER MN 55904                       SAN FRANCISCO CA 94118
23552 CANYON VISTA CT           COLORADO SPRINGS CO 80902
DIAMOND BAR CA 91765



008011P001-1409A-265            031189P001-1409A-265                      037384P001-1409A-265                     005264P001-1409A-265
MARLENNY BELLIARD               BELLIS FAIR MALL LLC                      BELLIS FAIR MALL LLC                     NAYELI F BELLIZZIA
771 ATWELLS AVE                 GGPLP REAL ESTATE INC                     BROOKFIELD PROPERTY REIT INC             129 FAIRFAX CIR
PROVIDENCE RI 02909             SDS 12-1356                               JULIE M BOWDEN                           BRANDON MS 39047
                                PO BOX 86                                 350 N ORLEANS ST STE 300
                                MINNEAPOLIS MN 55486-1356                 CHICAGO IL 60654-1607



030631P001-1409A-265            001796P001-1409A-265                      037254P001-1409A-265                     037254S001-1409A-265
TAMI BELLO                      TAMI L BELLO                              BELLSOUTH TELECOMMUNICATIONS INC         BELLSOUTH TELECOMMUNICATIONS INC
ADDRESS INTENTIONALLY OMITTED   283 BAY 17TH ST                           AT AND T SVC INC                         NEREIDA VITELA
                                APT 3A                                    KAREN A CAVAGNARO LEAD PARALEGAL         BANKRUPTCY REP
                                BROOKLYN NY 11214                         ONE AT&T WAY ROOM 3A104                  4331 COMMUNICATIONS DRIVE FL 4W
                                                                          BEDMINSTER NJ 07921                      DALLAS TX 75211



031190P001-1409A-265            037764P001-1409A-265                      029354P001-1409A-265                     000708P001-1409A-265
BELMAR COMMERCIAL OWNER LP      BELMAR COMMERCIAL OWNER LP                GUADALUPE I BELMAREZ                     VILMA B BELMONTE
PO BOX 912904                   BALLARD SPAHR LLP                         6122 OLD LA BLANCA RD                    2372 FLEETWOOD ST
DENVER CO 80291-2904            DUSTIN P BRANCH                           DONNA TX 78537                           SAN DIEGO CA 92111
                                2029 CENTURY PARK EAST STE 800
                                LOS ANGELES CA 90067-2909



004207P001-1409A-265            002561P001-1409A-265                      033406P001-1409A-265                     005119P001-1409A-265
KATHIA BELTRAN                  SAMANTHA A BELTRAN                        BELUGA INC                               CELESTE BEN AMARA
3848W 164TH ST                  94980 AWAIKI ST                           MICHELLE COHEN                           15150 MACADAM RD S
215                             WAIPAHU HI 96797                          463 SEVENTH AVE                          APT B202
TORRANCE CA 90505                                                         4TH FLOOR                                TUKWILA WA 98188
                                                                          NEW YORK NY 10018



031776P001-1409A-265            035494P001-1409A-265                      006858P001-1409A-265                     002639P001-1409A-265
BEN PEGRAM                      AMARA CELESTE BEN                         MALENA BEN                               ALANNA BENACQUISTA
DEANNA ZIRBES                   15150 MACADAM RD S                        7022 WALMSLEY BLVD                       604 23RD ST
958 28TH ST                     APT B202                                  RICHMOND VA 23236                        2
#21                             TUKWILA WA 98188                                                                   WATERVLIET NY 12189
OAKLAND CA 94608



037055P001-1409A-265            002159P001-1409A-265                      007684P001-1409A-265                     000787P001-1409A-265
ALANNA BENACQUISTA              AUBREE L BENAVIDES                        CYNTHIA Y BENAVIDEZ                      HERLINDA BENAVIDEZ
604 23RD ST                     3505 BOSWELLIA DR                         5770 BACKLICK RD                         8763 PINE CREST PL
WATERVLIET NY 12189             BAKERSFIELD CA 93311                      201                                      RANCHO CUCAMONGA CA 91730
                                                                          SPRINGFIELD VA 22150
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033360P001-1409A-265          007975P001-1409A-265                               007751P001-1409A-265                     036175P002-1409A-265
BENCHMARK MAKERS LLC          YASMINA BENDAHOU                                   KATIE L BENDALL                          BENDIE LLC
3033 WILSHIRE BLVD 1305       1265 SHOEBRIDGE DR                                 256 OSCAR WEBSTER RD                     DANNY LEDER
LOS ANGELES CA 90010          MYRTLE BEACH SC 29579                              HUNTSVILLE AL 35803                      8906 SW 129 TERRACE
                                                                                                                          MIAMI FL 33176




031777P001-1409A-265          035087P001-1409A-265                               030425P001-1409A-265                     003606P001-1409A-265
BENEFIT AND RISK MANAGEMENT   BENEFIT AND RISK MANAGEMENT                        KALEANA A BENISH                         YANICET M BENITES
PO BOX 2140                   80 IRON PT CIR STE 200                             ADDRESS INTENTIONALLY OMITTED            541 NORTHRIDGE RD APT E
FOLSOM CA 95763               FOLSOM CA 95630                                                                             ATLANTA GA 30350




000768P001-1409A-265          007347P001-1409A-265                               001942P001-1409A-265                     028883P001-1409A-265
HILDA BENITEZ                 VIRYDIANA B BENITEZ                                YOHANA BENITEZRAMIREZ                    STAJIA W BENJAMIN
615 VIRGINIA AVE              1825 TERRY LN                                      4520 ORCHARD AVE                         2087 ALLSTON CT
APT #12                       KNIGHTDALE NC 27545                                LOS ANGELES CA 90037                     FAIRFIELD CA 94533
ONTARIO CA 91764




010531P001-1409A-265          010531S001-1409A-265                               007284P001-1409A-265                     007038P001-1409A-265
ANN HARRIS BENNETT            ANN HARRIS BENNETT                                 ARAZHANE T BENNETT                       LAURA S BENNETT
TAX ASSESSOR-COLLECTOR        LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            3064 STANTON RD SE                       1240 7TH AVE
PO BOX 4622                   JOHN P DILMAN                                      APT 2A                                   4
HOUSTON TX 77210-4622         PO BOX 3064                                        WASHINGTON DC 20020                      SAN FRANCISO CA 94122
                              HOUSTON TX 77253-3064



033257P001-1409A-265          030579P001-1409A-265                               001227P001-1409A-265                     007172P001-1409A-265
LAURA SHIPP BENNETT           ROXANNE BENNETT                                    ROXANNE M BENNETT                        TAYLOR BENNETT
DEPT 1555                     ADDRESS INTENTIONALLY OMITTED                      664 TRENTON ST                           35457 HWY 433
1240 7TH AVE                                                                     EL CAJON CA 92019                        SLIDELL LA 70460
SAN FRANCISCO CA 94122




005853P001-1409A-265          008486P001-1409A-265                               027020P001-1409A-265                     009663P001-1409A-265
VICTORIA M BENNETT            WENTER M BENNETT                                   CORINNE BENNINGER                        SAMANTHA A BENOIT
7126 COMANCHE RIDGE DR        401CEDAR GLEN CIR                                  4080 TREEBROOK DR                        21593 NORTH 59TH DR
CONVERSE TX 78109             CHATTANOOGA TN 37412                               WINSTON SALEM NC 27106-2056              GLENDALE AZ 85308




009968P001-1409A-265          000488P001-1409A-265                               003840P001-1409A-265                     036564P001-1409A-265
BENSALEM TOWNSHIP             KHYLA BENSON                                       NATALIE M BENSON                         JENNY BENTLEY
FIRE MARSHAL'S OFFICE         1400 BRUSH ROW RD                                  2364 WHARREY DR                          416 N JUNIPER DR
2400 BYBERRY RD               WILBERFORCE OH 45385                               SEWICKLEY PA 15143                       ATWOOD IL 61913
BENSALEM PA 19020
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007471P001-1409A-265              032676P001-1409A-265                    033208P001-1409A-265                      000906P001-1409A-265
MADISON H BENTLEY                 BENTON COUNTY, AR                       DENEANE C BENTON                          GWENDOLYN D BENTON
1815 SABRINA LN                   TAX COLLECTOR                           901 MCNEIL ST                             1308 N 45TH ST
HEDGESVILLE WV 25427              215 EAST CENTRAL AVE                    SHREVEPORT LA 71101                       FT. SMITH AR 72904
                                  RM 101
                                  BENTONVILLE AR 72712



002609P001-1409A-265              006823P001-1409A-265                    030849P001-1409A-265                      001142P001-1409A-265
MADISON L BENTON                  CHERYL A BERARD                         BERESKIN AND PARR                         DEAN BERG
600 YARMOUTH LN                   211 PHILLIPS ST                         SCOTIA PLZ 40 40 KING ST W                3989 ALDER AVE
BEL AIR MD 21014                  METHUEN MA 01844                        40TH FL                                   CARLSBAD CA 92008
                                                                          TORONTO ON M5H 3Y2
                                                                          CANADA



031778P001-1409A-265              005524P001-1409A-265                    008344P001-1409A-265                      003781P001-1409A-265
BERGER TRANSFER AND STORAGE INC   NICOLE E BERGER                         PHILIP D BERGER                           ROBBI D BERKA
NW 7215                           101 DOLLIE MAE LN                       2007 S LENAVIEW CIR                       22491 ORCHARD GRASS TER
PO BOX 1450                       STEPHENS CITY VA 22655                  BENNETT CO 80102                          APPARTMENT 402
MINNEAPOLIS MN 55485-7215                                                                                           ASHBURN VA 20148




031779P001-1409A-265              034217P001-1409A-265                    007989P001-1409A-265                      036418P001-1409A-265
BERKELEY RESEARCH GROUP, LLC      BERKELEY RESEARCH GROUP, LLC            SYDNI L BERKHALTER                        BRISSA BERKOVITS
ROBERT DUFFY                      2200 POWELL ST                          677 CLOVERDALE AVE                        531 OAKVILLE DOLLAR DES ORMEAUX
2200 POWELL ST                    STE 1200                                CINCINNATI OH 45246                       QC H9G 1M3
STE 1200                          EMERYVILLE CA 94608                                                               CANADA
EMERYVILLE CA 94608



001569P001-1409A-265              006842P001-1409A-265                    008847P001-1409A-265                      030466P001-1409A-265
JANET E BERMUDEZ                  ZULMA L BERMUDEZ                        ANNABETH J BERN                           LARESA BERNACHE
401 LUNA AZUL                     1649 CRYSTALVIEW TRL                    171 CHRISTIANA ST                         ADDRESS INTENTIONALLY OMITTED
CHAPARRAL NM 88081                LAKELAND FL 33801                       NORTH TONAWANDA NY 14120




000867P001-1409A-265              007644P001-1409A-265                    010165P001-1409A-265                      033567P001-1409A-265
LARESA M BERNACHEMORENO           THANIA BERNAL                           BERNALILLO COUNTY TREASURER               BERNARD SANDS LLC
1905 BLUE CLOUD ST                3625 ELM FARM RD #40                    ONE CIVIC PLZ NW                          51 CRAGWOOD RD
HENDERSON NV 89002                WOODBRIDGE VA 22192                     BASEMENT                                  S. PLAINFIELD NJ 07080
                                                                          ALBUQUERQUE NM 87102




001479P001-1409A-265              008802P001-1409A-265                    008390P001-1409A-265                      007995P001-1409A-265
OZIEANNA G BERNARD                SAMANTHA S BERNARD                      TYAN M BERNARD                            YMANEE C BERNARD
21720 SE ALDER DR                 1 DERBY LN                              3527 LANCASTER ST                         2525 CENTERGATE DR
GRESHAM OR 97030                  NEW CITY NY 10956                       NEW ORLEANS LA 70131                      APT201
                                                                                                                    MIRAMAR FL 33025
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008563P001-1409A-265          036722P001-1409A-265                 007949P001-1409A-265                    008509P001-1409A-265
LEONALDO T BERNIER            RAJEANNE BERNYMAN                    GIANA M BERRIOS                         JOSE M BERRIOS
31 CONCORD ST APT 1           605F SPRING ST                       1023 VLY CT                             707 B MARY JO DR
1                             RICHMOND WA 23220                    PENNSBURG PA 18073                      JESSUP PA 18434
JERSEY CITY NJ 07306




004763P001-1409A-265          002136P001-1409A-265                 002938P001-1409A-265                    006727P001-1409A-265
WENDY A BERROA                AMBER BERRY                          ANABELLE BERRY                          CAITLYN A BERRY
11 PROSPECTS APT 21           203 WILKERSON ST                     2054 W 2ND PL                           12551 LORNA ST
21                            1110                                 MESA AZ 85201                           GARDEN GROVE CA 92841
WORCESTER MA 01608            SCOTTSVILLE KY 42164




001547P001-1409A-265          003755P002-1409A-265                 006917P001-1409A-265                    031992P001-1409A-265
ICYPHINE BERRY                SHELBY BERRY                         STEPHANY K BERRY                        DEVON BERT
1203 HIGH HAMMOCK DR APT 10   203 WILDERSON ST                     200 MAGNOLIA BLVD                       1600 LARKIN ST
TAMPA FL 33619                SCOTTSVILLE KY 42164-8705            PORT WENTWORTH GA 31407                 APT 101
                                                                                                           SAN FRANCISCO CA 94109




004810P001-1409A-265          003034P001-1409A-265                 030691P001-1409A-265                    031780P001-1409A-265
ANNDREA J BERTKE              MIKAYLA M BERTRAND                   BEST ACCESSORY GROUP LLC                BEST SECURITY INDUSTRIES, INC
2636 PRELUDE PATH             19 MOUNT PLEASANT ST                 ABE SAFDIE                              755 NORTHWEST 17TH AVE
WEST CARROLLTON OH 45449      DERRY NH 03038                       10 WEST 37TH ST                         STE 101
                                                                   STE 4E                                  DEL RAY BEACH FL 33445
                                                                   NEW YORK NY 10018



004695P001-1409A-265          037602P001-1409A-265                 031781P001-1409A-265                    034225P001-1409A-265
JESSICA BETANZOS              JESSICA BETANZOS                     BETH MACLEAN CONSULTING LLC             BETH MACLEAN CONSULTING LLC
14916 61ST CT N               14916 61ST CT N                      BETH MACLEAN                            2601 BLANDING AVE
LOXAHATCHEE FL 33470          LOXAHATCHEE FL 33470                 2601 BLANDING AVE                       #C406
                              UNITED STATES                        #C406                                   ALAMEDA CA 94501
                                                                   ALAMEDA CA 94501



003758P001-1409A-265          003018P001-1409A-265                 005558P001-1409A-265                    029223P001-1409A-265
QUABENA H BETHEA              RASHEEDAH BETHEA                     AMANDA R BETTS                          MYAH M BETTS
31920 124TH AVE SE            1162 SOUTH ORANGE AVE                99 SHANDON RD                           943 HARLAN CIR
#K103                         APT 1                                #302                                    SAN DIEGO CA 92114
AUBURN WA 98092               SOUTH ORANGE NJ 07079                DORCHESTER CENTER MA 02124




006977P001-1409A-265          004942P001-1409A-265                 035495P001-1409A-265                    001082P001-1409A-265
DESTINY N BETZ                JULIANA E BEU                        JULIANA E BEU                           HEATHER L BEVAN
114 ROBINSON ST               23 GTWY RD                           23 GATEWAY RD                           3 DANIEL ST
SCHOOLCRAFT MI 49087          FAIRPORT NY 14450                    FAIRPORT NY 14450                       GREENSBURG PA 15601-6303
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004894P001-1409A-265                      003530P001-1409A-265                      002716P001-1409A-265                     003904P001-1409A-265
ALEXIS R BEVERLY                          DONIQUA J BEVERLY                         KYLA T BEVERLYBASS                       MARIA ANTONIETT BEVILACQUA
2070 ENCLAVE DR                           3 BOULDERCREST CT                         97 BRYANT RD                             1301 POST AVE
TRUSSVILLE AL 35173                       H                                         97 BRYANT RD                             ELMONT NY 11003
                                          ROSEDALE MD 21237                         TURNERSVILLE NJ 08012




010505S001-1409A-265                      030912P001-1409A-265                      006622P001-1409A-265                     001810P001-1409A-265
BEXAR COUNTY TAX ASSESSOR-COLLECTOR       BEYOND123 LLC                             APARNA R BEZAWADA                        PAMELA BEZILLA
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP   2188 NESCONSET HWY                        2647 N WALKER WAY                        1341 PARKSIDE AVE
DON STECKER                               STE 168                                   PHOENIX AZ 85008                         EWING NJ 08638
711 NAVARRO ST STE 300                    STONY BROOK NY 11790
SAN ANTONIO TX 78205



008630P001-1409A-265                      008897P002-1409A-265                      004211P001-1409A-265                     001806P001-1409A-265
HARVEEN K BHATHAL                         ALEXIS M BHOLA                            HARLEEN BHOOMBLA                         DEANNA BHOOSHAN
19105 LANCER CIR                          11880 ADONCIA WAY APT 2102                514 HARTFORD RD                          5900 36TH ST W
PURCELLVILLE VA 20132                     FORT MYERS FL 33912-9031                  MOORESTOWN NJ 08057                      APT L201
                                                                                                                             BRADENTON FL 34210




007335P001-1409A-265                      031782P001-1409A-265                      032838P001-1409A-265                     031783P001-1409A-265
GULRAJ S BHULLAR                          BIAGINI WASTE REDUCTION SYSTEM            BIAGINI WASTE REDUCTION SYSTEM           BIANCA ORECCHIO
450 E OKEEFE ST                           1150 HENSLEY ST                           1151 HENSLEY ST                          582 OVINGTON AVE
APT 37                                    RICHMOND CA 94801                         RICHMOND CA 94801                        BROOKLYN NY 11209
EAST PALO ALTO CA 94303




031784P001-1409A-265                      008954P001-1409A-265                      002697P001-1409A-265                     033355P001-1409A-265
BIANCA PALUMBO                            AMANDA BIANCA                             MAKELAH BIAS                             BIBBY FINANCIAL SVC CA
179 HOWARD ST                             504 W WILLOW ST                           18520 N 83RD DR                          SUE MOSHER
MELROSE MA 02176                          10                                        PEORIA AZ 85382                          2945 TOWNSGATE RD
                                          NORMAL IL 61761                                                                    STE 140
                                                                                                                             WESTLAKE VILLAGE CA 91361



005973P001-1409A-265                      002953P001-1409A-265                      007915P001-1409A-265                     032839P001-1409A-265
NYCHOLE BIBINSNORD                        JESSIE D BICE                             JENNIFER E BICHA                         BIG FLATS WATER DEPT
3226 VICKSBURG ST                         4248 E FOX ST                             7932 CARMENCITA AVE                      476 MAPLE ST
DETROIT MI 48206                          MESA AZ 85205                             SACRAMENTO CA 95829                      BIG FLATS NY 14814




000622P001-1409A-265                      007150P001-1409A-265                      030426P001-1409A-265                     001623P001-1409A-265
RICCI N BIGELOW                           ALEXIS BIGGERS                            KANANI BIKLE                             KANANI M BIKLE
1640 GRAND AVE                            504 SOUTH MULLER PKWY                     ADDRESS INTENTIONALLY OMITTED            655 12TH ST
1301                                      APT #404-C                                                                         APT 118
KNOXVILLE TN 37916                        BLOOMINGTON IN 47406                                                               OAKLAND CA 94607
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004430P001-1409A-265            001933P001-1409A-265                 003752P001-1409A-265                      031785P001-1409A-265
STAR BILLINGSLEY                MARQUISE A BILLINSLEY                ALICIA M BILLOCK                          BILLUPS, INC
9310 E BARRON CIR               9310 E BARRON CIR                    216 N 2ND AVE E                           340 OSWEGO POINTE DR
WICHITA KS 67207                WICHITA KS 67207-3708                DULUTH MN 55803                           STE 101
                                                                                                               LAKE OSWEGO OR 97034




009239P001-1409A-265            005824P001-1409A-265                 033568P001-1409A-265                      030913P001-1409A-265
MARCHELLE J BINFORD             ANNABELLE BINKLY                     BIO WORLD                                 BIOWORLD MERCHANDISING
5333 E THOMAS RD                11129 NE 43RD CIR                    2111 W WALNUT HILL LN                     FRANK DEMELFI
E135                            VANCOUVER WA 98682                   IRVING TX 75038                           2111 W WALNUT HILL LN
PHOENIX AZ 85018                                                                                               IRVING TX 75038




036176P001-1409A-265            033434P002-1409A-265                 030571P001-1409A-265                      005668P001-1409A-265
BIOWORLD MERCHANDISING          JAMIE BIRCH                          RILEY BIRCHAM                             LAURA O BIRCHFIELD
2111 W WALNUT HILL LN           JEB COMMERCE                         ADDRESS INTENTIONALLY OMITTED             107 HASTY BLVD
IRVING TX 75038                 SARAH BIRCH                                                                    ERWIN TN 37650
                                610 W HUBBARD AVE
                                STE 124
                                COEUR D'ALENE ID 83815


030491P001-1409A-265            001101P001-1409A-265                 033808P001-1409A-265                      036407P001-1409A-265
MAEGAN A BIRD                   SAMANTHA E BIRD                      BIRDS OF OHIO INC                         BIRDS OF OHIO INC
ADDRESS INTENTIONALLY OMITTED   6809 MILWAUKEE ST                    BRIAN CAVINESS                            249 E EMERSON AVE STE C
                                106                                  249 E. EMERSON AVE                        ORANGE CA 92865
                                MADISON WI 53718-3468                STE C
                                                                     ORANGE CA 92865



007189P001-1409A-265            002465P001-1409A-265                 006129P001-1409A-265                      003938P002-1409A-265
ALEXIS J BIRGER                 JAIDEN BIRTZER                       MEGAN BISCAN                              KAYLA BISHOP
302 E 7TH ST                    E8895 WEST MALLARD RD                651 DANA DR                               877 NEW CASTLE RD APT 212
HILLS MN 56138                  STRUM WI 54770                       COLUMBIA IL 62236                         SLIPPERY ROCK PA 16057-4237




003675P001-1409A-265            008208P001-1409A-265                 006953P001-1409A-265                      030692P001-1409A-265
MEGAN R BISHOP                  MAKENZIE M BITTERMAN                 DANNISHA K BIVENS                         BLACK DIAMOND ACCESSORIES
6252 THORNAPPLE VLY DR          207 N BALL ST                        14602 BELLA MEADOW CT                     20 WEST 37TH ST
HASTINGS MI 49058               1                                    CYPRESS TX 77433                          8TH FL
                                OWOSSO MI 48867                                                                NEW YORK NY 10018




032840P001-1409A-265            032840S001-1409A-265                 033843P001-1409A-265                      006147P001-1409A-265
BLACK HILLS ENERGY              BLACK HILLS ENERGY                   BLACK HILLS ENERGY                        ANGELA BLACK
PO BOX 6001                     P O BOX 1400                         7001 MOUNT RUSHMORE RD                    3903 BUTTONWOOD DR
RAPID CITY SD 57709             RAPID CITY SD 57709-1400             RAPID CITY SD 57702                       APT 101
                                                                                                               COLUMBIA MO 65201
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JASMINE C BLACK                  NATOSHA L BLACK                                  EMMA BLACKBURN                             FIONA G BLACKBURN
2225 MARTIN LN                   203 HALL AVE                                     3295 SHELBY ST                             1714 MOUNT VERNON DR
TYLER TX 75701                   SOLVAY NY 13209                                  THE VILLAGES FL 32162                      FORT WRIGHT KY 41011




033569P001-1409A-265             033570P001-1409A-265                             007308P001-1409A-265                       007494P001-1409A-265
BLACKHAWK                        BLACKLINE SYSTEMS                                DEJONIQUE J BLACKNELL                      BRIANNA E BLACKOWL
5918 STONERIDGE MALL RD          21300 VICTORY BLVD                               1131 63RD ST                               N7172 PATH OF THE BEAR
PLEASANTON CA 94588              12TH FLOOR                                       9                                          ONEIDA WI 54155
                                 WOODLAND HILLS CA 91367                          OAKLAND CA 94608




036408P002-1409A-265             031786P001-1409A-265                             002794P001-1409A-265                       008258P001-1409A-265
BLAIR GENERAL MAINTENANCE        BLAIR GENERAL MAINTENANCE CONTRACTORS            ALEXUS C BLAIR                             RAYONNA X BLAIR
BLAIR DESIGN AND CONSTRUCTION    BLAIR DESIGN AND CONSTRUCTION                    2720 W FREMONT                             511 SHELLY RIDGE LN
ROBERT E PERKINS                 9712 SKILLMAN ST                                 PEORIA IL 61605                            308
9712 SKILLMAN ST                 DALLAS TX 75243                                                                             RALEIGH NC 27609
DALLAS TX 75243



008113P001-1409A-265             003954P001-1409A-265                             035496P001-1409A-265                       006131P001-1409A-265
SYDNEY Y BLAIR                   KASSANDRA M BLAISDELL                            KASSANDRA M BLAISDELL                      ALLYSON BLAISE
202 MEADOW RUN EXTENSION         15 IRON HORSE DR                                 500 SALISBURY ST                           804 TYLER TER
ASHEVILLE NC 28806               E112                                             WORCESTER MA 01609                         UTICA NY 13501
                                 BEDFORD NH 03110




005340P001-1409A-265             031787P001-1409A-265                             008858P001-1409A-265                       005173P001-1409A-265
MAGDALENA BLAISE                 BLAKE AIR CONDITIONING AND SERVI                 ASHLEY N BLAKE                             DERRIERE M BLAKE
1649 BROADWAY                    1175 NORTH OSPREY CIR                            1533 LEO BAKER RD                          1812 CALADIUM DR
RAYNHAM MA 02767                 ANAHEIM CA 92807                                 ASHLAND CITY TN 37015                      CORINTH TX 76210




030850P001-1409A-265             002441P001-1409A-265                             004335P001-1409A-265                       001326P001-1409A-265
BLAKE, CASSELS AND GRAYDON LLP   CHYNNA S BLAKELY                                 SADIE N BLAKEMORE                          ELIZABETH A BLANCHARD
199 BAY ST STE 4000              565 E ELM ST                                     340 SUNRISE DR                             420 GILMOR RD
COMMERCE CT WEST                 APT 3                                            KEVIL KY 42053                             JOPPA MD 21085-4219
TORONTO ON M5L 1A9               LINDEN NJ 07036
CANADA



004315P001-1409A-265             002363P001-1409A-265                             001191P001-1409A-265                       004933P001-1409A-265
RILEY BLANCHARD                  CLARISSA BLANCO                                  PAMELA M BLAND                             MELODIE S BLANDING
5366 DESCANSO CIR E              609 MIDDLE NECK RD                               137 HUNTLEIGH FOREST DR                    116 CRIMSON OAK DR
COLORADO SPRINGS CO 80918        3                                                KIRKWOOD MO 63122-1201                     LEXINGTON SC 29072
                                 GREAT NECK NY 11023
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036431P001-1409A-265            008774P001-1409A-265                          037282P001-1409A-265                    008834P001-1409A-265
CESLIE BLASS                    NEFETARI L BLASSE                             EVE BLECHMAN                            EVE S BLECHMAN
1771 E MALORY ST                1480 MILE ST                                  EVE SARENA BLECHMA                      195 RIVER RD
PENSACOLA BEACH FL 32503        BRISTOL PA 19007-1816                         195 RIVER RD                            DEERFIELD IL 60015
                                                                              DEERFIELD IL 60015




006213P001-1409A-265            001965P001-1409A-265                          008157P001-1409A-265                    033571P001-1409A-265
KRISTEN M BLEDSOE               CHRISTINA J BLEVINS                           STEPHANIE C BLISH                       BLOOMBERG BNA
161-22 119TH AVE                11296 122ND AVE                               4750 W 29TH ST                          3 BETHESDA METRO CTR
2ND FL                          LARGO FL 33778                                706                                     BETHESDA MD 20814
JAMAICA NY 11434                                                              GREELEY CO 80634




009194P001-1409A-265            031191P001-1409A-265                          031191S001-1409A-265                    036345P001-1409A-265
ANTHONY J BLOOMER               BLOOMFIELD HOLDINGS LLC                       BLOOMFIELD HOLDINGS LLC                 BLOOMFIELD HOLDINGS LLC
2819 FAIRMOUNT AVE              PO BOX 205150                                 BARCLAY DAMON LLP                       BARCLAY DAMON LLP
ATLANTIC CITY NJ 08401          DALLAS TX 75320-5150                          KEVIN NEWMAN SCOTT FLEISCHER            KEVIN M NEWMAN
                                                                              BARCLAY DAMON TOWER                     BARCLAY DAMON TOWER
                                                                              125 EAST JEFFERSON ST                   125 E JEFFERSON ST
                                                                              SYRACUSE NY 13202                       SYRACUSE NY 13202


036345S001-1409A-265            033572P002-1409A-265                          030576P001-1409A-265                    001361P001-1409A-265
BLOOMFIELD HOLDINGS LLC         BLOOMREACH INC                                ROLY BLOSCH                             ROLYNELLE C BLOSCH
JASON VOYLES                    GENERAL COUNSEL                               ADDRESS INTENTIONALLY OMITTED           7307 PARKWOOD CIR
200 BASS PRO DR STE 124         82 PIONEER WAY                                                                        APT A
PEARL MS 39208                  MOUNTAIN VIEW CA 94041                                                                DUBLIN CA 94568




030914P001-1409A-265            036935P002-1409A-265                          030693P001-1409A-265                    006643P001-1409A-265
BLOSSOM CLOTHING INC            BLOWER-DEMPSAY CORP A/K/A PAK WEST            BLOWFISH LLC                            ALEXANDRIA BLUCAS
110 E 9TH ST                    SERGE POIRIER                                 GIORDAN HERNANDEZ                       208 ROCKSVILLE RD
#A807                           4042 W GARRY AVE                              6160 BRISTOL PKWY                       SOUTHAMPTON PA 18966
LOS ANGELES CA 90079            SANTA ANA CA 92704                            STE 100A
                                                                              CULVER CITY CA 90230



037256P001-1409A-265            030915P001-1409A-265                          036177P001-1409A-265                    030694P001-1409A-265
BLUE DOT USA INC                BLUE DOT USA INC DBA WAX JEAN                 BLUE DOT USA INC DBA WAX JEAN           BLUE PLANET INTERNATIONAL INC
AMBIANCE APPAREL                SHIN CHUN                                     2415 EAST 15TH ST                       RODEL PAMINTUAN
2415 E 15TH ST                  2415 EAST 15TH ST                             LOS ANGELES CA 90021-2936               1526 E WASHINGTON BLVD
LOS ANGELES CA 90021            LOS ANGELES CA 90021-2936                                                             LOS ANGELES CA 90021




036178P001-1409A-265            033345P001-1409A-265                          036168P001-1409A-265                    001009P001-1409A-265
BLUE PLANET INTERNATIONAL INC   BLUE STAR FASHION NY INC                      BAILEY BLUE                             SHANTA L BLUE
1526 E WASHINGTON BLVD          SIMON LEUNG                                   1441 E 16TH ST                          8411 SOMERTON CIR
LOS ANGELES CA 90021            265 WEST 37TH ST                              LOS ANGELES CA 91436                    DOUGLASVILLE GA 30134
                                STE 1802
                                NEW YORK NY 10018
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032841P001-1409A-265                            032841S001-1409A-265                               033844P002-1409A-265                     036409P001-1409A-265
BLUEBONNET ELECTRIC COOP INC                    BLUEBONNET ELECTRIC COOP INC                       BLUEBONNET ELECTRIC COOPERATIVE          BLUEGRASS OUTLET SHOPPES CMBS
PO BOX 240                                      155 ELECTRIC AVE                                   GRANT GUTIERREZ                          10275 W HIGGINS RD STE 560
GIDDINGS TX 78942                               BASTROP TX 78602                                   PO BOX 729                               ROSEMONT IL 60018
                                                                                                   BASTROP TX 78602




037227P001-1409A-265                            037227S001-1409A-265                               031788P001-1409A-265                     008176P001-1409A-265
BLUEGRASS OUTLET SHOPPES CMBS LLC/              BLUEGRASS OUTLET SHOPPES CMBS LLC/                 BLUSH HAIR AND MAKEUP DESIGN             MARLEY BLYCHER
LOUISVILLE OUTLET SHOPPES LLC                   LOUISVILLE OUTLET SHOPPES LLC                      ASHLEY LEGGE                             355 LAKE VIEW WAY NW
AS ASSIGNEE OF: LOUISVILLE OUTLET SHOPPES LLC   AS ASSIGNEE OF: LOUISVILLE OUTLET SHOPPES LLC      PO BOX 66587                             LEESBURG VA 20176
BARCLAY DAMON LLP                               HORIZON GROUP PROPERTIES INC                       SCOTTS VALLEY CA 95067
125 E JEFFERSON ST                              10275 W HIGGINS RD STE 560
SYRACUSE NY 13202                               ROSEMONT IL 60018


035088P001-1409A-265                            036876P002-1409A-265                               009851P001-1409A-265                     031789P001-1409A-265
BOARD AMERICAS INC                              BOARD AMERICAS INC A/K/A BOARD USA                 BOARD OF COUNTY COMMISSIONERS            BOARD USA
33 BROAD ST STE 502                             EMMANUELLE PERRIER                                 BREVARD COUNTY FIRE PREVENTION           33 BROAD ST
BOSTON MA 2109-                                 33 BROAD ST STE 200                                1040 S FLORIDA AVE                       STE 502
                                                BOSTON MA 02109                                    ROCKLEDGE FL 32955                       BOSTON MA 02109




006791P001-1409A-265                            000905P001-1409A-265                               008188P001-1409A-265                     007165P001-1409A-265
CHANELLE BOATENG                                MARIA A BOBSEIN                                    FABIOLA BOCANEGRA                        CHEROKEE BODDY
3932 STRETTON AVE                               108 HAWTHORNE DR N                                 3516 OLGA AVE                            1367 SOUTHVIEW DR
FAYETTEVILLE NC 28306                           APT 5F                                             MCALLEN TX 78503                         102
                                                NEW LONDON CT 06320                                                                         OXON HILL MD 20745




003670P001-1409A-265                            000862P001-1409A-265                               005469P001-1409A-265                     007541P001-1409A-265
MAKAILA J BODLEY                                SHARON K BODY                                      LAURA N BOEHM                            BRANDI S BOGAR
10881 HULME AVE                                 9225 E TANQUE VERDE RD                             110 SAYVILLE BLVD                        2502 CHANNING DR
LYNWOOD CA 90262                                46-104                                             SAYVILLE NY 11782                        GRAND PRAIRIE TX 75052
                                                TUCSON NV 85749




001920P001-1409A-265                            036796P001-1409A-265                               005355P001-1409A-265                     001836P001-1409A-265
CHELSIE A BOGGESS                               TIFFANY BOGLE                                      JADYN T BOGUE                            BRIANNA C BOHLAND
3785 QUITMAN ST                                 27762 RILEYWOOD DR                                 5450 WEST BRIXTON DR                     454 HOPKINS CEMETERY RD
BEAUMONT TX 77708-4118                          DAPHNE AL 36526                                    LINCOLN NE 68521                         C 502
                                                                                                                                            HARRINGTON DE 19952




003830P001-1409A-265                            002528P001-1409A-265                               031192P001-1409A-265                     033782P001-1409A-265
HAILEY O BOHLIN                                 SASHA L BOISCLAIR                                  BOISE MALL LLC                           BOISE MALL LLC
339 E BROWNSTONE DR                             194 FAYETTE ST                                     GGPLP REAL STATE INC                     BPR-FF LLC
BLOOMINGTON IN 47408                            LYNN MA 01902                                      SDS-12-3074                              SDS-12-3074
                                                                                                   PO BOX 86                                PO BOX 86
                                                                                                   MINNEAPOLIS MN 55486-3074                MINNEAPOLIS MN 55486-3074
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037387P001-1409A-265           002292P001-1409A-265                 002827P001-1409A-265                         003158P001-1409A-265
BOISE MALL LLC                 ALEXANDRA E BOITNOTT                 KERI L BOLAND                                GABRIELLE C BOLANDER
AKA BOISE TOWN SQUARE          4009 APACHE RD                       1538 YARMOUTH AVE                            7616 FOXGLOVE LN
BROOKFIELD PROPERTY REIT INC   SALEM VA 24153                       WELLINGTON FL 33414                          NOBLESVILLE IN 46062
350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607



008037P001-1409A-265           003631P001-1409A-265                 036365P001-1409A-265                         035497P001-1409A-265
JASMINE A BOLDEN               NADINE L BOLERATZ                    ALESSANDRA BOLLING                           KAMESIA C BOLLING
5348 JORDAN DR                 9630 CRANE RD                        3573 WILES ROAD APT # 206                    5724 PALOMINO DR
MEMPHIS TN 38116               CRANESVILLE PA 16410                 COCONUT CREEK FL 33703                       RALEIGH NC 27606




000849P001-1409A-265           003868P001-1409A-265                 000895P001-1409A-265                         004149P001-1409A-265
TASHA N BOLTON                 TORI R BOLTON                        AUDRY K BONANNO                              JADYN R BOND
292 REVERE AVE                 1811 HOYT AVE                        630 RALPH HUGHES CT                          5503 E FARM RD 170
2                              INDIANAPOLIS IN 46203                PANAMA CITY FL 32404                         ROGERSVILLE MO 65742
UNION NJ 07083




036853P001-1409A-265           001265P001-1409A-265                 001840P001-1409A-265                         003822P001-1409A-265
BONE MCALLESTER NORTON PLLC    ELIZABETH BONET                      COURTNEY BONGARD                             MEGAN N BONIFACIO
SEAN C KIRK                    816 MARION OAKS MANOR                3841 DAYSTAR RD                              5900 HIDDEN PINE LN
511 UNION ST                   OCALA FL 34473                       D                                            MCKINNEY TX 75070
STE 1600                                                            MADISON WI 53704
NASHVILLE TN 37219



007663P001-1409A-265           007551P001-1409A-265                 030263P001-1409A-265                         005938P001-1409A-265
ERICA Y BONILLA VELASCO        BRIANNA BONILLA                      CARLOS E BONILLA                             LINDSEY A BONNEAU
220 FALCON CREST AVE           508 NEWYORK AVE                      ADDRESS INTENTIONALLY OMITTED                74 PACIFIC OCEAN DR
N LAS VEGAS NV 89031           ELIZABETH NJ 07202                                                                BRICK NJ 08723




005514P002-1409A-265           002516P001-1409A-265                 030916P001-1409A-265                         008146P001-1409A-265
VANESSA BONNER                 RACHELLE A BONNEVILLE                BOODY NORTH AMERICA LLC                      IYAUNA N BOOKER
414 REAL RD APT 102            124 S FREDERICKSBURG WAY             11633 SORRENTO VLY RD                        4613 MILLVALE CT
BAKERSFIELD CA 93309-1801      VANCOUVER WA 98664                   SAN DIEGO CA 92121                           NORTH CHESTERFIELD VA 23832




002129P001-1409A-265           007933P001-1409A-265                 002954P001-1409A-265                         035498P001-1409A-265
LATONIA BOOKER                 LILLIAN D BOOKER                     TIFFANY B BOOKER                             TIFFANY B BOOKER
5464 POLLARD DR                1000 CHASTAIN RD                     1435 NW 5TH ST APT 203                       1416 SW 27TH CT
SOUTHAVEN MS 38671-6981        857826                               203                                          FT LAUDERDALE FL 33315
                               KENNESAW GA 30144                    FT LAUDERDALE FL 33311
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000897P001-1409A-265            031790P001-1409A-265                     001196P001-1409A-265                      008395P001-1409A-265
CATRINA M BOOM                  BOONE COUNTY FISCAL COURT                ERIN M BOONE                              KEELEIGH A BOONE
3625 H CRESWICK CIR             PO BOX 457                               7627 PIMMIT HILLS DR                      120 INEZ OWENS DR
ORANGE PARK FL 32065            FLORENCE KY 41022-0457                   JACKSONVILLE FL 32244-6535                JACKSON MS 39212




002099P001-1409A-265            005723P001-1409A-265                     003964P001-1409A-265                      003867P001-1409A-265
THEOTIS BOONE                   TIA BOONE                                INFYNITY R BOOTH                          LEIGHANN BOOTH
72 GUERNSEY DR                  205 LOCHNESS CT APT 201                  14949 SE STARK ST                         3320 KOSSUTH AVE
COLUMBIA SC 29203-6736          VIRGINIA BEACH VA 23452                  2                                         6B
                                                                         PORTLAND OR 97233                         BRONX NY 10467




003015P001-1409A-265            008309P001-1409A-265                     035499P001-1409A-265                      002495P001-1409A-265
NATHANIEL BOOTH                 LORNETTE S BOOTHE                        BRYANNA M BOOZER                          BREANNA P BORDEN
750 WILDBRIAR RD                9116 KILPATRICK AVE APT 1A               70 SOUTHWATERFORD RD                      319 CARLEIGH LN
APT 104                         APT 1A                                   DALTON PA 18414                           BOONEVILLE MS 38829
PALM BAY FL 32905               SKOKIE IL 60076




004892P001-1409A-265            030228P002-1409A-265                     005112P001-1409A-265                      035500P001-1409A-265
DESTANI BORDEN                  ASHLEY BORDENGA                          HAILEY N BORDERS                          HAILEY N BORDERS
113 CHANTICLEER VLG DR          ADDRESS INTENTIONALLY OMITTED            16 MIDLAND LN                             30 MIDLAND LN
B                                                                        WHEATLEY HEIGHTS NY 11798                 WHEATLEY HEIGHTS NY 11798
MYRTLE BEACH SC 29579




005292P001-1409A-265            006830P001-1409A-265                     001300P001-1409A-265                      035501P001-1409A-265
MOLLY A BORDONARO               ERICKA T BORGES                          RAIZA S BORIA FUENTES                     FUENTES RAIZA S BORIA
513 JACK ST                     3252 CABRILLO MESA DR                    CARR 187 #23                              CARR 187 #23
GREENSBURG PA 15601             SAN DIEGO CA 92123                       BO MEDIANIA BA                            BO MEDIANIA BA
                                                                         LOIZA PR 00772                            LOIZA PR 00772




030560P001-1409A-265            001959P001-1409A-265                     004936P001-1409A-265                      006789P001-1409A-265
RAIZA BORIA                     BRENDA BORJA                             CELESTE J BORJA                           JAQUELINE M BORMARQUEZ
ADDRESS INTENTIONALLY OMITTED   2207 BELVEDERE BLVD                      500 BUENA VISTA BLVD                      478 BEDFORD AVE
                                TYLER TX 75702-3923                      BAKERSFIELD CA 93307                      UNIONDALE NY 11553




035502P001-1409A-265            005310P001-1409A-265                     031791P001-1409A-265                      031792P001-1409A-265
BRYANNA C BORNIOS               KRISTENMARIE BORNIOS                     BOROUGH OF EATONTOWN                      BOROUGH OF PARAMUS
91-458 MAKALEA ST               1809 LANAKILA AVE                        MERCANTILE LICENSING                      BUILDING DEPT
EWA BEACH HI 96706              HONOLULU HI 96817                        47 BROAD ST                               1 JOCKISH SQUARE
                                                                         EATONTOWN NJ 07724                        PARAMUS NJ 07652
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031793P001-1409A-265         036410P001-1409A-265                           004103P001-1409A-265                      006013P001-1409A-265
BOROUGH OF TINTON FALLS      BOROUGH OF TINTON FALLS                        ARIANA BORUNDA                            BRIANNA L BOSTEDER
JILL MORGAN                  MUNICIPAL CENTER 556 TINTON AVE                4410 N 49TH DR                            10433 SE COOK CT
MUNICIPAL CTR                TINTON FALLS NJ 07724-3298                     PHOENIX AZ 85031                          335
556 TINTON AVE                                                                                                        PORTLAND OR 97222
TINTON FALLS NJ 07724-3298



035503P001-1409A-265         004770P001-1409A-265                           035504P001-1409A-265                      005066P001-1409A-265
BRIANNA L BOSTEDER           BROOKLYN BOSTEDT                               TRISHA A BOSTIC                           PATRICIA BOSTOCK
10400 SE COOK CT             1384 EAST ADAM DR                              447 NEW DORWART ST                        105 KIRKBRIDGE CT
132                          DE PERE WI 54115                               LANCASTER PA 17603                        PURCELLVILLE VA 20132
MILWAUKIE OR 97222




031794P002-1409A-265         036411P001-1409A-265                           009204P001-1409A-265                      005979P001-1409A-265
BOSTON BARRICADE CO INC      BOSTON BARRICADE CO INC                        ESSENCE BOSTON                            DEANDRE L BOSWELL
JENNIFER M JAMISON           1151 19TH ST                                   812A W 43RD ST                            6363 WEST CAMP WISDOM RD
1151 19TH ST                 VERO BEACH FL 32960                            NORFOLK VA 23508                          713
VERO BEACH FL 32960                                                                                                   DALLAS TX 75236




007874P001-1409A-265         008365P001-1409A-265                           030917P001-1409A-265                      006889P001-1409A-265
ASHLEE N BOTELLO             BRINA M BOTELLO                                BOTTLEBLOND JEWELS LLC                    DARRELYN BOUDREAUX
1014 DORADO WAY              650 NORTH IMPERIAL AVE #18                     2395 SILVER LAKE BLVD                     300 VENUS DR
CHULA VISTA CA 91910         18                                             #9                                        LAFAYETTE LA 70501
                             BRAWLEY CA 92227                               LOS ANGELES CA 90039




003925P001-1409A-265         034160P001-1409A-265                           004984P001-1409A-265                      009442P001-1409A-265
DANIELLE BOUFFORD            BOULEVARD MALL SPE, LLC                        BRIANNA BOUNDS                            STEPHANIE S BOUPHAVONG
6 SEQUOIA AVE                BOULEVARD LLC                                  13713 ARTESA BELL DR                      1021 E SARAZEN AVE
LONDONDERRY NH 03053         1601 WASHINGTON AVE                            RIVERVIEW FL 33579                        FRESNO CA 93730
                             STE 800
                             MIAMI BEACH FL 33139



002675P001-1409A-265         004436P001-1409A-265                           030221P001-1409A-265                      030800P001-1409A-265
ALEXA BOUROUS                KATELYNN S BOUSHEY                             ANNIE BOUTIN                              BOUTIQUE INTERNATIONAL
164 ANCHORAGE DR             1018 GLEN OAK CT                               ADDRESS INTENTIONALLY OMITTED             PARUL SAXENA
WEST ISLIP NY 11795          LA PLATA MD 20646                                                                        553 PACE CITY-II SECTOR-37
                                                                                                                      GURGAON HARYANA 122016
                                                                                                                      INDIA



008436P001-1409A-265         033459P001-1409A-265                           001729P001-1409A-265                      001441P001-1409A-265
KIRA R BOWDRE                BOWE INDUSTRIES INC DBA CHANGES INC            ELANA Y BOWEN                             KATELYN BOWEN
2401 UTOPIA CT               MARIANNE MESSINA                               7532 S 138TH ST                           227 SUMMEY BARKER DR
AUGUSTA GA 30909             88-36 77TH AVE                                 OMAHA NE 68138-5411                       DALLAS NC 28034-7780
                             GLENDALE NY 11385
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037300P001-1409A-265              003763P001-1409A-265                    002335P001-1409A-265                      005689P001-1409A-265
KATELYN BOWEN                     MIKAELA BOWEN                           JANICE S BOWER                            CHRISTIAN BOWERS
CYNTHIA TERRY                     5300 FOX COVE LN                        15608 N 71ST ST                           5009 WINFIELD DR
227 SUMMEY BARKER DR              A                                       APT 146                                   RINCON GA 31326
DALLAS NC 28034                   GREENSBORO NC 27407                     SCOTTSDALE AZ 85254




002957P001-1409A-265              003165P001-1409A-265                    006254P001-1409A-265                      007793P001-1409A-265
YAMILET BOWERS                    BRITTNEY D BOWES                        SARAH E BOWMAN                            TIINAMARIE BOWMAN
8 CHURCH ST                       7069 RAPID RIVER DR W                   6051 ROMA DR APT 301                      154 STRIBLING CIR
APT K                             JACKSONVILLE FL 32219                   SHREVEPORT LA 71105                       SPARTANBURG SC 29301
CARMEL NY 10512




002550P002-1409A-265              035089P001-1409A-265                    031795P001-1409A-265                      005563P001-1409A-265
LEINISHA BOWSER                   BOX INC                                 BOXNET, INC                               DEMETRIA C BOYAZIS
10402 19TH AVENUE CT S APT N302   900 JEFFERSON AVE                       DANICA YANGA                              3660 ROBERTS RIDGE
TACOMA WA 98444-1603              REDWOOD CITY CA 94063                   DEPT 34666                                AKRON OH 44333
                                                                          PO BOX 39000
                                                                          SAN FRANCISCO CA 94139



002731P001-1409A-265              003926P001-1409A-265                    007404P001-1409A-265                      031796P001-1409A-265
DESERAE BOYCE                     JAMIE BOYCE                             NICOLE M BOYCE                            BOYD COUNTY SHERIFF
135 1ST ST                        2904 POWELL AVE                         408 CAMPUS VIEW DR                        PO BOX 558
EATONTOWN NJ 07724                PENNSAUKEN NJ 08110                     TOWSON MD 21204                           CATLETTSBURG KY 41129




006859P001-1409A-265              001877P001-1409A-265                    008129P001-1409A-265                      005222P001-1409A-265
ALEXXIA R BOYD                    HOPE E BOYD                             KIERRA BOYD                               SKYLAR R BOYD
300 BELLAMY AVE 325-101           2013 W CAMPBELL RD APT 238              1200 ROBLEY DR APT                        1459 E 138TH ST
CONWAY SC 29526                   GARLAND TX 75044                        7302                                      GLENPOOL OK 74033
                                                                          LAFAYETTE LA 70503




004272P001-1409A-265              037865P001-1409A-265                    007614P001-1409A-265                      004051P001-1409A-265
TEOSHA BOYD                       BOYER MOVING AND STORAGE                LABREA G BOYKIN                           DIAMOND L BOYKINS
1247 N GRAHAM AVE                 VERONICA BOYER                          891 SUGARCANE                             7387 WOODROW WILSON
152B                              KEVIN BOYER                             CLARKSVILLE TN 37040                      DETROIT MI 48206
FLORENCE AL 35630                 12556 KIRKHAM CT STE 6
                                  POWAY CA 92064



003200P002-1409A-265              005397P001-1409A-265                    031193P001-1409A-265                      036980P001-1409A-265
ELAYSZYA A BOYLAN                 LAURA A BOYLE                           BOYNTON BEACH MALL LLC                    BOYNTON BEACH MALL LLC
P O BOX 65548                     3730 INGLESIDE BLVD APT 3306            4092 PAYSPHERE CIR                        WASHINGTON PRIME GROUP INC
VIRGINIA BEACH VA 23467-5548      APT 3306                                CHICAGO IL 60674                          FROST BROWN TODD LLC
                                  LADSON SC 29456                                                                   301 E FOURTH ST
                                                                                                                    CINCINNATI OH 45202
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036980S001-1409A-265         002356P001-1409A-265                      030567P002-1409A-265                       036758P001-1409A-265
BOYNTON BEACH MALL LLC       REMONA BOZEMAN                            REMONA BOZEMAN                             SHOKOUFEH BOZORGMANESH
WASHINGTON PRIME GROUP INC   3840 JILES RD                             ADDRESS INTENTIONALLY OMITTED              15 CHAYA SARA GDNS
STEPHEN E IFEDUBA            22                                                                                   MAPLE ON L6A 0Z6
180 E BROAD ST               KENNESAW GA 30144                                                                    CANADA
COLUMBUS OH 43215



031194P001-1409A-265         036927P001-1409A-265                      036927S001-1409A-265                       034421P001-1409A-265
BPC HENDERSON LLC            BPC HENDERSON LLC                         BPC HENDERSON LLC                          BPC HOTEL, LLC
BPC HOTEL LLC                QIC PROPERTIES US INC                     KELLEY DRYE AND WARREN LLP                 PO BOX 72006
PO BOX 72006                 JOAN GLENN-KATZAKIS                       ROBERT L LEHANE                            CLEVELAND OH 44192-0006
CLEVELAND OH 44192-0006      600 SUPERIOR AVE EAST STE 1500            101 PARK AVE
                             CLEVELAND OH 44114                        NEW YORK NY 10178



034433P001-1409A-265         008142P001-1409A-265                      035505P001-1409A-265                       008822P001-1409A-265
BPR-FF-LLC                   ZOE B BRADE                               NAUTIKA BRADEN                             SAVANAH R BRADEN
COLUMBIANA CENTRE LLC        1831 SAN DOLLAR CIR                       2108 COWAN ST                              1347 BOARDWALK AVE
PO BOX 772840                PENSACOLA FL 32504                        FAYETTEVILLE NC 28306                      MOLALLA OR 97038
CHICAGO IL 60677-2840




003422P001-1409A-265         037340P001-1409A-265                      002205P001-1409A-265                       035506P001-1409A-265
TAYLOR BRADFIELD             TAYLOR BRADFIELD                          LENA R BRADFORD                            LENA R BRADFORD
4003 WINTERSWEET DR          TAYLOR BRADFIELD                          180 WATERVIEW DR                           1507 MINGLE AVE
DECATUR GA 30034             4003 WINTERSWEET DR                       APT 415                                    KNOXVILLE TN 37921
                             DECATUR GA 30034                          OAK RIDGE TN 37830-9057




033438P001-1409A-265         037706P002-1409A-265                      000587P001-1409A-265                       008243P001-1409A-265
MARK BRADLEY JR              BRITNEY BRADLEY                           BRITNEY S BRADLEY                          CELSIE A BRADLEY
SF CORP                      4753 WALDEN CIR APT J                     4753 WALDEN CIR                            1139 SILVER LAKE CT
DEPT 1450                    ORLANDO FL 32811                          APT J                                      PINGREE GROVE IL 60140
63 MASSOLO DR UNIT E                                                   ORLANDO FL 32811
PLEASANT HILL CA 94523



001562P001-1409A-265         001173P001-1409A-265                      002437P001-1409A-265                       000792P001-1409A-265
DAYSHA S BRADLEY             JESSICA BRADLEY                           LAUREN K BRADLEY                           LUCILA BRADSHAW
1101 59TH AVE N              550 GRAVES AVE #6                         64 FIRST ST                                1805 CALHOUN AVE
ST PETERSBURG FL 33703       EL CAJON CA 92020                         EDISON NJ 08837                            PANAMA CITY FL 32405-2623




006043P001-1409A-265         004122P002-1409A-265                      036138P001-1409A-265                       004378P001-1409A-265
TRINITEE M BRADSHAW          CHELSIE BRADY                             BRAGEL INTERNATIONAL INC                   KAYDEE L BRAIN
1752 SOUTHAMPTON DR SE       9 JOHN ROSS DR SW                         WANG IP LAW GROUP PC                       12315 W DESERT MIRAGE CIR
GRAND RAPIDS MI 49508        ROME GA 30165-3516                        TOMMY WANG JEFF KANG                       EL MIRAGE AZ 85335
                                                                       18645 E GALE AVE
                                                                       STE 205
                                                                       CITY OF INDUSTRY CA 91748
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032842P001-1409A-265            032842S001-1409A-265                     033845P002-1409A-265                       000530P001-1409A-265
BRAINTREE ELECTRIC LIGHT DEPT   BRAINTREE ELECTRIC LIGHT DEPT            BRAINTREE ELECTRIC LIGHT DEPT              HEFZIBA BRAMBILA
PO BOX 859180                   150 POTTER RD                            GAIL J COHEN                               659 MANOR DR
BRAINTREE MA 02185              BRAINTREE MA 02184                       150 POTTER RD                              C
                                                                         BRAINTREE MA 02184                         PACIFICA CA 94044




008324P001-1409A-265            004043P001-1409A-265                     031797P001-1409A-265                       007447P001-1409A-265
DEVIN BRANAM                    VIDALIA R BRANCATO                       BRANCH METRICS, INC                        JASMINE M BRANCH
4720 PERSIMMON RD               20620 WEST GOLDEN ELM DR                 BILLING SUPPORT                            6128 PENNSWOOD AVE
RENO NV 89502                   ESTERO FL 33928                          14008 SEAPORT BLVD                         LAKEWOOD CA 90712
                                                                         FL 2
                                                                         REDWOOD CITY CA 94063



007862P001-1409A-265            036412P001-1409A-265                     031798P001-1409A-265                       036912P001-1409A-265
SYNTORIA J BRANCH               BRANDED GROUP INC                        BRANDED GROUP, INC                         BRANDON SHOPPING CENTER PARTNERS LTD
407 SANDALL ST                  222 SOUTH HARBOR BLVD STE 500            KIRRA ESPOSITO                             LECLAIRRYAN PLLC
NAVASOTA TX 77868               ANAHEIM CA 92805                         222 SOUTH HARBOR BLVD                      NICLAS A FERLAND
                                                                         STE 500                                    545 LONG WHARF DR 9TH FL
                                                                         ANAHEIM CA 92805                           NEW HAVEN CT 06511



000870P001-1409A-265            007595P001-1409A-265                     001306P001-1409A-265                       010265P001-1409A-265
EKIMA R BRANDON                 KATELYNN R BRANDT                        TAYLOR R BRANDT                            PEGGY C BRANNON
64 BIDWELL AVE                  15367 FLOWERFIELD RD                     232 GRACE ST                               TAX COLLECTOR - BAY COUNTY
1ST FL                          THREERIVERS MI 49093                     GROVE CITY PA 16127                        PO BOX 2285
JERSEY CITY NJ 07305                                                                                                PANAMA CITY FL 32402-2285




006259P001-1409A-265            036649P001-1409A-265                     005684P001-1409A-265                       032843P001-1409A-265
KAYLA A BRANTLEY                MEGAN BRASE                              SARAH A BRASHER                            BRASK MALL SVC
1080 ADAHI TRL                  1338 LEXINGTON WAY                       1400 MALL OF GEORGIA BLVD                  PO BOX 800305
MACON GA 31220                  LIVERMORE CA 94550-6520                  APT 311                                    HOUSTON TX 77280
                                                                         BUFORD GA 30519




032844P001-1409A-265            032845P001-1409A-265                     032846P001-1409A-265                       031195P001-1409A-265
BRASK MALL SVC I                BRASK MALL SVC III                       BRASK MALL SVC IV                          BRASS MILL CENTER MALL LLC
PO BOX 800335                   PO BOX 93717                             PO BOX 94258                               GGP LIMITED PARTENRSHIP
HOUSTON TX 77280                LAS VEGAS NV 89193                       LAS VEGAS NV 89193                         PO BOX 772851
                                                                                                                    CHICAGO IL 60677-2851




036414P001-1409A-265            037389P001-1409A-265                     035507P001-1409A-265                       004320P001-1409A-265
BRASS MILL CENTER MALL LLC      BRASS MILL CENTER MALL LLC               LIZETH BRASSEAS-ALVIZAR                    LIZETH BRASSEASALVIZAR
PO BOX 772851                   BROOKFIELD PROPERTY REIT INC             83201 LOS CABOS AVE                        84162 CALENDULA AVE
CHICAGO IL 60677-2851           JULIE M BOWDEN                           COACHELLA CA 92236                         COACHELLA CA 92236
                                350 N ORLEANS ST STE 300
                                CHICAGO IL 60654-1607
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001512P001-1409A-265          001792P001-1409A-265                     035508P001-1409A-265                        030918P001-1409A-265
TIA E BRASSER                 SUMMER BRASTAD                           SUMMER BRASTAD                              BRAVADO INTERNATIONAL GROUP
521 DIMMOCK HILL RD           1721 W BURNSVILLE PKWY                   3935 VLY VIEW DR N                          BRAVADO INTERNATIONAL GROUP ME
BINGHAMTON NY 13905           APT 115                                  APT105                                      BRIANA FARRELL
                              BURNSVILLE MN 55337-2439                 EAGAN MN 55122                              1755 BROADWAY
                                                                                                                   2ND FL
                                                                                                                   NEW YORK NY 10019


036179P001-1409A-265          004064P001-1409A-265                     002003P001-1409A-265                        035509P001-1409A-265
BRAVADO INTERNATIONAL GROUP   SHEILA C BRAVO LUNA                      ITZEL BRAVO                                 LUNA SHEILA C BRAVO
1755 BROADWAY 2ND FLOOR       628 W 42ND PL                            16739 WESTGREEN SQ                          628 W 42ND PL
NEW YORK NY 10019             LOS ANGELES CA 90037                     HOCKLEY TX 77447-9166                       LOS ANGELES CA 90037




008788P001-1409A-265          008788S001-1409A-265                     004229P001-1409A-265                        003045P001-1409A-265
RUDY BRAVO                    RUDY BRAVO                               SAMANTHA E BRAVO                            TRISHA BRAY
16414 POCONO ST               LAW OFFICES OF NAOMI GONZALEZ            5236 W PEORIA                               4222 E ANDREA DR
LA PUENTE CA 91744            3350 SHELBY ST                           #204                                        CAVE CREEK AZ 85331
                              STE 200                                  GLENDALE AZ 85302
                              ONTARIO CA 91764



000924P001-1409A-265          031196P001-1409A-265                     036695P001-1409A-265                        036695S001-1409A-265
NICOLE C BRAZIL               BRE PEARLRIDGE LLC                       BRE PEARLRIDGE LLC                          BRE PEARLRIDGE LLC
1472 NORTH ST                 PO BOX 645020                            AKA WASHINGTON PRIME GROUP INC              AKA WASHINGTON PRIME GROUP INC
#A                            CINCINNATI OH 45264-5020                 FROST BROWN TODD LLC                        STEPHEN E IFEDUBA
SANTA ROSA CA 95404                                                    301 E FOURTH ST                             180 E BROAD ST
                                                                       CINCINNATI OH 45202                         COLUMBUS OH 43215



006508P001-1409A-265          035510P001-1409A-265                     034223P001-1409A-265                        035511P001-1409A-265
CARLI R BREDICE               CARLI R BREDICE                          BREF THREE REIT, INC                        ANNA BREITFELDER
4184 HARBOUR TOWNE            4756 STADIUM DR                          250 VESEY ST                                11 PERRY RD
APT 2                         BRIDGMAN MI 49106                        15TH FL                                     BRANCHVILLE NJ 07826
SAGINAW MI 48603                                                       NEW YORK NY 10281




004096P001-1409A-265          034947P001-1409A-265                     029693P001-1409A-265                        029693S001-1409A-265
MORGAN H BREMER               BRENNAN                                  BRENNAN (LANDLORD)                          BRENNAN (LANDLORD)
3 ADAMS CT                    WARWICK MALL LLC                         WARWICK MALL LLC                            WARWICK MALL LLC
HOPEWELL JUNCTION NY 12533    GOULSTON AND STORRS                      BLISS PROPERTIES INC                        GOULSTON AND STORRS PC
                              PC 400 ATLANTIC AVE                      PO BOX 2513                                 WARWICK MALL
                              BOSTON MA 02110-3333                     PROVIDENCE RI 02906-0513                    400 ATLANTIC AVE
                                                                                                                   BOSTON MA 02110-3333


000835P001-1409A-265          007483P001-1409A-265                     009399P001-1409A-265                        009567P001-1409A-265
KRISTIN L BRENNAN             SARAH E BRENNAN                          JUANEKIA BRENT                              KAYLA R BRENT
2825 BERKLEY RD               145 HARMONY RD                           1912 ROBINSON ST                            1902 ALEX AVE
ERIE PA 16506                 APT 522                                  JACKSON MS 39209                            APT A
                              SLIPPERY ROCK PA 16057                                                               AUSTIN TX 78728
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037000P001-1409A-265          000847P001-1409A-265                 009354P001-1409A-265                       032677P001-1409A-265
HEATHER BRESS                 HEATHER R BRESS                      AZALIE J BRETON                            BREVARD COUNTY TAX COLLECTOR
24910 JENNINGS RD             24910 JENNINGS RD                    200 HILL RD                                ROD NORTHCUTTCFCCPM
MYAKKA CITY FL 34251          MYAKKA CITY FL 34251                 APT 150                                    PO BOX 2500
                                                                   DENVER PA 17517                            TITUSVILLE FL 32781-2500




004544P001-1409A-265          005115P001-1409A-265                 001634P001-1409A-265                       005472P001-1409A-265
ADDISON M BREWER              EMILY M BREWER                       MARIA E BREWER                             MCKENZIE L BREWER
1125 FRANKLIN SE              372 E 13TH AVE                       3607 SALT FORK DR                          40 BRIGGS RD LOT #1
GRAND RAPIDS MI 49507         COLUMBUS OH 43201                    KILLEEN TX 76549-5631                      LOT #1
                                                                                                              ASHEVILLE NC 28805




008764P001-1409A-265          033294P001-1409A-265                 031799P001-1409A-265                       031800P001-1409A-265
SHONTA E BREWER               BRIAN C BROWNING                     BRIAN CROSS                                BRIAN JAMES CHISM
3749 N ABBY ST                CONSULERIS LLC                       27 EASTWIND ST # 7                         14300 TERRA BELLA ST
FRESNO CA 93726-5406          1717 PENNSYLVANIA AVE NW             MARINA DEL REY CA 90292                    UNIT 8
                              STE 1025                                                                        PANORAMA CITY CA 91402
                              WASHINGTON DC 20006



031801P001-1409A-265          034109P001-1409A-265                 031197P001-1409A-265                       004760P001-1409A-265
BRIAN MCCOLLUM BOONE COUNTY   BRIARWOOD LLC                        BRIARWOOD MALL/                            ERIN D BRICKFIELD
ROGER B WILSON                100 BRIARWOOD CIR                    SUPER-REGIONAL MALLS OPERATING             1349 NORTHGATE CIR
MERCHANT'S LICENSE            ANN ARBOR MI 48108                   MALL AT BRIARWOOD LLC                      I-103
BOONE COUNTY GOVERNMENT CTR                                        PO BOX 404570                              OVIEDO FL 32765
801 EAST WALNUT RM 18                                              ATLANTA GA 30384-4570
COLUMBIA MO 65201-4890


031802P003-1409A-265          034281P003-1409A-265                 036417P001-1409A-265                       007567P001-1409A-265
BRIDGE REPS LLC               BRIDGE REPS LLC                      BRIDGE REPS LLC                            ALAYAH BRIDGES
A/K/A BRIDGE ARTISTS          BRIDGET FLAHERTY                     420 W 14TH ST STE 6SW                      398 MORNING CREEK CIR
420 W 14TH ST STE 6SW         420 W 14TH ST                        NEW YORK NY 10014                          APOPKA FL 32712
NEW YORK NY 10014             STE 6SW
                              NEW YORK NY 10014



007402P001-1409A-265          000732P001-1409A-265                 009625P001-1409A-265                       030437P001-1409A-265
ELANDRA BRIDGES               HEATHER L BRIDGES                    NADIA S BRIDGES                            KATIE BRIEN
212 CEDAR VLG DR              721 NE 23RD ST                       921 PEDRO DR                               ADDRESS INTENTIONALLY OMITTED
YORK PA 17406                 MOORE OK 73160                       FAYETTEVILLE NC 28303




007225P001-1409A-265          005360P001-1409A-265                 033807P001-1409A-265                       003313P001-1409A-265
DAKOTA C BRIGHT               BRISHAWNA BRIMMAGE                   BRINCKO ASSOCIATES INC                     HAROLD A BRINKLEY
639 NANTUCKET PL              11256 HESS CT                        16919 SHERMAN WAY                          5427 MORRIS AVE
NORWALK IA 50211              WALDORF MD 20601                     LAKE BALBOA CA 91406                       SUITLAND MD 20746
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008154P001-1409A-265               031803P001-1409A-265                               037021P002-1409A-265                          037021S001-1409A-265
KELSEY E BRINKMAN                  BRINKS INC                                         BRINKS INC                                    BRINKS INC
10424 CAENEN DR                    DON HILTUNEN                                       MS LYNDEL VARGAS                              TAMARA CHICCHI
OVERLAND PARK KS 66215             PO BOX 101031                                      CAVAZOS HENDRICKS POIROT PC                   555 DIVIDEND DR
                                   ATLANTA GA 30392-1031                              900 JACKSON STE 570                           COPPELL TX 75019
                                                                                      DALLAS TX 75202



033573P001-1409A-265               016927P001-1409A-265                               009187P001-1409A-265                          004574P001-1409A-265
BRINQA LLC                         TYNECIA BRISBON                                    SYDNEY BRISCOECURTIS                          STEPHANY BRISENO
4505 SPICEWOOD SPRINGS RD          1050 BRIAR ROSE LN                                 800 WEST MARIETTA STNW                        1208 5TH AVE APT E
STE 304                            LADSON SC 29456                                    ATLANTA GA 30318                              CHULA VISTA CA 91911
AUSTIN TX 78759




037281P001-1409A-265               001146P001-1409A-265                               002781P001-1409A-265                          006904P001-1409A-265
ELIANDRA GONZALEZ BRITO            MICHELLE S BRITOVILLANUEVA                         ANGELA BRITT                                  JAMES BRITT
1166 CALLE 4 SE URB CAPARRA TER    1237 SKYLINE DR                                    138 CTR ST                                    1377 ARLINE AVE
SAN JUAN PR 00921                  DALY CITY CA 94015                                 FREEHOLD NJ 07728                             ABINGTON PA 19001




002698P001-1409A-265               032847P001-1409A-265                               037262P002-1409A-265                          031198P001-1409A-265
JORDAN BRITTON                     BRIXMOR HOLDINGS 11 SPE LLC                        BRIXMOR HOLDINGS 11 SPE LLC                   BRIXMOR HOLDINGS 11 SPE, LLC
1440 EMPRESS DR                    BRIXMOR PROPERTY GROUP                             TA ROCKLAND PLAZA NANUET NY                   BRIXMOR OPERATING PARTNERSHIP
2502                               PO BOX 645341                                      BALLARD SPAHR LLP                             ONE FAYETTE ST STE 150
MCDONOUGH GA 30253                 CINCINNATI OH 45264                                LESLIE C HEILMAN ESQ                          CONSHOHOCKEN PA 19428
                                                                                      919 N MARKET ST 11TH FL
                                                                                      WILMINGTON DE 19801


034388P001-1409A-265               029694P001-1409A-265                               029694S001-1409A-265                          033574P001-1409A-265
BRIXMOR OPERATING PARTNERSHIP LP   BRIXMOR PROPERTY GROUP (LANDLORD)                  BRIXMOR PROPERTY GROUP (LANDLORD)             BROADBAND STORE 382
ONE FAYETTE ST STE 150             BRIXMOR HOLDINGS 11 SPE LLC                        BRIXMOR HOLDINGS 11 SPELLC                    RCN BUSINESS SVC
CONSHOHOCKEN PA 19428              BRIXMOR PROPERTY GROUP                             BRIXMOR PROPERTY GROUPNORTH REGIONAL OFFICE   100 BALTIMORE DR
                                   GENERAL COUNSEL                                    VICE PRESIDENT OF LEGAL SERVICES              WILKES BARRE PA 18702
                                   450 LEXINGTON AVE 13TH FL                          ONE FAYETTE ST - STE 150
                                   NEW YORK NY 10170                                  CONSHOHOCKEN PA 19428


033575P002-1409A-265               007526P001-1409A-265                               002274P001-1409A-265                          031199P002-1409A-265
BROADBAND STORE 386                JANNELLE K BROADBELT                               JAVONNI R BROADEN                             BROADSTONE LAND LLC
RCN BUSINESS SVC                   4 JOHN ST                                          6916 MEGAN AVE                                AKA PALLADIO AT BROADSTONE
AKA GRANDE COMMUNICATIONS          SPRING VALLEY NY 10977                             LAS VEGAS NV 89108                            PA.LLADIO AND TRI COMMERCIAL
100 BALTIMORE DR                                                                                                                    410 PALLADIO PKWY STE 1601
WILKES BARRE PA 18702                                                                                                               FOLSOM CA 95630



034257P001-1409A-265               031805P001-1409A-265                               031200P001-1409A-265                          009205P001-1409A-265
BROADSTONE LAND, LLC               BROADWAY NATIONAL SIGN AND LIGHTING LLC            BROADWAY SQUARE MALL                          KYRSTEN J BROCK
340 PADDAIO PKWY                   1900 OCEAN AVE                                     SIMON PROPERTY GROUP (TEXAS) L                6534 GLORY MAPLE LN
STE 521                            RONKONKOMA NY 11779                                4601 SOUTH BROADWAY AVE                       INDIANAPOLIS IN 46221
FOLSOM CA 95630                                                                       TYLER TX 75703
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001765P001-1409A-265            030671P001-1409A-265                            007840P001-1409A-265                     003338P001-1409A-265
WHITNEY BROCK                   WHITNEY BROCK                                   LANAJA M BROCKTON                        TIM BROMLEY
704 IAA DR APT B6               ADDRESS INTENTIONALLY OMITTED                   30 GREEN CT                              8214 HILLANDALE DR
BLOOMINGTON IL 61701                                                            14                                       SAN DIEGO CA 92120
                                                                                MIDLAND CITY AL 36350




007159P001-1409A-265            005706P001-1409A-265                            003116P001-1409A-265                     034706P001-1409A-265
HOPE BRONAUGH                   RYAN K BRONCO                                   ANGELLELIS BRONSTORPH                    BROOKFIELD PROPERTIES
225 DISCOVERY DR                6259 LAKE ALTURAS AVE                           8 WILLIAMS CT                            RPI CARLSBAD LP
COLLEGE STATION TX 77845        SAN DIEGO CA 92119                              MAHOPAC NY 10541                         BROOKFIELD PROPERTIES ® LLC
                                                                                                                         200 VESEY ST
                                                                                                                         25TH FL
                                                                                                                         NEW YORK NY 10281


034711P001-1409A-265            034716P001-1409A-265                            034718P001-1409A-265                     034721P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                           BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
CHULA VISTA CENTER LP           GGP MEADOWS MALL LLC                            GGPTUCSON MALL LLC                       GGP NORTHRIDGE FASHION CENTER LP
BROOKFIELD PROPERTIES (R) LLC   MEADOWS MALL                                    TUCSON MALL                              NORTHRIDGE FASHION CENTER
200 VESEY ST                    350 N ORLEANS ST                                350 N ORLEANS ST                         350 N ORLEANS ST
25TH FL                         STE 300                                         STE 300                                  STE 300
NEW YORK NY 10281               CHICAGO IL 60654-1607                           CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


034723P001-1409A-265            034724P001-1409A-265                            034734P001-1409A-265                     034739P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                           BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
GLENDALE GALLERIA               VALLEY PLAZA MALL LP                            PERIMETER MALL LLC                       TOWN EAST MALL LLC
GLENDALE MALL ASSOCIATES LLC    C O VLY PLZ MALL CA 350 N ORLEANS ST            PERIMETER MALL                           TOWN EAST MALL
350 N ORLEANS ST                STE 300                                         350 N ORLEANS ST                         350 N ORLEANS ST
STE 300                         CHICAGO IL 60654-1607                           STE 300                                  STE 300
CHICAGO IL 60654-1607                                                           CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


034747P001-1409A-265            034749P001-1409A-265                            034750P001-1409A-265                     034757P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                           BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
GGP-PROVIDENCE PLACE LLC        GGPGRANDVILLE LLC                               PARK MALL LLC                            STONEBRIAR MALL LLC
PROVIDENCE PLACE                RIVERTOWN CROSSINGS                             PARK PLACE                               STONEBRIAR CENTRE
350 N ORLEANS ST                350 N ORLEANS ST                                350 N ORLEANS ST                         350 N ORLEANS ST
STE 300                         STE 300                                         STE 300                                  STE 300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                           CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


034760P001-1409A-265            034763P001-1409A-265                            034768P001-1409A-265                     034774P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                           BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
SPRING HILL MALL LLC            NEWPARK MALL LP                                 ALTAMONTE MALL LLC                       CLACKAMAS TOWN CENTER
BROOKFIELD PROPERTIES (R) LLC   BROOK?ELD PROPERTIES (R) LLC                    ALTAMONTE MALL                           350 N ORLEANS ST
200 VESEY ST                    200 VESEY ST                                    350 N ORLEANS ST                         STE 300
25TH FL                         25TH FL                                         STE 300                                  CHICAGO IL 60654-1607
NEW YORK NY 10281               NEW YORK NY 10281                               CHICAGO IL 60654-1607


034777P001-1409A-265            034779P001-1409A-265                            034785P001-1409A-265                     034786P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                           BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
GGPGLENBROOK LLC                RSE INDEPENDENCE LLC                            PARKS AT ARLINGTON LLC                   LYNNHAVEN MALL
GLENBROOK SQUARE                BROOKFIELD PROPERTIES ® LLC                     THE PARKS MALL AT ARLINGTON              LYNNHAVEN MALL LLC
350 N ORLEANS ST                200 VESEY ST                                    350 N ORLEANS ST                         350 N ORLEANS ST
STE 300                         25TH FL                                         STE 300                                  STE 300
CHICAGO IL 60654-1607           NEW YORK NY 10281                               CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607
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034788P001-1409A-265            034790P001-1409A-265                        034793P001-1409A-265                      034798P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
BAYBROOK MALL LLC               WOODBRIDGE CENTER PROPERTY LLC              CORONADO CENTER LLC                       PARAMUS PARK SHOPPING CENTER
BAYBROOK MALL                   WOODBRIDGE CENTER                           CORONADO CENTER                           LIMITED PARTNERSHIP
350 N ORLEANS ST                350 N ORLEANS ST                            350 N ORLEANS ST                          350 N ORLEANS STSUITE 300
STE 300                         STE 300                                     STE 300                                   CHICAGO IL 60654-1607
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                       CHICAGO IL 60654-1607


034799P001-1409A-265            034806P001-1409A-265                        034808P001-1409A-265                      034814P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
WESTROADS MALL LLC              DEERBROOK MALL LLC                          NESHAMJNY MALL JOINT VENTURE              SOONER FASHION MALL LLC
WESTROADS MALL                  DEERBROOK MALL                              LIMITED PARTNERSHIP NESHAMINY MALL        SOONER MALL
350 N ORLEANS ST STE 300        350 N ORLEANS STSUITE 300                   350 N ORLEANS ST STE 300                  350 N ORLEANS STSUITE 300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                       CHICAGO IL 60654-1607                     CHICAGO IL 60654-1607



034817P001-1409A-265            034826P001-1409A-265                        034829P001-1409A-265                      034831P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
QUAIL SPRINGS MALL LLC          SHOPPES AT BUCKLAND HILLS LLC               MALL OF LOUISIANA LLC                     MALL ST VINCENT LLC
QUAIL SPRINGS MALL              THE SHOPPES AT BUCKLAND HILLS               MALL OF LOUISIANA                         1 1 14 AVE OF THE AMERICAS
350 N ORLEANS ST STE 300        350 N ORLEANS ST                            350 N ORLEANS ST                          STE 2800
CHICAGO IL 60654-1607           STE 300                                     STE 300                                   NEW YORK NY 10036
                                CHICAGO IL 60654                            CHICAGO IL 60654


034834P001-1409A-265            034837P001-1409A-265                        034838P001-1409A-265                      034852P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
LANSING MALL LLC                PEMBROKE LAKES MALL LLC                     MSM PROPERTY LLC                          ROUSE MANAGEMENT CO LLC
BROOK?ELD PROPERTIES (R) LLC    PEMBROKE LAKES MALL                         MALL ST MATTHEWS                          BROOKFIELD PROPERTIES (R) LLC
200 VESEY ST                    350 N ORLEANS ST                            350 N ORLEANS ST                          200 VESEY ST
25'‘ FL                         STE 300                                     STE 300                                   25TH FL
NEW YORK NY 10281               CHICAGO IL 60654                            CHICAGO IL 60654                          NEW YORK NY 10281


034858P001-1409A-265            034870P001-1409A-265                        034871P001-1409A-265                      034874P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
GGP STATEN ISLAND MALL LLC      PEACHTREE MALL LLC                          OGLETHORPE MALL LLC                       GOVERNOR’S SQUARE MALL LLC
STATEN ISLAND MALL - PHASE II   PEACHTREE MALL                              OGLETHORPE MALL                           GOVERNOR’S SQUARE
350 N ORLEANS ST                350 N ORLEANS ST                            350 N ORLEANS ST                          350 N ORLEANS ST
300                             300                                         300                                       300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                       CHICAGO IL 60654-1607                     CHICAGO IL 60654-1607


034875P001-1409A-265            034877P001-1409A-265                        034880P001-1409A-265                      034881P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
CUMBERLAND MALL LLC             PARK CITY CENTER LLC                        TRACY MALL PARTNERS LP                    RPI BEL AIR MALL LLC
CUMBERLAND MALL                 PARK CITY CENTER                            BROOKFIELD PROPERTIES (R) LLC             BROOKFIELD PROPERTIES (R) LLC
350 N ORLEANS ST                350 N ORLEANS ST                            200 VESEY ST                              200 VESEY ST
300                             300                                         25TH FL                                   25TH FL
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                       NEW YORK NY 10281                         NEW YORK NY 10281


034885P001-1409A-265            034892P001-1409A-265                        034895P001-1409A-265                      034898P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                       BROOKFIELD PROPERTIES                     BROOKFIELD PROPERTIES
TUP 130 LLC                     RPI TURTLE CREEK MALL LLC                   TGA OAK VIEW MALL LLC                     LAKELAND SQUARE MALL LLC
BROOKFIELD PROPERTIES (R) LLC   C/O BROOK?ELD PROPERTIES (R) LLC            TH REAL ESTATE                            BROOK?ELD PROPERTIES (R) LLC
200 VESEY ST                    200 VESEY ST                                4675 MACARTHUR CT                         200 VESEY ST
25TH FL                         25TH FLOOR NEW YORK NY 10281                NEWPORT BEACH CA 92660                    25TH FL
NEW YORK NY 10281                                                                                                     NEW YORK NY 10281
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034901P001-1409A-265            034906P001-1409A-265                    034912P001-1409A-265                       034913P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
NORTH POINT MALL LLC            VALLEY HILLS MALL LLC                   HULEN MAL HULEN MALL LLC                   PINNACLE HILLS LLC
NORTH POINT MALL                200 VESEY ST                            350 N ORLEANS ST STE 300                   PINNACLE HILLS PROMENADE
350 N ORLEANS ST                25TH FL                                 CHICAGO IL 60654-1607                      350 N ORLEANS ST STE 300
STE 300                         NEW YORK NY 10281                                                                  CHICAGO IL 60654-1607
CHICAGO IL 60654-1607


034916P001-1409A-265            034928P001-1409A-265                    034929P001-1409A-265                       034932P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
GGP-FOUR SEASONS LP             GREENWOOD MALL LLC                      FIRST COLONY MALL                          EATONTOWN MONMOUTH MALL
FOUR SEASONS TOWN CENTRE        GREENWOOD MALL                          FIRST COLONY MALL - SDS - 12- 3112         LLC BROOK?ELD PROPERTIES (R) LLC
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                PO BOX 86                                  200 VESEY ST
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                   350 N ORLEANS ST STE 300                   25TH FL
                                                                        CHICAGO IL 60654-1607                      NEW YORK NY 10281


034933P001-1409A-265            034937P001-1409A-265                    034938P001-1409A-265                       034939P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
RIVER HILLS MALL LLC            KALAMAZOO MALL LLC                      COASTLAND CENTER COASTLAND CENTER LP       AUGUSTA MALL AUGUSTA MALL LLC
RIVER HILLS MALL                THE CROSSROADS MI                       350 N ORLEANS ST STE 300                   350 N ORLEANS ST STE 300
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                CHICAGO IL 60654-1607                      CHICAGO IL 60654-1607
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607



034941P001-1409A-265            034942P001-1409A-265                    034943P001-1409A-265                       034944P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
ALDERWOOD MALL LLC              WILLOWBROOK MALL (TX) LLC               FLORENCE MALL LLC C O FLORENCE MALL        PECANLAND MALL LLC
ALDERWOOD MALL                  WILLOWBROOK MALL TX                     350 N ORLEANS ST                           PECANLAND MALL
350 N ORLEANS ST                350 N ORLEANS ST                        CHICAGO IL 60654-1607                      350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                                                              CHICAGO IL 60654-1607



034945P001-1409A-265            034948P001-1409A-265                    034950P001-1409A-265                       034956P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
RPI CHESTERFIELD LLC            RPI SALISBURY MALL LLC                  OAKWOOD SHOPPING CENTER LLC                SOUTHLAND CENTER LLC
BROOKELD PROPERTIES (R) LLC     200 VESEY ST                            OAKWOOD CENTER                             200 VESEY ST
200 VESEY ST                    25TH FL                                 350 N ORLEANS ST STE 300                   25TH FL
25TH FL                         NEW YORK NY 10281-1025                  CHICAGO IL 60654-1607                      NEW YORK NY 10281
NEW YORK NY 10281


034957P001-1409A-265            034967P001-1409A-265                    034968P001-1409A-265                       034971P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
RIVER CROSSING SHOPPES LLC      BRASS MILL CENTER MALL LLC              BELLIS FAIR MALL LLC                       OAKWOOD MALL
THE SHOPPES AT RIVER CROSSING   BRASS MILL CENTER                       C/OBELLIS FAIR                             OAKWOOD HILLS MALL PARTNERS
350 N ORLEANS ST                350 N ORLEANS ST                        350 N ORLEANS ST                           350 N ORLEANS ST
STE 300                         STE 300                                 STE 300                                    STE 300
CHICAGO IL 60654                CHICAGO IL 60654                        CHICAGO IL 60654                           CHICAGO IL 60654


034975P001-1409A-265            034976P001-1409A-265                    034979P001-1409A-265                       034997P001-1409A-265
BROOKFIELD PROPERTIES           BROOKFIELD PROPERTIES                   BROOKFIELD PROPERTIES                      BROOKFIELD PROPERTIES
RPI GREENVILLE MALL LLC         CHAMPAIGN MARKET PLACE LLC              COLUMBIANA CENTRE                          LA CANTERA RETAIL LIMITED PARTNERSHIP
BROOK?ELD PROPERTIES (R) LLC    MARKET PLACE SHOPPING CENTER            COLUMBIANA CENTRE LLC                      THE SHOPS AT LA CANTERA
200 VESEY ST                    350 N ORLEANS ST                        350 N ORLEANS ST                           350 N ORLEANS ST
25'‘ FL                         STE 300                                 STE 300                                    STE 300
NEW YORK NY 10281               CHICAGO IL 60654-1607                   CHICAGO IL 60654-1607                      CHICAGO IL 60654-1607
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035005P001-1409A-265             035032P001-1409A-265                     035033P001-1409A-265                     035034P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
VISALIA MALL LP                  NATICK MALLLLC                           OAKS MALL LLC                            THE WOODLANDS MALL ASSOCIATES LLC
VISALIA MALL                     NATICK MALL                              350 N ORLEANS ST                         THE WOODLANDS MALL
350 N ORLEANS ST                 350 N ORLEANS ST                         CHICAGO IL 60654-1607                    350 N ORLEANS ST
CHICAGO IL 60654-1607            CHICAGO IL 60654-1607                                                             STE 300
                                                                                                                   CHICAGO IL 60654-1607


035035P001-1409A-265             035036P001-1409A-265                     035039P001-1409A-265                     035040P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
JORDAN CREEK TOWN CENTER LLC     WHITE MARSH MALL LLC                     CAROLINA PLACE LLC DO CAROLINA PLACE     CORAL RIDGE MALL LLC
JORDAN CREEK TOWN CENTER         WHITE MARSH MALL                         350 N ORLEANS ST                         CORAL RIDGE MALL
350 N ORLEANS ST                 350 N ORLEANS ST                         CHICAGO IL 60654-1607                    350 N ORLEANS ST
STE 300                          STE 300                                                                           CHICAGO IL 60654-1607
CHICAGO IL 60654-1607            CHICAGO IL 60654-1607


035041P001-1409A-265             035042P001-1409A-265                     035047P001-1409A-265                     035048P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
TYLER MALL LIMITED PARTNERSHIP   BOISE MALL LLC                           COLUMBIA MALL LLC C O COLUMBIA MALL MO   THE MALL IN COLUMBIA BUSINESS TRUST
GALLERIA AT TYLER                BOISE TOWNE SQUARE                       350 N ORLEANS ST                         THE MALL IN COLUMBIA
350 N ORLEANS STSUITE 300        350 N ORLEANS STSUITE 300                STE 300                                  350 N ORLEANS ST
CHICAGO IL 60654-1607            CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607                    STE 300
                                                                                                                   CHICAGO IL 60654-1607


035049P001-1409A-265             035051P001-1409A-265                     035053P001-1409A-265                     035054P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
TOWSON TC LLC                    WILLOWBROOK MALL LLC                     GGPOTAY RANCH LP                         ST CLOUD MALL LLC
TOWSON TOWN CENTER               WILLOWBROOK                              OTAY RANCH TOWN CENTER                   CROSSROADS CENTER (MN)
350 N ORLEANS ST STE 300         350 N ORLEANS ST                         350 N ORLEANS ST                         350 N ORLEANS ST
CHICAGO IL 60654-1607            STE 300                                  STE 300                                  STE 300
                                 CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


035055P001-1409A-265             035056P001-1409A-265                     035057P001-1409A-265                     035058P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
GGP ALA MOANA LLC                MAYFAIR MALL LLC                         HOOVER MALL LIMITED LLC                  RIDGEDALE CENTER LLC
ALA MOANA CENTER                 MAYFAIR                                  RIVERCHASE GALLERIA                      RIDGEDALE CENTER
350 N ORLEANS ST                 350 N ORLEANS ST                         350 N ORLEANS ST                         350 N ORLEANS ST
STE 300                          STE 300                                  STE 300                                  STE 300
CHICAGO IL 60654-1607            CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


035065P001-1409A-265             035067P001-1409A-265                     035068P001-1409A-265                     035070P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
PARK MEADOWS MALL LLC            FASHION PLACE LLC                        MERRICK PARK LLC                         NORTH POINT MALL LLC
PARK MEADOWS                     BROOKFILED PROPERTIES RETAILS            VILLAGE OF MERRICK PARK                  NORTH POINT MALL
350 N ORLEANS ST                 350 N ORLEANS                            350 N ORLEANS ST                         350 N ORLEANS
STE 300                          STE 300                                  STE 300                                  STE 300
CHICAGO IL 60654-1607            CHICAGO IL 60654                         CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607


036855P001-1409A-265             036856P001-1409A-265                     036857P001-1409A-265                     036858P001-1409A-265
BROOKFIELD PROPERTIES            BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES                    BROOKFIELD PROPERTIES
VALLEY PLAZA MALL LP             TOWN EAST MALL                           WESTROADS MALL LLC                       QUAIL SPRINGS MALL LLC
VALLEY PLAZA MALL CA             GENERAL MANAGER                          WESTROADS MALL                           QUAIL SPRINGS MALL
LAW LEASE ADMINISTRATION DEPT    2063 TOWN EAST MALL                      LAW LEASE ADMINISTRATION DEPT            LAW LEASE ADMINISTRATION DEPT
350 N ORLEANS ST STE 300         MESQUITE TX 75150                        350 N ORLEANS ST STE 300                 350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607                                                     CHICAGO IL 60654-1607                    CHICAGO IL 60654-1607
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036859P001-1409A-265                  029695P001-1409A-265                           029695S001-1409A-265                   029696P001-1409A-265
BROOKFIELD PROPERTIES                 BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
BELLIS FAIR MALL LLC                  RPI CARLSBAD LP                                RPI CARLSBAD LP                        CHULA VISTA CENTER LP
BELLIS FAIR                           GENERAL MANAGER                                BROOKFIELD PROPERTIES LLC              GENERAL MANAGER
LAW LEASE ADMINISTRATION DEPT         2525 EL CAMINO REAL                            LEGAL DEPARTMENT                       555 BROADWAY STE 1019
350 N ORLEANS ST STE 300              CARLSBAD CA 92008                              200 VESEY ST 25TH FL                   CHULA VISTA CA 91910
CHICAGO IL 60654                                                                     NEW YORK NY 10281


029696S001-1409A-265                  029697P001-1409A-265                           029697S001-1409A-265                   029698P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
CHULA VISTA CENTER LP                 GGP MEADOWS MALL LLC                           MEADOWS MALL                           GGPTUCSON MALL LLC
BROOKFIELD PROPERTIES (R) LLC         MEADOWS MALL                                   GENERAL MANAGER                        TUCSON MALL
LEGAL DEPARTMENT                      LAW/LEASE ADMINISTRATION DEPARTMENT            4300 MEADOWS LN STE 10                 LAW/LEASE ADMINISTRATION DEPARTMENT
200 VESEY ST 25TH FL                  350 N ORLEANS ST STE 300                       LAS VEGAS NY 89107                     350 N ORLEANS ST STE 300
NEW YORK NY 10281                     CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029698S001-1409A-265                  029699P001-1409A-265                           029699S001-1409A-265                   029700P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
TUCSON MALL                           GGP NORTHRIDGE FASHION CENTER LP               NORTHRIDGE FASHION CENTER              GLENDALE GALLERIA
4500 N ORACLE RD                      NORTHRIDGE FASHION CENTER                      9301 TAMPA AVE                         GLENDALE MALL ASSOCIATES LLC
TUCSON AZ 85705                       LAW/LEASE ADMINISTRATION DEPARTMENT            NORTHRIDGE CA 91324                    LAW/LEASE ADMINISTRATION DEPARTMENT
                                      350 N ORLEANS ST STE 300                                                              350 N ORLEANS ST STE 300
                                      CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029701P001-1409A-265                  029701S001-1409A-265                           029702P001-1409A-265                   029702S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
VALLEY PLAZA MALL LP                  VALLEY PLAZA MALL CA                           PERIMETER MALL LLC PERIMETER MALL      PERIMETER MALL
VALLEY PLAZA MALL CA                  2701 MING AVE                                  LAW/LEASE ADMINISTRATION DEPT          GENERAL MANAGER
350 N ORLEANS ST STE 300              BAKERSFIELD CA 93304                           350 N ORLEANS ST STE 300               4400 ASHFORDDUNWOODY RD STE 1360
LAW/LEASE ADMINISTRATION DEPARTMENT                                                  CHICAGO IL 60654-1607                  ATLANTA GA 30346
CHICAGO IL 60654-1607


029703P001-1409A-265                  029703S001-1409A-265                           029704P001-1409A-265                   029704S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
GGPPROVIDENCE PLACE LLC               PROVIDENCE PLACE                               GGPGRANDVILLE LLC                      RIVERTOWN CROSSINGS
PROVIDENCE PLACE                      GENERAL MANAGER                                RIVERTOWN CROSSINGS                    GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   ONE PROVIDENCE PL                              LAW/LEASE ADMINISTRATION DEPARTMENT    3700 RIVERTOWN PKWY SW
350 N ORLEANS ST STE 300              PROVIDENCE RI 02903                            350 N ORLEANS ST STE 300               GRANDVILLE MI 49418
CHICAGO IL 60654-1607                                                                CHICAGO IL 60654-1607


029704S002-1409A-265                  029705P001-1409A-265                           029705S001-1409A-265                   029706P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
RIVERTOWN CROSSINGS                   PARK MALL LLC                                  PARK PLACE                             SPRING HILL MALL LLC
GENERAL MANAGER                       PARK PLACE                                     5870 EAST BROADWAY BLVD STE 3000       BROOKFIELD PROPERTIES (R) LLC
3700 RIVERTOWN PKWY                   LAW/LEASE ADMINISTRATION DEPARTMENT            TUCSON AZ 85711                        GENERAL COUNSEL
GRANDVILLE MI 49418                   350 N ORLEANS ST STE 300                                                              200 VESEY ST 25TH FL
                                      CHICAGO IL 60654-1607                                                                 NEW YORK NY 10281


029707P001-1409A-265                  029707S001-1409A-265                           029708P001-1409A-265                   029708S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
STONEBRIAR MALL LLC                   MALL OF LOUISIANA                              TOWN EAST MALL LLC                     TOWN EAST MALL
STONEBRIAR CENTRE                     GENERAL MANAGER                                TOWN EAST MALL                         GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   2601 PRESTON RD                                LAW/LEASE ADMINISTRATION DEPARTMENT    2063 TOWN EAST MALL
350 N ORLEANS ST STE 300              FRISCO TX 75034                                350 N ORLEANS ST STE 300               MESQUITE TX 75150
CHICAGO IL 60654-1607                                                                CHICAGO IL 60654-1607
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029709P001-1409A-265                   029709S001-1409A-265                           029710P001-1409A-265                        029711P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
NEWPARK MALL LP                        NEWPARK MALL, LP                               ALTAMONTE MALL LLC                          CLACKAMAS TOWN CENTER
GENERAL MANAGER                        BROOKFIELD PROPERTIES (R) LLC                  ALTAMONTE MALL                              CLACKAMAS TOWN CENTER
2086 NEWPARK MALL                      LEGAL DEPARTMENT                               LAW/LEASE ADMINISTRATION DEPARTMENT         LAW/LEASE ADMINISTRATION DEPARTMENT
NEWARK CA 94560                        200 VESEY ST 25TH FL                           350 N ORLEANS ST STE 300                    350 N ORLEANS ST STE 300
                                       NEW YORK NY 10281                              CHICAGO IL 60654-1607                       CHICAGO IL 60654-1607


029711S001-1409A-265                   029712P001-1409A-265                           029712S001-1409A-265                        029713P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
CLACKAMAS TOWN CENTER                  GGPGLENBROOK LLC                               GLENBROOK SQUARE                            RSE INDEPENDENCE LLC
GENERAL MANAGER                        GLENBROOK SQUARE                               GENERA1MANAGER                              GENERAL MANAGER
12000 SE 82ND AVE STE 1093             LAW/LEASE ADMINISTRATION DEPARTMENT            4201 COLDWATER RD                           3500 OLEANDER DR
HAPPY VALLEY OR 97086-7736             350 N ORLEANS ST STE 300                       FORT WAYNE IN 46805                         WILMINTON NC 28403
                                       CHICAGO IL 60654-1607


029713S001-1409A-265                   029714P001-1409A-265                           029714S001-1409A-265                        029715P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
RSE INDEPENDENCE LLC                   PARKS AT ARLINGTON LLC                         THE PARKS MALL AT ARLINGTON                 LYNNHAVEN MALL
BROOKFIELD PROPERTIES LLC              THE PARKS MALL AT ARLINGTON                    GENERAL MANAGER                             LYNNHAVEN MALL LLC
LEGAL DEPARTMENT                       LAW/LEASE ADMINISTRATION DEPARTMENT            3811 S COOPER ST                            LAW/LEASE ADMINISTRATION DEPARTMENT
200 VESEY ST 25TH FL                   350 N ORLEANS ST STE 300                       ARLINGTON TX 76015-4154                     350 N ORLEANS ST STE 300
NEW YORK NY 10281                      CHICAGO IL 60654-1607                                                                      CHICAGO IL 60654-1607


029715S001-1409A-265                   029716P001-1409A-265                           029716S001-1409A-265                        029717P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
LYMIHAVEN MALL                         BAYBROOK MALL LLC                              BAYBROOK MALL                               WOODBRIDGE CENTER PROPERTY LLC
GENERAL MANAGER                        BAYBROOK MALL                                  GENERAL MANAGER                             WOODBRIDGE CENTER
701 LYMRHAVEN PKWY STE 1068            LAW/LEASE ADMINISTRATION DEPARTMENT            500 BAYBROOK MALL                           LAW/LEASE ADMINISTRATION DEPARTMENT
VIRGINIA BEACH VA 23452                350 N ORLEANS ST STE 300                       FRIENDSWOOD TX 77546                        350 N ORLEANS ST STE 300
                                       CHICAGO IL 60654-1607                                                                      CHICAGO IL 60654-1607


029717S001-1409A-265                   029718P001-1409A-265                           029719P001-1409A-265                        029719S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
WOODBRIDGE CENTER                      CORONADO CENTER LLC                            PARAMUS PARK SHOPPING CENTER LIMITED        PARAMUS PARK SHOPPING CENTER LIMITED
GENERAL MANAGER                        CORONADO CENTER                                PARTNERSHIP, PARAMUS PARK SHOPPING CENTER   PARTNERSHIP, GENERAL MANAGER
250 WOODBRIDGE CTR DR                  LAW/LEASE ADMINISTRATION DEPARTMENT            LAW/LEASE ADMINISTRATION DEPARTMENT         700 PARAMUS PK
WOODBRIDGE NJ 07095                    350 N ORLEANS ST STE 300                       350 N ORLEANS ST STE 300                    PARAMUS NJ 07652
                                       CHICAGO IL 60654-1607                          CHICAGO IL 60654-1607


029720P001-1409A-265                   029720S001-1409A-265                           029721P001-1409A-265                        029721S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
WESTROADS MALL LLC                     WESTROADS MALL                                 DEERBROOK MALL LLC                          DEERBROOK MALL
WESTROADS MALL                         GENERAL MANAGER                                DEERBROOK MALL                              GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    1000 CALIFOMIA ST STE 1221                     LAW/LEASE ADMINISTRATION DEPARTMENT         20131 HIGHWAY 59 NORTH
350 N ORLEANS ST STE 300               OMAHA NE 68114                                 350 N ORLEANS ST STE 300                    HUMBLE TX 77338
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029722P001-1409A-265                   029722S001-1409A-265                           029723P001-1409A-265                        029723S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)
NESHAMJNY MALL JOINT VENTURE LIMITED   NESHAMINY MALL                                 SOONER FASHION MALL LLC                     SOONER MALL
PARTNERSHIP, NESHAMINY MALL            707 NESHARNINY MALL                            SOONER MALL                                 GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    BENSALEM PA 19020                              LAW/LEASE ADMINISTRATION DEPARTMENT         3301 WEST MAIN ST
350 N ORLEANS ST STE 300                                                              350 N ORLEANS ST STE 300                    NORMAN OK 73072
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607
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029724P001-1409A-265                  029724S001-1409A-265                        029725P001-1409A-265                            029725S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
QUAIL SPRINGS MALL LLC                QUAIL SPRINGS MALL                          SHOPPES AT BUCKLAND HILLS LLC                   THE SHOPPES AT BUCKLAND HILLS
QUAIL SPRINGS MALL                    GENERAL MANAGER                             THE SHOPPES AT BUCKLAND HILLS                   GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   2501 WEST MEMORIAL RD STE 100               LAW/LEASE ADMINISTRATION DEPARTMENT             194 BUCKLAND HILLS DR STE 2500
350 N ORLEANS ST STE 300              OKLAHOMA CITY OK 73134                      350 N ORLEANS ST STE 300                        MANCHESTER CT 06042
CHICAGO IL 60654-1607                                                             CHICAGO IL 60654


029726P001-1409A-265                  029726S001-1409A-265                        029727P001-1409A-265                            029727S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
MALL OF LOUISIANA LLC                 MALL OF LOUISIANA                           MALL ST VINCENT LLC                             MALL ST VINCENT
MALL OF LOUISIANA                     GENERAL MANAGER                             GENERAL COUNSEL                                 GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   6401 BLUEBONNET BLVD STE 5050               1 1 14 AVE OF THE AMERICAS STE 2800             1133 ST VINCENT AVE STE 200
350 N ORLEANS ST STE 300              BATON ROUGE LA 51503                        NEW YORK NY 10036                               SHREVEPORT LA 71104
CHICAGO IL 60654


029728P001-1409A-265                  029729P001-1409A-265                        029730P001-1409A-265                            029730S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
LANSING MALL LLC                      LANSING MALL LLC                            PEMBROKE LAKES MALL LLC                         PEMBROKE LAKES MALL
GENERAL MANAGER                       BROOKFIELD PROPERTIES (R) LLC               PEMBROKE LAKES MALL                             GENERAL MANAGER
5330 W SAGINAW HWY                    200 VESEY ST 25 FL                          LAW/LEASE ADMINISTRATION DEPARTMENT             11401 PINES BLVD STE 546
LANSING MI 48917                      NEW YORK NY 10281                           350 N ORLEANS ST STE 300                        PEMBROKE PINES FL 33026
                                                                                  CHICAGO IL 60654


029731P001-1409A-265                  029732P001-1409A-265                        029733P001-1409A-265                            029733S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
MSM PROPERTY LLC                      MALL ST MATTHEWS                            FASHION OUTLET OF LAS VEGAS LLC                 ROUSE MANAGEMENT COMPANY, LLC
MALL ST MATTHEWS                      5000 SHELBYVILLE RD STE 50                  BROOKFIELD REAL ESTATE FINANCIAL PARTNERS LLC   BROOKFIELD PROPERTIES (R) LLC
LAW/LEASE ADMINISTRATION DEPARTMENT   LOUISVILLE KY 40207                         THERESA HOYT                                    LEGAL DEPARTMENT
350 N ORLEANS ST STE 300                                                          250 VESEY ST 14TH FL                            200 VESEY ST 25TH FL
CHICAGO IL 60654                                                                  NEW YORK NY 10281                               NEW YORK NY 10281


029734P001-1409A-265                  029734S001-1409A-265                        029735P001-1409A-265                            029735S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
GGP STATEN ISLAND MALL LLC            STATEN ISLAND MALL - PHASE II               PEACHTREE MALL LLC                              PEACHTREE MALL
STATEN ISLAND MALL - PHASE II         GENERAL MANGER                              PEACHTREE MALL                                  GENERAL MANGER
LAW/LEASE ADMINISTRATION DEPARTMENT   2655 RICHMOND AVE                           LAW/LEASE ADMINISTRATION DEPARTMENT             3131 MANCHESTER EXPWY
350 N ORLEANS ST 300                  STATEN ISLAND NY 10314                      350 N ORLEANS ST 300                            COLUMBUS GA 31909
CHICAGO IL 60654-1607                                                             CHICAGO IL 60654-1607


029736P001-1409A-265                  029736S001-1409A-265                        029737P001-1409A-265                            029737S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
OGLETHORPE MALL LLC                   OGLETHORPE MALL                             GOVERNOR'S SQUARE MALL LLC                      GOVERNOR'S SQUARE
OGLETHORPE MALL                       GENERAL MANGER                              GOVERNOR'S SQUARE                               GENERAL MANGER
LAW/LEASE ADMINISTRATION DEPARTMENT   7804 ABERCON ST                             LAW/LEASE ADMINISTRATION DEPARTMENT             1500 APALACHEE PKWY
350 N ORLEANS ST 300                  SAVANNAH GA 31406                           350 N ORLEANS ST 300                            TALLAHASSEE FL 32301
CHICAGO IL 60654-1607                                                             CHICAGO IL 60654-1607


029738P001-1409A-265                  029738S001-1409A-265                        029739P001-1409A-265                            029739S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)                BROOKFIELD PROPERTIES (LANDLORD)
CUMBERLAND MALL LLC                   CUMBERLAND MALL                             PARK CITY CENTER LLC                            PARK CITY CENTER
CUMBERLAND MALL                       GENERAL MANAGER                             PARK CITY CENTER                                GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   2860 CUMBERLAND MALL SE                     LAW/LEASE ADMINISTRATION DEPARTMENT             142 PK CITY CTR
350 N ORLEANS ST 300                  ATLANTA GA 30339                            350 N ORLEANS ST 300                            LANCASTER PA 17601
CHICAGO IL 60654-1607                                                             CHICAGO IL 60654-1607
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029740P001-1409A-265                  029740S001-1409A-265                        029741P001-1409A-265                   029741S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
TRACY MALL PARTNERS L P               TRACY MALL PARTNERS, LP                     RPI BEL AIR MALL LLC                   RPI BEL AIR MALL, LLC
GENERAL MANAGER                       BROOKFIELD PROPERTIES (R) LLC               GENERAL MANAGER                        BROOKFIELD PROPERTIES (R) LLC
3200 NORTH NAGLEE RD                  LEGAL DEPARTMENT                            3299 BEL AIR MALL                      LEGAL DEPARTMENT
TRACY CA 95304                        200 VESEY ST 25TH FL                        MOBILE AL 36606                        200 VESEY ST 25TH FL
                                      NEW YORK NY 10281                                                                  NEW YORK NY 10281


029742P001-1409A-265                  029742S001-1409A-265                        029743P001-1409A-265                   029743S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
TUP 130 LLC                           TUP 130, LLC                                RPI TURTLE CREEK MALL LLC              RPI TURTLE CREEK MALL, LLC
GENERAL MANAGER                       BROOKFIELD PROPERTIES (R) LLC               GENERAL MANAGER                        BROOKFIELD PROPERTIES (R) LLC
1001 BAMES CROSSING RD                LEGAL DEPARTMENT                            3000 E HIGHLAND DR 200                 LEGAL DEPARTMENT
TUPELO MS 38804                       200 VESEY ST 25TH FL                        JONESBORO AR 72401                     200 VESEY ST 25TH FL
                                      NEW YORK NY 10281                                                                  NEW YORK NY 10281


029744P001-1409A-265                  029744S001-1409A-265                        029745P001-1409A-265                   029745S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
TGA OAK VIEW MALL LLC                 TGA OAK VIEW MALL LLC                       LAKELAND SQUARE MALL LLC               LAKELAND SQUARE MALL, LLC
CBRE/MEGA                             TH REAL ESTATE                              GENERAL MANAGER                        BROOKFIELD PROPERTIES (R) LLC
AMBER BAKKEN                          ASSET MANAGER                               3800 US HWY 98 N RM 304                LEGAL DEPARTMENT
3001 S 144TH ST STE 2029              4675 MACARTHUR CT                           LAKELAND FL 33809                      200 VESEY ST 25TH FL
OMAHA NE 68144                        NEWPORT BEACH CA 92660                                                             NEW YORK NY 10281


029746P001-1409A-265                  029747P001-1409A-265                        029748P001-1409A-265                   029748S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
NORTH POINT MALL LLC                  NORTH POINT MALL                            VALLEY HILLS MALL LLC                  VALLEY HILLS MALL
NORTH POINT MALL                      1000 NORTH PT CIR                           GENERAL COUNSEL                        GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   ALPHARETTA GA 30022                         200 VESEY ST 25TH FL                   1960 HIGHWAY 70 SE 244
350 N ORLEANS ST STE 300                                                          NEW YORK NY 10281                      HICKORY NC 28602
CHICAGO IL 60654-1607


029749P001-1409A-265                  029749S001-1409A-265                        029750P001-1409A-265                   029750S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
HULEN MAL                             HULEN MALL                                  PINNACLE HILLS LLC                     PINNACLE HILLS PROMENADE
HULEN MALL LLC                        4800 S HULEN ST STE 250                     PINNACLE HILLS PROMENADE               GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   FORT WORTH TX 76132                         LAW/LEASE ADMINISTRATION DEPARTMENT    2203 PROMENADE BLVD STE 3200
350 N ORLEANS ST STE 300                                                          350 N ORLEANS ST STE 300               ROGERS AR 72758
CHICAGO IL 60654-1607                                                             CHICAGO IL 60654-1607


029751P001-1409A-265                  029751S001-1409A-265                        029752P001-1409A-265                   029752S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
GGPFOUR SEASONS LP                    FOUR SEASONS TOWN CENTRE                    GREENWOOD MALL LLC                     GREENWOOD MALL
FOUR SEASONS TOWN CENTRE              GENERAL MANAGER                             GREENWOOD MALL                         GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT   410 FOUR SEASONS TOWN CENTRE                LAW/LEASE ADMINISTRATION DEPARTMENT    2625 SCOTTSVILLE RD
350 N ORLEANS ST STE 300              GREENSBORO NC 27427                         350 N ORLEANS ST STE 300               BOWLING GREEN KY 42104
CHICAGO IL 60654-1607                                                             CHICAGO, IL 60654-1607


029753P001-1409A-265                  029753S001-1409A-265                        029754P001-1409A-265                   029754S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)            BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
FIRST COLONY MALL                     FIRST COLONY MALL                           EATONTOWN MONMOUTH MALL LLC            EATONTOWN MONMOUTH MALL, LLC
LAW/LEASE ADMINISTRATION DEPT         16535 SOUTHWEST FWY STE 1                   GENERAL MANAGER                        BROOKFIELD PROPERTIES (R) LLC
SDS 12 3112 PO BOX 86                 SUGAR LAND TX 77479                         180 NEW JERSEY 35                      LEGAL DEPARTMENT
350 N ORLEANS ST STE 300                                                          EATONTOWN NJ 07724                     200 VESEY ST 25TH FL
CHICAGO IL 60654-1607                                                                                                    NEW YORK NY 10281
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029755P001-1409A-265                  029756P001-1409A-265                           029756S001-1409A-265                   029757P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
RIVER HILLS MALL LLC                  KALAMAZOO MALL LLC                             THE CROSSROADS (MI)                    COASTLAND CENTER
RIVER HILLS MALL                      THE CROSSROADS MI                              6650 SOUTH WESTNEDGE AVE               COASTLAND CENTER LP
LAW/LEASE ADMINISTRATION DEPARTMENT   LAW/LEASE ADMINISTRATION DEPARTMENT            KALAMAZOO MI 49024                     350 N ORLEANS ST STE 300
350 N ORLEANS ST STE 300              350 N ORLEANS ST STE 300                                                              CHICAGO IL 60654-1607
CHICAGO IL 60654-1607                 CHICAGO IL 60654-1607


029757S001-1409A-265                  029758P001-1409A-265                           029758S001-1409A-265                   029759P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
COASTLAND CENTER                      AUGUSTA MALL                                   AUGUSTA MALL                           PECANLAND MALL LLC
1900 TAMIANI TRL NORTH                AUGUSTA MALL LLC                               GENERAL MANAGER                        PECANLAND MALL
NAPLES FL 34102                       LAW/LEASE ADMINISTRATION DEPARTMENT            3450 WRIGHTSBORO RD                    LAW/LEASE ADMINISTRATION DEPARTMENT
                                      350 N ORLEANS ST STE 300                       AUGUSTA GA 30909                       350 N ORLEANS ST STE 300
                                      CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029759S001-1409A-265                  029760P001-1409A-265                           029760S001-1409A-265                   029761P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
PECANLAND MALL                        RPI CHESTERFIELD LLC                           RPI CHESTERFIELD LLC                   RPI SALISBURY MALL LLC
GENERAL MANAGER                       GENERAL MANAGER                                BROOKFIELD PROPERTIES (R) LLC          GENERAL COUNSEL
4700 MILLHAVEN RD STE 2000            11500 MIDLOTHIAN TURNPIKE                      LEGAL DEPARTMENT                       200 VESEY ST 25TH FL
MONROE LA 71203                       RICHMOND VA 23235                              200 VESEY ST 25TH FL                   NEW YORK NY 10281-1025
                                                                                     NEW YORK NY 10281


029761S001-1409A-265                  029762P001-1409A-265                           029762S001-1409A-265                   029763P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
RPI SALISBURY MALL, LLC               OAKWOOD SHOPPING CENTER LLC                    OAKWOOD CENTER                         SOUTHLAND CENTER LLC
GENERAL MANAGER                       OAKWOOD CENTER                                 197 WESTBANK EXPWY STE 33              GENERAL COUNSEL
2300 NORTH SALISBURY BLVD             LAW/LEASE ADMINISTRATION DEPARTMENT            GRETNA LA 70053                        200 VESEY ST 25TH FL
SALISBURY MD 21801                    350 N ORLEANS ST STE 300                                                              NEW YORK NY 10281
                                      CHICAGO IL 60654-1607


029764P001-1409A-265                  029765P001-1409A-265                           029765S001-1409A-265                   029766P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
RIVER CROSSING SHOPPES LLC            BRASS MILL CENTER MALL LLC                     BRASS MILL CENTER                      BELLIS FAIR MALL LLC
THE SHOPPES AT RIVER CROSSING         BRASS MILL CENTER                              495 UNION ST STE 139                   BELLIS FAIR
LAW/LEASE ADMINISTRATION DEPARTMENT   LAW/LEASE ADMINISTRATION DEPARTMENT            WATERBURY CT 06706                     LAW/LEASE ADMINISTRATION
350 N ORLEANS ST STE 300              350 N ORLEANS ST STE 300                                                              350 N ORLEANS ST STE 300
CHICAGO IL 60654                      CHICAGO IL 60654                                                                      CHICAGO IL 60654


029766S001-1409A-265                  029767P001-1409A-265                           029767S001-1409A-265                   029768P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
BELLIS FAIR                           OAKWOOD MALL                                   OAKWOOD MALL                           RPI GREENVILLE MALL LLC
ONE BELLIS FAIR PARKWAY               OAKWOOD HILLS MALL PARTNERS                    GENERAL MANAGER                        GENERAL MANAGER
ONE BELLIS FAIR PKWY                  LAW/LEASE ADMINISTRATION DEPARTMENT            4800 GOLF RD                           714 SE GREENVILLE BLVD
BELLINGHAM WA 98226                   350 N ORLEANS ST STE 300                       EAU CLAIRE WI 54701                    GREENVILLE NC 27858
                                      CHICAGO IL 60654


029768S001-1409A-265                  029769P001-1409A-265                           029769S001-1409A-265                   029770P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)      BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
RPI GREENVILLE MALL, LLC              CHAMPAIGN MARKET PLACE LLC                     MARKET PLACE SHOPPING CENTER           COLUMBIANA CENTRE COLUMBIANA CENTRE LLC
BROOKFIELD PROPERTIES (R) LLC         MARKET PLACE SHOPPING CENTER                   GENERAL MANAGER                        LAW/LEASE ADMINISTRATION DEPT
LEGAL DEPARTMENT                      LAW/LEASE ADMINISTRATION DEPARTMENT            2000 NORTH NEIL ST                     350 N ORLEANS STSUITE 300
200 VESEY ST 25 FL                    350 N ORLEANS STSUITE 300                      CHAMPAIGN IL 61820                     CHICAGO IL 60654-1607
NEW YORK NY 10281                     CHICAGO IL 60654-1607
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029770S001-1409A-265               029771P001-1409A-265                             029771S001-1409A-265                   029772P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
COLUMBIANA CENTRE                  LA CANTERA RETAIL LIMITED PARTNERSHIP            THE SHOPS AT LA CANTERA                NATICK MALL LLC
GENERAL MANAGER                    THE SHOPS AT LA CANTERA                          GENERAL MANAGER                        NATICK MALL
100 COLUMBIANA CIR                 LAW/LEASE ADMINISTRATION DEPARTMENT              15900 LA CANTERA PKWY STE 6698         LAW/LEASE ADMINISTRATION DEPARTMENT
COLUMBIA SC 29212                  350 N ORLEANS ST STE 300                         SAN ANTONIO TX 78256                   350 N ORLEANS ST
                                   CHICAGO IL 60654-1607                                                                   CHICAGO IL 60654-1607


029772S001-1409A-265               029772S002-1409A-265                             029773P001-1409A-265                   029774P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
NATICK MALL, LLC                   THE OAKS MALL                                    OAKS MALL LLC                          THE WOODLANDS MALL ASSOCIATES LLC
GENERAL MANAGER                    GENERAL MANAGER                                  LAW/LEASE ADMINISTRATION DEPT          THE WOODLANDS MALL
1245 WORCESTER ST STE 1218         6419 NEWBERRY RD                                 350 N ORLEANS ST                       LAW/LEASE ADMINISTRATION DEPARTMENT
NATICK MA 01760                    GAINESVILLE FL 32605                             CHICAGO IL 60654-1607                  350 N ORLEANS ST STE 300
                                                                                                                           CHICAGO IL 60654-1607


029775P001-1409A-265               029775S001-1409A-265                             029776P001-1409A-265                   029777P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
JORDAN CREEK TOWN CENTER LLC       JORDAN CREEK TOWN CENTER                         WHITE MARSH MALL LLC                   TYLER MALL LIMITED PARTNERSHIP
JORDAN                             GENERAL MANAGER                                  WHITE MARSH MALL                       GALLERIA AT TYLER
CREEK TOWN CTR                     STE 12518                                        LAW/LEASE ADMINISTRATION DEPARTMENT    LAW/LEASE ADMINISTRATION DEPARTMENT
350 N ORLEANS ST STE 300           WEST DES MOINES IA 50266                         350 N ORLEANS STSUITE 300              350 N ORLEANS STSUITE 300
CHICAGO IL 60654-1607                                                               CHICAGO IL 60654-1607                  CHICAGO IL 60654-1607


029777S001-1409A-265               029778P001-1409A-265                             029778S001-1409A-265                   029779P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
GALLERIA AT TYLER                  BOISE MALL LLC                                   BOISE TOWNE SQUARE                     COLUMBIA MALL LLC
GENERAL MANAGER                    BOISE TOWNE SQUARE                               GENERAL MANAGER                        COLUMBIA MALL (MO)
1299 GALLERIA AT TYLER             LAW/LEASE ADMINISTRATION DEPARTMENT              350 NORTH MILWAUKEE                    LAW/LEASE ADMINISTRATION DEPARTMENT
RIVERSIDE CA 92503                 350 N ORLEANS ST STE 300                         BOISE ID 83704                         350 N ORLEANS ST STE 300
                                   CHICAGO IL 60654-1607                                                                   CHICAGO IL 60654-1607


029779S001-1409A-265               029780P001-1409A-265                             029780S001-1409A-265                   029781P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
COLUMBIA MALL (MO)                 THE MALL IN COLUMBIA BUSINESS TRUST              THE MALL IN COLUMBIA                   TOWSON TC LLC
GENERAL MANAGER                    THE MALL IN COLUMBIA                             GENERAL MANAGER                        TOWSON TOWN CENTER
2300 BERNADETTE DR                 LAW/LEASE ADMINISTRATION DEPARTMENT              10300 LITTLE PATUXENT PKWY             LAW/LEASE ADMINISTRATION DEPARTMENT
COLUMBIA MO 65203                  350 N ORLEANS ST STE 300                         COLUMBIA MD 21044                      350 N ORLEANS ST STE 300
                                   CHICAGO IL 60654-1607                                                                   CHICAGO IL 60654-1607


029781S001-1409A-265               029782P001-1409A-265                             029782S001-1409A-265                   029783P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
TOWSON TOWN CENTER                 WILLOWBROOK MALL LLC                             WILLOWBROOK                            GGPOTAY RANCH LP
GENERAL MANAGER                    WILLOWBROOK                                      GENERAL MANAGER                        OTAY RANCH TOWN CENTER
825 DULANEY VLY RD                 LAW/LEASE ADMINISTRATION DEPARTMENT              1400 WILLOWBROOK MALL                  LAW/LEASE ADMINISTRATION DEPARTMENT
TOWSON MD 21204                    350 N ORLEANS ST STE 300                         WAYNE NJ 07470                         350 N ORLEANS ST STE 300
                                   CHICAGO IL 60654-1607                                                                   CHICAGO IL 60654-1607


029783S001-1409A-265               029784P001-1409A-265                             029784S001-1409A-265                   029785P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD PROPERTIES (LANDLORD)                 BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
OTAY RANCH TOWN CENTER             ST CLOUD MALL LLC                                CROSSROADS CENTER (MN)                 GGP ALA MOANA LLC
GENERAL MANAGER                    CROSSROADS CENTER (MN)                           GENERAL MANAGER                        ALA MOANA CENTER
2015 BIRCH RD STE 500              LAW/LEASE ADMINISTRATION DEPARTMENT              4101 WEST DIVISION ST                  LAW/LEASE ADMINISTRATION DEPARTMENT
CHULA VISTA CA 91915               350 N ORLEANS ST STE 300                         ST. CLOUD MN 56301                     350 N ORLEANS ST STE 300
                                   CHICAGO IL 60654-1607                                                                   CHICAGO IL 60654-1607
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029786P001-1409A-265                   029786S001-1409A-265                           029787P001-1409A-265                   029787S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
MAYFAIR MALL LLC                       MAYFAIR                                        HOOVER MALL LIMITED LLC                RIVERCHASE GALLERIA
MAYFAIR                                GENERAL MANAGER                                RIVERCHASE GALLERIA                    GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    2500 NORTH MAYFAIR RD                          LAW/LEASE ADMINISTRATION DEPARTMENT    2000 RIVERCHASE GALLERIA STE 147 C
350 N ORLEANS ST                       WAUWATOSA WI 53226                             350 N ORLEANS ST STE 300               BIRMINGHAM AL 35244
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029788P001-1409A-265                   029788S001-1409A-265                           029789P001-1409A-265                   029789S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
FOX RIVER SHOPPING CENTER LLC          FOX RIVER MALL                                 RIDGEDALE CENTER LLC                   RIDGEDALE CENTER
FOX RIVER MALL                         GENERAL MANAGER                                RIDGEDALE CENTER                       GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    4301 WEST WISCONSIN AVE                        LAW/LEASE ADMINISTRATION DEPARTMENT    12401 WAYZATA BLVD
350 N ORLEANS ST                       APPLETON WI 54913                              350 N ORLEANS ST                       MINNETONKA MN 55305
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029790P001-1409A-265                   029790S001-1409A-265                           029791P001-1409A-265                   029791S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
CAROLINA PLACE LLC DO CAROLINA PLACE   CAROLINA PLACE                                 CORAL RIDGE MALL LLC                   CORAL RIDGE MALL
LAW/LEASE ADMINISTRATION DEPARTMENT    GENERAL MANAGER                                CORAL RIDGE MALL                       GENERAL MANAGER
350 N ORLEANS ST                       11025 CAROLINA PL PKWY                         LAW/LEASE ADMINISTRATION DEPARTMENT    1451 CORAL RIDGE AVE
CHICAGO IL 60654-1607                  PINEVILLE NC 28134                             350 N ORLEANS ST                       CORALVILLE IA 52241
                                                                                      CHICAGO IL 60654-1607


029792P001-1409A-265                   029792S001-1409A-265                           029793P001-1409A-265                   029793S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
ALDERWOOD MALL LLC                     ALDERWOOD MALL                                 WILLOWBROOK MALL TX LLC                WILLOWBROOK MALL TX
ALDERWOOD MALL                         GENERAL MANAGER                                WILLOWBROOK MALL TX                    GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    3000 184TH ST SW RM 145                        LAW/LEASE ADMINISTRATION DEPARTMENT    2000 WILLOWBROOK MALL
350 N ORLEANS ST                       LYNNWOOD WA 98037                              350 N ORLEANS ST                       HOUSTON TX 77070-5715
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029794P001-1409A-265                   029794S001-1409A-265                           029795P001-1409A-265                   029795S001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
FLORENCE MALL LLC                      FLORENCE MALL                                  VISALIA MALL LP                        VISALIA MALL
FLORENCE MALL                          GENERAL MANAGER                                VISALIA MALL                           GENERAL MANAGER
LAW/LEASE ADMINISTRATION DEPARTMENT    2028 FLORENCE MALL                             LAW/LEASE ADMINISTRATION DEPARTMENT    2031 SOUTH MOONEY BLVD
350 N ORLEANS ST                       FLORENCE KY 41042-1443                         350 N ORLEANS ST                       VISALIA CA 93277
CHICAGO IL 60654-1607                                                                 CHICAGO IL 60654-1607


029796P001-1409A-265                   029797P001-1409A-265                           029797S001-1409A-265                   029798P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
PARK MEADOWS MALL LLC                  FASHION PLACE LLC                              FASHION PLACE                          MERRICK PARK LLC
PARK MEADOWS                           BROOKFILED PROPERTIES RETAILS                  MARK THORSON                           VILLAGE OF MERRICK PARK
LAW/LEASE ADMINISTRATION DEPARTMENT    LAW/LEASE ADMINISTRATION DEPARTMENT            6161 S STATE ST STE 201                LAW/LEASE ADMINISTRATION DEPARTMENT
350 N ORLEANS ST STE 300               350 N ORLEANS STE 300                          MURRAY UT 84107                        350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607                  CHICAGO IL 60654                                                                      CHICAGO IL 60654-1607


029798S001-1409A-265                   029799P001-1409A-265                           029799S001-1409A-265                   036854P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)               BROOKFIELD PROPERTIES (LANDLORD)       BROOKFIELD PROPERTIES (LANDLORD)
VILLAGE OF MERRICK PARK                NORTH POINT MALL LLC                           NORTH POINT MALL                       CALIFORNIA MARKET CENTER
GENERAL MANAGER                        NORTH POINT MALL                               GENERAL MANAGER                        LAW/LEASE ADMINISTRATION DEPARTMENT
358 AVE SAN LORENZO AVE                LAW/LEASE ADMINISTRATION DEPARTMENT            1000 NORTH PT CIR                      350 N ORLEANS ST STE 300
CORAL GABLES FL 33146                  350 N ORLEANS STE 300                          ALPHARETTA GA 30202                    CHICAGO IL 60654-1607
                                       CHICAGO IL 60654-1607
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036854S001-1409A-265               031201P002-1409A-265                            031201S001-1409A-265                    031202P001-1409A-265
BROOKFIELD PROPERTIES (LANDLORD)   BROOKFIELD SQUARE JOINT VENTURE                 BROOKFIELD SQUARE JOINT VENTURE         BROOKLYN KINGS PLAZA LLC
CALIFORNIA MARKET CENTER           BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGEMENT INC    THE MACERICH PARTNERSHIP LP
GENERAL MANAGER                    GARY RODDY                                      CALEB HOLZAEPFEL                        401 WILSHIRE BLVD
110 EAST 9TH ST                    2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300                 STE 700
LOS ANGELES CA 99079               CHATTANOOGA TN 37421-6000                       CHATTANOOGA TN 37402                    SANTA MONICA CA 90401



037727P001-1409A-265               031203P001-1409A-265                            003528P001-1409A-265                    037180P001-1409A-265
BROOKLYN KINGS PLAZA LLC           BROOKS SHOPPING CENTERS, LLC                    ADRIANNA B BROOKS                       AMANDA BROOKS
BALLARD SPAHR LLP                  CROSS COUNTY SHOPPING CENTER                    1265 EAST 222ND ST                      1517 HAVENWOOD DRIVE
DUSTIN P BRANCH                    PO BOX 849737                                   BRONX NY 10469                          OCEANSIDE CA 92056
2029 CENTURY PARK EAST STE 800     LOS ANGELES CA 90084-9737
LOS ANGELES CA 90067-2909



001224P001-1409A-265               004045P001-1409A-265                            003827P001-1409A-265                    007628P001-1409A-265
AMANDA K BROOKS                    AUDRIANNA BROOKS                                BATESHA BROOKS                          BRIONNA L BROOKS
1517 HAVENWOOD DR                  1472 CITY VIEW ST                               279 GOLDSMITH AVE APT D1                1210 MORGANS LANDING DR
OCEANSIDE CA 92056                 EUGENE OR 97402                                 NEWARK NJ 07112                         SANDY SPRINGS GA 30350




004676P001-1409A-265               004719P001-1409A-265                            004886P001-1409A-265                    007744P001-1409A-265
DESTINY J BROOKS                   INEZ BROOKS                                     LYDIA G BROOKS                          MADISON BROOKS
10217 DOVER DR                     118 TACOMA AVE                                  81 GLEN AIRE DR                         5318 STONES RIVER AVE
YUKON OK 73099                     BUFFALO NY 14216                                SPRINGFIELD IL 62703                    BATON ROUGE LA 70817




009525P001-1409A-265               006987P001-1409A-265                            008394P001-1409A-265                    002218P001-1409A-265
MIKAYLA BROOKS                     SYDNEY N BROOKS                                 TAYLOR B BROOKS                         TYESHIA S BROOKS
130 SOUTH HEWITT APT 303           104 DALEWOOD MANOR LN APT F                     935 MCFARLAN AVE                        1435 OAKES RD
YPSILANTI MI 48197                 APT F                                           FORT WALTON BEACH FL 32547              3
                                   BIRMINGHAM AL 35214                                                                     RACINE WI 53406




000987P001-1409A-265               009654P001-1409A-265                            030229P001-1409A-265                    006745P001-1409A-265
JENNIFER L BROOM                   ASHLEY BROOME                                   ASHLEY BROOME                           SELENA L BROSIOUS
1509 BLAINE AVE                    1030 SILVER OAK PL                              ADDRESS INTENTIONALLY OMITTED           18 ALBEE LN
RACINE WI 53405                    CHULA VISTA CA 91914                                                                    PASCOAG RI 02859




007778P001-1409A-265               009867P001-1409A-265                            009995P001-1409A-265                    005341P001-1409A-265
ALIYAH R BROUSSARD                 BROWARD COUNTY REVENUE                          BROWN COUNTY TREASURER                  ALLISON BROWN
2320 LAVENDER ST                   COLLECTOR                                       305 E WALNUT ST                         511 TORWOOD DR
PORT ARTHUR TX 77640               115 S ANDREWS AVE A100                          PO BOX 23600                            COLUMBIA SC 29203
                                   FORT LAUDERDALE FL 33301-1895                   GREEN BAY WI 54305-3600
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005143P001-1409A-265           035512P001-1409A-265                     003444P001-1409A-265                       005820P001-1409A-265
ALYSSA C BROWN                 AMARI N BROWN                            ANNIKA BROWN                               AQUOIA BROWN
14 KNOLLWOOD DR                8468 WOODCREST                           241 RAMPART WAY APT 203                    3044 HIDDEN FOREST CT
VERNON CT 06066                APT 5                                    EAST LANSING MI 48823                      5231 B
                               WESTLAND MI 48185                                                                   MARIETTA GA 30066




005820S001-1409A-265           007560P001-1409A-265                     006925P001-1409A-265                       004052P001-1409A-265
AQUOIA BROWN                   ASHLEY A BROWN                           ASHLEY N BROWN                             ASIA N BROWN
2500 SHALLOWFORD RD APT 3102   113 NORTH PARKRIDGE ST                   4454 N 89TH                                18200 ROSELAND BLVD
ATLANTA GA 30345               WICHITA KS 67212                         MILWAUKEE WI 53225                         LATHRUP VILLAGE MI 48076




005522P001-1409A-265           030241P002-1409A-265                     006399P001-1409A-265                       006021P001-1409A-265
AUBREY G BROWN                 AURORA BROWN                             AURORA I BROWN                             AUTUMN A BROWN
2409 ALPINE DR                 ADDRESS INTENTIONALLY OMITTED            1061 11TH ST                               669 THORNHILL DR
JACKSON MO 63755                                                        IMPERIAL BEACH CA 91932                    COLUMBIA SC 29229




009144P001-1409A-265           003705P001-1409A-265                     005087P001-1409A-265                       008179P001-1409A-265
BLAIR D BROWN                  BRIANNA M BROWN                          BRITTANY T BROWN                           BRYUNNA N BROWN
1640 GRAND AVE                 10435 PALMERA DR                         2774 STANFIELD AVE                         407 COVINGTON COVE
1301                           HELOTES TX 78023                         ORLANDO FL 32814                           JACKSONVILLE AR 72076
KNOXVILLE TN 37916




001092P001-1409A-265           003948P001-1409A-265                     004484P001-1409A-265                       008267P001-1409A-265
CARL L BROWN                   CASSANDRA BROWN                          CRYSTAL O BROWN                            DANNIQUA R BROWN
2642 S SAN DIEGO AVE           9 MELBA DR                               2205 VICTOR AVE                            141-21 249 ST
ONTARIO CA 91761               HUDSON NH 03051                          LANSING MI 48911                           2
                                                                                                                   ROSEDALE NY 11422




008416P001-1409A-265           000693P001-1409A-265                     035513P001-1409A-265                       005396P001-1409A-265
DESIREE BROWN                  DESTINI S BROWN                          DIXIE BROWN                                GABRIELLE S BROWN
1416 JOHNSON                   101 CHARMONT DR                          2000 OAK GROVE RD                          7130 HUMMINGBIRD PL
SOUTH BEND IN 46628            COLUMBIA SC 29223                        APT 1106                                   PHILADELPHIA PA 19153
                                                                        HATTIESBURG MS 39402




005280P001-1409A-265           008554P001-1409A-265                     006458P001-1409A-265                       006874P001-1409A-265
HANNAH K BROWN                 HANNAH S BROWN                           INDIA T BROWN                              JACQUELYN F BROWN
1125 16TH AVE                  3103 KINMORE ST                          12315 LAWSON CREEK DR                      6939 NETHERLAND DR
ALTOONA PA 16601               DALLAS TX 75223                          JACKSONVILLE FL 32218                      LIBERTY TOWNSHIP OH 45044
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008572P001-1409A-265           005427P001-1409A-265                  005752P001-1409A-265                      006014P001-1409A-265
JADA A BROWN                   JANAYLA K BROWN                       JAQUAN BROWN                              JOE BROWN
188 DWIGHT ST                  533 WHITE BIRCH DR                    550 NORTHRIDGE PKWY                       1809 S WILLIAMS LN
APTB                           SAYLORSBURG PA 18353                  2411                                      HARLINGEN TX 78550
JERSEY CITY NJ 07305                                                 SANDY SPRINGS GA 30350




035514P001-1409A-265           037162P001-1409A-265                  004509P001-1409A-265                      009156P001-1409A-265
KATARA BROWN                   KATARA BROWN                          KATERA S BROWN                            KAYLA L BROWN
3173 NW 39 ST                  3173 NW 39TH ST                       3173 NW 39TH ST                           17117 SIMSBROOK DR
LAUDERDALE LAKES FL 33309      LAUDERDALE LAKES FL 33309             LAUDERDALE LAKES FL 33309                 PFLUGERVILLE TX 78660




007470P001-1409A-265           007631P001-1409A-265                  009272P001-1409A-265                      008264P001-1409A-265
KEIRRA BROWN                   KELLY A BROWN                         KRYSTAL BROWN                             LASHAUNTA BROWN
4204 BEALE ST                  658 TIMBER CREEK SOUTH                2425 OVERHILL RD                          1438 HANDBALL LN
MONROE LA 71203                HERNANDO MS 38632                     JACKSON MI 49201                          D
                                                                                                               INDIANAPOLIS IN 46260




009537P001-1409A-265           009541P001-1409A-265                  007724P001-1409A-265                      002501P001-1409A-265
LONDON BROWN                   MAIA A BROWN                          MAKAYLA BROWN                             MAKIYAH N BROWN
78 ASHLEY HALL PLANTATION RD   1427 CHESTNUT DR APT 16               244 FISHER AVE                            3405 WEST MAIN ST
CHARLESTON SC 29407            16                                    NEPTUNE NJ 07753                          JACKSONVILLE AR 72076
                               YPSILANTI MI 48197




008449P001-1409A-265           036650P001-1409A-265                  005273P001-1409A-265                      037047P001-1409A-265
MAYA BROWN                     MEGAN BROWN                           MOLLY G BROWN                             MONIQUEA BROWN
5219 HILDRETH CT               338 DAY ST                            190 WOODSIDE RD                           9920 FOREST LN APT 305
CONCORD NC 28025               HORSEHEADS NY 14845-1902              OAK RIDGE MO 63769                        DALLAS TX 75243




005150P001-1409A-265           006450P001-1409A-265                  005262P001-1409A-265                      035515P001-1409A-265
MONIQUEA A BROWN               MORGAN N BROWN                        NADIA BROWN                               NAKIA N BROWN
9920 FOREST LN                 6009 ALMOND CREEK NORTH LN            904 MEADOWGREEN DR                        4320 GLENDALE ST
305                            RICHMOND VA 23231                     MIDWEST CITY OK 73110                     PHILADELPHIA PA 19124
DALLAS TX 75243




008841P001-1409A-265           009193P001-1409A-265                  001070P001-1409A-265                      030589P001-1409A-265
NIA A BROWN                    PRECIOUS A BROWN                      SAMARA BROWN                              SAMARA BROWN
222 C BUTTRICK AVE             434 E NORWICH                         3225 MARSHLANE WAY                        ADDRESS INTENTIONALLY OMITTED
BRONX NY 10465                 F                                     RALEIGH NC 27610-4080
                               COLUMBUS OH 43201
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007434P001-1409A-265             004595P001-1409A-265                  005647P001-1409A-265                         000972P001-1409A-265
SARAH BROWN                      SARAH A BROWN                         SHANNON M BROWN                              SHEELA M BROWN
11814 SILVERWOOD BEND LN         14808 ERSKINE ST                      2517 WEST DARROW ST                          11425 DURAND AVE
CYPRESS TX 77433                 OMAHA NE 68116                        PHOENIX AZ 85041                             MT PLEASENT WI 53406




006318P001-1409A-265             003857P001-1409A-265                  009277P001-1409A-265                         007365P001-1409A-265
SHIRLANDREA BROWN                SIMONE R BROWN                        SKYASIA BROWN                                SYDNEY J BROWN
1624 HOUGHTON RD                 1220 EAST WEST HIGHWAY                9105 SADIE LN                                705 PAINTER AVE
DALLAS TX 75217                  APT 1618                              LA PLATA MD 20646                            NATRONA HEIGHTS PA 15065
                                 SILVER SPRING MD 20910




005060P001-1409A-265             036777P001-1409A-265                  008585P001-1409A-265                         004960P001-1409A-265
TAELOR R BROWN                   TAEYANNA BROWN                        TIARA BROWN                                  VANITRA BROWN
5075 TITAN CT                    6025 AGUSTA ST                        79 LANOUETTE ST EXT                          143 TRAILING VINE LN
DENVER CO 80239                  PHILADELPHIA PA 19149-3229            MERIDEN CT 06451                             HARVEST AL 35749




006530P001-1409A-265             006457P001-1409A-265                  004008P001-1409A-265                         004187P001-1409A-265
NADIA M BROWNBLACK               JENAI A BROWNE                        KATRINA BROWNE                               TAYLOR M BROWNFERNANDES
5112 SOUTH PINES DR              768 COLUMBUS AVE                      46 ROSLYN AVE                                4102 BECARD CT
JACKSONVILLE FL 32207            3                                     SAN CARLOS CA 94070                          WALDORF MD 20603
                                 BOSTON MA 02120




030851P002-1409A-265             008446P001-1409A-265                  008752P001-1409A-265                         003081P001-1409A-265
BROWNSTEIN HYATT FARBER SCHREC   NYJAH R BROWNWATSON                   KATHERINE A BRUCE                            MEGAN BRUCE
410 17TH ST 22ND FL              54053 OLD MILL DR                     5930 FAIRWAY CT                              31800 CONCORD DR
STE 2200                         ELKHART IN 46514                      WEST DES MOINES IA 50266                     F
DENVER CO 80202                                                                                                     MADISON HEIGHTS MI 48071




003823P002-1409A-265             004761P001-1409A-265                  004761S001-1409A-265                         035517P001-1409A-265
SAMANTHA BRUNI                   NAYDIL T BRUNO GARCIA                 NAYDIL T BRUNO GARCIA                        GARCIA NAYDIL T BRUNO
11 CAMELLIA DR                   1232 CAVERN RIDGE CT                  2448 ROCKY BROOK ST                          1232 CAVERN RIDGE CT
CAPE GIRARDEAU MO 63703          NORTH LAS VEGAS NV 89031              N LAS VEGAS NV 89030-4704                    NORTH LAS VEGAS NV 89031




002123P001-1409A-265             031204P001-1409A-265                  036884P001-1409A-265                         036884S001-1409A-265
TAYLORROSE BRUNO                 BRUNSWICK SQUARE MALL                 BRUNSWICK SQUARE MALL LLC                    BRUNSWICK SQUARE MALL LLC
1471 STRAIGHT PATH               BRUNSWICK SQUARE MALL LLC             AKA WASHINGTON PRIME GROUP INC               AKA WASHINGTON PRIME GROUP INC
APT B2                           867751 RELIABLE PKWY                  FROST BROWN TODD LLC                         STEPHEN E IFEDUBA
WYANDANCH NY 11798-3917          CHICAGO IL 60686-0077                 301 E FOURTH ST                              180 E BROAD ST
                                                                       CINCINNATI OH 45202                          COLUMBUS OH 43215
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034351P001-1409A-265                 037923P002-1409A-265                               007779P001-1409A-265                         002982P001-1409A-265
BRUNSWICK SQUARE MALL, LLC           DENISE BRUNT                                       TASIA L L BRUTON                             RACHELLE BRUTUS
867751 RELIABLE PKWY                 3082 BENNINGTON DR                                 216 R ST NE                                  150 LIBERTY PKWY
CHICAGO IL 60686-0077                WIXOM MI 48393                                     AUBURN WA 98002                              APT G4
                                                                                                                                     SPRING VALLEY NY 10977




031806P001-1409A-265                 006605P001-1409A-265                               006283P001-1409A-265                         008257P001-1409A-265
BRYAN ADAM CASTILLO PHOTOGRAPHY      DANIELLE A BRYAN                                   KARLEE J BRYAN                               YVETTE D BRYAN
ALEXIS THERESE CASTILLO              7432 NW 34TH ST                                    632 JOEY AVE                                 5215 REPS TRACE
12964 N THREE BUTTES PL              LAUDERHILL FL 33319                                EL CAJON CA 92020                            NORCROSS GA 30071
MARANA AZ 85658




029800P001-1409A-265                 029800S001-1409A-265                               007231P001-1409A-265                         008083P001-1409A-265
BRYANT ST INVESTORS LLC (LANDLORD)   BRYANT STREET INVESTORS, LLC (LANDLORD)            ANAYAH J BRYANT                              ANDREA BRYANT
BRYANT STREET MANAGEMENT CO INC      HANSON BRIDGETT LLP                                3205 NW 83 ST GAINESVILLE                    4939 SILVERBELL DR
2352 POST ST STE 200                 JAMES D HOLDEN                                     1221                                         KENTWOOD MI 49548
SAN FRANCISCO CA 94115               424 MARKET ST 26TH FL                              GAINESVILLE FL 32606
                                     SAN FRANCISCO CA 94105



003604P001-1409A-265                 001995P001-1409A-265                               030261P001-1409A-265                         005813P001-1409A-265
ANNA B BRYANT                        BRITTANY BRYANT                                    CANDACE M BRYANT                             EMILY BRYANT
9705 COLE RD                         12802 W WILLOW AVE                                 ADDRESS INTENTIONALLY OMITTED                1699 OAKLAND RD
ALLISON PARK PA 15101                EL MIRAGE AZ 85335-5357                                                                         NORTH PORT FL 34286




009598P001-1409A-265                 007688P002-1409A-265                               004061P002-1409A-265                         005923P001-1409A-265
GABRIELLE N BRYANT                   SHAMEKA BRYANT                                     TEKEDRA J BRYANT                             TIARA BRYANT
1902 CUPOLLA MOUNTAIN                1536 W ORMSBY AVE                                  4180 GIBBS PKWY                              8927 AVERY MEADOWS DR
CEDAR PARK TX 78613                  LOUISVILLE KY 40210-2453                           MEMPHIS TN 38128-1362                        CHARLOTTE NC 28216




007734P001-1409A-265                 002014P001-1409A-265                               034222P001-1409A-265                         031807P001-1409A-265
TRACY M BRYANT                       IZABELLA M BRZOZA                                  BSREP II LA MART POOLING LLC                 BTB MGMT LLC
1600 ASTER DR APT #32                2150 SMETHWICK LN                                  BROOKFIELD PLACE                             639 E VERDUGO AVE
ANTIOCH CA 94509                     HOFFMAN ESTATES IL 60169                           250 VESEY ST                                 BURBANK CA 91501
                                                                                        15TH FL
                                                                                        NEW YORK NY 10281-1023



033273P002-1409A-265                 009583P001-1409A-265                               030852P001-1409A-265                         003741P001-1409A-265
BTWEEN LLC                           MORGAN M BUBOLTZ                                   BUCHALTER, NEMER, FIELDS                     KATLYN L BUCHANAN
BOBBY TERZI                          874 SARAZIN ST                                     1000 WILSHIRE BLVD                           2261 GEORGIAN CIR
1412 BROADWAY RM 1400                SHAKOPEE MN 55379                                  STE 1500                                     FRANKLIN TN 37067
NEW YORK NY 10018-9836                                                                  LOS ANGELES CA 90017-2457
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037037P001-1409A-265         006837P001-1409A-265                 031808P001-1409A-265                       007868P001-1409A-265
LAILA BUCHLER                LAILA A BUCHLER                      BUCK GLOBAL, LLC                           ALYSSA M BUCK
110 BARBARA ST               110 BARBARA ST                       VERONICA PULBERE                           172 DUCKY LN
LOUISVILLE CO 80027          LOUISVILLE CO 80027                  PO BOX 207640                              MORRISDALE PA 16858
                                                                  DALLAS TX 75320-7640




006828P001-1409A-265         035387P001-1409A-265                 004047P001-1409A-265                       009083P002-1409A-265
JASMINE O BUCK               ROCHELLE BUCK                        TIARA G BUCK                               AMBER BUCKALEW
310 RETHKE AVE               3006 SAINT JOSEPH DR                 204 POPLAR DR                              922 SAUK RIDGE TRL
MADISON WI 53714             MANSFIELD TX 76063                   GREER SC 29651                             MADISON WI 53717




005965P001-1409A-265         008629P001-1409A-265                 003409P001-1409A-265                       030544P001-1409A-265
LEELEE W BUCKINGHAM          ALEXA C BUCKLAND                     AYANNA R BUCKLEY                           NICHA D BUCKLEY
299 NORTH SALTAIR AVE        224 EAST SKYLINE DR                  3803 N MARLEON DR                          ADDRESS INTENTIONALLY OMITTED
LOS ANGELES CA 90049         PURCELLVILLE VA 20132                623
                                                                  MUNCIE IN 47304




007723P001-1409A-265         009369P001-1409A-265                 009249P001-1409A-265                       007109P001-1409A-265
ALEXIS N BUCKMASTER          ALEXIA BUCKNER                       TIARIA BUCKNER                             SHATISE T BUDD
6927 E 10TH AVE              412 SCOTT ST                         112 KENTUCKY OAKS                          117-09 202 ST
LAKE STATION IN 46405        SCOTT CITY MO 63780                  MONTGOMERY AL 36117                        SAINT ALBANS NY 11412




006224P001-1409A-265         006470P001-1409A-265                 035518P001-1409A-265                       003236P001-1409A-265
HANNA BUDRAJ                 MIKALA A BUEHLER                     MIKALA A BUEHLER                           ANGELICA M BUENAVENTURA
2016 MCGRAW AVE              7618 HOLIDAY HILLS DR                311 SUNRISE LN                             9895 NW 26 ST
BRONX NY 10462               CHATTANOOGA TN 37416                 APT B                                      DORAL FL 33172
                                                                  CHATTANOOGA TN 37411




035519P001-1409A-265         035520P001-1409A-265                 000737P001-1409A-265                       009401P001-1409A-265
ANGELICA M BUENAVENTURA      NATHAN A BUENDIA                     CECILIA BUENO                              ALANA E BUENROSTRO
5955 NW 105TH CT APT 322     28 KAMAKOA LOOP                      5062 BANDERA ST                            5810 LOBELIA WAY
DORAL FL 33178               WAILUKU HI 96793                     MONTCLAIR CA 91763-4407                    LIVERMORE CA 94551




003539P001-1409A-265         008890P001-1409A-265                 004523P001-1409A-265                       009229P001-1409A-265
VERONICA BUENROSTRORIVEROS   ROBERT BUHLER                        JOANNA L BUINGUYEN                         LILYANA R BUJAK
3249 MADISON ST              106 MOSS LN                          6521 HANNAH STABLES DR                     225 BEECHURST AVE
OMAHA NE 68107               NAPA CA 94558                        JACKSONVILLE FL 32244                      APT A
                                                                                                             MORGANTOWN WV 26505
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002685P001-1409A-265         009478P001-1409A-265                     008762P002-1409A-265                        008086P001-1409A-265
MAYRA L BULLINGTON           ALLANA BULLOCK                           ANNA L BULLOCK                              KYLA R BULLOCK
B5 CALLE 6                   504 WILKES                               1014 TRENTON DR                             51 SUMMER ST
B-5 CALLE 6                  COLUMBIA MO 65201                        FORT SMITH AR 72908-8171                    2
CAROLINA PR 00985-6107                                                                                            TAUNTON MA 02780




006149P001-1409A-265         030392P001-1409A-265                     000904P001-1409A-265                        035521P001-1409A-265
MARIAHANNA O BULLOCK         JESSICA BUMGARNER                        JESSICA M BUMGARNER                         JESSICA M BUMGARNER
102 RED GATE DR              ADDRESS INTENTIONALLY OMITTED            11201 OLD WASHINGTON HWY                    8414 O'CONNOR CT
MONROEVILLE PA 15146                                                  GLEN ALLEN VA 23059                         UNIT 810
                                                                                                                  HENRICO VA 23228




001438P001-1409A-265         009025P001-1409A-265                     005950P001-1409A-265                        001467P001-1409A-265
MEGAN L BUMGARNER            JAMALYN D BUMP                           KEISHA BUMPHIS                              TAMIKA BUMPHIS
2519 S 18TH ST               158 MAIN ST                              3200 PARKWOOD BLVD                          571 HWY 370 W
MOUNT VERNON WA 98274        PO BOX 43                                APT 613                                     BALDWYN MS 38824-7532
                             BRUIN PA 16022                           PLANO TX 75093




036125P001-1409A-265         010312P001-1409A-265                     006347P001-1409A-265                        007497P001-1409A-265
TAMIKA BUMPHIS               BUNCOMBE COUNTY TAX COLLECTOR            BRIANNA BUNGERT                             KELLY K BUNKLEY
571 HWY 370 W                PO BOX 3140                              2 KINGS CT                                  5832 BARRIER REEF DR
BALDWYN MS 38824             ASHEVILLE NC 28802-3140                  PLAINVIEW NY 11803                          FORT WORTH TX 76179
UNITED STATES




003041P001-1409A-265         035522P001-1409A-265                     037554P001-1409A-265                        005736P001-1409A-265
BRITTANI L BUNTING           BRITTANI L BUNTING                       BUNZL RETAIL SVC LLC                        ELLIE BURBACH
11568 LONGRIDGE LN           5979 DEER CREEK DR                       DAVID D FARRELL                             12425 GREMOOR DR
WHALEYVILLE MD 21872         PITTSVILLE MD 21850                      THOMPSON COBURN LLP                         ELM GROVE WI 53122
                                                                      ONE US BANK PLAZA SUITE 2700
                                                                      505 N SEVENTH ST
                                                                      SAINT LOUIS MO 63101


003850P001-1409A-265         005100P001-1409A-265                     003108P001-1409A-265                        036756P001-1409A-265
FELICIA J BURCHETT           EMILY L BURDA                            JESSICA D BURDA                             SHENITA BURDEN
5923 EVERGREEN MANOR APT C   3729 BRIGHTWAY                           1112 S 20TH ST                              1420 STEAM ENGINE WAY
C                            WEIRTON WV 26062                         APT 224                                     CONYERS GA 30013
ALTOONA PA 16602                                                      SOUTH BEND IN 46615




007776P001-1409A-265         002264P001-1409A-265                     009868P001-1409A-265                        010065P001-1409A-265
MELANIE M BURDGE             EMILY M BURDICK                          BUREAU OF CONVEYANCES                       BUREAU OF FIRE PREVENTION
2136 DOROTHY RD              3652 WILLOW WISP DR NORTH                1151 PUNCHBOWL ST                           BOROUGH OF TINTON FALLS
TOMS RIVER NJ 08753          LAKELAND FL 33810                        HONOLULU HI 96813                           556 TINTON AVE
                                                                                                                  TINTON FALLS NJ 07724
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010102P001-1409A-265        031809P001-1409A-265                      031810P001-1409A-265                      002162P001-1409A-265
BUREAU OF FIRE PREVENTION   BUREAU OF FIRE PREVENTION                 BUREAU OF WORKER'S COMP                   STARDACIA BURGAN
DIST 1 AND 2                FIRE DISTRICT NO 2 TWP OF MOOR            OHIO BUREAU OF WORKERS COMPENSATION       6520 GDN SPRING CT
785 MILLER AVE              JAMIE BOREN                               PO BOX 89492                              ORLANDO FL 32818
JACKSON NJ 08527            225 N LENOLA RD                           CLEVELAND OH 44101-6492
                            MOORESTOWN NJ 08057



035523P001-1409A-265        007237P001-1409A-265                      006562P001-1409A-265                      003059P001-1409A-265
STARDACIA BURGAN            JURNI H BURGESS                           MERCEDEZ T BURGESS                        TITO M BURGESS
6520 GARDEN SPRING CT       14848 DORIAN DR                           2518 TIMBERS DR                           1352 WEST 6TH ST
ORLANDO FL 32818            WOODBRIDGE VA 22193                       HENDERSON KY 42420                        RIVIERA BEACH FL 33404




003723P001-1409A-265        002859P001-1409A-265                      035524P001-1409A-265                      036487P001-1409A-265
JESSIBELLE BURGOS           ADRIANNA BURKE                            BRIANNA BURKE                             EMILY BURKE
298 HENSHAW ST              4309 WITHERSPOON AVE                      24 STATE ST                               3100 SWEETWATER RD APT 609
LEICESTER MA 01524          PENNSAUKEN NJ 08109                       WELLESLEY MA 02482                        LAWRENCEVILLE GA 30044-2475




009692P001-1409A-265        007598P001-1409A-265                      003071P001-1409A-265                      009291P001-1409A-265
LARA G BURKE                MARLAYNA L BURKE                          ANNA BURKOFF                              ALEXIS J BURLESON
391 ALLENHURST RD           1400 23RD ST                              29611 S SPRAGUE RD                        4155 COLEMAN HILL RD
AMHERST NY 14226            441 HARISON HA                            MOLALLA OR 97038                          ROCKVALE TN 37153
                            GREELEY CO 80631




008538P001-1409A-265        008494P001-1409A-265                      002885P001-1409A-265                      004789P001-1409A-265
KAYLA N BURNETT             STEPHANIE BURNETT                         BRITTANY J BURNHAM                        TAYLOR J BURNINE
9335 COLONIAL MILL DR       1003 WEST 11TH ST                         3415 63RD AVE EAST                        345 CHRIS DR 17
DELMAR MD 21875             LAKELAND FL 33805                         BRADENTON FL 34203                        MAYFIELD KY 42066




001612P001-1409A-265        008945P001-1409A-265                      034239P001-1409A-265                      008453P001-1409A-265
DASHUN A BURNS              ELIZABETH M BURNS                         JENNIFER BURNS                            KATHERINE D BURNS
1233 BEATTY DR              1202 SCARBOROUGH LN                       3050 23RD ST                              108 CIR DR NORTH
CEDAR HILL TX 75104         GREENWOOD IN 46142                        SAN FRANCISCO CA 94110                    BRANDON MS 39042




008355P001-1409A-265        001032P001-1409A-265                      006851P001-1409A-265                      005058P001-1409A-265
REGINA BURNS                SHANNON L BURNS                           TALIYA A BURNS                            TYIONNA BURNS
8224 GEORGIA CT N           10039 BRUNSWICK LN                        2019 CASPIAN AVE                          1022 W LINDBERG ST
BROOKLYN PARK MN 55445      PORT RICHEY FL 34668-7750                 ATLANTIC CITY NJ 08401                    SPRINGFIELD MO 65807
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031205P002-1409A-265                   031205S001-1409A-265                            036472P002-1409A-265                    004979P001-1409A-265
BURNSVILLE CENTER SPE LLC              BURNSVILLE CENTER SPE LLC                       DEMETRA BURNWELL                        TANYA BUROW
BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC            24 S FREDERICK AVE APT 202              3609 PETERS AVE PMB 336
GARY RODDY                             CALEB HOLZAEPFEL                                GAITHERSBURG MD 20877-2354              PMB 336
2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300                                                                 SIOUX CITY IA 51106
CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402



004306P001-1409A-265                   001648P001-1409A-265                            033790P001-1409A-265                    037455P001-1409A-265
KODI R BURR                            ALISON BURRESS                                  MARKISHA BURRIES                        MARKISHA BURRIES
50 VEVAU ST APT B 20                   14232 DALLAS PKWY                               2427 APRIL LIU LN                       KISH BURRIES
KAHULUI HI 96732                       APT 904                                         #310                                    5614 PANORAMA AVE
                                       DALLAS TX 75254-2931                            CHARLOTTE NC 28213                      APT 202
                                                                                                                               CHARLOTTE NC 28213



001699P001-1409A-265                   001564P001-1409A-265                            006763P001-1409A-265                    002345P001-1409A-265
BRANDY BURRIS                          DONNA BURRIS                                    JARICA N BURROUGHS                      ALEXUS M BURROWS
2599 61ST ST                           1348 CHIGNAHUAPAN WAY                           3211 DESERT CIR                         2012 SHARON AVE
PORT ARTHUR TX 77640                   ROSEVILLE CA 95747                              9                                       INDIANAPOLIS IN 46222
                                                                                       EAST POINT GA 30344




007153P001-1409A-265                   007192P001-1409A-265                            001720P001-1409A-265                    004414P001-1409A-265
TAYLOR M BURROWS                       SABRINA A BURRUS                                ALAHNA J BURTON                         BRIANNA BURTON
9001 BRYN MAWR CIR                     35 HICKORY ST                                   1945 CANOPY DR                          3147 W OLNEY AVE
9001 BRYN MAWR                         PORT JEFFERSON STA NY 11776                     MELBOURNE FL 32935                      LAVEEN AZ 85339
FORT SMITH AR 72908




004429P002-1409A-265                   007682P001-1409A-265                            005314P001-1409A-265                    003141P001-1409A-265
EVA D BURTON                           TAYLOR BURTON                                   YASMINE N BURTON                        DANIELLE R BURUS
6560 ANCHOR LOOP APT 206               6822 LYNDHURST DR                               4830 WATERFORD CLUB XING                503 EAST 16TH ST
BRADENTON FL 34212-4418                HOUSTON TX 77087                                #1621                                   MISHAWAKA IN 46544
                                                                                       RALEIGH NC 27612




005291P001-1409A-265                   035525P001-1409A-265                            002474P001-1409A-265                    002579P001-1409A-265
BRITTNEY BURWELL                       BRITTNEY BURWELL                                VENITA E BURWELL                        JESSICA C BURZAWA
9421 GDN CT                            9421 GARDEN CT                                  3046 NE HOLLADAY ST                     3814 NORTH PACIFIC AVE
POTOMAC MD 20854                       POTOMAC MD 20854                                206                                     CHICAGO IL 60634
                                                                                       PORTLAND OR 97232




008360P001-1409A-265                   002891P001-1409A-265                            010297P001-1409A-265                    033285P001-1409A-265
KELLI M BUSH                           RYAN BUSH                                       BUSINESS LICENSE INSPECTOR              BUSINESS SOFTWARE INC
5447 MIDDLETOWN OXFORD RD              9202 MAPLEWAY RD                                COMMISSIONER OF REVENUE                 155 TECHNOLOGY PARKWAYSTE 100
MIDDLETOWN OH 45042                    RICHMOND VA 23229                               PO BOX 283                              NORCROSS GA 30092-2962
                                                                                       WILLIAMSBURG VA 23187-0283
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004426P001-1409A-265        001242P001-1409A-265                     002362P002-1409A-265                        001381P001-1409A-265
AHMYA T BUSSIE              DEBBIE R BUSTAMANTE                      JASMINNE BUSTAMANTE                         JUANA L BUSTAMANTE
131 TALON LN                7533 N FIRST ST APT 104                  1661 W 221ST ST                             7814 BARBERTON DR
WESTVILLE NJ 08093          FRESNO CA 93720                          TORRANCE CA 90501-4108                      HOUSTON TX 77036-6424




002173P001-1409A-265        035526P001-1409A-265                     002910P001-1409A-265                        001982P001-1409A-265
MELISSA R BUSTAMANTE        BRITTANEY S BUSTILLO-SILVA               JOCELYN BUSTILLOS                           BRITTANEY S BUSTILLOSILVA
3062 WINTERBROOK DR         4225 LARCHMONT RD                        2000 CREEKMONT DR                           400 ALEXAN DR APT 104
BAY POINT CA 94565          332                                      MIDDLEBURG FL 32068                         104
                            DURHAM NC 27707                                                                      DURHAM NC 27707




006898P001-1409A-265        035527P001-1409A-265                     001956P001-1409A-265                        002679P001-1409A-265
GLORIA E BUSTOS CERVANTES   CERVANTES GLORIA E BUSTOS                LESLIE BUSTOS                               AKILAH T BUTLER
1475 ALDER DR NE            1475 ALDER DR NE                         15731 STATE HIGHWAY 64 E                    142 HATTERAS LN
KEIZER OR 97303             KEIZER OR 97303                          TYLER TX 75707-5941                         SIMPSONVILLE SC 29680




007333P001-1409A-265        002996P001-1409A-265                     002900P001-1409A-265                        009316P001-1409A-265
ASIA M BUTLER               CHANEL BUTLER                            DIAMOND L BUTLER                            GUYIA BUTLER
9939 SHALE AVE              2610 HENRY AVE                           898 DAWN DR                                 10250 POPES CREEK RD
CLEVELAND OH 44104          PINOLE CA 94564                          MEMPHIS TN 38127                            NEWBURG MD 20664-2129




001762P001-1409A-265        030496P001-1409A-265                     000681P001-1409A-265                        008673P001-1409A-265
KHADIJAH L BUTLER           MALANI A BUTLER                          NAOMI BUTLER                                ROSHECIA BUTLER
1033 NORTH 7TH ST           ADDRESS INTENTIONALLY OMITTED            1024 N CEDAR ST                             11398 SPELLMAN RD
4                                                                    LANSING MI 48906                            GEISMAR LA 70734
TERRE HAUTE IN 47807




006713P001-1409A-265        007183P001-1409A-265                     002578P001-1409A-265                        031811P001-1409A-265
SHARONDA BUTLER             TAMIKA N BUTLER                          NATHAN E BUXTON                             BUZZFEED INC
44 EASON DR                 191 HUTCHINGS FARM DR S                  12616 LAKESHORE DR APT 29                   PO BOX 200022
PHENIX AL 36869             O'FALLON MO 63368                        LAKESIDE CA 92040                           PITTSBURGH PA 15251-0022




033323P001-1409A-265        030919P001-1409A-265                     009288P001-1409A-265                        003198P001-1409A-265
BWP MEDIA USA               BY ONE INC DBA DESIGN RECIPE             WHITNEY BYERS                               SARIAH N BYKOFSKY
PACIFIC COAST NEWS          CINDY PARK                               704 CHINABERRY DR                           151 FRONTENAC ST
22287 MULTTDLAND            1458 SOUTH SAN PEDRO ST                  207                                         HOWELL MI 48843
HWY 229                     #216                                     RICHMOND VA 23225
CALABASAS CA 91302          LOS ANGELES CA 90015
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031812P001-1409A-265                    000511P001-1409A-265                           007625P001-1409A-265                      001831P001-1409A-265
BYNDER LLC                              ALLIE G BYNUM                                  AMANDA R BYNUM                            AISHA BYRD
24 FARNSWORTH ST                        4808 S WESTHAVEN DR                            136 CEDAR ST                              2342 W TOUHY AVE
STE 400                                 JACKSON MS 39209                               FLORENCE MS 39073                         APT 2A
BOSTON MA 02210                                                                                                                  CHICAGO IL 60645-5004




004604P001-1409A-265                    007230P001-1409A-265                           001554P001-1409A-265                      003826P001-1409A-265
ALLYSON S BYRD                          DENA N BYRD                                    KANDY S BYRD                              KELSEY L BYRD
118 WEMBLEY CT                          9208 ALLISTAIR CT                              1896 CLIFTON BRIDGE DR                    80 MICHELSON
FOLSOM CA 95630                         HENRICO VA 23228                               VIRGINIA BEACH VA 23456-7819              ROCHESTER HILLS MI 48307




005854P001-1409A-265                    007704P001-1409A-265                           005661P001-1409A-265                      035528P001-1409A-265
KRISTIN R BYRD                          CAITLYN M BYRNE                                KAYLI BYRNES                              KAYLI BYRNES
5532 FLORAL AVE                         83 NEARWATER AVE                               7456 SANDALWOOD DR                        6419 LONGDALE DR
JACKSONVILLE FL 32211                   MASSAPEQUA NY 11758                            APT 18                                    NORTH HIGHLANDS CA 95660
                                                                                       CITRUS HEIGHTS CA 95621




003237P001-1409A-265                    036180P002-1409A-265                           030801P004-1409A-265                      030260P001-1409A-265
JASVELINE BYRON                         C CENTS KOREA CO LTD                           C CENTS KOREA CO LTD AND MIR APL CO LTD   C IQ STRATEGIES, LLC
150-36 87TH RD                          AKA MIR APL CO LTD                             MYUNG SUN OH                              PJ SANTORO
BASEMENT                                MYUNG SUN OH                                   1F COMMON BLDG 14918                      ADDRESS INTENTIONALLY OMITTED
JAMAICA NY 11432                        1F COMMON BLDG 14918 SAMSUNG I DONG            SAMSUNG 1DONG GANGNAM GU
                                        GANGNAM-GU                                     SEOUL 06165
                                        SEOUL 06165                                    REPUBLIC OF KOREA
                                        KOREA
034394P001-1409A-265                    033582P001-1409A-265                           010059P003-1409A-265                      031813P001-1409A-265
C [IQ] STRATEGIES LLC                   C'EST MOI! LLC D/B/A SHOPTELLIGENCE            C0- ARAPAHOE COUNTY TREASURER             CA INC
PO BOX 1357                             330 EAST LIBERTY ST                            BANKRUPTCY DIVISION                       ABDOU FALL
PORTLAND OR 97207-1357                  ANN ARBOR MI 48104                             5334 S PRINCE ST                          ONE CA PLZ
                                                                                       LITTLETON CO 80120-1136                   ISLANDIA NY 11749




035090P001-1409A-265                    037555P001-1409A-265                           037849P002-1409A-265                      037060P003-1409A-265
CA TECHNOLOGIES                         CA TECHNOLOGIES INC                            CA- ALAMEDA COUNTY TAX COLLECTOR          CA- CITY AND COUNTY OF SAN FRANCISCO
520 MADISON AVE 22ND FL                 CA INC                                         JACK WONG                                 TAX COLLECTOR
NEW YORK NY 10022                       ROBERT AUSTEN                                  1221 OAK ST RM 131                        PO BOX 7027
                                        ONE CA PLAZA                                   OAKLAND CA 94612                          SAN FRANCISCO CA 94120
                                        ISLANDIA NY 11749



037060S001-1409A-265                    034657P002-1409A-265                           009885P002-1409A-265                      037818P001-1409A-265
CA- CITY AND COUNTY OF SAN FRANCISCO    CA- CITY OF FRESNO                             CA- CITY OF NATIONAL CITY                 CA- CONTRA COSTA COUNTY TREASURER
BRITTANY REGER                          2600 FRESNO ST RM 2031                         BUSINESS LICENSE DIVISION                 TAX COLLECTOR
1 DR CARLTON B GOODLETT PLACE           FRESNO CA 93721                                1243 NATIONAL CITY BLVD                   BRICE E BINS
SAN FRANCISCO CA 94120                                                                 NATIONAL CITY CA 91950-4397               PO BOX 967
                                                                                                                                 MARTINEZ CA 94553
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010219P002-1409A-265                035205P001-1409A-265                       037892P001-1409A-265                     000118P002-1409A-265
CA- COUNTY OF ORANGE                CA- COUNTY OF SAN BERNARDINO               CA- DEPT OF TAX AND FEE ADMINISTRATION   CA- FRANCHISE TAX BOARD
BANKRUPTCY COLLECTIONS              OFFICE OF THE TAX COLLECTOR                SPECIAL OPERATIONS BRANCH MIC 55         BANKRUPTCY SECTION MS A340
RATNA D BUTANI                      KELLY MCKEE                                SUSAN SINETOS                            REBECCA ESTONILO
PO BOX 4515                         268 W HOSPITALITY LN 1ST FL                PO BOX 942879                            PO BOX 2952
SANTA ANA CA 92702                  SAN BERNARDINO CA 92415                    SACRAMENTO CA 94279-0055                 SACRAMENTO CA 95812-2952



035356P001-1409A-265                009987P002-1409A-265                       037855P002-1409A-265                     037856P001-1409A-265
CA- KERN COUNTY TREASURER           CA- PLACER COUNTY TAX COLLECTOR            CA- PLACER COUNTY TAX COLLECTOR          CA- SAN DIEGO COUNTY TREASURER-TAX COLLECTOR
TAX COLLECTOR                       ROBERT KANNGIESSER                         2976 RICHARDSON DR                       BK DESK
TERESA PRECIADO                     2976 RICHARDSON DR                         AUBURN CA 95603                          1600 PACIFIC HWY ROOM 162
PO BOX 579                          AUBURN CA 95603                                                                     SAN DIEGO CA 92101
BAKERSFIELD CA 93302



010090P004-1409A-265                037836P001-1409A-265                       010071P002-1409A-265                     037850P001-1409A-265
CA- SANTA CLARA COUNTY              CA- SOLANO COUNTY TAX COLLECTOR            CA- SONOMA COUNTY TAX COLLECTOR          CA- STANISLAUS COUNTY TAX COLLECTOR
DEPT OF TAX AND COLLECTIONS         675 TEXAS STREET STE 1900                  MARGARET ZAHAROFF                        PO BOX 859
BEUANNA MEYER                       FAIRFIELD CA 94533                         585 FISCAL DR RM 100                     MODESTO CA 95353
70 W HEDDING ST 6TH FL EAST WING                                               SANTA ROSA CA 95403
SAN JOSE CA 95110-1767



037847P002-1409A-265                000854P001-1409A-265                       009628P001-1409A-265                     010442P001-1409A-265
CA- VENTURA COUNTY TAX COLLECTOR    DENISE M CABALLERO                         GISELLE CABANAS                          CABARRUS COUNTY TAX COLLECTOR
BANKRUPTCY                          10347 CARIOCA CT                           5132 SAN GABRIEL PL                      PO BOX 580347
800 S VICTORIA AVE                  SAN DIEGO CA 92124                         4B                                       CHARLOTTE NC 28258-0347
VENTURA CA 93009-1290                                                          PICO RIVERA CA 90660




004157P001-1409A-265                010136P001-1409A-265                       032678P001-1409A-265                     001084P001-1409A-265
SHANICE CABASSA                     CABELL COUNTY COURTHOUSE                   CABELL COUNTY COURTHOUSE                 MARIE CABRAL
4930 N WESTERN AVE                  CABEL COUNTY COURTHOUSE                    SHERIFF TOM MCCOMAS                      1685 EL NIDO AVE
CHICAGO IL 60625                    PO BOX 2114                                PO BOX 2114                              PERRIS CA 92571-3700
                                    HUNTINGTON WV 25721-2114                   HUNTINGTON WV 25721-2114




003014P001-1409A-265                009158P001-1409A-265                       035261P001-1409A-265                     005917P001-1409A-265
VIRGELICA CABRAL                    ANABELLA J CABRERA                         GABRIELA CABRERA                         KENIA CABRERA
39 LUPINE ST                        111 S LOUISIANA APT A                      LAW OFFICES OF DAYTON MAGALLANES         6651 S WASHTENAW AVE
PAWTUCKET RI 02860                  AMARILLO TX 79106                          DAYTON MAGALLANES                        CHICAGO IL 60629
                                                                               10540 WILSHIRE BLVD STE 417
                                                                               LOS ANGELES CA 90024



005511P001-1409A-265                000704P001-1409A-265                       002267P001-1409A-265                     010255P001-1409A-265
REYNA CABRERA                       ALICIA CACAYAN                             ALICIA M CACERES                         CADDO PARISH SHERIFF'S OFFICE
504 N GERTRUDE AVE                  1378 MOUNTAIN VIEW LN                      2034 NORTHLAND AVE                       TAX DEPT
STOCKTON CA 95215                   CHULA VISTA CA 91911                       NORTH PORT FL 34288                      PO BOX 20905
                                                                                                                        SHREVEPORT LA 71120-0905
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010191P001-1409A-265              034847P001-1409A-265                 034869P001-1409A-265                    034883P001-1409A-265
CADDO SHREVEPORT SALES AND TAX    CAFARO CO                            CAFARO CO                               CAFARO CO
COMMISSION                        MILLCREEK MALL                       SPOTSYLVANIA MALL CO 2445 BELMONT AVE   KENTUCKY OAKS MALL CO
PO BOX 104                        5577 YOUNGSTOWN-WARREN RD            PO BOX 2186                             5577 YOUNGSTOWN-WARREN RD
SHREVEPORT LA 71161               NILES OH 44446                       YOUNGSTOWN OH 44504-0186                NILES OH 44446




035029P001-1409A-265              036861P001-1409A-265                 029801P001-1409A-265                    029802P001-1409A-265
CAFARO CO                         CAFARO CO                            CAFARO CO (LANDLORD)                    CAFARO CO (LANDLORD)
GOVERNOR’S SQUARE CO              KENTUCKY OAKS MALL CO                MILLCREEK MALL                          SPOTSYLVANIA MALL CO
2445 BELMONT AVE                  LEGAL DEPT                           LEGAL DEPT                              CREDIT AND COLLECTIONS MANAGER
YOUNGSTOWN OH 44505               5577 YOUNGSTOWN-WARREN RD            5577 YOUNGSTOWN-WARREN RD               2445 BELMONT AVE PO BOX 2186
                                  NILES OH 44446                       NILES OH 44446                          YOUNGSTOWN OH 44504-0186



029803P001-1409A-265              029804P001-1409A-265                 029804S001-1409A-265                    031207P001-1409A-265
CAFARO CO (LANDLORD)              CAFARO CO (LANDLORD)                 CAFARO CO (LANDLORD)                    CAFARO MANAGEMENT CO
KENTUCKY OAKS MALL CO             GOVERNOR'S SQUARE CO                 MACERICH SOUTH PLAINS LP                PO BOX 932400
LEGAL DEPT                        CAFARO CO                            MACERICH                                CLEVELAND OH 44193
5577 YOUNGSTOWN-WARREN RD         2445 BELMONT AVE                     PO BOX 2172
NILES OH 44446                    YOUNGSTOWN OH 44505                  401 WILSHIRE BLVD STE 700
                                                                       SANTA MONICA CA 90407


036992P002-1409A-265              000602P001-1409A-265                 008139P001-1409A-265                    001614P001-1409A-265
CAFARO MANAGEMENT CO              JAYDNN CAGLE                         LAKENYAH CAHOUN                         DANIELLE CAIN
D/B/A MILLCREEK MALL              2207 W 3RD ST                        266 OSBORNE TER                         2010 TILTON RD
5577 YOUNGSTOWNWARREN RD          1                                    NEWARK NJ 07112                         PORT ST LUCIE FL 34952
NILES OH 44446                    DULUTH MN 55806




004513P001-1409A-265              004821P001-1409A-265                 004642P001-1409A-265                    007715P001-1409A-265
DOUQUONA CAIN                     VICTORIA CAIN                        ZITA CAJTHAML                           MARIE BETH CALAMASA
3508 EDGEWOOD AVE                 5476 BURNT KNOB RD                   10631 NW 14TH ST                        215 OLIVE AVE
RICHMOND VA 23222                 MURFREESBORO TN 37129                APT 226                                 WAHIAWA HI 96786
                                                                       PLANTATION FL 33322




006449P001-1409A-265              002295P001-1409A-265                 004281P001-1409A-265                    000791P001-1409A-265
ALYSSA J CALCANO                  DOREEN CALDARELLIMIMAS               CLAUDIA M CALDERA                       NOEMI CALDERA
1045E LIVINGSTON ST               248 MALVERNE DR                      21123 ALBURTIS AVE                      520 DOWLEN RD
BETHLEHEM PA 18017                SYRACUSE NY 13208                    LAKEWOOD CA 90715                       APT 64
                                                                                                               BEAUMONT TX 77706




007864P001-1409A-265              006460P001-1409A-265                 005562P001-1409A-265                    003817P001-1409A-265
SUZETTE V CALDERA                 DESTINY I CALDERO                    BRIANNA A CALDERON                      ISABEL CALDERON
118 EAST 19TH ST                  479 FRONT ST                         1839 APPLE TREE WAY                     8332 S NEW ENGLAND
SOUTH SIOUX CITY NE 67776         APT 4E                               SAN BERNARDINO CA 92408                 BURBANK IL 60459
                                  HEMPSTEAD NY 11550
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005694P001-1409A-265                         002169P001-1409A-265                                 000513P001-1409A-265                        004674P001-1409A-265
KELLY CALDERON                               LUZAIDY CALDERON                                     MELANIE V CALDERON                          MELINA K CALDERON
76 WALTON AVE                                997 MAIN AVE                                         19730 CR 38                                 5459 CYPRESS RD
UNIONDALE NY 11553                           CLIFTON NJ 07011                                     GOSHEN IN 46526                             103
                                                                                                                                              OXNARD CA 93033




009065P001-1409A-265                         008869P001-1409A-265                                 007698P001-1409A-265                        036421P001-1409A-265
MYA CALDERON                                 NELDA S CALDERON                                     SANDY J CALDERONRODAS                       CALDWELL LESLIE AND PROCTOR
310 MONMOUTH AVE                             4417 ORANGE AVE                                      1826 UNION AVE SE                           725 S FIGUEROA ST 31ST FLOOR
WEST DEPTFORD NJ 08086                       SAN DIEGO CA 92115                                   GRAND RAPIDS MI 49507                       LOS ANGELES CA 90017-5524




007236P001-1409A-265                         005491P001-1409A-265                                 035529P001-1409A-265                        009483P001-1409A-265
JALEESA CALDWELL                             KIERA D CALDWELL                                     KIERA D CALDWELL                            TACARIA L CALDWELL
2426 BELLWOOD LN                             279 E VARSITY LN                                     1400 N LINCOLN ST                           10295 48TH AVE
GREEN BAY WI 54304                           BLOOMINGTON IN 47408                                 BLOOMINGTON IN 47408                        C102
                                                                                                                                              ALLENDALE MI 49401




004903P001-1409A-265                         003787P001-1409A-265                                 002767P001-1409A-265                        000024P001-1409A-265
DERRICKA T CALHOUN                           JALISHIA N CALHOUN                                   KATHRYN CALHOUN                             CALIFORNIA AIR RESOURCES BOARD
128 ASCOT WAY                                4320 SUNBEAM RD                                      245 SWISS DR                                1001 'I' ST
DAWSON GA 39842                              1220                                                 CROWLEY TX 76036                            PO BOX 2815
                                             JACKSONVILLE FL 32257                                                                            SACRAMENTO CA 95814




000308P001-1409A-265                         030920P001-1409A-265                                 000025P001-1409A-265                        000026P001-1409A-265
CALIFORNIA ATTORNEY GENERAL                  CALIFORNIA CREATIONS                                 CALIFORNIA DEPT OF                          CALIFORNIA DEPT OF CONSERVATION
XAVIER BACERRA                               15135 WOODLAWN AVE                                   TOXIC SUBSTANCES CONTROL                    801 K ST
1300 I ST                                    TUSTIN CA 92780                                      1001 1 ST                                   MS 24-01
STE 1740                                                                                          11TH FL                                     SACRAMENTO CA 95814
SACRAMENTO CA 95814                                                                               SACRAMENTO CA 95814



000175P001-1409A-265                         000176P001-1409A-265                                 000177P001-1409A-265                        000178P001-1409A-265
CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -    CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -            CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -
SAN FRANCISCO                                LOS ANGELES                                          OAKLAND                                     REDDING
DIRECTOR                                     DIRECTOR                                             DIRECTOR                                    DIRECTOR
455 GOLDEN GATE AVE 10TH FL                  320 W FOURTH ST                                      1515 CLAY ST                                250 HEMSTEAD DR
SAN FRANCISCO CA 94102                       LOS ANGELES CA 90013                                 RM 401                                      2ND FL STE A
                                                                                                  OAKLAND CA 94612                            REDDING CA 96002


000179P001-1409A-265                         000180P001-1409A-265                                 000181P001-1409A-265                        000182P001-1409A-265
CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -    CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -            CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -
SANTA ANA                                    BAKERSFIELD                                          SACRAMENTO                                  SANTA BARBARA
DIRECTOR                                     DIRECTOR                                             DIRECTOR                                    DIRECTOR
605 WEST SANTA ANA BLVD BLDG 28              7718 MEANY AVE                                       2031 HOWE AVE                               411 E CANON PERDIDO
RM 625                                       BAKERSFIELD CA 93308                                 STE 100                                     RM 3
SANTA ANA CA 92701                                                                                SACRAMENTO CA 95825                         SANTA BARBARA CA 93101
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000183P001-1409A-265                         000184P001-1409A-265                                 000185P001-1409A-265                            000186P001-1409A-265
CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -    CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -            CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -       CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -
EL CENTRO                                    SALINAS                                              SANTA ROSA                                      FRESNO
DIRECTOR                                     DIRECTOR                                             DIRECTOR                                        DIRECTOR
1550 W MAIN ST                               1870 N MAIN ST                                       50 'D' ST                                       770 E SHAW AVE
EL CENTRO CA 92243                           STE 150                                              STE 360                                         STE 222
                                             SALINAS CA 93906                                     SANTA ROSA CA 95404                             FRESNO CA 93710


000187P001-1409A-265                         000188P001-1409A-265                                 000189P001-1409A-265                            000190P001-1409A-265
CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -    CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -            CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -       CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -
SAN BERNARDINO                               STOCKTON                                             LONG BEACH                                      SAN DIEGO
DIRECTOR                                     DIRECTOR                                             DIRECTOR                                        DIRECTOR
464 W FOURTH ST                              31 E CHANNEL ST                                      300 OCEANGATE                                   7575 METROPOLITAN DR
RM 348                                       RM 317                                               STE 302                                         RM 210
SAN BERNADINO CA 92401                       STOCKTON CA 95202                                    LONG BEACH CA 90802                             SAN DIEGO CA 92108


000191P001-1409A-265                         000192P001-1409A-265                                 000027P001-1409A-265                            000028P001-1409A-265
CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -    CALIFORNIA DEPT OF INDUSTRIAL RELATIONS -            CALIFORNIA DEPT OF WATER RESOURCES              CALIFORNIA ENVIRONMENTAL PROTECTION AGENCY
VAN NUYS                                     SAN JOSE                                             PO BOX 942836                                   1001 'I' ST
DIRECTOR                                     DIRECTOR                                             SACRAMENTO CA 94236                             PO BOX 2815
6150 VAN NUYS BLVD                           100 PARSEO DE SAN ANTONIO                                                                            SACRAMENTO CA 95812-2815
RM 206                                       RM 120
VAN NUYS CA 91401                            SAN JOSE CA 95113


000029P001-1409A-265                         032668P001-1409A-265                                 000119P001-1409A-265                            000414P001-1409A-265
CALIFORNIA INTEGRATED WASTE                  CALIFORNIA SECRETARY OF STATE                        CALIFORNIA STATE BOARD OF EQUALIZATION (SBOE)   CALIFORNIA STATE CONTROLLER'S OFFICE
MANAGEMENT BOARD                             PO BOX 944230                                        SPECIAL OPERATIONS BANKRUPTCY TEAM              UNCLAIMED PROPERTY DIVISION
1001 I ST                                    SACRAMENTO CA 94244-2300                             MIC 74 PO BOX 942879                            10600 WHITE ROCK RD
PO BOX 2815                                                                                       SACRAMENTO CA 94279-0074                        STE 141
SACRAMENTO CA 95812-2815                                                                                                                          RANCHO CORDOVA CA 95670



031814P001-1409A-265                         032848P001-1409A-265                                 032848S001-1409A-265                            031815P001-1409A-265
CALIFORNIA TRAVEL AND TOURISM                CALIFORNIA WATER SVC CO                              CALIFORNIA WATER SVC CO                         CALL ONE
COMMISSION OFFICE OF TOURISM                 PO BOX 940001                                        1720 NORTH FIRST ST                             UNITED COMMUNICATIONS SYSTEMS
TOURISM ASSESSMENT PROGRAM                   SAN JOSE CA 95194                                    SAN JOSE CA 95112-4508                          PO BOX 76112
1809 S ST STE 101182                                                                                                                              CLEVELAND OH 44101-4755
SACRAMENTO CA 95811



035530P001-1409A-265                         001280P001-1409A-265                                 001114P001-1409A-265                            000782P001-1409A-265
AMANDA S CALLAHAN                            COURTNEY L CALLAHAN                                  OLIVIA C CALLANTA                               STEPHANIE A CALLIGAN
2 10 3RD ST WEST                             3001 HORIZON CT                                      201 EVERGREEN AVE                               1740 SE LA GRANT PKWY
4212                                         PLAINFIELD IL 60586-1709                             DALY CITY CA 94014                              UNIT 31
BRADENTON FL 34205                                                                                                                                WAUKEE IA 50263




002156P001-1409A-265                         034705P002-1409A-265                                 037489P001-1409A-265                            031208P001-1409A-265
DANIELLE N CALLIS                            CALMART SUB I LLC                                    CALMART SUB I LLC                               CALMART SUB I, LLC
51714 LESHAN DR                              110 EAST NINTH ST                                    AKA CALIFORNIA MARKET CENTER                    BSREP II LA MART POOLING LLC
CHESTERFIELD MI 48047                        STE A727                                             BROOKFIELD PROPERTY REIT INC                    BROOKFIELD PL
                                             LOS ANGELES CA 90079                                 350 N ORLEANS ST STE 300                        250 VESEY ST 15TH FL
                                                                                                  CHICAGO IL 60654-1607                           NEW YORK NY 10281-1023
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002216P001-1409A-265           004628P002-1409A-265                      033277P001-1409A-265                      001119P001-1409A-265
MONICA CALO                    NICAH R CALUAG                            CALVIN T ELLISON                          MARIBEL CALVO
KM09 CARR 848                  8025 VILLAGE DR                           1440 W THORN ST                           1403 HEMPSTEAD AVE
COND PARQUE S                  BEAUMONT TX 77713                         SAN DIEGO CA 92103                        PASADENA TX 77506-4119
TRUJILLO ALTO PR 00976-3010




001999P001-1409A-265           007228P001-1409A-265                      036614P001-1409A-265                      035531P001-1409A-265
CECILIA CAMACHO MALDONADO      CLAUDIA E CAMACHO                         LISSETTE CAMACHO                          MALDONADO CECILIA CAMACHO
30 OAK PK DR SW                9801 MEADOWGLEN LN                        129 BLACK ROCK AVE APT 24                 30 OAK PK DR SW
LAKEWOOD WA 98499              153                                       BRIDGEPORT CT 06605                       LAKEWOOD WA 98499
                               HOUSTON TX 77042




005435P001-1409A-265           008450P001-1409A-265                      001130P001-1409A-265                      002213P001-1409A-265
NICOLETTE K CAMACHO            VALERIA N CAMACHO                         VANESSA M CAMACHO                         YAMILEX CAMACHO
12008 97TH AVE                 251 W 3RD ST                              1106 COLUMBIA PL                          7515 W SELLS DR
APT 4A                         ERIE PA 16507                             LINDEN NJ 07036                           PHOENIX AZ 85033
SOUTH RICHMOND HIL NY 11419




009262P001-1409A-265           003703P001-1409A-265                      008569P001-1409A-265                      035532P001-1409A-265
PAULINA CAMARENA               SABRINA J CAMARENA                        JOCELYN P CAMARGO OJEDA                   OJEDA JOCELYN P CAMARGO
8044 W HAZELWOOD ST            2307 PEACOCK ST                           664 JEFFERSON AVE                         664 JEFFERSON AVE
PHOENIX AZ 85033               DONNA TX 78537                            ELIZABETH NJ 07201                        ELIZABETH NJ 07201




033576P001-1409A-265           007094P001-1409A-265                      008370P001-1409A-265                      001505P001-1409A-265
CAMARI HENDERSON               FATIMA CAMARILLO                          NATALIE G CAMARILLO                       ERICA CAMARILLOVENTURA
24 SEVEN                       406 FROST                                 3838 EAST 1ST                             2401 4TH ST E
120 WOOSTER ST                 SAN ANTONIO TX 78201                      FORT WORTH TX 76111                       BRADENTON FL 34208-3619
4TH FLOOR
NEW YORK NY 10012



004048P001-1409A-265           008655P001-1409A-265                      031209P002-1409A-265                      031209S001-1409A-265
JENNA R CAMBRIA                DANIELLE M CAMBRIDGE                      CAMBRIDGESIDE GALLERIA ASSOCIATES TRUST   CAMBRIDGESIDE GALLERIA ASSOCIATES TRUST
12 MILLGATE RD                 1500 S ALEX RD                            FKA RIVERSIDE GALLERIA ASSOCIATES TRUST   MIRICK OCONNELL
KINGSTON MA 02364              WEST CARROLLTON OH 45449                  NEW ENGLAND DEVELOPMENT                   PAUL CAREY; KATE FOLEY
                                                                         75 PARK PLZ                               100 FRONT ST
                                                                         BOSTON MA 02116                           WORCESTER MA 01608



034406P001-1409A-265           009824P001-1409A-265                      007137P001-1409A-265                      001948P002-1409A-265
CAMBRIDGESIDE PARTNERS LLC     CAMDEN COUNTY COLLECTOR OF REV            ALYSSA R CAMERON                          KELSIE M CAMERON
ASSOCIATES TRUST               1 CT CIR                                  1211 S HORSEBACK CIR                      3 BLACKBERRY WAY UNIT 212
PO BOX 414074                  STE 4                                     WICHITA KS 67230                          MANCHESTER NH 03102-8103
BOSTON MA 02241                CAMDENTON MO 65020
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031816P001-1409A-265            000722P001-1409A-265                004385P001-1409A-265              001811P001-1409A-265
CAMILLA FRANCIS PRINTS LTD      TINA M CAMMARELLO                   MELISSA A CAMP                    MEGAN E CAMPANELLI
NILS JOHN HOLM                  4980 N HARBOR DR                    1820 BARNES RD                    7 MANOR DR
27 OLD CLOUCESTER ST            SAN DIEGO CA 92106                  WALWORTH NY 14568                 ELMIRA NY 14903
LONDON WC1N 3AX
UNITED KINGDOM



003381P001-1409A-265            035533P001-1409A-265                036497P002-1409A-265              005351P001-1409A-265
ALYSSA R CAMPBELL               BRITTANY CAMPBELL                   FABIANA CAMPBELL                  FELICIA R CAMPBELL
812 SOUTH JOHNSON AVE           1645 MEADOW LARK LN                 8406 PINEY POINT CT               1150 EASTERN AVE SE
EL CAJON CA 92020               TRACY CA 95376                      MANASSAS VA 20110-4634            GRAND RAPIDS MI 49507




009089P001-1409A-265            002112P001-1409A-265                007794P001-1409A-265              036624P001-1409A-265
JAKAYLA CAMPBELL                JAVEN E CAMPBELL                    LARKEN O CAMPBELL                 LYNNE CAMPBELL
8102 COBDEN CT                  170 BELMONT AVE                     201 SOUTH STONEGATE DR            42 W BALTIMORE ST #14
APT 304                         BRIDGETON NJ 08302                  MUNCIE IN 47304                   LYNN MA 01902
MANASSAS VA 20109




005402P001-1409A-265            004659P001-1409A-265                001184P001-1409A-265              002603P001-1409A-265
SPENCER J CAMPBELL              JAYLA CAMPHOR                       DENISE CAMPO                      RENEE CAMPO
1675 SOUTH QUINTERO WAY         1133 EAGLESTRAIL                    77 LOCKWOOD RD                    1068 FIRETHORNE PASS
AURORA CO 80017                 1133                                CORTLANDT MANOR NY 10567          CUMMING GA 30040
                                HATTIESBURG MS 39406




004053P002-1409A-265            037420P001-1409A-265                003700P001-1409A-265              003837P001-1409A-265
CAITLYNNE CAMPOLLO              ABBEY CAMPOS                        ABBEY L CAMPOS                    ALEXANDRA M CAMPOS
2129 HAWTHORNE AVE              ABBEY CAMPOS                        5446 KESTREL CT                   3215 SAYLERS CREEK
GRAND JUNCTION CO 81506-4124    5446 KESTREL CT                     PUEBLO CO 81005                   SAN ANTONIO TX 78245
                                PUEBLO CO 81005




004361P001-1409A-265            002155P001-1409A-265                007738P001-1409A-265              009314P001-1409A-265
BRENDA M CAMPOS                 DENNISE M CAMPOS                    DIANA E CAMPOS                    GREGORIO C CAMPOS
13935 BAY GARDENS DR            132 W MAITLAND ST                   5431 CAIRNLEIGH DR                2900 NORTH DIXIELAND RD
SUGAR LAND TX 77498             A                                   HOUSTON TX 77084                  M-11
                                ONTARIO CA 91762                                                      ROGERS AR 72756




004303P001-1409A-265            000850P001-1409A-265                007965P001-1409A-265              004733P001-1409A-265
LUISA F CAMPOS                  MARIA D CAMPOS                      MARIE CAMPOS                      NATALIA A CAMPOS
4313 CEDAR SPRING               616 N CHERRY AVE                    800 N LBJ DR                      389 ASHWOOD DR
MIDLAND TX 79703                ONTARIO CA 91764                    APT#1031                          SANTA ROSA CA 95407
                                                                    SAN MARCOS TX 78666
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002408P001-1409A-265                           004820P001-1409A-265                            036835P002-1409A-265     001270P001-1409A-265
JANELL A CAMPSEN                               KAITLYN G CAMPUZANO                             CAN DO ELECTRIC INC      KIARA M CANAAN
27384 CHARLOTTE ST                             41900 IVY ST                                    BRANDY L PHILLIPS        4186 SHILOH RIDGE TR
LACOMBE LA 70445                               SPC 56                                          9409 ABRAHAM WAY         KENNESAW GA 30144
                                               MURRIETA CA 92562                               SANTEE CA 92071




009458P001-1409A-265                           036422P001-1409A-265                            002086P001-1409A-265     003418P001-1409A-265
TRELLANY CANADY                                CANARY MARKETING                                ASHLYN D CANCEL          CLAUDIA CANCINO
2413 S PATTERSON ST                            2700 CAMINO RAMON STE 110                       675 31ST ST              1605 SAM HOUSTON DR
SIOUX CITY IA 51106                            SAN RAMON CA 94539                              UNIT C                   602
                                                                                               OAKLAND CA 94609         HARLINGEN TX 78550




031817P001-1409A-265                           008063P001-1409A-265                            000769P001-1409A-265     037158P001-1409A-265
CANDACE HYNSON                                 BRITTNEY C CANDEL                               CRISTINA CANDELARIO      CRISTINA CANDELARIO
531 24TH AVE                                   4886 SUMMER GROVE DR                            850 W MISSION BLVD       850 W MISSION BL SPC A27
APT 6                                          FAIRFIELD CA 94534                              SPACE A27                ONTARIO CA 91762
SAN FRANCISCO CA 94121                                                                         ONTARIO CA 91762-4927




031818P001-1409A-265                           030921P001-1409A-265                            007009P001-1409A-265     003230P001-1409A-265
CANDYFAVORITESCOM                              CANDYLAB TOYS LLC                               TATYANA A CANINO         NADINE J CANLAS
SELAVY LTD DBA CANDYFAVORITES                  VLAD DRAGUSIN                                   11 BELL CT               44 NORTH STAMFORD RD
JON PRICE                                      499 11 ST                                       B-1                      STAMFORD CT 06903
1101 5TH AVE                                   BROOKLYN NY 11215                               EAST HARTFORD CT 06108
MCKEESPORT PA 15132



009124P001-1409A-265                           000634P001-1409A-265                            005415P001-1409A-265     003010P001-1409A-265
ALYSSA M CANNON                                JOHNISE CANNON                                  CHRISTINA J CANO         ZAYDA A CANO
4330 ELM GROVE LN                              5622 DUCKCREEK DR                               106 STONE GATE           1653 RANCHO GRANDE EAST
HOUSE SPRINGS MO 63051                         E                                               JACKSONVILLE NC 28546    SAN BENITO TX 78586
                                               GARLAND TX 75043




031819P001-1409A-265                           005831P001-1409A-265                            004032P001-1409A-265     005366P001-1409A-265
CANON INFORMATION AND IMAGING SOLUTIONS INC    ERICKA CANTE                                    DEBBIE R CANTILLER       SANDRA CANTILLO
15975 ALTON PKWY                               257 E 27 TH ST                                  1048 KAMEHAMEHA IV RD    6492 83RD ST
IRVINE CA 92618                                PATERSON NJ 07514                               HONOLULU HI 96819        MIDDLE VILLAGE NY 11379




036423P001-1409A-265                           031210P001-1409A-265                            003482P001-1409A-265     004992P001-1409A-265
CANTOR COMMERCIAL REAL ESTATE                  CANTOR COMMERCIAL REAL ESTATE LENDING LP        MARIA CANTOS             GUADALUPE CANTU
LENDING LP SDS 12 1532                         VALLEY HILLS MALL LLC                           21 HIGH ST               9820 S KEELER AVE
PO BOX 86                                      SDS-12-1532                                     1                        OAK LAWN IL 60453
MINNEAPOLIS MN 55486-1532                      PO BOX 86                                       NORWALK CT 06851
                                               MINNEAPOLIS MN 55486-1532
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007002P001-1409A-265                          005149P002-1409A-265                      006362P001-1409A-265           031820P001-1409A-265
KAILEY M CANTWELL                             ALIYAH N CANTY                            KIARA CANTY                    CANVAS PRINT STUDIO
5803 1ST AVE DR NW                            3414 LOCUST GROVE LANE                    2031 VLG VIEW CIR              20 WATERSON ST
BRADENTON FL 34209                            SALEM VA 24153-2012                       204                            LONDON E2 8HL
                                                                                        BELMONT NC 28012               UNITED KINGDOM




036424P001-1409A-265                          003562P001-1409A-265                      007132P001-1409A-265           004685P001-1409A-265
CANVAS PRINT STUDIO                           LINDA T CAO                               PATRICIA E CAPEL               GABRIELLA CAPETILLO
20 WATERSON ST                                13481 ZARTHAN AVE S                       89 PIMLICO DR                  8115 RUSHING STREAM CT
LONDON 0 E2 8HL                               SAVAGE MN 55378                           103                            TOMBALL TX 77375
UNITED KINGDOM                                                                          CHARLES TOWN WV 25414




033523P001-1409A-265                          035326P001-1409A-265                      008872P001-1409A-265           033577P002-1409A-265
CAPFLOW FUNDING GROUP MANAGERS LLC            CAPGEMINI AMERICA INC                     MARIANA A CAPISTRAN            CAPITAL BUSINESS CREDIT LLC
PO BOX 10021                                  BEATA STOJEK                              2500 EDWARDS AVE APT C5        1155 AVENUE OF THE AMERICAS FL 15
NEW YORK NY 10259-0021                        20 N WACKER DR STE 1750                   C5                             NEW YORK NY 10036-2711
                                              CHICAGO IL 60606                          SOUTH EL MONTE CA 91733




031211P001-1409A-265                          037763P001-1409A-265                      031821P001-1409A-265           036425P001-1409A-265
CAPITAL MALL LP                               CAPITAL MALL LP                           CAPITOL LIGHT                  CAPITOL LIGHT
1 EAST WACKER DR                              BALLARD SPAHR LLP                         REXEL INC                      PO BOX 418453
STE 3600                                      DUSTIN P BRANCH                           NATALIE SUPPITT                BOSTON MA 02241-8453
CHICAGO IL 60601                              2029 CENTURY PARK EAST STE 800            PO BOX 418453
                                              LOS ANGELES CA 90067-2909                 BOSTON MA 02241-8453



035534P001-1409A-265                          003347P001-1409A-265                      031212P001-1409A-265           031213P001-1409A-265
HAILEY E CAPLINGER                            JAMERRI CAPPELLO                          CAPREF BROOKWOOD VILLAGE LLC   CAPREF BURBANK LLC
936 MARRTOWN RD                               2507 NW 4TH CT                            8343 DOUGLAS AVE STE 200       8343 DOUGLAS AVE STE 200
PARKERSBURG WV 26101                          BOYNTON BEACH FL 33426                    DALLAS TX 75225                DALLAS TX 75225




031214P001-1409A-265                          037556P001-1409A-265                      032730P001-1409A-265           034331P001-1409A-265
CAPREF EDEN PRAIRIE LLC                       CAPREF EDEN PRAIRIE LLC                   CAPREF LLOYD II LLC            CAPREF LLOYD II LLC
8343 DOUGLAS AVE                              AMY M WILLIAMS                            PO BOX 398428                  8343 DOUGLAS AVE
STE 200                                       169 RAMAPO VLY RD STE 106                 SAN FRANCISCO CA 94139-8428    STE 200
DALLAS TX 75225                               OAKLAND NJ 07436                                                         DALLAS TX 75225




034331S001-1409A-265                          037557P001-1409A-265                      007660P001-1409A-265           037323P001-1409A-265
CAPREF LLOYD II LLC                           CAPREF LLOYD II LLC                       ELIDA M CARABALLO              PAOLA MIRANDA CARATTINI
BENESCH FRIEDLANDER COPLAN AND ARONOFF LLP    AMY M WILLIAMS                            18104 FLAMINGO                 PAOLA N MIRANDA CARATTINI
JENNIFER R HOOVER KEVIN M CAPUZZI             169 RAMAPO VLY RD STE 106                 CLEVELAND OH 44135             CALLE 6A F2 RIO GRANDE ESTATES
222 DELAWARE AVE STE 801                      OAKLAND NJ 07436                                                         RIO GRANDE PR 00745
WILMINGTON DE 19801
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006762P001-1409A-265             006762S001-1409A-265                      006337P001-1409A-265        010091P001-1409A-265
DARA CARAVANO                    DARA CARAVANO                             ALEXANDRA C CARAVEO         LUANNE CARAWAY
296 REGENTS CIR                  6825 OLD EGG HARBOR RD APT 18B            2800 CARVER RD              HAYS COUNTY TAX ASSESSOR
MAYS LANDING NJ 08330            EGG HARBOR TWSP NJ 08231                  MODESTO CA 95350            712 S STAGECOACH TRL
                                                                                                       SAN MARCOS TX 78666-5071




035410P001-1409A-265             003612P001-1409A-265                      035423P001-1409A-265        001247P001-1409A-265
LUANNE CARAWAY                   ELIZABETH CARBAJAL RUBIO                  RUBIO ELIZABETH CARBAJAL    JESSE CARBALLO
HAYS COUNTY TAX ASSESSOR         754 N HOLMES AVE                          754 N HOLMES AVE            512 AVALON LAKE RD
712 S STAGECOACH TRL STE 1120    ONTARIO CA 91764                          ONTARIO CA 91764            DANBURY CT 06810-7363
SAN MARCOS TX 78666-5071




030643P001-1409A-265             001232P001-1409A-265                      009640P001-1409A-265        002114P001-1409A-265
TERCELIA CARBONI                 KRISTY A CARBULLIDO                       TIFFANY CARCELLER           ANGELA R CARDELLIA
ADDRESS INTENTIONALLY OMITTED    2652 PIANTINO CIR                         854 WOODLANE RD             102 ELAINE AVE
                                 SAN DIEGO CA 92108                        MOUNT HOLLY NJ 08060        BLACKWOOD NJ 08012




002890P001-1409A-265             002851P001-1409A-265                      005755P001-1409A-265        009459P001-1409A-265
ALEXIA G CARDENAS                AMERICA CARDENAS                          DAVINA M CARDENAS           DAYANA V CARDENAS
553 S LARCH AVE                  3128 ARISTOTLE AVE                        27 GAYWOOD DR               405 AQUEDUCT RD
RIALTO CA 92376                  NORTH LAS VEGAS NV 89031                  OSSEO MN 55369              OSSINING NY 10562




001850P001-1409A-265             006623P001-1409A-265                      001875P001-1409A-265        006341P001-1409A-265
JAKAIRA L CARDENAS               JEESICA A CARDENAS                        MICHEL CARDENAS             SADI K CARDENAS
17719 PLUMMER ST                 6655 JACKSON RD UNIT 256                  971 LEA MEADOW              34 WAIAKA LN
NORTHRIDGE CA 91325-2038         ANN ARBOR MI 48103                        LEWISVILLE TX 75077         46-203
                                                                                                       WAILUKU HI 96793




002039P001-1409A-265             037906P003-1409A-265                      005719P001-1409A-265        020260P001-1409A-265
SUSANA CARDENAS                  ALLISON CARDIEL                           ALEJANDRA P CARDONA         JHANISE L CARDONA
472 HOLDEN ST                    7203 MID TOWN RD APT 212                  12328 ABBERTON CT           27 GILMAN ST
ARVIN CA 93203                   MADISON WI 53719                          ORLANDO FL 32837            NASHUA NH 03060




003387P001-1409A-265             003862P001-1409A-265                      035535P001-1409A-265        009002P001-1409A-265
SARAH CARDONICK                  DARSHALLE CARDOSO                         DARSHALLE CARDOSO           JARIBEL M CARELA
432 LAKEVIEW CT                  5772 GDN GROVE BLVD                       9082 CLENDENEN WAY          720 MAIN ST
FEASTERVILLE PA 19053            SPC 127                                   SACRAMENTO CA 95826         13
                                 WESTMINSTER CA 92683                                                  WORCESTER MA 01610
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030230P001-1409A-265             001585P001-1409A-265                008111P001-1409A-265                   037107P001-1409A-265
ASHLEY CAREY                     ASHLEY P CAREY                      KRISTIN CAREY                          MADISON CAREY
ADDRESS INTENTIONALLY OMITTED    4360 EVANS ST                       16400 LEDGEMONT LN 810                 1198 SADDLE CREEK DR
                                 WAYNE MI 48184                      ADDISON TX 75001                       FORT WALTON BEACH FL 32547




005865P001-1409A-265             036426P001-1409A-265                031822P001-1409A-265                   000105P001-1409A-265
MADISON E CAREY                  CARIBBEAN CONSTRUCTION              CARIBBEAN CONSTRUCTION PARTNERS CORP   CARIBBEAN ENVIRONMENTAL PROTECTION DIVISION
1198 SADDLE CREEK DR             WASHINGTON AVE F8                   WASHINGTON AVE F8                      CITY VIEW PLZ II
FORT WALTON BEACH FL 32547       GUAYNABO PR 00969                   GUAYNABO PR 00969                      STE 7000 48 RD KM 12
                                                                                                            GUAYNABO PR 00968-8069




006402P001-1409A-265             003315P001-1409A-265                006282P001-1409A-265                   006137P001-1409A-265
ISABELLA A CARLIN                AISHA CARLSON                       CASSANDRA M CARLSON                    ELIZABETH E CARLSON
76 WELTON DR                     1269 ANTELOPE WAY                   5402 WILBER AVE                        1650 7TH ST
PLYMOUTH MA 02360                MAPLEWOOD MN 55119                  PARMA OH 44129                         APT #209
                                                                                                            SAINT CLOUD MN 56304




001591P001-1409A-265             009113P001-1409A-265                006511P001-1409A-265                   031215P001-1409A-265
JASMINE S CARLSON                JENNIFER A CARLSON                  JORDAN CARLSON                         CARLYLE ER METRO, LLC
3525 18TH AVE SOUTH              217 N WASHINGTON ST                 207 NW 17TH ST APT 502                 2700 WESTCHESTER AVE
MINNEAPOLIS MN 55407             #4                                  GAINESVILLE FL 32603                   STE 303
                                 YPSILANTI MI 48197                                                         PURCHASE NY 10577




000874P001-1409A-265             001332P001-1409A-265                030771P001-1409A-265                   030771S001-1409A-265
DORIS E CARMENATTY               IVIS J CARMENATTY                   CARMICHAEL INTERNATIONAL SERV          CARMICHAEL INTERNATIONAL SERV
9211 HILLCROFT DR                2269 S CONWAY RD 901                PO BOX 51025                           JAMES RYAN III
RIVERVIEW FL 33578               APT 3203                            LOS ANGELES CA 90051-5325              533 GLENDALE BLVD
                                 ORLANDO FL 32812                                                           LOS ANGELES CA 90026




036181P001-1409A-265             007104P001-1409A-265                004982P001-1409A-265                   002787P001-1409A-265
CARMIN                           KENDALL CARMODY                     ARIEL B CARMON                         LARISSA CARMON
1013 CROCKER ST STE #7           402 WILLIAMSBURG RD                 101 SKYLINE DR                         6026 TULANE RD
LOS ANGELES CA 90021             UTICA NY 13502                      MARTINDALE TX 78655                    HORN LAKE MS 38637




006469P001-1409A-265             007548P001-1409A-265                037375P001-1409A-265                   031216P002-1409A-265
JULIETA CARMONA                  LIMNI CARMONA                       CAROLINA PLACE LLC                     CAROLINA PLACE, LLC
827 MAPLE ST                     1931 GREENFIELD RD                  BROOKFIELD PROPERTY REIT INC           GGPLP LLC
ROCKFORD IL 61101                ADAMSTOWN MD 21710                  JULIE M BOWDEN                         350 N ORLEANS ST STE 300
                                                                     350 N ORLEANS ST STE 300               CHICAGO IL 60654-1607
                                                                     CHICAGO IL 60654-1607
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033354P001-1409A-265               010037P001-1409A-265                005592P001-1409A-265              008114P001-1409A-265
CAROLYN CARPENETI AND CO           CAROLYN RICE, TREASURER             EMILY G CARON                     CASEY A CAROSELLI
CAROLYN CARPENETI                  MONTGOMERTY COUNTY                  137 HENRY ST                      19 ALBEMARLE RD
292 RICARDO RD                     451 WEST THIRD ST                   UXBRIDGE MA 01569                 EAST BRUNSWICK NJ 08816
MILL VALLEY CA 94941               DAYTON OH 45422-0476




031217P001-1409A-265               035342P001-1409A-265                035342S001-1409A-265              035536P001-1409A-265
CAROUSEL CENTER CO LP              CAROUSEL CENTER CO LP               CAROUSEL CENTER CO LP             AUSTIN T CARPENTER
MANUFACTURERS AND TRADERS TRUST    BARCLAY DAMON LLP                   PYRAMID MANAGEMENT GROUP LLC      607 PUTNAM ST
PO BOX 8000 DEPT 692               KEVIN M NEWMAN                      JOHN D CICO                       PARKERSBURG WV 26101
BUFFALO NY 14267                   BARCLAY DAMON TOWER                 THE CLINTON EXCHANGE
                                   125 E JEFFERSON ST                  4 CLINTON SQ
                                   SYRACUSE NY 13202                   SYRACUSE NY 13202


000603P001-1409A-265               009379P001-1409A-265                005084P001-1409A-265              004668P001-1409A-265
KAYLEE P CARPENTER                 MACKENZIE R CARPENTER               JORDAN E CARPIN                   ASHLEY M CARR
8116 ROSE PETAL DR                 4 CULLENS RUN                       1428 OLDE PK SQUARE               16 WINDING STAIR WAY
FLORENCE KY 41042                  PITTSFORD NY 14534                  FARMINGTON NY 14425               O'FALLON MO 63368




005007P001-1409A-265               029649P001-1409A-265                006169P001-1409A-265              006229P001-1409A-265
BRAYDESTINY K CARR                 MAKAYLA A CARR                      MARISA J CARR                     CORNESHA M CARRADINE
609 BRANSFORD RD                   4941 TULIP GROVE LN                 3709 SAN PABLO RD S               363 W DISON
AUGUSTA GA 30909                   NASHVILLE TN 37076                  1707                              MEMPHIS TN 38109
                                                                       JACKSONVILLE FL 32224




009235P001-1409A-265               001487P001-1409A-265                003480P001-1409A-265              035537P001-1409A-265
PAULETTE CARRANZA                  ALEJANDRA CARRASCO                  JERRILLYS CARRASQUILLO ORTIZ      ORTIZ JERRILLYS CARRASQUILLO
139 CEDAR CIR                      30 CEDAR AVE                        216 JACKSON ST                    822 MAIN ST
STREAMWOOD IL 60107                LAKE VILLA IL 60046                 APT 2                             UNIT 1
                                                                       WILLIMANTIC CT 06226              MANCHESTER CT 06040




004123P001-1409A-265               006625P001-1409A-265                004552P002-1409A-265              001117P001-1409A-265
MARIA C CARRENO                    LAURA CARRERA                       AMBER M CARRICK                   MEGAN R CARRICO
12063 ROYAL PALM BLVD              2566 TENNESSEE ST                   8171 ROCKCREEK PL APT 3           2022 KEENE CIR
CORAL SPRINGS FL 33065             APT 8111                            CORDOVA TN 38016-7576             SPRING HILL TN 37174
                                   TALLAHASSEE FL 32304




001446P001-1409A-265               008918P001-1409A-265                008955P001-1409A-265              001782P001-1409A-265
ANDREAN S CARRILLO                 ITZAYANA CARRILLO                   NICOLE M CARRILLO                 ROSA A CARRILLO
8694 JAMESTOWN DR                  508 S CHASE                         722 NORTH FRANKLIN ST             6027 BEAR AVE
WINTER HAVEN FL 33884-4837         WICHITA KS 67213                    LANCASTER PA 17602                APT A
                                                                                                         HUNTINGTON PARK CA 90255
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005936P001-1409A-265     001370P001-1409A-265                032849P001-1409A-265              032849S001-1409A-265
VERENICE Y CARRILLO      JESSICA M CARRION                   CARROLL ELECTRIC COOP CORP        CARROLL ELECTRIC COOP CORP
4817 CREEKRIDGE PL       133 PRATTS BRANCH RD                PO BOX 4000                       920 HWY 62 SPUR
GARLAND TX 75043         FELTON DE 19943                     BERRYVILLE AR 72616               PO BOX 4000
                                                                                               BERRYVILLE AR 72616




004262P001-1409A-265     009560P001-1409A-265                009632P002-1409A-265              001898P001-1409A-265
AMBER N CARROLL          BREANNA C CARROLL                   KENADI A CARROLL                  TONI CARROW
108 LAURIE LN            9203 PINEHURST DR                   2303 WOODRIDGE DR                 8239 GARBOR AVE
RUSSELLVILLE KY 42276    FT WASHINGTON MD 20744              SAINT PETERS MO 63376-7555        WARREN MI 48093




005712P001-1409A-265     031824P001-1409A-265                005334P001-1409A-265              006031P001-1409A-265
INDYA CARSON             CARTA                               EMELY CARTAGENA                   MARIELYS CARTAGENA
618 MALTESE DR           ESHARES INC                         505 RUSSELL ST                    340 WEST CTR ST
ATLANTA GA 30349         195 PAGE MILL RD                    NEW HAVEN CT 06513                ELMIRA NY 14901
                         STE 101
                         PALO ALTO CA 94306



005134P001-1409A-265     005795P001-1409A-265                035251P002-1409A-265              033804P001-1409A-265
AMBER CARTER             ARIENNA CARTER                      ASHLEY CARTER                     ASHLEY ELLIS CARTER
9519 PAINTED TREE D      2003 SKYLINE DR                     5939 W FRIENDLY AVE APT 55Q       5939 W FRIENDLY AVE
RANDALLSTOWN MD 21133    15206                               GREENSBORO NC 27410               APT 55Q
                         MCKINNEY TX 75071                                                     GREENSBORO NC 27410




002185P001-1409A-265     035539P001-1409A-265                009079P001-1409A-265              003785P001-1409A-265
CANDICE CARTER           CARLENA CARTER                      CHELSEA CARTER                    KAHLA CARTER
6010 WINSTON TRACE       1828 RUSHING WOOD DR NW             1153 IVYSTONE SQ                  1016 S HUMPHREY
MCDONOUGH GA 30252       MADISON AL 35757                    G                                 OAK PARK IL 60304
                                                             CHESAPEAKE VA 23320




035540P001-1409A-265     002140P001-1409A-265                007101P001-1409A-265              007101S001-1409A-265
KAHLA CARTER             KAPRIA R CARTER                     KATHRYN S CARTER                  KATHRYN S CARTER
3403 ADAMS ST            12501 TOBIAS CT                     250 BEARTOWN RD                   221 DEWIGHT AVE
BELLWOOD IL 60104        CLINTON MD 20735                    PAINTED POST NY 14870             CORNING NY 14830




005172P001-1409A-265     006524P001-1409A-265                030581P001-1409A-265              000981P001-1409A-265
KIRSTEN CARTER           KOLA S CARTER                       ROY CARTER                        ROY M CARTER
608 INSPIRATION DR       15303 WESTLAND GATE DR              ADDRESS INTENTIONALLY OMITTED     789 JAGERHORN DR
LIBERTY HILL TX 78642    CONROE TX 77384                                                       LAKE ARROWHEAD CA 92352
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035424P001-1409A-265                    008488P001-1409A-265                      002351P001-1409A-265         005711P001-1409A-265
ROY M CARTER                            SKYY CARTER                               STEPHANIE J CARTER           TIKIA S CARTER
2095 CHEROKEE ST                        540 W HORIZON RIDGE PKWT APT 7            99 CHERRY ST                 34 SPRINGVALE RD
KINGMAN AZ 86401                        HENDERSON NV 89012                        MALDEN MA 02148              BISHOPVILLE SC 29010




005333P001-1409A-265                    030597P001-1409A-265                      001388P001-1409A-265         031218P002-1409A-265
TONIMARIE A CARTER                      SAVANNAH CARVER                           SAVANNAH R CARVER            CARY VENTURE LIMITED PARTNERSHIP
836 TANGLEWOOD RD                       ADDRESS INTENTIONALLY OMITTED             239 CRESTWOOD DR             BY CBL AND ASSOCIATES MANAGEMENT INC
WEST ISLIP NY 11795                                                               NEW WHITELAND IN 46184       GARY RODDY
                                                                                                               2030 HAMILTON PL BLVD STE 500
                                                                                                               CHATTANOOGA TN 37421-6000



031218S001-1409A-265                    001261P001-1409A-265                      005886P002-1409A-265         035541P001-1409A-265
CARY VENTURE LIMITED PARTNERSHIP        KYEAIRRE C CARY                           TARA L CASADY                GABRIELLE CASAGRANDE
BY CBL AND ASSOCIATES MANAGEMENT INC    144 NORMAN RD                             5013 S 76TH EAST AVE APT F   618 PROSPECT AVE
CALEB HOLZAEPFEL                        1L                                        TULSA OK 74145-6245          BROOKLYN NY 11215
736 GEORGIA AVE STE 300                 NEWARK NJ 07106
CHATTANOOGA TN 37402



007797P001-1409A-265                    034140P001-1409A-265                      002801P001-1409A-265         002429P001-1409A-265
ANGELA M CASANOVA                       KRISTINA CASAREZ                          LESLY CASAREZ                EMILY CASARIN
2137HIDDEN VLY DR                       1362 TOFTS DR                             5943 SAIL LOFT CIR           932 MITCHELL RD
CROW POINT IN 46307                     SAN JOSE CA 95131                         SAN ANTONIO TX 78242         HOUSTON TX 77037




007107P001-1409A-265                    009607P001-1409A-265                      036779P001-1409A-265         004031P001-1409A-265
KIARA CASAS                             LISA CASAS                                TAMMY L CASAS                STEPHANIE CASASSALAS
561 WILSON ST                           2826 E SWEET                              501 E 102ND AVE B104         3006 WEBER ST
WATERBURY CT 06708                      VISALIA CA 93291                          THORNTON CO 80229            FORT WORTH TX 76106




032850P002-1409A-265                    032850S001-1409A-265                      031825P001-1409A-265         036427P001-1409A-265
CASCADE NATURAL GAS CORP                CASCADE NATURAL GAS CORP                  CASCO EQUIPMENT CORP         CASCO EQUIPMENT CORP
PO BOX 5600                             8113 W GRANDRIDGE BLVD                    BOB TERRY                    4141 FLAT ROCK DR
BISMARCK ND 58506-5600                  KENNEWICK WA 99336-7166                   4141 FLAT ROCK DR            RIVERSIDE CA 92505
                                                                                  RIVERSIDE CA 92505




033239P001-1409A-265                    008405P001-1409A-265                      002967P001-1409A-265         008915P001-1409A-265
RACHELLE CASCO                          CHELSEA L CASE                            KAYLIN N CASE                ASHLEY R CASELLA
1018 WOODPARK CT                        347 EAST WINCHESTER ST                    406 WOOD DUCK DR             1910 SUMMIT POINTE DR
SAN JOSE CA 95116                       MURRAY UT 84107                           GRAND JUNCTION CO 81504      1910
                                                                                                               SCRANTON PA 18508
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031826P001-1409A-265            003874P001-1409A-265                    035542P001-1409A-265          009507P001-1409A-265
CASEY POTTER CARLSON GOODE      HALEY CASEY                             HALEY CASEY                   MICHAELA CASEY
6555 GERALD AVE                 261 VETERANS PKWY                       291 POPLAR PT LN              52 BLOOD ST
LAKE BALBOA CA 91406            MURFREESBORO TN 37128                   RICKMAN TN 38580              PEPPERELL MA 01463




035543P001-1409A-265            032851P001-1409A-265                    032851S001-1409A-265          033849P001-1409A-265
RENAE E CASEY                   CASEYVILLE TOWNSHIP SEWER               CASEYVILLE TOWNSHIP SEWER     CASEYVILLE TOWNSHIP SEWER
3221 ILLINOIS                   PO BOX 1900                             #1 ECOLOGY DRIVE              1 ECOLOGY DR
MIDDLETOWN OH 45042             FAIRVIEW HEIG IL 62208                  O’FALLON IL 62269             O'FALLON IL 62269




003542P001-1409A-265            035544P001-1409A-265                    006123P001-1409A-265          002317P001-1409A-265
GABRIELA CASIANO MARTINEZ       MARTINEZ GABRIELA CASIANO               ASHLEY CASILLA                ALYSSA CASONI
499 W NIAGARA CIR               499 W NIAGARA CIR                       222 BRADLEY AVE               4885 EFFINGHAM PL
GRAND JUNCTION CO 81501         GRAND JUNCTION CO 81501                 8-5A                          DAYTON OH 45431
                                                                        WATERBURY CT 06708




032731P002-1409A-265            035091P001-1409A-265                    005054P001-1409A-265          037826P001-1409A-265
CASS INFORMATION SYSTEMS INC    CASS INFORMATION SYSTEMS INC            LEXIE J CASS                  CASSANDRA KELLER
PO BOX 17617                    12444 POWERSCOURT DR STE 550            2114 LAKE VIEW RIDGE DR NE    60 TOWNE BROOKE COMMONS
ST LOUIS MO 63178               SAINT LOUIS MO 63131                    SOLON IA 52333                BROOKFIELD CT 06804




004019P001-1409A-265            008839P001-1409A-265                    031827P001-1409A-265          005970P001-1409A-265
CHELSEA S CASSIDY               MACKENZIE CASSIDY                       CAST PARTNER LA LLC           ALYSSA CASTANEDA
300 STONY PT RD                 12760 IRONSTONE WAY #103                922 N FORMOSA AVE             9817 CRISTINA DR
#198                            PARKER CO 80134                         LOS ANGELES CA 90046          RIVERVIEW FL 33569
SANTA ROSA CA 95401




005956P001-1409A-265            004002P001-1409A-265                    006272P001-1409A-265          009260P001-1409A-265
ELIZER C CASTANEDA              GIOMAR CASTANEDA                        KARLA J CASTANEDA             KIANNA CASTANEDA
2608 RICHARDS AVE               13442 REINDEER ST                       1604 KENT PL                  7007 W FILLMORE ST
HAMMONTON NJ 08037              MORENO VALLEY CA 92553                  25                            PHOENIX AZ 85043
                                                                        ROSEVILLE CA 95661




002715P002-1409A-265            000991P001-1409A-265                    033377P001-1409A-265          001298P001-1409A-265
MITZY Y CASTANEDA               MYRA E CASTANEDA                        TARA CASTANEDA                XIMENA CASTANEDA
1611 W FREMONT RD               3937 SPENCER ST                         33105 MISSION BLVD            3949 PALM AVE
PHOENIX AZ 85041-6636           APT 112                                 #A210                         SAN DIEGO CA 92154-1737
                                LAS VEGAS NV 89119                      UNION CITY CA 94587
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005796P001-1409A-265      006198P001-1409A-265                   006245P001-1409A-265           008022P001-1409A-265
LIZETTE CASTANON          COURTNEY P CASTEEL                     LIBERTY J CASTEEL              NUBIA J CASTELAN
772 ANDERSON ST           14340 S LAGRANGE RD                    1010 WORTHINGTON SPRING DR     5535 W EDDY
SAN FRANCISCO CA 94110    2                                      MELBOURNE FL 32940             CHICAGO IL 60641
                          ORLAND PARK IL 60462




005344P001-1409A-265      009515P001-1409A-265                   007584P001-1409A-265           000658P001-1409A-265
GISSELLE CASTELLANOS      JANINI P CASTELLANOS                   RUTH E CASTELLON               ALEEN CASTILLO
6507 VASQUEZ ST           8571 WOODWARD DR                       7311 LAVA ROCK CIR             5925 SYCAMORE CANYON BLVD
PHARR TX 78577            NORTH CHESTERFIELD VA 23236            APT 101                        APT 21
                                                                 MANASSAS VA 20111              RIVERSIDE CA 92501




003506P001-1409A-265      002630P001-1409A-265                   003009P001-1409A-265           002181P001-1409A-265
ALEJANDRA L CASTILLO      ERICA CASTILLO                         ERIKA CASTILLO                 LIZBETH CASTILLO
7590 S CARLISLE AVE       123 EAST 92ND ST                       555 AVE C                      36 HOXEY ST
TUCSON AZ 85746           B20                                    MERCEDES TX 78570              2
                          BROOKLYN NY 11212                                                     PATERSON NJ 07501




004415P001-1409A-265      005814P001-1409A-265                   008010P001-1409A-265           003993P001-1409A-265
NATALIE CASTILLO          SARAI R CASTILLO                       YESENIA L CASTILLO             MARIAH J CASTLE
13263 SW 258 TER          29021 BOUQUET CANYON RD                1316 N CONRAD AVE              1725 SOUTHWIND DR
HOMESTEAD FL 33032        #230                                   SARASOTA FL 34237              CHARLOTTE NC 28216
                          SANTA CLARITA CA 91390




033218P001-1409A-265      031219P001-1409A-265                   034138P001-1409A-265           001917P001-1409A-265
DEBORAH CASTLEMAIN        CASTLETON SQUARE LLC                   CASTLETON SQUARE, LLC          MAGALI L CASTORENA
11720 CLOVERIDGE DR       SIMON PROPERTY GROUP LP                1359 MOMENTUM PL               3509 ELLER AVE
KELLER TX 76244           PO BOX 775754                          CHICAGO IL 60689-5311          FORT SMITH AR 72904-2519
                          CHICAGO IL 60677-5754




002676P001-1409A-265      005075P001-1409A-265                   006812P001-1409A-265           009085P001-1409A-265
MARLINA H CASTORENA       JOVELE CASTORO                         JULISSA CASTREJON              LAURY A CASTRILLON
992 GRANT AVE             4332 SE COVE LAKE CIR                  98-450 KOAUKA LOOP APT 1907    5161 SASSARI AVE
COLTON CA 92324           304                                    1907                           SAINT CLOUD FL 34771
                          STUART FL 34997                        AIEA HI 96701




005492P001-1409A-265      002333P001-1409A-265                   007282P001-1409A-265           008117P001-1409A-265
DANIELA CASTRO RAMIREZ    ALINA Y CASTRO                         DAMIEN CASTRO                  DAPHNEY CASTRO
2113 W PIERCE ST          5215 BELMONT AVE                       9445 E 39TH PL                 4065 CORNELIA WAY
MILWAUKEE WI 53204        #2201                                  TULSA OK 74135                 NORTH HIGHLANDS CA 95660
                          DALLAS TX 75206
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009630P001-1409A-265      037013P002-1409A-265                    001579P001-1409A-265             003957P001-1409A-265
EMILY M CASTRO            ERICA GONZALEZ CASTRO                   GERALDINE S CASTRO               KAROLYNN K CASTRO
321 WAGON TRL AVE         5252 ORANGE AVE                         130 E 25 ST                      1317 N CRESTLANE PL
LOWELL AR 72745           UNIT 233                                APT 5                            ANAHEIM CA 92805
                          SAN DIEGO CA 92115                      PATERSON NJ 07514
                          UNITED STATES



005337P001-1409A-265      002207P001-1409A-265                    030802P001-1409A-265             036182P001-1409A-265
NATALYA I CASTRO          YAZMIN CASTRO                           CASUAL SPORTSWEAR                CASUAL SPORTSWEAR
1717 SW VICTOR LN         3758 W 64 TH ST                         ANJU SHARMA                      PLOT NO1 2 3 14 15 AND 16 SEC C KEPZ LANDHI
PORT ST LUCIE FL 34984    CHICAGO IL 60629                        PLOT NO1 2 3 14 15 & 16 SEC C    KARACHIN
                                                                  KEPZ LANDHI KARACHIN             PAKISTAN
                                                                  PAKISTAN



005454P001-1409A-265      010545P001-1409A-265                    031828P001-1409A-265             031829P001-1409A-265
JESSICA CASWELL           CATAWBA COUNTY TAX COLLECTOR            CATHERINE MOISAN                 CATHY NOH
936 80TH ST               PO BOX 580071                           1650 BOUL RENE LEVESQUE O        1828 GLENDON AVE
NIAGARA FALLS NY 14304    CHARLOTTE NC 28258-0071                 APT 507                          #302
                                                                  MONTREAL QC H3H 2S1              LOS ANGELES CA 90025
                                                                  CANADA



001213P001-1409A-265      001324P001-1409A-265                    004271P001-1409A-265             005851P001-1409A-265
LISA CATLETT              LAUREN CATO                             GABRIELLA CATRETT                CASSIDY K CAUDILL
1967 CAMINO LN            115 HARTWICK ST                         6166 LEESBURG PIKE               401 E STATE ST
HILLIARD OH 43026         SPRINGFIELD MA 01108-3549               APT C304                         PENDLETON IN 46064
                                                                  FALLS CHURCH VA 22044




001392P001-1409A-265      009641P001-1409A-265                    007831P001-1409A-265             030695P001-1409A-265
HEATHER M CAUDILL         MAKENZI M CAUDILL                       KYASIA CAUSEY                    CAVALINI, INC
45 CENTRAL AVE            10107 DEER VIEW PT                      2508 MINNESOTA AVE APARTMEN      MARIA CHUA
SPRING CITY PA 19475      WEXFORD PA 15090                        D213                             3848 SOUTH HILL ST
                                                                  LYNN HAVEN FL 32444              LOS ANGELES CA 90037




036493P001-1409A-265      004704P001-1409A-265                    031830P001-1409A-265             005857P001-1409A-265
ERIN L CAVANAUGH          BEA TRIZIA P CAWALING                   CAYLA ZELANIS                    ANNA L CAZARES
828 BLACK ROCK TPKE       5408 ANGUS DR                           18911 TWAIN CT                   10820 TONY JACKLIN
FAIRFIELD CT 06824        VIRGINIA BEACH VA 23464                 SARATOGA CA 95070                EL PASO TX 79935




035545P001-1409A-265      001895P001-1409A-265                    029805P002-1409A-265             029805S001-1409A-265
GABRIELLE R CAZARES       DARCEY T CAZIMERO                       CB RICHARD ELLIS (LANDLORD)      CB RICHARD ELLIS (LANDLORD)
3600 CRB 2170             98-080 UAO PL                           RAINBOW INVESTMENT CO            SELTZER CAPLAN MCMAHON VITEK
STANTON TX 79782          C3                                      591 CAMINO DE LA REINA STE 900   MATTHEW D SELTZER ESQ
                          AIEA HI 96701                           SAN DIEGO CA 92108-3199          750 B ST STE 2100
                                                                                                   SAN DIEGO CA 92101
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034759P001-1409A-265                       034811P001-1409A-265                         034832P001-1409A-265                    034865P001-1409A-265
CBL                                        CBL                                          CBL                                     CBL
CBL AND ASSOCIATES MANAGEMENT INC          MID RIVERS MALL CMBS LLC                     CBL AND ASSOCIATES MANAGEMENT INC       COOLSPRINGS MALL LLC
2030 HAMILTON PL BLVD                      CBL AND ASSOCIATES MANAGEMENT INC            2030 HAMILTON PL BLVD                   CBL AND ASSOCIATES MANAGEMENT INC
CBL CTR STE 500                            CBL CTR — STE 500                            CBL CENTER STE 500                      2030 HAMILTON PL BLVD
CHATTANOOGA TN 37421-6000                  2030 HAMILTON PL BLVD                        CHATTANOOGA TN 37421-6000               CBL CENTER STE 500
                                           CHATTANOOGA TN 37421                                                                 CHATTANOOGA TN 37421


034872P001-1409A-265                       034884P001-1409A-265                         034886P001-1409A-265                    034921P001-1409A-265
CBL                                        CBL                                          CBL                                     CBL
CARY VENTURE LIMITED PARTNERSHIP           G AND I VIII CBL TTC LLC                     JEFFERSON MALL CMBSLLC                  PARKWAY PLACE LIMITED PARTNERSHIP
2030 HAMILTON PL BLVD                      CBL AND ASSOCIATES MANAGEMENT INC            CBL AND ASSOCIATES MANAGEMENT INC       CBL AND ASSOCIATES MANAGEMENT
STE 500                                    2030 HAMILTON PL BLVD                        2030 HAMILTON PL BLVD                   2030 HAMILTON PL BLVD
CHATTANOOGA TN 37421                       CBL CENTER STE 500                           STE 500                                 CBL CENTER STE 500
                                           CHATTANOOGA TN 37421                         CHATTANOOGA TN 37421                    CHATTANOOGA TN 37421


034930P001-1409A-265                       034970P001-1409A-265                         034974P001-1409A-265                    034978P001-1409A-265
CBL                                        CBL                                          CBL                                     CBL
CBL AND ASSOCIATES MANAGEMENT INC          CBL AND ASSOCIATES MANAGEMENT INC            CENTRO WEST PARK LLC TWO TOWER BRIDGE   CBL AND ASSOCIATES MANAGEMENT INC
2030 I-IAMILTUN PL BLVD                    CBL CENTER                                   1 FAYETTE ST                            CBL CENTER 2030 HAMILTON PLACE BLVD
CBL CENTER STE 500                         SUITE 500                                    CONSHOHOCKEN PA 19428                   STE 500
CHATTANOOGA TN 37421-6000                  2030 HAMILTON PL BLVD                                                                CHATTANOOGA TN 37421-6000
                                           CHATTANOOGA TN 37421


035283P001-1409A-265                       029806P001-1409A-265                         029806S001-1409A-265                    029807P001-1409A-265
CBL                                        CBL (LANDLORD)                               CBL (LANDLORD)                          CBL (LANDLORD)
2100 HAMITLON PLACE BLVD SPACE 110         MID RIVERS MALL CMBS LLC                     MID RIVERS MALL CMBS, LLC               COOLSPRINGS MALL LLC
CHATTANOOGA TN 37421                       CBL AND ASSOCIATES MANAGEMENT INC            CBL AND ASSOCIATES MANAGEMENT INC       CBL AND ASSOCIATES MANAGEMENT INC
                                           GENERAL MANAGER                              GENERAL COUNSEL                         1800 GALLERIA BLVD
                                           1600 MID RIVERS MALL                         CBL CTR STE 500 2030 HAMILTON PL BLVD   FRANKLIN TN 37067
                                           ST. PETERS MO 63376                          CHATTANOOGA TN 37421


029807S001-1409A-265                       029808P001-1409A-265                         029808S001-1409A-265                    029809P001-1409A-265
CBL (LANDLORD)                             CBL (LANDLORD)                               CBL (LANDLORD)                          CBL (LANDLORD)
COOLSPRINGS MALL, LLC                      CARY VENTURE LIMITED PARTNERSHIP             CARY VENTURE LIMITED PARTNERSHIP        G AND I VIII CBL TTC LLC
CBL AND ASSOCIATES MANAGEMENT INC          CBL AND ASSOCIATES MANAGEMENT INC            GENERAL COUNSEL                         CBL AND ASSOCIATES MANAGEMENT INC
CHIEF LEGAL OFFICER                        GENERAL MANAGER                              2030 HAMILTON PL BLVD STE 500           CBL CTR 2030 HAMILTON PL BLVD
CBL CTR - STE 500 2030 HAMILTON PL BLVD    1105 WALNUT ST STE 200                       CHATTANOOGA TN 37421                    STE 500
CHATTANOOGA TN 37421                       CARY NC 27511                                                                        CHATTANOOGA TN 37421


029809S001-1409A-265                       029810P001-1409A-265                         029810S001-1409A-265                    029811P001-1409A-265
CBL (LANDLORD)                             CBL (LANDLORD)                               CBL (LANDLORD)                          CBL (LANDLORD)
G AND I VIII CBL TTC LLC                   JEFFERSON MALL CMBS LLC                      JEFFERSON MALL CMBS, LLC                PARKWAY PLACE LIMITED PARTNERSHIP
DRA ADVISORS LLC                           CBL AND ASSOCIATES MANAGEMENT INC            CBL AND ASSOCIATES MANAGEMENT INC       CBL AND ASSOCIATES MANAGEMENT INC
220 EAST 42ND ST 27TH FL                   GENERAL MANAGER                              GENERAL COUNSEL                         CBL CTR STE 500
NEW YORK NY 10017                          4801/302 OUTER LOOP                          2030 HAMILTON PL BLVD STE 500           2030 HAMILTON PL BLVD
                                           LOUISVILLE KY 40219-3299                     CHATTANOOGA TN 37421                    CHATTANOOGA TN 37421-6000


029811S001-1409A-265                       029812P001-1409A-265                         029812S001-1409A-265                    029812S002-1409A-265
CBL (LANDLORD)                             CBL (LANDLORD)                               CBL (LANDLORD)                          CBL (LANDLORD)
COLONIAL PROPERTIES TRUST                  YORK GALLERIA LIMITED PARTNERSHIP            YORK GALLERIA LIMITED PARTNERSHIP       YORK GALLERIA LIMITED PARTNERSHIP
JOHN L DUNN ESQ                            CBL AND ASSOCIATES MANAGEMENT INC            CBL AND ASSOCIATES MANAGEMENT INC       CBL AND ASSOCIATES MANAGEMENT INC
300 COLONIAL CTR PKWY STE 200              PROPERTY ACCOUNTS MANAGER                    GENERAL MANAGER                         CBL CTR - STE 500
ROSWELL GA 30076                           ONE YORK GALLERIA                            ONE YORK GALLERIA                       2030 HAMILTON PL BLVD
                                           YORK PA 17402                                YORK PA 17402                           CHATTANOOGA TN 37421
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029813P001-1409A-265                    029814P001-1409A-265                            029814S001-1409A-265                          030023P001-1409A-265
CBL (LANDLORD)                          CBL (LANDLORD)                                  CBL (LANDLORD)                                CBL (LANDLORD)
CENTRO WEST PARK LLC                    SLIDELL DEVELOPMENT CO LLC                      CBL AND ASSOCIATES PROPERTIES, INC            CBL AND ASSOCIATES MANAGEMENT INC
LEGAL DEPT                              STIRLING PROPERTIES                             DAVID NEUHOFF VICE PRESIDENT OF DEVELOPMENT   BRANDON BARRY
TWO TOWER BRIDGE 1 FAYETTE ST           G TOWNSEND UNDERHILL IV SR                      CBL CTR STE 500                               CBL CTR STE 500
CONSHOHOCKEN PA 19428                   109 NORTHPARK BIVD STE 300                      2030 HAMILTON PL BLVD                         2030 HAMILTON PL BLVD
                                        COVINGTON LA 70433                              CHATTANOOGA TN 37421-6000                     CHATTANOOGA TN 37421-6000


033546P001-1409A-265                    031220P001-1409A-265                            034194P001-1409A-265                          034195P001-1409A-265
CBL (LANDLORD)                          CBL AND ASSOCIATES LIMITED                      CBL AND ASSOCIATES LIMITED PARTNERS           CBL AND ASSOCIATES LIMITED PARTNERS
SOUTH COUNTY CENTER LLC                 OLD HICKORY MALL VENTURE II L                   2030 HAMILTON PL                              PARTNERSHIP
LEGAL DEPT                              TRACY SUDZUM                                    STE 500                                       2030 HAMILTON PL BLVD
11601 WILSHIRE BLVD                     2030 HAMILTON PL BLVD #500                      CHATTANOOGA TN 37421-6000                     STE 500
12TH FLOOR                              CHATTANOOGA TN 37421-6000                                                                     CHATTANOOGA TN 37421-6000
LOS ANGELES CA 90025


034196P001-1409A-265                    034204P001-1409A-265                            034203P001-1409A-265                          033507P001-1409A-265
CBL AND ASSOCIATES LIMITED PARTNERS     CBL AND ASSOCIATES LIMITED PARTNERS             CBL AND ASSOCIATES LIMITED PARTNERSHIP        CBL AND ASSOCIATES MANAGEMENT INC
2030 HAMILTON PL BLVD                   2030 HAMILTON PL BLVD                           2030 HAMILTON PL BLVD                         MADISON SQUARE ASSOCIATES
STE 500                                 STE 500                                         STE 500                                       PO BOX 74343
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 60197-5544                       CHATTANOOGA TN 37421-6000                     CLEVELAND OH 44194-4343




032732P001-1409A-265                    031222P002-1409A-265                            031222S001-1409A-265                          031525P002-1409A-265
CBL AND ASSOCIATES MGMT INC             CBL MONROEVILLE LP                              CBL MONROEVILLE LP                            CBL RM-WACO LLC
AGENTS FOR CITADEL MALL HOLDING LLC     BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGEMENT INC          BY CBL AND ASSOCIATES MANAGEMENT INC
2070 SAM RITTENBURG BLVD                GARY RODDY                                      CALEB HOLZAEPFEL                              GARY RODDY
PO BOX 602929                           2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300                       2030 HAMILTON PL BLVD STE 500
CHARLOTTE NC 28260-2929                 CHATTANOOGA TN 37421-6000                       CHATTANOOGA TN 37402                          CHATTANOOGA TN 37421-6000



031525S001-1409A-265                    031221P002-1409A-265                            031221S001-1409A-265                          031223P003-1409A-265
CBL RM-WACO LLC                         CBL SM BROWNSVILLE LLC                          CBL SM BROWNSVILLE LLC                        CBL WESTMORELAND LP
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGMENT INC           BY CBL AND ASSOCIATES MANAGEMENT INC
CALEB HOLZAEPFEL                        GARY RODDY                                      CALEB HOLZAEPFEL                              GARY RODDY
736 GEORGIA AVE STE 300                 2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300                       2030 HAMILTON PL BLVD STE 500
CHATTANOOGA TN 37402                    CHATTANOOGA TN 37421-6000                       CHATTANOOGA TN 37402                          CHATTANOOGA TN 37421-6000



034198P001-1409A-265                    031223S001-1409A-265                            034812P001-1409A-265                          034830P001-1409A-265
CBLTC, LLC                              CBLWESTMORELAND LP                              CBRE INC                                      CBRE INC
2030 HAMILTON PL BLVD                   BY CBL AND ASSOCIATES MANAGEMENT INC            VALLE VISTA MALL MANAGEMENT OFFICE            OAKLAND MALL LLC
STE 500                                 CALEB HOLZAEPFEL                                2020 S EXPWY 83                               39577 WOODWARD AVE
CHATTANOOGA TN 37421-6000               736 GEORGIA AVE STE 300                         HARLINGEN TX 78552                            STE 220
                                        CHATTANOOGA TN 37402                                                                          BLOOMFIELD HILLS MI 48304



029815P001-1409A-265                    029816P001-1409A-265                            032852P001-1409A-265                          032852S001-1409A-265
CBRE, INC (LANDLORD)                    CBRE, INC (LANDLORD)                            CDE                                           CDE
OAKLAND MALL LLC                        VALLE VISTA MALL MANAGEMENT OFFICE              PO BOX 31449                                  2021 WILMA RUDOLPH BLVD
39577 WOODWARD AVE STE 220              2020 S EXPWY 83                                 CLARKSVILLE TN 37040                          CLARKSVILLE TN 37040
BLOOMFIELD HILLS MI 48304               HARLINGEN TX 78552
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031831P001-1409A-265                     009305P001-1409A-265                             007134P001-1409A-265                        001031P001-1409A-265
CDW COMPUTER CENTERS, INC                ANDREA S CEASOR                                  SOPHIA L CECIL                              NATHALY CEDANO
PO BOX 75723                             193 FAIRFIELD AVE                                6820 BUICK DR                               12320 DEL RIO CT
CHICAGO IL 60675-5723                    TONAWANDA NY 14223-2847                          INDIANAPOLIS IN 46214                       NORWALK CA 90650




006263P001-1409A-265                     032319P001-1409A-265                             004422P001-1409A-265                        033578P001-1409A-265
NICHOLE M CEDANO                         NICK CEDAR                                       ALEXIS CEDILLO                              CELEBRITY PINK
431 CAPERS DR                            124 REDWOOD RD                                   9806 VILLA DR                               1708 GAGE RD
LADSON SC 29456                          FAIRFAX CA 94930                                 MERCEDES TX 78570                           MONTEBELLO CA 90640




031832P001-1409A-265                     037789P001-1409A-265                             037564P001-1409A-265                        037564S001-1409A-265
CELESTINE                                CELINA BANKS                                     CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS   CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS
7250 MELROSE AVE                         59 HARRAL AVE APT 2 2 FLR                        WILLIAM M VERMETTE                          PAUL ADAMEC
STE 6                                    BRIDGEPORT CT 06604                              22001 LOUDOUN COUNTY PKWY                   500 TECHNOLOGY DRIVE
LOS ANGELES CA 90046                                                                      ASHBURN VA 20147                            WELDON SPRING MO 63304




003989P001-1409A-265                     005328P001-1409A-265                             034761P001-1409A-265                        034840P001-1409A-265
EMMA V CENICACELAYA                      QUEENY CENORD                                    CENTENNIAL                                  CENTENNIAL
402 DAVID CT                             18 FLETCHER RD APT E                             FOX VALLEY MALL LLC                         HAWTHORN LP
BEL AIR MD 21015                         MONSEY NY 10952                                  CENTENNIAL REAL ESTATE MANAGEMENT LLC       CENTENNIAL REAL ESTATE MANAGEMENT LLC
                                                                                          8750 NORTH CENTRAL EXPWY                    8750 N CENTRAL EXPWY
                                                                                          STE 1740                                    STE 1740
                                                                                          DALLAS TX 75231                             DALLAS TX 75231


034953P001-1409A-265                     029817P001-1409A-265                             029817S001-1409A-265                        029818P001-1409A-265
CENTENNIAL                               CENTENNIAL (LANDLORD)                            CENTENNIAL (LANDLORD)                       CENTENNIAL (LANDLORD)
US CENTENNIAL VANCOUVER MALL LLC         MAINPLACE SHOPPINGTOWN LLC                       MAINPLACE MALL                              FOX VALLEY MALL LLC
CENTENNIAL REAL ESTATE MANAGEMENT LLC    CHIEF OPERATING OFFICER                          GENERAL MANAGER                             CENTENNIAL REAL ESTATE MANAGEMENT LLC
8750 NORTH CENTRAL EXPWY                 C/O CENTENNIAL REAL ESTATE MANAGEMENT LLC        2800 NORTH MAIN ST STE 775                  CHIEF OPERATING OFFICER
STE 1740                                 8750 NORTH CENTRAL EXPWY STE 1740                SANTA ANA CA 92705                          8750 NORTH CENTRAL EXPWY STE 1740
DALLAS TX 75231                          DALLAS TX 75231                                                                              DALLAS TX 75231


029818S001-1409A-265                     029819P001-1409A-265                             029819S001-1409A-265                        029820P001-1409A-265
CENTENNIAL (LANDLORD)                    CENTENNIAL (LANDLORD)                            CENTENNIAL (LANDLORD)                       CENTENNIAL (LANDLORD)
FOX VALLEY MALL                          HAWTHORN LP                                      HAWTHORN MALL                               THE CONNECTICUT POST LIMITED PARTNERSHIP
GENERAL MANAGER                          CENTENNIAL REAL ESTATE MANAGEMENT LLC            GENERAL MANAGER                             CENTENNIAL REAL ESTATE MANAGEMENT LLC
195 FOX VLY CTR                          CHIEF OPERATING OFFICER                          122 HAWTHORN MALL                           CHIEF OPERATING OFFICER
AURORA IL 60504                          8750 N CENTRAL EXPWY STE 1740                    VERNON HILLS IL 60061                       8750 NORTH CENTRAL EXPWY
                                         DALLAS TX 75231                                                                              DALLAS TX 75231


029820S001-1409A-265                     029821P001-1409A-265                             029822P001-1409A-265                        029823P001-1409A-265
CENTENNIAL (LANDLORD)                    CENTENNIAL (LANDLORD)                            CENTENNIAL (LANDLORD)                       CENTENNIAL (LANDLORD)
CONNECTICUT POST MALL                    US CENTENNIAL VANCOUVER MALL LLC                 RENAISSANCE PARTNERS I LLC                  PUEBLO MALL
GENERAL MANAGER                          CENTENNIAL REAL ESTATE MANAGEMENT LLC            CENTENNIAL REAL ESTATE MANAGEMENT LLC       GENERAL MANAGER
1201 BOSTON POST RD                      CHIEF OPERATING OFFICER                          CHIEF OPERATING OFFICER                     3429 DILLON DR
MILFORD CT 06460                         8750 NORTH CENTRAL EXPWY STE 1740                8750 NORTH CENTRAL EXPWY STE 1740           PUEBLO CO 81008
                                         DALLAS TX 75231                                  DALLAS TX 75231
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001021P001-1409A-265                         036129P001-1409A-265                            030853P001-1409A-265                        035017P001-1409A-265
JESMARIE CENTENO                             CENTER FOR ADVANCED PUBLIC AWARENESS INC        CENTER FOR ENVIRONMENTAL HEALTH             CENTERGY RETAIL
744 CLIMATE DR                               GATES JOHNSON LAW                               2201 BROADWAY STE 302                       ANDREWS KURTH LLP
BRANDON FL 33511                             KIMBERLY GATES                                  OAKLAND CA 94612                            1717 MAIN ST
                                             2822 MORAGA ST                                                                              STE 3700
                                             SAN FRANCISCO CA 94122                                                                      DALLAS TX 75201



029824P001-1409A-265                         029824S001-1409A-265                            032853P001-1409A-265                        032853S001-1409A-265
CENTERGY RETAIL (LANDLORD)                   CENTERGY RETAIL (LANDLORD)                      CENTERPOINT ENERGY                          CENTERPOINT ENERGY
THE FOUNTAINS AT FARAH LP                    THE FOUNTAINS AT FARAH, LP                      PO BOX 4671                                 1111 LOUISIANA ST
CENTERGY RETAIL LLC                          SANDRA MENDEZ                                   HOUSTON TX 77210                            HOUSTON TX 77002
WEST MILLER                                  123 W MILLS AVE STE 600
8235 DOUGLAS AVE STE 900                     EL PASO TX 79901
DALLAS TX 75225


034683P001-1409A-265                         031833P001-1409A-265                            030696P001-1409A-265                        032854P001-1409A-265
CENTERPOINT ENERGY                           CENTIMARK CORP                                  CENTRAL CAROLINA HOSIERY                    CENTRAL GEORGIA EMC
JEANNETTA F JOHNSON                          PO BOX 536254                                   LORI WHEELER-FARMER                         923 S MULBERRY ST
PO BOX 1700                                  PITTSBURGH PA 15253-5904                        211 SHADY OAK DR                            JACKSON GA 30233
HOUSTON TX 77210                                                                             BISCOE NC 27209




032855P001-1409A-265                         032855S001-1409A-265                            033852P001-1409A-265                        032856P001-1409A-265
CENTRAL LOUSIANA ELECTRIC CO                 CENTRAL LOUSIANA ELECTRIC CO                    CENTRAL LOUSIANA ELECTRIC CO                CENTRAL MAINE POWER CO
P O BOX 69000                                2030 DONAHUE FERRY RD                           2030 DONAHUE FERRY RD                       PO BOX 1084
ALEXANDRIA LA 71306                          PINEVILLE, LA LA 71361-5000                     PINEVILLE LA 71361-5000                     AUGUSTA ME 04332




032856S001-1409A-265                         010021P001-1409A-265                            036891P003-1409A-265                        036891S001-1409A-265
CENTRAL MAINE POWER CO                       CENTRAL TAX BUREAU OF PA, INC                   CENTRAL TELEPHONE CO NEVADA                 CENTRAL TELEPHONE CO NEVADA DBA
83 EDISON DR                                 403 S THIRD ST                                  DBA CENTURYLINK                             CENTURYLINK
AUGUSTA ME 04336                             2ND FL STE A                                    CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY   CENTURYLINK COMMUNICATIONS LLC
                                             YOUNGWOOD PA 15697-1154                         LEGAL BKY                                   220 N 5TH ST
                                                                                             1025 EL DORADO BLVD                         BISMARCK ND 58501
                                                                                             BROOMFIELD CO 80021


037888P001-1409A-265                         037888S001-1409A-265                            037885P001-1409A-265                        037885S001-1409A-265
CENTRAL TELEPHONE CO NORTH CAROLINA DBA      CENTRAL TELEPHONE CO NORTH CAROLINA DBA         CENTRAL TELEPHONE CO OF TEXAS DBA           CENTRAL TELEPHONE CO OF TEXAS DBA
CENTURYLINK                                  CENTURYLINK                                     CENTURYLINK                                 CENTURYLINK
CENTURYLINK COMMUNICATIONS LLC               CENTURYLINK COMMUNICATIONS LLC                  CENTURYLINK COMMUNICATIONS LLC              CENTURYLINK COMMUNICATIONS
LEGAL BANKRUPTCY                             220 N 5TH ST                                    LEGAL BANKRUPTCY                            220 N 5TH ST
1025 EL DORADO BLVD                          BISMARCK ND 58501                               1025 EL DORADO BLVD                         BISMARCK ND 58501
BROOMFIELD CO 80021                                                                          BROOMFIELD CO 80021


036888P001-1409A-265                         036888S001-1409A-265                            009982P001-1409A-265                        034922P001-1409A-265
CENTRAL TELEPHONE CO OF VIRGINIA             CENTRAL TELEPHONE CO OF VIRGINIA                CENTRE REGION CODE ADMIN                    CENTRECORP
DBA CENTURYLINK                              DBA CENTURYLINK                                 2643 GTWY DR                                CENTRECORP MANAGEMENT SVC LLLP
CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY    CENTURYLINK COMMUNICATIONS LLC                  #2                                          2851 JOHN ST
LEGAL BKY                                    220 N5TH ST                                     STATE COLLEGE PA 16801                      STE 1
1025 EL DORADO BLVD                          BISMARCK ND 58501                                                                           MARKHAM ONTARIO L3R 5R7
BROOMFIELD CO 80021                                                                                                                      CANADA
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029825P001-1409A-265                         029825S001-1409A-265                          033445P001-1409A-265                        032857P001-1409A-265
CENTRECORP (LANDLORD)                        CENTRECORP (LANDLORD)                         CENTRIC SOFTWARE INC                        CENTRO NP HOLDINGS II SPE LLC
CENTRECORP MANAGEMENT SVC LLLP               GCTC HOLDINGS LLC                             655 CAMPBELL TECHNOLOGY PARKWY              LEASE ID#
VICEPRESIDENT PROPERTY MANAGEMENT            CENTRECORP MANAGEMENT SVC LLLP                STE 200                                     PO BOX 74242
2851 JOHN ST STE 1                           JOE RAGONESE                                  CAMPBELL CA 95008                           CLEVELAND OH 44194
MARKHAM ON L3R 5R7                           1250 CAROLINE ST STE 220
CANADA                                       ATLANTA GA 30307


032733P001-1409A-265                         030697P001-1409A-265                          036183P001-1409A-265                        033579P001-1409A-265
CENTURY LINK                                 CENTURY SOURCING GROUP INC                    CENTURY SOURCING GROUP INC                  CENTURYLINK COMMUNICATIONS
CENTURY BUSINESS SVC                         DAVID HABERT                                  381 5TH AVE 4TH FLOOR                       100 CENTURYLINK DR
PO BOX 52187                                 381 5TH AVE                                   NEW YORK NY 10016                           MONROE LA 71203
PHOENIX AZ 85072-2187                        4TH FL
                                             NEW YORK NY 10016



033580P001-1409A-265                         036895P003-1409A-265                          036895S001-1409A-265                        033581P001-1409A-265
CENTURYLINK COMMUNICATIONS LLC               CENTURYLINK COMMUNICATIONS LLC                CENTURYLINK COMMUNICATIONS LLC              CENTURYLINK SALES SOLUTIONS INC
FKA QWEST COMMUNICATIONS CO LLC              FKA QWEST COMMUNICATIONS CO LLC               FKA QWEST COMMUNICATIONS CO LLC             100 CENTURYLINK DR
100 CENTURYLINK DR                           CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY     CENTURYLINK COMMUNICATIONS LLC              MONROE LA 71203
MONROE LA 71203                              LEGAL BKY                                     220 N 5TH ST
                                             1025 EL DORADO BLVD                           BISMARCK ND 58501
                                             BROOMFIELD CO 80021


036893P002-1409A-265                         036893S001-1409A-265                          036892P002-1409A-265                        036892S001-1409A-265
CENTURYTEL OF SAN MARCOS INC                 CENTURYTEL OF SAN MARCOS INC DBA              CENTURYTEL OF SOUTHERN ALABAMA              CENTURYTEL OF SOUTHERN ALABAMA DBA
DBA CENTURYLINK                              CENTURYLINK                                   DBA CENTURYLINK                             CENTURYLINK
CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY    CENTURYLINK COMMUNICATIONS LLC                CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY   CENTURYLINK COMMUNICATIONS LLC
LEGAL BKY                                    220 N 5TH ST                                  LEGAL BKY                                   220 N 5TH ST
1025 EL DORADO BLVD                          BISMARCK ND 58501                             1025 EL DORADO BLVD                         BISMARCK ND 58501
BROOMFIELD CO 80021                                                                        BROOMFIELD CO 80021


036894P001-1409A-265                         036894S001-1409A-265                          007197P001-1409A-265                        006383P001-1409A-265
CENTURYTEL OF SOUTHWEST MISSOURI             CENTURYTEL OF SOUTHWEST MISSOURI              ERIKA CERDA                                 KIMBERLY T CERNEJGARCIA
DBA CENTURYLINK                              DBA CENTURYLINK                               1702 E TAM O SHANTER ST                     2347 SHADOWOOD DR
CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY    CENTUYRLINK COMMUNICATIONS LLC                ONTARIO CA 91761                            ANN ARBOR MI 48108
LEGAL BKY                                    220 N 5TH ST
1025 EL DORADO BLVD                          BISMARCK ND 58501
BROOMFIELD CO 80021


007162P001-1409A-265                         008905P001-1409A-265                          035546P001-1409A-265                        001025P001-1409A-265
LESLIE K CERON                               JANAHI CERRILLO TAPIA                         TAPIA JANAHI CERRILLO                       GLORIA S CERRITOS
820 VIKING CIR                               8725 19TH ST RD                               8725 19TH ST RD                             24686 MERIT CT
UNIT 403                                     GREELEY CO 80634                              GREELEY CO 80634                            MORENO VALLEY CA 92553-5107
BELLINGHAM WA 98031




031834P001-1409A-265                         003941P001-1409A-265                          008483P001-1409A-265                        000529P001-1409A-265
CERTONA CORP                                 KARINA CERVANTES LABRADA                      LILIANA S CERVANTES LOPEZ                   DIANA CERVANTES VALDIVIA
BRIAN RAULS                                  597 9TH ST                                    123 DETCHON CT                              600 FOURTH AVE
10431 WATERIDGE CIR                          APT 9                                         LAFAYETTE IN 47909                          SAN BRUNO CA 94066
STE 200                                      RICHMOND CA 94801
SAN DIEGO CA 92121
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007913P001-1409A-265         008175P001-1409A-265                000763P001-1409A-265              035547P001-1409A-265
ELIZABETH CERVANTES          JENNIFER CERVANTES                  JESSICA M CERVANTES               LABRADA KARINA CERVANTES
1629 SANDGLASS AVE           418 BISHOP ST                       1004 S C ST                       597 9TH ST
LAS VEGAS NV 89032           HOUSTON TX 77009                    #B                                APT 9
                                                                 OXNARD CA 93030-7559              RICHMOND CA 94801




035548P001-1409A-265         004319P001-1409A-265                035549P001-1409A-265              003804P001-1409A-265
LOPEZ LILIANA S CERVANTES    SUSANA CERVANTES                    VALDIVIA DIANA CERVANTES          YESENIA CERVANTES
123 DETCHON CT               349 BRONSON WAY NE                  600 FOURTH AVE                    10215 HEDRICK AVE
LAFAYETTE IN 47909           RENTON WA 98056                     SAN BRUNO CA 94066                RIVERSIDE CA 92503




009587P001-1409A-265         035550P001-1409A-265                007147P001-1409A-265              001186P001-1409A-265
EMELY R CESPEDES CRUZ        CRUZ EMELY R CESPEDES               GABRIELA M CEVALLOS               CRYSTAL S CHACON
501 SOUTH 8TH ST             501 SOUTH 8TH ST                    11 HALSTED ST                     1100 BRONCO LN
LINDENHURST NY 11757         LINDENHURST NY 11757                D                                 SPRINGDALE AR 72762
                                                                 NEWTON NJ 07860




002105P001-1409A-265         006662P001-1409A-265                005051P002-1409A-265              037102P001-1409A-265
ELIDA D CHACON               PATRICIA CHACON                     BRITTANY R CHAET                  JOSEPH CHAFART
962 REMINGTON DR             9345 RAMON BLVD                     136 S VIRGIL AVE APT 341          13668 CHESHIRE ST
A                            H                                   LOS ANGELES AR 90004-6042         VICTORVILLE CA 92392
SPRINGDALE AR 72764          ROSEMEAD CA 91770




008345P001-1409A-265         008573P001-1409A-265                002455P001-1409A-265              007299P001-1409A-265
REBECCA CHAFFINS             RUTH A CHAHAGUERRERO                BRITTANY CHALLY                   MARIAH CHAMALBIDE
715 WEST MARKET ST           252 E MENOMONEE ST                  8263 ROSSI RD                     3525 WEST CHERRY AVE
APT 301                      519                                 BRENTWOOD TN 37027                VISALIA CA 93277
AKRON OH 44303               MILWAUKEE WI 53202




009667P001-1409A-265         006940P001-1409A-265                002358P001-1409A-265              003491P001-1409A-265
TEAGAN S CHAMBERLIN          CERENA Y CHAMBERS                   LIRHON L CHAMBERS                 RAVEN Z CHAMBERS
8600 N FM 620                21754 NEGAUNEE                      PO BOX 54                         742 SEA WILLOW DR
1822                         SOUTHFIELD MI 48033                 OLIVER GA 30449                   MARION TX 78124
AUSTIN TX 78726




001203P001-1409A-265         031835P001-1409A-265                034339P001-1409A-265              037518P002-1409A-265
MATTHEW J CHAMLEE            CHAMPAGNE COCHRAN                   CHAMPAGNE TROTT MANAGEMENT LLC    CHAMPAIGN MARKET PLACE LLC
1715 E 9TH ST                808 S HOBART BLVD                   8631 WASHINGTON BLVD              AKA MARKET PLACE SHOPPING CENTER
SILVER SPRINGS NV 89429      UNIT #504                           CULVER CITY CA 90232              BROOKFIELD PROPERT REIT INC
                             LOS ANGELES CA 90005                                                  350 N ORLEANS ST STE 300
                                                                                                   CHICAGO IL 60654-1607
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032858P001-1409A-265         032859P001-1409A-265                032860P001-1409A-265              032860S001-1409A-265
CHAMPION ENERGY LLC          CHAMPION ENERGY SVC LLC             CHAMPION ENERGY SVC LLC           CHAMPION ENERGY SVC LLC
#774749                      #774723                             PO BOX 4190                       1500 RANKIN RD
4749 SOLUTIONS CTR           4723 SOLUTIONS CTR                  HOUSTON TX 77210                  SUITE 200
CHICAGO IL 60677             CHICAGO IL 60677                                                      HOUSTON TX 77073




005896P001-1409A-265         003345P001-1409A-265                033435P001-1409A-265              008518P001-1409A-265
CERA CHAN                    LAUREN CHAN                         CHANDELIER CREATIVE INC           AUNDREYA CHANDLER
1324 N 36TH ST               8003 ROCKFORD PL                    CARYL TOWNER                      3759 WHEELER AVE
APT 3                        PLEASANTON CA 94566                 611 BROADWAY STE 900              LOUISVILLE KY 40215
SEATTLE WA 98103                                                 NEW YORK NY 10012




001096P001-1409A-265         002349P001-1409A-265                004557P001-1409A-265              005637P001-1409A-265
ROSITA CHANDLER              APRIL L CHANEY                      MARILYNN A CHANEY                 TENAYA D CHANEY
1325 COMFREY LEAF DR         1210 ELMIRA ST                      3329 GRAYDON DR                   40 NEWELL AVE
BEAUMONT CA 92223            MOBLE AL 36604                      CATTLETSBURG KY 41129             UPPER
                                                                                                   LANCASTER NY 14086




008314P001-1409A-265         008850P001-1409A-265                030532P001-1409A-265              002658P001-1409A-265
CAILYN J CHANG               LESLEY CHANG                        MONICA CHANG                      VALERIE CHAO
15062 RICE CIR               1365 HAZELWOOD ST                   ADDRESS INTENTIONALLY OMITTED     122 MAIDENHAIR TER
HUNTINGTON BEACH CA 92647    ST PAUL MN 55106                                                      SUNNYVALE CA 94086




006242P001-1409A-265         004537P001-1409A-265                036433P001-1409A-265              031224P003-1409A-265
GINA G CHAPA                 GISELLE C CHAPARRO                  CHAPEL HILL MALL REALTY           CHAPEL HILLS REALTY LLC
5092 HONEYSUCKLE AVE         3607 W LUPINE AVE                   2000 BRITTAIN RD STE 830          NAMDAR REALTY GROUP LLC
PORTAGE IN 46368             PHOENIX AZ 85029                    AKRON OH 44310-4303               JOSHUA S HACKMAN
                                                                                                   150 GREAT NECK RD STE 304
                                                                                                   GREAT NECK NY 11021



003659P001-1409A-265         007152P001-1409A-265                003893P001-1409A-265              007175P001-1409A-265
ALEXA L CHAPIN               ASHLEE A CHAPMAN                    DAMONYE CHAPMAN                   DANIELLE CHAPMAN
1120 NEELY AVE               1972 GOLDFINCH WAY                  3019 BRANTLEY RD                  3205 NW 83 ST
MUNCIE IN 47303              MANTECA CA 95337                    BUENA VISTA GA 31803              423
                                                                                                   GAINESVILLE FL 32606




008124P001-1409A-265         002816P001-1409A-265                009464P001-1409A-265              034344P001-1409A-265
EMONNI M CHAPPELL            CHANIQUA G CHAPPLE                  MERCEDEZ R CHARETTE               CHARLES MALL COLP
28 MILLICENT AVE             1710 CONCORD CT                     561 SCHILLER ST                   867645 RELIABLE PKWY
BUFFALO NY 14215             APT 302                             414                               CHICAGO IL 60686-0076
                             KANSAS CITY MO 64110                SUN PRARIE WI 53590
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031836P001-1409A-265                  007979P001-1409A-265                               010549P001-1409A-265                 031225P001-1409A-265
CHARLES SHEPP                         TYQUANNA CHARLES                                   CHARLESTON COUNTY TREASURER          CHARLESTOWN TOWN CTR SPE, LLC
4775 REDBROOK CT                      2674 HOLLYBROOK DR                                 PO BOX 603517                        CHARLESTON TOWN CENTER
SAN DIEGO CA 92117-3353               MOBILE AL 36605                                    CHARLOTTE NC 28260-3517              CBRE INC
                                                                                                                              3000 CHARLESTON TOWN CTR
                                                                                                                              CHARLESTON WV 25389



009925P001-1409A-265                  032861P001-1409A-265                               032861S001-1409A-265                 033854S001-1409A-265
CHARLOTTE COUNTY TAX COLLECTOR        CHARLOTTE COUNTY UTILITIES                         CHARLOTTE COUNTY UTILITIES           CHARLOTTE COUNTY UTILITIES
18500 MURDOCK CIR                     PO BOX 516000                                      25550 HARBORVIEW RD                  COUNTY BOARD OF COUNTY COMMISSIONERS
PORT CHARLOTTE FL 33948-1075          PUNTA GORDA FL 33951                               STE 1                                MARILYN W MILLER
                                                                                         PUNTA GORDA FL 33980                 18500 MURDOCK CIR
                                                                                                                              PT CHARLOTTE FL 33948



034465P001-1409A-265                  037566P002-1409A-265                               031226P001-1409A-265                 033470P001-1409A-265
CHARLOTTE OUTLETS LLC                 CHARLOTTE OUTLETS LLC                              CHARLOTTE PREMIUM OUTLETS            CHARLOTTE RUSSE
PO BOX 826509                         A DELAWARE LIMITED LIABILITY CO                    CHARLOTTE OUTLETS LLC                ACCOUNT # 4603-793944
PHILADELPHIA PA 19182-6509            SIMON PROPERTY GROUP LP RONALD M TUCKER            PO BOX 826509                        5910 PCF CTR BLVD
                                      225 WEST WASHINGTON ST                             PHILADELPHIA PA 19182-6509           # 120
                                      INDIANAPOLIS IN 46204                                                                   SAN DIEGO CA 92121



036142P001-1409A-265                  036882P001-1409A-265                               036143P001-1409A-265                 036145P001-1409A-265
CHARLOTTE RUSSE ADMINISTRATION INC    CHARLOTTE RUSSE ADMINISTRATION INC                 CHARLOTTE RUSSE HOLDING INC          CHARLOTTE RUSSE INC
5910 PACIFIC CTR BLVD                 575 FLORIDA ST                                     5910 PACIFIC CTR BLVD                5910 PACIFIC CTR BLVD
SAN DIEGO CA 92121                    SAN FRANCISCO CA 94110                             SAN DIEGO CA 92121                   SAN DIEGO CA 92121




036881P001-1409A-265                  036144P001-1409A-265                               036883P001-1409A-265                 031227P001-1409A-265
CHARLOTTE RUSSE INC                   CHARLOTTE RUSSE MERCHANDISING INC                  CHARLOTTE RUSSE MERCHANDISING INC    CHARLOTTESVILLE FASHION SQUARE
575 FLORIDA ST                        5910 PACIFIC CTR BLVD                              575 FLORIDA ST                       3339 PAYSPHERE CIR
SAN FRANCISCO CA 94110                SAN DIEGO CA 92121                                 SAN FRANCISCO CA 94110               CHICAGO IL 60674




034254P001-1409A-265                  036976P001-1409A-265                               036976S001-1409A-265                 003654P001-1409A-265
CHARLOTTESVILLE FASHION SQUARE LL     CHARLOTTESVILLE FASHION SQUARE LLC                 CHARLOTTESVILLE FASHION SQUARE LLC   NIOMI M CHARMANT
3339 PAYSPHERE CIR                    WASHINGTON PRIME GROUP INC                         WASHINGTON PRIME GROUP INC           1505 LINDSEY DR
CHICAGO IL 60674                      FROST BROWN TODD LLC                               STEPHEN E IFEDUBA                    COPPERAS COVE TX 76522
                                      301 E FOURTH ST                                    180 E BROAD ST
                                      CINCINNATI OH 45202                                COLUMBUS OH 43215



003320P001-1409A-265                  007356P001-1409A-265                               036946P001-1409A-265                 009904P001-1409A-265
LISA M CHARQUENO                      KEISHLA CHARRIEZ                                   CHARTER COMMUNICATIONS               CHARTER TOWNSHIP OF FLINT
9712 NE 2ND PL                        CALLE 9 263 URB JARDINES DE T                      SMB CREDIT SVC                       1490 S DYE RD
OKLAHOMA CITY OK 73127                TOA ALTA PR 00953                                  1600 DUBLIN RD                       FLINT MI 48532
                                                                                         COLUMBUS OH 43215
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032862P001-1409A-265                     032862S001-1409A-265                    006578P001-1409A-265          033584P001-1409A-265
CHARTER TOWNSHIP OF MERIDIAN             CHARTER TOWNSHIP OF MERIDIAN            SAMANTHA M CHARTIER           CHARTIS INSURANCE
UTILITY BILLING DEPT                     5151 MARSH RD                           30 WALES RD                   300 SOUTH RIVERSIDE PLZ
PO BOX 1400                              OKEMOS MI 48864                         MONSON MA 01057               STE 2100
OKEMOS MI 48805                                                                                                CHICAGO IL 60606




033585P001-1409A-265                     033586P001-1409A-265                    033587P001-1409A-265          004151P001-1409A-265
CHARTIS INSURANCE / NYA INTERNATIONAL    CHARTIS WORLD SOURCE                    CHASE PAYMENTECH              CHEYANNE N CHASE
300 SOUTH RIVERSIDE PLZ                  300 SOUTH RIVERSIDE PLZ                 4 NORTHEASTERN BLVD           19461 JENA DR
STE 2100                                 STE 2100                                SALEM NH 03079                NOBLESVILLE IN 46062
CHICAGO IL 60606                         CHICAGO IL 60606




002416P001-1409A-265                     010203P001-1409A-265                    008747P001-1409A-265          004540P001-1409A-265
TORIE CHASE                              CHATHAM COUNTY TAX                      ABBY M CHATMAN                CIERRA A CHATMAN
1319 GLENWOOD CT                         COMMISSIONER                            11 CONESTOGA CT               532 A PRT GIBSON ST
FREMONT NE 68025                         PO BOX 117037                           OFALLON MO 63368              RAYMOND MS 39154
                                         ATLANTA GA 30368-7037




035551P001-1409A-265                     007050P001-1409A-265                    003909P001-1409A-265          010478P001-1409A-265
CIERRA A CHATMAN                         SHANTERIA T CHATMAN                     LAURA E CHATMON               CHATTANOOGA CITY TREASURER
532 A PORT GIBSON ST                     1905 PALOMINO CT                        464 ROCKY CREEK RD            PO BOX 191
RAYMOND MS 39154                         MACON GA 31220                          HAMPTON GA 30228              CHATTANOOGA TN 37401-0191




032679P001-1409A-265                     005247P001-1409A-265                    004706P002-1409A-265          036481P001-1409A-265
CHATTANOOGA CITY TREASURER               MARIUM H CHAUDHRY                       VERONICA P CHAVARRIA          ELAINE L CHAVERS
CITY OF CHATTANOOGA                      5453 EAST 71ST ST                       206 WATER ST APT 22103        3150 HIDDEN POND DR
PO BOX 191                               144                                     WEBSTER TX 77598-5365         RALEIGH NC 27613-3951
CHATTANOOGA TN 37401-0191                TULSA OK 74136




005992P001-1409A-265                     002618P001-1409A-265                    007330P001-1409A-265          000893P001-1409A-265
JORGE CHAVEZ JR                          ANA C CHAVEZ                            ANDREA G CHAVEZ               BRENDA J CHAVEZ
373 NORTH 13TH ST                        730 ALWIN DR                            7761 LOS GATOS DR             17413 HORST AVE
APT 23                                   DIXON CA 95620                          DALLAS TX 75232               ARTESIA CA 90701
BRAWLEY CA 92227




006012P001-1409A-265                     002739P001-1409A-265                    005507P001-1409A-265          036515P001-1409A-265
BRIANNA N CHAVEZ                         DAISY D CHAVEZ                          ELISA A CHAVEZ                GABRIELA CHAVEZ
167 MORSE PL 1ST FL                      4300 SNAPDRAGON LN                      2708 ANDREA LN                3401 BAY BREEZOR
A                                        BAKERSFIELD CA 93304                    DALLAS TX 75228               SEABROOK TX 77586
ENGLEWOOD NJ 07631
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003555P001-1409A-265                    035552P001-1409A-265                            001340P001-1409A-265              007269P001-1409A-265
ISAMARY CHAVEZ                          JR JORGE CHAVEZ                                 LINA CHAVEZ                       MELINA D CHAVEZ
1334 PROGRESO DR                        373 NORTH 13TH ST                               10636 HANSELMAN RD                12200 SE MCLOUGHLIN BLVD APT 7
HOUSTON TX 77038                        APT #23                                         MANVEL TX 77578-5537              APT 7102
                                        BRAWLEY CA 92227                                                                  MILWAUKIE OR 97222




007012P001-1409A-265                    004322P001-1409A-265                            035553P001-1409A-265              036817P001-1409A-265
PERLA C CHAVEZ                          VELIA A CHAVEZ                                  VELIA A CHAVEZ                    VERONICA CHAVEZ
726 N HAYES                             1280 N CITRUS AVE APT                           329 CALLE MARIPOSA                1000 BROWARD RD #1715
AMARILLO TX 79107                       #36                                             OCEANSIDE CA 92057                JACKSONVILLE FL 32218
                                        VISTA CA 92084




006444P001-1409A-265                    030512P001-1409A-265                            003959P001-1409A-265              034466P001-1409A-265
YERALI S CHAVEZ                         MATTHEW B CHAVIS                                ANNA M CHEJIN                     CHELSEA PACONO FINANCE LLC
10810 TELEPHONE RD #302                 ADDRESS INTENTIONALLY OMITTED                   162 SEASIDE AVE                   CHELSEA POCONO FINANCE LLC
HOUSTON TX 77075                                                                        STAMFORD CT 06902                 PO BOX 827653
                                                                                                                          PHILADELPHIA PA 19182-7653




033238P001-1409A-265                    001277P001-1409A-265                            030367P001-1409A-265              035554P001-1409A-265
TIFFANY CHIAN-ROU CHEN                  IRENE CHENG                                     IRENE CHENG                       KAYLEE A CHERBONNEAU
TIFFANY CHEN CONSULTING                 1200 LN ST                                      ADDRESS INTENTIONALLY OMITTED     34 WILLOW ST APT 2
TIFFANY CHEN                            BELMONT CA 94002                                                                  NASHUA NH 03060
101 OLD CASTLE LN
ALAMEDA CA 94502



002071P001-1409A-265                    009985P001-1409A-265                            031837P002-1409A-265              036435P001-1409A-265
NICOLE CHERNOSKE                        CHEROKEE COUNTY TAX                             CHERRY DESIGN PARTNERS            CHERRY DESIGN PARTNERS LLC
17882 W VALENTINE ST                    SONYA LITTLE                                    VITTORIA DI ROSA                  147 WEST 35TH ST STE #307
SURPRISE AZ 85388-5015                  2780 MARIETTA HWY                               147 WEST 35TH STREET SUITE #307   NEW YORK NY 10001
                                        CANTON GA 30114                                 NEW YORK NY 10001




031228P002-1409A-265                    031228S001-1409A-265                            009859P001-1409A-265              031838P001-1409A-265
CHERRY HILL CENTER LLC                  CHERRY HILL CENTER LLC                          CHERRY HILL FIRE DEPT             CHERRY HILL TOWNSHIP
KURTZMAN STEADY LLC                     PREIT SERVICES LLC                              1100 MARLKRESS RD                 820 MERCER ST
JEFFREY KURTZMAN                        CHRISTIANA UY                                   CHERRY HILL NJ 08003              CHERRY HILL NJ 08002
401 S 2ND ST STE 200                    200 S BROAD ST 3RD FL
PHILADELPHIA PA 19147                   PHILADELPHIA PA 19102



031229P002-1409A-265                    031229S001-1409A-265                            010471P001-1409A-265              036729P001-1409A-265
CHERRYVALE MALL LLC                     CHERRYVALE MALL LLC                             CHESAPEAKE TREASURER              RENETTA CHESTER
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            BARBARA O CARRAWAY TREASURER      970 WENDY HILL RD SOUTHEAST
GARY RODDY                              CALEB HOLZAEPFEL                                PO BOX 1606                       SMYRNA GA 30080
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                         CHESAPEAKE VA 23327-1606
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402
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032863P001-1409A-265          032863S001-1409A-265                    010429P001-1409A-265            029826P001-1409A-265
CHESTERFIELD COUNTY           CHESTERFIELD COUNTY                     CHESTERFIELD COUNTY, VIRGINIA   CHESTNUT ST PROPERTIES (LANDLORD)
DEPT OF UTILITIES             9901 LORI RD                            PO BOX 71111                    CHESTNUT STREET PROPERTIES
PO BOX 26725                  CHESTERFIELD VA 23832                   CHARLOTTE NC 28272-1111         MARK BORSUK INC
RICHMOND VA 23261                                                                                     1626 VALLEJO ST
                                                                                                      SAN FRANCISCO CA 94123



031230P001-1409A-265          035066P001-1409A-265                    003811P001-1409A-265            008464P001-1409A-265
CHESTNUT STREET PROPERTIES    CHESTNUT STREET PROPERTIES              MELODY CHEUNG                   SHAINA J CHEUNG
MARK BORSUK INC               C O MARK BORSUK INC                     1501 39TH AVE                   89-11 GOLD RD
1626 VALLEJO ST               1626 VALLEJO ST                         SAN FRANCISCO CA 94122          OZONE PARK NY 11417
SAN FRANCISCO CA 94123        SAN FRANCISCO CA 94123




005154P001-1409A-265          004154P001-1409A-265                    009137P001-1409A-265            009875P001-1409A-265
ERIN M CHEVERIE               VANESSA M CHEVEZ                        VALERIE L CHIA                  CHICAGO DEPT OF REVENUE
198 ABBOTT ST                 2440 ROCKY BROOK ST                     1701 E COTATI AVE #502          121 N LASALLE - RM 107
NORTH ANDOVER MA 01845        NORTH LAS VEGAS NV 89030                ROHNER PARK CA 94928            CHICAGO IL 60602




009956P001-1409A-265          030922P001-1409A-265                    004128P003-1409A-265            031839P001-1409A-265
CHICAGO DEPT OF REVENUE       CHICAGO REVIEW PRESS DBA IPG            ELIZABETH CHICO                 CHILD CRISIS ARIZONA
22149 NETWORK PL              814 N FRANKLIN                          1819 W CHEYENNE DR              817 N COUNTRY CLUB DR
CHICAGO IL 60673-1221         CHICAGO IL 60610                        CHANDLER AZ 85224-1854          MESA AZ 85201




033588P001-1409A-265          005811P001-1409A-265                    000508P001-1409A-265            006697P001-1409A-265
CHILDREN'S APPAREL            RAELYN M CHILDRES                       EMILY P CHILDRESS               EMMA R CHIMAL
31 WEST 34TH ST               234 ESTANAULA RD                        1803 TYTUS AVE                  352 N LEXINGTON AVE
11TH FLOOR                    COLLIERVILLE TN 38017                   MIDDLETOWN OH 45042             LE CENTER MN 56057
NEW YORK NY 10001




004697P001-1409A-265          035555P001-1409A-265                    001454P001-1409A-265            002973P001-1409A-265
SOPHIA CHIMENTI               SOPHIA CHIMENTI                         MARINA CHING                    MELISSA CHINO
15 GDN LN                     15 GARDEN LN                            84 CARPENTER ST                 25 ELIZABETH RD
YAPHANK NY 11980              YAPHANK NY 11980                        ATTLEBORO MA 02703              MERIDEN CT 06450




006561P001-1409A-265          007907P001-1409A-265                    006382P001-1409A-265            005405P001-1409A-265
PUJA CHIRNOMULA               ALEXIA CHISHOLM                         BEVERLY Y CHISHOLM              TAMARI M CHISHOLM
93 SMITH ST                   18 OLIVIA ST                            111 EAST MELL ST                7600 SHOREFRONT PKWY
BRIDGEPORT CT 06607           WYANDANCH NY 11798                      APT 15                          5O
                                                                      POOLER GA 31322                 ARVERNE NY NY 11692
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006956P001-1409A-265             035556P001-1409A-265                002640P001-1409A-265              005679P001-1409A-265
CHANTAL S CHITMAN                CHANTAL S CHITMAN                   PENNY CHITTAPHONG                 AMBER CHO
1982 DOWNING ST                  8100 PINES RD APT 26D               41 SUFFOLK DR                     356 SUWANEE EAST DR
SHREVEPORT LA 71107              SHREVEPORT LA 71129                 EAST HARTFORD CT 06118            LAWRENCEVILLE GA 30043




001160P001-1409A-265             008491P001-1409A-265                008734P001-1409A-265              008384P001-1409A-265
JESSICA CHO                      LAUREN L CHOATE                     BELINDA CHOI                      WONSEOK CHOI
1037 HOWELL PL APT 303           10498 FM 421                        152 ALBION ST                     201 PINEY PT RD
AURORA IL 60505                  KOUNTZE TX 77625                    SAN FRANCISCO CA 94110            YORKTOWN VA 23692




033465P001-1409A-265             000939P001-1409A-265                004836P001-1409A-265              003472P001-1409A-265
CHOKE INDUSTRIES LLC             SHARON C CHONG                      ALEXANDRIA M CHOPPY               NAZIFA CHOUDHURY
CHOKE INDUSTRIES INC             111 BIGLER DR                       276 OLD LOUDON RD                 3884 STONE POINTE WAY
MATT THOMPSON                    WILLIAMSBURG VA 23185               APT 12A                           PLEASANTON CA 94588
920 S HOLGATE ST                                                     LATHAM NY 12110
# 109
SEATTLE WA 98134


002478P001-1409A-265             006751P001-1409A-265                037922P002-1409A-265              003773P001-1409A-265
MALA CHOUM                       HARRY CHOW                          PATRICIA CHOY                     PORSHA CHOY
2108 SW 5TH ST                   423 ATHENS ST                       400 HOBRON LANE #3212             1721 E 42ND ST
BATTLEGROUND WA 98604            SAN FRANCISCO CA 94112              HONOLULU HI 96815                 TACOMA WA 98404




033418P001-1409A-265             031841P001-1409A-265                004586P001-1409A-265              007978P001-1409A-265
CHRIS BUCK                       CHRIS MOORE                         JASMIN J CHRIS                    LILLIAN P CHRISTEN
5176 GARAND DR                   1224 12TH ST 17                     4423 DEEBOYAR AVE                 507 SMILEY AVE
WESTERVILLE OH 43081             SANTA MONICA CA 90401               LAKEWOOD CA 90712                 SPRINGDALE OH 45246




004480P001-1409A-265             006588P001-1409A-265                030641P001-1409A-265              006372P001-1409A-265
LOGAN G CHRISTENSEN              ELEANORE R CHRISTIAN                TEMEKIA CHRISTIAN                 TEMEKIA W CHRISTIAN
2040 BRYN MAWR DR                2906 WASHBURN AVE N                 ADDRESS INTENTIONALLY OMITTED     6229 THOMASTON RD APT 1308
AURORA IL 60506                  MINNEAPOLIS MN 55411                                                  MACON GA 31220




030923P001-1409A-265             000926P001-1409A-265                004661P001-1409A-265              010615P001-1409A-265
CHRISTINE KIMS LLC DBA LITTLE    AMBER CHRISTOPHER                   CONNING CHU                       CHUBB BERMUDA INSURANCE LTD
CHRISTINE KIM                    408 KENNISON AVE                    633 WREDE WAY                     KKR
576 FIFTH AVE                    NEW CARLISLE OH 45344               WEST COVINA CA 91791              JEREMIAH LANE
STE 903                                                                                                17 WOODBOURNE AVE
NEW YORK NY 10036                                                                                      HAMILTON HM 08
                                                                                                       BERMUDA
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010616P001-1409A-265                       037499P001-1409A-265                      031231P001-1409A-265                         000971P001-1409A-265
CHUBB TEMPEST REINSURANCE LTD              CHULA VISTA CENTER LP                     CHULA VISTA CENTER, LLC                      SAMNOUN CHUM
KKR                                        BROOKFIELD PROPERTY REIT INC              GGPHOMART INC                                110 FORD ST
JEREMIAH LANE                              JULIE M BOWDEN                            GENERAL COUNSEL                              APT1
17 WOODBOURNE AVE                          350 N ORLEANS ST STE 300                  CO ROUSE PROPERTIES LLC                      PROVIDENCE RI 02909
HAMILTON HM 08                             CHICAGO IL 60654-1607                     200 VESEY ST 25TH FL
BERMUDA                                                                              NEW YORK NY 10281


002796P001-1409A-265                       034114P001-1409A-265                      005539P001-1409A-265                         002257P001-1409A-265
TIERI V CHUN                               CATHERINE CHUNG                           JANICE CHUQUITAYPE                           GABRIELLA L CHURCH
2125 ALA MAHAMOE ST                        10-50 JACKSON AVE                         1 NEW YORK AVE                               85 OEHMAN BLVD
HONOLULU HI 96819                          APT 2D                                    WHITE PLAINS NY 10606                        CHEEKTOWAGA NY 14225-2117
                                           LONG ISLAND CITY NY 11101




002297P001-1409A-265                       036583P001-1409A-265                      031842P001-1409A-265                         001736P001-1409A-265
TRESSA A CICCI                             KAREN CIENA                               CIGNA HEALTH AND LIFE INSURANCE CO (CHLIC)   ALEXIS N CIGNA
805 HILLTOP DR                             5355 SUGARLOAD PKWY APT 901               5476 COLLECTION CTR DR                       25 WARWICK DR
JESSUP PA 18434                            LAWRENCEVILLE GA 30043                    CHICAGO IL 60693-0054                        MANALAPAN NJ 07726-3638




031232P001-1409A-265                       003497P001-1409A-265                      005390P001-1409A-265                         005867P001-1409A-265
CIII GECMC05-C1                            CARMELA CILENTI                           DESTINY M CILIBERTI                          NAOMI CIMMINO
LAKESIDE MALL                              3877 HYLAN BLVD                           440 BROOKLYN AVE                             8582 BELLER CT
14000 LAKESIDE CIR                         STATEN ISLAND NY 10308                    APT 4F                                       DARIEN IL 60561
STERLING HEIGHTS MI 48313                                                            BROOKLYN NY 11225




033589P001-1409A-265                       031233P001-1409A-265                      031843P001-1409A-265                         031844P001-1409A-265
CINCINNATI BELL TELEPHONE CO LLC           CINCINNATI PREMIUM OUTLETS LLC            CINTAS CORP #150                             CINTAS CORP #470
221 EAST FOURTH ST                         SIMON PROPERTY GROUP LP                   PO BOX 29059                                 PO BOX 88005
PO BOX 2301                                PO BOX 824014                             PHOENIX AZ 85038-9059                        CHICAGO IL 60680-1005
CINCINNATI OH 45201                        PHILADELPHIA PA 19182-4014




031845P001-1409A-265                       031846P001-1409A-265                      033270P001-1409A-265                         031234P001-1409A-265
CINTAS CORP #630                           CINTAS CORP #769                          CINTIA HEIDI NOJIMA                          CIRCLE CENTRE MALL LLC
PO BOX 29059                               PO BOX 88005                              1384 31ST AVE                                866980 RELIABLE PKWY
PHOENIX AZ 85038-9059                      CHICAGO IL 60680                          SAN FRANCISCO CA 94122                       CHICAGO IL 60686-0069




037567P002-1409A-265                       010247P001-1409A-265                      033493P001-1409A-265                         002761P001-1409A-265
CIRCLE CENTRE MALL LLC                     CIRCUIT COURT FOR WICOMICO                CISCO SYSTEMS CAPITAL CORP                   ADILENE CISNEROS
A DELAWARE LIMITED LIABILITY COMPANY       COUNTY OFFICE OF THE CLERK                PROPERTY TAX ALLIANCE                        567 S K ST
SIMON PROPERTY GROUP LP RONALD M TUCKER    PO BOX 198                                PO BOX 171168                                SAN BERNARDINO CA 92410
225 WEST WASHINGTON ST                     SALISBURY MD 21803                        SAN ANTONIO TX 78217
INDIANAPOLIS IN 46204
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002961P001-1409A-265                  007929P001-1409A-265                       032864P001-1409A-265               032864S001-1409A-265
JENNIFER CISNEROS                     TANAIRI M CISNEROS                         CITIZENS GAS                       CITIZENS GAS
1407 N 37TH AVE                       6952 S FAIRFIELD                           PO BOX 7056                        2020 NORTH MERIDIAN ST
PHOENIX AZ 85009                      CHICAGO IL 60629                           INDIANAPOLIS IN 46207              INDIANAPOLIS IN 46202




032865P001-1409A-265                  032865S001-1409A-265                       036913P001-1409A-265               031235P001-1409A-265
CITIZENS WATER                        CITIZENS WATER                             CITRUS PARK MALL OWNER LLC         CITRUS PARK VENTURE
PAYMENT PROCESSING CENTER             2020 NORTH MERIDIAN ST                     LECLAIRRYAN PLLC                   PO BOX 532627
PO BOX 1990                           INDIANAPOLIS IN 46202                      NICLAS A FERLAND                   ATLANTA GA 30353-2627
INDIANAPOLIS IN 46206                                                            545 LONG WHARF DR 9TH FL
                                                                                 NEW HAVEN CT 06511



009901P001-1409A-265                  032680P001-1409A-265                       031847P001-1409A-265               010562P001-1409A-265
CITY AND COUNTY OF DENVER             CITY AND COUNTY OF DENVER                  CITY AND COUNTY OF SAN FRANCISCO   CITY AND COUNTY TAX COLLECTOR
DEPT OF REVENUE                       MANAGER OF FINANCE                         1 DR CARLTON B GOODLETT            PO BOX 7426
144 WEST COLFAX AVE                   PO BOX 650781                              PLACE                              SAN FRANCISCO CA 94120-7426
DENVER CO 80217-0430                  DALLAS TX 75265-0781                       SAN FRANCISCO CA 94102




034558P001-1409A-265                  034558S001-1409A-265                       034559P001-1409A-265               034560P001-1409A-265
CITY ATTORNEY FOR ALGONQUIN IL        CITY ATTORNEY FOR ALGONQUIN IL             CITY ATTORNEY FOR ALTOONA PA       CITY ATTORNEY FOR ANHAPOLIS MD
LEGAL DEPT                            KANE COUNTY ATTORNEY                       LEGAL DEPT                         LEGAL DEPT
2200 HARNISH DR                       540 RANDALL RD                             1301 TWELFTH ST                    160 DUKE OF GLOUCESTER ST
ALGONQUIN IL 60102                    ST CHARLES IL 60174                        ALTOONA PA 16601                   ANNAPOLIS MD 21401




034561P001-1409A-265                  034561S001-1409A-265                       034562P001-1409A-265               034562S001-1409A-265
CITY ATTORNEY FOR ARVIN CA            CITY ATTORNEY FOR ARVIN CA                 CITY ATTORNEY FOR ASHLAND KY       CITY ATTORNEY FOR ASHLAND KY
LEGAL DEPT                            KERN COUNTY DISTRICT ATTORNEY              LEGAL CITY CLERK                   CITY OF ASHLAND KY
200 CAMPUS DR                         1215 TRUXTUN AVE                           1700 GREENUP AVE                   1021 CARTER AVE
ARVAN CA 93203                        BAKERSFIELD CA 93301                       ASHLAND KY 41101                   ASHLAND KY 41101




034563P001-1409A-265                  034564P001-1409A-265                       034565P001-1409A-265               034566P001-1409A-265
CITY ATTORNEY FOR ATLANTIC CITY NJ    CITY ATTORNEY FOR AUBURN WA                CITY ATTORNEY FOR BEL AIR MD       CITY ATTORNEY FOR BLOOMINGTON MN
LEGAL DEPT                            LEGAL DEPT                                 LEGAL DEPT                         LEGAL DEPT
1301 BACHARACH BLVD                   25 W MAIN ST                               39 N HICKORY AVE                   1800 WEST OLD SHAKOPEE RD
ATLANTIC CITY NJ 08401                AUBURN WA 98001                            BEL AIR MD 21014                   BLOOMINGTON MN 55431-3027




034567P001-1409A-265                  034568P001-1409A-265                       034569P001-1409A-265               034570P001-1409A-265
CITY ATTORNEY FOR BROOKFIELD WI       CITY ATTORNEY FOR BURNSVILLE MN            CITY ATTORNEY FOR CAMBRIDGE MA     CITY ATTORNEY FOR CEDAR HILL TX
LEGAL DEPT                            LEGAL DEPT                                 CITY SOLLICITOR                    LEGAL DEPT
2000 NORTH CALHOUN RD                 100 CIVIC CENTER PKWY                      795 MASSACHUSETTS AVE              285 UPTOWN BLVD
BROOKFIELD WI 53005                   BURNSVILLE MN 55337                        CAMBRIDGE MA 02139                 CEDAR HAILL TX 75104
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034571P001-1409A-265                   034572P001-1409A-265                         034573P001-1409A-265                034574P001-1409A-265
CITY ATTORNEY FOR CHATTANOOGA TN       CITY ATTORNEY FOR CINCINNATI OH              CITY ATTORNEY FOR COMMERCE GA       CITY ATTORNEY FOR CULVER CITY CA
LEGAL DEPT                             LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
100 E 11TH ST STE 200                  801 PLUM ST                                  PO BOX 348                          9770 CULVER BLVD
2ND FLOOR CITY HALL ANNEX              CINCINNATI OH 45202                          COMMERCE GA 30529                   CULVER CITY CA 90232
CHATTANOOGA TN 37402



034575P001-1409A-265                   034576P001-1409A-265                         034577P001-1409A-265                034554P001-1409A-265
CITY ATTORNEY FOR DALY CITY CA         CITY ATTORNEY FOR DEARBORN MI                CITY ATTORNEY FOR DOUGLASVILLE GA   CITY ATTORNEY FOR DULLES VA
LEGAL DEPT                             LEGAL DEPT                                   LEGAL                               COUNTY OF FAIRFAX DISTRICT ATTORNEY
333 90TH ST                            16901 MICHIGAN AVE                           6695 CHURCH ST                      12000 GOVERNMENT CTR PKWY
DALY CITY CA 94015                     DEARBORN MI 48126                            DOUGLASVILLE GA 30134               FAIRFAX VA 22035




034578P001-1409A-265                   034579P001-1409A-265                         034580P001-1409A-265                034581P001-1409A-265
CITY ATTORNEY FOR EAST BRUNSWICK NJ    CITY ATTORNEY FOR EUGENE OR                  CITY ATTORNEY FOR FAIRFIELD CA      CITY ATTORNEY FOR FLORENCE AL
LEGAL DEPT                             LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
1 JEAN WALLING CIVIC CTR DR            125 EAST 8TH AVE                             1000 WEBSTER ST                     PO BOX 877
EAST BRUNSWICK NJ 08816                SECOND FL                                    FAIRFIELD CA 94533                  FLORENCE AL 35631
                                       EUGENE OR 97401



034582P001-1409A-265                   034583P001-1409A-265                         034584P001-1409A-265                034585P001-1409A-265
CITY ATTORNEY FOR FLORENCE SC          CITY ATTORNEY FOR FORT WORTH TX              CITY ATTORNEY FOR FREDERICK MD      CITY ATTORNEY FOR GAITHERSBURG MD
SOLICITOR                              LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
180 NORTH IRBY ST                      200 TEXAS ST                                 101 NORTH COURT ST                  31 S SUMMIT AVE
FLORENCE SC 29501                      FORT WORTH TX 76102                          FREDERICK MD 21701                  GAITHERSBURG MD 20877-2038




034586P001-1409A-265                   034553P001-1409A-265                         034587P001-1409A-265                034588P001-1409A-265
CITY ATTORNEY FOR GASTONIA NC          CITY ATTORNEY FOR GLENDALE NY                CITY ATTORNEY FOR GLENDALE WI       CITY ATTORNEY FOR GRAND JUNCTION CO
LEGAL DEPT                             LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
181 S SOUTH ST                         125-01 QUEENS BLVD                           5909 NORTH MILWAUKEE RIVER PKWY     250 N 5TH ST
STE 200                                KEWS GARDEN NY 11415                         GLENDALE WI 53209                   GRAND JUNCTION CO 81501
GASTONIA NC 28052



034589P001-1409A-265                   034590P001-1409A-265                         034591P001-1409A-265                034592P001-1409A-265
CITY ATTORNEY FOR HAGERSTOWN MD        CITY ATTORNEY FOR HOBART IN                  CITY ATTORNEY FOR HOWELL MI         CITY ATTORNEY FOR IRVINE CA
LEGAL DEPT                             LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
1 E FRANKLIN ST                        414 MAIN ST                                  611 E GRAND RIVER                   1 CIVIC CTR PLZ
HAGERSTOWN MD 21740                    HOBART IN 46342                              HOWELL MI 48843                     PO BOX 19575
                                                                                                                        IRVINE CA 92623-9575



034593P001-1409A-265                   034594P001-1409A-265                         034595P001-1409A-265                034596P001-1409A-265
CITY ATTORNEY FOR JACKSONVILLE FL      CITY ATTORNEY FOR JOHNSON CITY TN            CITY ATTORNEY FOR JOLIET IL         CITY ATTORNEY FOR KAHULUI HI
LEGAL DEPT                             LEGAL DEPT                                   LEGAL DEPT                          LEGAL DEPT
117 WEST DUVAL ST                      601 E MAIN ST                                150 W JEFFERSON ST                  700 HALIA NAKOA ST UNIT 1A
JACKSONVILLE FL 32202                  JOHNSON CITY TN 37604                        JOLIET IL 60432                     WAILUKU HI 96793
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034597P001-1409A-265                  034598P001-1409A-265                        034599P001-1409A-265                 034600P001-1409A-265
CITY ATTORNEY FOR KANEOHE HI          CITY ATTORNEY FOR KANSAS CITY MO            CITY ATTORNEY FOR KINGSTON MA        CITY ATTORNEY FOR LA MESA CA
LEGAL DEPT                            LEGAL DEPT                                  LEGAL DEPT                           LEGAL DEPT
45-480 KANEOHE BAY DR                 414 EAST 12TH ST                            26 EVERGREEN ST                      8130 ALLISON AVE
KANEOHE HI 96744                      28TH FLOOR CITY HALL                        KINGSTON MA 02364                    LA MESA CA 91942
                                      KANSAS CITY MO 64106



034600S001-1409A-265                  034601P001-1409A-265                        034602P001-1409A-265                 034603P001-1409A-265
CITY ATTORNEY FOR LA MESA CA          CITY ATTORNEY FOR LEDYARD CT                CITY ATTORNEY FOR LEE'S SUMMIT MO    CITY ATTORNEY FOR LINCOLNWOOD IL
SAN DIEGO COUNTY DISTRICT ATTORNEY    LEGAL DEPT                                  LEGAL DEPT                           LEGAL DEPT
2851 MEADOW LARK DR                   741 COLONEL LEDYARD HWY                     220 SOUTH GREEN                      6900 N LINCOLN AVE
SAN DIEGO CA 92123                    LEDYARD CT 06339-1511                       LEE'S SUMMIT MO 64063                LINCOLNWOOD IL 60712




034604P001-1409A-265                  034605P001-1409A-265                        034606P001-1409A-265                 034555P001-1409A-265
CITY ATTORNEY FOR LOMBARD IL          CITY ATTORNEY FOR MADISON WI                CITY ATTORNEY FOR MASSAPEQUA NY      CITY ATTORNEY FOR MC LEAN VA
LEGAL DEPT                            LEGAL DEPT                                  LEGAL DEPT                           COUNTY OF FAIRFAX DISTRICT ATTORNEY
255 E WILSON AVE                      2120 FISH HATCHERY RD                       977 HICKSVILLE RD                    12000 GOVERNMENT CTR PKWY
LOMBARD IL 60148                      MADISON WI 53713                            MASSAPEQUA NY 11758                  FAIRFAX VA 22035




034607P001-1409A-265                  034609P001-1409A-265                        034610P001-1409A-265                 034611P001-1409A-265
CITY ATTORNEY FOR MENTOR OH           CITY ATTORNEY FOR MILFORD CT                CITY ATTORNEY FOR MOORESTOWN NJ      CITY ATTORNEY FOR MORGANTOWN WV
LEGAL DEPT                            LEGAL DEPT                                  LEGAL DEPT                           LEGAL DEPT
8500 CIVIC CENTER BLVD                110 RIVER ST                                111 W 2ND ST                         389 SPRUCE ST
MENTOR OH 44060                       MILFORD CT 06460                            MOORESTOWN NJ 08057                  ROOM 6
                                                                                                                       MORGANTOWN WV 26505



034612P001-1409A-265                  034557P001-1409A-265                        034613P001-1409A-265                 034614P001-1409A-265
CITY ATTORNEY FOR MYRTLE BEACH SC     CITY ATTORNEY FOR NANUET NY                 CITY ATTORNEY FOR NEW BRAUNFELS TX   CITY ATTORNEY FOR NEW HARTFORD NY
LEGAL DEPT                            TOWN OF CLARKSON NY                         LEGAL DEPT                           LEGAL DEPT
937 BROADWAY ST                       LEGAL DEPT                                  550 LANDA ST                         8635 CLINTON ST
MYRTLE BEACH SC 29577                 10 MAPLE AVE                                NEW BRAUNFELS TX 78130               NEW HARTFORD NY 13413
                                      NEW YORK NY 10956



034615P001-1409A-265                  034616P001-1409A-265                        034617P001-1409A-265                 034618P001-1409A-265
CITY ATTORNEY FOR NEW ORLEANS LA      CITY ATTORNEY FOR NEW YORK NY               CITY ATTORNEY FOR NIAGARA FALLS NY   CITY ATTORNEY FOR NORTH CHARLESTON SC
LEGAL DEPT                            DISTRICT ATTORNEY                           LEGAL DEPT                           LEGAL DEPT
1300 PERDIDO ST                       ONE HOGAN PL                                PO BOX 69                            2500 CITY HALL LN
NEW ORLEANS LA 70112                  NEW YORK NY 10013                           NIAGARA FALLS NY 14302-0069          NORTH CHARLESTON SC 29406




034619P001-1409A-265                  034620P001-1409A-265                        034621P001-1409A-265                 034622P002-1409A-265
CITY ATTORNEY FOR OCEAN CITY MD       CITY ATTORNEY FOR OKEMOS MI                 CITY ATTORNEY FOR PEORIA IL          CITY ATTORNEY FOR PITTSBURGH PA
LEGAL DEPT                            MERIDIAN TOWNSHIP                           LEGAL DEPT                           LEGAL DEPT
301 N BALTIMORE AVE                   5151 MARSH RD                               419 FULTON                           313 CITY COUNTY BLDG
OCEAN CITY MD 21842                   OKEMOS MI 48864                             ROOM 200                             414 GRANT ST
                                                                                  PEORIA IL 61602                      PITTSBURGH PA 15219-2404
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034623P001-1409A-265                   034624P001-1409A-265                            034625P001-1409A-265                    034626P001-1409A-265
CITY ATTORNEY FOR POOLER GA            CITY ATTORNEY FOR PORT RICHEY FL                CITY ATTORNEY FOR PUEBLO CO             CITY ATTORNEY FOR SAGINAW MI
CITY HALL                              LEGAL DEPT                                      LEGAL DEPT                              LEGAL DEPT
100 SW HWY 80                          6333 RIDGE RD                                   1 CITY HALL PL                          1315 SOUTH WASHINGTON AVE
POOLER GA 31322                        PORT RICHEY FL 34668                            PUEBLO CO 81003                         SAGINAW MI 48601




034627P001-1409A-265                   034628P001-1409A-265                            034629P001-1409A-265                    034630P001-1409A-265
CITY ATTORNEY FOR SAN BERNARDINO CA    CITY ATTORNEY FOR SAN JOSE CA                   CITY ATTORNEY FOR SARASOTA FL           CITY ATTORNEY FOR SARATOGA SPRINGS NY
LEGAL DEPT                             LEGAL DEPT                                      LEGAL DEPT                              LEGAL DEPT
290 NORTH D ST                         200 E SANTA CLARA ST                            1 SCHOOL AVE                            474 BROADWAY
SAN BERNARDINO CA 92401                SAN JOSE CA 95113                               STE 700                                 SARATOGA SPRINGS NY 12866
                                                                                       SARASOTA FL 34237



034631P001-1409A-265                   034556P001-1409A-265                            034632P001-1409A-265                    034633P001-1409A-265
CITY ATTORNEY FOR SLIDELL LA           CITY ATTORNEY FOR SPRINGFIELD VA                CITY ATTORNEY FOR ST LOUIS MO           CITY ATTORNEY FOR TOLEDO OH
LEGAL DEPT                             COUNTY OF FAIRFAX DISTRICT ATTORNEY             LEGAL DEPT                              LEGAL DEPT
PO BOX 828                             12000 GOVERNMENT CTR PKWY                       1200 MARKET ST                          640 JACKSON ST
SLIDELL LA 70459                       FAIRFAX VA 22035                                ST LOUIS MO 63103-2826                  TOLEDO OH 43604




034634P001-1409A-265                   034635P001-1409A-265                            034636P001-1409A-265                    034637P001-1409A-265
CITY ATTORNEY FOR VALENCIA CA          CITY ATTORNEY FOR VICTOR NY                     CITY ATTORNEY FOR VICTORIA TX           CITY ATTORNEY FOR VILLAGE OF SKOKIE IL
DISTRICT ATTORNEY                      LEGAL DEPT                                      LEGAL DEPT                              CORP COUNSEL
23747 VALENCIA BLVD                    85 E MAIN ST                                    105 W JUAN LINN ST                      5127 OAKTON ST
VALENCIA CA 91355                      VICTOR NY 14564                                 PO BOX 1758                             SKOKIE IL 60077
                                                                                       VICTORIA TX 77902



034638P001-1409A-265                   034639P001-1409A-265                            034640P001-1409A-265                    034641P001-1409A-265
CITY ATTORNEY FOR WACO TX              CITY ATTORNEY FOR WEST DES MOINES IA            CITY ATTORNEY FOR WEST PALM BEACH FL    CITY ATTORNEY FOR WESTMINSTER CA
LEGAL DEPT                             LEGAL DEPT                                      LEGAL DEPT                              LEGAL DEPT
300 AUSTIN AVE                         4200 MILLS CIVIC PKWY                           401 CLEMATIS ST                         8200 WESTMINSTER BLVD
PO BOX 2570                            WEST DES MOINES IA 50265                        SECOND FLOOR                            WESTMINSTER CA 92683
WACO TX 76702                                                                          WEST PALM BEACH FL 33401



034642P001-1409A-265                   034643P001-1409A-265                            034644P001-1409A-265                    031848P001-1409A-265
CITY ATTORNEY FOR WILLOW GROVE PA      CITY ATTORNEY FOR YORK PA                       CITY ATTORNEY FOR YORKTOWN HEIGHTS NY   CITY CLERK
UPPER MORELAND TOWNSHIP                SOLICITOR                                       LEGAL DEPT                              PO BOX 1318
LEGAL DEPT                             101 SOUTH GEORGE ST                             363 UNDERHILL AVE                       SAN BERNARDINO CA 92402
117 PARK AVE                           YORK PA 17401                                   YORKTOWN HEIGHTS NY 10598
WILLOW GROVE PA 19090



033590P001-1409A-265                   031849P001-1409A-265                            030772P001-1409A-265                    010061P001-1409A-265
CITY GARMENT CARRIERS INC              CITY LIGHTING                                   CITY LOGISITICS AND TRANSPORT           CITY OF HOLYOKE
2000 E UNIVERSITY DR                   204 DOUGLAS RD                                  PO BOX 894833                           CITY HALL
DOMINGUEZ HILLS CA 90220               SEWICKLEY PA 15143-8110                         LOS ANGELES CA 90189-4833               536 DWIGHT ST
                                                                                                                               HOLYOKE MA 01040
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009823P001-1409A-265             009783P001-1409A-265                                031850P001-1409A-265          010461P001-1409A-265
CITY OF AKRON                    CITY OF AKRON INCOME TAX DIVISION                   CITY OF ALBUQUERQUE           CITY OF ALLEN
INCOME TAX DIVISION              1 CASCADE PLZ - 11TH FL                             FIRE DEPT                     PO BOX 141209
1 CASCADE PLAZA-11TH FL          AKRON OH 44308-1100                                 PO BOX 25625                  IRVING TX 75014
AKRON OH 44308-1100                                                                  ALBUQUERQUE NM 87125-0625




010201P001-1409A-265             010202P001-1409A-265                                010417P001-1409A-265          031851P001-1409A-265
CITY OF ALPHARETTA               CITY OF ALPHARETTA                                  CITY OF ALPHARETTA, GEORGIA   CITY OF ALTAMONTE SPRINGS
FALSE ALARM PAYMENT              FINANCE DEPARTMENT-TAX                              BUSINESS OCCUPATION TAX       225 NEWBURY PRT AVE
PO BOX 117022                    PO BOX 117022                                       PO BOX 349                    ALTAMONTE SPRINGS FL 32701
ATLANTA GA 30368-7022            ATLANTA GA 30368-7022                               ALPHARETTA GA 30009-0349




032866P001-1409A-265             032866S001-1409A-265                                032867P001-1409A-265          032867S001-1409A-265
CITY OF ALTAMONTE SPRINGS        CITY OF ALTAMONTE SPRINGS                           CITY OF ANN ARBOR TREASURER   CITY OF ANN ARBOR TREASURER
UTILITY DEPT                     225 NEWBURYPORT AVE                                 DEPT #77610                   3792 PONTIAC TRL
225 NEWBURYPORT AVE              ALTAMONTE SPR FL 32701                              PO BOX 77000                  ANN ARBOR MI 48105
ALTAMONTE SPR FL 32701                                                               DETROIT MI 48277




010016P001-1409A-265             009966P001-1409A-265                                031852P001-1409A-265          010371P001-1409A-265
CITY OF ANTIOCH, FINANCE DEPT    CITY OF ARCADIA                                     CITY OF ARLINGTON             CITY OF ASHEVILLE
3RD & H ST                       240 WEST HUNTINGTON DR                              FIRE PREVENTION OFFICE        PO BOX 7148
PO BOX 5007                      ARCADIA CA 91066-6021                               PO BOX 90231 - MS 07-0100     ASHEVILLE NC 28802
ANTIOCH CA 94531-5007                                                                ARLINGTON TX 76004-3231




031853P001-1409A-265             009784P001-1409A-265                                031854P001-1409A-265          031855P001-1409A-265
CITY OF ASHLAND                  CITY OF ASHLAND DEPT OF FINANCE                     CITY OF ATLANTA               CITY OF ATLANTIC CITY
PROPERTY TAX                     OCCUPATIONAL LICENSE/NET PROFIT DIVISION            55 TRINITY AVE SW STE 1350    ANGELA
PO BOX 1839                      PO BOX 1839                                         ATLANTA GA 30303              1301 BACHARACH BLVD
ASHLAND KY 41105-1839            ASHLAND KY 41105-1839                                                             RM 309
                                                                                                                   ATLANTIC CITY NJ 08401



031856P001-1409A-265             009924P001-1409A-265                                009907P001-1409A-265          010316P001-1409A-265
CITY OF AUBURN                   CITY OF AUBURN HILLS                                CITY OF AURORA                CITY OF AURORA
25 WEST MAIN ST                  1827 N SQUIRREL RD                                  LICENSING SECTION 1ST FLOOR   TAX DIVISION
AUBURN WA 98001-4998             AUBURN HILLS MI 48326                               15151 E ALAMEDA PKWY          PO BOX 33001
                                                                                     AURORA CO 80012               AURORA CO 80041-3001




032868P001-1409A-265             032868S001-1409A-265                                010484P001-1409A-265          010094P001-1409A-265
CITY OF AURORA                   CITY OF AURORA                                      CITY OF BAKERSFIELD           CITY OF BANGOR
PO BOX 2697                      44 E DOWNER PL                                      PO BOX 2057                   73 HARLOW ST
AURORA IL 60507                  AURORA IL 60505                                     BAKERSFIELD CA 93303          BANGOR ME 04401
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032869P001-1409A-265             032870P001-1409A-265                    032870S001-1409A-265              009948P001-1409A-265
CITY OF BANGOR                   CITY OF BEAUMONT                        CITY OF BEAUMONT                  CITY OF BELLINGHAM
TREASURY DEPT                    PO BOX 521                              801 MAIN                          210 LOTTIE ST
73 HARLOW ST                     BEAUMONT TX 77704                       SUITE 100                         BELLINGHAM WA 98225
BANGOR ME 04401                                                          BEAUMONT TX 77701




010343P001-1409A-265             032871P001-1409A-265                    032871S001-1409A-265              032872P001-1409A-265
CITY OF BILOXI                   CITY OF BLOOMINGTON                     CITY OF BLOOMINGTON               CITY OF BLOOMINGTON UTILITIES
PO BOX 508                       WATER CASHIERS                          109 E OLIVE                       ACCOUNTS RECEIVABLE
BILOXI MS 39533-0508             109 E OLIVE                             BLOOMINGTON IL 61701              PO BOX 2500
                                 BLOOMINGTON IL 61701                                                      BLOOMINGTON IN 47402




032872S001-1409A-265             009785P002-1409A-265                    009833P001-1409A-265              032873P001-1409A-265
CITY OF BLOOMINGTON UTILITIES    CITY OF BOWLING GREEN KY                CITY OF BOYNTON BEACH             CITY OF BOYNTON BEACH
401 NORTH MORTON ST              PO BOX 1410                             BUSINESS TAX DIVISION             PO BOX 31803
BLOOMINGTON IN 47404             BOWLING GREEN KY 42102-1410             100 E BOYNTON BEACH BLVD          TAMPA FL 33631
                                                                         BOYNTON BEACH FL 33435




032873S001-1409A-265             033865P002-1409A-265                    009858P001-1409A-265              010164P001-1409A-265
CITY OF BOYNTON BEACH            CITY OF BOYNTON BEACH                   CITY OF BRANSON                   CITY OF BREA
710 N FEDERAL HIGHWAY            PO BOX 310                              110 W MADDUX STE 200              FINANCE DEPTACCTRECEIVABLES
BOYNTON BEACH FL 33435           BOYNTON BEACH FL 33435                  BRANSON MO 65616                  ONE CIVIC CTR CIR
                                                                                                           BREA CA 92821-5732




009938P001-1409A-265             032874P001-1409A-265                    010360P001-1409A-265              010139P001-1409A-265
CITY OF BROOKFIELD               CITY OF BROOKFIELD UTILITIES            CITY OF BURBANK                   CITY OF BURLINGTON
2000 N CALHOUN RD                2000 N CALHOUN RD                       LICENSE AND CODE SVC              TREASURER'S OFFICE
BROOKFIELD WI 53005              BROOKFIELD WI 53005                     PO BOX 6459                       CITY HALL 149 CHURCH ST
                                                                         BURBANK CA 91510-6459             BURLINGTON VT 05401




032875P001-1409A-265             032875S001-1409A-265                    010076P001-1409A-265              010488P001-1409A-265
CITY OF BURLINGTON               CITY OF BURLINGTON                      CITY OF CAMARILLO                 CITY OF CAMARILLO
BURLINGTON ELEC DEPT             585 PINE ST                             601 CARMEN DR                     DEPT OF COMMUNITY DEV
585 PINE ST                      BURLINGTON VT 05401                     PO BOX 37                         PO BOX 218
BURLINGTON VT 05401                                                      CAMARILLO CA 93011-0037           CAMARILLO CA 93010-0248




010104P001-1409A-265             032876P001-1409A-265                    032876S001-1409A-265              009917P001-1409A-265
CITY OF CAMBRIDGE                CITY OF CAPE GIRARDEAU                  CITY OF CAPE GIRARDEAU            CITY OF CARLSBAD
CLERKS OFFICE                    PO BOX 617                              401 INDEPENDENCE ST               1635 FARADAY AVE
795 MASS AVE                     CAPE GIRARDEA MO 63702                  CITY OF CAPE GIRARDEAU MO 63703   CARLSBAD CA 92008-7314
CAMBRIDGE MA 02139
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009841P001-1409A-265              010172P001-1409A-265                      010157P001-1409A-265             010261P001-1409A-265
CITY OF CENTERVILLE               CITY OF CERRITOS                          CITY OF CHANDLER                 CITY OF CHARLESTON, SOUTH
DIV OF TAXATION                   BUSINESS LICENSE DIVISION                 MAIL STOP 701                    CAROLINA
100 W SPRING VLY RD               PO BOX 3130                               PO BOX 15001                     PO BOX 22009
CENTERVILLE OH 45458-3759         CERRITOS CA 90703-3130                    CHANDLER AZ 85244-5001           CHARLESTON SC 29413-2009




010431P001-1409A-265              031857P001-1409A-265                      031858P001-1409A-265             010087P001-1409A-265
CITY OF CHARLESTON, W VIRGINIA    CITY OF CHESAPEAKE                        CITY OF CHESAPEAKE-TREASURER     CITY OF CHESTERFIELD
BUSINESS LICENSING                PO BOX 15285                              BARBARA O CARRAWAY               690 CHESTERFIELD PKWY
PO BOX 7786                       CHESAPEAKE VA 23328                       CITY TREASURER                   CHESTERFIELD MO 63017
CHARLESTON WV 25356                                                         PO BOX 16495
                                                                            CHESAPEAKE VA 23328-6495



009876P001-1409A-265              009877P001-1409A-265                      009878P001-1409A-265             010006P001-1409A-265
CITY OF CHICAGO                   CITY OF CHICAGO                           CITY OF CHICAGO                  CITY OF CHICAGO
DEPT OF REVENUE COLLECT           BUSINESS ASSISTANCE CENTER                DEPT OF BUSINESS AFFAIRS         DEPT OF BUS AFFAIRS AND LICENSING
121 N LASALLE ST CH RM 107A       121 N LASALLE ST RM 800                   121 NORTH LASALLE ST             333 SOUTH ST STE 310
CHICAGO IL 60602                  CHICAGO IL 60602                          CHICAGO IL 60602                 CHICAGO IL 60604




010533P001-1409A-265              032877P001-1409A-265                      032877S001-1409A-265             010430P001-1409A-265
CITY OF CHICAGO                   CITY OF CHICAGO                           CITY OF CHICAGO                  CITY OF CHULA VISTA
DEPT OF REVENUE                   DEPT OF FINANCE UTILITY BILLNG            121 N LASALLE STREET             PO BOX 7549
FALSE BURGLAR ALARM UNIT          PO BOX 6330                               CHICAGO IL 60602                 CHULA VISTA CA 91912
PO BOX 4956                       CHICAGO IL 60680
CHICAGO IL 60680-4956



010107P001-1409A-265              010144P001-1409A-265                      010272P001-1409A-265             010408P001-1409A-265
CITY OF CINCINNATI                CITY OF COLORADO SPRINGS                  CITY OF COLORADO SPRINGS         CITY OF COLUMBIA
INCOME TAX DIVISION               SALES TAX DIVISION                        SALES TAX                        BUSINESS LICENCE DIVISION
805 CENTRAL AVE STE 600           DEPT 2408                                 PO BOX 2408                      PO BOX 147
CINCINNATI OH 45202-5756          COLORADO SPRINGS CO 80256-0001            COLORADO SPRINGS CO 80901-2408   1339 MAIN ST 1ST FL
                                                                                                             COLUMBIA SC 29217



010046P001-1409A-265              010409P001-1409A-265                      009978P001-1409A-265             009929P001-1409A-265
CITY OF COLUMBUS                  CITY OF COLUMBUS                          CITY OF COMMERCE                 CITY OF CONCORD
INCOME TAX DIVISION               PO BOX 183190                             2535 COMNMERCE WAY               FINANCE DEPT
50 W GAY ST 4TH FL                COLUMBUS OH 43218-3190                    COMMERCE CA 90040                1950 PARKSIDE DR M06
COLUMBUS OH 43215                                                                                            CONCORD CA 94519-2578




010353P001-1409A-265              010389P001-1409A-265                      010407P001-1409A-265             031859P001-1409A-265
CITY OF CONCORD TAX COLLECTOR     CITY OF CORAL GABLES                      CITY OF CORAL GABLES             CITY OF CORAL SPRINGS
PO BOX 580473                     PO BOX 916020                             FINANCE DEPT                     BUSINESS TAX OFFICE
CHARLOTTE NC 28258-0473           ORLANDO FL 32891-6020                     PO BOX 141549                    PO BOX 754501
                                                                            CORAL GABLES FL 33114            CORAL SPRINGS FL 33075-4501
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010117P001-1409A-265              032878P001-1409A-265                 032878S001-1409A-265             033869P002-1409A-265
CITY OF CORONA                    CITY OF CORONA                       CITY OF CORONA                   CITY OF CORONA
BUSINESS LICENSING                DEPT OF WATER AND POWER              400 S VICENTIA AVE               MARIA CONZELMA
8839 N CEDAR AVE                  PO BOX 6040                          CORONA CA 92882                  400 S VICENTIA AVE
#212                              ARTESIA CA 90702                                                      CORONA CA 92882
FRESNO CA 93720-1832



010128P001-1409A-265              031860P001-1409A-265                 031861P001-1409A-265             009958P001-1409A-265
CITY OF CULVER CITY               CITY OF DALY                         CITY OF DANBURY                  CITY OF DAVENPORT
CULVER CITY TREASURER'S OFFICE    333 90TH ST                          155 DEER HILL AVE                BUSINESS LICENSING
9770 CULVER BLVD                  DALY CITY CA 94015-1895              DANBURY CT 06810                 226 WEST 4TH ST
CULVER CITY CA 90232-0507                                                                               DAVENPORT IA 52801




010439P001-1409A-265              010296P001-1409A-265                 010145P001-1409A-265             010522P001-1409A-265
CITY OF DAYTON BEACH              CITY OF DAYTON INCOME TAX            CITY OF DEARBORN                 CITY OF DEARBORN
PERMITS AND LICENSING DIVISION    PO BOX 2806                          DEPT 3102                        PO BOX 4000
PO BOX 311                        DAYTON OH 45401-2806                 PO BOX 30516                     DEARBORN MI 48126
DAYTONA BEACH FL 32115                                                 LANSING MI 48909-8016




009883P001-1409A-265              010256P001-1409A-265                 032879P001-1409A-265             032879S001-1409A-265
CITY OF DES PERES                 CITY OF DOTHAN                       CITY OF DOTHAN UTILITIES         CITY OF DOTHAN UTILITIES
12325 MANCHESTER RD               PO BOX 2128                          PO BOX 6728                      126 N SAINT ANDREWS ST
DES PERES MO 63131                DOTHAN AL 36302                      DOTHAN AL 36302                  PO BOX 2128
                                                                                                        DOTHAN AL 36302




031862P001-1409A-265              031863P001-1409A-265                 032880P001-1409A-265             032880S001-1409A-265
CITY OF DOUGLASVILLE              CITY OF DOVER                        CITY OF DOVER UTILITY            CITY OF DOVER UTILITY
PO BOX 219                        DEPT OF INSPECTION                   PO BOX 15040                     15 LOOCKERMAN PLAZA
DOUGLASVILLE GA 30133             PO BOX 475                           WILMINGTON DE 19886              DOVER DE 19903
                                  DOVER DE 19904




033871P001-1409A-265              031864P001-1409A-265                 010058P001-1409A-265             010043P001-1409A-265
CITY OF DOVER UTILITY             CITY OF DOWNEY                       CITY OF DUBLIN                   CITY OF DUNWOODY
15 LOOCKERMAN PLZ                 11111 BROOKSHIRE AVE                 5200 EMERALD PKWY                CITY HALL
DOVER DE 19903                    DOWNEY CA 90241                      DUBLIN OH 43017                  4800 ASHFORD DUNWOODY RD
                                                                                                        DUNWOODY GA 30338




032881P001-1409A-265              032881S001-1409A-265                 031865P001-1409A-265             010345P001-1409A-265
CITY OF DURHAM                    CITY OF DURHAM                       CITY OF DURHAM FIRE DEPT         CITY OF EL CAJON
PO BOX 30041                      101 CITY HALL PLZ                    FIRE RECOVERY USA LLC            FINANCE/BUSINESS LICENSE
DURHAM NC 27702                   DURHAM NC 27701                      PO BOX 935667                    PO BOX 511378
                                                                       ATLANTA GA 31193-5667            LOS ANGELES CA 90051
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031866P001-1409A-265             010441P001-1409A-265                     010047P001-1409A-265                031867P001-1409A-265
CITY OF EL CENTRO                CITY OF EL PASO                          CITY OF ELIZABETH                   CITY OF ELIZABETH - HEALTH DEPT
FINANCE DEPT                     PLANNING AND INSPECTIONS DEPT            FRANCHISE ASSESSMENT                50 WINFIELD SCOTT PLZ RM G1
PO BOX 2328                      ONE STOP SHOP 811 TEXAS AVE              TAX COLLECTOR                       ELIZABETH NJ 07201
EL CENTRO CA 92244               EL PASO TX 79901-1196                    50 WINFIELD SCOTT PLZ
                                                                          ELIZABETH NJ 07201



009941P001-1409A-265             031868P001-1409A-265                     009787P002-1409A-265                009845P001-1409A-265
CITY OF ESCONDIDO                CITY OF FAIRFIELD                        CITY OF FAIRLAWN OHIO               CITY OF FAIRVIEW HEIGHTS
201 NORTH BROADWAY               MICHELLE POLLARD                         PO BOX 5433                         CITY CLERK'S OFFICE
ESCONDIDO CA 92025-2798          1000 WEBSTER ST                          FAIRLAWN OH 44334                   10025 BUNKUM RD
                                 FAIRFIELD CA 94533-4883                                                      FAIRVIEW HEIGHTS IL 62208




010035P001-1409A-265             031869P001-1409A-265                     009950P001-1409A-265                010263P001-1409A-265
CITY OF FAYETTEVILLE             CITY OF FAYETTEVILLE                     CITY OF FLAGSTAFF                   CITY OF FLAGSTAFF
PRIVILEGE LICENSE TAX SECTION    BUSINESS LICENSE CLERK                   211 WEST ASPEN AVE                  TRANSACTION PRIVILEGE
433 HAY STREET/PO DRAWER D       125 W MOUNTAIN ST                        FLAGSTAFF AZ 86001-5359             PO BOX 22518
FAYETTEVILLE NC 28302-1746       FAYETTEVILLE AR 72701                                                        FLAGSTAFF AZ 86002-2518




010140P001-1409A-265             010150P001-1409A-265                     031870P001-1409A-265                032882P001-1409A-265
CITY OF FLORENCE                 CITY OF FLORENCE                         CITY OF FLORENCE                    CITY OF FLORENCE
BUSINESS LICENSES                DEPT 105 PO BOX 1327                     CITY CLERK'S OFFICE                 UTILITIES AND LICENSING DIVISION
CITY-COUNTY COMPLEX KK           FLORENCE KY 41022-1327                   PO BOX 98                           PO BOX 602756
FLORENCE SC 29501                                                         FLORENCE AL 35631                   CHARLOTTE NC 28260




032882S001-1409A-265             033873P002-1409A-265                     031871P001-1409A-265                010109P001-1409A-265
CITY OF FLORENCE                 CITY OF FLORENCE                         CITY OF FLORENCE - SOUTH CAROLINA   CITY OF FLORENCE FINANCE DEPT
324 W EVANS ST                   DAVID G GASQUE                           324 WEST EVANS ST                   8100 EWING BLVD
FLORENCE SC 29501                324 W EVANS ST                           FLORENCE SC 29501                   FLORENCE KY 41042
                                 FLORENCE SC 29501




010401P001-1409A-265             031872P001-1409A-265                     031873P001-1409A-265                009874P001-1409A-265
CITY OF FOLEY                    CITY OF FOLSOM                           CITY OF FOLSOM-FIRE                 CITY OF FOREST PARK
PO BOX 1750                      MUNISERVICES LLC                         ALARM ADMINISTRATION PROGRAM        FOREST PARK TAX OFFICE
FOLEY AL 36536                   438 E SHAW AVE BOX 367                   PO BOX 398101                       1201 W KEMPER RD
                                 FRESNO CA 93710                          SAN FRANCISCO CA 94139-8101         FOREST PARK OH 45240




010413P001-1409A-265             010171P001-1409A-265                     031874P001-1409A-265                031875P001-1409A-265
CITY OF FORT LAUDERDALE          CITY OF FORT MEYERS                      CITY OF FORT SMITH                  CITY OF FORT WORTH
BUSINESS TAX                     PO BOX 2423                              COLLECTIONS DEPT                    FIRE DEPT REVENUE GROUP
PO BOX 31689                     FORT MYERS FL 33902-2423                 PO BOX 1908                         505 W FELIX ST
TAPA FL 33631-3689                                                        FORT SMITH AZ 72902                 FORT WORTH TX 76115
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010367P001-1409A-265          010309P001-1409A-265                     010121P001-1409A-265                          010334P001-1409A-265
CITY OF FRANKLIN              CITY OF FRANKLIN PROPERTY TAX            CITY OF FRESNO                                CITY OF FRESNO
BUSINESS TAX DEPT             PO BOX 306100                            FINANCE SECTION                               PO BOX 45017
PO BOX 705                    NASHVILLE TN 37230-6100                  911 H ST                                      FRESNO CA 93718-5017
FRANKLIN TN 37085                                                      FRESNO CA 93721-3083




031876P001-1409A-265          010336P001-1409A-265                     010336S001-1409A-265                          010476P001-1409A-265
CITY OF GAINESVILLE           CITY OF GARLAND                          CITY OF GARLAND                               CITY OF GASTONIA
PO BOX 490                    CAROL CLARK RTA                          PERDUE BRANDON FIELDER COLLINS AND MOTT LLP   CUSTOMER SVC DIVISION
GAINESVILLE FL 32627-0490     PO BOX 462010                            EBONEY COBB                                   PO BOX 1748
                              GARLAND TX 75046-2010                    500 E BORDER ST STE 640                       GASTONIA NC 28053-1748
                                                                       ARLINGTON TX 76010



032883P001-1409A-265          032883S001-1409A-265                     035210P001-1409A-265                          031877P001-1409A-265
CITY OF GASTONIA              CITY OF GASTONIA                         CITY OF GASTONIA                              CITY OF GILROY
PO BOX 580068                 181 S SOUTH ST                           PO BOX 1748                                   7351 ROSANNA ST
CHARLOTTE NC 28258            GASTONIA NC 28052                        GASTONIA NC 28053                             GILROY CA 95020-6141




010073P001-1409A-265          032681P001-1409A-265                     009873P001-1409A-265                          009977P001-1409A-265
CITY OF GLENDALE              CITY OF GLENDALE                         CITY OF GONZALES                              CITY OF GRAND JUNCTION
CITY TREASURER                PO BOX 800                               120 SOUTH IRMA BLVD                           250 NORTH FIFTH ST
5909 N MILW RIVER PKWY        GLENDALE AZ 85311-0800                   GONZALES LA 70737                             GRAND JUNCTION CO 81501
GLENDALE WI 53209




032884P001-1409A-265          010000P001-1409A-265                     010001P001-1409A-265                          010282P001-1409A-265
CITY OF GRAND RAPIDS          CITY OF GRANDVILLE                       CITY OF GRANDVILLE                            CITY OF GREENSBORO
1101 MONROE AVE NW            3195 WILSON                              THOMAS C GUINTHER TREASURER                   PO BOX 26118
GRAND RAPIDS MI 49503         GRANDVILLE MI 49418                      3195 WILSON AVE                               GREENSBORO NC 27402-6118
                                                                       GRANDVILLE MI 49418




010373P001-1409A-265          031878P001-1409A-265                     009930P001-1409A-265                          010587P001-1409A-265
CITY OF GREENVILLE            CITY OF GREENVILLE                       CITY OF HARPER WOODS                          CITY OF HENDERSON
REGISTRATION FOR PRIVILEGE    BUSINESS LICENSE DIVISION                19617 HARPER AVE                              FINANCE DEPT
PO BOX 7207                   PO BOX 2207                              HARPER WOODS MI 48225-2095                    PO BOX 95007
GREENVILLE NC 27835-7207      GREENVILLE SC 29602                                                                    HENDERSON NV 89009-5007




031879P001-1409A-265          032885P001-1409A-265                     010323P001-1409A-265                          010330P001-1409A-265
CITY OF HIALEAH               CITY OF HIALEAH                          CITY OF HICKORY                               CITY OF HOLYOKE
83 EAST 5TH ST                3700 W 4TH AVE                           PRIVILEGE LICENSE APPLICATION                 COLLECTOR OF TAXES
2ND FL                        HIALEAH FL 33012                         PO BOX 398                                    PO BOX 4135
HIALEAH FL 33010                                                       HICKORY NC 28603                              WOBURN MA 01888-4135
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010548P001-1409A-265           010449P001-1409A-265                   009866P001-1409A-265             010143P001-1409A-265
CITY OF HOMEWOOD               CITY OF HOOVER                         CITY OF HUMBLE                   CITY OF HUNTSVILLE
PO BOX 59666                   PO BOX 11407                           114 WEST HIGGINS                 DEPT 2108
HOMEWOOD AL 35259              HOOVER AL 35246-0144                   HUMBLE TX 77338-4305             PO BOX 11407
                                                                                                       BIRMINGHAM AL 35246-2108




010514P001-1409A-265           032886P001-1409A-265                   010188P001-1409A-265             031880P001-1409A-265
CITY OF HUNTSVILLE, ALABAMA    CITY OF HURST                          CITY OF INDEPENDENCE, MISSOURI   CITY OF INDIANAPOLIS, OFFICE OF THE
CITY CLERK-TREASURER           1505 PRECINCT LINE RD                  FINANCE DEPT-LICENSING DIV       CONTROLLER
PO BOX 308                     HURST TX 76054                         PO BOX 1019                      200 E WASHINGTON ST
HUNTSVILLE AL 35804-0308                                              INDEPENDENCE MO 64051            STE 222
                                                                                                       INDIANAPOLIS IN 46204-3389



031881P001-1409A-265           009962P001-1409A-265                   010491P001-1409A-265             010237P001-1409A-265
CITY OF JACKSON                CITY OF JACKSONVILLE                   CITY OF JOHNSON CITY             CITY OF JONESBORO
REVENUE DEPT                   TAX COLLECTOR                          PO BOX 2227                      COLLECTING DEPT CITY HALL
101 EAST MAIN STE 101          231 E FORSYTH ST STE 141               JOHNSON CITY TN 37605-2227       PO BOX 1845
JACKSON TN 38301               JACKSONVILLE FL 32202                                                   JONESBORO AR 72403-1845




010079P001-1409A-265           010068P001-1409A-265                   009916P001-1409A-265             009922P001-1409A-265
CITY OF JOPLIN                 CITY OF KATY                           CITY OF KENNER                   CITY OF KENNER
OFFICE OF FINANCE              5718 SECOND ST                         TAX DEPT                         1801 WILLIAMS BLVD
602 S MAIN                     KATY TX 77493                          1610 REVEREND RICHARD WILSON     BLDG B RM 105
JOPLIN MO 64801                                                       DR                               KENNER LA 70062
                                                                      KENNER LA 70062



035395P001-1409A-265           031882P001-1409A-265                   010176P001-1409A-265             031883P001-1409A-265
CITY OF KENTWOOD               CITY OF KNOXVILLE                      CITY OF LA MESA                  CITY OF LAFAYETTE
PO BOX 8848                    PROPERTY TAX OFFICE                    FINANCE DEPT                     MICHAEL
KENTWOOD MI 49518-8848         PO BOX 15001                           PO BOX 937                       20 N 6TH ST
                               KNOXVILLE TN 37901-5001                LA MESA CA 91944-0937            LAFAYETTE IN 47901




010215P001-1409A-265           009959P001-1409A-265                   010283P001-1409A-265             032735P001-1409A-265
CITY OF LAKE WALES             CITY OF LAKELAND                       CITY OF LAKEWOOD                 CITY OF LAKEWOOD
PO BOX 1320                    OCCUPATIONAL LICENSE OFFICE            SALES/USE TAX RETURN             POST OFFICE BOX 220
LAKE WALES FL 33859-1320       228 S MASSACHUSETTS AVE                PO BOX 261450                    LAKEWOOD CA 90714-0220
                               LAKELAND FL 33801                      LAKEWOOD CO 80226-9450




032887P001-1409A-265           032887S001-1409A-265                   032888S001-1409A-265             032736P001-1409A-265
CITY OF LAKEWOOD               CITY OF LAKEWOOD                       CITY OF LANCASTER PA             CITY OF LANCASTER, PA
PO BOX 1038                    5050 CLARK AVE                         120 NORTH DUKE ST                39 W CHESTNUT ST
LAKEWOOD CA 90714              LAKEWOOD CA 90712                      PO BOX 1599                      PO BOX 1020
                                                                      LANCASTER PA 17608-1599          LANCASTER PA 17608-1020
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010362P001-1409A-265            010249P001-1409A-265                    010565P001-1409A-265          037688P001-1409A-265
CITY OF LAREDO TAX DEPT         CITY OF LAS CRUCES                      CITY OF LAS VEGAS             CITY OF LAS VEGAS
TAX PAYMENT                     PO BOX 20000                            DEPTOF FINANCEBUSINESS SVC    PHILLIP R BYRNES ESQ
PO BOX 6548                     LAS CRUCES NM 88004                     PO BOX 748018                 495 S MAIN ST 6TH FL CAO
LAREDO TX 78042-6548                                                    LOS ANGELES CA 90074-8018     LAS VEGAS NV 89101




032889P001-1409A-265            032889S001-1409A-265                    031885P001-1409A-265          031884P001-1409A-265
CITY OF LAS VEGAS SEWER SVCS    CITY OF LAS VEGAS SEWER SVCS            CITY OF LEE'S SUMMIT          CITY OF LEEDS
DEPT OF FINANCE                 2250 LAS VEGAS BLVD                     220 SE GREEN                  KEVIN FOUTS
PO BOX 748022                   NORTH LAS VEGAS NV 89030                LEE'S SUMMIT MO 64063-6700    1040 PK DR
LOS ANGELES CA 90074                                                                                  LEEDS AL 35094




031886P001-1409A-265            009854P001-1409A-265                    010424P001-1409A-265          010185P001-1409A-265
CITY OF LEWISVILLE              CITY OF LIVERMORE                       CITY OF LOS ANGELES           CITY OF LOVELAND
151 W CHURCH ST                 1052 S LIVERMORE AVE                    FINANCE DEPT                  SALES TAX ADMINISTRATION
PO BOX 299002                   LIVERMORE CA 94550-4899                 PO BOX 513996                 PO BOX 0845
LEWISVILLE TX 75029-9002                                                LOS ANGELES CA 90051-3996     LOVELAND CO 80539-0845




032890P001-1409A-265            032890S001-1409A-265                    033878P001-1409A-265          032682P001-1409A-265
CITY OF LOVELAND                CITY OF LOVELAND                        CITY OF LOVELAND              CITY OF LOVELAND, COLORADO
PO BOX 3500                     500 E THIRD STREET                      500 E THIRD ST                CIVIC CTR
LOVELAND CO 80539               LOVELAND CO 80537                       LOVELAND CO 80537             500 EAST THIRD ST
                                                                                                      LOVELAND CO 80537




031887P001-1409A-265            032891P001-1409A-265                    032891S001-1409A-265          010275P001-1409A-265
CITY OF LYNNWOOD                CITY OF LYNNWOOD                        CITY OF LYNNWOOD              CITY OF MACON
4114 198TH ST SW                PO BOX 5008                             11330 BULLIS RD               CITY CLERK'S OFFICE
PO BOX 5008                     LYNNWOOD WA 98046                       LYNWOOD CA 90262              PO BOX 247
LYNNWOOD WA 98046-5008                                                                                MACON GA 31298




010304P001-1409A-265            009976P001-1409A-265                    010163P001-1409A-265          031888P001-1409A-265
CITY OF MADISON TREASURER       CITY OF MALIBU                          CITY OF MANCHESTER            CITY OF MAPLEWOOD
PO BOX 2999                     25 W ROLLING OAKS DR                    OFFICE OF THE CITY CLERK      FINANCE DEPT
MADISON WI 53701-2999           STE 201                                 BUSINESS LICENSING DIVISION   1830 E COUNTY RD B
                                THOUSANDS OAKS CA 91361                 ONE CITY HALL PLZ             MAPLEWOOD MN 55109
                                                                        MANCHESTER NH 03101



031889P001-1409A-265            009928P002-1409A-265                    032892P001-1409A-265          010490P001-1409A-265
CITY OF MARLBOROUGH             CITY OF MARY ESTHER                     CITY OF MARY ESTHER           CITY OF MCALLEN TAX OFFICE
140 MAIN ST                     HEATHER M DAY                           195 CHRISTOBAL RD N           REBECCA M GRINES RTARTC
MARLBOROUGH MA 01752            195 CHRISTOBAL RD NORTH                 WATER DEPT                    PO BOX 220-311 NORTH 15TH
                                MARY ESTHER FL 32569                    MARY ESTHER FL 32569          MCALLEN TX 78505-0220
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010490S001-1409A-265                       010119P001-1409A-265                   032893P001-1409A-265           032893S001-1409A-265
CITY OF MCALLEN TAX OFFICE                 CITY OF MELBOURNE                      CITY OF MELBOURNE UTILITIES    CITY OF MELBOURNE UTILITIES
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    REVENUE DIVISION                       PO BOX 17                      900 E STRAWBRIDGE AVE
DIANE WADE SANDERS                         900 EAST STRAWBRIDGE AVE               MELBOURNE FL 32902             MELBOURNE FL 32901
PO BOX 17428                               MELBOURNE FL 32901
AUSTIN TX 78760



010020P001-1409A-265                       010221P001-1409A-265                   010231P001-1409A-265           031890P001-1409A-265
CITY OF MERCEDES PLANNING DEPT             CITY OF MESA                           CITY OF MESA                   CITY OF MESQUITE - HEALTH DIVISION
MERCEDES CITY HALL                         CUSTOMER SVC OFFICE                    PO BOX 16350                   PO BOX 850137
400 S OHIO AVE                             PO BOX 1466                            MESA AZ 85211-6350             MESQUITE TX 75185-0137
MERCEDES TX 78570                          MESA AZ 85211-1466




031891P001-1409A-265                       010038P001-1409A-265                   010293P001-1409A-265           031892P001-1409A-265
CITY OF MIDLAND - HEALTH DEPT              CITY OF MILPITAS                       CITY OF MOBILE                 CITY OF MOBILE
3303 WEST ILLINOIS                         455 E CALAVERAS BLVD                   PO BOX 2745                    REVENUE DEPT
SPACE 22                                   MILPITAS CA 95035                      MOBILE AL 36652-2745           DEPT # 1530
MIDLAND TX 79703                                                                                                 PO BOX 11407
                                                                                                                 BIRMINGHAM AL 35246-1530



036834P001-1409A-265                       010319P001-1409A-265                   010425P001-1409A-265           010552P001-1409A-265
CITY OF MOBILE                             CITY OF MODESTO                        CITY OF MONROE                 CITY OF MONROE
REVENUE DEPT #1530                         PO BOX 3442                            PO BOX 629                     INCOME TAX DIVISION
PO BOX 11407                               MODESTO CA 95353-3442                  MONROE OH 45050-0629           PO BOX 629
BIRMINGHAM AL 35246-1530                                                                                         MONROE OH 45050-0629




009790P001-1409A-265                       010268P001-1409A-265                   009913P001-1409A-265           010179P001-1409A-265
CITY OF MONROE INCOME TAX DEPT             CITY OF MONTCLAIR                      CITY OF MONTEBELLO             CITY OF MONTGOMERY
PO BOX 629                                 BUSINESS LICENSE DIVISION              FINANCE DEPT                   COMPASS BANK
MONROE OH 45050                            PO BOX 2308                            1600 W BEVERLY BLVD            PO 830469
                                           MONTCLAIR CA 91763                     MONTEBELLO CA 90640-3970       BIRMINGHAM AL 35283-0469




010195P001-1409A-265                       010174P001-1409A-265                   010198P001-1409A-265           010273P001-1409A-265
CITY OF MONTGOMERY                         CITY OF MORENO VALLEY                  CITY OF MURFREESBORO           CITY OF MYRTLE BEACH
REVENUE LICENSE DIVISION                   PO BOX 88005                           PO BOX 1139                    BUSINESS LICENSE DIVISION
PO BOX 1111                                MORENO VALLEY CA 92552-0805            MURFREESBORO TN 37133-1139     PO BOX 2468
MONTGOMERY AL 36101-1111                                                                                         MYRTLE BEACH SC 29578




032894P001-1409A-265                       010096P001-1409A-265                   031893P001-1409A-265           031894P001-1409A-265
CITY OF N CANTON PUBLIC UTIL               CITY OF NAPLES, FLORIDA                CITY OF NEW ORLEANS            CITY OF NEWARK
145 N MAIN ST                              CUSTOMER SVC                           PO BOX 60047                   37101 NEWARK BLVD
N CANTON OH 44720                          735 8TH ST S                           NEW ORLEANS LA 70160-0047      NEWARK CA 94560-3796
                                           NAPLES FL 34102
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010423P001-1409A-265          009969P001-1409A-265                   031895P001-1409A-265                            036440P001-1409A-265
CITY OF NEWPORT BEACH         CITY OF NEWPORT NEWS                   CITY OF NORFOLK                                 CITY OF NORFOLK
PO BOX 4999                   COMMISSIONER OF THE REVENUE            CITY TREASURER OF NORFOLK DIVISION OF PARKING   DIVISION OF PARKING
WHITTIER CA 90607-4999        2400 WASHINGTON AVE                    MONTHLY PARKING                                 222 E MAIN STREET
                              NEWPORT NEWS VA 23607                  222 E MAIN ST                                   NORFOLK VA 23510
                                                                     NORFOLK VA 23510



010543P001-1409A-265          010153P001-1409A-265                   032895P001-1409A-265                            032895S001-1409A-265
CITY OF NORTH LITTLE ROCK     CITY OF NOVI                           CITY OF OCALA                                   CITY OF OCALA
BUSINESS LICENSE OFFICE       DRAWER 67                              PO BOX 30749                                    110 SE WATULA AVE
PO BOX 5757                   PO BOX 33321                           TAMPA FL 33630                                  OCALA FL 34471
NORTH LITTLE ROCK AR 72119    DETROIT MI 48232-5321




009944P001-1409A-265          031896P001-1409A-265                   010250P001-1409A-265                            010414P001-1409A-265
CITY OF OCALA BUSINESS TAX    CITY OF OKLAHOMA CITY                  CITY OF OLYMPIA                                 CITY OF ONTARIO
RECEIPT                       420 W MAINT 8TH FL                     CITY TREASURER                                  BUSINESS LICENSE DIVISION
201 SE 3RD ST                 OKLAHOMA CITY OK 73102                 PO BOX 2009                                     PO BOX 3247
2ND FL                                                               OLYMPIA WA 98507-2009                           ONTARIO CA 91761-0925
OCALA FL 34471



010066P001-1409A-265          010422P001-1409A-265                   009843P001-1409A-265                            010017P001-1409A-265
CITY OF OREM                  CITY OF ORLANDO                        CITY OF OSAGE BEACH                             CITY OF OVIEDO
56 NORTH STATE ST             REVENUE COLLECTION                     ATT: CITY CLERK'S OFFICE                        BUILDING DEPT
OREM UT 84057                 PO BOX 4990                            1000 CITY PKWY                                  400 ALEXANDRIA BLVD
                              ORLANDO FL 32802-4990                  OSAGE BEACH MO 65065                            OVIEDO FL 32765




031897P001-1409A-265          010097P001-1409A-265                   010239P001-1409A-265                            032896P001-1409A-265
CITY OF PADUCAH               CITY OF PALM DESERT                    CITY OF PANAMA CITY                             CITY OF PANAMA CITY
FINANCE DEPT                  73-510 FRED WARING DR                  LICENSE DEPT                                    UTILITY SVC DEPT
PO BOX 90                     PALM DESERT CA 92260                   PO BOX 1880                                     PO BOX 2487
PADUCAH KY 42002-0090                                                PANAMA CITY FL 32402-1880                       PANAMA CITY FL 32402




032896S001-1409A-265          031898P001-1409A-265                   010085P001-1409A-265                            010547P001-1409A-265
CITY OF PANAMA CITY           CITY OF PANAMA CITY BEACH              CITY OF PARMA                                   CITY OF PEARL
819 E 11TH ST                 110 S ARNOLD RD                        DIVISION OF TAXATION                            PO BOX 5948
PANAMA CITY FL 32401          PANAMA CITY BEACH FL 32413             6611 RIDGE RD                                   PEARL MS 39288
                                                                     PARMA OH 44129




010077P001-1409A-265          010213P001-1409A-265                   009794P001-1409A-265                            009820P001-1409A-265
CITY OF PEMBROKE PINES        CITY OF PENSACOLA                      CITY OF PHILADELPHIA                            CITY OF PHILADELPHIA
601 CITY CTR WAY              JOE POLLARD                            DEPT OF REVENUE                                 DEPT OF REVENUE
LBTR - 4TH FL                 PO BOX 12910                           PO BOX 1660                                     PO BOX 1393
PEMBROKE PINES FL 33025       PENSACOLA FL 32521-0015                PHILADELPHIA PA 19105-1660                      PHILADELPHIA PA 19105-1393
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009805P001-1409A-265                    010578P001-1409A-265                   010480P001-1409A-265               031899P001-1409A-265
CITY OF PHILADELPHIA DEPT OF REVENUE    CITY OF PLANO                          CITY OF PLANTATION                 CITY OF POOLER
PO BOX 1137                             FALSE ALARM REDUCTION UNIT             PO BOX 19270                       100 SOUTHWEST HIGHWAY 80
PHILADELPHIA PA 19105-1137              PO BOX 860358                          PLANTATION FL 33318-9270           POOLER GA 31322
                                        PLANO TX 75086-0358




035404P001-1409A-265                    009795P001-1409A-265                   009927P001-1409A-265               031900P001-1409A-265
CITY OF PORTAGE                         CITY OF PORTLAND                       CITY OF PORTLAND OREGON            CITY OF PORTLAND TREASURER
TREASURY OFFICE                         111 SW COLUMBIA ST #600                BUREAU OF LICENSES                 1300 SE GIDEON ST
7900 S WESTNEDGE AVE                    PORTLAND OR 97201-5840                 1900 SW 4TH AVE RM 3500            PORTLAND OR 97202-2419
PORTAGE MI 49002-5117                                                          PORTLAND OR 97201-3500




031901P001-1409A-265                    010095P001-1409A-265                   010133P001-1409A-265               031902P001-1409A-265
CITY OF PUEBLO                          CITY OF RACINE                         CITY OF RACINE TAX PAYMENTS        CITY OF RACINE, WISCONSIN
FINANCE DEPARTMENT/                     730 WASHINGTON AVE                     BIN 88661                          730 WASHINGTON AVE
SALES TAX DIVISION                      RACINE WI 53403-1146                   MILWAUKEE WI 53288-0661            RACINE WI 53403
PO BOX 1427
PUEBLO CO 81002



009826P001-1409A-265                    010258P001-1409A-265                   031903P001-1409A-265               031904P001-1409A-265
CITY OF RENO                            CITY OF RIDGELAND                      CITY OF RIVERSIDE                  CITY OF ROGERS
1 EAST FIRST ST 2ND FLR                 PO BOX 217                             3900 MAIN ST                       CITY CLERKS OFFICE
PO BOX 1900                             RIDGELAND MS 39158                     RIVERSIDE CA 92522                 301 W CHESTNUT
RENO NV 89505                                                                                                     ROGERS AR 72756




009988P001-1409A-265                    031905P001-1409A-265                   032897P003-1409A-265               031906P001-1409A-265
CITY OF ROSEVILLE                       CITY OF ROSEVILLE                      CITY OF ROSEVILLE                  CITY OF SACRAMENTO
29777 GRATIOT AVE                       8839 N CEDAR AVE # 212                 311 VERNON ST                      915 I ST
ROSEVILLE MI 48066                      FRESNO CA 93720-1832                   ROSEVILLE CA 95678-2649            SACRAMENTO CA 95814




009887P001-1409A-265                    031907P001-1409A-265                   010067P001-1409A-265               036441P001-1409A-265
CITY OF SALISBURY                       CITY OF SAN ANTONIO                    CITY OF SAN BRUNO                  CITY OF SAN BUENAVENTURA
125 N DIVISION ST                       FINANCIAL SVC DIVISION                 567 EL CAMINO REAL                 501 POLI STREET ROOM 107
SALISBURY MD 21801-4940                 REVENUE COLLECETIONS                   SAN BRUNO CA 94066-4299            VENTURA CA 93001
                                        PO BOX 60
                                        SAN ANTONIO TX 78291-0060



010208P001-1409A-265                    010149P001-1409A-265                   031908P001-1409A-265               009931P001-1409A-265
CITY OF SAN DIEGO                       CITY OF SAN JOSE                       CITY OF SAN MARCOS ALARM PROGRAM   CITY OF SANTA ANA
OFFICE OF THE CITY TREASURER            BUSINESS TAX AND REG PERMIT            PO BOX 140336                      BUSINESS TAX SECTION
BUSINESS TAX DIVISION                   DEPT#34370 - PO BOX 39000              IRVING TX 75014-0336               20 CIVIC CTR PLZ
PO BOX 121536                           SAN FRANCISCO CA 94139-0001                                               PO BOX 1964
SAN DIEGO CA 92112-1536                                                                                           SANTA ANA CA 92702-1964
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010512P001-1409A-265              010227P001-1409A-265                     035396P001-1409A-265          032898P001-1409A-265
CITY OF SANTA MONICA              CITY OF SANTA ROSA                       CITY OF SANTA ROSA            CITY OF SAVANNAH
REVENUE DIVISION                  SANTA ROSA POLICE DEPTALARMS             MUNISERVICES LLC              REVENUE DEPT
PO BOX 301026                     MUNISERVICES LLC                         PO BOX 1556                   PO BOX 1968
LOS ANGELES CA 90030-1026         PO BOX 1556                              SANTA ROSA CA 95402           SAVANNAH GA 31402
                                  SANTA ROSA CA 95402



032898S001-1409A-265              009892P001-1409A-265                     010099P001-1409A-265          010244P001-1409A-265
CITY OF SAVANNAH                  CITY OF SAVANNAH REVENUE DEPT            CITY OF SCOTTSDALE            CITY OF SCOTTSDALE
2 EAST BAY ST                     132 E BROUGHTON ST                       7447 EAST INDIAN SCHOOL RD    PO BOX 1949
SAVANNAH GA 31401                 PO BOX 1228                              SUITE110                      SCOTTSDALE AZ 85252-1949
                                  SAVANNAH GA 31402-1228                   SCOTTSDALE AZ 85251




031909P001-1409A-265              010320P001-1409A-265                     032899P001-1409A-265          032899S001-1409A-265
CITY OF SCOTTSDALE                CITY OF SEATTLE                          CITY OF SEATTLE               CITY OF SEATTLE
PO BOX 1570                       REVENUE AND CONSUMER AFFAIRS             PO BOX 35178                  CITY HALL
SCOTTSDALE AZ 85252-1570          PO BOX 34907                             SEATTLE WA 98124              600 FOURTH AVE
                                  SEATTLE WA 98124-1907                                                  SEATTLE WA 98104




010412P001-1409A-265              009800P001-1409A-265                     010420P001-1409A-265          032683P001-1409A-265
CITY OF SHREVEPORT REVENUE DIV    CITY OF SIMPSONVILLE                     CITY OF SIOUX CITY, IOWA      CITY OF SIOUX CITY, IOWA POLICE DEPT
PO BOX 30040                      PO BOX 378                               CUSTOMER SVC                  CUSTOMER SVC
SHREVEPORT LA 71130-0040          SIMPSONVILLE KY 40067                    PO BOX 447                    PO BOX 447
                                                                           SIOUX CITY IA 51102-0447      SIOUX CITY IA 51102-0447




031910P001-1409A-265              032900P001-1409A-265                     032900S001-1409A-265          031911P001-1409A-265
CITY OF SLIDELL                   CITY OF SLIDELL                          CITY OF SLIDELL               CITY OF SOMERVILLE
2045 2ND ST STE 214               UTILITY BILLING                          CITY HALL                     OFFICE OF THE TAX COLLECTOR
PO BOX 828                        PO BOX 828                               2055 SECOND ST                PO BOX 197
SLIDELL LA 70459                  SLIDELL LA 70459                         SLIDELL LA 70458              SOMERVILLE MA 02143-0197




032901P001-1409A-265              031912P001-1409A-265                     010098P001-1409A-265          031913P001-1409A-265
CITY OF SOUTH GATE                CITY OF SOUTHAVEN                        CITY OF SPANISH FORT          CITY OF SPARTANBURG
8650 CALIFORNIA AVE               OFFICE OF THE CITY CLERK                 7361 SPANISH FORT BLVD        PO BOX 1749
SOUTH GATE CA 90280               8710 NORTHWEST DR                        SPANISH FORT AL 36527         SPARTANBURG SC 29304
                                  SOUTHAVEN MS 38671




036442P001-1409A-265              009869P001-1409A-265                     010380P001-1409A-265          032902P001-1409A-265
CITY OF SPARTANBURG               CITY OF SPRINGDALE                       CITY OF SPRINGFIELD           CITY OF SPRINGFIELD UTIL BILLI
PO DRAWER 1749                    SPRINGDALE TAX COMMISSION                DEPT OF FINANCE LICENSE DIV   76 E HIGH ST
SPARTANBURG SC 29304              11700 SPRINGDALE PIKE                    PO BOX 8368                   SPRINGFIELD OH 45502
                                  SPRINGDALE OH 45246                      SPRINGFIELD MO 65801-8368
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032903P001-1409A-265              032903S001-1409A-265                      031914P001-1409A-265                         010369P001-1409A-265
CITY OF ST CLOUD                  CITY OF ST CLOUD                          CITY OF ST JOSEPH                            CITY OF ST MATTHEWS
PO BOX 1501                       CITY HALL                                 1100 FREDERICK AVE                           PO BOX 7097
ST CLOUD MN 56302                 1300 9TH ST                               RM 107                                       LOUISVILLE KY 40257-0097
                                  ST. CLOUD FL 34769                        ST JOSEPH MO 64501




010168P001-1409A-265              010298P001-1409A-265                      031915P001-1409A-265                         010141P001-1409A-265
CITY OF ST PETERS                 CITY OF ST PETERSBURG                     CITY OF STAMFORD DEPT OF HEALTH AND SOCIAL   CITY OF STERLING HEIGHTS
ONE ST PETERS CENTRE BLVD         BUSINESS TAX DIVISION                     SVC                                          DEPARTMENT 296201
ST. PETERS MO 63376               PO BOX 2842                               888 WASHINGTON BLVD                          PO BOX 55000
                                  ST. PETERSBURG FL 33731-2842              STAMFORD CT 06901                            DETROIT MI 48255-2962




032904P001-1409A-265              032904S001-1409A-265                      009915P001-1409A-265                         031916P001-1409A-265
CITY OF STERLING HEIGHTS WATER    CITY OF STERLING HEIGHTS WATER            CITY OF SUNRISE                              CITY OF SWEETWATER
DEPT 181601                       CITY HALL                                 1601 N W 136 AVE                             ALEXIS M ADAMS
PO BOX 55000                      40555 UTICA RD                            BLDG B                                       500 SW 109TH AVE
DETROIT MI 48255                  STERLING HEIGHTS MI 48313                 SUNRISE FL 33323                             SWEETWATER FL 33174




036443P001-1409A-265              032905P001-1409A-265                      032905S001-1409A-265                         010135P001-1409A-265
CITY OF SWEETWATER                CITY OF TACOMA                            CITY OF TACOMA                               CITY OF TALLAHASSEE
500 SW 109TH AVE                  PO BOX 11010                              747 MARKET ST                                ATTENTION: REVENUE DIV
SWEETWATER FL 33174               TACOMA WA 98411                           TACOMA WA 98402                              BOX A-4 300 SOUTH ADAMS ST
                                                                                                                         TALLAHASSEE FL 32301




010410P001-1409A-265              010575P001-1409A-265                      035397P001-1409A-265                         031917P001-1409A-265
CITY OF TAMPA                     CITY OF TAUNTON                           CITY OF TAUNTON                              CITY OF TAUNTON - BOARD OF HEALTH
BUSINESS TAX DIVISION             PO BOX 844506                             PO BOX 4160                                  PADRAIG MARTIN
PO BOX 2200                       BOSTON MA 02284-4506                      WOBURN MA 01888                              45 SCHOOL ST
TAMPA FL 33601                                                                                                           TAUNTON MA 02780




009963P001-1409A-265              010516P001-1409A-265                      031918P001-1409A-265                         010301P001-1409A-265
CITY OF TAYLOR                    CITY OF TAYLOR                            CITY OF TEMECULA                             CITY OF TEMPE
CITY OF TAYLOR -                  PO BOX 335                                41000 MAIN ST                                PO BOX 29618
CITY CLERKS OFFICE                TAYLOR MI 48180-0335                      TEMECULA CA 92590                            PHOENIX AZ 85038-9618
23555 GODDARD RD
TAYLOR MI 48180-4116



010302P001-1409A-265              031919P001-1409A-265                      032906P001-1409A-265                         032906S001-1409A-265
CITY OF TEMPE                     CITY OF TERRE HAUTE                       CITY OF TERRE HAUTE SEWER                    CITY OF TERRE HAUTE SEWER
TAX AND LICENSE DIVISION          TERRE HAUTE FIRE DEPT                     PO BOX 21043                                 17 HARDING AVE
PO BOX 29618                      HEATHER HAY                               TULSA OK 74121                               TERRE HAUTE IN 47807
PHOENIX AZ 85038-9618             17 HARDING AVE
                                  TERRE HAUTE IN 47807
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009949P001-1409A-265           009994P001-1409A-265                010115P001-1409A-265              010052P001-1409A-265
CITY OF THOUSAND OAKS          CITY OF TORRANCE                    CITY OF TRACY                     CITY OF TROY
BUSINESS TAX DEPT              REVENUE DIVISION                    8839 N CEDAR AVE                  500 WEST BIG BEAVER RD
2100 E THOUSAND OAKS BLVD      3031 TORRANCE BLVD                  #212                              TROY MI 48084-5285
THOUSAND OAKS CA 91362-2903    TORRANCE CA 90503                   FRESNO CA 93720




032907P001-1409A-265           032907S001-1409A-265                010291P001-1409A-265              010292P001-1409A-265
CITY OF TROY WATER             CITY OF TROY WATER                  CITY OF TUCSON                    CITY OF TUCSON
PO BOX 554743                  500 WEST BIG BEAVER                 COLLECTIONS                       LICENSE SECTION
DETROIT MI 48255               TROY MI 48084                       PO BOX 27320                      PO BOX 27320
                                                                   TUCSON AZ 85726                   TUCSON AZ 85726




010499P001-1409A-265           031920P001-1409A-265                010222P001-1409A-265              010254P001-1409A-265
CITY OF TUCSON                 CITY OF TUKWILA                     CITY OF TUPELO                    CITY OF TUSCALOOSA
COLLECTIONS SECTION            6200 SOUTHCENTER BLVD               PO BOX 1485                       REVENUE DEPT
PO BOX 27320                   TUKWILA WA 98188-2599               TUPELO MS 38802                   PO BOX 2089
TUCSON AZ 85726-7320                                                                                 TUSCALOOSA AL 35403




010084P001-1409A-265           010384P001-1409A-265                031921P001-1409A-265              010344P001-1409A-265
CITY OF VACAVILLE              CITY OF VANCOUVER                   CITY OF VENTURA                   CITY OF VIENNA
ALARM ADMINISTRATOR            PO BOX 8995                         TREASURY DIVISION                 OFFICE OF THE TREASURER
660 MERCHANT ST                VANCOUVER WA 98668-8995             501 POLI ST                       PO BOX 5097
VACAVILLE CA 95688                                                 VENTURA CA 93001-2697             VIENNA WV 26105-5097




010418P001-1409A-265           010591P001-1409A-265                010116P001-1409A-265              031923P001-1409A-265
CITY OF VISALIA                CITY OF WARWICK, RI                 CITY OF WEST COVINA               CITY OF WEST PALM BEACH
BUSINESS TAX DIVISION          TAX COLLECTOR'S OFFICE              8839 N CEDAR AVE # 212            PO BOX 22088
PO BOX 4002315                 PO BOX 981027                       FRESNO CA 93720                   TAMPA FL 33622
E ACEQUIA                      BOSTON MA 02298-1027
VISALIA CA 93278-4002



010352P001-1409A-265           031924P001-1409A-265                010048P001-1409A-265              010039P001-1409A-265
CITY OF WESTLAND               CITY OF WESTMINSTER                 CITY OF WESTOVER                  CITY OF WICHITA
PO BOX 554887                  8200 WESTMINSTER BLVD               500 DUPONT RD                     455 N MAIN
DETROIT MI 48255-4881          WESTMINSTER CA 92683                WESTOVER WV 26501                 1ST FL
                                                                                                     WICHITA KS 67202




031925P001-1409A-265           009886P001-1409A-265                032684P001-1409A-265              010112P001-1409A-265
CITY OF WOODBURN               CITY OF WOODSTCK                    CITY OF WOODSTCK                  CITY OF YONKERS
270 MONTGOMERY ST              12453 HWY 92                        AUDREY SULLIVAN                   DEPT OF HOUSING AND BUILDINGS
WOODBURN OR 97071              WOODSTOCK GA 30188                  12453 HWY 92                      87 NEPPERHAN AVE 5TH FL
                                                                   WOODSTOCK GA 30188                YONKERS NY 10701
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032908P001-1409A-265            032908S001-1409A-265                 010240P001-1409A-265             010207P001-1409A-265
CITY OF YOUNGSTOWN              CITY OF YOUNGSTOWN                   CITY TAX DEPT                    CITY TREASURER
YOUNGSTOWN WATER DEPT           26 SOUTH PHELPS ST                   PO BOX 1898                      SAN DIEGO POLICE DEPT
PO BOX 6219                     YOUNGSTOWN OH 44503                  HATTIESBURG MS 39403-1898        VICE-ADMINISTRATION - MS 735
YOUNGSTOWN OH 44501                                                                                   PO BOX 121431
                                                                                                      SAN DIEGO CA 92112



010235P001-1409A-265            010574P001-1409A-265                 035405P001-1409A-265             031926P001-1409A-265
CITY TREASURER                  CITY TREASURER                       CITY TREASURER TAX AND           CITY TREASURER TAX AND LICENSE DIVISION
COLUMBUS INCOME TAX DIV         REVENUE DIVISION                     CITY OF TACOMA TAX AND LICENSE   CITY OF TACOMA TAX & LICENSE
PO BOX 182158                   PO BOX 843322                        PO BOX 11640                     PO BOX 11640
COLUMBUS OH 43218-2158          KANSAS CITY MO 64184-3322            TACOMA WA 98411-6640             TACOMA WA 98411-6640




010496P001-1409A-265            032909P002-1409A-265                 032909S001-1409A-265             033893P001-1409A-265
CITY TREASURER WINCHESTER       CITY WATER AND LIGHT                 CITY WATER AND LIGHT             CITY WATER AND LIGHT
PO BOX 263                      ROBIN G GASTEP                       ROBIN G GASTEP                   400 EAST MONROE AVE
WINCHESTER VA 22604-0263        PO BOX 1289                          400 EAST MONROE                  JONESBORO AR 72401
                                JONESBORO AR 72403                   JONESBORO AR 72401




010460P001-1409A-265            033591P001-1409A-265                 010551P001-1409A-265             031236P001-1409A-265
CITY-COUNTY TAX COLLECTOR       CJ VANTAGE ADVERTISER                CLACKAMAS COUNTY TAX COLLECTOR   CLACKAMAS MALL LLC
PO BOX 1400                     160 SPEAR ST                         PO BOX 6100                      GGP-TRS LLC
CHARLOTTE NC 28201-1400         15TH FLOOR                           PORTLAND OR 97228-6100           PO BOX 860117
                                SAN FRANCISCO CA 94105                                                MINNEAPOLIS MN 55486-0117




037521P001-1409A-265            004983P001-1409A-265                 010051P001-1409A-265             010138P001-1409A-265
CLACKAMAS MALL LLC              MALEYA Y CLAPHAM                     CLARK COUNTY BUSINESS LICENCE    CLARK COUNTY TREASURER
AKA CLACKAMAS TOWN CENTER       20019 NOB OAK AVE                    500 S GRAND CENTRAL PKWY         CALLER BOX 35150
BROOKFIELD PROPERTY REIT INC    TAMPA FL 33647                       3RD F BOX 551810                 SEATTLE WA 98124-5150
350 N ORLEANS ST STE 300                                             LAS VEGAS NV 89155-1810
CHICAGO IL 60654-1607



032910P002-1409A-265            032910S001-1409A-265                 009335P001-1409A-265             005783P002-1409A-265
CLARK PUBLIC UTILITIES          CLARK PUBLIC UTILITIES               ALEIA J CLARK                    CHYLIE CLARK
ANGELA WOLFE                    1200 FORT VANCOUVER WAY              4955 CENTURY ST NW               1456 ROSE ST
PO BOX 8900                     VANCOUVER WA 98663-3527              614                              CAPE GIRARDEAU MO 63701
VANCOUVER WA 98668                                                   HUNTSVILLE AL 35816




036446P001-1409A-265            000475P001-1409A-265                 035557P001-1409A-265             005690P001-1409A-265
CODY CLARK                      DANIELLE J CLARK                     ELISABETH CLARK                  KAYLA M CLARK
1460 ZENOBIA ST                 9922 PAXTON RUN RD                   3691 REGENT LN                   5640 HENDERSON OAKS DR
DENVER CO 80204                 CHARLOTTE NC 28277                   WANTAGH NY 11793                 CHARLOTTE NC 28269
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006365P001-1409A-265         009104P001-1409A-265                006556P001-1409A-265              008298P001-1409A-265
KAYLAH P CLARK               KEITH E CLARK                       LATASHA CLARK                     MESSIAH CLARK
5375 SEYMOUR RD              1325 IRIS AVE                       PO BOX 2734                       9051 APTH AVEBURY DR
SWARTZ CREEK MI 48473        IMPERIAL BEACH CA 91932             SILVER SPRING MD 20915            CHARLOTTE NC 28213




005011P001-1409A-265         002713P001-1409A-265                007732P001-1409A-265              001710P001-1409A-265
NIA A CLARK                  REAGAN R CLARK                      SABRINA I CLARK                   SERENA CLARK
8 BRANDLE LN                 27224 WOODGLEN LN                   150 RIPLEY ST                     20 MULBERRY ST
SAVANNAH GA 31405            MORENO VALLEY CA 92555              CAMARILLO CA 93010                APT D
                                                                                                   CLEAR SPRING MD 21722-1972




004897P001-1409A-265         037142P001-1409A-265                030651P001-1409A-265              036386P001-1409A-265
TASHAWNDA CLARK              TASHAWNDA CLARK                     TIFFANY CLARK                     ANGELIAH CLARKE
21 MONTICELLO CV             715 KING ST                         ADDRESS INTENTIONALLY OMITTED     673 CREEKSIDE CIR
JACKSON TN 38305             MANSFIELD OH 44903                                                    GURNEE IL 60031




006273P001-1409A-265         001006P001-1409A-265                003988P001-1409A-265              002719P001-1409A-265
BROOKE A CLARKE              EMILY F CLARKE                      KENDALL R CLARKE                  KIMBERLY J CLARKE
4377 BROOKGLEN ST            130 RAVINE DR APT 16B               13028 VEON DR                     905 E 226TH ST APT 2
MOORPARK CA 93021            MATAWAN NJ 07747                    FISHERS IN 46038                  APT 2
                                                                                                   BRONX NY 10466




005312P002-1409A-265         031928P001-1409A-265                031929P001-1409A-265              032911P001-1409A-265
NATASHA M CLARKE             CLARKSTOWN BUIDING DEPT             CLARKSVILLE CITY                  CLARKSVILLE GAS AND WATER
257 COLBURN ST APT 2         10 MAPLE AVE                        PO BOX 928                        PO BOX 31329
DEDHAM MA 02026              NEW CITY NY 10956-5099              CLARKSVILLE TN 37041-0928         CLARKSVILLE TN 37040




032911S001-1409A-265         033592P001-1409A-265                008874P001-1409A-265              035558P001-1409A-265
CLARKSVILLE GAS AND WATER    CLARO BUSINESS                      KRISTEN M CLAUNCH                 CLAUDIA L CLAVIER
2215 MADISON ST              3350 SW 148TH AVE                   5995 DANDRIDGE LN                 114 KENDRICK DR
CLARKSVILLE TN 37043         MIRAMAR FL 33027                    160                               SLIDELL LA 70461
                                                                 SAN DIEGO CA 92115




032912P001-1409A-265         032912S001-1409A-265                029621P001-1409A-265              036444P001-1409A-265
CLAY ELECTRIC COOP INC       CLAY ELECTRIC COOP INC              AMY M CLAYTON                     CLEAN MANAGEMENT ENVIRONMENTAL
PO BOX 308                   10 CITRUS AVE                       1183 COTTONWOOD DR                PO BOX 1606
KEYSTONE HEIG FL 32656       KEYSTONE HGTS FL 32656              TOMS RIVER NJ 08753               WALTERBORO SC 29488
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031930P001-1409A-265             010432P001-1409A-265                 005188P001-1409A-265             004099P001-1409A-265
CLEANING GROUP, INC              CLEAR CREEK ISD                      HAYLEY CLEARY                    SYMONE C CLEAVES
GLENN GREELEY                    PO BOX 799                           3898 PRINCETON TRL               6927 BISHOPS KNOLL COVE
PO BOX 31                        LEAGUE CITY TX 77574                 EAGAN MN 55123                   BARTLETT TN 38135
WEST ISLIP NY 10001




005855P001-1409A-265             001766P001-1409A-265                 036464P001-1409A-265             003991P001-1409A-265
ELIZABETH A CLECKNER             SIERRA CLEGG                         DANIELLE CLEGHORNE               JORDAN J CLEMENT
20918 NANTICOKE RD               1414 S SMITH RD                      5700 CARBON CANYON RD # 29       1036 W 39TH ST
BIVALVE MD 21814                 URBANA IL 61802-4750                 BREA CA 92823                    310
                                                                                                       NORFOLK VA 23508




007571P001-1409A-265             008716P001-1409A-265                 009861P001-1409A-265             010044P001-1409A-265
LEILANI CLEMENT                  AFRIKA CLEMONS                       CLERK OF COURTS,                 CLERK OF THE CIRCUIT COURT
3610 DENMARK PL                  166 FRANKLIN RD APT B4               CODE ENFORCEMENT                 50 MARYLAND AVE RM 1300
BOWIE MD 20721                   RANDOLPH NJ NJ 07869                 111 NW 1ST ST STE 1750           ROCKVILLE MD 20850
                                                                      MIAMI FL 33128-1981




010032P001-1409A-265             009847P001-1409A-265                 032913P001-1409A-265             032913S001-1409A-265
CLERK OF THE ORANGE COUNTY CT    CLERMONT COUNTY TREASURER            CLERMONT COUNTY WTR RESOURCES    CLERMONT COUNTY WTR RESOURCES
COUNTY CRIMINAL/MISD COURT       101 EAST MAIN ST                     CLERMONT COUNTY TREASURER        4400 HASKELL LN
425 NORANGE AVE2NDFLRSTE250      BATAVIA OH 45103-2961                4400 HASKELL LN                  BATAVIA OH 45103
ORLANDO FL 32801                                                      BATAVIA OH 45103




002519P001-1409A-265             033593P001-1409A-265                 033594P001-1409A-265             037015P001-1409A-265
JHAZZLIN J CLEVELAND             CLIFT                                CLIFT HOTEL SAN FRANCISCO        ALAURA CLINE
249 ABERDEEN CT                  495 GEARY ST                         495 GEARY ST                     250 POSSUM VLY RD
FLUSHING MI 48433                SAN FRANCISCO CA 94105               SAN FRANCISCO CA 94105           MAYNARDVILLE TN 37807-3033




005043P001-1409A-265             004434P001-1409A-265                 036565P001-1409A-265             005680P001-1409A-265
ALAURA D CLINE                   BAILEY K CLINE                       JESSICA CLINE                    TEA K CLINGER
250 POSSUM VLY RD                1444 N FOOTE AVE                     404 PINE ST                      126 CLIFF MITCHELL RD
MAYNARDVILLE TN 37807            COLORADO SPRINGS CO 80909            MILL VALLEY CA 94941             PICAYUNE MS 39466




031931P001-1409A-265             000879P001-1409A-265                 033595P001-1409A-265             034680P001-1409A-265
CLM MIDWEST                      BRANDI M CLOUD                       CLOUDFLARE INC                   CLP DBA EVERSOURCE
C AND L MAINTENANCE INC          738 ATLANTIS RD                      101 TOWNSEND ST                  LEGAL DEPT
TONY PALERMO                     PALM BAY FL 32909                    SAN FRANCISCO CA 94107           HONOR HEATH
2655 ERIE ST                                                                                           107 SELDEN ST
RIVER GROVE IL 60171                                                                                   BERLIN CT 06037
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034680S001-1409A-265                      002936P001-1409A-265                     031932P001-1409A-265                   031933P001-1409A-265
CLP DBA EVERSOURCE                        KACIE N CLUFF                            CMRS-FP                                CNL INTERNATIONAL
PAWEL SAKOWSKI                            6904 W JACKRABBIT LN                     FRANCOTYPPOSTALIA INC                  LARRY LARSON
PO BOX 2899                               PEORIA AZ 85383                          PO BOX 894077                          6600 ARTESIA BLVD
HARTFORD CT 06101                                                                  LOS ANGELES CA 90189-4707              BUENA PARK CA 90620




036445P001-1409A-265                      031934P001-1409A-265                     030803P001-1409A-265                   035322P002-1409A-265
CNL INTERNATIONAL                         CNP SIGNS AND GRAPHICS                   CNTEX INDUSTRY CO LTD                  CNTEX INDUSTRY CO LTD
6600 ARTESIA BLVD                         CALIFORNIA NEON PRODUCTS                 SAM ZHU                                SAM ZHU
BUENA PARK CA 90620                       TERRY DILGARD                            6B 118 CHENGJIANG M RD                 714 PHOENIX TOWER
                                          4530 MISSION GORGE PL                    JIANGYIN, JIANGSU 214431               30 FENGHUANG ROAD
                                          SAN DIEGO CA 92120                       CHINA                                  JIANGYIN JIANGSU 214431
                                                                                                                          CHINA


036184P001-1409A-265                      037943P002-1409A-265                     010327P002-1409A-265                   010327S001-1409A-265
CNTEX INDUSTRY CO LTD                     CO- ARAPAHOE COUNTY TREASURER            CO- CITY AND COUNTY OF BROOMFIELD      CO- CITY AND COUNTY OF BROOMFIELD
7/F RMS 14-16 PHOENIX TOWER               BANKRUPTCY DIVISION                      ANDREW POST                            KIMBERLY A FEIFER
30 FENGHUANG RD JIANGYIN                  LAURENE LUEBKE                           ONE DES COMBES DR                      REVENUE MANAGER
JIANGYIN JIANGSU                          5334 S PRINCE ST                         BROOMFIELD CO 80020                    ONE DES COMBES DR
CHINA (214400)                            LITTLETON CO 80120                                                              BROOMFIELD CO 80020



037876P002-1409A-265                      010050P002-1409A-265                     037868P002-1409A-265                   035299P001-1409A-265
CO- CITY AND COUNTY OF DENVER/TREASURY    CO- CITY OF LOVELAND                     CO- CITY OF PUEBLO                     CO- DOUGLAS COUNTY TREASURER
SPECIALIZED AUDIT SUPPORT TEAM            KAY COX                                  CITY OF PUEBLO COLORADO                DAVID GILL
201 W COLFAX AVE DEPARTMENT 1001          500 E THIRD ST STE 100                   SALES TAX DEPARTMENT                   100 THIRD ST STE 120
DENVER CO 80202                           LOVELAND CO 80537                        ONE CITY HALL PLACE                    CASTLE ROCK CO 80104
                                                                                   PUEBLO CO 81003



035262P001-1409A-265                      010270P002-1409A-265                     010270S001-1409A-265                   010146P002-1409A-265
CO- EL PASO COUNTY TREASURER              CO- LARIMER COUNTY TREASURER             CO- LARIMER COUNTY TREASURER           CO- MESA COUNTY TREASURER
PO BOX 2018                               PO BOX 2336                              VICKY GLASS                            SHEILA REINER
COLORADO SPRINGS CO 80901                 FORT COLLINS CO 80522-2336               PO BOX 1250                            DEPT 5027 PO BOX 20000
                                                                                   FT COLLINS CO 80522                    GRAND JUNCTION CO 81502-5001




009952P002-1409A-265                      001329P001-1409A-265                     037533P001-1409A-265                   037533S001-1409A-265
CO- PUEBLO COUNTY TRASURER                RONALD J COAKLEY                         COASTAL GRAND CMBS LLC                 COASTAL GRAND CMBS LLC
LOUISE SELZER                             4368 FAIRWOOD DR                         BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
215 WEST 10TH ST RM 110                   CONCORD CA 94521                         GARY RODDY                             CALEB HOLZAEPFEL
PUEBLO CO 81003-2935                                                               2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300
                                                                                   CHATTANOOGA TN 37421                   CHATTANOOGA TN 37402



031237P001-1409A-265                      037383P001-1409A-265                     031238P001-1409A-265                   003618P001-1409A-265
COASTAL GRAND, LLC                        COASTLAND CENTER LLC                     COASTLAND CENTER, LP                   NYKIA COATES
PO BOX 74232                              BROOKFIELD PROPERTY REIT INC             SDS-12-1695                            12765 VIA POSADA WAY
CLEVELAND OH 44194-4232                   JULIE M BOWDEN                           PO BOX 86                              VICTORVILLE CA 92392
                                          350 N ORLEANS ST STE 300                 MINNEAPOLIS MN 55486-1695
                                          CHICAGO IL 60654-1607
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006967P001-1409A-265      010361P001-1409A-265                      010444P001-1409A-265           009696P001-1409A-265
SABRINA E COBARRUBIO      COBB COUNTY BUSINESS LICENSE              COBB COUNTY TAX COMMISSIONER   JASMINE COBB
6469 VIA DEL PRADO        PO BOX 649                                PO BOX 100127                  5061 TIMICUAN WAY
CHINO HILLS CA 91709      MARIETTA GA 30061-0649                    MARIETTA GA 30061-7027         SUMMERVILLE SC 29485




003342P001-1409A-265      004740P001-1409A-265                      005873P001-1409A-265           007451P001-1409A-265
CATIE A COBBLE            JADA L COBBS                              TIFFANY COBOURNE               EMILY M COBURN
1008 PIKE ST              944 D OAK CREEK CR                        1008 NIAGARA RD                80 STOCK OPTION ST
CLINTON IN 47842          DOUGLASVILLE GA 30134                     CAMDEN NJ 08104                UNIT 3
                                                                                                   HENDERSON NV 89074




030698P002-1409A-265      009857P001-1409A-265                      007055P001-1409A-265           033596P001-1409A-265
COCO LINGERIE LLC         COCONINO COUNTY TREASURER                 MONET COEFIELD                 COFACE NORTH AMERICA INSURANCE
1239 BROADWAY STE 1500    110 E CHERRY AVE                          69 BIRCH DR                    50 MILLSTONE RD
NEW YORK NY 10001-4303    FLAGSTAFF AZ 86001-4627                   LEVITTOWN PA 19054             BLDG 100 STE 360
                                                                                                   EAST WINDSOR NJ 08520




000474P001-1409A-265      031935P001-1409A-265                      009269P001-1409A-265           009350P001-1409A-265
COURTNEY R COFER          COFFEE 'N CLOTHES                         KAITLYN M COFFEE               MORGAN T COFFEY
3140 SHELLHART RD         RYAN GLICK                                2380 SPRINGWOOD LN LAUREL HA   95 SAUNOOKE LN
NORTON OH 44203           255 WEST 10TH ST                          109A                           STE B9 447
                          #5FS                                      FAIRBORN OH 45324              MARBLE NC 28905
                          NEW YORK NY 10014



001709P001-1409A-265      031936P001-1409A-265                      002410P001-1409A-265           002436P001-1409A-265
MAYKALA D COFFIEL         COGNIZANT TECHNOLOGY SOLUTIONS            ALYSSA R COHEN                 KELLY A COHEN
10271 BROWNE ST           OVERSEAS CORP                             4317 JUDSON AVE                539 OVINGTON AVE
OMAHA NE 68134-2519       SANGEETHA JAGANATHAN                      5                              APT A6
                          500 FRANK W BURR BLVD 3F                  ROYAL OAK MI 48073             BROOKLYN NY 11209
                          TEANECK NJ 07666



002153P001-1409A-265      035559P001-1409A-265                      006537P001-1409A-265           008968P001-1409A-265
KASEY COKELEY             KASEY COKELEY                             ANNA J COLANTUONO              ROBYN COLAOMORGAN
813 CANDLESTICK LN SW     2790 STRATFORD LN SW #3134                2815 PALM AVE                  11220 W 102ND AVE
TUMWATER WA 98512         TUMWATER WA 98512                         A                              WESTMINSTER CO 80021
                                                                    SAN DIEGO CA 92154




001983P001-1409A-265      004725P001-1409A-265                      037285P001-1409A-265           004036P001-1409A-265
BLANCA L COLATO           DONNA COLBERT                             FRANITA COLBERT                FRANITA M COLBERT
18 CALLA ST               16315 RAPIDCREEK DR                       2430 W PRAIRIE ST              2430 W PRAIRIE ST
1                         HOUSTON TX 77053                          UNIT 3                         UNIT 3
PROVIDENCE RI 02905                                                 DENTON TX 76201                DENTON TX 76201
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005909P001-1409A-265              030273P001-1409A-265                     002113P001-1409A-265         006678P001-1409A-265
ALEYSHA L COLE                    CHAVONA COLE                             CHAVONA B COLE               DOMINICK L COLE
2452 KNIGHTWAY DR                 ADDRESS INTENTIONALLY OMITTED            103 TORI CT                  9445 E 39TH PL
GRETNA LA 70056                                                            CARENCRO LA 70520-6427       TULSA OK 74145




003350P001-1409A-265              003031P002-1409A-265                     007044P001-1409A-265         002307P001-1409A-265
MEGAN COLE                        OLIVIA COLE                              SARAH E COLE                 TAYLER J COLE
5897 S KINGS HWY LOT 103          1225 E MEDLOCK DR UNIT 108               3601 NW HILL RD              4005 CLOVER RIDGE CT
MYRTLE BEACH SC 29575             PHOENIX AZ 85014-3330                    MCMINNVILLE OR 97128         TOLEDO OH 43623




002141P001-1409A-265              004392P001-1409A-265                     035560P001-1409A-265         033227P001-1409A-265
ALEXIS E COLEMAN                  AMANDA P COLEMAN                         ANGELIQUE J COLEMAN          AUDREY COLEMAN
36211 JACKSON ST                  255 COUNTY RTE 68                        1712 BROOKFIELD ST           3936 SILINA DR
36211 JACKSON                     SARATOGA SPRINGS NY 12866                RICHMOND VA 23222            VIRGINIA BEACH VA 23452
NEW BALTIMORE MI 48047




004440P001-1409A-265              008987P001-1409A-265                     008928P001-1409A-265         030310P001-1409A-265
CASEY A COLEMAN                   CHELSIE J COLEMAN                        CIERA L COLEMAN              DELISHA COLEMAN
1303 WOODCREST DR                 1054 EAST BROADWATER RD                  710 COLUMBIA ST NE           ADDRESS INTENTIONALLY OMITTED
HAMPTON VA 23669                  BYRAM MS 39272                           ROANOKE VA 24019




008240P001-1409A-265              036519P001-1409A-265                     001167P001-1409A-265         003490P001-1409A-265
FELICITY COLEMAN                  GAYLEN COLEMAN                           GAYLEN D COLEMAN             HANA M COLEMAN
LAWRENCE HALL 650 1ST AVE SOUT    6321 N KLAMM RD APT 345                  6321 N KLAMM RD APT 345      104 CEDARCREST AVE
205                               KANSAS CITY MO 64151                     KANSAS CITY MO 64151         PLEASANTVILLE NJ 08232
SAINT CLOUD MN 56301




006381P001-1409A-265              002228P001-1409A-265                     004095P001-1409A-265         004196P001-1409A-265
KALIE M COLEMAN                   KELLI M COLEMAN                          KENNEDI B COLEMAN            KIRA L COLEMAN
321 S HIGHLANDER WAY APT 14       6210 DESERT ROSE                         3500 S 74TH ST               817 CHESNUT ST
HOWELL MI 48843                   NEW BRAUNFELS TX 78132                   4I                           509
                                                                           FORT SMITH AR 72903          SAN MARCOS TX 78666




035561P001-1409A-265              001110P001-1409A-265                     002365P001-1409A-265         007712P001-1409A-265
KIRA L COLEMAN                    MARIEANNETTE COLEMAN                     MARISA P COLEMAN             PAULA J COLEMAN
510 SOUTH SMYLIE ST               24103 AYSCOUGH LN                        3280 LEEWARD CIR             109 WINDMERE COVE
BROOKHAVEN MS 39601               KATY TX 77493-3452                       WALWORTH NY 14568            PADUCAH KY 42001
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005219P002-1409A-265             009294P001-1409A-265                000690P001-1409A-265              006233P001-1409A-265
STEPHANIE E COLEMAN              CAITLIN F COLENBURG                 GABRIELL K COLERICK               CHLOE COLES
16 JOHN BURKE DR                 325 BRASSY CT                       717 WELLS ST                      46379 CABIN CT
ROCKLAND MA 02370-2441           ALPHARETTA GA 30022                 MORGANTOWN WV 26505               TEMECULA CA 92592




031937P001-1409A-265             009618P001-1409A-265                007371P001-1409A-265              002612P001-1409A-265
COLETTE ROBINSON                 ALICIA L COLIN                      CRISTIAN O COLLAZO                FELISHA D COLLAZO
47 UPLAND AVE                    1615 FRANKLIN AVE                   BO TALANTE                        8241 MONTARA AVE
MILL VALLEY CA 94941             DES MOINES IA 50314                 SECTOR GARCIA                     RANCHO CUCAMONGA CA 91730
                                                                     MAUNABO PR 00707




007211P001-1409A-265             010125P001-1409A-265                031239P001-1409A-265              009903P001-1409A-265
LILA M COLLAZO                   COLLECTOR OF REVENUE                COLLEGE MALL                      COLLEGE TOWNSHIP MUNICIPAL OFF
257 RAMO DR                      940 BOONVILLE                       SIMON PROPERTY GROUP LP           1481 EAST COLLEGE AVE
ROCHESTER NY 14606               SPRINGFIELD MO 65802                867655 RELIABLE PKWY              STATE COLLEGE PA 16801
                                                                     CHICAGO IL 60686-0076




030267P001-1409A-265             037816P001-1409A-265                004683P001-1409A-265              010004P001-1409A-265
CASEY M COLLEGE                  COLLETTE HAMERSKY                   OLIVIA R COLLEY                   COLLIER COUNTY TAX COLLECTOR
ADDRESS INTENTIONALLY OMITTED    930 ELDON DR                        20316 COUNTRY SIDE DR             3291 E TAMIAMI TRL
                                 LINCOLN NB 68510                    MACOMB MI 48044                   NAPLES FL 34112-5758




002426P001-1409A-265             025144P001-1409A-265                004837P001-1409A-265              031939P001-1409A-265
ALEXANDRA T COLLIER              LANITTA COLLIER                     TAIYANNA COLLINGTON               COLLINS FAMILY JEWELERS
408 PINECREST CIR                2400 EAST NIFONG BLVD               12 C GRANADA ST                   CHEALSEA COLLINS
LONG BEACH MS 39560              1007                                ASHEVILLE NC 28806                8220 MIRA MESA BLVD
                                 COLUMBIA MO 65201                                                     SAN DIEGO CA 92126




003815P001-1409A-265             003657P001-1409A-265                009244P001-1409A-265              004026P001-1409A-265
AFIESHA COLLINS                  ALEXIS C COLLINS                    ARIANNA A COLLINS                 HALEY COLLINS
6705 CHERRYFIELD RD              59 CARSON                           3422 WONDERVIEW DR                711 SE FOREST GLEN ROAD
FORT WASHINGTON MD 20744         IRVINE CA 92620                     DAYTON OH 45414                   ESTACADA OR 97023




035562P001-1409A-265             005489P001-1409A-265                035563P001-1409A-265              004811P001-1409A-265
KATHERINE K COLLINS              KIANTE K COLLINS                    KIANTE K COLLINS                  LATOIA S COLLINS
1670 KAYLA LN                    460 E BLACKSTOCK RD                 408 ABNER RD APT C8               840 W ALMA AVE
#1D                              APT H60                             APT C8                            FLINT MI 48505
WAUKEGAN IL 60087                SPARTANBURG SC 29301                SPARTANBURG SC 29301
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001098P001-1409A-265                     035564P001-1409A-265                            006659P001-1409A-265                 030148P002-1409A-265
RYAN L COLLINS                           RYAN L COLLINS                                  SHAKIRA COLLINS                      STEVEN COLLINS
15 ARDEN RD                              305 SIMPSON ST                                  411 110TH ST CT E                    ADVENT INTERNATIONAL
APT A                                    205                                             D 101                                800 BOYLSTON ST STE 3300
ASHEVILLE NC 28803-2709                  ASHEVILLE NC 28803-2709                         TACOMA WA 98445                      BOSTON MA 02199-8069




009130P001-1409A-265                     008463P001-1409A-265                            002943P001-1409A-265                 005710P001-1409A-265
SUMMER R COLLINS                         TIFFANY D COLLINS                               SHAQUEYA M COLLYMOREBEY              CHRISTY COLMAR
28350 SIBLEY RD                          2839 MAPLETON AVE                               1 FERRUZZA DR                        11000 GULF BLVD
ROMULUS MI 48174                         NORFOLK VA 23504                                CHESTNUT RIDGE NY 10977              #1503
                                                                                                                              TREASURE ISLAND FL 33706




002044P001-1409A-265                     005604P001-1409A-265                            003892P001-1409A-265                 005902P001-1409A-265
ELIJAH COLON                             GABRIELLE COLON                                 MARIA T COLON                        NAJABI L COLON
91 WELDON ST                             603 EAST 23RD ST                                26 HEALEY ST                         39 KEENE ST
APT 2                                    GREELEY CO 80631                                SPRINGFIELD MA 01151                 NEW BEDFORD MA 02740
BROOKLYN NY 11208-2824




030924P001-1409A-265                     036185P001-1409A-265                            000309P001-1409A-265                 000362P001-1409A-265
COLOR STORY INC                          COLOR STORY INC                                 COLORADO ATTORNEY GENERAL            COLORADO ATTORNEY GENERAL
VINCE JI                                 3257 E 26TH ST                                  CYNTHIA COFFMAN                      CONSUMER PROTECTION SECTION
3257 E 26TH ST                           VERNON CA 90058                                 RALPH L CARR COLORADO JUDICIAL CTR   COLORAD DEPT OF LAW
VERNON CA 90058                                                                          1300 BROADWAY 10TH FL                RALPH L CARR JUDICIAL BLDG
                                                                                         DENVER CO 80203                      1300 BROADWAY 7TH FL
                                                                                                                              DENVER CO 80203


000120P001-1409A-265                     000415P001-1409A-265                            000030P001-1409A-265                 009742P001-1409A-265
COLORADO DEPRTMENT OF REVENUE            COLORADO DEPT OF PERSONNEL AND ADMINISTRATION   COLORADO DEPT OF PUBLIC HEALTH       COLORADO DEPT OF REVENUE
1375 SHERMAN ST                          UNCLAIMED PROPERTY DIVISION                     AND ENVIRONMENT                      DENVER CO 80261-0005
DENVER CO 80261                          1580 LOGAN ST                                   4300 CHERRY CREEK DR SOUTH
                                         DENVER CO 80203                                 DENVER CO 80246-1530




000193P001-1409A-265                     035565P001-1409A-265                            004833P001-1409A-265                 008195P002-1409A-265
COLORODO DEPT OF LABOR AND EMPLOYMENT    RAEVYN O COLQUIT                                TYJUANNA D COLQUITT                  TEANA L COLSTON
EXECUTIVE DIRECTOR                       571 WILSON ST                                   3390 N LUMPKIN RD APT 1202           411 PARKWAY BLVD
633 17TH ST                              WATERBURY CT 06708                              COLUMBUS GA 31903                    ELIZABETHTON TN 37643
STE 201
DENVER CO 80202-3660



032914P001-1409A-265                     032914S001-1409A-265                            032915P001-1409A-265                 032915S001-1409A-265
COLUMBIA GAS OF KENTUCKY                 COLUMBIA GAS OF KENTUCKY                        COLUMBIA GAS OF MA                   COLUMBIA GAS OF MA
PO BOX 742523                            CORP SVC CO                                     PO BOX 742514                        CORP SVC CO
CINCINNATI OH 45274                      421 WEST MAIN ST                                CINCINNATI OH 45274                  84 STATE ST
                                         FRANKFORT KY 40601                                                                   BOSTON MA 02109
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032916P001-1409A-265                            032916S001-1409A-265                           032917P001-1409A-265           032917S001-1409A-265
COLUMBIA GAS OF OHIO                            COLUMBIA GAS OF OHIO                           COLUMBIA GAS OF PENNSYLVANIA   COLUMBIA GAS OF PENNSYLVANIA
PO BOX 742510                                   CSC-LAWYERS INCORPORATING SERV                 PO BOX 742537                  REVENUE RECOVERY
CINCINNATI OH 45274                             50 WEST BROAD ST STE 1800                      CINCINNATI OH 45274            PO BOX 117
                                                COLUMBUS OH 43215                                                             COLUMBUS OH 43216




037513P001-1409A-265                            031240P001-1409A-265                           034142P002-1409A-265           031940P001-1409A-265
COLUMBIA MALL LLC                               COLUMBIA MALL LLC (MO)                         COLUMBIA OMNI CORP             COLUMBIA OMNICORP
AKA COLUMBIA MALL MO                            GGP LIMITED PARTNERSHIP                        48 W 37TH ST FRNT 1            ROCIO CORPORAN
BROOKFIELD PROPERTY REIT INC                    PO BOX 775769                                  NEW YORK NY 10018-7303         14 WEST 33RD ST
350 N ORLEANS ST STE 300                        CHICAGO IL 60677-5769                                                         NEW YORK NY 10001
CHICAGO IL 60654-1607



031241P001-1409A-265                            037504P001-1409A-265                           010599P001-1409A-265           033597P001-1409A-265
COLUMBIA PLACE MALL SC LLC                      COLUMBIANA CENTRE LLC                          COLUMBUS CONSOLIDATED GOV      COLUMBUS CONSULTING INTERNATIONAL LLC
9103 ALTA DR                                    BROOKFIELD PROPERTY REIT INC                   FINANCE DEPT                   4200 REGENT ST
STE 204                                         JULIE M BOWDEN                                 REVENUE DIVISION OCCUPATION    STE 200
LAS VEGAS NV 89145                              350 N ORLEANS ST STE 300                       TAX SECTION                    COLUMBUS OH 43219
                                                CHICAGO IL 60654-1607                          PO BOX 911
                                                                                               COLUMBUS GA 31902-0911


009786P001-1409A-265                            032918P002-1409A-265                           007980P001-1409A-265           031941P001-1409A-265
COLUMBUS INCOME TAX DIVISION                    COLUMBUS WATER WORKS                           KARRI P COLVIN                 COMAL COUNTY TAX OFFICE
PO BOX 182437                                   SONJA A BRYANT                                 552 AZALEA RD                  CATHY C TALCOTT PCC
COLUMBUS OH 43218-2437                          1421 VETERANS PKWY                             MOBILE AL 36609                PO BOX 659480
                                                COLUMBUS GA 31902                                                             SAN ANTONIO TX 78265-9480




035412P001-1409A-265                            035412S001-1409A-265                           032919P001-1409A-265           032919S001-1409A-265
COMAL COUNTY TAX OFFICE                         COMAL COUNTY TAX OFFICE                        COMED                          COMED
PO BOX 659480                                   MCCREARY VESELKA BRAGG AND ALLEN PC            PO BOX 6111                    10 S DEARBORN ST
SAN ANTONIO TX 78265-9480                       TARA LEDAY                                     CAROL STREAM IL 60197          CHICAGO IL 60603
                                                PO BOX 1269
                                                ROUND ROCK TX 78680



037920S001-1409A-265                            037920P002-1409A-265                           009230P001-1409A-265           990000P000-1409A-265
TANYA YVETTE COMER                              TANYA YVETTE COMER                             CHANEL S COMER                 COMM 2014 CCRE16 SW
DASHEVSKY HORWITZ KUHN ET AL                    5532 WILLOWS AVE                               462 IRA ST SW APT2             WANAMAKER ROAD LLC
EDWIN DASHEVSKY                                 PHILADELPHIA PA 19143                          ATLANTA GA 30312               4600 MADISON AVE STE 1000
1315 WALNUT ST 12TH FL                                                                                                        KANSAS CITY MO 64112
PHILADELPHIA PA 19107



037925P002-1409A-265                            034364P001-1409A-265                           031942P001-1409A-265           033396P001-1409A-265
COMM 2014 CCRE16 SW WANAMAKER RD/ WEST RIDGE    COMM COMMERCIAL MORTGAGE PASS-THR              COMMERCIAL OFFICE INTERIORS    COMMISSION JUNCTION INC
TRANSFEROR: WEST RIDGE MALL LLC                 RSS COMM2012CCRE4NV FOLV LLC                   INSIDE SOURCE WASHINGTON INC   4140 SOLUTIONS CTR
4600 MADISON AVE STE 1000                       9062 OLD ANNAPOLIS RD                          MILLIE BLAAKMAN                CHICAGO IL 60677-4001
KANSAS CITY MO 64112                            COLUMBIA MD 21045                              2601 4TH AVE
                                                                                               STE 700
                                                                                               SEATTLE WA 98121
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010156P001-1409A-265               010019P001-1409A-265                            032786P001-1409A-265                     010477P001-1409A-265
COMMISSIONER OF REVENUE            COMMISSIONER OF TAXATION                        COMMISSIONER OF TAXATION                 COMMISSIONER OF THE REVENUE
MINNESOTA DEPART OF REVENUE        DIV OF TAXATION CITY OF MAUMEE                  90 SOUTH RIDGE ST                        PO BOX 175
MAIL STATION 1750                  400 CONANT ST                                   RYE BROOK NY 10573                       9104 COURTHOUSE RD
SAINT PAUL MN 55146-1750           MAUMEE OH 43537-3300                                                                     SPOTSYLVANIA VA 22553-0175




003364P001-1409A-265               036369P001-1409A-265                            035295P001-1409A-265                     010183P001-1409A-265
CHRISTINA A COMMISSO               ALGONQUIN COMMONS                               COMMONWEALTH EDISON CO                   COMMONWEALTH OF MASSACHUSETTS
29 HANES ST                        MATTHEW MASON AS RECEIVER OF                    COMED BANKRUPTCY DEPT                    MASSACHUSETTS DEPT OF REVENUE
ALBANY NY 12203                    ALGONQUIN COMMONS                               1919 SWIFT DR                            PO BOX 7046
                                   320 NORTH MAIN ST STE 200                       OAK BROOK IL 60523                       BOSTON MA 02204
                                   ANN ARBOR MI 48104



010366P001-1409A-265               000121P001-1409A-265                            000461P001-1409A-265                     030791P001-1409A-265
COMMONWEALTH OF MASSACHUSETTS      COMMONWEALTH OF MASSACHUSETTS DEPT OF REVENUE   COMMONWEALTH OF PUERTO RICO              COMMONWEALTH OF VIRGINIA
MASSACHUSETTS DEPTOF REVENUE       PO BOX 7010                                     COMMISSIONER OF FINANCIAL INSTITUTIONS   NORFOLK GEN DIST CT TRAFFIC DI
PO BOX 7043                        BOSTON MA 02204                                 UNCLAIMED PROPERTY DIVISION              811 E CITY HALL AVE RM3
BOSTON MA 02204                                                                    PO BOX 11855                             NORFOLK VA 23510
                                                                                   SAN JUAN PR 00910-3131



031943P001-1409A-265               037267P001-1409A-265                            037267 001-1409A-265                     031944P001-1409A-265
COMMONWEALTH PACKAGING CO INC      COMMUNICATION RESOURCES INC                     COMMUNICATION RESOURCES INC              COMMUNICATION RESOURCES, INC
JAKE MARTIN                        550 W YALE AVE                                  Michelle McCarthy                        MICHELLE MCCARTHY 303-202-9454
5490 LINGLESTOWN RD                SUITE #A1207                                    7550 W Yale Ave                          7550 W YALE AVE
HARRISBURG PA 17112                DENVER CO 80227                                 Suite #A120                              STE A-120
                                                                                   Denver CO 80227                          DENVER CO 80227



034321P001-1409A-265               033250P002-1409A-265                            033598P001-1409A-265                     030925P001-1409A-265
COMMUNICATION RESOURCES, INC       COMMUNICATION STRATEGIES                        COMMVAULT SYSTEMS INC                    COMPENDIUM INC
7550 W YALE AVE                    1222 GRANDVIEW RD                               1 COMMVAULT WAY                          CARIN MOORE
STE A-120                          SEBASTOPOL CA 95472-2937                        TINTON FALLS NJ 07724                    2100 N PACIFIC ST
DENVER CO 80227                                                                                                             SEATTLE WA 98103




031945P001-1409A-265               036447P001-1409A-265                            009757P001-1409A-265                     032784P001-1409A-265
COMPLIANCE POSTER CO               COMPLIANCE POSTER CO                            COMPTROLLER OF MARYLAND                  COMPTROLLER OF MARYLAND
GLOBAL COMPLIANCE INC              PO BOX 607                                      REVENUE ADMINISTRATION DIVISION          REVENUE ADMINISTRATION DIVISION
PO BOX 607                         MONROVIA CA 91016                               110 CARROLL ST                           ANNAPOLIS MD 21411
MONROVIA CA 91016                                                                  ANNAPOLIS MD 21411-0001




000122P001-1409A-265               009860P001-1409A-265                            032722P001-1409A-265                     009990P001-1409A-265
COMPTROLLER OF MARYLAND REVENUE    COMPTROLLER OF PUBLIC ACCOUNTS                  COMPTROLLER OF THE TREASURY              COMPTROLLERS OFFICE OF MD
REVENUE ADMINISTRATION CTR         111 EAST 17TH ST                                REVENUE ADMIN DIVISION                   301 W PRESTON ST
80 CALVERT ST                      AUSTIN TX 78774-0100                            ANNAPOLIS MD 21411-0001                  #408
ANNAPOLIS MD 21404                                                                                                          BALTIMORE MD 21201
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031946P001-1409A-265             033483P001-1409A-265                     032920P001-1409A-265                 032920S001-1409A-265
COMPU MARK                       COMPUWARE CORP                           CON EDISON                           CON EDISON
PO BOX 71892                     BRIDGET GREEN                            JAF STATION                          LAW DEPT
CHICAGO IL 60694-1892            ONE CAMPUS MARTIUS                       PO BOX 1702                          4 IRVING PL RM 1875
                                 DETROIT MI 48226-5099                    NEW YORK NY 10116                    NEW YORK NY 10003




006955P001-1409A-265             004404P001-1409A-265                     037670P001-1409A-265                 002792P001-1409A-265
CALLIA D CONCEPCION              SHANIA S CONCEPCION                      TATYANA CONCEPCION                   TATYANA A CONCEPCION
1255 SUMNER AVE                  3562 WEST ST                             689 PORT RICHMOND AVE                689 PRT RICHMOND AVE
EL CAJON CA 92021                LEMON GROVE CA 91945                     STATEN ISLAND NY 10302               STATEN ISLAND NY 10302




031242P001-1409A-265             031947P001-1409A-265                     031947S001-1409A-265                 007803P001-1409A-265
CONCORD MILLS                    CONCUR TECHNOLOGIES, INC                 CONCUR TECHNOLOGIES, INC             COLBY CONDE
MALL ST CONCORD MILLS LIMITED    62157 COLLECTIONS CTR DR                 601 108TH AVE NE STE 1000            1050 S TER RD
PO BOX 100451                    CHICAGO IL 60693                         BELLEVUE WA 98004                    TEMPE AZ 85281
ATLANTA GA 30384-0451




033397P001-1409A-265             003322P002-1409A-265                     032921P001-1409A-265                 032921S001-1409A-265
CONDUENT HR CONSULTING LLC       SOPHIA L CONE                            CONEDISON SOLUTIONS                  CONEDISON SOLUTIONS
JANNA ELMAN                      801 W CRESTWOOD DRIVE APT 302            PO BOX 223246                        100 SUMMIT LAKE DR
420 LEXINGTON AVE                PEORIA IL 61614                          PITTSBURGH PA 15251                  SUITE 410
NEW YORK NY 10170                                                                                              VALHALLA NY 10595-1337




003331P001-1409A-265             003331S001-1409A-265                     000865P001-1409A-265                 007788P001-1409A-265
ARIEL L CONERLY                  ARIEL L CONERLY                          ABBEY R CONLON                       ANNA CONLON
PO BOX 118                       221 FAITH HILL ST                        18 MARGARET AVE                      5848 NW ALPHA CT
KOKOMO MS 39643                  RIDGELAND MS 39157                       ARCHBALD PA 18403                    PORT SAINT LUCIE FL 34986




005538P001-1409A-265             035566P001-1409A-265                     000031P001-1409A-265                 000416P001-1409A-265
TAURA C CONLY                    TAURA C CONLY                            CONNECTICUT                          CONNECTICUT - OFFICE OF THE STATE TREASURER
1020 GDN WOODS DR                1020 GARDEN WOODS DR                     DEPT OF ENVIRONMENTAL PROTECTION     UNCLAIMED PROPERTY DIVISION
HOOVER AL 35244                  HOOVER AL 35244                          79 ELM ST                            PO BOX 5065
                                                                          HARTFORD CT 06106-5127               HARTFORD CT 06102




000310P001-1409A-265             000194P001-1409A-265                     037827P001-1409A-265                 031948P001-1409A-265
CONNECTICUT ATTORNEY GENERAL     CONNECTICUT DEPT OF LABOR                CONNECTICUT DEPT OF REVENUE SVC      CONNECTION
GEORGE C JEPSEN                  COMMISSIONER                             CT DEPT OF REVENUE SVC               MOREDIRECT INC
55 ELM ST                        200 FOLLY BROOK BLVD                     450 COLUMBUS BLVD STE 1              TRISH ZDRAVECKY
HARTFORD CT 06141-0120           WETHERSFIELD CT 06109                    COLLECTIONS UNIT - BANKRUPTCY TEAM   PO BOX 536464
                                                                          HARTFORD CT 06103                    PITTSBURGH PA 15253-5906
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009116P001-1409A-265             007276P001-1409A-265                     003495P001-1409A-265               006710P001-1409A-265
BRITTANY M CONNER                HALEY M CONNER                           HANNAH J CONNER                    TERI A CONNER
13225 AQUEDUCT DR                146 HORSESHOE DR                         146 HORSESHOE DR                   7910 CITRUS GDN
APT 2                            FREEPORT PA 16229                        FREEPORT PA 16229                  TAMPA FL 33625
NEWPORT NEWS VA 23602




035567P001-1409A-265             031949P001-1409A-265                     001531P001-1409A-265               000680P001-1409A-265
TERI A CONNER                    CONNEXITY                                OLIVIA J CONNOR                    TRACI M CONNOR
7910 CITRUS GARDEN               PO BOX 740539                            3726 COLD CREEK DR                 7428 CUMBERLAND CIR
TAMPA FL 33625                   LOS ANGELES CA 90074-0539                VALRICO FL 33596                   FLORENCE KY 41042




033599P001-1409A-265             005270P001-1409A-265                     002366P001-1409A-265               031950P002-1409A-265
CONNORS GROUP                    MAIA L CONRADFULLER                      MICHELLE CONRADO                   CONSOLIDATED FIRE PROTECTION
645 E PITTSBURGH ST              3113 SOUTHWOOD DR                        12011 CANERIDGE RD                 CFP FIRE PROTECTION INC
#242                             HIGHLAND VILLAGE TX 75077                SAN DIEGO CA 92128                 RICHARD HELLEWELL
GREENSBURG PA 15601                                                                                          153 TECHNOLOGY DR STE 200
                                                                                                             IRVINE CA 92618



036449P001-1409A-265             033266P001-1409A-265                     033265P001-1409A-265               032922P001-1409A-265
CONSOLIDATED FIRE PROTECTION     CONSTELLATION NEW ENERGY INC             CONSTELLATION NEW ENERGY INC CNE   CONSTELLATION NEWENERGY INC
153 TECHNOLOGY DR STE 200        1310 POINT ST                            1310 POINT ST                      14217 COLLECTIONS CTR DR
IRVINE CA 92618                  BALTIMORE MD 21231                       BALTIMORE MD 21231                 CHICAGO IL 60693




032923P001-1409A-265             032923S001-1409A-265                     030366P001-1409A-265               000405P001-1409A-265
CONSTELLATION NEWENERGY INC      CONSTELLATION NEWENERGY INC              HOWARD CREATIVE CONSULTING         CONSUMER PROTECTION
PO BOX 4640                      100 CONSTELLATION WAY                    AMY D HOWARD                       FOOD SAFETY AND CONSUMER PROTECTION
CAROL STREAM IL 60197            BALTIMORE MD 21202                       AMY HOWARD                         116 STATE ST
                                                                          ADDRESS INTENTIONALLY OMITTED      DRAWER 20
                                                                                                             MONTPELIER VT 05620-2901



000389P001-1409A-265             032924P001-1409A-265                     032924S001-1409A-265               033906P003-1409A-265
CONSUMER PROTECTION DIVISION     CONSUMERS ENERGY                         CONSUMERS ENERGY                   CONSUMERS ENERGY CO
PO BOX 1508                      PAYMENT CENTER                           ONE ENERGY PLAZA                   MARY COWELL
407 GALISTEO                     PO BOX 740309                            JACKSON MI 49201                   ONE ENERGY PLZ
SANTA FE NM 87504-1508           CINCINNATI OH 45274                                                         JACKSON MI 49201




030699P001-1409A-265             036186P001-1409A-265                     033352P001-1409A-265               004371P001-1409A-265
CONTEMPO BY JUSTIN TAYLOR INC    CONTEMPO BY JUSTIN TAYLOR INC            CONTEXT OPTIONAL INC               HALEY B CONTI
TERRI                            1458 S SAN PEDRO ST #209                 30 MAIDEN LN                       3016 HOME ST
1458 S SAN PEDRO ST              LOS ANGELES CA 90015                     6TH FLOOR                          WANTAGH NY 11793
#209                                                                      SAN FRANCISCO CA 94108
LOS ANGELES CA 90015
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030926P001-1409A-265                 036187P001-1409A-265                      010605P001-1409A-265          010606P001-1409A-265
CONTINENTAL CONCESSION SUPPLIE       CONTINENTAL CONCESSION SUPPLIE            CONTINENTAL INS CO CNA        CONTINENTAL INS CO CNA
NEIL BIRK                            PO BOX 951080                             1455 FRAZEE RAOD              151 NORTH FRANKLIN ST
PO BOX 951080                        DALLAS TX 75395-1080                      # 508                         CHICAGO IL 60606
DALLAS TX 75395-1080                                                           SAN DIEGO CA 92108




035198P001-1409A-265                 031951P002-1409A-265                      010363P001-1409A-265          004885P001-1409A-265
CONTINENTAL INSURANCE CO             CONTRA COSTA COUNTY                       CONTRA COSTA COUNTY TAX       ROSVELIA CONTRERAS CHAVEZ
151 NORTH FRANKLIN ST                DEPT OF AGRICULTURE                       COLLECTOR -                   883 COLLIER ST
CHICAGO IL 60606                     2380 BISSO LANE STE A                     PO BOX 7002                   INDIANAPOLIS IN 46241
                                     CONCORD CA 94520-4829                     SAN FRANCISCO CA 94120-7002




006060P001-1409A-265                 007677P001-1409A-265                      035568P001-1409A-265          005411P001-1409A-265
ABIGAIL CONTRERAS                    ALEXANDRIA CONTRERAS                      CHAVEZ ROSVELIA CONTRERAS     DONNA J CONTRERAS
917 WILSON CT                        1006 LEE AVE                              883 COLLIER ST                2126 S VINE AVE
ZION IL 60099                        BRYAN TX 77803                            INDIANAPOLIS IN 46241         ONTARIO CA 91762




000676P001-1409A-265                 007944P001-1409A-265                      008749P001-1409A-265          001871P001-1409A-265
JALEN A CONTRERAS                    JOANNA CONTRERAS                          LEXUS M CONTRERAS             VALERIA CONTRERAS
3250 WINESAP RD                      955 WALTON AVE                            923 W AIRY ST                 7803 VILLA CLIFF DR
HOPE MILLS NC 28348                  5J                                        NORRISTOWN PA 19401           # 3-107
                                     BRONX NY 10452                                                          DALLAS TX 75228-6316




037679P002-1409A-265                 009183P001-1409A-265                      033417P001-1409A-265          030927P001-1409A-265
VALERIA CONTRERAS                    PAULINA CONTRERASACOSTA                   CONVENTUS CORP                CONVERSE INC
7803 VILLA CLIFF DR BLG 3 APT 107    2571 DOLE ST                              SARAH ISAACS                  MICKEY NASSRIN
DALLAS TX 75228                      LEHUA 1007                                516 N OGDEN AVE STE 115       1 LOVEJOY WHARF
                                     HONOLULU HI 96822                         CHICAGO IL 60642              BOSTON MA 02114




004797P001-1409A-265                 001273P001-1409A-265                      003040P001-1409A-265          030463P001-1409A-265
CAITLIN J CONWAY                     SAMANTHA J CONWAY                         CARLISSA S COOK               LADONNA COOK
1919 HISTORIC DECATUR RD             310 E MAIN CROSS ST                       9831 LAWING SCHOOL RD         ADDRESS INTENTIONALLY OMITTED
SAN DIEGO CA 92106                   EDINBURGH IN 46124                        CHARLOTTE NC 28214




002074P001-1409A-265                 035569P001-1409A-265                      006298P001-1409A-265          005253P001-1409A-265
LADONNA M COOK                       LADONNA M COOK                            HAHN F COOKE                  AKWILA M COOKS
4235 SUNSET DR                       3795 JAG LN                               5248 KELLOGG CREEK TRL        1508 E 88TH ST
APT 2                                OSAGE BEACH MO 65065                      APT 202                       KANSAS CITY MO 64131
OSAGE BEACH MO 65065                                                           OOLTEWAH TN 37363
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008406P001-1409A-265             030854P001-1409A-265                     034110P001-1409A-265                   037936P001-1409A-265
SHERTORA J COOKS                 COOLEY GODWARD LLP                       COOLEY GODWARD LLP                     COOLEY LLP CATHY HERSHCOPF
5621 AMHERST ST                  CHARLES BAIR                             101 CALIFORNIA ST                      MICHAEL KLEIN; SUMMER M MCKEE
LUBBOCK TX 79416                 101 CALIFORNIA ST                        5TH FL                                 55 HUDSON YARDS
                                 5TH FL                                   SAN FRANCISCO CA 94111-5800            NEW YORK NY 10001
                                 SAN FRANCISCO CA 94111-5800



007952P001-1409A-265             036450P001-1409A-265                     037532P001-1409A-265                   037532S001-1409A-265
MADELYN S COOLEY                 COOLSPRINGS MALL LLC                     COOLSPRINGS MALL LLC                   COOLSPRINGS MALL LLC
5433 RIDGEWOOD HEIGHTS DR        2030 HAMILTON PL BLVD STE 500            BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
WILMINGTON NC 28403              CHATTANOOGA TN 37421-6000                GARY RODDY                             CALEB HOLZAEPFEL
                                                                          2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300
                                                                          CHATTANOOGA TN 37421                   CHATTANOOGA TN 37402



031243P001-1409A-265             005989P001-1409A-265                     001583P001-1409A-265                   002172P001-1409A-265
COOLSPRINGS MALL, LLC            BROOKLYN R COONCE                        ALISHA COOPER                          ANISSA M COOPER
CBLTC LLC                        302 GOLFVIEW DR                          2130 WHISPERING PINES BLVD             226 COLETON DR
2030 HAMILTON PL BLVD            PLEASANT HILL MO 64080                   UNIT 5                                 COPPERAS COVE TX 76522
STE 500                                                                   NAVARRE FL 32566
CHATTANOOGA TN 37421-6000



002605P001-1409A-265             004950P001-1409A-265                     003949P001-1409A-265                   001582P001-1409A-265
BRIANNA M COOPER                 DIARA COOPER                             GINA M COOPER                          ISIS L COOPER
5238 MAYMONT DR                  352 ELM AVE                              216 CARL PERKINS DR                    1707 SHORE VIEW DR W
LOS ANGELES CA 90043             MAPLE SHADE NJ 08052                     APT 6D                                 JACKSONVILLE FL 32218
                                                                          ASHLAND KY 41101




035570P001-1409A-265             008765P001-1409A-265                     033351P001-1409A-265                   002339P001-1409A-265
ISIS L COOPER                    MEGAN J COOPER                           STEFANIE COOPER                        STEPHANIE T COOPER
7101 WILSON BLVD                 3211 QUERNS RD                           30 LASKIE ST                           1387 OLD ALABAMA RD
APT 2306                         WALL TOWNSHIP NJ 07719-4423              SAN FRANCISCO CA 94103                 MABLETA GA 30126
JACKSONVILLE FL 32210




030393P001-1409A-265             001050P001-1409A-265                     035425P001-1409A-265                   001229P001-1409A-265
JESSICA COOREMAN                 JESSICA M COOREMAN                       JESSICA M COOREMAN                     KESIA L COPE
ADDRESS INTENTIONALLY OMITTED    PO BOX 1316                              16032 PUERTA DEL SOL                   89 BELLEVUE ST
                                 RANCHO SANTA FE CA 92067                 RANCHO SANTA FE CA 92067               APT A
                                                                                                                 WINOOSKI VT 05404




002468P001-1409A-265             035571P001-1409A-265                     030928P001-1409A-265                   036188P001-1409A-265
JERIKA N COPELAND                RACHEL M COPELAND                        COPERNICUS TOYS                        COPERNICUS TOYS
137 WESTVIEW BLVD                8061 NORA LN                             PETER TROUW                            570 EXPLORERS RD
SPARTANBURG SC 29306             SHERWOOD AR 72120                        570 EXPLORERS RD                       CHARLOTTESVILLE VA 22911
                                                                          CHARLOTTESVILLE VA 22911
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008777P001-1409A-265             032925P001-1409A-265                    033787P001-1409A-265             000764P001-1409A-265
ALISON M COPHER                  COPLAY-WHITEHALL SEWER AUTH             COPPER HARBOR TECHNOLOGIES INC   ASHLEY COPPOLA
2605 WEST OLIVE ST               3213 MACARTHUR RD                       884 HONEST PLEASURE DR           167 PINEBROOK RD
#1                               WHITEHALL PA 18052                      STE #110                         MANALAPAN NJ 07726
ROGERS AR 72756                                                          NAPERVILLE IL 60540-7630




033514P001-1409A-265             037369P001-1409A-265                    031244P001-1409A-265             032926P001-1409A-265
COR-O-VAN MOVING AND STORAGE     CORAL RIDGE MALL LLC                    CORAL RIDGE MALL, LLC            CORAL SPRINGS IMPROVEMENT DIST
DAVE DRACK                       BROOKFIELD PROPERTY REIT INC            GGPLP LLC                        10300 N W 11TH MANOR
PO BOX 840778                    JULIE M BOWDEN                          SDS-12-1657                      CORAL SPRINGS FL 33071
LOS ANGELES CA 90084-0778        350 N ORLEANS ST STE 300                PO BOX 86
                                 CHICAGO IL 60654-1607                   MINNEAPOLIS MN 55486-1657



031952P001-1409A-265             031245P001-1409A-265                    034340P001-1409A-265             031953P001-1409A-265
CORAL SPRINGS POLICE DEPT        CORAL SQUARE                            CORAL-CS LTD ASSOCIATES          CORALVILLE FIRE DEPT
2801 CORAL SPRINGS DR            CORAL-CS LTD ASSOCIATES                 867520 RELIABLE PKWY             1501 5TH ST
CORAL SPRINGS FL 33065           867520 RELIABLE PKWY                    CHICAGO IL 60686-0075            CORALVILLE IA 52241
                                 CHICAGO IL 60686-0075




000472P001-1409A-265             002880P002-1409A-265                    005061P001-1409A-265             036602P001-1409A-265
BREANNA K CORBETT                GABRIELE CORBETT                        DIAMONDJESHAW J CORBIN           LAURA CORD
317 BISHOP DR                    2516 TAIT CT                            10075 GATE PKWY                  6624 WEST 1100 NORTH
VACAVILLE CA 95687               NORFOLK VA 23509-2330                   UNIT 2012                        FOUNTAIN TOWN IN 46130
                                                                         JACKSONVILLE FL 32246




003738P001-1409A-265             035572P001-1409A-265                    008102P001-1409A-265             000817P001-1409A-265
EDWINA CORDERO                   EDWINA CORDERO                          LARITZA CORDERO                  ROCHELLE CORDERO
4548 TIGERLAND AVE               5252 BRIGHTSIDE VIEW DR                 3721 MAHOGANY ST                 URB DOS PINOS
89                               UNIT 1                                  SACRAMENTO CA 95838              779 CALLE DIAN
BATON ROUGE LA 70820             BATON ROUGE LA 70820                                                     SAN JUAN PR 00923




030575P001-1409A-265             037211P001-1409A-265                    006465P001-1409A-265             035573P001-1409A-265
ROCHELLE CORDERO                 ROCHELLE CORDERO                        MONSERRAT CORDOBA ZUMAYA         ZUMAYA MONSERRAT CORDOBA
ADDRESS INTENTIONALLY OMITTED    ROCHELLE                                4413 128TH ST E                  4413 128TH ST E
                                 CORDERO URB DOS PINOS                   TACOMA WA 98446                  TACOMA WA 98446
                                 DIANA #779
                                 SAN JUAN PR 00923



031246P001-1409A-265             004547P001-1409A-265                    001839P001-1409A-265             003279P001-1409A-265
CORDOVA MALL                     ANAHI CORDOVA                           ELLEN F CORDOVA                  INGRID Y CORDOVA
SIMON PROPERTY GRP LP            2851 W SUMMERDALE                       2902 W WOODLAWN AVE              58 2ND PL
867670 RELIABLE PKWY             2E                                      BOISE ID 83702                   CENTRAL ISLIP NY 11722
CHICAGO IL 60686-0076            CHICAGO IL 60625
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006200P001-1409A-265               003860P001-1409A-265                    033499P001-1409A-265          033296P001-1409A-265
LILIA R CORDOVA                    KAILEY S CORDREYSHORT                   COREMETRICS INC               KATHERINE CORENO
949 CLOPPER RD                     205 VLY MEADOWS DR                      NINA PEVZNER                  SF CORP
APT T4                             CHEHALIS WA 98532                       PO BOX 49022                  DEPT 1137
GAITHERSBURG MD 20878                                                      SAN JOSE CA 95161-9022        175 PURCELL DR
                                                                                                         ALAMEDA CA 94502



003853P001-1409A-265               035574P001-1409A-265                    005093P001-1409A-265          001002P001-1409A-265
CONSTANZA CORIA                    CONSTANZA CORIA                         ARIANA CORIO                  ROBIN K CORLEY
466 BRIARWOOD DR                   6457 BRICE DALE DR                      6107 MEADOWVIEW AVE APT 1L    7392 W TIERRA BUENA LN
WHITEHALL OH 43213                 CANAL WINCHESTER OH 43110               NORTH BERGEN NJ 07047         PEORIA AZ 85382




007196P001-1409A-265               003854P001-1409A-265                    031247P001-1409A-265          031954P001-1409A-265
VERONICA CORNEJO                   LAURA M CORNETT                         COROCRIVIERA LLC              CORODATA RECORDS MANAGEMENT
14177 EL CONTENTO AVE              1123 MORRISETT AVE                      PO BOX 414225                 ADRIANA WILSON
FONTANA CA 92337                   JEFFERSON CITY TN 37760                 BOSTON MA 02241-4225          PO BOX 842638
                                                                                                         LOS ANGELES CA 90084-2638




035092P001-1409A-265               031955P001-1409A-265                    003735P001-1409A-265          031248P001-1409A-265
CORODATA RECORDS MANAGEMENT INC    CORODATA SHREDDING INC                  SONYA L CORON                 CORONADO CENTER LLC
PO BOX 842638                      PO BOX 846137                           211 GRAND AVE                 CORONADO CENTER
LOS ANGELES CA 90084-2638          LOS ANGELES CA 90084-6137               GRAND JUNCTION CO 81501       SDS-12-2354
                                                                                                         PO BOX 86
                                                                                                         MINNEAPOLIS MN 55486-2354



033780P001-1409A-265               037381P001-1409A-265                    002683P001-1409A-265          036677P001-1409A-265
CORONADO CENTER LLC                CORONADO CENTER LLC                     FATIMA CORONADO               NICOLE CORONADO
BPR-FF LLC                         BROOKFIELD PROPERTY REIT INC            4205 SE 17TH AVE              4609 LAKE CALABAY DR
SDS-12-2354                        JULIE M BOWDEN                          AMARILLO TX 79104             ORLANDO FL 32837-5472
PO BOX 86                          350 N ORLEANS ST STE 300
MINNEAPOLIS MN 55486-2354          CHICAGO IL 60654-1607



003293P001-1409A-265               005778P001-1409A-265                    001645P001-1409A-265          009739P001-1409A-265
VIVIAN L CORONADO                  WINTER L CORONADO                       TATIANA K CORONEL             CORP INCOME TAX
14 STARLING CT                     342 DALE ST                             4111 52ND ST W                PO BOX 919
HENRICO VA 23229                   APT 12                                  BRADENTON FL 34209-6735       LITTLE ROCK AR 72203-0919
                                   PERRIS CA 92571




035093P001-1409A-265               036937P001-1409A-265                    006931P001-1409A-265          031956P001-1409A-265
CORP SVC CO                        CORP SVC CO                             SHELBY CORPENING              CORPORACION DEL FONDO
PO BOX 13397                       251 LITTLE FALLS DRIVE                  9000 ARCADIA RD               DEL SEGURO DEL ESTADO
PHILADELPHIA PA 19101-3397         WILMINGTON DE 19808                     PENSACOLA FL 32534            PO BOX 42006
                                                                                                         SAN JUAN PR 00940-2006
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010617P001-1409A-265              035300P001-1409A-265                       035300S001-1409A-265              035300S002-1409A-265
CORPORATE CAPITAL TRUST, INC      CORPORATE CREATIONS NETWORK INC            CORPORATE CREATIONS NETWORK INC   CORPORATE CREATIONS NETWORK INC
KKR                               SARAH CLEMENS                              CHRISTIAN LARRANAGA               TIFFANY PHILLIPS
JEREMIAH LANE                     4640 ADMIRALTY WAY 5TH FL                  4640 ADMIRALTY WAY 5TH FL         4640 ADMIRALTY WAY 5TH FL
555 CALIFORNIA ST                 MARINA DEL REY CA 90292                    MARINA DEL REY CA 90292           MARINA DEL REY CA 90292
50TH FL
SAN FRANCISCO CA 94104


032927P001-1409A-265              032927S001-1409A-265                       009748P001-1409A-265              036936P003-1409A-265
CORPORATE SVCS CONSULTANTS LLC    CORPORATE SVCS CONSULTANTS LLC             CORPORATE TAX RETURN PROCESSING   CORPORATION SVCS CO A/K/A CSC
PO BOX 1048                       1015 N GAY ST                              IOWA DEPT OF REVENUE              JOANNE SMITH
DANDRIDGE TN 37725                DANDRIDGE TN 37725                         PO BOX 10468                      251 LITTLE FALLS DR
                                                                             DES MOINES IA 50306-0468          WILMINGTON DE 19808




031957P001-1409A-265              004713P002-1409A-265                       006810P001-1409A-265              001598P001-1409A-265
CORPTAX, INC                      CHASTITY J CORPUZ                          KITZIA P CORREA SOLIS             ANDREA D CORREA
JEFF BRESLAW                      20 LEIONI PL                               204 W SAN YSIDRO BLVD             723 N MACDONALD ST
2100 E LAKE COOK RD               KAHULUI HI 96732-2950                      46                                MESA AZ 85201
STE 800                                                                      SAN YSIDRO CA 92173
BUFFALO GROVE IL 60089



006589P001-1409A-265              035575P001-1409A-265                       030455P001-1409A-265              006416P001-1409A-265
ASHLY N CORREA                    KARINA A CORREA                            KITZIA CORREA                     NATASHA CORREA
39 PERRY AVE APT 2R               13 HILLOCK AVE                             ADDRESS INTENTIONALLY OMITTED     2410 S KIRKWOOD RD
39 PERRY AVENU                    HAWTHORNE NJ 07506                                                           APT 182
WORCESTER MA 01610                                                                                             HOUSTON TX 77077




008566P001-1409A-265              035576P001-1409A-265                       036761P001-1409A-265              006584P001-1409A-265
REINY A CORREA                    SOLIS KITZIA P CORREA                      SONNI CORREA                      ALYSSA K CORREABALTAZAR
13 HILLOCK AVE                    204 W SAN YSIDRO BLVD                      448 EL CAJON APT 1                2017 SHERMAN DR
HAWTHORNE NJ 07506                46                                         SAN JOSE CA 95111                 UNION CITY CA 94587
                                  SAN YSIDRO CA 92173




007415P002-1409A-265              006302P001-1409A-265                       006092P001-1409A-265              035577P001-1409A-265
LENA CORREDOR                     LIZBETH M CORSINO                          MICHELLE A CORTEL                 MICHELLE A CORTEL
300 3RD ST APT 614                2029 RAPER DAIRY RD                        3246 MEADOW CREEK L               3246 MEADOW CREEK LN
SAN FRANCISCO CA 94107            2029                                       ESCONDIDO CA 92027                ESCONDIDO CA 92027
                                  ORLANDO FL 32822




007911P001-1409A-265              003979P001-1409A-265                       008963P001-1409A-265              000829P001-1409A-265
CHARNELLIS E CORTES               ELIZABETH CORTES                           LISSET CORTES                     MARIA J CORTES
CALLE ARECIBO APT12               6305 W GROSS AVE                           13973 SNOWBIRD LN                 1750 PLEASENT AVE
HATO REY PR 00917                 PHOENIX AZ 85043                           VICTORVILLE CA 92394              ONTARIO CA 91761
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002414P001-1409A-265      000596P001-1409A-265                 001939P001-1409A-265             004946P001-1409A-265
MIRIAM CORTES             PALOMA ISABEL A CORTES               CHRISTINA P CORTEZ               GITTSEL CORTEZ
2837 MOUNT MARY CIR       405 PK AVE                           1875 ERIN DR                     4137 HOUNDSBROOK WAY
GREEN BAY WI 54311        CARY IL 60013                        VIDOR TX 77662-2947              SAN JOSE CA 95111




007317P001-1409A-265      000469P001-1409A-265                 000469S001-1409A-265             003177P001-1409A-265
JASMINE D CORTEZ          JOSE R CORTEZ                        JOSE R CORTEZ                    KAROLINA CORTEZ
11913 ROYAL RD            1650 S CAMPUS APT #79                LAW OFFICE OF ROBIN JACOBS       733 W NINTH ST
UNIT G                    ONTARIO CA 91761                     3600 WILSHIRE BLVD               TRACY CA 95376
EL CAJON CA 92021                                              STE 1605
                                                               LOS ANGELES CA 90010



006188P001-1409A-265      037638P001-1409A-265                 004295P001-1409A-265             007721P001-1409A-265
KATHERYN E CORTEZ         NICHOLAS CORTEZ                      NICHOLAS A CORTEZ                ERIN M CORTILET
3516 CORNELL DR           4919 SHADOW STONE ST                 4919 SHADOW STONE ST             610 PK DR
ARLINGTON TX 76015        BAKERSFIELD CA 93313                 BAKERSFIELD CA 93313             MARENGO IL 60152




003474P001-1409A-265      035578P001-1409A-265                 032928P001-1409A-265             032928S001-1409A-265
MAYA J CORZO SIC          SIC MAYA J CORZO                     COSERV                           COSERV
26094 DRACAEA AVE         26094 DRACAEA AVE                    PO BOX 650785                    7701 S STEMMONS
MORENO VALLEY CA 92555    MORENO VALLEY CA 92555               DALLAS TX 75265                  CORINTH TX 76210-1842




033908P002-1409A-265      009117P001-1409A-265                 005394P001-1409A-265             036568P001-1409A-265
COSERV GAS                KATELYN COSME                        TAINA COSS                       JOHANNE COSSETTE
CLAUDIA N PIXLEY          254 WASHINGTON ST APT 400            3344 FISH AVE                    3134 4TH ST SW
7701 S STEMMONS           400                                  BRONX NY 10469                   CHARLOTTESVILLE NC 22903
CORINTH TX 76210-1842     PROVIDENCE RI 02903




002433P002-1409A-265      002621P001-1409A-265                 008534P001-1409A-265             007466P001-1409A-265
ASHLEY R COSTA            TAYLOR COSTELLO                      CALEB D COSTNER                  LILY G COTA
600 18TH AVE              17729 AKRON-CANFIELD RD              121 DAVIS RD                     8424 N WINTER AVE
CONWAY SC 29526           BERLIN CENTER OH 44401               BESSEMER NC 28016                KANSAS CITY MO 64153




004458P001-1409A-265      006185P001-1409A-265                 003829P001-1409A-265             037243P001-1409A-265
ALYSSA J COTTON           SHAYLA M COTTON                      KARA A COTTRELL                  AMANDA COULDRON
3116 FIELDALE RD          17 BLEECKER PL                       116 FALSTAFF RD                  3444 BERGEN AVE
GREENSBORO NC 27406       2                                    ROCHESTER NY 14609               TOMS RIVER NJ 08753
                          ALBANY NY 12202
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004165P001-1409A-265             009822P001-1409A-265                        009957P001-1409A-265             010567P001-1409A-265
AMANDA R COULDRON                COUNTY COLLECTOR                            COUNTY OF ALAMEDA                COUNTY OF ALBEMARLE
3444 BERGEN AVE                  1 BARTON SQUARE STE 303                     OFFICE OF WEIGHTS AND MEASURES   PO BOX 7604
TOMS RIVER NJ 08753              JACKSON MO 63755                            224 W WINTON AVE RM 184          MERRIFIELD VA 22116-7604
                                                                             HAYWARD CA 94544




010338P001-1409A-265             031959P001-1409A-265                        009945P001-1409A-265             010093P001-1409A-265
COUNTY OF BIBB                   COUNTY OF BUCKS                             COUNTY OF DELAWARE               COUNTY OF EAU CLAIRE
PO BOX 4724                      BUCKS COUNTY WEIGHTS AND MEASURE            WEIGHTS AND MEASURES             721 OXFORD AVE
MACON GA 31208                   1260 ALMSHOUSE RD 4TH FL                    201 WEST FRONG ST                EAU CLAIRE WI 54703
                                 DOYLESTOWN PA 18901                         MEDIA PA 19063




032686P001-1409A-265             010190P001-1409A-265                        032929P001-1409A-265             032929S001-1409A-265
COUNTY OF EAU CLAIRE             COUNTY OF FAIRFAX                           COUNTY OF HENRICO                COUNTY OF HENRICO
CITY OF EAU CLAIRE               DEPT OF TAX ADMINISTRATION                  PO BOX 90799                     4301 EAST PARHAM RD
721 OXFORD AVE                   PO BOX 10203                                HENRICO VA 23228                 HENRICO VA 23228
EAU CLAIRE WI 54703              FAIRFAX VA 22035-0203




010517P001-1409A-265             031960P001-1409A-265                        009827P001-1409A-265             010100P001-1409A-265
COUNTY OF HENRICO, VIRGINIA      COUNTY OF LEXINGTON                         COUNTY OF LOUDOUN                COUNTY OF MONTGOMERY
PO BOX 3369                      LEXINGTON COUNTY TREASURER                  1 HARRISON ST SE 1ST FL          WRICHARD SHELTONTREASURER
HENRICO VA 23228-9769            PO BOX 3000                                 PO BOX 8000                      755 ROANOKE ST STE 1B
                                 LEXINGTON SC 29071-3000                     LEESBURG VA 20177-9804           CHRISTIANSBURG VA 24073-3171




032687P001-1409A-265             010194P001-1409A-265                        010205P001-1409A-265             031961P001-1409A-265
COUNTY OF PALM BEACH             COUNTY OF RIVERSIDE                         COUNTY OF RIVERSIDE              COUNTY OF SAN DIEGO AGRICULTURE,WEIGHTS AND
TAX COLLECTOR                    DIVISION OF WEIGHTS AND MEASURES            BUSINESS REGISTRATION            MEASURES
PO BOX 3353                      PO BOX 1089                                 PO BOX 1208                      9325 HAZARD WAY
WEST PALM BEACH FL 33402-3353    RIVERSIDE CA 92502-1089                     RIVERSIDE CA 92502-1208          STE 100
                                                                                                              SAN DIEGO CA 92123



010399P001-1409A-265             009909P001-1409A-265                        009881P001-1409A-265             004195P001-1409A-265
COUNTY OF SAN MATEO              COUNTY OF SANTA CLARA                       COUNTY OF VOLUSIA TAX            ANNISSA N COUNTY
PO BOX 999                       1553 BERGER DR BLDG 1                       COLLECTOR                        4910 S J ST
728 HELLER ST                    SAN JOSE CA 95112                           123 W INDIANA AVE RM 103         OXNARD CA 93033
REDWOOD CITY CA 94064-0999                                                   DELAND FL 32720




036833P001-1409A-265             003058P001-1409A-265                        001069P001-1409A-265             008072P002-1409A-265
COURT ORDERED DEBT COLLECTION    CLARISSA B COURTNEY                         LAUREN COURTNEY                  MELISSA J COVA
FRANCHISE TAX BOARD              316 N CUMBERLAND ST                         17743 STARFISH CT                1615 N PASS AVE
PO BOX 1328                      ARLINGTON OH 45814                          APT H                            BURBANK CA 91505
RANCHO CORDOVA CA 95741-1328                                                 LUTZ FL 33558
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030372P001-1409A-265                   005750P001-1409A-265                            005635P001-1409A-265            001751P001-1409A-265
JAIME SALGADO COVARRUBIAS              KENDRA N COVINGTON                              KYLIE M COVINGTON               NICKESHA COWARD
ADDRESS INTENTIONALLY OMITTED          2014 SMITTY RD                                  1164 NIMROD CIR                 4823 AVE J
                                       DILLON SC 29536                                 CORONA CA 92880                 BROOKLYN NY 11234




007341P001-1409A-265                   007917P001-1409A-265                            009586P001-1409A-265            008730P001-1409A-265
BRITTANY M COX                         JOURNEI E COX                                   KILEY COX                       MAYAH R COXSON
4945 NORTH WHITE RIVER DR              18 FERN AVE                                     1003 LIVE OAK RD                877 SOUTH CAPITOL AVE
BLOOMINGTON IN 47404                   WILLOW GROVE PA 19090                           LEANDER TX 78641                SAN JOSE CA 95127




001027P001-1409A-265                   004117P001-1409A-265                            005317P001-1409A-265            033600P001-1409A-265
BROOKE A COYLE                         JAZMINE N COZART                                JULIA A COZZO                   CP NEW HOPE LTD
4445 ATWOOD DR                         1493 DORELLEN AVE                               40 FIELD ST                     500 W 5TH ST
ORLANDO FL 32828                       FLINT MI 48532                                  STATEN ISLAND NY 10314          STE 700
                                                                                                                       AUSTIN TX 78701




036452P001-1409A-265                   037740P001-1409A-265                            031249P001-1409A-265            031962P001-1409A-265
CP VENTURE FIVE AV LLC                 CP VENTURE FIVE AV LLC                          CP VENTURE FIVE-AV LLC          CPRIME INC
POAG SHOPPING CENTERS LLC              BALLARD SPAHR LLP                               PRISA LHC LLC                   PO BOX 4777
2650 THOUSAND OAKS BLVD STE 2200       DUSTIN P BRANCH                                 C/0 POAG SHOPPING CENTERS LLC   FOSTER CITY CA 94404
MEMPHIS TN 38118                       2029 CENTURY PARK EAST STE 800                  2650 THOUSAND OAKS BLVD
                                       LOS ANGELES CA 90067-2909                       STE 2200
                                                                                       MEMPHIS TN 38118


035094P001-1409A-265                   032930P001-1409A-265                            032930S001-1409A-265            033910P003-1409A-265
CPRIME INC                             CPS ENERGY                                      CPS ENERGY                      CPS ENERGY-BANKRUPTCY SECTION
4100 E 3RD AVE STE 205                 PO BOX 2678                                     145 NAVARRO                     JOE ESPINOZA
FOSTER CITY CA 94404                   SAN ANTONIO TX 78289                            MAIL DROP 110910                145 NAVARRO
                                                                                       SAN ANTONIO TX 78205            MAIL DROP 110910
                                                                                                                       SAN ANTONIO TX 78205



032931P001-1409A-265                   032931S001-1409A-265                            003410P001-1409A-265            000806P001-1409A-265
CR AND R INC                           CR AND R INC                                    ARIEL CRABTREE                  ALEXANDRA R CRAFT
PO BOX 7183                            STANTON 11292 WESTERN AVENUE                    752 NEWBERRY LN                 4415 HAVERHILL LN
PASADENA CA 91109                      STANTON CA 90680                                CHASKA MN 55318                 SACHSE TX 75048-4653




035012P001-1409A-265                   029827P001-1409A-265                            029827S001-1409A-265            031250P001-1409A-265
CRAIG REALTY                           CRAIG REALTY (LANDLORD)                         CRAIG REALTY (LANDLORD)         CRAIG REALTY GROUP CASTLE ROCK, LLC
CRAIG REALTY GROUP -CASTLE ROCK LLC    CRAIG REALTY GROUP CASTLE ROCK LLC              RETAIL REALESTATE CONSULTANTS   PO BOX 740807
4100 MACARTHUR BLVD                    LEASE ADMINISTRATION AND GENERAL COUNSEL        -                               LOS ANGELES CA 90074-0807
STE 200                                4100 MACARTHUR BLVD STE 200                     201 OSCAWANA LAKE RD
NEWPORT BEACH CA 92660                 NEWPORT BEACH CA 92660                          PUTNAM VALLEY NY 10579
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034424P001-1409A-265                035234P001-1409A-265                          030642P001-1409A-265            001557P001-1409A-265
CRAIG REALTY GROUP - CASTLE ROCK    CRAIG REALTY GROUP CASTLE ROCK LLC            TENESHA CRAIG                   TENESHA E CRAIG
CASTLE ROCK LLC                     AKA OUTLETS AT CASTLE ROCK                    ADDRESS INTENTIONALLY OMITTED   315 T ST
PO BOX 740807                       T SWAN                                                                        8
LOS ANGELES CA 90074-0807           4100 MACARTHUR BLVD STE 100                                                   SACRAMENTO CA 95811
                                    NEWPORT BEACH CA 92660



000855P001-1409A-265                007782P001-1409A-265                          005279P001-1409A-265            008251P001-1409A-265
CURTIS CRAIGHEAD                    SAVANNAH T CRAMER                             BRAELYN I CRANFILL              CALI G CRAW
29 FLORENCE AVE                     3035 GRAND ISLAND BLVD                        502 COLLIER AVE                 322 DUBLIN DR
IRVINGTON NJ 07111                  5                                             FLORENCE AL 35630               MINERAL WELLS WV 26150
                                    GRAND ISLAND NY 14072




004527P001-1409A-265                030227P001-1409A-265                          002053P001-1409A-265            008198P001-1409A-265
ARIEL M CRAWFORD                    ARTISHA CRAWFORD                              ARTISHA R CRAWFORD              DEASIA CRAWFORD
3547 RICHBORO DR                    ADDRESS INTENTIONALLY OMITTED                 11333 E WILSHIRE BLVD           5713 CHANDLER ST
HOLIDAY FL 34691                                                                  SPENCER OK 73084-6607           CINCINNATI OH 45227




006193P001-1409A-265                037028P001-1409A-265                          000839P001-1409A-265            009145P001-1409A-265
JANEIL A CRAWFORD                   JESSICA CRAWFORD                              JESSICA L CRAWFORD              KEYONNA CRAWFORD
151 E LITTLE CREEK RD               3120 SW 139TH                                 3120 SW 139TH                   3402 17 TH ST
B5                                  OKLAHOMA CITY OK 73170                        OKLAHOMA CITY OK 73170          RACINE WI 53405
CEDAR HILL TX 75104




006724P001-1409A-265                004756P001-1409A-265                          007380P001-1409A-265            031963P001-1409A-265
LAKEISHANE CRAWFORD                 RHIONNA K CRAWFORD                            TANYA L CRAWFORD                CREATIVE CIRCLE, LLC
2920 OAK RD APT 2407                2502 TOWER DR                                 167 WILDER RD                   SHANNON MCGARTH
PEARLAND TX 77584                   SOUTHAVEN MS 38672                            BOLTON MA 01740                 28027 NETWORK PL
                                                                                                                  CHICAGO IL 60673-1280




034232P001-1409A-265                031964P001-1409A-265                          035265P001-1409A-265            035265S001-1409A-265
CREATIVE CIRCLE, LLC                CREATIVE EXCHANGE AGENCY                      CREATIVE GROUP                  CREATIVE GROUP
28027 NETWORK PL                    LARISSA GONZALES                              ROBERT HALF INTERNATIONAL       ROBERT HALF INTERNATIONAL
CHICAGO IL 60673-1280               545 WEST 25TH ST                              RECOVERY DEPT                   AMBER BAPTISTE
                                    19TH FL                                       PO BOX 5024                     2613 CAMINO RAMON
                                    NEW YORK NY 10001                             SAN RAMON CA 94583              SAN RAMON CA 94583



033601P001-1409A-265                010232P001-1409A-265                          033242P001-1409A-265            010618P001-1409A-265
CREDIT INTERNATIONAL                CREDIT MANAGEMENT CONTROL, INC                CREDIT MANAGEMENT SVC INC       CREDIT SUISSE LOAN FUNDING LLC
ONE NORTHFIELD PLAZA                PO BOX 1654                                   CREDIT INTERNATIONAL            CREDIT SUISSE
STE 300                             GREEN BAY WI 54305-1654                       105 N WHEELER                   AMRUTH KRISHNAN AND SIDDHARTH SWARUP
NORTHFIELD IL 60093                                                               PO BOX 1512                     11 MADISON AVE
                                                                                  GRAND ISLAND NE 68802           NEW YORK NY 10010
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037433P002-1409A-265                  037568P002-1409A-265                             004572P001-1409A-265       031251P001-1409A-265
CREDITORS ADJUSTMENT BUREAU INC       CREDITORS ADJUSTMENT BUREAU INC ASSIGNEE OF      CATHERINE CREEK            CREFII SILVER CITY LLC
ASSIGNEE OF VALUELINE GROUP CO LTD    NINGBO ORIENT HONGYE I AND E CO LTD CAB          435 S CURSON AVE           SILVER CITY GALLERIA
4340 FULTON AVE THIRD FLOOR           4340 FULTON AVE THIRD FLOOR                      5C                         2 GALLERIA MALL DR
SHERMAN OAKS CA 91423                 SHERMAN OAKS CA 91423                            LOS ANGELES CA 90036       TAUNTON MA 02780




037697P001-1409A-265                  036384P001-1409A-265                             004114P001-1409A-265       002871P001-1409A-265
CREFII SILVER CITY LLC                ANAMARIA CRESPO                                  ELVIN A CRESPO             SAMANTHA CRESPO
ECKERT SEAMANS CHERIN AND MELLOTT     71 WINDSOR ST                                    5565 TRANQUILITY OAKS DR   75 COLUMBIA ST
HARRY A READSHAW                      BRIDGEPORT CT 06606                              APT 106                    NEWARK NJ 07102
600 GRANT ST 44TH FL                                                                   TAMPA FL 33624
PITTSBURGH PA 15219



008379P001-1409A-265                  003535P001-1409A-265                             007004P001-1409A-265       010245P001-1409A-265
SYDNEY CRESPO                         KIMBERLY J CRESSER                               JAZMINE A CREWE            CRIM
224 OXBOW DR                          89 GULL DIP RD                                   4 DYBECK ST                PO BOX 195387
WILLIMANTIC CT 06226                  RIDGE NY 11961                                   #3                         SAN JUAN PR 00919-5387
                                                                                       WORCESTER MA 01607




002028P001-1409A-265                  035579P001-1409A-265                             002009P001-1409A-265       030929P002-1409A-265
MARISOL CRISOSTOMO RAMIREZ            RAMIREZ MARISOL CRISOSTOMO                       KIMBERLEIGH A CRISSY       CRISTALS
9669 FOREST LN                        9669 FOREST LN                                   13821 CALICO LN            CACHET CREATIIONS INC
APT 1503                              APT 1503                                         MANASSAS VA 20112          KIN VANDER WENDE
DALLAS TX 75243-5891                  DALLAS TX 75243-5891                                                        387 DUFFY AVE
                                                                                                                  HICKSVILLE NY 11801-3623



036189P002-1409A-265                  037931P001-1409A-265                             031965P001-1409A-265       009853P001-1409A-265
CRISTALS                              CRISTY R RAPOSO                                  CRISTYNA STYRANKA          JOHN S CROCKER
397 DUFFY AVE                         66 ROGER WILLIAMS CIR                            4315 FREEDOM DR            LAKE COUNTY TREASURER
HICKSVILLE NY 11801-3623              CRANSTON RI 02905-1113                           #1                         105 MAIN ST
                                                                                       CALABASAS CA 91302         PAINESVILLE OH 44077-0490




005943P001-1409A-265                  005870P001-1409A-265                             000793P001-1409A-265       030930P001-1409A-265
LYRIC R CROCKER                       CLAIRE J CROCKETT                                TAUGHTYAN CROCKETT         CROCODILE CREEK
15063 WINTHROP                        4055 FLOWSTONE LN                                12075 GOLDOAK CT           1648 LAWSON
DETROIT MI 48227                      ROUND ROCK TX 78681                              VICTORVILLE CA 92392       DURHAM NC 27703




006757P001-1409A-265                  006902P001-1409A-265                             006761P001-1409A-265       002390P001-1409A-265
MEILANI R CRON                        ERICA CROOMS                                     KOURTNEY CROPP             SHAKIYYA I CROSBY
432 CHELSEA WAY                       137 CLOVERLEAF CIR                               1302 E 15TH ST             1903 BLACKBURN RD
FAIRFIELD CA 94533                    JACKSON MS 39203                                 DES MOINES IA 50316        APT A
                                                                                                                  GLEN ALLEN VA 23060
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031252P002-1409A-265                    031252S001-1409A-265                            005470P001-1409A-265                   036453P001-1409A-265
CROSS CREEK MALL SPE LP                 CROSS CREEK MALL SPE LP                         ERIN CROSS                             CROSSGATES MALL GENERAL
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            81 FIRST ST                            COMPANY NEWCO LLC
GARY RODDY                              CALEB HOLZAEPFEL                                BRENTWOOD NY 11717                     4 CLINTON EXCHANGE
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                                                                SYRACUSE NY 13202
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402



036453S001-1409A-265                    031253P003-1409A-265                            031253S001-1409A-265                   030057P001-1409A-265
CROSSGATES MALL GENERAL                 CROSSGATES MALL GENERAL CO NEWCO LLC            CROSSGATES MALL GENERAL CO NEWCO LLC   CROSSINGS PREM OUTLETS, LLC (LANDLORD)
BARCLAY DAMON LLP                       BARCLAY DAMON LLP                               PYRAMID MANAGEMENT GROUP LLC           SIMON PROPERTY GROUP
KEVIN NEWMAN SCOTT FLEISCHER            KEVIN M NEWMAN                                  JOHN D CICO                            GENERAL COUNSEL
BARCLAY DAMON TOWER                     BARCLAY DAMON TOWER                             THE CLINTON EXCHANGE                   225 W WASHINGTON ST
125 EAST JEFFERSON ST                   125 E JEFFERSON ST                              4 CLINTON SQ                           INDIANAPOLIS IN 46204
SYRACUSE NY 13202                       SYRACUSE NY 13202                               SYRACUSE NY 13202


005227P001-1409A-265                    031966P001-1409A-265                            035095P001-1409A-265                   008469P001-1409A-265
CHLOE C CROSSMAN                        CROSSPOINT NETWORK SOLUTIONS                    CROSSPOINT NETWORK SOLUTIONS INC       DOMINIC CROSWELL
1564 OLD SCHOOL PL                      FLOYD DONOVAN                                   28355 INDUSTRY DR UNIT 422             305 RICHMOND FARM CIR
GREENLEAF WI 54126                      28355 INDUSTRY DR UNIT 422                      VALENCIA CA 91355                      LEXINGTON SC 29072
                                        VALENCIA CA 91355




007912P001-1409A-265                    006305P001-1409A-265                            000617P001-1409A-265                   005212P001-1409A-265
KIARRA D CROUCH                         MARY G CROUCH                                   ANGELA L CROWE                         CHEYENNE J CROWEGORDON
4161 NW 34TH AVE                        1159 S 525 E                                    388 BARDIN RD                          PO BOX 154
FORT LAUDERDALE FL 33309                RENSSELAER IN 47978                             PALATKA FL 32177                       SPRING LAKE NC 28390




002531P002-1409A-265                    004258P001-1409A-265                            032932P001-1409A-265                   032932S001-1409A-265
JAZMINE C CROWLEY                       MADISON K CROWLEY                               CROWN WASTE CORP                       CROWN WASTE CORP
9800 MESA LINDA ST APT 221              3641 MORRELL CIR                                PO BOX 1133                            1 PLAINVIEW RD
APT 221                                 PHILADELPHIA PA 19114                           BETHPAGE NY 11714                      BETHPAGE NY 11714
HESPERIA CA 92345-0108




030603P001-1409A-265                    000788P001-1409A-265                            035581P001-1409A-265                   004411P001-1409A-265
SHANNA CROY                             SHANNA M CROY                                   SHANNA M CROY                          CHAKEEMA CRUICKSHANK
ADDRESS INTENTIONALLY OMITTED           402 MULBERRY ST                                 5964 W SHORT DR                        253 DELAVAN ST
                                        FRANKTON IN 46044                               FRANKTON IN 46044                      35A
                                                                                                                               NEW BRUNSWICK NJ 08901




007403P001-1409A-265                    004600P001-1409A-265                            008914P001-1409A-265                   033232P001-1409A-265
ZOE K CRUM                              ABIGAIL CRUTCHLEO                               ALEXIS CRUZ                            ANA CRUZ
5937 W US HWY 40                        94 MARTHA AVE                                   16963 SW 40TH CIR
STILESVILLE IN 46180                    CENTERVILLE OH 45458                            OCALA FL 34473
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004638P001-1409A-265                 004913P001-1409A-265                036995P001-1409A-265                  006620P001-1409A-265
ANDREA N CRUZ                        ANDREA P CRUZ                       CHRISTINE DELA CRUZ                   ELIZABETH CRUZ
408 BOARDWALK DR                     CALLE PEDRO ARZUAGA 110             2235 37TH AVE                         1859 QUAIL CT
#18                                  COND VILLAS D                       SAN FRANCISCO CA 94116                WOODSTOCK IL 60098
SAN BRUNO CA 94066                   CAROLINA PR 00985




007959P001-1409A-265                 004427P001-1409A-265                006677P001-1409A-265                  004390P001-1409A-265
ESVEIDY CRUZ                         FLORENZ CRUZ                        GENESIS CRUZ                          GISELLE M CRUZ
4622 TRAFALGAR RD                    603 DICKSON ST                      8232 ABBEYFIELD DR                    1635 E NANETTE AVE
WILMINGTON NC 28405                  LOWELL AR 72745                     JACKSONVILLE FL 32277                 4
                                                                                                               WEST COVINA CA 91792




001133P001-1409A-265                 008097P001-1409A-265                006816P001-1409A-265                  008030P001-1409A-265
HARUMI CRUZ                          JENNA CRUZ                          KARINA CRUZ                           KARLA L CRUZ
1001 LAUREL ST                       9124 88TH ST                        2425 PRESIDENTIAL WAY                 833 DOBSON ST
APT 420                              WOODHAVEN NY 11421                  202                                   EVANSTON IL 60202
SAN CARLOS CA 94070                                                      WEST PALM BEACH FL 33409




006183P001-1409A-265                 000892P001-1409A-265                002217P001-1409A-265                  035582P001-1409A-265
KAYLA A CRUZ                         KENYA A CRUZ                        MARIA C CRUZ                          MARISOL CRUZ
110 BREEZY TREE CT                   14342 CHESTNUT ST                   4318 AUGUSTINE AVE                    424 WEST LARKDALE LN
APT A                                WESTIMINSTER CA 92683               SARASOTA FL 34231                     MOUNT PROSPECT IL 60056
NEWPORT NEWS VA 23608




000538P001-1409A-265                 036669P001-1409A-265                037110P001-1409A-265                  008273P001-1409A-265
MELIA D CRUZ                         NANCY CRUZ                          NANCY SOFIA CRUZ                      SAMANTHA CRUZ
49 CONE CT                           5607 HUSE ST                        5607 HUSE ST                          8600 STARBOARD DR
GREENFIELD IN 46140                  HOUSTON TX 77039-6209               HOUSTON TX 77039                      #1012
                                                                                                               LAS VEGAS NV 89117




004399P001-1409A-265                 003365P001-1409A-265                031967P001-1409A-265                  031254P001-1409A-265
STEPHANIE G CRUZ                     TAYLOR V CRUZ                       CSC                                   CSFB MORTGAGE SECURITIES
8531 BLANCHE AVE                     6346 SOUTHGATE BLVD                 PO BOX 13397                          9062 OLD ANNAPOLIS RD
GARDEN GROVE CA 92841                MARGATE FL 33068                    PHILADELPHIA PA 19101-3397            COLUMBIA MD 21045




010493P003-1409A-265                 034608P002-1409A-265                037916P001-1409A-265                  037871P002-1409A-265
CT- CITY OF DANBURY TAX COLLECTOR    CT- CITY OF MERIDEN                 CT- CITY OF WATERBURY TAX COLLECTOR   CT- DEPT OF REVENUE SVCS
SCOTT M FERGUSON                     TAX COLLECTOR                       FRANK CARUSO                          450 COLUMBUS BLVD STE 1
155 DEER HLL AVE                     MICHELLE KANE                       235 GRAND ST                          COLLECTIONS UNIT - BANKRUPTCY TEAM
DANBURY CT 06810                     142 EAST MAIN ST RM 117             WATERBURY CT 06702                    HARTFORD CT 06103
                                     MERIDEN CT 06450
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009921P002-1409A-265             037939P002-1409A-265                      032933P001-1409A-265             032933S001-1409A-265
CT- EIGHTH UTILITIES DISTRICT    CT- TOWN OF TRUMBULL                      CTWA                             CTWA
TERRI L SKOOG                    HARLOW ADAMS AND FRIEDMAN PC              PAYMENTS                         1481 E COLLEGE AVE
18 MAIN ST                       JAMES M NUGENT                            1481 E COLLEGE AVE               ATTN PAYMENTS
MACHESTER CT 06042-3136          ONE NEW HAVEN AVENUE SUITE 100            STATE COLLEGE PA 16801           STATE COLLEGE PA 16801
                                 MILFORD CT 06460



002681P001-1409A-265             005448P001-1409A-265                      004569P001-1409A-265             007941P001-1409A-265
CLARISE CUARISMA                 JANELLE CUENCA                            ELIZABETH CUETO                  YASSIL CUETO
87340 KULAHANAI ST               14332 DURHAM DR                           5432 MAHOGANY LN                 2854 KINGSBRIDGE TER
WAIANAE HI 96792                 RENO NV 89506                             HONOLULU HI 96818                2
                                                                                                            NY NY 10463




001382P001-1409A-265             001335P001-1409A-265                      030258P001-1409A-265             035583P001-1409A-265
MARIA E CUEVA                    BYANCA CUEVAS                             BYANCA CUEVAS                    BYANCA CUEVAS
8254 QUATERFIELD RD              5307 DANA LEIGH                           ADDRESS INTENTIONALLY OMITTED    5751 GREENHOUSE RD
SEVERN MD 21144                  HOUSTON TX 77066                                                           APT 1025
                                                                                                            KATY TX 77449




004270P001-1409A-265             035584P001-1409A-265                      008990P001-1409A-265             004755P001-1409A-265
ELENA CUEVAS                     EMILY CUEVAS                              THALIANA CUEVAS                  XINA CUEVAS
1719 ALLEGAN ST                  3778 SOUTH ARCHER                         3251 MATLOCK RD APT 20202        235 W 47TH ST
SAGINAW MI 48602                 CHICAGO IL 60632                          MANSFIELD TX 76063               4
                                                                                                            LOS ANGELES CA 90037




001047P001-1409A-265             007843P001-1409A-265                      004358P001-1409A-265             006239P001-1409A-265
DANIELLE CUJAK                   RACHEL L CULBERT                          PAIGE V CULLER                   HANNAH E CULLIPHER
6604 CONESTOGA LN                15722 BRANDYWINE RD                       1170 KENLY AVE                   4516 NORSEMAN ST
DUBLIN CA 94568                  MONTCLAIR VA 22025                        APT12                            BAKERSFIELD CA 93309
                                                                           HAGERSTOWN MD 21740




037591P001-1409A-265             035292P001-1409A-265                      032737P001-1409A-265             034305P001-1409A-265
HANNAH E CULLIPHER               CULVER CITY                               CULVER CITY MALL                 CULVER CITY MALL LLC
4516 NORSEMAN ST                 6000 SEPULVEDA BLVD STE 2600              WESTFIELD CULVER CITY            6000 SEPULVEDA BLVD
BAKERSFIELD CA 93309             CULVER CITY CA 90230                      MARIELA CHAPINA                  STE 2820
UNITED STATES                                                              6000 SEPULVEDA BLVD              CULVER CITY CA 90230
                                                                           STE 2820
                                                                           CULVER CITY CA 90230


035361P001-1409A-265             009825P001-1409A-265                      010530P001-1409A-265             037415P001-1409A-265
CULVER CITY MALL LLC             CUMBERLAND COUNTY                         CUMBERLAND COUNTY TAX COLLECTO   CUMBERLAND MALL LLC
LECLAIRRYAN PLLC                 WEIGHTS/MEASURES                          PO BOX 449                       BROOKFIELD PROPERTY REIT INC
NICLAS A FERLAND                 1 COURTHOUSE SQUARE                       FAYETTEVILLE NC 28302-0449       JULIE M BOWDEN
545 LONG WHARF DR 9TH FL         CARLISLE PA 17013                                                          350 N ORLEANS ST STE 300
NEW HAVEN CT 06511                                                                                          CHICAGO IL 60654-1607
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005482P001-1409A-265                000503P001-1409A-265                        005807P001-1409A-265               007428P001-1409A-265
MELAYNA M CUMMING                   CIERA CUMMINGS                              JALEEL I CUMMINGS                  KANDICE A CUMMINGS
190 RIVER WALK TRL                  3676 LOWER HONOAPIILANI RD                  7500 WOODKNOLL DR                  1710 BIRKSHIRE RIDGE
NEW MARKET AL 35761                 C102                                        CHARLOTTE NC 28217                 MCDONOUGH GA 30252
                                    MAKAWAO HI 96761




006370P001-1409A-265                036454P001-1409A-265                        008034P001-1409A-265               006432P001-1409A-265
MIRANDA R CUMMINGS                  CRYSTAL A CUNNINGHAM                        EMILY N CUNNINGHAM                 KAYLA M CUNNINGHAM
14501 MONTFORT DR                   939 WEST DELMARE                            20013 CUNNINGHAM DR                278 ROBERT JEMISON RD
APT 1010                            GODFREY IL 62035                            ABERDEEN MS 39730                  APT1A
DALLAS TX 75254                                                                                                    BIRMINGHAM AL 35209




002971P001-1409A-265                005419P001-1409A-265                        001107P001-1409A-265               033333P002-1409A-265
NICOLE M CUNNINGHAM                 SARAI K CUNNINGHAM                          HALEY CUPP                         CURALATE INC
13924 OCOTILLO RD                   1339 FITZWATERTOWN RD                       448 FERNWAY DR                     1628 JOHN F KENNEDY BLVD FLO 14
DESERT HOT SPRINGS CA 92240         ABINGTON PA 19001                           HAMILTON OH 45011                  PHILADELPHIA PA 19103-2124




030931P001-1409A-265                004617P001-1409A-265                        004602P001-1409A-265               008266P001-1409A-265
CURE APPAREL LLC                    BLAYKE L CURETON                            KYRA M CURRIER                     ALYSSA A CURRY
DBA LIBERTY LOVE                    1157 BLACK DIAMOND DR                       1043 VASSAR                        5742 THUNDER OAKS
AMIR SEILABI                        DALLAS NC 28034                             SOUTH LYON MI 48178                SAN ANTONIO TX 78261
3338 S MALT AVE
COMMERCE CA 90040



030630P001-1409A-265                002101P001-1409A-265                        004566P001-1409A-265               005091P001-1409A-265
TAMEKA CURRY                        TAMEKA L CURRY                              ZORI A CURRY                       TARAE CURTIS
ADDRESS INTENTIONALLY OMITTED       124 POPLAR LN                               101 SW 69TH TER                    490 NORTH PATUXENT
                                    JACKSON TN 38305                            1001 ROGERS ST                     ODENTON MD 21113
                                                                                OKLAHOMA CITY OK 73139




001518P001-1409A-265                001651P001-1409A-265                        031968P001-1409A-265               034907P001-1409A-265
BRITTINEY T CURTISCUMMINGS          NICOLE CURTISS                              CURVATURE LLC                      CUSHMAN AND WAKEFIELD
466 SUMNER ST                       701 LEGACY DR                               NHR NEWCO HOLDINGS LLC             CREFII SILVER CITY LLC
STOUGHTON MA 02072                  3314                                        6500 HOLLISTER AVE STE 210         411 WEST PUTNAM AVE
                                    PLANO TX 75023-7508                         SANTA BARBARA CA 93117             STE 425
                                                                                                                   GREENWICH CT 6830-



029828P001-1409A-265                029829P001-1409A-265                        029830P001-1409A-265               007082P001-1409A-265
CUSHMAN AND WAKEFIELD (LANDLORD)    CUSHMAN AND WAKEFIELD (LANDLORD)            CUSHMAN AND WAKEFIELD (LANDLORD)   BRYANNA N CUSTER
CREFII SILVER CITY LLC              JONES LANG LASALLE AMERICAS INC             SILVER CITY GALLERIA               4105 N PIONEER CANYON DR
411 WEST PUTNAM AVE STE 425         PRESIDENT AND CEO RETAIL                    GENERAL MANAGER                    RIDGEFIELD WA 98642
GREENWICH CT 06830                  3344 PEACHTREE RD STE 1100                  2 GALLERIA MALL DR
                                    ATLANTA GA 30326                            TAUNTON MA 02780
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030855P001-1409A-265           031969P001-1409A-265                         031970P001-1409A-265              002484P001-1409A-265
CUSTIDIO AND DUBEY, LLP        CUSTOM DETECTION SECURITY SYSTEMS            CUSTOM RETAIL GROUP LLC           GABRIELLE CUTLIFFE
448 S HILL ST                  36 TOC DR                                    LYNDA R THAI                      APT 5-5307-D
STE 850                        HIGHLAND NY 12528                            6311 BUSCH BLVD                   4400 SW 20TH A
LOS ANGELES CA 90013                                                        COLUMBUS OH 43229                 GAINESVILLE FL 32607




035585P001-1409A-265           001768P001-1409A-265                         008055P001-1409A-265              010394P001-1409A-265
GABRIELLE CUTLIFFE             JORDAN D CUTTING                             TIAIRE E CUTTINO                  CUYAHOGA COUNTY TREASURER
APT 713                        1 HOWARD LN                                  12134 LITTLE PATUXENT PKWY        PO BOX 94547
2800 SW WILLIS                 LAKEVILLE MA 02347                           APT B                             CLEVELAND OH 44101-4547
GAINESVILLE FL 32608                                                        COLUMBIA MD 21044




035211P003-1409A-265           031255P001-1409A-265                         034197P001-1409A-265              034411P001-1409A-265
CVM HOLDINGS LLC               CVM HOLDINGS, LLC                            CW JOINT VENTURE, LLC             CW JOINT VENTURE, LLC
PLAZA ASSOCIATES INC           PO BOX 63340                                 2030 HAMILTON PL BLVD             GREENBRIER MALL II LLC
LEGAL DEPT                     CHARLOTTE NC 28263-3340                      STE 500                           PO BOX 5556
2840 PLAZA PL STE 100                                                       CHATTANOOGA TN 37421-6000         CAROL STREAM IL 60197-5556
RALEIGH NC 27612



033602P001-1409A-265           031971P001-1409A-265                         035096P001-1409A-265              035382P002-1409A-265
CYBERARK                       CYBERSOURCE CORP                             CYBERSOURCE CORP                  CYBERSOURCE CORP
60 WELLS AVE                   ACCOUNTS RECEIVABLE                          POST OFFICE BOX 8999              TAMMY SOMMER
STE 103                        PO BOX 742842                                SAN FRANCISCO CA 94128            PO BOX 947
NEWTON MA 02459                LOS ANGELES CA 90074                                                           AMERICAN FORK UT 84043




031972P001-1409A-265           035097P001-1409A-265                         037860P002-1409A-265              033603P001-1409A-265
CYBRA CORP                     CYBRA CORP                                   CYNTHIA DAVIS                     CYPHORT INC
28 WELLS AVE BLDG 3            28 WELLS AVENUE                              17071 GIBSON MILL RD              5451 GREAT AMERICA PKWY
2ND FL                         YONKERS NY 10701                             DUMFRIES VA 22026                 STE 225
YONKERS NY 10701                                                                                              SANTA CLARA CA 95054




034810P001-1409A-265           034818P001-1409A-265                         029831P002-1409A-265              029831S001-1409A-265
CYPRESS EQUITIES               CYPRESS EQUITIES                             CYPRESS EQUITIES (LANDLORD)       CYPRESS EQUITIES (LANDLORD)
CAPREF LLOYD II LLC            CYPRESS FLAGSTAFF MALL LP                    CAPREF LLOYD II LLC               WILLIAMS LEGAL ADVISORY GROUP, LLC
8333 DOUGLAS AVE               8343 DOUGLAS AVE                             PORTLAND ASSET MANAGEMENT         LEGAL NOTICES (2012-15)
STE 975                        STE 200                                      5910 NORTH CENTRAL EXPRESSWAY     169 RAMAPO VLY RD STE 106
DALLAS TX 75225                DALLAS TX 75225                              STE 1600                          OAKLAND NJ 07436
                                                                            DALLAS TX 75206


029831S002-1409A-265           029832P001-1409A-265                         029832S001-1409A-265              034419P001-1409A-265
CYPRESS EQUITIES (LANDLORD)    CYPRESS EQUITIES (LANDLORD)                  CYPRESS EQUITIES (LANDLORD)       CYPRESS FLAGSTAFF MALL
CAPREF LLOYD II LLC            CYPRESS FLAGSTAFF MALL LP                    CYPRESS FLAGSTAFF MALL, LP        PO BOX 678553
LEASE ADMINISTRATION           ASSET MANAGER                                DIRECTOR OF PROPERTY MANAGEMENT   DALLAS TX 75267-8553
2201 LLOYD CENTER              8343 DOUGLAS AVE STE 200                     8343 DOUGLAS AVE STE 200
PORTLAND OR 97232              DALLAS TX 75225                              DALLAS TX 75225
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031256P001-1409A-265               036457P001-1409A-265                        009852S001-1409A-265                      036190P002-1409A-265
CYPRESS FLAGSTAFF MALL LP          CYPRESS FLAGSTAFF MALL LP                   CYPRESS-FAIRBANK ISD TAX ASR              D AND D DISTRIBUTING WHOLESALE INC
CYPRESS FLAGSTAFF MALL             POBOX 678553                                LINEBARGER GOGGAN BLAIR AND SAMPSON LLP   CLETA A ALLEN
PO BOX 678553                      DALLAS TX 75267-8553                        JOHN P DILMAN                             14615 C ST S
DALLAS TX 75267-8553                                                           PO BOX 3064                               TACOMA WA 98444
                                                                               HOUSTON TX 77253-3064



003517P001-1409A-265               001932P001-1409A-265                        009899P001-1409A-265                      005118P001-1409A-265
MAITTA DABLA                       JAZRIEL DACAYANAN                           DADE COUNTY TAX COLLECTOR                 JETONNICA DADE
217 CHESTNUT ST                    280 BELLA MATESE AVE                        140 WEST FLAGLER ST                       906 SOUTH MAPLE ST LOT 12
MOUNT HOLLY NJ 08060               LAS VEGAS NV 89183-4645                     STE 1407                                  FOLEY AL 36535
                                                                               MIAMI FL 33130




006834P001-1409A-265               002930P001-1409A-265                        033288P001-1409A-265                      002907P001-1409A-265
CONNISHA E DAGGS                   ASHLEE A DAHL                               ANA DAHLMAN                               NICOLE M DAHM
PO BOX 452                         20 JOHN J BRADY DR                          1600 15TH ST                              1122 CLAYCREST CIR
BELLE ROSE LA 70341                APT A                                       APT #214                                  SAINT CHARLES MO 63304
                                   FRAMINGHAM MA 01702                         SAN FRANCISCO CA 94103




036460P001-1409A-265               030856P001-1409A-265                        034229P001-1409A-265                      007412P001-1409A-265
DAILY JOURNAL CORP                 DAL SOGLIO AND MARTNES LLP                  DAL SOGLIO AND MARTNES LLP                AISLING DALCO
915 E FIRST ST                     ROBIN DAL SOGLIO                            27240 TURNBERRY LN                        206 LINCOLN ST
LOS ANGELES CA 90012               27240 TURNBERRY LN                          STE 200                                   NORWELL MA 02061
                                   STE 200                                     VALENCIA CA 91355
                                   VALENCIA CA 91355



002647P001-1409A-265               009258P001-1409A-265                        037153P001-1409A-265                      003121P001-1409A-265
JHOSALYNN M DALE                   TAYLOR N DALE                               ALICIA DALIA                              ALICIA A DALIA
7633 WINDSOR DR NORTH              15 HOSPITAL ST                              633 WEST WATER ST APT 3                   633 W WATER ST APT 3
NORTH SYRACUSE NY 13212            PROVIDENCE RI 02903                         ELMIRA NY 14901                           3
                                                                                                                         ELMIRA NY 14901




001837P001-1409A-265               007822P001-1409A-265                        000683P001-1409A-265                      031257P002-1409A-265
CASSANDRA DALLAS                   BRADY A DALTON                              DANIELLE DALTON                           DALY CITY SERRAMONTE CENTER LLC
332 E BROAD ST                     1625 WINONA DR                              811 BOGART RD                             REGENCY CENTERS LP
BURLINGTON NJ 08016-2635           MIDDLETOWN OH 45044                         CEDAR PARK TX 78613                       ERNST BELL
                                                                                                                         ONE INDEPENDENT DR
                                                                                                                         JACKSONVILLE FL 32202



031257S001-1409A-265               034371P001-1409A-265                        030325P001-1409A-265                      033319P001-1409A-265
DALY CITY SERRAMONTE CENTER LLC    DALY CITY SERRAMONTE CENTER, LLC            EBONI DALYAN-MORRIS                       ERIC DAMAN
KELLEY DRYE AND WARREN LLP         DEPT 3319                                   ADDRESS INTENTIONALLY OMITTED             216 EAST 7TH ST
ROBERT L LEHANE                    LOS ANGELES CA 90084-3319                                                             APT #1
101 PARK AVE                                                                                                             NEW YORK NY 10009
NEW YORK NY 10178
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006787P001-1409A-265              030932P001-1409A-265                     036191P001-1409A-265          031258P001-1409A-265
CHAVALA D DAMRON                  DANBEE INC                               DANBEE INC                    DANBURY MALL LLC
6863 GREEN CREEK RD               PATTY PAK                                3360 E PICO BLVD              MACWH LP
FAYETTEVILLE NC 28314             3360 E PICO BLVD                         LOS ANGELES CA 90026          PO BOX 849548
                                  LOS ANGELES CA 90026                                                   LOS ANGELES CA 90084-9548




037735P001-1409A-265              004453P001-1409A-265                     001154P001-1409A-265          031975P002-1409A-265
DANBURY MALL LLC                  PATRICIA R DANEKE                        FLORES DANELY                 DANIEL CAREY
BALLARD SPAHR LLP                 7 BROOKSIDE CT                           2200 E MOUNTAIN RD APT E104   965 MAGNOLIA AVE APT 60
DUSTIN P BRANCH                   COLONIA NJ 07067                         L                             LARKSPUR CA 94939-1026
2029 CENTURY PARK EAST STE 800                                             SPRINGDALE AR 72764
LOS ANGELES CA 90067-2909



031976P001-1409A-265              003834P001-1409A-265                     009132P001-1409A-265          000965P001-1409A-265
DANIEL KINCAID PHOTOGRAPHY        JURESIA DANIEL                           MORGANELAINE T DANIEL         BATERRIA C DANIELS
DANIEL KINCAID                    16626 BONHAM AVE                         PO BOX 22883                  430 ROYAL PALM CT
32151 TRL RD                      BATON ROUGE LA 70816                     BEACHWOOD OH 44122            PAHOKEE FL 33476
AGUA DULCE CA 91390




004313P001-1409A-265              001347P001-1409A-265                     007790P001-1409A-265          005749P001-1409A-265
KAREN C DANIELS                   LUCILA DANIELS                           RANDI N DANIELS               CIARA C DANIELSON
100 DEPEW AVE APT 135             1017 E PIMA AVE                          25014 COUNTY RD 20 LOT 56     3527 MAPLE ST
NYACK NY 10960                    APACHE JUNCTION AZ 85119-7257            ELBERTA AL 36530              ERIE PA 16508




001517P001-1409A-265              002472P001-1409A-265                     037123P001-1409A-265          008204P001-1409A-265
ALEXARAE D DAOS                   LINDSAY M DAPP                           DARINE DESTIRON               JACKIE L DARLING
4280 MCKENNA CT                   115 PINEBROOK DR                         703 UNIVERSE ST NW            187 BARTLETT RD
FAIRFIELD CA 94534-7433           PADUCAH KY 42001                         PALM BAY FL 32907             PLYMOUTH MA 02360




005551P001-1409A-265              009128P001-1409A-265                     035586P001-1409A-265          030563P001-1409A-265
MELISSA A DARLING                 RACOLE DARLING                           RACOLE DARLING                RAY DARLING
8410 PINE BLUFF RD                4871 RIVES JCT RD                        4871 RIVES JUNCTION RD        ADDRESS INTENTIONALLY OMITTED
FREDERICK MD 21704                JACKSON MI 49201                         JACKSON MI 49201




001721P001-1409A-265              037928P001-1409A-265                     001869P001-1409A-265          003977P001-1409A-265
RAYMOND E DARLING                 DARLYNE HERNDON                          KARI DARNA                    TATIANA D DARRIS
6 EDGEWOOD RD                     153 47TH ST NORTHEAST                    63 SALEM RD                   4234 EAST 1ST
BINGHAMTON NY 13903               WASHINGTON DC 20019                      LYME CT 06371                 LOS ANGELES CA 90063
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035587P001-1409A-265        001181P001-1409A-265                    031259P001-1409A-265          005116P001-1409A-265
TATIANA D DARRIS            LINDSEY B DART                          DARTMOUTH MALL                DIVYA A DAS
2168 S ATLANTIC BLVD 542    4729 FELTON ST APT B                    PREIT ASSOCIATES LP           4790 VISTA RIDGE DR
MONTEREY PARK CA 91754      SAN DIEGO CA 92116                      THERESA HOBBS                 DUBLIN OH 43017
                                                                    PO BOX 951316
                                                                    CLEVELAND OH 44193



009716P001-1409A-265        033604P001-1409A-265                    033605P001-1409A-265          007169P002-1409A-265
SHAONI DASGUPTA             DASHBOARD GEAR                          DATANATIONAL CORP             KELLI J DATLENKO
505 TRIBECA DR              13570 GROVE DR #363                     23382 COMMERCE DR             239 BROOKWOOD AVE
CHARLESTON SC 29414         MAPLE GROVE MN 55311                    FARMINGTON HILLS MI 48335     WADSWORTH OH 44281-2226




005572P001-1409A-265        001572P001-1409A-265                    000736P001-1409A-265          009443P001-1409A-265
ASHTON T DAUGHHETEE         TIANA DAUGHTRY                          MARTINA DAVALOS JAUREGUI      JESSICA DAVALOS ROCHA
3717 MOONSHINE FALLS AVE    17500 ELEANOR LN                        806 CALAVERAS AVE             11321 N 50TH ST
NORTH LAS VEGAS NV 89085    UPPER MARLBORO MD 20774-8926            ONTARIO CA 91764-3616         APT 22
                                                                                                  TAMPA FL 33617




035426P001-1409A-265        035588P001-1409A-265                    006186P001-1409A-265          003125P001-1409A-265
MARTINA DAVALOS             DANIELLE M DAVANZO                      MICHELLE DAVEIGA              DESTINY DAVENPORT
806 CALAVERAS AVE           12 STONY BROOK RD                       24 JAMES ST                   743 PETERMAN PL
ONTARIO CA 91764-3616       BROOKFIELD CT 06801                     TAUNTON MA 02780              GREER SC 29650




035589P001-1409A-265        030700P001-1409A-265                    010455P001-1409A-265          032688P001-1409A-265
OLIVIA K DAVENPORT          DAVID AND YOUNG INC                     DAVID LAROSA TAX COLLECTOR    DAVID LAROSA TAX COLLECTOR
6 DOGWOOD CT                DAVID AND YOUNG GROUP CORP              PO BOX 1270                   HARRISON COUNTY TAX COLLECTOR
CROMWELL CT 06416           JAMI VILLANUEVA                         GULFPORT MS 39502             PO BOX 1270
                            903 CASTLE RD                                                         GULFPORT MS 39502
                            SEACAUCUS NJ 07094



031977P001-1409A-265        000684P001-1409A-265                    006294P001-1409A-265          033408P001-1409A-265
DAVID T OKOLO               TIFFANY DAVID                           NICOLE C DAVIDSON             TODD A DAVIDSON
251 S MARIPOSA AVE          816 GLENDALE LN                         27 OAKRIDGE AVE               MACINTOSH GURU
APT 401                     ORANGE PARK FL 32065                    NORTH ATTLEBORO MA 02760      4740 MURPHY CANYON RD
LOS ANGELES CA 90004                                                                              STE 222
                                                                                                  SAN DIEGO CA 92123



007018P001-1409A-265        007923P001-1409A-265                    033606P001-1409A-265          010355P001-1409A-265
PAIGE T DAVIDSONGAY         DAMYA D DAVIES                          DAVINCI                       DAVIS COUNTY ASSESSOR
6625 AMBASSADOR AVE         102 WOODBROOK CT                        400 GALLERIA PKWY             PO BOX 618
511                         102                                     STE 1500                      FARMINGTON UT 84025
GRAND LEDGE MI 48837        LOUISVILLE KY 40229                     ATLANTA GA 30339
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007562P001-1409A-265           001758P001-1409A-265                036385P001-1409A-265              008740P001-1409A-265
ALEXIA T DAVIS                 ALIYAH T DAVIS                      ANASTACIA DAVIS                   ANGEL K DAVIS
83 MORGAN LN                   713 E PRESTON ST                    915 S JACKSON ST                  3104 PUFFIN CIR
HAMDEN CT 06514                BALTIMORE MD 21202-4230             MONTGOMERY AL 36104               FAIRFIELD CA 94533




009392P001-1409A-265           008280P001-1409A-265                007739P001-1409A-265              007202P001-1409A-265
ANGELA M DAVIS                 CANDACE DAVIS                       CHEYANNE D DAVIS                  CHEYENNE A DAVIS
LIVING CTR SOUTH 7400 BAY R    8275 WARLIN DR NORTH                5356 OAK HILLS DR                 7959 LONG DR
1245                           JACKSONVILLE FL 32216               EATON RAPIDS MI 48827             CHATTANOOGA TN 37421
UNIVERSITY CENTER MI 48710




000493P001-1409A-265           003289P001-1409A-265                007342P001-1409A-265              001080P001-1409A-265
CHRISTINE G DAVIS              CRYSTAL S DAVIS                     CYNTHIA DAVIS                     ELIZABETH B DAVIS
4985 OAK LEAF DR               4318 KNOX AVE N                     5621 MINNIE CT                    11404 LINDENSHIRE LN
JACKSON MS 39212               MINNEAPOLIS MN 55412                WOODBRIDGE VA 22193               RICHMOND VA 23238




008804P001-1409A-265           009465P001-1409A-265                030160P001-1409A-265              003764P002-1409A-265
JASMINE I DAVIS                KATHLEEN J DAVIS                    KATHY DAVIS                       KAYLAH DAVIS
1975 MAXWELL AVE               20100 N 78TH PL                     ADDRESS INTENTIONALLY OMITTED     1813 WOOD ST
#D127                          APT 3114                                                              JONESBORO AR 72401-4866
WOODLAND CA 95776              SCOTTSDALE AZ 85255




001775P001-1409A-265           035590P001-1409A-265                003441P001-1409A-265              002322P001-1409A-265
KEYANNA M DAVIS                KIERRA N DAVIS                      KYRA DAVIS                        MEGHAN C DAVIS
101 ROBIN DR                   403 PK MEADOWS DR                   269 WHISTLE WAY                   10 PALM CT
CLARKSVILLE TN 37042-5623      APT 202                             LOCUST GROVE GA 30248             PARAMUS NJ 07652
                               WAITE PARK MN 56387




037662P001-1409A-265           006758P001-1409A-265                002977P001-1409A-265              006109P001-1409A-265
SHAY DAVIS                     SHAY S DAVIS                        SHELBY E DAVIS                    SKYLAR B DAVIS
2151 WESTGATE PKWY APT E49     2151 WESTGATE PKWY                  2614 CR 5700                      305 HIALEAH DR
DOTHAN AL 36303                E49                                 LUBBOCK TX 79415                  CHERRY HILL NJ 08002
                               DOTHAN AL 36303




002607P001-1409A-265           006500P001-1409A-265                009073P001-1409A-265              005225P001-1409A-265
STACEY L DAVIS                 STEPHANIE M DAVIS                   TANAJA DAVIS                      TASHAWNA DAVIS
72 LEAH ST                     160 FAITH LN                        806 25TH ST NW                    10306 E 27TH ST
PROVIDENCE RI 02908            TRACY CA 95377                      CANTON OH 44709                   TULSA OK 74129
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003414P001-1409A-265       035591P001-1409A-265                     037685P001-1409A-265         002440P001-1409A-265
WYCHOVIA DAVIS             WYCHOVIA DAVIS                           WYCHOVIA DAVIS               XENNA K DAVIS
923 BERRYVILLE RD          1800 GROVE PT RD                         850 RUNS BRANCH RD           7407 WACO
CLYO GA 30446              APT 509                                  NEWINGTON GA 30446           APT B
                           SAVANNAH GA 31419                                                     LUBBOCK TX 79423




003258P001-1409A-265       032667P001-1409A-265                     007605P001-1409A-265         009548P001-1409A-265
ZHANE DAVIS                ZYANYA ZAHARA DAVIS                      SHAYDRIKA S DAVISWALLACE     DOMINIQUE J DAWES
2001 RICHARDS DR           751 EAST 6TH ST                          301 PARKWEST DR              640 DR MARY MCLEOD BETHUNE BL
PHENIX CITY AL 36867       NEW YORK NY 10009                        U05                          DAYTONA BEACH FL 32114
                                                                    LANSING MI 48917




008091P001-1409A-265       004419P001-1409A-265                     004197P001-1409A-265         004159P001-1409A-265
NICOLE DAWES               KIARRA D DAWKINS                         ORIAN M DAWKINS              TASHARRA DAWKINS
6138 SPRUCE ST             4855 BOURNE HOLLOW LN                    21307 HAMPTON PK             1425 ARDEN LN
PHILADELPHIA PA 19138      ARLINGTON TN 38002                       GARDEN RIDGE TX 78266        CONWAY AR 72034




035592P001-1409A-265       009973P001-1409A-265                     002837P001-1409A-265         033223P001-1409A-265
TASHARRA DAWKINS           DAWSON COUNTY                            ROMEISHA K DAWSON            VEONA DAWSON
3610 MARYLAND AVE #1511    25 JUSTICE WAY                           23398 HEMLOCK AVE 302        6011 RADECKE AVE
SHERWOOD AR 72120          STE 2322                                 MORENO VALLEY CA 92557       BALTIMORE MD 21206
                           DAWSONVILLE GA 30534




031260P001-1409A-265       004156P001-1409A-265                     008649P001-1409A-265         037198P001-1409A-265
DAY JAY ASSOCIATES         AMBER C DAY                              KAITLAND A DAY               KAITLAND AMANDA DAY
QUAIL SPRINGS MALL LLC     37 NOTTINGHAM WAY                        309 FULTON DR                KAITLAND AMANDA DAY
PO BOX 775773              PENSACOLA FL 32506                       KINGS MOUNTAIN NC 28086      309 FULTON DR
CHICAGO IL 60677-5773                                                                            KINGS MOUNTAIN NC 28086




009702P001-1409A-265       030439P002-1409A-265                     003692P002-1409A-265         005478P001-1409A-265
KAITLYN M DAY              KATURAH DAY                              RYLEIGH C DAY                ANGELICA JOY DAYOAN
12074 CABRI LN             ADDRESS INTENTIONALLY OMITTED            813 FULTON ST                8225 KILLIAN LN
FISHERS IN 46037                                                    RAPID CITY SD 57701-3550     BEAUMONT TX 77706




004861P001-1409A-265       036981P001-1409A-265                     036981S001-1409A-265         031261P001-1409A-265
JOAN MARICE P DAYOAN       DAYTON MALL II LLC                       DAYTON MALL II LLC           DAYTON MALL II, LLC
8225 KILLIAN LN            WASHINGTON PRIME GROUP INC               WASHINGTON PRIME GROUP INC   180 EAST BROAD ST
BEAUMONT TX 77706          FROST BROWN TODD LLC                     STEPHEN E IFEDUBA            COLUMBUS OH 43215
                           301 E FOURTH ST                          180 E BROAD ST
                           CINCINNATI OH 45202                      COLUMBUS OH 43215
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032934P001-1409A-265           032934S001-1409A-265                 033913P002-1409A-265             030655P001-1409A-265
DAYTON POWER AND LIGHT CO      DAYTON POWER AND LIGHT CO            DAYTON POWER AND LIGHT CO        TRISHA R DAYTON
PO BOX 740598                  1065 WOODMAN DR                      FRAN DAVIDSON                    ADDRESS INTENTIONALLY OMITTED
CINCINNATI OH 45274            DAYTON OH 45432                      1065 WOODMAN DR
                                                                    DAYTON OH 45432




004926P001-1409A-265           031978P001-1409A-265                 035319P001-1409A-265             036467P001-1409A-265
EVELIN DAZA                    DC GROUP INC                         DC GROUP INC                     DC GROUP INC
200 HAMPDON CT                 SHERRY ZIMMERMANN                    1988 WEST RIVER ROAD NORTH       1977 W RIVER RD N
BOLINGBROOK IL 60440           1977 W RIVER RD N                    MINNEAPOLIS MN 55411             MINNEAPOLIS MN 55411
                               MINNEAPOLIS MN 55411




033800P001-1409A-265           005792P001-1409A-265                 034742P001-1409A-265             029833P001-1409A-265
DCKAP INC                      KYRA A DCOSTA                        DDR                              DDR (LANDLORD)
3728 ATLANTIC AVE              1377 CROWN PT RD                     DDR DEL SOL SE                   DDR DEL SOL LLC SE
LONG BEACH CA 90807            WEST DEPTFORD NJ 08093               3300 ENTERPRISE PKWY             EXECUTIVE VICE PRESIDENT LEASING
                                                                    BEACHWOOD OH 44122               3300 ENTERPRISE PKWY
                                                                                                     BEACHWOOD OH 44122



029833S001-1409A-265           036468P002-1409A-265                 036468S001-1409A-265             031973P001-1409A-265
DDR (LANDLORD)                 DDR DEL SOL LLC SE                   DDR DEL SOL LLC SE               DDS
DDR CORP                       SITE CENTERS CORP FKA                SITE CENTERS CORP                DIVERSIFIED DISTRIBUTION SYSTE
GENERAL COUNSEL                3300 ENTERPRISE PKWY                 ERIC C COTTON ESQ                7351 BOONE AVE NORTH
3300 ENTERPRISE PKWY           BEACHWOOD OH 44122                   3300 ENTERPRISE PKWY             BROOKLYN PARK MN 55428-1007
BEACHWOOD OH 44122                                                  P O BOX 228042
                                                                    BEACHWOOD OH 44122


036458P001-1409A-265           004765P001-1409A-265                 006278P001-1409A-265             001100P001-1409A-265
DDS                            JOELENE G DE GUZMAN                  ALIA LAUREN DE JESUS             CARLOS DE JESUS
7351 BOONE AVE NORTH           878 BLUEOAK WAY                      711 MADDUX DR                    1478 SUNSHADOW DR APT108
BROOKLYN PARK MN 55428-1007    FAIRFIELD CA 94534                   DALY CITY CA 94015               CASSALBERRY FL 32707




002895P001-1409A-265           002720P001-1409A-265                 024100P001-1409A-265             003316P001-1409A-265
JESSENYA DE JESUS              NERSEDALIA DE JESUS                  BRIELLE DE LA FUENTE             DALIS J DE LA MOTHE
100 KIMBALL ST                 3224 CHAPMAN ST                      1040 NW 45TH ST                  1127 HAROLD DR
PROVIDENCE RI 02908            #18                                  FORT LAUDERDALE FL 33309         NASHVILLE TN 37217
                               LOS ANGELES CA 90065




035593P001-1409A-265           007295P001-1409A-265                 002919P001-1409A-265             001444P001-1409A-265
KARINA G DE LA ROSA            JOCELYN DE LEON                      SALMA A DE LOS RIOS              STEPHANIE DE LOS SANTOS
2858 22ND ST                   450 SOUTH CHURCH ST                  5048 N RIVER CROSSING LN         4156 BROADWAY
SAN FRANCISCO CA 94110         VISALIA CA 93277                     TUCSON AZ 85704                  SAN DIEGO CA 92102-3505
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035594P001-1409A-265            006907P001-1409A-265                           004226P001-1409A-265             000158P002-1409A-265
RIOS SALMA A DE LOS             NICOLE A DE PAULA                              ARIELLE R DE SANTIAGO            DE- DIVISION OF REVENUE
5048 N RIVER CROSSING LN        427 FERN GULLEY DR                             1304 E LAFAYETTE ST              ZILLAH FRAMPTON
TUCSON AZ 85704                 SEFFNER FL 33584                               STOCKTON CA 95205                PO BOX 8763
                                                                                                                WILMINGTON DE 19899




007297P001-1409A-265            006156P001-1409A-265                           001187P001-1409A-265             001481P001-1409A-265
JACQUELINE DEALBA               QUA JANAH N DEAN                               SHABRELLE M DEAN                 CHARISMA R DEAS
15794 AVE 327                   973 S HANNIBAL WAY APT D                       809 SE 35TH TER                  8 RICHMOND PK DR
IVANHOE CA 93235                973 D                                          TOPEKA KS 66605                  PHENIX CITY AL 36869
                                AURORA CO 80017




036601P001-1409A-265            005565P001-1409A-265                           008502P001-1409A-265             032935P001-1409A-265
LATRICIA DEBERRY                MARISSA J DECANIO                              SHAYNALYN L DECANTO              DECCO WASTE
505 MONTEREY PKWY               125 SPRINGER PLAN RD                           275 ANAPALAU ST                  PO BOX 17116
ATLANTA GA 30350                FREEDOM PA 15042                               275 ANAPALAU S                   SMITHFIELD RI 02917
                                                                               HONOLULU HI 96825




007578P001-1409A-265            031979P001-1409A-265                           036471P001-1409A-265             031980P001-1409A-265
YAZMIN M DECHAMPS               DECISION ONE CORP                              DECISIONPOINT SYSTEMS CA INC     DECISIONPOINT SYSTEMS CA, INC
15 NORWOOD LN                   640 LEE RD                                     PO BOX 51480                     ROBERT RAVLOVIC
WILLINGBORO NJ 08046            3RD FL                                         LOS ANGELES CA 90051-6311        PO BOX 51480
                                WAYNE PA 19087                                                                  LOS ANGELES CA 90051-6311




035099P001-1409A-265            035098P001-1409A-265                           030933P001-1409A-265             007731P001-1409A-265
DECISIONPOINT SYSTEMS INC       DECISIONPOINT SYSTEMS INC DEPOT SVC            DECOR CRAFT INC                  JANILE DEDIOS
ZEBRA EVM ONECARE SVC           PO BOX 51480                                   MICHAEL NIEVES                   2950 MAKAHA WAY
PO BOX 51480                    LOS ANGELES CA 90051-6311                      133 MATHEWSON ST                 SAN DIEGO CA 92154
LOS ANGELES CA 90051-6311                                                      PROVIDENCE RI 02903




008993P001-1409A-265            032936P001-1409A-265                           032936S001-1409A-265             033914P001-1409A-265
OLIVIA DEEMING                  DEEP GREEN WASTE AND RECYCLING                 DEEP GREEN WASTE AND RECYCLING   DEEP GREEN WASTE AND RECYCLING
3 PENDLETON COURT               PO BOX 102657                                  P O BOX 965838                   3225 SHALLOWFORD RD NE
ANNANDALE NJ 08801              ATLANTA GA 30368                               MARIETTA GA 30066-0014           STE 1020
                                                                                                                MARIETTA GA 30062




037503P001-1409A-265            031262P001-1409A-265                           008201P001-1409A-265             037083P001-1409A-265
DEERBROOK MALL LLC              DEERBROOK MALL, LLC                            TARA L DEES                      TARA L DEES
BROOKFIELD PROPERTY REIT INC    GGPLP REAL ESTATE INC                          136 HAMILTON AVE                 805 CENTER AVE
JULIE M BOWDEN                  9129 COLLECTION CTR DR                         VANDERGRIFT PA 15690             BUTLER PA 16001
350 N ORLEANS ST STE 300        CHICAGO IL 60693
CHICAGO IL 60654-1607
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032937P001-1409A-265                       032937S001-1409A-265                               004993P001-1409A-265       003368P001-1409A-265
DEFFENBAUGH DISPOSAL SERV                  DEFFENBAUGH DISPOSAL SERV                          TIANA K DEFFENDERFER       ASHLEY L DEFRANCE
PO BOX 3249                                2601 MIDWEST DR                                    9828 ARAPAHO ST            13800 CHESTNUT DR
SHAWNEE KS 66203                           KANSAS CITY KS 66111                               SPRING VALLEY CA 91977     222
                                                                                                                         EDEN PRAIRIE MN 55344




006861P001-1409A-265                       003330P001-1409A-265                               033385P001-1409A-265       037793P001-1409A-265
ALLISON DEGEORGE                           AMBER V DEGRAW                                     RICHARD DEGUZMAN           DEJA ASHLEY
3460 18TH ST                               4264 CADDO AVE SW                                  357 UPPER TER              DEJA ASHLEY
SAN FRANCISCO CA 94110                     GRANDVILLE MI 49418                                APT 1                      327 IRVINE PL
                                                                                              SAN FRANCISCO CA 94117     ELMIRA NY 14901




037794P002-1409A-265                       008828P001-1409A-265                               028531P001-1409A-265       010186P001-1409A-265
DEJA HOOD                                  OLIVIA J DEJESU                                    KRISTINA A DEJESUS         DEKALB COUNTY TAX COMMISSIONER
102 CAROLETON DR                           144 CHELSEA HILLS DR                               6760 SW 64TH TER           PO BOX 100004
GROVETOWN GA 30813-0309                    BENICIA CA 94510-1610                              OCALA FL 34476             DECATUR GA 30031-7004




031263P001-1409A-265                       037570P001-1409A-265                               004780P001-1409A-265       007821P001-1409A-265
DEL AMO FASHION CENTER OPERATING CO LLC    DEL AMO FASHION CENTER OPERATING CO LLC            VALERYE A DEL ANGEL        KRYSTAL DEL FIERRO
3525 WEST CARSON ST STE 165                A DELAWARE LIMITED LIABILITY CO                    2437 HAINSWORTH AVE        14 N PALM ST
TORRANCE CA 90503                          SIMON PROPERTY GROUP LP RONALD M TUCKER            NORTH RIVERSIDE IL 60546   PAHOKEE FL 33476
                                           225 WEST WASHINGTON ST
                                           INDIANAPOLIS IN 46204



005088P001-1409A-265                       001126P001-1409A-265                               005234P001-1409A-265       035595P001-1409A-265
YARELIS DEL RIO SANCHEZ                    ANNE DEL VALLE                                     FRANCINE DEL VALLE         ANGEL VALERYE A DEL
5350 AUDOBON AVE                           949 RIDGEVIEW CT                                   1410 MILLBRAE AVE          2437 HAINSWORTH AVE
APT 301                                    UNIT D                                             #105                       NORTH RIVERSIDE IL 60546
INVER GROVE HEIGHT MN 55077                SO. SAN FRANCISCO CA 94080                         MILLBRAE CA 94030




035596P001-1409A-265                       035427P001-1409A-265                               005508P001-1409A-265       002757P001-1409A-265
RIO SANCHEZ YARELIS DEL                    VALLE ANNE DEL                                     CHRISTINE M DELA CRUZ      KATIE DELA CRUZ
5350 AUDOBON AVE                           949 RIDGEVIEW CT                                   2235 37TH AVE              1110 HUI ST
APT 301                                    UNIT D                                             SAN FRANCISCO CA 94116     KAILUA HI 96734
INVER GROVE HEIGHT MN 55077                SO. SAN FRANCISCO CA 94080




008745P001-1409A-265                       035597P001-1409A-265                               035598P001-1409A-265       035599P001-1409A-265
CHRISTINE JILL DELA PAZ                    CRUZ CHRISTINE M DELA                              CRUZ KATIE DELA            PAZ CHRISTINE JILL DELA
6820 SUNNYSIDE LN                          2235 37TH AVE                                      1110 HUI ST                6820 SUNNYSIDE LN
FORT WASHINGTON MD 20744                   SAN FRANCISCO CA 94116                             KAILUA HI 96734            FORT WASHINGTON MD 20744
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008617P001-1409A-265            008755P001-1409A-265                    004172P001-1409A-265           037269P001-1409A-265
ALAZEY L DELACRUZ               ALONDRA M DELACRUZ                      ARIEL DELACRUZ                 DANIELLE DELAMOTHE
3602-2 MONA ST                  3508 ORR AVE                            22 CONFEDERATION PL            26 LAMBERT RIDGE
PEARLAND TX 77584               NORTH LAS VEGAS NV 89030                STATEN ISLAND NY 10303         CROSS RIVER NY 10518




006319P001-1409A-265            007492P001-1409A-265                    002134P002-1409A-265           006029P001-1409A-265
DANIELLE C DELAMOTHE            CLARISSA DELAO                          SILENA M DELAPAZ               ALEXIS DELATOBA
26 LAMBERT RIDGE                5003 MANOR STONE LN                     1322 N 47TH ST APT 101         667 FST
CROSS RIVER NY 10518            ROSENBERG TX 77469                      FORT SMITH AR 72904-7157       APT H-16
                                                                                                       CHULA VISTA CA 91910




000311P001-1409A-265            009840P001-1409A-265                    031981P001-1409A-265           000032P001-1409A-265
DELAWARE ATTORNEY GENERAL       DELAWARE COUNTY TREASURER               DELAWARE DEPT OF LABOR         DELAWARE DEPT OF NATURAL RESOURCES AND
MATTHEW DENN                    100 W MAIN ST                           PO BOX 41780                   ENVIRONMENTAL CONTROL
CARVEL STATE OFFICE BLDG        RM 102                                  PHILADELPHIA PA 19101-1780     89 KINGS HIGHWAY
820 N FRENCH ST                 MUNCIE IN 47305                                                        DOVER DE 19901
WILMINGTON DE 19801



009744P001-1409A-265            010382P002-1409A-265                    010580P001-1409A-265           000195P001-1409A-265
DELAWARE DIVISION OF REVENUE    DELAWARE DIVISION OF REVENUE            DELAWARE DIVISION OF REVENUE   DELAWARE SECRETARY OF LABOR
PO BOX 2044                     PO BOX 830                              PO BOX 8750                    SECRETARY
WILMINGTON DE 19899-2044        WILMINGTON DE 19899-0830                WILMINGTON DE 19899-8750       4425 N MARKET ST 4TH FL
                                                                                                       WILMINGTON DE 19802




010541P001-1409A-265            000418P001-1409A-265                    036130P001-1409A-265           037647P001-1409A-265
DELAWARE SECRETARY OF STATE     DELAWARE STATE ESCHEATOR                PATRICIA DELAYO                PATRICIA DELAYO
STATE OF DELAWARE DIVISION      UNCLAIMED PROPERTY DIVISION             LYON LAW PC                    LYON LAW PC
OF CORPORATIONS                 PO BOX 8931                             GEOFFREY C. LYON               GEOFFREY LYON
PO BOX 5509                     WILMINGTON DE 19899                     10960 WILSHIRE BLVD            10960 WILSHIRE BLVD
BINGHAMTON NY 13902-5509                                                STE 820                        STE 820
                                                                        LOS ANGELES CA 90024           LOS ANGELES CA 90024


003709P001-1409A-265            009467P001-1409A-265                    009700P002-1409A-265           002826P001-1409A-265
HERMINIA DELELLO                NICOLE DELELLO                          ANDREA DELEON                  AMAIRANI DELGADILLO
300 MALVERNE DR                 300 MALVERNE DR                         4785 DELLWOOD LANE             1408 ADELA DR
SYRACUSE NY 13208               SYRACUSE NY 13208                       BEAUMONT TX 77706-3517         SAN JUAN TX 78589




001817P001-1409A-265            005204P001-1409A-265                    006489P001-1409A-265           001635P001-1409A-265
ACALEES M DELGADO               CYNTHIA N DELGADO                       DEMMI S DELGADO                JONANTHONY R DELGADO
5944 W 26 AVE                   10907 VISTA DEL RANCHO DR               735 ANDERSON HILL RD           292 VOYAGER COVE
5944                            BAKERSFIELD CA 93311                    HARRISON NY 10577              KYLE TX 78640
HIALEAH FL 33016
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008684P001-1409A-265          008101P001-1409A-265                          007813P001-1409A-265      007456P001-1409A-265
LIZETH DELGADO                MADELINE L DELGADO                            MELANY DELGADO            SELENA DELGADO
2215 ONTARIO ST               325 HIGH ST                                   35 ROWLAND ST             29 PALISADE AVE APT 417
FORT WAYNE IN 46802           LAWRENCE MA 01841                             PATCHOGUE NY 11772        417
                                                                                                      JERSEY CITY NJ 07306




037332P001-1409A-265          006480P001-1409A-265                          007224P001-1409A-265      031982P001-1409A-265
SELENA DELGADO                VANESSA DELGADO                               ALYSSA M DELGAUDIO        DELL INC
29 PALISADE AVE APT 417       3263 S 58TH CT                                425 CUSTER AVE            PO BOX 910916
JERSEY CITY NJ 07306          CICERO IL 60804                               GLENOLDEN PA 19036        PASADENA CA 91110-0916




003038P001-1409A-265          002588P001-1409A-265                          032938P001-1409A-265      032938S001-1409A-265
SABRINA N DELLACCA            RACHEL C DELLER                               DELMARVA POWER            DELMARVA POWER
2536 MACBETH AVE              8437 BRANDAU CT                               PO BOX 13609              500 N WAKEFIELD DR FL 2
CORONA CA 92882               518                                           PHILADELPHIA PA 19101     NEWARK DE 19702-5440
                              TINLEY PARK IL 60487




007854P001-1409A-265          033538P001-1409A-265                          001416P001-1409A-265      008444P001-1409A-265
SHAKENYA Q DELOATCH           DELOITTE TAX LLP                              LEIGHA M DELONG           MADISON T DELORME
7108 BELLEAU WOODS DR         PO BOX 844736                                 419 ALLISON WAY           687 BROCHARDT BLVD
RALEIGH NC 27610              DALLAS TX 75284-4736                          GRAND JUNCTION CO 81504   KNOXVILLE TN 37934




007244P001-1409A-265          009454P001-1409A-265                          032939P001-1409A-265      004764P001-1409A-265
NANESHKA V DELOSA             KAYLINA DELPERDANG                            DELTA CHARTER TOWNSHIP    ALESSONDRA DELUCA
1800 GROVE PT RD 1019         2923 SUNSET CIR                               7710 W SAGINAW HIGHWAY    2897 GREENLAND DR
1019                          SIOUX CITY IA 51104                           LANSING MI 48917          UNIT 207
SAVANNAH GA 31419                                                                                     LOVELAND CO 80538




009107P001-1409A-265          031983P001-1409A-265                          006391P001-1409A-265      031984P001-1409A-265
ALEXIS D DELUCA               DELUXE BUSINESS FORMS AND SUPPLIES            JAMILEX A DELVALLE        DEMANDWARE INC
6325 WEST 70TH ST             PO BOX 742572                                 8807 AUBURN WAY           5 WALL ST
SHREVEPORT LA 71129           CINCINNATI OH 45274-2572                      TAMPA FL 33615            BURLINGTON MA 01803




008676P001-1409A-265          002306P001-1409A-265                          035600P001-1409A-265      008357P001-1409A-265
CALLIE DEMARIA                HEATHER M DEMEDEIROS                          CINDY H DEMIAN            CYANA T DENBY
21 KETCH CT                   51 VINE ST                                    1040 NORTH AVE 3RD FL     9567 WATTS RD
114 VICTORIA S                APT 1                                         ELIZABETH NJ 07201        OWINGS MILLS MD 21117
LITTLE EGG HARBOR NJ 08087    NEW BEDFORD MA 02740
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031985P001-1409A-265         031986P001-1409A-265                      035601P001-1409A-265                  007576P001-1409A-265
DENISE BIDOT LLC             DENISON PARKING, INC                      HALEY DENNER                          ADRIENNERENEE DENNIE
401 W 22ND ST                49 WEST MARYLAND ST #138                  942 GOTHAM ST                         14435 CREEKVIEW DR
NEW YORK NY 10011            INDIANAPOLIS IN 46204                     WATERTOWN NY 13601                    ORLAND PARK IL 60467




009965P001-1409A-265         010175P001-1409A-265                      001670P001-1409A-265                  001230P001-1409A-265
DENNIS J WEAVER, CLERK OF    DENNIS W HOLLINGSWORTH, CFC               DIAMOND A DENNIS                      JOSLYN DENNIS
CIRCUIT COURT                ST JOHNS COUNTY TAX COLLECTOR             9415 WEEPING WILLOW LN                3013 VIRGINIA ST
24 SUMMIT AVE                PO BOX 9001                               PORT RICHEY FL 34668-4645             SIOUX CITY IA 51105-1611
HAGERSTOWN MD 21740          ST. AUGUSTINE FL 32085-9001




008712P001-1409A-265         006862P001-1409A-265                      036986P001-1409A-265                  004260P001-1409A-265
LINDSAY B DENNIS             ALEXA DENO                                KARISSMA DENOGEAN                     KARISSMA J DENOGEAN
147 NETHERFIELD CT           219 CHARLES ST                            1235 N EUCLID AVE                     1235 N EUCLID AVE
APT 7                        MERIDEN CT 06451                          TUCSON AZ 85719                       TUCSON AZ 85719
WINCHESTER VA 22602




005357P001-1409A-265         007832P001-1409A-265                      008035P001-1409A-265                  010212P001-1409A-265
ALLEGRA A DENOOYER           MAYA I DENSLEY                            SIERRA S DENSON                       DENTON COUNTY TAX OFFICE
83 CAPEN ST                  863 PARKVIEW DR                           7710 E 111TH TERR                     PO BOX 1277
MILTON MA 02186              MACON GA 31211                            KANSAS CITY MO 64134                  DENTON TX 76202




032689P001-1409A-265         035413P001-1409A-265                      035413S001-1409A-265                  010328P001-1409A-265
DENTON COUNTY TAX OFFICE     DENTON COUNTY TAX OFFICE                  DENTON COUNTY TAX OFFICE              DEPARTAMENTO DE ASUNTOS DEL
DENTON COUNTY RUD #1         PO BOX 90223                              MCCREARY VESELKA BRAGG AND ALLEN PC   CONSUMIDOR OFICINIA REGIONAL
PO BOX 1277                  DENTON TX 76202                           TARA LEDAY                            PO BOX 41059MANILLAS STATIO
DENTON TX 76202                                                        PO BOX 1269                           SAN JUAN PR 00940-1059
                                                                       ROUND ROCK TX 78680



010365P001-1409A-265         010482P001-1409A-265                      010440P001-1409A-265                  035411P001-1409A-265
DEPARTAMENTO DE FINANZAS     DEPARTAMENTO DE FINANZAS                  DEPARTAMENTO DE HACIENDA              DEPARTMENT OF TREASURY
MUNICIPIODE SAN JUAN         MUNICIPIO AUTONOMO DE BARCELON            PLANILLA MENSUAL IVU                  PO BOX 50066
PO BOX 70179                 PO BOX 2048                               PO BOX 9024140                        SAN JUAN PR 00902
SAN JUAN PR 00936-8179       BARCELONETA PR 00617                      SAN JUAN PR 00902-4140




001568P001-1409A-265         005038P001-1409A-265                      004508P001-1409A-265                  000408P001-1409A-265
DAISY A DEPAZ                KEELY A DEPEE                             JAKIRA L DEPENA                       DEPT OF AGRICULTURE
1478 S CHRISTY LN            12026 GEORGE FARM DR                      5 KELLY ST                            TRADE AND CONSUMER PROTECTION
LAS VEGAS NV 89142           LOVETTSVILLE VA 20180                     NASHUA NH 03062                       2811 AGRICULTURE DR
                                                                                                             PO BOX 8911
                                                                                                             MADISON WI 53708-8911
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009992P001-1409A-265                000397P001-1409A-265                     000396P001-1409A-265               000363P001-1409A-265
DEPT OF ASSESSMENTS AND             DEPT OF ATTORNEY                         DEPT OF CONSUMER AFFAIRS           DEPT OF CONSUMER PROTECTION
TAXATION                            CONSUMER PROTECTION UNIT                 JOSE ANTONIO                       165 CAPITOL AVE
301 WEST PRESTON ST RM 801          150 SOUTH MAIN ST                        ALICIA RIVERA SECRETARY            HARTFORD CT 06106
BALTIMORE MD 21201-2395             PROVIDENCE RI 02903                      MINILLAS STATION
                                                                             PO BOX 41059
                                                                             SANTRUCE PR 00940-1059


010211P001-1409A-265                032669P001-1409A-265                     031988P001-1409A-265               010317P001-1409A-265
DEPT OF FINANCE AND                 DEPT OF HOMELAND SECURITY                DEPT OF JERSEY CITY                DEPT OF LABOR AND INDUSTRIES
ADMIN SALES AND USE TAX SECTION     HAIGHT LAW GROUP PLC                     DEPT OF HEALTH                     PO BOX 34022
PO BOX 1272                         12441 VENTURA BLVD                       DR MARTIN LUTHER KING JR           SEATTLE WA 98124-1022
LITTLE ROCK AR 72203-1272           STUDIO CITY CA 91604-2407                CITY HALL ANNEX 1 JACKSON SQUARE
                                                                             JERSEY CITY NJ 07305



000199P001-1409A-265                000404P001-1409A-265                     009762P001-1409A-265               009763P001-1409A-265
DEPT OF LABOR GOVERNMENT OF GUAM    DEPT OF LICENSING                        DEPT OF REVENUE                    DEPT OF REVENUE
DIRECTOR                            AND CONSUMER AFFAIRS                     500 CLINTON CTR DR                 PO BOX 23191
710 WEST MARINE CORPS DR            PROPERTY AND PROCUREMENT BLDG            CLINTON MS 39056                   JACKSON MS 39225-3191
STE 301 3RD FL BELL TOWER PLZ       NO 1 SUB BASE RM 205
HAGATNA GU 96910                    ST. THOMAS VI 00802



010230P001-1409A-265                009743P001-1409A-265                     009808P001-1409A-265               010300P001-1409A-265
DEPT OF REVENUE                     DEPT OF REVENUE SVC                      DEPT OF REVENUE SVC                DEPT OF REVENUE SVC
CITY OF PHILADELPHIA                PO BOX 150406                            PO BOX 2974                        STATE OF CONNECTICUT
PO BOX 1630                         HARTFORD CT 06115-0406                   HARTFORD CT 06104-2974             PO BOX 2937
PHILADELPHIA PA 19105-1592                                                                                      HARTFORD CT 06104-2937




010303P001-1409A-265                010340P001-1409A-265                     032781P001-1409A-265               031987P001-1409A-265
DEPT OF REVENUE SVC                 DEPT OF TREASURY                         DEPT OF WEIGHTS AND                DEPT OF WEIGHTS AND MEASURES
PO BOX 2965                         RETURN PROCESSING BUREAU                 MEASURES                           800 SOUTH VICTORIA L #1750
HARTFORD CT 06104-2965              PO BOX 50066                             1000 WHILSHIRE BLVD STE 1500       VENTURA CA 93009
                                    SAN JUAN PR 00902                        LOS ANGELES CA 90017




031989P001-1409A-265                010583P001-1409A-265                     009091P001-1409A-265               001844P001-1409A-265
DEPT OF WEIGHTS AND MEASURES        DEPTARTMENT OF REVENUE                   REBEKAH A DEPUGH                   QUINCEY DERBY
KATHERINE HANSON                    STATE OF WASHINGTON                      6 SHAMROCK CIR                     502 N MALLARD PL
104 CENTRAL ST                      DEPT OF LICENSING                        LATHAM NY 12110                    306
AUBURN MA 01501                     PO BOX 9034                                                                 SIOUX FALLS SD 57107
                                    OLYMPIA WA 98507-9034



007861P001-1409A-265                006168P001-1409A-265                     001488P001-1409A-265               001771P001-1409A-265
HANA R DERISO                       MELISSA DERRELL                          MELISSA A DERYKE                   EMILY G DESANTIS
535 POPLAR LEAF ST                  2326 LODOVICK AVE                        30 DELAWARE RD                     13 CREST DR
LAS VEGAS NV 89144                  BRONX NY 10469                           LAMBERTVILLE NJ 08530              MAHOPAC NY 10541
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005323P001-1409A-265           031990P001-1409A-265                    008783P001-1409A-265          005548P001-1409A-265
TAYLOR DESHAZER                DESIGN CREATE CONSTRUCT                 CARMELLE DESIRE               CARLEY M DESKIN
202 N ROCKROAD                 1240 7TH AVE # 4                        610 SW BRADSHAW CIR           700 WALNUT RIDGE DR
811                            SAN FRANCISCO CA 94122                  PORT ST LUCIE FL 34953-5538   3029
WICHITA KS 67206                                                                                     IRVING TX 75039




035409P001-1409A-265           031991P001-1409A-265                    031264P001-1409A-265          008895P001-1409A-265
DESOTO COUNTY TAX COLLECTOR    DESOTO COUNTY- TAX COLLECTOR            DESOTO OWNERS, LLC            TYA DESPAIN
365 LOSHER ST #110             JOEY TREADWAY                           1156 58TH ST                  1385 WEST UNIVERSITY DR
HERNANDO MS 38632-2144         365 LOSHER ST 110                       BROOKLYN NY 11219             1-108
                               HERNANDO MS 38632-2144                                                FLAGSTAFF AZ 86001




009095P001-1409A-265           035602P001-1409A-265                    000845P001-1409A-265          002674P002-1409A-265
KERRY DESROSIERS               KERRY DESROSIERS                        KRISTIN M DESS                DANIELLE M DESTIFANES
98 LINDEN ST                   11 BRIAN RD                             123 SAINT ANDREW DR           1625 S MARION AVE APT A309
NEW BEDFORD MA 02740           MIDDLEBORO MA 02346                     PITTSBURGH PA 15205           APT A309
                                                                                                     SPRINGFIELD MO 65807-1256




033343P001-1409A-265           003392P001-1409A-265                    008595P001-1409A-265          008144P001-1409A-265
DESTINATION CONCEPTS INC       TASHA N DESTINE                         DARINE DESTIRON               JENNIFER N DETTMER
DIANE BROWN                    1700 41ST TER SW                        703 NW UNIVERSE ST            5319 WILLOWHURST DR
2620 FINANCIAL CT              NAPLES FL 34116                         PALM BAY FL 32907             FORT WAYNE IN 46835
STE 101
SAN DIEGO CA 92117



003039P001-1409A-265           000464P001-1409A-265                    003341P001-1409A-265          005708P001-1409A-265
SARA M DEVEREAUX               LORI A DEVERMAN                         DARCAS M DEVERTEUIL           ALEXIS C DEVORE
4800 FEHN RD                   355 E PRIMM BLVD 5187                   7029 MORAN RD                 3927 243RD PL SE
HEMLOCK MI 48626               5187                                    GONZALES LA 70737             UNIT I304
                               PRIMM NV 89019                                                        BOTHELL WA 98021




001661P001-1409A-265           037421P001-1409A-265                    007634P001-1409A-265          007636P001-1409A-265
ADINA DEWAR                    ADINA DEWAR                             KAILEY DEWAR                  KELSEY DEWAR
225 HIGHLAND CT                ADINA DEWAR                             26638 LOCUST DR               26638 LOCUST DR
TERRE HAUTE IN 47802           225 HIGHLAND CT                         OLMSTED FALLS OH 44138        OLMSTED FALLS OH 44138
                               TERRE HAUTE IN 47802




031993P002-1409A-265           036475P001-1409A-265                    035604P001-1409A-265          007219P001-1409A-265
DEWITT PLASTICS INC            DEWITT PLASTICS INC                     KESS DEWITT                   SELESTE DEWITT
DAVID M HESS                   28 AURELIUS AVE                         26258 N HACKBERRY RD          12 CARROLL CIR
28 AURELIUS AVE                AUBURN NY 13021                         MUNDELEIN IL 60060            MABELVALE AR 72103
AUBURN NY 13021
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004691P001-1409A-265               030701P001-1409A-265                      030773P001-1409A-265             007689P001-1409A-265
JYOTIRMOY DEY                      DEZZYS FOOTWEAR INC                       DHL EXPRESS                      ANIA K DIALLO
1015 FEATHER CIR                   DEVYN TAYLOR                              16592 COLLECTIONS CTR DR         1421 N 16TH ST
CLAYTON CA 94517                   10 RAYMOND TER                            CHICAGO IL 60693                 411-A
                                   NORWALK CT 06855                                                           MURRAY KY 42071




031994P001-1409A-265               030934P001-1409A-265                      030935P001-1409A-265             009498P001-1409A-265
DIANA CHEUNG                       DIANES'S PINK CLOTHING DBA EPO            DIANES'S PINK CLOTHING DBA PIN   MEAGAN DIANNA
9332 RALPH ST                      800 E 12TH ST                             DANNY HA                         40107 FEATHERBED LN
ROSEMEAD CA 91770                  UNIT 147                                  800 E 12TH ST                    LOVETTSVILLE VA 20180
                                   LOS ANGELES CA 90021                      UNIT 147
                                                                             LOS ANGELES CA 90021



007986P001-1409A-265               006952P001-1409A-265                      002401P001-1409A-265             035605P001-1409A-265
MARIAM DIAWARA                     XOCHILT SELENA DIAZ HERNANDEZ             ALEXIS J DIAZ                    ALEXIS J DIAZ
5509 34TH ST LOOP NE               8124 SHERMAN ST                           6 GRECIAN GARDENS                175 MOXON DR
TACOMA WA 98422                    DENVER CO 80221                           ROCHESTER NY 14626               ROCHESTER NY 14621




007939P001-1409A-265               000717P001-1409A-265                      005460P001-1409A-265             005616P001-1409A-265
ALEXIS L DIAZ                      ARMANDO DIAZ                              ASHLEY DIAZ                      BRIANNA A DIAZ
1144 E CHELTENHAM AVE              161 E PALOMAR                             13632 REXWOOD AVE                60479 DRESDEN DR
PHILADELPHIA PA 19124              CHULA VISTA CA 91911                      BALDWIN PARK CA 91706            LACOMBE LA 70445




009045P001-1409A-265               003500P001-1409A-265                      037191P001-1409A-265             002773P001-1409A-265
CLAUDIA E DIAZ                     DANNE G DIAZ                              DANNE G DIAZ                     DEISY DIAZ
452 HAZELHURST AVE                 1081 MEADOWS DR                           1081 MEADOWS DR                  461 MILES AVE
APT 14                             703                                       APARTMENT 703                    JOLIET IL 60433
SYRACUSE NY 13206                  CALEXICO CA 92231                         CALEXICO CA 92231




008026P001-1409A-265               008707P001-1409A-265                      000629P001-1409A-265             001334P001-1409A-265
DESTANIE DIAZ                      EMILY L DIAZ                              HAILEY DIAZ                      HEIDY DIAZ
5025 SUFFIELD CT                   3632 SALT LAKE BLVD                       9 CT ST                          540 E BETHANY DR
UNIT B                             APT 6                                     WATERBURY CT 06705               107
SKOKIE IL 60077                    HONOLULU HI 96818                                                          ALLEN TX 75002-4068




035606P001-1409A-265               008781P001-1409A-265                      008645P001-1409A-265             008183P001-1409A-265
HERNANDEZ XOCHILT SELENA S DIAZ    JENNY R DIAZ                              JONATHAN M DIAZ                  JULIEANN Y DIAZ
8124 SHERMAN ST                    12849 W WELDON AVE                        13048 SAWGRASS PINE CIR          2554 W LITTLE YORK RD
DENVER CO 80221                    AVONDALE AZ 85392-6695                    ORLANDO FL 32824                 HOUSTON TX 77091
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006943P001-1409A-265       005410P001-1409A-265                     007938P001-1409A-265            003183P001-1409A-265
KELSEY M DIAZ              MADELYN S DIAZ                           MELANIE DIAZ                    MELISSA N DIAZ
4151 PYXIS LN              10640 COLIMA RD                          892 SUMMIT PK TRL               3068 SOUTH 16TH ST
ORLANDO FL 32816           310                                      MCDONOUGH GA 30253              OMAHA NE 68108
                           WHITTIER CA 90604




007290P001-1409A-265       030662P001-1409A-265                     008216P001-1409A-265            035428P001-1409A-265
VANESSA DIAZ               VANESSA DIAZ                             VANESSA M DIAZ                  VANESSA M DIAZ
430 W WILLIAMS ST          ADDRESS INTENTIONALLY OMITTED            5984 MONTEREY AVE               189 3RD ST
FORT WAYNE IN 46802                                                 RICHMOND CA 94805               APT A409
                                                                                                    OAKLAND CA 94607




037346P001-1409A-265       030669P001-1409A-265                     007298P001-1409A-265            008606P001-1409A-265
VANESSA M DIAZ             VIVIAN N DIAZ                            GABRIELA DIAZDELEON             KARINA V DIAZSARABIA
VANESSA DIAZ               ADDRESS INTENTIONALLY OMITTED            1826 W BUENA VISTA AVE          4672 PLUMOSA DR
189 3RD ST                                                          VISALIA CA 93291                46
APT A409                                                                                            YORBA LINDA CA 92886
OAKLAND CA 94607



009342P001-1409A-265       030159P001-1409A-265                     030159S001-1409A-265            009163P001-1409A-265
CHRISTINA DICKENS          JONETTA DICKERSON                        JONETTA DICKERSON               KATLYN M DICKERSON
7054 E KELLOGG DR          ADDRESS INTENTIONALLY OMITTED            CRAIG A BROWN                   2610 BELGRADE SWANSBORO RD
G                                                                   ADDRESS INTENTIONALLY OMITTED   7
WICHITA KS 67207                                                                                    MAYSVILLE NC 28555




002709P001-1409A-265       001552P001-1409A-265                     000465P001-1409A-265            000827P001-1409A-265
DANYEA B DICKSON           NANCY L DICKSON                          IRENE I DICUPE                  JENNIFER M DIEDUARDO
540 NE CHESTER AVE         7111 NAVAJO RD                           1400 Q AVE                      1367 SKYRIDGE CT
TOPEKA KS 66616            APT #3308                                2                               SAN MARCOS CA 92078
                           SAN DIEGO CA 92119                       NATIONAL CITY CA 91950-4947




004793P001-1409A-265       006527P001-1409A-265                     007808P001-1409A-265            007360P001-1409A-265
ANGIE C DIEGO              BRIANNA DIEKHAUS                         SHANIA P DIES                   AMY K DIETZ
24 S WINDSOR AVE 1ST FL    470 LINCOLN AVE                          2725 2ND AVE                    6 CASPER CT
1ST FL                     CLIFFSIDE PARK NJ 07010                  GROVES TX 77619                 NAUGATUCK CT 06770
ATLANTIC CITY NJ 08401




004632P001-1409A-265       003683P001-1409A-265                     009066P001-1409A-265            033607P001-1409A-265
RACHEL S DIGGINS           NIAJA DIGGS                              KRISTA M DIGIACOMO              DIGITAL ANALYSIS LLC
157 FERRIS AVE             244 CROLL DR                             8325 BIG ACORN CIR              6525 GUNPARK DR
RUMFORD RI 02916           ANNAPOLIS MD 21401                       801                             STE 370-143
                                                                    NAPLES FL 34119                 BOULDER CO 80301
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031995P001-1409A-265              033608P001-1409A-265                      004350P001-1409A-265             002997P001-1409A-265
DIGITAL ANALYSIS LLC DBA          DIGITAL SHADOWS                           KAYLA DIGNAN                     MARA S DIJULIO
INTELIQUANT                       332 PINE ST                               126 DAKOTA ST                    2112 FLOYD AVE APT47
DARREN CALDWELL                   STE 600                                   RONKONKOMA NY 11779              MODESTO CA 95355
PO BOX 307                        SAN FRANCISCO CA 94104
GARDEN CITY UT 84028



000567P001-1409A-265              007069P001-1409A-265                      003016P001-1409A-265             007642P001-1409A-265
OLIVIA R DILAURO                  PASSION DILES                             JORDAN L DILLARD                 DINA DILLON
8 STUART DR                       304 COLLEGE PK DR                         9324 MANGROVE CT                 316 E CALLA RD
EAST BRUNSWICK NJ 08816           APT 2S                                    TAMPA FL 33647                   POLAND OH 44514
                                  NORMAL IL 61761




008149P001-1409A-265              007615P001-1409A-265                      005882P001-1409A-265             007112P001-1409A-265
DIOR DILLON                       MADISON J DILWORTH                        ROBERT CHRISTOP DILWORTH         SIMONA T DIMAGGIO
3326 RALSTON AVE                  601 COLLEGE ST                            4313 CALIBRE CREEK PRKWY         118 WILLIAMSBURG DR
INDIANAPOLIS IN 46218             CLARKSVILLE TN 37040                      ROSWELL GA 30076                 118
                                                                                                             EVANSVILLE IN 47715




004416P001-1409A-265              005969P001-1409A-265                      001646P001-1409A-265             003564P001-1409A-265
OLIVIA DIMANGONDAYAO              JILLIAN IZZYL V DIMAPILIS                 STEPHANIE DIMAS                  RACHEL L DINGMAN
5552 MARY ANN CT                  31620 VIA DEL PASO                        4181 41ST ST                     18533 FAIRLAWN AVE
OAK FOREST IL 60452               WINCHESTER CA 92596                       8                                PRIOR LAKE MN 55372
                                                                            SAN DIEGO CA 92105




001618P002-1409A-265              030936P001-1409A-265                      001901P001-1409A-265             001046P001-1409A-265
DIONA DIOGENE                     DIOSA CORP                                GEENA M DIPASQUALE               JENNIFER J DIPIETRANTONIO
5680 HADLEY AVE N APT 216         3858 BROADWAY PL                          17 SUNSET WAY                    61 WINCHESTER CT
SAINT PAUL MN 55128-1030          LOS ANGELES CA 90037                      BINGHAMTON NY 13901              READING PA 19606




033609P001-1409A-265              010377P001-1409A-265                      010378P001-1409A-265             010483P001-1409A-265
DIRECT DEFENSE                    DIRECTOR DE FINANZAS DEL                  DIRECTOR OF FINANCE              DIRECTOR OF FINANCE
88 INVERNESS CIR EAST #C-103      GOBIERNO MUNICIPAL AUTONOMO               MUNICIPAL LICENSE TAX DIVISION   MUNICIPAL OF BARCELONETA
ENGLEWOOD CO 80112                PO BOX 8                                  MUNICIPALITY OF CAROLINA         PO BOX 2049
                                  CAROLINA PR 00986-0008                    PO BOX 8                         BARCELONETA PR 00617
                                                                            CAROLINA PR 00986



010229P001-1409A-265              010364P001-1409A-265                      010158P001-1409A-265             010159P001-1409A-265
DIRECTOR OF FINANCE OF BAYAMON    DIRECTOR OF FINANCE OF SANJUAN            DIRECTOR OF FINANCE- MUNICIPAL   DIRECTOR OF FINANCE- MUNICIPAL
MUNICIPAL LICENSE TAX DIVISION    MUNICIPAL LICENSE TAX DIVISION            LICENSE TAX DIV - MUNICIPALITY   LICENSE TAX DIV - MUNICIPALITY
MUNICIPALITY OF BAYAMON           MUNICIPALITY OF SAN JUAN                  OF BARCELONETA - PO BOX 2049     OF CAGUAS - PO BOX 907
PO BOX 1588                       PO BOX 70179                              BARCELONETA PR 00617             CAGUAS PR 00726-0907
BAYAMON PR 00960                  SAN JUAN PR 00936-8179
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010473P001-1409A-265                             003674P001-1409A-265                            001311P001-1409A-265                  033610P001-1409A-265
DIRECTOR OF FINANCE-CANOVANAS                    CONSTANCE DIRK                                  ELISHA DIRUBBO                        DISCOVER
MUNICIPAL LICENSE TAX DIVISION                   61 SAND CREEK LN                                100 THIRD ST                          PO BOX 6103
PO BOX 1612                                      TOMS RIVER NJ 08753                             COLCHESTER VT 05446-6892              CAROL STREAM IL 60197
CANOVANAS PR 00729




033611P001-1409A-265                             035100P001-1409A-265                            008126P001-1409A-265                  030804P002-1409A-265
DISCOVERY BENEFITS INC                           DISCOVERY BENEFITS INC                          MADISON B DISE                        DISENO ACMM SAC
3216 13TH AVE S                                  4321 20TH AVE SOUTH                             425 THIRD ST                          MIRKO B FRANCISCO
FARGO ND 58103                                   FARGO ND 58103                                  2                                     MONTANEZ CHAVEZ
                                                                                                 EAST GREENVILLE PA 18041              245 AV INDUSTRIAL URB LOS AYLLUS
                                                                                                                                       ATE LIMA 15022
                                                                                                                                       PERU


036192P001-1409A-265                             031996P001-1409A-265                            033612P001-1409A-265                  033269P001-1409A-265
DISENO ACMM SAC                                  DISH NETWORK                                    DISNEY CONSUMER PRODUCTS INC          DISNEY DESTINATIONS LLC
AV INDUSTRIAL 245 URBANIZACION LOS AYLLUS ATE    PO BOX 94063                                    500 S BUENA VISTA ST                  MATTHEW MCMASTER
LIMA                                             PALATINE IL 60094-4063                          BURBANK CA 91521                      1375 BUENA VISTA DR
PERU                                                                                                                                   4TH FLOOR NORTH
                                                                                                                                       LAKE BUENA VISTA FL 32830



009324P001-1409A-265                             004720P001-1409A-265                            034645P001-1409A-265                  000033P001-1409A-265
TAYLOR DISPENZA                                  JANEL B DISTEFANO                               DISTRICT ATTORNEY CITY OF SANTA ANA   DISTRICT DEPT OF THE ENVIRONMENT
6430 MAIN RD                                     1419 IMPERIAL RD                                LEGAL DEPT                            1200 FIRST ST NE
LOCKPORT NY 14094                                APT A                                           700 W CIVIC CENTER DR                 WASHINGTON DC 20002
                                                 COLORADO SPRINGS CO 80918                       STE 200
                                                                                                 SANTA ANA CA 92701



000312P001-1409A-265                             000196P001-1409A-265                            000123P001-1409A-265                  007174P001-1409A-265
DISTRICT OF COLUMBIA ATTORNEY GENERAL            DISTRICT OF COLUMBIA EMPLOYMENT SVC DEPT        DISTRICT OF COLUMBIA OFFICE OF        ALIYAH F DITTA
KARL A RACINE                                    DIRECTOR                                        TAX AND REVENUE                       3055 HOLLEMAN DR
441 4TH ST NW                                    4058 MINNESOTA AVE NE                           941 NORTH CAPITOL ST NE 1ST FL        MONTGOMERY TX 77845
STE 1100S                                        WASHINGTON DC 20019                             WASHINGTON DC 20002
WASHINGTON DC 20001



035101P001-1409A-265                             000388P001-1409A-265                            000402P001-1409A-265                  009797P001-1409A-265
DIVERSIFIED DISTRIBUTION SYSTEMS INC BUNZL       DIVISION OF CONSUMER AFFAIRS                    DIVISION OF CONSUMER PROTECTION       DIVISION OF TAXATION
7351 BOONE AVE N                                 DEPT OF LAW AND PUBLIC SAFETY                   DEPT OF COMMERCE                      ONE GOVT CTR #2070
BROOKLYN PARK MN 55428                           PO BOX 45027                                    160 EAST 300                          TOLEDO OH 43604-2280
                                                 NEWARK NJ 07101                                 PO BOX 146704
                                                                                                 SALT LAKE CITY UT 84114-6704



010160P001-1409A-265                             007025P001-1409A-265                            036499P001-1409A-265                  003563P001-1409A-265
DIVISION OF TAXATION                             AJASHIA DIXON                                   FALYNNE DIXON                         KERRI J DIXON
ONE CAPITOL HILL                                 408 GEORGE TATE DR                              7700 S PRAIRIE                        3130 W MITCHELL ST
PROVIDENCE RI 02908-5811                         JACKSON GA 30233                                CHICAGO IL 60619                      MILWAUKEE WI 53215
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036616P001-1409A-265             006790P001-1409A-265                 008414P001-1409A-265             009510P001-1409A-265
LONNESHA C DIXON                 MCKENNA M DIXON                      SIERRA DIXON                     TAYLER C DIXON
3521 KAGAN CT                    308 ERNEST ST                        605 CLIFFSIDE DR                 1214 14TH ST
NORTH LAS VEGAS NV 89081         WASHINGTON IL 61571                  AKRON OH 44313                   CLOQUET MN 55767




006991P001-1409A-265             000668P001-1409A-265                 002313P001-1409A-265             030857P001-1409A-265
ZYKIRA T DIXON                   JAIONA DIXONMOORE                    SANJA DJORDJEVIC                 DLEO AND ASSOCIATES, LLC
990 NEWTON CIR                   126 S 329TH PL                       6739 W 130TH AVE                 DEBRA LEO
ROCKLEDGE FL 32955               32A                                  CEDAR LAKE IN 46303              2317 VESTBROOK DR
                                 FEDERAL WAY WA 98003                                                  BIRMINGHAM AL 35243




034220P001-1409A-265             004255P001-1409A-265                 037124P001-1409A-265             037147P001-1409A-265
DLEO AND ASSOCIATES, LLC         DEXIRE DLUGOPOLSKI                   DEXIRE J DLUGOPOLSKI             DMA ASSOCIATES INC
2317 VESTBROOK DR                2617 COLE AVE                        2617 COLE AVE APT 22             828 S HARRISON STSUITE 650
BIRMINGHAM AL 35243              22                                   WACO TX 76707                    FORT WAYNE IN 46802
                                 WACO TX 76707




030200P001-1409A-265             000758P001-1409A-265                 033613P001-1409A-265             003273P001-1409A-265
AMANDA DMITRUK                   AMANDA W DMITRUK                     DMX INC                          TRACY T DO
ADDRESS INTENTIONALLY OMITTED    23 BEACON PT DR                      1703 W FIFTH                     14202 FLOWER ST
                                 SANTA ROSA BEACH FL 32459            STE 600                          APT U
                                                                      AUSTIN TX 78703                  GARDEN GROVE CA 92843




005890P001-1409A-265             035607P001-1409A-265                 000954P001-1409A-265             030611P001-1409A-265
SHATEYA J DOBBS ROBINSON         ROBINSON SHATEYA J DOBBS             JAMIE A DOBLESKI                 SHELAYA T DOBYNS
249 NORTH 16TH ST                249 NORTH 16TH ST                    4543 HEMMINGWAY DR               ADDRESS INTENTIONALLY OMITTED
BLOOMFIELD NJ 07003              BLOOMFIELD NJ 07003                  KALAMAZOO MI 49009




035102P001-1409A-265             031997P001-1409A-265                 007651P001-1409A-265             007355P001-1409A-265
DOCSIGN INC                      DOCUSIGN INC                         JOY DODAK                        KATIA DODD
221 MAIN ST STE 1000             RYAN VANDERSLOOT                     6748 WINONA CIR                  631 PEPPER TREE
SAN FRANCISCO CA 94105           DEPT 3428                            MIDDLEBURG HEIGHTS OH 44130      HENDERSON NV 89014
                                 PO BOX 123428
                                 DALLAS TX 75312-3428



037116P001-1409A-265             005383P001-1409A-265                 033228P001-1409A-265             033228S001-1409A-265
ALEXIS DODSON                    ALEXIS L DODSON                      MONICA DODSON                    MONICA DODSON
12 SHIRLWIN DRIVE                12 SHIRLWIN DR                       3785 PEBBLEBEACH DR              TOWNSEND AND TOWNSEND, LLP
GRANITE CITY IL 62040            GRANITE CITY IL 62040                ATLANTA GA 30349                 151 NORTH DELAWARE ST
                                                                                                       STE 770
                                                                                                       INDIANAPOLIS IN 46204
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037046P001-1409A-265           007418P001-1409A-265                007544P001-1409A-265              003682P001-1409A-265
MONICA DODSON                  MAGDALENA E DOE                     ESTHER DOEPPE                     ALEXIS M DOHM
JOHN TOWNSEND                  1106 W HURON ST                     180 CARNEGIE DR                   19530 W NORWOOD DR
151 N DELAWARE ST STE 770      TUCSON AZ 85745                     NEWPORT NEWS VA 23606             NEW BERLIN WI 53146
INDIANAPOLIS IN 46204




008748P001-1409A-265           030702P001-1409A-265                034294P001-1409A-265              031265P001-1409A-265
MARGOANN A DOLAN               DOLCE VITA FOOTWEAR INC             DOLCE VITA FOOTWEAR INC           DOLPHIN MALL ASSOCIATES LLC
47-225 HUI AKIKIKI PL UNIT     BIANCA TAHIRI                       506 SECOND AVE                    DEPARTMENT 189501
KANEOHE HI 96744               506 SECOND AVE                      STE 2100                          PO BOX 67000
                               STE 2100                            SEATTLE WA 98104                  DETROIT MI 48267-1895
                               SEATTLE WA 98104



036121P001-1409A-265           002075P001-1409A-265                006595P001-1409A-265              007842P001-1409A-265
DOLPHIN MALL ASSOCIATES LLC    JESSICA DOMINA                      LEANNE D DOMINGO                  KYIARRA C DOMINGUE
ANDREW S CONWAY                3515 25TH ST                        473 HILINAI ST                    23031 JADE DR
THE TAUBMAN CO                 APT 203                             WAILUKU HI 96793                  PLAQUEMINE LA 70764
200 EAST LONG LAKE RD          SAN FRANCISCO CA 94110
SUITE 300
BLOOMFIELD HILLS MI 48304


006523P001-1409A-265           000866P001-1409A-265                006744P001-1409A-265              000948P001-1409A-265
ALONDRA DOMINGUEZ              AMANDA H DOMINGUEZ                  CRYSTAL DOMINGUEZ                 DESIRAE M DOMINGUEZ
145 OLIVER CT APT E            1325 TRANSITE AVE                   1017 SW 16TH ST                   629 E CANTEBRIA DR
SCHAUMBURG IL 60193            SAN DIEGO CA 92154                  MOORE OK 73160                    GILBERT AZ 85296




005307P001-1409A-265           008773P001-1409A-265                005847P001-1409A-265              032940P001-1409A-265
JAMIE DOMINGUEZ                LILIANA DOMINGUEZ                   VALERIE E DOMINGUEZ               DOMINION EAST OHIO
7476 E ARKANSAS AVE            1515 GLYNN OAKS DR                  461 VICTOR ST                     PO BOX 26225
#3204                          ARLINGTON TX 76010-5912             SADDLE BROOK NJ 07663             RICHMOND VA 23260
DENVER CO 80231




032940S001-1409A-265           032941P001-1409A-265                032941S001-1409A-265              032942P001-1409A-265
DOMINION EAST OHIO             DOMINION ENERGY                     DOMINION ENERGY                   DOMINION HOPE
1201 E 55TH ST                 PO BOX 45841                        925 WHITE OAKS BLVD               PO BOX 26783
CLEVELAND OH 44103-1081        SALT LAKE CIT UT 84139              BRIDGEPORT WV 26330               RICHMOND VA 23261




032942S001-1409A-265           033919P002-1409A-265                032943P001-1409A-265              032943S001-1409A-265
DOMINION HOPE                  DOMINION HOPE GAS                   DOMINION VIRGINIA POWER           DOMINION VIRGINIA POWER
925 WHITE OAKS BLVD            MARIA COTTINGHAM                    PO BOX 26543                      925 WHITE OAKS BLVD
BRIDGEPORT WV 26330            48 COLUMBIS BLVD                    RICHMOND VA 23290                 BRIDGEPORT WV 26330
                               CLARKSBURG WV 26301
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032944P001-1409A-265         032944S001-1409A-265                     002398P001-1409A-265            005791P001-1409A-265
DONATO MARANGI INC           DONATO MARANGI INC                       BRITTANEY L DONAWAY             DANIELLA DONES
PO BOX 495                   175 ROUTE 303                            5541 BEN DAVIS RD               675 RAINBOW CIR
VALLEY COTTAG NY 10989       VALLEY COTTAGE NY 10989                  PITTSVILLE MD 21850             KISSIMMEE FL 34741




001328P001-1409A-265         003737P001-1409A-265                     030858P001-1409A-265            033802P001-1409A-265
MANUELA DONES                JOCELYN R DONICH                         DONIGER BURROUGHS, APC CLIENT   JUDY DONLEY
7746 BONNER AVE              2823 GILA BEND                           TRUST ACCOUNT                   8202 CATBIRD CIR
SUN VALLEY CA 91352-4433     COPPERAS COVE TX 76522                   1000 WILSHIRE BLVD STE 1500     UNIT 101
                                                                      LOS ANGELES CA 90017-2457       LORTON VA 22079-4649




033806P001-1409A-265         001496P001-1409A-265                     037897P001-1409A-265            000976P001-1409A-265
DONLIN RECANO AND CO INC     KAITLIN DONLIN                           DONNELLEY FINANCIAL LLC         MELISSA L DONNELLY
6201 15TH AVE                7595 N GLENEAGLE DR                      ANDREW SAGEN                    566 BAXTER ST
BROOKLYN NY 11219            KALAMAZOO MI 49048-8615                  35 W WACKER DR                  BRICK NJ 08723-6457
                                                                      CHICAGO IL 60601




001279P001-1409A-265         003833P001-1409A-265                     009849P001-1409A-265            009919P001-1409A-265
BRITTANY DONNER              JESSICA DONNER                           JOHN A DONOFRIO                 JOHN A DONOFRIO
2585 N CRAMER ST APT #203    1860 BRETT ST                            SUMMIT COUNTY FISCAL OFFICE     FISCAL OFFICER-COUNTY OF SUMMI
MILWAUKEE WI 53211           215                                      1030 EAST TALLMADGE AVE         175 S MAIN STRM 211
                             PITTSBURGH PA 15205                      AKRON OH 44310                  AKRON OH 44308




004208P001-1409A-265         002054P001-1409A-265                     030937P001-1409A-265            001253P001-1409A-265
STEPHANY L DONOFRIO          ALEXUS D DONOVAN                         DOODLE PANTS CORP               RACHAEL M DORAN
5631 S PK BLVD               1800 LINKS BLVD                          3030 BASELINE AVE               5204 MILLER ST
Y61                          APT 1506                                 SANTA YNEZ CA 93460             INDIANAPOLIS IN 46241-3939
PARMA OH 44134               TUSCALOOSA AL 35405-4873




033307P001-1409A-265         030535P001-1409A-265                     002139P001-1409A-265            037268P001-1409A-265
JOHN DORCAS                  MONIQUE DORCELET                         DANIELLA DOREUS                 DANIELLA DOREUS
20 EXCHANGE PL               ADDRESS INTENTIONALLY OMITTED            4814 TAHITI LN                  DANIELLA DOREUS
APT 2310                                                              NAPLES FL 34112                 4814 TAHITI LN
NEW YORK NY 10005                                                                                     NAPLES FL 34112




004627P001-1409A-265         030216P001-1409A-265                     004587P001-1409A-265            001293P001-1409A-265
NICOLE DOREY                 ANGELA D DORIA                           SAMANTHA L DORNER               JUANITA DOROTEO
269 JEWELL RD                ADDRESS INTENTIONALLY OMITTED            110 WESTWOOD DR                 3985 LANCOME ST
GANSEVOORT NY 12831                                                   DINGMANS FERRY PA 18328         LAS VEGAS NV 89115-2431
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031998P001-1409A-265                  002506P001-1409A-265                             005536P001-1409A-265                        004817P001-1409A-265
DOROTHY COMBS MODELS, INC             ANETA J DOROZ                                    ANAZJE S DORSEY                             SHAQUEVIA DORSEY
DOROTHY COMBS                         7 ESTHER CIR                                     322 MADISON ST                              261 NE 38TH ST APT D209
12550 BISCAYNE BLVD STE 608           OXFORD MA 01540                                  FREDERICK MD 21701                          D209
NORTH MIAMA FL 33181                                                                                                               OAKLAND PARK FL 33334




009694P002-1409A-265                  007289P001-1409A-265                             009447P001-1409A-265                        004956P001-1409A-265
MIRANDA DORSTE                        KHADIJAH N DORTA                                 JENNIFER N DORTCH                           REBECCA DORUNDA
916 KABLE WAY                         3000 MONROE ST                                   389 BALDWIN AVE 3R                          50 BARBARA ST
CORAOPOLIS PA 15108-1839              APT 12                                           1                                           WESTFIELD MA 01085
                                      MELBOURNE FL 32901                               JERSEY CITY NJ 07306




034231P001-1409A-265                  034914P001-1409A-265                             036862P001-1409A-265                        029834P001-1409A-265
DOS LAGOS CRN LLC                     DOS LAGOS CRN LLC                                DOS LAGOS CRN LLC                           DOS LAGOS CRN LLC (LANDLORD)
PROPERTY MANAGER                      ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP        ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP   DOS LAGOS CRN LLC
2780 CABOT DR STE 140                 2049 CENTURY PK EAST                             DAVID A SWARTZ ESQ                          PROPERTY MANAGER
CORONA CA 92883                       STE 2700                                         2049 CENTURY PK EAST STE 2700               THE SHOPS AT DOS LAGOS - 2780 CABOT DR
                                      LOS ANGELES CA 90067                             LOS ANGELES CA 90067                        STE 140
                                                                                                                                   CORONA CA 92883


029835P001-1409A-265                  029835S001-1409A-265                             035350P001-1409A-265                        006210P001-1409A-265
DOS LAGOS CRN LLC (LANDLORD)          DOS LAGOS CRN LLC (LANDLORD)                     DOSHI LEGAL GROUP PC                        PRINCESS N DOSUNMU
DOS LAGOS CRN LLC                     ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP        AMISH R DOSHI ESQ                           1008 15TH ST
EQUIMAX MANAGEMENT                    DAVID A SWARTZ ESQ                               1979 MARCUS AVENUE SUITE 210E               SIOUX CITY IA 51105
TONY NAMVAR                           2049 CENTURY PK EAST STE 2700                    LAKE SUCCESS NY 11042
3415 SSEPULVEDA BLVD STE 400          LOS ANGELES CA 90067
LOS ANGELES CA 90034


035249P001-1409A-265                  006617P001-1409A-265                             001028P001-1409A-265                        030805P001-1409A-265
DOTHAN UTILITIES                      CHELBY J DOTSON                                  SHANNON R DOTSON                            DOUBLE H SOURCING
SANDRA MALONE                         945 SANTA VERA DR                                5801 PK DR                                  WINNIE CHO
PO BOX 6728                           CHANHASSEN MN 55317                              BOWIE MD 20715-2931                         RM205 HACKSANKOSMOSTEL 110
DOTHAN AL 36302                                                                                                                    GWANGJANG DONG GWANGJIN KU
                                                                                                                                   SEOUL
                                                                                                                                   KOREA


036193P001-1409A-265                  030703P001-1409A-265                             036194P001-1409A-265                        030149P001-1409A-265
DOUBLE H SOURCING                     DOUBLE ZERO INC                                  DOUBLE ZERO INC                             CHRISTOPHER DOUBRAVA
#906 CRESCO B/D 114 GWANGJANG-DONG    JOYCE CHONG                                      2833 LEONIS BLVD STE 201-209                ADVENT INTERNATIONAL
GWANGJIN-GU                           2833 LEONIS BLVD                                 VERNON CA 90058                             12 EAST 49TH ST
SEOUL                                 STE 201-209                                                                                  45TH FLOOR
KOREA                                 VERNON CA 90058                                                                              NEW YORK NY 10017



010510P001-1409A-265                  007579P001-1409A-265                             030938P001-1409A-265                        037274P002-1409A-265
DOUG BELDEN - TAX COLLECTOR           GRACE E DOUGHERTY                                DOUGLAS CO INC                              DOUGLAS CO INC
HILLSBOROUGH COUNTY                   1237 ROWLAND DR                                  69 KRIF RD                                  CHRISTIE T HALBEDEL
PO BOX 30012                          HERNDON VA 20170                                 KEENE NH 03431                              PO BOX D
TAMPA FL 33630-3012                                                                                                                KEENE NH 03431
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010113P001-1409A-265              009923P001-1409A-265                009612P001-1409A-265              004773P003-1409A-265
DOUGLAS COUNTY TAXCOMMISSIONER    DOUGLAS COUNTY TREASURER            ALEXIS J DOUGLAS                  CHYNA M DOUGLAS
8700 HOSPITAL DR                  PROPERTY DIVISION                   11606 WEST MAY ST                 3957 W CHURCH ST APT 3957
PO BOX 1177                       1819 FARNAM ST                      ARKANSAS CITY KS 67209            SPRINGFIELD MO 65802-5519
DOUGLASVILLE GA 30133             OMAHA NE 68183-0003




003513P001-1409A-265              035608P001-1409A-265                006934P001-1409A-265              006933P001-1409A-265
DESHAUN DOUGLAS                   DESHAUN DOUGLAS                     AICHATTA DOUMBIA                  AMINATA DOUMBIA
2814 HADLEY DR                    10810 WESTCHERSTER ST               2450 RHODE ISLAND AVE N           2450 RHODE ISLAND AVE N
WALDORF MD 20601                  WALDORF MD 20602                    2450                              GOLDEN VALLEY MN 55427
                                                                      GOLDEN VALLEY MN 55427




009381P001-1409A-265              009539P001-1409A-265                007398P001-1409A-265              037572P001-1409A-265
KAITLIN DOUPHINETTE               MACHIA L DOUTHETT                   CHEYENNE DOVEL                    DOVER MALL LLC
170 RTE 27                        1532 LEISHMAN AVE                   811 N ST                          A DELAWARE LIMITED LIABILITY CO
RAYMOND NH 03077                  2                                   317                               SIMON PROPERTY GROUP LP RONALD M TUCKER
                                  NEW KENSINGTON PA 15069             LINCOLN NE 68508                  225 WEST WASHINGTON ST
                                                                                                        INDIANAPOLIS IN 46204



031266P001-1409A-265              009695P001-1409A-265                003297P001-1409A-265              000642P001-1409A-265
DOVER MALL, LLC                   ALEXIS S DOWDELL                    SKYLAR DOWDLE                     NIAA DOWELL
PO BOX 403441                     3250 PANORAMA RD                    18 JACKSON VIEW RD                1425 29TH ST
ATLANTA GA 30384-3441             51                                  ASHEVILLE NC 28806                DES MOINES IA 50311
                                  RIVERSIDE CA 92506




009588P001-1409A-265              007653P001-1409A-265                003505P001-1409A-265              001727P001-1409A-265
SARAH L DOWNEY                    SKYLAR R DOWNS                      BONITA M DOWSE                    LAZARUS L DOYLE
129 SOUTH WALNUT ST               233 MEADOW DR                       2781 WEST DESERT SHADOWS PL       4540 W BETHEL AVE
A                                 HORSEHEADS NY 14845                 TUCSON AZ 85745                   APT 422
MORGANTOWN WV 26501                                                                                     MUNCIE IN 47304-5589




035609P001-1409A-265              003615P001-1409A-265                009356P001-1409A-265              036951P002-1409A-265
LAZARUS L DOYLE                   DAWN S DOZIER                       STEPHANIE DOZIER                  DRA ADVISORS
210 E OLDFIELD LN                 12995 EXCALIBUR DR                  4268 37TH ST                      MARTIN COYNE
APT D                             CORONA CA 92880                     SAN DIEGO CA 92105                505 SANSOME ST STE 1975
MUNCIE IN 47303                                                                                         SAN FRANCISCO CA 94111-3140




033614P001-1409A-265              033615P001-1409A-265                003199P001-1409A-265              004179P001-1409A-265
DRA ADVISORS LLC                  DRAKE                               JASMINE A DRAKE                   KYLIE M DRAKE
220 E 42ND ST                     508 4TH ST                          433 TAYLOR                        11405 THAMES FARE WAY
27TH FLOOR                        SAN FRANCISCO CA 94107              KENNER LA 70062                   LITHIA FL 33547
NEW YORK NY 10017
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009427P001-1409A-265             036195P001-1409A-265                     030704P001-1409A-265                   030939P001-1409A-265
JESSICA DRAPER                   DREAM CATCHER DBA AMELOTTE               DREAM CATCHER DBA INTERNATIONAL CORP   DREAMS USA INC
559 WEST UNION ST                INTERNATIONAL CORPORATION                SUSAN EDELMAN                          ALAN BUFF
EAST BRIDGEWATER MA 02333        213 WEST 35TH ST STE 302                 213 WEST 35TH ST STE 302               2 CHARLES ST
                                 NEW YORK NY 10001                        NEW YORK NY 10001                      3RD FL
                                                                                                                 PROVIDENCE RI 02904



009412P001-1409A-265             002364P001-1409A-265                     003408P001-1409A-265                   036832P001-1409A-265
MAKAYLA L DREIBELBIS             CASSANDRA M DRENNEN                      SHANNON L DRESSLER                     ZACHARY DRESSMAN
141 FERNE RIDGE LN               3273 LINDAHL RD                          710 NEPTUNE AVE                        6090 HARDWICK DR
SPRING MILLS PA 16875            PROCTOR MN 55810                         BEACHWOOD NJ 08722                     COLORADO SPRINGS CO 80906-8245




030501P001-1409A-265             004621P001-1409A-265                     036346P001-1409A-265                   036346S001-1409A-265
MARIA DROGELL                    ESSLITH J DROZE                          DRT TRANSPORTATION                     DRT TRANSPORTATION
ADDRESS INTENTIONALLY OMITTED    10616 TOWNER AVE NE                      850 HELEN DR                           BENESCH FRIEDLANDER COPLAN AND ARONOFF LLP
                                 APT B                                    LEBANON PA 17042                       JENNIFER R HOOVER KEVIN M CAPUZZI
                                 ALBUQUERQUE NM 87112                                                            222 DELAWARE AVE STE 801
                                                                                                                 WILMINGTON DE 19801



030774P001-1409A-265             006928P001-1409A-265                     000484P001-1409A-265                   030478P001-1409A-265
DRT TRANSPORTATION LLC           MARY K DRUMMOND                          JULIA DRURY                            LINDSEY DRURY
ROBERT KEMP                      2621 SOUTH XANADU WAY                    15 FLETCHER ST                         ADDRESS INTENTIONALLY OMITTED
850 HELEN DR                     D                                        DUNSTABLE MA 01827
LEBANON PA 17042                 AURORA CO 80014




000781P001-1409A-265             030475P001-1409A-265                     031999P001-1409A-265                   036478P001-1409A-265
LINDSEY R DRURY                  LEANN N DRYDEN                           DT MODEL MANAGEMENT                    DT MODEL MANAGEMENT
22 BRIAR LN                      ADDRESS INTENTIONALLY OMITTED            DTA AGENCY LLC                         883 WESTBOURNE DR
SOUTHINGTON CT 06489                                                      BRE LEVY                               WEST HOLLYWOOD CA 90069
                                                                          883 WESTBOURNE DR
                                                                          WEST HOLLYWOOD CA 90069



034361P001-1409A-265             032945P001-1409A-265                     032945S001-1409A-265                   033922P002-1409A-265
DTA AGENCY, LLC                  DTE ENERGY                               DTE ENERGY                             DTE ENERGY
883 WESTBOURNE DR                PO BOX 740786                            ONE ENERGY PLAZA                       AUDREY ANDERSON
WEST HOLLYWOOD CA 90069          CINCINNATI OH 45274                      DETROIT MI 48226                       ONE ENERGY PLZ 735 WCB
                                                                                                                 DETROIT MI 48226




010031P001-1409A-265             003715P001-1409A-265                     008367P001-1409A-265                   007126P001-1409A-265
DU PAGE COUNTY RECORDER          ANA G DUARTE                             BRANDY DUARTE                          SARAHY DUARTE
421 NORTH COUNTY FARM RD         1951 S EUCLID AVE                        753 OAK LEE LN                         419 EAST HILLS RD
WHEATON IL 60187                 15                                       ALPINE CA 91901                        COLORADO SPRINGS CO 80909
                                 ONTARIO CA 91762
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007273P001-1409A-265                    003351P001-1409A-265                              005984P001-1409A-265       002839P001-1409A-265
VALERIE DUARTE                          CRYSTA L DUARTEESPINOZA                           KAITLYN DUBEY              DIAMOND M DUBOSE
901 W GONZALES RD                       2919 E EASTLAND                                   215 FOX RIDGE CIR          614 HIGHGATE AVE
APT 215                                 TUCSON AZ 85716                                   JOHNS CREEK GA 30022       BUFFALO NY 14215
OXNARD CA 93036




008932P001-1409A-265                    006074P001-1409A-265                              035610P001-1409A-265       036479P001-1409A-265
CASSIDY M DUBREE                        NICOLETTE J DUBUC                                 NICOLETTE J DUBUC          DUCHARME MCMILLEN AND
453 MYRTLE AVE                          4057 CHESTER DR                                   4511 HUNT CLUB DR          828 S HARRISON ST STE 650
FRANKFORT IN 46041                      211                                               1D                         FORT WAYNE IN 46802
                                        YPSILANTI MI 48197                                YPSILANTI MI 48197




036947P001-1409A-265                    032000P001-1409A-265                              009575P001-1409A-265       008004P001-1409A-265
DUCHARME MCMILLEN AND ASSOCIATES INC    DUCHARME, MCMILLEN AND ASSOCIATES, INC            BRITTANY L DUCHENE         ALYSSA K DUDLEY
PAM FISCHER                             JOETTA SMETHERS                                   9452 WILLIAMETTE WAY       12601 HARRIS ST
828 S HARRISON ST STE 650               828 S HARRISON STSUITE 650                        SACRAMENTO CA 95826        CARLETON MI 48117
FORT WAYNE IN 46802                     FORT WAYNE IN 46802




007385P001-1409A-265                    004591P001-1409A-265                              037206P001-1409A-265       005885P001-1409A-265
KIARAH D DUDLEY                         MELANIE J DUEN                                    MELANIE J DUEN             AMANDA K DUFF
12365 GLENVIEW PL                       7635 TIMBERLIN PK BLVD                            7635 TIMBERLIN PARK BLVD   607 PLANTATION DR
APT 3208                                128                                               APT 128                    RINCON GA 31326
WALDORF MD 20601                        JACKSONVILLE FL 32256                             JACKSONVILLE FL 32256




037148P001-1409A-265                    001681P001-1409A-265                              003772P001-1409A-265       003270P001-1409A-265
DUFFY KRUSPODIN LLP                     ALLISON L DUFFY                                   KATHERINE DUFFY            DEJA R DUHART
4225 EXECUTIVE SQUARE # 900             1769 E HAYES                                      1775 DIAMOND ST            27718 MOONRIDGE DR
LA JOLLA CA 92037                       HAZEL PARK MI 48030-2624                          APT 120                    MENIFEE CA 92585
                                                                                          SAN DIEGO CA 92109




003664P001-1409A-265                    001696P001-1409A-265                              032946P001-1409A-265       032946S001-1409A-265
LAYNA M DUHR                            SYVIER P DUK                                      DUKE ENERGY                DUKE ENERGY
9756 GREENRIDGE HEIGHTS RD              3370 CATHEDRAL CIR                                PO BOX 1326                526 S CHURCH ST
FAIRVIEW HEIGHTS IL 62208               STOCKTON CA 95212                                 CHARLOTTE NC 28201         CHARLOTTE NC 28202




032947P001-1409A-265                    037275P001-1409A-265                              037276P001-1409A-265       037277P001-1409A-265
DUKE ENERGY                             DUKE ENERGY                                       DUKE ENERGY INDIANA        DUKE ENERGY OHIO
PO BOX 26070                            LYNN M COLOMBO                                    DUKE ENERGY                DUKE ENERGY
GREENSBORO NC 27420                     550 S TRYON ST                                    LYNN M COLOMBO             LYNN M COLOMBO
                                        LEGAL BANKRUPTCY-DEC45A                           550 S TRYON ST             550 S TRYON ST
                                        CHARLOTTE NC 28202                                LEGAL BANKRUPTCY-DEC45A    LEGAL BANKRUPTCY-DEC45A
                                                                                          CHARLOTTE NC 28202         CHARLOTTE NC 28202
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032948P001-1409A-265         032948S001-1409A-265                 037278P001-1409A-265             003792P001-1409A-265
DUKE ENERGY PROGRESS         DUKE ENERGY PROGRESS                 DUKE ENERGY PROGRESS             AMANI DUKE
PO BOX 1003                  526 S CHURCH ST                      DUKE ENERGY                      144 BROOKMEADOW CT SW
CHARLOTTE NC 28201           CHARLOTTE NC 28202                   LYNN M COLOMBO                   APT 6
                                                                  550 S TRYON ST                   GRANDVILLE MI 49418
                                                                  LEGAL BANKRUPTCY-DEC45A
                                                                  CHARLOTTE NC 28202


009687P001-1409A-265         001543P001-1409A-265                 031267P001-1409A-265             007506P001-1409A-265
JALAYSIA A DUKES             PARISA A DULAN                       DULLES TOWN CENTER MALL, LLC     ODYSSEY C DUMAS
510 PENNSYLVANIA ST          5306 SW 10TH AVE                     LERNER CORP                      2201 9TH AVE SOUTH
FLORENCE SC 29501            APT B                                2000 TOWER OAKS BLVD 8TH FL      COLUMBUS MS 39701
                             TOPEKA KS 66604-2030                 ROCKVILLE MD 20852




007260P001-1409A-265         033536P001-1409A-265                 032001P002-1409A-265             000678P001-1409A-265
KAYLEE A DUMONT              DUN AND BRADSTREET INC               DUNBAR ARMORED INC               CHASITEE L DUNCAN
9500 S MAGNOLIA AVE          PO BOX 75434                         KATHY CHILDRESS                  4561 CHAHA RD
OCALA FL 34476               CHICAGO IL 60675-5434                50 SCHILLING RD                  186
                                                                  HUNT VALLEY MD 21031             GARLAND TX 75043




007722P001-1409A-265         007439P001-1409A-265                 005606P001-1409A-265             003842P002-1409A-265
JESSICA DUNLAP               VICTORIA J DUNMYER                   ALEXANDRIA T DUNN                ALEXSIS D DUNN
4537 W 174TH ST              427 S CAMDEN AVE                     31560 FLORENCE                   15444 BORDER DR
CLEVELAND OH 44135           FRUITLAND MD 21826                   GARDEN CITY MI 48135             NOBLESVILLE IN 46060-4779




002771P001-1409A-265         035611P001-1409A-265                 036377P001-1409A-265             008628P001-1409A-265
KAMERON M DUNN               CATHLEEN E DUNNING                   AMENDA DUONG                     BRIANA DUPAS
6112 NORTH WOOD LAKE DR E    3310 S WALNUT CREEK PKWY             10256 12TH AVE SW                15214 PK MANOR ST
NORTHPORT AL 35473           APT H                                SEATTLE WA 98146-1401            HOUSTON TX 77053
                             RALEIGH NC 27606




009101P001-1409A-265         035612P001-1409A-265                 002529P001-1409A-265             006146P001-1409A-265
HILAIZA DUPLANTIS BONILLA    BONILLA HILAIZA DUPLANTIS            JENNA N DUPLECHAIN               NATALI M DUPREY
8 PLYMOUTH ST                8 PLYMOUTH ST                        101 E ROMANA ST                  2185 OAK HOLLOW DR
EVERETT MA 02149             EVERETT MA 02149                     UNIT 360                         COLUMBIA PA 17512
                                                                  PENSACOLA FL 32502




007309P001-1409A-265         032949P001-1409A-265                 032949S001-1409A-265             037437P001-1409A-265
FERNANDA DUQUE               DUQUESNE LIGHT CO                    DUQUESNE LIGHT CO                DUQUESNE LIGHT CO
2501 HURLEY WAY APT 84       PAYMENT PROCESSING CENTER            411 SEVENTH AVE (6-1)            CO KERI P EBECK
SACRAMENTO CA 95825          P O BOX 10                           PITTSBURGH PA 15219              707 GRANT ST STE 2200 GULF TOWER
                             PITTSBURGH PA 15230                                                   PITTSBURGH PA 15219
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037437S001-1409A-265                  009718P001-1409A-265                   037726P003-1409A-265           004965P001-1409A-265
DUQUESNE LIGHT CO                     YASMIN E DURAN IBES                    WENDY DURAN                    BRIANNA DURAN
TARA R. PFEIFER                       88 WOLLASTON ST                        1210 UMATILLA AVE              1032 FRISCO HILLS BLVD
411 SEVENTH AVENUE, MAIL DROP 16-1    SPRINGFIELD MA 01119                   LONG BEACH CA 90804-4172       LITTLE ELM TX 75068
PITTSBURGH PA 15219




006196P001-1409A-265                  002103P001-1409A-265                   033789P001-1409A-265           036825P001-1409A-265
EMILI DURAN                           KIMBERLY S DURAN                       WENDY DURAN                    WENDY DURAN
30399 SW THOMAS ST                    116 FORBES LN                          458 N KINGSLEY DR              755 S SPRING ST APT # 902
UNIT 2507                             VENTURA CA 93001-1317                  LOS ANGELES CA 90004           LOS ANGELES CA 90014
WILSONVILLE OR 97070




001061P001-1409A-265                  007633P001-1409A-265                   003695P001-1409A-265           007982P001-1409A-265
JENNIFER DURANDJONES                  DAISHA DURANT                          SYDNEY DURAWA                  FELISHA DURDEN
3252 CLEARING CIR                     6560 SNOWBIRD LN                       1023 SPENCERPORT RD            14152 LAURAMORE CT
CORONA CA 92882-8362                  DOUGLASVILLE GA 30135                  APT 4                          FONTANA CA 92336
                                                                             ROCHESTER NY 14606




007294P001-1409A-265                  010416P001-1409A-265                   008233P001-1409A-265           009209P001-1409A-265
SALEXCIA DURDEN                       DURHAM COUNTY TAX COLLECTOR            ALISSA DURHAM                  ARION R DURHAM
517 SLATER AVE                        DURHAM COUNTY TAX ADMIN                1317 HOSMER CT                 46 SOUTH DOMEDION
HAMPTON VA 23664                      PO BOX 3397                            WAKE FOREST NC 27587           BUFFALO NY 14211
                                      DURHAM NC 27702




004257P001-1409A-265                  002873P001-1409A-265                   035613P001-1409A-265           006130P001-1409A-265
DARNEISHIA D DURHAM                   ANIJA R DURRANT                        ANIJA R DURRANT                DONNA M DURRETT
6181 VLG PK RD                        412 N 7TH ST                           837 W GORDON ST                520 ROSEDALE ST
MEMPHIS TN 38141                      ALLENTOWN PA 18102                     APT C                          PITTSBURGH PA 15221
                                                                             ALLENTOWN PA 18102




001632P001-1409A-265                  006340P001-1409A-265                   001962P001-1409A-265           033412P001-1409A-265
JANET DUSTIN                          ERIKA M DUVALL                         ALICIAJOI DUVIVIER             DVSA TECHNOLOGIES
433 WINTERBERRY CT                    2612 WENTWORTH RD                      1741 ANCHORAGE ST NW           5 REEVE RD
HOWELL NJ 07731                       PARKVILLE MD 21234                     PALM BAY FL 32907-9218         ROCKVILLE CENTRE NY 11570




005281P001-1409A-265                  007509P001-1409A-265                   008299P001-1409A-265           035614P001-1409A-265
KHARSYN J DWYER                       LEAH DWYER                             PATRIZIA DWYER                 PATRIZIA DWYER
8657 GREEN BRANCH LOOP                800 DELAWARE AVE                       7350 TUCKER RD 417             5080 GAUTIER VANCLEAVE RD #C9
BRYAN TX 77808                        DELMAR NY 12054                        OCEAN SPRINGS MS 39564         GAUTIER MS 39553
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032002P001-1409A-265              032950P001-1409A-265                      004955P001-1409A-265          033267P001-1409A-265
DYLAN GRIFFIN PHOTO, INC          DYNEGY ENERGY SVC                         AMANDA N DZURILLA             E A S SENSORSENSE INC
75 TONGLEN LN                     139 E 4TH ST                              1230 BRIGHTON LN              EAS VENDOR
NORTH FERRISBURGH VT 05473        RM EX309                                  BOGART GA 30622               13351-D RIVERSIDE DRIVE #413
                                  CINCINNATI OH 45202                                                     SHERMAN OAKS CA 91423-2508




032003P001-1409A-265              003323P001-1409A-265                      032004P001-1409A-265          035103P001-1409A-265
TRADE FINANCIAL CORP SVC E        ELIZABETH EADDY                           EAGLE TECHNOLOGY MANAGEMENT   EAGLE TECHNOLOGY MANAGEMENT
KIMBERLY LEKSE                    16940 WEST 69TH TER                       ERIN O'CONNOR                 PO BOX 11100
ACCOUNTS RECEIVABLE               APT 220                                   PO BOX 11100                  CEDAR RAPIDS IA 52410-1100
PO BOX 3512                       SHAWNEE KS 66217                          CEDAR RAPIDS IA 52410-1100
ARLINGTON VA 22203



008250P001-1409A-265              005082P001-1409A-265                      008994P001-1409A-265          032005P001-1409A-265
KEANA L EAKINS                    SYDNEY EARLY                              THALIYYAH EASON               EAST BRUNSWICK FIRE DISTRICT 1
8177 AUTUMN LN                    3919 DARWOOD DR                           3819 CAVEROW AVE              JOHN TALBOT
WEST CHESTER OH 45069             FORT WAYNE IN 46815                       PENNSAUKEN NJ 08110           680 OLD BRIDGE TURNPIKE
                                                                                                          EAST BRUNSWICK NJ 08816




032951P001-1409A-265              032951S001-1409A-265                      030941P001-1409A-265          033368P001-1409A-265
EAST BRUNSWICK TWP WATER SEWER    EAST BRUNSWICK TWP WATER SEWER            EAST LION CORP                EAST LION CORP
PO BOX 1081                       25 HARTS LN                               CINDY HAN                     HEART SOUL DBA EAST LION
E BRUNSWICK NJ 08816              EAST BRUNSWICK NJ 08816-2034              318 BREA CANYON RD            KATHLEEN MENDOZA
                                                                            CITY OF INDUSTRY CA 91789     318 BREA CANYON RD
                                                                                                          INDUSTRY CA 91789



035203P001-1409A-265              035203S001-1409A-265                      036196P001-1409A-265          037125P001-1409A-265
EAST LION CORP                    EAST LION CORP                            EAST LION CORP                EAST LION CORP
BARNES AND THORNBURG LLP          SHULMAN HODGES AND BASTIAN LLP            318 BREA CANYON RD            SHULMAN HODGES AND BASTIAN LLP
KEVIN G COLLINS                   ALAN J FRIEDMAN                           CITY OF INDUSTRY CA 91789     ALAN J FRIEDMAN ESQ
1000 N WEST ST STE 1500           100 SPECTRUM CENTER DR STE 600                                          100 SPECTRUM CTR DR STE 600
WILMINGTON DE 19801               IRVINE CA 92618                                                         IRVINE CA 92618



037770P001-1409A-265              037279P001-1409A-265                      037279S001-1409A-265          031268P001-1409A-265
EAST MESA MALL LLC                EASTDALE MALL LLC                         EASTDALE MALL LLC             EASTDALE MALL, LLC
BALLARD SPAHR LLP                 PERKINS COIE LLP                          Carmen D. Spinoso             PO BOX 931938
DUSTIN P BRANCH                   CO BRIAN A AUDETTE                        Spinoso Real Estate Group     ATLANTA GA 31193-1938
2029 CENTURY PARK EAST STE 800    131 S DEARBORN ST STE 1700                112 Northern Concourse
LOS ANGELES CA 90067-2909         CHICAGO IL 60603                          N. Syracuse NY 13212



003086P001-1409A-265              030806P001-1409A-265                      031269P001-1409A-265          037531P001-1409A-265
EBONY E EASTER                    EASTERN BASE                              EASTLAND MALL LLC             EASTLAND MALL LLC
11052 BRATTLEBORO CIR             C-186 HOISERY COMPLEX                     CBL #732                      BY CBL AND ASSOCIATES MANAGEMENT INC
MATHER CA 95655                   PHASE 2 NOIDA                             PO BOX 955607                 GARY RODDY
                                  GAUTAM BUDH NAGAR U. 141003               ST. LOUIS MO 63195-5607       2030 HAMILTON PL BLVD STE 500
                                  INDIA                                                                   CHATTANOOGA TN 37421
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037531S001-1409A-265                     006667P001-1409A-265                      029836P001-1409A-265                 035284P001-1409A-265
EASTLAND MALL LLC                        ANDREA M EASTMAN                          EASTRIDGE MALL ACQU LLC (LANDLORD)   EASTRIDGE MALL ACQUISITION LLC
BY CBL AND ASSOCIATES MANAGEMENT INC     3270 UNION RD                             WEA EASTRIDGE LP                     246 NEW HOPE RD
CALEB HOLZAEPFEL                         CHEEKTOWAGA NY 14227                      LEGAL DEPT                           GASTONIA NC 28054
736 GEORGIA AVE STE 300                                                            11601 WILSHIRE BLVD 11TH FL
CHATTANOOGA TN 37402                                                               LOS ANGELES CA 90025



031270P001-1409A-265                     036938P001-1409A-265                      031271P001-1409A-265                 004210P001-1409A-265
EASTRIDGE MALL LP                        EASTVIEW MALL LLC                         EASTVIEW MALL, LLC                   KARISSA D EATON
JAMES KHEZRIE                            WILMORITE MANAGEMENT GROUP LLC            ROCHESTER MALLS LLC                  179 SCAREY LN
6901 SECURITY BLVD                       DONALD C COWAN JR                         PO BOX 8000 DEPT976                  CAMDENTON MO 65020
BALTIMORE MD 21244                       1265 SCOTTSVILLE RD                       BUFFALO NY 14267
                                         ROCHESTER NY 14624



031272P001-1409A-265                     034177P001-1409A-265                      037485P001-1409A-265                 005136P001-1409A-265
EATONTOWN MONMOUTH MALL                  EATONTOWN MONMOUTH MALL LLC               EATONTOWN MONMOUTH MALL LLC          MAYETTE H EAY
EATONTOWN MONMOUTH MALL LLC              180 NEW JERSEY 35                         BROOKFIELD PROPERTY REIT INC         1766 SANTA IVY AVE
180 NEW JERSEY 35                        EATONTOWN NJ 07724                        JULIE M BOWDEN                       CHULA VISTA CA 91913
EATONTOWN NJ 07724                                                                 350 N ORLEANS ST STE 300
                                                                                   CHICAGO IL 60654-1607



035333P001-1409A-265                     032006P001-1409A-265                      009213P001-1409A-265                 001977P001-1409A-265
EBATES                                   EBAY INC                                  CARLY E EBERSOLE                     MELANIE EBERT
BARRY SCHOEFERNACKER                     KATJA HOFMANN                             2802 MAPLE AVE                       5016 CHURCH RD
999 PLAZA DR STE 310                     8000 MARINA BLVD                          ALTOONA PA 16601                     MOUNT LAUREL NJ 08054-9601
SCHAUMBURG IL 60173                      5TH FL
                                         BRISBANE CA 94005



002721P001-1409A-265                     008098P001-1409A-265                      004921P001-1409A-265                 004849P001-1409A-265
KARI P EBMEYER                           PAIGE C EBY                               ZAYMARA ECHEVARRIA                   SAIGE M ECKARD
10711 MALLORY DR                         74 CR 425                                 CALLE PANORAMA                       10390 KNOB RD
SAINT LOUIS MO 63123                     JONESBORO AR 72404                        APT 12                               MERCERSBURG PA 17236
                                                                                   TRUJILLO ALTO PR 00976




032007P001-1409A-265                     034326P001-1409A-265                      033616P001-1409A-265                 032952P002-1409A-265
ECOLLECT PLUS, LLC                       ECOLLECT PLUS, LLC                        ECOVA INC                            ECUA
804 FAYETTE ST                           ECOLLECT PLUS LLC                         1313 N ATLANTIC                      AKA EMERALD COAST UTILITIES AUTHORITY
CONSHOHOCKEN PA 19428                    804 FAYETTE ST                            STE 5000                             PO BOX 18870
                                         CONSHOHOCKEN PA 19428                     SPOKANE WA 99201                     PENSACOLA FL 32523




032952S001-1409A-265                     033927P001-1409A-265                      001327P001-1409A-265                 030942P001-1409A-265
ECUA                                     ECUA                                      CYNTHIA I EDELBROCK                  EDGE ACCESSORIES LIMITED
AKA EMERALD COAST UTILITIES AUTHORITY    9255 STURDEVANT ST                        5330 ADOBE FALLS RD                  LORI HUNT
BOBBIE C MERRITT                         PENSACOLA FL 32514                        UNIT I                               EGDON HALL LYNCH LN
9255 STURDEVANT ST                                                                 SAN DIEGO CA 92120                   WEYMOUTH
PENSACOLA FL 32514                                                                                                      DORSET DT4 9DN
                                                                                                                        UNITED KINGDOM
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034685P002-1409A-265            036197P001-1409A-265                          031273P001-1409A-265                000104P001-1409A-265
EDGE ACCESSORIES LIMITED        EDGE ACCESSORIES LIMITED                      EDINBURGH PREMIUM OUTLETS           EDISON NJ ENVIRONMENTAL CENTER
JASWINDER SINGH                 389 FIFTH AVENUE STE 205                      PREMIUM OUTLET PARTNERS LP          2890 WOODBRIDGE AVE
32A ALBION STREET               NEW YORK NY 10018                             ACCOUNTING                          EDISON NJ 08837-3679
CASTLEFORD                                                                    PO BOX 822925
WEST YORKSHIRE WF10 1EN                                                       PHILADELPHIA PA 19182-2925
UNITED KINGDOM


002323P001-1409A-265            008294P001-1409A-265                          030859P001-1409A-265                005683P001-1409A-265
SUSAN L EDMONDSON               LINDSEY EDMUNDS                               EDWARDS AND EDWARDS ATTORNEYS AND   AJA R EDWARDS
7637 CASA GRANDE CIR            18402 NE 83RD ST                              MEDIATORS, PLLC                     19678 ANGLIN
MIDVALE UT 84047                VANCOUVER WA 98682                            3603 PINE LN SE                     DETROIT MI 48234
                                                                              STE C
                                                                              BESSEMER AL 35022



003304P001-1409A-265            006942P001-1409A-265                          005278P001-1409A-265                007800P001-1409A-265
ASHLEY EDWARDS                  DAJHA L EDWARDS                               DEANNA N EDWARDS                    DEBORA EDWARDS
506 COUNTY RD 64                12646 W LA BELLE                              19539 E COVINA BLVD APT 211         137 EAST MAIN ST APT2
ELMIRA NY 14903                 28B 1224                                      211                                 PAHOHEE FL 33476
                                BATON ROUGE LA 70815                          COVINA CA 91724




009143P001-1409A-265            004075P001-1409A-265                          009590P001-1409A-265                007170P001-1409A-265
JANEE Y EDWARDS                 JANELLE EDWARDS                               JASMINE EDWARDS                     JUSTUS W EDWARDS
6518 SOLANDRA DR                4946 RIDGE HARBOR                             1922 EVERGREEN LN                   1245 TIMBERLAND DR
JACKSONVILLE FL 32210           HOUSTON TX 77053                              YPSILANTI MI 48198                  CINCINNATI OH 45215




005952P001-1409A-265            008036P001-1409A-265                          007313P001-1409A-265                030943P001-1409A-265
KENTEL EDWARDS                  SIMONE L EDWARDS                              STACYANN C EDWARDS                  EEBOO CORP
5769 BELT LINE RD APT 302       11 FALL AVE LOT B                             4E COLONIAL CREST DR                ALEXANDRA NUNES
302                             SAVANNAH GA 31405                             LANCASTER PA 17601                  170 WEST 74TH ST
DALLAS TX 75254                                                                                                   NEW YORK NY 10023




000017P001-1409A-265            000001P002-1409A-265                          000002P001-1409A-265                000003P001-1409A-265
EEOC - PUERTO RICO              EEOC-ATLANTA DISTRICT OFFICE                  EEOC-BIRMINGHAM DISTRICT OFFICE     EEOC-CHARLOTTE DISTRICT OFFICE
525 FD ROOSEVELT AVE            BERNICE WILLIAMSKIMBROUGH DIRECTOR            BRADLEY A ANDERSON DIRECTOR         REUBEN DANIELS JR DIRECTOR
PLZ LAS AMERICAS STE 1202       SAM NUNN ATLANTA FEDERAL CTR                  RIDGE PK PL                         129 WEST TRADE ST
SAN JUAN PR 00918-8001          100 ALABAMA ST SW STE 4R30                    1130 22ND ST SOUTH STE 2000         STE 400
                                ATLANTA GA 30303                              BIRMINGHAM AL 35202                 CHARLOTTE NC 28201



000004P001-1409A-265            000005P001-1409A-265                          000006P001-1409A-265                000007P001-1409A-265
EEOC-CHICAGO DISTRICT OFFICE    EEOC-DALLAS DISTRICT OFFICE                   EEOC-HOUSTON DISTRICT OFFICE        EEOC-INDIANAPOLIS DISTRICT OFFICE
JULIANNE BOWMAN DIRECTOR        BELINDA MCCALLISTER DIRECTOR                  RAYFORD O IRVIN DIRECTOR            MICHELLE EISELE DIRECTOR
500 WEST MADISON ST             207 S HOUSTON ST                              MICKEY LELAND BLDG                  101 WEST OHIO ST STE 1900
STE 2000                        3RD FL                                        1919 SMITH ST 6TH FL                INDIANAPOLIS IN 46204
CHICAGO IL 60661                DALLAS TX 75202                               HOUSTON TX 77002
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000008P001-1409A-265                 000009P001-1409A-265                                000010P001-1409A-265                     000011P001-1409A-265
EEOC-LOS ANGELES DISTRICT OFFICE     EEOC-MEMPHIS DISTRICT OFFICE                        EEOC-MIAMI DISTRICT OFFICE               EEOC-NEW YORK DISTRICT OFFICE
ROSA VIRAMONTES DIRECTOR             DELNER FRANKLINTHOMAS DIRECTOR                      MICHAEL FERRELL DIRECTOR                 KEVIN J BERRY DIRECTOR
ROYBAL FEDERAL BLDG                  1407 UNION AVE 9TH FL                               MIAMI TOWER                              33 WHITEHALL ST
255 EAST TEMPLE ST 4TH FL            MEMPHIS TN 38104                                    100 SE 2ND ST STE 1500                   5TH FL
LOS ANGELES CA 90012                                                                     MAMI FL 33131                            NEW YORK NY 10004



000012P001-1409A-265                 000013P001-1409A-265                                000014P001-1409A-265                     000015P001-1409A-265
EEOC-PHILADELPHIA DISTRICT OFFICE    EEOC-PHOENIX DISTRICT OFFICE                        EEOC-SAN FRANCISCO DISTRICT OFFICE       EEOCST LOUIS DISTRICT OFFICE
JAMIE WILLIAMSON DIRECTOR            ELIZABETH CADLE DIRECTOR                            WILLIAM R TAMAYO DIRECTOR                JAMES R NEELY JR DIRECTOR
801 MARKET ST STE 1300               3300 NORTH CENTRAL AVE                              450 GOLDEN GATE AVE                      ROBERT A YOUNG FEDERAL BLDG
STE 1300                             STE 690                                             5 WEST PO BOX 36025                      1222 SPRUCE ST RM 8100
PHILADELPHIA PA 19107-3127           PHOENIX AZ 85012-2504                               SAN FRANCISCO CA 94102-3661              ST. LOUIS MO 63103



004758P001-1409A-265                 004299P001-1409A-265                                030944P001-1409A-265                     003430P001-1409A-265
CATHERINE EGAN                       KAILER C EGGEBRECHT                                 EIGHTY ONE INTL INC                      RACHEL H EISEN
6103 TOBEY CT                        5015 HAINES AVE                                     9401 WHITMORE ST                         3116 ANZA
SPRINGFIELD VA 22150                 RAPID CITY SD 57701                                 EL MONTE CA 91731                        SAN FRANCISCO CA 94121




035415P001-1409A-265                 001144P001-1409A-265                                032953P001-1409A-265                     032953S001-1409A-265
RACHEL H EISEN                       LAURA EISIMINGER                                    EJ HARRISON AND SONS INC                 EJ HARRISON AND SONS INC
70 CLARENDON AVE                     1540 N MAIN ST                                      PO BOX 4009                              5275 COLT ST
SAN FRANCISCO CA 94114               WILLIAMSTOWN NJ 08094                               VENTURA CA 93007                         VENTURA CA 93003




031274P002-1409A-265                 031274S001-1409A-265                                036480P001-1409A-265                     036480S001-1409A-265
EKLECCO NEWCO LLC                    EKLECCO NEWCO LLC                                   EKLECCO NEWCO LLC                        EKLECCO NEWCO LLC
BARCLAY DAMON LLP                    PYRAMID MANAGEMENT GROUP LLC                        THE CLINTON EXCHANGE 4 CLINTON SQUARE    BARCLAY DAMON LLP
KEVIN M NEWMAN                       JOHN D CICO                                         SYRACUSE NY 13202                        KEVIN NEWMAN SCOTT FLEISCHER
BARCLAY DAMON TOWER                  THE CLINTON EXCHANGE                                                                         BARCLAY DAMON TOWER
125 E JEFFERSON ST                   4 CLINTON SQ                                                                                 125 EAST JEFFERSON ST
SYRACUSE NY 13202                    SYRACUSE NY 13202                                                                            SYRACUSE NY 13202


033211P001-1409A-265                 033211S001-1409A-265                                033211S002-1409A-265                     037443P001-1409A-265
FRAN EKLUND                          FRAN EKLUND                                         FRAN EKLUND                              FRANCES EKLUND
752 S ORLANDO AVE 314                LAW OFFICES OF ARCADIER, BIGGIE AND WOOD            STEPHEN BIGGIE ESQ MELBOURNE ATTORNEYS   STEPHEN BIGGIE ESQ
COCOA BEACH FL 32931                 2815 W NEW HAVEN AVE                                2815 W NEW HAVEN AVE                     ARCADIER BIGGIE AND WOOD PLLC
                                     MELBOURNE FL 32904                                  MELBOURNE FL 32904                       2815 W NEW HAVEN AVE
                                                                                                                                  #304
                                                                                                                                  MELBOURNE FL 32904


008438P001-1409A-265                 010252P001-1409A-265                                032954P001-1409A-265                     032955P001-1409A-265
LEAH EL HASSAN                       EL PASO COUNTY TREASURER                            EL PASO DISPOSAL                         EL PASO ELECTRIC
800 N BROAD ST                       PO BOX 2018                                         A WASTE CONNECTIONS CO                   PO BOX 650801
APT 60                               COLO. SPRGS CO 80901-2018                           PO BOX 51006                             DALLAS TX 75265
ELIZABETH NJ 07208                                                                       LOS ANGELES CA 90051
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032955S001-1409A-265                         033929P003-1409A-265                               031275P001-1409A-265        037226P001-1409A-265
EL PASO ELECTRIC                             EL PASO ELECTRIC CO                                EL PASO OUTLET CENTER       EL PASO OUTLET CENTER CMBS LLC/EL PASO
100 N STANTON                                JUANITA JIMENEZ                                    CMBS LLC                    OUTLET CENTER LLC
EL PASO TX 79901                             100 N STANTON ST                                   ACCOUNTS RECEIVABLE         AS ASSIGNEE OF: EL PASO OUTLET CENTER LLC
                                             EL PASO TX 79901                                   10275 W HIGGINS RD          BARCLAY DAMON LLP
                                                                                                STE 560                     125 E JEFFERSON ST
                                                                                                ROSEMONT IL 60018           SYRACUSE NY 13202


037226S001-1409A-265                         034112P001-1409A-265                               035615P001-1409A-265        008681P001-1409A-265
EL PASO OUTLET CENTER CMBS LLC/EL PASO       EL PASO OUTLET CENTER CMBS, LLC                    HASSAN LEAH EL              TATIANNA O ELBELTAGI
OUTLET CENTER LLC                            CMBS LLC                                           800 N BROAD ST              447 N ARMISTEAD ST
AS ASSIGNEE OF: EL PASO OUTLET CENTER LLC    10275 W HIGGINS RD                                 APT 60                      2
HORIZON GROUP PROPERTIES                     STE 560                                            ELIZABETH NJ 07208          ALEXANDRIA VA 22312
10275 W HIGGINS RD STE 560                   ROSEMONT IL 60018
ROSEMONT IL 60018


005365P001-1409A-265                         007148P001-1409A-265                               009161P001-1409A-265        002965P001-1409A-265
JESSICA L ELCIK                              ISABELLA R ELDER                                   SOPHIA ELDRIDGE             KAYLA ELECZKO
88-42 79TH AVE                               9302 ST GEORGE RD                                  3878 LEWIS LN               2177 BEDELL RD
GLENDALE NY 11385                            9302 ST GEORGE                                     OWENSBORO KY 42301          APT 6A
                                             PEYTON CO 80831                                                                GRAND ISLAND NY 14072




033617P001-1409A-265                         033618P001-1409A-265                               033619P001-1409A-265        010619P001-1409A-265
ELEMENT BY WESTIN TIME SQUARE                ELEMENT BY WESTIN TIME SQUARE NEW YORK             ELEMENT HOTEL               ELEVATION CLO 20131, LTD
311 WEST 39TH ST                             311 WEST 39TH ST                                   NEGOTIATED HOTEL RATE       ARROWMARK
NEW YORK NY 10018                            NEW YORK NY 10018                                  311 WEST 39TH ST            DINGLI GRAHAM
                                                                                                NEW YORK NY 10018           190 ELGIN AVE GEORGE TOWN
                                                                                                                            GRAND CAYMAN KY1-9005
                                                                                                                            CAYMAN ISLANDS


010620P001-1409A-265                         010621P001-1409A-265                               010622P001-1409A-265        030705P002-1409A-265
ELEVATION CLO 20142, LTD                     ELEVATION CLO 20143, LTD                           ELEVATION CLO 20154, LTD    ELEVEN STAR INC
ARROWMARK                                    ARROWMARK                                          ARROWMARK                   EUNICE
DINGLI GRAHAM                                DINGLI GRAHAM                                      DINGLI GRAHAM               3221 W TEMPLE ST APT 221
190 ELGIN AVE GEORGE TOWN                    190 ELGIN AVE GEORGE TOWN                          190 ELGIN AVE GEORGE TOWN   LOS ANGELES CA 90026-7088
GRAND CAYMAN KY1-9005                        GRAND CAYMAN KY1-9005                              GRAND CAYMAN KY1-9005
CAYMAN ISLANDS                               CAYMAN ISLANDS                                     CAYMAN ISLANDS


030940P001-1409A-265                         036784P001-1409A-265                               002238P001-1409A-265        002881P001-1409A-265
ELF COSMETICS                                TAREK HASHEM ELFOULY                               RAWANN A ELHALAWANI         BRIANA S ELIAS
CLAUDIA WILLIAMS                             102 MASJED ELATTARINE ST ELATTARINE DISTRICT       11 GEORGETOWN PL            205 W MONTGOMERY CROSSROADS
570 10TH ST                                  ALEXANDRIA                                         SMITHTOWN NY 11787          1702
OAKLAND CA 94607                             EGYPT 21517                                                                    SAVANNAH GA 31406




035616P001-1409A-265                         000775P001-1409A-265                               007111P001-1409A-265        002512P001-1409A-265
BRIANA S ELIAS                               FRANCISCO J ELIAS                                  JESUS ELIAS                 DJENNY ELIE
113 OLEANDER AVE                             3665 CENTRAL AVE                                   31 WINDING JOLLY RD         227-15 113TH AVE
SAVANNAH GA 31404                            SAN DIEGO CA 92105-3318                            NEWBERRY SC 29108           QUEENS VILLAGE NY 11429
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032008P001-1409A-265         035339P001-1409A-265                             032009P001-1409A-265                        036482P001-1409A-265
ELITE INVESTIGATIONS LTD     ELITE INVESTIGATIONS LTD                         ELITE MODEL MANAGEMENT CORP                 ELITE RETAIL SVC INC
538 WEST 29 ST               ALIOUNE BADIANE                                  245 FIFTH AVE                               PO BOX 618
NEW YORK NY 10001            2001 CENTRAL PARK AVE                            24TH FL                                     LAKE JACKSON TX 77566
                             YONKERS NY 10710                                 NEW YORK NY 10016




032010P001-1409A-265         036483P001-1409A-265                             008363P001-1409A-265                        010475P001-1409A-265
ELIZABETH FIRE DEPT          ELIZABETH FIRE DEPT                              OSCAR D ELIZALDE                            ELK VALLEY PUBLIC IMPROVEMENT
BUREAU OF FIRE PREVENTION    411 IRVINGTON AVE                                1011 WONDER WORLD                           CITY OF LAKEWOOD REVENUE
411 IRVINGTON AVE            ELIZABETH NJ 07201                               APT 1816                                    PO BOX 17479
ELIZABETH NJ 07201                                                            SAN MARCOS TX 78666                         DENVER CO 80127




002595P001-1409A-265         030860P001-1409A-265                             034208P001-1409A-265                        032011P001-1409A-265
MONA ELKETTANI               ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP        ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP   ELLA CO
3614 JUNEBERRY DR            GARTSIDE LLP                                     2049 CENTURY PK EAST                        SUNNY KIM
WESLEY CHAPEL FL 33543       RAYMOND FRIEDMAN                                 STE 2700                                    #502 HAEWOON BLDG
                             2049 CENTURY PK EAST                             LOS ANGELES CA 90067                        1016 DOOSAN - DONG SEO-GU
                             STE 2700                                                                                     DAEJEON 302-828
                             LOS ANGELES CA 90067                                                                         KOREA


030945P001-1409A-265         035223P001-1409A-265                             036198P001-1409A-265                        036198S001-1409A-265
ELLA L CLOTHING INC          ELLA L CLOTHING INC                              ELLA L CLOTHING INC                         ELLA L CLOTHING INC
CHEYRIN PARK                 THE SARACHEK LAW FIRM                            16828 ARMSTEAD ST                           LAW OFFICES OF YOUNG K CHANG
16828 ARMSTEAD ST            JOSEPH E SARACHEK                                GRANDA HILLS CA 91344                       3580 WILSHIRE BLVD STE 1405
GRANDA HILLS CA 91344        101 PARK AVE 27TH FL                                                                         LOS ANGELES CA 90010
                             NEW YORK NY 10178



035617P001-1409A-265         030946P001-1409A-265                             036199P001-1409A-265                        036200P001-1409A-265
EMILY C ELLEDGE              ELLEN CLOTHING INC                               ELLEN CLOTHING INC                          ELLIAN
158 MYRICK RD                BIANCA LEE                                       1866 E 46TH ST                              6725 SAN FERNANDO RD
LUMBERTON MS 39455           1866 E 46TH ST                                   LOS ANGELES CA 90058                        GLENDALE CA 91201
                             LOS ANGELES CA 90058




030947P001-1409A-265         005224P001-1409A-265                             008933P002-1409A-265                        030350P001-1409A-265
ELLIAN DESIGNS INC           JASMINE M ELLINGTON                              FELICIA R ELLIOTT                           GERALDINE ELLIOTT
CAROLINE MIKAILLAN           4021 BILLINGSGATE RD                             1 HANCOCK DR                                ADDRESS INTENTIONALLY OMITTED
6725 SAN FERNANDO RD         ORLANDO FL 32839                                 MAPLE SHADE NJ 08052-6412
GLENDALE CA 91201




007438P001-1409A-265         008246P001-1409A-265                             000833P001-1409A-265                        007226P001-1409A-265
JADA E ELLIOTT               JAYLA ELLIOTT                                    MICHELLE M ELLIOTT                          CIARA R ELLIS
21 SUNSET DR                 433 HILLANDALE DR                                3465 ROSETTA ST                             102 BELAIR LOOP
21                           JACKSON MS 39212                                 MUNHALL PA 15120                            JACKSONVILLE AR 72076
LAUREL DE 19956
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008571P001-1409A-265                    007417P001-1409A-265                            035618P001-1409A-265                   009245P001-1409A-265
JENNA ELLIS                             MORRIGAN L ELLIS                                MORRIGAN L ELLIS                       OSHIANNA R ELLIS
4216 EMMET ST                           3003 N ALVERNON WAY                             3431 NORTH FLOWING WELLS RD            3007 23RD ST
OMAHA NE 68111                          APT 125                                         UNIT 57                                NIAGARA FALLS NY 14305
                                        TUCSON AZ 85712                                 TUCSON AZ 85707




008553P001-1409A-265                    002754P001-1409A-265                            002754S001-1409A-265                   035388P002-1409A-265
PATIENCE N ELLIS                        SHUNDA N ELLIS                                  SHUNDA N ELLIS                         WILLAMENA ELLIS
1228 NIMITZ WAY                         1302 RIVAGE CIR                                 1402 DEW BLOOM RD                      1541 EAST KILDARE ST
1228 NIMITZ WA                          BRANDON FL 33511                                VALRICO FL 33594                       LANCASTER CA 93535
MESQUITE TX 75181




030948P001-1409A-265                    032956P001-1409A-265                            004201P001-1409A-265                   001918P001-1409A-265
ELLY LU LLC                             ELM SVC LLC                                     TENIKA L ELMORE                        ZSAISHMA T ELMORE
14830 GOLDEN VIEW DR                    PO BOX 623                                      2021 EAST 51STREET                     11 BRANSFIELD RD
ANCHORAGE AK 99516                      HAZEL PARK MI 48030                             SAVANNAH GA 31404                      GREENVILLE SC 29615




003642P001-1409A-265                    030949P001-1409A-265                            036201P001-1409A-265                   036889P001-1409A-265
ERIN ELY                                EMANUEL GERALDO ACCESSORIES IN                  EMANUEL GERALDO ACCESSORIES IN         EMBARG MINNESOTA INC DBA CENTURYLINK
180 WALNUT ST                           M17480                                          160 PORT ROYAL WEST                    CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY
WILLIMANTIC CT 06226                    JAMES GUTHERZ                                   MONTREAL QC H3L 3N1                    LEGAL BKY
                                        PO BOX 11748                                    CANADA                                 1025 EL DORADO BLVD
                                        SUCCURSALE CENTRE-VILLE                                                                BROOMFIELD CO 80021
                                        MONTREAL QC H3C 6T3
                                        CANADA
036889S001-1409A-265                    037887P001-1409A-265                            037887S001-1409A-265                   036887P002-1409A-265
EMBARG MINNESOTA INC DBA CENTURYLINK    EMBARQ FLORIDA INC SOUTH FLORIDA DBA            EMBARQ FLORIDA INC SOUTH FLORIDA DBA   EMBARQ FLORIDA INC-FL PANHANDLE
CENTURYLINK COMMUNICATIONS LLC          CENTURYLINK                                     CENTURYLINK                            DBA CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY
220 N 5TH ST                            CENTURYLINK COMMUNICTIONS LLC                   CENTURYLINK COMMUNICATIONS             LEGAL BKY
BISMARCK ND 58501                       LEGAL BANKRUPTCY                                220 N 5TH ST                           1025 EL DORADO BLVD
                                        1025 EL DORADO BLVD                             BISMARCK ND 58501                      BROOMFIELD CO 80021
                                        BROOMFIELD CO 80021


036887S001-1409A-265                    037884P001-1409A-265                            037884S001-1409A-265                   032799P001-1409A-265
EMBARQ FLORIDA INC-FL PANHANDLE         EMBARQ MINNESOTA INC DBA                        EMBARQ MINNESOTA INC DBA               PHILLIP EMBRY
DBA CENTURYLINK                         CENTURYLINK                                     CENTURYLINK                            265 N LAMAR BLVD STE1
CENTURYLINK COMMUNICATIONS LLC          CENTURY LINK COMMUNICATIONS LLC                 CENTRYLINK COMMUNICATIONS LLC          OXFORD MS 38665-3719
220 N 5TH ST                            LEGAL BANKRUPTCY                                220 N 5TH ST
BISMARCK ND 58501                       1025 EL DORADO BLVD                             BISMARCK ND 58501
                                        BROOMFIELD CO 80021


032012P001-1409A-265                    036486P001-1409A-265                            036939P002-1409A-265                   009599P001-1409A-265
EMCOR FACILITIES SVC INC                EMCOR FACILITIES SVC INC                        EMCOR FACILITIES SVCS INC              ERICA N EMERSON
GREGORY FRANKENFIELD                    PO BOX 31001-0919                               JOSEPH N ARGENTINA JR                  15046 STRATHMOOR
PO BOX 31001-0919                       PASADENA CA 91110-0191                          DRINKER BIDDLE AND REATH LLP           DETROIT MI 48227
PASADENA CA 91110-0191                                                                  ONE LOGAN SQUARE SUITE 2000
                                                                                        PHILADELPHIA PA 19103
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005669P001-1409A-265             009633P001-1409A-265                     005627P001-1409A-265            032013P001-1409A-265
NICOLE B EMERY                   CAITLIN J EMHOFF                         AYANNA N EMI                    EMILY A LARA
15919 GOLD CIR                   506 ISABELLA CT                          83 CENTRAL AVE                  6372 DELMONICO DR
OMAHA NE 68130                   CORAOPOLIS PA 15108                      3                               COLORADO SPRINGS CO 80919
                                                                          ALBANY NY 12206




032957P001-1409A-265             032957S001-1409A-265                     031276P001-1409A-265            036489P001-1409A-265
EMPIRE DISTRICT                  EMPIRE DISTRICT                          EMPIRE MALL LLC                 EMPIRE MALL LLC
PO BOX 219239                    602 S JOPLIN AVE                         SIMON PROPERTY GROUP LP         PO BOX 83388
KANSAS CITY MO 64121             PO BOX 127                               PO BOX 83388                    CHICAGO IL 60691-3388
                                 JOPLIN MO 64802                          CHICAGO IL 60691-3388




009729P001-1409A-265             010623P001-1409A-265                     006227P001-1409A-265            036202P001-1409A-265
EMPLOYMENT DEVELOPMENT DEPT      EMPYREAN INVESTMENTS, LLC                PAOLA L ENCALADA                ENCHANTE ACCESSORIES
PO BOX 826880                    EMPYREAN                                 80-35 88TH RD                   16 EAST 34TH STREET 16TH FLOOR
SACRAMENTO CA 94280              ANDREW DIAZ                              1                               NEW YORK NY 10016
                                 10250 CONSTELLATION BLVD                 WOODHAVEN NY 11421
                                 STE 2950
                                 LOS ANGELES CA 90067


030950P002-1409A-265             033620P001-1409A-265                     033446P001-1409A-265            032958P001-1409A-265
ENCHANTE ACCESSORIES INC         ENDURANCE INSURANCE                      ENERGY ENGINEERING ASSOCIATES   ENERGYWORKS LANCASTER LLC
WILLIE GOLFIN                    10 SOUTH WACHER                          EEA CONSULTING ENGINEERING      PO BOX 37290
16 EAST 34TH ST                  STE 2970                                 JOANN ROSEBAUGH                 BALTIMORE MD 21297
16TH FL                          CHICAGO IL 60606                         6615 VAUGHT RANCH RD
NEW YORK NY 10016                                                         STE 200
                                                                          AUSTIN TX 78730


032958S001-1409A-265             030951P001-1409A-265                     001763P001-1409A-265            032959P001-1409A-265
ENERGYWORKS LANCASTER LLC        ENESCO LLC                               TAYLOR R ENGERON                ENGIE RESOURCES
71 OLD MILL BOTTOM ROAD NORTH    225 WINDSOR DR                           120 YELLOWSTONE ST              PO BOX 9001025
SUITE 101                        ITASCA IL 60143                          KENNER LA 70065-1037            LOUISVILLE KY 40290
ANNAPOLIS MD 21409




032959S001-1409A-265             033621P001-1409A-265                     030628P001-1409A-265            003302P001-1409A-265
ENGIE RESOURCES                  ENGIE RESOURCES GDF SUEZ                 T NATHANIEL ENGLUND             TIMOTHY N ENGLUND
1990 POST OAK BLVD STE 1900      1990 POST OAK BLVD                       SD CORP                         3605 ALBERT ST
HOUSTON TX 77056-3831            STE 1900                                 ADDRESS INTENTIONALLY OMITTED   SAN DIEGO CA 92103
                                 HOUSTON TX 77056




007350P001-1409A-265             030349P001-1409A-265                     035619P001-1409A-265            036379P001-1409A-265
GENIECE K ENIX                   GENEVIEVE ENNIS                          SHYANN M ENNIS                  AMY ENRIQUEZ
66/ BELMONT AVE                  ADDRESS INTENTIONALLY OMITTED            9310 E MAIN ST LOT 131          8350 E YALE AVE H102
JERSEY CITY NJ 07304                                                      MESA AZ 85207                   DENVER CO 80231-3837
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008796P001-1409A-265               008130P001-1409A-265                       003092P001-1409A-265              001934P001-1409A-265
DANIELLA D ENRIQUEZ                VICTORIA A ENRIQUEZ                        YOLANDA C ENRIQUEZ                TAYLOR L ENSBRENNER
6311 HWY 230                       3361 MARTIN COUNTY RD 2050                 12201 E ALASKA AVE                1176 E ARLINGTON RD
LYLES TN 37098                     STANTON TX 79782                           AURORA CO 80012                   ERIE PA 16504-2706




033259P001-1409A-265               032960P001-1409A-265                       032960S001-1409A-265              032961P001-1409A-265
ENSYNCH INC                        ENTERGY                                    ENTERGY                           ENTERGY GULF STATES LA INC
125 S 52ND ST                      PO BOX 8104                                639 LOYOLA AVE                    PO BOX 8103
TEMPE AZ 85281                     BATON ROUGE LA 70891                       NEW ORLEANS LA 70113              BATON ROUGE LA 70891




032961S001-1409A-265               032962P001-1409A-265                       032962S001-1409A-265              032963P001-1409A-265
ENTERGY GULF STATES LA INC         ENTERGY LOUISIANA INC                      ENTERGY LOUISIANA INC             ENTERGY MISSISSIPPI INC
639 LOYOLA AVE                     PO BOX 8108                                639 LOYOLA AVE                    PO BOX 8105
NEW ORLEANS LA 70113               BATON ROUGE LA 70891                       NEW ORLEANS LA 70113              BATON ROUGE LA 70891




032963S001-1409A-265               036899P001-1409A-265                       030952P001-1409A-265              000101P001-1409A-265
ENTERGY MISSISSIPPI INC            ENTERGY TEXAS INC                          ENTRY INC                         ENVIRONMENTAL PROTECTION AGENCY
639 LOYOLA AVE                     L-JEF-359                                  766 E12TH ST                      OFFICE OF GENERAL COUNSEL
NEW ORLEANS LA 70113               4809 JEFFERSON HWY STE A                   #C                                ARIEL RIOS BLDG
                                   NEW ORLEANS LA 70121-3138                  LOS ANGELES CA 90021              1200 PENNSYLVANIA AVE NW MAIL CODE 2310A
                                                                                                                WASHINGTON DC 20460



000102P001-1409A-265               000103P001-1409A-265                       000106P001-1409A-265              000107P001-1409A-265
ENVIRONMENTAL PROTECTION AGENCY    ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY   ENVIRONMENTAL PROTECTION AGENCY
5 POST OFFICE SQUARE               290 BROADWAY                               1650 ARCH ST                      ATLANTA FEDERAL CTR
STE 1100                           NEW YORK NY 10007-1866                     PHILADELPHIA PA 19103-2029        61 FORSYTH ST SW
BOSTON MA 02109-7341                                                                                            ATLANTA GA 30303-3104




000108P001-1409A-265               000109P001-1409A-265                       000110P001-1409A-265              000111P001-1409A-265
ENVIRONMENTAL PROTECTION AGENCY    ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY   ENVIRONMENTAL PROTECTION AGENCY
77 WEST JACKSON BLVD               FOUNTAIN PL 12TH FL                        11201 RENNER BLVD                 1595 WYNKOOP ST
CHICAGO IL 60604-3507              1445 ROSS AVE STE 1200                     LENEXA KS 66219                   DENVER CO 80202-1129
                                   DALLAS TX 75202-2733




000112P001-1409A-265               000113P001-1409A-265                       033248P001-1409A-265              030953P001-1409A-265
ENVIRONMENTAL PROTECTION AGENCY    ENVIRONMENTAL PROTECTION AGENCY            ENVISTA LLC                       ENVYA
75 HAWTHORNE ST                    1200 SIXTH AVE                             11711 N MERIDIAN ST STE 415       IRIS
SAN FRANCISCO CA 94105             STE 900                                    CARMEL IN 46032                   777 E12TH ST
                                   SEATTLE WA 98101                                                             #1-9
                                                                                                                LOS ANGELES CA 90021
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006132P001-1409A-265               032964P001-1409A-265                        009652P001-1409A-265           033622P001-1409A-265
BROOKE K ENWRIGHT                  EPAX SYSTEMS INC                            AMAYA T EPPSE                  EQUITY EDGE
1566 DORCHESTER ST                 14641 ARMINTA ST                            315 REESE ST                   PO BOX 3512
PORT CHARLOTTE FL 33952            PANORAMA CITY CA 91402                      SANDUSKY OH 44870              ARLINGTON VA 22203




029837P001-1409A-265               029837S001-1409A-265                        029837S002-1409A-265           001023P001-1409A-265
EQUITY ONE, INC (LANDLORD)         EQUITY ONE, INC (LANDLORD)                  EQUITY ONE, INC (LANDLORD)     SHERIN ERAKAT
DALY CITY SERRAMONTE CENTER LLC    DALY CITY SERRAMONTE CENTER, LLC            SERRAMONTE CENTER              8040 MARION
REGENCY CENTERS CORP               REGENCY CENTERS CORP                        PROPERTY MANAGEMENT            #3E
LEGAL DEPARTMENT                   LEGAL DEPARTMENT                            3 SERRAMONTE CTR               JUSTICE IL 60458
INDEPENDENT DR STE 114             ONE INDEPENDENT DR STE 114                  DALY CITY CA 94015
JACKSONVILLE FL 32202-5019         JACKSONVILLE FL 32202-5019


006091P001-1409A-265               035620P001-1409A-265                        006768P001-1409A-265           035621P001-1409A-265
JENNA M ERB                        JENNA M ERB                                 SAMANTHA M ERB                 SAMANTHA M ERB
1936 PRINCETON ST                  1029 LATROBE ST                             24 4TH ST                      24 4TH ST H
PARKERSBURG WV 26101               PARKERSBURG WV 26101                        DOUGLASSVILLE PA 19518         DOUGLASVILLE PA 19518




032014P001-1409A-265               035622P002-1409A-265                        004806P001-1409A-265           032965P001-1409A-265
ERIC BRAVO                         BROOKE E ERICKSON                           CYDNEY L ERICKSON              ERIE WATER WORKS
922 N SPRUCE                       AMY ERICKSON                                081 W 200 S                    PO BOX 4170
LITTLE ROCK AR 72205               6885 EL TERRA RD                            PORTLAND IN 47371              WOBURN MA 01888
                                   OSAGE BEACH MO 65065




032965S001-1409A-265               032015P001-1409A-265                        032016P001-1409A-265           036490P001-1409A-265
ERIE WATER WORKS                   ERIKA HEGGIE                                ERIKA PINO PHOTOGRAPHY         ERIKA PINO PHOTOGRAPHY
340 WEST BAYFRONT PKWY             1501 LARKIN ST APT 307                      SYLVIA ERIKA PINO              42 GREENWOOD DR SOUTH
ERIE PA 16507-2004                 SAN FRANCISCO CA 94109-3747                 SLYVIA ERIKA PINO              SAN FRANCISCO CA 94080
                                                                               42 GREENWOOD DR SOUTH
                                                                               SAN FRANCISCO CA 94080



000999P001-1409A-265               032017P001-1409A-265                        033237P001-1409A-265           032018P001-1409A-265
PAOLA ERIVES                       ERMC                                        ERNST AND YOUNG LLP            ERP ACCESSORIES LLC
1820 MCDANIEL ST                   ONE PK PL                                   AR DEPT                        RICHARD S BENDICKSON
NORTH LAS VEGAS NV 89030           6148 LEE HIGHWAY STE 300                    1000 SCOTIABANK PLZ            RICH BENDICKSON
                                   CHATTANOOGA TN 37421                        273 PONCE DE LEON AVE          13570 GROVE DR
                                                                               SAN JUAN PR 00917-1989         #363
                                                                                                              MAPLE GROVE MN 55311


035104P001-1409A-265               007068P001-1409A-265                        032019P001-1409A-265           007662P001-1409A-265
ERP ACCESSORIES LLC                TIARA ERRAR                                 ERS BUILDING MAINTENANCE LLC   RACHEL ERTLE
13570 GROVE DR #363                8554 BRAYLEN MANOR DR                       STEVE MENDOZA GM               7304 ATLANTIC AVE
MAPLE GROVE MN 55311               DOUGLASVILLE GA 30134                       3525 DELTA DR                  WILDWOOD CREST NJ 08260
                                                                               ST GABRIEL LA 70776
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005146P001-1409A-265          006793P001-1409A-265                001809P001-1409A-265              035623P001-1409A-265
KAYCE L ERTTER                KELLEY M ERVIN                      VIRGINIA ESAMAR PEREZ             PEREZ VIRGINIA ESAMAR
131 CUNNINGHAM RD             23527 BLUE FOX RD                   2308 DAYTON AVE                   2308 DAYTON AVE
EBENSBURG PA 15931            FOUNTAIN FL 32438                   BAKERSFIELD CA 93304              BAKERSFIELD CA 93304




001345P001-1409A-265          007643P001-1409A-265                007844P001-1409A-265              008924P001-1409A-265
MARIBEL I ESCALANTE           JENNIFER J ESCALERA                 DALLAS A ESCAMILLA                PRINCESS C ESCARMENT
5482 TUCSON ST                211 HILLCREST AVE                   1940 EAST PKWY                    1505 W THARPE ST
DENVER CO 80239               BROOKLYN MD 21225                   DELAND FL 32724                   TALLAHASEE FL 32304




007680P001-1409A-265          006885P001-1409A-265                005434P001-1409A-265              003929P001-1409A-265
NICKOLE G ESCARTIN            ALYSSA D ESCOBAR                    JENNIFER ESCOBAR                  ANGELICA A ESCOBEDO
3797 37TH ST SOUTH APT 10     2551 TILLER AVE                     2135 MEANDERING DR                11467 DENNIS RD
SAINT PETERSBURG FL 33711     PORT HUENEME CA 93041               IRVING TX 75060                   1055
                                                                                                    DALLAS TX 75229




006070P001-1409A-265          002186P001-1409A-265                030424P001-1409A-265              002879P002-1409A-265
GRETHEL ESCOBEDO              JESSICA N ESCOBEDO                  KADEE ESCOBEDO                    VERONICA D ESCOTO
775 TREAT AVE                 4002 SOUTHERLAND RD                 ADDRESS INTENTIONALLY OMITTED     3722 Z ST
#3                            11                                                                    SAN DIEGO CA 92113
SAN FRANCISCO CA 94110        HOUSTON TX 77092-4431




005532P001-1409A-265          033754P001-1409A-265                007891P001-1409A-265              030954P001-1409A-265
ANGELIQUE P ESCUTIA           VICKI ESHELMAN                      LYDYA N ESHO                      ESKA INC DBA SPICEWEAR
1821 SWALLOW CT               209 COVINA AVE                      2751 W GLENLAKE                   AMY CHO
EAST LANSING MI 48823         LONG BEACH CA 90803                 CHICAGO IL 60659                  3631 UNION PACIFIC AVE
                                                                                                    LOS ANGELES CA 90023




036203P001-1409A-265          037878P001-1409A-265                008763P001-1409A-265              007368P001-1409A-265
ESKA INC DBA SPICEWEAR        ESMEE KOLLENC                       CAROL ESP                         ODALIS ESPERICUETA FONSECA
3631 UNION PACIFIC AVE        8440 60TH ROAD APT 3                6961 WILLOW CREEK CR              812 N 28TH ST
LOS ANGELES CA 90023          MIDDLE VILLAGE NY 11379             APT 108                           PHOENIX AZ 85008
                                                                  NORTH PORT FL 34287




035624P001-1409A-265          006598P001-1409A-265                002199P002-1409A-265              000601P001-1409A-265
FONSECA ODALIS ESPERICUETA    DAMIEN M ESPINAL                    YASMEEN N ESPINAL                 FATIMA ESPINOSA
812 N 28TH ST                 2789 FLORIDA MANGO RD               5040 COMANCHE DR APT 117          377 JAY ST
PHOENIX AZ 85008              APT 218                             LA MESA CA 91942                  ELGIN IL 60120
                              LAKE WORTH FL 33461
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009275P001-1409A-265                    007799P001-1409A-265                         037186P001-1409A-265      002204P001-1409A-265
JACQUELYN M ESPINOSA                    JENNIFER B ESPINOSA                          BIANKA ESPINOZA           BIANKA R ESPINOZA
2750 E MAGILL AVE                       1997 MAYFLOWER DR                            2135 SIERRA WAY           2135 SIERRA WAY
FRESNO CA 93710                         WOODBRIDGE VA 22192                          OXNARD CA 93033           OXNARD CA 93033-5715




001725P001-1409A-265                    004452P001-1409A-265                         009684P001-1409A-265      008177P001-1409A-265
DAISY ESPINOZA                          DAISY ESPINOZA                               JESSICA M ESPINOZA        YULISA ESPINOZA
1143 HICKORY TRL                        1719 AVE C                                   177 ROCKDALE DR           8735 STATE RD 38 EAST
GARLAND TX 75040-7446                   FRESNO TX 77545                              AMHERST NY 14228          LAFAYETTE IN 47905




031277S001-1409A-265                    031277P001-1409A-265                         034398P001-1409A-265      034860P001-1409A-265
ESPLANADE MALL REALTY HOLDING           ESPLANADE MALL REALTY HOLDING LLC            ESPLANADE MALL, LTD PTN   ESPLANADE REALTY LP
MEYERS ROMAN FRIEDBERG AND LEWIS LPA    1010 NORTHERN BLVD                           ESPLANADE REALTY LP       ESPLANADE MALL REALTY HOLDING LLC
DAVID M NEUMANN                         STE 212                                      PO BOX 21159              1010 NORTHERN BLVD
28601 CHAGRIN BLVD STE 600              GREAT NECK NY 11021                          NEW YORK NY 10087-1159    STE 212
CLEVELAND OH 44122                                                                                             GREAT NECK NY 11021



029838P001-1409A-265                    005663P001-1409A-265                         036985P001-1409A-265      000844P001-1409A-265
ESPLANADE REALTY, LP (LANDLORD)         LYDIA C ESPOSITO                             GIANNA ESQUEDA            RONALD C ESQUEJO
ESPLANADE MALL REALTY HOLDING LLC       360 E BRADLEY AVE                            24691 NEW HAVEN DR        20857 GRAPEVINE DR
1010 NORTHERN BLVD STE 212              28                                           MURRIETA CA 92562         DIABLO GRANDE CA 95363
GREAT NECK NY 11021                     EL CAJON CA 92021




037171P001-1409A-265                    009256P001-1409A-265                         001676P001-1409A-265      000588P001-1409A-265
RONALD C ESQUEJO                        ALECSYS ESQUIJAROSA                          ANNE ESQUILIN             FATCHENSKY ESTASSIN
20857 GRAPEVINE DRIVE                   260 12TH AVE NE                              746 S CARLDON ST REAR     11625 JEFFERSON COMMONS CIRC
PATTERSON CA 98363                      NAPLES FL 34120                              ALLENTOWN PA 18103        UNIT 411A
                                                                                                               ORLANDO FL 32826




008021P001-1409A-265                    036570P001-1409A-265                         032790P001-1409A-265      001301P001-1409A-265
LAUREN N ESTEP                          JORDAN D ESTERBY                             CARTER ESTERLING          GISSELLE ESTEVEZ
2006 BERNARD BLVD                       550 HARBOR CLOVE LN                          161 N CLARK ST            1103 HIGHLANDS DR APT 1
ENDICOTT NY 13760                       CHARLESTON SC 29412-3009                     STE 800                   NAPLES FL 34103
                                                                                     CHICAGO IL 60601




008427P001-1409A-265                    004101P001-1409A-265                         006811P001-1409A-265      006553P001-1409A-265
ARACELI ESTRADA RIVERA                  ABRIL A ESTRADA                              ANA ESTRADA               ANTONIO ESTRADA
9032 MONTOYA ST APT 3                   1095 QUINTO SOL                              25427 EDGEMONT DR         1545 EAST MADISON AVE
SACRAMENTO CA 95826                     VADO NM 88072                                SAN BERNARDINO CA 92404   EL CAJON CA 92019
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037249P001-1409A-265               006142P001-1409A-265                             001936P001-1409A-265                      000846P001-1409A-265
ARLENE RUIZ ESTRADA                ASHLEY ESTRADA                                   CASSANDRA ESTRADA                         JENNIFER M ESTRADA
TERRAZAS DEL TOA                   9474 DAMON DR                                    4809 E TWINFLOWER PL                      3018 FITZGERALD RD
K21 ASTROMELIA                     THORNTON CO 80260                                TUCSON AZ 85756-5106                      SIMI VALLEY CA 93065
TOA ALTA PR 00953




000968P001-1409A-265               035625P001-1409A-265                             002170P001-1409A-265                      004219P001-1409A-265
KARLA L ESTRADA                    RIVERA ARACELI ESTRADA                           RYANNE S ESTRADA                          SOFIA G ESTRADA
814 MAGMOLIA AVE #4                9032 MONTOYA ST APT 3                            22232 E VIA DEL RANCHO                    307 W COLUMBIA AVE
PASADENA CA 91106                  SACRAMENTO CA 95826                              1009                                      APT 1
                                                                                    QUEEN CREEK AZ 85142                      CHAMPAIGN IL 61820




002924P001-1409A-265               005311P001-1409A-265                             030807P001-1409A-265                      036204P001-1409A-265
STEPHANIE ESTRADA                  ESTHER I ESTRELLA                                ET2C INTERNATIONAL INC                    ET2C INTERNATIONAL INC
1901 FAITH AVE                     1076 EASTERN PKWY                                JAMIE PERKINS                             23 WANGJIAO PLAZA 175 EAST YAN AN RD
BAKERSFIELD CA 93304               APT 6                                            23 WANGJIAO PLZ                           SHANGHAI
                                   BROOKLYN NY 11213                                175 EAST YAN AN RD                        CHINA 200002
                                                                                    SHANGHAI 200002
                                                                                    CHINA


008202P001-1409A-265               037576P002-1409A-265                             037576S001-1409A-265                      037690P001-1409A-265
JOHN ETIENNE                       ETTA BACHARACH TESTAMENTARY A TRUST              ETTA BACHARACH TESTAMENTARY A TRUST       ETTA BACHARACH TESTAMENTARY A TRUST
4715 SW 18TH PL                    BARBARA JEAN BORSUK SURVIVING TRUSTEE ET AL      BARBARA JEAN BORSUK                       ETTA BACHARACH TESTAMENTARY B TRUST
2412                               DERRICK ND HANSEN ESQ                            1626 VALLEJO STREET                       SIDBAR PROPERTIES LLC
GAINESVILLE FL 32607               FRIEDMAN AND SPRINGWATER LLP                     SAN FRANCISCO CA 94123                    FRIEDMAN AND SPRINGWATER LLP
                                   1007 NORTH ORANGE ST 4TH FLOOR                                                             1007 N ORANGE ST 4TH FL
                                   WILMINGTON DE 19801                                                                        WILMINGTON DE 19801


008392P001-1409A-265               001090P001-1409A-265                             033344P001-1409A-265                      032966P002-1409A-265
BLESS ETTIENNE                     APRIL L EUBANKSWILLIAMS                          EUGENE ADAMSON                            EUGENE WATER AND ELECTRIC BOARD
160 PRESTON ST                     740 COUNTRY PL DR                                SD CORP                                   P O BOX 35192
HARTFORD CT 06114                  TOBYHANNA PA 18466                               DEPT 1400                                 SEATTLE WA 98124-5192
                                                                                    26210 SUNNY MEADOW
                                                                                    SAN ANTONIO TX 78260



032966S001-1409A-265               037440P002-1409A-265                             033623P001-1409A-265                      004297P001-1409A-265
EUGENE WATER AND ELECTRIC BOARD    EUGENE WATER AND ELECTRIC BOARD                  EULER HERMES NORTH AMERICA INSURANCE CO   MAKAYLA M EUREK
500 EAST FOURTH AVE                VERONICA NELSON                                  800 RED BROOK BLVD                        117 W 5TH ST
EUGENE OR 97401                    PO BOX 10148                                     OWINGS MILLS MD 21117                     BELVIDERE IL 61008
                                   EUGENE OR 97440




032774P001-1409A-265               005117P001-1409A-265                             002559P001-1409A-265                      030231P001-1409A-265
EUS-CCA THE CREDIT BUREAU          KAREN V EUSTAQUIO                                ASHANTI E EVANS                           ASHLEY EVANS
PO BOX 329                         12025 S FIGUEROA ST                              2070 SOUTH JOHN RUSSELL CIR               ADDRESS INTENTIONALLY OMITTED
NORWELL MA 02061                   LOS ANGLES CA 90061                              A
                                                                                    ELKINS PARK PA 19027
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001546P002-1409A-265          001024P001-1409A-265                 009710P001-1409A-265             001891P001-1409A-265
ASHLEY D EVANS                ASHLEY F EVANS                       BREHNA EVANS                     BRIANNA EVANS
1201 ALBERT AVE APT 505       1004 OAK TER DR                      337 WATERVIEW RD                 8653 N MACARTHUR BLVD
MIDLAND TX 79701              NORTH MANKATO MN 56003               DE PERE WI 54115                 1087
                                                                                                    IRVING TX 75063




035626P001-1409A-265          006241P001-1409A-265                 003749P001-1409A-265             008942P001-1409A-265
BRIANNA EVANS                 KELSEY M EVANS                       KENIESE R EVANS                  MADISON J EVANS
5301 ALPH RD                  700 LOWER STATE RD                   90 E JEFFERSON ST                1206 MANHATTAN ST
APT 237                       APT 9 B-1                            APT 8                            APT A
DALLAS TX 75240               NORTH WALES PA 19454                 NORTH LIBERTY IA 52317           MICHIGAN CITY IN 46360




002800P001-1409A-265          001816P001-1409A-265                 008948P001-1409A-265             006005P001-1409A-265
MEGAN E EVANS                 SAHARA EVANS                         SAVANNAH D EVANS                 TATUM L EVANS
9080 LAKE CHASE ISLAND WAY    233 KENNEDY DR                       12100 CHRISTMAN DR               60 CRESCENT CT
TAMPA FL 33626                SPRING VALLEY NY 10977               LOUISVILLE KY 40229              MORGANVILLE NJ 07751




006266P001-1409A-265          009069P001-1409A-265                 009905P001-1409A-265             032021P001-1409A-265
TERINA L EVANS                TIA D EVANS                          EVANSVILLE POLICE DEPT           EVE TAYLOR
1288 W GALBRAITH RD           1361 BYRD AVE                        ALARM COORDINATOR                31021 VIA COLINAS
CINCINNATI OH 45231           CINCINNATI OH 45215                  15 NW MARTIN LUTHER KING JR B    COTO DE CAZA CA 92679
                                                                   EVANSVILLE IN 47708




032022P001-1409A-265          032023P001-1409A-265                 037106P001-1409A-265             004972P001-1409A-265
EVELYN MONESTINA              EVER SKYLA LLC                       MACKENZIE EVERETT                MACKENZIE P EVERETT
901 PENNSYLVANIA AVE          CATHERINE CHUNG                      606 ASHBY CT                     606 ASHBY CT
APT #1                        10-50 JACKSON AVE                    ALLEN TX 75002                   ALLEN TX 75002
LAKELAND FL 33803             APT 2D
                              LONG ISLAND CITY NY 11101



000606P001-1409A-265          008431P001-1409A-265                 003512P001-1409A-265             009164P001-1409A-265
TYLER T EVERETT               MICHAELA EVERETTE                    CIRITA EVERSLEY                  MADISON B EVERSOLE
2140 NW 50TH ST               22404 KOEHLER DR                     4613 BAYMAR DR                   206 HAMPTON PL CT
MIAMI FL 33142                MORGANTOWN WV 26508                  103                              FAIRDALE KY 40118
                                                                   RALEIGH NC 27612




036555P001-1409A-265          032967P001-1409A-265                 032967S001-1409A-265             032968P001-1409A-265
JAMIE EVERSON                 EVERSOURCE                           EVERSOURCE                       EVERSOURCE
1046 NOBLE VINES DR APT 8     PO BOX 56003                         300 CADWELL DR                   PO BOX 56004
CLARKSTON GA 30021            BOSTON MA 02205                      SPRINGFIELD MA 01104             BOSTON MA 02205
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032969P001-1409A-265                   032970P001-1409A-265                          032971P001-1409A-265                 032972P001-1409A-265
EVERSOURCE                             EVERSOURCE                                    EVERSOURCE                           EVERSOURCE
PO BOX 56007                           PO BOX 650032                                 PO BOX 650047                        PO BOX 660369
BOSTON MA 02205                        DALLAS TX 75265                               DALLAS TX 75265                      DALLAS TX 75266




033624P001-1409A-265                   033450P001-1409A-265                          036863P001-1409A-265                 029839P001-1409A-265
EVOKE TECHNOLOGIES                     EVOTEK SOLUTIONS INC                          EWB DEVELOPMENT                      EWB DEVELOPMENT (LANDLORD)
MARINER BLOCK THE VASCENDAS IT PARK    JEN LOCSEY                                    ROCKEFELLER GROUP DEVELOPMENT CORP   VP-COMMERCIAL AND INDUSTRIAL REAL ESTATE TRCC
PLOT 17 SOFTWARE UNITS LAYOUT          687 SOUTH COAST HIGHWAY 101                   4 PK PLZ STE 840                     ROCK OUTLET CENTER LLC TEJON INDUSTRIAL CORP
MADHAPUR, HYDERABAD 50081              # 229                                         IRVINE CA 92614                      GENERAL COUNSEL VP
INDIA                                  ENCINITAS CA 92024                                                                 4436 LEBEC RD
                                                                                                                          LEBEC CA 93243


029839S001-1409A-265                   029839S002-1409A-265                          029839S003-1409A-265                 002586P001-1409A-265
EWB DEVELOPMENT (LANDLORD)             EWB DEVELOPMENT (LANDLORD)                    EWB DEVELOPMENT (LANDLORD)           KANIYA EWING
GISELE F DE CHABERT, ESQ               ROCKEFELLER GROUP DEVELOPMENT CORP            HARTMAN SIMONS AND WOOD LLP          PO BOX 503
ROCKEFELLER GROUP INTERNATIONAL INC    4 PK PLZ STE 840                              BENNO G ROTHSCHILD ESQ               WOODSTOCK GA 30188
GISELE F DE CHABERT ESQ                IRVINE CA 92614                               6400 POWERS FERRY RD NW STE 400
1221 A VENUE OF THE AMERICAS                                                         ATLANTA GA 30339
NEW YORK NY 10020


032024P001-1409A-265                   037441P001-1409A-265                          035105P001-1409A-265                 035106P001-1409A-265
EXPEDITER SVC INC                      EXPERIAN INC                                  EXPERIAN MARKETING SOLUTIONS LLC     EXPERIAN MARKETING SOLUTIONS LLC
PO BOX 29624                           JOSEPH D FRANK                                ADDRESS VALIDATION                   EMAIL VALIDATION
SAN JUAN PR 00929-0624                 CO FRANKGECKER LLP                            53 STATE ST STE 20                   53 STATE ST STE 20
                                       SUITE 5G-H                                    BOSTON MA 02109                      BOSTON MA 02109
                                       1327 W WASHINGTON BLVD
                                       CHICAGO IL 60607


032025P001-1409A-265                   033625P001-1409A-265                          032026P001-1409A-265                 032027P002-1409A-265
EXPERIAN MARKETING SVC                 EXPORT DEVELOPMENT CANADA EDC                 EXPRESS COLOR, INC                   EXTENDED OFFICE SOLUTIONS INC
TRACY PEAK                             150 SLATER                                    CHRIS PORTER                         MICHAEL STACHOWSKI
PO BOX 881971                          OTTAWA ON K1A 1K3                             4450 COMMERCE DR SW                  PO BOX 3356
LOS ANGELES CA 90088-1971              CANADA                                        ATLANTA GA 30336                     TORRANCE CA 90510




036495P001-1409A-265                   034401P001-1409A-265                          001001P001-1409A-265                 032028P002-1409A-265
EXTENDED OFFICE SOLUTIONS INC          EXTON SQUARE PROPERTY LLC                     HALEY M EXTON                        EYEKICK VISUAL LLC
ACCOUNTING                             PO BOX 373281                                 5971 CAVANAUGH RD                    MONICA RUDOLPH
POBOX 5231                             CLEVELAND OH 44193-3281                       MARCY NY 13403                       971 TERMINAL WAY
WEST HILLS CA 91308                                                                                                       SAN CARLOS CA 94070-3224




034126P002-1409A-265                   036496P001-1409A-265                          030955P001-1409A-265                 036205P001-1409A-265
EYEKICK VISUAL LLC                     EYEKICK VISUAL LLC                            EYEKING LLC                          EYEKING LLC
971 TERMINAL WAY                       1159 CHESS DR                                 ALLISON SINGER                       10 HUB DRIVE SUITE 104
SAN CARLOS CA 94070-3224               FOSTER CITY CA 94404                          10 HUB DR                            MELVILLE NY 11747
                                                                                     STE 104
                                                                                     MELVILLE NY 11747
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007353P001-1409A-265              002240P001-1409A-265                         001678P001-1409A-265       007981P001-1409A-265
JAZMINE T EYERMAN                 BRIANNA EZZO                                 BROOKE EZZO                RUBI A FABELA
22 COLES ROW                      24 MIDDLE ISLAND RD                          24 MIDDLE ISLAND DR        117 MOOREFIELD RD
MCKESS ROCKS PA 15136             MIDDLE ISLAND NY 11953-1205                  MIDDLE ISLAND NY 11953     MISSION TX 78572




037817P002-1409A-265              001668P001-1409A-265                         032029P001-1409A-265       035297P003-1409A-265
FABIANA CAMPBELL                  NESTOR I FABIANA                             FABIO DOZZINI              FABRIC SELECTION INC
A/K/A FABIANA CORRALES            7906 SUNSET TER                              608 5TH AVE # 1B           RESCH POLSTER AND BERGER LLP
8406 PINEY PT CT                  LEMON GROVE CA 91945                         VENICE CA 90291            MICHAEL BAUM
MANASSAS VA 20110                                                                                         1840 CENTURY PK EAST 17TH FL
                                                                                                          LOS ANGELES CA 90067



008106P001-1409A-265              037578P004-1409A-265                         032030P001-1409A-265       034155P001-1409A-265
KATELYN M FABRICATORE             FACEBOOK INC                                 FACEBOOK, INC              FACEBOOK, INC
11144 APT E SUNBURST LN           DAVID SEREPCA MCMAHON SEREPCA LLP            ACCOUNTS RECEIVABLE        ACCOUNTS RECEIVABLE
FREDERICKSBURG VA 22407           1900 S NORFOLK ST STE 350                    MARY RILEY                 15161 COLLECTIONS CTR DR
                                  SAN MATEO CA 94403                           15161 COLLECTIONS CTR DR   CHICAGO IL 60693
                                                                               CHICAGO IL 60693



007775P001-1409A-265              008001P001-1409A-265                         004155P001-1409A-265       008520P001-1409A-265
JESSICA FACILE                    CHEYANNE FAGAN                               QUINN N FAHEY              JASMINE FAILS
708 N MONTEREY CIR                2282 COUNTY ST 2956                          755 HERON DR               650 DAVIS DR
BOYNTON BEACH FL 33436            BLANCHARD OK 73010                           MANKATO MN 56001           MONROE OH 45050




031278P001-1409A-265              036498P001-1409A-265                         007291P001-1409A-265       034184P002-1409A-265
FAIR OAKS MALL                    FAIR OAKS MALL                               TIFFIANY R FAIRCLOTH       FAIRFAX CO OF VIRGINIA LLC
FAIRFAX CO OF VIRGINIA L          200 E LONG LAKE RD STE 300                   420 A HENRY STREER         ANDREW S CONWAY
200 E LONG LAKE RD                BLOOMFIELD HILLS MI 48304-2324               SUFFOLK VA 23434           THE TAUBMAN COMPANY
STE 300                                                                                                   200 E LONG LAKE RD
BLOOMFIELD HILLS MI 48304-2324                                                                            STE 300
                                                                                                          BLOOMFIELD HILLS MI 48304-2324


008623P001-1409A-265              001396P001-1409A-265                         002404P001-1409A-265       009413P001-1409A-265
HARLEY N FAIRWEATHER              KEANNA FAJEMIROKUN                           ALLISON R FALCO            TANYA M FALCON
4809 PRAIRIE ASTER DR             216 SOUTH BENEDICT AVE                       85 RIVERDALE AVE           21 VENTURA ST
GARLAND TX TX 75043               OAK RIDGE TN 37830-7313                      NEPTUNE CITY NJ 07753      SPRINGFIELD MA 01108




008643P001-1409A-265              003292P001-1409A-265                         033453P001-1409A-265       032031P001-1409A-265
ALLISON S FALCONE                 EMILY FALICA                                 LIANNA FALKENSTEIN         FALSE ALARM REDUCTION UNIT
44 LAUREL DR                      81 POPE TRAMMEL RD                           729 JONES ST               PO BOX 5489
HUDSON MA 01749                   SCOTTSVILLE KY 42164                         #204                       GAINESVILLE FL 32627-5489
                                                                               SAN FRANCISCO CA 94109
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032032P001-1409A-265           036836P001-1409A-265                   037283P001-1409A-265                   037283S001-1409A-265
FAMILY CARPET AND DRAPERIES    FAMILY CARPET AND DRAPERIES            FAMILY CARPET AND DRAPERIES INC        FAMILY CARPET AND DRAPERIES INC
FC AND D INC                   7111 UNIVERSITY AVE                    A CALIFORNIA CORP                      Attn: Ryan Stecklair
RYAN STECKLAIR                 LA MESA CA 91942                       LAW OFFICE OF WILLIAM P FENNELL APLC   7111 University Ave
7111 UNIVERSITY AVE                                                   401 WEST A ST                          La Mesa CA 91942
LA MESA CA 91942                                                      SUITE 1800
                                                                      SAN DIEGO CA 92101


033403P001-1409A-265           004476P001-1409A-265                   003865P001-1409A-265                   030706P001-1409A-265
FAMMA GROUP INC                JIE FANG                               MADISON H FANNIN                       FANTAS-EYES
VICKY ORILLAZA                 106 BRIGHT ST                          605 POWELL LN                          TERRY MELAMED
4510 LOMA VISTA AVE            SAN FRANCISCO CA 94132                 404                                    385 5TH AVE
VERNON CA 90058                                                       FLATWOODS KY 41139                     9TH FL
                                                                                                             NEW YORK NY 10016



036206P001-1409A-265           030956P001-1409A-265                   036207P001-1409A-265                   030957P001-1409A-265
FANTAS-EYES                    FANTASIA ACCESSORIES LTD               FANTASIA ACCESSORIES LTD               FANTASY FILES INC
385 5TH AVE 9TH FL             PATRICIA CUEVA                         31 WEST 34TH ST 5TH FL                 SHAWNA SCHLUE
NEW YORK NY 10016              31 WEST 34TH ST                        NEW YORK NY 10001                      557 JESSIE ST
                               5TH FL                                                                        SAN FERNANDO CA 91340
                               NEW YORK NY 10001



036208P001-1409A-265           001513P001-1409A-265                   001139P001-1409A-265                   035627P001-1409A-265
FANTASY FILES INC              SUZANNE FARABAUGH                      CHELSEA L FARABEE                      CHELSEA L FARABEE
557 JESSIE ST                  20060 VALHALLA SQUARE                  3154 WALDEN RAVINES                    3154 WALDEN RAVINES COLUMBUS
SAN FERNANDO CA 91340          ASHBURN VA 20147                       COLUMBUS OH 43221                      COLUMBUS OH 43221




002486P001-1409A-265           004450P001-1409A-265                   006890P001-1409A-265                   004506P001-1409A-265
BRIANNA FARIA                  ADRIANA FARIAS                         FARZANA Z FARIHA                       KEVIN L FARKAS
26 CHARTER DR                  40 ARCHIBALD AVE                       2244 ANTONIA LN                        215 LOS BANOS AVE
SOUTH RIVER NJ 08882           METHUEN MA 01844                       WARREN MI 48091                        WALNUT CREEK CA 94598




005346P001-1409A-265           004671P001-1409A-265                   009177P001-1409A-265                   005631P002-1409A-265
CIERA N FARLEY                 CHASIDY R FARR                         ALLISON V FARRALL                      KALAZIA A FARRARE
5161 RICE RD                   1145 PARADISE VISTA DR                 1904 CRACK WILLOW CT                   P O BOX 464
24                             HENDERSON NV 89002                     UPPER MARLBORO MD 20774                PRINCESS ANNE MD 21853-0464
ANTIOCH TN 37013




006421P001-1409A-265           005658P001-1409A-265                   030881P001-1409A-265                   036501P001-1409A-265
REGIN I FARRISH                CARLEY J FARROW                        FASHION ACCESSORY TESTING FUND         FASHION ACCESSORY TESTING FUND
5500 SAMPSON ST                828 LEWISBERRY RD                      1000 WILSHIRE BLVD STE 1500            3FL 2# BUILDING NO 1006 XIANGSHAN RD
HOUSTON TX 77004               LEWISBERRY PA 17339                    LOS ANGELES CA 90017-2457              YIWU CITY
                                                                                                             ZHEJIANG PROVINCE 322000
                                                                                                             CHINA
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036209P001-1409A-265              030958P003-1409A-265                       030959P001-1409A-265                    030960P001-1409A-265
FASHION AND PEOPLE INC            FASHION AND PEOPLE INC DBA TRAC            FASHION AVE SWEATER DBA IITS OUR TIME   FASHION DEBUT DBA DEBUT
DBA TRAC                          WILLIAM S KIM                              FASHION AVENUE KNITS INC                JOYCE CHO
4641 PACIFIC BLVD                 4641 PACIFIC BLVD                          DIANNE PATTERSON                        1015 S CROCKER ST
VERNON CA 90058                   VERNON CA 90058                            525 SEVENTH AVE                         Q14
                                                                             4TH FL                                  LOS ANGELES CA 90021
                                                                             NEW YORK NY 10018


036210P001-1409A-265              037579P001-1409A-265                       031279P001-1409A-265                    037386P001-1409A-265
FASHION DEBUT DBA DEBUT           FASHION OUTLETS II LLC                     FASHION PLACE LLC                       FASHION PLACE LLC
1015 S CROCKER STREET Q14         DUSTIN P BRANCH ESQ                        PO BOX 86                               AKA FASHION PLACE PEEK
LOS ANGELES CA 90021              BALLARD SPAHR LLP                          MINNEAPOLIS MN 55486-2780               BROOKFIELD PROPERTY REIT INC
                                  2029 CENTURY PK EAST STE 800                                                       350 N ORLEANS ST STE 300
                                  LOS ANGELES CA 90067                                                               CHICAGO IL 60654-1607



031280P002-1409A-265              030961P001-1409A-265                       030962P001-1409A-265                    036211P001-1409A-265
FASHION SQUARE MALL REALTY LLC    FASHION VITAMIN                            FASHION WILDCAT                         FASHION WILDCAT
NAMDAR REALTY GROUP LLC           2641 NEVIN AVE                             HEATHER KANG                            164 W JEFFERSON BLVD
JOSHUA S HACKMAN                  LOS ANGELES CA 90011                       164 W JEFFERSON BLVD                    LOS ANGELES CA 90007
150 GREAT NECK RD STE 304                                                    LOS ANGELES CA 90007
GREAT NECK NY 11021



003673P001-1409A-265              008969P001-1409A-265                       033304P001-1409A-265                    008080P001-1409A-265
ALEXYS FATOVIC                    TINAMARIE FATZIE                           TODD LEE FAULKNER                       BREYONNA FAWLING
32 DREXEL DR                      63 TERAPIN ST                              TODD FAULKNER                           120 DEER RIDGE DR
JACKSON NJ 08527                  MASTIC NY 11950                            1935 FRANKLIN ST #601                   LIZELLA GA 31052
                                                                             SAN FRANCISCO CA 94109




010034P001-1409A-265              031281P001-1409A-265                       036924P001-1409A-265                    036924S001-1409A-265
FAYETTEVILLE FIRE DEPT            FC WIREGRASS SPE LLC                       FC WIREGRASS SPE LLC                    FC WIREGRASS SPE LLC
433 HAY ST                        FOREST CITY COMMERCIAL GROUP I             QIC PROPERTIES US INC                   KELLEY DRYE AND WARREN LLP
FAYETTEVILLE NC 28301             50 PUBLIC SQUARE                           JOAN GLENN-KATZAKIS                     ROBERT L LEHANE
                                  STE 1410                                   600 SUPERIOR AVE EAST STE 1500          101 PARK AVE
                                  CLEVELAND OH 44113                         CLEVELAND OH 44114                      NEW YORK NY 10178



030707P001-1409A-265              007735P001-1409A-265                       030963P001-1409A-265                    000664P001-1409A-265
FEA MERCHANDISING INC             DIAMOND FEARS                              FEATHER 4 ARROW                         ALLAHNA A FEATHERSTONE
ROSIE BATES                       1121 UPTON AVE                             615 S EL CAMINO REAL                    120 WASHINGTON ST
502 S MAIN ST                     TOLEDO OH 43607                            SAN CLEMENTE CA 92672                   EAST ORANGE NJ 07017
CAPE MAY COURT HOU NJ 08210




032738P001-1409A-265              035013P001-1409A-265                       029840P001-1409A-265                    033291P001-1409A-265
FEDERAL REALITY INVESTMENT TRU    FEDERAL REALTY                             FEDERAL REALTY (LANDLORD)               FEDERAL REALTY INVESTMENT TRUS
ELLISBURG SHOPPING CENTER         STREET RETAIL INC                          STREET RETAIL INC                       1626 EAST JEFFERSON ST
LOCKBOX #9320                     FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST         ROCKVILLE MD 20852
PO BOX 8500                       1626 EAST JEFFERSON ST                     LEGAL DEPARTMENT
PHILADLEPHIA PA 19178-9320        ROCKVILLE MD 20852-4041                    1626 EAST JEFFERSON ST
                                                                             ROCKVILLE MD 20852-4041
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033291S001-1409A-265                      033291S002-1409A-265                      032739P001-1409A-265              034162P001-1409A-265
FEDERAL REALTY INVESTMENT TRUS            FEDERAL REALTY INVESTMENT TRUS            FEDERAL REALTY INVESTMENT TRUST   FEDERAL REALTY INVESTMENT TRUST
ELLISBURG SHOPPING CENTER                 MERCER MALL 500-1475                      MERCER MALL 500-1475              1626 EAST JEFFERSON ST
LOCKBOX #9320                             LOCKBOX # 9320                            LOCKBOX # 9320                    ROCKVILLE MD 20852
PO BOX 8500                               P.O. BOX 8500                             PO BOX 8500
PHILADLEPHIA PA 19178-9320                PHILADELPHIA PA 19178-9320                PHILADELPHIA PA 19178-9320



032973P001-1409A-265                      032973S001-1409A-265                      030775P001-1409A-265              033532P001-1409A-265
FEDERAL REALTY INVESTMNT TRUST            FEDERAL REALTY INVESTMNT TRUST            FEDEX                             FEDEX
ELLISBURG SHOPPING CENTER                 1626 E JEFFERSON ST                       PO BOX 660481                     PO BOX 7221
LOCKBOX #9320                             ROCKVILLE MD 20852                        DALLAS TX 75266-0481              PASADENA CA 91109-7321
PHILADELPHIA PA 19178




035341P002-1409A-265                      030776P001-1409A-265                      030777P001-1409A-265              034336P002-1409A-265
FEDEX CORPORATE SVCS INC/FEDEX EXPRESS    FEDEX ERS                                 FEDEX FREIGHT WEST, INC           FEED MEDIA INC
AS ASSIGNEE OF: FEDEX EXPRESS ET AL       PO BOX 371741                             DEPT LA                           RUBY VALDERRAMA
M FITZGERALD; M GAHAGAN                   PITTSBURGH PA 15250-7741                  PO BOX 21415                      845 MARKET ST STE 450
3965 AIRWAYS BLVD MODULE G 3RD FL                                                   PASADENA CA 91185-1415            SAN FRANCISCO CA 94103
MEMPHIS TN 38116-5017



032034P001-1409A-265                      036502P001-1409A-265                      034784P001-1409A-265              036864P001-1409A-265
FEEDFM                                    FEEDFM                                    FEIL                              FEIL
FEED MEDIA INC                            845 MARKET ST STE 450                     THE FEIL ORGANISATION             NORTH RIVERSIDE PARK ASSOCIATES
BILL DUBE                                 SAN FRANCISCO CA 94103                    370 7TH AVE                       GENERAL MANAGER
845 MARKET ST STE 450                                                               #618                              7501 WEST CERMAK RD
SAN FRANCISCO CA 94103                                                              NEW YORK NY 10001                 NORTH RIVERSIDE IL 60546



029841P001-1409A-265                      029841S001-1409A-265                      037642P001-1409A-265              003958P001-1409A-265
FEIL (LANDLORD)                           FEIL (LANDLORD)                           OLIVIA FEIRER                     OLIVIA M FEIRER
NORTH RIVERSIDE PARK ASSOCIATES           THE FIEL ORGANISATION                     3036 EAST WATERFORD AVENUE        3036 EAST WATERFORD AVE
GENERAL MANAGER                           370 7TH AVE 618                           SAINT FRANCIS WI 53235            SAINT FRANCIS WI 53235
7501 WEST CERMAK RD                       NEW YORK NY 10001                         UNITED STATES
NORTH RIVERSIDE IL 60546



006913P001-1409A-265                      035628P001-1409A-265                      007334P001-1409A-265              009206P001-1409A-265
KATELYN D FELCH                           TANYA FELDMAN-RATNER                      TANYA FELDMANRATNER               ELIZABETH R FELICIANO
14140 BROADWAY EXT                        6151 CENTER ST                            6151 CTR ST                       6028 61 ST CT E
533                                       207                                       207                               PALMETTO FL 34221
EDMOND OK 73013                           MENTOR OH 44060                           MENTOR OH 44060




006375P001-1409A-265                      003581P001-1409A-265                      033819P001-1409A-265              037627P001-1409A-265
ISAAC FELICIANO                           KATE A FELIX                              MARIA FELIX                       MARIA FELIX
18 DUNCAN AVE                             2420 FULLERTON AVE                        LAW OFFICE OF GARY BERKOVICH      LAW OFFICES OF GARY BERKOVICH
PROVIDENCE RI 02906                       MCALLEN TX 78504                          GARY BERKOVICH                    GARY BERKOVICH
                                                                                    14900 VENTURA BLVD # 220          14900 VENTURA BLVD 220
                                                                                    SHERMAN OAKS CA 91403             SHERMAN OAKS CA 91403
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005940P001-1409A-265          006055P001-1409A-265                 004745P001-1409A-265             030553P001-1409A-265
MAYRA A FELIX                 SARAH FELIX                          PATRIA M FELIZ                   PATRICIA FELIZ
42 HELMETTA RD                64 PARIS AVE                         31A MARBLE ST                    ADDRESS INTENTIONALLY OMITTED
JAMESBURG NJ 08831            WORCESTER MA 01603                   WORCESTER MA 01603




007706P001-1409A-265          009407P001-1409A-265                 005521P001-1409A-265             008876P001-1409A-265
MADISON FELLER                DESTINY A FELTNERWILLIAMS            KYREAL D FELTON                  TARA N FENNER
14668 BEAR CREEK RD           1505 HANCOCK DR APT D                201 S BELLAGIO DR                2740 BRECKENRIDGE LN
REDFIELD IA 50233             NORMAL IL 61761                      SAINT AUGUSTINE FL 32092         NAPERVILLE IL 60565




004711P001-1409A-265          001355P001-1409A-265                 005822P001-1409A-265             006165P001-1409A-265
ALIYAH FERDINAND              AMANDA I FERENC                      BRIANNA FERGUSON                 LAURYN FERGUSON
4612 SHAY TER                 3600 20TH ST                         5270 GLENCRAG WAY                3303 WICKHAM AVE
BUFORD GA 30519               APT 105                              TOLEDO OH 43615                  BRONX NY 10469
                              SAN FRANCISCO CA 94110




001189P001-1409A-265          008870P001-1409A-265                 008522P001-1409A-265             002633P001-1409A-265
SABLE A FERGUSON              SIOBHAN FERGUSON                     TEHYANA FERGUSON                 TORKORCHE FERGUSON
13428 SILVER HILL RD          1747 EDGE HILL RD                    95 VANTAGE RD                    15175 BEACON RIDGE DR
SUMERDUCK VA 22742            ABINGTON PA 19001                    HAMDEN CT 06514                  WOODBRIDGE VA 22191




006172P001-1409A-265          007344P001-1409A-265                 001384P001-1409A-265             009637P001-1409A-265
AJLA FERHATBEGOVIC            ISA Y FERNANDES                      JADE M FERNANDES                 ABIGAIL G FERNANDEZ
4301 SUNRIDGE DR APT E        89 PLEASANT ST                       264 LIBERTY ST                   5830 SOUTHCENTER BLVD
SAINT LOUIS MO 63125          NEW BEDFORD MA 02740                 2                                APT #B102
                                                                   PAWTUCKET RI 02860               TUKWILA WA 98188




006369P001-1409A-265          009622P001-1409A-265                 006461P001-1409A-265             003895P001-1409A-265
ALYSSA C FERNANDEZ            ANGELICA G FERNANDEZ                 CEEKAY FERNANDEZ                 EMELY FERNANDEZ
2120 RAMROD AVE               14301 NORTH INTERSTATE 35            1829 65TH ST SOUTHEAST           61-55 JCT BLVD APT 9M
APT 2327                      9202                                 AUBURN WA 98092                  QUEENS NY 11374
HENDERSON NV 89014            AUSTIN TX 78660




035629P001-1409A-265          003576P001-1409A-265                 006648P002-1409A-265             004073P001-1409A-265
EMELY FERNANDEZ               GLORIA L FERNANDEZ                   GRACIA M FERNANDEZ               HOPE G FERNANDEZ
61-55 JUNCTION BLVD APT 9M    740 S LYON ST                        4715 SW 18 PL APT 2422           56 ARMINGTON AVE
QUEENS NY 11374               552                                  GAINESVILLE FL 32607             PROVIDENCE RI 02908
                              SANTA ANA CA 92705
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000491P001-1409A-265             005921P001-1409A-265                    001179P001-1409A-265                 005516P001-1409A-265
JADIE M FERNANDEZ                JANEL C FERNANDEZ                       KATHIRIA M FERNANDEZ                 SIERRA M FERNANDEZ
3038 TAVISTOCK DR                5428 CHILDRESS DR                       2104 ONETA CT                        1601 JOHNSTOCKBAUER DR
DURHAM NC 27712                  GRAND PRAIRIE TX 75052                  2104 ONETA CT                        3207
                                                                         ORLANDO FL 32818                     VICTORIA TX 77901




008579P001-1409A-265             003096P001-1409A-265                    006712P001-1409A-265                 030504P001-1409A-265
SOLIDAD FERNANDEZ                SUSANA FERNANDEZ                        TIFFINY A FERNANDEZ                  MARIELITZA Y FERNANDEZAYALA
450 PK AVE                       926 CHESTNUT AVE                        1000 CHASTAIN RD                     ADDRESS INTENTIONALLY OMITTED
UNIT 708                         E                                       KENNESAW GA 30144
FOLEY AL 36535                   LONG BEACH CA 90813




033696P001-1409A-265             001778P001-1409A-265                    002611P001-1409A-265                 001034P001-1409A-265
PATRICK FERRARI                  KAYLN FERREIRA                          MADILYN FERREIRA                     MICHELLE D FERREIRA
619 FREDRICK ST                  92-605 WELO ST                          3046 LOCKPORT RD                     79 MIDDLEBORO AVE
APT 1                            KAPOLEI HI 96707-3746                   NIAGARA FALLS NY 14305               TAUNTON MA 02780
SAN FRANCISCO CA 94117




001498P001-1409A-265             005074P001-1409A-265                    005320P001-1409A-265                 006832P001-1409A-265
YESENIA FERREIRO                 AMY M FERRELL                           VERONICA E FERRELL                   ERIKA FERRIS
540 ASPEN RD                     5403 11TH AVE                           5901 SAMANTHA ST APT B               2401 SW 11TH ST
WEST PALM BEACH FL 33409         VIENNA WV 26105                         FAYETTEVILLE AR 72704                BATTLEGROUND WA 98604




030344P001-1409A-265             008205P001-1409A-265                    004650P001-1409A-265                 009278P001-1409A-265
GAIL M FERRISS                   SOFIA M FERRONE                         AUDREY A FETCHO                      JORDAN M FETES
ADDRESS INTENTIONALLY OMITTED    5552 GREENWILLOW CIR                    9329 S ST LOUIS AVE                  472 SWEET HOME RD
                                 WEST CHESTER OH 45069                   EVERGREEN PARK IL 60805              AMHERST NY 14226




034990P001-1409A-265             029842P001-1409A-265                    029842S001-1409A-265                 005096P001-1409A-265
FFO                              FFO (LANDLORD)                          FFO (LANDLORD)                       BRIANNA D FIAME
LVP ST AUGUSTINE OUTLETS LLC     LVP ST AUGUSTINE OUTLETS LLC            LVP ST AUGUSTINE OUTLETS LLC         921459 MAKAKILO DR
1985 CEDAR BRIDGE AVE            LEASE ADMINISTRATION                    GENERAL COUNSEL COMMERCIAL LEASING   KAPOLEI HI 96707
STE 1                            1985 CEDAR BRIDGE AVE STE 1             1985 CEDAR BRIDGE AVE STE 1
LAKEWOOD NJ 08701                LAKEWOOD NJ 08701                       LAKEWOOD NJ 08701



002392P001-1409A-265             004283P001-1409A-265                    003107P002-1409A-265                 003298P001-1409A-265
VALENTINA A FIASCHE              DANA FICHERA                            CATHERINE R FIELDER                  INDYHA FIELDER
2324 NORTH 76TH CT               40 CAPRI DR                             520 W GROS VENTRE ST                 56 WABASH ST
ELMWOOD PARK IL 60707            ROCHESTER NY 14624                      PURCELL OK 73080-6408                APT 2
                                                                                                              PITTSBURGH PA 15220
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007650P001-1409A-265                      009491P002-1409A-265                       006695P001-1409A-265             007896P001-1409A-265
TERRA A FIELDING                          ANNDREA R FIELDS                           EMERALD B FIELDS                 SARAH FIELDS
2800 S HIGHLAND MESA RD APT 3-            3105 TACOMA ST APT D                       50 WALTON GREEN WAY              3028 SW 89TH ST
FLAGSTAFF AZ 86001                        CHARLOTTE NC 28208-3600                    APT428                           APT I
                                                                                     KENNESAW GA 30144                OKLAHOMA CITY OK 73159




007899P001-1409A-265                      007221P001-1409A-265                       004285P001-1409A-265             030195P001-1409A-265
FRANCA FIGALLO                            SOFIA T FIGUEROA CHAVEZ                    ALEXIS R FIGUEROA                ALYSSA FIGUEROA
2948 MYRTLE OAK CIR                       712 WOODFIELD RD                           11313 W WILLOW LN                ADDRESS INTENTIONALLY OMITTED
DAVIE FL 33328                            WEST HEMPSTEAD NY 11552                    AVONDALE AZ 85392




009171P001-1409A-265                      005215P001-1409A-265                       000988P001-1409A-265             004919P001-1409A-265
AMANDA M FIGUEROA                         ANGELICA N FIGUEROA                        BERTHA H FIGUEROA                BREYLIS K FIGUEROA
115 GLENDALE ST                           3637 SNELL AVE                             1312 BONITA PL                   CALLE 20 N-35
1                                         #349                                       ONTARIO CA 91762                 RIO GRANDE EST
EVERETT MA 02149                          SAN JOSE CA 95136                                                           RIO GRANDE PR 00745




008620P001-1409A-265                      035630P001-1409A-265                       007378P001-1409A-265             008040P001-1409A-265
BRIANNA L FIGUEROA                        CHAVEZ SOFIA T FIGUEROA                    COURTNEY I FIGUEROA              DIANA C FIGUEROA
743 2ND ST                                712 WOODFIELD RD                           5433 EDEN LN #39                 709 CATHERINE ST
CATASAUQUA PA 18032                       WEST HEMPSTEAD NY 11552                    CONOVER NC 28613                 PERTH AMBOY NJ 08861




003775P001-1409A-265                      003832P001-1409A-265                       037018P001-1409A-265             004953P001-1409A-265
JOHNELLE FIGUEROA                         TAYLOR D FIJALKOWSKI                       ARIANNA FILES                    ARIANNA M FILES
1127 N VELIE CT                           281 ROCK HILL RD                           7035 MAYFIELD DR                 7035 MAYFIELD DR
VISALIA CA 93292                          MILLERSVILLE PA 17551                      PORT RICHEY FL 34687             PORT RICHEY FL 34668




004063P001-1409A-265                      036767P001-1409A-265                       001624P002-1409A-265             007683P001-1409A-265
ALEXA M FILIPE                            STEPHANIE M FILIPPI                        QUANESHA M FILLMORE              SIERRA M FILLMORE
268 NORTH HICKORY ST                      770 N SILVER SPRINGS BLVD                  123 WILLIS RD APT A              23104 RICHARDS RD
NORTH MASSAPEQUA NY 11758                 WICHITA KS 67212                           DOVER DE 19901-4037              1205
                                                                                                                      PRAIRIE VIEW TX 77445




032035P001-1409A-265                      035015P001-1409A-265                       029843P001-1409A-265             029843S001-1409A-265
FINANCE COMMISSIONER, CITY OF NEW YORK    FINARD PROPERTIES                          FINARD PROPERTIES (LANDLORD)     FINARD PROPERTIES (LANDLORD)
POST OFFICE BOX 2307                      LBCMT 2007-C3 DORSET STREET LLC            LBCMT 2007C3 DORSET STREET LLC   LBCMT 2007C3 DORSET STREET, LLC
PECK SLIP STATION                         LNR PARTNERS LLC                           KEYPOINT PARTNERS                LNR PARTNERS LLC
NEW YORK NY 10272                         1601 WASHINGTON AVE                        PROPERTY MANAGER                 DIRECTOR OF REAL ESTATE
                                          STE 700                                    155 DORSET ST                    1601 WASHINGTON AVE STE 700
                                          MIAMI BEACH FL 33139                       SOUTH BURLINGTON VT 05403        MIAMI BEACH FL 33139
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033626P001-1409A-265            032036P001-1409A-265                    030708P001-1409A-265             036212P001-1409A-265
FINEAS AND CLOVER LLC           FINELINE TECHNOLOGIES                   FINESSE NOVELTY CORP             FINESSE NOVELTY CORP
335 W 31ST ST                   PO BOX 934219                           SCOTT DAMAST                     30 COMMERCIAL CT
STE A                           ATLANTA GA 31193-4219                   30 COMMERCIAL CT                 PLAINVIEW NY 11803
LOS ANGELES CA 90007                                                    PLAINVIEW NY 11803




007399P001-1409A-265            003933P001-1409A-265                    000563P001-1409A-265             003677P001-1409A-265
MAKENNA L FINK                  AZARIA FINLEY                           INDONEIZHANE L FINLEY            KATHRYN A FINLEY
902 RUSSLLETON RD               40893 HIGHPOINTE DR                     802 E JACKSON DR APT411          2172 LAKE DR
CHESWICK PA 15024               CLINTON TOWWNSHIP MI 48038              411                              ARNOLD MO 63010
                                                                        FLAGSTAFF AZ 86001




007858P001-1409A-265            003228P001-1409A-265                    009979P001-1409A-265             036503P001-1409A-265
LACEY E FINLEY                  SHERESA FINNEY                          FIRE CODE ENFORCEMENT            FIRE KING COMMERCIAL
150 SOULES CIR                  1712 JANUARY DR APT 203                 MONTGOMERY COUNTY                FKI SECURITY GROUP LLC
EDDY TX 76524                   SILVER SPRING MD 20904                  255 ROCKVILLE PIKE 2ND FL        2789 SOLUTION CTR
                                                                        ROCKVILLE MD 20850-2395          CHICAGO IL 60677-2007




032037P001-1409A-265            010042P001-1409A-265                    037869P002-1409A-265             032038P001-1409A-265
FIRE KING COMMERCIAL SVC        FIRE PREVENTION BUREAU                  FIREKING COMMERCIAL              FIREMASTER
FKI SECURITY GROUP LLC          47 BROAD ST                             FIREKING SECURITY GROUP LLC      MASTER PROTECTION CORP
2789 SOLUTION CTR               EATONTOWN NJ 07724                      101 SECURITY PKWY                DEPT 1019 PO BOX 121019
CHICAGO IL 60677-2007                                                   NEW ALABNY IN 47130              DALLAS TX 75312-1019




032039P001-1409A-265            035107P001-1409A-265                    031282P001-1409A-265             033505P001-1409A-265
FIREOWLS CORP                   FIREOWLS CORP                           FIREWHEEL TOWN CENTER            FIRST CAPITAL
HENRY CHAN                      16755 VON KARMAN AVE STE 200            SIMON PROPERTY GROUP (TEXAS)LP   FCC LLC DBA FIRST CAPITAL
16755 VON KARMAN AVE            IRVINE CA 92606                         FIREWHEEL TOWN CTR               PO BOX 643382
STE 200                                                                 PO BOX 775750                    CINCINNATI OH 45264-3382
IRVINE CA 92606                                                         CHICAGO IL 60677-5750



037356P001-1409A-265            031283P002-1409A-265                    030146P001-1409A-265             033487P001-1409A-265
FIRST COLONY MALL LLC           FIRST COLONY MALL, LLC                  FIRST INSURANCE FUNDING          FIRST UNUM LIFE INSURANCE CO
BROOKFIELD PROPERTY REIT INC    GGP/HOMART II LLC                       COLBY ROSS                       PO BOX 100171
JULIE M BOWDEN                  KATHY HAMMAN / AMY KUO                  PO BOX 7000                      COLUMBIA SC 29202-3172
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                CAROL STREAM IL 60197-7000
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607



032974P001-1409A-265            032974S001-1409A-265                    009383P001-1409A-265             030861P001-1409A-265
FIRSTENERGY SOLUTIONS CORP      FIRSTENERGY SOLUTIONS CORP              KENNEDY FISCHER                  FISH AND RICHARDSON PC
PO BOX 3622                     341 WHITE POND DR                       3209 LANCASTER ST                PO BOX 3295
AKRON OH 44309                  BUILDING B3                             MIDLAND MI 48642                 BOSTON MA 02241-3295
                                AKRON OH 44320
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002534P001-1409A-265                009216P001-1409A-265                            005141P001-1409A-265                004355P001-1409A-265
CAPRICE FISHER                      DESTINY C FISHER                                KAYLYN FISHER                       NAVA V FISHER
424 HOLTEN DR                       1308 WATERS EDGE DR                             548 CENTRAL CT NORTH                3437 VLG MEADOW DR
BLOOMINGTON IL 61701                NEWARK DE 19702                                 INDIANAPOLIS IN 46205               JONESBORO AR 72401




033392P001-1409A-265                002038P001-1409A-265                            001495P001-1409A-265                003656P001-1409A-265
FIT FOR COMMERCE LLC                KAYLA R FITCH                                   MARTHA N FITTS                      SHANTEL L FITZGERALD
JENNIFER GILBERT                    1216 ALBERT ST                                  1327 3RD ST                         2218 B WAYNE AVE
40 HIGHLAND AVE                     RACINE WI 53404                                 GULFPORT MS 39501-2234              CHARLOTTESVILLE VA 22901
SHORT HILLS NJ 07078




037915P002-1409A-265                001391P001-1409A-265                            036504P001-1409A-265                032040P001-1409A-265
RHIA FITZPATRICK                    MERCEDES C FITZPATRICK                          FIVE9 INC                           FIVE9, INC
53 GAMLIN DR                        12751 RUTLAND ST                                4000 EXECUTIVE PKWY STE 400         WENDY HECHT
FAIRVIEW HEIGHTS IL 62208           DETROIT MI 48227                                SAN RAMON CA 94583                  4000 EXECUTIVE PKWY
                                                                                                                        STE 400
                                                                                                                        SAN RAMON CA 94583



006024P001-1409A-265                037911P001-1409A-265                            010276P002-1409A-265                034701P001-1409A-265
ELENI FKIARAS                       FL- ALACHUA COUNTY TAX COLLECTOR                FL- BREVARD COUNTY TAX COLLECTOR    FL- BROWARD COUNTY TAX COLLECTOR
7172 MCKEAN CT                      JOHN POWER                                      A/K/A LISA CULLEN CFC               RECORDS TAXES & TREASURY
SAN JOSE CA 95120                   5830 NW 34TH BLVD                               PO BOX 2500                         ATTN: BANKRUPTCY SECTION
                                    GAINESVILLE FL 32653                            TITUSVILLE FL 32781-2500            115 S ANDREWS AVE A100
                                                                                                                        FT LAUDERDALE FL 33301



037838P002-1409A-265                035403P002-1409A-265                            037852P001-1409A-265                037725P002-1409A-265
FL- CITY OF DAYTONA BEACH           FL- CITY OF OCALA                               FL- CITY OF WEST PALM BEACH         FL- DEPT OF REVENUE
ROBERT JAGGER ESQ                   STEPHANIE MACARAGES                             CITY ATTORNEY'S OFFICE              FREDERICK F RUDZIK ESQ
301 S RIDGEWOOD AVE                 201 SE 3RD ST                                   PO BOX 3366                         PO BOX 6668
DAYTONA BEACH FL 32114              OCALA FL 34471                                  WEST PALM BEACH FL 33402            TALLAHASSEE FL 32314-6668




037725S001-1409A-265                010236P003-1409A-265                            010406P002-1409A-265                010406S001-1409A-265
FL- DEPT OF REVENUE                 FL- DORIS MALOY LEON COUNTY TAX COLLECTOR       FL- ESCAMBIA COUNTY TAX COLLECTOR   FL- ESCAMBIA COUNTY TAX COLLECTOR
TERESA BEASLEY                      KANISECIA STANLEY                               SARAH S WALTON                      SCOTT LUNSFORD
PO BOX 8045                         PO BOX 1835                                     25 W CEDAR ST STE 550               PO BOX 1312
TALLAHASSEE FL 32314-8045           TALLAHASSEE FL 32302                            PENSACOLA FL 32502                  PENSACOLA FL 32591




035207P001-1409A-265                009947P002-1409A-265                            010500P002-1409A-265                037078P003-1409A-265
FL- MANATEE COUNTY TAX COLLECTOR    FL- OKALOOSA COUNTY TAX COLLECTOR               FL- PASCO COUNTY TAX COLLECTOR      FL- PINELLAS COUNTY TAX COLLECTOR
KEN BURTON JR                       SAMANTHA TERRELL                                MIKE FASANO                         ROBIN FERGUSON
1001 3RD AVE W STE 240              1250 N ELGIN PKWY STE 101                       PO BOX 276                          POST OFFICE BOX 6340
BRADENTON FL 34205                  SHALIMAR FL 32579                               DADE CITY FL 33526-0276             CLEARWATER FL 33758-6340
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037213P002-1409A-265                             037711P002-1409A-265                         009848P005-1409A-265               030191P001-1409A-265
FL- SCOTT RANDOLPH ORANGE COUNTY TAX COLLECTO    FL- SEMINOLE COUNTY TAX COLLECTOR            FL-SARASOTA COUNTY TAX COLLECTOR   ALEXIS B FLACK
ORANGE COUNTY TAX COLLECTOR                      JOEL M GREENBERG                             FERRIS                             ADDRESS INTENTIONALLY OMITTED
PO BOX 545100                                    PO BOX 630                                   101 S WASHINGTON BLVD
ORLANDO FL 32854                                 SANFORD FL 32772                             SARASOTA FL 34236




001861P001-1409A-265                             001970P001-1409A-265                         008635P001-1409A-265               031284P001-1409A-265
CYNTHIA FLAIG                                    THOMAS FLANAGAN                              SOPHIA V FLANIGAN                  FLATIRON PROPERTY HOLDING LLC
1408 SOUTHCROSS DR W                             1 RACE PL                                    151 S FERN                         MACERICH HHF CENTERS LLC
BURNSVILLE MN 55306-6188                         OAKDALE NY 11769-1705                        WICHITA KS 67213                   401 WILSHIRE BLVD STE 700
                                                                                                                                 SANTA MONICA CA 90401




037732P001-1409A-265                             006782P001-1409A-265                         002231P001-1409A-265               009092P001-1409A-265
FLATIRON PROPERTY HOLDING LLC                    AMY FLEEGER                                  RAFFINEE R FLEMMING                DAIJA C FLETCHER
BALLARD SPAHR LLP                                1356 STEPHENS RD                             1115 DAVENPORT BRIDGE LN           SPINDLE TOP WAY
DUSTIN P BRANCH                                  VIRGINIA BEACH VA 23454                      APT 312                            326
2029 CENTURY PARK EAST STE 800                                                                BRANDON FL 33511                   STOCKBRIDGE GA 30281
LOS ANGELES CA 90067-2029



030341P001-1409A-265                             035631P001-1409A-265                         007841P001-1409A-265               003405P001-1409A-265
GABBY FLETCHER                                   KEENA P FLETCHER                             SHAKEIRRA A FLETCHER               VANESSA FLETESFREGOSO
ADDRESS INTENTIONALLY OMITTED                    214 MAPLE AVE                                8900 HALL N BARNES LN              3116 W MITCHELL ST
                                                 UNCASVILLE CT 06382                          TALLAHASSEE FL 32317               MILWAUKEE WI 53215




009416P001-1409A-265                             035632P001-1409A-265                         006264P001-1409A-265               007427P001-1409A-265
DEJA FLEURY                                      DELANEY FLIEGEL                              PATRICE S FLIGHT                   BRIAUNNA S FLINT
23304D KOEHLER DR                                4 ASHBERRY ST                                2 DEERHILL LN                      9620 SALEM
MORGANTOWN WV 26508                              PLYMOUTH MA 02360                            GREENHILLS OH 45218                REDFORD MI 48239




005422P001-1409A-265                             003897P001-1409A-265                         035633P001-1409A-265               032975P001-1409A-265
TENNYSON A FLINT                                 KENNA M FLOLO                                KENNA M FLOLO                      FLOOD BROTHERS DISP RECY SVCS
14193 WATERWAY BLVD                              1335 POHL RD APT #6                          434 NORTH 6TH ST                   PO BOX 4560
FISHERS IN 46040                                 MANKATO MN 56001                             MANKATO MN 56001                   CAROL STREAM IL 60197




032975S001-1409A-265                             032041P001-1409A-265                         034479P001-1409A-265               031285P001-1409A-265
FLOOD BROTHERS DISP RECY SVCS                    FLORENCE COUNTY TREASURER                    FLORENCE HOLDING LLC               FLORENCE MALL LLC
17 W 609 14TH ST                                 PO BOX 100501                                PO BOX 860080                      FLORENCE HOLDING LLC
OAKBROOK TERRACE IL 60181                        FLORENCE SC 29502-0501                       MINNEAPOLIS MN 55486-0080          PO BOX 860080
                                                                                                                                 MINNEAPOLIS MN 55486-0080
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036505P001-1409A-265         037517P001-1409A-265                    032976P001-1409A-265          032976S001-1409A-265
FLORENCE MALL LLC            FLORENCE MALL LLC                       FLORENCE UTILITIES            FLORENCE UTILITIES
POBOX 860080                 BROOKFIELD PROPERTY REIT INC            PO BOX 877                    110 WEST COLLEGE ST
MINNEAPOLIS MN 55486-0080    JULIE M BOWDEN                          FLORENCE AL 35631             FLORENCE AL 35630
                             350 N ORLEANS ST STE 300
                             CHICAGO IL 60654-1607



033203P001-1409A-265         035634P001-1409A-265                    001053P001-1409A-265          005832P001-1409A-265
DIANA FLORENCIO MARTINEZ     MARTINEZ DIANA FLORENCIO                ALEJANDRO FLORES              ALYSSA N FLORES
3126 OLD GATE RD             3126 OLD GATE RD                        1454 MELROSE AVE              5702 E CHRISTINE AVE
MADISON WI 53704             MADISON WI 53704                        STE 1 #174                    FRESNO CA 93727
                                                                     CHULA VISTA CA 91911




009453P001-1409A-265         004088P001-1409A-265                    037181P001-1409A-265          001767P001-1409A-265
ANA K FLORES                 ANA M FLORES                            ANA MARIA FLORES              EMIRITH A FLORES
24423 SPENCER BLVD           227 CYPRESS DR APT B                    ANA MARIA FLORES              2323 MONROE ST
#2                           SAN YSIDRO CA 92173                     227 CYPRESS DR APT B          BEAUMONT TX 77703-1511
MAGNOLIA TX 77355-2327                                               SAN YSIDRO CA 92173




002142P001-1409A-265         005299P001-1409A-265                    006510P001-1409A-265          000785P001-1409A-265
GABRIELA N FLORES            GUADALUPE FLORES                        ISABEL FLORES                 LORENA FLORES
1362 EAST 70TH ST            19926 CRESTED HILL LN                   609 JAMES AVE                 11618 MONTERRA DR
LOS ANGELES CA 90001         CYPRESS TX 77433                        SPRINGDALE AR 72764           FONTANA CA 92337




004085P001-1409A-265         003835P001-1409A-265                    033303P001-1409A-265          004599P001-1409A-265
MARIAH G FLORES              MARTA FLORES                            MELANIE FLORES                NINA T FLORES
15165 N 66TH LN              3516 W 65TH ST                          1902 PINE CT                  335 ANTIOCH CIRCLE WEST APT 5
GLENDALE AZ 85306            CHICAGO IL 60629                        DALY CITY CA 94014            APT 5
                                                                                                   TERRE HAUTE IN 47803




006929P001-1409A-265         001127P001-1409A-265                    007097P001-1409A-265          001773P001-1409A-265
QUANYIN FLORES               RENEA J FLORES                          SABRINA N FLORES              STEPHANIE FLORES
1407 HILLYER ST              2124 WILLIS RD                          8300 DELLA RD NE              12721 MATTESON AVE
SAN MARCOS TX 78666          EL CAJON CA 92020                       ALBUQUERQUE NM 87109          APT 5
                                                                                                   LOS ANGELES CA 90066-4217




002808P001-1409A-265         001318P001-1409A-265                    029622P001-1409A-265          004502P001-1409A-265
TANIA FLORES                 TAURINO FLORES                          YANES FLORES                  YESENIA J FLORES
402 MCCLURE AV               915 EAST H ST                           4444 E BENSON HWY #248        2073 JOHNSON ST
ELGIN IL 60123               ONTARIO CA 91764                        TUCSON AZ 85706               BROWNSVILLE TX 78521
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007053P001-1409A-265                        000197P001-1409A-265                           000313P001-1409A-265          032042P001-1409A-265
YULIANA L FLORES                            FLORIDA AGENCY FOR WORKFORCE INNOVATION        FLORIDA ATTORNEY GENERAL      FLORIDA DEPT OF AGRICULTURE, CONSUMER SVC
36 PARADISE VLY N                           DIRECTOR                                       PAM BONDI                     PO BOX 6720
CARSON CA 90745                             THE CALDWELL BLDG                              THE CAPITOL                   TALLAHASSEE FL 32314-6720
                                            107 EAST MADISON ST STE 100                    PL-01
                                            TALLAHASSEE FL 32399                           TALLAHASSEE FL 32399-1050



000034P001-1409A-265                        009745P001-1409A-265                           009801P001-1409A-265          009964P001-1409A-265
FLORIDA DEPT OF ENVIRONMENTAL PROTECTION    FLORIDA DEPT OF REVENUE                        FLORIDA DEPT OF REVENUE       FLORIDA DEPT OF REVENUE
3900 COMMONWEALTH BLVD                      5050 W TENNESSEE ST                            PO BOX 6440                   LOS ANGELES SVC CENTER
MS 49                                       TALLAHASSEE FL 32399-0135                      TALLAHASSEE FL 32314-6440     2390 ORANGEWOOD AVE STE 325
TALLAHASSEE FL 32399                                                                                                     ANAHEIM CA 92806




010054P001-1409A-265                        010357P001-1409A-265                           034391P001-1409A-265          032977P001-1409A-265
FLORIDA DEPT OF REVENUE                     FLORIDA DEPT OF STATE                          FLORIDA MALL ASSOCIATES LTD   FLORIDA POWER AND LIGHT CO
5050 WTENNESSEE STBLDGK                     DIVISION OF CORPORATIONS                       PO BOX 406360                 GENERAL MAIL FACILITY
TALLAHASSEE FL 32399-0135                   PO BOX 6198                                    ATLANTA GA 30384-6360         MIAMI FL 33188
                                            TALLAHASSEE FL 32314




000419P001-1409A-265                        004853P001-1409A-265                           004359P001-1409A-265          007136P001-1409A-265
FLORIDA STATE                               SYDNEY R FLOWE                                 CAMI J FLOWERS                DASIA T FLOWERS
UNCLAIMED PROPERTY DIVISION                 4020 GAELIC LAANE                              11925 HWY 286                 7104 PASO ROBLES BLVD
200 EAST GAINES ST                          P                                              KEVIL KY 42053                FORT PIERCE FL 34951
TALLAHASSEE FL 32399                        GLEN ALLEN VA 23060




002254P001-1409A-265                        002955P001-1409A-265                           035635P001-1409A-265          003489P001-1409A-265
ZARI FLOWERS                                ATTALLAH FLUCAS                                ATTALLAH FLUCAS               BRITTNEY FLUCAS
108 DREW LN APT9                            2000 BRIGHTSIDE DR                             2000 BRIGHTSIDE DR            134 CHAPELTOWNE CIR
WAUKEGAN IL 60085                           APT 1111                                       APT 922                       NOTTINGHAM MD 21236
                                            BATON ROUGE LA 70820                           BATON ROUGE LA 70820




033321P001-1409A-265                        030299P001-1409A-265                           009403P001-1409A-265          036850P001-1409A-265
FLUID INC                                   DANIELLE FLUSS                                 AYANNA FLYE                   AUSTIN FLYNN
ANNE SOPHIE BREUNING                        ADDRESS INTENTIONALLY OMITTED                  3110 CANDLEWOOD DR            OCTAGON CREDIT
222 SUTTER ST 8TH FL                                                                       APTD                          250 PK AVE 15TH FLOOR
SAN FRANCISCO CA 94108                                                                     ATLANTA GA 30344              NEW YORK NY 10177




002002P001-1409A-265                        005809P001-1409A-265                           006401P001-1409A-265          000467P001-1409A-265
DANIELLE N FLYNN                            EMMA M FLYNN                                   SYMONE V FLYNN                KAREN I FODOR
6759 BEDFORD RD                             5205 HAHNS PEAK DR                             7227 SOUTH EBERHART           939 TEATRO CIR
REX GA 30273-2034                           101                                            2                             EL CAJON CA 92021-5183
                                            LOVELAND CO 80538                              CHICAGO IL 60619
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002308P001-1409A-265        000740P001-1409A-265                  030964P001-1409A-265            000831P001-1409A-265
MICHE S FOGGLE              VANESSA FOLKES                        FOND OF DISTRIBUTION USA        SHALONA S FONG
5409 OLD HANDLEY RD         1856 WARTON AVE SE                    MANDY LADIN                     4949 OAKDALE RD
FORT WORTH TX 76112         PALM BAY FL 32909                     PO BOX 4089                     APT 532
                                                                  MAMMOTH LAKES CA 93546          SMYRNA GA 30080




000507P001-1409A-265        008053P001-1409A-265                  007730P001-1409A-265            005625P001-1409A-265
SEMIRA T FONKENG            TRACY N FONMEDIG                      JOCELYN FONTANILLA              JADE A FONTES
4306 BARTON RD              8106 KYLEMORE WAY                     1442 GAROLD LN                  17 ALPHA RD
LANSING MI 48917            ELLICOTT CITY MD 21043                MANTECA CA 95337                DORCHESTER MA 02124




007489P001-1409A-265        001323P002-1409A-265                  004006P001-1409A-265            032740P001-1409A-265
NEDWENDY FONTILUS           ANGELIA FONVILLE                      KARLI M FORBES                  FORD CITY
8915 214 ST                 8418 YEARLING LN                      4954 NW FOXWORTH AVE            SFI FORD CITY-CHICAGO LLC
QUEENS VILLAGE NY 11427     WILMINGTON NC 28411                   PORT SAINT LUCIE FL 34983       LOCKBOX #26488
                                                                                                  26488 NETWORK PL
                                                                                                  CHICAGO IL 60673-1264



036506P001-1409A-265        002581P001-1409A-265                  007076P001-1409A-265            001820P001-1409A-265
FORD CITY                   AUTUMN A FORD                         CAROLINE S FORD                 CHAMPAIGNE FORD
LOCKBOX #26488              35584 MOSS LN                         2900 PURCHASE ST                7617 BROADVIEW DR
26488 NETWORK PL            LAUREL DE 19956                       PURCHASE NY 10577               INDIANAPOLIS IN 46227-7948
CHICAGO IL 60673-1264




035636P001-1409A-265        035637P001-1409A-265                  007946P001-1409A-265            037451P001-1409A-265
CHAMPAIGNE FORD             DORYANN D FORD                        JADA FORD                       JOURNEY FORD
6001 OLD HICKORY BLVD       2074 BRITTANY RD                      820 THIERIOT AVE                JOURNEY FORD
370                         COLUMBUS OH 43229                     5K                              2473 S HIGLEY RD
HERMITAGE TN 37076                                                BRONX NY 10473                  #104-404
                                                                                                  GILBERT AZ 85295



002442P003-1409A-265        005480P001-1409A-265                  004882P001-1409A-265            002288P001-1409A-265
JOURNEY A FORD              KAESHELLE E FORD                      KORIN M FORD                    TYRE FORD
2473 S HIGLEY RD APT 404    16502 STRATFORD ESTATES DR            10438 SUGARBERRY ST             6723 RAYMOND AVE
GILBERT AZ 85295            UPPER MARLBORO MD 20772               WALDORF MD 20603                OMAHA NE 68104




004667P001-1409A-265        037084P001-1409A-265                  035638P001-1409A-265            034290P001-1409A-265
KRISTEN N FOREHAND          TIFFANY FOREHAND                      TIFFANY N FOREHAND              FOREST CITY COMMERCIAL GROUP INC
291 UNION VLY RD            1131 35TH ST                          1131 35TH ST                    50 PUBLIC SQUARE
MAHOPAC NY 10541            COLUMBUS GA 31904                     COLUMBUS GA 31904               STE 1410
                                                                                                  CLEVELAND OH 44113
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033627P001-1409A-265                031286P002-1409A-265                       032043P001-1409A-265         036507P001-1409A-265
FOREST CITY REALTY TRUST            FOREST HARLEM PROPERTIES LP                FORMCENTER                   FORMCENTER
50 PUBLIC SQUARE                    THE HARLEM IRVING COMPANIES INC            MINES PRESS INC              231 CROTON AVE
STE 700                             GREGORY E FIX                              231 CROTON AVE               CORTLANDT MANOR NY 10567
CLEVELAND OH 44113                  4104 N HARLEM AVE                          CORTLANDT MANOR NY 10567
                                    NORRIDGE IL 60706



000575P001-1409A-265                033475P001-1409A-265                       002072P001-1409A-265         031287P001-1409A-265
SERENA A FORREST                    FORRESTER RESEARCH INC                     CORRY S FORSELL              FORT SMITH MALL LLC
141 GARFIELD AVE                    DEPT CH10334                               18 WRIGHT PKWY NW            OREC FORT SMITH MALL MEMBER LL
LONG BRANCH NJ 07740                PALATINE IL 60055-0334                     D                            124 JOHNSON FERRY RD NE
                                                                               FORT WALTON BEACH FL 32548   ATLANTA GA 30328




036508P003-1409A-265                036508S001-1409A-265                       007876P001-1409A-265         030709P001-1409A-265
FORT SMITH MALL LLC                 FORT SMITH MALL LLC                        MICHAELA FORTE               FORTUNE DYNAMIC INC
GREGORY GREENFIELD AND ASSOC LTD    KELLEY DRYE AND WARREN LLP                 113 VLG PL                   TRACY MAN
AMY KUEHN                           ROBERT L LEHANE                            MOUNT HOLLY NC 28120         21923 FERRERO PKWY
2870 PEACHTREE RD NW                101 PARK AVE                                                            CITY OF INDUSTRY CA 91789
ATLANTA GA 30305-2918               NEW YORK NY 10178



036213P001-1409A-265                032044P001-1409A-265                       008137P001-1409A-265         007051P001-1409A-265
FORTUNE DYNAMIC INC                 FORWARD ARTISTS LLC                        TRACY L FOSKEY               SAVANNA FOSS
21923 FERRERO PKWY                  7080 HOLLYWOOD BLVD                        4048 45TH AVE N              676 S 9TH ST
CITY OF INDUSTRY CA 91789           STE 902                                    ST PETERSBURG FL 33714       APT 4
                                    LOS ANGELES CA 90028                                                    SAN JOSE CA 95112




007552P001-1409A-265                006030P001-1409A-265                       005379P001-1409A-265         000644P002-1409A-265
CHLOE K FOSTER                      CHRISTA C FOSTER                           INDIA S FOSTER               KAYLA FOSTER
18 PRIMROSE LN                      3328 W WOODHILL LN APT B                   307 CARNAHAN DR              3 LOST COVE
MARSHFIELD MA 02050                 PEORIA IL 61604                            SPARTANBURG SC SC 29306      NEWPORT NEWS VA 23606




001012P001-1409A-265                035639P001-1409A-265                       006119P001-1409A-265         005879P001-1409A-265
LESHA FOSTER                        LESHA FOSTER                               RACHEL M FOSTER              STACI M FOSTER
82 TRAILWOOD RD                     4 WILLOW CREEK LN APT 4209                 158 POWHATAN ST              2959 ARENOSO
VIOLA AR 72583-9600                 JONESBORO AR 72404                         HAVRE DE GRACE MD 21078      GRAND PRAIRIE TX 75054




009722P001-1409A-265                000687P001-1409A-265                       032045P001-1409A-265         036509P001-1409A-265
TRISTEN FOSTER                      JASMINE FOULTZ                             FOUND DESIGN STUDIO          FOUND DESIGN STUDIO
1924 BLACKFOOT TRL                  643 CATHERINE ST                           SOPHIE DAKIN                 UNIT 17 MARLOW WORKSHOPS CALVERT AVE
MESQUITE TX 75149                   APT 2                                      UNIT 17 MARLOW WORKSHOPS     LONDON E2 7JN
                                    SYRACUSE NY 13203                          CALVERT AVE                  UNITED KINGDOM
                                                                               LONDON E2 7JN
                                                                               UNITED KINGDOM
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030965P001-1409A-265                035231P002-1409A-265                      036214P001-1409A-265                     034495P001-1409A-265
FOUR HOUSE SOURCING PVT LTD         FOUR HOUSE SOURCING PVT LTD               FOUR HOUSE SOURCING PVT LTD              FOUR STATE PROPERTIES LLC
ILIKA BISHT                         ILIKA BISHT                               E-101 PLOT NO-12 SECTOR-22 UDYOG VIHAR   SDS 12-2891
A-54 SECTOR-64                      E 101 UDYOG VIHAR APARTMENTS              CGHS APARTMENTS PHASE-1 DWARKA           PO BOX 86
NOIDA (U.P) PIN CODE 20             PLOT NO 12 SECTOR 22 DWARKA               NEW DELHI DL 110078                      MINNEAPOLIS MN 55486-2891
INDIA                               NEW DELHI DELHI 110077                    INDIA
                                    INDIA


005388P001-1409A-265                035640P001-1409A-265                      005793P001-1409A-265                     032978P001-1409A-265
ALANA L FOWLER                      CULBERSON SHATYRA D FOWLER                NAZALENA V FOWLER                        FOX METRO
250 GEORGIA QUEEN DR                3030 SUMTER AVE N APT 211                 5880 SAKHALIN AVE                        FOX METRO WTR RECLAMATION DIST
WOODRUFF SC 29388                   211                                       LAS VEGAS NV 89139                       PO BOX 160
                                    CRYSTAL MN 55427                                                                   AURORA IL 60507




032978S001-1409A-265                032979P001-1409A-265                      037486P001-1409A-265                     031288P001-1409A-265
FOX METRO                           FOX METRO WTR RECLAMATION DIST            FOX RIVER SHOPPING CENTER LLC            FOX RIVER SHOPPING CENTER, LLC
682 STATE RT 31                     682 STATE RT 31                           AKA FOX RIVER MALL                       GGP LIMITED PARTNERSHIP
OSWEGO IL 60543                     OSWEGO IL 60543                           BROOKFIELD PROPERTY REIT INC             SDS121360
                                                                              350 N ORLEANS ST STE 300                 PO BOX 86
                                                                              CHICAGO IL 60654-1607                    MINNEAPOLIS MN 55486-1360



031289P001-1409A-265                031290P001-1409A-265                      036510P001-1409A-265                     037580P001-1409A-265
FOX RUN JOINT VENTURE               FOX VALLEY MALL LLC                       FOX VALLEY MALL LLC                      FOX VALLEY MALL LLC
FOX RUN MALL LLC                    US CENTENNIAL MALLS JV LLC                28769 NETWORK PL                         DUSTIN P BRANCH ESQ
PO BOX LBX 32035                    28769 NETWORK PL                          CHICAGO IL 60673-1769                    BALLARD SPAHR LLP
NEW YORK NY 10087-2035              CHICAGO IL 60673-1769                                                              2029 CENTURY PK EAST STE 800
                                                                                                                       LOS ANGELES CA 90067



006515P001-1409A-265                004093P001-1409A-265                      004037P001-1409A-265                     035641P001-1409A-265
AMBER J FOX                         CAROL M FOX                               CRYSTAL A FOX                            CRYSTAL A FOX
355 E PRIMM BLVD                    1611 S ORANGE PL                          6717 FOX MEADOW RD                       1417 WINCHESTER TRL SE
5359                                7                                         BALTIMORE MD 21207                       SMYRNA GA 30339
PRIMM NV 89019                      ESCONDIDO CA 92025




030434P001-1409A-265                003681P001-1409A-265                      001036P001-1409A-265                     008140P001-1409A-265
KATHERINE FOX                       KATHERINE M FOX                           LAUREN D FOX                             SYDNEY A FOX
ADDRESS INTENTIONALLY OMITTED       8261 YORKRIDGE RD                         2060 FERRIS RD                           9 WESTFIELD DR
                                    GUILFORD IN 47022                         COLUMBUS OH 43224                        BARTO PA 19504




035290P001-1409A-265                004990P001-1409A-265                      006938P001-1409A-265                     032046P001-1409A-265
FOXWOODS OUTLET CENTER              JAHKAYA FOXX                              HANNAH R FOY                             FPF CONSTRUCTION CORP
455 TROLLEY LINE BLVD SPACE #330    2641 OLD BUENA VISTA PIKE                 5901 OFFSHORE CT                         319 FIRST AVE
LEDYARD CT 06338                    NASHVILLE TN 37218                        WILMINGTON NC 28409                      ST. JAMES NY 11780
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004126P001-1409A-265                             009159P001-1409A-265                    002627P001-1409A-265          009741P001-1409A-265
JODYANN FRAIELLI                                 JOESPHINA FRANCE                        LISA M FRANCE                 FRANCHISE TAX BOARD
140 URBAN AVE                                    116 MAGNOLIA DR                         1004 HILLCREST DR             PO BOX 942857
1ST FL                                           POOLER GA 31322                         GREENWOOD AR 72936            SACRAMENTO CA 94257-0500
NORTH PROVIDENCE RI 02904




032047P001-1409A-265                             005024P001-1409A-265                    037287P001-1409A-265          003843P001-1409A-265
FRANCIS ZANGLE                                   FATIMA FRANCIS                          HANNAH FRANCIS                HANNAH R FRANCIS
107 LORENZO DR                                   5656 STEVENS FOREST APT 153             441 AUDRY DR                  441 AUDRY DR
PLEASANT HILL CA 94523                           COLUMBIA MD 21045                       DUPO IL 62239                 DUPO IL 62239




037460P001-1409A-265                             007233P001-1409A-265                    004678P001-1409A-265          001208P001-1409A-265
NICOLE FRANCIS                                   NICOLE A FRANCIS                        VIVIKA S FRANCIS              ALEX R FRANCISCO
NICOLE FRANCIS                                   1836 LAUREL ST                          818 SUN PRAIRE DR             10978 VIA ABACA
1836 LAUREL ST                                   NEW ORLEANS LA 70130                    HOUSTON TX 77090              SAN DIEGO CA 92126
NEW ORLEANS LA 70130




007983P001-1409A-265                             002235P001-1409A-265                    006079P001-1409A-265          007469P001-1409A-265
MERNA D FRANCO                                   ADRIANA L FRANCO                        GIOVANNA A FRANCO             RAQUEL FRANCO
1605 E CYPRESS ST APT C                          75 LEXINGTON AVE                        3208 W SUNNYSIDE AVE          3362 YOUNGWAY DR
APT C                                            WESTBURY NY 11590                       APT 2                         LAKELAND FL 33810
COVINA CA 91724                                                                          CHICAGO IL 60625




037581P002-1409A-265                             031291P001-1409A-265                    035277P001-1409A-265          000665P001-1409A-265
FRANKLIN MILLS ASSOCIATES LIMITED PARTNERSHIP    FRANKLIN MILLS ASSOCIATES LP            FRANKLIN PARK                 ROBBREANNA FRANKLIN
A DISTRICT OF COLUMBIA LIMITED PARTNERSHIP       PO BOX 277867                           5001 MONROE ST #1075          2344 HUMMINGBIRD WAY
SIMON PROPERTY GROUP LP RONALD M TUCKER          ATLANTA GA 30384-7867                   TOLEDO OH 43623               MESQUITE TX 75181
225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204



007758P001-1409A-265                             001482P001-1409A-265                    007292P001-1409A-265          000485P001-1409A-265
TAYLOR FRANKLIN                                  TIANA T FRANKLIN                        CAITLIN M FRASCH              KATELYN T FRASCH
2513 BRENDA DR                                   1380 EAST WASHINGTON AVE                1460 UNIVERSITY DR            15 N 630 RED LEAF RD
NEW IBERIA LA 70560                              UNIT 33W                                WINCHESTER VA 22601           HAMPSHIRE IL 60140
                                                 EL CAJON CA 92019




005494P001-1409A-265                             000656P001-1409A-265                    005000P001-1409A-265          003075P001-1409A-265
KAMRYN A FRASIER                                 DALIA FRAUSTO                           BRIANNA S FRAZIER             SHANTAVIA FRAZIER
6006 STILLWOOD CIR                               505 N ROCK RD                           17 GROVE ST                   413 SE 4TH ST
KILLEEN TX 76543                                 412                                     APT2                          202
                                                 WICHITA KS 67206                        MALDEN MA 02148               BOYNTON BEACH FL 33435
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007146P001-1409A-265              033366P001-1409A-265                     032048P001-1409A-265                  010154P001-1409A-265
SOMMER M FRAZIER                  FRCH DESIGN WORLDWIDE                    FREDERIC W COOK AND CO INC            FREDERICK COUNTY PERMITS AND
1602 DILLON ST                    311 ELM ST                               90 PK AVE                             INSPECTIONS ALARM ADMIN
SAGINAW MI 48601                  STE #600                                 NEW YORK NY 10016                     FREDERICK COUNTY 30 N MARKET
                                  CINCINNATI OH 45202                                                            ST.,FREDERICK MD 21701




036512P001-1409A-265              001019P001-1409A-265                     036513P001-1409A-265                  032049P003-1409A-265
FREDERICK COUNTY PERMITS AND      LAUREN FREDERICK                         FREEDOM MODELS                        FREEDOM MODELS CALIFORNIA INC
INSPECTIONS ALARM ADMIN           5366 W 143RD ST                          820 NORTH FAIRFAX AVE                 CARRIE GEISLER
30 N MARKET ST                    SAVAGE MN 55378                          WEST HOLLYWOOD CA 90046               820 NORTH FAIRFAX AVE
FREDERICK MD 21701                                                                                               WEST HOLLYWOOD CA 90046




034329P001-1409A-265              034267P001-1409A-265                     008767P001-1409A-265                  031292P001-1409A-265
FREEDOM MODELS CALIFORNIA, INC    FREEHOLD CHANDLER TRUST LLC              EVETTE FREELAND                       FREEMALL ASSOCIATES LLC
820 NORTH FAIRFAX AVE             401 WILSHIRE BLVD                        274 W MAPLE ST                        FREEHOLD CHANDLER TRUST LLC
WEST HOLLYWOOD CA 90046           STE 700                                  YORK PA 17401-2146                    401 WILSHIRE BLVD
                                  SANTA MONIICA CA 90401                                                         STE 700
                                                                                                                 SANTA MONIICA CA 90401



037731P001-1409A-265              035642P001-1409A-265                     009208P001-1409A-265                  008159P001-1409A-265
FREEMALL ASSOCIATES LLC           ASHLIE M FREEMAN                         KAYLA FREEMAN                         MAGTALIA D FREEMAN
BALLARD SPAHR LLP                 6110 OZARK MOUNTAIN DR                   5851 WATERCOLOR ST                    25 PEAR TREE HILL RD
DUSTIN P BRANCH                   2625 E CACTUS                            NORTH LAS VEGAS NV 89031              HOLMES NY 12531
2029 CENTURY PARK EAST STE 800    BAKERSFIELD CA 93314
LOS ANGELES CA 90067-2029



006685P001-1409A-265              030601P002-1409A-265                     033628P001-1409A-265                  033629P001-1409A-265
MICHAELA M FREEMAN                SHAMONICA C FREEMAN                      FREEZE                                FREEZE A DIVISION OF CENTRAL MILLS
315 CAMBERLY CT                   ADDRESS INTENTIONALLY OMITTED            473 RIDGE RD                          473 RIDGE RD
DOTHAN AL 36301                                                            DAYTON NJ 08810                       DAYTON NJ 08810




006534P002-1409A-265              035294P001-1409A-265                     031293P002-1409A-265                  009600P001-1409A-265
CHRISTINE FREITAS                 FREMAUX TOWN CENTER                      FREMAUX TOWN CENTER SPE LLC           AMBER S FRENCH
62 LINCOLN ST APT 3               760 TOWN CTR PKWY SP #C300               AKA SLIDELL DEVELOPMENT COMPANY LLC   3016 SE LA VIDA CT
HUDSON MA 01749                   SLIDELL LA 70458                         109 NORTHPARK BLVD STE 300            VISALIA CA 93292
                                                                           COVINGTON LA 70433




034389P001-1409A-265              036215P001-1409A-265                     030966P001-1409A-265                  001524P001-1409A-265
FREP HOLDINGS LLC                 FRESH OF LA INC                          FRESH OF LA, INC                      SARA FREYCINET
ONE MARITIME PLZ                  2260 E 15TH ST                           CORA DIAZ                             421 NE 21ST TER
STE 2100                          LOS ANGELES CA 90021                     2260 E 15TH ST                        HOMESTEAD FL 33033-6031
SAN FRANCISCO CA 94111                                                     LOS ANGELES CA 90021
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009191P001-1409A-265             001599P001-1409A-265                      005086P001-1409A-265           006729P001-1409A-265
ANDREANA M FREYTISVOSS           NICOLE E E FRIAS                          JESSICA P FRICKE               LAZARIAH FRICKS
4808 UTAH AVE N                  104 BENEFIT ST APT 2                      1364 MESA AVE                  2159 BUSH AVE
NEW HOPE MN 55428                5                                         GRAND JUNCTION CO 81501        SAINT PAUL MN 55119
                                 PAWTUCKET RI 02861




000581P001-1409A-265             005408P001-1409A-265                      009528P001-1409A-265           000742P001-1409A-265
ALLISON FRIDOLFSON               HEATHER FRIEDMAN                          HALEY FRIEND                   JENNIFER L FRIEND
604 E 8TH AVE                    9013 AMIGO AVE                            704 PENSINGER BLVD             827 OAK AVE
GASTONIA NC 28054                NORTHRIDGE CA 91324                       OAKLAND MD 21550               VALLEY PARK MO 63088




030808P001-1409A-265             036216P001-1409A-265                      000522P001-1409A-265           001043P001-1409A-265
FRIENDS GARMENT                  FRIENDS GARMENT                           BOBBI FRINKS                   DONALD T FRISBIE
SHARAD BHARGAVA                  605 PHASE-V UDYOG VIHAR                   2555 FLAT SHOALS RD APT 2605   260 PHEASANT DR
PLOT NO-299 UDYOG VIHAR PHASE    GURGAON 122001HARYANA                     ATLANTA GA 30349               HEALDSBURG CA 95448
GURGAON HARYANA 122016           INDIA
INDIA



030320P001-1409A-265             010088P001-1409A-265                      003192P001-1409A-265           001655P001-1409A-265
DONALD T FRISBIE                 FRISCO INDEPENDENT SCHOOL DIST            BRALYN FRISINA                 SHYHEIMA FRITH
ADDRESS INTENTIONALLY OMITTED    LAURA BOATRIGHT                           1849 HASTINGS RD               3213 CRUGER AVE
                                 TAX ASSESSOR/COLLECTOR                    SPRINGFIELD IL 62702           APT 3
                                 6948 MAPLE ST                                                            BRONX NY 10467-6443
                                 PO BOX 547
                                 FRISCO TX 75034


002467P001-1409A-265             009402P001-1409A-265                      002352P001-1409A-265           010083P001-1409A-265
CARRIE FRITZ                     JORDAN A FRITZ                            TRESSLYN V FROEHLICH           FRUITPORT CHARTER TOWNSHIP
1909 E HARRISON ST               3629 STATE RTE 5                          714 VALLEYVIEW DR              ROSE DILLON TREASURER
GILBERT AZ 85295                 ASHLAND KY 41102                          CORAPOLIS PA 15108             6543 AIRLINE RD
                                                                                                          FRUITPORT MI 49415




005077P001-1409A-265             030268P001-1409A-265                      000838P001-1409A-265           037138P001-1409A-265
TAYLOR M FRUZZETTI               CASEY FRY                                 CASEY M FRY                    NAYA FRYAR
106 CIRCUIT ST                   ADDRESS INTENTIONALLY OMITTED             2012 HOLLIDAY                  4 CAMBRIDGE CT
HALIFAX MA 02338                                                           WYOMING MI 49519               HIGHLAND NY 12528




035643P001-1409A-265             000576P001-1409A-265                      005496P001-1409A-265           007086P001-1409A-265
NY'ASIA J FRYAR                  NYASIA J FRYAR                            JAZMINE A FRYE                 CALLIE N FRYMAN
14049 BETSY ROSS LN              14155 LOTUS LN                            3530 WINTERFIELD RD            138 SANTA CLARA AVE
CENTREVILLE VA 20121             1216                                      MIDLOTHIAN VA 23113            DAYTON OH 45405
                                 CENTREVILLE VA 20120
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033262P001-1409A-265              035282P001-1409A-265                        033502P001-1409A-265        033498P001-1409A-265
FSI FORT LAUDERDALE INC           FSK                                         FTC COMMERCIAL CORP         FTI CONSULTING INC
KATHRYN DEL CALVO                 5500 BUCKEYSTOWN PIKE, SPACE 246            PO BOX 51228                PO BOX 418178
12760 EAST FLORENCE AVE           FREDERICK MD 21703                          LOS ANGELES CA 90051-5528   BOSTON MA 02241-8178
SANTA FE SPRINGS CA 90670




001059P001-1409A-265              030578P001-1409A-265                        004003P001-1409A-265        035644P001-1409A-265
HUAYUN FU                         ROSY FU                                     SHANNON C FU                EZRI K FUAMATU-TOMLIN
1755 CALIFORNIA DR                ADDRESS INTENTIONALLY OMITTED               1153 ROSEMARY CIR           302 KAMA ST
#3                                                                            CORONA CA 92879             WAILUKU HI 96793
BURLINGAME CA 94010




001390P001-1409A-265              002337P001-1409A-265                        001363P001-1409A-265        007895P001-1409A-265
COURTNEY FUDGE                    ARAIZA M FUENTES                            ASHLEY M FUENTES            LESLEY D FUENTES
101 ROYAL DR                      895 DARRELL ST                              6 TIERRAS NUEVAS            14850 KEPPEN
1006                              COSTA MESA CA 92627                         MANATI PR 00674             ALLEN PARK MI 48101
MADISON AL 35758




002998P001-1409A-265              005181P002-1409A-265                        009524P001-1409A-265        033778P001-1409A-265
XIOMARA FUENTES                   NYSHALIE L FUERTES                          ADELINE E FUESTING          FULL CIRCLE TRENDS
3240 SW 34TH ST APT 515           53 UPSALA ST APT 2                          221 CHINKAPIN DR            STACY FERANDINO
OCALA FL 34474                    WORCESTER MA 01610-3335                     PITTSBURGH PA 15065         1384 BROADWAY
                                                                                                          STE 1101
                                                                                                          NEW YORK NY 10018



003391P001-1409A-265              003354P001-1409A-265                        006392P001-1409A-265        009270P001-1409A-265
ALEXANDRIA D FULLER               ALEXIA FULLER                               DANIELLE L FULLER           KATRICE O FULLER
5468 WINCHESTER HILLS CIR         5831 SW 26TH ST                             2309 REBECCA AVE            235 NORTHEAST 6TH ST
BIRMINGHAM AL 35215               2                                           APT B                       APT A
                                  WEST PARK FL 33023                          CHARLOTTE NC 28208          POMPANO BEACH FL 33060




004498P001-1409A-265              006786P001-1409A-265                        003582P001-1409A-265        003595P001-1409A-265
LEAH FULLER                       SHYANNE FULLER                              TAIYLOR S FULLER            OSHA S FULMORE
2489 ROCKLAND RD                  4995 HARVEY AVE                             16 LEWIS T BRANTLEY DR      2017 FRANCIS ST
FRONT ROYAL VA 22630              ELKTON FL 32033                             JACKSON TN 38301            SCRANTON SC 29591




010192P001-1409A-265              006860P001-1409A-265                        008724P001-1409A-265        006276P001-1409A-265
FULTON COUNTY TAX COMMISSIONER    SAMEKA A FULTON                             CARISSA FUMAROLA            ATHENA T FURIONI
ARTHUR E FERDINAND                909 RIDGE AVE                               9604 DEER TRACK RD          35 UNIVERSITY LN
PO BOX 105052                     APT 1                                       WEST CHESTER OH 45069       APT 120 BOX 8
ATLANTA GA 30348-5052             ROCKFORD IL 61103                                                       COLCHESTER VT 05446
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006206P001-1409A-265                   033219P002-1409A-265                           033219S001-1409A-265                    033630P001-1409A-265
RAYANNA FURPHY                         ANN-MICHELLE FURTICK                           ANN-MICHELLE FURTICK                    FUSION CPH
23 MONARCH DR                          221 CORBERSTONE LN                             MIKE KELLY LAW GROUP                    GAMMEL KONGEVEJ 137B 2
HOPEWELL JUNCTION NY 12533             LEXINGTON SC 29073                             PO BOX 8113                             DK 1850
                                                                                      1523 HUGER ST STE A                     FREDERIKSBERG
                                                                                      COLUMBIA SC 29202                       DENMARK



032741P001-1409A-265                   037746P001-1409A-265                           034215P001-1409A-265                    031294P001-1409A-265
G AND I IV PROMENADE LLC               G AND I VI PROMENADE LLC                       G AND I VI PROMENADE, LLC               G AND I VIII CBL TTC LLC
PO BOX 30967                           BALLARD SPAHR LLP                              220 EAST 42ND ST                        G AND I VIII TRIANGLE LLC
NEW YORK NY 10087-0967                 DUSTIN P BRANCH                                27TH FL                                 DRA ADVISORS LLC
                                       2029 CENTURY PARK EAST STE 800                 NEW YORK NY 10017                       220 EAST 42ND ST 27TH FL
                                       LOS ANGELES CA 90067-2909                                                              NEW YORK NY 10017



037527P001-1409A-265                   037527S001-1409A-265                           034214P001-1409A-265                    031295P001-1409A-265
G AND I VIII CBL TTC LLC               G AND I VIII CBL TTC LLC                       G AND I VIII INVESTMENT SORRENTO LP     G AND I VIII SORRENTO LP
BY CBL AND ASSOCIATES MANAGMENT INC    BY CBL AND ASSOCIATES MANAGMENT INC            DRA ADVISORS LLC                        G AND I VIII INVESTMENT SORRENTO L
GARY RODDY                             CALEB HOLZAEPFEL                               220 E 42ND ST 27TH FL                   DRA ADVISORS LLC
2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300                        NEW YORK NY 10017                       220 E 42ND ST 27TH FL
CHATTANOOGA TN 37421                   CHATTANOOGA TN 37402                                                                   NEW YORK NY 10017



034703P002-1409A-265                   036514P001-1409A-265                           037795P001-1409A-265                    029844P001-1409A-265
G AND I VIII SORRENTO LP               G AND I VIII SORRENTO LP                       G AND I VIII SORRENTO LP                G AND I VIII SORRENTO LP (LANDLORD)
CYPRESS ASSET MANAGEMENT INC           DRA ADVISORS LLC                               CO MICHAEL D BRESLAUER ESQ              CYPRESS ASSET MANAGEMENT INC
RON LACK                               220 E 42ND ST 27TH FLOOR                       SOLOMON WARD SEIDENWURM AND SMITH LLP   RON LACK
10650 TREENA ST                        NEW YORK NY 10017                              401 B ST STE 1200                       10650 TREENA ST STE 109
STE 109                                                                               SAN DIEGO CA 92101                      SAN DIEGO CA 92131
SAN DIEGO CA 92131


029844S001-1409A-265                   034216P001-1409A-265                           036514S001-1409A-265                    032050P001-1409A-265
G AND I VIII SORRENTO LP (LANDLORD)    G AND I VIII TRIANGLE LLC                      G&I VIII SORRENTO LP                    G10CAPTURE, INC
MARTIN COYNE                           DRA ADVISORS LLC                               SOLOMON WARD SEIDENWURM AND SMITH LLP   MARK GORDON
201 CALIFORNIA STREET SUITE 470        220 EAST 42ND ST 27TH FL                       MICHAEL D BRESLAUER ESQ                 133 JOOST AVE
SAN FRANCISCO CA 94111                 NEW YORK NY 10017                              401 B ST STE 1200                       SAN FRANCISCO CA 94131
                                                                                      SAN DIEGO CA 92101



034136P001-1409A-265                   030173P001-1409A-265                           034128P001-1409A-265                    032051P001-1409A-265
G10CAPTURE, INC                        G2 RESTRUCTURING INC                           G2 RESTRUCTURING INC                    G4S SECURITY SOLUTIONS (USA)
133 JOOST AVE                          GARY GRAVES                                    1224 CROMWELL LN                        CYNTHIA DEHART
SAN FRANCISCO CA 94131                 1224 CROMWELL LN                               NAPERVILLE IL 60564                     1395 UNIVERSITY BLVD
                                       NAPERVILLE IL 60564                                                                    JUPITER FL 33458




030710P001-1409A-265                   037707P002-1409A-265                           037919P002-1409A-265                    010170P002-1409A-265
GA APPAREL                             GA- CHATHAM COUNTY TAX COMMISSIONER            GA- CITY OF WOODSTOCK                   GA- CLARKE COUNTY TAX COMMISSIONER
JAY LEE                                THERESA C HARRELSON                            12345 HIGHWAY 92                        PO BOX 1768
1458 SSAN PEDRO ST                     PO BOX 8324                                    WOODSTOCK GA 30188                      ATHENS GA 30603
STE 129                                SAVANNAH GA 31412
LOS ANGELES CA 90015
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034698P002-1409A-265                   037938P002-1409A-265                           035252P002-1409A-265                 032069P002-1409A-265
GA- DEPT OF REVENUE                    GA- DOUGLAS COUNTY TAX COMMISSIONER            GA- FULTON COUNTY TAX COMMISSIONER   GA- GWINNETT COUNTY TAX COMMISSION
COMPLIANCE DIVISION ARCS BANKRUPTCY    YANIRA WALKER                                  141 PRYOR ST 1106                    PO BOX 372
1800 CENTURY BLVD NE STE 9100          6200 FAIRBURN RD                               ATLANTA GA 30303                     LAWRENCEVILLE GA 30046
ATLANTA GA 30345                       DOUGLASVILLE GA 30134




032069S001-1409A-265                   009898P002-1409A-265                           037790P002-1409A-265                 005381P001-1409A-265
GA- GWINNETT COUNTY TAX COMMISSION     GA- HENRY COUNTY TAX COMMISSIONER              GA-CITY OF SAVANNAH                  BRYANNA GABALDON
ROBIN COOK                             MICHAEL HARRIS                                 JAMES B BLACKBURN JR                 2846 MATT DR
75 LANGELY DR                          140 HENRY PKWY                                 WISEMAN BLACKBURN LLC                EUGENE OR 97408
LAWRENCEVILLE GA 30046                 MCDONOUGH GA 30253-0488                        PO BOX 8996
                                                                                      SAVANNAH GA 31412



004774P001-1409A-265                   008934P001-1409A-265                           001151P001-1409A-265                 000778P001-1409A-265
BRYAN M GABBAC                         JORJA N GABLE                                  CRISTEN GABRIEL                      MICHELLE P GACUSAN
559 IVY ST                             3609 PETERS AVE PMB 501                        402 BROCONE DR                       941049 ELEU ST
SAN FRANCISCO CA 94102                 SIOUX CITY IA 51106                            VANDALIA OH 45377                    WAIPAHU HI 96797




009011P001-1409A-265                   037307P001-1409A-265                           001322P001-1409A-265                 004875P001-1409A-265
TAYLOR GADBERRY                        LASHUNDA GADDY                                 LASHUNDA D GADDY                     UNIQUE J GADISON
1125 ACADEMY PL                        LASHUNDA GADDY                                 1001 RIM RD                          3416 S OURAY WAY
SOUTH BEND IN 46616                    1001 RIM RD                                    FAYETTEVILLE NC 28314-5259           AURORA CO 80013
                                       FAYETTEVILLE NC 28314




030609P001-1409A-265                   000899P001-1409A-265                           008715P001-1409A-265                 005105P001-1409A-265
SHAUNEE GAGE                           TROY L GAGIELO                                 BRIEONNA M GAGNON                    JUSTINE GAGNONBAILEY
ADDRESS INTENTIONALLY OMITTED          4561 VISTA ST                                  57 OLD CANTERBURY TPKE               1221 A ST NE
                                       SAN DIEGO CA 92116                             NORWICH CT 06360                     C113
                                                                                                                           AUBURN WA 98002




036419P001-1409A-265                   003621P001-1409A-265                           010571P001-1409A-265                 006094P001-1409A-265
BRITTANY GAHMAN                        JASMINE B GAINES                               JERRY PEANUTS GAINES                 OMUNIQUE D GAINES
1207 WESTLAKE CIR                      1216 PENNYWOOD DR                              WARREN COUNTY SHERIFF                3000 EAST 8TH
BELLEVILLE MI 48111                    HIGH POINT NC 27265                            PO BOX 807                           DES MOINES IA 50316
                                                                                      BOWLING GREEN KY 42102-0807




008925P001-1409A-265                   032980P001-1409A-265                           032980S001-1409A-265                 033945P002-1409A-265
SHATARA GAINES                         GAINESVILLE REGIONAL UTILITIES                 GAINESVILLE REGIONAL UTILITIES       GAINESVILLE REGIONAL UTILITIES
407 17TH ST                            PO BOX 147051                                  301 SE 4TH AVE                       MARK D SMYSOR
ALTOONA PA 16602                       GAINESVILLE FL 32614                           GAINSVILLE FL 32601                  301 SE 4TH AVE
                                                                                                                           GAINSVILLE FL 32601
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007773P001-1409A-265      007361P001-1409A-265                002769P001-1409A-265              030153P001-1409A-265
MARQUETTE GAINEY          DANIELLA N GAITAN                   KATHYUSKA A GAITAN                ANDREA GAITHER
1755 GREENLEAF DR         539 PALO VERDE                      125 MEADOWBROOK LN                ADDRESS INTENTIONALLY OMITTED
NORFOLK VA 23523          HOLTVILLE CA 92250                  FITCHBURG MA 01420




008664P001-1409A-265      005618P001-1409A-265                001919P001-1409A-265              004923P001-1409A-265
JASMINE GAJRA             SAMANTHA GALATI                     ESSENCE L GALE                    DENISE GALEANA
308 NORTH FARVIEW AVE     7821 YORK ROAD                      1600 OLD BAINBRIDGE RD APT 4      1237 ERIC AVE
PARAMUS NJ 07652          PARMA OH 44130                      TALLAHASSEE FL 32303              PARLIER CA 93648




037271P001-1409A-265      002178P001-1409A-265                004464P001-1409A-265              033400P001-1409A-265
DENISE GALEANA            PATRICIA GALEGO                     CATHERINE GALENTE                 JAYA GALI
DENISE GALEANA            2750 NW 44TH ST                     50 IVY HILL RD                    4287 26TH ST
1237 ERIC AVE             606                                 MAHOPAC NY 10541                  SAN FRANCISCO CA 94131
PARLIER CA 93648          OAKLAND PARK FL 33309




008352P001-1409A-265      007343P001-1409A-265                006267P001-1409A-265              009329P001-1409A-265
ITZEL GALINDO             LYDIA GALINDO                       VICTORIA GALINDO                  BRYANNA A GALL
4495 CRYSTAL ST           1912 SW 325TH PL                    85 56 106ST                       10539 SADDLESTONE DR
DENVER CO 80239           FEDERAL WAY WA 98023                RICHMOND HILL NY 11418            FISHERS IN 46040




003724P001-1409A-265      008331P001-1409A-265                008291P001-1409A-265              036363P001-1409A-265
KELLY A GALLAGHER         NIKKI GALLANT                       RACHEL GALLANT                    ALANNA GALLARDO
3244 EDGEMONT ST          303 WARD CT                         8007 JORDAN CT                    2257 SUDBURY CT
PHILADELPHIA PA 19134     HOLLAND PA 18966                    MOON PA 15108                     TRACY CA 95376




000927P001-1409A-265      009098P001-1409A-265                006945P001-1409A-265              008515P001-1409A-265
ALANNA M GALLARDO         ALYSSA M GALLARDO                   ERICA GALLARDOGARCIA              ANGELICA E GALLEGOS MARTINEZ
20857 GRAPEVINE DR        2600 W MAIN ST                      1012 S HARLAN WAY                 1029 N WEBSTER ST
DIABLO GRANDE CA 95363    BELLEVILLE IL 62226                 LAKEWOOD CO 80226                 NAPERVILLE IL 60563




006052P001-1409A-265      005884P001-1409A-265                035646P001-1409A-265              002695P001-1409A-265
CAITLIN M GALLEGOS        MARIAH GALLEGOS                     MARTINEZ ANGELICA E GALLEGOS      YESICA I GALLEGOS
500 E MICHIGAN AVE        34 CLEMSON DR                       1029 N WEBSTER ST                 18101 4TH AVE S
APT 408                   PUEBLO CO 81005                     NAPERVILLE IL 60563               BURIEN WA 98148
LANSING MI 48912
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032742P001-1409A-265            031296P001-1409A-265                   031297P001-1409A-265           036516P001-1409A-265
GALLERIA AT PITTSBURGH MILLS    GALLERIA AT WOLFCHASE LLC              GALLERIA MALL INVESTORS LP     GALLERIA MALL INVESTORS LP
MANAGEMENT OFFICE               98938 COLLECTIONS CTR DR               PO BOX 849111                  10 STATE HOUSE SQUARE 15TH FLOOR
CIII MSCI07-HQ11                CHICAGO IL 60693                       DALLAS TX 75284-9111           HARTFORD CT 06103
590 PITTSBURGH MILLS CIR
TARENTUM PA 15084



037582P001-1409A-265            032052P001-1409A-265                   032260P001-1409A-265           002829P001-1409A-265
GALLERIA MALL INVESTORS LP      GALLERIA MALL INVESTORS, LP            MELISSA GALLIANO               JANAY L GALLIMORE
BALLARD SPAHR LLP               MARTHA HINOJOSA                        570 SANTA RAY AVE              208 EVERGREEN DR
LESLIE C HEILMAN ESQ            10 STATE HOUSE SQUARE                  OAKLAND CA 94610               WILLINGBORO NJ 08046
919 N MARKET ST 11TH FL         15TH FL
WILMINGTON DE 19801             HARTFORD CT 06103



003585P001-1409A-265            001824P001-1409A-265                   033224P001-1409A-265           033224S001-1409A-265
LESLIEANN GALLIMORE             ZURIMA GALLO                           JULIAN GALLO-LAVEZZARI         JULIAN GALLO-LAVEZZARI
5532 HAMPTON WOODS WAY          1499 W 42ND PL                         600 MAGURIE PK ST 103          MORGAN AND MORGAN
TALLAHASSEE FL 32311            HIALEAH FL 33012-7653                  OCOEE FL 34761                 20 N ORANGE AVE
                                                                                                      PO BOX 4979
                                                                                                      ORLANDO FL 32902



037701P002-1409A-265            007754P001-1409A-265                   007538P001-1409A-265           007491P001-1409A-265
ALEXIA GALLOWAY                 ALEXIA I GALLOWAY                      ALEXIS M GALLOWAY              ANGELICA B GALOZO
1515 W TURNER ST                1515 W TURNER ST                       3830 UTE WAY                   1006 BRYCE LN
ALLENTOWN PA 18102              ALLENTOWN PA 18102                     ANTELOPE CA 95843              VIRGINIA BEACH VA 23464




001344P001-1409A-265            001723P001-1409A-265                   005537P001-1409A-265           035647P001-1409A-265
MARY ROSE GALSIM                STACY G GALVAN FRANCO                  BRIANA GALVAN                  FRANCO STACY G GALVAN
4401 EDENHURST AVE              16003 LLANO LN                         1935 CABRILLO MESA CT          16003 LLANO LN
LOS ANGELES CA 90039            VICTORVILLE CA 92394                   CAMARILLO CA 93010             VICTORVILLE CA 92394




003193P001-1409A-265            036953P001-1409A-265                   000836P001-1409A-265           002926P001-1409A-265
GUADALUPE G GALVAN              ALMA GALVEZ                            DAPHNE M GALVEZ                ZENA E GALVEZ
502 W STANFIELD AVE             9371 PALO VERDE ST                     1613 STONYBROOK DR             2521 BISHOP DR
POCOLA OK 74902                 THORNTON CO 80229                      DEPTFORD NJ 08096              APT K
                                                                                                      BAKERSFIELD CA 93306




005055P001-1409A-265            003863P001-1409A-265                   007043P001-1409A-265           000543P001-1409A-265
CRYSTAL V GAMBOA                RHIANNA N GAMBREL                      LORELEI F GAMEZ                ELOISA GAMINO BOJORQUEZ
10800 PEPPER ST                 1152 N 500 E                           3015 DELTA ST                  999 MARSHALL RD
ADELANTO CA 92301               COLUMBUS IN 47203                      LANSING MI 48912               VACAVILLE CA 95687
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008317P001-1409A-265          035648P001-1409A-265                  037717P002-1409A-265            002397P001-1409A-265
ALEXANDRA GAMINO              BOJORQUEZ ELOISA GAMINO               MARINA GAMMERLER                MARINA T GAMMERLER
11968 LEWISIA AVE             999 MARSHALL RD                       1309 WINDMILL DR                1309 WINDMILL DR
MORENO VALLEY CA 92557        VACAVILLE CA 95687                    LAFAYETTE IN 47909              LAFAYETTE IN 47909




007890P001-1409A-265          004987P001-1409A-265                  002481P001-1409A-265            001431P001-1409A-265
JULIA R GANNOTTI              ALEXIS GANTNER                        EMILY GANTT                     TIFFANIE L GANUN
40 BEECHHURST AVE             128 WOODLAWN DR                       9003 GRAYLAND DR APT C          15 ELM DR
FLORAL PARK NY 11001          SAINT CHARLES MI 48655                KNOXVILLE TN 37923              NEPTUNE NJ 07753-3311




006247P001-1409A-265          007425P001-1409A-265                  030661P001-1409A-265            036632P001-1409A-265
KATLYN GAO                    LESLIE GARAVITO                       VALENTINA GARAVITO              MARCI GARAY
647 GRAND VIEW AVE UNIT 4     1706 SOUTH LANG AVE                   ADDRESS INTENTIONALLY OMITTED   1916 COCHRAN ST
SAN FRANCISCO CA 94114        WEST COVINA CA 91790                                                  LAS VEGAS NV 89104




003713P001-1409A-265          002732P001-1409A-265                  008877P001-1409A-265            004056P001-1409A-265
JENNIFER GARCIA DE LA ROSA    JENNIFFER C GARCIA JIMENEZ            FERNANDA GARCIA MARCO           IVONNE GARCIA MARTINEZ
26632 BERINO DR               12846 W ROANOKE AVE                   115 W LIMBERLOST DR             1100 ANACUITAS ST
SAUGUS CA 91350               AVONDALE AZ 85392                     APT 7207                        APT 34
                                                                    TUCSON AZ 85705                 MERCEDES TX 78570




002905P001-1409A-265          003922P001-1409A-265                  002934P001-1409A-265            008496P001-1409A-265
ADALENA J GARCIA              ADRIANNA N GARCIA                     AILEEN M GARCIA                 ALEXIS M GARCIA
1240 MCCULLOUGH ST            307 KING ST                           23092 EAST COMMUNITY DR         2225 PEARL AVE
LANSING MI 48912              GRUVER TX 79040                       NEW CANEY TX 77357              FORT WORTH TX 76164




001483P001-1409A-265          004407P001-1409A-265                  007546P001-1409A-265            006122P001-1409A-265
ALEXIS N GARCIA               ALEXIS Y GARCIA                       ALIZE GARCIA                    AMARIAH S GARCIA
2132 GRACE AVE                918 PICCARD AVE                       10130 S 84TH TER                1515 BAY PKWY
FT WORTH TX 76111-2816        SAN DIEGO CA 92154                    307                             4L
                                                                    PALOS HILLS IL 60465            BROOKLYN NY 11204




007646P001-1409A-265          008327P001-1409A-265                  005961P001-1409A-265            002692P001-1409A-265
AMORRE I GARCIA               AMY D GARCIA                          ANGEL N GARCIA                  ANGELICA GARCIA
1514 VERDE DR                 1313 NORTHGATE DR                     1832 HAMMOCK MOSS DR            1212 TAOS DR
GUSTINE CA 95322              BARTLETT IL 60103                     ORLANDO FL 32820                VICTORIA TX 77904
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007637P001-1409A-265      004583P001-1409A-265                  008238P001-1409A-265            003382P001-1409A-265
ANGELICA GARCIA           APRIL GARCIA                          ARELY GARCIA                    ASHLEY GARCIA
3678 BAYTREE ST           8007 SHEEHAN WAY                      7505 W 62ND ST                  9915 BARTEE AVE
PITTSBURGH PA 15216       ANTELOPE CA 95843                     APT 4                           ARLETA CA 91331
                                                                MISSION KANSAS KS 66202




006367P001-1409A-265      004854P001-1409A-265                  008388P001-1409A-265            009614P001-1409A-265
ASHLEY ALEXANDR GARCIA    ASHLEY N GARCIA                       BIANCA GARCIA                   BREANA R GARCIA
708 NW 111TH PL           1842 48TH ST SW                       1708 CAROLINA RIDGE WAY         9511 BOATMAN PIER
MIAMI FL 33172            NAPLES FL 34116                       JUSTIN TX 76247                 CONVERSE TX 78109




002922P001-1409A-265      007624P001-1409A-265                  037257P001-1409A-265            004703P001-1409A-265
BRENDA GARCIA             BRENDA GARCIA                         BREYLIS K FIGUEROA GARCIA       BRITTANIE GARCIA
286 W CALLE PRIMERA       534 52ND AVE                          BREYLIS K FIGUEROA GARCIA       9410 MILWAUKEE AVE
SAN YSIDRO CA 92173       BELLWOOD IL 60104                     CALLE 20 N-35                   3306
                                                                RIO GRANDE ESTATE               LUBBOCK TX 79424
                                                                RIO GRANDE PR 00745



005468P001-1409A-265      008813P001-1409A-265                  008760P001-1409A-265            008903P001-1409A-265
BRITTANY N GARCIA         CAITLYN M GARCIA                      CARMEN GARCIA                   CARMEN GARCIA
6042 ROEBUD RD            6433 IVY GLEN WAY                     20191 TWIN POND DR              1009 S HIGH ST
STEDMAN NC 28391          ROSEVILLE CA 95678                    BROWMSTOWN MI 48183             BLOOMINGTON IN 47401




035649P001-1409A-265      007883P001-1409A-265                  035650P001-1409A-265            009301P001-1409A-265
CARMEN GARCIA             CINDY GARCIA                          CINDY GARCIA                    CLAUDIA GARCIA
1125 S 10TH ST            245 32ND ST                           14316 45TH AVE CT NW            13217 NE 59TH ST
TERRE HAUTE IN 47802      APT 101                               GIG HARBOR WA 98332             123
                          BELLINGHAM WA 98225                                                   VANCOUVER WA 98682




027413P001-1409A-265      035651P001-1409A-265                  002332P001-1409A-265            004935P001-1409A-265
CORY A GARCIA             DE LA ROSA JENNIFER GARCIA            ELIZABETH GARCIA                EMMA L GARCIA
100 MIST GREEN CT         27044 SECO CANYON RD                  398 W WILSON ST                 1141 JILL LOUISE CT
ALPHARETTA GA 30022       SANTA CLARITA CA 91350                D110                            HOLLAND MI 49424
                                                                COSTA MESA CA 92627




007914P001-1409A-265      008073P001-1409A-265                  003133P001-1409A-265            007129P001-1409A-265
EMRYS D GARCIA            GABRIELLA M GARCIA                    HEATHER M GARCIA                HOPE M GARCIA
1801 LOVA DR APT#101      716 N NIAGARA ST                      6903 PIONEER BLVD               1015 OAK ST UNIT 22
APT #101                  BURBANK CA 91505                      WHITTIER CA 90606               SILVERTON OR 97381
VICTORIA TX 77901
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001732P001-1409A-265    005403P001-1409A-265                     001255P002-1409A-265         005127P001-1409A-265
ILIANA GARCIA           ISABELLA R GARCIA                        JACQUELINE GARCIA            JANELY GARCIA
12452 FLAGSTONE CT      50 DEAN AVE                              4141 HUEY ST                 1922 N CENTRAL PK AVE
VICTORVILLE CA 92932    EUGENE OR 97404                          HOUSTON TX 77087             CHICAGO IL 60647




008583P001-1409A-265    030379P001-1409A-265                     004681P001-1409A-265         002412P001-1409A-265
JASLYN GARCIA           JAYCEE GARCIA                            JAYCEE K GARCIA              JEZEBEL M GARCIA
546 N 3RD ST            ADDRESS INTENTIONALLY OMITTED            1001 PORTOLA DR              5935 QUANTRELL AVE
7                                                                SAN FRANCISCO CA 94127       T2
SAN JOSE CA 95112                                                                             ALEXANDRIA VA 22312




003403P001-1409A-265    008920P001-1409A-265                     036585P001-1409A-265         007654P001-1409A-265
JUNE GARCIA             KAREN A GARCIA                           KARLA GARCIA                 KELLY R GARCIA
PO BOX 793              416 14TH ST                              7025 CHARMANT DR APT # 289   2844 MARS HILL ST
LOS INDIOS TX 78567     LOGANSPORT IN 46947                      SAN DIEGO CA 92122-4349      INDIANAPOLIS IN 46241




002110P001-1409A-265    002104P001-1409A-265                     005189P001-1409A-265         004314P001-1409A-265
LISETTE GARCIA          LIZBETH GARCIA                           LUZ GARCIA                   LUZ N GARCIA
3126 BUCKLEY AVE        1115 W DUGDALE RD                        212 N LANGSTAFF ST 7         1000 E BISHOP ST
LAKE WORTH FL 33461     WAUKEGAN IL 60085                        LAKE ELSINORE CA 92530       F1
                                                                                              SANTA ANA CA 92701




006478P001-1409A-265    035652P001-1409A-265                     000872P001-1409A-265         001239P001-1409A-265
MADISON GARCIA          MARCO FERNANDA GARCIA                    MARIA C GARCIA               MARIELA C GARCIA
4726 W EVERGREEN CT     3700 N 1ST AVE                           7017 S PRIEST DR             665 WEST CALIFORNIA AVE APT 8
VISALIA CA 93277        APT 1023                                 3128                         VISTA CA 92081
                        TUCSON AZ 85719                          TEMPE AZ 85283




004253P001-1409A-265    035653P001-1409A-265                     010204P001-1409A-265         003457P001-1409A-265
MARIZA GARCIA           MARTINEZ IVONNE GARCIA                   OSCAR J GARCIA               REYNA GARCIA
3310 2ND ST             1100 ANACUITAS ST                        COUNTY TAX COLLECTOR         7125 N 19AVE
LUBBOCK TX 79415        APT 34                                   PO BOX 1192                  APT 43
                        MERCEDES TX 78570                        FRESNO CA 93715-1192         PHOENIX AZ 85021




008787P001-1409A-265    005356P001-1409A-265                     004204P001-1409A-265         003080P001-1409A-265
ROCIO GARCIA            ROSEMARY GARCIA                          RUBY GARCIA                  SARAH GARCIA
125 CHESHIRE CT         7518 BECK AVE                            12024 SECOND AVE             32 RUTHELLEN RD
WINCHESTER VA 22602     NORTH HOLLYWOOD CA 91605                 LYNWOOD CA 90262             CHELMSFORD MA 01824
                            Case 19-10210-LSS   Doc Russe
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004198P001-1409A-265         004823P001-1409A-265                003217P002-1409A-265              006477P001-1409A-265
SHARIK GARCIA                SOCORRO GARCIA                      SOL M GARCIA                      SONYA DOMINIQUE GARCIA
1480 W 46TH ST               5244 SOUTH 550 WEST                 1465 E PECKHAM LANE APT 10        14676 OLIVE ST
APT 201                      COLUMBUS IN 47201                   RENO NV 89502-5172                HESPERIA CA 92345
HIALEAH FL 33012




002643P001-1409A-265         000944P001-1409A-265                000819P001-1409A-265              008860P001-1409A-265
TANYA J GARCIA               TIFFANY C GARCIA                    VICTORIA R GARCIA                 YANISEL GARCIA
38 EMERSON CT                13 SQUIRE RIDGE RD                  2830 OAK MILL                     1180 SW 122ND AVE
WESTBURY NY 11590            HAMPSTEAD NH 03841                  SAN ANTONIO TX 78251              APT 1180
                                                                                                   PEMBROKE PINES FL 33025




001739P001-1409A-265         003663P002-1409A-265                002088P001-1409A-265              006244P001-1409A-265
YESENIA B GARCIA             YURI GARCIA                         ZARAHI GARCIA                     SOLINA T GARCIAGONZALEZ
546 N SAN PEDRO              990 E 6TH ST APT A                  2244 N CAMINO CASTILE             2510 N BERNARD ST
LAS CRUCES NM 88001-7427     POMONA CA 91766                     APT 923                           CHICAGO IL 60647
                                                                 TUCSON AZ 85715




006738P001-1409A-265         033631P001-1409A-265                033632P001-1409A-265              035301P001-1409A-265
PATRICIA A GARCIAMYERS       GARDA                               GARDA CL ATLANTIC INC             GARDA CL WEST INC
4051 W VIKING RD APT 27      8807 COMPLEX DR                     8807 COMPLEX DR                   LEGAL DEPT
LAS VEGAS NV 89103           SAN DIEGO CA 92123                  SAN DIEGO CA 92123                11380 PROSPERITY FARMS RD #221E
                                                                                                   PALM BEACH GARDENS FL 33410




036517P001-1409A-265         032053P001-1409A-265                037583P001-1409A-265              007477P001-1409A-265
GARDA CL WEST INC            GARDA CL WEST, INC                  GARDAWORLD                        CATHERINE D GARDNER
GARDA WORLD PO BOX 233209    GARDA WORLD                         SALLY ELSHIHABI                   1302 LOWE ST
CHICAGO IL 60689-5332        MAURICIO VALLEJO                    2000 NW CORPORATE BLVD            COLUMBIA MO 65203
                             PO BOX 233209                       BOCA RATON FL 33431
                             CHICAGO IL 60689-5332



008697P001-1409A-265         005002P001-1409A-265                010014P001-1409A-265              004610P001-1409A-265
SKYLAR B GARDNER             VERONICA GARDNER                    GARFIELD CHARTER TOWNSHIP         LAURA C GARIBAY
2130 WESTWOOD RD             1218 PIEL GROCERY LN                JUDY MCMANUS TREASURER            14091 VERNAL SPRING CT
SMYRNA GA 30080              BELVIDERE IL 61008                  3848 VETERANS DR                  CORONA CA 92880
                                                                 TRAVERSE CITY MI 49684




006965P001-1409A-265         032054P001-1409A-265                010335P001-1409A-265              010335S001-1409A-265
BERNIE ANN S GARILLO         GARLAND FIRE DEPT                   GARLAND INDEPENDENT SCHOOL        GARLAND INDEPENDENT SCHOOL DISTRICT
6125 DRACAENA CT             DAVID MAJOR                         DISTRICT                          PERDUE BRANDON FIELDER COLLINS AND MOTT LLP
SAN DIEGO CA 92114           1500 E HWY 66                       PO BOX 461407                     EBONEY COBB
                             GARLAND TX 75040                    GARLAND TX 75046-1407             500 E BORDER ST STE 640
                                                                                                   ARLINGTON TX 76010
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002915P001-1409A-265          035654P001-1409A-265                002431P001-1409A-265              009315P001-1409A-265
ALLYSSA M GARLOCK             ALLYSSA M GARLOCK                   DIAMOND R GARNER                  MONIQUE GARNER
1109 UNIVERSITY PKWY          2209 S GREENWOOD DR                 387 WARWICK AVE                   8148 TATE RD
1407                          APT 16                              203 BRUNSWICK                     RUTHER GLEN VA 22546
JOHNSON CITY TN 37604         JOHNSON CITY TN 37604               BUFFALO NY 14215




008112P001-1409A-265          001060P001-1409A-265                008791P001-1409A-265              035655P001-1409A-265
JAVEANA R GARNETT             TRACEY A GARRETSON                  AMANDA GARRETT                    AMANDA GARRETT
640 LASALLE AVE               755 BRAVES AVE                      4101 NICKEL WAY                   30 GARDEN VLG DR
BUFFALO NY 14215              1236                                AMHERST NY 14228                  APT 1
                              LAWRENCEVILLE GA 30043                                                CHEEKTOWAGA NY 14227




006078P001-1409A-265          001636P001-1409A-265                002504P001-1409A-265              035656P001-1409A-265
BAYLEE GARRETT                COURTNEY J GARRETT                  KAYLA A GARRETT                   TAYLOR J GARRETT
4555 SUNSWEPT CT              8562 CHALETFORD DR                  4561 OLD CATAWBA RD               1530 HARDEN ST
FORT WORTH TX 76137           HOUSTON TX 77044-5604               CATAWBA NC 28609                  COLUMBIA SC 29204




004009P001-1409A-265          005329P001-1409A-265                009303P001-1409A-265              034296P002-1409A-265
KEIONIA J GARRETTWHITEHEAD    MACKENZIE M GARRICK                 NATHALIA N GARRIDO                GARRISON CHAPEL HILLS OWNER LLC I
5147 CARIBBEAN BLVD           26 WHITEHEAD AVE                    CONDOMINIO PLZ SUCHVILLE          CORDES AND CO
1117                          SOUTH RIVER NJ 08882                APT 126                           PATRICK M DONOVAN
WEST PALM BEACH FL 33407                                          BAYAMON PR 00959                  5299 DTC BLVD STE 600
                                                                                                    DENVER CO 80111



003729P001-1409A-265          006427P001-1409A-265                036518P001-1409A-265              032055P001-1409A-265
MARISSA A GARROD              TIANA GARTH                         GARTNER INC                       GARTNER, INC
88 BROOKMEADOW N CT SW        14648 APPIAN WAY                    PO BOX 911319                     JOHN KERSHAW
APT 6                         FONTANA CA 92337                    DALLAS TX 75391-1319              PO BOX 911319
GRANDVILLE MI 49418                                                                                 DALLAS TX 75391-1319




033221P002-1409A-265          033221S001-1409A-265                007972P001-1409A-265              002583P001-1409A-265
APRIL GARY                    APRIL GARY                          ZANNIQUA Z GARY                   AMANDA GARZA
4812 WHITE JADE ST            BOURASSA LAW GROUP                  670 HUGH ST                       15420 LIVINGSTON AVE #2904
NORTH LAS VEGAS NV 89081      2350 W CHARLESTON BLVD              ATLANTA GA 30310                  LUTZ FL 33559
                              LAS VEGAS NV 89102




007985P001-1409A-265          007281P001-1409A-265                000471P001-1409A-265              002242P001-1409A-265
ANJELICA M GARZA              GUADALUPE GARZA                     PATRICIA GARZA                    SELENA GARZA
1815 AZALEA ST                1615 SYCAMORE AVE                   14350 HWY 132 SOUTH               418 MCCANN RD
MISSION TX 78573              248                                 LYTLE TX 78052                    ROGERS AR 72758
                              HUNTSVILLE TX 77340
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004796P002-1409A-265                032981P001-1409A-265                032981S001-1409A-265              033061P002-1409A-265
DANIELLE GARZON                     GAS SOUTH                           GAS SOUTH                         NICOR GAS
3330 GROVE CRABTREE CRES APT 732    PO BOX 530552                       PO BOX 4298                       VERONICA FRANK
RALEIGH NC 27613-3073               ATLANTA GA 30353                    ATLANTA GA 30302                  PO BOX 549
                                                                                                          AURORA IL 60507




006838P001-1409A-265                001480P001-1409A-265                035657P001-1409A-265              001842P001-1409A-265
PAIGE M GASCA                       HEATHER GASKA                       HEATHER GASKA                     YESSENIA GASPAR
2401 HIGHWAY 6 E                    22 NORTH ST                         6 NEUBRECH CT                     1409 EMPIRE ST
18-112                              APT 1A                              JERICHO NY 11753                  FAIRFIELD CA 94533-4721
IOWA CITY IA 52240                  BINGHAMTON NY 13905




008191P001-1409A-265                002315P002-1409A-265                010469P001-1409A-265              032690P001-1409A-265
ALEXANDRIA GASPARINATOS             JULIETTA GASTELUM                   GASTON COUNTY TAX COLLECTOR       GASTON COUNTY TAX COLLECTOR
4462 BURWOOD AVE                    2624 W CARTER DR                    PO BOX 1578                       GASTON COUNTY
PENNSAUKEN NJ 08109                 TEMPE AZ 85282                      GASTONIA NC 28053-1578            PO BOX 1578
                                                                                                          GASTONIA NC 28053-1578




005554P001-1409A-265                033633P001-1409A-265                032056P002-1409A-265              034164P001-1409A-265
ASHLEY GASTON                       GATES CREATIVE                      GATES CREATIVE LLC                CECILIA GATES
7100 AVALON DR                      17 W 17TH ST                        GERRARD WILKINSON                 17 W 17TH ST STE 705
APT 7133                            STE 705                             17 W 17TH ST STE 705              NEW YORK NY 10011
WEYMOUTH MA 02188                   NEW YORK NY 10011                   NEW YORK NY 10011




004803P001-1409A-265                008756P001-1409A-265                006139P001-1409A-265              033634P001-1409A-265
CHANDRISS Z GATES                   LAUREN K GATES                      MANDY N GATES                     GATHER NO MESS LTD
20007 LUKER LN                      108 CITY PK CIR                     9612 ARMLEY AVE                   3-5 DUNSTON ROAD
ABERDEEN MS 39730                   HATTIESBURG MS 39401                WHITTIER CA 90604                 UNIT 3A
                                                                                                          LONDON E8 4EH
                                                                                                          UNITED KINGDOM



008906P001-1409A-265                037061P001-1409A-265                003544P001-1409A-265              002644P002-1409A-265
KAYLA R GATICA                      CLARA GATTENBY                      CLARA J GATTENBY                  TAPANGA GAUCK
3507 32ND                           13791 MILAN ST                      13791 MILAN ST                    1113 E FOURTH ST
LUBBOCK TX 79410                    WESTMINSTER CA 92683                WESTMINSTER CA 92683              GREENFIELD IN 46140-1511




035658P001-1409A-265                007931P001-1409A-265                008614P001-1409A-265              004757P001-1409A-265
TAPANGA GAUCK                       VICTORIA GAUDETTE                   BLANCA Y GAUSIN                   KENYA GAVIN
5028 W MARKWOOD AVE                 9 FIFTH AVE                         940 SW 50TH ST                    31 BRAMBLEWOOD LN W
INDIANAPOLIS IN 46221               2                                   OKLAHOMA CITY OK 73109            ROCHESTER NY 23504
                                    WEBSTER MA 01570
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002266P001-1409A-265            002876P001-1409A-265                     001356P001-1409A-265                     035659P001-1409A-265
ARIEL C GAY                     MKAYLA D GAY                             SHALEE C GAY                             BRIANNA GAZDA
4164 N 81ST ST                  49 VERNON PL                             312 TOWNES DR                            1064 GREEN HOLLY RD
MILWAUKEE WI 53222              3                                        NASHVILLE TN 37211                       CLARKS SUMMIT PA 18411
                                STAMFORD CT 06902




030967P001-1409A-265            008853P001-1409A-265                     032982P001-1409A-265                     032982S001-1409A-265
GAZE USA INC                    ASHLEY GBADEBO                           GBG RECYCLING SOLUTIONS LLC              GBG RECYCLING SOLUTIONS LLC
PAUL KIM                        62 STEVENS ST FL 2                       PO BOX 270108                            CARR 169 KM 50 696B
1665 MATEO ST                   NEW HAVEN CT 06519                       SAN JUAN PR 00927                        CALLE CUBITA SECTOR LOS FRAILES
LOS ANGELES CA 90021                                                                                              GUAYNABO PR 00969




036520P001-1409A-265            031298P001-1409A-265                     037584P001-1409A-265                     031299P001-1409A-265
GCCFC 2007 GG9 NIAGARA FALLS    GCCFC 2007-GG9 NIAGARA FALLS             GCCFC 2007GG9 NIAGA FALL BOULEVARD LLC   GCTC HOLDINGS LLC
1601 WASHINGTON AVE STE 800     BOULEVARD MALL SPE LLC                   GEORGIAN FORTUNATO                       520 MADISON AVE 30TH FL
MIAMI BEACH FL 33139            1601 WASHINGTON AVE                      500 GALLERIA DR                          NEY YORK NY 10022
                                STE 800                                  PO BOX 5540
                                MIAMI BEACH FL 33139                     JOHNSTOWN PA 15904



033635P001-1409A-265            032057P001-1409A-265                     003044P001-1409A-265                     008428P001-1409A-265
GDF SUEZ ENERGY RESOURCES       GEAN REY YIP                             LEIANNE M GEANGAN                        LIBBY GEBAUER
PO BOX 25237                    GEAN YIP                                 1245 BURNSIDE PL                         635 SKYWAY DR
LEHIGH VALLEY PA 18002          3726 STARR KING CIR                      DUPONT WA 98327                          INDEPENDENCE KY 41051
                                PALO ALTO CA 94306




004973P001-1409A-265            005374P001-1409A-265                     002756P001-1409A-265                     035660P001-1409A-265
BETHANY E GEBELEIN              LAUREN E GEDNEY                          ROBYN GEE                                ROBYN GEE
1506 ALHAMBRA CREST DR          15026 SKYPARK DR                         2842 W MAPLEWOOD AVE 10                  4022 NORTHWEST AVE APT 201
RUSKIN FL 33570                 HUNTERSVILLE NC 28078                    10                                       BELLINGHAM WA 98226
                                                                         BELLINGHAM WA 98225




009611P001-1409A-265            030620P001-1409A-265                     001217P001-1409A-265                     002145P001-1409A-265
SAMANTHA L GEE                  STEPHANIE GEE                            STEPHANIE C GEE                          ALYSSIA GEHRES
717 N GRANT ST                  ADDRESS INTENTIONALLY OMITTED            632 RHEEM BLVD                           97 ONTARIO ST
SOUTH                                                                    MORAGA CA 94556                          PORT JEFFERSON STA NY 11776
BLOOMINGTON IN 47408




004575P001-1409A-265            035661P001-1409A-265                     002947P001-1409A-265                     005842P001-1409A-265
MADDISON P GEIGER               MADDISON P GEIGER                        RICCI A GELADINOMOORE                    ALEXIE A GELETKO
4050 KIRKWAY CT                 4720 OAK TREE CT                         1888 PELORUS AVE                         1100 BROADWAY AVE
HOWELL MI 48843                 BRIGHTON MI 48116                        SEAL BEACH CA 90740                      2
                                                                                                                  MCKEES ROCKS PA 15136
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002702P001-1409A-265                      001442P001-1409A-265                         032743P001-1409A-265                000558P001-1409A-265
ALEXANDRA F GELLER                        LINDSAY M GENDRON                            GENERAL GROWTH PROPERTIES           SYDNEY P GENETT
700 COSTA RICA AVE                        9825 BAYWINDS DR APT 1101                    GRAND TRAVERSE MALL                 2121 MARATHON ST
SAN MATEO CA 94402                        WEST PALM BEACH FL 33411                     SDS-12-1367                         MARSHFIELD WI 54449
                                                                                       PO BOX 86
                                                                                       MINNEAPOLIS MN 55486-1367



033636P001-1409A-265                      005773P001-1409A-265                         037324P001-1409A-265                008931P001-1409A-265
GENEVA COMMONS                            PEYTON J GENITO                              PEYTON JOY GENITO                   MAYA GENTALA
200 EAST MANDOLPH                         5918 MILHOUSE CT                             PEYTON GENITO                       735 E 17TH AVE
CHICAGO IL 60601                          INDIANAPOLIS IN 46221                        1221 N LUETT AVE                    APT 30
                                                                                       INDIANAPOLIS IN 46222               EUGENE OR 97401




008597P001-1409A-265                      002552P001-1409A-265                         009300P001-1409A-265                007215P001-1409A-265
IMANI L GENTRY                            ABBY GEORGE                                  ERICA A GEORGE                      ERYAH GEORGE
4001 MERIWETHER DR                        6530 INDEPENDENCE AVE                        240 TEST RD                         148 VAUGHN ST
APT M7                                    APT #277                                     YORK PA 17404                       OCEANSIDE CA 92058
DURHAM NC 27704                           CANOGA PARK CA 91303




006610P001-1409A-265                      008499P001-1409A-265                         002513P001-1409A-265                000314P001-1409A-265
MARLEENA K GEORGE                         MCKAYLA L GEORGE                             JOVANA GEORGES                      GEORGIA ATTORNEY GENERAL
2816 N SAFFRON CIR                        202 N ROCK RD                                749 SCOTLAND APT 7M                 CHRIS CARR
MESA AZ 85215                             WICHITA KS 67226                             ORANGE NJ 07050                     40 CAPITAL SQUARE SW
                                                                                                                           ATLANTA GA 30334-1300




000198P001-1409A-265                      000035P001-1409A-265                         000036P001-1409A-265                000420P001-1409A-265
GEORGIA DEPT OF LABOR                     GEORGIA DEPT OF NATURAL RESOURSES            GEORGIA DEPT OF NATURAL RESOURSES   GEORGIA DEPT OF REVENUE
COMMISSIONER                              ENVIRONMENTAL PROTECTION DIVISION            COMMISIONER'S OFFICE                UNCLAIMED PROPERTY PROGRAM
SUSSEX PL RM 600                          2 MARTIN LUTHER KING JR DR SE                2 MARTIN LUTHER KING JR DR SE       4245 INTERNATIONAL PK
148 ANDREW YOUNG INTERNATIONAL BLVD NE    STE 1152 EAST TOWER                          STE 1252 EAST TOWER                 STE A
ATLANTA GA 30303                          ATLANTA GA 30334                             ATLANTA GA 30334                    HAPEVILLE GA 30354



009746P001-1409A-265                      000124P001-1409A-265                         032983P001-1409A-265                032984P001-1409A-265
GEORGIA DEPT OF REVENUE                   GEORGIA DEPT OF REVENUE NE                   GEORGIA NATURAL GAS                 GEORGIA POWER
PROCESSING CENTER                         1800 CENTURY CTR BLVD                        PO BOX 71245                        96 ANNEX
PO BOX 740397                             ATLANTA GA 30345                             CHARLOTTE NC 28272                  ATLANTA GA 30396
ATLANTA GA 30374-0397




002869P001-1409A-265                      006804P001-1409A-265                         004417P001-1409A-265                030547P001-1409A-265
LAUREN M GERALD                           ASHLYN E GERBAZ                              OCTAVIEA GERBE                      OCTAVIEA GERBE
28779 HIGHWAY 1070                        2307 ORCHARD AVE                             1106 SCOUT DR                       ADDRESS INTENTIONALLY OMITTED
FRANKLINTON LA 70438                      GRAND JUNCTION CO 81501                      B
                                                                                       DURHAM NC 27707
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008521P001-1409A-265            008085P001-1409A-265                    035662P001-1409A-265                007815P001-1409A-265
LILLY K GERENA                  JENNA C GERHARTZ                        HANNAH M GERLOCK                    HANNAH E GERMANN
2210 BLUE HAMPTON LN            16 CARTER RD                            565 WOODSDALE DR                    8732 S BECK PL
CHARLOTTE NC 28213              EAST BRUNSWICK NJ 08816                 MONROE OH 45050                     HOMETOWN IL 60456




033785P001-1409A-265            031307P001-1409A-265                    031300P001-1409A-265                037399P001-1409A-265
ALICIA GETTYS                   GGP - GRANDVILLE LLC                    GGP ALA MOANA LLC                   GGP ALA MOANA LLC
3500 CLAIRMONT AVE SOUTH        RIVERTOWN CROSSINGS-GGPLP               ALA MOANA HOLDING LLC               AKA ALA MOANA CENTER
APT 562                         SDS-12-1796                             ALA MOANA CENTER                    BROOKFIELD PROPERTY REIT INC
BIRMINGHAM AL 35222             PO BOX 86                               PO BOX 860267                       350 N ORLEANS ST STE 300
                                MINNEAPOLIS MN 55486-1796               MINNEAPOLIS MN 55486-0267           CHICAGO IL 60654-1607



037363P001-1409A-265            037378P001-1409A-265                    037366P001-1409A-265                037367P001-1409A-265
GGP FOUR SEASONS LP             GGP GLENBROOK LLC                       GGP GRANDEVILLE LLC                 GGP GRANDVILLE LLC
AKA FOUR SEASON TOWN CENTRE     AKA GLENBROOK SQUARE                    AKA RIVERTOWN CROSSINGS UNIT 1106   AKA RIVERTOWN CROSSINGS
BROOKFIELD PROPERTY REIT INC    BROOKFIELD PROPERTY REIT INC            BROOKFIELD PROPERTY REIT INC        BROOKFIELD PROPERTY REIT INC
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                350 N ORLENS ST STE 300             350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                   CHICAGO IL 60654-1607               CHICAGO IL 60654-1607



031301P001-1409A-265            034426P001-1409A-265                    034432P001-1409A-265                034435P001-1409A-265
GGP HOMART II LLC               GGP LIMITED PARTENRSHIP                 GGP LIMITED PARTENRSHIP             GGP LIMITED PARTENRSHIP
ALTAMONTE MALL VENTURE          PO BOX 772803                           PO BOX 772836                       PO BOX 772844
MARISOL GONZALEZ                CHICAGO IL 60677-2803                   CHICAGO IL 60677-2836               CHICAGO IL 60677-2844
US BANK NATIONAL ASSOCIATION
PO BOX 860251
MINNEAPOLIS MN 55486-0251


034437P001-1409A-265            031302P001-1409A-265                    034119P002-1409A-265                034263P001-1409A-265
GGP LIMITED PARTENRSHIP         GGP LIMITED PARTNERSHIP                 GGP LIMITED PARTNERSHIP             GGP LIMITED PARTNERSHIP
PO BOX 772851                   GGP - GRANDVILLE LLC                    350 N ORLEANS ST STE 300            3800 US HWY 98 N
CHICAGO IL 60677-2851           RIVERTOWN CROSSINGS-GGPLP               CHICAGO IL 60654-1607               RM 304
                                SDS-12-1796                                                                 LAKELAND FL 33809
                                PO BOX 86
                                MINNEAPOLIS MN 55486-1796


034442P001-1409A-265            034496P001-1409A-265                    034498P001-1409A-265                034500P001-1409A-265
GGP LIMITED PARTNERSHIP         GGP LIMITED PARTNERSHIP                 GGP LIMITED PARTNERSHIP             GGP LIMITED PARTNERSHIP
PO BOX 775769                   SDS-12-1360                             SDS-12-1461                         SDS-12-1638
CHICAGO IL 60677-5769           PO BOX 86                               PO BOX 86                           PO BOX 86
                                MINNEAPOLIS MN 55486-1360               MINNEAPOLIS MN 55486-1461           MINNEAPOLIS MN 55486




034505P001-1409A-265            034506P001-1409A-265                    034511P001-1409A-265                034518P001-1409A-265
GGP LIMITED PARTNERSHIP         GGP LIMITED PARTNERSHIP                 GGP LIMITED PARTNERSHIP             GGP LIMITED PARTNERSHIP
SDS-12-1819                     SDS-12-1840                             SDS-12-2738                         SDS-12-2779
PO BOX 86                       PO BOX 86                               PO BOX 86                           PO BOX 86
MINNEAPOLIS MN 55486-1819       MINNEAPOLIS MN 55486-1840               MINNEAPOLIS MN 55486-2738           MINNEAPOLIS MN 55486-2779
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034527P001-1409A-265            034322P001-1409A-265                    034523P001-1409A-265               034492P001-1409A-265
GGP LIMITED PARTNERSHIP         GGP LIMITED PARTNERSHIP LLC             GGP LIMITED PARTNERSHIP LLC        GGP LP LLC
SDS-12-3095                     7855 SOLUTION CTR                       SDS-12-3053                        SDA-12-2765
PO BOX 86                       CHICAGO IL 60677-7008                   PO BOX 86                          PO BOX 86
MINNEAPOLIS MN 55486-3095                                               MINNEAPOLIS MN 55486-3053          MINNEAPOLIS MN 55486-2765




031303P001-1409A-265            034502P001-1409A-265                    031304P001-1409A-265               037360P001-1409A-265
GGP LP NORTHRIDGE MALL          GGP LP NORTHRIDGE MALL                  GGP MEADOWS MALL LLC               GGP MEADOWS MALL LLC
GGP LP NORTHRIDGE MALL          SDS-12-1664                             GGP LIMITED PARTNERSHIP            BROOKFIELD PROPERTY REIT INC
CATHY ROSHAY                    PO BOX 86                               SDS-12-1638                        JULIE M BOWDEN
SDS-12-1664                     MINNEAPOLIS MN 55486-1664               PO BOX 86                          350 N ORLEANS ST STE 300
PO BOX 86                                                               MINNEAPOLIS MN 55486               CHICAGO IL 60654-1607
MINNEAPOLIS MN 55486-1664


034528P001-1409A-265            034515P001-1409A-265                    037357P001-1409A-265               031305P001-1409A-265
GGP NATICK TRUST                GGP NIMBUS,LP                           GGP NORTHRIDGE FASHION CENTER LP   GGP OTAY RANCH LP
SDS-12-3111                     MALL ST MATTHEWS                        BROOKFIELD PROPERTY REIT INC       GGP/HOMART II LLC
PO BOX 86                       SDS-12-2771                             JULIE M BOWDEN                     110 NORTH WACKER DR
MINNEAPOLIS MN 55486-3111       PO BOX 86                               350 N ORLEANS ST STE 300           CHICAGO IL 60606
                                MINNEAPOLIS MN 55486-2771               CHICAGO IL 60654-1607



036523P001-1409A-265            037373P001-1409A-265                    037392P001-1409A-265               031306P001-1409A-265
GGP OTAY RANCH LP               GGP OTAY RANCH LP                       GGP PROVIDENCE PLACE LLC           GGP STATEN ISLAND MALL LLC
110 NORTH WACKER DR             AKA OTAY RANCH TOWN CENTER              BROOKFIELD PROPERTY REIT INC       SDS-12-2730
CHICAGO IL 60606                BROOKFIELD PROPERTY REIT INC            JULIE M BOWDEN                     PO BOX 86
                                350 N ORLEANS ST STE 300                350 N ORLEANS ST STE 300           MINNEAPOLIS MN 55486-2730
                                CHICAGO IL 60654-1607                   CHICAGO IL 60654-1607



037412P001-1409A-265            037509P001-1409A-265                    034480P001-1409A-265               034529P001-1409A-265
GGP STATEN ISLAND MALL LLC      GGP TUCSON MALL LLC                     GGP-TRS LLC                        GGP-TRS LLC
BROOKFIELD PROPERTY REIT INC    BROOKFIELD PROPERTY REIT INC            PO BOX 860117                      SDS-12-3113
JULIE M BOWDEN                  JULIE M BOWDEN                          MINNEAPOLIS MN 55486-0117          PO BOX 86
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                                                   MINNEAPOLIS MN 55486-3113
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607



031309P001-1409A-265            034120P001-1409A-265                    034416P001-1409A-265               031308P001-1409A-265
GGP-TUCSON MALL LLC             GGP/HOMART II LLC                       GGP/HOMART II LLC                  GGPLP LLC
GGPLP REAL ESTATE INC           110 NORTH WACKER DR                     PO BOX 6374                        PO BOX 775318
SDS-12-2082                     CHICAGO IL 60606                        CAROL STREAM IL 60197-6374         CHICAGO IL 60677-5318
PO BOX 86
MINNEAPOLIS MN 55486-2082



034122P002-1409A-265            034427P001-1409A-265                    034501P001-1409A-265               034436P001-1409A-265
GGPLP LLC                       GGPLP LLC                               GGPLP LLC                          GGPLP PRIME LLC
350 NORLEANS ST STE300          PO BOX 772808                           SDS-12-1657                        OAKWOOD HILLS MALL LLC
CHICAGO IL 60654-1607           CHICAGO IL 60677-2808                   PO BOX 86                          PO BOX 772848
                                                                        MINNEAPOLIS MN 55486-1657          CHICAGO IL 60677-2848
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034445P001-1409A-265             034430P001-1409A-265                 034494P001-1409A-265             034503P001-1409A-265
GGPLP PRIME LLC                  GGPLP REAL ESTATE INC                GGPLP REAL ESTATE INC            GGPLP REAL ESTATE INC
GGP-GLENBROOK LLC                PO BOX 772816                        SDS 12-1356                      SDS-12-1667
PO BOX 776250                    CHICAGO IL 60677-2816                PO BOX 86                        PO BOX 86
CHICAGO IL 60677-6250                                                 MINNEAPOLIS MN 55486-1356        MINNEAPOLIS MN 55486-1667




034507P001-1409A-265             034508P001-1409A-265                 034513P001-1409A-265             034526P001-1409A-265
GGPLP REAL ESTATE INC            GGPLP REAL ESTATE INC                GGPLP REAL ESTATE INC            GGPLP REAL ESTATE INC
SDS-12-2082                      SDS-12-2440                          SDS-12-2760                      SDS-12-3094
PO BOX 86                        PO BOX 86                            PO BOX 86                        PO BOX 86
MINNEAPOLIS MN 55486-2082        MINNEAPOLIS MN 55486-2440            MINNEAPOLIS MN 55486-2760        MINNEAPOLIS MN 55486-3094




034123P001-1409A-265             034366P001-1409A-265                 034516P001-1409A-265             034519P001-1409A-265
GGPLP REAL ESTATE, INC           GGPLP REAL ESTATE, INC               GGPLP REAL ESTATE, INC           GGPLP REAL ESTATE, INC
110 NORTH WACKER DR              9129 COLLECTION CTR DR               SDS-12-2774                      SDS-12-2832
CHICAGO IL 60606                 CHICAGO IL 60693                     PO BOX 86                        PO BOX 772840
                                                                      MINNEAPOLIS MN 55486-2774        CHICAGO IL 60677-2840




034522P001-1409A-265             034524P001-1409A-265                 034525P001-1409A-265             033791P001-1409A-265
GGPLP REAL ESTATE, INC           GGPLP REAL ESTATE, INC               GGPLP REAL STATE INC             ANAHITA GHAZIPOUR
SDS-12-3051                      SDS-12-3073                          SDS-12-3074                      107 CAPEBERRY
PO BOX 86                        PO BOX 86                            PO BOX 86                        IRVINE CA 92603
MINNEAPOLIS MN 55486-3051        MINNEAPOLIS MN 55486-3073            MINNEAPOLIS MN 55486-3074




030335P002-1409A-265             000962P001-1409A-265                 002094P001-1409A-265             006680P001-1409A-265
ERICA GHERGOROVICH               ERICA M GHERGOROVICH                 OLLIE GHOSH                      FARHANA GHOUSE
ADDRESS INTENTIONALLY OMITTED    1688 LA MADERIA DR                   16 WHISPERWOOD CT                9820 S PULASKI RD
                                 PALM BAY FL 32908                    BROWNSBURG IN 46112              APT 109
                                                                                                       OAK LAWN IL 60453




032058P001-1409A-265             032238P001-1409A-265                 030968P001-1409A-265             005805P001-1409A-265
GIANA L SISKA                    MARISSA GIANNINI                     GIBBS SMITH PUBLISHER            TRINITI A GIBBS
135 REVIERA DR                   172 OLD TANNERY RD                   JULIE PETERSON                   4833 LAKE PK LN
APT #240                         MONROE CT 06468                      1877 EAST GENTILE ST             ACWORTH GA 30101
LOS GATOS CA 95032                                                    LAYTON UT 84041




037476P001-1409A-265             007806P001-1409A-265                 008958P001-1409A-265             005819P001-1409A-265
TRINITI AMARIS GIBBS             ALEXUS K GIBSON                      JALEESA GIBSON                   KARLEY N GIBSON
4833 LAKE PK LN                  133 GLEN AUBURN DR                   229 HOLLIS RD                    2608 W TOLEDO ST
ACWORTH GA 30101                 CLINTON MS 39056                     YATESVILLE GA 31097              BROKEN ARROW OK 74012
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036639P001-1409A-265         006331P001-1409A-265                   002289P001-1409A-265           005378P001-1409A-265
MARTHA GIBSON                SHANIA GIBSON                          YULIANA GICHEV                 ANASTASIA GIDDENSMERRITT
430 OTTIS RAY ST             105 PAUL MCLENDON ST                   5757 COLLEGE AVE               13 SIXTH ST
HOMER GA 30547-2427          GREENVILLE NC 27858                    APT G                          WESTBURY NY 11590
                                                                    DEL CERRO CA 92120




036146P001-1409A-265         008981P001-1409A-265                   035663P001-1409A-265           036560P001-1409A-265
GIFT CARDS                   TONI ANN GIGLIO                        TONI ANN GIGLIO                JENIFER GIL
VARIOUS HOLDERS              337 PITCAIRN RD                        27 SEATTLE SLEW DR             18024 DORAL DR
                             BRICK NJ 08723                         HOWELL NJ 07731                FORT MYERS FL 33967




002342P001-1409A-265         032059P001-1409A-265                   001376P001-1409A-265           002334P001-1409A-265
JENNIFER E GIL               GILA RIVER INDIAN COMMUNITY            HALLEY D GILBERT               MARISSA GILBERT
18024 DORAL DR               ADA SALGADO                            5189 COVENTRY LN               3206 CITY LIGHTS DR
GL 455                       PO BOX 2160                            BARBOURSVILLE VA 22923-1618    ALISO VIEJO CA 92656
FORT MYERS FL 33967          SACATON AZ 85147-2160




007465P001-1409A-265         009538P001-1409A-265                   003020P001-1409A-265           036762P001-1409A-265
MICHELLE GILBERT             SYNIA J GILBERT                        SIERRA D GILES                 SPENCER GILES
7023 KEVIN DR                9310 DUBLIN GREEN                      2950 TOMAHAWK LN               21167 N 95TH DR
TEMPLE TX 76502              SAN ANTONIO TX 78254                   EUGENE OR 97401                PEORIA AZ 85382-0571




002553P001-1409A-265         009093P001-1409A-265                   007454P001-1409A-265           037550P001-1409A-265
MARY GILL                    SAMANTHA L GILLEN                      JOSEPHINE GILLEY               BRIANA GILLIM
85 MORGAN ST                 6001 UNIVERSITY BLVD                   818 E CAMINO DE FRAY MARCOS    3984 KATHERINE
MELROSE MA 02176             MOON PA 15108                          TUCSON AZ 85718                DEARBORN HEIGHTS MI 48125




002409P001-1409A-265         006565P001-1409A-265                   016441P002-1409A-265           006785P001-1409A-265
BRIANA C GILLIM              ZIAREY B GILLIS                        DAVINA GILLUM                  JADA F GILLUM
3984 KATHERINE               3002 NUTMEG LN                         PO BOX 9091                    195 WEST CHERRYWOOD LN
DEARBORN HEIGHTS MI 48125    GARLAND TX 75044                       RICHMOND VA 23225-0791         PEARL RIVER LA 70452




037023P001-1409A-265         007270P001-1409A-265                   001172P001-1409A-265           007030P001-1409A-265
CHARITY GILMORE              CHARITY R GILMORE                      ROSLYN M GILMORE               KHADIJAH J GILNER
208 CARSWELL ST              208 CARSWELL ST                        609 EASTERY CT                 7285 WOOLMARKET RD
WACO TX 76705                WACO TX 76705                          TOLEDO OH 43605                H153
                                                                                                   BILOXI MS 39532
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002117P001-1409A-265           003798P001-1409A-265                    009559P001-1409A-265          031310P001-1409A-265
CANDACE C GILPIN               KYLEA J GILPIN                          DANIELLA GILREYNOSO           GILROY PREMIUM OUTLETS, LLC
404 ROLAND HILLS DR            1900 WHEATVILLE ST                      745 HICKORY CT                TENANT ID: GIL-CHARLO
MOGADORE OH 44260              CHULA VISTA CA 91913                    IMPERIAL BEACH CA 91932       PO BOX 827762
                                                                                                     PHILADELPHIA PA 19182-7762




001420P001-1409A-265           007366P001-1409A-265                    036217P001-1409A-265          030711P001-1409A-265
ERIN GILSDORF                  TIA GILYARD                             GINA GROUP LLC                GINA GROUP, LLC
15717 JACKSON DR               121 RIVERBLUFF RD                       10 WEST 33RD ST STE 312       ARIANNA ECHEVARRIA
OMAHA NE 68118-2105            96                                      NEW YORK NY 10001             10 WEST 33RD ST
                               GREENVILLE NC 27858                                                   STE 312
                                                                                                     NEW YORK NY 10001



005530P001-1409A-265           035664P001-1409A-265                    002855P001-1409A-265          030712P001-1409A-265
ASHLEY L GIORDANO              JAYLYNN A GIPSON                        MERCEDES GIPSON               GIRL'S GENERATION
110 MADISON AVE                277 BRISTOL WAY                         309 GOVERNMENT ST             URBAN MIX INC DBA GIRLS GEN
ROCHELLE PARK NJ 07662         BOLINGBROOK IL 60440                    TUPELO MS 38801               JUNE
                                                                                                     946 E 29TH ST
                                                                                                     LOS ANGELES CA 90011



035665P001-1409A-265           037020P001-1409A-265                    006970P001-1409A-265          033637P001-1409A-265
BIANCA M GIRON                 BIANCA M GIRON                          KIANA TRINIMAE G GIRON        GIS
2805 COTTAGE GROVE AVE         2805 COTTAGE GROVE AVE APT 3            267 EDWIN WAY                 917 CHAPIN RD
3                              DES MOINES IA 50311                     HAYWARD CA 94544              POST OFFICE BOX 353
DES MOINES IA 50311                                                                                  CHAPIN SC 29036




002509P001-1409A-265           005499P001-1409A-265                    035666P001-1409A-265          005445P001-1409A-265
LAUREN GISSENTANNA             ANDREA M GIST                           ANDREA M GIST                 LEAH GITTENS
161 MAXSON AVE                 178 NARRAGANSETT ST                     100 JANET DR                  109 BURNT RUN
FREEPORT NY 11520              CRANSTON RI 02905                       WARWICK RI 02886              YORKTOWN VA 23692




002064P001-1409A-265           008866P001-1409A-265                    005193P002-1409A-265          007407P001-1409A-265
SHAWN C GIVAN                  TATIERRA M GIVENS                       KAYLEE A GIVLER               NYTAGEIA GLADDEN
1920 NE 30TH ST                83 SWEET GUM LN                         195 N LAUREL ST               100 TURTLE CREEK DR
OKLAHOMA CITY OK 73111-4202    118 COLLEGE DR                          MANHEIM PA 17545-1239         A9
                               COLUMBUS MS 39705                                                     GREENVILLE SC 29615




006086P001-1409A-265           033220P001-1409A-265                    033220S001-1409A-265          037442P001-1409A-265
EMILY E GLASGOW                FILMA GLASGOW                           FILMA GLASGOW                 FILMA GLASGOW
3810 ALABAMA AV NORTHEAST      4486 SW 152ND ST                        SOUTHSHORE INJURY ATTORNEYS   SOUTHSHORE INJURY ATTORNEYS
ST PETERSBURG FL 33703         OCALA FL 34473                          PO BOX 3605                   FRANCISCO MORA
                                                                       APOLLO BEACH FL 33572         PO BOX 3605
                                                                                                     APOLLO BEACH FL 33572
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004890P001-1409A-265                      001171P001-1409A-265                   031311P001-1409A-265             037385P001-1409A-265
JESSICA M GLEASON                         BRENNA GLEESON                         GLENBROOK LLC                    GLENDALE I MALL ASSOCIATES LP
1 ALFREDSON LN                            124 ELM AVE                            GGPLP PRIME LLC                  AKA GLENDALE GALLERIA
SHERMAN CT 06784                          SAN BRUNO CA 94066-5403                GGP-GLENBROOK LLC                BROOKFIELD PROPERTY REIT INC
                                                                                 PO BOX 776250                    350 N ORLEANS ST STE 300
                                                                                 CHICAGO IL 60677-6250            CHICAGO IL 60654-1607



031312P001-1409A-265                      002562P001-1409A-265                   008028P001-1409A-265             008495P001-1409A-265
GLENDALE I MALL ASSOCIATES, LP            CRYSTAL D GLENN                        RUTH GLENN                       TAYLOR M GLENN
GGP/HOMART II LLC                         2821 GLENNCREST LN                     6570 RIVER RUN                   602 MELTON AVE
110 N WACKER DR                           TALLAHASSEE FL 32308                   COLUMBIA MD 21044                AUBURNDALE FL 33823
CHICAGO IL 60606




034383P002-1409A-265                      034383S001-1409A-265                   033299P001-1409A-265             033299S001-1409A-265
GLIMCHER MJC LLC                          GLIMCHER MJC LLC                       GLIMCHER PROPERTIES              GLIMCHER PROPERTIES
WASHINGTON PRIME GROUP INC                WASHINGTON PRIME GROUP INC             ATC GLIMCHER LLC XX-XXXXXXX      GLIMCHER WESTSHORE LLC
FROST BROWN TODD LLC                      STEPHEN IFEDUBA                        180 EAST BROAD ST                WPG WESTSHORE LLC
301 E FOURTH ST                           180 E BROAD ST                         COLUMBUS OH 43215                L-2576
CINCINNATI OH 45202                       COLUMBUS OH 43215                                                       COLUMBUS OH 43260-2576



034172P001-1409A-265                      034171P001-1409A-265                   031313P001-1409A-265             031314P001-1409A-265
GLIMCHER PROPERTIES                       GLIMCHER PRPERTIES LP                  GLIMCHER SUPERMALL VENTURE LLC   GLIMCHER WESTSHORE, LLC
180 EAST BROAD ST                         180 EAST BRAOD ST                      1101 SUPERMALL WAY               WPG WESTSHORE LLC
COLUMBUS OH 43215                         COLUMBUS OH 43215                      STE 1268                         L-2576
                                                                                 AUBURN WA 98001                  COLUMBUS OH 43260-2576




030969P001-1409A-265                      030970P001-1409A-265                   037127P001-1409A-265             037127S001-1409A-265
GLOBAL BEAUTY TRADE LLC                   GLOBAL CAPITAL FASHION INC             GLOBAL CAPITAL FASHION INC       GLOBAL CAPITAL FASHION INC
JOSEPHINE WANG                            247 WEST 35TH ST                       265 W 37TH ST STE 1802           ALEXANDER FOTOPOULOS
15 VLG CT                                 11 FL FRONT                            NEW YORK NY 10018                96 LINWOOD PLAZA
HAZLET NJ 07730                           NEW YORK NY 10001                                                       SUITE 310
                                                                                                                  FORTLEE NJ 07024



033509P001-1409A-265                      036218P001-1409A-265                   037867P001-1409A-265             035338P001-1409A-265
GLOBAL CROSSING CONFERENCING              GLOBAL FASHION RESOURCE INC            GLOBAL FASHION RESOURCE INC      ALESSANDRA GLORIOSO
GLOBAL CROSSING TELECOMMUNICATIONS INC    1820 W CARSON ST 202-273               EDWARD W SUH ESQ                 DORSEY LLP
PO BOX 790407                             TORRANCE CA 90501                      3810 WILSHIRE BLVD
ST. LOUIS MO 63179-0407                                                          SUITE 1212
                                                                                 LOS ANGELES CA 90010



006167P001-1409A-265                      037292P001-1409A-265                   003917P001-1409A-265             002841P001-1409A-265
ANGELA GLOVER                             JANEISHA GLOVER                        JANEISHA A GLOVER                KAILA M GLOVER
1025 ROSY BILLED DR                       JANEISHA GLOVER                        1963 CORNERS CIR                 143 S PURCELL AVE
APT 101                                   1963 CORNERS CIR                       LITHONIA GA 30058                WINCHESTER VA 22601
CHARLOTTE NC 28262                        LITHONIA GA 30058
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002062P001-1409A-265               006495P001-1409A-265                        004027P001-1409A-265                033233P001-1409A-265
NATREANA GLOVER                    NICHOLE A GLOVER                            NIKIAH A GLOVER                     GMA ACCESSORIES INC
2420 APPLE WAY                     7908 PALO DURO AVE NE                       4300 ROMAINE ST                     CAPELLI NEW YORK
MIDWEST CITY OK 73130-7146         ALBUQUERQUE NM 87110                        GREENSBORO NC 27407                 1 EAST 33RD ST
                                                                                                                   NEW YORK NY 10016




030809P002-1409A-265               030809S001-1409A-265                        036219P001-1409A-265                033497P001-1409A-265
GMA SHANGHAI BRANCH                GMA SHANGHAI BRANCH                         GMA SHANGHAI BRANCH                 GMAC
CHARBEL BOU RAAD                   CULLEN AND DYKMAN LLP                       ROOM 802 HUALING BUILDING NO 3062   GMAC COMMERCIAL FINANCE LLC
RM 802 NO 18 HUALING BUILDING      100 QUENTIN ROOSEVELT BLVD                  YAN'AN RD(W)                        PO BOX 403058
LANE 3062 YANAN RD WEST            GARDEN CITY NY 11530                        SHANGHAI 201103                     ATLANTA GA 30384-3058
SHANGHAI 201103                                                                CHINA
CHINA


030810P001-1409A-265               036220P001-1409A-265                        000721P001-1409A-265                036376P001-1409A-265
GNF CO                             GNF CO                                      SHEILA C GO                         AMBERLYN GODOY
JASON KANG                         4FL 190-8 BANG EE DONG SONGPA GU            1297 ROUSH DR                       165 PRINDLE AVE
4FL 1908 BANG EE DONG              SEOUL 138-050                               CHULA VISTA CA 91911-7019           ANSONIA CT 06401
SONGPA GU                          KOREA
SEOUL 138-050
KOREA


008277P001-1409A-265               001638P001-1409A-265                        008558P001-1409A-265                007740P001-1409A-265
SAVANNAH G GODSEY                  VARAPORN GOETZ                              ALICIA GOFF                         JADA T GOFORTH
3127 KIM DR                        7459 DANCY RD                               213 DOMAIN DR                       80 WEST DEDHAM
CHESTERFIELD VA 23224              SAN DIEGO CA 92126                          MORGANTOWN WV 26501                 1009
                                                                                                                   BOSTON MA 02118




036128P001-1409A-265               030713P001-1409A-265                        036221P001-1409A-265                004629P001-1409A-265
GOGO APPAREL INC                   GOLDEN TOUCH IMPORTS INC                    GOLDEN TOUCH IMPORTS INC            ALYSON N GOLDEN
KAKAR PC                           LISA COOPERSMITH                            1410 BROADWAY 8TH FLOOR             1341 STRATFORD RD
SUMEER KAKAR KALPANA NAGAMPALLI    1410 BROADWAY                               NEW YORK NY 10018                   YORK PA 17403
525 SEVENTH AVE                    8TH FL
STE 1811                           NEW YORK NY 10018
NEW YORK NY 10018


002092P001-1409A-265               036494P001-1409A-265                        032060P001-1409A-265                033638P001-1409A-265
CHASITY J GOLDEN                   ESSIE GOLDEN                                GOLDIE PR, LLC                      GOLDMAN SACHS AND CO
3845 N VERONICA AVE                636 DIELLEN LN                              JAIME BUTLER                        85 BROAD ST
RIALTO CA 92377                    ELMONT NY 11003                             1704 1/2 GRAFTON ST                 NEW YORK NY 10004
                                                                               LOS ANGELES CA 90026




008570P001-1409A-265               009658P001-1409A-265                        005385P001-1409A-265                035667P001-1409A-265
EBONY S GOLDSTEIN                  ILANA L GOLDSTEIN                           JORDANA M GOLDSTEIN                 TALIA R GOLEMME
5608 ROSSLYN AVE                   2955 20TH AVE                               3541 ORIOLE DR                      83 COLCHESTER DR
INDIANAPOLIS IN 46220              SAN FRANCISCO CA 94132                      HUNTINGDON VALLEY PA 19006          PLYMOUTH MA 02360
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036371P001-1409A-265      005387P001-1409A-265                 035668P001-1409A-265             006435P001-1409A-265
ALISON GOLLADAY           MAKENZY J GOLOMB                     MAKENZY J GOLOMB                 LAUDYS GOMEZ GONZALEZ
4715 CUERNO VERDE         1504 HILLVIEW AVE                    26 MYERS ST                      7401 HIBISCUS RD
COLORADO CITY CO 81019    MILLERSVILLE PA 17551                FORTY FORT PA 18704              FORT PIERCE FL 34951




007771P001-1409A-265      004188P001-1409A-265                 005442P001-1409A-265             007217P001-1409A-265
MARIA GOMEZ JOSE          BRENDA GOMEZ MANCILLA                AMALFY A GOMEZ ROJAS             ALEJANDRA GOMEZ
1990 NW 2ND CT            2819 FLOWER AVE                      1980 SW 33 AVE                   521 WEST MAITLAND ST
BOYNTON BEACH FL 33435    LAS VEGAS NV 89115                   MIAMI FL 33145                   ONTARIO CA 91762




006454P001-1409A-265      037179P001-1409A-265                 005692P001-1409A-265             008807P001-1409A-265
ALYSSA GOMEZ              ALYSSA GOMEZ                         CHRISTINA S GOMEZ                DAISY GOMEZ
3466 WILLOW PASS RD       ALYSSA                               53EMPIRE ST                      4727 N CENTRAL PK AVE
SPACE 35                  GOMEZ                                P                                CHICAGO IL 60625-5811
CONCORD CA 94519          3466 WILLOW PASS RD                  CHICOPEE MA 01013
                          SPACE 35
                          CONCORD CA 94519


007218P001-1409A-265      005202P001-1409A-265                 004732P001-1409A-265             007423P001-1409A-265
DANIEL S GOMEZ            DESTINY GOMEZ                        EVELYN GOMEZ                     GABRIELLE GOMEZ
7430 WHITEWOOD DR         335 E PACIFIC AVE                    7438 N WOLCOTT AVE               8638 HUEBNER RD
FONTANA CA 92336          LA HABRA CA 90631                    CHICAGO IL 60626                 2217
                                                                                                SAN ANTONIO TX 78240




003702P001-1409A-265      001849P001-1409A-265                 002911P001-1409A-265             000783P001-1409A-265
GRACE C GOMEZ             JAMIE GOMEZ                          JAZMIN A GOMEZ                   JOSE GOMEZ
320 STEWART DR            2915 N MARSHALL ST                   2061 PINERCREST DR               7569 PINYON AVE
EL PASO TX 79915          PHILA PA 19133-2406                  SANTA ROSA CA 95403              FONTANA CA 92336




035669P001-1409A-265      003944P001-1409A-265                 006752P001-1409A-265             004635P001-1409A-265
JOSE MARIA GOMEZ          KARINA GOMEZ                         KAZANDRA GOMEZ                   KIMBERLY I GOMEZ
1990 NW 2ND CT            5831 NEWCOMB ST                      86 ROBERTS ST                    8334 CADDO RD
BOYNTON BEACH FL 33435    SAN BERNARDINO CA 92404              SHELTON CT 06484                 HOUSTON TX 77078




008500P001-1409A-265      000907P001-1409A-265                 007154P002-1409A-265             035670P001-1409A-265
LESLIE J GOMEZ            LISA M GOMEZ                         LISA M GOMEZ                     MANCILLA BRENDA GOMEZ
935 NE 42ND TER           27 GLOSSUP ST                        2112 MENAHAN ST                  1695 MARY JANE DR APT #112
HOMESTEAD FL 33033        NORTH PROVIDENCE RI 02911            RIDGEWOOD NY 11385               LAS VEGAS NV 89030
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003465P001-1409A-265         003556P001-1409A-265                   007264P001-1409A-265           035671P001-1409A-265
MARILYN K GOMEZ              MELISSA GOMEZ                          NICOLE A GOMEZ                 ROJAS AMALFY A GOMEZ
7923 TILBURY WOODS LN        12630 MINT FLD                         6800 BURR OAK DR               1980 SW 33 AVE
CYPRESS TX 77433             HOUSTON TX 77066                       PLANO TX 75023                 MIAMI FL 33145




008888P001-1409A-265         008650P001-1409A-265                   001663P001-1409A-265           004135P002-1409A-265
SHARAI GOMEZ                 TATIANA S GOMEZ                        MELISSA GONCALVES              DESTINY A GONDER
1458 WILLOWBEND WAY          15135 KIMBERLY DR                      11 AMANDA LN                   650 N IMPERIAL AVE UNIT 18
BEAUMONT CA 92223            U102                                   ACUSHNET MA 02743-5113         BRAWLEY CA 92227-1643
                             VICTORVILLE CA 92394




035672P001-1409A-265         001415P001-1409A-265                   006637P001-1409A-265           007762P001-1409A-265
DESTINY A GONDER             RACHEL E GONGAWARE                     CINDY GONZALES NAJERA          ALYSSA A GONZALES
694 N 3RD ST APT B12         566 RELIANCE RD                        9241 45TH AVE S                4834 W MISSION LN
BRAWLEY CA 92227             MIDDLETOWN VA 22645                    SEATTLE WA 98118               GLENDALE AZ 85302




004611P001-1409A-265         004539P001-1409A-265                   003972P001-1409A-265           006112P001-1409A-265
ANNIE M GONZALES             BEATRICE A GONZALES                    JOE GONZALES                   NICOLE GONZALES
15435 SCHAFER AVE            255 MORAIMA                            775 POST ST APT 5B             1138NW 125TH PATH
BATON ROUGE LA 70816         SAN ANTONIO TX 78237                   SAN FRANCISCO CA 94109         MIAMI FL 33182




007604P001-1409A-265         005327P002-1409A-265                   001711P001-1409A-265           030572P001-1409A-265
PAULINA GONZALES             RAELENE L GONZALES                     ROBERT GONZALES                ROBERT GONZALES
2501 WEBB CHAPEL EXT         1770 PINE ST APT 601                   81 DAISY SPRINGS CT            ADDRESS INTENTIONALLY OMITTED
APT 8208                     SAN FRANCISCO CA 94109-4508            LAS VEGAS NV 89148
DALLAS TX 75220




004869P001-1409A-265         035673P001-1409A-265                   004918P001-1409A-265           002219P001-1409A-265
SELENA N GONZALES            SELENA N GONZALES                      ELIANDRA GONZALEZ BRITO        MARIA TERES GONZALEZ GONZALEZ
3434 3RD AVE N               3435 3RD AVE N                         1166 CALL E 4 SE URB CAPARRA   216 OCCOQUAN TER SW
113                          113                                    SAN JUAN PR 00921              LEESBURG VA 20175
SAINT PETERSBURG FL 33713    SAINT PETERSBURG FL 33713




003880P001-1409A-265         000823P001-1409A-265                   002511P001-1409A-265           002157P001-1409A-265
JENNIFER GONZALEZ MARTELL    GISELLE GONZALEZ SOTO                  AILEEN GONZALEZ                ALEXIS GONZALEZ
6613 NE 17TH AVE 97211       CALLE 4 D-18                           6356 WEST GOWAN RD             146 DARTMOUTH ST
PORTLAND OR 97211            URB LOMA ALTA                          LAS VEGAS NV 89108             HEMPSTEAD NY 11550-2715
                             CAROLINA PR 00987
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030192P001-1409A-265             003256P001-1409A-265                 035674P001-1409A-265             004089P001-1409A-265
ALEXIS M GONZALEZ                ANDY GONZALEZ                        BRITO ELIANDRA GONZALEZ          CARLA GONZALEZ
ADDRESS INTENTIONALLY OMITTED    767 SCHOOLHOUSE RD A                 1166 CALL E 4 SE URB CAPARRA     3911 31ST AVE
                                 RAMONA CA 92065                      SAN JUAN PR 00921                KENOSHA WI 53144




006557P001-1409A-265             037264P001-1409A-265                 000647P001-1409A-265             006483P001-1409A-265
CAROLINA GONZALEZ                CAROLINA GONZALEZ                    CASSANDRA M GONZALEZ             DANIELLE V GONZALEZ
143 EUCLID AVE                   CAROLINA GONZALEZ                    4 WEST ST                        5402 SUNSEEKER BLVD
SPRINGFIELD MA 01108             143 EUCLID AVE                       MIDDLE ISLAND NY 11953-1769      GREENACRES FL 33463
                                 SPRINGFIELD MA 01108




002894P001-1409A-265             008757P001-1409A-265                 002662P001-1409A-265             006047P001-1409A-265
DARLENE C GONZALEZ               DAYSE F GONZALEZ                     DEISY GONZALEZ                   DESIRETH M GONZALEZ
56 ARMINGTON AVE                 12338 KENTON CT                      6552 S KEDVALE AVE               511 MARTINGALE DR
PROVIDENCE RI 03908              ORLANDO FL 32837-6500                CHICAGO IL 60629                 STROUDSBURG PA 18360




005335P001-1409A-265             007973P001-1409A-265                 000799P001-1409A-265             002269P001-1409A-265
DIANA GONZALEZ                   DULCE GONZALEZ                       ELIZABETH GONZALEZ               ELMER G GONZALEZ
21817 LANARK ST                  9430 CONCOURSE DR                    1515 SOUTH PROSPECT ST           20703 CRYSTAL HILL CIR
29                               HOUSTON TX 77036                     APT 36                           APT D
CANOGA PARK CA 91304                                                  WHEATON IL 60189                 GERMANTOWN MD 20874




008776P001-1409A-265             003479P001-1409A-265                 001477P001-1409A-265             035675P001-1409A-265
ERIK A GONZALEZ                  FLORYS M GONZALEZ                    GABRIELA GONZALEZ                GONZALEZ MARIA TERESA GONZALEZ
3052 NORMA AVE                   10581 SW 155TH PL                    6044 KAUFFMAN AVE                216 OCCOQUAN TER SW
MCALLEN TX 78503                 1610                                 TEMPLE CITY CA 91780-1741        LEESBURG VA 20175
                                 MIAMI FL 33196




004167P001-1409A-265             005941P001-1409A-265                 002108P001-1409A-265             004521P001-1409A-265
IVANA R GONZALEZ                 JASMINE A GONZALEZ                   JENNIFER GONZALEZ                JENNIFER GONZALEZ
1208 FERNDALE CT                 1407 KILDEER DR                      421 SWEEZY AVE                   602 29TH ST SE
VIRGINIA BEACH VA 23464          ROUND LAKE BEACH IL 60073            RIVERHEAD NY 11901               70
                                                                                                       AUBURN WA 98002




021784P001-1409A-265             002928P001-1409A-265                 002901P001-1409A-265             002255P001-1409A-265
JENNIFER GONZALEZ                JENNIFER W GONZALEZ                  JENNY GONZALEZ                   JHUDIT GONZALEZ
13526 BONWAY DR                  14243 PERHAM CT                      156 POND PL                      18865 W OAK AVE
HOUSTON TX 77045                 MORENO VALLEY CA 92553               APT14                            MUNDELEIN IL 60060
                                                                      VISTA CA 92083
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004192P001-1409A-265         001669P001-1409A-265                007195P001-1409A-265              003577P001-1409A-265
JOCELYN GONZALEZ             JOSE GONZALEZ                       JOSE M GONZALEZ                   JULIA R GONZALEZ
15515 CALIFORNIA AVE         8111 REMMET AVE                     7680 PHILBIN AVE                  611 REEVES LN
PARAMOUNT CA 90723           1                                   RIVERSIDE CA 92503                KENNEDALE TX 76060
                             CANOGA PARK CA 91304




009584P001-1409A-265         004316P001-1409A-265                007687P001-1409A-265              007936P001-1409A-265
JULIE C GONZALEZ             KARLA GONZALEZ                      LIZBETH A GONZALEZ                MADELINE GONZALEZ
8915 ARANSAS BAY             14374 AMAR RD APT K                 177 SHERMAN ST                    323 WALTON GREEN WAY NW
SAN ANTONIO TX 78229         LA PUENTE CA 91744                  PERTH AMBOY NJ 08861              KENNESAW GA 30144




004288P001-1409A-265         007791P001-1409A-265                001886P001-1409A-265              037108P001-1409A-265
MARIA A GONZALEZ             MARIA F GONZALEZ                    MARIBEL GONZALEZ                  MARIBEL GONZALEZ
17848 DEERFIELD DR           12631 OAKWOOD DR                    4017 STERLING CT                  4017 STERLING CT
LUTZ FL 33558                WOODBRIDGE VA 22912                 MODESTO CA 95357                  MODESTO STANISLAUS TX 95357




003981P001-1409A-265         035676P001-1409A-265                035677P001-1409A-265              002248P001-1409A-265
MARLEN J GONZALEZ            MARLEN J GONZALEZ                   MARTELL JENNIFER GONZALEZ         MELINA GONZALEZ
4026 WILDFLOWER DR           13385 270TH ST                      6613 NE 17TH AVE 97211            5053 N US 31
RAPID CITY SD 57701          ADRIAN MN 56110                     PORTLAND OR 97211                 COLUMBUS IN 47201




002962P002-1409A-265         002033P001-1409A-265                008070P001-1409A-265              002491P001-1409A-265
NATALIE GONZALEZ             NATALIE A GONZALEZ                  NUVIA Y GONZALEZ                  OLADIS I GONZALEZ
4321 MILO AVE                12 WESTMINSTER DR                   515 E 88TH AVE                    1117 EUBANKS AVE
BAKERSFIELD CA 93313-2933    JACKSON NJ 08527-2623               408                               BAKERSFIELD CA 93307
                                                                 THORNTON CO 80229




007207P001-1409A-265         036735P001-1409A-265                002144P001-1409A-265              006559P001-1409A-265
REBECA GONZALEZ              ROBERTO GONZALEZ                    ROLANDO GONZALEZ                  SANDRA GONZALEZ
118 12TH ST CT WEST          15532 ALLINGHAM AVE                 1921 KING AVE                     525 GLENBRIAR CIR
PALMETTO FL 34221            NORWALK CA 90650-6217               HARLINGEN TX 78552-7528           TRACY CA 95377




001876P001-1409A-265         035678P001-1409A-265                002237P001-1409A-265              036772P001-1409A-265
SONIELYZ GONZALEZ            SOTO GISELLE GONZALEZ               STEPHANIE GONZALEZ                SUJEY GONZALEZ
495 LAUREL HILL RD           CALLE 4 D-18                        6070 LARCHMONT DR                 1832 PENN MAE AVE
APT 11P                      URB LOMA ALTA                       SAN JOSE CA 95123-4419            S. EL MONTE CA 91733
NORWICH CT 06360-7212        CAROLINA PR 00987
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007261P001-1409A-265                             008247P001-1409A-265                004716P002-1409A-265              000753P001-1409A-265
TATYANA L GONZALEZ                               TERESA GONZALEZ                     VANESSA GONZALEZ                  VERONICA GONZALEZ
1930 N FRANKLIN                                  4313 CLAYTON ST                     1371 CY BLACKBURN CIR             25 SOUTH LADOW AVE APT 9G
PHILADELPHIA PA 19122                            DENVER CO 80216                     DALLAS TX 75217                   MILLVILLE NJ 08332




035679P001-1409A-265                             008259P001-1409A-265                007955P001-1409A-265              006138P001-1409A-265
WENDY I GONZALEZ                                 ERIKA GONZALEZCASTRO                ASHLEY M GONZALEZGARCIA           MICHELLE GONZALEZGUZMAN
12 AURORA WAY                                    5252 ORANGE AVE                     46-350 TOWNE ST                   276 MICHELE CIR
ATHENS GA 30601                                  233                                 9                                 MILLERSVILLE MD 21108
                                                 SAN DIEGO CA 92115                  INDIO CA 92201




006973P001-1409A-265                             006968P001-1409A-265                005904P001-1409A-265              009597P001-1409A-265
BLANCA GONZALEZHERRERA                           ANA R GONZALEZMEDINA                GENESIS GONZALEZRIVERA            FAITH GOODEN
1515 S 5TH ST                                    3103 MURRAY FARMS RD                123 MASHPEE CT                    11015 FOUR POINTS DR
7                                                PLANT CITY FL 33566                 NEW BEDFORD MA 02740              2301
MILWAUKEE WI 53204                                                                                                     AUSTIN TX 78726




006663P001-1409A-265                             007627P001-1409A-265                002278P002-1409A-265              035680P001-1409A-265
TEA C GOODMAN TAYLOR                             ALLISEN M GOODMAN                   KENICIA E GOODMAN                 TAYLOR TEA C GOODMAN
2006 PRINCETON AVE                               11005 56TH AVE                      122 WALDON RD APT 3               2006 PRINCETON AVE
CAMP HILL PA 17011                               ALLENDALE MI 49401                  ABINGDON MD 21009-2216            CAMP HILL PA 17011




035680S001-1409A-265                             005519P001-1409A-265                001870P001-1409A-265              000528P001-1409A-265
TAYLOR TEA C GOODMAN                             ALYSSA N GOODRICH                   STEPHANIE GOODRICH                DAPHNIE B GOODSPEED
2834 DOEHNE RD                                   661 SHANNON RD                      601 BILL FRANCE BLVD              890 E OLD 56 HWY
HARRISBURG PA 17110                              BOILING SPRINGS PA 17007            APT 1707                          222
                                                                                     DAYTONA BEACH FL 32114            OLATHE KS 66061




009325P001-1409A-265                             032061P001-1409A-265                036525P001-1409A-265              035373P002-1409A-265
RICKIESHA F GOODWIN                              GOOGLE INC                          GOOGLE INC                        GOOGLE LLC
100 FOREST AVE                                   ACCOUNTS RECEIVABLE DEPT            1600 AMPHITHEATRE PKWY            WHITE AND WILLIAMS LLP
1-1201-D                                         1600 AMPHITHEATRE PKWY              MOUNTAIN VIEW CA 94043            1650 MARKET ST
BUFFALO NY 14213                                 MOUNTAIN VIEW CA 94043                                                SUITE 1800
                                                                                                                       PHILADELPHIA PA 19013



032062P001-1409A-265                             032063P001-1409A-265                033207P001-1409A-265              035681P001-1409A-265
GORDON B FORD STANISLAUS COUNTY TAX COLLECTOR    GORDON BROTHERS GROUP               AUTUMN D GORDON                   CHANTEL A GORDON
PO BOX 859                                       GB ASSET ADVISORS LLC               5206 RIVERVIEW RD                 245-33 147 ROAD
MODESTO CA 95353                                 AMY GALLAGHER                       WILLIAMSBURG VA 23188             ROSEDALE NY 11422
                                                 PRUDENTIAL TOWER
                                                 800 BOYLSTON ST 27TH FL
                                                 BOSTON MA 02199
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033545P001-1409A-265                  008426P001-1409A-265                     009513P001-1409A-265         002025P001-1409A-265
KEELER GORDON                         LILIANA M GORDON                         PAIGE GORDON                 SAMANTHA M GORDON
UNIT 4 BAYFORD STREET                 1754 GRANGE AVE                          4810 SPUR 408                55 PKWY AVE
INDUSTRIAL ESTATE                     204                                      822                          AMITYVILLE NY 11701-1308
LONDON E8 3SE                         RACINE WI 53403                          DALLAS TX 75236
UNITED KINGDOM



001368P002-1409A-265                  035682P001-1409A-265                     007171P001-1409A-265         009414P001-1409A-265
SARA C GORDON                         SARA C GORDON                            SOMMER J GORDON              TATYANNA M GORDON
12402 PLANTATION PINE LANE APT 303    515 CAMINO REAL CT                       105 RODEO CIR                1206 CHRISTOPHER AVE
TAMPA FL 33635-1803                   F                                        LOUISVILLE OH 44641          ROUND ROCK TX 78681
                                      BRANDON FL 33510




006008P001-1409A-265                  030380P001-1409A-265                     001236P001-1409A-265         004024P001-1409A-265
ANGELA GORHAM                         JEFF GORHAM                              JEFFERY S GORHAM             MARIA LOURDES I GOROSPE
1214 SAVIN LANDING                    ADDRESS INTENTIONALLY OMITTED            6586 AMBROSIA DR 5209        1045 NW 90TH WAY
KNIGHDALE NC 27545                                                             SAN DIEGO CA 92124           PLANTATION FL 33322




033247P001-1409A-265                  006866P001-1409A-265                     004367P001-1409A-265         003881P001-1409A-265
ALIENA GORTER                         SYDNEY L GOSE                            KASEY O GOSSELIN             AMANDA L GOTHRO
1143 MCKINLEY AVE                     4777 LA MESA CT                          479 CILLEY RD                1896 S GREGORY RD
APT# 5                                FREMONT CA 94536                         1                            FOWLERVILLE MI 48836
OAKLAND CA 94610                                                               MANCHESTER NH 03103




004472P001-1409A-265                  035683P001-1409A-265                     004129P001-1409A-265         005047P001-1409A-265
RAJASEKHAR R GOTTAM                   CHERYL K GOUGH                           BRIANNA M GOULBOURNE         NAJJA O GOULD
6077 ALPINE BLUE DR                   4421 S KAILER DR                         177 WAYPOINT DR              4902 SHUMARD DR
SAN RAMON CA 94582                    WICHITA KS 67217                         STOCKBRIDGE GA 30281         KILLEEN TX 76542




005103P001-1409A-265                  009431P001-1409A-265                     037272P001-1409A-265         006258P001-1409A-265
RACHEL E GOULD                        TERESA R GOULD                           DESTINY GOURDINE             DESTINY M GOURDINE
317 NORTH EDWARDS AVE                 13632 BELLEROSE DR                       828 ESTUARY TRL              828 ESTURARY DR
SYRACUSE NY 13206                     CHANTILLY VA 20151                       ALPHARETTA GA 30005          828
                                                                                                            ALPHARETTA GA 30005




009634P001-1409A-265                  008564P001-1409A-265                     031315P001-1409A-265         031316P001-1409A-265
ANNGALISIA M GOVAINNELSON             ASIA J GOVAN                             GOVERNOR'S SQUARE CO         GOVERNOR'S SQUARE PARTNERSHIP
3452 PATRICK AVE                      8300 ARABELLA CT                         2445 BELMONT AVE             SDS-12-2725
OMAHA NE 68111                        FORT WORTH TX 76120                      PO BOX 2186                  PO BOX 86
                                                                               YOUNGSTOWN OH 44504-0186     MINNEAPOLIS MN 55486-2725
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036999P002-1409A-265         037409P001-1409A-265                    008093P001-1409A-265             033426P001-1409A-265
GOVERNORS SQUARE CO          GOVERNORS SQUARE MALL LLC               MAKIYAL GOZARI                   GPSHOPPER LLC
RICHARD T DAVIS              BROOKFIELD PROPERTY REIT INC            627 BROOKHURST BLVD              DAVID KOVACS
5577 YOUNGSTOWN-WARREN RD    JULIE M BOWDEN                          LATHROP CA 95330                 EVA LEONARD
NILES OH 44446               350 N ORLEANS ST STE 300                                                 584 BROADWAY
                             CHICAGO IL 60654-1607                                                    STE 904
                                                                                                      NEW YORK NY 10012


004142P001-1409A-265         032064P001-1409A-265                    004445P001-1409A-265             037828P003-1409A-265
STACI R GRABINA              GRACE HOLMES, INC                       JAIDA L GRACE                    GRACIA MARIA FERNANDEZ
2 ETNA PL                    ALI CRNOEVICH                           8044 LONGLEAF FOREST CT          5819 SW 9TH PL
NANUET NY 10954              770 BROADWAY                            JACKSONVILLE FL 32210            GAINESVILLE FL 32607-3892
                             NEW YORK NY 10003




006126P001-1409A-265         007810P001-1409A-265                    008090P001-1409A-265             006573P001-1409A-265
CRYSTAL A GRACIA             DENISSE GRACIANO                        CLAUDIA D GRADO                  SAVANNAH L GRADO
590 COHANNET ST              638 GARRETT ST                          9820 SAINT GEORGE ST             320 E UNION
TAUNTON MA 02780             BRAWLEY CA 92227                        SPRING VALLEY CA 91977           1332
                                                                                                      LAS CRUCES NM 88001




003123P001-1409A-265         000500P001-1409A-265                    033334P001-1409A-265             002021P001-1409A-265
ABIGAIL S GRAEFF             JAZMEAN J GRAFTONORTIZ                  GRAHAM DOWNES ARCHITECTURE INC   ASIA GRAHAM
306 LAKEVIEW DR              3904 BOLLES HARBOR ST                   241 14TH ST                      5211 CROSSWOOD WAY
RIDLEY PARK PA 19078         LAS VEGAS NV 89104                      SAN DIEGO CA 92101               303
                                                                                                      RALEIGH NC 27616




005827P001-1409A-265         007247P001-1409A-265                    002976P001-1409A-265             035684P001-1409A-265
CHARLI J GRAHAM              DIONNA N GRAHAM                         SUNDIATA GRAHAM                  SUNDIATA GRAHAM
18628 N 13TH AVE             9815 COOPER RUN LN                      3149 PINE VLY                    3031 HARRELL DR
PHOENIX AZ 85027             CHARLOTTE NC 28269                      GRAND PRAIRIE TX 75052           APT 118
                                                                                                      GRAND PRAIRIE TX 75052




037339P001-1409A-265         001745P001-1409A-265                    003885P001-1409A-265             035685P001-1409A-265
SUNDIATA MARIE GRAHAM        TARA R GRAHAM                           ELEXIS D GRAIG                   ELEXIS D GRAIG
SUNDIATA                     7538 AUTUMN PK                          877 FULDA AVE NW                 570 MALABAR RD SW
GRAHAM                       SAN ANTONIO TX 78249-4235               PALM BAY FL 32907                APT 206
3031 HARRELL DR APT 118                                                                               PALM BAY FL 32907
GRAND PRAIRIE TX 75052



036383P001-1409A-265         004709P001-1409A-265                    009531P002-1409A-265             032744P001-1409A-265
ANABELL GRAJEDA              KEILA G GRAJEDA                         DAVINA R GRAMBECK                GRAND CENTRAL MALL
436 SECOND ST                1008 ROSEMONT AVE                       14 SOUTH AVE                     L-2031
MOORPARK CA 93021            102                                     FAIRPORT NY 14450-2448           COLUMBUS OH 43260
                             LOS ANGELES CA 90026
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031317P002-1409A-265                           031317S001-1409A-265                         031318P001-1409A-265                       031319P001-1409A-265
GRAND CENTRAL PARKERSBURG LLC                  GRAND CENTRAL PARKERSBURG LLC                GRAND PRAIRIE OUTLETS LLC                  GRAND TRAVERSE MALL, LLC
WASHINGTON PRIME GROUP INC                     WASHINGTON PRIME GROUP INC                   PO BOX 748315                              SDS-12-1367
FROST BROWN TODD LLC                           STEPHEN E IFEDUBA                            LOS ANGELES CA 90074-8315                  PO BOX 86
301 E FOURTH ST                                180 E BROAD ST                                                                          MINNEAPOLIS MN 55486-1367
CINCINNATI OH 45202                            COLUMBUS OH 43215



004348P001-1409A-265                           002654P001-1409A-265                         033500P001-1409A-265                       033519P002-1409A-265
GABRIELA G GRANDON                             JOSELYNE GRANILLO                            GRANITE RUN MALL ADVANTAGE                 GRANITE TELECOMMUNICATIONS
6054 FARMDALE AVE                              11317 E MARGUERITE AVE                       GRANITE MALL RUN                           BRIAN MURRAY
4                                              MESA AZ 85208                                ADVANTAGE IQ-MS #521                       100 NEWPORT AVE EXT
NORTH HOLLYWOOD CA 91606                                                                    PO BOX 2440                                QUINCY MA 02171
                                                                                            SPOKANE WA 99210-2440



008642P001-1409A-265                           037569P002-1409A-265                         006159P001-1409A-265                       002853P001-1409A-265
MEGAN E GRANITZSKI                             DANIELLE GRANT                               DANIELLE N GRANT                           KARIA T GRANTWILLIAMS
305 HOPE GREAT MEADOWS RD                      255 JEAN WELLS DR                            255 JEAN WELLS DR                          2614 W TENNESSEE ST APT 8106C
GREAT MEADOWS NJ 07838                         GOOSE CREEK SC 29455                         GOOSE CREEK SC 29445                       TALLAHASSEE FL 32304




009268P001-1409A-265                           001935P001-1409A-265                         033758P001-1409A-265                       031320P001-1409A-265
DEVAN GRANVILLE                                KEREEN GRANVILLE                             WALT GRANVILLE                             GRAPEVINE MILLS
5449 EAGLE BEAD COVE                           8521 MONTICELLO AVE                          PO BOX 8999                                GRAPEVINE MILLS MALL LIMITED P
MEMPHIS TN 38125                               SKOKIE IL 60076                              SAN FRANCISCO CA 94128                     PO BOX 198189
                                                                                                                                       ATLANTA GA 30384-8189




036526P001-1409A-265                           034395P001-1409A-265                         037585P002-1409A-265                       032065P002-1409A-265
GRAPEVINE MILLS                                GRAPEVINE MILLS MALL LIMITED PART            GRAPEVINE MILLS MALL LIMITED PARTNERSHIP   GRAPEVINE POLICE DEPT
PO BOX 198189                                  PO BOX 198189                                A DELAWARE LIMITED PARTNERSHIP             ALARM PERMIT RENEWAL
ATLANTA GA 30384-8189                          ATLANTA GA 30384-8189                        SIMON PROPERTY GROUP LP RONALD M TUCKER    1007 IRA E WOODS AV E
                                                                                            225 WEST WASHINGTON ST                     GRAPEVINE TX 76051-4018
                                                                                            INDIANAPOLIS IN 46204



009996S001-1409A-265                           009996P001-1409A-265                         036851P001-1409A-265                       007487P001-1409A-265
GRAPEVINE/COLLEYVILLE ISD                      GRAPEVINECOLLEYVILLE ISD                     SCOTT GRASS                                BRITTANY N GRAU
PERDUE BRANDON FIELDER COLLINS AND MOTT LLP    3072 MUSTANG DR                              MAINSTREET CAPITAL                         307 S 5TH ST
EBONEY COBB                                    GRAPEVINE TX 76051                           1300 POST OAK BLVD 8TH FLOOR               MACOUTAH IL 62258
500 E BORDER ST STE 640                                                                     HOUSTON TX 77056
ARLINGTON TX 76010



006456P001-1409A-265                           004389P001-1409A-265                         036845P001-1409A-265                       007759P001-1409A-265
COURTNEY GRAUL                                 LYNDSEY GRAVELIN                             GARY GRAVES                                KAITLIN GRAVES
14777 WUNDERLICH DR                            1642 CHARLOTTE CIR                           G2 RESTRUCTURING, INC                      3648 COUNTY RD 61
APT 2604                                       MARTINSVILLE IN 46151                        1224 CROMWELL LN                           COLUMBIA AL 36319
HOUSTON TX 77069                                                                            NAPERVILLE IL 60564
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003894P001-1409A-265           032020P002-1409A-265                 006777P001-1409A-265             003076P001-1409A-265
PATRICIA GRAVES                EVAN GRAY                            ADARA S GRAY                     ALEEA G GRAY
9113 SIERRA ALTA WAY           1850 GROVE ST                        718 VILLAGER CIR                 902 34TH ST
EL CAJON CA 92021              APT 1                                BALTIMORE MD 21222               VIENNA WV 26105
                               SAN FRANCISCO CA 94117




009138P001-1409A-265           008670P001-1409A-265                 007455P001-1409A-265             002983P001-1409A-265
EMILEE J GRAY                  EMILY GRAY                           JADE C GRAY                      JENNA E GRAY
9618 LITTLE HARBOR CT          555 CARRIAGE HILL RD                 8671 PINE CT                     1652 OTOE ST
ELK GROVE CA 95624             NAPERVILLE IL 60565                  YPSILANTI MI 48198               LINCOLN NE 68502




004503P001-1409A-265           004408P001-1409A-265                 001294P001-1409A-265             030364P001-1409A-265
JILLIAN D GRAY                 MALLORY J GRAY                       SHYRENE M GRAY                   HEIDI GRAYBILL
2928 PRAIRIE OAK BLVD          4362 MCWHINNEY BLVD                  6512 W DESERT COVE AVE           ADDRESS INTENTIONALLY OMITTED
GRAND PRAIRIE TX 75052         #718                                 GLENDALE AZ 85304
                               LOVELAND CO 80538




001549P001-1409A-265           033225P001-1409A-265                 004230P001-1409A-265             035686P001-1409A-265
HEIDI J GRAYBILL               WANDA GRAYSON                        ALEXA R GREAGER                  ALEXA R GREAGER
6291 LEAR AVE                  200 EUNICE DR APT L2                 90 SOUTH GDN BLVD                90 SOUTH GARDEN BLVD
TWENTYNINE PALMS CA 92277      GREENVILLE SC 29617                  EDGEWATER PARK NJ 08010          EDGEWATER PARK NJ 08010




007090P001-1409A-265           003082P001-1409A-265                 008319P001-1409A-265             036222P001-1409A-265
KATLYN N GREALIS               SAMANTHA R GREASER                   SHELBY GREASER                   GREAT FINDINGS INC
1609 LATROBE ST                238 WINEBERRY DR                     238 WINEBERRY DR                 1852 E46TH ST
PARKERSBURG WV 26101           CHESWICK PA 15024                    CHESWICK PA 15024                LOS ANGELES CA 90058




000425P001-1409A-265           031321P001-1409A-265                 035278P001-1409A-265             005457P001-1409A-265
GREAT IOWA TREASURE HUNT       GREAT LAKES MALL                     GREAT LAKES MALL                 MEGAN N GREBER
UNCLAIMED PROPERTY DIVISION    MALL AT GREAT LAKES LLC              7850 MENTOR AVE SP# 574A         18 DARLA DR
LUCAS STATE OFFICE BLDG        WASHINTON PRIME GROUP INC            MENTOR OH 44060                  WINFIELD MO 63389
1ST FL                         180 EAST BROAD ST
DES MOINES IA 50319            COLUMBUS OH 43215



036524P001-1409A-265           009289P001-1409A-265                 037065P001-1409A-265             031322P001-1409A-265
GINA MARIE GRECO               NINA GRECO                           GREECE RIDGE LLC                 GREECE RIDGE, LLC
6356 RALEIGH ST APT 1514       137 BECKERAVE                        DONALD C COWAN JR                ROCHESTER MALLS LLC
ORLANDO FL 32835               ROCHELLE PARK NJ 07662               1265 SCOTTSVILLE RD              PO BOX 8000
                                                                    ROCHESTER NY 14624               DEPT# 981
                                                                                                     BUFFALO NY 14267
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004840P001-1409A-265             010126P001-1409A-265                      032985P001-1409A-265            032985S001-1409A-265
JULIA A GREELY                   GREEN COUNTY MISSOURI MERCHANT            GREEN MOUNTAIN POWER CORP       GREEN MOUNTAIN POWER CORP
786 OAK BEND RD                  COLLECTOR OF REVENUE                      PO BOX 1915                     163 ACORN LN
KAISER MO 65047                  940 N BOONVILLE AVE                       BRATTLEBORO VT 05302            COLCHESTER VT 05446
                                 SPRINGFIELD MO 65802




033948P002-1409A-265             030971P001-1409A-265                      032986P001-1409A-265            006163P001-1409A-265
GREEN MOUNTAIN POWER CORP        GREEN TOYS INC                            GREEN UP ENVIRONMENTAL GROUP    ASHLEY J GREEN
TINA LEGGETT                     PO BOX 6770                               PO BOX 951449                   6356 FOREST AVE
163 ACORN LN                     CAROL STREAM IL 60197-6770                LAKE MARY FL 32795              3R
COLCHESTER VT 05446                                                                                        RIDGEWOOD NY 11385




030246P001-1409A-265             004118P001-1409A-265                      008598P001-1409A-265            004076P001-1409A-265
BETH GREEN                       BIANCA A GREEN                            BRANDIE C GREEN                 CAMARY GREEN
ADDRESS INTENTIONALLY OMITTED    717 JOHN TER                              31 GROUSE DR                    704 MYRTLE ST
                                 NEPTUNE NJ 07753                          BRENTWOOD NY 11717              HATTIESBURG MS 39401




004977P001-1409A-265             000812P001-1409A-265                      003083P001-1409A-265            004206P001-1409A-265
CHRISTANA GREEN                  CHRYSETTE M GREEN                         JADE A GREEN                    JAMILLAH R GREEN
2216 DOOLE CT                    3417 CEDARGLEN RD                         3030 RESIDENCE DR               601 OCEAN AVE
FORNEY TX 75126                  ONTARIO CA 91761                          3105 A                          APT #2
                                                                           TOLEDO OH 43606                 JERSEY CITY NJ 07305




005330P001-1409A-265             001826P001-1409A-265                      030473P001-1409A-265            006651P001-1409A-265
JAYDA GREEN                      JULIEANN GREEN                            LEAH G GREEN                    MAKAYLA A GREEN
2215 DUPONT AVE N                4120 W MAULE AVE                          ADDRESS INTENTIONALLY OMITTED   2028 N MITCHELL DR
MINNEAPOLIS MN 55411             LAS VEGAS NV 89118-4410                                                   MIDWEST CITY OK 73110




022074P001-1409A-265             008984P001-1409A-265                      007140P001-1409A-265            030612P001-1409A-265
MEGAN GREEN                      MORGAN Y GREEN                            NAYTONIYAN T GREEN              SHELBY GREEN
14330 SUMMER PL DR               830 PEACHERS MILL RD                      8100 GARNERS FERRY RD APT 14    ADDRESS INTENTIONALLY OMITTED
GONZALES LA 70737                L140                                      COLUMBIA SC 29209
                                 CLARKSVILLE TN 37042




002645P001-1409A-265             035687P001-1409A-265                      004251P001-1409A-265            001228P001-1409A-265
TAYLOR A GREEN                   VICTORIA GREEN                            KAYLEIGH B GREENAWALT           CATHERINE A GREENBERG
2825 EGRET WAY                   3436 FREDERICK DR                         1750 WORTHINGTON CT             26 IDAHO LN
COOPER CITY FL 33026             TOANO VA 23168                            FREDERICK MD 21702              ABERDEEN NJ 07747-1504
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037530P002-1409A-265                    037530S001-1409A-265                            031323P001-1409A-265            010086P001-1409A-265
GREENBRIER MALL II LLC                  GREENBRIER MALL II LLC                          GREENBRIER MALL II, LLC         GREENE COUNTY AUDITOR
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            CW JOINT VENTURE LLC            69 GREEN ST
GARY RODDY                              CALEB HOLZAEPFEL                                PO BOX 5556                     XENIA OH 45385
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                         CAROL STREAM IL 60197-5556
CHATTANOOGA TN 37421                    CHATTANOOGA TN 37402



001336P001-1409A-265                    006888P001-1409A-265                            003629P001-1409A-265            005342P001-1409A-265
AMALIA I GREENE                         ELISABETH GREENE                                JASMINE GREENE                  SUNDAI K GREENE
2895 S CONWAY RD                        404 MIDNIGHT DR                                 2153 CLIFFVALE DR               7503 GRAND LAKE DR
ORLANDO FL 32812-5900                   RICHLANDS NC 28574                              HIGH POINT NC 27262             SEVEN VALLEYS PA 17360




037447P001-1409A-265                    002887P001-1409A-265                            030472P002-1409A-265            000794P001-1409A-265
JESSICA GREENFIELD                      JESSICA L GREENFIELD                            LAURIE GREENFIELD-ESARCO        LAURIE A GREENFIELDESARCO
JESSICA                                 34 WOLFINGER WAY                                ADDRESS INTENTIONALLY OMITTED   281A POTTERSTOWN RD
GREENFIELD                              BINGHAMTON NY 13904                                                             LEBANON NJ 08833
34 WOLFINGER WAY
BINGHAMTON NY 13904



032066P001-1409A-265                    032987P001-1409A-265                            032987S001-1409A-265            034497P001-1409A-265
GREENVILLE COUNTY TAXCOLLECTOR          GREENVILLE UTILITIES COMMISSN                   GREENVILLE UTILITIES COMMISSN   GREENWOOD MALL LLC
GREENVILLE COUNTY TAX COLLECTO          PO BOX 1847                                     401 SOUTH GREENE STREET         GREENWOOD MALL
DEPARTMENT 390                          GREENVILLE NC 27835                             GREENVILLE NC 27834             SDS121361 PO BOX 86
PO BOX 100221                                                                                                           MINNEAPOLIS MN 55486-1361
COLUMBIA SC 29202-3221



037508P001-1409A-265                    031324P001-1409A-265                            003438P001-1409A-265            001813P001-1409A-265
GREENWOOD MALL LLC                      GREENWOOD PARK MALL LLC                         CASSIE GREER                    CONSTANCE GREER
BROOKFIELD PROPERTY REIT INC            SIMON PROPERTY GROUP LP                         45111 WAIKAPOKI RD              5780 GRANDVIEW DR
JULIE M BOWDEN                          867695 RELIABLE PKWY                            E                               INDIANAPOLIS IN 46228
350 N ORLEANS ST STE 300                CHICAGO IL 60686-0076                           KANEOHE HI 96744
CHICAGO IL 60654-1607



008190P001-1409A-265                    001804P001-1409A-265                            007000P001-1409A-265            005297P001-1409A-265
KIARA K GREER                           STEPHANIE M GREGORIO                            JETTIE GREGORY                  SABRINA N GREGORY
124 REDMOND LN                          47 NORTH AVE                                    217 RIVERSIDE DR                230 PALOMBI CT
CAMDEN DE 19934                         REVERE MA 02151-2328                            FREEPORT PA 16229               EAST BRUNSWICK NJ 08816




005913P001-1409A-265                    009348P001-1409A-265                            037270P001-1409A-265            003551P001-1409A-265
MACY M GREIF                            ROSE M GREY                                     DEBORAH GRIDER                  DEBORAH R GRIDER
4021 WEST STATE ST                      11 SLINN AVE                                    DEBORAH GRIDER                  4038 FORD ST
APT 103                                 B13                                             1011 VIZCAYA LAKES RD           ORLANDO FL 32811
BOISE ID 83703                          SPRING VALLEY NY 10977                          APT 108
                                                                                        OCOEE FL 34761
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035688P001-1409A-265      000497P001-1409A-265                008631P001-1409A-265              030232P001-1409A-265
DEBORAH R GRIDER          TAMMY L GRIEMAN                     BRIA P GRIER                      ASHLEY D GRIESINGER
1011 VIZCAYA LAKES RD     2009 MORELAND BLVD                  1501 AMERICAN BLVD EAST           ADDRESS INTENTIONALLY OMITTED
APT 108                   APT 102                             #209
OCOEE FL 34761            CHAMPAIGN IL 61822                  BLOOMINGTON MN 55425




000952P001-1409A-265      004753P001-1409A-265                003786P001-1409A-265              008582P001-1409A-265
CANADA A GRIFFIN          DARLA R GRIFFIN                     HEAVEN A GRIFFIN                  JADE J GRIFFIN
4761 COUNTRY LN           2073 S IDALIA ST                    5443 RIVERBREEZE CT               42 W FORSYTHIA DR APT 3
E48                       AURORA CO 80013                     JACKSONVILLE FL 32277             FAYETTEVILLE AR 72703
ORANGE OH 44126




036558P001-1409A-265      008212P001-1409A-265                037082P001-1409A-265              006028P001-1409A-265
JASMINE GRIFFIN           PAZAZZ GRIFFIN                      TAMISHA GRIFFIN                   TANISHA GRIFFIN
1400 N BERTRAND DR        1055 CHICAGO AVE                    76 GRETNA WOODS RD                76 GRETNA WOODS RD
LAFAYETTE LA 70817        CINCINNATI OH 45215                 PLEASANT VALLEY NY 12569          PLEASANT VALLEY NY 12569




006363P001-1409A-265      009192P001-1409A-265                005553P001-1409A-265              008682P001-1409A-265
TYESHON D GRIFFIN         ELAINA C GRIFFITH                   JARI A GRIFFITH                   KATIE GRIFFITH
701 S MEADE ST            9226D GENERAL BROWN LOOP            2105 STELLA ST                    6346 N BOULDER AVE
FLINT MI 48503            FORT DRUM NY 13603                  105                               TULSA OK 74126
                                                              DENTON TX 76201




009540P001-1409A-265      000544P001-1409A-265                007508P001-1409A-265              000834P001-1409A-265
KELLY T GRIGGS            EMILY R GRIGSBY                     YAJAIRA GRIJALVA                  CRYSTAL M GRIMALDI
145 HARMONY RD            232 MARBLE CLIFF                    4333 E BELLEVUE ST                16 SCOUT TRL
APT 1624                  FORT MICHELL KY 41017               UNIT 3                            RIDGE NY 11961
SLIPPERY ROCK PA 16057                                        TUCSON AZ 85712




003814P001-1409A-265      009446P001-1409A-265                001508P001-1409A-265              037196P001-1409A-265
ROCHELLE P GRINBERG       JESSICA L GRIOLI                    JAZMIN GROAH                      JAZMIN GROAH
11800 SUNSET HILLS RD     661 ABBINGTON DR                    7906 POINSETTIA DR                JAZMIN GROAH
UNIT 620                  H6                                  LOUISVILLE KY 40258-2452          7906 POINSETTIA DR
RESTON VA 20190           EAST WINDSOR NJ 08520                                                 LOUISVILLE KY 40258




007413P001-1409A-265      009554P001-1409A-265                003003P001-1409A-265              004795P001-1409A-265
SAMANTHA GROCE            NICOLE E GROH                       RACHEL J GROHN                    BENJAMIN T GROMLEY
2305 GEORGETOWN RD NE     5890 MARSH RD                       E13750 STELTER RD                 40567 APPLEGATE RD
CANTON OH 44704           5                                   FALL CREEK WI 54742               LISBON OH 44432
                          HASLETT MI 48840
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034251P001-1409A-265                       006290P001-1409A-265                           005139P001-1409A-265               009050P001-1409A-265
JUDSON C GROSHONG                          DENAYA B GROSS                                 LIVY T GROSS                       SHARRON R GROSS
33 WOODHILL DR                             7350 ALPINE DR NW                              3217 WILLOW BROOK RD               2515 ALABAMA AVE SE APT 401
REDWOOD CITY CA 94061                      RAMSEY MN 55303                                OKLAHOMA CITY OK 73120             WASHINGTON DC 20020




035266P001-1409A-265                       031325P001-1409A-265                           007496P001-1409A-265               001083P001-1409A-265
GROSSMONT CENTER                           GROSSMONT SHOPPING CENTER                      JASMINE GROSVENTRE                 BEATRIZ GROTBERG
5500 GROSSMONT CTR STE 313 SPACE #B1 60    RANIBOW INVESTMENT CO                          6960 HYDE PK DR                    7 RABBIT RUN PL
LA MESA CA 91942                           591 CAMINO DE LA REINA                         SAN DIEGO CA 92119                 THE WOODLANDS TX 77382
                                           STE 900
                                           SAN DIEGO CA 92108



030244P001-1409A-265                       033365P002-1409A-265                           034446P001-1409A-265               031326P001-1409A-265
BEATRIZ E GROTBERG                         GROUPE INSEARCH INC                            GROVE CITY FACTORY SHOPS LIMITED   GROVE CITY FACTORY SHOPS LTD
ADDRESS INTENTIONALLY OMITTED              NATALIA SAAVEDRA                               PO BOX 776260                      GROVE CITY FACTORY SHOPS LIMIT
                                           631 FOLSOM ST PH A                             CHICAGO IL 60677-6260              PO BOX 776260
                                           SAN FRANCISCO CA 94107-3613                                                       CHICAGO IL 60677-6260




001916P001-1409A-265                       008992P001-1409A-265                           033318P001-1409A-265               036597P002-1409A-265
DEVANIQUE D GRUBB                          LAINIE A GRUBBS                                GRUBER TECHINCAL INC               KRISTEN GRUNDY
3432 MICHAEL CT                            3208 SHALE HOLLOW DR                           KEN WINGER                         2152 E DAUPHIN ST 3B
COLUMBUS OH 43204                          EVANSVILLE IN 47712                            21439 N 2ND AVE                    PHILADELPHIA PA 19125
                                                                                          PHOENIX AZ 85027




032177P002-1409A-265                       037294P001-1409A-265                           009333P002-1409A-265               031327P001-1409A-265
KRISTEN GRUNDY                             JAYCIE GRZYMSKI                                JAYCIE M GRZYMSKI                  GS PACIFIC ER LLC
2152 E DAUPHIN ST APT 3B                   12 NORTHEASTERN BLVD                           12 NORTHEASTERN BLVD               100 N SEPULVEDA BLVD # 1925
PHILADELPHIA PA 19125                      NASHUA NH 03062                                NASHUA NH 03062-3133               EL SEGUNDO CA 90245




037586P003-1409A-265                       033511P001-1409A-265                           033512P001-1409A-265               033639P001-1409A-265
GS PACIFIC ER LLC                          GSI COMMERCE SOLUTIONS INC                     GSI COMMERCE SOLUTIONS INC         GSI INTERACTIVE
DUSTIN P BRANCH                            GSI MEDIA INC AN EBAY ENTERPRISE CO            PO BOX 827327                      DBA TRUEACTION
BALLARD SPAHR LLP                          PO BOX 827327                                  PHILADELPHIA PA 19182-7327         1075 FIRST AVE
2029 CENTURY PARK E STE 800                PHILADELPHIA PA 19182-7327                                                        KING OF PRUSSIA PA 19406
LOS ANGELES CA 90067-2909



032068P001-1409A-265                       036528P001-1409A-265                           033640P001-1409A-265               033641P001-1409A-265
GSPANN TECHNOLOGIES INC                    GSPANN TECHNOLOGIES INC                        GT INVENTORY SOW                   GT MSA AND SOW
NAVPREET GROVER                            362 FAIRVIEW WAY                               515 S FLOWER ST                    515 S FLOWER ST
362 FAIRVIEW WAY                           MILPITAS CA 95035                              7TH FLOOR                          7TH FLOOR
MILPITAS CA 95035                                                                         LOS ANGELES CA 90071               LOS ANGELES CA 90071
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033415P001-1409A-265            031328P001-1409A-265                         037587P001-1409A-265                          032745P001-1409A-265
GTC SYSTEMS INC                 GTM DEVELOPMENT LTD                          GTM DEVELOPMENT LTD TA GOLDEN TRIANGLE MALL   GTT COMMUNICATIONS
CORY ROSELEIP                   3102 MAPLE AVE                               DENTON TX                                     7900 TYSONS ONE PL
504 WEST MISSION AVE STE 203    STE 500                                      BALLARD SPAHR LLP LESLIE C HEILMAN ESQ        STE 1450
ESCONDIDO CA 92025              DALLAS TX 75201                              919 N MARKET ST 11TH FL                       MCLEAN VA 22102
                                                                             WILMINGTON DE 19801



005894P001-1409A-265            006425P001-1409A-265                         030675P001-1409A-265                          032746P001-1409A-265
MARIA A GUADAGNO                LEYDI L GUADARRAMA                           YVETTE M GUAJARDO                             GUARDIAN WATER AND POWER
1113 CHARLES VIEW WAY           3004 JUDITH AVE                              ADDRESS INTENTIONALLY OMITTED                 1160 GOODALE BLVD
TOWSON MD 21204                 MCALLEN TX 78503                                                                           COLUMBUS OH 43212




033212P001-1409A-265            033212S001-1409A-265                         036140S001-1409A-265                          033383P001-1409A-265
ROSEANN GUARNACCIO              ROSEANN GUARNACCIO                           ROSEANN GUARNACCIO                            KEIRA GUASCO
11 BROOKLYN NY 11209            DANSKER AND ASPROMONTE ASSOCIATES            SALVATORE ASPROMONTE                          348 SAN FRANCISCO BLVD
BROOKLYN NY 11209               SALVATORE ASPROMONTE                         DANSKER AND ASPROMONTE ASSOCIATES             SAN ANSELMO CA 94960
                                30 VESEY STREET                              30 VESEY ST
                                16TH FLOOR                                   16TH FL
                                NEW YORK NY 10007                            NEW YORK NY 10007


031746P001-1409A-265            004199P001-1409A-265                         008292P001-1409A-265                          002945P001-1409A-265
ANNE B GUASPARI                 AMALIA E GUBALLA                             SADY GUEL                                     NORMA P GUERECA
378 DIAMOND ST                  4224 WINDSONG ST                             5327 4TH ST CT E                              740 CALLA AVE
SAN FRANCISCO CA 94114          SACRAMENTO CA 95834                          BRADENTON FL 34203                            B
                                                                                                                           IMPERIAL BEACH CA 91932




006219P001-1409A-265            003586P001-1409A-265                         036511P001-1409A-265                          002557P001-1409A-265
AMBER M GUERRA                  FAVIOLA GUERRA                               FRANCIS GUERRA                                FRANCIS E GUERRA
316 S AVE 19                    1109 SW 53ST                                 POBOX 60927                                   3808 SE 36TH AVE
3                               OKLAHOMA CITY OK 73109                       CANYON TX 79016                               AMARILLO TX 79103
LOS ANGELES CA 90031




007956P001-1409A-265            005915P001-1409A-265                         004410P001-1409A-265                          000809P001-1409A-265
HELERY GUERRA                   GENESIS M GUERRERO FLORES                    ARLYN A GUERRERO                              BRENDA GUERRERO
8 FOREST DR                     1640 ALEXANDER CT                            27 ALEXANDER AVE                              2439 DES PLAINES AVE
GARNERVILLE NY 10923            APART B                                      SPRING VALLEY NY 10977                        #1S
                                GRETNA LA 70056                                                                            NORTH RIVERSIDE IL 60546




002143P001-1409A-265            037448P001-1409A-265                         004743P001-1409A-265                          009273P001-1409A-265
JASON GUERRERO                  JESSICA GUERRERO                             JESSICA N GUERRERO                            MARIA T GUERRERO
668 HICKEY BLVD                 JESSICA GUERRERO                             839 FARM DR                                   311 BELGRADE AVE APT 2
APT 4                           839 FARM DR                                  3                                             ROSLINDALE MA 02131
PACIFICA CA 94044               APT 3                                        SAN JOSE CA 95136
                                SAN JOSE CA 95136
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001756P001-1409A-265       004565P001-1409A-265                      002786P001-1409A-265                004985P001-1409A-265
MARIAH N GUERRERO          SAMANTHA GUERRERO                         SARAH I GUERRERO                    KALEI A GUEST
4627 N 100TH AVE           550 RIVERSTONE PKWY APT A109              40979 BELLERAY AVE                  9851 HWY 172
PHOENIX AZ 85037-5263      CANTON GA 30114                           MURRIETA CA 92562                   COMER GA 30629




003742P001-1409A-265       005503P001-1409A-265                      004046P001-1409A-265                033813P001-1409A-265
DELMY N GUEVARA            RAQUEL S GUEVARA                          SILVIA GUEVARA                      CATHRYN GUEVARRA
3824 S HOBART BLVD         4450 TRUMAN RD                            718 RUBY DR                         4389 ADELINE ST
LOS ANGELES CA 90062       RAVENNA MI 49451                          MIDLAND TX 79703                    EMERYVILLE CA 94608




001514P001-1409A-265       033786P001-1409A-265                      005022P001-1409A-265                010370P001-1409A-265
QUEENIE GUEVARRA           GUGGENHEIM SECURITIES LLC                 TONYA A GUIDRY                      GUILFORD COUNTY TAX DEPT
1385 CYPRESS WOODS DR      330 MADISON AVE                           1442 BROOKESTONE RD                 PO BOX 71072
NAPLES FL 34103-3869       NEW YORK NY 10017                         HEPHZIBAH GA 30815                  CHARLOTTE NC 28272-1072




008307P001-1409A-265       030972P001-1409A-265                      006481P001-1409A-265                007279P001-1409A-265
LAUREN A GUILLOT           GUILTY SOLES                              GLENYZEL GUIMBALENA                 JONA T GUIMMAYEN
2145 MEADOW LN             461 MELWOOD AVE                           300 CRESCENT DR                     1140 KAMEHAMEHA IV RD
HARVEY LA 70058            PITTSBURGH PA 15213                       100                                 HONOLULU HI 96819
                                                                     VACAVILLE CA 95688




035689P001-1409A-265       031329P001-1409A-265                      034447P001-1409A-265                032988P001-1409A-265
AYUSHI GULATI              GULF COAST FACTORY SHOPS, LIMI            GULF COAST FACTORY SHOPS, LIMITED   GULF POWER CO
164 PHILLIPS RD            PO BOX 776266                             PO BOX 776266                       SOUTHERN CO
APT 174A                   CHICAGO IL 60677-6266                     CHICAGO IL 60677-6266               SAM WHITE
SOMERSET NJ 08873                                                                                        1280 OAKBROOK DR
                                                                                                         NORCROSS GA 30093



032988S001-1409A-265       035285P001-1409A-265                      037781P001-1409A-265                031330P001-1409A-265
GULF POWER CO              GULF VIEW SQUARE                          GULF VIEW SQUARE REALTY LLC         GULF VIEW SQUARE, LLC
1 ENERGY PL                9409 US HWY 19 SPACE 553C                 NAMDAR REALTY GROUP LLC             PO BOX 368
PENSACOLA FL 32520-0001    PORT RICHEY FL 34668                      JOSHUA S HACKMAN                    EMERSON NJ 07630
                                                                     150 GRAT NECK RD STE 304
                                                                     GREAT NECK NY 11021



007377P001-1409A-265       009686P001-1409A-265                      034904P001-1409A-265                029845P001-1409A-265
TEA M GULIFORD             ATHENA GULLO                              GUMBERG                             GUMBERG (LANDLORD)
6000 E MAINSGATE           4136 WEST WALWORTH RD                     SOUTHLAND MALL PROPERTIES LLC       SOUTHLAND MALL PROPERTIES LLC
APT 202                    MACEDON NY 14502                          GUMBERG ASSET MANAGEMENT CORP       GUMBERG ASSET MANAGEMENT CORP
WICHITA KS 67220                                                     3200 NORTH FEDERAL HIGHWAY          LEGAL DEPARTMENT
                                                                     FT. LAUDERDALE FL 33306             3200 NORTH FEDERAL HIGHWAY
                                                                                                         FT. LAUDERDALE FL 33306
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005878P001-1409A-265             003370P001-1409A-265                   006867P001-1409A-265            004548P001-1409A-265
MAKAYLA M GUNDLACH               LEANNA GUNN                            MARIA A GUNNING                 FAITH L GUNTER
1303 S ALBEMARLE ST              59 DEMAREST AVE                        5263 PERRY POLK DR              921 MARKS ROAD APARTMENT F
YORK PA 17403                    WEST NYACK NY 10994                    FAIRFIELD CA 94533              APT F
                                                                                                        BRUNSWICK OH 44212




003810P001-1409A-265             001761P001-1409A-265                   031331P001-1409A-265            030302P001-1409A-265
YUHUI GUO                        ASHIA J GURLEY                         GURNEE MILLS OPERATING CO LLC   DARRON M GURNEY
939 LA MESA TER                  169 MYTILENE DR                        PO BOX 100305                   ADDRESS INTENTIONALLY OMITTED
UNIT A                           NEWPORT NEWS VA 23605                  ATLANTA GA 30384-3035
SUNNYVALE CA 94086




006127P001-1409A-265             037317P001-1409A-265                   007400P001-1409A-265            004317P001-1409A-265
TAYLOR A GURNEY                  MILAN GURON                            MILAN K GURON                   JACQUELIN GURROLA
1776 S RTE 116                   2615 GILL AVE                          2615 GILL AVE                   14333 BABCOCK RD
BRISTOL VT 05443                 BAKERSFIELD CA 93306                   BAKERSFIELD CA 93306            4113 B
                                                                                                        SAN ANTONIO TX 78249




002752P001-1409A-265             003160P001-1409A-265                   003077P001-1409A-265            009635P001-1409A-265
VERONICA GURROLA                 JENNIFER A GURULE                      MEAGAN N GUSTAFSON              TAYLOR M GUSTINIS
1150 COUNTRYSIDE DR              319 TERNWING DR                        1575 STANZIONE DR               20598 HIGHLAND LAKE DR
HANOVER PARK IL 60133            ARNOLD MD 21012                        NORTH DIGHTON MA 02764          LAGO VISTA TX 78645




009375P001-1409A-265             005994P001-1409A-265                   004246P001-1409A-265            008181P001-1409A-265
LUZ M GUTIERREZ PEREZ            ASHLIE N GUTIERREZ TERRASAZ            ANGELA J GUTIERREZ              CINTHIA GUTIERREZ
57 BELLEVUE AVE                  1701 S EUCLID AVE                      3810 NE 10TH AVE                3625 N LUNA AVE
APT 2                            SIOUX FALLS SD 57105                   AMARILLO TX 79107               CHICAGO IL 60641
HAVERHILL MA 01832




030291P001-1409A-265             002477P001-1409A-265                   037280P001-1409A-265            001394P001-1409A-265
COURTNEY GUTIERREZ               COURTNEY D GUTIERREZ                   EDDIE GUTIERREZ                 EDDIE S GUTIERREZ
ADDRESS INTENTIONALLY OMITTED    6040 SELLERS AVE                       816 W F STREET                  816 W F ST
                                 OAKLEY CA 94561                        ONTARIO CA 91762                ONTARIO CA 91762




007763P001-1409A-265             008419P001-1409A-265                   006881P001-1409A-265            006111P001-1409A-265
GABRIELLA M GUTIERREZ            IANINA GUTIERREZ                       JAZMINE V GUTIERREZ             KARINA C GUTIERREZ
200 ALAVARDO ST                  3185 WINCHESTER CT EAST                1316 AZALEA ST                  4476 SW 136 PL
CHULA VISTA CA 91910             AURORA IL 60504                        A                               MIAMI FL 33175
                                                                        OXNARD CA 93036
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007149P001-1409A-265         003549P001-1409A-265                 037309P001-1409A-265             003554P001-1409A-265
KASSANDRA GUTIERREZ          KATHERINE GUTIERREZ                  LESLEY GUTIERREZ                 LESLEY C GUTIERREZ
135 JESSIE AVE               324 SPRINGMEADOW DR                  22138 HART ST                    22138 HART ST
MANTECA CA 95337             POPLAR GROVE IL 61065                CANOGA PARK CA 91303             CANOGA PARK CA 91303




001506P001-1409A-265         006408P001-1409A-265                 009238P001-1409A-265             035690P001-1409A-265
MARIAH D GUTIERREZ           MARIELA L GUTIERREZ                  MELISSA D GUTIERREZ              PEREZ LUZ M GUTIERREZ
2574 BOLKER DR               129 ABBOTT ST                        432 W 67TH LN                    57 BELLEVUE AVE
2574                         APT 1                                MERRILLVILLE IN 46410            APT 2
PORT HUENEME CA 93041        LAWRENCE MA 01843                                                     HAVERHILL MA 01832




000922P001-1409A-265         006420P001-1409A-265                 003070P001-1409A-265             035691P001-1409A-265
WHITNEY R GUTIERREZ          MILLY H GUTIERREZAVILA               THEARA GUYTON                    THEARA GUYTON
1733 N RENSSELAER            7611 SPRINGFIELD HILLS DR            1742 PATTON AVE                  1472 PATTON AVE
GRIFFITH IN 46319            SPRINGFIELD VA 22153                 ASHEVILLE NC 28806               B
                                                                                                   ASHEVILLE NC 28806




003714P001-1409A-265         007612P001-1409A-265                 008555P001-1409A-265             007505P001-1409A-265
HILDA GUZMAN VILLEGAS        AALIYAH S GUZMAN                     ABRIL Y GUZMAN                   ALEXUS M GUZMAN
416 E CARLTON ST             4307 S OWASSO AVE                    2207 DOBERN AVE                  112 WOLF LN
ONTARIO CA 91761             5                                    SAN JOSE CA 95116                WACO TX 76705
                             TULSA OK 74105




001675P001-1409A-265         006257P001-1409A-265                 037247P001-1409A-265             007606P001-1409A-265
AMARISSA M GUZMAN            ANISSA GUZMAN                        ANISSA GUZMAN                    ASHLY GUZMAN
2322 LATONA DR NE            2957 W 14TH ST                       ANSISA GUZMAN                    533 HAMILTON ST APT 2
KEIZER OR 97303              LOS ANGELES CA 90006                 2957 W 14TH ST                   ALBANY NY 12203
                                                                  LOS ANGELES CA 90006




001714P001-1409A-265         008133P001-1409A-265                 001815P001-1409A-265             000608P001-1409A-265
CECILIA GUZMAN               LESLIE GUZMAN                        RAEDA GUZMAN                     SHAYLA S GUZMAN
6512 LEE VLY DR              622 WEST 11TH ST                     308 SALEM ST                     4138 NW 88TH AVE
SPRINGFIELD VA 22150-4224    WICHITA KS 67203                     BRIDGEPORT CT 06606-4621         205
                                                                                                   CORAL SPRINGS FL 33065




006357P001-1409A-265         002435P001-1409A-265                 035429P001-1409A-265             008180P001-1409A-265
VANESSA GUZMAN               VANESSA M GUZMAN                     VILLEGAS HILDA GUZMAN            YESENIA GUZMAN
10533 DECKER AVE             3402 PRESTON AVE                     416 E CARLTON ST                 224A CHOSIN CIR
SAINT LOUIS MO 63114         #813                                 ONTARIO CA 91761                 OCEANSIDE CA 92058
                             PASADENA TX 77505
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010446P001-1409A-265              007077P001-1409A-265                   032070P001-1409A-265           036529P001-1409A-265
GWINNET COUNTY GEORGIA            KAREN GWYNN                            GXS INC                        GXS INC
REVENUE LICENCE ADMINISTRATION    1868 BOSTON AVE                        ANTHONY ECHAUZ                 LOCK BOX 29144 NETWORK PL
PO BOX 1045                       BRIDGEPORT CT 06610                    LOCK BOX                       CHICAGO IL 60673-1291
LAWRENCEVILLE GA 30046                                                   29144 NETWORK PL
                                                                         CHICAGO IL 60673-1291



030973P001-1409A-265              031332P001-1409A-265                   003522P001-1409A-265           002770P001-1409A-265
H AND C COLLECTION FACTORY INC    H/S FLORENCE LLC                       JENNY T HA                     LEAH N HAACK
CINDY KAE                         DEPT 40010 PO BOX 740209               9630 CLEAR SKY RD              11914 SUMMERSET LN
1129 S BOYLE AVE                  ATLANTA GA 30374-0209                  LINCOLN NE 68505               BURNSVILLE MN 55337
#204
LOS ANGELES CA 90023



003797P001-1409A-265              010489P001-1409A-265                   000614P001-1409A-265           030974P001-1409A-265
TAYLER A HAACK                    HAB-BPT                                NARJES H HACHEM                HACHETTE BOOK GROUP
4082 STONEWOOD CT                 PO BOX 21810                           5724 HARVEST LN                WHITNEY LUKEN
NEWPORT MI 48166                  LEHIGH VALLEY PA 18002-1810            TOLEDO OH 43623                53 STATE ST
                                                                                                        BOSTON MA 02109




036223P001-1409A-265              006634P001-1409A-265                   002191P001-1409A-265           001256P001-1409A-265
HACHETTE BOOK GROUP               AUDREY HACKETT                         RONEISHA HACKETT               DIANNA HADDAD
53 STATE ST                       149 S CHAPPELL RD                      112 E I ST                     4943 S FIELD CT
BOSTON MA 02109                   HOLLISTER CA 95023                     NEWTON NC 28658-3517           DENVER CO 80123




001250P001-1409A-265              032071P001-1409A-265                   008358P001-1409A-265           006136P001-1409A-265
TONYIA N HADEED                   HADIA KABIR                            HANA M HAFEZ                   MEGAN N HAFFEY
425 CAROLINA AVE                  5039 COPPER RIDGE CT                   4600 SILVERHILL DR             835 ACADEMY CT
WHITEHALL PA 18052-7701           SIMI VALLEY CA 93063                   KNOXVILLE TN 37921             PAINESVILLE OH 44077




032072P001-1409A-265              004332P001-1409A-265                   001062P001-1409A-265           035281P001-1409A-265
HAFLINGER AND ASSOCIATES, INC     KATHERINE A HAGEMAN                    SUZANNE N HAGEMANN             HAGERSTOWN
PMB-295                           2238 HIGHLAND HILL DR                  6255 W ARBY AVE UNIT 297       17301 VLY MALL RD SPACE 298
3089C CLAIREMONT DR               SAINT PETERS MO 63376                  LAS VEGAS NV 89118             HAGERSTOWN MD 21740
SAN DIEGO CA 92117-6892




005583P001-1409A-265              002652P001-1409A-265                   035692P001-1409A-265           007036P001-1409A-265
NICOLE E HAGLOCH                  LINDSEY HAHN                           BROOKLYNN HAIRSTON             SARA C HAK
9895 CROTTINGER RD                160 SHERBROOKE RD                      319 BLESSINGER DR              2108 SW 5TH ST
PLAIN CITY OH 43064               LINDENHURST NY 11757                   FT WALTON BEACH FL 32547       BATTLE GROUND WA 98604
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004109P001-1409A-265            003501P001-1409A-265                004238P001-1409A-265              005786P001-1409A-265
MAYA HAKEEM                     CAPRIS A HALE                       LAKISHA D HALE                    ISABELLE C HALEY
2254 CHICAGO RD                 100 VLG PKWY                        154 JEWETT ST                     11452 GEIST WOODS DR
WARREN MI 48092                 UNIT#906                            SPRINGFIELD MA 01129              INDIANAPOLIS IN 46236
                                SAVOY IL 61874




037722P002-1409A-265            001469P001-1409A-265                005168P001-1409A-265              030347P001-1409A-265
SAVANNAH HALL                   ANNA HALL                           CHRISTY L HALL                    GAYLA HALL
14117 NIGHTHAWK TERR            1140 LODGEWOOD WAY                  601 MILAN CT                      ADDRESS INTENTIONALLY OMITTED
LAKEWOOD RANCH FL 34202         OXNARD CA 93030-3429                MONTGOMERY AL 36109




001284P001-1409A-265            007785P001-1409A-265                003516P001-1409A-265              005728P001-1409A-265
GAYLA D HALL                    KENDALL HALL                        LATRICE N HALL                    MARIAH J HALL
27897 MAPLE ST                  7801 SCENIC HWY                     4200 CYPRESS CREEK PKWY           1024 34TH ST
SELIGMAN MO 65745-6129          APT 732B                            337                               BELLINGHAM WA 98229
                                BATON ROUGE LA 71202                HOUSTON TX 77068




004824P001-1409A-265            003024P001-1409A-265                003879P001-1409A-265              005493P001-1409A-265
SAVANNAH J HALL                 TABITHA B HALL                      TACARIA HALL                      TARJAE S HALL
14117 NIGHTHAWK TERR            760 SW 135 TER                      4860 THALES RD                    4407 LANDRUM AVE
BRADENTON FL 34202              DAVIE FL 33325                      K                                 DALLAS TX 75216
                                                                    WINSTON SALEM NC 27104




008983P001-1409A-265            006873P001-1409A-265                004470P002-1409A-265              003285P001-1409A-265
TASHARA HALL                    EILY G HALLAGAN                     ASHTON J HALLETT                  OLIVIA B HALLIBURTON
2833 SOUTH ADAM ST              3 GREEN HILL LN                     4601 DE ZAVALA RD APT 422         1105 BRIDGE AVE
701                             PITTSFORD NY 14534                  SAN ANTONIO TX 78249-2006         309
TALLAHASSEE FL 32301                                                                                  KNOXVILLE TN 37916




005182P001-1409A-265            008211P001-1409A-265                037087P001-1409A-265              005471P001-1409A-265
ALEXANDRIA J HALLMAN            ASHLEY V HALLMARK                   VICTORIA HALPIN                   VICTORIA R HALPIN
1101 NORTH MONOCACY CREEK RD    10015 LAKE CREEK PKWY               537 POTTER BLVD                   537 POTTER BLVD
DOUGLASSVILLE PA 19518          APT 112                             BRIGHTWATERS NY 11718             BRIGHTWATERS NY 11718
                                AUSTIN TX 78729




009046P001-1409A-265            000840P001-1409A-265                007543P001-1409A-265              029008P001-1409A-265
ALANA C HALTIWANGER             CHRISTINA M HALVERSON               RACHANA HAM                       SARAH C HAMDEN
2116 COURTLAND AVE              703 ALLEGHENY AVE                   2739 BURLINGTON PL                28432 VIOLET DR
CHARLESTON SC 29403             APT 40                              STOCKTON CA 95209                 CHESTERFIELD MI 48047
                                BEAUMONT CA 92223
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002400P001-1409A-265                    010595P001-1409A-265                  032073P001-1409A-265                      010448P001-1409A-265
COLLETTE C HAMERSKY                     HAMILTON COUNTY CLERK                 HAMILTON COUNTY TREASURER                 HAMILTON COUNTY TRUSTEE
930 ELDON DR                            RM 201 HAMILTON COUNTY                33 N 9TH ST                               PO BOX 11047
LINCOLN NE 68510                        COURTHOUSE                            NOBLESVILLE IN 46060                      CHATTANOOGA TN 37401
                                        CHATTANOOGA TN 37343




037590P001-1409A-265                    031333P001-1409A-265                  031334P001-1409A-265                      036531P002-1409A-265
HAMILTON MALL LLC                       HAMILTON MALL, LLC                    HAMILTON PLACE CMBS LLC                   HAMILTON PLACE CMBS LLC
BALLARD SPAHR LLP                       LOCKBOX 1024805                       LEBCON ASSOCIATES LTD                     BY CBL AND ASSOCIATES MANAGEMENT INC
LESLIE C HEILMAN ESQ                    PO BOX 70280                          2030 HAMILTON PL BLVD                     GARY RODDY
919 N MARKET ST 11TH FL                 PHILADELPHIA PA 19176-0280            STE 500                                   2030 HAMILTON PL BLVD STE 500
WILMINGTON DE 19801                                                           CHATTANOOGA TN 37421-6000                 CHATTANOOGA TN 37421-6000



036531S001-1409A-265                    034358P001-1409A-265                  036956P001-1409A-265                      031335P001-1409A-265
HAMILTON PLACE CMBS LLC                 HAMILTON TC LLC                       HAMILTON TC LLC                           HAMILTON TOWN CENTER
BY CBL AND ASSOCIATES MANAGEMENT INC    867974 RELIABLE PKWY                  A DELAWARE LIMITED LIABILITY CO           HAMILTON TC LLC
CALEB HOLZAEPFEL                        CHICAGO IL 60686-0079                 SIMON PROPERTY GROUP LP RONALD M TUCKER   867974 RELIABLE PKWY
736 GEORGIA AVE STE 300                                                       225 WEST WASHINGTON ST                    CHICAGO IL 60686-0079
CHATTANOOGA TN 37402                                                          INDIANAPOLIS IN 46204



007168P001-1409A-265                    003170P001-1409A-265                  005417P001-1409A-265                      004145P001-1409A-265
ASHLEIGH J HAMILTON                     BROOKE E HAMILTON                     DADREANNA M HAMILTON                      JANE T HAMILTON
8473 BUCKTHORN DR                       1923 MYRTLE ST                        12611 NE 99TH ST                          8082 VETERANS PKWY
SAINT LOUIS MO 63134                    DAKOTA CITY NE 68731                  JJ254                                     1401
                                                                              VANCOUVER WA 98682                        COLUMBUS GA 31909




005533P001-1409A-265                    002415P001-1409A-265                  001470P001-1409A-265                      035693P001-1409A-265
RAVEN R HAMILTON                        TURIYA HAMILTON                       JALEESA S HAMMON                          JALEESA S HAMMON
320 MISTLETOE LN                        512 14TH ST                           138 RIPLEY PL                             71 BUTLER ST
KYLE TX 78640                           RACINE WI 53403                       APT 2                                     APT 2
                                                                              ELIZABETH NJ 07206-2053                   ELIZABETH NJ 07206-2053




003962P001-1409A-265                    003458P001-1409A-265                  030714P001-1409A-265                      002989P001-1409A-265
MIRANDA L HAMMONDS                      MICHELLE L HAMORSKI                   HANA FINANCIAL, INC                       ENHAM HANANIA
6018 PK AVE                             221 SKYLINE DR STE 208373             JOSEPH KIM                                2232 AUTUMN OAK PL
WILMINGTON NC 28403                     EAST STROUDSBURG PA 18301             1000 WILSHIRE BLVD FL 20                  STOCKTON CA 95209
                                                                              LOS ANGELES CA 90017




005685P001-1409A-265                    005017P001-1409A-265                  035694P001-1409A-265                      003935P001-1409A-265
KAMALEI HANAWAHINE                      NAKKIYAH HANCOCK KAUTHER              KAUTHER NAKKIYAH HANCOCK                  SARA K HANCOCK
47-136 WAILEHUA RD                      48 FOXWOOD DR                         48 FOXWOOD DR                             733 N 17TH ST
KANEOHE AL 96744                        SMYRNA DE 19977                       SMYRNA DE 19977                           332B
                                                                                                                        LINCOLN NE 68508
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004266P001-1409A-265              006252P001-1409A-265                      005939P001-1409A-265               035383P002-1409A-265
ELISABETH HANDUGAN                ADRIANA HANDY                             TIARA HANGER                       HANGSMART
1565 ROADRUNNER DR                1504 NANDINA DR                           2001 NORTHPORT DR                  ELIZABETH DAVIS
ROSEVILLE CA 95747                711                                       #2                                 PO BOX 8970
                                  ARLINGTON TX 76014                        MADISON WI 53704                   MESA AZ 85214




032074P001-1409A-265              034252P001-1409A-265                      005517P001-1409A-265               004305P001-1409A-265
HANGSMART, LLC                    HANGSMART, LLC                            SHYLYNN HANKINS                    LILLYANA HANNA
TERRY LAMBERT                     3317 S HIGLEY RD STE 114 # 490            6374 LAMAR ST                      9917 COZY GLEN CIR
3317 S HIGLEY RD STE 114 # 490    GILBERT AZ 85297                          ARVADA CO 80003                    LAS VEGAS NV 89117
GILBERT AZ 85297




002369P001-1409A-265              007440P001-1409A-265                      000923P001-1409A-265               010062P001-1409A-265
TAISHA HANNAH                     TAJAHRAE HANNAH                           ERIN K HANNON                      HANOVER TOWN CLERK
16912 GLEN OAKS CT                26125 POWERS                              8618 SAXON CIR                     550 HANOVER ST
COUNTRY CLUB HILLS IL 60478       DEARBORN HEIGHTS MI 48125                 BALTIMORE MD 21236                 HANOVER MA 02339




002247P001-1409A-265              008880P001-1409A-265                      001078P001-1409A-265               004573P001-1409A-265
STEVEN W HANRATH                  ALEXIS S HANSELMAN                        BROOKE E HANSEN                    CLEMENTINA L HANSEN
3851 WILDWOOD RD                  1635 ELMCREST DR                          1105 CORONADA DR                   74672 LESLIE AVE
SAN DIEGO CA 92107                RENO NV 89503                             RACINE WI 53402                    PALM DESERT CA 92260




000646P001-1409A-265              009086P001-1409A-265                      008231P001-1409A-265               037465P001-1409A-265
STASIA B HANSERD                  HALIE M HANSHAW                           PRAIRIE M HANSON                   PRAIRIE M HANSON
827 COOLIDGE PL                   1511 LAYFETTE RD                          4409 W VALHALLA BLVD               PRAIRIE
ROCKFORD IL 61107                 5                                         APT 26                             HANSON
                                  KALAMAZOO MI 49006                        SIOUX FALLS SD 57106               4209 W VALHALLA BLVD
                                                                                                               APT 14
                                                                                                               SIOUX FALLS SD 57106


003300P001-1409A-265              030212P001-1409A-265                      005251P001-1409A-265               003643P001-1409A-265
SAMANTHASUE C HANSON              ANDREA C HANSSEN                          EMILY HARADEN                      KAYLAN HARALAMBIDES
76 LITCHFIELD ST                  ADDRESS INTENTIONALLY OMITTED             141 PINE ST                        388 PUDDING ST
THOMASTON CT 06787                                                          NORWELL MA 02061                   CARMEL NY 10512




007388P001-1409A-265              002883P001-1409A-265                      033642P001-1409A-265               003233P001-1409A-265
BREYANNA L HARBIN                 ELIZABETH R HARBISON                      HARD ROCK HOTEL LAS VEGAS NEVADA   JASMINE K HARDGE
1512 HOLLOWHILL DR                1410 BUFFAOL SHOALS RD                    234 DESERT ARROYO CT               9851 UNIVERSITY PKWY
701                               LINCOLNTON NC 28092                       HENDERSON NV 89012                 APT W-243
BRYAN TX 77082                                                                                                 PENSACOLA FL 32514
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004673P001-1409A-265                        036455P001-1409A-265                             005863P001-1409A-265                   033210P001-1409A-265
DAYSHONA T HARDIMON                         CRYSTAL N HARDIN                                 SHAZEEMA HARDIN                        KRISTINA HARDIN-MOSS
2900 W AUGSTANA                             2760 COY KAYLOR PL APT 11                        3710 10TH ST DR NE                     5728 W CINNABAR AVE
PEORIA IL 61605                             FAYETTEVILLE AR 72703                            HICKORY NC 28601                       GLENDALE AZ 85302




033210S002-1409A-265                        037609P001-1409A-265                             007259P001-1409A-265                   000645P001-1409A-265
KRISTINA HARDIN-MOSS                        KRISTINA HARDIN-MOSS                             HEATHER M HARDING                      RACHEL T HARDNETT
LAW OFFICE OF FREDERIC G. LEMBERG           FREDERIC G LEMBERG                               13103 PENN SHOP RD                     1464 ROXANNA RD NW
FREDERIC G. LEMBERG                         LAW OFFICE OF FREDERIC G LEMBERG                 MT AIRY MD 21771                       WASHINGTON DC 20012
17015 NORTH SCOTTSDALE ROAD                 17015 N SCOTTSDALE RD STE 225
SUITE 225                                   SCOTTSDALE AZ 85255
SCOTTSDALE AZ 85255


008134P001-1409A-265                        004360P002-1409A-265                             035280P001-1409A-265                   010426P001-1409A-265
AKYIAH HARDY                                MICHAELA M HARDY                                 HARFORD                                HARFORD COUNTY
6118 WOLF PK DR APT 201 A                   908 CEDAR AVE APT 3                              696 BEL AIR RD SPACE 36 & 38           PO BOX 64069
RALEIGH NC 27606                            PITTSBURGH PA 15212-4868                         BEL AIR MD 21014                       BALTIMORE MD 21264-4069




032747P001-1409A-265                        036534P002-1409A-265                             036534S001-1409A-265                   030627P001-1409A-265
HARFORD MALL BUSINESS TRUST                 HARFORD MALL BUSINESS TRUST                      HARFORD MALL BUSINESS TRUST            SUTINYA HARGRAVE
696A BEL AIR RD                             BY CBL AND ASSOCIATES MANAGEMENT INC             BY CBL AND ASSOCIATES MANAGEMENT INC   SUTINYA RAHNEE BUTCHER
BELAIR MD 21014-4223                        GARY RODDY                                       CALEB HOLZAEPFEL                       ADDRESS INTENTIONALLY OMITTED
                                            2030 HAMILTON PL BLVD STE 500                    736 GEORGIA AVE STE 300
                                            CHATTANOOGA TN 37421-6000                        CHATTANOOGA TN 37402



001212P001-1409A-265                        004597P002-1409A-265                             005995P001-1409A-265                   035027P001-1409A-265
SUTINYA R HARGRAVE                          MEGHAN M HARGROVE                                BRYANNA F HARJU                        HARLEM IRVING
4816 LASSO LN                               1160 DESMOND ST                                  535 BOULDER DR                         FOREST HARLEM PROPERTIES LIMITED PARTNERSHIP
MCKINNEY TX 75070                           PORT CHARLOTTE FL 33952-2875                     303                                    THE HARLEM IRVING COMPANIES INC
                                                                                             DULUTH MN 55811                        4104 NORTH HARLEM AVE
                                                                                                                                    NORRIDGE IL 60706



029846P002-1409A-265                        029846S001-1409A-265                             010080P001-1409A-265                   010080S001-1409A-265
HARLEM IRVING (LANDLORD)                    HARLEM IRVING (LANDLORD)                         HARLINGEN TAX OFFICE                   HARLINGEN TAX OFFICE
FOREST HARLEM IRVING LIMITED PARTNERSHIP    FOREST HARLEM PROPERTIES LIMITED PARTNERSHIP     609 N SUNSHINE STRIP                   LINEBARGER GOGGAN BLAIR AND SAMPSON LLP
THE HARLEM IRVING COMPANIES INC             THE HARLEM IRVING COMPANIES INC                  PO BOX 2643                            DIANE WADE SANDERS
GREGORY E FIX                               GENERAL COUNSEL                                  HARLINGEN TX 78551-2643                PO BOX 17428
4104 NORTH HARLEM AVE                       4104 NORTH HARLEM AVE                                                                   AUSTIN TX 78760
NORRIDGE IL 60706                           NORRIDGE IL 60706


009032P001-1409A-265                        007376P001-1409A-265                             005544P001-1409A-265                   004889P001-1409A-265
MARIAH HARMON                               TAMIKA L HARMON                                  VENISHA C HARMON                       JENNIFER L HARNESS
2545 PILLORY PT                             4417 W DUNBAR DR                                 21000 COUNTY RD 4202                   474 PKWY DR
CIBOLO TX 78108                             LAVEEN AZ 85339                                  CHANDLER TX 75758                      C
                                                                                                                                    SHERMAN IL 62684
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030975P001-1409A-265            036224P001-1409A-265                       007179P001-1409A-265       008831P001-1409A-265
HARPER COLLINS PUBLISHERS       HARPER COLLINS PUBLISHERS                  BRIA N HARPER              NAZEERA N HARPER
MEGAN CARR                      56 GLEN MAURA NATZ BLVD STE 300            701 N FELL                 533 FOUR MILE BRANCH RD
56 GLEN MAURA NATZ BLVD         MOOSIC PA 18507-2132                       3                          983
STE 300                                                                    NORMAL IL 61761            SICKLERVILLE NJ 08081
MOOSIC PA 18507-2132



037066P002-1409A-265            006548P001-1409A-265                       007697P001-1409A-265       002858P001-1409A-265
HARPERCOLLINS PUBLISHERS LLC    ANGELA L HARRAWAY                          FAITH HARRELL              LISA M HARRIGAN
RAYMOND ALBANY                  1813 SOUTH 23RD ST                         10294 42ND AVE             240 CHARLES ST
53 GLENMAURA BLVD SUITE 300     LOUISVILLE KY 40210                        APT 239                    2ND FL
MOOSIC PA 18507-2132                                                       ALLENDALE MI 49401         WATERBURY CT 06708




004025P001-1409A-265            007553P001-1409A-265                       002360P001-1409A-265       008820P001-1409A-265
KAMMI HARRION                   ALEXANDRIA S HARRIS                        ANDREA C HARRIS            AVELON S HARRIS
3571 E SANTA FE LN              8730 THOMAS DR APT                         3526 W 5585 S              527 E TURNER RD
GILBERT AZ 85297                1201 A                                     TAYLORSVILLE UT 84129      PRICHARD AL 36610-2455
                                PANAMA CITY BEACH FL 32408




005682P001-1409A-265            009550P001-1409A-265                       003552P001-1409A-265       007997P001-1409A-265
BREANNA HARRIS                  BRITTNEY HARRIS                            CHEZIK HARRIS              CORDESIA L HARRIS
2608 CRESCENT LN                349 FALLS CREEK DR                         1102 LONG HUNTER LN        3608 WINDERMERE DR
APT D                           SPRING LAKE NC 28390                       NASHVILLE TN 37217         MEMPHIS TN 38128
GASTONIA NC 28052




003952P001-1409A-265            009150P001-1409A-265                       004327P001-1409A-265       000492P001-1409A-265
COURTNEY L HARRIS               DANIELLE P HARRIS                          DAYJA M HARRIS             JASOLYN HARRIS
1233 MARSHALL DR                835 DANA DR                                2124 BRIANS LN             201 BRIDGEFIELD PL
MARRERO LA 70072                COATESVILLE PA 19320                       SUFFOLK VA 23434           APT 125
                                                                                                      DURHAM NC 27705




002833P001-1409A-265            007188P001-1409A-265                       003448P001-1409A-265       003529P001-1409A-265
KAITLYN M HARRIS                KATHRYN G HARRIS                           LADAYSHA M HARRIS          LISA R HARRIS
29511 BOCK                      3696 S 400 E                               6430 SILK LEAF LN          9194 CONIFER LN
GARDEN CITY MI 48135            BRINGHURST IN 46913                        JACKSONVILLE FL 32244      B
                                                                                                      RANCHO CUCAMONGA CA 91730




000506P001-1409A-265            005774P001-1409A-265                       005176P001-1409A-265       004098P001-1409A-265
MADISON HARRIS                  MADISON HARRIS                             MEGAN R HARRIS             MICHAELA I HARRIS
9401 WILSON BLVD                4752 YORKTON AVE SW                        3119 W SHANNON DR          607 JACKSON AVE
LOT206                          WYOMING MI 49519                           FLAGSTAFF AZ 86001         RICHMOND VA 23222
COLUMBIA SC 29203
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004613P001-1409A-265             001596P002-1409A-265                005336P001-1409A-265              001715P001-1409A-265
MILLICENT J HARRIS               SAMANTHA L HARRIS                   SAYURI T HARRIS                   SHANICE I HARRIS
5942 KRISTEN DR                  827 ASHUELOT DR                     1824 HAVILAND DR                  1679 RUSTIC WAY
JACKSON MS 39211                 WASHINGTON NH 03280                 VIRGINIA BEACH VA 23454           MELBOURNE FL 32935-4414




003571P002-1409A-265             004428P001-1409A-265                007807P001-1409A-265              006683P001-1409A-265
SHIREE A HARRIS                  TAIA B HARRIS                       TIANNA E HARRIS                   TRAVAHNNI E HARRIS
P O BOX 1147                     1745 WELLS RD                       10114 DORSET ST                   100 NYACK PLZ
SALTILLO MS 38866-1147           #1201                               RANCHO CUCAMONGA CA 91730         177
                                 ORANGE PARK FL 32073                                                  NYACK NY 10960




000546P001-1409A-265             010114P001-1409A-265                008721P001-1409A-265              033272P001-1409A-265
TYANNA E HARRIS                  HARRIS-FORT BEND MUD #4             TYAZIA HARRISJONES                HARRISON SHRIFTMAN LLC
12815 MEADOW CREEK LN APT 302    873 DULLES AVE STE A                18 BRIARWOOD AVE                  141 WEST 36TH ST
PINEVILLE NC 28134               STAFFORD TX 77477-5753              WILLIAMSBURG VA 23185             TWELVE FLOOR
                                                                                                       NEW YORK NY 10018




006910P001-1409A-265             008261P001-1409A-265                006964P001-1409A-265              002648P001-1409A-265
MANAL HARROUD                    KATELYN HARSTAD                     ASHLI L HART                      MEGAN HARTEY
15 RHOBELLA DR                   3406 NW 108TH ST                    200 S BONNIE BRAE ST              10829 PELLE CIR
APT A                            VANCOUVER WA 98685                  10206                             PHILADELPHIA PA 19154
POUGHKEEPSIE NY 12603                                                DENTON TX 76201




008380P001-1409A-265             009168P001-1409A-265                009536P001-1409A-265              002927P001-1409A-265
BREANNA HARTFIEL                 HELENE N HARTFIELD                  LARISHA N HARTFIELD               ALEX G HARTIGAN
45675 LAKEVIEW CT                3944 62ND AVE CT E                  602 W HOVEY AVE                   14963 STATE RTE 45 SOUTH
7206                             FIFE WA 98424                       APT 1                             WATER VALLEY KY 42085
NOVI MI 48377                                                        NORMAL IL 61761




006518P001-1409A-265             006358P001-1409A-265                003178P001-1409A-265              036651P001-1409A-265
PRESTON R HARTMEYER              HANNAH HARVEY                       MARIAH L HARVEY                   MEGHAN L HARVEY
12747 OLD BRIDGE RD              802 BRYCE CT                        2210 NEWCASLTE DR                 32600 CONCORD DR APT #422
OCEAN CITY MD 21842              I                                   1217                              MADISON HEIGHTS MI 48071
                                 WILMINGTON NC 28405                 VACAVILLE CA 95687




003667P001-1409A-265             005296P001-1409A-265                006843P001-1409A-265              005761P001-1409A-265
OLIVIA G HARVEY                  SHARQUAN J HARVEY                   TASHAYNA HARVEY                   SYDNEY N HARVISCHAK
151 WESTFALL DR                  8732 GTWY GLEN DR                   11342 HIGHWAY 73                  141 GERTRUDE AVE
TONAWANDA NY 14150               LAS VEGAS NV 89178                  GEISMAR LA 70734                  CAMPBELL OH 44405
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000830P001-1409A-265                         036594P001-1409A-265                  001726P001-1409A-265            037204P001-1409A-265
JANET R HASEGAWA                             KIM HASELMAN                          MCKENNA HASKELL                 MCKENNA HASKELL
1370 DE SOTO AVE                             UNKNOWN STORE# 286 0 0 0              69 MAIN ST                      MCKENNA HASKELL
BURLINGAME CA 94010                                                                SCHAGHITCOKE NY 12154           3 FOREST ST APT #10
                                                                                                                   GREENWICH NY 12816




005737P001-1409A-265                         003095P001-1409A-265                  004077P001-1409A-265            002479P001-1409A-265
NINA Z HASSAN                                MARISA HASTINGS                       JENNA D HATCH                   ALEXIS N HATCHER
12303 PLANO RD                               331 MACKENZIE DR                      4014 LOCH LOMAND WAY            2007 CHARTWOOD LN
204                                          JACKSON NJ 08527                      LIVERMORE CA 94551              201
DALLAS TX 75243                                                                                                    SANDSTON VA 23150




007023P001-1409A-265                         007756P001-1409A-265                  004598P001-1409A-265            005980P001-1409A-265
ANNDEE K HATCHER                             BRISHIRI HATCHETT                     SYDNEY H HATMAKER               DESTINY C HATTEN
102 MARIETTA ST #3                           4220 LANYARD DR                       330 SETTLERS LN                 789 HAMMOND DR
COLUMBIA SC 29204                            APT 1107                              CHARLOTTE NC 28202              608
                                             FORT WORTH TX 76106                                                   SANDY SPRINGS GA 30328




007460P001-1409A-265                         005429P001-1409A-265                  006560P001-1409A-265            007103P001-1409A-265
ANDREEA L HATTER                             KINDRA M HATTON                       SERENA J HAUBE                  MADISON M HAULK
19800 KENSWICK DR 1122                       1140 VERONICA LN                      1701 MALL RD                    8964 S PR 435 W
19800 KENSWICK                               EUGENE OR 97404                       APT 20                          EDINBURGH IN 46124
HUMBLE TX 77338                                                                    MONROE MI 48162




035696P001-1409A-265                         003611P002-1409A-265                  008178P001-1409A-265            008818P001-1409A-265
GRACE M HAULOTTE                             TAHLIA S HAUPTLY                      SARAH HAUPTMAN                  RENEE T HAUSMANN
7 RADLER RD                                  2481 HIGHWAY 6 E APT 34216            115 UPPER GREEN HILL RD         150 BUSWELL AVE NE
PRESTON CT 06365                             IOWA CITY IA 52240-6863               KUNKLETOWN PA 18058             PALM BAY FL 32907




003985P001-1409A-265                         001475P002-1409A-265                  000315P001-1409A-265            000200P001-1409A-265
SABRINA P HAUSRATH                           JENNIFER L HAUSTERMAN                 HAWAII ATTORNEY GENERAL         HAWAII DEPT OF LABOR AND INDUSTRIAL RELATIONS
1121 BUGSCUFFLE RD                           7827 SUGAR BEND DR                    RUSSELL SUZUKI                  DIRECTOR
WARTRACE TN 37183                            ORLANDO FL 32819-7298                 425 QUEEN ST                    830 PUNCHBOWL ST
                                                                                   HONOLULU HI 96813               HONOLULU HI 96813




000037P001-1409A-265                         009747P001-1409A-265                  009809P001-1409A-265            032075P001-1409A-265
HAWAII DEPT OF LAND AND NATURAL RESOURCES    HAWAII DEPT OF TAXATION               HAWAII DEPT OF TAXATION         HAWAII MEDICAL SVC ASSOC
KALANIMOKU BLDG                              PO BOX 3559                           PO BOX 1530                     PO BOX 29330
1151 PUNCHBOWL ST                            HONOLULU HI 96811-3559                HONOLULU HI 96806-1530          HONOLULU HI 96820-1730
HONOLULU HI 96813
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035108P001-1409A-265            000038P001-1409A-265                      036536P001-1409A-265           032076P001-1409A-265
HAWAII MEDICAL SVC ASSOC        HAWAII OFFICE OF ENVIRONMENTAL            HAWAII RETAIL SERVICES DBA     HAWAII RETAIL SVC
818 KEEAUMOKU ST PO BOX 860     QUALITY CONTROL                           HAWAII UNIFIED                 CASSI MIGUEL
HONOLULU HI 96808-0860          235 SOUTH BERETANIA ST                    84-1170 FARRINGTON HWY C1      84-1170 FARRINGTON HWY
                                STE 702                                   WAIANAE HI 96792               STE C-1
                                HONOLULU HI 96813                                                        WAIANAE HI 96792



032077P001-1409A-265            034334P001-1409A-265                      010218P001-1409A-265           010225P001-1409A-265
HAWAII RETAIL SVC               HAWAII RETAIL SVC DBA HAWAII              HAWAII STATE TAX COLLECTOR     HAWAII STATE TAX COLLECTOR
DBA HAWAII UNIFIED              84-1170 FARRINGTON HWY                    OAHU DISTRICT OFFICE           PO BOX 1530
CRYSTAL MOUSSER                 STE C-1                                   PO BOX 1425                    HONOLULU HI 96806-1530
84-1170 FARRINGTON HWY C1       WAIANAE HI 96792                          HONOLULU HI 96806-1425
WAIANAE HI 96792



032989P002-1409A-265            032989S001-1409A-265                      004328P001-1409A-265           001423P001-1409A-265
HAWAIIAN ELECTRIC CO            HAWAIIAN ELECTRIC CO                      ALIYAH L HAWKINS               KAI HAWKINS
VERNON SILVA                    1001 BISHOP ST                            11751 DELLWOOD RD              90 S LANSDOWNE AVE
PO BOX 2750                     HONLOLULU HI 96813                        VICTORVILLE CA 92392           103
HONOLULU HI 96840                                                                                        LANSDOWNE PA 19050




004277P001-1409A-265            008440P001-1409A-265                      007780P001-1409A-265           006868P002-1409A-265
KESHAWN HAWKINS                 MAECI HAWKINS                             TIARA HAWKINS                  VAQUANA V HAWKINS
10714 WINDING GREEN DR          2901 MARY BOAZ ST                         14411 BRANDYWINE HEIGHTS RD    5415 N PARAMOUNT BLVD APT 206
HUMBLE TX 77338                 RICHLAND HILLS TX 76118                   BRANDYWINE MD 20613            LONG BEACH CA 90805




031336P001-1409A-265            036537P001-1409A-265                      037592P001-1409A-265           033513P001-1409A-265
HAWTHORN LP                     HAWTHORN LP                               HAWTHORN LP                    HAY GROUP INC
US CENTENNIAL MALLS JV LLC      8750 N CENTRAL EXPY SUITE 1740            DUSTIN P BRANCH ESQ            PO BOX 828352
8750 N CENTRAL EXPY             DALLAS TX 75231                           BALLARD SPAHR LLP              PHILADELPHIA PA 19182-8352
STE 1740                                                                  2029 CENTURY PK EAST STE 800
DALLAS TX 75231                                                           LOS ANGELES CA 90067



009155P001-1409A-265            001863P001-1409A-265                      007396P001-1409A-265           006262P001-1409A-265
ASHLIE HAYES                    ELISHA HAYES                              PRECIOUS B HAYES               TYESE HAYES
6241 AMERICAS CUP AVE BLDG 1    2837 OXFORD LN                            543 GREEN ST                   826 MAYFIELD DR
TAMPA FL 33625                  FLOWER MOUND TX 75028                     543 GREEN STRE                 CEDAR HILL TX 75104
                                                                          ELIZABETH NJ 07202




004300P001-1409A-265            005078P001-1409A-265                      035697P001-1409A-265           003844P001-1409A-265
ASHLI M HAYNES                  DANIELLE HAYNES                           DANIELLE HAYNES                EMILY HAYNES
835 VISTA DR                    1510 SYLVAN LN                            408 LASALLE PL                 2480 REFLECTIONS DR
GAHANNA OH 43230                3                                         COLUMBIA MO 65203              AURORA IL 60502
                                COLUMBIA MO 65202
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005495P001-1409A-265           035410S001-1409A-265                           008974P001-1409A-265            003684P001-1409A-265
NAUJAH M HAYNES                HAYS COUNTY TAX ASSESSOR                       ALLEXIS D HAYS                  KATHRYN HAZEL
811 MORRELL AVE                MCCREARY VESELKA BRAGG AND ALLEN PC            5 MINEOLA ST                    4 GREEN ACRE LN
305                            TARA LEDAY                                     HOLTSVILLE NY 11742             CHELMSFORD MA 01824
DALLAS TX 75203                PO BOX 1269
                               ROUND ROCK TX 78680



031337P001-1409A-265           002912P001-1409A-265                           033317P001-1409A-265            000496P001-1409A-265
HCW PRIVATE DEVELOPMENT LLC    ANGEL S HEADD                                  HEALTHIER RESOURCES INC HRI     CARRA L HEALY
5256 PAYSPHERE CIR             1600 WASHINGTON BLVD                           MICHELLE FRENCH                 11025 BROWNSTONE DR
CHICAGO IL 60674               FORTE WAYNE IN 46803                           211 W MATTHEWS ST               PARKER CO 80138
                                                                              STE 203
                                                                              MATTHEW NC 28105



032078P002-1409A-265           030715P001-1409A-265                           036225P001-1409A-265            009409P001-1409A-265
HEARST MAGAZINE MEDIA          HEART AND HIPS                                 HEART AND HIPS                  DANIELLE L HEASLET
HEARST SERVICE CENTER          ANNA                                           2424 E 26TH ST                  6904 NORTH LOOP 1604 WEST
SUZANN ALT                     2424 E 26TH ST                                 VERNON CA 90058                 1102B
214 N TRYON ST                 VERNON CA 90058                                                                SAN ANTONIO TX 78249
CHARLOTTE NC 28202



002520P001-1409A-265           001333P001-1409A-265                           002574P001-1409A-265            032079P003-1409A-265
MELLISSA A HEATER              ARECIA HEATH                                   SAMANTHA M HEATH                HEATHER GILDROY PICTURES
49 WEST PK RD                  66 FOREST TRL CT                               54 NORTH ST APT 2               1962 N ALEXANDRIA
GRAND ISLAND NY 14072          COLUMBIA SC 29212                              MERIDEN CT 06451                LOS ANGELES CA 90027




030862P001-1409A-265           002751P001-1409A-265                           005207P001-1409A-265            002214P001-1409A-265
HEATHER LEONARD PC             SHANNON HEATON                                 LAURYL M HEBENSTREIT            TARA A HECK
2105 DEVEREUX CIR              727 FREEDOM DR                                 48 HAWTHORNE DR                 632 MULFORD CT
STE 111                        MARTIN GA 30557                                YUTAN NE 68073                  INDIANAPOLIS IN 46234
BIRMINGHAM AL 35243




032990P002-1409A-265           032990S001-1409A-265                           030406P001-1409A-265            032080P001-1409A-265
HECO                           HECO                                           JIM HEFFERNAN                   HEFFNER MANAGEMENT INC
PO BOX 30260                   1001 BISHOP ST                                 ADDRESS INTENTIONALLY OMITTED   80 VINE ST # 203
HONOLULU HI 96820-0260         HONLOLULU HI 96813                                                             SEATTLE WA 98121




000828P001-1409A-265           004273P001-1409A-265                           037073P001-1409A-265            008197P001-1409A-265
AMANDA R HEGLUND               ANGELICA M HEICHELBECH                         MEGAN HEINECKE                  MEGAN E HEINECKE
53 PLYMOUTH AVE                24 BEVERLY ST                                  5157 RALPH AVE                  5157 RALPH AVE
MOUNT SINAI NY 11766           CHICOPEE MA 01013                              CINCINNATI OH 45238             CINCINNATI OH 45238
                                                                              UNITED STATES
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002610P001-1409A-265            001246P001-1409A-265                         030554P001-1409A-265            001963P001-1409A-265
SYDNEY HEINEN                   BALBINA HEINIG                               PATTI HEINIG                    ZORA V HELEM LEE
1558 SW VLG DR                  9 PK CENTRAL                                 ADDRESS INTENTIONALLY OMITTED   2208 W LEHIGH AVE
TOPEKA KS 66604                 ROCKWALL TX 75087                                                            PHILADELPHIA PA 19132




004454P001-1409A-265            002496P001-1409A-265                         030976P001-1409A-265            036226P001-1409A-265
ADDALYN R HELFFRICH             SUZANNE HELLEIN                              HELLO SHISO                     HELLO SHISO
412 BIXWOOD DR                  155 ROYAL STATE ST                           LAURA GEIST                     3050 HILLEGASS AVE
SEWICKLEY PA 15143              MOUNT PLEASANT PA 15666                      3050 HILLEGASS AVE              BERKELEY CA 94705
                                                                             BERKELEY CA 94705




037596P001-1409A-265            005705P001-1409A-265                         010246P001-1409A-265            032081P001-1409A-265
HELLO SHISO LLC                 LINDSEY M HELM                               MICHAEL A HELMIG                HELPSYSTEMS LLC
FRED NORTON                     825 IVY ANN                                  BOONE COUNTY SHERIFF            HSYSTEMS TOP HOLDINGS INC
THE NORTON LAW FIRM PC          WOODWAY TX 76712                             PO BOX 198                      AMY VOGSLAND
299 THIRD ST                                                                 BURLINGTON KY 41005             NW 5955
SUITE 106                                                                                                    PO BOX 1450
OAKLAND CA 94607                                                                                             MINNEAPOLIS MN 55485-5955


035109P001-1409A-265            034205P001-1409A-265                         007580P001-1409A-265            002350P001-1409A-265
HELPSYSTEMS LLC                 HENDERSON SQURE LIMITED PARTNERSH            ARIE HENDERSON                  JALISA C HENDERSON
6455 CITY WEST PKWY             2030 HAMILTON PL BLVD                        634 BRAIDWOOD DR NW             216 BAY TREE RD
EATON PRARIE MN 55344           STE 500                                      ACWORTH GA 30101                H301
                                CHATTANOOGA TN 37421-6000                                                    DOVER DE 19901




037291P001-1409A-265            008754P001-1409A-265                         007384P001-1409A-265            005633P001-1409A-265
JALISA C HENDERSON              MARANDA HENDERSON                            NAKIYA N HENDERSON              SHANNON HENDERSON
JALISA                          4601 LYNN LN                                 3308 AUGUSTINE DR               505 STUMPBRIDGE RD
HENDERSON                       NORTH LITTLE ROCK AR 72118                   KILLEEN TX 76549                CANTON MS 39046
820 CARVEL DR
D-6
DOVER DE 19901


006879P001-1409A-265            007252P001-1409A-265                         034919P001-1409A-265            036865P001-1409A-265
TANYIAH HENDERSON               TRISTEN L HENDERSON                          HENDON PROPERTIES               HENDON PROPERTIES
1908 CANTERBURY RD              245 B LANIER DR                              KDI ATHENS MALL LLC             GEORGIA SQUAREKDI ATHENS MALL LLC
MACON GA 31206                  MADISON TN 37115                             HENDON PROPERTIES LLC           GENERAL MANAGER
                                                                             3445 PEACHTREE RD STE 465       3700 ATLANTA HWYSTE 212
                                                                             ATLANTA GA 30326                ATHENS GA 30606



029847P001-1409A-265            029848P001-1409A-265                         004779P001-1409A-265            032082P001-1409A-265
HENDON PROPERTIES (LANDLORD)    HENDON PROPERTIES (LANDLORD)                 MANAY HENDRICK                  HENDRICKS COUNTY TREASURER
KDI ATHENS MALL LLC             GEORGIA SQUAREKDI ATHENS MALL LLC            8652 DEVON HILL DR              PO BOX 2027
HENDON PROPERTIES LLC           GENERAL MANAGER                              FORT WASHINGTON MD 20744        INDIANAPOLIS IN 46206-2027
J CHARLES HENDON JR             3700 ATLANTA HIGHWAY STE 212
3445 PEACHTREE RD STE 465       ATHENS GA 30606
ATLANTA GA 30326
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009336P001-1409A-265                000697P001-1409A-265                    005613P001-1409A-265            005354P001-1409A-265
ALEXANDRA K HENDRICKS               BROOKLYNN P HENDRICKS                   BENJAMIN J HENDRICKSON          ANGEL P HENDRIX
34 PLAYSTEAD RD                     921 WALLINGTON CIR APT C                28 MARK FORE DR                 36 BUXTON AVE
1                                   GREENWOOD IN 46143                      WEST WARWICK RI 02893           NEWPORT NEWS VA 23607
NEWTON MA 02458




004499P002-1409A-265                000562P001-1409A-265                    007184P001-1409A-265            033464P001-1409A-265
CARSON N HENDRIX                    MIA R HENDRIX                           ALEXANDRA J HENGY               RACHEL HENKE
307 S LAUREL ST                     1214 31ST ST                            3829 MACKINAW ST                911 MAYWOOD CT
LINCOLNTON NC 28092-3614            DES MOINES IA 50311                     SAGINAW MI 48602                LOS ALTOS CA 94024




032083P001-1409A-265                006611P001-1409A-265                    006249P001-1409A-265            008039P001-1409A-265
HENRI PENTHER                       SOPHIE M HENRICHS                       JOANNA M HENRIGUEZ              DESTANNIE R HENRIQUEZ
714 CABIN DR                        S61 W24405 RED WING DR                  9489 CHADBURN PL                5035 SUNSET RIDGE DR
MILL VALLEY CA 94941                WAUKESHA WI 53189                       MONTGOMERY VILLAGE MD 20886     COLORADO SPRINGS CO 80917




009879P001-1409A-265                032691P001-1409A-265                    007718P001-1409A-265            005194P001-1409A-265
HENRY C LEVY, TAX COLLECTOR         HENRY C LEVY, TAX COLLECTOR             AZIAH A HENRY                   CHARISSE A HENRY
1221 OAK ST                         DONALD R WHITE TAX COLLECTOR            4302 CHAPELSTONE AVE            2019 GORDEN RIDGE DR
OAKLAND CA 94612-4286               1221 OAK ST                             #1                              EAST STROUDSBURG PA 18302
                                    OAKLAND CA 94612-4286                   BENTONVILLE AR 72712




007007P001-1409A-265                007419P001-1409A-265                    007932P001-1409A-265            001464P001-1409A-265
JAMIYAH A HENRY                     JEWLETTE Z HENRY                        MEGAN J HENRY                   REBEKAH A HENRY
6109 N 95TH                         23 NARRAGANSETT ST                      20201 WATKINS MILL RD           61 KENSINGTON ST
MILWAUKEE WI 53225                  SPRINGFIELD MA 01107                    GAITHERSBURG MD 20886           2
                                                                                                            UNIONTOWN PA 15401




007809P001-1409A-265                008269P001-1409A-265                    030253P001-1409A-265            032084P001-1409A-265
SANISE HENRY                        TATUM S HENRY                           BRIANNA HENSON                  HER STUDIO LONDON
601 N JACKSON AVE                   5919 HAYDEN DR                          ADDRESS INTENTIONALLY OMITTED   BEX WHATTLER HELEN STARK
APT 1                               MIDDLETOWN OH 45042                                                     205 THE PILL BOX
TACOMA WA 98406                                                                                             115 COVENTRY RD
                                                                                                            LONDON E26GG
                                                                                                            UNITED KINGDOM


036540P002-1409A-265                034211P003-1409A-265                    000476P001-1409A-265            005843P001-1409A-265
HER STUDIO LONDON                   HER STUDIO LONDON LIMITED               DARLINE N HER                   MAI XEE HER
HELEN STARK                         HELEN STARK                             6612 E LOWE AVE                 708 JONES ST
205 THE PILL BOX 115 COVENTRY RD    205 THE PILL BOX                        FRESNO CA 93727                 EAU CLAIRE WI 54703
LONDON E26GG                        115 COVENTRY RD
UNITED KINGDOM                      LONDON E2 6GG
                                    UNITED KINGDOM
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036136P001-1409A-265          007504P001-1409A-265                   006765P001-1409A-265           003940P001-1409A-265
HERA PRINT INC                MAKAYLA C HERBERT                      MICHELLE S HERD                HEIDI M HEREDERO
LAW OFFICE OF ALBERT CHANG    15315 MOUNT NEBO RD                    2622 LEAHY                     16003 MEADOWSIDE ST
HYUNSUK ALBERT CHANG          POOLESVILLE MD 20837                   MUSKEGON HEIGHTS MI 49444      LA PUENTE CA 91744
1225 W 190TH ST
STE 420
GARDENA CA 90248


003000P001-1409A-265          001987P001-1409A-265                   000609P001-1409A-265           000609S001-1409A-265
BREANNA HEREDIA               VERONICA HEREDIA                       VERONICA L HEREDIA             VERONICA L HEREDIA
11909 LEDA LN                 414 W PIEDMONT RD                      279 W 11TH ST                  PO BOX 533842
AUSTIN TX 78725               PHOENIX AZ 85041-8851                  OVIEDO FL 32766                ORLANDO FL 32853




003720P001-1409A-265          003690P001-1409A-265                   001166P001-1409A-265           008810P001-1409A-265
EMILY A HERLIHY               KATIE L HERMAN                         ALLYISSA M HERMANN             MICHAEL G HERMOSURA
1846 DARBY DR                 16261 NE 17TH AVE                      5149 HENDERSON RD              118 DOGWOOD DR
APT B-8                       STARKE FL 32091                        LOT 18                         NEWPORT NEWS VA 23606
FLORENCE AL 35630                                                    ERIE PA 16509




006428P001-1409A-265          009125P001-1409A-265                   006521P001-1409A-265           000746P001-1409A-265
ALIN V HERNANDEZ BAUTISTA     JACQUELINE HERNANDEZ COLATO            YOVANA K HERNANDEZ CORTES      AURORA HERNANDEZ DE ARELLANO
3706 CAROLINA BCH RD          1301 COLLEGE AVE                       9604 172ND ST W                882 S PALMETTO AVE
#1                            FREDERICKSBURG VA 22401                LAKEVILLE MN 55044             ONTARIO CA 91762
WILMINGTON NC 28412




006176P001-1409A-265          008214P001-1409A-265                   009290P001-1409A-265           009290S001-1409A-265
ROXANA HERNANDEZ RAMIREZ      ABRIL HERNANDEZ                        ALANNA M HERNANDEZ             ALANNA M HERNANDEZ
15132 SOUTH CULVER RD         4517 WYNDTREE DR                       300 FRASER PURCHASE RD         9806 DAVIDGE DR
VICTORVILLE CA 92394          191                                    LATROBE PA 15650               COLUMBIA MD 21044
                              WEST CHESTER OH 45069




008592P001-1409A-265          005974P001-1409A-265                   003828P001-1409A-265           003483P001-1409A-265
ALEXA N HERNANDEZ             ALMA G HERNANDEZ                       ANA HERNANDEZ                  ANA C HERNANDEZ
17 BOTSFORD ST                2557 DOROTHY DR                        24-54 96TH ST                  1338 OLIVE ST
MERIDEN CT 06451              MARIETTA GA 30008                      EAST ELMHURST NY 11369         SANTA ROSA CA 95407




008455P001-1409A-265          003589P001-1409A-265                   003725P001-1409A-265           005113P001-1409A-265
ANGELA HERNANDEZ              ANNA L HERNANDEZ                       ARLET HERNANDEZ                ARLY E HERNANDEZ
2315 61ST                     1402 SOUTH CHESTNUT                    560 W 34 PL                    1457 PETERS BLVD
LUBBOCK TX 79412              MCKINNEY TX 75069                      HIALEAH FL 33012               BAY SHORE NY 11706
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035698P001-1409A-265           007963P001-1409A-265                 003836P001-1409A-265             003305P001-1409A-265
BAUTISTA ALIN V HERNANDEZ      BREIDY L HERNANDEZ                   BRENDA HERNANDEZ                 BRENDA N HERNANDEZ
3706 CAROLINA BCH RD           5361 S ARTESIAN                      1127 W PRIMROSE DR               1919 CYPRESS AVE
#1                             CHICAGO IL 60632                     ORANGE CA 92868                  SANTA ANA CA 92707
WILMINGTON NC 28412




007296P001-1409A-265           003790P001-1409A-265                 037560P001-1409A-265             005617P001-1409A-265
BRITINIE HERNANDEZ             CARMEN Y HERNANDEZ                   CARMEN Y HERNANDEZ               CLARISSA M HERNANDEZ
4330 W CYPRESS AVE             236 GRAVES ST                        54 UTAH ST                       5611 GABLES ST
VISALIA CA 93277               236 GRAVES STR                       STATEN ISLAND NY 10307           SAN DIEGO CA 92139
                               STATEN ISLAND NY 10314




035699P001-1409A-265           035700P001-1409A-265                 008136P001-1409A-265             002069P001-1409A-265
COLATO JACQUELINE HERNANDEZ    CORTES YOVANA K HERNANDEZ            CRYSTAL G HERNANDEZ              DAISY L HERNANDEZ
1301 COLLEGE AVE               9604 172ND ST W                      6418 S 21ST PL                   9215 DATE ST
FREDERICKSBURG VA 22401        LAKEVILLE MN 55044                   PHOENIX AZ 85042                 APT # B
                                                                                                     FONTANA CA 92335-8726




008965P001-1409A-265           006993P001-1409A-265                 035430P001-1409A-265             006773P001-1409A-265
DANIEL A HERNANDEZ             DARLENE L HERNANDEZ                  DE ARELLANO AURORA HERNANDEZ     DEYALIS HERNANDEZ
1423 LAYTON                    33231 AGUA DULCE CYN RD              882 S PALMETTO AVE               3374 33RD AVE
HALTOM CITY TX 76117           SANTA CLARITA CA 91390               ONTARIO CA 91762                 COLUMBUS NE 68601




002635P001-1409A-265           004751P001-1409A-265                 035701P001-1409A-265             000733P002-1409A-265
DIANA M HERNANDEZ              EDWIN HERNANDEZ                      EDWIN HERNANDEZ                  ELVIA HERNANDEZ
8220 TOPANGA CANYON BLVD       7221 EAST ALASKA ST                  7221 SOUTH ALASKA ST             15730 SWAN RD
121                            TACOMA WA 98408                      TACOMA WA 98408                  FONTANA CA 92337-1417
CANOGA PARK CA 91304




003134P001-1409A-265           007316P001-1409A-265                 001902P001-1409A-265             008235P001-1409A-265
ESMERALDA HERNANDEZ            EVELYN HERNANDEZ                     FELICIA HERNANDEZ                FRANCHESKA M HERNANDEZ
1913 AZALEA ST                 327 E PEARSON AVE                    10990 HIGHLAND MEADOW VLG        19603 CRYSTAL ROCK DR
MISSION TX 78573               5                                    HOUSTON TX 77089                 #22
                               ANAHEIM CA 92802                                                      GERMANTOWN MD 20874




007382P001-1409A-265           003048P001-1409A-265                 004677P001-1409A-265             003937P001-1409A-265
GABRIELLA S HERNANDEZ          GESELLE HERNANDEZ                    JACQUALINE O HERNANDEZ           JASMINE G HERNANDEZ
209 17TH ST                    875 S RIVERSIDE AVE                  1601 E IMHOFF RD                 1200 W 87 ST
ARNOLD PA 15068                RIALTO CA 92376                      3011                             LOS ANGELES CA 90044
                                                                    NORMAN OK 73071
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008677P001-1409A-265        004363P001-1409A-265                 004981P001-1409A-265             004582P001-1409A-265
JULIET HERNANDEZ            JUVENTINO A HERNANDEZ                KAITHLEEN A HERNANDEZ            KAREN G HERNANDEZ
191 DUCHESS DR              235 N LEXINGTON PKWY                 1717 RUSSELL DR                  161 JAY ST
1612                        DEFOREST WI 53532                    GARLAND TX 75040                 SAN BENITO TX 78586
DENTON TX 76208




004912P001-1409A-265        035702P001-1409A-265                 000600P001-1409A-265             006238P001-1409A-265
KRISTAL M HERNANDEZ         KRISTAL M HERNANDEZ                  LESLIE D HERNANDEZ               LIZETTE S HERNANDEZ
CALLE CLAVEL K-2            CALLE CLAVEL K-2                     1552 PLYMOUTH CIR                4434 SCHULTE DR
URB LAS VEGAS               URB LAS VEGAS                        CARPENTERSVILLE IL 60110         CINCINNATI OH 45205
CATAO PR 00962              CATAÃ‘O PR 00962




006593P001-1409A-265        008387P001-1409A-265                 001491P001-1409A-265             000979P001-1409A-265
MARIA A HERNANDEZ           MARIA A HERNANDEZ                    MARIA D HERNANDEZ                MARIA N HERNANDEZ
4970 WEST 6TH AVE           2157 SW WAYNE ST                     302 E FRANKLIN AVE               10029 MULBERRY AVE
DENVER CO 80204             PORT SAINT LUCIE FL 34984            MESA AZ 85210                    OAK LAWN IL 60453




001182P001-1409A-265        008964P001-1409A-265                 007647P001-1409A-265             001180P001-1409A-265
MAYRA G HERNANDEZ           MIRIAM HERNANDEZ                     MIRIAM D HERNANDEZ               PERLA K HERNANDEZ
1446 S VAUGHN CIR           9958 CONSTANCE ST                    2303 BELMONT AVE                 1913 AZALEA ST
AURORA CO 80012             DALLAS TX 75220                      3                                MISSION TX 78573
                                                                 BRONX NY 10458




035703P001-1409A-265        004802P001-1409A-265                 009370P001-1409A-265             007957P001-1409A-265
RAMIREZ ROXANA HERNANDEZ    RAQUEL R HERNANDEZ                   ROCHELLE HERNANDEZ               SANDRA HERNANDEZ
15132 SOUTH CULVER RD       PO BOX 371512                        3504 MABRY ST                    5535 LANTO ST
VICTORVILLE CA 92394        SAN DIEGO CA 92137                   NORTH LAS VEGAS NV 89030         BELL GARDENS CA 90201




002884P001-1409A-265        009385P001-1409A-265                 008779P001-1409A-265             006914P001-1409A-265
SANDRA A HERNANDEZ          SELENA M HERNANDEZ                   SOFIA HERNANDEZ                  SOPHIA A HERNANDEZ
2201 CATON AVE              1610 POWELL RD                       5153 WHEELING ST                 858 W PANORAMA DR
5D                          BROOKHAVEN PA 19015                  DENVER CO 80239-4053             212
BROOKLYN NY 11226                                                                                 PALATINE IL 60067




005487P001-1409A-265        008477P001-1409A-265                 007312P001-1409A-265             005199P001-1409A-265
SOPHIA K HERNANDEZ          STEFANI HERNANDEZ                    SURI S HERNANDEZ                 TALIA HERNANDEZ
2714 STAR PEAK DR           52 HOWARD ST                         632 WASHINGTON AVE               8616 SE GRAY ST
HOUSTON TX 77088            LAWRENCE MA 01841                    75                               HAPPY VALLEY OR 97086
                                                                 BOWLING GREEN KY 42104
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003455P001-1409A-265         003335P001-1409A-265                     005622P001-1409A-265         035704P001-1409A-265
VALERIE C HERNANDEZ          VENTURA A HERNANDEZ                      YAMILE HERNANDEZ             YURITZY M HERNANDEZ
1002 MALOTT DR               2312 14TH ST                             6240 SW 19 ST                411 NE GOING ST
SAN JOSE CA 95121            UNIT C                                   MIAMI FL 33155               APT 5
                             LUBBOCK TX 79401                                                      PORTLAND OR 97211




008473P001-1409A-265         009466P001-1409A-265                     008523P001-1409A-265         030332P001-1409A-265
ZULEIKA HERNANDEZ            GABRIELLEELI HERNANDEZORTIZ              PEYTON J HERNDON             EMILEE HERNLY
105 NAOMI DR                 227 FAIRWAY CIR                          103 BUCKSKIN DR              ADDRESS INTENTIONALLY OMITTED
EAST HARTFORD CT 06118       CROSS JUNCTION VA 22625                  GASTONIA NC 28052




001048P001-1409A-265         030233P002-1409A-265                     000891P001-1409A-265         004127P001-1409A-265
EMILEE B HERNLY              ASHLEY HERRERA                           ASHLEY T HERRERA             BIANCA C HERRERA
619 W UNIVERSITY AVE         ADDRESS INTENTIONALLY OMITTED            2129 CLARION AVE SW          6744 DESERT BLOSSOM RD
MUNCIE IN 47303                                                       WYOMING MI 49519             E2
                                                                                                   LAS CRUCES NM 88007




005552P001-1409A-265         002043P001-1409A-265                     005850P002-1409A-265         000843P001-1409A-265
CASSANDRA J HERRERA          IVONNE HERRERA                           JESSICA C HERRERA            KARINA HERRERA
14912 E 116TH PL             674 SUPIMA DR                            13812 1/2 S VERMONT AVE      8790 SUNSET BREEZE DR
BRIGHTON CO 80603            EL PASO TX 79927-4447                    GARDENA CA 90247-2022        RENO NV 89506




006628P001-1409A-265         009349P001-1409A-265                     005456P001-1409A-265         004161P001-1409A-265
KATHERYN R HERRERA           MARISSA B HERRERA                        NATALIE I HERRERA            SAMANTHA R HERRERA
14619 ANNARBOR HEIGHTS CT    11516 CAMERON ST                         10067 BORDELON ST            6951 DONNA AVE
CYPRESS TX 77433             ORLANDO FL 32817                         SAN DIEGO CA 92124           RESEDA CA 91335




004222P001-1409A-265         008285P001-1409A-265                     009005P001-1409A-265         008835P001-1409A-265
SHADAE HERRERA               ANICKA T HERRIGES                        LINDSAY M HERRIMAN           CASSY HERRIN
318 N B ST                   4353 N MORRIS BLVD                       3103 CLAYWARD DR             10254 MAEBERN TER
EXETER CA 93221              SHOREWOOD WI 53211                       FLINT MI 48506               SAINT LOUIS MO 63127




030977P001-1409A-265         030978P002-1409A-265                     036227P002-1409A-265         001984P001-1409A-265
HERSCHEL SUPPLY CO LTD       HESPERUS                                 HESPERUS                     HUGO HESSE
JENNY WESSELL                COLIN LEE                                956 E JEFFERSON BLVD         3467 CAMINITO SIERRA
611 ALEXANDER ST             956 E JEFFERSON BLVD                     LOS ANGELES CA 90011-2548    202
VANCOUVER BC V6A 1E1         LOS ANGELES CA 90011-2548                                             CARLSBAD CA 92009
CANADA
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008224P001-1409A-265            001708P001-1409A-265                037250P001-1409A-265              003079P001-1409A-265
LELONIE L HESTER                RACHEL K HEWETT                     ASHLEY HEWITT                     ASHLEY H HEWITT
550 3RD AVE UNIT 243            5203 COOPER CHAPEL RD               87 HANCOCK AVE                    87 HANCOCK AVE
SAINT CLOUD MN 56301            LOUISVILLE KY 40229                 APT 1                             1
                                                                    JERSEY CITY NJ 07307              JERSEY CITY NJ 07307




002641P001-1409A-265            035705P001-1409A-265                002870P001-1409A-265              008809P001-1409A-265
AYANA C HEWITT                  AYANA C HEWITT                      JESSICA HEWITT                    MARISSA HEWITT
122 GDN ST                      122 GARDEN ST                       2563 FOXFIRE CT                   1288 VETERANS MEMORIAL HWY
2                               2                                   MURFREESBORO TN 37129             ALTOONA PA 16601-7739
POUGHKEEPSIE NY 12601           POUGHKEEPSIE NY 12601




004338P001-1409A-265            033788P001-1409A-265                036541P001-1409A-265              010110P001-1409A-265
JAYLA S HEWLETT                 HEYSTACK                            HEYSTACK                          HIALEAH FIRE DEPT
2312 CARLETON DR                LOCOGRAM INC                        LOCOGRAM INC                      83 EAST 5TH ST
DECATUR AL 35603                NAVIN SHARMA                        34 KINGMAN RD                     HIALEAH FL 33010
                                34 KINGMAN RD                       AMHERST MA 01002
                                AMHERST MA 01002



000671P001-1409A-265            004231P001-1409A-265                035706P001-1409A-265              002623P001-1409A-265
GIOVANNA J HIBBARD              CATHERINE M HICKEY                  EMILY R HICKEY                    SHAWNAE J HICKMAN
2443 LAKE RD                    7956 LEOTA LN                       120 OLD SCHUYLERVILLE RD          852 SOUTH PARKER DR
RANSOMVILLE NY 14131            NEW PORT RICHEY FL 34653            SARATOGA SPRINGS NY 12866         APT B
                                                                                                      FLORENCE SC 29501




002394P001-1409A-265            005109P001-1409A-265                035707P001-1409A-265              009157P001-1409A-265
ANDRESE HICKS                   ANGELA M HICKS                      ANGELA M HICKS                    ASHLEY A HICKS
6562 KEMPTON ST                 1122 N DUBUQUE ST                   3118 W FRANKLIN BLVD              751 WOODLAWN AVE
NAVARRE FL 32566                IOWA CITY IA 52245                  3B                                BUFFALO NY 14211
                                                                    CHICAGO IL 60612




009460P001-1409A-265            004607P001-1409A-265                002865P002-1409A-265              030979P001-1409A-265
DANIELLE A HICKS                MIRANDA R HICKS                     SHAREKA HICKS                     HIDDEN JEANS DBA CELLO JEANS
261 GREENE RD 776               1908 PRINCE GEORGE DR               1906 CASCO ST                     KRIS KIM
PARAGOULD AR 72450              GAUTIER MS 39553                    LAKELAND FL 33801-2415            1001 TOWNE AVE
                                                                                                      #103
                                                                                                      LOS ANGELES CA 90021



036228P001-1409A-265            032085P001-1409A-265                004227P001-1409A-265              036581P001-1409A-265
HIDDEN JEANS DBA CELLO JEANS    HIDEYUKI OKABE                      NAKOTA B HIGBIE                   JUSTINE HIGGINS
1001 TOWNE AVE #103             1645 N ALEXANDRIA AVE               40 GRAND ST                       323 WESTCHESTER RD
LOS ANGELES CA 90021            APT 208                             1                                 COLCHESTER CT 06415
                                LOS ANGELES CA 90027                WORCESTER MA 01610
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005286P001-1409A-265        004115P002-1409A-265                     036542P001-1409A-265         009352P001-1409A-265
SARAH N HIGGINS             TATYANA R HIGGS                          HIGHER EDUCATION STUDENT     TATIYANA H HIGHSMITH
402 KERBY ST                12444 GREAT JPARK CIR APT 103            ASSISTANCE AUTHORITY         475 CHAUNCEY ST
212                         GERMANTOWN MD 20876-5978                 PO BOX 529                   APT 3L
ARLINGTON TX 76013                                                   NEWARK NJ 07101-0529         BROOKLYN NY 11233




004166P001-1409A-265        008007P001-1409A-265                     005035P001-1409A-265         006439P001-1409A-265
PORSHA HIGHTOWER            STEPHANIE HIGUERA                        HEALANI K HIKALEA            LYDIA L HIKMET
2090 ZINK RD                4829 COLES MANOR PL                      45-1127 KAMEHAMEHA HWY       368 ORLANDO ST
3B                          #12102                                   #7                           10
BEAVERCREEK OH 45324        DALLAS TX 75204                          KANEOHE HI 96744             EL CAJON CA 92021




003456P001-1409A-265        004684P001-1409A-265                     005576P001-1409A-265         004212P001-1409A-265
DIEUNIPHER L HILAIRE        ANIYA S HILL                             AVERY M HILL                 BLAYKE HILL
142 ROQUETTE AVE            1210 CROES AVE                           1059 HIDDEN CREEK LN         2723 SOUTH AVE
ELMONT NY 11003             APT 16G                                  KOKOMO IN 46902              NIAGARA FALLS NY 14305
                            BRONX NY 10472




004601P001-1409A-265        002949P001-1409A-265                     035708P001-1409A-265         005990P001-1409A-265
CHAYLA HILL                 CORRIE E HILL                            CRYSTAL HILL                 ERICKA D HILL
1200 FLORAL SPRINGS BLVD    11816 FORBIDDEN FOREST CIR               4812 CONESTOGA RD            41 STRATFORD LN
PORT ORANGE FL 32129        APT 102                                  VIRGINIA BEACH VA 23462      JACKSON TN 38305
                            FREDERICKSBURG VA 22407




001785P001-1409A-265        003343P001-1409A-265                     003771P001-1409A-265         005594P001-1409A-265
HALLIE A HILL               JAKINI A HILL                            JILLIAN N HILL               KAYLA HILL
120 PAUL REVERE CT          302 PAULINE AVE                          6208 BIG SANDY DR            7 OATES DR
UNIT 103                    HATTIESBURG MS 39401                     RALEIGH NC 27616             FARMINGDALE NJ 07727
WAHIAWA HI 96786-7224




006240P001-1409A-265        005726P001-1409A-265                     033205P001-1409A-265         004818P001-1409A-265
KRYSTAL M HILL              KYLA C HILL                              LAUREN E HILL                LAURYN L HILL
6900 WEST MAIN ST           3118 S ADAMS ST                          14300 NW 66TH CT             1904 S CROSS LAKES CIR
1                           TAMPA FL 33611                           PARKVILLE MO 64152           APT B
BELLEVILLE IL 62223                                                                               ANDERSON IN 46012




000490P001-1409A-265        009361P001-1409A-265                     037048P001-1409A-265         000549P001-1409A-265
MACIE HILL                  MARIA HILL                               NATASHA HILL                 QYARAH R HILL
18001 SAILFISH DR           2174 14TH ST                             709 TIDE PL                  35400 EUCLID AVE
B                           TROY NY 12180                            NEPTUNE NJ 07753             APT D204
LUTZ FL 33558                                                                                     WILLOUGHBY OH 44094
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002510P001-1409A-265                         009473P001-1409A-265                      002763P001-1409A-265                002042P001-1409A-265
REGINA L HILL                                SHAKEL L HILL                             TORI D HILL                         JENNIFER HILLEGASS
156 BIG CREEK TRL                            6402 S JUNETT ST                          1311 STONE MANOR DR                 6393 CHEROKEE TRL
MAYNARD AR 72444                             TACOMA WA 98409                           RALEIGH NC 27610                    TOBYHANNA PA 18466




000551P001-1409A-265                         035709P001-1409A-265                      036434P001-1409A-265                007067P001-1409A-265
SHAWNTAVIA M HILLIARD                        TAMMIE HILLIARD                           CHERRELL HILLIARO                   KAELA L HILLMAN
1220 W MCWILLIAMS AVE                        150 RIVER AVE                             3121 ABLE PL                        11632 CAPE HORN AVE
LAS VEGAS NV 89106                           NATRONA HEIGHTS PA 15065                  CHESTERFIELD VA 23832-8406          JACKSONVILLE FL 32246




002245P001-1409A-265                         002376P001-1409A-265                      006618P001-1409A-265                008900P001-1409A-265
SAMANTHA HILLMAN                             TYLER T HILLMAN                           VINNY A HILLMAN                     JASMINE HILLS
893 JACOBS WAY                               12013 GEORGIA WOODS CT                    2901 SW 41ST ST                     18 DNABURY RD
CANTONMENT FL 32533                          ORLANDO FL 32824                          APT 2802                            HYDE PARK MA 02136
                                                                                       OCALA FL 34474




003706P001-1409A-265                         001847P001-1409A-265                      036866P001-1409A-265                029849P001-1409A-265
LYNETTE HILLYER                              LATOYA A HILTON                           HINES                               HINES (LANDLORD)
321 N 44TH ST                                300 ERICH RD                              SUTHERLAND ASBILL AND BRENNAN LLP   PINEBILL MARKETS OPERATING LLC
806                                          RICHMOND VA 23225                         ENRIQUE ANDERSON ESQ                GENESIS REAL ESTATE ADVISERS LLC
LINCOLN NE 68503                                                                       999 PEACHTREE ST NE STE 2300        R STEPHENS TART JR MANAGING DIRECTOR
                                                                                       ATLANTA GA 30309-3996               800 MT VERNON HIGHWAY STE 410
                                                                                                                           SANDY SPRINGS GA 30328


029849S001-1409A-265                         031338P001-1409A-265                      034323P001-1409A-265                037177P001-1409A-265
HINES (LANDLORD)                             HINES GLOBAL REIT 4875 TOWN CE            HINES GLOBAL REIT 4875 TOWN CENTE   HINES GLOBAL REIT 4875 TOWN CENTER LLC
SUTHERLAND ASBILL AND BRENNAN LLP            MARIAH KLEIN                              800 MOUNT VERNON HWY NE             SUCCESSOR IN INTEREST TO PINEHILL MARKETS
ENRIQUE ANDERSON ESQ                         800 MOUNT VERNON HWY NE                   STE 410                             OPERATING LLC
999 PEACHTREE ST NE STE 2300                 STE 410                                   SANDY SPRINGS GA 30328              HINES RETAIL
ATLANTA GA 30309-3996                        SANDY SPRINGS GA 30328                                                        2800 POST OAK BLVD STE 4800
                                                                                                                           HOUSTON TX 77056


037177S001-1409A-265                         003363P001-1409A-265                      007121P001-1409A-265                006195P001-1409A-265
HINES GLOBAL REIT 4875 TOWN CENTER LLC       AVION HINES                               CHERISH L HINES                     MIRANDA M HINES
SUCCESSOR IN INTEREST TO PINEHILL MARKETS    10123 CELTIC ASH DR                       3328 PECK ST                        521 FOREST ST
OPERATING LLC                                RUSKIN FL 33573                           MUSKEGON HEIGHTS MI 49444           JACKSON MO 63755
KELLEY DRYE AND WARREN LLP
101 PARK AVE
NEW YORK NY 10178


009030P001-1409A-265                         007222P001-1409A-265                      030484P001-1409A-265                007277P001-1409A-265
TINERA HINES                                 KARINA G HINOJOSA                         LISANDRA C HINOJOSA                 KIMBERLY E HINSON
1909 WALNUT CREEK DR                         1808 S 31 ST                              ADDRESS INTENTIONALLY OMITTED       6000 DOMINION PL
PAPILLION NE 68046                           MILWAUKEE WI 53215                                                            CHARLOTTE NC 28277
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006268P001-1409A-265          007239P001-1409A-265                 004737P001-1409A-265             003243P001-1409A-265
DESTINY A HINTON              KIERY N HINTONDOZIER                 KAZANDRA HIRALES                 KAYLEN M HIROMOTO
3070 S NELLIS BLVD            1813 ROCHELLE CT                     452 WEST A ST                    3734 POTOMAC AVE
1061                          WOODBRIDGE VA 22192                  BRAWLEY CA 92227                 LOS ANGELES CA 90016
LAS VEGAS NV 89121




001537P001-1409A-265          003974P001-1409A-265                 032086P001-1409A-265             035110P001-1409A-265
CHLOERAY J HIRSCHFELT         ALLISON R HISER                      HITACHI CONSULTING CORP          HITACHI CONSULTING CORP
244 SUNSHINE DR               1617 RINGFIELD DR                    CHAITANYA SUGURU                 PO BOX 972980
AMHERST NY 14228              GALLOWAY OH 43119                    PO BOX 972980                    DALLAS TX 75397
                                                                   DALLAS TX 75397-2980




033353P001-1409A-265          005110P001-1409A-265                 010624P001-1409A-265             010625P001-1409A-265
HITWISE PTY LTD               SARAH K HJELTE                       HMO MINNESOTA                    HMS EQUITY HOLDING LLC
300 PARK AVE SOUTH 9TH FLR    1321 EAGLE WING LN                   KKR                              MAIN STREET
NEW YORK NY 10010             DENTON TX 76210                      JEREMIAH LANE                    SCOTT GRASS AND NICK MESERVE
                                                                   3535 BLUE CROSS RD               2800 POST OAK BLVD STE 5000
                                                                   EAGAN MN 55122                   HOUSETON TX 77056



006675P001-1409A-265          033390P001-1409A-265                 000880P001-1409A-265             002966P001-1409A-265
STANLEY HO                    CATHY HOANG                          AMANDA HOBBS                     DANIYA S HOBBS
710 BIRCH AVE                 39800 FREMONT BLVD                   320 THE VLG DR                   11 BIRCHFIELD DR
SAN MATEO CA 94402            APT 407                              #116                             MOUNT LAUREL NJ 08054
                              FREMONT CA 94538                     REDONDO BEACH CA 90277




007125P001-1409A-265          008412P001-1409A-265                 009484P001-1409A-265             000980P001-1409A-265
KAITLIN P HOBBS               DANIELLE R HOBSON                    TELEASHIA H HOBSON               ALEXANDRIA HOCH
1911 ODYSSEY DR               1002 E TAYLOR ST                     545 LN AVE                       1217 BYBERRY RD
BRIGHTON MI 48114             KOKOMO IN 46901                      HAMLETT HALL                     PHILADELPHIA PA 19116-2109
                                                                   JACKSON TN 38301




035710P001-1409A-265          000470P002-1409A-265                 000470S001-1409A-265             001637P001-1409A-265
ALEXANDRIA HOCH               SYDNEY HOCKING                       SYDNEY HOCKING                   SARAH E HODDE
300 W MONTGOMERY AVE          6230 MOATS DR                        POTTENGER LAW FIRM               13861 RACEWAY DR
NORTH WALES PA 19454          KANSAS CITY MO 64133-4430            919 W 47TH ST                    APT 834
                                                                   KANSAS CITY MO 64112             NORTHLAKE TX 76262




033439P001-1409A-265          004648P001-1409A-265                 008865P001-1409A-265             005306P001-1409A-265
HODES LLC                     ARAYAH T HODGE                       DYNASTI HODGEBROWN               KEANA L HODGES
BERNARD HODES GROUP           817 NORTH 2ND ST APT 1               1509 SUNBURST RD                 803 SINBAD ST
KATERINE STAAB                HARRISBURG PA 17102                  EVINGTON VA 24550                BAKER LA 70714
630 5TH AVE STE 659
6TH FLOOR
NEW YORK NY 10111
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033774P001-1409A-265       000560P001-1409A-265                037607P001-1409A-265                   002059P001-1409A-265
MORIAH HODGES              MORIAH C HODGES                     KAYLA HODSON                           KAYLA M HODSON
65 CORAL DR                65 CORAL DR                         6505 BUCKEYE LN                        6505 BUCKEYE LN
ORINDA CA 94563            ORINDA CA 94563                     GRANITE BAY CA 95746                   GRANITE BAY CA 95746-8861




009406P001-1409A-265       032087P001-1409A-265                008361P001-1409A-265                   001940P001-1409A-265
TYLER HOEKEN               HOEKKLO DIGITAL                     SYDNEY HOFFMAN                         LACEY M HOFFMANN
350 N HENDERSON AVE        JONATHAN A HOEKKLO                  4286 RYAN CT                           1506 S INTERSTATE 35
RM 431                     38 CUMBERLAND                       HAMILTON OH 45011                      APT 4911
CAPE GIRARDEAU MO 63701    APT 2D                                                                     SAN MARCOS TX 78666
                           BROOKLYN NY 11205



037170P001-1409A-265       008944P001-1409A-265                009400P001-1409A-265                   030980P001-1409A-265
RIVER HOFFMANN             RIVER T HOFFMANN                    MORGAN HOFFNER                         HOG WILD LLC
191 GREEN ST               191 GREENS ST                       3806 TREYBURN AVE NW                   BRIAN COHEN
VERGENNES VT 05491         VERGENNES VT 05491                  MASSILLON OH 44646                     12402 SE JENNIFER ST
                                                                                                      STE 100
                                                                                                      CLACKAMAS OR 97015



035244P001-1409A-265       002371P001-1409A-265                002272P001-1409A-265                   002372P001-1409A-265
HOGAN MCDANIEL             AUBREE HOGAN                        BETHANY E HOGAN                        MONIQUE R HOGGARD
GARVAN F MCDANIEL          1 WINDSOR DR                        180 HIMANGO RD                         5453 WHITFIELD CHAPEL RD
1311 DELAWARE AVE          ORMOND BEACH FL 32174               ESKO MN 55733                          LANHAM MD 20706
WILMINGTON DE 19806




009411P001-1409A-265       030716P001-1409A-265                036229P002-1409A-265                   030543P001-1409A-265
TARA HOLCOMB               HOLD THIS INC                       HOLD THIS INC DBA GOODIE TWO SLEEVES   NATASHA HOLDEN
1531 DUNCANVILLE RD        DBA GOODIE TWO SLEEVES              SANDRA CHAVEZ                          ADDRESS INTENTIONALLY OMITTED
1005                       KATHIE SALAS                        9400 LURLINE AVE C2
DALLAS TX 75211            9400 LURLINE AVE                    CHATSWORTH CA 91311
                           C2
                           CHATSWORTH CA 91311


007767P001-1409A-265       001135P001-1409A-265                001629P001-1409A-265                   001351P001-1409A-265
JULIA HOLGUIN              VIVIANA HOLGUIN                     ALEXIS HOLLAND                         JASMINE T HOLLAND
9818 CUPID WAY             1840 CROMPOND RD                    35680 WOODS AVE                        700 TRANSMITTER RD
FONTANA CA 92335           APT 7C5                             LAUREL DE 19956                        LOT 34
                           PEEKSKILL NY 10566-7405                                                    PANAMA CITY FL 32401-5393




001657P001-1409A-265       000938P001-1409A-265                030309P001-1409A-265                   005776P001-1409A-265
MAKAYLA I HOLLAND          PAUL A HOLLAND                      DEBRA HOLLIDAY-GUIBOR                  KYLAH S HOLLINS
1700 MANATUCK BLVD         260 W CASCADE DR                    ADDRESS INTENTIONALLY OMITTED          7722 WYCKFORD CT
BAYSHORE NY 11706          RIALTO CA 92376-3400                                                       INDIANAPOLIS IN 46214
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004146P001-1409A-265              030529P001-1409A-265                     003446P001-1409A-265         035431P001-1409A-265
DESHONA D HOLLOWAY                MICHELLE HOLLOWAY                        MICHELLE A HOLLOWAY          MICHELLE A HOLLOWAY
3541 PORTSMOUH CIR                ADDRESS INTENTIONALLY OMITTED            3978 18TH ST                 510 PAGE ST
LITHONIA GA 30038                                                          SAN FRANCISCO CA 94114       APT 3
                                                                                                        SAN FRANCISCO CA 94117




001694P001-1409A-265              007893P001-1409A-265                     002195P001-1409A-265         008950P001-1409A-265
ADRIANNA HOLLOWELL                AUTUMN HOLMES                            CANDICE D HOLMES             DESTINE T HOLMES
5105 HILL TER                     125 JEFFERSON DR                         51 MATTHEWS AVE              931 PARAISO AVE
PADUCAH KY 42001                  SOMERVILLE TN 38068                      WEST BABYLON NY 11704-2307   SPRING VALLEY CA 91977




033202P001-1409A-265              006502P001-1409A-265                     002427P001-1409A-265         005349P001-1409A-265
DIAJANAE HOLMES                   ELISIA M HOLMES                          EMMA A HOLMES                MARYLEW Q HOLMES
5719 SUMMER SHINE DR              1462 MERIDEN RD                          228 N MASSACHUSETTS AVE      1305 FLORIDA LN
MADISON WI 53718                  UNIT 14                                  ATLANTIC CITY NJ 08401       NAMPA ID 83686
                                  WATERBURY CT 06705




007828P001-1409A-265              005852P001-1409A-265                     000933P001-1409A-265         004245P001-1409A-265
MONIQUE J HOLMES                  RACHAEL HOLMES                           ROXANNA R HOLMES             TAYLOR R HOLMES
119 20 226TH ST                   15350 BLACKSMITH TER                     1064 CAMINO DEL SOL          671 MAHAN HWY
CAMBRIA HEIGHTS NY 11411          WOODBRIDGE VA 22191                      CHULA VISTA CA 91910         CHARLOTTE MI 48813




036813P001-1409A-265              002475P001-1409A-265                     005046P001-1409A-265         031823P001-1409A-265
VAN D HOLMES                      GLENN A HOLOPITZAALVAREZ                 SIERRA HOLSTICK              CARMEN HOLT
1406 CREST RD                     3870 18TH ST                             1124 RIVER HAVEN CIR         195 9TH AVE # 3
RALEIGH NC 27606-2907             APT B                                    HOOVER AL 35244              SAN FRANCISCO CA 94118
                                  SAN FRANCISCO CA 94114




003488P001-1409A-265              006852P001-1409A-265                     010528P001-1409A-265         001465P001-1409A-265
DARIA B HOLT                      MARISSA HOLT                             STEPHEN H HOLT               ALYSA S HOLTE
21450 E 48PL                      PO BOX 149                               JASPER COUNTY COLLECTOR      707 E 9TH ST
DENVER CO 80249                   ELLISBURG NY 13636                       PO BOX 421                   SUPERIOR WI 54880
                                                                           CARTHAGE MO 64836-0421




030981P001-1409A-265              032088P001-1409A-265                     035346P001-1409A-265         035346S001-1409A-265
HOLTZBRINCK PUBLISHERS DBA MAC    HOLYOKE BOARD OF HEALTH                  HOLYOKE MALL CO LP           HOLYOKE MALL CO LP
MPS                               CITY HALL ANNEX RM 306                   BARCLAY DAMON LLP            PYRAMID MANAGEMENT GROUP LLC
SANDRA NG                         20 KOREAN VETERANS PLZ                   KEVIN M NEWMAN               JOHN D CICO
PO BOX 930668                     HOLYOKE MA 01040                         BARCLAY DAMON TOWER          THE CLINTON EXCHANGE
ATLANTA GA 31193                                                           125 E JEFFERSON ST           4 CLINTON SQ
                                                                           SYRACUSE NY 13202            SYRACUSE NY 13202
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031339P001-1409A-265                    006583P001-1409A-265                            030982P001-1409A-265            006840P001-1409A-265
HOLYOKE MALL COMPANY, LP                ERIKA HOLZHAUSEN                                HOMEGIRL INC                    CAMERON M HONDOLERO
M AND T BANK                            3640 LOS FELIZ BLVD                             COLIN LEE                       33505 39TH AVE S
PO BOX 8000                             6E                                              1926 E14TH ST                   FEDERAL WAY WA 98001
DEPARTMENT NO975                        LOS ANGELES CA 90027                            LOS ANGELES CA 90021
BUFFALO NY 14267



031340P002-1409A-265                    031340S001-1409A-265                            034646P001-1409A-265            030983P001-1409A-265
HONEY CREEK MALL LLC                    HONEY CREEK MALL LLC                            HONOLULU PROSECUTING ATTORNEY   HOO FAMILY LLC
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            CITY OF AIEA HAWAII             STEVE FISHMAN
GARY RODDY                              CALEB HOLZAEPFEL                                1060 RICHARDS ST                200 PERFORMANCE DR
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                         HONOLULU HI 96813               STE 209
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402                                                            MAHWAH NJ 07495



005414P001-1409A-265                    001305P001-1409A-265                            035711P001-1409A-265            002737P001-1409A-265
DEJA N HOOD                             KATLIN H HOOD                                   KATLIN H HOOD                   KAYLEE E HOOD
6692 KALINOWSKI ST                      540 E BUCKINGHAM                                1113 ABRAMS RD APT 259          12174 HIGHWAY V
TARAWA TERRACE NC 28543                 511                                             RICHARDSON TX 75081             MOUNT VERNON MO 65712
                                        RICHARDSON TX 75081




003946P001-1409A-265                    007436P001-1409A-265                            037661P001-1409A-265            004980P001-1409A-265
KELSEY M HOOD                           SHANIA N HOOD                                   SHANIA N HOOD                   COURTNEY J HOOGLAND
235 ISLAND AVE                          2910 N 5 ST                                     2910 N 5TH ST                   4416 NICOLLET WAY
RACINE WI 53405                         TERRE HAUTE IN 47804                            TERRE HAUTE IN 47804            SIOUX CITY IA 51106




008953P001-1409A-265                    002268P001-1409A-265                            002580P001-1409A-265            009705P001-1409A-265
ABBY R HOOKER                           COURTNEY P HOOKER                               PRISCILLA I HOOKER              LILLIAN G HOOPER
200 W WILLOW                            2221 NW 194TH TER                               41 JAMES ST                     513 LUPINE CT
UNIT 93                                 EDMOND OK 73012                                 ANSONIA CT 06401                BENICIA CA 94510
NORMAL IL 61761




001807P001-1409A-265                    008719P001-1409A-265                            034509P001-1409A-265            036543P001-1409A-265
JENNIFER M HOOPERT                      KAZAN M HOOTS                                   HOOVER MALL HOLDING, LLC        HOOVER MALL LIMITED LLC
121 HENLEY LN                           1600 SE OAK SHORE LN                            SDS-12-2446                     SDS 12 2446
MOUNTVILLE PA 17554                     MILWAUKIE OR 97267                              PO BOX 86                       PO BOX 86
                                                                                        MINNEAPOLIS MN 55486-2446       MINNEAPOLIS MN 55486-2446




037370P001-1409A-265                    031341P001-1409A-265                            004856P001-1409A-265            005501P001-1409A-265
HOOVER MALL LIMITED LLC                 HOOVER MALL LIMITED, LLC                        ALICEN HOOVER                   AVERY R HOOVER
AKA RIVERCHASE GALLERIA                 HOOVER MALL HOLDING LLC                         2767 BUCHANAN TRL WEST          24 WINDSONG TRL
BROOKFIELD PROPERTY REIT INC            SDS-12-2446                                     GREENCASTLE PA 17225            MERCER PA 16137
350 N ORLEANS ST STE 300                PO BOX 86
CHICAGO IL 60654-1607                   MINNEAPOLIS MN 55486-2446
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009573P001-1409A-265            009122P001-1409A-265                   004401P001-1409A-265                002806P001-1409A-265
KLANCY HOOVER                   ALYCE J HOPES                          ANA HOPKINS                         CASSANDRA N HOPKINS
8160 AMBLE WAY                  1004 ARGONNE RD                        773 REAS FORD RD                    602 E 8TH AVE
INDIANAPOLIS IN 46237           HAMILTON OH 45011                      EARLYSVILLE VA 22936                APT 9
                                                                                                           EUGENE OR 97401




007675P001-1409A-265            005126P001-1409A-265                   001175P001-1409A-265                030396P001-1409A-265
HANNAH HOPKINS                  JENNA M HOPKINS                        JESSICA HOPKINS                     JESSICA HOPKINS
3706 URIAH ST                   1801 ELDORA CT                         8160 VETERANS PKWY                  ADDRESS INTENTIONALLY OMITTED
NORTH PORT FL 34288             RICHARDSON TX 75081                    APT 723
                                                                       COLUMBUS GA 31909




035712P001-1409A-265            007500P001-1409A-265                   009362P001-1409A-265                007332P001-1409A-265
JESSICA HOPKINS                 MKAYAH HOPKINS                         NIA A HOPKINS                       NICOLE M HOPKINS
8160 VETERANS PKWY              2930 MADEIRA CT                        3212 CLEARVIEW DR                   85 ONISKA ST
APT 924                         WOODBRIDGE VA 22192                    MARIATTA GA 30060                   WARWICK RI 02889
COLUMBUS GA 31909




005192P001-1409A-265            007163P001-1409A-265                   003769P001-1409A-265                004413P001-1409A-265
SARENA L HOPKINS                TIARA HOPP                             KALEIGH G HOPPER                    GLORIA HOPSON
85 ONISKA ST                    903 NORTH 1ST ST                       477 CHAREST RD                      403 HOLLYWOOD AVE
WARWICK RI 02889                NORFOLK NE 68701                       SOMERVILLE AL 35670                 HAMPTON VA 23661




008092P001-1409A-265            034998P001-1409A-265                   035004P001-1409A-265                035014P001-1409A-265
CIERA S HORACE                  HORIZON GROUP                          HORIZON GROUP                       HORIZON GROUP
2049 BARNSBORO RD               EL PASO OUTLET CENTER LLC              ATLANTA OUTLET SHOPPES LLC          BLUEGRASS OUTLET SHOPPES CMBS LLC
ELDORADO 5                      HORIZON GROUP PROPERTIES               HORIZON GROUP PROPERTIES LP         HORIZON GROUP PROPERTIES LP
BLACKWOOD NJ 08012              INC 5000 HAKES DR                      5000 HAKES DR                       5000 HAKES DR
                                STE 500                                STE 500                             STE 500
                                MUSKEGON MI 49441                      MUSKEGON MI 49441                   MUSKEGON MI 49441


029850P001-1409A-265            029851P001-1409A-265                   029852P001-1409A-265                033643P001-1409A-265
HORIZON GROUP (LANDLORD)        HORIZON GROUP (LANDLORD)               HORIZON GROUP (LANDLORD)            HORIZON GROUP PROPERTIES
EL PASO OUTLET CENTER LLC       ATLANTA OUTLET SHOPPES LLC             BLUEGRASS OUTLET SHOPPES CMBS LLC   5000 HAKES DR
HORIZON GROUP PROPERTIES INC    HORIZON GROUP PROPERTIES LP            HORIZON GROUP PROPERTIES LP         SUITE 500
5000 HAKES DR STE 500           5000 HAKES DR STE 500                  5000 HAKES DR STE 500               NORTON SHORES MI 49441
MUSKEGON MI 49441               MUSKEGON MI 49441                      MUSKEGON MI 49441



030984P001-1409A-265            009296P001-1409A-265                   030411P001-1409A-265                001581P001-1409A-265
HORIZON IMPORTS INC             CAITLYNN V HORN                        JODIE HORN                          JODIE L HORN
10 WEST 33RD ST                 17116 CRANSTON DR                      ADDRESS INTENTIONALLY OMITTED       14174 CHICARITA CREEK RD
#606                            ROUND ROCK TX 78664                                                        SAN DIEGO CA 92128
NEW YORK NY 10001
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007257P001-1409A-265         005671P001-1409A-265                      003598P001-1409A-265          004891P001-1409A-265
MORGAN R HORN                DENZELL HORNE                             NYESHA HORNE                  MAKAYLA M HORROCKS
6090 SPIRES DR               1700 RICHWOOD RD 2                        78 GLENDALE AVE               30 N CHARDONNAY ST
ERIE PA 16509                MONROE LA 71202                           ALBANY NY 12208               RENO NV 89512




008002P001-1409A-265         010495P001-1409A-265                      007122P001-1409A-265          008302P001-1409A-265
ALLYSON M HORROX             HORRY COUNTY TREASURER                    AMELIA HORSFORD               CHANDLER HORTON
110 FAIRHILL RD              PO BOX 260107                             1586 WOOD SAGE TER            3934 UPTON AVE
SPRINGFIELD PA 19070         CONWAY SC 29528-6107                      WALWORTH NY 14568             APT 1
                                                                                                     TOLEDO OH 43613




002051P001-1409A-265         030464P001-1409A-265                      003359P001-1409A-265          035713P001-1409A-265
LAKEISHA HORTON              LAKEISHA HORTON                           THURSTINA HORTON              BAILEY HOSCH
4821-204 CLARK LN            ADDRESS INTENTIONALLY OMITTED             83 SOUTH MAIN ST              103 CELESTE CIR
COLUMBIA MO 65202                                                      COVENTRY RI 02816             SLIDELL LA 70458




033644P001-1409A-265         033645P001-1409A-265                      005800P001-1409A-265          005031P001-1409A-265
HOTEL MONACO                 HOTEL REX                                 ELIZABETH HOUCHIN             ANGEL N HOUGH
NEGOTIATED HOTEL RATES       562 SUTTER ST                             3006 LINCOLNDALE AVE          113 CHANTICLEER VLG DR
501 GEARY ST                 SAN FRANCISCO CA 94102                    FORT WAYNE IN 46808           MYRTLE BEACH SC 29579
SAN FRANCISCO CA 94102




030985P001-1409A-265         036380P001-1409A-265                      033358P001-1409A-265          008922P001-1409A-265
HOUGHTON MIFFLIN HARCOURT    AMY HOULE                                 JAMIE HOULIHAN                JORDAN HOULIHAN
9205 SOUTHPARK CTR LOOP      163 MEADOW ST                             3012 CORTE TILO               4552 LON CT
ORLANDO FL 32819             NAUGATUCK CT 06770                        CARLSBAD CA 92008             DIAMOND SPRINGS CA 95619




002454P001-1409A-265         002128P001-1409A-265                      010592P001-1409A-265          032089P001-1409A-265
KAYLEN E HOUSER              BRITNEY N HOUSSEAL                        HOUSTON CO REV COMMISSIONER   HOUSTON DEPT OF HEALTH AND HUMAN SVC
6063 SPANIEL CT              915 EAST PRINCESS ST                      STARLA MOSS MATTHEWS          PO BOX 300008
SALISBURY MD 21801           YORK PA 17403                             PO BOX 6406                   HOUSTN TX 77230-0008
                                                                       DOTHAN AL 36302




031342P001-1409A-265         031343P001-1409A-265                      009676P001-1409A-265          001448P002-1409A-265
HOUSTON GALLERIA IV          HOUSTON PREMIUM OUTLETS                   ASHLEY P HOUSTON              CHAVAUGHN A HOUSTON
SA GALLERIA LLC              SIMON PROPERTY GROUP (TEXAS) L            1723 ELDERBERRY DR            4911 HULL ST APT 1W
1481 PAYSPHERE CIR           PO BOX 822693                             INDIANAPOLIS IN 46234         SKOKIE IL 60077-3122
CHICAGO IL 60674             PHILADELPHIA PA 19182-2693
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005641P001-1409A-265                   009357P001-1409A-265                             001683P001-1409A-265                     001827P001-1409A-265
DAJANIA H HOUSTON                      JASMINE HOUSTON                                  RACHEL HOVDE                             MARY R HOVSEPIAN
8324 BAUMGARTEN DR                     3105 VARCROFT RD                                 423 S LINN                               7101 MATILIJA AVE
DALLAS TX 75228                        KNIGHTDALE NC 27545                              SIOUX CITY IA 51106                      VAN NUYS CA 91405-3334




035046P001-1409A-265                   029853P001-1409A-265                             029853S001-1409A-265                     029854P001-1409A-265
HOWARD HUGHES                          HOWARD HUGHES (LANDLORD)                         HOWARD HUGHES (LANDLORD)                 HOWARD HUGHES (LANDLORD)
THE SHOPS AT SUMMERLIN NORTH LP        RIVERWALK MARKETPLACE NEW ORLEANS LLC            RIVERWALK MARKETPLACE NEW ORLEANS, LLC   THE SHOPS AT SUMMERLIN NORTH LP
IN CARE OF THE HOWARD HUGHES CORP      THE HOWARD HUGHES CORP                           GENERAL MANAGER                          GENERAL COUNSEL
ONE GALLERIA TOWER                     ONE GALLERIA TOWER                               500 PRT OF NEW ORLEANS PL STE 101        ONE GALLERIA TOWER
22ND FL 13355 NOEL RD                  22ND FL 13355 NOEL RD                            NEW ORLEANS LA 70130                     22ND FL 13355 NOEL RD
DALLAS TX 75240                        DALLAS TX 75240                                                                           DALLAS TX 75240


029854S001-1409A-265                   034302P001-1409A-265                             007529P001-1409A-265                     003590P001-1409A-265
HOWARD HUGHES (LANDLORD)               AMY D HOWARD                                     EMILY HOWARD                             GEORGIA L HOWARD
THE SHOPS AT SUMMERLIN NORTH, LP       5819 SUNMIST DR                                  2840 DANDELION CIR                       8758 EDGERIDGE DR
LEGAL DEPT                             RANCHO PALOS VERDE CA 90275                      ANTIOCH CA 94531                         WEST CHESTER OH 45069
10801 WEST CHARLESTON BLVD~ STE 300
LAS VEGAS NV 39135



006575P001-1409A-265                   007421P001-1409A-265                             008529P001-1409A-265                     003353P001-1409A-265
HEAVEN HOWARD                          MYCHEL J HOWARD                                  REAGAN K HOWARD                          SABRINA M HOWARD
4515 TALLMEADOW LN                     4808 ASPEN DR                                    5180 HARTSHIRE W DR 4                    11354 VIA RANCHO SAN DIEGO UNI
FORT WORTH TX 76133                    KILLEEN TX 76542                                 BARGERSVILLE IN 46106                    EL CAJON CA 92019




001538P001-1409A-265                   006671P001-1409A-265                             000607P001-1409A-265                     032090P001-1409A-265
STORY L HOWARD                         KARMA HOWE                                       ZIARRE HOWE                              HOWELL TOWNSHIP
7101 S ORANGE BLOSSOM TRL              5829 GREENWAY VISTA LN                           90 CONKLIN AVE                           3525 BYRON RD
ORLANDO FL 32809                       CHARLOTTE NC 28216                               BINGHAMTON NY 13903                      HOWELL MI 48855




008892P001-1409A-265                   005236P001-1409A-265                             008346P001-1409A-265                     008727P001-1409A-265
KENDALL HOWELL                         KIMBERLEE E HOWELL                               REBECCA L HOWELL                         ABIGAIL C HOWES
500 INMAN ST                           701 W RED BANK AVE                               399 SHADY LN                             9321 AMSDEN WAY
UNIT 31                                APT A7                                           HAZELGREEN AL 35750                      EDEN PRAIRIE MN 55347
DENTON TX 76205                        WEST DEPTFORD NJ 08096




030665P001-1409A-265                   008640P001-1409A-265                             000777P001-1409A-265                     035714P001-1409A-265
VICTORIA L HOWICK                      LATOSHA HOWZE                                    MEGHAN L HOYER                           MEGHAN L HOYER
ADDRESS INTENTIONALLY OMITTED          4411 RIA ST                                      3228 CARLOTTA RD                         2638 FOXWOOD RD S
                                       COLUMBIA MO 65203                                MIDDLEBURG FL 32068                      ORANGE PARK FL 32073
                           Case 19-10210-LSS   Doc Russe
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000494P001-1409A-265        032991P001-1409A-265                032991S001-1409A-265                    036900P001-1409A-265
HAILEY B HOYT               HRUBS                               HRUBS                                   HS FLORENCE LLC
4238 TAYLOR HARBOR WEST     PO BOX 1651                         1434 AIR RAIL AVE                       CO HULL PROPERTY GROUP LLC ASHLEY DOLCE
6                           NORFOLK VA 23501                    VIRGINIA BEACH VA 23455                 1190 INTERSTATE PKWY
RACINE WI 53403                                                                                         AUGUSTA GA 30909




033252P001-1409A-265        033646P001-1409A-265                033647P001-1409A-265                    003312P001-1409A-265
MEAGAN HUANG                HUB GROUP INC                       HUB GROUP INC DBA UNYSON LOGISTICS CO   KIYOMI HUBBARD
SF CORP                     2000 CLEARWATER DR                  2000 CLEARWATER DR                      2224 GRADISON DR
DEPT 1132                   OAK BROOK IL 60523                  OAK BROOK IL 60523                      INDIANAPOLIS IN 46214
12 CLINTON ST
REDWOOD CITY CA 94062



005891P001-1409A-265        003533P001-1409A-265                001955P001-1409A-265                    002772P001-1409A-265
RAQUEL HUBBARD              CECILE HUBER                        KATLYN N HUBER                          ASHLEY HUBNER
8575 APPLEHORN LN           3036 BAKER ST                       337 S BLUFF RD                          6731 CHERRY RD
INDIANAPOLIS IN 46256       SAN FRANCISCO CA 94123              MONTEBELLO CA 90640                     OCALA FL 34472




036389P001-1409A-265        032091P001-1409A-265                000761P001-1409A-265                    005998P001-1409A-265
ANNE HUDAK                  HUDSON SAUNDERS                     ASHLEY M HUDSON                         CAYLAH L HUDSON
367 MADISON GARDENS         AVRIL LANG                          17187 N 51ST DR                         1100 HARGROVE RD E
OLD BRIDGE NJ 08857         1273 HAYES ST                       GLENDALE AZ 85308                       1728
                            #1                                                                          TUSCALOOSA AL 35405
                            SAN FRANCISCO CA 94117



009254P001-1409A-265        006900P001-1409A-265                001168P001-1409A-265                    001500P001-1409A-265
CIANTE HUDSON               JUSTICE X HUDSON                    SHARIE L HUECA                          DENISSE HUERTA PARRA
5900 N LAWRENCE ST          735 GREEN VLY DR                    38 BELLA VISTA AVE                      24521 W NORELIUS AVE
PHILADELPHIA PA 19120       SAINT ALBANS WV 25177               53 SECOND AVE                           ROUND LAKE IL 60073-1455
                                                                GLEN COVE NY 11542




004175P001-1409A-265        008328P001-1409A-265                000901P001-1409A-265                    004323P001-1409A-265
DAYANA HUERTA               JAZMIN HUERTA                       JOSE G HUERTA                           JULIA HUERTA
1903 S 61 CT                1647 POST RD                        10990 SARDINIA SANDS DR                 1321 LAUREL TREE LN
CICERO IL 60804             APT #6103B                          LAS VEGAS NV 89141                      140
                            SAN MARCOS TX 78666                                                         CARLSBAD CA 92011




035715P001-1409A-265        003825P001-1409A-265                007994P001-1409A-265                    004730P001-1409A-265
PARRA DENISSE HUERTA        ROCIO HUERTA                        YARILED G HUERTA                        ZOE A HUETT
24521 W NORELIUS AVE        20615 CANTLAY ST                    6701 EAST COUNTY RD 96                  5939 NINA CT
ROUND LAKE IL 60073-1455    WINNETKA CA 91306                   MIDLAND TX 79706                        RIVERSIDE CA 92509
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037350P001-1409A-265             007267P001-1409A-265                      009449P001-1409A-265             000989P001-1409A-265
ZOE A HUETT                      ALEXANDRA M HUEY                          DARON L HUFF                     MARGIE K HUFF
ZOE HUETT                        3724 GROOMETOWN RD APT H                  6522 CEDAR CHASE WAY             6522 CEDAR CHASE WAY
5939 NINA CT                     GREENSBORO NC 27407                       TALLAHASSEE FL 32311             TALLAHASSEE FL 32311-3508
JURUPA VALLEY CA 92509




030564P001-1409A-265             005211P001-1409A-265                      007522P001-1409A-265             009542P001-1409A-265
R'EAN HUFF                       EMILY J HUFFARD                           JORDAN B HUFFMAN                 NAJAHIA M HUFFMAN
ADDRESS INTENTIONALLY OMITTED    6910 BROOKVIEW RD                         617 SHOWALTER RD                 5909 E PEPPERWOOD CIR
                                 ROANOKE VA 24019                          YORKTOWN VA 23692                WICHITA KS 67220




006393P001-1409A-265             009165P001-1409A-265                      002460P001-1409A-265             004904P001-1409A-265
AMBER M HUFFORD                  MEGAN E HUFNAGEL                          ANGELEAH M HUGGINS               SARAH L HUGGINS
707 3RD AVE                      2070 N SPRIGG ST                          6401 NORTH SAINT NICHOLAS CIRC   9123 EMMAUS TRL
ALTOONA PA 16602                 APT 5216                                  #13                              SAN ANTONIO TX 78252
                                 CAPE GIRARDEAU MO 63701                   FLAGSTAFF AZ 86004




033249P001-1409A-265             002872P001-1409A-265                      033298P001-1409A-265             035716P001-1409A-265
HUGHES NETWORK SYSTEMS LLC       BRIANNA E HUGHES                          BROCK HUGHES                     DEMTRIA N HUGHES
NEIL WILSON                      323 CLOVER BROOK DR                       17933 JOSEPH DR                  3125 ILGER
11717 EXPLORATION LN             LOCUST GROVE GA 30248                     CASTRO VALLEY CA 94546           201
GERMANTOWN MD 20876-2700                                                                                    TOLEDO OH 43606




008503P001-1409A-265             009488P001-1409A-265                      003831P001-1409A-265             036653P002-1409A-265
DIASHA T HUGHES                  KARASTIN D HUGHES                         MAKAYLA S HUGHES                 MELISSA HUGHES
911 W VIRGINIA AVE               21 NATIONAL GUARD RD                      113 GRANGE ST                    158 PROSPECT AVE
BESSEMER NC 28016                APT 1023                                  ROCKY MOUNT NC 27804             SAUSALITO CA 94965-2305
                                 COLUMBIA SC 29201




009219P001-1409A-265             006585P001-1409A-265                      002515P001-1409A-265             001560P001-1409A-265
MYSHEL N HUGHES                  NIKIMA N HUGHES                           KIARA J HUGHLEY                  RALPH A HUGO
1910 BLUEHILL DR                 1609 FOSTER DR                            168 CEDAR AVE                    3400 RICHMOND PKWY
CINCINNATI OH 45240              BELLEVILLE IL 62226                       ORANGE CITY FL 32763             2521
                                                                                                            RICHMOND CA 94806




006154P001-1409A-265             031344P001-1409A-265                      037397P001-1409A-265             034805P001-1409A-265
MONTGOMERY HUJAR                 HULEN MALL LLC                            HULEN MALL LLC                   HULL PROPERTY GROUP
87 N PORTAGE PATH                PAVILIONS AT BUCKLAND HILLS LL            BROOKFIELD PROPERTY REIT INC     RACINE MALL LLC
AKRON OH 44303                   SDS-12-2776                               JLIE M BOWDEN                    HULL PROPERTY GROUP LLC
                                 PO BOX 86                                 350 N ORLEANS ST STE 300         1190 INTERSTATE PKWY
                                 MINNEAPOLIS MN 55486                      CHICAGO IL 60654-1607            AUGUSTA GA 30909
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029855P001-1409A-265              029856P001-1409A-265                             029856S001-1409A-265                     029857P001-1409A-265
HULL PROPERTY GROUP (LANDLORD)    HULL PROPERTY GROUP (LANDLORD)                   HULL PROPERTY GROUP (LANDLORD)           HULL PROPERTY GROUP (LANDLORD)
RACINE MALL LLC                   VICTORIA MALL LP                                 VICTORIA MALL, LP                        HS FLORENCE LLC
HULL PROPERTY GROUP LLC           HULL STOREY RETAIL GROUP LLC JAMES M MULL        HULL STOREY RETAIL GROUP LLC             HULL STOREY RETAIL GROUP JAMES M HULL
1190 INTERSTATE PKWY              HULL STOREY GIBSON COMPANIES LLC                 D/B/A HULL STOREY GIBSON COMPANIES LLC   D/B/A HULL STOREY GIBSON COMPANIES LLC
AUGUSTA GA 30909                  1190 INTERSTATE PKWY                             1190 INTERSTATE PKWY                     1190 INTERSTATE PKWY
                                  AUGUSTA GA 30909                                 AUGUSTA GA 30909                         AUGUSTA GA 30909


007855P001-1409A-265              009493P001-1409A-265                             005615P001-1409A-265                     001944P001-1409A-265
KATHERYN M HULL                   MACKENZEE J HULLETT                              ANNIKA K HULTIN                          CRISTINA M HULTZMAN
9073 ROOSEVELT ST                 1917 CHAPMAN DR                                  3925 CAMPERDOWN DR                       165 ROBIN HOLLOW RD
TAYLOR MI 48180                   MESQUITE TX 75150                                LANSING MI 48911                         WEST GREENWICH RI 02817-2139




009326P001-1409A-265              007327P001-1409A-265                             008695P001-1409A-265                     003634P002-1409A-265
AJAYLAH HUMPHREY                  ERICA D HUMPHREY                                 JENNIFER L HUMPHREY                      MARLENE D HUMPHREY
318 SANDERS RD                    5718 COPPER CREEK CT                             510 E ATHERTON RD                        2309 SEPHORA CT
BUFFALO NY 14216                  APT 01                                           FLINT MI 48507                           ANNA TX 75409-0160
                                  CHARLOTTE NC 28227




035717P001-1409A-265              009532P001-1409A-265                             005244P001-1409A-265                     035718P001-1409A-265
MARLENE D HUMPHREY                ASHLEY HUMPHRIES                                 RACHAEL N HUMPHRIES                      AURELIA T HUNT
9801 MADELINE CIR                 108 BERKELEY FOREST CIR                          6628 BROOKHAVEN TRL                      29 WILSHIRE RD
BETHANY LA 71007                  BESSEMER CITY NC 28016                           FORT WORTH TX 76133                      VERNON ROCKVILLE CT 06066




004514P001-1409A-265              030423P001-1409A-265                             035719P001-1409A-265                     007835P001-1409A-265
JYMELLA HUNT                      JYMELLA HUNT                                     MADELYN A HUNT                           NAVEANNA HUNT
83 BEARING CIR                    ADDRESS INTENTIONALLY OMITTED                    1955SW 5TH AVE                           1665 WESLEYAN DR
PORT WENTWORTH GA 31407                                                            918                                      APT 1106
                                                                                   PORTLAND OR 97201                        MACON GA 31210




003253P001-1409A-265              001106P001-1409A-265                             001259P001-1409A-265                     030717P001-1409A-265
PRISCILLA HUNT                    SEQUINA S HUNT                                   TAYLOR HUNT                              HUNTCITY INC
122 ROMIE DR                      406 RIVERVIEW DR                                 8856 ODEAN AVE NE                        110 E9TH ST
JACKSON TN 38305                  SAVANNAH GA 31404                                OTSEGO MN 55330                          STE B541
                                                                                                                            LOS ANGELES CA 90079




037597P001-1409A-265              009195P001-1409A-265                             008660P001-1409A-265                     009020P001-1409A-265
HUNTCITY INC                      ARIANA HUNTER                                    AZARIAH HUNTER                           BROOKLYN R HUNTER
MARK BRUTZKUS                     331 FOSTER ST                                    540 PINELAND CIR                         4343 BAKER RD
BRUTZKUS GUBNER                   NASHVILLE TN 37207                               #301                                     DAYTON OH 45424
21650 OXNARD ST STE 500                                                            NEWPORT NEWS VA 23608
WOODLAND HILLS CA 91367
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000900P001-1409A-265             037200P001-1409A-265                           003232P001-1409A-265        002330P001-1409A-265
DESIRAE M HUNTER                 LAKIYA HUNTER                                  LAKIYA M HUNTER             MARNI HUNTER
1129 NORTH SHORE RD              1070 DICKNSON SE                               1070 DICKNSON               10 BISHOP CT
APT 2C                           GRAND RAPIDS MI 49507                          GRAND RAPIDS MI 49507       OAKLAND CA 94611
REVERE MA 02151




031345P001-1409A-265             004439P001-1409A-265                           006062P001-1409A-265        006062S001-1409A-265
HUNTINGTON MALL                  JASMINE HUNTRESS                               THUY N HUOT                 THUY N HUOT
PO BOX 932400                    55 RIDGE RD                                    616 10TH AVE SE             23925 GERMAINIUM ST NW
CLEVELAND OH 44193               HALIFAX MA 02338                               APT # 203                   ST FRANCIS MN 55070
                                                                                MINNEAPOLIS MN 55414




006046P001-1409A-265             009638P001-1409A-265                           003011P001-1409A-265        002762P002-1409A-265
FAIZA HUQUE                      DIAMOND L HURD                                 EMMA HURLBURT               JOANNA HURLESS
237 PARKVILLE AVE                1501 E BURNSVILLE PKWY                         12428 COTTRELL ST           8 CHRISTOPHER DR APT 5
BROOKLYN NY 11230                308                                            TAMPA FL 33612              BELLEVILLE IL 62226-8205
                                 BURNSVILLE MN 55337




000502P001-1409A-265             032092P001-1409A-265                           035720P001-1409A-265        006352P001-1409A-265
LEONA HURLEY                     HURST FALSE ALARM REDUCTION PROGRAM            MAKIYHA HURT                ABIGAIL N HURTADO
2724 BLACKSTONE AVE              PO BOX 207226                                  4517 BARRETTS TRACE BLVD    125 LIKENS WAY
SAINT LOUIS PARK MN 55416        DALLAS TX 75320-7226                           TUSCALOOSA AL 35405         WINCHESTER VA 22602




006592P001-1409A-265             001484P001-1409A-265                           035721P001-1409A-265        009660P001-1409A-265
CHRISTINA HURTADO                LEIDI R HURTADO                                LEIDI R HURTADO             NADINE J HUSAMI
1901 TUFFREE BLVD                1220 MAY ST                                    1220 MAY ST                 94 OAKOOD TER
PLACENTIA CA 92870               APT 1011                                       DENTON TX 76209-4689        NORTH TONAWANDA NY 14120
                                 DENTON TX 76209-4689




008816P001-1409A-265             001691P001-1409A-265                           006445P001-1409A-265        002925P001-1409A-265
CHRISTINA A HUSBANDS             ANEELA A HUSSAIN                               AISHA HUSSEIN               REINA HUSSEIN
220 ROBAT ST                     712 BONNIE RIDGE DR NE                         12770 GERMANE AVE APT 112   6265 RUSTIC HILLS
PHILADELPHIA PA 19120            LEESBURG VA 20176-3616                         APPLE VALLEY MN 55124       ROCKLIN CA 95677




030566P001-1409A-265             037654P001-1409A-265                           005085P001-1409A-265        002493P001-1409A-265
REINA HUSSEIN                    REINA HUSSEIN                                  EMILY B HUTCHINS            JULIA R HUTCHINSON
ADDRESS INTENTIONALLY OMITTED    7205 COBALT WAY                                100 SPRING RUN DR           536 ISLIP AVE
                                 CITRUS HEIGHTS CA 95621                        C2                          ISLIP NY 11751
                                                                                WINSTON SALEM NC 27106
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001608P001-1409A-265                       006430P001-1409A-265                     001679P001-1409A-265                  003375P001-1409A-265
KAITLYN HUTCHINSON                         KELSEY HUTCHINSON                        ALYSSA T HUTCHISON                    DEBRA HUTSON
2521 RIDGEWOOD AVE                         1060 CRIMSON LN                          53 GEORGETOWN BLVD                    15161 AUKLET ST
RACINE WI 53403-3749                       POTTSTOWN PA 19464                       BARNEGAT NJ 08005                     PARKER CO 80134




001805P001-1409A-265                       009071P001-1409A-265                     006526P001-1409A-265                  007339P001-1409A-265
LASHAUNDA HUTSON                           AMBER HUTTER                             AKIRA C HUTTON                        CINDY HUYNH
79 BOONTON ST                              15675 AVENIDA ALCACHOFA APT A            5 IRON ST                             217 MCKINLEY RD
DOVER NJ 07801-4646                        APT A                                    LEDYARD CT 06339                      CHERRY HILL NJ 08002
                                           SAN DIEGO CA 92128




005208P001-1409A-265                       002336P001-1409A-265                     033485P001-1409A-265                  030718P001-1409A-265
RICHARD H HUYNH                            PATRICIA J HUZJAK                        HYATT REGENCY LA JOLLA                HYFVE INC
9334 HITO CT                               15202 N 40TH ST                          HYATT HOUSE SAN DIEGO/SORRENTO MESA   DIANA D
SAN DIEGO CA 92129                         APT 230                                  P O BOX 515063                        5808 WILMINGTON AVE
                                           PHOENIX AZ 85032                         LOS ANGELES CA 90051-5063             HUNTINGTON PARK CA 90058




036230P001-1409A-265                       002918P001-1409A-265                     006325P001-1409A-265                  030719P001-1409A-265
HYFVE INC                                  LEMARA HYLTON                            BREANNA HYNSON                        I SEA
5808 WILMINGTON AVE                        23621 SW 108TH AVE                       4723 WILD BLUEBONNET WAY              35 CALLE DE LA LUNA
HUNTINGTON PARK CA 90058                   HOMESTEAD FL 33032                       HOUSTON TX 77084                      SAN CLEMENTE CA 92673




010626P001-1409A-265                       002152P001-1409A-265                     004282P001-1409A-265                  004948P001-1409A-265
IA CLARINGTON FLOATING RATE INCOME FUND    ANDREA G IBARRA                          JAILENE IBARRA                        KARLA G IBARRA
IA CLARINGTON                              4019 ROSS AVE                            201 INMAN ST                          10700 E DARTMOUTH AVE
ANDREW KHAZZAM                             SAN JOSE CA 95124                        APT # 8102                            S312
1080 GRANDE ALLEE WEST                                                              DENTON TX 76205                       DENVER CO 80014
QUEBEC CITY QC G1K 7M3
CANADA


002243P001-1409A-265                       006754P001-1409A-265                     004702P001-1409A-265                  033648P001-1409A-265
MARYSOL J IBARRA                           MELANIE R IBARRA                         STEPHANIE IBARRA                      IBEROSTAR 70 PARK AVENUE HOTEL NEW YORK
1001 N MALLARD ST                          2065 BLEAKWOOD AVE                       1917 DOROTHY DR                       70 PARK AVE
LAS VEGAS NV 89108                         MONTEREY PARK CA 91754                   GRAND PRAIRIE TX 75051                NEW YORK NY 10016




032093P001-1409A-265                       036544P001-1409A-265                     035327P001-1409A-265                  036544S001-1409A-265
IBM                                        IBM                                      IBM CORP                              IBM CORP
IBM CORP                                   PO BOX 534151                            REGIONAL COUNSEL                      MARIE-JOSEE DUBE
PO BOX 534151                              ATLANTA GA 30353-4151                    425 MARKET ST                         275 VIGER EAST
ATLANTA GA 30353-4151                                                               21ST FLOOR                            MONTREAL QC H2X 3R7
                                                                                    SAN FRANCISCO CA 94105                CANADA
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IBOTTA INC                         IBOTTA INC                                 MARYA IBRAHIM                         ICR LLC
KATIE MCCARTHY                     1900 16TH ST STE 400                       29 MECHANIC ST                        761 MAIN ST
1900 16TH ST STE 400               DENVER CO 80202                            QUINCY MA 02169                       NORWALK CT 06851
DENVER CO 80202




000316P001-1409A-265               000370P001-1409A-265                       000039P001-1409A-265                  000201P001-1409A-265
IDAHO ATTORNEY GENERAL             IDAHO ATTORNEY GENERAL'S OFFICE            IDAHO DEPT OF ENVIRONMENTAL QUALITY   IDAHO DEPT OF LABOR
LAWRENCE G WASDEN                  CONSUMER PROTECTION UNIT                   1410 N HILTON                         DIRECTOR
700 W JEFFERSON ST                 650 WEST STATE ST                          BOISE ID 83706                        317 W MAIN ST
PO BOX 83720                       BOISE ID 83720-0010                                                              BOISE ID 83735
BOISE ID 83720-1000



000040P001-1409A-265               032992P001-1409A-265                       032992S001-1409A-265                  000125P001-1409A-265
IDAHO DEPT OF WATER RESOURCES      IDAHO POWER                                IDAHO POWER                           IDAHO STATE TAX COMMISION
322 EAST FRONT ST                  PROCESSING CENTER                          1434 AIR RAIL AVE                     PO BOX 36
PO BOX 83720                       PO BOX 34966                               VIRGINIA BEACH VA 23455               BOISE ID 83722
BOISE ID 83720                     SEATTLE WA 98124




009749P001-1409A-265               009750P001-1409A-265                       032095P001-1409A-265                  000422P001-1409A-265
IDAHO STATE TAX COMMISSION         IDAHO STATE TAX COMMISSION                 IDAHO STATE TAX COMMISSION            IDAHO STATE TREASURER
800 PK BLVD PLZ IV                 PO BOX 56                                  PO BOX 83784                          UNCLAIMED PROPERTY DIVISION
BOISE ID 83712-7742                BOISE ID 83756-0056                        BOISE ID 83707-3784                   304 N 8TH ST
                                                                                                                    STE 208
                                                                                                                    BOISE ID 83702



004871P001-1409A-265               002008P001-1409A-265                       030720P001-1409A-265                  036231P001-1409A-265
ARCELI SANGIE J IGNACIO            ALINA IHTIJAREVIC                          IKNIT GROUP LLC                       IKNIT GROUP LLC
2922 MCLAUGHLIN AVE                349 FARRELL ST                             DARREN COHEN                          5901 WEST SIDE AVE 7N
SAN JOSE CA 95121                  207                                        5901 WEST SIDE AVE 7N                 NORTH BERGEN NJ 07047
                                   SOUTH BURLINGTON VT 05403                  NORTH BERGEN NJ 07047




035247P001-1409A-265               006669P001-1409A-265                       001427P001-1409A-265                  035722P001-1409A-265
IL- DEPT OF EMPLOYMENT SECURITY    ARIANA X ILARRAZA                          MARY J ILES                           MARY J ILES
AMELIA T YABES                     9409 CANTLEDR                              409 CTR ST                            409 CENTER ST
33 S STATE ST 10TH FL COLL BKRY    CHARLOTTE NC 28216                         ERLANGER KY 41018                     ERLANGER KY 41018
CHICAGO IL 60603




030509P001-1409A-265               032993P001-1409A-265                       032993S001-1409A-265                  000317P001-1409A-265
MARY JO ILES                       ILLINOIS AMERICAN WATER                    ILLINOIS AMERICAN WATER               ILLINOIS ATTORNEY GENERAL
ADDRESS INTENTIONALLY OMITTED      PO BOX 5127                                1221 W IDAHO ST                       LISA MADIGAN
                                   CAROL STREAM IL 60197                      BOISE ID 83702-5627                   JAMES R THOMPSON CTR
                                                                                                                    100 W RANDOLPH ST
                                                                                                                    CHICAGO IL 60601
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000371P001-1409A-265                        037288P001-1409A-265                            000202P001-1409A-265                   000126P001-1409A-265
ILLINOIS ATTORNEY GENERAL                   ILLINOIS BELL TELEPHONE CO                      ILLINOIS DEPT OF LABOR                 ILLINOIS DEPT OF REVENUE
CONSUMER PROTECTION DIVISION                AT AND T SVC INC                                DIRECTOR                               JAMES R THOMPSON CTR CONCOURSE LEVEL
100 WEST RANDOLPH ST                        KAREN A CAVAGNARO                               160 N LASALLE ST                       100 WEST RANDOLPH ST
CHICAGO IL 60601                            LEAD PARALEGAL ONE AT AND T WAY                 13TH FL SUITEC-1300                    CHICAGO IL 60601-3274
                                            ROOM 3A104                                      CHICAGO IL 60601
                                            BEDMINSTER NJ 07921


009751P001-1409A-265                        009810P001-1409A-265                            010242P001-1409A-265                   032783P001-1409A-265
ILLINOIS DEPT OF REVENUE                    ILLINOIS DEPT OF REVENUE                        ILLINOIS DEPT OF REVENUE               ILLINOIS DEPT OF REVENUE
PO BOX 19008                                PO BOX 19028                                    PO BOX 19045                           RETAILERS OCCUPATION TAX
SPRINGFIELD IL 62794-9008                   SPRINGFIELD IL 62794-9028                       SPRINGFIELD IL 62794-9045              SPRINGFIELD IL 62796-0001




000041P001-1409A-265                        032994P001-1409A-265                            032994S001-1409A-265                   033649P001-1409A-265
ILLINOIS ENVIRONMENTAL PROTECTION AGENCY    ILLINOIS POWER MARKETING                        ILLINOIS POWER MARKETING               ILLINOIS POWER MARKETING CO
1021 NORTH GRAND AVE EAST                   DBA AMEREN ENERGY MARKETING                     23532 NETWORK PL                       DBA HOMEFIELD ENERGY
PO BOX 19276                                23532 NETWORK PL                                CHICAGO IL 60673                       MAIL STOP #5
SPRINGFIELD IL 62794-9276                   CHICAGO IL 60673                                                                       PO BOX 182064
                                                                                                                                   COLUMBUS OH 43218



000423P001-1409A-265                        037011P001-1409A-265                            009232P001-1409A-265                   002663P001-1409A-265
ILLINOIS STATE TREASURER'S OFFICE           AMEREN ILLINOIS                                 NEESHA O ILODIGWE                      KAYLA L ILUND
UNCLAIMED PROPERTY DIVISION                 TARA TOSH                                       650 RIVER RD                           33 LUKE CT
PO BOX 19495                                2105 E STATE RTE 104                            3204                                   STATEN ISLAND NY 10306
SPRINGFIELD IL 62794-9495                   PAWNEE IL 62558                                 SAN MARCOS TX 78666




003730P001-1409A-265                        032096P001-1409A-265                            007194P001-1409A-265                   033650P001-1409A-265
LETYYA IMES                                 IMG MODELS LLC                                  KATELYN M IMMORDINO                    IMPACT RADIUS INC
446 BEACON HILL CIR                         PENTHOUSE NORTH                                 542 CLYMER AVE                         223 E DE LA GUERRA ST
NORFOLK VA 23502                            304 PK AVE SOUTH                                MORRISVILLE PA 19067                   SANTA BARBARA CA 93101
                                            NEW YORK NY 10010




010570P001-1409A-265                        032692P001-1409A-265                            010127P001-1409A-265                   032995P001-1409A-265
IMPERIAL COUNTY DEPT OF                     IMPERIAL COUNTY DEPT OF WEIGHT AND MEASURES     IMPERIAL COUNTY TAX COLLECTOR          IMPERIAL IRRIGATION DISTRICT
WEIGHTS AND MEASURES                        PO BOX 806                                      940 WEST MAIN ST #106                  333 E BARIONI BLVD
PO BOX 806                                  EL CENTTO CA 92244                              EL CENTRO CA 92243                     PO BOX 937
EL CENTTO CA 92244                                                                                                                 IMPERIAL CA 92251




034490P001-1409A-265                        031346P001-1409A-265                            036547P002-1409A-265                   036547S001-1409A-265
IMPERIAL VALLEY MALL , LP                   IMPERIAL VALLEY MALL II LP                      IMPERIAL VALLEY MALL II LP             IMPERIAL VALLEY MALL II LP
CBL # 0572                                  IMPERIAL VALLEY MALL LP                         BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
PO BOX 955607                               CBL # 0572                                      GARY RODDY                             CALEB HOLZAEPFEL
ST LOUIS MO 63195-5607                      PO BOX 955607                                   2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300
                                            ST LOUIS MO 63195-5607                          CHATTANOOGA TN 37421                   CHATTANOOGA TN 37402
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033651P001-1409A-265                     010279P002-1409A-265                             031769P002-1409A-265                            000127P002-1409A-265
IMPERVA                                  IN- ALLEN COUNTY TREASURER                       IN- BARTHOLOMEW COUNTY TREASURER                IN- DEPT OF REVENUE
3400 BRIDGE PKWY                         WILLIAM F ROYCE                                  440 THIRD ST                                    100 N SENATE AVE RM N240 MS 108
STE 200                                  1 E MAIN ST STE 104                              PO BOX 1986                                     INDIANAPOLIS IN 46204
REDWOOD SHORES CA 94065                  FORT WAYNE IN 46802-1888                         COLUMBUS IN 47202-1530




010550P002-1409A-265                     010550S001-1409A-265                             010354P002-1409A-265                            037890P001-1409A-265
IN- JOHNSON COUNTY TREASURER             IN- JOHNSON COUNTY TREASURER                     IN- MARION COUNTY TREASURER                     IN- MONROE COUNTY TREASURER
PO BOX 6095                              MICHELE A GRAVES                                 NORINE MILLER                                   BANKRUPTCY
INDIANAPOLIS IN 46206-6095               86 W COURT ST                                    200 E WASHINGTON ST STE 1041                    100 W KIRKWOOD AVE RM 204
                                         FRANKLIN IN 46131                                INDIANAPOLIS IN 46204                           BLOOMINGTON IN 47404




010234P003-1409A-265                     010376P002-1409A-265                             032591P003-1409A-265                            001707P001-1409A-265
IN- ST JOSEPH COUNTY TREASURER           IN- VANDERBURGH COUNTY TREASURER                 IN- VIGO COUNTY TREASURER                       ANITA M INABINET
TIM SWAGER                               LINDA A STRICKLAND                               TAX PROCESSING CENTER                           749 ARCTIC ST APT 5
COUNTY CITY BLDG                         1 NW MARTIN LUTHER KING JR BLVD                  191 OAK ST                                      BRIDGEPORT CT 06608
227 W JEFFERSON BLVD 2ND FL              RM 210                                           TERRE HAUTE IN 47807
SOUTH BEND IN 46601                      EVANSVILLE IN 47708



032097P001-1409A-265                     031347P002-1409A-265                             031347S001-1409A-265                            032098P001-1409A-265
INDEED                                   INDEPENDENCE CENTER NEWCO LLC                    INDEPENDENCE CENTER NEWCO LLC                   INDEPENDENT FINANCIAL PARTNERS
MAIL CODE 5160                           BARCLAY DAMON LLP                                PYRAMID MANAGEMENT GROUP LLC                    WILLIAM E HAMM AND ASSOCIATES
PO BOX 660367                            KEVIN M NEWMAN                                   JOHN D CICO                                     FBO RETIREMENT BENEFITS GROUP
DALLAS TX 75266-0367                     BARCLAY DAMON TOWER                              THE CLINTON EXCHANGE                            9276 SCRANTON RD STE 550
                                         125 E JEFFERSON ST                               4 CLINTON SQ                                    SAN DIEGO CA 92121
                                         SYRACUSE NY 13202                                SYRACUSE NY 13202


033652P001-1409A-265                     032996P001-1409A-265                             034771P001-1409A-265                            031348P001-1409A-265
INDEPENDENT SECURITY EVALUATORS LLC      INDIAN RIVER COUNTY UTIL DEPT                    INDIAN RIVER MALL REALTY HOLDING LLC            INDIAN RIVER MALL REALTY HOLDING, LLC
4901 SPRINGARDEN DR                      1801 27TH ST                                     MIKE KOHAN C111                                 INDIAN RIVER MALL REALTY HOLDI
STE 200                                  VERO BEACH FL 32960                              BACM05-1 - INDIAN RIVER BAYER PROPERTIES LLC    1010 NORTHERN BLVD STE 212
BALTIMORE MD 21209                                                                        2222 ARLINGTON AVE                              GREAT NECK NY 11021
                                                                                          BIRMINGHAM AL 35205



034111P001-1409A-265                     034111S001-1409A-265                             029858S001-1409A-265                            029858P001-1409A-265
INDIAN RIVER MALL REALTY HOLDING, LLC    INDIAN RIVER MALL REALTY HOLDING, LLC            INDIAN RIVER MALL REALTY HOLDING, LLC (LANDLO   INDIAN RIVER MALL RLTY HLD, LLC (LANDLORD)
1010 NORTHERN BLVD STE 212               MEYERS ROMAN FRIEDBERG AND LEWIS LPA             C111, BACM051 INDIAN RIVER                      MIKE KOHAN
GREAT NECK NY 11021                      DAVID M NEUMANN                                  BAYER PROPERTIES LLC                            INDIAN RIVER MALL REALTY HOLDING LLC
                                         28601 CHAGRIN BLVD STE 600                       GENERAL COUNSEL                                 6200 20TH ST RM 471
                                         CLEVELAND OH 44122                               2222 ARLINGTON AVE                              VERO BEACH FL 32966
                                                                                          BIRMINGHAM AL 35205


032997P001-1409A-265                     032997S001-1409A-265                             037224P001-1409A-265                            000318P001-1409A-265
INDIANA AMERICAN WATER                   INDIANA AMERICAN WATER                           INDIANA AMERICAN WATER                          INDIANA ATTORNEY GENERAL
PO BOX 5127                              153 N EMERSON AVE                                AKA CALIFORNIA MARYLAND PENNSYLVANIA            CURTIS T HILL JR
CAROL STREAM IL 60197                    GREENWOOD IN 46143                               WATER                                           INDIANA GOVERNMENT CTR SOUTH
                                                                                          PO BOX 578                                      302 WEST WASHINGTON ST 5TH FL
                                                                                          ALTON IL 62002                                  INDIANAPOLIS IN 46204-2770
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037289P001-1409A-265                  037289S001-1409A-265                     000042P001-1409A-265                 000203P001-1409A-265
INDIANA BELL TELEPHONE CO INC         INDIANA BELL TELEPHONE CO INC            INDIANA DEPT OF ENVIRONMENTAL MGMT   INDIANA DEPT OF LABOR
AT AND T SVC INC                      MARIN WEST                               OFFICE OF AIR QUALITY (COMPLIANCE)   COMMISSIONER
KAREN A CAVAGNARO L                   4331 COMMUNICATIONS DR                   100 N SENATE AVEVNUE                 402 WEST WASHINGTON ST
EAD PARALEGAL ONE AT AND T WAY        FLOOR 4W                                 MAIL CODE 50-01                      RM W195
ROOM 3A104                            DALLAS TX 75211                          INDIANAPOLIS IN 46204-2251           INDIANAPOLIS IN 46204
BEDMINSTER NJ 07921


000043P001-1409A-265                  009752P001-1409A-265                     009811P001-1409A-265                 010356P001-1409A-265
INDIANA DEPT OF NATURAL RESOURCES     INDIANA DEPT OF REVENUE                  INDIANA DEPT OF REVENUE              INDIANA DEPT OF REVENUE
402 WEST WASHINGTON ST                PO BOX 7147                              PO BOX 7205                          SYSTEM SVC
INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46207-7147               INDIANAPOLIS IN 46207-7205           PO BOX 6197
                                                                                                                    INDIANAPOLIS IN 46206-6197




010374P001-1409A-265                  009993P001-1409A-265                     000424P001-1409A-265                 036548P001-1409A-265
INDIANA DEPT OF REVENUE               INDIANA SECRETARY OF STATE               INDIANA UNCLAIMED PROPERTY           INDUSTRIAL SECURITY SOLUTIONS
PO BOX 7226                           302 W WASHINGTON ST RM E018              302 W WASHINGTON ST                  5731 MC FADDEN AVE STE A
INDIANAPOLIS IN 46207-7226            INDIANAPOLIS IN 46204                    INDIANAPOLIS IN 46204                HUNTINGTON BEACH CA 92649




032099P001-1409A-265                  004722P001-1409A-265                     001603P001-1409A-265                 032100P001-1409A-265
INDUSTRIAL SECURITY SOLUTIONS CORP    MARIA INFANTE                            DANIELLE INFANTINO                   INFINITY CREATIVE AGENCY LLC
KEITH KING                            209 A ST                                 227 NORTH IOWA AVE                   843 S LOS ANGELES ST STE 200
5731 MC FADDEN AVE STE A              SHELBYVILLE KY 40065                     MASSAPEQUA NY 11758                  STE 200
HUNTINGTON BEACH CA 92649                                                                                           LOS ANGELES CA 90014-3343




032101P001-1409A-265                  033653P001-1409A-265                     035112P001-1409A-265                 037598P001-1409A-265
INFOR                                 INFOR US INC                             INFOR US INC                         INFOR US INC
NW 7418                               641 AVENUE OF THE AMERICAS               13560 MORRIS RD STE 4100             VICTORIA A GUILFOYLE ESQ
PO BOX 1450                           NEW YORK NY 10011                        ALPHARETTA GA 30004                  BLANK ROME LLP
MINNEAPOLIS MN 55485-7418                                                                                           1201 N MARKET ST STE 800
                                                                                                                    WILMINGTON DE 19801



037598S001-1409A-265                  033529P001-1409A-265                     033654P001-1409A-265                 033655P001-1409A-265
INFOR US INC                          INFORMATICA CORP                         INFORMEDRX INC                       INFOSOL INC
BRADFORD STEINER                      MIKE SHERMAN                             2441 WARRENVILLE RD                  1831 W ROSE GDN LN
111 SPEEN STREET STE 201              PO BOX 49085                             STE 610                              STE 850
FRAMINGHAM MA 01701                   SAN JOSE CA 95161-9085                   LISLE IL 60432                       PHOENIX AZ 85027




030986P001-1409A-265                  036232P001-1409A-265                     008300P001-1409A-265                 003205P001-1409A-265
INGRAM PUBLISHER DBA PERSEUS          INGRAM PUBLISHER DBA PERSEUS             ASHLEIGH S INGRAM                    BRITTANY N INGRAM
KAMALA KELLEY                         210 AMERICAN DR                          15020 THELMA ST                      3109 MAGNOLIA DR
210 AMERICAN DR                       JACKSON TN 38301                         BILOXI MS 39532                      RAYVILLE LA 71269
JACKSON TN 38301
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008476P001-1409A-265                            009451P001-1409A-265                            033295P001-1409A-265               006950P001-1409A-265
DOROTHY G INGRAM                                ERICA S INGRAM                                  INGRID PEREZ-PUGLIESE              VALERIA INIGUEZ
904 NE 109TH TER                                1833 PRIOR DR                                   INGRID PEREZ-PUGLIESE CONSULTING   44800 MILESTONE SQ
KANSAS CITY MO 64155                            SAINT LOUIS MO 63136-3328                       175 MANDALAY AVE                   300
                                                                                                HERCULES CA 94547                  ASHBURN VA 20147




033253P001-1409A-265                            033656P001-1409A-265                            005914P001-1409A-265               033657P001-1409A-265
INK STUDIO LONDON LTD                           INLAND CONTINENTAL PROPERTY MGMT                JAELYN INMAN                       INNERWORKINGS INC
12 INDEPENDENT PL                               2901 W BUTTERFIELD RD                           580 21ST ST                        600 WEST CHICAGO
LONDON E8 2HE                                   OAK BROOK IL 60523                              SPRINGFIELD OR 97477               STE 850
UNITED KINGDOM                                                                                                                     CHICAGO IL 60654




033474P001-1409A-265                            005453P001-1409A-265                            033478P001-1409A-265               032102P001-1409A-265
INNOTRAC                                        HAUNANI T INOUYE                                INTEGRATED SYSTEMS DEVELOPMENT     INTERACTIVE ACCESSIBILITY INC
DEPT # 40328                                    3282 KAIMUKI AVE                                DEPT CH 17267                      STEVE WAHLBIN
PO BOX 740209                                   HONOLULU HI 96816                               PALATINE IL 60055-7267             363 WILLIS RD
ATLANTA GA 30374-0209                                                                                                              SUDBURY MA 01776




033658P001-1409A-265                            033479P001-1409A-265                            032998P001-1409A-265               032998S001-1409A-265
INTERACTIVE COMMUNICATIONS INTERNATIONAL INC    INTERCALL                                       INTERMOUNTAIN RURAL ELEC ASSOC     INTERMOUNTAIN RURAL ELEC ASSOC
INCOMM                                          FILE 51089                                      PO BOX 6437                        5496 NORTH US HIGHWAY 85
250 WILLIAMS ST                                 LOS ANGELES CA 90074-1089                       CAROL STREAM IL 60197              PO DRAWER A
STE M-100                                                                                                                          SEDALIA CO 80135
ATLANTA GA 30303



000128P001-1409A-265                            030987P001-1409A-265                            036233P001-1409A-265               035113P001-1409A-265
INTERNAL REVENUE SVC                            INTERNATIONAL ARRIVALS                          INTERNATIONAL ARRIVALS             INTERNATIONAL BUSINESS MACHINES CORP
1111 CONSTITUTION AVE NW                        MARISSA                                         3923 OCEANIC DR #100               REGIONAL COUNSEL
WASHINGTON DC 20224                             3923 OCEANIC DR                                 OCEANSIDE CA 92056                 425 MARKET ST 21ST FL
                                                #100                                                                               SAN FRANCISCO CA 94105
                                                OCEANSIDE CA 92056



032999P001-1409A-265                            029859P001-1409A-265                            034714P001-1409A-265               030988P001-1409A-265
INTERNATIONAL ENVIRNMNTL MGMT                   INTERNATIONAL GROWTH PROP (LANDLORD)            INTERNATIONAL GROWTH PROPERTIES    INTERNATIONAL INTIMATES INC
PO BOX 4648                                     MORENO VALLEY MALL HOLDINGLLC                   MORENO VALLEY MALL HOLDING LLC     DANIELA DUMITRESCU
CAROL STREAM IL 60197                           MALL MANAGEMENT                                 22500 TOWN CIR                     31 WEST 34TH ST
                                                22500 TOWN CIR STE 1206                         STE 1206                           9TH FL
                                                MORENO VALLEY CA 92553                          MORENO VALLEY CA 92553             NEW YORK NY 10001



032103P002-1409A-265                            036549P001-1409A-265                            036550P001-1409A-265               032104P001-1409A-265
INTERNATIONAL PAPER CO                          INTERNATIONAL PAPER CO                          INTERNATIONAL SYSTEMS OF           INTERNATIONAL SYSTEMS OF AMERICA LLC
BRAD STIEFVATER                                 9211 NORWALK BLVD                               PO BOX 99529 1812 CARGO CT         LORIE LISIUS
1740 INTERNATIONAL DR                           SANTA FE SPRINGS CA 90670                       LOUISVILLE KY 40269-0529           PO BOX 99529
MEMPHIS TN 38197                                                                                                                   1812 CARGO CT
                                                                                                                                   LOUISVILLE KY 40269-0529
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034491P001-1409A-265                    033659P001-1409A-265                       033000P001-1409A-265                   030721P002-1409A-265
INTERNATIONAL SYSTEMS OF AMERICA LLC    INTERSCOPE RECORDS                         INTERSTATE WASTE SVC                   INTOUCH FOOTWEAR INC
PO BOX 99529                            2220 COLORADO AVE                          PO BOX 554744                          RAYMOND NGO
1812 CARGO CT                           SANTA MONICA CA 90404                      DETROIT MI 48255                       17900 AJAX CIRCLE
LOUISVILLE KY 40269-0529                                                                                                  CITY OF INDUSTRY CA 91748-1133




002096P001-1409A-265                    004438P001-1409A-265                       033660P001-1409A-265                   035374P001-1409A-265
JADE T INTRAVIA                         EMILY C INTRIERI                           INVICTUS SOLUTIONS GROUP ISG           LAURA DI IORIO
381 MAJESTIC DR                         3405 TOWNEHOUSE DR                         PO BOX 2984                            165 FRANK LN
HOLLISTER CA 95023-7032                 CORAM NY 11727                             MADISON MS 39130                       PARAMUS NJ 07652




000319P001-1409A-265                    000044P001-1409A-265                       000129P001-1409A-265                   000204P001-1409A-265
IOWA ATTORNEY GENERAL                   IOWA DEPT OF NATURAL RESOURCES             IOWA DEPT OF REVENUE HOOVER BUILDING   IOWA WORKFORCE DEVELOPMENT
TOM MILLER                              502 E 9TH ST                               PO BOX 10471                           DIRECTOR
HOOVER STATE OFFICER BLDG               4TH FL                                     DES MOINES IA 50306-3457               1000 EAST GRAND AVE
1305 E WALNUT 2ND FL                    DES MOINES IA 50319-0034                                                          DES MOINES IA 50319
DES MOINES IA 50319



033234P001-1409A-265                    032105P001-1409A-265                       033286P001-1409A-265                   030989P002-1409A-265
IPKEYS TECHNOLOGIES LLC                 IPROFESSIONAL                              IQ PIPELINE LLC                        IRIS FASHION INC
KIM MILLER                              INDEPENDENT PROFESSIONAL SERVI             1550 HOTEL CIR NORTH                   XIAO HUA LI
1 INDUSTRIAL WAY                        CLARK FRAME                                STE 270                                14113 183RD ST
UNIT E SUITE G & H                      3921 RTE 202                               SAN DIEGO CA 92108                     CERRITOS CA 90703
EATONTOWN NJ 07724                      DOYLESTOWN PA 18902



003091P001-1409A-265                    032106P001-1409A-265                       033496P001-1409A-265                   035114P001-1409A-265
ELIZABETH IRIZARRY                      IRON MOUNTAIN                              IRON MOUNTAIN                          IRON MOUNTAIN INFORMATION MANAGEMENT INC
1791 N MAIN ST                          PO BOX 601002                              PO BOX 27131                           6935 FLANDERS DR
A                                       PASADENA CA 91189-1002                     NEW YORK NY 10087-7131                 SAN DIEGO CA 92121
WATERBURY CT 06704




000130P001-1409A-265                    035224P001-1409A-265                       035224S001-1409A-265                   035355P001-1409A-265
IRS (INTERNAL REVENUE SERVICE)          IRS- DEPT OF THE TREASURY                  IRS- DEPT OF THE TREASURY              IRS- DEPT OF TREASURY
10TH ST AND PENNSYLVANIA AVE NW         INTERNAL REVENUE SERVICE                   INTERNAL REVENUE SERVICE               BANKRUPTCY SECTION
WASHINGTON DC 20530                     PO BOX 7346                                31 HOPKINS PLZ RM 1150                 SANDRA RODRIGUEZ GONZALEZ
                                        PHILADELPHIA PA 19101-7346                 BALTIMORE MD 21201                     PO BOX 9024140
                                                                                                                          SAN JUAN PR 00902-4140



031349P001-1409A-265                    031349S001-1409A-265                       033809P001-1409A-265                   030523P001-1409A-265
IRVINE CO                               IRVINE COMPANY                             KATIE IRVINE                           MICAH IRVINE
PO BOX 840363                           BEWLEY LASSLEBEN AND MILLER LLP            5224 7TH CT S                          ADDRESS INTENTIONALLY OMITTED
LOS ANGELES CA 90084-0363               ERNIE ZACHARY PARK                         BIRMINGHAM AL 35212
                                        13215 E PENN ST STE 510
                                        WHITTIER CA 90602
                                   Case 19-10210-LSS   Doc Russe
                                                   Charlotte 1780 Holding,
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000921P001-1409A-265                006670P001-1409A-265                   000741P001-1409A-265                          001169P001-1409A-265
MICAH C IRVINE                      NANCY IRVING                           DEBORAH L IRWIN                               JORDAN R IRWIN
720 LOTUS BLOSSOM ST                10617 FLAMEWOOD DR                     PO BOX 1718                                   1916 COOLIDGE ST
ENCINITAS CA 92024                  FORT WORTH TX 76140                    ALPINE CA 91903-1718                          SAN DIEGO CA 92111




006939P001-1409A-265                001118P001-1409A-265                   037212P001-1409A-265                          002768P001-1409A-265
IREON M ISAAC                       ROSA ISAAC                             ROSA ISAAC                                    DANA ISALY
2308 WILTON ST                      BB172 CALLE 41                         JARDINES DE RIO GRANDE 41 BB172               356 COLLEGE PK CT
MARREOR LA 70072                    RIO GRANDE PR 00745-2619               RIO GRANDE PR 00745                           HUNTSVILLE AL 35805




032107P001-1409A-265                035723P001-1409A-265                   036902P002-1409A-265                          032108P001-1409A-265
ISAN D MONFORT                      GRACE D ISBRANDT                       ISCREAM A DIVISION OF THE MINES PRESS INC     ISD / HEALTH DIVISION
226 E 59 ST                         275 WEST CHURCH RD                     JOSEPHINE BETHEM                              CITY OF SOMERVILLE
APT 2RE                             EPHRATA PA 17522                       231 CROTON AVE                                ISD / HEALTH DIVISION
NEW YORK NY 10022                                                          CORTLANDT MANOR NY 10567                      1 FRANNY RD
                                                                                                                         SOMERVILLE MA 02145



033661P001-1409A-265                007062P001-1409A-265                   035724P001-1409A-265                          036551P001-1409A-265
ISH                                 AVA J ISHMELL                          ADRIA ISLAM                                   ISLAND PACIFIC
1001 CORPORATE DR                   817 MAURY AVE                          78-04 32ND AVE                                1940 EAST DEERE AVE STE 200
STE 230                             OXON HILL MD 20745                     2ND FLOOR                                     SANTA ANA CA 92705
CANONSBURG PA 15317                                                        EAST ELMHURST NY 11370




032109P001-1409A-265                035115P001-1409A-265                   035116P001-1409A-265                          007709P001-1409A-265
ISLAND PACIFIC SYSTEMS INC          ISLAND PACIFIC SYSTEMS INC             ISLAND PACIFIC SYSTEMS INC SOFTWARE LICENSE   ISABEL E ISLAS
MARY CAPOTE                         MONTHLY MAINTENANCE                    1940 EAST DEERE AVE STE 200                   8943 LINDLEY AVE
1940 EAST DEERE AVE                 1940 EAST DEERE AVE STE 200            SANTA ANA CA 92705                            NORTHRIDGE CA 91325
STE 200                             SANTA ANA CA 92705
SANTA ANA CA 92705



032110P001-1409A-265                000557P001-1409A-265                   006607P001-1409A-265                          032111P001-1409A-265
ISOLINA HOWARD                      TYMERIA ISOM                           ELIZABETH ISON                                ISOS TECHNOLOGY
438 VICTORY RD                      1950 ELDRIDGE PKWY                     5425 E 700 N                                  ALLYSON BEARDSLEE
CLARKSVILLE TN 37042                4307                                   FRANKLIN IN 46131                             60 E RIO SALADO PKWY 900
                                    HOUSTON TX 77077                                                                     TEMPE AZ 85281




033662P001-1409A-265                034124P001-1409A-265                   033410P001-1409A-265                          030488P001-1409A-265
ISRAEL DISCOUNT BANK OF NEW YORK    ISTAR FINANCIAL INC                    ITK TECHNOLOGIES INC                          MADELINE ITTE
511 FIFTH AVE                       1114 AVE OF THE AMERICAS               DEB PIEPER                                    ADDRESS INTENTIONALLY OMITTED
NEW YORK NY 10017                   39TH FL                                4884 OXFORD ST N
                                    NEW YORK NY 10036                      SHOREVIEW MN 55126
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002459P001-1409A-265            006106P001-1409A-265                    030990P001-1409A-265          004370P001-1409A-265
CARLY IVANOWSKI                 MORGAN IVESDAL                          IVY MAY INC                   LAURA A IWANOWSKI
7 PENINSULA PL                  5415 HIGHLAND TRL BIG LAKE M            2649 LONG BEACH AVE           196 TEXAS AVE
603                             BIG LAKE MN 55309                       LOS ANGELES CA 90058          BAY SHORE NY 11706
DORCHESTER MA 02125




006385P001-1409A-265            030722P001-1409A-265                    030723P001-1409A-265          030991P001-1409A-265
MAKATIE A IXCOYMARTINEZ         J AND F DESIGN                          J C DOSSIER                   J STORY FASHION INC
236 HILLCREST RIDGE             RICHARD HOWARD                          KERNAL INVESTMENTS INC        ANGIE BOLLINGER
CANTON GA 30115                 5578 BANDINI BLVD                       JENNIFER CHOU                 600 EWASHINGTON BLVD
                                BELL CA 90201                           833 LAWSON ST                 #C18
                                                                        CITY OF INDUSTRY CA 91748     LOS ANGELES CA 90015



009576P001-1409A-265            001393P002-1409A-265                    004215P001-1409A-265          032112P001-1409A-265
SANAZ JABALABADI                HELEN JABAR                             LAUREN JABEROO                JACK JONES DESIGN
1801 E PALM VLY BLVD APT        85 SHEPARD AVE                          28222 WEXFORD                 UNIT 7 14-16 MEREDITH ST
524                             KENMORE NY 14217-1913                   WARREN MI 48092               LONDON ECIR OAE
ROUND ROCK TX 78664                                                                                   UNITED KINGDOM




030992P001-1409A-265            006410P001-1409A-265                    008008P001-1409A-265          001234P001-1409A-265
JACK RABBIT CREATIONS           ANGELIQUE JACK                          DESTINEE B JACK               KRISTEN M JACKOWSKI
ERICA LANCASTER                 620 MCKINLEY ST PO BOX 4                1595 TUFTSTOWN CT             93 GREEN MEADOW LN
1039 VANCE AVE NE               LAFAYETTE LA 70503                      SNELLVILLE GA 30078           WEST SPRINGFIELD MA 01089-4419
ATLANTA GA 30306




032113P001-1409A-265            010260P001-1409A-265                    033001P001-1409A-265          033001S001-1409A-265
JACKSON COUNTY                  JACKSON COUNTY COLLECTOR                JACKSON EMC                   JACKSON EMC
PO BOX 247                      PO BOX 219747                           PO BOX 100                    850 COMMERCE RD
JEFFERSON GA 30549              KANSAS CITY MO 64121-9747               JEFFERSON GA 30549            JEFFERSON GA 30549




033002P001-1409A-265            033002S001-1409A-265                    031350P001-1409A-265          033003P001-1409A-265
JACKSON ENERGY AUTHORITY        JACKSON ENERGY AUTHORITY                JACKSON PREMIUM OUTLETS       JACKSON PURCHASE ENERGY CORP
PO BOX 2288                     119 EAST COLLEGE ST                     PREMIUM OUTLET PARTNERS LP    PO BOX 4030
JACKSON TN 38302                JACKSON TN 38301                        ACCOUNTING                    PADUCAH KY 42002
                                                                        PO BOX 822943
                                                                        PHILADELPHIA PA 19182



033003S001-1409A-265            002276P001-1409A-265                    001445P001-1409A-265          030213P001-1409A-265
JACKSON PURCHASE ENERGY CORP    AMANDA J JACKSON                        ANDREA JACKSON                ANDREA JACKSON
2900 IRVIN COBB DR              6212 GREEN MANOR DR                     7661 MIRAMAR PKWY             ADDRESS INTENTIONALLY OMITTED
PADUCAH KY 42003                LOUISVILLE KY 40228                     MIRAMAR FL 33023-5956
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004339P001-1409A-265    003620P001-1409A-265                      007795P001-1409A-265        007879P001-1409A-265
ASHLEY C JACKSON        BRIANNA L JACKSON                         BRITTANIE JACKSON           DAYTRA T JACKSON
15443 WILLOWWISP TRL    12263 KNIGHTS KROSSING CIR                PO BOX 561594               445 SUNRISE WAY
CONROE TX 77302         UNIT# 9-107                               MIAMI FL 33256              SAN FRANCISCO CA 94134
                        ORLANDO FL 32817




005557P001-1409A-265    006998P002-1409A-265                      002724P001-1409A-265        005101P001-1409A-265
DOMINICK A JACKSON      ELANNA N JACKSON                          GIOANNA JACKSON             JAIYLN A JACKSON
86 CAMDEN ST            1022 NE 181ST AVE APT E5                  711 TRUMAN ST               4752 DURHAM CT
1                       PORTLAND OR 97230                         3                           DENVER CO 80239
BOSTON MA 02118                                                   LAKE WORTH FL 33460




005019P001-1409A-265    004183P001-1409A-265                      001383P001-1409A-265        001124P001-1409A-265
JALIYAH M JACKSON       JAMILAH L JACKSON                         JASMINE G JACKSON           JAYNA R JACKSON
4 BENNINGTON ST         2974 ELSPETH CT                           425 AFTON POND APT 123      6201 GDN RD A2
DOVER DE 19904          COLUMBUS OH 43231                         CHARLOTTESVILLE VA 22902    MAUMEE OH 43537




035725P001-1409A-265    004939P001-1409A-265                      035726P001-1409A-265        006718P001-1409A-265
JAYNA R JACKSON         KATELYN M JACKSON                         KATHERINE JACKSON           KEYANA J JACKSON
6201 GARDEN RD A2       123 W DAYTON YELLOW SPRINGS RD            1804 PICADILLY CIR          76 LAWRENCE AVE
MAUMEE OH 43537         21                                        CULPEPER VA 22701           3
                        FAIRBORN OH 45324                                                     DORCHESTER MA 02121




007958P001-1409A-265    003481P001-1409A-265                      003115P001-1409A-265        002975P001-1409A-265
KHEYERA JACKSON         KIAH JACKSON                              KIM JACKSON                 LAUREN R JACKSON
58 PINE TREE CIR        3750 STONESBORO RD                        6203 ADDISON PL             1382 FOUNTAINHEAD DR
DECATUR GA 30032        FORT WASHINGTON MD 20744                  POOLER GA 31322             SAINT LOUIS MO 63138




005753P001-1409A-265    008399P001-1409A-265                      007786P001-1409A-265        005401P001-1409A-265
LEIGH C JACKSON         LONDON Z JACKSON                          LYRIC B JACKSON             MACKENZIE B JACKSON
1905 HAWTHORNE CIR      17405 GETTYSBURG WAY                      1123 NOBLE ST SE            1320 PRINCESS DR
OAKDALE PA 15071        LAKEVILLE MN 55044                        GRAND RAPIDS MI 49507       WINDER GA 30680




009648P001-1409A-265    003153P001-1409A-265                      035727P001-1409A-265        009680P001-1409A-265
MAHIJAH JACKSON         MALANEY JACKSON                           MALANEY JACKSON             MALORIE R JACKSON
1714 HANDCOCK DR        900 BULLDOG DR                            81 LAKESHORE DR APT7        4120 REDONDO DR
MESQUITE TX 75149       ASHEVILLE NC 28804                        ASHEVILLE NC 28804          EL DORADO HILLS CA 95762
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001430P001-1409A-265       004589P001-1409A-265                006207P001-1409A-265              004418P001-1409A-265
MARIAH A JACKSON           MICHAELA A JACKSON                  NIA J JACKSON                     SARAH JACKSON
3037 CHICKAHOMINY RD       PO BOX 22934                        1311 VIOLET LN                    835 DONALDSON ST
TOANO VA 23168             BEAUMONT TX 77720                   JACKSON NJ 08527                  C
                                                                                                 HIGHLAND PARK NJ 08904




003369P001-1409A-265       003496P002-1409A-265                037335P001-1409A-265              002000P001-1409A-265
SASHA JACKSON              SHANICE L JACKSON                   SHONTA JACKSON                    SHONTA D JACKSON
24633 WIND FLOWER DR       25965 TWIN OAKS DRIVE               2802 BECKON DR                    2802 BECKON DR
MORENO VALLEY CA 92557     TAYLOR MI 48180-9309                EDGEWOOD MD 21040                 EDGEWOOD MD 21040




037908P002-1409A-265       004214P001-1409A-265                003507P001-1409A-265              004424P001-1409A-265
TAMIKA JACKSON             TATIYANA JACKSON                    TEZHANAE I JACKSON                TIA JACKSON
605 HIGHPOINT WAY          3009 CHESTERFIELD AVE               1000 MORRIS AVE                   975 VIRGO DR
MCDONOUGH GA 30253         BALTIMORE MD 21213                  BURCH HALL 606                    FRANKLIN IN 46131
                                                               UNION NJ 07083




009566P001-1409A-265       002626P001-1409A-265                008359P001-1409A-265              001152P001-1409A-265
TIFFANY JACKSON            TIONA M JACKSON                     TOREANNA JACKSON                  KAROL A JACKSONBOSTICK
8265 S FLETCHER RUN CIR    135 CASTLE DR                       4679 N 39TH ST                    760 STORER AVE
APT203                     PITTSBURGH PA 15235                 MILWAUKEE WI 53209                AKRON OH 44320-2937
MEMPHIS TN 38016




006891P001-1409A-265       026194P001-1409A-265                009382P002-1409A-265              004750P001-1409A-265
DEMETRICUS JACKSONDAVID    TANIA JACOB                         ARIANA A JACOBS                   COURTNEY JACOBS
10320 LAUNCH CIR APT201    1418 E LINCOLN AVE                  19 WELLINGTON RD                  30 PINE ST
MANASSAS VA 20109          DES PLAINES IL 60018                SYRACUSE NY 13212-1244            STATEN ISLAND NY 10301




000532P001-1409A-265       005277P001-1409A-265                004078P001-1409A-265              005644P001-1409A-265
JAID JACOBS                KENDRA F JACOBS                     TYME A JACOBS                     NICOLE M JACOBSMEYER
2428 DOGWOOD DR            1216 SILVER OAK CIR                 3218 VETERANS MEMORIAL PKWY       60 ALEXANDER RD
LITTLE ELM TX 75068        NORMAL IL 61761                     APT 514                           LONDONDERRY NH 03053
                                                               TUSCALOOSA AL 35404




005368P001-1409A-265       002120P001-1409A-265                032114P001-1409A-265              034157P001-1409A-265
LEILA K JACOBSON           SOPHIE A JACQUES                    JADE JACQUELINE CHYNOWETH         AMBER ELIZABETH JAHN
10690 CHIMING BELL CIR     1 FORD DR SOUTH                     JJC ENTERTAINMENT LLC             1539 MCALLISTER ST
PEYTON CO 80831            MASSAPEQUA NY 11758                 180 ASPEN DR                      SAN FRANCISCO CA 94115
                                                               PARK CITY UT 84098
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030993P002-1409A-265           007667P001-1409A-265                  009650P001-1409A-265            006766P001-1409A-265
JAILBREAK TOYS                 DAISHEA L JAIME                       AIRALIH J JAIMES                SHUCHI JAIN
DBA FCTRY                      2601 N KENTUCKY AVE                   801 MEADOW VIEW DR              5571 CLOVE HITCH LOOP
ZACHARY MALER                  APT 422                               LEANDER TX 78641                FREMONT CA 94555
119 8TH ST                     OKLAHOMA CITY OK 73106
LOFT 215
BROOKLYN NY 11215


036234P001-1409A-265           030994P003-1409A-265                  006265P001-1409A-265            004777P001-1409A-265
JAINSON'S INTERNATIONAL INC    JAINSONS INTERNATIONAL INC            JULIET K JALONACK               LETITIA M JAMERSON
7526 TYRONE AVE                NEHA JAIN                             1613 HARRISON AVE               1722 KINGS RD
VAN NUYS CA 91405              7526 TYRONE AVE                       UTICA NY 13501                  SHELBY NC 28150
                               VAN NUYS CA 91405




032115P001-1409A-265           009933P001-1409A-265                  004189P001-1409A-265            002083P001-1409A-265
JAMES GRANT MANAGEMENT INC     JAMES J REILLY, CLERK OF              ALEXANDRA JAMES                 ANJELIKA T JAMES
9100 WILSHIRE BLVD             CIRCUIT COURT                         8431 RUDNICK AVE                3748 HUNTING CREEK RD
STE 100W                       20 WEST COURTLAND ST                  WEST HILLS CA 91304             MONTGOMERY AL 36116-5413
BEVERLY HILLS CA 90212         BEL AIR MD 21014




003306P001-1409A-265           009456P001-1409A-265                  007536P001-1409A-265            000573P001-1409A-265
CHRISTINA N JAMES              DEIJA D JAMES                         DESIREE A JAMES                 JASMINE A JAMES
3333 DALE RD                   308 LOIRE AVE                         2101 BALLARD RD                 7010 MASON RUN DR
BENSALEM PA 19020              UNIT C                                WILLIAMSTON NC 27892            RICHMOND VA 23234
                               LAFAYETTE LA 70507




006778P001-1409A-265           009070P001-1409A-265                  001854P001-1409A-265            005184P001-1409A-265
MAKENA S JAMES                 MELISSA A JAMES                       SHANOWYA S JAMES                TALICIA JAMES
2856 CARNEGIE WAY SW           214 IVY GLEN CT                       8207 TUPELO TRL                 2727 S 117TH E AVE
MARIETTA GA 30064              WINSTON SALEM NC 27127                JONESBORO GA 30236              TULSA OK 74129




007649P001-1409A-265           002498P001-1409A-265                  032116P001-1409A-265            003396P001-1409A-265
TIERRA T JAMES                 NICOLE JAMIESON                       JAMILYN GRIGGS                  DIONA R JAMISON
16062 PFC PARIS MONTANEZ       24 RIVER RD                           214 HOWE AVE                    3107 MARCUS DR
FONTANA CA 92336               SUFFERN NY 10901                      BRONX NY 10473                  HARTSVILLE SC 29550




008474P001-1409A-265           003768P001-1409A-265                  032117P001-1409A-265            006285P001-1409A-265
FAITH JAMISON                  CAITLIN JANCZYS                       JANE KIM                        KATIA M JANES
2116 COTTONTAIL DR             8781 HAVEN DR                         321 W 21ST ST                   503 NORTH RAYMOND DR
LEANDER TX 78641               ROGERS AR 72756                       APT A                           MAHOMET IL 61853
                                                                     NEW YORK NY 10011
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010214P001-1409A-265             002868P001-1409A-265                001781P001-1409A-265              004239P001-1409A-265
JANET HOLLEY, CFC                COURTNEY A JANIS                    XAVIA V JANISSE                   NOZANIN F JANOBILOVA
ESCAMBIA COUNTY TAX COLLECTOR    33 SOUTHERN DR                      3533 W SCRIBNER LN                7709 TOWER WOODS DR
PO BOX 1312                      STORMVILLE NY 12582                 INGLEWOOD CA 90305                SPRINGFIELD VA 22153
PENSACOLA FL 32591-1312




009053P001-1409A-265             009038P001-1409A-265                036469P001-1409A-265              033437P001-1409A-265
DANA JANSSEN                     SAMANTHA R JANSSEN                  DEB JANSSENS                      DEEPTI JANVEJA
2539 PECAN ST                    3121 N HACKETT AVE                  652 HARBOR TER                    SF CORP
GREEN BAY WI 54311               MILWAUKEE WI 53211                  BARTLETT IL 60103                 DEPT 1500
                                                                                                       619 9TH AVE
                                                                                                       SAN FRANCISCO CA 94118



003283P001-1409A-265             003028P001-1409A-265                000940P001-1409A-265              007203P001-1409A-265
CARLY D JAQUEZ                   DESTINY JARA                        FLOR A JARA                       MARIA R JARA
8348 RANCHO VISTA LOOP           302 26TH AVE W APT                  11595 RAMONA AVE                  11595 RAMONA AVE
LA MESA NM 88044                 1507                                CHINO CA 91710                    CHINO CA 91710
                                 BRADENTON FL 34205




007322P001-1409A-265             008337P001-1409A-265                028866P001-1409A-265              005452P001-1409A-265
ANGELA C JARAMILLO               AUSTIN T JARAMILLO                  DANIELA I JARAMILLO               NICOLE M JARAMILLO
2859 MAMMOTH CT                  15074 AMOROSE ST                    4830 WENDY LN                     18552 E DUELL ST
LAS VEGAS NV 89142               LAKE ELSINORE CA 92530              PEARLAND TX 77584                 AZUSA CA 91702




006927P001-1409A-265             007024P001-1409A-265                005421P001-1409A-265              008484P001-1409A-265
BAYLEE JARED                     DYNEASHA K JARMON                   GRETCHEN E JARRELL                TAYLOR R JARRELL
1101 RIVER RIDGE PKWY            515 MONTGOMERY AVE                  1594 VISTA LN                     112 BLUE GILL LN
1131A                            NORTH WALES PA 19454                APT 3                             POOLER GA 31322
SAN MARCOS TX 78666                                                  CLARKSVILLE TN 37043




035728P001-1409A-265             036491P001-1409A-265                000630P001-1409A-265              007437P001-1409A-265
TALIYAH B JARRETT                ERIKA R JARVIS                      DANIELLE M JASIEWICZ              MICHELLE A JASINSKI
909 N LINDEN ST APT #208         9223 BENSON WAY                     PO BOX 1681                       62 GILBERT RD
MUNCIE IN 47303                  SANDY UT 84070-2621                 BRADENTON FL 34206                SOUTHAMPTON MA 01073




037829P001-1409A-265             032119P001-1409A-265                004670P001-1409A-265              001458P001-1409A-265
JASMA JOHNSON                    JASMINE HOLLOWAY                    ANMOL K JASWAL                    VANESSA Q JAUREGUI
JASMA CHAVELLE JOHNSON           4831 EAST 19TH ST                   43 LARCH ST                       697 N ADAMS ST
4506 DECATUR ST                  INDIANAPOLIS IN 46218               CARTERET NJ 07008                 BRAWLEY CA 92227-1773
OMAHA NE 68104
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008020P001-1409A-265         005443P001-1409A-265                     030619P001-1409A-265            002321P001-1409A-265
SASHA JAURIGUE               ALYSSA J JAVIER                          STEFANIE JAWORSKI               STEFANIE M JAWORSKI
3331 N OSCEOLA               2600 CHANDLER DR                         ADDRESS INTENTIONALLY OMITTED   17615 CANDLEWOOD TEER
CHICAGO IL 60634             APT 421                                                                  BOCA RATON FL 33487
                             BOWLING GREEN KY 42104




009285P001-1409A-265         032120P001-1409A-265                     032121P001-1409A-265            032122P001-1409A-265
BONNIE JAY                   JAYDE TALIFERRO                          JAYMEE L BATCHELDER             JAZCAT MOBILE ENTERTAINMENT
803 OLIVER ST                9514 E 64TH TERR                         166 SONGBIRD CT                 BARRY JAMES LARSON JR
NORTH TONAWANDA NY 14120     BAYTOWN MO 64133                         VACAVILLE CA 95687              408 V ST
                                                                                                      SACRAMENTO CA 95818




033004P001-1409A-265         035253P001-1409A-265                     032123P001-1409A-265            036559P001-1409A-265
JCP AND L                    JCP AND L                                JCX EXPENDABLES                 JCX EXPENDABLES
PO BOX 3687                  FIRSTENERGY/JCP AND L                    JENNIFER BURNS                  3050 23RD ST
AKRON OH 44309               101 CRAWFORD'S CORNER RD                 3050 23RD ST                    SAN FRANCISCO CA 94110
                             BLDG # 1 SUITE 1-511                     SAN FRANCISCO CA 94110
                             HOLMDEL NJ 07733



032124P001-1409A-265         035117P002-1409A-265                     035117S001-1409A-265            032125P002-1409A-265
JDA SOFTWARE GROUP, INC      JDA SOFTWARE INC                         JDA SOFTWARE INC                JE MODEL MANAGEMENT, INC
PO BOX 202621                WALTER P OPASKA                          14400 N. 87TH STREET            155 MONTGOMERY ST STE 805
DALLAS TX 75320-2621         15059 N SCOTTSDALE RD STE 400            SCOTTSDALE AZ 85260-3649        SAN FRANCISCO CA 94104-4113
                             SCOTTSDALE AZ 85254




033005P001-1409A-265         032352P001-1409A-265                     008782P001-1409A-265            006088P001-1409A-265
JEA                          PEGGY E JEAN                             REBECCA JEANCHARLES             AMANDA L JEANLOUIS
PO BOX 45047                 1586 E 55 ST                             238 SW VOLTAIR TERR             263 PAMLICO AVE
JACKSONVILLE FL 32232        APT #2                                   PORT ST LUCIE FL 34984          UNIONDALE NY 11553
                             BROOKLYN NY 11234




009788P001-1409A-265         010419P001-1409A-265                     032126P001-1409A-265            032127P001-1409A-265
JEDD 1 - LIBERTY TOWNSHIP    JEDD1 - LIBERTY TOWNSHIP                 JEFF GROS                       JEFFERIES FINANCE LLC
INCOME TAX DIVISION          PO BOX 428739                            1507 7TH ST                     PAUL CHISHOLM
PO BOX 428739                MIDDLETOWN OH 45042                      #34                             520 MADISON AVE
MIDDLETOWN OH 45042                                                   SANTA MONICA CA 90401           NEW YORK NY 10022




034295P001-1409A-265         004486P001-1409A-265                     030412P001-1409A-265            010486P001-1409A-265
JEFFERIES FINANCE LLC        JODY JEFFERIES                           JODY JEFFERIES                  JEFFERSON COUNTY
520 MADISON AVE              1355 SPORTS LAKE RD                      ADDRESS INTENTIONALLY OMITTED   TAX ASSESESOR COLLECTOR
NEW YORK NY 10022            COLUMBIA VA 23038                                                        PO BOX 2112
                                                                                                      BEAUMONT TX 77704-2112
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010486S001-1409A-265                            009835P001-1409A-265                            009846P001-1409A-265             010519P001-1409A-265
JEFFERSON COUNTY                                JEFFERSON COUNTY COLORADO                       JEFFERSON COUNTY DEPT            JEFFERSON COUNTY SHERIFF'S
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP         COUNTY TREASURER                                OF REVENUE                       OFFICE
JOHN P DILMAN                                   100 JEFFERSON COUNTY PKWY 2520                  SALES TAX DIVISION               PO BOX 34570
PO BOX 3064                                     GOLDEN CO 80419-2520                            100-A COURTHOUSE                 LOUISVILLE KY 40232-4570
HOUSTON TX 77253-3064                                                                           BIRMINGHAM AL 35263-0070



037529P001-1409A-265                            037529S001-1409A-265                            031351P001-1409A-265             033006P001-1409A-265
JEFFERSON MALL CMBS LLC                         JEFFERSON MALL CMBS LLC                         JEFFERSON MALL CO II, LLC        JEFFERSON PARISH DEPT OF WATER
BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGEMENT INC            PO BOX 74890                     PO BOX 10007
GARY RODDY                                      CALEB HOLZAEPFEL                                CLEVELAND OH 44194-4890          JEFFERSON LA 70181
2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300
CHATTANOOGA TN 37421                            CHATTANOOGA TN 37402



033006S001-1409A-265                            010405P001-1409A-265                            035406P001-1409A-265             034174P001-1409A-265
JEFFERSON PARISH DEPT OF WATER                  JEFFERSON PARISH SHERIFF'S OFF                  JEFFERSON PARISH SHERIFF'S OFF   JEFFERSON VALLEY CENTER, LLC
1221 ELMWOOD PK BLVD STE 103                    BUREAU OF REVENUE AND TAXATION                  BUREAU OF REVENUE AND TAXATION   180 EAST BROAD ST
EASTBANK OFFICE (YENNI BUILDING)                PO BOX 130                                      PO BOX 248                       COLUMBUS OH 43215
JEFFERSON LA 70123                              GRETNA LA 70054-0130                            GRETNA LA 70054-0020




031352P001-1409A-265                            006335P001-1409A-265                            008988P001-1409A-265             030586P001-1409A-265
JEFFERSON VALLEY MALL                           CHARMAYNE A JEFFERSON                           TYKEESHA JEFFERSON               SAMANTHA JEFFREY
MALL AT JEFFERSON VALLEY LLC                    15432 GENERAL LAFAYETTE BLVD                    239 E BOUNDARY AVE               ADDRESS INTENTIONALLY OMITTED
PO BOX 643194                                   BRANDYWINE MD 20613                             YORK PA 17403
PITTSBURGH PA 15264-3194




003584P001-1409A-265                            005833P001-1409A-265                            009726P001-1409A-265             009726S001-1409A-265
TALANNA JEFFREY                                 KORTNEY JEFFREYS                                JEFFRIES FINANCE LLC             JEFFRIES FINANCE LLC AS ADMINISTRATIVE AGENT
12 THIELLS RD                                   979 STAFFORD FOREST DR                          AS ADMINISTRATIVE AGENT AND      AND AS COLLATERAL AGENT
STONY POINT NY 10980                            APT 201                                         AS COLLATERAL AGENT              SULLIVAN HAZELTINE ALLINSON LLC
                                                WINSTON SALEM NC 27127                          520 MADISON AVE                  WILLIAM HAZLTINE,ESQ
                                                                                                NEW YORK NY 10022                901 NORTH MARKET ST.,STE 1300
                                                                                                                                 WILMINGTON DE 19801


009726S002-1409A-265                            008812P001-1409A-265                            006007P001-1409A-265             035729P001-1409A-265
JEFFRIES FINANCE LLC AS ADMINISTRATIVE AGENT    ALICIA C JEFFRIES                               MARY V JEFFRIES                  ALEXIS R JELLEMA-BAERG
AND AS COLLATERAL AGENT                         8 MILROSE LN                                    1153 CHARLES ST                  32833 530TH AVE
JONES DAY                                       CHESTNUT RIDGE NY 10952                         TAYLORVILLE IN 47280             MOUNTAIN LAKE MN 56159
BENJAMIN ROSENBLUM,ESQ
250 VESEY ST
NEW YORK NY 10281


003931P001-1409A-265                            030995P001-1409A-265                            032128P001-1409A-265             006567P001-1409A-265
ALEXIS R JELLEMABAERG                           JEM INTERNATIONAL INC                           JEN K VIEIRA                     DANIKA T JENKINS
1101 W 22ND ST #1162                            JOJO                                            JENNIFER K AYERDI                GENERAL DELIVERY
SIOUX FALLS SD 57105                            1 EAST 33RD ST                                  14204 CRYSTAL KEY PL             SACRAMENTO CA 95812
                                                11TH FL                                         ORLANDO FL 32824
                                                NEW YORK NY 10016
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009690P001-1409A-265       007666P001-1409A-265                    001378P001-1409A-265          001195P001-1409A-265
DEAIRA JENKINS             DEAMBERLEE E JENKINS                    JALEASA J JENKINS             JAYLENE A JENKINS
2409 CLEVELAND             230 SWEET HOME CHURCH RD                4455 ELAN CT                  5802 32ND ST E
NIAGARA FALLS NY 14305     PEARL MS 39288                          ANNANDALE VA 22003            ELLENTON FL 34222




004786P001-1409A-265       001592P001-1409A-265                    008013P001-1409A-265          009029P001-1409A-265
JENNIFER C JENKINS         KAITLYN I JENKINS                       KEONDA Z JENKINS              LYRIC JENKINS
21495 DOGWOOD DR           3431 VINTON RD                          5055 HARBOUR LAKE DR          2703 MACBY AVE
NEW CANEY TX 77357         PHILADELPHIA PA 19154                   A5                            MARIETTA GA 30066
                                                                   GOOSE CREEK SC 29445




001258P001-1409A-265       032129P001-1409A-265                    036575P001-1409A-265          003666P001-1409A-265
SARA E JENKINS             JENNIFER A IBE                          JOYCE JENNINGS                NINA S JENNINGS
7655 PIPESTONE DR          1401 S STATE ST                         19 LOCKHOUSE RD APT 6-3       24846 SW 127TH PATH
INDIANAPOLIS IN 46227      UNIT 1106                               WESTFIELD MA 01085            PRINCETON FL 33032
                           CHICAGO IL 60605




005232P001-1409A-265       033320P001-1409A-265                    019463P001-1409A-265          019463S001-1409A-265
TENAJA B JENNINGS          HANNAH JENNY                            STEPHENY A JENSEN             STEPHENY A JENSEN
9209 WINTERSET CT          22022 LINDY LN                          901 S WEST AVE                5910 PACIFIC CNTR 120
CLINTON MD 20735           CUPERTINO CA 95014                      SIOUX FALLS SD 57104          SAN DIEGO CA 92121




033370P001-1409A-265       008772P001-1409A-265                    035730P001-1409A-265          005363P001-1409A-265
JEREMY CROOKS              DARIANA JEREZ CASTILLO                  CASTILLO DARIANA JEREZ        KAIYA T JERKINS
3204 MADISON AVE           3121 CASHMERE DR                        3121 CASHMERE DR              412 CARLTON AVE
SAN DIEGO CA 92116         ORLANDO FL 32827                        ORLANDO FL 32827              WYNCOTE PA 19095




009341P001-1409A-265       037017P001-1409A-265                    006256P001-1409A-265          006256S001-1409A-265
ANNA M JERNIGAN            ANNA M JERNIGAN                         MADISON R JERNIGAN            MADISON R JERNIGAN
1777 PATTERSON ST APT 4    858 ACAMPO DR                           5322 WHITETAIL DR             7214 W EAST BRANCH DR
4                          LAFAYETTE CA 94549                      2                             BARTONVILLE IL 61607
EUGENE OR 97401                                                    SPRINGFIELD IL 62703




004898P001-1409A-265       031353P001-1409A-265                    033381P001-1409A-265          036532P001-1409A-265
MAKYLA J JERNIGHAN         JERSEY SHORE PREMIUM OUTLETS            JERVIS B WEBB CO              HANNAH JESKE
67 LANDMARK LOOP           PO BOX 776307                           THERESA KUBSIK                10425 QUEBEC AVE SOUTH
JACKSON TN 38305           CHICAGO IL 60677-6307                   34375 WEST TWELVE MILE RD     BLOOMINGTON MN 55438
                                                                   FARMINGTON HILLS MI 48331
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001440P001-1409A-265           037822P003-1409A-265                               034278P001-1409A-265                   032130P001-1409A-265
HANNAH G JESKE                 JESSICA CLINE                                      JESSICA RAE DE JESUS                   JESSICA TROY
10300 DEVONSHIRE CIR APT 32    30711 WILLOW POND LN                               414 MASON ST                           300 LINDEN ST #14
BLOOMINGTON MN 55431           COARSEGOLD CA 93614-8788                           STE 705                                SAN FRANCISCO CA 94102
                                                                                  SAN FRANCISCO CA 94102




030996P002-1409A-265           036235P001-1409A-265                               036732P001-1409A-265                   033280P001-1409A-265
JESSMYN IN USA                 JESSMYN IN USA                                     RIALOU DE JESUS                        JESYKA D'ITRI
KYLE KIM                       2080 E25TH ST                                      12688 CHAPMAN AVE # 3201               JESYKA D'ILTRI
2080 E25TH ST                  VERNON CA 90058                                    GARDEN GROVE CA 92840                  14858 1 4 DICKENS ST
VERNON CA 90058                                                                                                          SHERMAN OAKS CA 91403




007397P001-1409A-265           010627P001-1409A-265                               010628P001-1409A-265                   010629P001-1409A-265
PALYCE JEVERON                 JFIN CLO 2007 LTD                                  JFIN CLO 2012 LTD                      JFIN CLO 2013 LTD
1400 VLG BLVD                  APEX                                               APEX                                   APEX
APT 403                        SARTHAK SHAH                                       SARTHAK SHAH                           SARTHAK SHAH
WEST PALM BEACH FL 33409       QUEENSGATE HOUSE SOUTH CHURCH ST                   520 MADISON AVE                        520 MADISON AVE
                               GEORGE TOWN                                        16TH FL                                16TH FL
                               GRAND CAYMAN KY1-1104                              NEW YORK NY 10022                      NEW YORK NY 10022
                               CAYMAN ISLANDS
010630P001-1409A-265           037603P001-1409A-265                               031354P002-1409A-265                   031354S001-1409A-265
JFIN MM CLO 2014 LTD           JG ELIZABETH II LLC                                JG WINSTON SALEM LLC                   JG WINSTON SALEM LLC
APEX                           A DELAWARE LIMITED LIABILITY CO                    BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
SARTHAK SHAH                   SIMON PROPERTY GROUP LP RONALD M TUCKER            GARY RODDY                             CALEB HOLZAEPFEL
520 MADISON AVE                225 WEST WASHINGTON ST                             2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300
16TH FL                        INDIANAPOLIS IN 46204                              CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402
NEW YORK NY 10022


032131P001-1409A-265           030997P001-1409A-265                               030998P001-1409A-265                   032132P001-1409A-265
JHM PARKING                    JI JI COLLECTION INC                               JIANGSU GUOTAI GUOSHENG CO LTD         JILL E FILER
JANET HIPOLITO MANUEL          MAX KANG                                           KYLE SOLADAY                           511 WOODSIDE OAKS
MARK MANUEL                    2027 LAURA AVE                                     12/F BLDG A GUOTAI TIMES PLA           APT 3
1918 LEANING OAK DR            HUNTINGTON PARK CA 90255                           NO65 RENMIN RD                         SACRAMENTO CA 95825
FAIRFIELD CA 94534                                                                ZHANGJIAGANG CITY JI
                                                                                  CHINA


032133P001-1409A-265           033663P001-1409A-265                               034918P001-1409A-265                   029860P001-1409A-265
JILLIAN WILKEY                 JIM BRAND CONSULTING                               JIM WILSON AND ASSOC                   JIM WILSON AND ASSOC (LANDLORD)
450 LOVELLA WAY                7188 TUMBLEBROOK DR                                AMERICANNATIONAL INSURANCE CO          AMERICANNATIONAL INSURANCE CO
SACRAMENTO CA 95819            NEW ALBANY OH 43054                                JIM WILSON AND ASSOCIATES INC          JIM WILSON AND ASSOCIATES INC
                                                                                  2660 EASTCHASE LN                      2660 EASTCHASE LN STE 100
                                                                                  STE 100                                MONTGOMERY AL 36117
                                                                                  MONTGOMERY AL 36117


002463P001-1409A-265           006189P001-1409A-265                               006824P001-1409A-265                   004178P002-1409A-265
DANIA G JIMENES                ANDREA JIMENEZ MANCILLA                            ABIGAIL A JIMENEZ                      BRIANNA JIMENEZ
955 N WATERMAN CT              8 WENLISS TER                                      130 PLUM TREE DR                       6241 BENJAMIN PL
7                              8                                                  LANTANA FL 33462                       LINCOLN NE 68516-4694
EL CENTRO CA 92243             WAPPINGERS FALLS NY 12590
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006957P001-1409A-265                 002834P001-1409A-265                            007072P001-1409A-265                001489P001-1409A-265
GABRIELLE M JIMENEZ                  JACQUELINE JIMENEZ                              JOSLYN JIMENEZ                      JULIANA JIMENEZ
14059 WELLINGTON TRACE               1503 FLORA AVE                                  105 NEW AVE                         2665 EARLY VISTA ST
WELLINGTON FL 33414                  HIDALGO TX 78557                                WYANDANCH NY 11798                  LAS VEGAS NV 89142-2873




008798P001-1409A-265                 035731P001-1409A-265                            003919P001-1409A-265                005717P001-1409A-265
LUZ M JIMENEZ                        MANCILLA ANDREA JIMENEZ                         NAYELI JIMENEZ                      SONYA JIMENEZ
2015 S WHITE HIRSE PIKE              8 WENLISS TER                                   6869 HOMER ST                       6039 NW 10TH ST APT163
32                                   8                                               APT 63                              OKLAHOMA CITY OK 73127
LINDENWOLD NJ 08021                  WAPPINGERS FALLS NY 12590                       WESTMINSTER CA 92683




007467P001-1409A-265                 004384P001-1409A-265                            009570P001-1409A-265                000577P001-1409A-265
VERONICA S JIMENEZ                   VICTORIA JIMENEZ                                YAQUELIN JIMENEZ                    YESENIA JIMENEZ
125 FOOTHILL CT                      11299 SKY COUNTRY DR                            8666 CEDARVALE DR                   19972 STANTON AVE
MORGAN HILL CA 95037                 MIRA LOMA CA 91752                              TYLER TX 75708-7204                 APT 55
                                                                                                                         CASTRO VALLEY CA 94546




000505P001-1409A-265                 033367P001-1409A-265                            032134P001-1409A-265                033374P001-1409A-265
VICTORIA K JIMENEZMEZA               JJ APPAREL CROCKER INC / NAKED ZEBRA            JJ COMMUNICATION                    JKT CONSTRUCTION DBA CORCON
5350 MONTEREY HWY                    STEVE SEO                                       CALLE K-8 ALTOS DE LA FUENTES       327 HEMPSTEAD AVE
APT 5                                3131 S BROADWAY                                 CAGUAS PR 00726                     WEST HEMPSTEAD NY 11552
SAN JOSE CA 95111                    LOS ANGELES CA 90007




034778P001-1409A-265                 034789P001-1409A-265                            034803P001-1409A-265                034862P001-1409A-265
JLL                                  JLL                                             JLL                                 JLL
WILLIAMS LEGAL ADVISORY GROUP LLC    JONES LANG LASALLE AMERICAS INC                 CIII GECMC05-C1 LAKESIDE MALL CLO   BROADSTONE LAND LLC
169 RAMAPO VLY RD                    3344 PEACHTREE RD NE                            C-III ASSET MANAGEMENT LLC          TRI PROPERTY MANAGEMENT
STE 106                              STE 1200                                        5221 N 0CONNOR BLVD                 2209 PLAZA DR
OAKLAND NJ 7436-                     ATLANTA GA 30326                                STE 600                             STE 100
                                                                                     IRVING TX 75039                     ROCKLIN CA 95765


034866P001-1409A-265                 034909P001-1409A-265                            034955P001-1409A-265                035023P001-1409A-265
JLL                                  JLL                                             JLL                                 JLL
SRM-SPE LLC                          JONES LANG LASALLE                              FORT SMITH MALL PARTNERS LP         WELLS FARGO BANK
D/B/A SANTA ROSA MALL                3344 PEACHTREE RD NE                            GREGORY GREENFIELD AND ASSOCIATES   NA AS TRUSTEE FOR CSMS 2008-CL
C/O RADIANT PARTNERS LLC             STE 1200                                        124 JOHNSON FERRY RD                C/O C-ILL ASSET MANAGEMENT LLC
145 WEST 45TH ST 10TH FL             ATLANTA GA 30326                                ATLANTA GA 30328                    5221 N OCONNOR BLVD STE 800
NEW YORK NY 10036                                                                                                        IRVING TX 75039


036867P001-1409A-265                 036867S001-1409A-265                            036868P001-1409A-265                029861P001-1409A-265
JLL                                  JLL                                             JLL                                 JLL (LANDLORD)
CAPREF EDEN PRAIRIE LLC              CAPREF EDEN PRAIRIE LLC                         CIII GECMC05-C1 LAKESIDE MALL       US BANK NATIONAL ASSOCIATION
EDEN PRAIRIE ASSET MANAGEMENT        EDEN PRAIRIE CENTER PROPERTY MANAGEMENT         CLO C-III ASSET MANAGEMENT LLC      C-III ASSET MANAGEMENT
8333 DOUGLAS AVE STE 975             8251 FLYING CLOUD DR STE 125                    ASSET MANAGER                       MICHELE RAY SR VICE PRESIDENT
DALLAS TX 75225                      EDEN PRAIRIE MN 55344-5305                      5221 N 0CONNOR BLVD STE 600         5221 N OCONNOR BLVD STE 800
                                                                                     IRVING TX 75039                     IRVING TX 75039
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029861S001-1409A-265                          029862P001-1409A-265                               029862S001-1409A-265                      029862S002-1409A-265
JLL (LANDLORD)                                JLL (LANDLORD)                                     JLL (LANDLORD)                            JLL (LANDLORD)
JONES LANG LASALLE AMERICAS, INC              CAPREF EDEN PRAIRIE LLC                            WILLIAMS LEGAL ADVISORY GROUP, LLC        CAPREF EDEN PRAIRIE LLC
MR GREGORY T MALONEY                          EDEN PRAIRIE ASSET MANAGEMENT                      LEGAL NOTICES (2012-16)                   EDEN PRAIRIE CENTER
1125 SANCTUARY PKWY STE 170                   8333 DOUGLAS AVE STE 975                           169 RAMAPO VLY RD STE 106                 PROPERTY MANAGEMENT
ALPHARETTA GA 30009                           DALLAS TX 75225                                    OAKLAND NJ 07436                          8251 FLYING CLOUD DR STE 125
                                                                                                                                           EDEN PRAIRIE MN 55344-5305


029863P001-1409A-265                          029863S001-1409A-265                               029864P001-1409A-265                      029864S001-1409A-265
JLL (LANDLORD)                                JLL (LANDLORD)                                     JLL (LANDLORD)                            JLL (LANDLORD)
JONES LANG LASALLE, AMERICAS, INC             THE GALLERIA AT FT LAUDERDALE                      CIII GECMC05-C1 LAKESIDE MALL             LAKESIDE MALL, MANAGEMENT OFFICE
PRESIDENT AND CEO RETAIL                      MARK TROUBA                                        CLO C-III ASSET MANAGEMENT LLC            14000 LAKESIDE CIR
3344 PEACHTREE RD NE STE 1200                 2414 E SUMISE BLVD                                 ASSET MANAGER                             STERLING HEIGHTS MI 48313
ATLANTA GA 30326                              FT. LAUDERDALE FL 33304                            5221 N 0CONNOR BLVD STE 600
                                                                                                 IRVING TX 75039


029865P001-1409A-265                          029865S001-1409A-265                               029866P001-1409A-265                      029866S001-1409A-265
JLL (LANDLORD)                                JLL (LANDLORD)                                     JLL (LANDLORD)                            JLL (LANDLORD)
SRMSPE LLC DBA SANTA ROSA MALL                SRMSPE, LLC DBA SANTA ROSA MALL                    AMARILLO MALL LLC                         JONES LANG LASALLE
RADIANT PARTNERS LLC                          JONES LAND LASALLE MANAGEMENT SVC INC              ASSET MANAGER/WESTGATE MALL               COUNSEL/WESTGATE MALL
145 WEST 45TH ST 10TH FL                      3344 PEACHTREE RD NE STE 1200                      124 JOHNSON FERRY RD NE                   3344 PEACHTREE RD NE STE 1200
NEW YORK NY 10036                             ATLANTA GA 30326                                   ATLANTA GA 30328                          ATLANTA GA 30326



029867P001-1409A-265                          029868P001-1409A-265                               029868S002-1409A-265                      029868S003-1409A-265
JLL (LANDLORD)                                JLL (LANDLORD)                                     JLL (LANDLORD)                            JLL (LANDLORD)
FORT SMITH MALL PARTNERS LP                   TRUSTEES OF THE ESTATE OF BERNICE                  TRUSTEES OF THE ESTATE OF BERNICE         WINDWARD MALL
GREGORY GREENFIELD AND ASSOCIATES             PAUAHI BISHOP, COMMERCIAL ASSET MANAGER            PAUAHI BISHOP, ENDOWMENT LEGAL DIVISION   GENERAL MANAGER - RICHARD CHANG
ASSET MANAGER/CENTRAL MALL (FORT SRNITH)      KAWAIAHAO PLZ 567 SOUTH KING ST                    KAWAIAHAO PLZ 567 SOUTH KING ST           46056 KAMEHAMEHA HWY
124 JOHNSON FERRY RD                          STE 200                                            STE 310                                   KANEOHE HI 96744
ATLANTA GA 30328                              HONOLULU HI 96813                                  HONOLULU HI 96813


029869P001-1409A-265                          029870P001-1409A-265                               029871P001-1409A-265                      029871S001-1409A-265
JLL (LANDLORD)                                JLL (LANDLORD)                                     JLL (LANDLORD)                            JLL (LANDLORD)
BROADSTONE LAND LLC                           BROADSTONE LAND LLC                                QKC MANAGEMENT LLC                        QUEEN KA'AHUMANU CENTER
TRI PROPERTY MANAGEMENT                       340 PALLADIO PKWY STE 521                          PACIFIC RETAIL CAPITAL PARTNERS           : GENERAL MANAGER
2209 PLZ DR STE 100                           FOLSOM CA 95630                                    GARY KARL                                 275 WEST KAAHUMANU AVE STE 1200
ROCKLIN CA 95765                                                                                 100 N SEPULVEDA BLVD STE 1925             KAHULUI HI 96732
                                                                                                 EL SEGUNDO CA 90245


029872P001-1409A-265                          001523P001-1409A-265                               033664P001-1409A-265                      037877P002-1409A-265
JLL (LANDLORD)                                GARBER F JOANMARY                                  JOANNA 'JOJO' LEVESQUE                    JOANNA M HENRIGUEZ
WELLS FARGO BANK NA AS TRUSTEE CSMS 2008CL    11709 STEVENS RD                                   ROB SHORE AND ASSOCIATES                  9313 WILLOW CREEK DR APT S
C-ILL ASSET MANAGEMENT LLC                    PHILADELPHIA PA 19116-2503                         232 MADISAN AVE                           MONTGOMERY VILLAGE MD 20886
LAURA MCWILIIAMS                                                                                 MEZZANINE FLR
5221 N OCONNOR BLVD STE 800                                                                      NEW YORK NY 10016
IRVING TX 75039


004805P001-1409A-265                          001528P001-1409A-265                               003349P001-1409A-265                      032135P001-1409A-265
ALEXI JILLIAN JOAQUIN                         MAYRA P JOAQUIN                                    CHEYENNE JOBE                             JODI DAVIS
651 KAIMANA ST                                715 NATHAN CT                                      4545 17TH AVE NE                          12640 259TH AVE
KAHULUI HI 96732                              WEST LAFAYETTE IN 47906                            SEATTLE WA 98105                          TREVOR WI 53197-9594
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007329P001-1409A-265         001567P001-1409A-265                      033471P001-1409A-265           033325P001-1409A-265
ALIVIA L JOHANEK             ALDONA JOHANSONAS                         JOHN C DEMARI HB PHOTOGRAPHY   JOHN KINSTLE
5050 PIERCE ST HOUSE H       5693 OVERLOOK WAY                         JOHN DEMARI                    2271 WESTLAND AVE
ALLENDALE MI 49401           NORTH RIDGEVILLE OH 44039-5161            BUMPER                         SAN DIEGO CA 92104
                                                                       PO BOX 426
                                                                       BRIGANTINE NJ 08203



033665P001-1409A-265         032136P002-1409A-265                      034318P001-1409A-265           009832P001-1409A-265
JOHN LIN                     JOHN MCNEIL STUDIO LLC                    JOHN MCNEIL STUDIO, LLC        JOHN NEWMAN TRUSTEE MADISON
2560 W AVE 134               THOMAS JASON HUDSON                       JOHN MCNEIL STUDIO LLC         100 E MAIN ST # 107
SAN LEANDRO CA 94577         720 CHANNING WAY                          720 CHANNING WAY               JACKSON TN 38301
                             BERKELEY CA 94710                         BERKELEY CA 94710




032137P001-1409A-265         010459P001-1409A-265                      032693P001-1409A-265           037893P001-1409A-265
JOHN POWER TAX COLLECTOR     JOHN R AMES, CTA                          JOHN R AMES, CTA               JOHNNY VU
5830 NW 34TH BLVD            PO BOX 139066                             DAVID CHILDS                   512 ACKLEY ST
GAINESVILLE FL 32653-2115    DALLAS TX 75313-9066                      PO BOX 139066                  MONTEREY PARK CA 91755
                                                                       DALLAS TX 75313-9066




033007P001-1409A-265         033007S001-1409A-265                      033008P001-1409A-265           033008S001-1409A-265
JOHNSON CITY POWER BOARD     JOHNSON CITY POWER BOARD                  JOHNSON CITY UTILITY SYSTEM    JOHNSON CITY UTILITY SYSTEM
PO BOX 1636                  2600 BOONES CREEK RD                      PO BOX 2386                    2600 BOONES CREEK RD
JOHNSON CITY TN 37605        JOHNSON CITY TN 37615                     JOHNSON CITY TN 37605          JOHNSON CITY TN 37615




036569P001-1409A-265         032138P001-1409A-265                      000914P001-1409A-265           000555P001-1409A-265
JOHNSON CONTROLS INC         JOHNSON CONTROLS, INC                     DEBORAH JOHNSON POOR           ALEXIS JOHNSON
11301 W LAKE PK DR           ANN FUHRMAN                               313 F ST                       2537 PINNACLES DR
MILWAUKEE WI 53224           11301 W LAKE PK DR                        ST AUGUSTINE FL 32080          ROCKLIN CA 95677
                             MILWAUKEE WI 53224




007164P001-1409A-265         005545P001-1409A-265                      004941P001-1409A-265           002161P001-1409A-265
ALONA JOHNSON                ALYSIA JOHNSON                            AMAIYA J JOHNSON               APRIL M JOHNSON
807 S MAIN ST                9076 DOWDEN RD APT 318                    105 VINEYARDS CROSSING CT      3501 CHAMPION LAKE BLVD
NORMAL IL 61761              ORLANDO FL 32827                          COLUMBIA SC 29229              APT 915
                                                                                                      SHREVEPORT LA 71105




035732P001-1409A-265         004639P001-1409A-265                      008466P001-1409A-265           007870P001-1409A-265
APRIL M JOHNSON              ARIEL JOHNSON                             ASHLEY R JOHNSON               BENYEH M JOHNSON
241 BEAU BASSIN RD           13903 BABCOCK RD 9107                     2555 95TH ST                   1011 COPPERFIELD CT
LOT 5                        SAN ANTONIO TX 78249                      APT 2017                       WALDORF MD 20602
CARENCRO LA 70520                                                      PORT ARTHUR TX 77640
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002482P001-1409A-265      004814P001-1409A-265                    009330P001-1409A-265          005727P001-1409A-265
BRAIA J JOHNSON           BRI JOHNSON                             BRIANNA M JOHNSON             BRIANNE JOHNSON
3243 OLD POND RD          4160 CAMARGO DR                         2400 E NIFONG BLVD            5540 TUGHILL DR
CHARLESTON SC 29455       APT B                                   1512                          TAMPA FL 33624
                          DAYTON OH 45415                         COLUMBIA MO 65201




005325P001-1409A-265      008096P001-1409A-265                    009280P001-1409A-265          003947P001-1409A-265
BRIONY JOHNSON            BRITTANY J JOHNSON                      BRITTANY N JOHNSON            BRITTANY R JOHNSON
12838 SW 213TH TER        1150 ST PHILLIPS CT                     2219 DIANA AVE                3045 FLEETWOOD AVE
MIAMI FL 33177            LOCUST GROVE GA 30248                   KINGSPORT TN 37660            3417 REDMAN RD
                                                                                                BALTIMORE MD 21214




003195P001-1409A-265      006930P001-1409A-265                    003074P001-1409A-265          001134P001-1409A-265
BRITTNEY A JOHNSON        BROOKE L JOHNSON                        CHAQUOYA JOHNSON              CHRISTINE M JOHNSON
339 6TH AVE S APT #103    152 ONTARIO ST                          336 KENCHESTER WAY            2000 JUANITA CT
SAINT CLOUD MN 56301      CANANDAIGUA NY 14424                    APT 912                       VIRGINIA BEACH VA 23456-4937
                                                                  CROWLEY TX 76036




009605P001-1409A-265      009276P001-1409A-265                    000960P001-1409A-265          007622P001-1409A-265
CLEVELAND L JOHNSON       CODI A JOHNSON                          CYDNE M JOHNSON               DANNIKA JOHNSON
4364 SHAMROCK DR          917 JAKES RUN RD FAIRVIEW WV            19 PALERMO ST                 32 GRANT JOHNSON RD
ATLANTA GA 30349          917 JAKES RUN                           LAGUNA NIGUEL CA 92677        MORTON MS 39117
                          FAIRVIEW WV 26570




002705P001-1409A-265      002007P001-1409A-265                    006000P001-1409A-265          007318P001-1409A-265
DAWNIELLE S JOHNSON       DEMETRIA JOHNSON                        DESTINEE L JOHNSON            DIAMONIQUE JOHNSON
12709 DUNTON DR           2000 AUDREY LN                          2749 DAVIS MILL RD            100 IVEY PK LN
WHITTIER CA 90606         COLUMBIA SC 29223                       HEPHZIBAH GA 30815            1208
                                                                                                PEACHTREE CORNERS GA 30092




001642P001-1409A-265      002303P001-1409A-265                    005828P001-1409A-265          009372P001-1409A-265
ENJOLI JOHNSON            ERIN JOHNSON                            JADA JOHNSON                  JAELYN N JOHNSON
1050 WHITNEY RANCH DR     67 WOODSTONE DR                         517 ADAMS AVE                 4901 AZTEC BLVD
APT 1721                  VOORHEES NJ 08043                       MUSKEGON MI 49442             67
HENDERSON NV 89014                                                                              COLUMBIA MO 65202




008475P001-1409A-265      006912P001-1409A-265                    006912S001-1409A-265          008479P001-1409A-265
JAIDA A JOHNSON           JAVONIQUE K JOHNSON                     JAVONIQUE K JOHNSON           JAYLA D JOHNSON
16493 E 49TH AVE          15 FRANKLIN ST                          109 DELAFIELD ST APT 25       5017 GDN LN
J 302                     2                                       POUGHKEEPSIE NY 12601         FORT WORTH TX 76119
DENVER CO 80239           POUGHKEEPSIE NY 12601
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035733P001-1409A-265     005008P001-1409A-265                001883P001-1409A-265              000660P001-1409A-265
JAYLA D JOHNSON          JURNEI J JOHNSON                    KAILA C JOHNSON                   KAITLYN H JOHNSON
5017 GARDEN LN           6845 FALLTIME PL                    13046 RED CORRAL DR               123 RESERVOIR RD
FORT WORTH TX 76119      INDIANAPOLIS IN 46226               CORONA CA 92883-6312              PASCOAG RI 02859




004060P001-1409A-265     005549P001-1409A-265                002420P001-1409A-265              004311P002-1409A-265
KALILA Z JOHNSON         KATELYNN JOHNSON                    KELIA A JOHNSON                   KEYSHA JOHNSON
1860 WOODLAND CIR        11746 ACADEMY PL                    306 MANCHESTER RD                 4592 BUCHANAN ST
VERO BEACH FL 32960      PHILADELPHIA PA 19154               APT 9                             GARY IN 46408-3837
                                                             POUGHKEEPSIE NY 12603




035734P001-1409A-265     001112P001-1409A-265                001461P001-1409A-265              004624P001-1409A-265
KRISTEN M JOHNSON        LA TANYA P JOHNSON                  LACRESHA J JOHNSON                LAKEISHA J JOHNSON
18874 EARL RD            2904 EAST STERLING CT               6498 ABBEY DOOR CT                11609 LONE PINE CIR
BIG LAKE MN 55309        FAYETTEVILLE AR 72703               LAS VEGAS NV 89122-0848           INDIANAPOLIS IN 46235




005339P001-1409A-265     008045P001-1409A-265                002198P001-1409A-265              008687P001-1409A-265
LASHAYLA JOHNSON         LAYLA T JOHNSON                     MAGALENE L JOHNSON                MARIYA JOHNSON
1932 LAKE FOUNTAIN DR    3400 CRAIG DR                       1512 CHATHAM CT                   1361 BARCLAY AVE
APT 636                  ELAGO APTS AP                       SCHAUMBURG IL 60193               A
ORLANDO FL 32839         MCKINNEY TX 75070                                                     SAINT PAUL MN 55106




000520P001-1409A-265     005461P001-1409A-265                005632P001-1409A-265              003373P001-1409A-265
MARQUITA JOHNSON         MAYA I JOHNSON                      MICHAELENE S JOHNSON              MICHEALA E JOHNSON
1230 W 42ND ST SOUTH     4517 TWILIGHT DR                    916 VALDEZ DR                     1176 ROSEMARIE LN
1                        RAPID CITY SD 57703                 DALLAS TX 75253                   APT 11
WICHITA KS 67217                                                                               STOCKTON CA 95207




008548P001-1409A-265     009715P002-1409A-265                002197P001-1409A-265              006004P001-1409A-265
MONICA M JOHNSON         MONIQUE I JOHNSON                   MORGAN R JOHNSON                  MYKIYA JOHNSON
7915 JONES BRANCH DR     4696 STAGE RD                       12 FIFTH ST                       33459 SHELLEY LYNNE DR
303                      MEMPHIS TN 38128-4949               ANSONIA CT 06401                  STERLING HEIGHTS MI 48312
MCLEAN VA 22102




000674P001-1409A-265     008511P001-1409A-265                000541P001-1409A-265              030555P001-1409A-265
NICOUBI C JOHNSON        OLIVIA C JOHNSON                    PARISH L JOHNSON                  PATTI JOHNSON
2422 RED RIVER ST        3421 VICTORIA AVE                   903                               ADDRESS INTENTIONALLY OMITTED
MESQUITE TX 75150        LAFAYETTE IN 47909                  320
                                                             MADISON WI 53715
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035735P001-1409A-265       001424P001-1409A-265                    007777P001-1409A-265          000574P001-1409A-265
POOR DEBORAH JOHNSON       QUADIRAH D JOHNSON                      QUANNIECE JOHNSON             RACHEL M JOHNSON
313 F ST                   1162 SOUTH ORANGE AVE                   4407 W BELLVIEW DR            580 PEAR ORCHARD RD APT 911
ST AUGUSTINE FL 32080      SOUTH ORANGE NJ 07079                   APT A                         911
                                                                   COLUMBIA MO 65203             RIDGELAND MS 39157




035736P001-1409A-265       036737P001-1409A-265                    002518P001-1409A-265          005436P001-1409A-265
RACHEL M JOHNSON           ROCHELLE JOHNSON                        SARAH JOHNSON                 SASHA L JOHNSON
1899 HYDE RD               16 TOWNE PK CT # 5                      3709 NORTH AVE                7101 NE 109TH ST
SENATOBIA MS 38668         LITTLE ROCK AR 72227                    RICHMOND VA 23222             H59
                                                                                                 VANCOUVER WA 98686




002357P001-1409A-265       009274P001-1409A-265                    009603P001-1409A-265          001957P001-1409A-265
SEAN L JOHNSON             SHANETTE JOHNSON                        SYDNEE N JOHNSON              TATIANA JOHNSON
1125 LUCAS ST              7512 LAKE GROVE RD                      4431 RENA RD APT 102          1212 N PARKDALE DR
CALUMET CITY IL 60409      PRAIRIE MS 39756                        SUITLAND MD 20746             TYLER TX 75702-3936




006236P001-1409A-265       007424P001-1409A-265                    001673P001-1409A-265          009518P001-1409A-265
TATIYAUNA JOHNSON          TATYANA M JOHNSON                       TAYLOR JOHNSON                TAYLOR JOHNSON
306 PLOVER DR              9906 46TH CT EAST                       5863 WINDINGWOOD DR           11183 HICKORY AVE
PORTSMONTH VA 23704        PARRISH FL 34219                        KALAMAZOO MI 49009-8093       IRETON IA 51027




006621P001-1409A-265       037009P002-1409A-265                    005135P001-1409A-265          003864P001-1409A-265
TAYLORR C JOHNSON          TIARA JOHNSON                           TIARA M JOHNSON               TIERRAH JOHNSON
248 MCCARLEY PL            398 CARROLL ST                          398 CARROLL ST                432 1ST NORTH ST
MCKINNEY TX 75071          MOUNTAIN HOUSE CA 95391-1046            MOUNTAIN HOUSE CA 95391       MADISONVILLE KY 42431




036798P001-1409A-265       008215P001-1409A-265                    004388P002-1409A-265          008504P001-1409A-265
TIM JOHNSON                TORI JOHNSON                            VICTORIA JOHNSON              ZHANE A JOHNSON
914 NW KNOLL DR            716 LAKEMONT PL UNIT 9                  1311 NE 12TH AVE              6477 FENESTRA CT
WEST HOLLYWOOD CA 90069    SAN RAMON CA 94582                      OCALA FL 34470-5415           BURKE VA 22015




005386P001-1409A-265       007817P001-1409A-265                    002857P001-1409A-265          006204P001-1409A-265
ALIA M JOHNSONMARTINEZ     SABRINA L JOHNSTON ROMERO               AMANDA C JOHNSTON             BRITTANY P JOHNSTON
38763 QUINCE PL            21585 ZUKNICK TER                       176 RESERVOIR RD              2808 INDEPENDENCE DR
NEWARK CA 94560            ASHBURN VA 20147                        FORT EDWARD NY 12828          MESQUITE TX 75150
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001519P001-1409A-265              030339P002-1409A-265                     006579P001-1409A-265            035738P001-1409A-265
EVELYN JOHNSTON                   EVELYN JOHNSTON                          KARAH N JOHNSTON                ROMERO SABRINA L JOHNSTON
13600 N BLACKWELDER AVE           ADDRESS INTENTIONALLY OMITTED            744 RED OAK LN                  21585 ZUKNICK TER
#367                                                                       GENEVA OH 44041                 ASHBURN VA 20147
OKLAHOMA CITY OK 73134




030654P001-1409A-265              001558P001-1409A-265                     030610P001-1409A-265            003809P001-1409A-265
TRISH JOHNSTON                    TRISHA L JOHNSTON                        SHAYE JOHNSTONE                 ANGEL C JOINER
ADDRESS INTENTIONALLY OMITTED     3140 SUNLAND CIR                         ADDRESS INTENTIONALLY OMITTED   3021 RUE PARC FONTAINE APT 20
                                  GREEN BAY WI 54313                                                       2415 LAFITTE S
                                                                                                           NEW ORLEANS IA 70131




005089P001-1409A-265              032139P001-1409A-265                     033666P001-1409A-265            033311P001-1409A-265
JUNIE A JOLIFILS                  JONAH PODBERESKI PHOTOGRAPHY             JONES A BAR AND RESTAURANT      JONES LANG LASALLE AMERICAS IN
3661 NOSTRAND AVE                 1554 10TH AVE                            METROPOL ENTERTAINMENT CORP     JONES LANG LASALLE BROKERAGE
APT 3B                            SAN FRANCISCO CA 94122                   14 CUMBERLAND ST                ACCTS RECEIVABLE
BROOKLYN NY 11229                                                          APT 5                           200 E RANDOLPH
                                                                           SAN FRANCISCO CA 94110          43RD FLOOR
                                                                                                           CHICAGO IL 60601


033312P001-1409A-265              033009P002-1409A-265                     003012P001-1409A-265            035739P001-1409A-265
JONES LANG LASALLE AMERICAS IN    JONES ONSLOW EMC                         ABRIL JONES                     ABRIL JONES
ACCTS RECEIVABLE                  WANDA C JONES                            3039 FRISBY ST                  1118 RAMBLEWOOD RD
200 E RANDOLPH                    259 WESTERN BLVD                         BALTIMORE MD 21218              APT A
43RD FLOOR                        JACKSONVILLE NC 28546                                                    BALTIMORE MD 21239
CHICAGO IL 60601



007860P001-1409A-265              030206P001-1409A-265                     003601P001-1409A-265            002373P001-1409A-265
AKERAH JONES                      AMY JONES                                ANETRA JONES                    ANGELA M JONES
1520 PK BLVD                      ADDRESS INTENTIONALLY OMITTED            501 SEVETH ST                   723 BRIAR HAVEN DR
CAMDEN NJ 08103                                                            ABBEVILLE LA 70510              CASTLE PINES CO 80108




009714P001-1409A-265              002678P002-1409A-265                     005666P001-1409A-265            007392P001-1409A-265
ANGELICA M JONES                  ANNA M JONES                             ANTOINETTE JONES                APRIL D JONES
70 HUNTLEIGH CIR                  614 S WESLEY ST                          2052 JONATHAN CIR               123 OAKWOOD DR
AMHERST NY 14226                  SPRINGFIELD IL 62703-1530                SHELBY TOWNSHIP MI 48317        COMMERCE GA 30529




004976P001-1409A-265              006694P001-1409A-265                     009034P001-1409A-265            004819P001-1409A-265
ARIANA J JONES                    ARIEL L JONES                            ARLEAN V JONES                  ARRABIA M JONES
6124 MODELLI DR                   936 NORTH MCLEAN BLVD                    2950 N GREEN VLY PKWY           450 VENTICELLO
GRAND PRAIRIE TX 75052            ELGIN IL 60123                           APT 814                         LAS VEGAS NV 89138
                                                                           HENDERSON NV 89014
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009043P001-1409A-265       002488P001-1409A-265                035740P001-1409A-265              007033P001-1409A-265
ASHLYN JONES               ASIA L JONES                        ASIA L JONES                      CAREESA JONES
103 OLD MORGANTOWN RD      1612 20TH ST                        7280 SOUTH BARRENS RD             531 SHYREWOOD DR
D304                       205                                 301                               LAWRENCEVILLE GA 30043
BOWLING GREEN KY 42101     ROANOKE VA 24012                    ROANOKE VA 24019




003329P001-1409A-265       037559P001-1409A-265                007837P001-1409A-265              008237P001-1409A-265
CARMEN N JONES             CARMEN N JONES                      CHARMANEY E JONES                 DAIJHANARA JONES
3623 CLEARBROOK ST         3623 CLEARBROOK RD                  1175 IDLEWOOD AVE                 13832 GREYLEDGE PL
MEMPHIS TN 38118           MEMPHIS TN 38118                    APT 205                           CHESTER VA 23836
                                                               KENNEWSAW GA 30144




002004P001-1409A-265       037594P001-1409A-265                001380P001-1409A-265              003321P001-1409A-265
DEVIN N JONES              HEATHER JONES                       HEATHER C JONES                   JADA L JONES
124 GRAYSON ST             310 TRUNKS BAY                      310 TRUNKS BAY                    4007 SWEENEY LAKE LN
WEST MONROE LA 71292       OCEANSIDE CA 92057                  OCEANSIDE CA 92057-4221           RICHMOND TX 77406




006113P001-1409A-265       006665P001-1409A-265                009388P001-1409A-265              037302P001-1409A-265
JASMIN D JONES             JASMINE R JONES                     KAITLYN JONES                     KAYLIN JONES
3416 W 22ND AVE            1743 S MAIN ST                      1516 SCHUFF LN                    KAYLIN
GARY IN 46404              4                                   LOUISVILLE KY 40205               JONES
                           HOPKINSVILLE KY 42240                                                 1309 JACKSON LANDING RD
                                                                                                 PICAYUNE MS 39466



004962P001-1409A-265       005506P001-1409A-265                001035P001-1409A-265              005248P001-1409A-265
KAYLIN M JONES             KIMBERLY JONES                      KIMBERLY L JONES                  KRISTEN JONES
1309 JACKSON LANDING RD    1576 N GALLOWAY AVE                 3701 TRIESTE DR                   18218 VALEBLUFF LN
PICAYUNE MS 39466          APT 1018                            CARLSBAD CA 92010-2844            CYPRESS TX 77429
                           MESQUITE TX 75149




035741P001-1409A-265       004564P001-1409A-265                006633P001-1409A-265              005398P001-1409A-265
KRISTEN JONES              KRISTEN N JONES                     LA TOYA JONES                     LOGAN A JONES
15123 BY THE LAKE WAY      101 LEAF LAKE BLVD                  1531 HUDSON GRAHAM LN             2844 GALLIA PIKE
CYPRESS TX 77429           BIRMINGHAM AL 35211                 CHARLOTTE NC 28216                FRANKLIN FURNACE OH 45629




003869P001-1409A-265       003328P001-1409A-265                000917P001-1409A-265              004957P001-1409A-265
LYRIC D JONES              MADISON D JONES                     MAEGAN M JONES                    MAGGIE L JONES
11 GLOBE LN                2377 MARSH HILL DR                  11738 CAPISTRANO DR               1207 TONY DR
WILLINGBORO NJ 08046       ASHLAND KY 41102                    INDIANAPOLIS IN 46236             JONESBORO AR 72401
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003339P001-1409A-265         030505P001-1409A-265                     003088P001-1409A-265            004366P001-1409A-265
MARISA JONES                 MARISA JONES                             MCKENZIE E JONES                NATALIE N JONES
5234 71ST                    ADDRESS INTENTIONALLY OMITTED            737 CR 109                      9823 UTOPIA DR
LUBBOCK TX 79424                                                      JONESBORO AR 72404              2205
                                                                                                      PENSACOLA FL 32514




004546P001-1409A-265         004546S001-1409A-265                     030550P001-1409A-265            035742P001-1409A-265
NYASIA A JONES               NYASIA A JONES                           PAMELA JONES                    PAMELA L JONES
2112 BROAD ST                844 HORTON RD APT 67                     ADDRESS INTENTIONALLY OMITTED   142 SOUTHAMPTON DR
APT E45                      DURHAM NC 27704                                                          KISSIMMEE FL 34744
DURHAM NC 27705




006749P001-1409A-265         001607P001-1409A-265                     005042P001-1409A-265            004605P001-1409A-265
PAYTON M JONES               RAYMEL L JONES                           SHAYON JONES                    SYDNEY G JONES
604 ROMA AVENUR              224 E RUARK DR                           427 HERITAGE HILLS DR           5511 INDERMUHLE LN
JEFFERSONVILLE IN 47130      SALISBURY MD 21804-2156                  COMMERCE GA 30529               PLAINFIELD IN 46168




037217P001-1409A-265         007784P001-1409A-265                     003928P001-1409A-265            002063P001-1409A-265
TALISHA JONES                TALISHA T JONES                          TATYAYNA S JONES                TAYJAH JONES
2644 COMMONWEALTH AVE        2644 COMMONWEALTH AVE                    8473 BUCKTHORN DR               4219 NADINE DR
JACKSONVILLE FL 32254        JACKSONVILLE FL 32254                    SAINT LOUIS MO 63134            BALTIMORE MD 21215-2251




003372P001-1409A-265         030649P001-1409A-265                     003607P001-1409A-265            004312P002-1409A-265
TIA JONES                    TIA JONES                                TRESHURE D JONES                ISIS L JONESSPEARMAN
10400 ARROW RTE              ADDRESS INTENTIONALLY OMITTED            619 DELORES DR                  610 N NAGLE ST
T-17                                                                  GRAND PRAIRIE TX 75052          ALLENTOWN PA 18102-2302
RANCHO CUCAMONGA CA 91730




037861P002-1409A-265         006286P001-1409A-265                     031355P001-1409A-265            037514P001-1409A-265
JONG HO OH                   SOPHIA JONTE                             JORDAN CREEK TOWN CENTER LLC    JORDAN CREEK TOWN CENTER LLC
855 W WALNUT ST              27539 BUCKEYE RD                         GGPLP LLC                       BROOKFIELD PROPERTY REIT INC
COMPTON CA 90220             WINTERS CA 95694                         110 NORTH WACKER DR             JULIE M BOWDEN
                                                                      CHICAGO IL 60606                350 N ORLEANS ST STE 300
                                                                                                      CHICAGO IL 60654-1607



010538P001-1409A-265         032694P001-1409A-265                     006281P001-1409A-265            007692P001-1409A-265
JORDAN KAUFMAN-KCTTC         JORDAN KAUFMAN-KCTTC                     ALEXANDRIA K JORDAN             ANGELIQUE JORDAN
PO BOX 541004                JACKIE DENNEY-KCTTC                      2815 SUMMER WIND DR             1219 OAKDALE
LOS ANGELES CA 90054-1004    PO BOX 541004                            WINTER PARK FL 32792            SPRINGFIELD IL 62703
                             LOS ANGELES CA 90054-1004
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006037P001-1409A-265              010466P001-1409A-265                     002024P002-1409A-265            035743P001-1409A-265
ARIANNA JORDAN                    CAROLE JEAN JORDAN                       KAITLIN JORDAN                  KAITLIN JORDAN
2500 OLD HWY 63 S                 TAX COLLECTOR                            5408 GATEWAY DR APT 8           3408 GATEWAY DR
812                               INDIAN RIVER COUNTY                      EAU CLAIRE WI 54701-5182        APT #8
COLUMBIA MO 65201                 PO BOX 1509                                                              EAU CLAIRE WI 54701
                                  VERO BEACH FL 32961-1509



006324P001-1409A-265              005698P001-1409A-265                     007075P001-1409A-265            008823P001-1409A-265
MACKENZIE A JORDAN                NICHOLE JORDAN                           STACIA J JORDAN                 TAMMI L JORDAN
501 N INGRAM                      2765 FIELD SPRING DR                     3913 JOUSTING ARCH              819 ORANGEDALE AVE
SIKESTON MO 63801                 LITHONIA GA 30058                        VIRGINIA BEACH VA 23456         CHARLOTTESVILLE VA 22903




000586P001-1409A-265              032140P002-1409A-265                     036572P001-1409A-265            000639P001-1409A-265
YESSICA D JORDAN                  JORGE BARDINA PRODUCTIONS LLC            JORGE BARDINA PRODUCTIONS LLC   VERONICA L JORGENSON
8810 NW 77TH CT                   JORGE BARDINA                            300 16TH AVE #303               3460 LIVINGSTON AVE
157                               300 16TH AVE STE 303                     SAN FRANCISCO CA 94118          NAVARRE MN 55391
TAMARAC FL 33321                  SAN FRANCISCO CA 94118




032141P001-1409A-265              006984P001-1409A-265                     033667P001-1409A-265            003566P001-1409A-265
JOSE EDUARDO VALDERRAMA HERRER    CHEYANNE M JOSEPH CROMARTIE              JOSEPH EMANUELE                 BRIANNA A JOSEPH
305 CONVENT AVE                   14901 SE 179TH ST APT 16C                660 S FIGUEROA ST               39715 PLUMAS WAY
APT 42                            16C                                      STE 1150                        FREMONT CA 94538
NEW YORK NY 10031                 RENTON WA 98058                          LOS ANGELES CA 90017




035744P001-1409A-265              008065P001-1409A-265                     005481P001-1409A-265            000612P001-1409A-265
CROMARTIE CHEYANNE M JOSEPH       DOMINIQUE C JOSEPH                       GENELLE JOSEPH                  MAEGAN E JOSEPH
14901 SE 179TH ST APT 16C         8813 STARFISH DR                         1005 TOWNE PK DR                601 COTULLA DR
16C                               BAKERSFIELD CA 93312                     RINCON GA 31326                 KISSIMMEE FL 34758
RENTON WA 98058




001466P001-1409A-265              002261P001-1409A-265                     005014P001-1409A-265            032142P001-1409A-265
MONIQUE JOSEPH                    NEHEMIE JOSEPH                           TENESHA JOSEPH                  JOSH LEWIS PRODUCTIONS
8001 NW 68TH TER                  2148 ESPLANADE PL                        5816 WOLF RD                    JOSH LEWIS
TAMARAC FL 33321                  TERRYTOWN LA 70056-2974                  ORLANDO FL 32808                3073 17TH ST
                                                                                                           SAN FRANCISCO CA 94110




034240P001-1409A-265              032143P002-1409A-265                     004446P001-1409A-265            032144P001-1409A-265
JOSH LEWIS PRODUCTIONS            JOSHUA MARLOW ROBINSON                   TYKIA A JOSIAH                  JOSIE SANDERS
3073 17TH ST                      JOSH ROBINSON                            6 MARIE RD                      6184 MAPLE GROVE WAY
SAN FRANCISCO CA 94110            1927 TARAVAL STREET STE 2                FORDS NJ 08863                  NOBLESVILLE IN 46062
                                  SAN FRANCISCO CA 94116-2278
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008584P001-1409A-265                  006075P001-1409A-265                      034161P001-1409A-265                 034363P001-1409A-265
ROZELLE A JOUBERT                     KENNEDI JOY                               JP MORGAN CHASE COM MTG SEC CORP     JP MORGAN CHASE COM MTG SEC CORP
15 ROYAL CREST DR                     10724 PETERFIELD LN                       ENFIELD LLC                          ENFIELD LLC
APT 6                                 GLEN ALLEN VA 23059                       1601 WASHINGTON AVE                  ENFIELD SQUARE MANAGEMENT OFFICE
NASHUA NH 03060                                                                 STE 800                              90 ELM ST
                                                                                MIAMI BEACH FL 33139                 ENFIELD CT 06082



036236P001-1409A-265                  030724P001-1409A-265                      031356P001-1409A-265                 036576P002-1409A-265
JP ORIGINAL CORP                      JP ORIGINAL CORP DBA DOLLHOUSE            JPMCC 2006 LDP7 CENTRO ENFIELD LLC   JPMCC 2006 LDP7 CENTRO ENFIELD LLC
19101 E WALNUT DR NORTH               PAUL KASCSAK                              JP MORGAN CHASE COM MTG SEC CO       LNR PARTNERS LLC
CITY OF INDUSTRY CA 91748             19101 E WALNUT DR NORTH                   ENFIELD SQUARE MANAGEMENT OFFICE     DUSTIN SMITH
                                      CITY OF INDUSTRY CA 91748                 90 ELM ST                            1601 WASHINGTON AVE STE 700
                                                                                ENFIELD CT 06082                     MIAMI BEACH FL 33139



036576S001-1409A-265                  031357P001-1409A-265                      034159P001-1409A-265                 031358P001-1409A-265
JPMCC 2006 LDP7 CENTRO ENFIELD LLC    JPMCC 2006-LDP7 CENTRO                    JPMCC 2007-LDP12 SOUTH EXPRESSWAY    JPMCCM 2001-CIBC2
WEINBERG WHEELER HUDGINS ET AL        JP MORGAN CHASE COM MTG SEC CO            SOUTH EXPRESSWAY 83 LLC              COLLIN CREEK MALL LLC
MATTHEW I KRAMER                      CMPT CERT SERIES 2006-LDP7                1601 WASHINGTON AVE                  KAREN CROWDER
2601 S BAYSHORE DR STE 1500           ENFIELD LLC                               STE 800                              C/O MIDLAND LOAN SVCS
MIAMI FL 33133                        1601 WASHINGTON AVE STE 800               MIAMI BEACH FL 33139                 10851 MASTIN BLVD STE 300
                                      MIAMI BEACH FL 33139                                                           OVERLAND PARK KS 66210


034116P001-1409A-265                  031359P002-1409A-265                      031359S001-1409A-265                 036577P001-1409A-265
JPMCCM 2001-CIBC2 COLLIN CREEK MA     JPMG MANASSAS MALL OWNER LLC              JPMG MANASSAS MALL OWNER LLC         JPMG MANASSAS MALL OWNER LLC
COLLIN CREEK MALL LLC                 BARCLAY DAMON LLP                         PYRAMID MANAGEMENT GROUP LLC         THE CLINTON EXCHANGE 4 CLINTON SQUARE
MIDLAND LOAN SVC                      KEVIN M NEWMAN                            JOHN D CICO                          SYRACUSE NY 13202
10851 MASTIN BLVD STE 300             BARCLAY DAMON TOWER                       THE CLINTON EXCHANGE
OVERLAND PARK KS 66210                125 E JEFFERSON ST                        4 CLINTON SQ
                                      SYRACUSE NY 13202                         SYRACUSE NY 13202


036577S001-1409A-265                  034265P001-1409A-265                      030346P001-1409A-265                 030725P001-1409A-265
JPMG MANASSAS MALL OWNER LLC          JPMG MANASSAS VENTURE LLC                 GARLAND GODFREY, JR                  JSH OUTERWEAR LLC
BARCLAY DAMON LLP                     THE CLINTON EXCHANGE                      ADDRESS INTENTIONALLY OMITTED        ELI COHEN
KEVIN NEWMAN SCOTT FLEISCHER          4 CLINTON SQUARE                                                               1410 BROADWAY
BARCLAY DAMON TOWER                   SYRACUSE NY 13202                                                              STE 505
125 EAST JEFFERSON ST                                                                                                NEW YORK NY 10018
SYRACUSE NY 13202


033240P001-1409A-265                  010594P001-1409A-265                      002084P001-1409A-265                 035745P001-1409A-265
JT NAKAOKA ASSOCIATES ARCHITECTS      JT SMALLWOOD, TAX COLLECTOR               JASMINE S JUAREZ VIVIAN              CYNTHIA D JUAREZ
10390 SANTA MONICA BLVD               RM 160 COURTHOUSE                         7352 WINDSOR LAKES PL                2235 N HAWTHORNE AVE
STE 370                               716 RICHARD ARRINGTON JR BLVD             10                                   MELROSE PARK IL 60164
LOS ANGELES CA 90025                  BIRMINGHAM AL 35203                       INDIANAPOLIS IN 46237




009662P001-1409A-265                  004324P001-1409A-265                      008059P001-1409A-265                 009455P001-1409A-265
DOLLY L JUAREZ                        ELIANA A JUAREZ                           JASMIN Z JUAREZ                      MIRIAM JUAREZ
4065 N FRUIT AVE                      2112 E VISTA WAY                          4938 FIDLER AVE                      6876 CUTTER CT
122                                   #33                                       LAKEWOOD CA 90712                    SPRINGDALE AR 72762-7815
FRESNO CA 93705                       VISTA CA 92084
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037347P001-1409A-265                     035746P001-1409A-265                   002190P001-1409A-265           009647P001-1409A-265
VERONICA JUAREZ                          VIVIAN JASMINE S JUAREZ                YERENY C JUAREZ                KATELYN JUDGE
VERONICA JUAREZ                          7352 WINDSOR LAKES PL                  14485 MONTEREY HWY             3436 FOX MEADOW WAY
24838 NEWHALL AVE #65                    10                                     SAN MARTIN CA 95046-9548       CLARKSVILLE TN 37042
NEWHALL CA 91321                         INDIANAPOLIS IN 46237




004228P001-1409A-265                     010106P001-1409A-265                   035747P001-1409A-265           008068P001-1409A-265
TENIA JUDGE                              JUDSON ISD TAX OFFICE                  ALAYNA JUDY                    MAKAELA R JUDY
712B LIBERTY ST                          8012 SHIN OAK DR                       6207 PRESTWICK RUN             5920 SOUTH HEATHER DR
TALLAHASSEE FL 32310                     LIVE OAK TX 78233-2413                 FORT WAYNE IN 46835            TEMPE AZ 85283




009530P001-1409A-265                     036415P001-1409A-265                   005295P001-1409A-265           004351P001-1409A-265
KAITLYN JUILLERAT                        BRENDA JULES                           SHAWNY N JULESSERRIES          RYAN A JULIAN
4579 SEA ISLE RD                         174 NEW STATE RD                       770 MAPLE RD WILLIAMSVILLE     74 PT GROVE RD
MEMPHIS TN 38117                         CENTRAL MANCHESTER CT 06042            11B                            SOUTHWICK MA 01077
                                                                                WILLIAMSVILLE NY 14221




032146P001-1409A-265                     032147P001-1409A-265                   032148P001-1409A-265           032149P001-1409A-265
JULIE L ENSOR, CLERK OF CIRCUIT COURT    JULIE OLIVIA OLMSTEAD                  JULIETA GARCIA-QUEROL          JULIO DUFFOO PHOTOGRAPHY
STEPHEN HALES CLERK OF CIRCUIT COURT     255 MONTEREY BLVD                      13062 DEER PK WAY              JULIO DUFFOO
401 BOSLEY AVE                           SAN FRANCISCO CA 94131                 SAN DIEGO CA 92130             6 STANFORD HEIGHTS AVE
TOWSON MD 21204-6754                                                                                           SAN FRANCISCO CA 94127




034304P001-1409A-265                     037839P001-1409A-265                   006009P001-1409A-265           032150P001-1409A-265
JULIO DUFFOO PHOTOGRAPHY                 JULITZA MEDINA                         CIERRA R JUNE                  JUNGLE DISK
6 STANFORD HEIGHTS AVE                   CO TRIAL PRO PA                        952 BATTERY AVE                PORTHCAWL JACKSON LLC
SAN FRANCISCO CA 94127                   250 N ORANGE AVE                       CHARLESTON SC 29407            LOUISE BENKE
                                         SUITE 1400                                                            110 E HOUSTON ST
                                         ORLANDO FL 32801                                                      SAN ANTONIO TX 78205



036580P001-1409A-265                     001320P001-1409A-265                   000796P001-1409A-265           005652P001-1409A-265
JUNGLE DISK                              MARLENE JURADO                         REYNA JURADO                   SYLVIA N JURGENS
110 E HOUSTON ST                         31520 STONEY CREEK                     31520 STONEY CREEK DR          1410 237TH PL SW
SAN ANTONIO TX 78205                     LAKE ELSINORE CA 92532                 LAKE ELSINORE CA 92532         BOTHELL WA 98021




002011P001-1409A-265                     035748P001-1409A-265                   030726P001-1409A-265           036237P001-1409A-265
KAYLA S JURKIEWICZ                       KAYLA S JURKIEWICZ                     JUST ONE LLC                   JUST ONE LLC
1426 S 52ND ST                           3573 S 76TH ST APT #4                  JEANNINE GALLIANI              1450 BROADWAY 21ST FLOOR
WEST MILWAUKEE WI 53214                  MILWAUKEE WI 53220                     1450 BROADWAY                  NEW YORK NY 10018
                                                                                21ST FL
                                                                                NEW YORK NY 10018
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033668P001-1409A-265            030999P001-1409A-265                 036238P001-1409A-265             031000P001-1409A-265
JUSTENOUGH SOFTWARE             JYHS INC                             JYHS INC                         K TOO
4 SAN JOAQUIN PLZ               MARK TUNNELL                         738 E 14TH ST UNIT # B           AUDREY KIM
STE 150                         738 E 14TH ST                        LOS ANGELES CA 90021             1635 E 22ND ST
NEWPORT BEACH CA 92660          UNIT # B                                                              LOS ANGELES CA 90011
                                LOS ANGELES CA 90021



004879P001-1409A-265            033289P001-1409A-265                 007180P001-1409A-265             006192P001-1409A-265
LIANAHMARIE K KAAHULUA          KACE NETWORKS INC                    LANIE KACHEL                     REBAMARIE KACHERSKY
583 MALIO PL                    1616 NORTH SHORELINE BLVD            20 KAYMAR DR                     700 4TH ST
WAILUKU HI 96793                STE B                                ROCHESTER NY 14616               EDDY TX 76524
                                MOUNTAIN VIEW CA 94043




035336P002-1409A-265            008220P001-1409A-265                 005009P001-1409A-265             031001P001-1409A-265
GREGORY KADEN                   LUCIA H KAEFER                       KATIE X KAESSINGER               KAHINIWALLA LTD (DIST OF PEBBL
GOULSTON & STORRS               823 NW 28TH ST                       23522 LEYTE DR                   1511 19TH ST NW
400 ATLANTIC AVE                FOR LAUDERDALE FL 33315              TORRANCE CA 90505                CANTON OH 44709
BOSTON MA 02110




003802P001-1409A-265            037798P001-1409A-265                 030811P002-1409A-265             036239P003-1409A-265
SARAH KAHN                      KAILAN MITCHELL                      KAIRA INC                        KAIRA INC
310 OAK HILL DR                 6538 OAK CREEK COVE                  SANJAY KOHLI                     SANJAY KOHLI
PITTSBURGH PA 15213             MEMPHIS TN 38115                     PLOT NO 32 PACE CITY 1           PLOT NO-32 PACE CITY-1 SECTOR-37
                                                                     SECTOR 37                        GURGAON HARYANA 122001
                                                                     GURGAON HARYANA 122008           INDIA
                                                                     INDIA


001680P001-1409A-265            001571P001-1409A-265                 008652P001-1409A-265             031360P001-1409A-265
BRANDON E KAISER                ALMA KAJOSEVIC                       KEANI P KALAHIKIPETERSON         KALAMAZOO MALL LLC
9032 E 29TH PL                  167 BELMONT LN                       47561 AHILAMA RD                 THE CROSSROADS MALL
1726                            WHITMORE LAKE MI 48189               KANEOHE HI 96744                 SDS-12-0674
TULSA OK 74129                                                                                        PO BOX 86
                                                                                                      MINNEAPOLIS MN 55486-0674



037416P001-1409A-265            032151P001-1409A-265                 003428P001-1409A-265             004570P001-1409A-265
KALAMAZOO MALL LLC              KALE WILLIAMS                        VENKATA V KALIDINDI              SAMANTHA P KALLA
AKA THE CROSSROADS MI           KALE AND LANE WILLIAMS               500 STREAM ISLE DR               40 ZEPHYR LILY TRL
BROOKFIELD PROPERTY REIT INC    44 SHERMAN ST                        POWELL OH 43065                  PALM COAST FL 32164
350 N ORLEANS ST STE 300        BROOKLYN NY 11215
CHICAGO IL 60654-1607



001177P001-1409A-265            035749P001-1409A-265                 031361P001-1409A-265             036582P001-1409A-265
KEALII K KALUA                  KEALII K KALUA                       KAMEHAMEHA SCHOOLS               KAMEHAMEHA SCHOOLS
94-207 WAIPAHU ST APT 220       11035 OTSEGO ST APT #204             TRUSTEESOF THE ESTATE OF BERNI   TRUSTEES OF THE ESTATE OF
WAIPAHU HI 96797                NORTH HOLLYWOOD CA 91601             ANA TERRADO                      BERNICE PAUAHI BISHOP WINDWARD MALL
                                                                     BERNICE PAUAHI BISHOP WINDWARD   PO BOX 31000 BOX 5497
                                                                     MALL PO BOX 31000 BOX 5497       HONOLULU HI 96849-5797
                                                                     HONOLULU HI 96849-5797
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002637P001-1409A-265            005274P001-1409A-265                      009615P001-1409A-265          010025P001-1409A-265
ALEXIS E KAMINSKI               KELLIE L KAMINSKI                         LILLIAN KAMMAN                KANAWHA COUNTY SHERIFF
2700 FEATHER RUN TRL            82 BARNABAS DR                            900 N HANOVER ST              TAX DIVISION
E20                             DEPEW NY 14043                            APT B3                        409 VIRGINIA ST STE E RM 120
WEST COLUMBIA SC 29169                                                    POTTSTOWN PA 19464            CHARLESTON WV 25301-2595




010024P001-1409A-265            037799P001-1409A-265                      032152P001-1409A-265          033402P001-1409A-265
KANAWHA COUNTY TAX COLLECTOR    KANDACE ALLAH                             KANDIS NICKOLE ISOM           ROSIE KANELLIS
409 VIRGINIA ST E RM 120        2937 8TH AVE 26C                          3343 CRAIG DR                 ACME PRINTS
TAX DIVISION                    NEW YORK NY 10039                         APT H146                      440 KENT AVE 5E
CHARLESTON WV 25301-2595                                                  HAMMOND IN 46323              BROOKLYN NY 11249




005272P001-1409A-265            033669P001-1409A-265                      007542P001-1409A-265          000320P001-1409A-265
REBECCA A KANER                 KANNAYO O'KOLIE                           AALIYAH T KANO                KANSAS ATTORNEY GENERAL
2606 AVE N                      FLAT 3                                    45-507 PUONI PL               DEREK SCHMIDT
BROOKLYN NY 11210               3A GLOUCESTER ROAD                        KANEOHE HI 96744              120 SW 10TH AVE
                                LONDON SW74PP                                                           2ND FL
                                UNITED KINGDOM                                                          TOPEKA KS 66612-1597



033010P001-1409A-265            033010S001-1409A-265                      035221P001-1409A-265          009753P001-1409A-265
KANSAS CITY POWER AND LIGHT     KANSAS CITY POWER AND LIGHT               KANSAS CITY POWER AND LIGHT   KANSAS CORPORATE TAX
PO BOX 219330                   1200 MAIN ST                              PAUL W SANDERS                KANSAS DEPT OF REVENUE
KANSAS CITY MO 64121            KANSAS CITY MO 64105                      PO BOX 11739                  915 SW HARRISON ST
                                                                          KANSAS CITY MO 64138-0239     TOPEKA KS 66612-1588




000045P001-1409A-265            000205P001-1409A-265                      000131P001-1409A-265          010122P001-1409A-265
KANSAS DEPT OF                  KANSAS DEPT OF HUMAN RESOURCES            KANSAS DEPT OF REVENUE        KANSAS DEPT OF REVENUE
HEALTH AND ENVIRONMENT          SECRETARY                                 915 SW HARRISON ST            CORPORATE ESTIMATED TAX
JENNIFER NICHOLS                109 SW 9TH ST                             TOPEKA KS 66625-9000          915 SW HARRISON ST
2501 MARKET PL                  4TH FL                                                                  TOPEKA KS 66625-2000
STE D                           TOPEKA KS 66612
SALINA KS 67401


010123P001-1409A-265            009872P001-1409A-265                      000426P001-1409A-265          004397P001-1409A-265
KANSAS DEPT OF REVENUE          KANSAS SECRETARY OF STATE                 KANSAS STATE TREASURER        LAUREN E KANTOR
SALES AND USE TAX               MEMORIAL HALL 1ST FLOOR                   UNCLAIMED PROPERTY DIVISION   4332 VIREO AVE
915 SW HARRISON ST              120 SW 10TH AVE                           900 SW JACKSON                BRONX NY 10470
TOPEKA KS 66625-5000            TOPEKA KS 66612-1594                      STE 201
                                                                          TOPEKA KS 66612-1235



002571P001-1409A-265            010166P001-1409A-265                      008829P001-1409A-265          030633P001-1409A-265
KALENTHIA M KAPLAN              WADE KAPSZUKIEWICZ                        KATARZYNA KAPUSTA             TAMMERA D KARAS
723 ALFONSO ST                  TREASURER OF LUCAS COUNTY                 22 BOBWHITE DR                ADDRESS INTENTIONALLY OMITTED
PENSACOLA FL 32505              ONE GOVERNMENT CTR #500                   NORWALK CT 06851
                                TOLEDO OH 43604-2253
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031002P001-1409A-265      036240P001-1409A-265                    006317P001-1409A-265            032153P001-1409A-265
KARMA KREATIONS           KARMA KREATIONS                         HELLEN KARMEL                   KAROLINA YORK
SHERRY                    1630 S GROVE AVE #B                     1067 SHENANDOAH DR SE           LIZ CASELLA
1630 S GROVE AVE #B       ONTARIO CA 91761                        SALEM OR 97305                  168 COPE ST
ONTARIO CA 91761                                                                                  WATERLOO NSW 2017
                                                                                                  AUSTRALIA



001772P001-1409A-265      035750P001-1409A-265                    007032P001-1409A-265            006971P001-1409A-265
COURTNEY KARUZA           COURTNEY KARUZA                         ALYSSA R KARWECKI               MARY KASOZI KASOZI
1080 W LAUREL RD          285 18TH ST                             1864 77TH DR                    2051 ASPEN DR
FERNDALE WA 98248-9428    UNIT C                                  VERO BEACH FL 32966             INDIANPOLIS IN 46123
                          LYNDEN WA 98264




007495P001-1409A-265      005223P001-1409A-265                    030727P001-1409A-265            032154P001-1409A-265
YAZMINE S KASSEES         CORRINE KATAVICH                        KATELYN USA                     KATELYN VAN DIEM PHUONG HOANG
65 SPRING GROVE DR        1420 OUSLEY DR                          110 E9TH ST                     5201 W IRONWOOD DR
SHERWOOD AR 72120         GILROY CA 95020                         #A807                           GLENDALE AZ 85302
                                                                  LOS ANGELES CA 90079




032155P001-1409A-265      032156P001-1409A-265                    032157P001-1409A-265            010375P001-1409A-265
KATHERINE BAIRD           KATHLEEN POST                           KATHLEEN WEBER                  KATY INDEPENDENT SCHOOL DIST
653 THIRD AVE             9901 WASHINGTON BLVD #522               KATHLEEN POSADA WEBER           DAVID J PIWONKSRPA
JOLIET IL 60433           CULVER CITY CA 90232                    1395 GOLDEN GATE AVE            PO BOX 761
                                                                  #504                            KATY TX 77492-0761
                                                                  SAN FRANCISCO CA 94115



032158P001-1409A-265      032159P001-1409A-265                    031362P001-1409A-265            035751P001-1409A-265
KATY JONES                KATY MANAGEMENT DISTRICT # 1            KATY MILLS                      BRIANNA KATZ
4148 CHARLES AVE          ESTHER BUENTELLO FLORES RTA             MALL AT KATY MILLS LP           1851 WISTERIA CIR
CULVER CITY CA 90232      PO BOX 4545                             PO BOX 100554                   BELLPORT NY 11713
                          HUSTON TX 77210-4545                    ATLANTA GA 30384-0554




032795P001-1409A-265      009267P001-1409A-265                    030197P001-1409A-265            002298P001-1409A-265
MARK KATZ                 EMMA A KAUFFMAN                         AMAN KAUR                       AMANPREET KAUR
16255 VENTURA BLVD        2211 TECHNOLOGY BLVD                    ADDRESS INTENTIONALLY OMITTED   6645 CANOPY RIDGE LN
STE 110                   106                                                                     UNIT 16
ENCINO CA 91436-2319      CONWAY SC 29526                                                         SAN DIEGO CA 92121




006387P001-1409A-265      001925P001-1409A-265                    006826P001-1409A-265            004094P002-1409A-265
JASDEEP KAUR              MANPREET KAUR                           SIMRAN KAUR                     CIERRA M KAWAKAMI
1717 VERNA TEST CT        107-0 SUTTER AVE                        2541 JUBILEE DR                 4821 S ROXBURY ST
STOCKTON CA 95206         OZONE PARK NY 11417                     TURLOCK CA 95380                SEATTLE WA 98118
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003808P001-1409A-265            010196P001-1409A-265                005757P001-1409A-265              030428P001-1409A-265
JULIA P KAWKA                   KAY PACE, TAX COLLECTOR             KAREN KAY                         KAREN KAY
1114 OAKLEY ST                  MADISON COUNTY                      POB 1262                          ADDRESS INTENTIONALLY OMITTED
BELVIDERE IL 61008              PO BOX 113                          MCKENNA WA 98558
                                CANTON MS 39046




032160P001-1409A-265            032161P001-1409A-265                009482P001-1409A-265              008193P001-1409A-265
KAYLA A BARTOLOME               KAYLA MAISONET                      MADISON O KAYS                    AMIRA KAZIC
70 SIMPSON DR                   LUNA ROSE CORP                      142 SKYVIEW DR                    444 WOODMERE DR
DALY CITY CA 94015              13854 COMPTON ST                    ARCADE NY 14009                   GARLAND TX 75043
                                SHERMAN OAKS CA 91401




032162P001-1409A-265            031363P001-1409A-265                037909P001-1409A-265              007057P001-1409A-265
KCMO CITY TREASURER             KDI ATHENS MALL LLC                 KDI ATHENS MALL LLC               ALEXIS S KEARNEY
CITY OF KANSAS CITY MISSOURI    3700 ATLANTA HWY                    BROWN LAW LLC                     1531 ALASKA DR
REVENUE DIVISION                STE 212                             HEATHER D BROWN                   RICHMOND VA 23224
PO BOX 843956                   ATHENS GA 30606                     138 BULLOCH AVE
KANSAS CITY MO 64184-3956                                           ROSWELL GA 30075



003920P001-1409A-265            035752P001-1409A-265                007208P001-1409A-265              030481P001-1409A-265
ASHLEY N KEE                    ASHLEY N KEE                        OLIVIA KEE                        LISA KEELY
10 FINLEY LN                    904 S COLLEGE AVE                   1281 E FRANCES LN                 ADDRESS INTENTIONALLY OMITTED
EUREKA MO 63025                 COLUMBIA MO 65201                   GILBERT AZ 85295




005283P001-1409A-265            006850P001-1409A-265                001136P001-1409A-265              000969P001-1409A-265
LISA S KEELY                    ALEXANDRIA K KEEN                   AMANDA G KEEN                     PAMELA J KEENER VANDITTI
150 HARVEST MOON DR             13124 D PLZ                         211 S CEDARBROOK                  223 OMAR ST
RICHLANDS NC 28574              OMAHA NE 68144                      SPRINGFIELD MO 65802              STRUTHERS OH 44471




006829P001-1409A-265            009310P001-1409A-265                030362P001-1409A-265              000885P001-1409A-265
RACHEL M KEENER                 KAYLA A KEERL                       HEATHER KEETON                    HEATHER D KEETON
15678 ANCHORAGE DR              608 ROBINSON CLEMMER RD             ADDRESS INTENTIONALLY OMITTED     572 S BRADFORD
SAN LEANDRO CA 94579            DALLAS NC 28034                                                       NIXA MO 65714




002820P001-1409A-265            009679P001-1409A-265                007988P001-1409A-265              007816P001-1409A-265
KELLY KEITCH                    LAQUITIA S KEITH                    ALEXIS E KELLER                   BRENDA KELLER
15919 STILLWOOD                 LEON ST                             9939 DOWNSVILLE PIKE              120 NENTEGO DR
#2088                           14                                  HAGERSTOWN MD 21740               FRUITLAND MD 21826
DALLAS TX 75248                 DURHAM NC 27705
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004383P001-1409A-265      002914P001-1409A-265                    032163P001-1409A-265          000537P001-1409A-265
CASSANDRA KELLER          JENNIFER M KELLER                       KELLY PAPER                   AMANDA KELLY
5 NABBY RD                518 TANGERINE COVE DR                   KELLY SAN DIEGO               135 HICKORY LN
60                        VISTA CA 92083                          288 BREA CANYON RD            BLUEMONT VA 20135
BROOKFIELD CT 06804                                               CITY OF INDUSTRY CA 91789




004459P001-1409A-265      035753P001-1409A-265                    005972P001-1409A-265          035754P001-1409A-265
APRIL KELLY               APRIL KELLY                             BROOKE K KELLY                BROOKE K KELLY
9830 SYDNEY LN            3422 BUTTS RD                           ALABAMA A&M UNIVERSITY        11112 S 84TH AVE`
APT 38501                 RAYMOND MS 39154                        KNIGHT COMPLEX                APT 3B
SAN DIEGO CA 92126                                                NORMAL AL 35762               PALOS HILLS IL 60465




037439P001-1409A-265      006951P001-1409A-265                    035755P001-1409A-265          004435P001-1409A-265
ENFINITI KELLY            ENFINITI B KELLY                        KAITLIN KELLY                 LEAH M KELLY
ENFINITI KELLY            1310 W WEATHERSFIELD WAY                249 HAYES                     4913 HEATHER GLEN TRL
ENFINITI KELLY            SCHAUMBURG IL 60193                     NORTHLAKE IL 60164            MCKINNEY TX 75070
4722 W ADAMS
CHICAGO IL 60644



003890P001-1409A-265      036766P001-1409A-265                    001687P001-1409A-265          032164P002-1409A-265
SALENA T KELLY            STEPHANIE KELLY                         TAYLOR J KELLY                KELSEY KAPLAN
1506 AVE D                1111 E DEMOCRACY AVE                    27 PARKDALE DR                2948 FILLMORE ST
GRAND PRAIRIE TX 75051    FRESNO CA 93720                         FARMINGDALE NY 11735          SAN FRANCISCO CA 94123-4024




003901P001-1409A-265      010278P001-1409A-265                    007459P001-1409A-265          004692P001-1409A-265
TACI F KELSO              KEN BURTON, JR TAX COLLECTOR            DEIONA KENDRICK               GABRIELLE L KENEFIC
1914 69TH AVE             MANATEE CO TAX COLLECTOR                893 EAST 209TH ST             903 GENE CRES
OLYMPIA WA 98501          PO BOX 25300                            EUCLID OH 44119               CHESAPEAKE VA 23320
                          BRADENTON FL 34206-5300




004334P001-1409A-265      006896P001-1409A-265                    009961P001-1409A-265          009683P001-1409A-265
AYLA C KENNEDY            KATELYNN R KENNEDY                      KENNETH L MAUN TAX ASSESSOR   LINDSAY KENRICK
2810 KENTUCKY AVE         68 S WELLS AVE                          COLLIN COUNTY                 9 CHARING CROSS
BALTIMORE MD 21213        #1                                      2300 BLOOMDALE RD STE 2324    FAIRPORT NY 14450
                          RENO NV 89502                           PO BOX 8046
                                                                  MCKINNEY TX 75070-8046



008121P001-1409A-265      037246P001-1409A-265                    004066P001-1409A-265          035756P001-1409A-265
ANALIESE M KENT           ANALIESE M KENT                         ANNETTE KENT                  ANNETTE KENT
1445 BOONE ST             ANALIESE KENT                           N13519 COUNTY HIGHWAY I       315 W GRAND AVE
TUPELO MS 38804           1445 BOONE ST                           SAND CREEK WI 54757           APT 1
                          TUPELO MS 38804                                                       EAU CLAIRE WI 54703
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000321P001-1409A-265                        000046P001-1409A-265                           000132P001-1409A-265                        009754P001-1409A-265
KENTUCKY ATTORNEY GENERAL                   KENTUCKY DEPT FOR NATURAL RESOURCES            KENTUCKY DEPT OF REVENUE                    KENTUCKY DEPT OF REVENUE
ANDY BESHEAR                                LINDA POTTER                                   501 HIGH ST                                 PO BOX 856905
700 CAPITOL AVE                             300 SOWER BLVD                                 FRANKFORT KY 40601-2103                     LOUISVILLE KY 40285-6905
CAPITAL BLDG STE 118                        FRANKFORT KY 40601-4311
FRANKFORT KY 40601



009812P001-1409A-265                        032670P001-1409A-265                           000047P001-1409A-265                        000048P001-1409A-265
KENTUCKY DEPT OF REVENUE                    KENTUCKY DEPT OF REVENUE                       KENTUCKY ENVIRONMENTAL QUALITY COMMISSION   KENTUCKY FOR ENVIRONMENTAL PROTECTION
PO BOX 856910                               KENTUCKY DEPT OF REVENUE                       58 WILKINSON BLVD                           300 FAIR OAKS LN
LOUISVILLE KY 40285-6910                    FRANKFORT KY 40620                             FRANKFORT KY 40601                          FRANKFORT KY 40601




000206P001-1409A-265                        032166P001-1409A-265                           036592P001-1409A-265                        036592S001-1409A-265
KENTUCKY LABOR CABINET                      KENTUCKY OAKS MALL                             KENTUCKY OAKS MALL                          KENTUCKY OAKS MALL
SECRETARY                                   PO BOX 932423                                  PO BOX 714267                               CAFARO MANAGEMENT COMPANY
1047 US HWY 127 SOUTH STE 4                 CLEVELAND OH 44193                             COLUMBUS OH 43271-4267                      RICHARD T DAVIS
FRANKFORT KY 40601                                                                                                                     5577 YOUNGSTOWN WARREN RD
                                                                                                                                       NILES OH 44446



036592S002-1409A-265                        037004P002-1409A-265                           000427P001-1409A-265                        010199P001-1409A-265
KENTUCKY OAKS MALL                          KENTUCKY OAKS MALL CO                          KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER
MONZACK MERSKY MCLAUGHLIN AND BROWDER PA    5577 YOUNGSTOWN WARREN RD                      UNCLAIMED PROPERTY DIVISION                 SECRETARY OF STATE
RACHEL B MERSKY                             NILES OH 44446                                 1050 US HIGHWAY 127 SOUTH                   PO BOX 1150
1201 N ORANGE ST STE 400                                                                   STE 100                                     FRANKFORT KY 40602-1150
WILMINGTON DE 19801                                                                        FRANKFORT KY 40601



001499P001-1409A-265                        007865P001-1409A-265                           006289P001-1409A-265                        032167P001-1409A-265
CHRISTA B KEOHAN                            JOLENE J KERBY                                 SARAH M KERG                                KERN REPRESENTS, INC
108 DUDLEY ST                               151 TALL PINES RD                              27155 PHOENIX WAY                           CHRISTOPHER KERN
MEDFORD MA 02155-4010                       FOUNTAIN INN SC 29644                          OLMSTED TOWNSHIP OH 44138                   548 MARKET ST 59078
                                                                                                                                       SAN FRANCISCO CA 94104




034299P001-1409A-265                        035757P001-1409A-265                           004483P002-1409A-265                        004005P001-1409A-265
KERN REPRESENTS, INC                        ELEANOR J KERR                                 NICOLE KERR                                 TABITHA P KERR
548 MARKET ST 59078                         2559 WOODS DR                                  25385 SANDHILL BLVD APT F1                  7507 STARGAZER DR
SAN FRANCISCO CA 94104                      VICTORIA MN 55318                              PUNTA GORDA FL 33983-6138                   HANAHAN SC 29410




003355P001-1409A-265                        030239P001-1409A-265                           001938P001-1409A-265                        032726P001-1409A-265
BRANDY S KESCOLI                            ASMI KESSLER                                   SCOUTT S KESSLER                            KETER ENVIRONMENTAL SVCS INC
3223 N KYLE LOOP                            ADDRESS INTENTIONALLY OMITTED                  580 5TH AVE                                 PO BOX 417468
FLAGSTAFF AZ 86004                                                                         SAN BRUNO CA 94066                          BOSTON MA 02241
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033011S001-1409A-265                      033966P002-1409A-265                     033268P001-1409A-265             036661P001-1409A-265
KETER ENVIRONMENTAL SVCS INC              KETER ENVIRONMENTAL SVCS INC             KEY HANDLING SYSTEMS INC         MICKI KAUWALU KEY
4 HIGH RIDGE PK STE 202                   RICHARD PLUTZER                          137 WEST COMMERCIAL AVE          86-289 HOKUAIAINA PL
STAMFORD CT 06905                         4 HIGH RIDGE PK STE 202                  MOONACHIE NJ 07074               WAIANAE HI 96792
                                          STAMFORD CT 06905




005677P001-1409A-265                      010421P001-1409A-265                     032695P001-1409A-265             036923P001-1409A-265
TREMELL I KEYS                            KEYSTONE COLLECTIONS GROUP               KEYSTONE COLLECTIONS GROUP       KEYSTONE FLORIDA PROPERTY HOLDING CORP
2804 GLENN HILLS CIR                      PO BOX 489                               KEYSTONE MUNICIPAL COLLECTIONS   JLL
AUGUSTA GA 30906                          IRWIN PA 15642                           PO BOX 489                       THE GALLERIA AT FORT LAUDERDALE
                                                                                   IRWIN PA 15642                   2414 E SUNRISE BLVD
                                                                                                                    FT LAUDERDALE FL 33304



036923S001-1409A-265                      031364P001-1409A-265                     005830P001-1409A-265             005030P001-1409A-265
KEYSTONE FLORIDA PROPERTY HOLDING CORP    KEYSTONE-FL PROP HOLDING CORP            FARHAT F KHAIRZADAH              RUBAB KHALID
KELLEY DRYE AND WARREN LLP                JLLA INC THE GALLERIA MALL               17402 MILL STONE WAY             27781 POINTERS LN
ROBERT L LEHANE                           PO BOX 71345                             LATHROP CA 95330                 SALISBURY MD 21801
101 PARK AVE                              CHICAGO IL 60694-1345
NEW YORK NY 10178



008541P001-1409A-265                      000918P001-1409A-265                     001274P001-1409A-265             000589P001-1409A-265
MARYAM KHALIQ                             GHAZALA G KHAN                           HAMID M KHAN                     SAADIA KHAN
2605 24TH AVE                             13151 YORBA AVE                          4153 PRAIRIE VIEW TRL            1002 BENT BRANCH ST
ASTORIA NY 11102                          APT 23                                   MEDINA MN 55340                  GASTONIA NC 28054
                                          CHINO CA 91710




005028P001-1409A-265                      010257P001-1409A-265                     036641P001-1409A-265             006152P001-1409A-265
SANAM A KHAN                              SHABBIR A KHAN                           MARY KHANG                       HANEEN KHERAIS
7449 LINDA LN                             SAN JOAQUIN COUNTY TREASURER             3 ALEXANDER DR                   4041 MEDICAL DR
FALLS CHURCH VA 20101                     PO BOX 2169                              WEST WARWICK RI 02893-1969       402
                                          STOCKTON CA 95201-2169                                                    SAN ANTONIO TX 78229




034315P001-1409A-265                      031974P001-1409A-265                     006220P001-1409A-265             005372P001-1409A-265
JAMES KHEZRIE                             DALAR KHODAGHOLIAN                       BRITTNEY S KHOUNBORINE           EMILY R KHOZOURI
6901 SECURITY BLVD                        9648 AMANITA AVE                         12400 EDISON DR                  47 WOODBINE DR E
BALTIMORE MD 21244                        TUJUNGA CA 91042                         OKLAHOMA CITY OK 73120           HICKSVILLE NY 11801




033281P001-1409A-265                      030728P001-1409A-265                     033274P001-1409A-265             005239P001-1409A-265
RACHEL KIDD                               KIDS REPUBLIC INC                        KIDZ CONCEPTS LLC                BRITNEY M KIEFT
15 BROOKSHIRE CT                          1317 SOUTH OLIVE ST                      CHRISTINE BUTTA                  670 S HOWARD ST
PITTSBURG CA 94565                        LOS ANGELES CA 90015                     1412 BROADWAY                    208
                                                                                   3RD FLOOR                        KALAMAZOO MI 49006
                                                                                   NEW YORK NY 10018
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035758P001-1409A-265         031365P001-1409A-265                   032168P001-1409A-265           036241P001-1409A-265
BRITNEY M KIEFT              KIERLAND GREENWAY LLC                  KIKI CREATIVE CO               KIKKERLAND DESIGN
1209 KIMBARK AVE             PO BOX 310012151                       KIERSTEN STEVENS               666 BROADWAY 4TH FL
KALAMAZOO MI 49006           PASADENA CA 91110-2151                 1903 W SILVER LAKE DR          NEW YORK NY 10012
                                                                    LOS ANGELES CA 90039




034367P001-1409A-265         004874P001-1409A-265                   008599P001-1409A-265           003996P001-1409A-265
KILLEEN MALL MEMBER LLC      JAHNESTA S KILLEN                      DASHANIQUE A KILLIPS           DANIELLE KILPATRICK
TRIGILD                      4609 COMANCHE RD NE                    928 WISCONSIN AVE #3           5290 BIG ISLAND DR
9339 GENESEE AVE             ALBUQUERQUE NM 87110                   2                              4312
STE 130                                                             RACINE WI 53403                JACKSONVILLE FL 32246
SAN DIEGO CA 92121



032169P001-1409A-265         006640P001-1409A-265                   005566P001-1409A-265           005762P001-1409A-265
KIM BOTT                     MONICA T KIM                           CHELSEY C KIMBLEBADGETT        ANNASTASIA E KIMBREL
519 SOUT 600 WEST            1042 DARBY DR                          17 PINEBROOK DR                1015 HALL AVE
BRIGHAM CITY UT 84302        TRACY CA 95377                         EASTHAMPTON MA 01027           19
                                                                                                   KILLEEN TX 76541




006020P001-1409A-265         008575P001-1409A-265                   030729P001-1409A-265           036242P002-1409A-265
AUDE KIMBREW                 MELISSA L KIMBULU                      KIMERA INTERNATIONAL INC DBA   KIMERA INTERNATIONAL INC DBA
1212 METZE RD                110 COLLEGE PK CIR 124                 DBA LILIANA SHOES              810 ECHELON CT
16C                          LINCOLN NE 68505                       IMELDA SALINDEHO               CITY OF INDUSTRY CA 91744-2246
COLUMBIA SC 29210                                                   18400 SAN JOSE AVE
                                                                    CITY OF INDUSTRY CA 91748



009015P001-1409A-265         034250P001-1409A-265                   033670P001-1409A-265           030863P001-1409A-265
SAMANTHA P KIMMEY            DANIEL KINCAID                         KINETIX                        KING AND SPALDING, LLP
500 N HIGHLAND AVE           32151 TRL RD                           110 E 9TH ST B441              PO BOX 116133
TUCSON AZ 85719              AGUA DULCE CA 91390                    LOS ANGELES CA 90079           ATLANTA GA 30368-6133




032170P001-1409A-265         036595P001-1409A-265                   031003P001-1409A-265           008710P001-1409A-265
KING JOHN CLOTHING INC       KING JOHN CLOTHING INC                 KING LAI INTL GROUP LTD        BAYLIE N KING
IRENE GUDINO                 11490 WRIGHT RD                        RM 1007 10/F HO KING CTR       118 DAVE AVE APT #102
11490 WRIGHT RD              LYNWOOD CA 90262                       NO216 FA YUEN ST MONGKOK       102
LYNWOOD CA 90262                                                    HONG KONG                      LEBANON OH 45036
                                                                    HONG KONG



005720P002-1409A-265         001033P001-1409A-265                   005217P001-1409A-265           002304P001-1409A-265
BRENDA KING                  BRENDA C KING                          BRITTANY N KING                CARRIE D KING
251 EISENHOWER DR APT 332    5136 RAVENWOOD DR                      1577 NORTH PERRY HIGHWAY       4800 UNIVERSITY DR
BILOXI MS 39531              GREEN CV SPGS FL 32043-8184            FREDONIA PA 16124              APT 2G
                                                                                                   DURHAM NC 27707
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002500P001-1409A-265         035759P001-1409A-265                     007242P001-1409A-265          007351P001-1409A-265
CHERIYAH KING                CHERIYAH KING                            EMILY M KING                  ISABEL R KING
1423 3RD AVE                 423 MEADOW DR #3                         406 CLYDE AVE                 3001 W WEDINGTON DR
FAIRVIEW HEIGHTS IL 62208    TROY IL 62294                            FRUITLAND MD 21826            57
                                                                                                    FAYETTEVILLE AR 72701




006807P001-1409A-265         006464P001-1409A-265                     006696P001-1409A-265          007190P001-1409A-265
JUSTYCE KING                 KAYLAH KING                              LAASIA M KING                 LIBERTY KING
16710 BLACKJACK OAK LN       2018 LOUETTA MIST DR                     1940 ORCHARD HOLLOW LN        700 WHIPPLE AVE NW
303                          SPRING TX 77388                          UNIT108                       CANTON OH 44708
WOODBRIDGE VA 22191                                                   RALEIGH NC 27603




006166P001-1409A-265         030588P001-1409A-265                     006090P001-1409A-265          009063P001-1409A-265
SAMANTHA KING                SAMANTHA-JO KING                         SERAFIN N KING                SHEMIAH D KING
19 SHERMAN ST                ADDRESS INTENTIONALLY OMITTED            315 SOUTH WATER LN            57 W PHILADELPHIA AVE
PITTSBURGH PA 15209                                                   NEW BRAUNFELS TX 78130        MORRISVILLE PA 19067




006576P001-1409A-265         030812P002-1409A-265                     030812S001-1409A-265          036243P001-1409A-265
DARIUS D KINGERY             KINGSBURG INDUSTRIES CO LTD              KINGSBURG INDUSTRIES CO LTD   KINGSBURG INDUSTRIES CO LTD
9445 E 39TH PL               19C UNITED CENTRE                        YUEN MOU LAW                  19C UNITED CENTRE 95 QUEENSWAY
TULSA OK 74145               95 QUEENSWAY ADMIRALTY                   10C UNITED CENTRE             ADMIRALTY
                             HONG KONG                                95 QUEENSWAY ADMIRALTY        HONG KONG
                             CHINA                                    HONG KONG
                                                                      CHINA


032171P001-1409A-265         036596P001-1409A-265                     006569P001-1409A-265          035760P001-1409A-265
KINGSTON BOARD OF HEALTH     KINGSTON VENTURES                        ALYSSA L KINKEAD              ALYSSA L KINKEAD
KINGSTON TOWN HOUSE          508 4TH STREET                           11900 NE 18TH ST              2850 SE COOKE RD
26 EVERGREEN ST              SAN FRANCISCO CA 94107                   APT AE 45                     MILWAUKIE OR 97267
KINGSTON MA 02364                                                     VANCOUVER WA 98684




008908P001-1409A-265         002444P001-1409A-265                     008366P001-1409A-265          000912P001-1409A-265
HAILEY KINNEY                KRISTINA KINNEY                          RILEY N KINNEY                KRISTA R KINSEY
PO BOX 84                    3046 SECANE PL                           1 ST MARY OF WOODS COLL       605 SOUTH NORTHLAKE BLVD
GEORGETOWN PA 15043          PHILADELPHIA PA 19154                    SAINT MARY OF THE IN 47876    APT 84
                                                                                                    ALTAMONTE SPRINGS FL 32701




009119P001-1409A-265         032172P002-1409A-265                     009279P001-1409A-265          008744P001-1409A-265
LILLIAN N KIRBY              KIRCHHOFF STUDIOS LLC                    ABBY KIRK                     JASMYNE S KIRKLAND
820 E MONTCLAIR ST           LESLIE KIRCHHOFF                         40 ST MICHAEL PKWY            2 KINGS CT
521                          600 DIMMICK DR                           APT 411                       FRAMINGHAM MA 01701
SPRINGFIELD MO 65807         LOS ANGELES CA 90065                     SAINT MICHAEL MN 55376
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007383P001-1409A-265             000539P001-1409A-265                             001941P001-1409A-265                           006831P001-1409A-265
ALLYSSA A KIRKPATRICK            ANGELA KIRKWOOD                                  KAYLA M KIRSCHNER                              AUTAYVIA D KIRTON
9681C FITZSIMMONS LOOP           1101 INDIANWOOD TRL                              2223 HARRISON AVE                              7526 GARNETT ST
FORT DRUM NY 13603               WALLED LAKE MI 48390                             MUSKEGON MI 49441                              APT 7
                                                                                                                                 OVERLAND PARK KS 66214




002560P001-1409A-265             002755P001-1409A-265                             035761P001-1409A-265                           031004P001-1409A-265
KARALYN M KISER                  MADISYN L KISER                                  MADISYN L KISER                                KISHU BABY
4353 HUNSBERGER DR               5816 W JEFFERSON COMMONS CIRCL                   908 WISCONSIN AVE                              10401 VENICE BLVD #362
UNIT C                           303                                              SAINT JOSEPH MI 49085                          LOS ANGELES CA 90034
WARRENTON VA 20187               KALAMAZOO MI 49009




006673P001-1409A-265             035762P001-1409A-265                             031005P001-1409A-265                           002331P001-1409A-265
ASHLEY KISS                      MILEENA C KISSOON                                KITSCH LLC                                     LISA R KITSMILLER
1560 PERSHING DR                 49 PLAZA AVE                                     JULIE MILAM                                    7500 SO ULSTER PL
APT C                            WATERBURY CT 06710                               137 NLARCHMONT BLVD                            CENTENNIAL CO 80112
SAN FRANCISCO CA 94129                                                            #641
                                                                                  LOS ANGELES CA 90004



009345P001-1409A-265             000983P001-1409A-265                             035763P001-1409A-265                           010631P001-1409A-265
MARY E KITSMILLER                RAMONA KIWAKYOU                                  RAMONA KIWAKYOU                                KKR CLO 10 LTD
7500 S ULSTER PL                 5572 CEDAR GDN CT                                5572 CEDAR GARDEN CT                           KKR
CENTENNIAL CO 80112              SAN JOSE CA 95123-1520                           SAN JOSE CA 95123-1520                         JEREMIAH LANE
                                                                                                                                 PO BOX 1093 QUEENSGATE HOUSE
                                                                                                                                 SOUTH CHURCH STREET GEORGE TOWN
                                                                                                                                 GRAND CAYMAN KY1-1102
                                                                                                                                 CAYMAN ISLANDS
010631S001-1409A-265             010632P001-1409A-265                             010632S001-1409A-265                           010633P001-1409A-265
KKR CLO 10 LTD                   KKR CLO 11 LTD                                   KKR CLO 11 LTD                                 KKR CLO 9 LTD
KKR                              KKR                                              KKR                                            KKR
JEREMIAH LANE                    JEREMIAH LANE                                    JEREMIAH LANE                                  JEREMIAH LANE
555 CALIFORNIA ST                PO BOX 1093 QUEENSGATE HOUSE                     555 CALIFORNIA ST                              PO BOX 1093 QUEENSGATE HOUSE
50TH FL                          SOUTH CHURCH STREET GEORGE TOWN                  50TH FL                                        SOUTH CHURCH STREET GEORGE TOWN
SAN FRANCISCO CA 94104           GRAND CAYMAN KY1-1102                            SAN FRANCISCO CA 94104                         GRAND CAYMAN KY1-1102
                                 CAYMAN ISLANDS                                                                                  CAYMAN ISLANDS
010633S001-1409A-265             010634P001-1409A-265                             010635P001-1409A-265                           010635S001-1409A-265
KKR CLO 9 LTD                    KKR FINANCIAL HOLDINGS III, LLC                  KKR GLOBAL CREDIT OPPORTUNITIES                KKR GLOBAL CREDIT OPPORTUNITIES
KKR                              KKR                                              MASTER FUND LP                                 MASTER FUND LP
JEREMIAH LANE                    JEREMIAH LANE                                    KKR                                            KKR
555 CALIFORNIA ST                555 CALIFORNIA ST                                JEREMIAH LANE                                  JEREMIAH LANE
50TH FL                          50TH FL                                          309 UGLAND HOUSE                               555 CALIFORNIA ST, 50TH FL
SAN FRANCISCO CA 94104           SAN FRANCISCO CA 94104                           GRAND CAYMAN KY1-1104                          SAN FRANCISCO CA 94104
                                                                                  CAYMAN ISLANDS
010636P001-1409A-265             010637P001-1409A-265                             010637S001-1409A-265                           010638P001-1409A-265
KKR INCOME OPPORTUNITIES FUND    KKR TACTICAL VALUE SPN LP DBA TACTICAL VALUE     KKR TACTICAL VALUE SPN LP DBA TACTICAL VALUE   KKR WOLVERINE I LTD
KKR                              SPNGLOBAL CREDIT OPPORTUNITIES LP                SPNGLOBAL CREDIT OPPORTUNITIES LP              KKR
JEREMIAH LANE                    KKR                                              KKR                                            JEREMIAH LANE
555 CALIFORNIA ST                JEREMIAH LANE                                    JEREMIAH LANE                                  PO BOX 1093 QUEENSGATE HOUSE
50TH FL                          309 UGLAND HOUSE                                 555 CALIFORNIA ST 50TH FL                      SOUTH CHURCH STREET GEORGE TOWN
SAN FRANCISCO CA 94104           GRAND CAYMAN KY1-1104                            SAN FRANCISCO CA 94104                         GRAND CAYMAN KY1-1102
                                 CAYMAN ISLANDS                                                                                  CAYMAN ISLANDS
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010638S001-1409A-265             036135P001-1409A-265                       035764P001-1409A-265         001366P001-1409A-265
KKR WOLVERINE I LTD              KLAUBER BROTHERS INC                       MACKENZIE A KLEIN            JESSICA A KLEMENT
KKR                              DONIGER BURROUGHS                          1026 GRANDVILLE AVE SW       1337 SE ROANOKE ST
JEREMIAH LANE                    STEPHEN DONIGER SCOTT BURROUGHS            1                            PORT SAINT LUCIE FL 34952
555 CALIFORNIA ST                603 ROSE AVE                               GRAND RAPIDS MI 49503
50TH FL                          VENICE CA 90291
SAN FRANCISCO CA 94104


030513P001-1409A-265             008323P001-1409A-265                       007155P001-1409A-265         006997P001-1409A-265
MEGAN KLEVORN                    CHIANNE KLINE                              ANNA K KLINGMAN              JADEN M KLOBERDANZ
ADDRESS INTENTIONALLY OMITTED    111 BRANCH AVE                             6275 QUAIL RIDGE EAST        300 HEIDIE LN
                                 PAINESVILLE OH 44077                       PLAINFIELD IN 46168          MILLIKEN CO 80543




009477P001-1409A-265             001990P001-1409A-265                       008547P001-1409A-265         006995P001-1409A-265
ALLISEN KLONCZ                   KORI L KLOSOWSKI                           ALANA KLOTH                  BRENNA SAGE KLUTTS
12420 278TH AVE NW               2929 DARMOUTH DR                           16642 MILLRIDGE LN           4716 N HARVARD AVE
ZIMMERMAN MN 55398               JANESVILLE WI 53548                        HOUSTON TX 77095             WARR ACRES OK 73122




030813P001-1409A-265             036244P001-1409A-265                       001695P001-1409A-265         004961P001-1409A-265
KNF JEWELRY CO LTD               KNF JEWELRY CO LTD                         ELEANOR G KNIGHT             FAUNA N KNIGHT
FUXING RD WALI INDUSTRY PAR      FUXING ROAD WALI INDUSTRY PARK             15 SOLDIERS RTE              19 DURHAM TER
CHENGYANG DISTRICT               CHENGYANG DISTRICT                         SPANISH FORT AL 36527-3009   EASTAMPTON NJ 08060
QINGDAO 266108 CN                QINGDAO 266108
CHINA                            CHINA



003838P001-1409A-265             001857P001-1409A-265                       006072P001-1409A-265         030730P001-1409A-265
JERYCE KNIGHT                    JOCELYN R KNIGHT                           TAYLOR M KNISELY             KNITWORK PRODUCTIONS II LLC
5445 NETHERLANDS AVE             1202 FOREST VIEW DR                        283 BEDFORD ST               DBA SAYWHAT
BRONX NY 10471                   AVENEL NJ 07001-2182                       CLAYSBURG PA 16625           CHRISTABELLE PERSAD
                                                                                                         1410 BROADWAY 24TH FL
                                                                                                         NEW YORK NY 10018



036245P001-1409A-265             001409P001-1409A-265                       032173P001-1409A-265         008167P001-1409A-265
KNITWORK PRODUCTIONS II LLC      ALEXANDRA KNOTT                            KNOWBE4, INC                 VONDREA R KNOWLES
DBA SAYWHAT                      2140 ETHAN WAY                             ADAM ALESSANDRINI            8518 WEST IRMA LN
1410 BROADWAY 24TH FLOOR         SACRAMENTO CA 95825                        33 N GDN AVE                 PEORIA AZ 85382
NEW YORK NY 10018                                                           STE 1200
                                                                            CLEARWATER FL 33755



035765P001-1409A-265             010556P001-1409A-265                       033012P001-1409A-265         033012S001-1409A-265
VONDREA R KNOWLES                KNOX COUNTY TRUSTEE                        KNOXVILLE UTILITIES BOARD    KNOXVILLE UTILITIES BOARD
8753 W RUNION DR                 PO BOX 70                                  PO BOX 59017                 445 SOUTH GAY ST
PEORIA AZ 85382                  KNOXVILLE TN 37901                         KNOXVILLE TN 37950           KNOXVILLE TN 37902
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036562P001-1409A-265               031006P002-1409A-265                   031006S001-1409A-265            036246P001-1409A-265
JENNIFER KNUREK                    KNY CLOTHING DBA YIPEE                 KNY CLOTHING DBA YIPEE          KNY CLOTHING DBA YIPEE
1200 FLORAL SPRING BLVD # 13308    LOVEE D SARENAS                        NAM OH                          1662 LONG BEACH AVE
PORT ORANGE FL 32129               633 W 5TH ST STE 4000                  1662 LONG BEACH AVE             LOS ANGELES CA 90021
                                   LOS ANGELES CA 90071                   LOS ANGELES CA 90021




002844P001-1409A-265               007885P001-1409A-265                   035432P001-1409A-265            001360P001-1409A-265
CHRISTINA KO                       HANA KO                                VALERIE KOA                     KELCIE KOCH
11390 LAMPSON AVE                  1251 HEULU ST                          122 MAIDENHAIR TER              2450 PEACH TREE DR
14                                 906                                    SUNNYVALE CA 94086              APT 7
GARDEN GROVE CA 92840              HONOLULU HI 96822                                                      FAIRFIELD CA 94533-4710




030441P001-1409A-265               036654P001-1409A-265                   034393P001-1409A-265            036741P001-1409A-265
KELCIE KOCH                        MELISSA KOCIALSKI                      KOEHLER CONSTRUCTION            ROZELLE KOEN
ADDRESS INTENTIONALLY OMITTED      2410 BERNARD ST                        PO BOX 112                      PO BOX 20703 CRYSTAL PK
                                   DENTON TX 76205                        WAPPINGERS FALLS NY 12590       BENONI 1515
                                                                                                          SOUTH AFRICA




009037P001-1409A-265               035766P001-1409A-265                   007880P001-1409A-265            004855P001-1409A-265
EMILY R KOERICK                    MEGHAN KOERICK                         KATRINA A KOFSKY                SUSMITA KOIRALA
17 HILLTOP LN                      35600 PULPIT ROCK RD                   970 ST FRANCIS BLVD             56 BELLVALE ST
RIDGE NY 11961                     ANTWERP NY 13608                       1057                            MALDEN MA 02148
                                                                          DALY CITY CA 94015




004120P001-1409A-265               033243P001-1409A-265                   003187P001-1409A-265            037056P001-1409A-265
MARINA KOLAREVIC                   EMILY KOLBERG                          CHEYENNE KOLESAR                AMANDA KOLESZAR
3900 NORMANDIE DR                  10652 BLOOMFIELD ST                    502 WEST RIVER RD               6513 S VIEW LN
BOISE ID 83705                     #1                                     #56                             GILBERT AZ 85298
                                   TOLUCA LAKE CA 91602                   HOOKSETT NH 03106




001067P001-1409A-265               001851P001-1409A-265                   030165P001-1409A-265            001207P001-1409A-265
AMANDA L KOLESZAR                  ZOE M KOLISCHAK                        LINDSEY KOLLER                  LINDSEY M KOLLER
6513 S VIEW LN                     133 QUEENSBURY RD                      ADDRESS INTENTIONALLY OMITTED   418 NORTH ROTARY DR
GILBERT AZ 85298-4887              WINSTON SALEM NC 27104-3537                                            HIGH POINT NC 27262




002986P001-1409A-265               001744P001-1409A-265                   001873P001-1409A-265            033671P001-1409A-265
SIERRA J KOLTAY                    SOPHIA T KOM                           MICHELE R KOMOROWSKI            KONA
569 CULVER PKWY                    720 BEDLOW DR                          54 PELLEGRINO RD                1157 S CROCKER ST #11
ROCHESTER NY 14609                 STOCKTON CA 95210-2704                 STONINGTON CT 06378-2128        LOS ANGELES CA 90021
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003889P001-1409A-265             005664P001-1409A-265                     030318P001-1409A-265            035767P001-1409A-265
NATASHA A KONDRATYUK             DEEDEE J KONG                            DH KONG                         KYLA E KONGVONGSAY
12408 NE 20TH ST                 925 N ARCHER DR                          ADDRESS INTENTIONALLY OMITTED   4550 S JADE AVE
VANCOUVER WA 98684               SIOUX FALLS SD 57103                                                     WICHITA KS 67216




005348P001-1409A-265             003380P001-1409A-265                     037115P001-1409A-265            002830P002-1409A-265
PEYTON M KONKOL                  AIYANA L KOON                            AIYANA L KOON                   KATI KOONS
613 E HOLUM ST                   434 S 19TH ST                            12150 N STATE RD 229            3506 GATEWAY LAKES DR
DEFOREST WI 53532                TERRE HAUTE IN 47807                     BATESVILLE IN 47006             GROVE CITY OH 45123-9374
                                                                          UNITED STATES




030436P001-1409A-265             003413P001-1409A-265                     030431P001-1409A-265            002115P001-1409A-265
KATI KOONS                       CARLYNNA M KOOS                          KATELYN KORDIC                  KATELYN N KORDIC
ADDRESS INTENTIONALLY OMITTED    2958 BRIDLEWOOD DR                       ADDRESS INTENTIONALLY OMITTED   930 SOUTH BLVD
                                 EL DORADO HILLS CA 95762                                                 EDMOND OK 73034




032174P001-1409A-265             002987P001-1409A-265                     005746P001-1409A-265            032175P001-1409A-265
KORN/FERRY INTERNATIONAL         BREANNA M KORNEYCHUK                     MICHAELA N KORSON               KOSMO DESIGN
NW 5064                          1220 BELLE MEADE WAY                     911 LYDIA ST                    KONSTANTINA BOUBOUKA
PO BOX 1450                      BURLESON TX 76028                        LOUISVILLE KY 40217             321 FELLOWS CT
MINNEAPOLIS MN 55485-5064                                                                                 WEYMOUTH TER
                                                                                                          LONDON E2 8LA
                                                                                                          UNITED KINGDOM


034531P001-1409A-265             009169P001-1409A-265                     004633P001-1409A-265            001197P001-1409A-265
KOSMO DESIGN                     ANNARIAH M KOSTERLISTZKY                 PAIGE A KOVALESKI               MEGAN E KOWALESKI
WEYMOUTH TER 321 FELLOWS CT      8624 EAST 67TH ST                        62 SKYLINE CIR                  513 OAKLAWN AVE
LONDON E2 8LA                    TULSA OK 74133                           SEWELL NJ 08080                 GREEN BAY WI 54304
UNITED KINGDOM




037149P001-1409A-265             032176P001-1409A-265                     030337P001-1409A-265            003866P001-1409A-265
KPMG                             KPMG LLP                                 ERIKA KRACHKOWSKI               ERIKA M KRACHKOWSKI
AMERICAN INTERNATIONAL PLZ       DEPT 0608                                ADDRESS INTENTIONALLY OMITTED   3000 S RANDOLPH ST
250 MUNOZ RIVERA AVE STE 1100    PO BOX 120608                                                            269
SAN JUAN PR 00918-1819           DALLAS TX 75312-0608                                                     ARLINGTON VA 22206




008127P001-1409A-265             030157P001-1409A-265                     004974P001-1409A-265            006022P001-1409A-265
JESSICA L KRAMER                 KAREN KRAMER                             KAREN M KRAMER                  OLIVIA N KRAMER
1643 BURRSVILLE RD               ADDRESS INTENTIONALLY OMITTED            1221 ARBOR COMMONS PL           5241 GARFIELD AVE
BRICK NJ 08724                                                            104                             PENNSAUKEN NJ 08109
                                                                          BRANDON FL 33511
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036578P001-1409A-265          030459P001-1409A-265                         000716P001-1409A-265              005561P001-1409A-265
JULIA KRASS                   KRISTIN KRAUSE                               KRISTIN M KRAUSE                  STEPHANIE L KRAUSERT
2549 WHARTON ST APT C         ADDRESS INTENTIONALLY OMITTED                1599 VAN ECK RD NE                3951 N FARWELL
PITTSBURGH PA 15217                                                        PALM BAY FL 32907-2356            4
                                                                                                             MILWAUKEE WI 53211




034740P001-1409A-265          029873P001-1409A-265                         000986P001-1409A-265              001667P001-1409A-265
KRAVCO                        KRAVCO (LANDLORD)                            CHRISTY M KRAWCZYK                PAIGE M KRAYNAK
HAMILTON MALL LLC             HAMILTON MALL LLC                            216 COUNTRYSIDE LN                519 NEWPORT DR
KRAVCO CO LLC                 KRAVCO CO LLC                                WILLIAMSVILLE NY 14221-1521       GREENSBURG PA 15601
375 E ELM ST                  LEGAL DEPARTMENT
STE 100                       375 E ELM ST STE 100
CONSHOHOCKEN PA 19428-1973    CONSHOHOCKEN PA 19428-1973


034769P001-1409A-265          029874P001-1409A-265                         029874S001-1409A-265              031366P001-1409A-265
KRE BROADWAY                  KRE BROADWAY (LANDLORD)                      KRE BROADWAY (LANDLORD)           KRE BROADWAY MALL OWNER
KRE BROADWAY OWNER LLC        KRE BROADWAY OWNER LLC                       KRE BROADWAY OWNER, LLC           LOCKBOX
100 NORTH SEPULVEDA BLVD      MANAGING PRINCIPAL                           BROADWAY MALL MANAGEMENT OFFICE   358 B BROADWAY MALL
STE 1925                      100 NORTH SEPULVEDA BLVD STE 1925            358 B NORTH BROADWAY              HICKSVILLE NY 11801
EL SEGUNDO CA 90245           EL SEGUNDO CA 90245                          HICKSVILLE NY 11801



034384P001-1409A-265          037745P001-1409A-265                         034362P001-1409A-265              035768P001-1409A-265
KRE BROADWAY OWNER LLC        KRE BROADWAY OWNER LLC                       KRE YTC VENTURE, LLC              HEATHER A KREJCI
LOCKBOX                       BALLARD SPAHR LLP                            9 WEST 57TH ST                    2000 WESTOWN PKWY
358 B BROADWAY MALL           DUSTIN P BRANCH                              STE 4200                          BUILDING 1 APT
HICKSVILLE NY 11801           2029 CENTURY PARK EAST STE 800               NEW YORK NY 10019                 WEST DES MOINES IA 50265
                              LOS ANGELES CA 90067-2909



004791P001-1409A-265          007246P001-1409A-265                         003174P001-1409A-265              003229P001-1409A-265
SKYLAR N KREJCI               ALYSSA KREMER                                DIANA M KREMINSKI                 ANNA N KRESS
4786 SW 165TH AVE RD          1220 VLG LN                                  2818 ANDOVER WAY                  34 PENNY LN
OCALA FL 34481                DULUTH MN 55812                              WOODSTOCK GA 30189                BINGHAMTON NY 13905




006405P001-1409A-265          000479P001-1409A-265                         010030P001-1409A-265              032178P001-1409A-265
KRINA V KRETSU                SARA B KREUGER                               KRISTEEN ROE, TAX AC              KRISTEN PULICE
10334 SE 230TH PL             1040 ACADEMY DR                              4151 COUNTY PK CT                 2117 ROCKEFELLER LN
KENT WA 98031                 CONWAY SC 29526                              BRYAN TX 77802                    REDONDO BEACH CA 90278




033672P001-1409A-265          032179P001-1409A-265                         005599P001-1409A-265              005765P001-1409A-265
KRISTI MALLEK                 KRISTINA CASAREZ                             KARA M KRISTOFF                   ABBYLYNNE J KROETSCH
2447 PINEHURST CT             KRISTINA                                     2 EXPEDITION CT                   11535 BLUERIDGE ST
DISCOVERY BAY CA 94505        1362 TOFTS DR                                DARDENNE PRAIRIE MO 63368         SCHOOLCRAFT MI 49087
                              SAN JOSE CA 95131
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004421P001-1409A-265       006344P001-1409A-265                002704P001-1409A-265              005016P001-1409A-265
WILLIAM KROHN              JESSIE KROL                         MIKAYLA KROLL                     LEANNA B KRUL
3104 PONTALUNA RD          8630 E 66TH PL                      477 OVERLOOK RD                   948 STAMLER DR
FRUITPORT MI 49415         C                                   VALLEY MILLS TX 76689             TOMS RIVER NJ 08753
                           TULSA OK 74133




009317P001-1409A-265       005887P001-1409A-265                032180P001-1409A-265              033673P001-1409A-265
KATHERINE H KRUPSKI        LORI A KRUSENSTJERNA                KRYSTAL R FLORES                  KRYSTIE DILLINGHAM
204 S SALISBURY ST         20913 54TH AVE W                    17066 IVY AVE                     OXFORD INTERNATIONAL
APT 1                      LYNNWOOD WA 98036                   FONTANA CA 92335                  4400 ALLIANCE GTWY FWY
WEST LAFAYETTE IN 47906                                                                          STE 1001
                                                                                                 FORT WORTH TX 76177



004069P001-1409A-265       002344P001-1409A-265                033674P001-1409A-265              007877P001-1409A-265
JANIE E KRZYS              ANGELIKA KSIAZEK                    KTR IE TWO LLC                    JANNETA KUBAY
110 JAIME LN               85 CAMP AVE                         KTR CAPITAL PARTNERS              3512 NE 17TH PL
FOLLANSBEE WV 26037        APT 2B                              FIVE TOWER BRIDGE                 RENTON WA 98056
                           STAMFORD CT 06907                   300 BARR HARBOR DR STE 150
                                                               CONSHOHOCKEN PA 19428



006918P001-1409A-265       006796P001-1409A-265                001881P001-1409A-265              006063P001-1409A-265
ISABELLA KUE               VANESSA KUE                         SARAH L KUKUCZKA                  NOELLE M KULAKOWSKI
7858 HIGHWAY 124 W         9438 NORTH AMORET AVE               7873 MELVIN AVE                   9977 SOUTH CANTERBURY RD
HOSCHTON GA 30548          KANSAS CITY MO 64154                RESEDA CA 91335-1608              PHILADELPHIA PA 19114




009448P001-1409A-265       001056P001-1409A-265                036774P001-1409A-265              000559P001-1409A-265
ALLISON J KULAS            DMITRY KULIKOVSKIY                  SUSAN KUMARI                      SNEHAN KUNDU
6 SHIRLEY TER              16825 SAINTSBURY GLEN               2802 LEE OAKS PL UNIT 204         8609 LANCOME DR
SOUTHWICK MA 01077-9749    APT 86                              FALLS CHURCH VA 22046             PLANO TX 75025
                           SAN DIEGO CA 92127




035769P001-1409A-265       003678P001-1409A-265                007059P001-1409A-265              009568P001-1409A-265
JOAQUINA KUROSAWA          ALYSON A KURTH                      AGUSTINA A KUTSUFLAKIS            ANITA KWOK
729 HAIKU RD               243 S PINE ST                       21 EAST 17TH ST                   215 CORDOVA ST
HAIKU HI 96708             FALL CREEK WI 54742                 LINDEN NJ 07036                   SAN FRANCISCO CA 94112




005216P001-1409A-265       032723P001-1409A-265                032787P001-1409A-265              009799P002-1409A-265
LILIAN KWOK                KY DEPT OF REVENUE                  KY DEPT OF REVENUE                KY- BOONE COUNTY CLERK
109 LEE RD                 KENTUCKY REVENUE CABINET            FRANKFORT KY 40620-0021           BOONE COUNTY FISCAL COURT
SCARSDALE NY 10583         FRANKFORT KY 40620-0021                                               ROBERT D NEACE
                                                                                                 PO BOX 83
                                                                                                 BURLINGTON KY 41005
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032181P001-1409A-265                030814P001-1409A-265                              036247P001-1409A-265                   037068P001-1409A-265
KYM PUFFENBARGER                    KYUNG KWANG COMMERCIAL CO LTD                     KYUNG KWANG COMMERCIAL CO LTD          KYUNG KWANG COMMERCIAL CO LTD
10391 N RANCHO SONORA               STEVE HONG                                        7F WOO CHANG PLZ 494-2 DAPSIPLI-DONG   DALE J PARK
TUCSON AZ 85737                     7F WOO CHANG PLZ 4942                             SEOUL 135-805                          3333 WILSHIRE BLVD 320
                                    DAPSIPLI-DONG                                     REPUBLIC OF KOREA                      LOS ANGELES CA 90010
                                    SEOUL 135-805
                                    KOREA


030731P001-1409A-265                030732P001-1409A-265                              034510P001-1409A-265                   010346P001-1409A-265
L AND M DBA MARAIS DESIGNS          L AND M DIRECT LLC                                LA CANTERA RETAIL LIMITED PARTNER      LA COUNTY AGRIC COMMWTS +
L AND M DIRECT LLC                  48 W37TH ST                                       THE SHOPPES @ LA CANTERA               MEAS
GINA FELICIANO                      18TH FL                                           SDS-12-2532                            LOS ANGELES COUNTY TREASURER
10 WEST 33RD ST                     NEW YORK NY 10018                                 PO BOX 86                              PO BOX 512399
STE 501                                                                               MINNEAPOLIS MN 55486-2532              LOS ANGELES CA 90051-0399
NEW YORK NY 10001


032183P001-1409A-265                033013P001-1409A-265                              033013S001-1409A-265                   031007P001-1409A-265
LA COUNTY AGRICULTURAL              LA DEPT OF WTR AND PWR                            LA DEPT OF WTR AND PWR                 LA GYPSY INC
COMMISSIONER/WEIGHTS AND MEASURE    PO BOX 30808                                      111 NORTH HOPE ST                      NICOLE
PO BOX 54949                        LOS ANGELES CA 90030                              LOS ANGELES CA 90012                   800 MCGARRY ST
LOS ANGELES CA 90054-5409                                                                                                    STE 5
                                                                                                                             LOS ANGELES CA 90021



036248P001-1409A-265                031008P001-1409A-265                              032182P001-1409A-265                   031367P001-1409A-265
LA GYPSY INC                        LA LOVIE                                          LA MODELS                              LA PLAZA MALL
800 MCGARRY ST STE 5                1250 N INDIAN HILL BLVD                           7700 SUNSET BLVD                       SIMON PROPERTY GROUP (TX) LP
LOS ANGELES CA 90021                CLAREMONT CA 91711                                LOS ANGELES CA 90046                   867925 RELIABLE PKWY
                                                                                                                             CHICAGO IL 60686-0079




001014P001-1409A-265                030733P003-1409A-265                              035770P001-1409A-265                   010280P002-1409A-265
IAN C LA RUE                        LA VIE NY LLC DBA BRANDY BLU                      RUE IAN C LA                           LA- CITY OF BATON ROUGE
17618 OSPREY RD                     RAPHY SALEM                                       17618 OSPREY RD                        DEPT OF FINANCE-REVENUE DIV
ARLINGTON WA 98223                  1912 HOMECREST AVE                                ARLINGTON WA 98223                     PO BOX 2590
                                    BROOKLYN NY 11229-2710                                                                   BATON ROUGE LA 70821-2590




010280S001-1409A-265                037924P001-1409A-265                              037924S001-1409A-265                   010404P002-1409A-265
LA- CITY OF BATON ROUGE             LA- CITY OF LAFAYETTE PROPERTY TAX                LA- CITY OF LAFAYETTE PROPERTY TAX     LA- CITY OF MONROE
STEPHANIE A BROWN                   PO BOX 4024C                                      LISA CHIASSON                          TAX AND REV DIVISION
222 ST LOUIS ST RM 404              LAFAYETTE LA 70502                                1875 W PINHOOK RD STE B                PO BOX 123
BATON ROUGE LA 70802                                                                  LAFAYETTE LA 70508                     MONROE LA 71210-0123




010404S001-1409A-265                037823P001-1409A-265                              010536P002-1409A-265                   010536S001-1409A-265
LA- CITY OF MONROE                  LA- COUNTY TREASURER AND TAX COLLECTOR            LA- LAFAYETTE PARISH TAX COLLECTOR     LA- LAFAYETTE PARISH TAX COLLECTOR
MARIER KEY                          PO BOX 54110                                      PO BOX 92590                           DYNISE JAMES
316 BREARD ST                       LOS ANGELES CA 90054-0110                         LAFAYETTE LA 70509                     1010 LAFAYETTE ST
MONROE LA 71201                                                                                                              LAFAYETTE LA 70501
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009884P004-1409A-265                          005775P001-1409A-265                             003371P001-1409A-265        008018P001-1409A-265
LA- SHERIFF AND EX-OFFICIO TAX COLLECTOR      ASHLEY N LABAGNARA                               ANGELA LABARAN              TABATHA R LABARCA
JEFFERSON PARISH SHERIFF AND TAX COLLECTOR    1051 N FIRST ST                                  18330 N 79TH AVE AP T2127   23 APACHE TER
SGT JENNIFER M WOODRUFF                       BANNING CA 92220                                 GLENDALE AZ 85308           FREDERICKSBURG VA 22401
1233 WESTBANK EXPWY B428
HARVEY LA 70058



008636P001-1409A-265                          004895P001-1409A-265                             032184P001-1409A-265        005959P001-1409A-265
MORGAN A LABBE                                RACHEL M LABEAU                                  LABELTRONIX                 CAPBRIELLA A LABRIE
8 PLATT AVE                                   6040 JEFFREY LN                                  2419 E WINSTON RD           84 COLONIAL RD
2                                             SYLVANIA OH 43560                                ANAHEIM CA 92806            HARRISVILLE RI 02830
MERIDEN CT 06451




033395P001-1409A-265                          032185P001-1409A-265                             032186P001-1409A-265        004505P001-1409A-265
SILKE CORINNE LABSON                          LABTEST INTERNATIONAL INC                        LACEY SHAW                  MONIQUE LACEY
SILKE LABSON                                  INTERTEK CONSUMER GOODS NORTH AMERICA            1844 TURK ST APT 3          347 S GLADSTONE AVE
409 BROADWAY #3F                              2107 SWIFT DR STE 200                            SAN FRANCISCO CA 94115      AURORA IL 60506
BROOKLYN NY 11211                             OAK BROOK IL 60523




003216P001-1409A-265                          033014P001-1409A-265                             033014S001-1409A-265        005724P001-1409A-265
CARMELLE LACHAPELLE                           LACLEDE GAS CO                                   LACLEDE GAS CO              HALEY A LACOE
91-35 195TH ST                                DRAWER 2                                         700 MARKET ST               3907 BRIACREST DR
APT A8                                        ST LOUIS MO 63171                                SAINT LOUIS MO 63101        NORMAN OK 73072
HOLLIS NY 11423




000486P001-1409A-265                          008768P001-1409A-265                             006368P001-1409A-265        036599P001-1409A-265
MEGAN LACOVARA                                GAIL LACROIX                                     ANGELICA LACSON             LACY WILLIAMS
8 FIRESIDE CT                                 44206 CONWAY ST                                  13922 STAR RUBY AVE         1102 NORTH SHELLBARK RD
NORWALK CT 06850                              SORRENTO LA 70778-3527                           EASTVALE CA 92880           MUNCIE IN 47304




006275P001-1409A-265                          005764P001-1409A-265                             036660P001-1409A-265        001138P001-1409A-265
SARAHI C LACY                                 LINDSAY P LADD                                   MICHELLE LADD               MICHELLE L LADD
1110 ST APT 75                                567 BRIDGETTE DR                                 20 RUSTIC ACRES DR          20 RUSTIC ACRES DR
75                                            CLARKSVILLE TN 37042                             WOLCOTT CT 06716            WOLCOTT CT 06716-1736
EL CAJON CA 92020




002964P001-1409A-265                          030477P001-1409A-265                             010325P001-1409A-265        010311P001-1409A-265
SKYLAR A LADD                                 LINDSAY LADER                                    LAFAYETTE CONSOLIDATED      LAFAYETTE FARP
20 RUSTIC ACRES DR                            ADDRESS INTENTIONALLY OMITTED                    GOVERNMENT                  LAFAYETTE FALSE ALARM
WOLCOTT CT 06716                                                                               PO BOX 4024                 REDUCTION PROGRAM
                                                                                               LAFAYETTE LA 70502          PO BOX 310563
                                                                                                                           DES MOINES IA 50331-0563
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035250P001-1409A-265             035250S001-1409A-265                     008348P001-1409A-265            029600P001-1409A-265
LAFAYETTE UTILITIES SYSTEM       LAFAYETTE UTILITIES SYSTEM               CARLY P LAFFERTY                LAKESHIA LAFLEUR
PO BOX 4024C                     LISA F CHIASSON                          490 OLD STAGE RD                1320 N HOUSTON AVE
LAFAYETTE LA 70502               1875 W PINHOOK RD STE B                  LEWISBERRY PA 17339             400A
                                 LAFAYETTE LA 70508                                                       HUMBLE TX 77338




009022P001-1409A-265             006211P001-1409A-265                     003325P001-1409A-265            008339P001-1409A-265
MARIAH LAFONT                    ANJELICA G LAGLIVA                       DIANA LAGUNAS                   MARIA L LAGUNAS
113 TURNMILL DR                  8000 WEST RIDGE DRIY                     8158 LOG HOLLOW DR              668 S COMANCHE DR
BROUSSARD LA 70518               BROADVIEW HEIGHTS OH 44147               HOUSTON TX 77040                5202
                                                                                                          ARVIN CA 93203




005573P001-1409A-265             000837P001-1409A-265                     003916P001-1409A-265            037614P002-1409A-265
KATRINA ANN P LAGUNERA           AMANDA C LAHART                          MADISON LAHN                    MADISON N LAHN
7555 MISSION ST                  6017 62ND CT EAST                        7248 MAHAFFEY DR                7248 MAHAFFEY DR
DALY CITY CA 94014               PALMETTO FL 34221                        NEW PORT RICHEY FL 34653        NEW PORT RICHEY FL 34653




000556P001-1409A-265             004647P001-1409A-265                     003740P001-1409A-265            033015P001-1409A-265
ANNA L LAINE                     JENNIFER LAINEZ                          JERLIN E LAINEZ                 LAKE COUNTY DEPT OF UTILITIES
4223 SOPHIAS WAY                 2918 STEELHEAD DR                        1166 CRENSHAW BLVD APT # 5      PO BOX 8005
CLEVES OH 45002                  HOUSTON TX 77045                         LOS ANGELES CA 90019            PAINESVILLE OH 44077




033015S001-1409A-265             033016P001-1409A-265                     033016S001-1409A-265            033971P002-1409A-265
LAKE COUNTY DEPT OF UTILITIES    LAKE COUNTY DEPT PUBLIC WORKS            LAKE COUNTY DEPT PUBLIC WORKS   LAKE COUNTY DEPT PUBLIC WORKS
05 MAIN ST                       PO BOX 547                               650 W WINCHESTER RD             KATHLEEN DALESSANDRO
PAINESVILLE OH 44077             BEDFORD PARK IL 60499                    LIBERTYVILLE IL 60048           650 W WINCHESTER RD
                                                                                                          LIBERTYVILLE IL 60048




009960P001-1409A-265             033675P001-1409A-265                     035269P001-1409A-265            034233P001-1409A-265
LAKE COUNTY TREASURER            LAKE WEST GROUP                          LAKEFOREST                      LAKEFOREST INVESTORS LLC
2293 N MAIN ST                   25 W PROSPECT AVE                        701 RUSSELL AVE SPACE #H219     281 TRESSER BLVD
BLDG A FL 2                      CLEVELAND OH 44115                       GAITHERSBURG MD 20877           6TH FL
CROWN POINT IN 46307                                                                                      STAMFORD CT 06901




033017P001-1409A-265             033017S001-1409A-265                     037491P001-1409A-265            031368P001-1409A-265
LAKELAND ELECTRIC                LAKELAND ELECTRIC                        LAKELAND SQUARE MALL LLC        LAKELAND SQUARE MALL, LLC
PO BOX 32006                     501 EAST LEMON ST                        BROOKFIELD PROPERTY REIT INC    GGP LIMITED PARTNERSHIP
LAKELAND FL 33802                LAKELAND FL 33801-5079                   JULIE M BOWDEN                  3800 US HWY 98 N
                                                                          350 N ORLEANS ST STE 300        RM 304
                                                                          CHICAGO IL 60654-1607           LAKELAND FL 33809
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034354P001-1409A-265         036957P001-1409A-265                               031369P001-1409A-265       031370P002-1409A-265
LAKELINE DEVELOPERS          LAKELINE DEVELOPERS                                LAKELINE MALL              LAKES MALL REALTY LLC
867895 RELIABLE PKWY         A TEXAS GENERAL PARTNERSHIP                        LAKELINE DEVELOPERS        NAMDAR REALTY GROUP LLC
CHICAGO IL 60686-0078        SIMON PROPERTY GROUP LP RONALD M TUCKER            867895 RELIABLE PKWY       JOSHUA S HACKMAN
                             225 WEST WASHINGTON ST                             CHICAGO IL 60686-0078      150 GREAT NECK RD STE 304
                             INDIANAPOLIS IN 46204                                                         GREAT NECK NY 11021



034143P001-1409A-265         030680P001-1409A-265                               002524P001-1409A-265       005966P001-1409A-265
LAKESIDE MALL                NIKKI LAKHANI                                      SUSANNA U LAL              SABA LALA
14000 LAKESIDE CIR           ADDRESS INTENTIONALLY OMITTED                      261 IRIS CT APT C          1505 RESERVE DR
STERLING HEIGHTS MI 48313                                                       STOCKTON CA 95210          CLINTON MS 39056




005964P001-1409A-265         003951P001-1409A-265                               005153P001-1409A-265       001947P001-1409A-265
SANA LALA                    MELISSA LAM                                        AMANDA J LAMACCHIA         KIMBERLY K LAMANTIA
1505 RESERVE DR              105 ENCLAVE CIR                                    16 PLEASANT ST             6123 W 81ST PL
CLINTON MS 39056             APT 4                                              ANDOVER MA 01810           BURBANK IL 60459
                             CAPE GIRARDEAU MO 63701




003150P001-1409A-265         007512P001-1409A-265                               005772P001-1409A-265       000749P001-1409A-265
DEBRIASHA D LAMAR            KHIRSTEN J LAMAR                                   SHARMAE LAMAR              JENNIFER A LAMB
836 DAWNING LN               1347 LAVIN LN DR                                   2494 EMERALD RIDGE LOOP    5521 ROSEHILL RD
JOHNS ISLAND SC 29455        NORTH FORT MYERS FL 33917                          TALLAHASSEE FL 32303       104
                                                                                                           SARASOTA FL 34233




009049P001-1409A-265         001656P001-1409A-265                               001099P001-1409A-265       003545P002-1409A-265
SAVANNAH S LAMB              PEYTON LAMBERT                                     SOPHIA LAMBERT             HAYLEY M LAMBERTSEN
203 CRESTLEIGH DR            12413 238TH ST                                     192 BEACH ST               720 BILYEU ST UNIT 105
WINCHESTER VA 22602          GREENWOOD NE 68366-2162                            BRIDGEPORT CT 06608-1903   RALEIGH NC 27606-2160




035771P001-1409A-265         008769P001-1409A-265                               035772P001-1409A-265       035773P001-1409A-265
HAYLEY M LAMBERTSEN          LAUREN A LAMBUS                                    LAUREN A LAMBUS            BRIDGET LAMPHERE
6340 CARVER OAKS DR          3003 WINDCHASE BLVD                                13099 WESTHEIMER RD        133 BAYBERRY DR
APT 1521                     APT 606                                            APT # 2506                 ROYERSFORD PA 19468
FAYETTEVILLE NC 28311        HOUSTON TX 77082                                   HOUSTON TX 77077




000730P001-1409A-265         033331P001-1409A-265                               010069P001-1409A-265       009103P001-1409A-265
BRIDGET L LAMPHERE           ANGELA LAN                                         LANCASTER COUNTY SHERIFF   CHELSEA A LANDIS
133 BAYBERRY DR              2362 22ND AVE                                      LINDA                      2351 ROBIN LN
ROYERSFORD PA 19468          #1                                                 575 SOUTH 10TH ST          MOUND MN 55364
                             SAN FRANCISCO CA 94116                             LINCOLN NE 68508
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005900P001-1409A-265         037286P001-1409A-265                      006422P001-1409A-265        001914P001-1409A-265
HALEY S LANDON               HALEY S LANDON                            COURTNEY LANDONSCOTT        ALLYSA LANDRUM
15937 W DODGE RD             6661 GILES RD APT 210                     8136 N EDGE O WOODS DR      1681 E FLINT ST
2C                           PAPILLION NE 68133                        BROWN DEER WI 53223         CHANDLER AZ 85225-5235
OMAHA NE 68118




037261P001-1409A-265         005575P001-1409A-265                      009526P001-1409A-265        036848P001-1409A-265
BRITTANY LANDRY              JAUNIECE N LANE                           JEQUASIA I LANE             JEREMIAH LANE
BRITTANY LANDRY              640 DR MARY MCLEOD BETHUNE BLV            2712 ADDISON MEADOWS LN     KKR
108 FRANK LN                 DAYTONA BEACH FL 32114                    INDIANAPOLIS IN 46203       555 CALIFORNIA ST 51ST FLOOR
BELLE ROSE LA 70341                                                                                SAN FRANCISCO CA 94104




005132P002-1409A-265         002421P001-1409A-265                      006304P001-1409A-265        037328P001-1409A-265
NIKIAH LANE                  NIKKI LANE                                ROSA V LANE                 ROSA VIOLA-RAMONA LANE
90 E MARSHALL RD             438 JOHNSTON BEND                         11 BALDWIN DR               ROSA LANE
LANSDOWNE PA 19050           ECRU MS 38841                             FREDRICKSBURG VA 22406      11 BALDWIN DR
                                                                                                   FREDERICKSBURG VA 22406




005243P001-1409A-265         004844P001-1409A-265                      008545P001-1409A-265        007850P001-1409A-265
CASSIE J LANG                DIANA LANG                                HAILEY P LANG               JACQUELINE LANG
3106 PALOMINO WAY            2724 COREY PL                             1211 N GARFIELD AVE         1780 1ST AVE
GRAND JUNCTION CO 81504      SAN RAMON CA 94583                        SAND SPRINGS OK 74063       16G
                                                                                                   NEW YORK NY 10128




006806P001-1409A-265         005242P001-1409A-265                      036381P001-1409A-265        001163P001-1409A-265
TRENADY G LANG               SARA K LANGE                              AMY LANGEWISCH              AMY M LANGEWISCH
708 HOYT HALL                1539 WATER OAK CT                         440 HILLCREST BLVD          440 HILLCREST BLVD
YPSILANTI MI 48197           CASTLE ROCK CO 80108                      BALLWIN MO 63021            BALLWIN MO 63021




001821P001-1409A-265         033490P001-1409A-265                      008836P001-1409A-265        037497P001-1409A-265
ELEANOR M LANGTHORNE         LANIER FIRE EXTINGUISHER                  ANNA E LANIER               LANSING MALL LLC
95 STEDMAN ST                SALES AND SVC                             132 CARRIE ELIZABETH CT     BROOKFIELD PROPERTY REIT INC
CHELMSFORD MA 01824          PO BOX 1082                               GASTONIA NC 28056           JULIE M BOWDEN
                             CUMMING GA 30028                                                      350 N ORLEANS ST STE 300
                                                                                                   CHICAGO IL 60654-1607



031371P001-1409A-265         002037P001-1409A-265                      002691P001-1409A-265        006887P001-1409A-265
LANSING MALL, LLC            JEANETTE C LAPID                          ELIZABETH LAPORTE           REYES M LARA
SDS-12-1396                  9306 COUGAR CT                            1098 DURANGO ST SE          413 S EASTLAND AVE
PO BOX 86                    MANASSAS PARK VA 20111                    PALM BAY FL 32909           PEORIA IL 61604
MINNEAPOLIS MN 55486-1396
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001544P001-1409A-265          037471P001-1409A-265                       008290P001-1409A-265              001218P001-1409A-265
SHERRI LARK                   SHERRI LARK                                JULIA LARKIN                      KIMBERLY A LAROSE
64 LINDSEY MARIE LN           SHERRI LARK                                73 EDINBORO RD                    368 CHANNING DR
MUNFORD TN 38058              64 LINDSEY MARIE LN                        QUINCY MA 02169                   CHAMBERSBURG PA 17201-3209
                              MUNFORD TN 38058




001509P001-1409A-265          008956P002-1409A-265                       002277P001-1409A-265              000638P001-1409A-265
JESSICA N LARSEN              ALEXIS L LARSON                            KIRSTEN S LARSON                  NICOLE LARSON
214 TOMS RIVER RD             820 E 9TH ST                               120 OAK TRL                       2510 WHITLEY RD
JACKSON NJ 08527-3715         DULUTH MN 55805-1403                       CHICKAMAUGA GA 30707              FORT MILL SC 29708




037319P001-1409A-265          000750P001-1409A-265                       034276P001-1409A-265              001843P001-1409A-265
NICOLE LARSON                 ROSANNE LARSON                             BARRY JAMES LARSON, JR            ANGELA M LARUSSA
NICOLE LARSON                 6120 N MCKINLEY RD                         408 V ST                          13302 CARRIAGE HEIGHTS CIR
2510 WHITLEY ROAD             FLUSHING MI 48433-1169                     SACRAMENTO CA 95818               POWAY CA 92064
FORT MILL SC 29708




034468P001-1409A-265          031372P001-1409A-265                       031373P001-1409A-265              003030P001-1409A-265
LAS VEGAS NORTH OUTLETS       LAS VEGAS NORTH PREMIUM OUTLETS            LAS VEGAS SOUTH PREMIUM OUTLETS   DESIREE G LASALLE
PO BOX 827724                 LAS VEGAS NORTH OUTLETS                    PREMIUM OUTLET PARTNERS LP        7938 N CRAWFORD AVE
PHILADELPHIA PA 19182-7724    PO BOX 827724                              PO BOX 827695                     SKOKIE IL 60076
                              PHILADELPHIA PA 19182-7724                 PHILADELPHIA PA 19182-7695




035774P001-1409A-265          001928P001-1409A-265                       007976P001-1409A-265              005948P001-1409A-265
DESIREE G LASALLE             ALYSSA M LASSIG                            MAYA LASSITER                     KERRI LATCHMAN
7561 N WAUKEGAN RD            8222 KINGSBROOK RD APT 328                 1120 OLDFIELD CIR                 203 WESTWOOD DR
NILES IL 60714                HOUSTON TX 77024                           VIRGINIA BEACH VA 23453           BRENTWOOD NY 11717




008717P001-1409A-265          001395P001-1409A-265                       005993P001-1409A-265              005197P001-1409A-265
JASMINE J LATIMER             MICHAEL P LATTA                            ANNAI LAU                         MADISON E LAUBER
800 SWADLEY RD # 400          211 PARABLE COVE                           417 NORTH F STEET                 400 NORTH E ST
400                           PFLUGERVILLE TX 78660                      IMPERIAL CA 92251                 MILFORD NE 68405
JOHNSON CITY TN 37601




009551P001-1409A-265          037801P001-1409A-265                       033676P001-1409A-265              033371P001-1409A-265
LANORA LAUGHLIN               LAURA CORNETT                              LAURA KIM                         LAURA OSTROW RECRUITMENT
2415 NIAGARA AVE              1123 MORRISETT AVE                         888 O'FARRELL ST                  LAURA OSTROW
NIAGARA FALLS NY 14305        JEFFERSON CITY TN 37760                    SAN FRANCISCO CA 94109            3221A MT ZION RD
                                                                                                           UPPERCO MD 21155
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032188P001-1409A-265                     036604P001-1409A-265                         032189P002-1409A-265           032191P001-1409A-265
LAURA ROCHA                              LAUREN LONCAR STUDIO                         LAUREN LONCAR STUDIO INC       LAUREN SHEPHERD
11909 W WASHINGTON BLV                   98 PIONEER ST #2                             LUAREN LONCAR                  835 CATHCART TER
#4                                       BROOKLYN NY 11231                            98 PIONEER ST                  ORLANDO FL 32803
LOS ANGELES CA 90066                                                                  BROOKLYN NY 11231




006301P001-1409A-265                     002864P001-1409A-265                         008913P001-1409A-265           001838P001-1409A-265
ALANNA L LAUZON                          ANNMARIE LAVELLE                             EMMA G LAVENDER                ALEX M LAVOTA
2331 TWIN LAKES DR                       78-09 64TH LN                                100 S LOCUST GROVE RD BLDG E   N53 W35741 HILLVIEW CT
APT 2B                                   GLENDALE NY 11385                            104                            OCONOMOWOC WI 53066
YPSILANTI MI 48197                                                                    MERIDIAN ID 83642




035243P001-1409A-265                     030864P001-1409A-265                         030865P001-1409A-265           032793P001-1409A-265
LAW FIRM OF RUSSELL R JOHNSON III PLC    LAW OFFICE OF EDWARD D MAGALLANES            LAW OFFICE OF LIN M STILLMAN   LAW OFFICEES OF JACK D EVANS
RUSSELL R JOHNSON III                    EDWARD D MAGALLANES                          LIN M STILLMAN                 1 N DALE MABRY HWY 805
JOHN M. CRAIG                            TRUST ACCOUNT                                LIN STILLMAN                   TAMPA FL 33609
2258 WHEATLANDS DR                       10540 WILSHIRE BLVD                          841 ROCKAWAY BEACH AVE
MANAKIN-SABOT VA 23103                   STE 417                                      PACIFICA CA 94044
                                         LOS ANGELES CA 90024


034287P001-1409A-265                     032794P001-1409A-265                         006544P002-1409A-265           003324P001-1409A-265
LAW OFFICES OF JOSEPH R MANNING          LAW OFFICES OF MARK J BEACHY                 KATELYN R LAW                  SAMANTHA D LAW
ATTORNEY-CLIENT TRUST ACCOUNT            14200 PK MEADOW DR                           302 9TH AVE                    5027 N TEE PEE LN
4667 MACARTHUR BLVD STE 150              310N                                         ASHFORD AL 36312-4510          LAS VEGAS NV 89149
NEWPORT BEACH CA 92660                   CHANTILLY VA 20151




000548P001-1409A-265                     006467P001-1409A-265                         008587P001-1409A-265           009182P001-1409A-265
KELSEY N LAWLER                          PATIENCE R LAWLER                            ALANA J LAWRENCE               BRIELLE N LAWRENCE
4562 TURNEY RD                           11423 LUCKY DAN DR                           9190 CASCADE FALLS DR          700 GREGORY ST
MADISON OH 44057                         NOBLESVILLE IN 46060                         BRISTOW VA 20136               303
                                                                                                                     NORMAL IL 61761




005265P001-1409A-265                     033542P001-1409A-265                         033495P001-1409A-265           009175P001-1409A-265
QUIANA LAWRENCEIVEY                      LAWSON ASSOCIATES INC                        LAWSON SOFTWARE                CHARIAH J LAWSON
218 EIGHTEENTH AVE                       MR BOB NORTH                                 PO BOX 2395                    21 WOODLAWN AVE
NEWARK NJ 07108                          ST PAUL HOTEL                                CAROL STREAM IL 60132-2395     BUFFALO NY 14209
                                         350 MARKET ST
                                         ST. PAUL MN 55102



036437P001-1409A-265                     004352P001-1409A-265                         009058P001-1409A-265           000691P001-1409A-265
CHINA LAWSON                             JANESHA LAWSON                               KASIA A LAWSON                 KENIESHA LAWSON
1943 LAUREL OAK DR                       115 LIZ RD                                   6647 KENTUCKY AVE              416 ROCKAWAY PKWY
FLINT MI 48507                           LAPINE AL 36046                              HAMMOND IN 46323               APT 17B
                                                                                                                     BROOKLYN NY 11212
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037303P001-1409A-265               000621P001-1409A-265                       009910P001-1409A-265              006935P001-1409A-265
KENIESHA LAWSON                    ALEXIS LAX                                 LAYBOURNE LAW                     KIRSTIN LAYMAN
KENIESHA                           355 CASWELL AVE                            159 S MAIN STE 900                7325 LAKERIDGE DR
LAWSON 416 ROCKAWAY PARKWAY        OAKLAND CA 94603                           AKRON OH 44308                    FORT WAYNE IN 46819
APT 17B
BROOKLYN NY 11212



009461P001-1409A-265               035775P001-1409A-265                       003558P001-1409A-265              010036P001-1409A-265
DANIELLE LAYNE                     DANIELLE LAYNE                             GABRIELLA M LAYNE                 LAYTON CITY BUSINESS LICENSES
3680 S HEARTHSTONE CT              5109 GOLDSBORO DR APT 20J                  4241 EAST 21ST AVE                437 N WASATCH DR
NEW PALESTINE IN 46163             HAMPTON VA 23605                           LAKE STATION IN 46405             LAYTON UT 84041




034117P001-1409A-265               032192P001-1409A-265                       002093P001-1409A-265              007256P001-1409A-265
LAZ PARKING                        LAZ PARKING LIMITED LLC                    JASMINE E LAZ                     DESTINY A LAZZARIMORGAN
11 PROVIDENCE PL                   3 COPLEY PL                                24315 SANDHILL TRAILS CT          2678 WOODMEADOW DR SE APT H
PROVIDENCE RI 02903                STE 3202                                   HOCKLEY TX 77447-7678             GRAND RAPIDS MI 49546
                                   BOSTON MA 02116




037352P001-1409A-265               037352S001-1409A-265                       034387P001-1409A-265              031009P001-1409A-265
LBCMT 2007-C3 DORSET STREET LLC    LBCMT 2007-C3 DORSET STREET LLC            LBCMT 2007C3 DORSET STREET, LLC   LE MEILLEUR INC
LNR PARTNERS LLC                   WEINBERG WHEELER HUDGINS ET AL             UNIVERSITY MALL                   JOANNE KIM
RANDALL ROSEN                      MATTHEW I KRAMER                           KEYPOINT PARTNERS LLC             3055 FRUITLAND AVE
1601 WASHINGTON AVE STE 700        2601 S BAYSHORE DR STE 1500                ONE BURLINGTON WOODS DR           VERNON CA 90058
MIAMI BEACH FL 33139               MIAMI FL 33133                             BURLINGTON MA 01803



036249P001-1409A-265               037221P001-1409A-265                       005079P001-1409A-265              006941P001-1409A-265
LE MEILLEUR INC                    LEAF CAPITAL FUNDING LLC                   SABRINDA LEANOS                   EMILY F LEAP
3055 FRUITLAND AVE                 LEGAL DEPT                                 4208 MARIA ST                     1311 3RD AVE
VERNON CA 90058                    LANA LEOR                                  MISSION TX 78573                  1ST FL
                                   2005 MARKET ST 14TH FL                                                       ALTOONA PA 16602
                                   PHILADELPHIA PA 19103



006999P001-1409A-265               004137P001-1409A-265                       034201P001-1409A-265              005912P001-1409A-265
AMANDA LEATHERMAN                  SHALIET C LEATHERS                         LEBCON ASSOCIATES LTD             CYNTHIA LECLAIRE
208 IRONMASTER DR                  1501 W CLUB BLVD APT A                     2030 HAMILTON PL BLVD             2036 LANEY DR
THURMONT MD 21788                  DURHAM NC 27705                            STE 500                           SANGER TX 76266
                                                                              CHATTANOOGA TN 37421-6000




005731P001-1409A-265               032193P001-1409A-265                       035118P001-1409A-265              003211P001-1409A-265
KEYRANICOLE LECOINTE               LECTRA USA INC                             LECTRA USA INC                    JENNIFER LEDESMA
10 COLD SPRING LN                  MICHAEL HEATHFIELD                         889 FRANKLIN RD SE                5498 BABB AVE
NEWBURGH NY 12550                  889 FRANKLIN RD                            MARIETTA GA 30067                 RIVERSIDE CA 92503
                                   STE 100
                                   MARIETTA GA 30067
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032194P001-1409A-265             010472P001-1409A-265                010289P001-1409A-265              032195P001-1409A-265
LEDYARD TOWN TAX COLLECTOR       LEE COUNTY TAX COLLECTOR            LEE COUNTY TAX COLLECTOR          LEE HECHT HARRISON LLC
TOWN OF LEDYARD CONNECTICUT      PO BOX 1609                         PO BOX 271                        ADECCO USA INC
OFFICE OF THE TAX COLLECTOR      FORT MYERS FL 33902-1609            TUPELO MS 38802                   LINDA MICHNO
PO BOX 150430                                                                                          DEPT CH# 10544
HARTFORD CT 06115-0430                                                                                 PALATINE IL 60055-0544



035119P001-1409A-265             037710P003-1409A-265                001589P001-1409A-265              005255P001-1409A-265
LEE HECHT HARRISON LLC           DESTINY LEE                         AMANDA LEE                        ANNIE LEE
2301 LUCIEN WAY STE 325          357 BRETCOE DR                      5285 PONDVIEW LN                  105 HALLIARD DR
MAITLAND FL 32751                GREEN BAY WI 54302-3323             BIG LAKE MN 55309-8268            EATONTOWN NJ 07724




006133P001-1409A-265             001267P001-1409A-265                005744P001-1409A-265              001833P001-1409A-265
BLOSSUM LEE                      BRIANNA LEE                         BRITTANY N LEE                    DANIELLE LEE
1126 HARMON CIR                  3344 SPRAGUE ST                     538 E 10TH ST                     8610 S MARYLAND PKWY
SUN PRAIRIE WI 53590             OMAHA NE 68111-2736                 LOVELAND CO 80537                 3109
                                                                                                       LAS VEGAS NV 89123




003219P001-1409A-265             003569P002-1409A-265                007705P001-1409A-265              035776P001-1409A-265
DELLA D LEE                      DESTINY LEE                         EBONY F LEE                       EBONY F LEE
660 SOUTH SPRING ST              12836 12TH ST APT 62                5110 OLD CHAPEL HILL RD           2903 BAINBRIDGE DR
D                                CHINO CA 91710-4347                 APT 415                           APT L
CAPE GIRARDEAU MO 63703                                              CHERRYVILLE NC 27707              DURHAM NC 27713




004658P001-1409A-265             002847P001-1409A-265                001278P001-1409A-265              001463P001-1409A-265
ELISSA J LEE                     EMANI S LEE                         GIA LEE                           HANNA LEE
4 MIDWOOD AVE                    4250 HOULDSWORTH DR                 540 N LOCUST ST                   8821 OHLAND AVE NE
EDISON NJ 08820                  CHARLOTTE NC 28213                  APPLETON WI 54914-2716            OTSEGO MN 55330




008590P001-1409A-265             037444P001-1409A-265                009306P001-1409A-265              002659P001-1409A-265
HANNAH O LEE                     HANNAH O LEE                        JENNY N LEE                       JESSICA HEERA LEE
510 N 38TH AVE                   HANNAH OLIVIA LEE                   7788 LA CORONA                    888 O'FARRELL ST
APT #13                          510 N 38TH AVE                      BUENA PARK CA 90620               APT E1202
HATTIESBURG MS 39401             APT 13                                                                SAN FRANCISCO CA 94109
                                 HATTIESBURG MS 39401



030395P001-1409A-265             006455P001-1409A-265                035777P001-1409A-265              004616P001-1409A-265
JESSICA HEERA LEE                JODIE LEE                           JODIE LEE                         KACEYROSE L LEE
ADDRESS INTENTIONALLY OMITTED    700 ELLINWOOD WAY                   3313 HIDDEN HILLS CT              1854 MIDFIELD AVE APT 6
                                 1911                                ANTIOCH CA 94531                  SAN JOSE CA 95122
                                 PLEASANT HILL CA 94523
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033458P001-1409A-265       000552P001-1409A-265                    002968P001-1409A-265           008047P001-1409A-265
KATHLEEN LEE               KATIE LEE                               LISA LEE                       MALLORY A LEE
825 N KINGS RD             2147 ARCADE ST                          1625 HAZEL ST N                4545 N 15ST
#2                         MAPLEWOOD MN 55109                      SAINT PAUL MN 55119            222
WEST HOLLYWOOD CA 90069                                                                           PHOENIX AZ 85014




006379P001-1409A-265       006468P001-1409A-265                    036132P001-1409A-265           008904P001-1409A-265
MARGARET M LEE             MARKELL J LEE                           MICHELLE LEE                   MYKIA D LEE
2515 HAWTHORN RD           4545 N 15TH ST                          THE LEGAL RIGHTS PROJECT       600 MOORE AVE
MARENGO IL 60152           APT 222                                 ANDREW R STILWELL ESQ          TONAWANDA NY 14223
                           PHOENIX AZ 85014                        8880 RIO SAN DIEGO DR
                                                                   8TH FLOOR
                                                                   SAN DIEGO CA 92108


006948P001-1409A-265       002749P001-1409A-265                    002146P001-1409A-265           003824P001-1409A-265
NICOLE LEE                 NICOLE S LEE                            SHANNA LEE                     SUN LEE
845 SE 142ND AVE           46 MILLBROOK DR                         91 PROSPECT ST                 959 GREENHILL RD
PORTLAND OR 97233          1                                       APT 19                         MILL VALLEY CA 94941
                           MIDDLETOWN NJ 07748                     EAST ORANGE NJ 07017




037053P001-1409A-265       003509P001-1409A-265                    005352P001-1409A-265           004369P001-1409A-265
TAMARA LEE                 TAMARA M LEE                            TAVIN B LEE                    ESTELLA M LEECOLON
2442 CHESTNUT RIDGE PL     2442 CHESTNUT RIDGE PL                  502 WYANDOT WOODS BLVD         1815 BELMONT AVE APT 83
VESTAVIA HILLS AL 35216    HOOVER AL 35216                         20 HOLLYTREE D                 AUGUSTA GA 30904
                                                                   MONROE OH 45050




009850P001-1409A-265       006121P001-1409A-265                    017723P001-1409A-265           035778P001-1409A-265
ALABAMA LEEDS              KYA E LEEN                              MEGAN LEEWASSON                YVETTE D LEFLORE
1040 PK DR                 13001 IRVING AVE                        1754 WOODBERRY TER             8715 PLUM CREEK CT
LEEDS AL 35094             BURNSVILLE MN 55337                     GREEN BAY WI 54313             4756 COUNTRY L
                                                                                                  FRANKLIN OH 45005




004959P001-1409A-265       032196P002-1409A-265                    036607P001-1409A-265           034108P001-1409A-265
ELIZABETH R LEFTHAND       LEGACY GROUP ENTERPRISES INC            LEGACY GROUP ENTERPRISES INC   LEGACY WOODWORKS WOODWORKS OF LO
708 S EUCLID AVE APT 1     LEGACYFMC & LEGACYCRS                   10 PINEHURST DR                10 PINEHURST DR
SIOUX FALLS SD 57104       RICHARD CODA                            BELLPORT NY 11713              BELLPORT NY 11713
                           10 PINEHURST DR
                           BELLPORT NY 11713



010445P001-1409A-265       008424P001-1409A-265                    005888P001-1409A-265           031010P002-1409A-265
LEGAL TAX SERVICE, INC     DESTINY J LEGARDY                       AUDREY A LEGEL                 LEGEND FOOTWEAR INC
PO BOX 10060               6556 OCTAVE AVE                         292 TWINBROOK DR               AKA WILD DIVA
PITTSBURG PA 15236-6060    LAS VEGAS NV 89139                      SHEPHERDSVILLE KY 40165        JACK TSAI
                                                                                                  19445 E WALNUT DR N
                                                                                                  CITY OF INDUSTRY CA 91789
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036250P001-1409A-265               006504P001-1409A-265                  031374P001-1409A-265            031375P001-1409A-265
LEGEND FOOTWEAR INC                ISIS J LEGGETT                        LEHIGH VALLEY MALL, LLC         LEHIGH VALLEY MALL-ELECTRIC
19445 E WALNUT DR N                7400 BAY RD                           LEHIGH VALLEY ASSOCIATES        7712-LEHIGH VALLEY ASSOCIATES
CITY OF INDUSTRY CA 91789          UNIVERSITY CENTER MI 48710            PO BOX 829446                   PO BOX 829428
                                                                         PHILADELPHIA PA 19182-9446      PHILADELPHIA PA 19182-9446




008638P001-1409A-265               008654P001-1409A-265                  007747P001-1409A-265            001841P002-1409A-265
KOURTNEI R LEHMAN                  AISLYNN B LEHOSKY                     MEG LEI                         KELSEY LEIB
6811 BIONDI TRL                    608 TORRANCE RD                       2079 LAKERIDGE CIR #101         876 ALLENBROOK AVE
FORT WORTH TX 76001                TORRANCE PA 15779                     CHULA VISTA CA 91913            O'FALLON IL 62269-7077




000524P001-1409A-265               032197P002-1409A-265                  032197S001-1409A-265            005195P001-1409A-265
TIFFANY G LEISTRA                  LEITZES AND CO                        LEITZES AND CO                  JACQUELINE S LEMAKOS
207 N 2ND                          CARY LEITZES                          MARGOLIN AND PIERCE             5457 51ST TER N
AUSTIN AR 72007                    407 BROOME ST STE 4A                  ERROL F MARGOLIN                SAINT PETERSBURG FL 33709
                                   NEW YORK NY 10013                     110 W 40TH ST STE 303
                                                                         NEW YORK NY 10018



007058P001-1409A-265               004827P001-1409A-265                  009606P001-1409A-265            008425P001-1409A-265
NICOLE M LEMAY                     KRISTEN K LEMIS                       ANGELA E LEMKE                  AVIV F LEMKE
1910 3RD ST N                      206 MIDLASS DR                        6108 WALMORE RD                 1189 NORFOLK DR NW
SAINT CLOUD MN 56303               1D                                    SANBORN NY 14132                ACWORTH GA 30102
                                   BALTIMORE MD 21220




032198P001-1409A-265               004291P001-1409A-265                  001688P001-1409A-265            002903P001-1409A-265
LEMON RIBBON                       JUSTINE A LEMON                       JESSICA LEMUS                   LAURA M LEMUS
EDWARD WEALE                       1242 VANDERBILT DR                    2828 NW 27TH ST                 101 ANDREA DR
STUDIO 7 FIRST FL                  ORMOND BEACH FL 32174                 OKLAHOMA CITY OK 73107-2107     VACAVILLE CA 95687
SIDDELEY HOUSE 50 CANBURY PK RD
KT KT2 6LX
UNITED KINGDOM


000807P001-1409A-265               006711P001-1409A-265                  001641P001-1409A-265            030409P001-1409A-265
ROSA LEMUS                         MACEY D LENARD                        JOCELYN LENGUA                  JOCELYN LENGUA
677 W MARKHAM ST                   479 DR DAVIS RD                       12033 BLACKHEATH CIR            ADDRESS INTENTIONALLY OMITTED
PERRIS CA 92571-9740               CALHOUN LA 71225                      ORLANDO FL 32837




003559P001-1409A-265               006440P001-1409A-265                  003633P001-1409A-265            008270P001-1409A-265
CASSIDY R LENHART                  BRIANNA L LENNON                      LUNDI LENNON                    MAIYA LENOIR
2936 EAST LAKE DR                  1102 JOSELSON AVE                     3182 DARLINGTON OAK DR          12041 CEEDARCREEK DR
NORMAN OK 73071                    BAY SHORE NY 11706                    DORAVILLE GA 30340              CINCINNATI OH 45240
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036251P001-1409A-265           005308P001-1409A-265                 002503P001-1409A-265             000595P001-1409A-265
LENOVATI INC DBA 3ENA          VIRGINIA F LENTZ                     ANA L LEON                       CAROLINA LEON
540 E JEFFERSON BLVD           5510 NEW YORK AVE                    11 N MCLEAN BLVD                 614 SOUTH ST
LOS ANGELES CA 90011           NASHVILLE TN 37209                   ELGIN IL 60123                   ELGIN IL 60123




001313P001-1409A-265           035779P001-1409A-265                 005072P001-1409A-265             037100P001-1409A-265
CAROLINA LEON                  CAROLINA LEON                        ESMERALDA LEON                   ESMERALDA LEON
PARQUE DEL RIO                 PARQUE DEL RIO                       10350 WEST MCDOWELL RD           10350 W MCDOWELL RD #3225
PA 9 PLZ TIN                   PA 9 PLAZA TIN                       3225                             AVONDALE AZ 85392
TRUJILLO ALTO PR 00976         TRUJILLO ALTO PR 00976               AVONDALE AZ 85392                UNITED STATES




035780P001-1409A-265           006586P001-1409A-265                 009293P001-1409A-265             003440P001-1409A-265
JAQUELINE LEON                 JESSICA K LEON                       MEGAN T LEON                     SARA LEON
142 4TH AVE SW                 657 LEON SAPP RD                     7245 DOC HOLIDAY DR              1706 W SUNSET BLVD
APARTMENT 5                    DOUGLAS GA 31533                     COLORADO SPRINGS CO 80923        222
PACIFIC WA 98047                                                                                     LOS ANGELES CA 90026




001652P001-1409A-265           005672P001-1409A-265                 004567P001-1409A-265             004560P002-1409A-265
SHADAY B LEON                  YULYDIA LEON                         LUCIANA LEONE                    MARIA G LEONSOTO
3400 WICKHAM AVE               407 SPARKAMAN RD                     126 N CURTIS PL                  4415 50TH ST
4                              PLANT CITY FL 33566                  TOMS RIVER NJ 08753              DORR MI 49323
BRONX NY 10469




033384P001-1409A-265           007393P001-1409A-265                 003475P001-1409A-265             029875P001-1409A-265
LEOPONA INC DBA AUDIOSOCKET    ALEXANDRA V LEPRE                    AMANDA K LERFALD                 LERNER ENTERPRISES (LANDLORD)
3518 FREMONT AVE N # 400       2133 HOLLY HILL RD                   1331 S ARLINGTON AVE             DULLES TOWN CENTER MALL LLC
SEATTLE WA 98103               MANCHESTER NJ 08759                  DULUTH MN 55811                  LEMER CORP
                                                                                                     LEGAL DEPARTMENT
                                                                                                     2000 TOWER OAKS BLVD EIGHTH FL
                                                                                                     ROCKVILLE MD 20852


032199P001-1409A-265           008441P001-1409A-265                 001706P001-1409A-265             009151P001-1409A-265
LESLIE HAMPTON                 KIARRA E LESLIE                      BETHANY E LESSARD                MADISON D LESSMANN
16736 SHANNON RD               3705 PROSPERITY CHURCH RD            6624 HEREFORD DR                 45-535 LULUKU RD #A93
LOS GATOS CA 95032             CHARLOTTE NC 28269                   LOS ANGELES CA 90022-4714        KANEOHE HI 96744




009308P001-1409A-265           005834P001-1409A-265                 005254P001-1409A-265             006429P001-1409A-265
ASHLEY A LESTER                BREANNA LESTER                       PATRICIA A LESTER                NARDYA LETT
16239 BILL CAMPBELL RD         112 PINEWOOD DR                      PO BOX 1382                      3930 LAWNWOOD DR
PRAIRIE GROVE AR 72753         GOLDSBORO NC 27534                   WINSLOW AZ 86047                 RICHMOND VA 23234
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003759P001-1409A-265            030608P001-1409A-265                      006792P001-1409A-265        032200P001-1409A-265
JESSE A LEUTHARDT               SHAUNA LEVALLEY                           ASHLEY LEVAN                LEVEL 10 LLC
60 CHICHESTER AVE               ADDRESS INTENTIONALLY OMITTED             60 MORTON ST                BRETT ELISCO
CENTER MORICHES NY 11934                                                  BRENTWOOD NY 11717          PO BOX 88496
                                                                                                      CHICAGO IL 60680-1496




034484P001-1409A-265            037910P001-1409A-265                      035120P001-1409A-265        005701P001-1409A-265
LEVEL 10 LLC                    LEVEL 10 LLC                              LEVER INC                   ZARIA C LEVER
PO BOX 88496                    MELTZER PURTILL AND STELLE LLC            155 5TH ST 6TH FL           15033 POND VLG DR
CHICAGO IL 60680-1496           SAMUEL G HARROD IV                        SAN FRANCISCO CA 94103      TAYLOR MI 48180
                                1515 E WOODFIELD RD 2ND FL
                                SCHAUMBURG IL 60173



032201P001-1409A-265            009386P001-1409A-265                      030866P001-1409A-265        002305P001-1409A-265
LEVER, INC                      KAYLA LEVERETT                            LEVINE + ASSOCIATES LLC     MARLENA LEWANDOWSKI
989 MARKET ST                   7875 WATERWAY DR NW                       PO BOX 100581               733 GARLAND ST
#500                            302                                       DENVER CO 80250             PHILADELPHIA PA 19124
SAN FRANCISCO CA 94103          CONCORD NC 28027




033517P001-1409A-265            003066P001-1409A-265                      003035P001-1409A-265        009608P001-1409A-265
LEWIS SYSTEM OF IOWA INC        ADORIA LEWIS                              ADWOA J LEWIS               ALLISON P LEWIS
PO BOX 8DTS                     14300 TANDEM BLVD APT 126                 1053 JACKSON ST             3702 ASPEN HEIGHTS PKWY
OMAHA NE 68101                  AUSTIN TX 78728                           BALDWIN NY 11510            103C
                                                                                                      COLUMBIA MO 65201




003841P002-1409A-265            001907P001-1409A-265                      001879P001-1409A-265        008588P001-1409A-265
AMANDA LEWIS                    ASHLEY LEWIS                              ASHLEY T LEWIS              BRIANNA LEWIS
517 28 1/2 RD APT 2C            17 ELMWOOD CT                             7531 BARN STONE DR          2010 KINTORE CIR APT 303
GRAND JUNCTION CO 81501-4914    WILLINGBORO NJ 08046-2273                 CHARLOTTE NC 28227-8724     ODENTON MD 21113




000572P001-1409A-265            003707P001-1409A-265                      000813P001-1409A-265        008982P001-1409A-265
BRITTANY K LEWIS                DAVIDA A LEWIS                            DERIC L LEWIS               EBONY J LEWIS
1701 N STATE ST                 4729 SADDLEHORN TRL                       801 S MAIN ST APT 33        1000 SW 62ND BLVD
JACKSON MS 39210                MIDDLEBURG FL 32068                       MT HOLLY NC 28120           2516
                                                                                                      GAINESVILLE FL 32607




006741P001-1409A-265            007878P001-1409A-265                      008005P001-1409A-265        009339P001-1409A-265
HAILEY M LEWIS                  HANNAH M LEWIS                            IJONIE N LEWIS              ISABELLE LEWIS
599 266 RD                      1050 RUE LIMOGES                          1909 16TH AVE EAST          330 S LUCAS ST APT 4
MILFORD NE 68405                SLIDELL LA 70458                          BRADENTON FL 34208          IOWA CITY IA 52240
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003466P001-1409A-265        007833P001-1409A-265                           006798P001-1409A-265         005928P001-1409A-265
JASMINE N LEWIS             JAYANA M LEWIS                                 KARISSA P LEWIS              LYEISHA R LEWIS
12855 SAND DOLLAR WAY       1702 EDGEFIELD DR                              786 NANCE RD                 19940 GLASTONBURY RD
BALTIMORE MD 21220          GARLAND TX 75040                               MADISON AL 35757             DETROIT MI 48219




001426P001-1409A-265        002061P001-1409A-265                           008439P001-1409A-265         003265P001-1409A-265
MICHELLE LEWIS              RAVEN R LEWIS                                  SHARICE LEWIS                SHELBY N LEWIS
34 MEADOW ST                11800 CITY PK CENTRAL LN                       3002 LEXINGTON FARMS DR      304 SHYRE LAKE LN
ANSONIA CT 06401-2521       624                                            ALPHARETTA GA 30004          MCDONOUGH GA 30253
                            HOUSTON TX 77047




004329P001-1409A-265        000654P002-1409A-265                           035781P001-1409A-265         003257P001-1409A-265
STEPHANIE LEWIS             TAJAIIRAIE R LEWIS                             TAYLOR LEWIS                 TIMBER T LEWIS
9252 SANTA MONICA WAY       2200 TOWER DR APT 21105                        744 CHURCH RD                379 HARCO DR
NEW PORT RICHEY FL 34655    GEORGETOWN TX 78626-7968                       HATFIELD PA 19440            COLUMBUS GA 31906




006215P001-1409A-265        036610P001-1409A-265                           032202P001-1409A-265         007115P001-1409A-265
UNIQEK L LEWIS              LEXMARK INTERNATIONAL INC                      LEXMARK INTERNATIONAL, INC   ANGELINA R LEYBA
1013 GAEL DR UNIT D         PO BOX 96612                                   RICH GRIFFIN                 229 ALCAZAR ST NE
JOLIET IL 60435             CHICAGO IL 60693-6612                          PO BOX 96612                 ALBUQUERQUE NM 87108
                                                                           CHICAGO IL 60693-6612




008736P001-1409A-265        005738P001-1409A-265                           033018P001-1409A-265         033018S001-1409A-265
JAMIE R LEYENDECKER         KIMBERLY LEZAMA                                LGE                          LGE
90 LIBERTYVILLE RD          8600 THACKERY ST                               A PPL CO                     220 WEST MAIN ST
WANTAGE NJ 07461            7304                                           PO BOX 9001960               LOUISVILLE KY 40202
                            DALLAS TX 75225                                LOUISVILLE KY 40290




036611P001-1409A-265        037945P002-1409A-265                           006406P001-1409A-265         036530P001-1409A-265
LGE                         SUNNY LI DAN                                   TING H LI                    HAIPEI LIANG
PO BOX 9001960              AKA HANIL JEWELRY CO LTD                       825 12TH ST #4               102 LANSDALE AVE UNIT L
LOUISVILLE KY 40290         BANK OF CHINA                                  GREELEY CO 80631             MILFORD CT 06460
                            QINGDAO CHENGYANG SUBBRANCH
                            198 ZHENGYANG RD CHENGYANG DISTRICT
                            QINGDAO, SHANDONG 266109
                            CHINA
007652P001-1409A-265        006353P001-1409A-265                           001980P001-1409A-265         035293P001-1409A-265
ASHLEY F LIAROMATIS         SABRINA R LIAS                                 SAVANNAH LIBASSI             LIBERTY CENTER
710 N SPRUCE ST             130 SUNRISE DR                                 2682 ALLOUEZ AVE             7100 FOUNDRY ROW SPACE # S-136
NIXA MO 65714               POTTSTOWN PA 19464                             GREEN BAY WI 54311           CINCINNATI OH 45069
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037310P001-1409A-265           037310 001-1409A-265                   032748P001-1409A-265           034381P001-1409A-265
LIBERTY CENTER HOLDINGS LLC    LIBERTY CENTER HOLDINGS LLC            LIBERTY CENTER LLC             LIBERTY CENTER LLC
7100 FOUNDRY ROW STE 204       Troutman Sanders LLP                   STEINER AND ASSOCIATES         SVC LLC
LIBERTY TOWNSHIP OH 45069      Richard E. Hagerty                     4016 TOWNSFAIR WAY # 201       L - 3745
                               401 9th Street, N.W.                   COLUMBUS OH 43219              COLUMBUS OH 43260-3745
                               Suite 1000
                               Washington DC 20004


032203P001-1409A-265           033019P001-1409A-265                   033019S001-1409A-265           037610P001-1409A-265
LIBERTY FABRICS                LIBERTY UTILITIES                      LIBERTY UTILITIES              LIBERTY UTILITIES
REGENT ST                      PO BOX 11738                           3 CORPORATE PL                 KAREN ANNE SINVILLE
LONDON W1B 5AH                 NEWARK NJ 07101                        PISCATAWAY NJ 08854            116 NORTH MAIN ST
UNITED KINGDOM                                                                                       CONCORD NH 03301




033020P001-1409A-265           009105P001-1409A-265                   008232P001-1409A-265           009338P001-1409A-265
LIBERTY UTILITIES NH           MARIA ABIGAIL LIBO                     LIA L LIBONATI                 ARIONNE LIBURD
75 REMITTANCE DR               7686 FLOUNDER BAY AVE                  1975 B VINEYARD ST             1300 ELMWOOD AVE STUDENT APART
STE 1032                       LAS VEGAS NV 89179                     WAILUKU HI 96793               337D
CHICAGO IL 60675                                                                                     BUFFALO NY 14222




000515P001-1409A-265           009031P001-1409A-265                   008800P001-1409A-265           033373P001-1409A-265
BROOKE M LICKENFELT            SAMANTHA M LICKO                       JAMIE L LIDSTER                LIFESTYLES INFOCUS (LSI)
138 GLENN AVE                  77 N BIRCH ST                          1017 S 4TH AVE                 LARRY LARSON
JEANNETTE PA 15644             GILBERT AZ 85233                       SIOUX FALLS SD 57105-0818      323 MALTA ST
                                                                                                     BROOKLYN NY 11207




005070P001-1409A-265           007108P001-1409A-265                   004776P001-1409A-265           002942P001-1409A-265
COURTNEY L LIGHT               HANALEI N LIGHT                        KAILEY M LIGHT                 JORDAN A LIGHTNER
150 INDIANA ST                 471 LILIHUA PL                         206 SCOTLAND RD PO BOX 143     101 SOUTH BURBANK DR
ALICIA AR 72410                WAILUKU HI 96793                       WINDHAM CT 06280               MONTGOMERY AL 36117




035782P001-1409A-265           008696P001-1409A-265                   001921P001-1409A-265           031011P001-1409A-265
JORDAN A LIGHTNER              GIANNA LIGON                           STACIA W LILE                  LILIES AND ROSES NY INC
5600 CARMICHAEL RD             2247 UNIVERSITY HILLS BLVD             520 YALE BLVD                  85-92 67TH AVE
APT 2208                       APT 202B                               SAINT CHARLES MO 63301         REGO PARK NY 11374
MONTGOMERY AL 36117            TOLEDO OH 43606




032204P001-1409A-265           006424P001-1409A-265                   008539P001-1409A-265           009656P001-1409A-265
LILJA KLEMPAN                  MALAYSIA J LILLY                       TAKESHI LILLY                  CHRISTINE B LIM
159 ALDER AVE                  229 SILVER EAGLE RD                    1599 SW 113TH AVE              5300 IRON HORSE PKWY APT 579
SAN ANSELMO CA 94960           SACRAMENTO CA 95838                    PVH 230-A                      DUBLIN CA 94568
                                                                      MIAMI FL 33174
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035417P001-1409A-265           005221P001-1409A-265                      034311P001-1409A-265                      007480P001-1409A-265
CHRISTINE B LIM                JUNINA LIM                                TARAH LIM                                 MELISA I LIMA
1420 DRIFTWOOD CIR             2619 E PLZ BLVD                           TARAH LIM                                 7624 CRESSWELL DR
FAIRFIELD CA 94534             208                                       648 ASHBURY ST                            ARLINGTON TX 76001
                               NATIONAL CITY CA 91950                    SAN FRANCISCO CA 94117




036778P001-1409A-265           001276P001-1409A-265                      008516P001-1409A-265                      030734P001-1409A-265
TAMARA LIMASA                  TAMARA J LIMASA                           JESSICA L LIMBACK                         LIMONATA
654 KAIEMI ST                  654 KAIEMI ST                             3023 E LEWIS DR                           REYNA ALFARO
KAILUA HI 96734-2015           KAILUA HI 96734-2015                      FLAGSTAFF AZ 86004                        1570 E 23RD ST
                                                                                                                   LOS ANGELES CA 90011




036252P001-1409A-265           008701P001-1409A-265                      009200P001-1409A-265                      002301P001-1409A-265
LIMONATA                       ANGELA LIN                                ODALIS A LINARES                          VALERIE L LINARES
1570 E 23RD ST                 43575 POPES CREEK SQ                      6819 PERRY PENNEY DR                      16219 CROOKED ARROW DR
LOS ANGELES CA 90011           LEESBURG VA 20176                         ANNANDALE VA 22003                        SUGAR LAND TX 77498




033021P001-1409A-265           033021S001-1409A-265                      037611P001-1409A-265                      031376P001-1409A-265
LINCOLN ELECTRIC SYSTEM        LINCOLN ELECTRIC SYSTEM                   LINCOLN PLAZA CENTER LP                   LINCOLN PLAZA CENTER, LP
PO BOX 2986                    1040 O ST                                 A DELAWARE LIMITED PARTNERSHIP            PO BOX 829424
OMAHA NE 68103                 LINCOLN NE 68508-3609                     SIMON PROPERTY GROUP LP RONALD M TUCKER   PHILADELPHIA PA 19182-9424
                                                                         225 WEST WASHINGTON ST
                                                                         INDIANAPOLIS IN 46204



031377P001-1409A-265           036885P001-1409A-265                      036885S001-1409A-265                      009100P001-1409A-265
LINCOLNWOOD TOWN CENTER LLC    LINCOLNWOOD TOWN CENTER LLC               LINCOLNWOOD TOWN CENTER LLC               MALLORY LINCOURT
PO BOX 809095                  AKA WASHINGTON PRIME GROUP INC            AKA WASHINGTON PRIME GROUP INC            1400 WASHINGTON AVE
CHICAGO IL 60680-9095          FROST BROWN TODD LLC                      STEPHEN E IFEDUBA                         ALBANY NY 12222
                               301 E FOURTH ST                           180 E BROAD ST
                               CINCINNATI OH 45202                       COLUMBUS OH 43215



010507P001-1409A-265           032696P001-1409A-265                      037866P002-1409A-265                      000958P001-1409A-265
LINDA KIZZIRE TREASURER        LINDA KIZZIRE TREASURER                   LINDA VICHITH                             TANYA LINDA
PO BOX 2961                    LINDA KIZZIRE                             5100 CLARENDON AVE                        3260 MARTIN AVE APT T
WICHITA KS 67201-2961          PO BOX 2961                               FORT SMITH AR 72904                       SAN DIEGO CA 92113
                               WICHITA KS 67201-2961




008189P001-1409A-265           003783P001-1409A-265                      007166P001-1409A-265                      003051P001-1409A-265
DANIELLE LINDEN                MELANIE LINDER                            KATELYNN B LINDLEY                        SARA R LINDNER
323 LANDER DR                  3192 LEXINGTON AVE                        1002 PINE ST                              4035 DONATELLO AVE
HENDERSON NV 89074             MOHEGAN LAKE NY 10547                     VAN BUREN AR 72956                        NORTH PORT FL 34286
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002726P001-1409A-265             008210P001-1409A-265                            009433P001-1409A-265            035783P001-1409A-265
ASHLEY LINDO                     LAKETHA R LINDSAY                               MORGAN J LINDSAY                TYASIA L LINDSAY
24 HILLCREST AVE                 359 ALLEN ST                                    5803 HEMLOCK CT                 845 FIELDHAVEN DR
APT 1A                           359 ALLEN STRE                                  LIBERTY TOWNSHIP OH 45044       CHARLOTTESVILLE VA 22903
STATEN ISLAND NY 10308           SPARTANBURG SC 29303




010683P001-1409A-265             004556P001-1409A-265                            030196P001-1409A-265            001219P001-1409A-265
AMBER N LINDSEY                  KAITLYN N LINDSLEY                              ALYSSIA K LINE                  KATHY LINEBERRY
1204 TELLURIDE CT                3508 NEWMAN RD                                  ADDRESS INTENTIONALLY OMITTED   1203 HERITAGE LINKS DR
BARTLETT IL 60103                307                                                                             WAKE FOREST NC 27587
                                 JOPLIN AR 64801




030435P001-1409A-265             036416P001-1409A-265                            003389P001-1409A-265            008887P001-1409A-265
KATHY LINEBERRY                  BRIA LINK                                       HAILEY E LINKLETTER             AUTUMN C LIPSCOMB
ADDRESS INTENTIONALLY OMITTED    1350 HARVEY MITCHELL PKWY S APT 1525            4 FURROW PL                     9550 E LINCOLN
                                 COLLEGE STATION TX 77840-6247                   MILLER PLACE NY 11764           709
                                                                                                                 WICHITA KS 67207




002368P001-1409A-265             008023P001-1409A-265                            000715P001-1409A-265            032205P001-1409A-265
KAYLA M LIPTROT                  ARTJONA LIREZA                                  TATYANA LIRTSMAN                LISA CHRISTINE RIBAR
2250 JEFFERSON DR SE             5 KINWALL PL                                    3980 DENVER DR                  LISA RIBAR
GRAND RAPIDS MI 49507            NOTTINGHAM MD 21236                             LA MESA CA 91941                1600 GRIFFITH PK BLVD
                                                                                                                 # 304
                                                                                                                 LOS ANGELES CA 90026



005951P001-1409A-265             006514P001-1409A-265                            036320P003-1409A-265            036320S001-1409A-265
HANNAH M LISKH                   JENIFER LISSETT                                 THE LITTLE DANE INC             THE LITTLE DANE INC
1274 5TH ST                      8400 SOUTH MARYLAND PKWY                        KARIN BERG WOOD                 PO BOX 3181
11-B                             2054                                            1706 AGADIR ST                  WALNUT CREEK CA 94598
WOODBURN OR 97071                LAS VEGAS NV 89123                              CONCORD CA 94518




031012P001-1409A-265             031013P001-1409A-265                            005927P001-1409A-265            004058P001-1409A-265
LITTLE MISS ZOE                  LITTLE UNICORN                                  COURTNEY A LITTLE               DREW N LITTLE
199 TECHNOLOGY                   TOD MARTIN                                      8720 DWIGHT BOYER RD            480 W BUSH ST
STE 110                          15 SOUTH MAIN                                   WATERVLIET MI 49098             SAGINAW MI 48604
IRVINE CA 92618                  STE 300
                                 LOGAN UT 84321



005361P001-1409A-265             007472P001-1409A-265                            002615P001-1409A-265            003514P001-1409A-265
JAYLENE N LITTLE                 WILLA L LITTLE                                  JANASIA D LITTLEJOHN            TADAIZA N LITTLEJOHN
6017 CURTIER DR UNIT A           2707B WELLINGTON DR                             12 SHENANDOAH BLVD              760 VIA MIRAMONTE
ALEXANDRIA VA 22310              B                                               CORAM NY 11727                  MESQUITE TX 75150
                                 CHAMPAIGN IL 61821
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002948P001-1409A-265             005643P001-1409A-265                             000883P001-1409A-265           033409P001-1409A-265
LOANA LITTLETON                  ANNIKA LIU                                       CRYSTAL M LIVAI                LIVEPERSON INC
11333 E WILSHIRE BLVD            18955 ASHFORD LN                                 3 HEIGHTS CT                   DANIEL MURPHY
SPENCER OK 73084                 BROOKFIELD WI 53045                              ABBOTTSTOWN PA 17301           475 TENTH AVE
                                                                                                                 5TH FLOOR
                                                                                                                 NEW YORK NY 10018



031378P001-1409A-265             036347P003-1409A-265                             036347S001-1409A-265           030778P001-1409A-265
LIVERMORE PREMIUM OUTLETS LLC    LIVINGSTON INTERNATIONAL INC                     LIVINGSTON INTERNATIONAL INC   LIVINGSTON INTERNATIONAL, INC
105 EISENHOWER PKWY              DAVID PORTER                                                                    SANDRALEA MACLEAN
ROSELAND NJ 07068                6725 AIRPORT RD STE 500                                                         PO BOX 920
                                 MISSISSAUGA ON L4V 1V2                                                          BUFFALO NY 14213




031379P001-1409A-265             000480P001-1409A-265                             005083P001-1409A-265           007695P001-1409A-265
LIVINGSTON MALL                  CORYNE LIVINGSTON                                DEVON K LIVINGSTON             DOROTHY LIVINGSTONVERNER
THE RETAIL PROPERTY TRUST        3120 B CHURCHILL AVE                             133 ACTON RD                   5626 GREY DOGWOOD CT
LIVINGSTON MALL VENTURE          ERLANGER KY 41018                                CHELMSFORD MA 01824            CHARLOTTE NC 28269
PO BOX 772838
CHICAGO IL 60677-2838



033677P001-1409A-265             032206P001-1409A-265                             036615P001-1409A-265           005670P001-1409A-265
LIZ CASELLA                      LIZ CASELLA LLC                                  LIZ CASELLA LLC                ANNABELLE M LIZANO
8605 LOS ANGELES ST              LIZ CASELLA LLC YORK DESIGN HOUSE LLC            THE COOPER DESIGN SPACE        441 SW 113TH AVE
STE 708                          KELLEY RYAN                                      860 S LOS ANGELES ST #708      PEMBROKE PINES FL 33025
LOS ANGELES CA 90014             THE COOPER DESIGN SPACE                          LOS ANGELES CA 90014
                                 860 S LOS ANGELES ST 708
                                 LOS ANGELES CA 90014


006208P001-1409A-265             000738P001-1409A-265                             002399P001-1409A-265           001386P002-1409A-265
NICOLE A LIZASO                  SOFRONIO S LLABAN                                MARIA LLANOS                   GUADALUPE V LLERENAS
28 FORGE CT                      14010 MARBELA ST                                 30 03 92ND ST                  8750 ORION AVE APT 219
JACKSON NJ 08527                 FONTANA CA 92336-3882                            EAST ELMHURST NY 11369         NORTH HILLS CA 91343




010603P001-1409A-265             006541P001-1409A-265                             036696P001-1409A-265           001209P001-1409A-265
LLOYD'S LONDON                   SHONDA LLOYD                                     PADA LO                        CHRISTINA LOADER
ONE LIME ST                      4162 CHICKASAW TRL                               3917 MARCOM ST                 603 PITTSBURGH AVE
LONDON EC3M 7HA                  DOUGLASVILLE GA 30135                            RALEIGH NC 27606               ERIE PA 16505
UNITED KINGDOM




009313P001-1409A-265             007922P001-1409A-265                             033255P001-1409A-265           009508P001-1409A-265
BIBIANA M LOAIZA                 ELLIYAH M LOCK                                   LOCKETT V MOGREET INC          DESTINEY N LOCKHART
9166 W ATLANTIC BLVD             8535 WEST APPLETON AVE                           1225 FRANKLIN AVE              301 CAMPUSVIEW DR
APT 1625                         MILWAUKEE WI 53225                               GARDEN CITY NY 11530           COLUMBIA MO 65201
CORAL SPRINGS FL 33071-5216
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033380P001-1409A-265              035121P001-1409A-265                              001289P001-1409A-265         007549P001-1409A-265
LOCOGRAM INC                      LOCOGRAM INC D B A HEYSTACK                       KIERSEN B LODES              GRAYSON A LOERA
HEYSTACK                          34 KINGMAN RD                                     1474 LOUMILEN DR             3409 OLD SPANISHTRAIL
NAVIN SHARMA                      AMHERST MA 01002                                  MUSKEGON MI 49445            SEGUIN TX 78155
34 KINGMAN RD
AMHERST MA 01002



030378P001-1409A-265              001085P001-1409A-265                              001865P001-1409A-265         008912P001-1409A-265
JASON LOFRESE                     JASON M LOFRESE                                   SAVANNAH M LOFTIS            AMBER LOFTY
ADDRESS INTENTIONALLY OMITTED     5921 CAMINITO CHIAPAS                             2169 CICOTTE AVE             1024 MIDDLEBELT RD
                                  SAN DIEGO CA 92108                                LINCOLN PARK MI 48146        GARDEN CITY MI 48135




035276P001-1409A-265              034153P002-1409A-265                              005849P001-1409A-265         002585P001-1409A-265
LOGAN VALLEY                      LOGAN VALLEY REALTY LLC                           ASHLEY N LOGAN               NICOLE LOGAN
ROUTE 220 AND GOODS LN SP# 416    NAMDAR REALTY GROUP                               3136 12TH AVE N              3805 THOMPSON ST
ALTOONA PA 16602                  JOSHUA S HACKMAN                                  ST PETERSBURG FL 33713       RICHMOND VA 23222
                                  150 GREAT NECK RD STE 304
                                  GREAT NECK NY 11201



035122P002-1409A-265              035123P001-1409A-265                              032207P001-1409A-265         034320P001-1409A-265
LOGISTYX TECHNOLOGIES LLC         LOGISTYX TECHNOLOGIES LLC SOFTWARE SVC            LOGISTYX TECHNOLOGIES, LLC   LOGISTYX TECHNOLOGIES, LLC
1701 GOLF RD STE 11100            75 REMITTANCE DR DEPT 6682                        NICK OLSEN                   75 REMITTANCE DR
ROLLING MEADOWS IL 60008          CHICAGO IL 60675-6682                             75 REMITTANCE DR             DEPT 6682
                                                                                    DEPT 6682                    CHICAGO IL 60675-6682
                                                                                    CHICAGO IL 60675-6682



035124P002-1409A-265              036878P001-1409A-265                              032208P001-1409A-265         009217P001-1409A-265
LOGMEIN USA INC                   LOGMEIN USA INC                                   LOGMEIN USA, INC             LATRIECE Y LOGSDON
LESLIE PEARLSON                   333 SUMMER ST                                     LOGMEIN INC                  5601 WILLOW CLIFF RD
333 SUMMER ST                     BOSTON MA 02210                                   LILY LAM                     483
BOSTON MA 02210                                                                     320 SUMMER ST STE 100        OKLAHOMA CITY OK 73122
                                                                                    BOSTON MA 02210



009111P001-1409A-265              009111S001-1409A-265                              032209P001-1409A-265         034306P001-1409A-265
AMONI LOISEAU                     AMONI LOISEAU                                     LOLA CREATIVE AGENCY         LOLA CREATIVE AGENCY
2312 WILLIAM MAXWELL LN APT       428 STONEHENGE CIR                                KATIE PATTERSON              6267 DOYLE ST
SPRINGFIELD IL 62703              ROCKLEDGE FL 32955                                6267 DOYLE ST                EMERYVILLE CA 94608
                                                                                    EMERYVILLE CA 94608




031014P001-1409A-265              036253P001-1409A-265                              003156P001-1409A-265         004481P001-1409A-265
LOLLI 37 DESIGNS INC              LOLLI 37 DESIGNS INC                              BRITTNEY LOMAX               SYDNEY L LOMBARDO
ELEANOR                           101A-1147 BLACKSMITH PL                           4134ELBRIDGE ST              3701 MARBLE RIDGE LN
101A-1147 BLACKSMITH PL           RICHMOND BC V7A 4T7                               PHILADELPHIA PA 19135        MASON OH 45040
RICHMOND BC V7A 4T7               CANADA
CANADA
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036819P001-1409A-265        004054P001-1409A-265                     010329P001-1409A-265          032697P001-1409A-265
VICTORIA A LOMBARDO         KAILEY N LOMELINO                        LONG HILL FIRE DISTRICT TAX   LONG HILL FIRE DISTRICT TAX CO
1417 PEARL ST               416 COUGAR LAKE RD                       PO BOX 4110                   PO BOX 4110
NOKOMIS FL 34275-3752       1D                                       WOBURN MA 01888-4110          WOBURN MA 01888-4110
                            EDWARDSVILLE IL 62025




006177P001-1409A-265        001081P001-1409A-265                     006949P001-1409A-265          005144P002-1409A-265
AURIANNA LONG               CHENELLE S LONG                          CIERRA LONG                   EMELIA K LONG
26 CAYUGA RD                9 EDGAR ST                               113 PINCKNEY DR               821 E GRANDVIEW BLVD
SEA RANCH LAKES FL 33308    EAST ORANGE NJ 07018                     COLUMBIA SC 29209             APT 302
                                                                                                   ERIE PA 16504




035784P001-1409A-265        000675P001-1409A-265                     007753P001-1409A-265          004110P001-1409A-265
EMELIA K LONG               ISABELLA R LONG                          KELLY LONG                    KELSEA LONG
827 EAST GRANDVIEW BLVD     2255 KENTWOOD DR                         6332 SHIRLEY POND RD          1140 WALNUT AVE
APT 302                     RIVERSIDE CA 92507                       HARRISON TN 37341             APT 14
ERIE PA 16504                                                                                      GRAND JUNCTION CO 81501




006462P001-1409A-265        030549P001-1409A-265                     005249P001-1409A-265          001000P001-1409A-265
KIANNA L LONG               PAIGE LONG                               PAIGE N LONG                  TARA L LONG
485 MCDOWELL AVE            ADDRESS INTENTIONALLY OMITTED            6177 STATE HIGHWAY 22         3271 SYLVAN HEIGHTS DR
HAGERSTOWN MD 21740                                                  HILLSBORO TX 76645            HOLLIDAYSBURG PA 16648-2817




037668P001-1409A-265        000696P001-1409A-265                     035785P001-1409A-265          009682P001-1409A-265
TARA L LONG                 CASSANDRA J LONGORIA                     TIARRA L LONGUEMIRE           ABBY LONNE
MICHAEL B COHEN ESQUIRE     355 CYPRESS CREEK RD APT#1903            6300 WEST MICHIGAN AVE        607 S UGSTAD RD
521 SOUTH LOGAN BLVD        1903                                     APT G1                        PROCTOR MN 55810
ALTOONA PA 16602            CEDAR PARK TX 78613                      LANSING MI 48917




033678P001-1409A-265        033510P001-1409A-265                     036617P001-1409A-265          036618P001-1409A-265
LONNIE TAM                  LOOMIS                                   LOOMIS AND FARGO AND CO       LOOMIS FARGO AND CO
2101 SHORELINE DR           PO BOX 81011                             DEPT AT 40170                 PO BOX 1300
#431                        WOBURN MA 01813-1011                     ATLANTA GA 31192-0170         HONOLULU HI 96807-1300
ALAMEDA CA 94501




032210P001-1409A-265        031015P001-1409A-265                     006707P001-1409A-265          004593P001-1409A-265
LOOMIS,FARGO AND CO         LOOSELEAF EYEWEAR                        EDITH Y LOPEZ LOPEZ           NAIDH F LOPEZ RAMIREZ
DEPT 0757                   389 FIFTH AVE                            157 FALLBROOK AVE SPC 18      30 CEDAR DR
PO BOX 120001               STE 605                                  ARVIN CA 93203                STERLING VA 20164
DALLAS TX 75312-0757        NEW YORK NY 10016
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037702P002-1409A-265         036364P001-1409A-265                     005520P001-1409A-265            003813P001-1409A-265
ALMA G LOPEZ                 ALEJANDRA LOPEZ                          ALEXANDRIA R LOPEZ              ALMA LOPEZ
1021 E ELMA ST               2639 N SPRINGFIELD AVE 1ST               2530 SKYVIEW AVE                1520 ATOKAD DR TRLR 37
ONTARIO CA 91764             CHICAGO IL 60647-1030                    FEASTERVILLE PA 19053           SOUTH SIOUX CITY NE 68776




000848P001-1409A-265         004298P001-1409A-265                     004762P001-1409A-265            007311P001-1409A-265
ALMA G LOPEZ                 ANTERA I LOPEZ                           APRIL LOPEZ                     ASHLY LOPEZ
1021 E ELMA                  250 GERBER DAIRY RD                      5033 TRABUCO CANYON DR          2852 MARSH ST
ONTARIO CA 91764             WINTER HAVEN FL 33880                    BAKERSFIELD CA 93307            LOS ANGELES CA 90039




001753P001-1409A-265         008062P001-1409A-265                     003546P001-1409A-265            004485P001-1409A-265
ATZIRI M LOPEZ               BIANCA M LOPEZ                           BRIANA M LOPEZ                  CHELSI LOPEZ
4161 PERLITA AVE             25769 BASIL CT                           7605 E WINTERBERRY ST           861A WALLEN ST
APT B                        MORENO VALLEY CA 92553                   WICHITA KS 67226                SAN FRANCISCO CA 94129
LOS ANGELES CA 90039-1337




006641P001-1409A-265         006451P001-1409A-265                     004247P001-1409A-265            002471P001-1409A-265
CIARA N LOPEZ                CRYSTAL A LOPEZ                          DALENA A LOPEZ                  DALIA LOPEZ
1213 TEMPLE DR               2854 E FRONTERA ST                       7504 WINDCREST DR               305 FIELDSIDE DR
PACHECO CA 94553             C                                        EL PASO TX 79912                GARLAND TX 75043
                             ANAHEIM CA 92806




035786P001-1409A-265         005571P001-1409A-265                     006944P001-1409A-265            009331P001-1409A-265
DENISSE F LOPEZ              DESIREE M LOPEZ                          DOROTHY LOPEZ                   FABIOLA A LOPEZ
7501 WOODSIDE LN             PARQUE VICTORIA                          560 PROSPECT ST                 3998 NESTOR LN NE
22                           207                                      212                             SALEM OR 97305
LORTON VA 22079              SAN JUAN PR 00915                        PAWTUCKET RI 02860




006660P001-1409A-265         002367P001-1409A-265                     037026P001-1409A-265            006018P001-1409A-265
GABRIELA M LOPEZ             ITZEL LOPEZ                              ITZEL LOPEZ                     JACKELYN E LOPEZ
1516 W 30TH ST               5539 HARVESTHILL RD APT2121              5539 HARVEST HILL RD APT 2121   134 6TH ST
LOS ANGELES CA 90007         DALLAS TX 75230                          DALLAS TX 75230                 2
                                                                      UNITED STATES                   PELHAM NY 10803




001225P001-1409A-265         030376P001-1409A-265                     002686P001-1409A-265            037296P001-1409A-265
JASMIR LOPEZ                 JASMIR LOPEZ                             JENNIFER LOPEZ                  JESSICA LOPEZ
202 W ROOSEVELT AVE          ADDRESS INTENTIONALLY OMITTED            8110 E SPEEDWAY BLVD            JESSICA LOPEZ
UNIT 116C                                                             APT 9112                        109 EASTWOOD CT
PHOENIX AZ 85003                                                      TUCSON AZ 85710                 SAN JOSE CA 95116
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006339P001-1409A-265         007998P001-1409A-265                 005659P001-1409A-265             003903P001-1409A-265
JESSICA H LOPEZ              JOSET E LOPEZ                        KAREN A LOPEZ                    KAREN E LOPEZ
109 EASTWOOD CT              9632 VLY MILLS LN                    311 W ACACIA ST                  126 BRUNO AVE
SAN JOSE CA 95116            DALLAS TX 75227                      COLTON CA 92324                  PITTSBURG CA 94565




002842P001-1409A-265         006886P001-1409A-265                 003711P001-1409A-265             035787P001-1409A-265
KAROLINA LOPEZ               KRYSTAL N LOPEZ                      LETICIA E LOPEZ                  LOPEZ EDITH Y LOPEZ
18226 AFTON HOLLOW LN        4311 SANTA ANITA LN                  186 JAMES DR                     157 FALLBROOK AVE SPC 18
RICHMOND TX 77407            PASADENA TX 77503                    MERCEDES TX 78570                ARVIN CA 93203




005020P001-1409A-265         002018P001-1409A-265                 001348P001-1409A-265             037109P001-1409A-265
LUIS LOPEZ                   MAIRA C LOPEZ                        MARICRUZ A LOPEZ                 MARIELA VILLADA LOPEZ
13 05 HANCOCK ST             528 RYE ST                           24336 FM 508                     81351 AVENUE 46 SPC#16
2                            WOODBURN OR 97071-5566               HARLINGEN TX 78550-1660          INDIO CA 92201
WORCESTER MA 01610




003130P001-1409A-265         006205P001-1409A-265                 008375P001-1409A-265             035788P001-1409A-265
MARILYN LOPEZ                NATALIA V LOPEZ                      NATALIE LOPEZ                    RAMIREZ NAIDH F LOPEZ
152 SOUTH AVE 58             25616 S 194TH ST                     11581 BUSH LN                    30 CEDAR DR
APT #10                      QUEEN CREEK AZ 85142                 FORNEY TX 75126                  STERLING VA 20164
LOS ANGELES CA 90042




002886P002-1409A-265         001666P001-1409A-265                 003882P002-1409A-265             008283P001-1409A-265
SAMANTHA J LOPEZ             TATIANA LOPEZ                        TATIANA M LOPEZ                  TELXY M LOPEZ
844 S DUFF AVE               430 E 68TH ST                        3804 SUMTER DR                   5 LINLEW DR
WEST COVINA CA 91790-4174    LOS ANGELES CA 90003-1909            BAKERSFIELD CA 93304-6748        9
                                                                                                   DERRY NH 03038




001076P001-1409A-265         001472P001-1409A-265                 001468P001-1409A-265             007568P001-1409A-265
TIARA A LOPEZ                VICTORIA LOPEZ                       YVETTE LOPEZ                     BRENDA I LOPEZGONZALEZ
72 TRAVER CIR                1244 DENNERY RD                      1019 BAYSIDE DR                  1712 KENNETH ST
ROCHESTER NY 14609           107                                  PALATINE IL 60074                MODESTO CA 95351
                             SAN DIEGO CA 92154-6441




004433P001-1409A-265         008957P001-1409A-265                 005715P001-1409A-265             031729P001-1409A-265
LILLIANA E LOPEZMARIN        KRISTINE LOPEZSILVAR                 NICOLE M LOQUET                  ALEXANDRA LORD
1702 E EUCLID AVE            7424 E 146TH ST                      975 S SPORTS FAN DR              745 HANSELL ST SE
PHOENIX AZ 85042             LOT #19                              APT 202                          APT 227
                             NOBLESVILLE IN 46062                 FAYETTEVILLE AR 72701            ATLANTA GA 30312
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030451P001-1409A-265             001026P001-1409A-265                               007926P001-1409A-265           001428P001-1409A-265
KIM LORENZ                       KIM E LORENZ                                       OLIVIA V LORENZANA             SYDEJHA E LORRIUS
ADDRESS INTENTIONALLY OMITTED    75 SOUTH MAIN ST                                   1285 EAST 7TH ST               115 WOODLAND AVE
                                 413                                                RENO NV 89512                  YONKERS NY 10703
                                 ATTLEBORO MA 02703




037070P003-1409A-265             010540P001-1409A-265                               032211P001-1409A-265           032788P001-1409A-265
LOS ANGELES COUNTY               LOS ANGELES COUNTY TAXCOLLECTOR                    LOS ANGELES COUNTY TREASURER   LOS ANGELES SUPERIOR COURT
TREASURER AND TAX COLLECTOR      PO BOX 54888                                       PO BOX 54949                   1945 S HILL ST
LENORE BENOIT/OSCAR ESTRADA      LOS ANGELES CA 90054-0888                          LOS ANGELES CA 90054-5409      LOS ANGELES CA 90007
PO BOX 54110
LOS ANGELES CA 90054-0110



004723P001-1409A-265             002906P001-1409A-265                               007787P002-1409A-265           010521P001-1409A-265
CRISTAL P LOSOYA                 SONYA T LOTOCKY                                    MEREJILDA M LOTOZYNSKI         LOU METRO REVENUE COMMISSION
4422 RUSSELL AVE                 9015 SW 51ST PL                                    4045 TREADWAY RD APT 2409      PO BOX 35410
LOS ANGELES CA 90027             COOPER CITY FL 33328                               BEAUMONT TX 77706-7133         LOUISVILLE KY 40232-5410




036750P001-1409A-265             002554P001-1409A-265                               005771P001-1409A-265           035270P001-1409A-265
SARAH LOUGH                      LAURISA V LOUIE                                    KERSIE LOUIMA                  LOUIS JOLIET
32 NORTH MAIN ST                 979 LAUREL CREEK WAY                               3239 CORAL RIDGE DR            3340 MALL LOOP DR SUITE #1198
NORTH HAMPTON OH 45349           FAIRFIELD CA 94533                                 CORAL SPRINGS FL 33065         JOLIET IL 60431




003477P001-1409A-265             036254P001-1409A-265                               030735P001-1409A-265           000322P001-1409A-265
FABRIANA LOUIS                   LOUISE PARIS LTD                                   LOUISE PARIS, LTD              LOUISIANA ATTORNEY GENERAL
2428 ALISTER CT                  1407 BROADWAY STE 1405                             TIFFANY CORRIENTE              JEFF LANDRY
ORLANDO FL 32837                 NEW YORK NY 10018                                  1407 BROADWAY STE 1405         PO BOX 94095
                                                                                    NEW YORK NY 10018              BATON ROUGE LA 70804-4095




010070P001-1409A-265             000049P001-1409A-265                               000207P001-1409A-265           000133P001-1409A-265
LOUISIANA DEPT OF                LOUISIANA DEPT OF ENVIRONMENTAL QUALITY            LOUISIANA DEPT OF LABOR        LOUISIANA DEPT OF REVENUE
5825 FLORIDA BLVD STE 1003       LEGAL AFFAIRS DIVISION                             SECRETARY                      PO BOX 201
BATON ROUGE LA 70806             GALVEZ BUILDING                                    PO BOX 94094                   617 NORTH 3RD ST
                                 602 NORTH FIFTH ST                                 BATON ROUGE LA 70804           BATON ROUGE LA 70821
                                 BATON ROUGE LA 70802



009755P001-1409A-265             000428P001-1409A-265                               005229P001-1409A-265           001677P001-1409A-265
LOUISIANA DEPT OF REVENUE        LOUISIANA DEPT OF REVENUE AND TAXATION             ENNIE LOUISSAINT               SOPHIA LOUISSAINT
PO BOX 91011                     UNCLAIMED PROPERTY DIVISION                        615 SEA PINE WAY UNIT B        1555 NW 65TH TERR
BATON ROUGE LA 70821-9011        PO BOX 91010                                       GREENACRES FL 33415            MARGATE FL 33063
                                 BATON ROUGE LA 70821-9010
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035208P001-1409A-265              009789P001-1409A-265                           034292P001-1409A-265            032212P001-1409A-265
LOUISVILLE GAS AND ELECTRIC CO    LOUISVILLE METRO REVENUE COMMISSION            LOUISVILLE OUTLET SHOPPES LLC   LOUISVILLE OUTLET SHOPPES, LLC
C MICHAEL COOPER                  PO BOX 35410                                   BLUEGRASS                       BLUEGRASS OUTLET SHOPPES CMBS
820 W BROADWAY                    LOUISVILLE KY 40232-5410                       5000 HAKES DR STE 500           CHRIS LOCOCO
LOUISVILLE KY 40202                                                              MUSKEGON IL 49441               10275 W HIGGINS RD
                                                                                                                 STE 560
                                                                                                                 ROSEMONT IL 60018


033022P001-1409A-265              010321P001-1409A-265                           033209P001-1409A-265            005267P001-1409A-265
LOUISVILLE WATER CO               LOUISVILLE/JEFFERSON COUNTY                    INFANT LOUR                     ERIN M LOUVIERE
550 S THIRD ST                    METRO REVENUE COMMISSION                       2726 PACKARD ELM ST             3514 DEAN RD
LOUISVILLE KY 40202               PO BOX 35410                                   HOUSTON TX 77038                NESBIT MS 38651
                                  LOUISVILLE KY 40232-5410




004838P001-1409A-265              003492P001-1409A-265                           031016P001-1409A-265            031017P001-1409A-265
RACHAEL LOVATO                    ZOE S LOVATO                                   LOVE AND HEART                  LOVE VINTAGE INC
11774 EAST 7TH AVE                611 CAPITOL WAY S                              ANNABELLE LEE                   3435 SBROADWAY ST
AURORA CO 80010                   APT 504                                        1227 S SAN PEDRO ST             #A
                                  OLYMPIA WA 98501                               #5A                             LOS ANGELES CA 90007
                                                                                 LOS ANGELES CA 90015



035385P002-1409A-265              001818P001-1409A-265                           003186P001-1409A-265            004451P003-1409A-265
LOVE VINTAGE INC                  ALICIA L LOVE                                  ASHLEY M LOVE                   JAKARA B LOVE
LAW OFFICES OF STEVEN J BARKIN    122 WASHINGTON ST                              2319 LAFAYETTE AVE SE           116 BROOKMEADOW DR SW APT 10
STEVEN J BARKIN                   GRAMBLING LA 71245-2217                        GRAND RAPIDS MI 49507           GRANDVILLE MI 49418-2187
3700 WILSHIRE BLVD STE 950
LOS ANGELES CA 90010-3088



005276P001-1409A-265              004113P001-1409A-265                           003641P001-1409A-265            008169P001-1409A-265
JANEL L LOVE                      SALENA E LOVE                                  TALORE L LOVE                   BASHEBA S LOVETT
14119 MARY BOWIE PKWY             3040 E CHARLESTON BLVD                         2200 N EL SERENO AVE            46 N WEST ST
UPPER MARBORO MD 20774            APT 3117                                       ALTADENA CA 91001               YORK PA 17401
                                  LAS VEGAS NV 89104




008618P001-1409A-265              008381P001-1409A-265                           009328P001-1409A-265            009176P001-1409A-265
CHELSEA D LOVEY                   JOURDAN LOVINGS                                SHONTIA LOWE                    KAITLYN B LOWERY
10000 BROADWAY ST APT 381         3812 ESTERS                                    3001 BRANCH AVE                 851 FEILDS DR
PEARLAND TX 77584                 519                                            APT 712                         424
                                  IRVING TX 75062                                TEMPLE HILLS MD 20748           BOWLING GREEN KY 42104




002866P001-1409A-265              006164P001-1409A-265                           009703P001-1409A-265            001749P001-1409A-265
TANYA J LOYA                      JASMINE LOYD                                   OLIVIA E LOYNES                 ALEXIS K LOZANO
1403 N ADAMS ST                   1910 STERLING HILL DR                          111 LOY RD                      1213 MELROSE DR
AMARILLO TX 79107                 FUQUAY VARINA NC 27526                         CAMDEN SC 29020                 WACO TX 76710-4138
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002700P001-1409A-265         003090P001-1409A-265                005068P001-1409A-265                          006716P001-1409A-265
BIBIANA LOZANO               BRIANNA B LOZANO                    CARLA L LOZANO                                LAURA E LOZANO
115 E LIGUSTRUM DR           2213 ALOHA DR                       1425 LITTLE ORCHARD ST                        7701 HARDESON RD
SAN ANTONIO TX 78228         MESQUITE TX 75150                   SAN JOSE CA 95110                             22
                                                                                                               EVERETT WA 98203




004029P001-1409A-265         035125P001-1409A-265                032213P001-1409A-265                          035126P001-1409A-265
CECILIA LOZANOCASTILLO       LP NETWORK INC DBA                  LP NETWORK, INC DBA SECURITY SOURCE           LP SOFTWARE INC
3128 S 10TH ST               187 BALLARDVALE ST                  PO BOX 718                                    MULTIPLE MAINTANENCE SUPPORT AGREEMENTS
MILWAUKEE WI 53215           WILMINGTON MA 01887                 WILMINGTON MA 01887                           7000 W 111TH ST STE 305
                                                                                                               WORTH IL 60482




036620P001-1409A-265         032214P001-1409A-265                037312P001-1409A-265                          037312S001-1409A-265
LP SOFTWARE INC              LP SOFTWARE, INC                    LSREF3 SPARTAN GENESEE LLC                    LSREF3 SPARTAN GENESEE LLC
PO BOX 639640                7000 W 111TH ST                     PERKINS COIE LLP                              Carmen D. Spinoso
CINCINNATI OH 45263          STE #305                            CO BRIAN A AUDETTE                            Authorized Agent
                             WORTH IL 60482                      131 S DEARBORN ST STE 1700                    Spinoso Real Estate Group
                                                                 CHICAGO IL 60603                              112 Northern Concourse
                                                                                                               N. Syracuse NY 13212


031380P001-1409A-265         005018P001-1409A-265                008766P001-1409A-265                          001981P001-1409A-265
LSREF3 SPARTIAN REIT, INC    CINTHIA LU                          SADAKHAM LUANGPAKDY                           VIVIENNE S LUANGRATH
3341 S LINDEN RD             5110 S MANHATTAN AVE                18 BORY DR                                    99503 HOKEA ST
FLINT MI 48507               5210                                DEPEW NY 14043-4705                           AIEA HI 96701-2754
                             TAMPA FL 33611




004825P001-1409A-265         000884P001-1409A-265                032215S001-1409A-265                          032215P001-1409A-265
CARMENESTELL K LUARCA        CHRISTINA E LUBBERT                 LUBBOCK CENTRAL APPRAISAL                     LUBBOCK CENTRAL APPRAISAL DRISTRICT
532 SPRUCE RD                415 BELVEDERE WEST                  PERDUE BRANDON FIELDER COLLINS AND MOTT LLP   PO BOX 105682109 AVE Q
BOLINGBROOK IL 60440         COLGATE WI 53017                    LAURA J MONROE                                LUBBOCK TX 79408-3568
                                                                 PO BOX 817
                                                                 LUBBOCK TX 79408



008940P001-1409A-265         032216P001-1409A-265                032217P001-1409A-265                          034262P001-1409A-265
CHRISTINA LUBIN              LUCAS CONE CHAMBERLAIN              LUCAS SAUGEN PHOTOGRAPHY                      LUCAS SAUGEN PHOTOGRAPHY
554 E 26TH ST                1082 W EDGEWARE RD                  LUCAS SAUGEN                                  37 RIVOLI ST
APT 3C                       LOS ANGELES CA 90026                37 RIVOLI ST                                  SAN FRANCISCO CA 94117
BROOKLYN NY 11210                                                SAN FRANCISCO CA 94117




003686P001-1409A-265         008297P001-1409A-265                001943P001-1409A-265                          002284P001-1409A-265
ANGEL L LUCAS                ELIZABETH M LUCAS                   NAOMI M LUCAS                                 RENEE L LUCAS
1573 ETHEL                   55 ROBINWOOD DR                     34 BONNIE DR                                  2693 TWYMANS MILL RD
LINCOLN PARK MI 48146        MASTIC BEACH NY 11951               WESTBURY NY 11590                             MADISON VA 22727
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004772P001-1409A-265       035332P002-1409A-265                       036255P001-1409A-265           036256P002-1409A-265
SAMANTHA A LUCAS           LUCCI COUTURE INC                          LUCCI COUTURE INC              LUCENT PRODUCT INC
2000 COUNTRY CLUB DR       1013 S LOS ANGELES ST 2ND FLOOR            1013 S LOS ANGELES ST 2ND FL   LIANG YAO
WOODRIDGE IL 60517         UNITED STATES                              LOS ANGELES CA 90015           5515 DANIELS ST
                           LOS ANGELES CA 90015                                                      CHINO CA 91710




031018P001-1409A-265       003679P001-1409A-265                       005895P001-1409A-265           001946P001-1409A-265
LUCENT PRODUCT, INC        AGUSTINA LUCERO                            ILEANA LUCERO                  ALLISON J LUCIANO
KIM NGUYEN                 114 CEDAR RD                               2222 N GRAND ST                901S O'LEARY ST
5515 DANIELS STEET         EAST NORTHPORT NY 11731                    PUEBLO CO 81003                151
CHINO CA 91710                                                                                       FLAGSTAFF AZ 86001




006003P001-1409A-265       004144P002-1409A-265                       031019P001-1409A-265           004989P001-1409A-265
KAITLIN M LUCIDO           ANTONIESHA R LUCKETT                       LUCKY FEATHER                  ISABELLA M LUGO
317 E MAXLOW AVE           PO BOX 355                                 11684 VENTURA BLVD 460         2457 WALGROVE AVE
HAZEL PARK MI 48030        MOOREVILLE MS 38857-0355                   STUDIO CITY CA 91604           LOS ANGELES CA 90066




003163P001-1409A-265       007572P001-1409A-265                       003105P001-1409A-265           032218P001-1409A-265
LINDSAY B LUGO             NATASHA E LUGO                             YAINELYS LUGO                  LUIS OMAR LANDESTOY
4109 HANGING MOSS CT       280 CLOVER LN                              6118 WESTGATE DR               27 OAK BROOK PL
JACKSONVILLE FL 32257      G                                          APT 203                        PLEASANT HILL CA 94523
                           BEAVERCREEK OH 45440                       ORLANDO FL 32835




003777P001-1409A-265       032219P001-1409A-265                       007394P001-1409A-265           032220P001-1409A-265
EMILY A LUIS               LUK                                        ABIGAIL C LUKE                 LULU ARTISTS COLLECTIVE
5526 SW 162 PL             TLNT INC                                   85 KINGSTON AVE                LULU TALENT LLC
MIAMI FL 33185             MATT FINELLI                               1R                             MARY DOMENICO
                           1052 S OLIVE ST                            BROOKLYN NY 11213              556 SAN ANSELMO AVE
                           LOS ANGELES CA 90015                                                      SAN ANSELMO CA 94960



036621P002-1409A-265       036621S001-1409A-265                       034300P001-1409A-265           031020P001-1409A-265
LULU ARTISTS COLLECTIVE    LULU ARTISTS COLLECTIVE                    LULU TALENT, LLC               LULUMARI INC
LULU TALENT LLC            LULU TALENT LLC                            556 SAN ANSELMO AVE            ARTHUR KIM
556 SAN ANSELMO AVE        JOHN FORTUNE                               SAN ANSELMO CA 94960           754 E12TH ST
SAN ANSELMO CA 94960       128 TUNSTEAD AVE                                                          #2
                           SAN ANSELMO CA 94960                                                      LOS ANGELES CA 90021



036257P001-1409A-265       007047P001-1409A-265                       037318P001-1409A-265           003169P001-1409A-265
LULUMARI INC               MACY L LUMLEY                              MONIQUE LUMPKINS               MONIQUE L LUMPKINS
754 E12TH ST #2            110 NEW MELVILLE RD                        MONIQUE                        6029 S INDIANA AVE
LOS ANGELES CA 90021       WILLARD MO 65781                           LUMPKINS                       102
                                                                      6029 S INDIANA AVE             CHICAGO IL 60637
                                                                      CHICAGO IL 60637
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006555P001-1409A-265          003036P001-1409A-265                     007953P001-1409A-265           035789P001-1409A-265
MARIA D LUNA ROSAS            JESSICA LUNA                             LYZET A LUNA                   ROSAS MARIA D LUNA
750 WATERTHROUGH RD #746      152 W 15TH AVE                           31475 SIERRA DEL SOL           750 WATERTHROUGH RD #746
SEBASTOPOL CA 95472           ESCONDIDO CA 92025                       THOUSAND PALMS CA 92276        SEBASTOPOL CA 95472




036566P001-1409A-265          004784P001-1409A-265                     003793P001-1409A-265           009135P001-1409A-265
JESSICA K LUNBERG             KYLIE A LUNDELL                          JESSICA C LUNDGREN             KAYLA M LUNSFORD
2613 W WILLOW AVE             218 OLD RTE 40                           8575 ANTCLIFF RD               500 E CAMDEN AVE
SIOUX FALLS SD 57105          HANCOCK MD 21750                         HOWELL MI 48855                G3
                                                                                                      MOORESTOWN NJ 08057




004845P001-1409A-265          006501P001-1409A-265                     007486P001-1409A-265           004223P001-1409A-265
TAMAR F LUNSFORD              CARLY L LUPTOWSKI                        ADELINA A LUPU                 DANA LUQUE
4132 MANTUA AVE               1735 N HURON RD                          2121 PLANTATION CT             1063 CAREY AVE
PHILADELPHIA PA 19104         PINCONNING MI 48650                      LAWRENCEVILLE GA 30044         CLOVIS CA 93611




033023P001-1409A-265          033023S001-1409A-265                     033404P001-1409A-265           008889P001-1409A-265
LUS                           LUS                                      LUSH CLOTHING                  GRETCHEN L LUSSO
LAFAYETTE UTILITIES SYSTEM    1875 W PINHOOK RD STE B                  CHRIS KIM                      1208 MURRAY PT
PO BOX 4024                   LAFAYETTE LA 70508                       4550 ALCOA AVE                 PLATTSMOUTH NE 68048
LAFAYETTE LA 70502                                                     VERNON CA 90058




006179P001-1409A-265          009360P001-1409A-265                     036754P001-1409A-265           001155P001-1409A-265
SARAH E LUTHER                PHILLIPINA A LUTTERODT                   SHALENE LUTTRELL               OLAJUMOKE LUWOYE
2622 EMMICK DR                2637 RIDGEMOOR DR SE KENTWOOD            10302 STONEBANK ST             2852 BRASS CT
TOLEDO OH 43606               KENTWOOD MI 49512                        BELLFLOWER CA 90706            AUSTELL GA 30106-1059




031021P001-1409A-265          036258P001-1409A-265                     032221P002-1409A-265           036622P001-1409A-265
LUX ACCESSORIES               LUX ACCESSORIES                          LUXE FIT MODELS                LUXE FIT MODELS
NICOLE STRUM                  358 5TH AVE 5TH FL                       KATIE NICHOLES                 9415 CULVER BLVD
358 5TH AVE                   NEW YORK NY 10001                        9415 CULVER BLVD               CULVER CITY CA 90232
5TH FL                                                                 CULVER CITY CA 90232
NEW YORK NY 10001



030736P001-1409A-265          034412P002-1409A-265                     034412S001-1409A-265           032222P001-1409A-265
LVLA APPAREL                  LVP ST AUGUSTINE OUTLETS LLC             LVP ST AUGUSTINE OUTLETS LLC   LWI/DBA APERTURE TALENT
5140 PACIFIC BLVD             BARCLAY DAMON LLP                        THE LIGHTSTONE GROUP           9378 WILSHIRE BLVD
VERNON CA 90058               KEVIN M NEWMAN                           AKIVA ELAZARY                  STE 310
                              BARCLAY DAMON TOWER                      1985 CEDAR BRIDGE AVE STE 1    BEVERLY HILLS CA 90212
                              125 E JEFFERSON ST                       LAKEWOOD NJ 08701
                              SYRACUSE NY 13202
                                               Case 19-10210-LSS   Doc Russe
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005313P001-1409A-265                            001091P001-1409A-265                     032223P002-1409A-265            008225P001-1409A-265
MARIE LY                                        SUNSHINE LY                              LYFT INC                        JENNIFER L LYNAGH
259 NORTH ST                                    1776 MAC LN                              ACCOUNTS RECEIVABLE             13480 CUPPERTINO LN
WINOOSKI VT 05404                               GREEN BAY WI 54311                       JENNIFER L PEARSON              CARMEL IN 46074
                                                                                         185 BERRY ST STE 5000
                                                                                         SAN FRANCISCO CA 94107



001141P001-1409A-265                            003748P001-1409A-265                     030779P001-1409A-265            031381P001-1409A-265
ASHLEY M LYNCH                                  SIERRA LYNCH                             LYNDEN AIR FREIGHT              LYNNHAVEN MALL LLC
1925 S CORONADO RD                              4728 PK LN                               PO BOX 34026                    7903 SOLUTIONS CTR
3094                                            ALPINE CA 91901                          SEATTLE WA 98124-1026           CHICAGO IL 60677-7009
GILBERT AZ 85295




037380P001-1409A-265                            003286P002-1409A-265                     032224P001-1409A-265            037095P001-1409A-265
LYNNHAVEN MALL LLC                              KIANA N LYON                             LYONS CONSULTING GROUP, LLC     CARITNEY LYONS
BROOKFIELD PROPERTY REIT INC                    1674 FOLLY RD APT 1002                   20 N WACKER DR                  2389 RENA VALLEY CIRCLE APT 6
JULIE M BOWDEN                                  CHARLESTON SC 29412-8725                 STE 1750                        VAN BUREN AR 72956
350 N ORLEANS ST STE 300                                                                 CHICAGO IL 60606
CHICAGO IL 60654-1607



002419P001-1409A-265                            035790P001-1409A-265                     030602P001-1409A-265            025273P001-1409A-265
CARITNEY L LYONS                                CARITNEY L LYONS                         SHANDREA LYONS                  SHANDREA K LYONS
1303 AZURE HILLS                                2389 RENA VLY CIR                        ADDRESS INTENTIONALLY OMITTED   3126 BERT KOUNS INDUSTRIAL LOO
VAN BUREN AR 72956                              APT 6                                                                    APT 225
                                                VAN BUREN AR 72956                                                       SHREVEPORT LA 71118




001639P001-1409A-265                            033779P001-1409A-265                     004964P001-1409A-265            004325P001-1409A-265
EMMA C LYONWILCOX                               LYRA INDUSTRIALS                         AERYN M LYTLE                   AMANDA K LYTLE
4400 TIMBER LN                                  PLOT NO 155 PHASE 1 UDYOG VI             3331 CASEY DR                   1541 EDGEMORE AVE
WINSTON-SALEM NC 27127                          GURGAON HARYANA 122016                   101                             SACRAMENTO CA 95835
                                                INDIA                                    LAS VEGAS NV 89120




030737P001-1409A-265                            030534P001-1409A-265                     036941P002-1409A-265            035329P001-1409A-265
M AND S ACCESSORY NETWORK CORP                  MONIER, CHRISTOPHER M                    M/S FRIENDS GARMENTS            MA- CITY OF SOMERVILLE TREASURY DEPT
ALBERT SALAMA                                   ADDRESS INTENTIONALLY OMITTED            RAKESH SAWHNEY                  JANNEKE DONOVAN
10 WEST 33RD ST                                                                          605 UDYOG VIHAR PHASE V         93 HIGHLAND AVE
STE 718                                                                                  GURGAON HARYANA 122001          SOMERVILLE MA 02143
NEW YORK NY 10001                                                                        INDIA



037895P001-1409A-265                            008368P001-1409A-265                     001789P001-1409A-265            009077P001-1409A-265
MA- COLLECTOR CITY OF MARLBOROUGH               EMMA L MABIE                             ALLENBERT T MACABALI            JESSICA E MACADAM
EILEEN BRISTOL COLLECTOR CITY OF MARLBOROUGH    323 3RD AVE                              7137 KEMPSTER AVE               106 RYAN CIR
CITY OF MARLBOROUGH - CITY HALL                 EAU CLAIRE WI 54703                      FONTANA CA 92336                SPRING LAKE NC 28390
140 MAIN ST
MARLBOROUGH MA 01752
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008239P001-1409A-265                   003454P001-1409A-265                             007114P001-1409A-265                        007177P001-1409A-265
CINDY MACARENO                         MADISON J MACBLANE                               NIANNA G MACCRACKEN                         SARA M MACDONALD
65 SAMMIS AVE                          18405 SHALLOWFORD LN                             420 REDANDO E                               8269 TAPIA VIA DR
DOVER NJ 07801                         LOUISVILLE KY 40245                              ALBUQUERQUE NM 87131                        C
                                                                                                                                    RANCHO CUCAMONGA CA 91730




034713P001-1409A-265                   034717P001-1409A-265                             034730P001-1409A-265                        034762P001-1409A-265
MACERICH                               MACERICH                                         MACERICH                                    MACERICH
MACERICH PROPERTY MANAGEMENT CO LLC    ARROWHEAD TOWNE CENTER LLC                       MACERICH FRESNO LIMITED PARTNERSHIP         FLATIRON PROPERTY HOLDING LLC
AGENT FOR MACERICH LAKEWOOD LP         PO BOX 2172                                      MACERICH CO                                 MACERICH CO
401 WILSHIRE BLVD                      401 WILSHIRE BLVD STE 700                        PO BOX 2172                                 PO BOX 2172
STE 700                                SANTA MONICA CA 90407                            401 WILSHIRE BLVD STE 700                   401 WILSHIRE BLVD STE 700
SANTA MONICA CA 90401                                                                   SANTA MONICA CA 90407                       SANTA MONICA CA 90407


034776P001-1409A-265                   034815P001-1409A-265                             034851P001-1409A-265                        034854P001-1409A-265
MACERICH                               MACERICH                                         MACERICH                                    MACERICH
MACERICH DEPTFORD LLC                  EAST MESA ASSOCIATES                             MACERICH BUENAVENTURA LIMITED PARTNERSHIP   MACERICH STONEWOOD LLC
MACERICH PO BOX 2172                   11411 NORTH TATUM BLVD                           401 WILSHIRE BLVD STE 700                   PO BOX 2172
401 WILSHIRE BLVD                      PHOENIX AR 85028                                 PO BOX 2172                                 401 WILSHIRE BLVD STE 700
STE 700                                                                                 SANTA MONICA CA 90407                       SANTA MONICA CA 90407
SANTA MONICA CA 90407


034890P001-1409A-265                   034917P001-1409A-265                             034934P001-1409A-265                        034936P001-1409A-265
MACERICH                               MACERICH                                         MACERICH                                    MACERICH
SDG MACERICH PROPERTIES LP             QUEENS CENTER SPE LLC                            FREEMALL ASSOCIATES LLC                     VALLEY STREAM GREEN ACRES LLC
MS MANAGEMENT ASSOCIATES INC           P0 BOX 2172                                      MACERICH CO                                 THE MACERICH CO
NATIONAL CITY CENTER                   401 WILSHIRE BLVD STE 700                        PO BOX 2172                                 401 WILSHIRE BLVD
115 W WASHINGTON                       SANTA MONICA CA 90407                            401 WILSHIRE BLVD STE 700                   STE 700
INDIANAPOLIS IN 46204                                                                   SANTA MONICA CA 90407                       SANTA MONICA CA 90401


034951P001-1409A-265                   034973P001-1409A-265                             034991P001-1409A-265                        035030P001-1409A-265
MACERICH                               MACERICH                                         MACERICH                                    MACERICH
WESTCOR SANTAN VILLAGE LLC             BROOKLY KINGS PLAZA LLC                          DANBURY MALL LLC                            MACERICH SOUTH PLAINS LP
11411 NORTH TATUM BLVD                 210 ROUTE 4 EAST                                 MACERICH CO                                 PO BOX 2172
PHOENIX AZ 85028                       PARAMUS NJ 7652-                                 PO BOX 2172                                 401 WILSHIRE BLVD STE 700
                                                                                        401 WILSHIRE BLVD STE 700                   SANTA MONICA CA 90407
                                                                                        SANTA MONICA CA 90407


035031P001-1409A-265                   035043P001-1409A-265                             035044P001-1409A-265                        029876P001-1409A-265
MACERICH                               MACERICH                                         MACERICH                                    MACERICH (LANDLORD)
MACERICH VICTOR VALLEY LLC             MACERICH VINTAGE FAIRE LIMITED PARTNERSHIP       LEASE ACCOUNTING ARDEN FAIR ASSOCIATES LP   MACERICH PROPERTY MANAGEMENT CO LLC
PO BOX 2172 401 VI?LSHIRE BOULEVARD    PO BOX 2172 401 WILSHIRE BOULEVARD               THE MACERICH CO                             LEGAL DEPT
STE 700                                STE 700                                          PO BOX 2172                                 AGENT FOR MACERICH LAKEWOOD LP
SANTA MONICA CA 90407                  SANTA MONICA CA 90407                            401 WILSHIRE BLVD STE 700                   401 WILSHIRE BLVD STE 700
                                                                                        SANTA MONICA CA 90401                       SANTA MONICA CA 90401


029877P001-1409A-265                   029877S001-1409A-265                             029878P001-1409A-265                        029878S001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                              MACERICH (LANDLORD)                         MACERICH (LANDLORD)
ARROWHEAD TOWNE CENTER LLC             ARROWHEAD TOWNE CENTER LLC                       MACERICH FRESNO LIMITED PARTNERSHIP         MACERICH FRESNO LIMITED PARTNERSHIP
CENTER MANAGER                         MACERICH                                         CENTER MANAGER                              MACERICH CO
7700 W ARROWHEAD TOWNE CTR             PO BOX 2172                                      4841 NORTH FIRST ST                         LEGAL DEPARTMENT
GLENDALE AZ 85308                      401 WILSHIRE BLVD STE 700                        FRESNO CA 93726                             PO BOX 2172 401 WILSHIRE BLVD STE 700
                                       SANTA MONICA CA 90407                                                                        SANTA MONICA CA 90407
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029879P001-1409A-265                   029879S001-1409A-265                         029880P001-1409A-265                         029880S001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
FLATIRON PROPERTY HOLDING LLC          FLATIRON PROPERTY HOLDING, LLC               MACERICH DEPTFORD LLC                        MACERICH DEPTFORD LLC
CENTER MANAGER                         MACERICH CO                                  CENTER MANAGER                               MACERICH
MANAGEMENT OFFICE                      PO BOX 2172                                  1750 DEPTFORD CTR RD                         PO BOX 2172
ONE WEST FLATIRON CIR STE 1083         401 WILSHIRE BLVD STE 700                    DEPTFORD NJ 08096                            401 WILSHIRE BLVD STE 700
BROOMFIELD CO 80021                    SANTA MONICA CA 90407                                                                     SANTA MONICA CA 90407


029881P001-1409A-265                   029881S001-1409A-265                         029882P001-1409A-265                         029883P001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
EAST MESA ASSOCIATES                   EAST MESA ASSOCIATES                         MACERICH BUENAVENTURA LIMITED PARTNERSHIP    MACERICH STONEWOOD LLC
6555 EAST SOUTHEM AVE                  LEASING DEPT                                 401 WILSHIRE BLVD STE 700                    CENTER MANAGER
MESA AR 85206                          11411 NORTH TATUM BLVD                       PO BOX 2172                                  251 STONEWOOD ST MANAGEMENT OFFICE
                                       PHOENIX AR 85028                             SANTA MONICA CA 90407                        DOWNEY CA 90241-3934



029883S001-1409A-265                   029884P001-1409A-265                         029884S001-1409A-265                         029885P001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
MACERICH STONEWOOD, LLC                MACERICH VALLEY RIVER CENTER LLC             MACERICH VALLEY RIVER CENTER, LLC MACERICH   SDG MACERICH PROPERTIES LP
MACERICH                               CENTER MANAGER                               LEGAL DEPT                                   MS MANAGEMENT ASSOCIATES INC
PO BOX 2172                            293 VLY RIVER CTR                            PO BOX 2172                                  NATIONAL CITY CTR 115 W WASHINGTON
401 WILSHIRE BLVD STE 700              EUGENE OR 97401                              401 WILSHIRE BLVD STE 700                    INDIANAPOLIS IN 46204
SANTA MONICA CA 90407                                                               SANTA MONICA CA 90407


029886P001-1409A-265                   029886S001-1409A-265                         029887P001-1409A-265                         029887S001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
QUEENS CENTER SPE LLC                  QUEENS CENTER SPE LLC                        FREEMALL ASSOCIATES LLC                      FREEMALL ASSOCIATES, LLC
CENTER MANAGER                         MACERICH                                     CENTER MANAGER                               MACERICH CO
MANAGEMENT OFFICE 90-15 QUEENS BLVD    P0 BOX 2172                                  STE 1000 3710 RTE 9                          LEGAL DEPARTMENT
ELMHURST NY 11373                      401 WILSHIRE BLVD STE 700                    FREEHOLD NJ 07728                            PO BOX 2172 401 WILSHIRE BLVD STE 700
                                       SANTA MONICA CA 90407                                                                     SANTA MONICA CA 90407


029888P001-1409A-265                   029888S001-1409A-265                         029889P001-1409A-265                         029890P001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
VALLEY STREAM GREEN ACRES LLC          VALLEY STREAM GREEN ACRES LLC                WESTCOR SANTAN VILLAGE LLC                   BROOKLY KINGS PLAZA LLC
MANAGEMENT OFFICE, PROPERTY MANAGER    THE MACERICH CO                              CENTER MANAGER                               EXECUTIVE VICE PRESIDENT RETAIL REAL ESTATE
2034 GREEN ACRES MALL                  LEGAL DEPARTMENT                             11411 NORTH TATUM BLVD                       210 RTE 4 EAST
VALLEY STREAM NY 11581                 401 WILSHIRE BLVD STE 700                    PHOENIX AZ 85028                             PARAMUS NJ 07652
                                       SANTA MONICA CA 90401


029890S001-1409A-265                   029891P001-1409A-265                         029891S001-1409A-265                         029892P001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
BROOKLY KINGS PLAZA LLC                TYSONS CORNER HOLDINGS LLC                   TYSONS CORNER HOLDINGS LLC                   DANBURY MALL LLC
CHIEF FINANCIAL OFFICER                CENTER MANAGER                               MACERICH                                     CENTER MANAGER
210 RTE 4 EAST                         1961 CHAIN BRIDGE RD STE 105                 PO BOX 2172                                  7 BACKUS AVE
PARAMUS NJ 07652                       MCLEAN VA 22102-4501                         401 WILSHIRE BLVD STE 700                    DANBURY CT 06810
                                                                                    SANTA MONICA CA 90407


029892S001-1409A-265                   029893P001-1409A-265                         029893S001-1409A-265                         029894P001-1409A-265
MACERICH (LANDLORD)                    MACERICH (LANDLORD)                          MACERICH (LANDLORD)                          MACERICH (LANDLORD)
DANBURY MALL, LLC                      FASHIONS OUTLETS OF NIAGARA LLC              AKERMAN SENTERFITT LLP                       WMAP LLC
MACERICH CO                            THE TALISMAN COMPANIES                       ROBERT W CLAESON ESQ                         CENTER MANAGER
PO BOX 2172                            JAMES SCHLESINGER PRESIDENT                  335 MADISON AVE - STE 2600                   7119 80TH ST BLDG 8
401 WILSHIRE BLVD STE 700              4000 PONCE DE LEON BLVD - STE 420            NEW YORK NY 10017                            GLENDALE NY 11385
SANTA MONICA CA 90407                  CORAL GABLES FL 33146
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029894S001-1409A-265                         029895P001-1409A-265                              029895S001-1409A-265                        029896P001-1409A-265
MACERICH (LANDLORD)                          MACERICH (LANDLORD)                               MACERICH (LANDLORD)                         MACERICH (LANDLORD)
WMAP, LLC                                    WILTON MALL LLC                                   WILTON MALL, LLC                            MACERICH SOUTH PLAINS LP
MACERICH                                     CENTER MANAGER                                    MACERICH                                    CENTER MANAGER
PO BOX 2172                                  3065 RTE 50                                       PO BOX 2172                                 6002 SLIDE RD
401 WILSHIRE BLVD STE 700                    SARATOGA SPRINGS NY 12866                         401 WILSHIRE BLVD STE 700                   LUBBOCK, TX 79414
SANTA MONICA CA 90407                                                                          SANTA MONICA CA 90401


029897P001-1409A-265                         029897S001-1409A-265                              029898P001-1409A-265                        029898S001-1409A-265
MACERICH (LANDLORD)                          MACERICH (LANDLORD)                               MACERICH (LANDLORD)                         MACERICH (LANDLORD)
MACERICH VICTOR VALLEY LLC                   MACERICH VICTOR VALLEY LLC                        MACERICH WNTAGE FAIRE LIMITED PARTNERSHIP   MACERICH VINTAGE FAIRE LIMITED PARTNERSHIP
CENTER MANAGER                               LEGAL DEPT                                        CENTER MANAGER                              MACERICH
14400 BEAR VLY RD STE 735                    PO BOX 2172                                       3401 DALE RD STE 483                        PO BOX 2172
VLCTORVILLE, TX 92392                        401 VIFILSHIRE BLVD STE 700                       MODESTO CA 95356                            401 WILSHIRE BLVD STE 700
                                             SANTA MONICA CA 90407                                                                         SANTA MONICA CA 90407


029899P001-1409A-265                         029899S001-1409A-265                              029900P001-1409A-265                        029900S001-1409A-265
MACERICH (LANDLORD)                          MACERICH (LANDLORD)                               MACERICH (LANDLORD)                         MACERICH (LANDLORD)
ARDEN FAIR ASSOCIATES                        LEASE ACCOUNTING ARDEN FAIR ASSOCIATES, LP        WM INLAND INVESTORS IV LP                   WM INLAND INVESTORS IV LP CLO MACERICH
REAL ESTATE                                  THE MACERICH CO                                   CENTER MANAGER                              CORRESPONDENCE ROUTING SYSTEMILEGAI DEPT
LP 1689 ARDEN WAY STE 1167                   PO BOX 2172                                       500 INLAND CTR DR                           PO BOX 2172
SACRAMENTO CA 95815                          401 WILSHIRE BLVD STE 700                         SAN BERNARDINO CA 92408                     401 WILSHIRE BLVD STE 700
                                             SANTA MONICA CA 90401                                                                         SANTA MONICA CA 90407


031382P001-1409A-265                         037776P001-1409A-265                              031383P001-1409A-265                        031384P001-1409A-265
MACERICH BUENAVENTURA LIMITED PARTNERSHIP    MACERICH BUENAVENTURA LIMITED PARTNERSHIP         MACERICH CERRITOS, LLC                      MACERICH DEPTFORD LLC
PO BOX 849429                                BALLARD SPAHR LLP                                 PO BOX 849466                               MACERICH HHF CENTERS LLC
LOS ANGELES CA 90084-9429                    DUSTIN P BRANCH                                   LOS ANGELES CA 90084-9466                   401 WILSHIRE BLVD STE 700
                                             2029 CENTURY PARK EAST STE 800                                                                SANTA MONICA CA 90401
                                             LOS ANGELES CA 90067-2909



037734P001-1409A-265                         034273P001-1409A-265                              037730P001-1409A-265                        031385P001-1409A-265
MACERICH DEPTFORD LLC                        MACERICH EQ LIMITED PARTNERSHIP                   MACERICH FRESNO LIMITED PARTNERSHIP         MACERICH FRESNO LTD PARTNERHIP
BALLARD SPAHR LLP                            401 WILSHIRE BLVD                                 BALLARD SPAHR LLP                           FRESNO FASHION FAIR
DUSTIN P BRANCH                              STE 700                                           DUSTIN P BRANCH                             PO BOX 849418
2029 CENTURY PARK EAST STE 800               SANTA MONICA CA 90401                             2029 CENTURY PARK EAST STE 800              LOS ANGELES CA 90084-9418
LOS ANGELES CA 90067-2909                                                                      LOS ANGELES CA 90067-2909



034274P001-1409A-265                         037777P001-1409A-265                              031386P001-1409A-265                        031387P001-1409A-265
MACERICH HHF CENTERS LLC                     MACERICH LAKEWOOD LLC                             MACERICH LAKEWOOD LP                        MACERICH NORTH PARK MALL, LLC
401 WILSHIRE BLVD STE 700                    BALLARD SPAHR LLP                                 PACIFIC PREMIER RETAIL TRUST                MACERICH EQ LIMITED PARTNERSHI
SANTA MONICA CA 90401                        DUSTIN P BRANCH                                   401 WILSHIRE BLVD                           401 WILSHIRE BLVD
                                             2029 CENTURY PARK EAST STE 800                    STE # 700                                   STE 700
                                             LOS ANGELES CA 90067-2909                         SANTA MONICA CA 90401                       SANTA MONICA CA 90401



036625P001-1409A-265                         036625S001-1409A-265                              031388P001-1409A-265                        031389P001-1409A-265
MACERICH SCG LIMITED                         MACERICH SCG LIMITED                              MACERICH SCG LIMITED PARTNERSHIP            MACERICH SOUTH PLAINS LP
FASHION OUTLETS OF NIAGARA FALLS             BALLARD SPAHR LLP                                 FASHION OUTLETS OF NIAGARA FALLS            401 WILSHIRE BLVD STE 700
PO BOX 843529                                DUSTIN P BRANCH ESQ                               PO BOX 843529                               SANTA MONICA CA 90401
LOS ANGELES CA 90084-3529                    2029 CENTURY PK EAST STE 800                      LOS ANGELES CA 90084-3529
                                             LOS ANGELES CA 90067-2909
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037772P001-1409A-265                     036626P001-1409A-265                               036626S001-1409A-265               031390P001-1409A-265
MACERICH SOUTH PLAINS LP                 MACERICH SOUTH TOWNE LIMITED                       MACERICH SOUTH TOWNE LIMITED       MACERICH STONEWOOD HOLDINGS
BALLARD SPAHR LLP                        401 WILSHIRE BLVD STE 700                          BALLARD SPAHR LLP                  THE MACERICH PARTNERSHIP LP
DUSTIN P BRANCH                          SANTA MONICA CA 90401                              DUSTIN P BRANCH ESQ                401 WILSHIRE BLVD
2029 CENTURY PARK EAST STE 800                                                              2029 CENTURY PK EAST STE 800       STE 700
LOS ANGELES CA 90067-2909                                                                   LOS ANGELES CA 90067-2909          SANTA MONICA CA 90401



037771P001-1409A-265                     031391P001-1409A-265                               037768P001-1409A-265               031392P001-1409A-265
MACERICH STONEWOOD LLC                   MACERICH VALLEY RIVER CENTER                       MACERICH VALLEY RIVER CENTER LLC   MACERICH VICTOR VALLEY LLC
BALLARD SPAHR LLP                        PO BOX 849681                                      BALLARD SPARH LLP                  THE MACERICH PARTNERSHIP LP
DUSTIN P BRANCH                          LOS ANGELES CA 90084-9681                          DUSTIN P BRANCH                    401 WILSHIRE BLVD
2029 CENTURY PARK EAST STE 800                                                              2029 CENTURY PARK EAST STE 800     STE 700
LOS ANGELES CA 90067-2909                                                                   LOS ANGELES CA 90067-2909          SANTA MONICA CA 90401



037767P001-1409A-265                     037766P001-1409A-265                               031393P001-1409A-265               034272P001-1409A-265
MACERICH VICTOR VALLEY LLC               MACERICH VINTAGE FAIR LIMITED PARTNERSHIP          MACERICH VINTAGE FAIRE MALL LP     MACERICH WESTSIDE LIMITED PARTNER
BALLARD SPAHR LLP                        BALLARD SPAHR LLP                                  3401 DALE RD STE # 483             PROPERTY LLC
DUSTIN P BRANCH                          DUSTIN P BRANCH                                    MODESTO CA 95356                   401 WILSHIRE BLVD
2029 CENTURY PARK EAST STE 800           2029 CENTURY PARK EAST STE 800                                                        SANTA MONICA CA 90401
LOS ANGELES CA 90067-2909                LOS ANGELES CA 90067-2909



037613P001-1409A-265                     031394P001-1409A-265                               031022P001-1409A-265               036259P001-1409A-265
MACERICH WESTSIDE LIMITED PARTNERSHIP    MACERICH WESTSIDE PAVILION PROPERTY LLC            MACHINE JEANS                      MACHINE JEANS
DUSTIN P BRANCH ESQ                      MACERICH WESTSIDE LIMITED PART                     JASMINE MIN                        1015 S CROCKER ST R26
BALLARD SPAHR LLP                        401 WILSHIRE BLVD                                  1015 S CROCKER ST                  LOS ANGELES CA 90021
2029 CENTURY PK EAST STE 800             SANTA MONICA CA 90401                              R26
LOS ANGELES CA 90067                                                                        LOS ANGELES CA 90021



037187P001-1409A-265                     001371P001-1409A-265                               002017P002-1409A-265               008411P001-1409A-265
BRITTANY MACIAS                          BRITTANY L MACIAS                                  CLARISSA A MACIAS                  EVELYN A MACIAS
1350 GINA DR                             1350 GINA DR                                       668 SEQUOIA ST                     3013 CHINOOK LN
OXNARD CA 93030                          OXNARD CA 93030                                    IMPERIAL CA 92251-8906             LAFAYETTE IN 47909




001979P001-1409A-265                     005585P001-1409A-265                               007664P001-1409A-265               001989P001-1409A-265
JANET MACIAS                             KEANA C MACIAS                                     SAMANTHA MACIAS                    STEPHANIE A MACIEL
3504 BROADWAY AVE                        3211 EAST MAYACAMA WAY                             3500 VLY FORGE AVE                 17075 LACEBARK ST
NORTH LAS VEGAS NV 89030-5901            ONTARIO CA 91761                                   LAS VEGAS NV 89110                 FONTANA CA 92337-6859




036842P001-1409A-265                     005908P001-1409A-265                               002860P001-1409A-265               001288P001-1409A-265
DAVID J MACK                             DEANDRIA L MACK                                    JADA MACK                          NANCY J MACK
CHARLOTTE RUSSE                          513 AARON PL                                       2200 BUSINESS CTR DRIVER           5630 STONEFIELD RD
DIRECTOR                                 MCDONOUGH GA 30253                                 10209                              SLINGER WI 53086-9636
575 FLORIDA ST                                                                              PEARLAND TX 77584
SAN FRANCISCO CA 94110
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007617P001-1409A-265             000610P001-1409A-265                            008916P001-1409A-265                   006783P001-1409A-265
SHANIECA R MACK                  STEPHANIE MACK                                  MYLEAH K MACKEY                        BREANNA R MACLAREN
1604 GAMMA                       1834 SAN REMO DR                                8 EAGLES PATH                          1038 UNDERHILL AVE SW
BLOOMINGTON IL 61701             COLUMBUS OH 43204                               1131B                                  GRAND RAPIDS MI 49503
                                                                                 HATTIESBURG MS 39406




009934P001-1409A-265             037830P001-1409A-265                            008750P001-1409A-265                   034268P001-1409A-265
MACON -BIBB COUNTY               MACON-BIBB COUNTY TAX COMMISSIONER              STACY K MACUCH                         MACWH, LP
200 CHERRY ST                    BLAKE EDWIN LISENBY ESQ                         106 WEST MURROW LN                     401 WILSHIRE BLVD
STE 202                          PO BOX 4101                                     JACKSONVILLE NC 28546                  STE 700
MACON GA 31201                   MACON GA 31208                                                                         SANTA MONICA CA 90401




034477P001-1409A-265             033449P001-1409A-265                            037864P002-1409A-265                   008207P001-1409A-265
MACWH, LP                        MAD ENGINE INC                                  MADALINE M MASLANKA                    FRANCEY MADDALENA
PO BOX 849548                    BRIE RHOADS                                     891 HIDDEN VALLEY DR                   7 BASH RD
LOS ANGELES CA 90084-9548        6740 COBRA WAY                                  WADSWORTH OH 44281                     TOMS RIVER NJ 08753
                                 STE 100
                                 SAN DIEGO CA 92121



009365P001-1409A-265             035791P001-1409A-265                            003791P002-1409A-265                   032225P001-1409A-265
EMILY L MADDOX                   RA'SHON MADDOX                                  RASHON MADDOX                          MADE IN BRIGHTON
4013 CHRISTOPHER WAY             301 E COLLEGE AVE                               30711 HAMPDEN AVE                      DANIEL JACKSON
SMC 11849                        SALISBURY MD 21804                              PRINCESS ANNE MD 21853-1043            34 BAYHAM RD
PLANO TX 75024                                                                                                          BRISTOL BS42DR
                                                                                                                        UNITED KINGDOM



036627P001-1409A-265             031023P002-1409A-265                            032226P001-1409A-265                   009839P001-1409A-265
MADE IN BRIGHTON                 MADE MODERN LLC                                 MADISON BLACK                          MADISON COUNTY LICENSE DEPT
34 BAYHAM ROAD                   AKA KID MADE MODERN                             SPECIALIST STAFFING SOLUTIONS          MARK CRAIG LICENSE DIRECTOR
BRISTOL BS42DR                   STEVEN PEREIRA                                  MADISON BLACK                          100 NORTHSIDE SQUARE RM 108
UNITED KINGDOM                   20 VESEY ST STE 200                             DEPT CH 16598                          HUNTSVILLE AL 35801-4820
                                 NEW YORK NY 10007                               PALATINE IL 60055



009837P001-1409A-265             031395P002-1409A-265                            031395S001-1409A-265                   033024P002-1409A-265
MADISON COUNTY SALES TAX DEPT    MADISON EAST TOWNE LLC                          MADISON EAST TOWNE LLC                 MADISON GAS AND ELECTRIC
MADISON COUNTY COURTHOUSE        BY CBL AND ASSOCIATES MANAGEMENT INC            BY CBL AND ASSOCIATES MANAGEMENT INC   JILL R SCHEEL
100 NORTHSIDE SQUARE             GARY RODDY                                      CALEB HOLZAEPFEL                       PO BOX 1231
HUNTSVILLE AL 35801-4820         2030 HAMILTON PL BLVD STE 500                   736 GEORGIA AVE STE 300                MADISON WI 53701
                                 CHATTANOOGA TN 37421-6000                       CHATTANOOGA TN 37402



033024S001-1409A-265             037831P001-1409A-265                            005580P001-1409A-265                   001303P001-1409A-265
MADISON GAS AND ELECTRIC         MADISON WHITE                                   JAYLIE M MADISON                       JANINE MADRIAGA
623 RAILROAD ST                  5529 TUXBURY POND DR                            1418 THIRD ST SE                       91-1219 KANEANA ST 15B
MADISON WI 53703                 FORT WORTH TX 76179                             AUBURN WA 98002                        EWA BEACH HI 96706-3785
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006558P001-1409A-265          000902P001-1409A-265                002212P001-1409A-265              007089P001-1409A-265
ANDREW MADRID                 CHELCYANN M MADRID                  MEILYN MADRIGAL                   CHRISTINA MADRIL
401 SHERWOOD DR               10705 PEARL RIVER AVE               110 MANNERS AVE                   5225 EAST 27TH ST
SAUSALITO CA 94965            LAS VEGAS NV 89166                  NAUGATUCK CT 06770                TUCSON AZ 85711




005037P001-1409A-265          031024P002-1409A-265                007848P001-1409A-265              005621P001-1409A-265
ASHLEY C MADU                 MAESA LLC                           MIKAYLA D MAESTAS                 CHRISTINA N MAGAAN
8002 SW 157 CT                JEFF KLEIN                          2812 WILLIAM ST SE                11 HOYT ST APT 2A
MIAMI FL 33193                40 WORTH ST STE 705                 ALBUQUERQUE NM 87102              DANBURY CT 06810
                              NEW YORK NY 10013




034115P001-1409A-265          002821P001-1409A-265                035792P001-1409A-265              005934P001-1409A-265
EDWARD D MAGALLANES           HILLARY S MAGALLON                  HILLARY S MAGALLON                AMELIA MAGANA
MAGALLANES ATTORNEY CLIENT    409 E BOWMAN ST                     605 LIBERTY ST                    1811 E GRAND AVE
TRUST ACCOUNT                 SOUTH BEND IN 46619                 SOUTH BEND IN 46619               101
10540 WILSHIRE BLVD                                                                                 ESCONDIDO CA 92027
STE 417
LOS ANGELES CA 90024


006069P001-1409A-265          003987P001-1409A-265                001086P001-1409A-265              005695P001-1409A-265
ARIANA MAGANA                 CARINA MAGANA                       CLAUDIA J MAGANA                  EDITHA E MAGANA
2525 MARQUETTE CT             224 WEST HARVARD BLVD               23524 KINGS VLY RD                14350 DALLAS PKWY APT#1126
FAIRFIELD CA 94533            SANTA PAULA CA 93060                GERMANTOWN MD 20876               DALLAS TX 75254




003453P001-1409A-265          002741P001-1409A-265                035793P001-1409A-265              002346P001-1409A-265
ESMERALDA MAGANA              GUADALUPE M MAGANA                  GUADALUPE M MAGANA                JACQUELINE Y MAGANA
639 HOWELL RD                 14570 SW FARMINGTON RD              6300 SW 188TH CT APT 49           98 LAWRENCE AVE
OXNARD CA 93033               BEAVERTON OR 97007                  BEAVERTON OR 97078                LYNBROOK NY 11563




001206P001-1409A-265          005120P001-1409A-265                005029P001-1409A-265              032227P001-1409A-265
JESSIKA ANNE G MAGBANUA       ARIANNA MAGEE                       KAYLA A MAGEE                     MAGENTO INC
94-669 KEHELA ST              150 HARMONY RD                      125 MARIETTA DR NW                XCOMMERCE INC
WAIPAHU HI 96797-1229         COLUMBIA MS 39429                   724                               10441JEFFERSON BLVD STE 200
                                                                  KENNESAW GA 30144                 CULVER CITY CA 90232




035127P001-1409A-265          031025P001-1409A-265                036260P001-1409A-265              003210P001-1409A-265
MAGENTO INC                   MAGICFOREST LTD                     MAGICFOREST LTD                   CECILY Z MAGLALANG
10451 JEFFERSON BLVD          HUGH SHURLEY                        300 WEST RD SUITE # 3             1395 SHELBY DR
CULVER CITY CA 90232          300 WEST RD                         PORTSMOUTH NH 03820               FAIRFIELD CA 94534
                              STE # 3
                              PORTSMOUTH NH 03820
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002389P001-1409A-265                 001257P001-1409A-265                  001964P001-1409A-265            006492P001-1409A-265
HAZEL MAGLANOC                       THOMAS MAGNOTTA                       DARLA MAGUIRE                   SARAH L MAHAN
5425 SANTA REGINA                    18 NEW HAVEN AVE                      108 FAY RD                      7875 WATERWAY DR NW
SAN DIEGO CA 92154                   NANUET NY 10954-2228                  A                               302
                                                                           FRAMINGHAM MA 01702-6867        CONCORD NC 28027




008544P001-1409A-265                 037854P002-1409A-265                  008342P001-1409A-265            036370P001-1409A-265
ANJILI MAHARAJ                       MAHARRI C SMITH                       VERONICA MAHLER                 ALI MAHLSTEDT
2901 SPANISH BAY DR                  5478 N 56TH ST                        20 HEVELEYN RD                  379 CHENERY ST
BRENTWOOD CA 94513                   MILWAUKEE WI 53218                    ELMSFORD NY 10523               SAN FRANCISCO CA 94131




008031P001-1409A-265                 004905P001-1409A-265                  009871P001-1409A-265            006963P001-1409A-265
UZMA MAHMOOD                         PAULINE A MAHONEY                     MAHONING COUNTY TREASURER       JENNIFER MAI
22519 ARMSTRONG TER                  11000 NAPA RIDGE DR                   JOHN B REARDON                  4472 BLYTHE RD
APT 123                              LAS VEGAS NV 89144                    120 MARKET ST                   COLUMBUS OH 43224
ASHBURN VA 20148                                                           YOUNGSTOWN OH 44503-1749




005782P001-1409A-265                 007220P001-1409A-265                  031804P002-1409A-265            010639P001-1409A-265
ATIYA MAIDEN                         MARY F MAIELLO                        BRITTANY MAIER                  MAIN STREET CA LENDING LLC
1911 AUDUBON DR                      224 N CHESTNUT ST                     1626 VERA AVE                   MAIN STREET
DRESHER PA 19025                     MASSAPEQUA NY 11758                   REDWOOD CA 94061                SCOTT GRASS AND NICK MESERVE
                                                                                                           1300 POST OAK BLVD
                                                                                                           8TH FL
                                                                                                           HOUSTON TX 77056


032228P001-1409A-265                 034134P001-1409A-265                  000323P001-1409A-265            000050P001-1409A-265
MAIN STREET CAPITAL CORP             MAIN STREET CAPITAL CORP              MAINE ATTORNEY GENERAL          MAINE DEPT OF ENVIRONMENTAL PROTECTION
NICK MESERVE                         1300 POST OAK BLVD                    JANET T MILLS                   17 STATE HOUSE STATION
1300 POST OAK BLVD                   8TH FL                                6 STATE HOUSE STATION           AUGUSTA ME 04333-0017
8TH FL                               HOUSTON TX 77056                      AUGUSTA ME 04333
HOUSTON TX 77056



000208P001-1409A-265                 000134P001-1409A-265                  009758P001-1409A-265            009813P001-1409A-265
MAINE DEPT OF LABOR                  MAINE REVENUE SVC                     MAINE REVENUE SVC               MAINE REVENUE SVC
COMMISSIONER                         24 STATE HOUSE STATION                PO BOX 1064                     PO BOX 1065
54 STATE HOUSE STATION               AUGUSTA ME 04333                      AUGUSTA ME 04332-1064           AUGUSTA ME 04332-1065
AUGUSTA ME 04332




032671P001-1409A-265                 031396P001-1409A-265                  037615P001-1409A-265            032229P001-1409A-265
MAINE STATE GOVERNMENT SVC           MAINPLACE SHOPPINGTOWN LLC            MAINPLACE SHOPPINGTOWN LLC      MAINTENX INTERNATIONAL SVC
DIVISION OF CORPORATIONS             8750 N CENTRAL EXPY                   DUSTIN P BRANCH ESQ             MANAGEMENT GROUP INC
REPORTING AND INFORMATION SECTION    STE 1740                              BALLARD SPAHR LLP               BILL SCHAPHORST
101 STATE HOUSE STATION              DALLLAS TX 75231                      2029 CENTURY PK EAST STE 800    2202 N HOWARD AVE
AUGUSTA ME 04333-0101                                                      LOS ANGELES CA 90067            TAMPA FL 33607
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036628P001-1409A-265          001018P001-1409A-265                   008422P001-1409A-265           008000P001-1409A-265
MAINTENX INTERNATIONAL SVC    LILLIAN MAITIN                         AMOU MAJOK                     ALEXANDRIA M MAKAY
MANAGEMENT GROUP INC          798 BRYANT ST                          6608 UNIVERSITY DR SOUTH       401 NORTHERN DR
2202 N HOWARD AVE             STROUDSBURG PA 18360                   OMAHA NE 68182                 SALEM VA 24153
TAMPA FL 33607




008709P001-1409A-265          008738P001-1409A-265                   032661P001-1409A-265           036402P001-1409A-265
ASHLEY A MAKINSON             SARAH MAKINSTER                        YOSHIKATSU MAKITANI            BAO MALALATIANA
2364 GUNN RD                  2852 S ESPANA ST                       3720 HACIENDA ST               1101 SOUTH ARLINGTON RIDGE RD APT 217
KISSIMMEE FL 34746            AURORA CO 80013                        SAN MATEO CA 94403             ARLINGTON VA 22202




000625P001-1409A-265          002735P001-1409A-265                   006158P001-1409A-265           001282P001-1409A-265
KAELYNN E MALANI              KAILA J MALAVET                        MAREENA MALCHAN                RACQUEL MALCOLM
865 7TH AVE                   440 KEAWE ST                           1610 RUTGERS ST                30 PINE ROCK RD
SAN BRUNO CA 94066            UNIT 515                               SCHENECTADY NY 12303           NEW HAVEN CT 06511-1665
                              HONOLULU HI 96813




035794P001-1409A-265          005257P001-1409A-265                   005444P001-1409A-265           002200P001-1409A-265
ALEYSHA A MALDONADO           CARLOS MALDONADO                       CHERELYN MALDONADO             DESTINY K MALDONADO
4230 SCHAPER AVE              CALLE A L21 URB LAS COLINAS            HACIENDAS DEL CARRIBE          2185 MONARCH RIDGE CIR
ERIE PA 16503                 TOA BAJA PR 00949                      SOLAR 6 ST                     EL CAJON CA 92019-3875
                                                                     TOA ALTA PR 00953




007013P001-1409A-265          009673P001-1409A-265                   007511P001-1409A-265           008637P001-1409A-265
DIAMOND D MALDONADO           JOVANNA MALDONADO                      SASHA MALDONADO                SHEILA MALDONADO
424 NORTH 2ND ST              13212 BEVERLY BLVD                     66 AUSTIN ST                   101 S SHERRY AVE
ALLENTOWN PA 18102            APT A                                  3                              NORMAN OK 73069
                              WHITTIER CA 90601                      WORCESTER MA 01609




003550P001-1409A-265          009602P001-1409A-265                   037784P001-1409A-265           001801P001-1409A-265
TATJANA M MALDONADO           YAZMIN A MALDONADO                     MALFITANO ADVISORS LLC         LAURA M MALINOWSKI
520 COPPERFIELD RD            450 RIVELY AVE                         JOSEPH A MALFITANO             2715 BOARDWALK
SPRING HILL FL 34606          COLLINGDALE PA 19023                   747 THIRD AVE                  APT 616
                                                                     2ND FLOOR                      ATLANTIC CITY NJ 08401-6424
                                                                     NEW YORK NY 10017



032230P001-1409A-265          034298P001-1409A-265                   031407P002-1409A-265           037617P002-1409A-265
MALL 1 - BAY PLAZA LLC        MALL 1 - BAY PLAZA LLC                 MALL 1 BAY PLAZA LLC           MALL AT AUBURN LLC
TANVI METHA                   546 5TH AVE 15 FL                      CHARLES FARMER                 A DELAWARE LIMITED LIABILITY COMPANY
546 5TH AVE 15 FL             NEW YORK NY 10036                      546 FIFTH AVE                  SIMON PROPERTY GROUP LP RONALD M TUCKER
NEW YORK NY 10036                                                    15TH FL                        225 WEST WASHINGTON ST
                                                                     NEW YORK NY 10036              INDIANAPOLIS IN 46204
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037618P001-1409A-265                       037619P001-1409A-265                               034176P003-1409A-265                      034176S001-1409A-265
MALL AT BRIARWOOD LLC                      MALL AT CONCORD MILLS LIMITED PARTNERSHIP          MALL AT GREAT LAKES LLC                   MALL AT GREAT LAKES LLC
A DELAWARE LIMITED LIABILITY CO            A DELAWARE LIMITED PARTNERSHIP                     AKA WASHINGTON PRIME GROUP INC            AKA WASHINGTON PRIME GROUP INC
SIMON PROPERTY GROUP LP RONALD M TUCKER    SIMON PROPERTY GROUP LP RONALD M TUCKER            FROST BROWN TODD LLC                      STEPHEN E IFEDUBA
225 WEST WASHINGTON ST                     225 WEST WASHINGTON ST                             301 E 4TH ST                              180 E BROAD ST
INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204                              CINCINNATI OH 45202                       COLUMBUS OH 43215



037620P001-1409A-265                       036958P001-1409A-265                               031397P001-1409A-265                      034417P001-1409A-265
MALL AT GURNEE MILLS LLC                   MALL AT INGRAM PARK LLC                            MALL AT INGRAM PARK, LLC                  MALL AT JEFFERSON VALLEY LLC
A DELAWARE LIMITED LIABILITY CO            A DELAWARE LTD LIABILITY CO                        PO BOX 402936                             PO BOX 643194
SIMON PROPERTY GROUP LP RONALD M TUCKER    SIMON PROPERTY GROUP RONALD M TUCKER               ATLANTA GA 30384-2936                     PITTSBURGH PA 15264-3194
225 WEST WASHINGTON ST                     225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204



036933P001-1409A-265                       036933S001-1409A-265                               031398P001-1409A-265                      031399P001-1409A-265
MALL AT JEFFERSON VALLEY LLC               MALL AT JEFFERSON VALLEY LLC                       MALL AT JOHNSON CITY                      MALL AT MIDLAND PARK, LLC
WASHINGTON PRIME GROUP INC                 STEPHEN E IFEDUBA                                  GLIMCHER MJC LLC                          PO BOX 643378
FROST BROWN TODD LLC                       180 E BROAD ST                                     TERESA JENSEN                             PITTSBURGH PA 15264-3378
301 E FOURTH ST                            COLUMBUS OH 43215                                  L-1953
CINCINNATI OH 45202                                                                           COLUMBUS OH 43260-1953



037621P001-1409A-265                       034471P001-1409A-265                               034400P001-1409A-265                      037622P001-1409A-265
MALL AT MONTGOMERY LP                      MALL AT MONTGOMERY, LP                             MALL AT POTOMAC MILLS LLC                 MALL AT POTOMAC MILLS LLC
A DELAWARE LIMITED PARTNERSHIP             PO BOX 829425                                      PO BOX 277866                             A DELAWARE LIMITED LIABILITY CO
SIMON PROPERTY GROUP LP RONALD M TUCKER    PHILADELPHIA PA 19182-9425                         ATLANTA GA 30384-7866                     SIMON PROPERTY GROUP LP RONALD M TUCKER
225 WEST WASHINGTON ST                                                                                                                  225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204                                                                                                                   INDIANAPOLIS IN 46204



035271P001-1409A-265                       031400P001-1409A-265                               037623P001-1409A-265                      031401P001-1409A-265
MALL AT ROBINSON                           MALL AT ROCKINGHAM LLC                             MALL AT SMITH HAVEN LLC                   MALL AT SMITH HAVEN, LLC
100 ROBINSON CENTRE DR SPACE #1330         14165 COLLECTIONS CTR DR                           A DELAWARE LIMITED LIABILITY CO           PO BOX 643200
PITTSBURGH PA 15205                        CHICAGO IL 60693                                   SIMON PROPERTY GROUP LP RONALD M TUCKER   PITTSBURGH PA 15264-3200
                                                                                              225 WEST WASHINGTON ST
                                                                                              INDIANAPOLIS IN 46204



034146P001-1409A-265                       036959P001-1409A-265                               031402P001-1409A-265                      033818P001-1409A-265
MALL AT SOLOMON POND LLC                   MALL AT SOLOMON POND LLC                           MALL AT SUMMIT LLC                        MALL AT SUMMIT LLC (LANDLORD)
14199 COLLECTIONS CTR DR                   A DELAWARE LIMITED LIABILITY CO                    PO BOX 644271                             MS MANAGEMENT ASSOCIATES INC
CHICAGO IL 60693                           SIMON PROPERTY GROUP LP RONALD M TUCKER            PITTSBURGH PA 15264-4271                  225 WEST WASHINGTON ST
                                           225 WEST WASHINGTON ST                                                                       INDIANAPOLIS IN 46204-3438
                                           INDIANAPOLIS IN 46204



031403P001-1409A-265                       037624P002-1409A-265                               037625P001-1409A-265                      037402P001-1409A-265
MALL AT TUTTLE CROSSING LLC                MALL AT TUTTLE CROSSING LLC                        MALL AT WHITE OAKS LLC                    THE MALL IN COLUMBIA LLC
PO BOX 404561                              A DELAWARE LIMITED LIABILITY CO                    A DELAWARE LIMITED LIABILITY CO           BROOKFIELD PROPERTY REIT INC
ATLANTA GA 30384-4561                      SIMON PROPERTY GROUP LP RONALD M TUCKER            SIMON PROPERTY GROUP LP RONALD M TUCKER   JULIE M BOWDEN
                                           225 WEST WASHINGTON ST                             225 WEST WASHINGTON ST                    350 N ORLEANS ST STE 300
                                           INDIANAPOLIS IN 46204                              INDIANAPOLIS IN 46204                     CHICAGO IL 60654-1607
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032231P001-1409A-265              031404P001-1409A-265                      031405P001-1409A-265                037364P001-1409A-265
MALL OF AMERICA                   MALL OF GEORGIA, LLC                      MALL OF LOUISIANA LLC               MALL OF LOUISIANA LLC
MOAC MALL HOLDINGS LLC            THE RETAIL PROPERTY TRUST                 GGPLP REAL ESTATE INC               BROOKFIELD PROPERTY REIT INC
2131 LINDAU LN                    4852MALL OF GEORGIA LLC                   SDS-12-2440                         JULIE M BOWDEN
STE 500                           PO BOX 772805                             PO BOX 86                           350 N ORLEANS ST STE 300
BLOOMINGTON MN 55425              CHICAGO IL 60677-2805                     MINNEAPOLIS MN 55486-2440           CHICAGO IL 60654-1607



029901P001-1409A-265              029902P001-1409A-265                      034392P001-1409A-265                037495P001-1409A-265
MALL PROPERTIES INC (LANDLORD)    MALL PROPERTIES INC (LANDLORD)            MALL ST CONCORD MILLS LIMITED PAR   MALL ST VINCENT LLC
MONARCHS SUB LLC                  BAYSHORE TOWN CENTER LLC                  PO BOX 100451                       BROOKFIELD PROPERTY REIT INC
8640 N DIXON AVE                  STEINER PROPERTIES LLC                    ATLANTA GA 30384-0451               JULIE M BOWDEN
KANSAS CITY MO 64153              LEASE ADMINISTRATION                                                          350 N ORLEANS ST STE 300
                                  4200 REGENT ST STE 210                                                        CHICAGO IL 60654-1607
                                  COLUMBUS OH 43219


031406P001-1409A-265              007326P001-1409A-265                      007319P001-1409A-265                003627P001-1409A-265
MALL ST VINCENT, LLC              GABRIELLA S MALLEY                        RASHONDRA A MALLORY                 JYNISE J MALLOY
110 N WACKER DR                   1907 CANVAS EDGE DR                       3496 LEE CT                         3212 KINGSWAY RD
CHICAGO IL 60606                  HENDERSON NV 89044                        KENNESAW GA 30144                   FORT WASHINGTON MD 20744




009697P001-1409A-265              002594P001-1409A-265                      002667P001-1409A-265                035795P001-1409A-265
CIERRA M MALONE                   EARNESTINE M MALONE                       IRMA J MALONE                       IRMA J MALONE
180 WESTMINSTER BLVD              665 GEARY ST                              2424 HURLEY WAY APT 122             3651 CATTLE DR
GOOSE CREEK SC 29444              APT 10                                    SARAMENTO CA 95825                  SACRAMENTO CA 95834
                                  SAN FRANCISCO CA 94102




005111P001-1409A-265              005903P001-1409A-265                      009097P001-1409A-265                006714P001-1409A-265
JANELL M MALONE                   MEGAN MALONEY                             CHRISTINE G MALONZO                 DAVID S MALOY
1612 CLARICE WAY                  213 SPRUCE LAKE DR                        1001 KINGS HWY N                    67 MOUNTAIN VIEW DR
LOUISVILLE KY 40216               MILFORD PA 18337                          APT 307                             BROOKFIELD CT 06804
                                                                            CHERRY HILL NJ 08034




010427P001-1409A-265              032232P001-1409A-265                      036630P001-1409A-265                006864P001-1409A-265
MANAGER OF FINANCE                MANAGING PERSONNEL SVC                    MANAGING PERSONNEL SVC              SAVANNAH R MANCZ
CITY AND COUNTY OF DENVER         ANA GUILLERMO                             3400 INLAND EMPIRE BLVD #150        610 CRESTVIEW DR
PO BOX 650781                     3400 INLAND EMPIRE BLVD                   ONTARIO CA 91764                    LEBANON OH 45036
DALLAS TX 75265-0781              #150
                                  ONTARIO CA 91764



002840P001-1409A-265              033767P001-1409A-265                      007128P001-1409A-265                001287P001-1409A-265
MAHALIA MAND                      MAHALIA MAND                              SIVARANJANI MANDARAPU               ASHLEY N MANDELT
4815 IRON HORSE TRL               7896 LUMINARY LN                          785 ORKNEY AVE                      1280 E FOX PL
COLORADO SPRINGS CO 80917         FOUNTAIN CO 80817                         SANTA CLARA CA 95054                MUNDS PARK AZ 86017
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006549P001-1409A-265                            009257P001-1409A-265                             001674P001-1409A-265       002057P001-1409A-265
AMY MANDICH                                     SARAHLIZ M MANE                                  KARA MANGIOLA              JASMINE MANGUAL
428 MAIN ST N                                   670 TIMBERWOLF DR                                164 N AUTUMN DR            513 CAPE COD CIR
SAINT MICHAEL MN 55376                          APT 102                                          ROCHESTER NY 14626-1338    VALRICO FL 33594-4378
                                                MANKATO MN 56001




037202P001-1409A-265                            037926P001-1409A-265                             037926S001-1409A-265       032233P001-1409A-265
LUZ MANGUAL                                     MANHATTAN ASSOCIATES INC                         MANHATTAN ASSOCIATES INC   MANHATTAN ASSOCIATES, INC
228 ANDOVER ST                                  CHIEF LEGAL OFFICER                              LOIZIDES PA                PO BOX 405696
LUZ MANGUAL                                     2300 WINDY RIDGE PKWY 10TH FL                    1225 KING ST STE 800       ATLANTA GA 30384-5696
228 ANDOVER ST                                  ATLANTA GA 30339                                 WILMINGTON DE 19801
LAWRENCE MA 01843



033518P001-1409A-265                            037626P001-1409A-265                             004403P001-1409A-265       030208P001-1409A-265
MANHATTAN TELECOMMUNICATIONS CORP               MANHATTAN TELECOMMUNICATIONS CORPS               JILLIAN MANIAGO            AMY MANIATIS
DBA METROPOLITAN TELECOMMUNICATIONS (METTEL)    ANASTASIA VENER ESQ                              325 WEBSTER DR             ADDRESS INTENTIONALLY OMITTED
PO BOX 9660                                     LAW OFFICE OF JONATHAN D BACHRACH ESQ            NEW MILFORD NJ 07646
MANCHESTER NH 03108-9660                        CO METTEL
                                                55 WATER ST 32ND FLOOR
                                                NEW YORK NY 10019


007934P001-1409A-265                            001017P001-1409A-265                             006431P001-1409A-265       030480P001-1409A-265
SAMANTHA L MANISCALCO                           STEPHANIE MANJARREZ                              GABRIEL R MANLEY           LINSEY MANLEY
40 JEFFERSON ST                                 5211 S ST LOUIS AVE                              1294 COUNTY RTE 61         ADDRESS INTENTIONALLY OMITTED
EAST ISLIP NY 11730                             CHICAGO IL 60632-1512                            SHUSHAN NY 12873




008245P001-1409A-265                            001665P001-1409A-265                             009699P001-1409A-265       003653P001-1409A-265
THAIZHANE K MANN JOHNSON                        AMBER MANN                                       ELISABETH D MANN           JASMIN C MANN
1114 STRAWN CT                                  14 SCHOFIELD ST                                  12033 FLINTSTONE CT        24105 LEXINGTON FARMS DR
FLOWER MOUND TX 75028                           WEST WARWICK RI 02893                            FISHERS IN 46037           24105
                                                                                                                            ALPHARETTA GA 30004




035796P001-1409A-265                            030867P001-1409A-265                             006580P001-1409A-265       004014P001-1409A-265
JOHNSON THAIZHANE K MANN                        MANNING LAW, APC                                 ALEXIS L MANNING           MEGAN M MANNING
1114 STRAWN CT                                  LAW OFFICES OF JOSEPH R MANNI                    452 BOSTWICK CIR           2909 N OLIVER APT 5-528B
FLOWER MOUND TX 75028                           ATTORNEY-CLIENT TRUST ACCOUNT                    SAINT AUGUSTINE FL 32092   WICHITA KS 67220
                                                4667 MACARTHUR BLVD STE 150
                                                NEWPORT BEACH CA 92660



006863P001-1409A-265                            001157P001-1409A-265                             032234P001-1409A-265       036631P001-1409A-265
RAVEEN MANNING                                  SYDNEY MANNING                                   MANNINGTON COMMERCIAL      MANNINGTON COMMERCIAL
1143 HAMPSHIRE LN                               4909 NW 80TH TER                                 MANNINGTON MILLS INC       FILE # 96261 PO BOX 96261
CEDAR HILL TX 75104                             KANSAS CITY MO 64151-1127                        SHELLY CARVER              CHICAGO IL 60693
                                                                                                 FILE # 96261
                                                                                                 PO BOX 96261
                                                                                                 CHICAGO IL 60603
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035797P001-1409A-265          005049P001-1409A-265                034183P001-1409A-265                          002283P001-1409A-265
TRANIER MANNON                DESTINE P MANSON                    JANET HIPOLITO MANUEL                         KAYLA J MANUEL
2405 ROCHDALE ST              19 BELMONTE CT SW                   1918 LEANING OAK DR                           87-185 MAMOALII PL
GARLAND TX 75040              ATLANTA GA 30311                    FAIRFIELD CA 94534                            WAIANAE HI 96792




037930P001-1409A-265          008771P001-1409A-265                006531P001-1409A-265                          035798P001-1409A-265
MANUELA PAULA ALONSO          BRENNA MANY HORSES                  IMANI M MANZANO SIMMONS                       SIMMONS IMANI M MANZANO
410 - 9TH ST                  6201 S CONNIE AVE                   3092 SINGLE TREE CT                           3092 SINGLE TREE CT
FAIRVIEW NJ 07022             313                                 LAKEWALES FL 33898                            LAKEWALES FL 33898
                              SIOUX FALLS SD 57108




006926P001-1409A-265          031408P001-1409A-265                034135P001-1409A-265                          036983P001-1409A-265
DEYSI G MANZANOMEXICANO       MAPLEWOOD MALL                      MAPLEWOOD MALL LLC                            MAPLEWOOD MALL LLC
821 NC HWY 210 W              MAPLEWOOD MALL LLC                  13157 COLLECTIONS CTR DR                      WASHINGTON PRIME GROUP INC
LOT 5                         13157 COLLECTIONS CTR DR            CHICAGO IL 60693                              FROST BROWN TODD LLC
HAMPSTEAD NC 28443            CHICAGO IL 60693                                                                  301 E FOURTH ST
                                                                                                                CINCINNATI OH 45202



036983S001-1409A-265          004949P001-1409A-265                035799P001-1409A-265                          004494P001-1409A-265
MAPLEWOOD MALL LLC            STEPHANIE S MAPP                    STEPHANIE S MAPP                              DIANA MAQUEDAMARTINEZ
WASHINGTON PRIME GROUP INC    730 FRANKLIN GTWY                   730 FRANKLIN GATEWAY                          6240 DON ZAREMBO AVE
STEPHEN E IFEDUBA             V9                                  V9                                            LAS VEGAS NV 89108
180 E BROAD ST                MARIETTA GA 30067                   MARIETTA GA 30067
COLUMBUS OH 43215



031026P001-1409A-265          010640P001-1409A-265                010641P001-1409A-265                          010642P001-1409A-265
MARAN INC DBA SQUEEZE         MARATHON CLO IV LTD                 MARATHON CLO V LTD                            MARATHON CLO VI LTD
1411 BROADWAY                 MARATHON                            MARATHON                                      MARATHON
5TH FL                        NEHA THUMAR                         NEHA THUMAR                                   NEHA THUMAR
NEW YORK NY 10018             190 ELGIN AVE                       190 ELGIN AVE                                 190 ELGIN AVE
                              GEORGE TOWN                         GEORGE TOWN                                   GEORGE TOWN
                              GRAND CAYMAN KY1-9005               GRAND CAYMAN KY1-9005                         GRAND CAYMAN KY1-9005
                              CAYMAN ISLANDS                      CAYMAN ISLANDS                                CAYMAN ISLANDS
010643P001-1409A-265          010644P001-1409A-265                010645P001-1409A-265                          010645S001-1409A-265
MARATHON CLO VII LTD          MARATHON CLO VIII LTD               MARATHON LOAN OPPORTUNITIES MASTER FUND LTD   MARATHON LOAN OPPORTUNITIES MASTER FUND LTD
MARATHON                      MARATHON                            MARATHON                                      MARATHON
NEHA THUMAR                   NEHA THUMAR                         NEHA THUMAR                                   NEHA THUMAR
190 ELGIN AVE                 190 ELGIN AVE                       190 ELGIN AVE                                 ONE BRYANT PK
GEORGE TOWN                   GEORGE TOWN                         GEORGE TOWN                                   38TH FL
GRAND CAYMAN KY1-9005         GRAND CAYMAN KY1-9005               GRAND CAYMAN KY1-9005                         NEW YORK NY 10036
CAYMAN ISLANDS                CAYMAN ISLANDS                      CAYMAN ISLANDS
037802P001-1409A-265          003588P001-1409A-265                036360P001-1409A-265                          002249P001-1409A-265
MARAVIA TALFORD               ASHLEY MARCEUS                      ADRIENNE MARCH                                HARRISON D MARCH
3288 HUMMINGBIRD CT           3611 SW 34TH ST                     5563 TOURNAMENT DR                            139 B CR 37 TYLER TX
WEST SACRAMENTO CA 95691      GAINESVILLE FL 32608                HAYMARKET VA 90169                            TYLER TX 75670
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005373P001-1409A-265             002946P001-1409A-265                     007811P001-1409A-265         003573P001-1409A-265
ESTEFANI MARCIANO                STEPHANIE MARCOS                         PAULINE C MARES              PRISCILLA MARES
1022B JULIA LN                   886 FRIENDLY CIR                         1868 WHITNEY WAY             7036 CHATUM LIGHT RUN
LAFAYETTE IN 47905               EL CAJON CA 92021                        EL CENTRO CA 92243           BRADENTON FL 34212




035349P001-1409A-265             006513P001-1409A-265                     037203P001-1409A-265         032235P001-1409A-265
MARGOLIS EDELSTEIN               ERIN M MARGRAF                           MARIA DE LOS A SANTOS        MARIA G BRITO
JAMES E HUGGETT ESQ              721 MEADOWS DR                           MARIA DE LOS A               6893 PALOS DR
300 DELAWARE AVENUE SUITE 800    ARGYLE TX 76226                          SANTOS CALLE 16 BUZN 624     RIVERSIDE CA 92503
WILMINGTON DE 19801                                                       LA CENTRAL
                                                                          CANOVANAS PR 00729



032236P001-1409A-265             005528P001-1409A-265                     032237P001-1409A-265         005464P001-1409A-265
MARIA ORTURSO                    MARIAH MARBURY-FRIEND                    MARIANA MCGRATH              PAIGE M MARICICH
12 ELDORADO DR                   9125 LAWLER AVE APT1                     635 BRODERICK ST             629 FLORIDA PL
LAKEWOOD NJ 08701                APT 1                                    SAN FRANCISCO CA 94117       GAMBRILLS MD 21054
                                 SKOKIE IL 60077




010348P001-1409A-265             008976P001-1409A-265                     010332P001-1409A-265         001978P001-1409A-265
MARICOPA COUNTY TREASURER        NINA MARIE                               MARIN COUNTY TAX COLLECTOR   VICTOR MARIN JR
PO BOX 52133                     514 WEBSTER ST                           PO BOX 4220                  1523 PRAIRIE ROCK
PHOENIX AZ 85072-2133            SAN FRANCISCO CA 94117                   SAN RAFAEL CA 94913-4220     NEW BRAUNFELS TX 78130




002535P001-1409A-265             036586P001-1409A-265                     003913P001-1409A-265         005933P001-1409A-265
ANA M MARIN                      KATHLEEN MARIN                           KENNYA A MARINES             AMANDA E MARINO
3916 SHASTA DR                   1805 BERRYHILL CIR                       921 COLORADO ST              15G ADELAIDE RD
BLOOMINGTON IL 61705             PERRY HILL MD 21128                      HARLINGEN TX 78550           NORWICH CT 06360




010518P001-1409A-265             010590P001-1409A-265                     008338P001-1409A-265         032239P001-1409A-265
MARION COUNTY TAX COLLECTOR      MARION COUNTY TAX COLLECTOR              COURTNEY MARION              MARISSA KELLEY GIMENO
PO BOX 3416                      GEORGE ALBRIGHT TAX COLLECTOR            1414 KINGLET LN              137 JACKSON ST
PORTLAND OR 97208-3416           PO BOX 970                               HANAHAN SC 29410             APT 1B
                                 OCALA FL 34478                                                        BROOKLYN NY 11211




031027P001-1409A-265             036261P001-1409A-265                     004007P001-1409A-265         030370P001-1409A-265
MARK EDWARDS APPAREL INC         MARK EDWARDS APPAREL INC                 JACKLYN MARK                 JACKLYN MARK
STACEY WENER                     8480 RUE JEANNE MANCE                    222 9TH AVE                  ADDRESS INTENTIONALLY OMITTED
8480 RUE JEANNE MANCE            MONTREAL QC H2P 2S3                      SAN FRANCISCO CA 94118
MONTREAL QC H2P 2S3              CANADA
CANADA
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002802P001-1409A-265            008714P001-1409A-265                     030307P001-1409A-265            003635P001-1409A-265
SEKEYAH MARK                    OUMOU H MARKE                            DEANNA ZIRBES MARKETING         KAITLIN R MARKHAM
260 STONYFORD DR                525 N ARMISTEAD ST APT 302               DEANNA ZIRBES                   9657 SW CHAMBERS RD
VACAVILLE CA 95687              ALEXANDRIA VA 22312                      ADDRESS INTENTIONALLY OMITTED   AUGUSTA KS 67010




008943P001-1409A-265            035800P001-1409A-265                     001866P001-1409A-265            036638P001-1409A-265
DIAMOND R MARKS                 KAITLIN A MARKS                          SHANNON M MARKWELL              MARLA DELL TALENT INC
15949 CHASE HILL BLVD           6126 AVILA ST                            11949 ROCOSO RD                 2124 UNION ST STE C
2108                            ENGLEWOOD FL 34224                       LAKESIDE CA 92040               SAN FRANCISCO CA 94123
SAN ANTONIO TX 78256




032240P001-1409A-265            032241P001-1409A-265                     001097P001-1409A-265            002324P001-1409A-265
MARLA DELL TALENT, INC          MARLA FINKELSTEIN                        KENNIBETH M MARMOLEJOS          LANA MAROCCHI
MARLA DELL TALENT AGENCY INC    59 CIELO DR                              250 RYANS RIDGE AVE             5324 S 570 E
MICHELLE MOKALLA                GREENBRAE CA 94904                       APT 911A                        APT J
2124 UNION ST                                                            EUSTIS FL 32726                 MURRAY UT 84107
STE C
SAN FRANCISCO CA 94123


007713P001-1409A-265            003301P001-1409A-265                     005821P001-1409A-265            001357P001-1409A-265
ERIKA S MARQUES                 CHELSEA MARQUEZ                          GABRIELA B MARQUEZ              GLADIS MARQUEZ
57 WANNALANCIT ST               117 MARKET ST                            844 CROSS GATES BLVD            9800-8 OAK GROVE DR
3                               3                                        SLIDELL LA 70461                DESCANSO CA 91916
LOWELL MA 01854                 BROCKTON STREET MA 02301




005754P001-1409A-265            006606P001-1409A-265                     001375P001-1409A-265            007041P001-1409A-265
JULIA E MARQUEZ                 NATALIE C MARQUEZ                        SONIA MARQUEZ                   VANESSA A MARQUEZ
10124 RANGE RD SW               4989 CR 4604                             10685 MULHALL ST                39915 TINDERBOX WAY
ALBUQUERQUE NM 87121            COMMERCE TX 75428                        EL MONTE CA 91731-1230          MURRIETA CA 92562




002445P001-1409A-265            006690P001-1409A-265                     000888P002-1409A-265            000970P001-1409A-265
JENNIFER MARQUIS                CIERA I MARRERO                          KATHERINE MARRERO               RANDI L MARRUJO
5018 BARBARA LANE               205 MILL LN                              3708 SILVER LAKE DR             13856 MANSA DR
MILTON FL 32570-8909            UNIT 303                                 KISSIMMEE FL 34744-9466         LA MIRADA CA 90638
                                SAINT AUGUSTINE FL 32084




035801P001-1409A-265            030147P002-1409A-265                     032242P001-1409A-265            032243P001-1409A-265
RANDI L MARRUJO                 MARSH AND MCLENNAN AGENCY LLC            MARSH RISK AND INSURANCE SVC    MARSH SALDANA, INC
1007 N ONONDAGA AVE             MARSH USA INC                            PO BOX 846112                   PO BOX 9023549
ANAHEIM CA 92801                9171 TOWNE CENTRE DR                     DALLAS TX 75284-6112            SAN JUAN PR 00902-3549
                                STE 100
                                SAN DIEGO CA 92122
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004594P001-1409A-265         004091P001-1409A-265                     000993P001-1409A-265         009121P001-1409A-265
BREYANNA S MARSHALL          DIAMOND MARSHALL                         DIANNE E MARSHALL            JASMINE D MARSHALL
2414 WINCH ST                5402 LIVINGSTON OAKS CIR                 1044 S LEXAN CRES            3 EVERETT ST
FORT WAYNE IN 46803          APT 230                                  NORFOLK VA 23508             DERRY NH 03038
                             BIRMINGHAM AL 35215




008972P001-1409A-265         008720P001-1409A-265                     009323P001-1409A-265         003731P002-1409A-265
KAITLYN R MARSHALL           LAVONZA MARSHALL                         MAYA L MARSHALL              OCTAVIA MARSHALL
15 TONI DR                   2008 WHISPERING MEADOWS                  3301 MELROSE CLUB BLVD       2849 SAVILLE GARDEN WAY
NEW EGYPT NJ 08533           COLUMBIA MO 65202                        APT 512                      VIRGINIA BEACH VA 23453-7031
                                                                      RALEIGH NC 27603




009064P001-1409A-265         009441P001-1409A-265                     002291P001-1409A-265         007856P001-1409A-265
SARENA M MARSHALL            SHARONTE A MARSHALL                      SYDNEY MARSHALL              TAKAYLA J MARSHALL
1454A NORTH MT VERNON AVE    2110 W SAN MIGUEL AVE                    114 SONGBIRD TRL             5932 MARGERY DR
WILLIAMSBURG VA 23185        N LAS VEGAS NV 89032                     YORKTOWN VA 23692            #103
                                                                                                   RACINE WI 53406




007515P001-1409A-265         006057P001-1409A-265                     008253P001-1409A-265         008351P001-1409A-265
TYSHAE MARSHALL              SESSALEE M MARTE                         ISOBEL CASSANDR MARTEL       KASHAUNDRA MARTEL
1217 S OCTAGON RD            119 SOUTH AVE                            739A COOKE ST                1719 MESSINA AVE
CAMDEN NJ 08104              STATEN ISLAND NY 10303                   WESTHAMPTON BEACH NY 11978   ORLANDO FL 32811




002402P001-1409A-265         010007P002-1409A-265                     032699P001-1409A-265         033025P001-1409A-265
YESENIA L MARTI              MARTIN CO TAX COLLECTOR                  MARTIN CO TAX COLLECTOR      MARTIN COUNTY UTILITIES
11431SW 35TH LN              3485 SE WILLOUGHBY BLVD                  JOAN MALLONI                 PO BOX 9000
MIAMI FL 33165               STUART FL 34994                          3485 E WILLOUGHBY BLVD       STUART FL 34995
                                                                      STUART FL 34994




033025S001-1409A-265         033679P001-1409A-265                     006895P001-1409A-265         001237P001-1409A-265
MARTIN COUNTY UTILITIES      MARTIN COYNE DRA ADVISORS LLC            KAYLA N MARTIN JONES         ALEXXIS J MARTIN
2401 SE MONTEREY RD          220 E 42ND ST                            6038 CIRCUS LOOP             14468 RUNYON DR
STUART FL 34996              27TH FLOOR                               MILLINGTON TN 38053          CORONA CA 92880
                             NEW YORK NY 10017




003896P001-1409A-265         035418P001-1409A-265                     004735P001-1409A-265         003464P001-1409A-265
ANDREA M MARTIN              ANDREA M MARTIN                          ASHLEY MARTIN                CAROLINE A MARTIN
4540 OREGON ST UNIT 3        8841 SPECTRUM CTR BLVD                   10100 N 89TH AVE UNIT 40     144 EASTLINE RD
SAN DIEGO CA 92116           APT 5209                                 PEORIA AZ 85345              BALLSTON LAKE NY 12019
                             SAN DIEGO CA 92123
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008316P001-1409A-265      001358P001-1409A-265                 035802P001-1409A-265             001038P001-1409A-265
CHEYENNE R MARTIN         JASMINE J MARTIN                     JONES KAYLA N MARTIN             KATHERINE MARTIN
104 WEDGEWOOD TER RD      317 PERKINS CT                       6038 CIRCUS LOOP                 32 JOOST AVE
MADISON AL 35757          SUISUN CITY CA 94585-4138            MILLINGTON TN 38053              SAN FRANCISCO CA 94131




009521P001-1409A-265      036679P001-1409A-265                 005477P001-1409A-265             004727P001-1409A-265
MONIQUE MARTIN            NICOLE MARTIN                        NYA MARTIN                       REGINA MARTIN
9105 W FLAMINGO RD        2323 N WOODLAWN APT 105              3712 WARNER AVE                  6638 VALIANT DR
APT 1063                  WICHITA KS 67220                     LANDOVER HILLS MD 20784          JACKSONVILLE FL 32210
LAS VEGAS NV 89147




007293P001-1409A-265      017394P001-1409A-265                 005376P001-1409A-265             002314P001-1409A-265
SARA MARTIN               TIERRA MARTIN                        TYRA M MARTIN                    TYREANNA MARTIN
1549 E LAURA AVE          2015 SW REUNION CIR                  3208 CRESCENT RUN CT             3516 W 157TH ST
VISALIA CA 93292          ANKENY IA 50023                      LAS VEGAS NV 89117               MARKHAM IL 60428




005790P001-1409A-265      006314P001-1409A-265                 008929P001-1409A-265             004531P001-1409A-265
WESLEY V MARTIN           KELSEY MARTINEZ AVILA                BIRIDIANA MARTINEZ DE JESUS      ALEJANDRA MARTINEZ
6001 OLD HICKORY BLVD     2621 HOWE AVE                        3104 CLARKSVILLE PK LOT 7        2580 SENTER RD SPC 521
370                       APT 217                              NASHVILLE TN 37218               SAN JOSE CA 95111
HERMITAGE TN 37076        SACRAMENTO CA 95821




033524P001-1409A-265      002439P001-1409A-265                 002723P001-1409A-265             007853P001-1409A-265
ALEX MARTINEZ             AMANDA MARTINEZ                      ANNETTE M MARTINEZ               ASTRID MARTINEZ
PO BOX 193301             84477 VOLARE AVE                     1621 CARLTONIA ST                412 CTR ST
SAN FRANCISCO CA 94119    INDIO CA 92203                       PUEBLO CO 81006                  FREDERICK MD 21701




035803P001-1409A-265      001743P001-1409A-265                 006316P001-1409A-265             008460P001-1409A-265
AVILA KELSEY MARTINEZ     BIANCA MARTINEZ                      BRIANA MARTINEZ                  CAMILE MARTINEZ
2621 HOWE AVE             576 CLAY AVE                         10630 PUEBLO PL NW               718 VERMONT AVE
APT 217                   ROCHESTER NY 14613-1045              ALBUQUERQUE NM 87114             PORTSMOUTH VA 23707
SACRAMENTO CA 95821




002597P001-1409A-265      000929P001-1409A-265                 001317P001-1409A-265             009561P001-1409A-265
CARINA L MARTINEZ         CASSIDY S MARTINEZ                   CECILIA MARTINEZ                 CHISSEL MARTINEZ
1109 SAPPHIRE DR          1001 S MEADOWS PKWY                  4178 N E ST                      5740 SEPULVEDA BLVD APT #18
WESLACO TX 78599          612                                  SAN BERNARDINO CA 92407          VAN NUYS CA 91411
                          RENO NV 89521
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003999P002-1409A-265             005920P001-1409A-265                002184P001-1409A-265              006894P001-1409A-265
CHRISTINA M MARTINEZ             CLARIZA G MARTINEZ                  CRISTINA M MARTINEZ               CYNTHIA A MARTINEZ
505 E EXCHANGE PKWY APT 10104    1302 N MARYLAND ST                  3600 S CENTRAL AVE                877 LAVOIE AVE
ALLEN TX 75002-1764              CARROLLTON TX 75006                 CICERO IL 60804                   ELGIN IL 60120




000714P001-1409A-265             035804P001-1409A-265                006313P001-1409A-265              037101P001-1409A-265
DAVID MARTINEZ                   DESTINY A MARTINEZ                  ELIZABETH MARTINEZ                ESPERANZA M REDMOND MARTINEZ
677 G ST SPACE 150               1400 ISLETON PL                     5167 ROEDER RD                    1332 HUDSON RD
CHULA VISTA CA 91910             #1                                  SAN JOSE CA 95111                 STPAUL MN 55106
                                 OXNARD CA 93030




003182P001-1409A-265             004687P001-1409A-265                002022P001-1409A-265              008397P001-1409A-265
ESTEFANI MARTINEZ                FELISA MARTINEZ                     GISSELLE MARTINEZ                 GRACE L MARTINEZ
6309 ELGIN ST                    6851 TAMARUS ST UNIT 104            33647 5TH ST                      15321 RINGNECK ST
LOS ANGELES CA 90042             LAS VEGAS NV 89119                  UNION CITY CA 94587-2420          ROANOKE TX 76262




001455P001-1409A-265             035805P001-1409A-265                007478P001-1409A-265              006162P001-1409A-265
ISEL D MARTINEZ                  JAZMIN I MARTINEZ                   JENNIFER MARTINEZ                 JOANNA MARTINEZ
662 TUMBLEWEED                   3784 KIT FOX ST                     3201 LOYOLA DR                    16835 HURON ST
CHAPARRAL NM 88081               LAS VEGAS NV 89122                  KENNER LA 70065                   111
                                                                                                       BROOMFIELD CO 80023




003770P001-1409A-265             006035P001-1409A-265                006216P001-1409A-265              005040P001-1409A-265
JORDANIA MARTINEZ                JOSELYN MARTINEZ                    JUANITA M MARTINEZ                JULIET E MARTINEZ
94-07 82ND PL                    7770 LAYDEN LN                      4200 MAYBROOK DR LOT #34          7546 STEWART AND GRAY RD
OZONE PARK NY 11416              COMMERCE CITY CO 80022              GREENSBORO NC 27405               101
                                                                                                       DOWNEY CA 90241




002862P001-1409A-265             002260P001-1409A-265                003067P001-1409A-265              004301P001-1409A-265
KAREN J MARTINEZ                 KATHERINE Z MARTINEZ                KIMBERLY MARTINEZ                 LEXY V MARTINEZ
6568 N RAISINA                   6130 W 21 CT                        3 BERNIUS CT                      311 NORTH GEORGIA
FRESNO CA 93710                  104                                 JERSEY CITY NJ 07304              MERCEDES TX 78570
                                 HIALEAH FL 33016




003260P001-1409A-265             003296P001-1409A-265                009052P001-1409A-265              002370P001-1409A-265
LIZBETH MARTINEZ                 LYNN M MARTINEZ                     MAIRIM MARTINEZ                   MARIA D MARTINEZ
6835 SIMI PL                     9551 BARLOW SPRINGS LN              536 W 1ST AVE                     1292 SE 9TH ST
SAN DIEGO CA 92139               HUMBLE TX 77396                     MESA AZ 85201                     HOMESTEAD FL 33035
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003463P001-1409A-265        007223P001-1409A-265                002933P001-1409A-265              001165P001-1409A-265
MARIA YASMIN MARTINEZ       MARLENY MARTINEZ                    MEAGAN MARTINEZ                   MEGHAN M MARTINEZ
2535 EDGEWOOD AVE NE        53551 HARRISON ST                   2602 DUNCAN DR                    2505 SUNBURST LN
SALEM OR 97301              124                                 AMARILLO TX 79109                 PEARLAND TX 77584-3176
                            COACHELLA CA 92236




003435P001-1409A-265        035806P001-1409A-265                001400P001-1409A-265              004663P001-1409A-265
MELISSA M MARTINEZ          MELISSA M MARTINEZ                  MONICA MARTINEZ                   NADYIA A MARTINEZ
5318 KADENA GDN CT          5318 KADENA GARDEN CT               3648 W 71ST ST                    3315 MESA VERDE
NORTH LAS VEGAS NV 89031    NORTH LAS VEGAS NV 89031            CHICAGO IL 60629                  GRAND PRAIRIE TX 75052




000878P001-1409A-265        000531P001-1409A-265                006067P001-1409A-265              008864P001-1409A-265
NANCY B MARTINEZ            NAOMI L MARTINEZ                    NICOLE A MARTINEZ                 PATRICIA E MARTINEZ
819 PK AVE                  250 MAIN ST                         4916 N HARLEM AVE                 340 WARTHAN ST
APT 1                       18                                  APT 2E                            COALINGA CA 93210
HOBOKEN NJ 07030            SPOTSWOOD NJ 08884                  HARWOOD HEIGHTS IL 60706




001200P001-1409A-265        037656P001-1409A-265                005305P001-1409A-265              003037P001-1409A-265
REBECCA G MARTINEZ          ROBERTO MARTINEZ                    ROBERTO F MARTINEZ                SAMANTHA MARTINEZ
19451 E RYAN RD             730 BREEZE HILL RD #300             730 BREEZE HILL RD #300           19790 NW 52ND PL
QUEEN CREEK AZ 85142        VISTA CA 92081                      VISTA CA 92081                    MIAMI FL 33055




004510P002-1409A-265        035807P001-1409A-265                003592P001-1409A-265              001362P001-1409A-265
SAMERA R MARTINEZ           SAMERA R MARTINEZ                   SIANI MARTINEZ                    STEPHANY N MARTINEZ
9603 CUSTER RD APT 1126     5720 FRISCO SQUARE BLVD             4428 COMLY ST                     11381 EVANS ST
PLANO TX 75025-6516         2012                                PHILADELPHIA PA 19135             APT 6
                            FRISCO TX 75033                                                       OMAHA NE 68164




001497P001-1409A-265        003821P001-1409A-265                002417P001-1409A-265              007648P001-1409A-265
STEVEN M MARTINEZ           VERONICA MARTINEZ                   VICTORIA MARTINEZ                 VICTORIA M MARTINEZ
1375 MARCY ST               12413 RUSH ST                       4514 24TH ST                      3359 COACHMAN RD
AKRON OH 44301              EL MONTE CA 91733                   DICKINSON TX 77539                APT 216
                                                                                                  EAGAN MN 55121




035808P001-1409A-265        002941P002-1409A-265                008079P001-1409A-265              001616P002-1409A-265
VICTORIA M MARTINEZ         YADIRA MARTINEZ                     YESENIA MARTINEZ                  DESIREE MARTINEZCOLLAZO
3102 EAST 65TH ST           61 SAN FELIPE DR                    2823 W20TH ST                     1055 S 22ND ST
APT 204                     PERRIS CA 92571-4616                1R                                MILWAUKEE WI 53204-1935
INVER GROVE MN 55076                                            BROOKLYN NY 11224
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005145P001-1409A-265                            008725P001-1409A-265                         002848P001-1409A-265                 002384P001-1409A-265
JULISSA N MARTINEZRAYA                          CHYNNA MARTINS                               FRANCISCA V MARTINS                  CYNTHIA M MARTIRE
214 BARRINGTON DR                               2310 COACHMAN CT                             73 MOSHER ST                         9930 HARLINGTON ST
HAINES CITY FL 33845                            WAUKESHA WI 53188                            1                                    CANTONMENT FL 32533
                                                                                             NEW BEDFORD MA 02744




010397P001-1409A-265                            035809P001-1409A-265                         031028P001-1409A-265                 003208P001-1409A-265
MARTY G EUBANK, TREASURER                       GISSELLE M MARTY                             MARU                                 ASHLEY T MARX
CITY OF NEWPORT NEWS                            7106 SUMMIT DR                               K1 INTERNATIONAL                     856 ASHBURN WAY
PO BOX 975                                      WINTER HAVEN FL 33884                        TINA KIM                             WOOLWICH TOWNSHIP NJ 08085
NEWPORT NEWS VA 23607-0975                                                                   2088 S COMPTON AVE
                                                                                             LOS ANGELES CA 90011



008751P001-1409A-265                            030738P001-1409A-265                         033026P001-1409A-265                 033026S001-1409A-265
SAVANNAH MARX                                   MARY CLAN INC                                MARYLAND AMERICAN WATER              MARYLAND AMERICAN WATER
251 CORDELL CIR                                 JAY LEE                                      PO BOX 790247                        HEADQUARTERS
JACKSONVILLE NC 28540                           600 E WASHINGTON BLVD                        ST LOUIS MO 63179                    1025 LAUREL OAK RD
                                                STE # W-1                                                                         VOORHEES NJ 08043
                                                LOG ANGELES CA 90015



000324P001-1409A-265                            000209P002-1409A-265                         000051P001-1409A-265                 000052P001-1409A-265
MARYLAND ATTORNEY GENERAL                       MARYLAND DEPT OF LABOR                       MARYLAND DEPT OF NATURAL RESOURCES   MARYLAND DEPT OF THE ENVIRONMENT
BRIAN FROSH                                     LICENSING AND REGULATION                     580 TAYLOR AVE                       1800 WASHINTON BLVD
200 ST PAUL PL                                  UNEMPLOYMENT INSURANCE                       TAWES STATE OFFICE BLDG              BALTIMORE MD 21230
BALTIMORE MD 21202-2022                         LITIGATION AND PROSECUTION                   ANNAPOLIS MD 21401
                                                1100 N EUTAW ST RM 401
                                                BALTIMORE MD 21201


010646P001-1409A-265                            000430P001-1409A-265                         002951P001-1409A-265                 001527P001-1409A-265
MARYLAND STATE RETIREMENT AND PENSION SYSTEM    MARYLAND TREASUERE'S OFFICE                  DOMINIQUE MARZIOTTO                  KAMILLE R MASBANG
KKR                                             UNCLAIMED PROPERTY DIVISION                  2811 TORI OAK TRL                    3 GENESSEE AVE
JEREMIAH LANE                                   GOLDSTEIN TREASURY BLDG                      CORINTH TX 76210                     3
120 E BALTIMORE ST                              80 CALVERT ST                                                                     PATERSON NJ 07503
BALTIMORE MD 21202                              ANNAPOLIS MD 21401



003520P001-1409A-265                            035810P001-1409A-265                         032244P001-1409A-265                 008930P001-1409A-265
LORENA R MASCORRO                               LORENA R MASCORRO                            MASHANTUCKET PEQUOT TRIBAL           MADALINE M MASLANKA
408 ROGERS ST SW                                110 LEGION WAY SE                            POLICE DEPT                          2231 TECHNOLOGY DR
OLYMPIA WA 98502                                207                                          101 PEQUOT TRL                       105
                                                OLYMPIA WA 98501                             MASHANTUCKET CT 06338-3196           CONWAY SC 29526




034802P001-1409A-265                            029903P001-1409A-265                         002469P001-1409A-265                 002203P001-1409A-265
MASON ASSET MANAGEMENT                          MASON ASSET MANAGEMENT (LANDLORD)            ANTOINETTE MASON                     LINNEA B MASON
DESOTO OWNERS LLC                               DESOTO OWNERS LLC                            10203 GLEN WAY                       891 WHITE PINE DR
MADISON PROPERTIES USA LLC                      MADISON PROPERTIES USA LLC                   FORT WASHINGTON MD 20744             APT C
3611 14TH AVE                                   3611 14TH AVE STE 552                                                             DECATUR GA 30032
STE 552                                         BROOKLYN NY 11218
BROOKLYN NY 11218
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037456P001-1409A-265               000325P001-1409A-265                      000376P001-1409A-265             000053P001-1409A-265
MATTHEW D MASON                    MASSACHUSETTS ATTORNEY GENERAL            MASSACHUSETTS ATTORNEY GENERAL   MASSACHUSETTS DEPT OF ENVIRONMENT PROTECTION
BRENDAN G BEST                     MAURA HEALY                               CONSUMER PROTECTION DIVISION     ONE WINTER ST
VARNUM LLP                         ONE ASHBURTON PL                          MCCORMACK BLDG                   BOSTON MA 02108
160 W FORT ST 5TH FL               BOSTON MA 02108-1698                      ONE ASHBURTON PL
DETROIT MI 48226                                                             BOSTON MA 02108



000210P001-1409A-265               009756P001-1409A-265                      010368P001-1409A-265             035128P001-1409A-265
MASSACHUSETTS DEPT OF LABOR AND    MASSACHUSETTS DEPT OF REVENUE             MASSACHUSETTS DEPT OF REVENUE    MASSACHUSETTS MUTUAL LIFE INSURANCE CO
WORK FORCE DEVELOPMENT             PO BOX 7005                               PO BOX 7065                      EXECUTIVE VICE PRESIDENT FOR RETIREMENT SVC
DIRECTOR                           BOSTON MA 02204                           BOSTON MA 02204-7065             1295 STATE ST
1 ASHBURTON PL RM 2112                                                                                        SPRINGFIELD MA 01111
BOSTON MA 02108



000431P001-1409A-265               001903P001-1409A-265                      003442P001-1409A-265             004028P001-1409A-265
MASSACHUSETTS STATE TREASURER      OREL MASSENAT                             TAYLOR R MASSENGALE              ANIKA K MASSEY
UNCLAIMED PROPERTY DIVISION        9 CANOE BIRCH CT                          865 VIKING CIR                   1512 PICHARD ST
ONE ASHBURTON PL                   BERLIN CT 06037-4088                      UNIT 406                         GREENSBORO NC 27401
12TH FL                                                                      BELLINGHAM WA 98229
BOSTON MA 02108-1608



004373P001-1409A-265               030652P001-1409A-265                      003427P001-1409A-265             032245P001-1409A-265
SARAI MASSEY                       TIFFANY MASSIE                            TIFFANY J MASSIE                 MASSMUTUAL
4012 TULIP TREE DR                 ADDRESS INTENTIONALLY OMITTED             174 NORTHWOOD AVE                MASSACHUSETTS MUTUAL LIFE INSU
FORT WORTH TX 76137                                                          FRANKLIN FURNACE OH 45629        LAURA NIETUPSKI
                                                                                                              MASSMUTUAL RETIREMENT SERVICE
                                                                                                              PO BOX 219062
                                                                                                              KANSAS CITY MO 64121-9062


030189P001-1409A-265               002189P001-1409A-265                      001437P001-1409A-265             001889P001-1409A-265
ALEXANDRA L MASTERSON              JOELI MASTRIANNI                          CHAERAI J MASULIT                ARIEL L MATA
ADDRESS INTENTIONALLY OMITTED      2 ADVOCATE PL                             19910 15TH AVE EAST              32456 BERGAMO CT
                                   DANBURY CT 06810                          SPANAWAY WA 98387                TEMECULA CA 92592




001798P001-1409A-265               007534P001-1409A-265                      004937P001-1409A-265             002451P001-1409A-265
WENDY J MATA                       ADAMARIS L MATAMOROS                      CASSANDRA S MATAU                ANN S MATHAI
14902 ROSCOE BLVD                  28436 RANGERVILLE RD                      1410 NORTH 19TH ST               209 BRADGATE DR
APT 14                             HARLINGEN TX 78552                        GRAND JUNCTION CO 81501          YUKON OK 73099
PANORAMA CITY CA 91402-4675




035811P001-1409A-265               002049P001-1409A-265                      003142P001-1409A-265             003861P001-1409A-265
ANN S MATHAI                       JILLIAN M MATHEUS                         ALEXA MATHEWSONTHOMAS            ELIZABETH MATIAS
3609 SAGE BRUSH PL                 165 WINTHROP ST EASTHAM 115               2213 S EVERGREEN RD              6002 J ST
YUKON OK 73099                     325 SAGAMORE                              TEMPE AZ 85282                   2040 C
                                   TAUNTON MA 02780                                                           SACRAMENTO CA 95819
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035812P001-1409A-265           008927P003-1409A-265                    008069P001-1409A-265                     008458P001-1409A-265
ELIZABETH MATIAS               KATHERINE MATIAS                        BRIANNA L MATLOCK                        KATIE L MATRICK
2257 HURLEY WAY APT 86         4233 GREENLEAF CT APT 104               8467 MELROSE LN                          118 MEADOWCREEK DR
SACRAMENTO CA 95825            PARK CITY IL 60085-7964                 EL CAJON CA 92021                        BRANDON MS 39042




032246P001-1409A-265           036642P001-1409A-265                    035129P001-1409A-265                     006646P001-1409A-265
MATS INC                       MATS INC                                MATSON NAVIGATION CO INC                 CHASADEE N MATSONTERRY
TIM THEROUX                    179 CAMPANELLI PKWY                     555 12TH ST                              108 BOMBADILL BLVD
179 CAMPANELLI PKWY            STOUGHTON MA 02072                      OAKLAND CA 94607                         WRIGHT CITY MO 63390
STOUGHTON MA 02072




005650P001-1409A-265           003982P001-1409A-265                    037628P001-1409A-265                     032247P001-1409A-265
KAELYN K MATSOS                BRIANNE A MATTERN                       MATTHEW D MASON SOLELY IN HIS CAPACITY   MATTHEW HULSEY
13363 LONGTIN ST               1560 ALABASTER WAY                      AS THE RECEIVER IN CASE NO 13            16401 PACIFIC COAST HWY
SOUTHGATE MI 48195             APT C                                   CH 12 SIXTEENTH JUDICIAL DIS             PO BOX 1643
                               FAYTTEVILLE NC 28314                    VARNUM LLP BRENDAN G BEST                SUNSET BEACH CA 90742
                                                                       160 W FORT ST FIFTH FL
                                                                       DETROIT MI 48226


033027P001-1409A-265           034242P001-1409A-265                    008613P001-1409A-265                     003213P001-1409A-265
MATTHEW MASON AS RECEIVER      MATTHEW MASON AS RECEIVER OF            AMANDA MATTHEW                           ARIELLE A MATTHEW
1900 S RANDALL RD              ALGONQUIN COMMONS                       255 THE PRESERVE DR                      2240 NW 1ST ST
ALGONQUIN IL 60102             320 NORTH MAIN ST                       ATHENS GA 30606                          BOYNTON BEACH FL 33435
                               STE 200
                               ANN ARBOR MI 48104



032248P001-1409A-265           035130P001-1409A-265                    007131P001-1409A-265                     008789P001-1409A-265
MATTHEWS INTERNATIONAL CORP    MATTHEWS INTERNATIONAL CORP             ANIAH MATTHEWS                           CHRISTY MATTHEWS
ACCOUNTS RECEIVABLE            DBA LIGHTNING PICK                      9419 MERRYREST RD                        355 HONEY COVE CT SW
PO BOX 536621                  W229 N2510 DUPLAINVILLE ROAD            COLUMBIA MD 21045                        FORT WALTON BEACH FL 32548-5212
PITTSBURGH PA 15253-5908       WAUKESHA WI 53186




005092P002-1409A-265           006701P001-1409A-265                    009212P001-1409A-265                     005063P001-1409A-265
DESTINY P MATTHEWS             JESSICA R MATTHEWS                      KASSAUNDRA F MATTHEWS                    KELAIAH MATTHEWS
4065 N STATE ROAD 161          711 THOMPSON DR                         1196 GRATTAN ST APT 1R                   516 ROBERTS RANCH TRL
RICHLAND IN 47634-9467         APT 106A                                CHICOPEE MA 01013                        MONCKS CORNER SC 29461
                               PRAIRE VIEW TX 77445




001846P001-1409A-265           004377P001-1409A-265                    005569P001-1409A-265                     000599P001-1409A-265
NICKIE MATTHEWS                HOLLY MATTIMORE                         HERMIE JULIETTE J MATUS                  ROSE A MATUSHESKI
1667 WESTGATE DR               59 POSSUM DR                            986 ADIRONDACK PL                        216 FARVIEW RD
APT 201                        NEW FAIRFIELD CT 06812                  CHULA VISTA CA 91914                     EAST NORRITON PA 19401
YORK PA 17408-6342
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005187P001-1409A-265       032249P001-1409A-265                    004080P001-1409A-265                  002311P001-1409A-265
LYUBOV A MATYUSHINA        MAURICE HOOKER                          MA CRISTINA A MAURICIO                ALISSA J MAUTZ
17 BELLINGER CT            SPILL CO                                25650 INTERSTATE 45                   5101 PRAIRIE ROSE RD
REISTERSTOWN MD 21136      MAURICE HOOKER                          1504                                  MADISON WI 53704
                           1437 EARLSHIRE PL                       SPRING TX 77386
                           PLANO TX 75075



030739P001-1409A-265       036262P001-1409A-265                    033028P001-1409A-265                  033028S001-1409A-265
MAVERICK APPAREL           MAVERICK APPAREL                        MAWC                                  MAWC
DANIEL DABAH               1384 BROADWAY STE 1604                  PO BOX 800                            124 PARK AND POOL RD
1384 BROADWAY              NEW YORK NY 10018                       GREENSBURG PA 15601                   NEW STANTON PA 15672
STE 1604
NEW YORK NY 10018



033328P001-1409A-265       030815P001-1409A-265                    036263P001-1409A-265                  031029P001-1409A-265
MAX SALES GROUP            MAXBERRY T AND I                        MAXBERRY T AND I                      MAXIGLOBAL INC
CRYSTAL                    RULY                                    XI JIAO CUN HUAN XIU JIE DAO JI MO    777 E 10TH ST
2331 S TUBEWAY AVE         XI JIAO CUN HUAN XIU JIE DAO            SHANDONG                              UNIT 116
COMMERCE CA 90040          JI MO                                   CHINA                                 LOS ANGELES CA 90021
                           SHANDONG
                           CHINA


009486P001-1409A-265       036643P001-1409A-265                    032250P001-1409A-265                  001966P001-1409A-265
AMANDA MAXIMIN             MAXIMUM EQUIPMENT AND                   MAXIMUM EQUIPMENT AND TECHNICAL SVC   ALEXUS A MAXISON
675 EAST 37TH ST           TECHNICAL SVC                           NICOLE GARZA                          2322 NORTH IDAHO STREEET
BROOKLYN NY 11203          1665 W ARROW RTE STE B                  1665 W ARROW RTE STE B                PEORIA IL 61604
                           UPLAND CA 91786                         UPLAND CA 91786




001316P001-1409A-265       007950P001-1409A-265                    004748P001-1409A-265                  007056P001-1409A-265
ASHLEY N MAXWELL           BETH A MAXWELL                          CHRISHUNDA B MAXWELL                  MORGAN E MAXWELL
233 CHALMER'S CT APT 1C    56 FALMOUTH RD                          377 GRANT AVE                         1700 RANKIN LN
BERRYVILLE VA 22611        YARDVILLE NJ 08620                      MACON GA 31201                        215
                                                                                                         EVANSVILLE IN 47712




033797P001-1409A-265       036367P001-1409A-265                    001991P001-1409A-265                  003942P001-1409A-265
ALEXANDRA M MAY            ALEXANDRA M MAY                         RAYNA K MAY                           VICTORIA L MAY
ALEX MAY                   4075 SAWTELLE BLVD                      5120 N SUGAR HILLS DR                 3707 E BARRINGTON DR
4075 SAWTELLE BLVD         LOS ANGELES CA 90066                    GREENFIELD IN 46140                   APT 104
LOS ANGELES CA 90066                                                                                     BLOOMINGTON IN 47408




008784P001-1409A-265       005488P001-1409A-265                    008156P001-1409A-265                  037035P001-1409A-265
JESSICA N MAYCROFT         JILLIAN R MAYER                         CHELSEA N MAYES                       KINNITHEA MAYES
2140 FILONOW               4503 LINDEN AVE                         7950 CROSSROADS DR APT 913            1225 HEATHERS MIST AVE #301
MUSKEGON MI 49444          PHILADELPHIA PA 19114                   NORTH CHARLESTON SC 29486             CHARLOTTE NC 28213
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005816P001-1409A-265            031409P001-1409A-265                               036645P001-1409A-265                      037359P001-1409A-265
KINNITHEA A MAYES               MAYFAIR MALL LLC                                   MAYFAIR MALL LLC                          MAYFAIR MALL LLC
1225 HEATHERS MIST AVE          GGPLP REAL ESTATE INC                              PO BOX 772816                             BROOKFIELD PROPERTY REIT INC
APT 301                         PO BOX 772816                                      CHICAGO IL 60677-2816                     JULIE M BOWDEN
CHARLOTTE NC 28213              CHICAGO IL 60677-2816                                                                        350 N ORLEANS ST STE 300
                                                                                                                             CHICAGO IL 60654-1607



008666P001-1409A-265            034145P001-1409A-265                               037629P001-1409A-265                      031410P001-1409A-265
JASMINE N MAYFIELD              MAYFLOWER APPLE BLOSSOM LP                         MAYFLOWER APPLE BLOSSOM LP                MAYFLOWER AUBURN LP
3533 BRICK CHURCH PIKE          14183 COLLECTIONS CTR DR                           A DELAWARE LIMITED PARTNERSHIP            14193 COLLECTIONS CTR DR
NASHVILLE TN 37207              CHICAGO IL 60693                                   SIMON PROPERTY GROUP LP RONALD M TUCKER   CHICAGO IL 60693
                                                                                   225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS IN 46204



031411P001-1409A-265            037630P002-1409A-265                               037631P001-1409A-265                      031412P001-1409A-265
MAYFLOWER EMERALD SQUARE LLC    MAYFLOWER EMERALD SQUARE LLC                       MAYFLOWER SQUARE ONE LLC                  MAYFLOWER SQUARE ONE, LLC
14190 COLLECTIONS CTR DR        A DELAWARE LIMITED LIABILITY CO                    A DELAWARE LIMITED LIABILITY CO           4925 MAYFLOWER SQUARE ONE LLC
CHICAGO IL 60693                SIMON PROPERTY GROUP LP RONALD M TUCKER            SIMON PROPERTY GROUP LP RONALD M TUCKER   14169 COLLECTIONS CTR DR
                                225 WEST WASHINGTON ST                             225 WEST WASHINGTON ST                    CHICAGO IL 60693
                                INDIANAPOLIS IN 46204                              INDIANAPOLIS IN 46204



006536P001-1409A-265            002929P001-1409A-265                               002889P002-1409A-265                      035813P001-1409A-265
NATALIE MAYKO                   MARLEE MAYNARD                                     KRISTA N MAYNOR                           ALLIYAH MAYO
57 QUEEN ST                     4019 FONTANA PL                                    300 CRESCENT DR APT 120                   132 BROOKLYN STANHOPE RD
HOLYOKE MA 01040                VALRICO FL 33596                                   VACAVILLE CA 95688                        STANHOPE NJ 07874




009241P001-1409A-265            032251P001-1409A-265                               005369P001-1409A-265                      006054P001-1409A-265
TAMARA N MAYO                   MAYRA N SANCHEZ                                    CIARRA N MAYWA                            MADISON J MAZON
7325 RIVENDELL TER              134 BLAKE ST                                       1018 WEST JASMINE LN                      24545 SW 13TH LN
RICHMOND VA 23234               SAN FRANCISCO CA 94118                             NORTH LAUDERDALE FL 33068                 NEWBERRY FL 32669




005636P001-1409A-265            009359P001-1409A-265                               002556P001-1409A-265                      006051P001-1409A-265
MADISON M MAZUR                 MAUREEN E MAZZA                                    AMANDA R MAZZUCCO                         ALYSSA K MAZZULLA
19245 MARINE VIEW DR SW         4100 PEACOCK DR                                    26 HUNTINGTON PKWY                        9 VIOLET ST
NORMANDY PARK WA 98166          BETHLEHEM PA 18020                                 HAMLIN NY 14464                           JOHNSTON RI 02919




000816P001-1409A-265            000915P001-1409A-265                               000735P001-1409A-265                      037154P001-1409A-265
ERICKA D MC DOWELL              JAMES MC ILVAINE                                   TRACY L MC NUTT                           ASHLEY MCADAMS
332 N JEFFERSON ST              2250 MARY ST                                       1230 ENDERBURY DR                         ASHLEY MCADAMS
B3                              #205                                               APT 3                                     503 BRENTWOOD DR
ALLENTOWN PA 18102              PITTSBURGH PA 15203                                SAINT LOUIS MO 63125                      MADISON AL 35758
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035814P001-1409A-265            006426P001-1409A-265                               036605P001-1409A-265             004590P001-1409A-265
ASHLEY M MCADAMS                MERCEDES L MCAFEE                                  LAUREN MCALEER                   KAYLA MCALISTER
503 BRENTWOOD DR                274 EAST PK AVE                                    9503 GLEN RIDGE DR               3311 NEW BERN RIDGE DR
MADISON AL 35758                BARBERTON OH 44203                                 LAUREL MD 20723-1358             APT 308
                                                                                                                    RALEIGH NC 27610




035815P001-1409A-265            035816P001-1409A-265                               002993P002-1409A-265             006115P001-1409A-265
KAYLA MCALISTER                 BRAE'LYNN J MCALL                                  BRAELYNN J MCALL                 BRITTNEY N MCALLISTER
169 NEILLS CREEK RD             1730 PUTNAM AVE #8                                 1730 PUTNAM AVE APT 8            13001 PATAMON WAY
LILLINGTON NC 27546             NORMAL IL 61761                                    NORMAL IL 61761-7538             301
                                                                                                                    WOODBRIDGE VA 22192




003870P001-1409A-265            032797P001-1409A-265                               001029P001-1409A-265             000925P001-1409A-265
KYLIE MCALPINE                  MCANANY VAN CLEAVE AND PHILLIPS PA                 SAMUEL J MCARTHUR                SHAYLA C MCARTHUR
726 EAST MICHIGAN ST            10 E CAMBRIDGE CIR DR 300                          12160 SAGEMEADOW LN              9040 WALTHAM WOODS RD
UNIT 151                        KANSAS CITY KS 66103                               MARYLAND HEIGHTS MO 63043-2121   APT C
ORLANDO FL 32806                                                                                                    PARKVILLE MD 21234




007528P001-1409A-265            008962P001-1409A-265                               009167P001-1409A-265             008996P001-1409A-265
ALEXIS I MCBEATH                AUTUMN T MCBRIDE                                   EMONEE MCBRIDE                   HEAVEN N MCBRIDE
1416 SKIP AVE                   635 PITTSBURGH ST                                  33640 N IDLEWILD DR              1300 ELMWOOD AVE
PASCAGOULA MS 39567             FL 2                                               GRAYSLAKE IL 60030               472D
                                EAST MCKEESPORT PA 15035                                                            BUFFALO NY 14222




009940P001-1409A-265            004568P001-1409A-265                               004785P001-1409A-265             002849P001-1409A-265
MICHELLE D MCBRIDE              REBECCA MCCABE                                     REBECCA K MCCABE                 TAYLOR R MCCABE
ST CHARLES COUNTRY COLLECTOR    83 SUMMIT ST                                       206 HWY 1131                     HC 61 BOX 162
201 N SECOND ST STE 134         MALDEN MA 02148                                    #3                               WINSLOW AZ 86047
SAINT CHARLES MO 63301-2889                                                        VIDOR TX 77662




031413P001-1409A-265            036960P001-1409A-265                               034356P001-1409A-265             005619P001-1409A-265
MCCAIN MALL                     MCCAIN MALL CO LIMITED PARTNERSHIP                 MCCAIN MALL COMPANY, LP          MAKENZIE MCCAIN
MCCAIN MALL CO LP               AN ARKANSAS LIMITED PARTNERSHIP                    867930 RELIABLE PKWY             1909 KESSLER BLVD
867930 RELIABLE PKWY            SIMON PROPERTY GROUP LP RONALD M TUCKER            CHICAGO IL 60686-0079            SOUTH BEND IN 46616
CHICAGO IL 60686-0079           225 WEST WASHINGTON ST
                                INDIANAPOLIS IN 46204



009601P001-1409A-265            002127P001-1409A-265                               005968P001-1409A-265             035242P001-1409A-265
MIAKISHA M MCCALL               CASSANDRA MCCALLA                                  AUTUMN MCCANTS                   MCCARTER AND ENGLISH LLP
1820 N SHERIDAN RD              86 DAVIS ST                                        105 GIBSON ST                    WILLIAM F TAYLOR JR; SHANNON D HUMISTON
PEORIA IL 61604                 FALLRIVER MA 02720                                 BUFFALO NY 14212                 KATE R. BUCK
                                                                                                                    RENAISSANCE CENTRE
                                                                                                                    405 NORTH KING STREET 8TH FLOOR
                                                                                                                    WILMINGTON DE 19801
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009080P001-1409A-265                  006656P001-1409A-265                009417P001-1409A-265              006033P001-1409A-265
SHELBIE MCCARTER                      MEGHAN S MCCARTHY                   ANGELIQUE MCCASKILLDELOATCH       THADDEUS MCCAW
1256 UNION RD                         2825 LITTLE ELM TR                  133 GROVE ST                      308 JACKSON ST
J                                     CEDAR PARK TX 78613                 HIGHLAND PARK MI 48203            D311
GASTONIA NC 28054                                                                                           OAKLAND CA 94607




030646P001-1409A-265                  003277P001-1409A-265                001890P001-1409A-265              001122P001-1409A-265
THADDEUS MCCAW                        SADE Q MCCLAIN                      AALIYAH C MCCLARY                 LAUREN A MCCLEAN
ADDRESS INTENTIONALLY OMITTED         1018 GLENWOOD STATION LN            6737 BURBAGE LAKE CIR             4925 AUDUBON OAKS DR
                                      CHARLOTTESVILE VA 22901             SUFFOLK VA 23435                  MARRERO LA 70072-6694




030294P001-1409A-265                  005090P001-1409A-265                006006P001-1409A-265              006647P001-1409A-265
CRYSTAL MCCLELLAND                    CRYSTAL A MCCLELLAND                KAYLARENEE C MCCLELLAND           SHAMARIA MCCLENDON
ADDRESS INTENTIONALLY OMITTED         108 RITA LN                         5607 HORSESHOE BEND RD            3219 COLLEGE ST
                                      HAMPSTEAD NC 28443                  LIBERTY TOWNSHIP OH 45011         SAVANNAH GA 31404




001682P001-1409A-265                  009649P001-1409A-265                006906P001-1409A-265              007849P001-1409A-265
JOSEPH L MCCLESKEY                    JACQUELINE A MCCLINTOCK             BRIANNA M MCCLOUD                 SIERRA L MCCOLLUM
2234 SUSSEX DR                        3066 BLITZ CT                       90 OTIS ST                        10325 ANNETTA AVE
GARLAND TX 75041                      VIRGINIA BEACH VA 23453             ROCHESTER NY 14606                SOUTH GATE CA 90280




003712P001-1409A-265                  007431P001-1409A-265                005250P001-1409A-265              002944P001-1409A-265
TALISA S MCCOLLUM                     ELIZABETH A MCCORD                  BREYANNA MCCOY                    ESSENCE MCCOY
6709 CHURCH ST                        3950 TARAVUE LN APT A               5201 TREELODGE PLWY               1380 WILLOW BEND DR
SELLERS SC 29592                      MEHLVILLE MO 63125                  ATLANTA GA 30350                  SNELLVILLE GA 30078




000651P001-1409A-265                  005021P001-1409A-265                009989P001-1409A-265              010284P001-1409A-265
KYMESHA C MCCOY                       NIA C MCCOY                         MCCRACKEN CO, SHERIFF JON         MCCRACKEN COUNTY TAX
608 WELLINGLY CIR                     308 HANCOCK DR                      HAYDEN                            ADMINSTRATOR
APT A                                 TUPELO MS 38801                     301 SOUTH 6TH ST                  PO BOX 2658
SPRING LAKE NC 28390                                                      PADUCAH KY 42003                  PADUCAH KY 42002-2658




009791P001-1409A-265                  007304P001-1409A-265                030640P001-1409A-265              001413P001-1409A-265
MCCRACKEN COUNTY TAX ADMINISTRATOR    OLIVIA A MCCRACKEN                  TAYLOR MCCRACKEN                  TYLOR N MCCRACKEN
PO BOX 2658                           5083 ECHOGLENN ST NW                ADDRESS INTENTIONALLY OMITTED     717 CONNECTICUT
PADUCAH KY 42002                      NORTH CANTON OH 44720                                                 LAWRENCE KS 66044-2870
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037571P001-1409A-265          035817P001-1409A-265                006145P001-1409A-265              006975P001-1409A-265
DERISHIA MCCRAY               DERISHIA J MCCRAY                   SHERELL M MCCREE                  JAKIRA T MCCRIMMON
150 CLUBHOUSE DRIVE APT 9     150 CLUBHOUSE DR                    19560 RD ST                       4517 JUDSON RD
ROANOKE VA 24019              APT 9                               19560 RD STR                      DILLON SC 29536
                              ROANOKE VA 24019                    CITRONELLE AL 36522




031030P001-1409A-265          007476P001-1409A-265                005343P002-1409A-265              036991P001-1409A-265
MCCUBBIN HOSIERY LLC          DANAISHA T MCCULLEN                 MEGAN B MCCULLOH                  BRIANNA MCCULLOUGH
5310 NW 5TH ST                2228 BELLAMY CIR                    1101 VICTORIA BLAKE LANE          67 COLUMBUS AVE
OKLAHOMA CITY OK 73127        123                                 BELMONT NC 28012-6529             CENTRAL ISLIP NY 11722
                              GREENVILLE NC 27858




002909P001-1409A-265          007229P001-1409A-265                006150P001-1409A-265              001985P001-1409A-265
BRIANNA A MCCULLOUGH          TONARI MCCULLOUGH                   DASJA MCCURTIS                    CATHERINE MCDANIEL
67 COLMBUS AVE                1112 SUNSHINE CT                    104 FAIRBANKS ST                  29 HOMER AVE
CENTRAL ISLIP NY 11722        1202                                ROCHESTER NY 14621                BUFFALO NY 14216-2301
                              CHARLOTTE NY 28213




002917P001-1409A-265          006822P001-1409A-265                002383P001-1409A-265              033768P001-1409A-265
JOY A MCDANIEL                ERIN C MCDERMOTT                    COLLEEN MCDONAGH                  CHEYENNE MCDONALD
8020 ORWIN MANOR LN           91 POTTER DR                        203 WEST ORCHARD PL               2840 WOODLAND HILLS DR
201                           3                                   MOUNT PROSPECT IL 60056           APT 308
CHARLOTTE NC 28216            BELLEVILLE MI 48111                                                   COLORADO SPRINGS CO 80918




008044P001-1409A-265          005301P001-1409A-265                035433P001-1409A-265              006532P001-1409A-265
CHEYENNE M MCDONALD           ERIN MCDONALD                       ERIN MCDONALD                     JESS R MCDONALD
2840 WOODLAND HILLS DR APT    845 S NORMANDIE AVE                 845 S NORMANDIE                   5684 MAYBERRY SQ N APT 4
COLORADO SPRINGS CO 80918     APT 4                               APT #4                            SYLVANIA OH 43560
                              LOS ANGELES CA 90005                LOS ANGELES CA 90005




008192P001-1409A-265          007117P001-1409A-265                007142P001-1409A-265              003311P001-1409A-265
KAYLA S MCDONALD              MONICA S MCDONALD                   MORGAN MCDONALD                   SAMANTHA R MCDOWELL
4305 SILVER VLY DR            8840 SUNSET STRIP                   276 ELMTREE RD                    263 GOLF COURSE RD
COLUMBIA MO 65203             SUNRISE FL 33322                    NEW KENSINGTON PA 15068           SOUTH BURLINGTON VT 05403




003278P001-1409A-265          007521P001-1409A-265                000995P001-1409A-265              007167P001-1409A-265
JENNIFER L MCELVY             JULIA R MCELWEE                     NANCY D MCEWEN                    ARIELLE A MCFARLANE
160 SPRING VALLEYAVE          116 PINE ST REAR                    4305 HEYWARD ST                   855 E LAKE SAMISH
SEBASTIAN FL 32958            WEIRTON WV 26062                    NORTH PORT FL 34291               BELLINGHAM WA 98229
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005697P001-1409A-265             006203P001-1409A-265                     002280P001-1409A-265              009134P001-1409A-265
ASHLEY E MCFARLANE               MIRANDA MCGAW                            BRANDY MCGEE                      CHEYANN L MCGEE
2615 DELRIDGE DR SW              927 WASHINGTON ST                        21836 GRANDY ST                   577 REDBUD LN
LILBURN GA 30047                 13603 US RTE                             CLINTON TOWNSHIP MI 48035         MALONE UNIVERS
                                 OGDENSBURG NY 13669                                                        XENIA OH 45385




030319P001-1409A-265             005371P001-1409A-265                     002784P001-1409A-265              006299P001-1409A-265
DIONNA S MCGILBERRY              HUNTER B MCGILL                          KORIANE L MCGILL                  SHANTEKIA A MCGILL
ADDRESS INTENTIONALLY OMITTED    16198 ESKES ST                           710 PUMEHANA ST                   2615 LEJUENE DR
                                 LANSING MI 48906                         6                                 APT 4304
                                                                          HONOLULU HI 96826                 BILOXI MS 39531




004686P001-1409A-265             002225P001-1409A-265                     007135P001-1409A-265              001443P001-1409A-265
ALLISON A MCGLOCKLIN             LATERRIA MCGLUEN                         SIAH MCGREW                       JERRI R MCGUIRE
34948 FOREST ESTATES RD          3583 BAYLISS AVE                         5751 S MLK BLVD                   2139 SLOW STREAM DR
EVERGREEN CO 80439               MEMPHIS TN 38122-1202                    LANSING MI 48911                  ROYSE CITY TX 75189




005420P001-1409A-265             002714P001-1409A-265                     030390P001-1409A-265              001205P001-1409A-265
KAYLEAH MCGUIRE                  MORGAN MCGUIRE                           JERRIET MCHANEY                   JERRIET J MCHANEY
22 CYPRESS LN                    3776 STALKER RD                          ADDRESS INTENTIONALLY OMITTED     10374 MOJESKA SUMMIT RD
YORKTOWN HEIGHTS NY 10598        MACEDON NY 14502                                                           CORONA CA 92883




033330P001-1409A-265             030407P001-1409A-265                     009180P001-1409A-265              008448P001-1409A-265
KATHLEEN MCHATTON                JIM MCILVAINE                            REBECCA MCINTIRE                  KYLEIGH R MCINTYRE
2345 LAWTON ST                   ADDRESS INTENTIONALLY OMITTED            603 CAUSLEY AVE                   601 LULING ST
SAN FRANCISCO CA 94122                                                    APT 39                            PEARL MS 39208
                                                                          ARLINGTON TX 76010




006740P001-1409A-265             003757P002-1409A-265                     006486P001-1409A-265              005027P001-1409A-265
YAKIRA B MCKAY                   SUMER MCKELVEY                           HANNAH G MCKENNA                  ALEXA N MCKENZIE
862 HANNEMAN DR                  3973 E PRESIDENTIAL DR                   1663 RICHMOND DR                  9804 BIG WOODS CT
APT 208                          MERIDIAN ID 83642-8900                   LOUISVILLE KY 40205               IJAMSVILLE MD 21754
LINCOLN NE 68522




002745P002-1409A-265             001178P001-1409A-265                     029904P001-1409A-265              033297P001-1409A-265
BRITTANY K MCKENZIE              JENNIFER MCKENZIE                        MCKINLEY (LANDLORD)               MCKINLEY EQUIPMENT CORP
1691 OAK AVE                     1426 WRIGHTWOOD                          ALGONQUIN COMMONS                 17611 ARMSTRONG AVE
MUSKEGON MI 49442-2405           SAN BERNARDINO CA 92407                  MIDAMERICA ASSET MANAGEMENT INC   IRVINE CA 92614
                                                                          JEAN M ZOERNER
                                                                          ONE PARKVIEW PLZ 9TH FL
                                                                          OAKBROOK TERRACE IL 60181
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006703P001-1409A-265     008272P001-1409A-265                               004934P001-1409A-265            037258P001-1409A-265
LIEZEL M MCKINLEY        ALLISON K MCKINNEY                                 BRIANNA J MCKINNEY              BRIANNA JOY MCKINNEY
300 EUPHORIA CIR         5644 FLAGLER ST                                    1512 ARTHUR BLVD                BRIANNA MCKINNEY
CARY NC 27519            HOLLYWOOD FL 33023                                 LAKELAND FL 33801               1512 ARTHUR BLVD
                                                                                                            LAKELAND FL 33801




037016P001-1409A-265     002375P001-1409A-265                               030520P001-1409A-265            005505P001-1409A-265
ALEXANDRIA MCKISSACK     ALEXANDRIA A MCKISSACK                             MEGHAN MCKNIGHT                 JORDAN F MCLAIN
5608 HICKORY PK DR       5608 HICKORY PK DR                                 ADDRESS INTENTIONALLY OMITTED   7708 MCKAIG RD
ANTIOCH TN 37013         ANTIOCH TN 37013                                                                   FREDERICK MD 21701




004558P001-1409A-265     007258P001-1409A-265                               000579P001-1409A-265            035819P001-1409A-265
BAILEY R MCLAUGHLIN      HAYLEY MCLAUGHLIN                                  JALYNN MCLAUGHLIN               SHANIKA A MCLAURIN
248 OLIVER EDWARDS RD    1327 S OWL DR                                      4110 NEVADA AVE N               706 LOUISE DR W
JONESBOROUGH TN 37659    GILBERT AZ 85296                                   8                               MOBILE AL AL 36606
                                                                            NEW HOPE MN 55427




003248P001-1409A-265     005303P001-1409A-265                               007245P001-1409A-265            037686P002-1409A-265
SONYA L MCLAY            JESSIE M MCLEAN                                    XIALEA MCLEAN                   XIALEA MCLEAN
54 BERLIN ST             3096 NILESCARVER RD                                6600 TELEPHONE RD               8814 E 27TH ST
SOUTHINGTON CT 06489     MCDONALD OH 44437                                  1004                            TULSA OK 74129
                                                                            VENTURA CA 93003




032252P001-1409A-265     032252S001-1409A-265                               003221P001-1409A-265            030223P001-1409A-265
MCLENNAN COUNTY          MCLENNAN COUNTY                                    DEANNA A MCLEOD                 ANTHONY MCLOUGHLIN
TAX STATEMENT            LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            1108 JULIP LN                   ADDRESS INTENTIONALLY OMITTED
PO BOX 406               DIANE WADE SANDERS                                 FLORENCE SC 29505
WACO TX 76703            PO BOX 17428
                         AUSTIN TX 78760



006644P001-1409A-265     031414P001-1409A-265                               009565P001-1409A-265            002542P001-1409A-265
ANTHONY W MCLOUGHLIN     MCM PROPERTIES III, LTD                            NICOLE MCMAHAN                  NATASAREA MCMAHON
329 RUGBY AVE            PO BOX 2969                                        12815 WEST 92 PL                3497 WILLOW TREE TRACE
KENSINGTON CA 94708      ODESSA TX 79760                                    LENEXA KS 66215                 DECATUR GA 30034




002176P001-1409A-265     001996P001-1409A-265                               032253P002-1409A-265            036646P001-1409A-265
SHANNON MCMAHON          THOMAS M MCMAHON                                   MCMASTER CARR SUPPLY CO         MCMASTER CARR SUPPLY CO
3 COMMODORE HULL DR      4326 GARSTVIEW CIR                                 DREW THORN                      PO BOX 7690
DERBY CT 06418           ROANOKE VA 24018                                   9630 NORWALK BLVD               CHICAGO IL 60680-7690
                                                                            SANTA FE SPRINGS CA 90670
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009719P001-1409A-265      009604P001-1409A-265                     002318P001-1409A-265         002791P001-1409A-265
CAMILLE G MCMATH          EMILIE L MCMATH                          ANGIE MCMENIMEN              ASHTON MCMILLAN
6316 TUSCARORA DR         6316 TUSCARORA DR                        21 FELTON ST                 1007 1/2 8TH AVE WEST
HUNTINGDON PA 16652       HUNTINGDON PA 16652                      SAUGUS MA 01906              BIRMINGHAM AL 35204




007819P001-1409A-265      003997P001-1409A-265                     003180P001-1409A-265         003805P001-1409A-265
ERNESHA C MCMILLAN        TABITHA C MCMILLIAN                      ASISHA MCMILLION             KORI MCMORRIS
7501 WEAVER AVE           119 KAITLIN WAY                          1125 NORTH PATRICIA AVE      125 DENBY CIR
NEW ORLEANS LA 70127      MONROE OH 45050                          GONZALES LA 70737            COLUMBIA SC 29229




002811P001-1409A-265      002728P001-1409A-265                     000517P001-1409A-265         003687P001-1409A-265
BRITTANY M MCMULLAN       AMEERAH A MCNAIR                         EMILY E MCNAMARA             SHANNON J MCNAMARA
4859 W NORTHERN AVE       5111 PARTRIDGE ST                        2583 MASON LN                224 PATTON DR
GLENDALE AZ 85301         DURHAM NC 27704                          HOLT MI 48842                MOON TOWNSHIP PA 15108




006120P001-1409A-265      007315P001-1409A-265                     003119P001-1409A-265         003468P001-1409A-265
JAMYA MCNEAL              LAURYN R MCNEAL                          CARISSA L MCNEELY            HOPE L MCNEELY
17 BURTON DR              6207 LANCE CT                            3750 LAURA CT                307 HALF VIENNA ST
MONROE LA 71202           SUFFOLK VA 23435                         BYRNES MILL MO 63051         METROPOLIS IL 62960




003110P001-1409A-265      003726P001-1409A-265                     036535P001-1409A-265         037669P001-1409A-265
JORDAN E MCNEIL           TAQUIA L MCNEILL                         HARRY R MCNESBY JR           TARA MCNULTY
17 HOLLY DR               141 AYLESBURY RD                         15948 INNERARITY PT RD       2616 HARRISON ST APT 6
DARTMOUTH MA 02747        GOOSE CREEK SC 29445                     PENSACOLA FL 32507           OAKLAND CA 94612




003431P001-1409A-265      030653P001-1409A-265                     001353P001-1409A-265         005114P001-1409A-265
TARA R MCNULTY            TRACY MCNUTT                             HAILEY K MCPHERSON           KENYA D MCQUEEN
2616 HARRISON ST APT 6    RAMPAGE #646                             3650 IDLEWOOD PKWY           201 SAMARA ST APR 14-C
OAKLAND CA 94612          ADDRESS INTENTIONALLY OMITTED            APT 1807                     SPARTANBURG SC 29303
                                                                   INDIANAPOLIS IN 46214




032254P001-1409A-265      035131P002-1409A-265                     007462P001-1409A-265         001418P001-1409A-265
MCS LIFE INSURANCE CO     MCS LIFE INSURANCE CO                    SHANNON N MCSORLEY           CHARNAE L MCSPADDEN
JANETTE DELGADO           EMPLOYER SVC UNIT                        72 WASHINGTON ST             9624 LOVELAND
255 AVE PONCE DE LEON     PO BOX 9023547                           LONG BRANCH NJ 07740         LIVONIA MI 48150
SAN JUAN PR 00917-1919    SAN JUAN PR 00902-3547
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033029P001-1409A-265                    037803P001-1409A-265                            006107P001-1409A-265          010281P004-1409A-265
MCUCS                                   MCUCS                                           JORDAN MCVAY                  MD- CHARLES COUNTY MARYLAND
PO BOX 25350                            KATHARINE M ZAMBONI ASSISTANT COUNTY ATTORNEY   724 DUGAN REED ST             MEYERS RODBELL AND ROSENBAUM
BRADENTON FL 34206                      1112 MANATEE AVE WEST STE 969                   EL DORADO AR 71730            NICOLE C KENWORTHY
                                        BRADENTON FL 34205                                                            6801 KENILWORTH AVE STE 400
                                                                                                                      RIVERDALE PARK MD 20737



037905P002-1409A-265                    036898P001-1409A-265                            010524P002-1409A-265          031415P001-1409A-265
MD- HARFORD COUNTY                      MD- PRINCE GEORGES COUNTY                       MD- WICOMICO COUNTY           MEADOWOOD MALL
LAW DEPT                                MEYERS RODBELL AND ROSENBAUM PA                 FINANCE OFFICE                MEADOWOOD MALL SPE LLC
ROBERT F SANDLASS JR                    NICOLE C KENWORTHY                              JOHN S ELLIS                  MEADOWOOD MALL LLC
220 S MAIN ST                           6801 KENILWORTH AVE STE 400                     PO BOX 4036                   PO BOX 404553
BEL AIR MD 21014                        RIVERDALE PARK MD 20737                         SALISBURY MD 21803-4036       ATLANTA GA 30384-4553



037632P001-1409A-265                    034403P001-1409A-265                            003072P001-1409A-265          004034P001-1409A-265
MEADOWOOD MALL SPE LLC                  MEADOWOOD MALL SPE, LLC                         KAYLA MEADOWS                 NYDIA K MEADOWS
A DELAWARE LIMITED LIABILITY CO         PO BOX 404553                                   2602 MONROE ST                1013 CARRIN DR
SIMON PROPERTY GROUP RONALD M TUCKER    ATLANTA GA 30384-4553                           PADUCAH KY 42001              TALLAHASSEE FL 32311
225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204



005382P001-1409A-265                    002354P001-1409A-265                            031031P002-1409A-265          035212P002-1409A-265
SHELBY MEADOWS                          CHELSEA M MEANS                                 MEBON                         MEBON
860 WATKINS GLEN BLVD                   8230 MOSSBERG DR NORTH                          JANIE BAE                     DANIEL SUH
MARYSVILLE OH 43040                     THEODORE AL 36582                               1100 S SAN PEDRO ST STE 105   1100 S SAN PEDRO ST J5
                                                                                        LOS ANGELES CA 90015-5306     LOS ANGELES CA 90015




036264P001-1409A-265                    032255P001-1409A-265                            032256P001-1409A-265          010557P001-1409A-265
MEBON                                   MECHANICAL DRIVES AND BELTING                   MECHANICAL RESOURCES, INC     MECKLENBURG COUNTY TAX COLLECT
1001 TOWNE AVE                          LA RUBBER CO                                    PATRICK LEASE                 PO BOX 71063
LOS ANGELES CA 90021                    FRED LEWIS                                      20 MAP DR                     CHARLOTTE NC 28272-1063
                                        2915 E WASHINGTON BLVD                          MANKATO MN 56001
                                        LOS ANGELES CA 90023-4218



006292P001-1409A-265                    032257P001-1409A-265                            036648P002-1409A-265          005639P001-1409A-265
SUSANA MEDEIROS                         MEDICINE CHEST SVC                              MEDICINE CHEST SVC            ALONDRA MEDINA
111 INSLEE PL                           ROPAT INC                                       3303 HARBOR BLVD J3           10331 W WADSWORTH RD
ELIZABETH NJ 07206                      ERIC RIVERA                                     COSTA MESA CA 92626           BEACH PARK IL 60099
                                        3303 HARBOR BLVD
                                        BLDG J UNIT 3
                                        COSTA MESA CA 92626


004286P001-1409A-265                    005023P001-1409A-265                            000842P001-1409A-265          006700P001-1409A-265
AMELIA MEDINA                           ANESSA N MEDINA                                 ANNE C MEDINA                 ASHLEY MEDINA
W1236 HATTIE LN                         1708 QUINTERO ST                                L15B PINE TREE BLVD           1806 MASON ST
DEPERE WI 54115                         370                                             OLD BRIDGE NJ 08857           SAN FRANCISCO CA 94133
                                        AURORA CO 80011
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000568P001-1409A-265         008917P001-1409A-265                035820P001-1409A-265              035821P001-1409A-265
BLANCA I MEDINA              CLARISSA MEDINA                     DASHA N MEDINA                    DIANA MEDINA
1329 WOODHILL DR             20163 W SHERMAN ST                  17 PAQUIN LN                      1639 VILLA AVE
LEWISVILLE TX 75067          BUCKEYE AZ 85326                    SPRING VALLEY NY 10977            SIOUX CITY IA 51103




001011P001-1409A-265         001747P001-1409A-265                007199P001-1409A-265              003950P001-1409A-265
EDGAR A MEDINA               ESTEBAN MEDINA                      IGNACIO MEDINA                    ISABEL MEDINA
2638 WALNUT ST APT B         1416 KIM PL                         615 DIAMOND CT                    2553 BALFOUR AVE
HUNTINGTON PARK CA 90255     CHULA VISTA CA 91911                APT 2                             FULLERTON CA 92831
                                                                 UPLAND CA 91786




006739P001-1409A-265         005846P001-1409A-265                003264P001-1409A-265              006972P001-1409A-265
JESSICA A MEDINA             JULIA MEDINA                        LESLIE MEDINA                     MICAELA MEDINA
115 PROVENCE ST              451 N ANNA LN                       44 HAWES ST                       5374 BILLINGS ST
GREENVILLE SC 29607          ROMEOVILLE IL 60446                 CENTRAL FALLS RI 02863            DENVER CO 80239




007814P001-1409A-265         001429P001-1409A-265                003614P001-1409A-265              001949P001-1409A-265
ALEJANDRA MEDINACONCHI       DIANA J MEDINANAVARRO               PARIS M MEDLEY                    ANA D MEDRANO
1623 MACARTHUR DR            1639 VILLA AVE                      2924 KENDALE DR APT 101           12634 GOLDEN BROOK DR
ROCKFORD IL 61108            SIOUX CITY IA 51103                 5583 WOODS AVE                    HOUSTON TX 77085-1413
                                                                 TOLEDO OH 43606




008758P001-1409A-265         005543P001-1409A-265                004121P001-1409A-265              006001P001-1409A-265
LAYZA L MEDRANO              EDYTA P MEDREK                      MADISON E MEDSKER                 MAKAYLA R MEFFORD
4752 A ST                    447 GROVE ST                        4253 S MARIETTA RD                370 GARLANDS TRL
SAN DIEGO CA 92102           WOOD DALE IL 60191                  SHELBYVILLE IN 46176              BUCKINGHAM VA 23921




037804P002-1409A-265         032258P001-1409A-265                034314P001-1409A-265              005218P001-1409A-265
MEGAN HAFFEY                 MEGAPATH CLOUD CO LLC               MEGAPATH CLOUD CO LLC             KINSEY MEGGETT
835 ACADEMY CT               DEBRA KAMMERER                      6800 KOLL CTR PKWY                12 HILTON GLEN CT
PAINESVILLE OH 44077-2777    6800 KOLL CTR PKWY                  STE 200                           CHAPIN SC 29036
                             STE 200                             PLEASANTON CA 94566
                             PLEASANTON CA 94566



032259P001-1409A-265         009351P001-1409A-265                002374P001-1409A-265              033335P001-1409A-265
MEGHAN LUCE                  BROOK MEGNA                         SHAHED MEHDI                      MANISH M MEHTA
111 W 7TH ST                 27 OVERHILL LN                      4497 WALDEN WAY                   ANM PARKING
APT 701                      WARWICK NY 10990                    DENVER CO 80249                   243 RODRIGUES AVE
LOS ANGELES CA 90014                                                                               MILPITAS CA 95035
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008378P001-1409A-265       002453P001-1409A-265                     002273P001-1409A-265            008665P001-1409A-265
JULLIAN S MEIGGS           KAITLYN T MEINHARDT                      RENEE MEITZENHEIMER             MARIA D MEJIA CORTES
4655 COVERT AVE            109 BIG HORN RD                          1587 W 46TH ST                  1611 CHARRING CROSS DR
EVANSVILLE IN 47714        PITTSBURGH PA 15239                      LOS ANGELES CA 90062-2014       INDIANAPOLIS IN 46227




006235P001-1409A-265       006311P001-1409A-265                     008186P001-1409A-265            007945P001-1409A-265
ANGELES M MEJIA            BRENDA P MEJIA                           HEIDI A MEJIA                   SHANTELL MEJIA
4102 ANTOINETTE ST         8915 N WASHINGTON ST                     5318 BOYCE SPRINGS DR           248 NORTH 10TH ST
HOUSTON TX 77087           APT A                                    HOUSTON TX 77066                NEWARK NJ 07107
                           NILES IL 60714




007741P001-1409A-265       006693P001-1409A-265                     004847P001-1409A-265            033340P001-1409A-265
ERNESTO MEJIAS             KATIE MEJIATAVAR                         ASHLEY MELARA                   MELBOURNE IT DBS INC
PO BOX 1777                3260 JOHN ROBINSON LN                    17845 IBIS LANDING WAY          LUCIANA OZUNA
COROZAL PR 00783           APT 21                                   ORLANDO FL 32820                2560 MISSION COLLEGE BLVD
                           DUMFRIES VA 22026                                                        SANTA CLARA CA 95054




031416P001-1409A-265       034352P001-1409A-265                     036979P001-1409A-265            036979S001-1409A-265
MELBOURNE SQUARE           MELBOURNE SQUARE LLC                     MELBOURNE SQUARE LLC            MELBOURNE SQUARE LLC
MELBOURNE SQUARE LLC       867758 RELIABLE PKWY                     WASHINGTON PRIME GROUP INC      WASHINGTON PRIME GROUP INC
867758 RELIABLE PKWY       CHICAGO IL 60686-0077                    FROST BROWN TODD LLC            STEPHEN E IFEDUBA
CHICAGO IL 60686-0077                                               301 E FOURTH ST                 180 E BROAD ST
                                                                    CINCINNATI OH 45202             COLUMBUS OH 43215



008123P001-1409A-265       030538P001-1409A-265                     006326P001-1409A-265            002990P001-1409A-265
JASMINE MELCHOR            MYRIAM J MELENDEZ                        LESLIE MELGOZA                  GRETHE E MELIN
8518 25TH AVE              ADDRESS INTENTIONALLY OMITTED            3910 STONEBRIDGE DR             617 MEAD ST
2F                                                                  ZION IL 60099                   EAU CLAIRE WI 54703
BROOKLYN NY 11214




037805P001-1409A-265       032261P001-1409A-265                     009389P001-1409A-265            006570P001-1409A-265
MELISSA KIMBULU            MELISSA TIERNEY                          SHEINA D MELOROCHA              AIREONNA N MELTON
110 COLLEGE PK CIR #124    24711 RIVERCHASE DR                      1000 FGCU CAMPUS HOUSING HN06   1812 N WESTWOOD AVE
LINCOLN NE 68505           APT 5308                                 FT MYERS FL 33965               1812 I
                           VALENCIA CA 91355                                                        TOLEDO OH 43607




005432P001-1409A-265       008301P001-1409A-265                     032749P001-1409A-265            031417P001-1409A-265
MIRANDA R MELVIN           BREANNA MELVO                            MEMORIAL CITY MALL              MEMORIAL CITY MALL LP
216 BRENTWOOD AVE          7773 TRAM RD                             PO BOX 200256                   LEGAL DEPT
PIQUA OH 45356             BEAUMONT TX 77713                        DALLAS TX 75320-0256            PO BOX 19509
                                                                                                    HOUSTON TX 77224-9509
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031417S001-1409A-265          033981P003-1409A-265                   033030P001-1409A-265              033030S001-1409A-265
MEMORIAL CITY MALL LP         MEMPHIS LIGHT GAS AND WATER            MEMPHIS LIGHT GAS AND WATER DIV   MEMPHIS LIGHT GAS AND WATER DIV
CHRISTINE MIKULICH            MONICA R MORRISETT                     PO BOX 388                        245 SOUTH MAIN ST
945 BUNKER HILL RD STE 400    PO BOX 430                             MEMPHIS TN 38145                  MEMPHIS TN 38103
HOUSTON TX 77024              MEMPHIS TN 38101




002282P001-1409A-265          009552P001-1409A-265                   005610P001-1409A-265              007924P001-1409A-265
ESMERALDA MENA                GUADALUPE MENA                         VALERIA MENDEZ CHACON             JESSICA MENDEZ MARIA
5637 W 23RD ST                9536 OSCEOLA AVE                       737 REEF DR                       J_MENDE3 AT UNCG
1ST FL                        MORTON GROVE IL 60053                  SAN DIEGO CA 92154                GREENSBORO NC 27413
CICERO IL 60804




004134P001-1409A-265          003181P001-1409A-265                   035822P001-1409A-265              004163P001-1409A-265
BIANCA C MENDEZ POLANCO       ANNETTE MENDEZ                         ANNETTE MENDEZ                    APRIL MENDEZ
114 ELM HILL AVE              14035 COTEAU DR                        6639 EL CORTEZ AVE                8000 ZELZAH AVE
#1                            1                                      BELL GARDENS CA 90201             RESEDA CA 91335
DORCHESTER MA 02121           WHITTIER CA 90604




035823P001-1409A-265          007337P001-1409A-265                   008857P001-1409A-265              003986P001-1409A-265
CHACON VALERIA MENDEZ         CLAUDIA G MENDEZ                       IRIS V MENDEZ                     JACQUELINE R MENDEZ
737 REEF DR                   1816 S 50TH AVE                        4510 22ND AVE NE                  2621 POLI ST
SAN DIEGO CA 92154            CICERO IL 60804                        SEATTLE WA 98105                  VENTURA CA 93003




003658P001-1409A-265          000851P001-1409A-265                   002684P001-1409A-265              006884P001-1409A-265
JASLEEN MENDEZ                JESSICA C MENDEZ                       JOSELIN MENDEZ                    KAREN J MENDEZ
2308 KROOS CT                 1937 E HIGHLAND CT                     49 WILSON ST APT2                 1111 S WESTMORELAND AVE
SHEBOYGAN WI 53083            ONTARIO CA 91764                       PROVIDENCE RI 09207               APT307
                                                                                                       LOS ANGELES CA 90006




035824P001-1409A-265          009024P001-1409A-265                   004263P001-1409A-265              035825P001-1409A-265
MARIA JESSICA MENDEZ          NANCY G MENDEZ                         PATRICK A MENDEZ                  POLANCO BIANCA C MENDEZ
J_MENDE3 AT UNCG              1210 KLEIN DR                          956 MARCUS DR                     114 ELM HILL AVE
GREENSBORO NC 27413           STREAMWOOD IL 60107                    # 10                              #1
                                                                     NEWPORT NEWS VA 23602             DORCHESTER MA 02121




000652P001-1409A-265          008626P001-1409A-265                   000937P001-1409A-265              035826P001-1409A-265
VERONICA E MENDEZ             MEGAN MENDIOLA                         SUNSHINE C MENDIZABAL             AIVY MENDOZA
2118 EL CAPITAN DR            1780 CHRISTOPHER CT W                  891 W 2ND ST                      5442 GILBERT DR
DALLAS TX 75228               ROMEOVILLE IL 60446                    SANPEDRO CA 90731                 APT 1204
                                                                                                       SAN DIEGO CA 92115
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006095P001-1409A-265           003336P001-1409A-265                037253P001-1409A-265              008164P001-1409A-265
ALLISON C MENDOZA              ANA I MENDOZA                       BELEN MENDOZA                     BELEN A MENDOZA
1501 6TH ST                    8602 EDEN VLY LN                    BELEN MENDOZA                     6012 DEER AVE
1501 6TH STREE                 DALLAS TX 75217                     6012 DEER AVE                     EL PASO TX 79924
VIENNA WV 26105                                                    EL PASO TX 79924




002593P001-1409A-265           000747P001-1409A-265                007851P001-1409A-265              008481P001-1409A-265
CLAUDIA MENDOZA                DORA MENDOZA                        GALILEA D MENDOZA                 JAILIN MENDOZA
1788 WESTWIND WAY              575 W THIRD ST                      89 E 116ST                        1617 N APACHE
MCLEAN VA 22102                RIALTO CA 92376-5720                APT 12                            AMARILLO TX 79107
                                                                   NEW YORK CITY NY 10029




033460P001-1409A-265           004432P001-1409A-265                033447P001-1409A-265              003218P001-1409A-265
KAREN MENDOZA                  KAYLA M MENDOZA                     RACHAEL ANNA R MENDOZA            VANESSA MENDOZA
895 24TH AVE                   919 W TULANE DR                     NINE10                            2732 MONTE DIABLO AVE
APT #4                         TEMPE AZ 85283                      663 ROSITA CT                     STOCKTON CA 95203
SAN FRANCISCO CA 94121                                             CHULA VISTA CA 91910




008759P001-1409A-265           004237P001-1409A-265                006125P001-1409A-265              005630P001-1409A-265
VANESSA A MENDOZA              VICTORIA R MENDOZA                  TRINITI L MENG                    DAYAM J MERAZ
1019 CLINTONIA AVE             354 FORREST HILL LN                 614 LONGFELLOW ST                 5107 W 29TH PL
SAN JOSE CA 95125              GRAND PRAIRIE TX 75052              WICHITA KS 67207                  CICERO IL 60804




002119P001-1409A-265           007900P001-1409A-265                002010P001-1409A-265              035827P001-1409A-265
NEREYDA MERAZ                  YESICA MERCADO ARAUJO               ANNE D MERCADO                    ARAUJO YESICA MERCADO
5303 1/2 CLARA ST              206 AMESWOOD DR                     5281 S OPAL CREEK WAY             206 AMESWOOD DR
CUDAHY CA 90201-4539           ROUND ROCK TX 78664                 LAS VEGAS NV 89122                ROUND ROCK TX 78664




035828P001-1409A-265           000802P001-1409A-265                030296P001-1409A-265              008646P001-1409A-265
CINDY MERCADO                  DANIEL MERCADO                      DANIEL MERCADO                    KIARA MERCADO
1315 XAVERIA DR                3030 SUNCREST DR                    ADDRESS INTENTIONALLY OMITTED     PMB 674
SILVER SPRING MD 20903         UNIT# 903                                                             TOA BAJA PR 00951
                               SAN DIEGO CA 92116




034453P001-1409A-265           033214P004-1409A-265                033214S001-1409A-265              036141P001-1409A-265
MERCEDES PREMIUM OUTLETS LP    TOMASINA MERCEDES                   TOMASINA MERCEDES                 TOMASINA MERCEDES
PO BOX 822324                  MORGAN AND MORGAN PA                5348 MILLENIA BLVD APT 207        5348 MILLENIA BL #207
PHILADELPHIA PA 19182-2324     TRAVIS STULZ                        ORLANDO FL 32839                  ORLANDO FL 32839
                               20 N ORANCE AVE STE 1600
                               ORLANDO FL 32801
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036141S001-1409A-265             033533P001-1409A-265                         033534P001-1409A-265                        033680P001-1409A-265
TOMASINA MERCEDES                MERCER                                       MERCER (UNIMERICA LIFE INSURANCE COMPANY)   MERCER HEALTH AND BENEFITS LLC
MORGAN AND MORGAN                PO BOX 730212                                PO BOX 730212                               4445 EASTGATE MALL
20 N ORANGE AVE                  DALLAS TX 75373-0212                         DALLAS TX 75373-0212                        STE 300
PO BOX 4979                                                                                                               SAN DIEGO CA 92121
ORLANDO FL 32902



003691P001-1409A-265             001924P001-1409A-265                         033506P001-1409A-265                        031032P001-1409A-265
DEVYN A MERCER                   KELSEY E MERCER                              MERCHANT FINANCIAL CORP                     MERCI AND REVE INC
5730 RUSACK DR                   1050 UNION UNIVERSITY DR UU                  MERCHANT BUSINESS CREDIT INC                2643 NEVIN AVE
MELBOURNE FL 32940               JACKSON TN 38305                             PO BOX 716 MIDTOWN STATION                  LOS ANGELES CA 90011
                                                                              NEW YORK NY 10018-0716




030429P001-1409A-265             035829P001-1409A-265                         033681P001-1409A-265                        002396P001-1409A-265
KATE O'HARE MERCIER              MARISSA MERCK                                MERCURY                                     BRITTANY MEREDITH
ADDRESS INTENTIONALLY OMITTED    1211 VINE ST                                 VANTIV                                      51 HUBER RD
                                 1110                                         150 MERCURY VLG DR                          NEWPORT NEWS VA 23601
                                 WEST DES MOINES IA 50265                     DURANGO CO 81301




036613P001-1409A-265             000710P001-1409A-265                         031033P001-1409A-265                        010056P001-1409A-265
LISA MERGIL                      LISA D MERGIL                                MERI MERI                                   MERIDAIN CHARTER TOWNSHIP
17019 HOLTON ST                  17019 HOLTON ST                              ANGELA TECSON                               5151 MARSH RD
WEST COVINA CA 91791             WEST COVINA CA 91791                         525 HARBOR BLVD                             OKEMOS MI 48864
                                                                              BELMONT CA 94002




035268P001-1409A-265             035272P001-1409A-265                         031418P001-1409A-265                        035362P001-1409A-265
MERIDEN                          MERIDEN MALL                                 MERIDEN SQUARE PARTNERSHIP                  MERIDEN SQUARE PARTNERSHIP
470 LEWIS AVE SPACE #4008        1982 W GRAND RIVER AVE SPACE #249            WESTFIELD AMERICA LIMITED PART              LECLAIRRYAN PLLC
MERIDEN CT 06451                 OKEMOS MI 48864                              11601 WILSHIRE BLVE                         NICLAS A FERLAND
                                                                              11TH FL                                     545 LONG WHARF DR 9TH FL
                                                                              LOS ANGELES CA 90025                        NEW HAVEN CT 06511



010465P001-1409A-265             010057P001-1409A-265                         032262P001-1409A-265                        032262S001-1409A-265
MERIDEN TAX COLLECTOR            MERIDIAN CHARTER TOWNSHIP                    MERIDIAN GRAPHICS, INC                      MERIDIAN GRAPHICS, INC
PO BOX 150431                    5151 MARSH RD                                NW 6333 PO BOX 1450                         DAVE MELIN
HARTFORD CT 06115-0431           OKEMOS MI 48864-1198                         MINNEAPOLIS MN 55485-6333                   2652 DOW AVE
                                                                                                                          TUSTIN CA 92780




032263P001-1409A-265             036658P001-1409A-265                         031419P002-1409A-265                        031419S001-1409A-265
MERIDIAN IT INC                  MERIDIAN IT INC                              MERIDIAN MALL LIMITED PARTNERSHIP           MERIDIAN MALL LIMITED PARTNERSHIP
ANTHONY SCHUBERT                 9 PARKWAY N STE 500                          BY CBL AND ASSOCIATES MANAGEMENT INC        BY CBL AND ASSOCIATES MANAGEMENT INC
9 PKWY N                         DEERFIELD IL 60015                           GARY RODDY                                  CALEB HOLZAEPFEL
STE 500                                                                       2030 HAMILTON PL BLVD STE 500               736 GEORGIA AVE STE 300
DEERFIELD IL 60015                                                            CHATTANOOGA TN 37421-6000                   CHATTANOOGA TN 37402
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003623P001-1409A-265              035830P001-1409A-265                       032264P001-1409A-265                    037457P002-1409A-265
ROXANA D MERINO VICTORIA          VICTORIA ROXANA D MERINO                   MERKLE INC                              MERKLE INC
8033 MCCORMICK ST                 8033 MCCORMICK ST                          29432 NETWORK PL                        AKA RIMM KAUFMAN GROUP LLC
WOODBURN OR 97071                 WOODBURN OR 97071                          CHICAGO IL 60673-1432                   SAUL EHRENPREIS
                                                                                                                     ASSOCIATE GENERAL COUNSEL
                                                                                                                     7001 COLUMBIA GTWY DR
                                                                                                                     COLUMBIA MD 21046


031420P001-1409A-265              037411P001-1409A-265                       036673P001-1409A-265                    002984P001-1409A-265
MERRICK PARK LLC                  MERRICK PARK LLC                           NATALIE MERRIER                         AMANDA MERRIFIELD
VILLAGE OF MERRICK PARK           AKA SHOPS AT MERRICK PARK                  1021 MORRIS CIR                         8301 W FLAMINGO RD
SDS-12-3090                       BROOKFIELD PROPERTY REIT INC               WOODLAND CA 95776                       2068
PO BOX 86                         350 N ORLEANS ST STE 300                                                           LAS VEGAS NV 89147
MINNEAPOLIS MN 55486-3090         CHICAGO IL 60654-1607



006543P001-1409A-265              009149P001-1409A-265                       031034P001-1409A-265                    031421P001-1409A-265
JAQUAYLON AALI MERRITT            MORGAN E MERRITT                           MERRYMAKERS INC                         MESA MALL
5301 SHERWOOD DR                  1641 SW HIGHLAND DR                        3540 GRAND AVE                          SM MESA MALL LLC
MIDLAND TX 79707                  LEES SUMMIT MO 64081                       #200                                    PO BOX 849455
                                                                             OAKLAND CA 94610                        LOS ANGELES CA 90084-9455




008615P001-1409A-265              036852P001-1409A-265                       001158P001-1409A-265                    007019P001-1409A-265
ANDREA R MESECKE                  NICK MESERVE                               SARAH A MESHELL                         EVELYN MESIAS
901 BRANDYWINE DR                 MAINSTREET CAPITAL                         1711 SW 30TH                            321 OXFORD ST
TEMPLE TX 76504                   1300 POST OAK BLVD 8TH FLOOR               LINCOLN NE 68522                        SAN FRANCISCO CA 94134
                                  HOUSTON TX 77056




031422P001-1409A-265              037315P001-1409A-265                       037315S001-1409A-265                    003013P001-1409A-265
MESILLA VALLEY MALL LLC           MESILLA VALLEY SPE991068834 LLC            MESILLA VALLEY SPE991068834 LLC         BRENDA S MESQUITA
OREC MESILLA VALLEY MALL MEMBE    PERKINS COIE LLP                           Michael O'Hanlon                        73 LAUDER AVE
SPINOSO MANAGEMENT GROUP LLC      CO BRIAN A AUDETTE                         KeyBank National Association, Manager   PAWTUCKET RI 02860
112 NORTHERN CONCOURSE            131 S DEARBORN ST STE 1700                 8115 Preston Road, Suite 500
NORTH SYRACUSE NY 13212           CHICAGO IL 60603                           Dallas TX 75225



010576P001-1409A-265              002448P001-1409A-265                       033031P001-1409A-265                    033031S001-1409A-265
MESQUITE TAX FUND                 PAIGE K MESSINK                            MET ED                                  MET ED
PO BOX 850267                     6369 GREYSTONE                             PO BOX 3687                             76 SOUTH MAIN STREET
MESQUITE TX 75185-0267            ROSCOE IL 61073                            AKRON OH 44309                          AKRON OH 44308-1890




035254P001-1409A-265              006010P001-1409A-265                       036659P001-1409A-265                    032265P001-1409A-265
MET-ED                            CORRIN N METCALF                           METRO DOOR ROMET MFG INC                METRO DOOR ROMET MFG,INC
FIRSTENERGY/MET-ED                1251 FLAMINGO DR                           2929 EXPRESSWAY DR NORTH STE 300B       2929 EXPWY DR NORTH
101 CRAWFORD'S CORNER RD          MOUNT MORRIS MI 48458                      ISLANDIA NY 11749                       STE 300B
BLDG # 1 SUITE 1-511                                                                                                 ISLANDIA NY 11749
HOLMDEL NJ 07733
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034842P001-1409A-265               029905P001-1409A-265                         029905S001-1409A-265              033032P002-1409A-265
METRO NATIONAL                     METRO NATIONAL (LANDLORD)                    METRO NATIONAL (LANDLORD)         METRO WASTE SVC CO
MEMORIAL CITY MALL LP              MEMORIAL CITY MALL LP                        MEMORIAL CITY MALL, LP            RICHARD D MASSAD
METRO NATIONAL CORP                METRO NATIONAL CORP                          MALL MANAGER                      29131 MICHIGAN AVE
PO BOX 19509                       LEGAL DEPARTMENT                             303 MEMORIAL CITY                 PO BOX 498
HOUSTON TX 77224-9509              PO BOX 19509                                 HOUSTON TX 77024                  INKSTER MI 48141
                                   HOUSTON TX 77224-9509


031423P001-1409A-265               034228P001-1409A-265                         037744P001-1409A-265              010513P001-1409A-265
METROPOLIS LIFESTYLE CENTER LLC    METROPOLIS LIFESTYLE CENTER LLC              METROPOLIS LIFESTYLE CENTER LLC   METROPOLITAN TRUSTEE
LISA SHIPOWITZ                     2650 THOUSAND OAKS BLVD                      BALLARD SPAHR LLP                 PO BOX 305012
2650 THOUSAND OAKS BLVD            STE 2200                                     DUSTIN P BRANCH                   NASHVILLE TN 37230-5012
STE 3150                           MEMPHIS TN 38118                             2029 CENTURY PARK EAST STE 800
MEMPHIS TN 38118                                                                LOS ANGELES CA 90067-2909



033488P001-1409A-265               009494P001-1409A-265                         036573P001-1409A-265              004561P001-1409A-265
METTLER TOLEDO INC                 KATHRYN V METTLER                            JOSEPH MEUSE                      BAILEY MEYER
METTEL                             960 PINEHURST DR                             3535 SOUTH BALL ST APT 625        2311 SOUTH 151ST ST
PO BOX 100682                      CHESTER SPRINGS PA 19425                     ARLINGTON VA 22202                OMAHA NE 68144
PASADENA CA 91189-0682




030252P001-1409A-265               009185P001-1409A-265                         006413P001-1409A-265              030514P002-1409A-265
BRIANA M MEYER                     EMMA MEYER                                   JESSICA F MEYER                   MEGAN N MEYER
ADDRESS INTENTIONALLY OMITTED      7463 WOODBURY CT                             141 CAMPUS VIEW RD                ADDRESS INTENTIONALLY OMITTED
                                   INDIANAPOLIS IN 46237                        4
                                                                                MANKATO MN 56001




001718P001-1409A-265               037689P001-1409A-265                         006522P001-1409A-265              005802P001-1409A-265
NICOLE E MEYER                     KATHRYN MEYERS                               ALEXIA M MEYERS                   SHYNERIA MEYERS
18087 218TH AVE NW                 11 W CROOKED HILL RD                         171 BRECKINRIDGE                  5995 LIVERPOOL LN
BIG LAKE MN 55309                  PEARL RIVER NY 10965                         171                               INDIANAPOLIS IN 46236
                                                                                LOUISVILLE KY 40220




008980P001-1409A-265               035831P001-1409A-265                         005462P001-1409A-265              031035P001-1409A-265
ADRIANA E MEZA                     ADRIANA E MEZA                               HAILEY C MEZA                     MEZZANINE USA INC
40 CAMBON DR                       350 ARBALLO DR 11M                           2902 REDSKY PASS                  CHRISTOPHER KIM
SAN FRANCISCO CA 94132             SAN FRANCISCO CA 94132                       SAN ANTONIO TX 78259              1015 S CROCKER ST R29
                                                                                                                  LOS ANGELES CA 90021




034655P001-1409A-265               036838P001-1409A-265                         031424P001-1409A-265              036984P001-1409A-265
MEZZANINE USA INC                  MEZZANINE USA INC                            MFC BEAVERCREEK LLC               MFC BEAVERCREEK LLC
1015 SOUTH CROCKER STREET R29      LEWIS BRISBOIS BISGAARD AND SMITH            WASHINGTON PRIME GROUP INC        WASHINGTON PRIME GROUP INC
LOS ANGELES CA 90021               LOVEE D SARENAS                              180 EAST BROAD ST                 FROST BROWN TODD LLC
                                   633 W 5TH ST STE 4000                        COLUMBUS OH 43215                 301 E FOURTH ST
                                   LOS ANGELES CA 90071                                                           CINCINNATI OH 45202
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036984S001-1409A-265               032266P001-1409A-265                       035019P002-1409A-265          029906P001-1409A-265
MFC BEAVERCREEK LLC                MFMC STUDIO LIMITED PARTNERSHIP            MGHERRING GROUP               MGHERRING GROUP (LANDLORD)
WASHINGTON PRIME GROUP INC         2443 FILLMORE ST                           GTM DEVELOPMENT LTD           GTM DEVELOPMENT LTD
STEPHEN E IFEDUBA                  #284                                       5343 ELLSWORTH AVE            CENCOR REALTY SVC
180 E BROAD ST                     SAN FRANCISCO CA 94115                     DALLAS TX 75206-5388          ASSET MANAGER
COLUMBUS OH 43215                                                                                           3102 MAPLE AVE STE 500
                                                                                                            DALLAS TX 75201


029906S001-1409A-265               029906S002-1409A-265                       030816P001-1409A-265          036265P001-1409A-265
MGHERRING GROUP (LANDLORD)         MGHERRING GROUP (LANDLORD)                 MH CONCEPTS LTD               MH CONCEPTS LTD
GTM DEVELOPMENT, LTD               GTM DEVELOPMENT, LTD                       MEANNE HO                     UNIT E1 31/F TG PLACE 10 SH KWUN TONG
PRESIDENT                          LEGAL DEPT                                 UNIT E1 31/F TG PL 10 SH      KOWLOON LIMA
5343 ELLSWORTH AVE                 5343 ELLSWORTH AVE                         KWUN TONG                     PERU
DALLAS TX 75206-5388               DALLAS TX 75206-5388                       KOWLOON HONG KONG
                                                                              HONG KONG


010152P002-1409A-265               010152S001-1409A-265                       010581P002-1409A-265          010103P002-1409A-265
MI- CITY OF GRANDVILLE             MI- CITY OF GRANDVILLE                     MI- CITY OF KENTWOOD          MI- CITY OF PORTAGE
DEPT 8704                          TAMMY HOPMAN                               CITY OF KENTWOOD TREASURER    CHARLES R BEAR
PO BOX 30516                       3195 WILSON AVE SW                         KATHERINE E CHRISMAN          1662 E CENTRE AVE
LANSING MI 48909-8016              GRANDVILLE MI 49418                        4900 BRETON AVE SE            PORTAGE MI 49002
                                                                              PO BOX 8848
                                                                              KENTWOOD MI 49518-8848


034653P002-1409A-265               034044P002-1409A-265                       033033P001-1409A-265          033033S001-1409A-265
MI- DEPT OF REVENUE                MI- SAGINAW CHARTER TOWNSHIP               MIAMI DADE WATER SEWER DEPT   MIAMI DADE WATER SEWER DEPT
BANKRUPTCY SECTION                 KATHERINE E METROPOULOS                    PO BOX 026055                 3071 SW 38TH AVE
PO BOX 22808                       4980 SHATTUCK RD                           MIAMI FL 33102                MIAMI FL 33146
JACKSON MS 39225-2808              SAGINAW MI 48603




032267P001-1409A-265               009935P001-1409A-265                       032268P001-1409A-265          010333P001-1409A-265
MIAMI-DADE COUNTY TAX COLLECTOR    MIAMI-DADE COUNTY TAXCOLLECTOR             MIAMIDADE FIRE RESCUE DEPT    MICHAEL CORRIGAN TAX COLLECTOR
LOCAL BUSINESS TAX SECTION         200 NW 2ND AVE                             FINANCE BUREAU                PO BOX 44009
PO BOX 13701                       MIAMI FL 33128                             9300 NW 41ST ST               JACKSONVILLE FL 32231-4009
MIAMI FL 33101-3701                                                           DORAL FL 33178-2424




032270P001-1409A-265               001852P001-1409A-265                       008166P001-1409A-265          032271P001-1409A-265
MICHAEL E GOREN                    CRYSTAL B MICHAELS                         VICTORIA S MICHAELS           MICHELE N GALLORO
A PROFESSIONAL CORP                2114 S 23RD ST                             1140 O'BLOCK RD               1167 EAST CAMBRIA LN SOUTH
14431 VENTURA BLVD STE 500         MILWAUKEE WI 53215                         PITTSBURGH PA 15239           LOMBARD IL 60148
SHERMAN OAKS CA 91423




032701P001-1409A-265               032272P001-1409A-265                       032273P001-1409A-265          033287P002-1409A-265
MICHELLE D MCBRIDE, ST CHARLES     MICHELLE JI                                MICHELLE MONROY               BRITTANY MICHELS
COUNTRY COLLECTOR                  1440 VISTA DEL MAR                         1931 FUNSTON ST               1123 PACIFIC AVE
CHARISSA L MEYERS                  FULLERTON CA 92831                         HOLLYWOOD FL 33020            SAN FRANCISCO CA 94133-4211
201 N SECOND ST STE 134
SAINT CHARLES MO 63301-2889
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000326P001-1409A-265                           037316P001-1409A-265                               000211P001-1409A-265                      000054P001-1409A-265
MICHIGAN ATTORNEY GENERAL                      MICHIGAN BELL TELEPHONE CO                         MICHIGAN DEPT OF ENERGY LABOR AND         MICHIGAN DEPT OF ENVIRONMENTAL QUALITY
DANA NESSEL                                    AT AND T SVC INC                                   ECONOMIC GROWTH                           525 WEST ALLEGAN ST
PO BOX 30212                                   KAREN A CAVAGNARO                                  611 WEST OTTAWA                           PO BOX 30473
525 W OTTAWA ST                                LEAD PARALEGAL ONE AT AND T WAY                    PO BOX 30004                              LANSING MI 48909-7973
LANSING MI 48909-0212                          ROOM 3A104                                         LANSING MI 48909
                                               BEDMINSTER NJ 07921


033682P001-1409A-265                           000135P001-1409A-265                               000432P001-1409A-265                      009759P001-1409A-265
MICHIGAN DEPT OF LABOR AND ECONOMIC GROWTH     MICHIGAN DEPT OF TREASURY                          MICHIGAN DEPT OF TREASURY                 MICHIGAN DEPT OF TREASURY
EMPLOYER STATUS SECTION                        TREASURY BLDG                                      UNCLAIMED PROPERTY DIVISION               PO BOX 30803
CADILLAC PLACETAX OFFICE 11TH FLOOR STE 500    LANSING MI 48922                                   PO BOX 30756                              LANSING MI 48909
3024 W GRAND BLVD                                                                                 LANSING MI 48909
DETROIT MI 48202



009814P001-1409A-265                           030792P001-1409A-265                               006833P001-1409A-265                      033361P001-1409A-265
MICHIGAN DEPT OF TREASURY                      MICHIGAN STATE DISBURSEMENT                        TRISTAN S MICKELS                         MICROS-RETAIL
PO BOX 30804                                   UNIT                                               178 GLENHAVEN ST                          DATAVANTAGE
LANSING MI 48909                               PO BOX 30350                                       FRUITA CO 81521                           GAIL LINN
                                               LANSING MI 48909-7850                                                                        30500 BRUCE INDUSTRIAL PKWY
                                                                                                                                            CLEVELAND OH 44139



033362P001-1409A-265                           032274P001-1409A-265                               035132P001-1409A-265                      035213P001-1409A-265
MICROS-RETAIL                                  MICROSOFT CORP                                     MICROSOFT CORP                            MICROSOFT CORP AND MICROSOFT LICENSING GP
GAIL LINN                                      PO BOX 842103                                      1950 N STEMMONS FWY STE 5010              FOX ROTHSCHILD LLP
30500 BRUCE INDUSTRIAL PKWY                    DALLAS TX 75282-2103                               DALLAS TX 75207                           DAVID PAPIEZ
CLEVELAND OH 44139                                                                                                                          1001 4TH AVE
                                                                                                                                            SUITE 4500
                                                                                                                                            SEATTLE WA 98154


035213S001-1409A-265                           035214P001-1409A-265                               035214S001-1409A-265                      032275P001-1409A-265
MICROSOFT CORP AND MICROSOFT LICENSING GP      MICROSOFT CORP AND MICROSOFT ONLINE INC            MICROSOFT CORP AND MICROSOFT ONLINE INC   MICROSOFT ONLINE INC
DREW WILKINSON                                 FOX ROTHSCHILD LLP                                 DREW WILKINSON                            CUSTOMER SVC
ONE MICROSOFT WAY                              DAVID PAPIEZ                                       ONE MICROSOFT WAY                         PO BOX 847543
REDMOND WA 98052                               1001 4TH AVE                                       REDMOND WA 98052                          DALLAS TX 75284-7543
                                               SUITE 4500
                                               SEATTLE WA 98154


036662P001-1409A-265                           031425P002-1409A-265                               031425S001-1409A-265                      034770P001-1409A-265
MICROSOFT ONLINE INC                           MID RIVERS MALL CMBS LLC                           MID RIVERS MALL CMBS LLC                  MID-AMERICA
PO BOX 847543                                  BY CBL AND ASSOCIATES MANAGEMENT INC               BY CBL AND ASSOCIATES MANAGEMENT INC      ISTAR INC
DALLAS TX 75284-7543                           GARY RODDY                                         CALEB HOLZAEPFEL                          180 GLASTONBURY BLVD
                                               2030 HAMILTON PL BLVD STE 500                      736 GEORGIA AVE STE 300                   GLASTONBURY CT 6033-
                                               CHATTANOOGA TN 37421-6000                          CHATTANOOGA TN 37402



029907P001-1409A-265                           029907S001-1409A-265                               029907S002-1409A-265                      029907S003-1409A-265
MID-AMERICA (LANDLORD)                         MID-AMERICA (LANDLORD)                             MID-AMERICA (LANDLORD)                    MID-AMERICA (LANDLORD)
SFI FORD CITY - CHICAGO LLC                    ISTAR INC                                          SFI FORD CITY - CHICAGO LLC               SCHENK ANNES TEPPER CAMPBELL LTD
ISTAR INC                                      CYNTHIA TUCKER SR VP                               GENERAL MANAGER                           ANDREW J ANNES ESQUIRE
1114 AVE OF THE AMERICAS 39TH FL               180 GLASTONBURY BLVD                               MANAGEMENT OFFICE                         311 SOUTH WACKER DR
NEW YORK NY 10036                              GLASTONBURY CT 06033                               7601 SOUTH CICERO AVE                     STE 2500
                                                                                                  CHICAGO IL 60652                          CHICAGO IL 60606
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034245P001-1409A-265              031426P001-1409A-265                             033034P001-1409A-265         033034S001-1409A-265
MID-SOUTH OUTLET HOLDINGS LLC     MID-SOUTH OUTLET SHOPS LLC                       MIDAMERICAN ENERGY CO        MIDAMERICAN ENERGY CO
3200 NORTHLINE AVE                MID-SOUTH OUTLET HOLDINGS LLC                    EDI INVOICES ONLY            666 GRAND AVE
STE 360                           3200 NORTHLINE AVE                               PO BOX 8020                  SUITE 500
GREENSBORO NC 27408               STE 360                                          DAVENPORT IA 52808           DES MOINES IA 50309
                                  GREENSBORO NC 27408



033035P001-1409A-265              035215P002-1409A-265                             003672P001-1409A-265         005874P001-1409A-265
MIDAMERICAN ENERGY CO             MIDAMERICAN ENERGY CO                            ALICIA D MIDDLETON           KAYLEE S MIDDLETON
PO BOX 8020                       SARAH L SOLIZ                                    10403 WILLOW RUN RD          3241 DONLIN DR
DAVENPORT IA 52808                PO BOX 4350 CREDIT                               APT 1F                       WAKE FOREST NC 27587
                                  DAVENPORT IA 52808-4350                          CHARLOTTE NC 28210




009474P001-1409A-265              033036P002-1409A-265                             033985P001-1409A-265         032276P001-1409A-265
MARIA T MIDDLETON                 MIDDLETOWN SEWER AUTHORITY                       MIDDLETOWN SEWER AUTHORITY   MIDDLETOWN TOWNSHIP-FSI
9851 BRANDYWINE DR                A/K/A MIDDLETOWN TOWNSHIP                        453 S LAWRENCE ST            3 MUNICIPAL WAY
NAVARRE FL 32566                  PO BOX 9                                         MIDDLETOWN PA 17057          LANGHORNE PA 19047
                                  LIMA PA 19037




035393P001-1409A-265              035393S001-1409A-265                             010558P001-1409A-265         030817P001-1409A-265
MIDLAND CENTRAL APPRAISAL DIST    MIDLAND CENTRAL APPRAISAL DIST                   MIDLAND COUNTY               MIDWAY INDUSTRIES AMERICA INC
4631 ANDREWS HWY                  PERDUE BRANDON FIELDER COLLINS AND MOTT LLP      TAX ASSESSOR/ COLLECTOR      LYNDSEY ARNOLD
PO BOX 908002                     LAURA J MONROE                                   PO BOX 712                   10 WEST 33RD ST
MIDLAND TX 79708-0002             PO BOX 817                                       MIDLAND TX 79702             RM 1221
                                  LUBBOCK TX 79408                                                              NEW YORK NY 10001



032750P001-1409A-265              004240P001-1409A-265                             000707P001-1409A-265         037152P001-1409A-265
MIDWAY SVC UTILITIES, INC         DANIELLE MIELCUSNY                               ADRIANA MIER                 ADRIANA MIER
4685 118TH AVE NORTH              1701 JACKSON AVE                                 2573 COLD SPRINGS PL         ADRIANA MIER
CLEARWATER FL 33762               NEW CASTLE PA 16101                              ONTARIO CA 91761             2573 COLD SPRINGS PL
                                                                                                                22063 91761
                                                                                                                ONTARIO 20930
                                                                                                                CANADA


004924P001-1409A-265              004966P001-1409A-265                             008559P001-1409A-265         001566P001-1409A-265
SHAYLEE E MIERA                   AMANDA M MIERZWA                                 JOSELIN C MIGUEL             KATE T MIJA
1535 17TH AVE SE                  1570 BALDWIN BLVD                                276 RAILROAD AVE             16 PARKWOOD AVE
RIO RANCHO NM 87124               BAY SHORE NY 11706                               CENTER MORICHES NY 11934     HUDSON FALLS NY 12839-2336




005758P001-1409A-265              032277P001-1409A-265                             010435P001-1409A-265         032278P001-1409A-265
ADRIANA MIJANGOS                  MIKE ARMSTRONG SHERIFF                           MIKE FASANO, TAX COLLECTOR   MIKENZIE CROCKER
777 LIANA DR                      501 MAIN ST STE 8                                PASCO COUNTY FLORIDA         2039 JOHN F KENNEDY
SANTA ROSA CA 95407               SHELBYVILLE KY 40065-1194                        PO BOX 276                   WEST CAMPUS 418
                                                                                   DADE CITY FL 33526-0276      JERSEY CITY NJ 07305
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007532P001-1409A-265             005107P001-1409A-265                032279P001-1409A-265                     034369P001-1409A-265
JESSICA R MIKOLAJCZAK            MELISSA MIKOLAJCZYK                 MILBANK, TWEED, HADLEY AND MCCLOY, LLP   MILBERG FACTORS
1035 DELAWARE RD                 1249 PK ST                          2029 CENTURY PK EAST                     99 PK AVE
APT 2                            APT A                               33RD FL                                  NEW YORK NY 10016
BUFFALO NY 14223                 BOWLING GREEN KY 42101              LOS ANGELES CA 90067




033469P002-1409A-265             006243P001-1409A-265                009057P001-1409A-265                     010033P001-1409A-265
MILBERG FACTORS INC              QWANIESHA MILBOURNE                 EMILY MILES                              MILFORD POLICE DEPT
BARRY MACHOWSKY                  201 CYPRESS LN                      284 HIGH PATH RD                         430 BOSTON POST RD
99 PARK AVE 21ST FL              SNOW HILL MD 21863                  WINDSOR CT 06095                         MILFORD CT 06460-2530
NEW YORK NY 10016




033357P001-1409A-265             033037P001-1409A-265                031427P001-1409A-265                     036663P001-1409A-265
NICHOLAS G MILIOTIS              MILLCREEK TOWNSHIP SEWER            MILLER HILL MALL                         MILLER HILL MALL
CARRIER MANAGEMENT STRATEGIES    3608 W 26TH ST                      SIMON PROPERTY GROUP LP                  867675 RELIABLE PKWY
3012 CHAUNCEY DR                 STE 205                             867675 RELIABLE PKWY                     CHICAGO IL 60686-0076
SAN DIEGO CA 92123               ERIE PA 16506                       CHICAGO IL 60686-0076




030880P002-1409A-265             006016P001-1409A-265                004851P001-1409A-265                     001795P001-1409A-265
MILLER LAW OFFICES               ALLISON E MILLER                    AMANDA MILLER                            AMY K MILLER
CHARLES MILLER / TERRI MILLER    2409 HILL AVE                       3357 BOW MAR CT                          8285 HICKORY AVE
12441 VENTURA BLVD               MIDDLETOWN OH 45044                 CAMERON PARK CA 95682                    GALENA OH 43021
STUDIO CITY CA 91604




006059P001-1409A-265             000945P001-1409A-265                009036P001-1409A-265                     035832P001-1409A-265
ANTORIA O MILLER                 BRITNEY MILLER                      BRITTANY MILLER                          CHANTELLE L MILLER
502 GOLDEN PINE CT               837 SEVEN GABLES CIR SE             11413 HANNETT AVE NE ALBUQUERQ           5405 SHADY AVE APT 2
502 GOLDEN PIN                   PALM BAY FL 32909                   ALBUQUERQUE NM 87112                     APT 2
GREENVILLE SC 29673                                                                                           LOWVILLE NY 13367




000553P001-1409A-265             005704P001-1409A-265                037063P001-1409A-265                     001054P001-1409A-265
CHRISTINE D MILLER               DEJORIA J MILLER                    DEJORIA J MILLER                         DELECIA T MILLER
7226 DEER HOLLOW DR              29 PONY CV                          21 MONTICELLO CV                         3657 VARIAN AVE
WEST CHESTER OH 45069            JACKSON TN 38305                    JACKSON TN 38305                         APT 2
                                                                                                              BRONX NY 10466




006980P001-1409A-265             000790P001-1409A-265                001226P001-1409A-265                     008659P001-1409A-265
ELLIA E MILLER                   FRANCES J MILLER                    JESSICA S MILLER                         KIRA MILLER
1163 TOWNSVIEW PL                32-50 93RD ST                       2135 LIMEKILN RD                         630 DRAKE BAY TER
WOOSTER OH 44691                 APT B4                              DOUGLASSVILLE PA 19518                   ST AUGUSTINE FL 32084
                                 EAST ELMHURST NY 11369
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003032P001-1409A-265              002196P001-1409A-265                  035833P001-1409A-265             036619P001-1409A-265
KRISTINA MILLER                   LAERICA N MILLER                      LAURYN MILLER                    LOREN MILLER
5541 NEWCASTLE AVE                2216 FONTAINEBLEAU DR                 950 COLGATE DR                   373 HERITAGE DR
22                                ORLANDO FL 32808                      #3507                            DANVILLE IN 46122-1405
ENCINO CA 91316                                                         COLLEGE STATION TX 77840




001913P001-1409A-265              006214P001-1409A-265                  006214S001-1409A-265             005801P001-1409A-265
MARYMARGARET MILLER               MEGAN J MILLER                        MEGAN J MILLER                   PEYTON M MILLER
2111 HARRIS RD                    18061 KNOLL DR                        11218 PEPPER BUSH CIRCLE APT F   18 RAINDREAM PL
PENFIELD NY 14526-1825            FAIRPLAY MD 21733                     HAGERSTOWN MD 21740              THE WOODLANDS TX 77381




007928P001-1409A-265              006962P001-1409A-265                  006982P001-1409A-265             003046P001-1409A-265
SIENNA MILLER                     STACIE MILLER                         TAJANAE MILLER                   TRUDY M MILLER
2020 ARCANE AVE                   3208 ELENA WAY                        1709 CARPENTER AVE               5 ALBERT CT
RENO NV 89503                     WOODSTOCK GA 30188                    DES MOINES IA 50314              METAIRIE LA 70003




000682P001-1409A-265              007348P001-1409A-265                  007113P001-1409A-265             004213P001-1409A-265
VALENCIA T MILLER                 ZACHARY H MILLER                      MARIAH MILLERSMITH               GABRIELA A MILLS
8230 BOGGS CREEK DR               1637 EUCLID AVE                       315 S FELL AVE                   4503 GRENWICH LN
APT C                             1                                     PICKERING 514                    MOUNT LAUREL NJ 08054
INDIANAPOLIS IN 46237             LINCOLN NE 68502                      NORMAL IL 61761




009019P001-1409A-265              007379P001-1409A-265                  000776P001-1409A-265             036727P001-1409A-265
JASMINE A MILLS                   JEKQUANZA K MILLS                     JESSICA R MILLS                  REBECCA MILLS
315B VINE ST                      1071 ST BARNABAS CHURCH RD            804 3RD AVE                      2144 LAKESHORE DR APT 30B
ATHENS GA 30601                   JENKINSVILLE SC 29065                 REAR                             RIDGELAND MS 39157
                                                                        DUNCANSVILLE PA 16635




003042P001-1409A-265              035834P001-1409A-265                  008799P001-1409A-265             001737P001-1409A-265
TALYSHA M MILLS                   TALYSHA M MILLS                       JAZMINE MILNE                    STORM MILSOP
640 DR MARY MCLEOD BETHUNE BLV    3001 VIEWPOINT ST                     1548 ROADRUNNER DR               21494 SELPH LN
DAYTONA BEACH FL 32114            DELTONA FL 32725                      ROSEVILLE CA 95747               BOWLING GREEN VA 22427-2655




030626P001-1409A-265              003761P001-1409A-265                  003449P001-1409A-265             033683P001-1409A-265
STORM MILSOP                      KAITLIN MILTIER                       DIAMOND M MILTON                 MIMECAST NORTH AMERICA INC
ADDRESS INTENTIONALLY OMITTED     3460 PAWLEYS LOOP N                   12261 FONDREN RD                 191 SPRING ST
                                  ST. CLOUD FL 34769                    HOUSTON TX 77035                 LEXINGTON MA 02421
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031036P001-1409A-265          008489P001-1409A-265                          007554P001-1409A-265                   001425P001-1409A-265
MIMI CHICA                    DESTINY MIMS                                  MELANI MINA                            HEATHER MINDLER
CARLOS ESPARZA                1475 ORMOND AVE                               8460 RAYMOND DR                        1325 HIGHLAND HILLS DR
910 S LOS ANGELES ST          CAMDEN NJ 08103                               BOYNTON BEACH FL 33472                 KALAMAZOO MI 49007
STE 603
LOS ANGELES CA 90015



007429P001-1409A-265          032280P001-1409A-265                          034169P001-1409A-265                   034692P001-1409A-265
JAWA MINEH                    MINER FLEET MANAGEMENT GROUP                  MINER FLEET MANAGEMENT GROUP LLC       MINER FLEET MGMT
336 MEADOW CT                 RHONDA NAZARO LAMBERT                         17319 SAN PEDRO AVE STE 500            AKA METRO DOOR
VERNON HILLS IL 60061         17319 SAN PEDRO AVE STE 500                   SAN ANTONIO TX 78232                   JANE ROMANO
                              SAN ANTONIO TX 78232                                                                 2929 EXPRESSWAY DR N STE 300B
                                                                                                                   ISLANDIA NY 11749



007250P001-1409A-265          008894P001-1409A-265                          005825P001-1409A-265                   031037P001-1409A-265
MACKENZIE D MINER             DEVYN E MINES                                 JKEL P MINES                           MINETTE APPAREL LLC
2300 WEST SAN ANGELO DR       8910 CHIANTI TERR                             315 BATY ST                            CHARLES HA
1117                          BRISTOW VA 20136                              ELMIRA NY 14904                        4768 S ALAMEDA ST
GILBERT AZ 85233                                                                                                   VERNON CA 90058




001020P001-1409A-265          004655P001-1409A-265                          031038P001-1409A-265                   000327P001-1409A-265
JENNY J MING                  MARY C MINGO                                  MINILOU LLC                            MINNESOTA ATTORNEY GENERAL
120 W SANTA INEZ AVE          3225 W 4TH ST                                 HUGH SHURLEY                           LORI SWANSON
HILLSBOROUGH CA 94010         APT B3                                        2025 STRATFORD DR                      1400 BREMER TOWER
                              HATTIESBURG MS 39401                          SALT LAKE CITY UT 84109                445 MINNESOTA ST
                                                                                                                   ST. PAUL MN 55101-2131



010111P001-1409A-265          000433P001-1409A-265                          000212P001-1409A-265                   000055P001-1409A-265
MINNESOTA DEPT OF             MINNESOTA DEPT OF COMMERCE                    MINNESOTA DEPT OF LABOR AND INDUSTRY   MINNESOTA DEPT OF NATURAL RESOURCES
COMMERCE                      UNCLAIMED PROPERTY DIVISION                   COMMISSIONER                           500 LAFAYETTE RD
UNCLAIMED PROPERTY PROGRAM    85 7TH PL EAST                                443 LAFAYETTE RD N                     ST. PAUL MN 55155-4040
85 7TH PL EAST STE 500        SUITE500                                      ST. PAUL MN 55155
SAINT PAUL MN 55101           ST. PAUL MN 55101



000136P001-1409A-265          000056P001-1409A-265                          009760P001-1409A-265                   010075P001-1409A-265
MINNESOTA DEPT OF REVENUE     MINNESOTA POLLUTION CONTROL AGENCY            MINNESOTA REVENUE                      MINNESOTA SECRETARY OF STATE
600 NORTH ROBERT ST           520 LAFAYETTE RD                              MAIL STATION 1250                      MN SECRETARY OF STATE BUS SERV
ST. PAUL MN 55101             ST. PAUL MN 55155-4194                        ST. PAUL MN 55145-1250                 60 EMPIRE DR STE 100
                                                                                                                   ST PAUL MN 55103




005747P001-1409A-265          007770P001-1409A-265                          009146P001-1409A-265                   008219P001-1409A-265
HENDIA R MINNIS               SHARELL L MINNIS                              DEBORAH MINNOW                         ASHLEIGH N MINOR
6303 WESTGATE DR              1045 AUGUSTA WOODS DR                         5427 HARBOUR LANDINGS DR               50 W MAIN ST
2004                          DOUGLASVILLE GA 30134                         LIBERTY TOWNSHIP OH 45011              1005
ORLANDO FL 32835                                                                                                   UNIONTOWN PA 15401
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003068P001-1409A-265             030868P001-1409A-265                      034282P001-1409A-265                009160P001-1409A-265
ERIA D MINOR                     MINTZ LEVIN COHN FERRIS GLOVSK            MINTZ LEVIN COHN FERRIS GLOVSKY A   MARISA MIODUSKI
2412 2ND AVE N                   ROBERT BURWELL                            44 MONTGOMERY ST                    702 OLD FARM RD
16                               44 MONTGOMERY ST                          36TH FL                             NORTH VERSAILLES PA 15137
BIRMINGHAM AL 35203              36TH FL                                   SAN FRANCISCO CA 94104
                                 SAN FRANCISCO CA 94104



030740P001-1409A-265             036266P001-1409A-265                      009181P001-1409A-265                032281P001-1409A-265
MIRAGE FASHION OF NY LLC         MIRAGE FASHION OF NY LLC                  DOMINIQUE MIRAGLIA                  MIRAMAR OFFICE FURNITURE
ELI COHEN                        1410 BROADWAY STE 505                     425 MILL ST                         ONSITE LIQUIDATORS
1410 BROADWAY                    NEW YORK NY 10018                         PLAINS PA 18705                     JAY CAMPBELL
STE 505                                                                                                        9586 DISTRIBUTION AVE
NEW YORK NY 10018                                                                                              #A
                                                                                                               SAN DIEGO CA 92121


036664P001-1409A-265             006642P001-1409A-265                      006855P001-1409A-265                003054P001-1409A-265
MIRAMAR OFFICE FURNITURE         BRENDA E MIRANDA                          ELIZABETH MIRANDA                   GABRIELLE MIRANDA
9586 DISTRIBUTION AVE #A         907 MEADOW RIDGE DR                       1161 LATIGO LN                      2168 GRAHAM DR
SAN DIEGO CA 92121               907                                       LAS CRUCES NM 88007                 GRETNA LA 70056
                                 SIMPSONVILLE KY 40067




030343P001-1409A-265             000667P001-1409A-265                      009320P001-1409A-265                001526P001-1409A-265
GABRIELLE MIRANDA                LESLEY MIRANDA                            MARITZA MIRANDA                     PAOLA N MIRANDA
ADDRESS INTENTIONALLY OMITTED    10182 CASA VIEW DR                        258 EARL ST                         CALLE 6 AF 2
                                 DALLAS TX 75228                           LAS VEGAS NV 89101                  RIO GRANDE STA
                                                                                                               RIO GRANDE PR 00745




004275P001-1409A-265             003639P001-1409A-265                      008174P001-1409A-265                032282P001-1409A-265
PERLA MIRANDA                    ELIZABETH R MIRANDI                       JAIMIE M MIRELES                    MIRIAM HERNANDEZ
2075 OSPREY COVE                 4 SUPERIOR ST                             8854 EATONWICK FR                   2316 S HIGHLAND AVE
SHELBYVILLE KY 40065             MILLER PLACE NY 11764                     MEMPHIS TN 38016                    LOS ANGELES CA 90016




033038P001-1409A-265             033038S001-1409A-265                      033986P002-1409A-265                006083P001-1409A-265
MISHAWAKA UTILITIES              MISHAWAKA UTILITIES                       MISHAWAKA UTILITIES                 SHERSTIN MISKIN
PO BOX 363                       126 NORTH CHURCH ST                       VIRGINIA FRAS                       3019 162ND PL SE
MISHAWAKA IN 46546               MISHAWAKA IN 46544                        126 N CHURCH ST                     BELLEVUE WA 98008
                                                                           MISHAWAKA IN 46544




036267P001-1409A-265             031428P001-1409A-265                      036915P001-1409A-265                000328P001-1409A-265
MISS AVENUE                      MISSION VALLEY SHOPPINGTOWN               MISSION VALLEY SHOPPINGTOWN LLC     MISSISSIPPI ATTORNEY GENERAL
1016 TOWNE AVE STE #102          BANK OF AMERICA                           LECLAIRRYAN PLLC                    JIM HOOD
LOS ANGELES CA 90021             FILE #59906                               NICLAS A FERLAND                    WALTER SILLERS BLDG
                                 LOS ANGELES CA 90074-9906                 545 LONG WHARF DR 9TH FL            550 HIGH ST STE 1200
                                                                           NEW HAVEN CT 06511                  JACKSON MS 39201
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000057P001-1409A-265                         010267P001-1409A-265                               000213P001-1409A-265                         035232P001-1409A-265
MISSISSIPPI DEPT OF ENVIRONMENTAL QUALITY    MISSISSIPPI DEPT OF REVENUE                        MISSISSIPPI EMPLOYMENT SECURITY COMMISSION   MISSISSIPPI POWER
LEGAL DEPT                                   PO BOX 23075                                       EXECUTIVE DIRECTOR                           BILLING SVC BIN 1087A
PO BOX 2261                                  JACKSON MS 39225-3075                              1235 ECHLON PKWY                             POST OFFICE BOX 4079
JACKSON MS 39225                                                                                PO BOX 1699                                  GULFPORT MS 39502-4079
                                                                                                JACKSON MS 39215-1699



033039P001-1409A-265                         033039S001-1409A-265                               010266P001-1409A-265                         000434P001-1409A-265
MISSISSIPPI POWER CO                         MISSISSIPPI POWER CO                               MISSISSIPPI STATE TAX                        MISSISSIPPI STATE TREASURER
SOUTHERN CO                                  2992 WEST BEACH BLVD                               COMMISSION SALES TAX DIVISION                UNCLAIMED PROPERTY DIVISION
SAM WHITE                                    GULFPORT MS 39501                                  PO BOX 23075                                 PO BOX 138
1280 OAKBROOK DR                                                                                JACKSON MS 39225-3075                        JACKSON MS 39205
NORCROSS GA 30093



000137P001-1409A-265                         000329P001-1409A-265                               000381P001-1409A-265                         000058P001-1409A-265
MISSISSIPPI TAX COMMISSION                   MISSOURI ATTORNEY GENERAL                          MISSOURI ATTORNEY GENERAL'S OFFICE           MISSOURI DEPT OF CONSERVATION
PO BOX 22808                                 JOSHUA D HAWLEY                                    CONSUMER PROTECTION DIVISION                 2901 W TRUMAN BLVD
JACKSON MS 39225-2808                        SUPREME CT BLDG                                    OLD POST OFFICE BLDG                         JEFFERSON CITY MO 65109
                                             207 W HIGH ST                                      815 OLIVE ST SUITE200
                                             JEFFERSON CITY MO 65101                            ST. LOUIS MO 63101



000059P001-1409A-265                         000138P001-1409A-265                               009815P001-1409A-265                         010308P001-1409A-265
MISSOURI DEPT OF NATURAL RESOURCES           MISSOURI DEPT OF REVENUE                           MISSOURI DEPT OF REVENUE                     MISSOURI DIRECTOR OF REVENUE
PO BOX 176                                   HARRY S TRUMAN STATE OFFICE BLDG                   PO BOX 3365                                  PO BOX 3020
1101 RIVERSIDE DR                            301 WEST HIGH ST                                   JEFFERSON CITY MO 65105-3365                 JEFFERSON CITY MO 65105-3020
JEFFERSON CITY MO 65102                      JEFFERSON CITY MO 65101




033040P001-1409A-265                         000214P001-1409A-265                               000435P001-1409A-265                         033826P002-1409A-265
MISSOURI GAS ENERGY                          MISSOURI LABOR AND INDUSTRIAL RELATIONS            MISSOURI STATE TREASURER                     AMEREN MISSOURI
DRAWER 2                                     COMMISSION                                         UNCLAIMED PROPERTY DIVISION                  BANKRUPTCY DESK MC 310
ST LOUIS MO 63171                            CHAIRMAN                                           PO BOX 1004                                  JANIE S HOVIS
                                             3315 WEST TRUMAN BLVD RM 214                       JEFFERSON CITY MO 65102                      PO BOX 66881
                                             PO BOX 599                                                                                      ST LOUIS MO 63166
                                             JEFFERSON CITY MO 65102-0599


003425P001-1409A-265                         033231P001-1409A-265                               037714P002-1409A-265                         003596P001-1409A-265
YVETTE L MITCH                               MICHELLE MITCHEL                                   KELLIE MITCHELL                              ALIZE MITCHELL
2143 OKUHE LN                                                                                   19427 HARNED                                 393 SUMNER ST
KAILUA HI 96735                                                                                 DETROIT MI 48234                             AKRON OH 44304




007846P001-1409A-265                         006815P001-1409A-265                               008478P001-1409A-265                         002507P001-1409A-265
BAILY N MITCHELL                             CARMELA I MITCHELL                                 CARMEN MITCHELL                              CLAIRE I MITCHELL
1940 EAST PKWY                               2611 SCARBOROUGH DR                                1000A HEATHER RIDGE DR                       5909 SOUTH STEELE ST
DELAND FL 32724                              FORT WASHINGTON MD 20744                           312                                          CENTENNIAL CO 80121
                                                                                                FREDERICK MD 21702
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007430P001-1409A-265                         009141P001-1409A-265                        004798P002-1409A-265                  007820P001-1409A-265
EMONIE A MITCHELL                            JANNIE MITCHELL                             JOIARIELLE T MITCHELL                 KAILAN MITCHELL
1016 W EDGEWOOD BLVD                         2300 S LAMESA RD                            5521 HURTSCLIFFE DR NW                3300 LAKE BROOK BLVD
UNIT 6                                       APT 1136                                    KENNESAW GA 30152-3884                3300
LANSING MI 48911                             MIDLAND TX 79701                                                                  KNOXVILLE TN 37909




004170P001-1409A-265                         005260P001-1409A-265                        000713P001-1409A-265                  037165P001-1409A-265
KELLIE N MITCHELL                            KENDREA MITCHELL                            KIRT D MITCHELL                       N'KQUASHIA MITCHELL
19427 HARNED                                 9332 HARMONY DR                             201 RIVER PK DR                       4664 PINE LN
DETROIT MI 48234                             SHERWOOD AR 72120                           #4                                    PACE FL 32571
                                                                                         SANTEE CA 92071




000955P001-1409A-265                         004261P001-1409A-265                        035835P001-1409A-265                  007106P001-1409A-265
NATASHA MITCHELL                             NKQUASHIA M MITCHELL                        SHELBY T MITCHELL                     TIMYA M MITCHELL
7 MITCHELL AVE                               4664 PINE LN                                214 EAGLES TRL                        3163 CLUBHOUSE DR
APT B                                        PACE FL 32571                               HATTIESBURG MS 39402                  APT 4
MORTON PA 19070                                                                                                                BEAVERCREEK OH 45431




002825P001-1409A-265                         003767P001-1409A-265                        006734P001-1409A-265                  004354P001-1409A-265
TYANNA M MITCHELL                            KATELYN MITCHELTREE                         ALEXIS M MITTELSTEADT                 KEMYAH A MIXSON
85 YOSEMITE DR                               345 NORTH BAYSHORE DRIVE                    254 SOMMER ST APT 4                   2744 WEST SUNLAND AVE
NEW ORLEANS LA 70131                         COLUMBIANA OH 44408                         APT 4                                 PHOENIX AZ 85041
                                                                                         NORTH TONAWANDA NY 14120




035836P001-1409A-265                         031039P001-1409A-265                        010647P001-1409A-265                  033423P001-1409A-265
ABIGAIL F MIZE                               MJ PRODUCTS DBA SUNSHINE AND GLI            MJX ASSET MANAGEMENT LLC              MK PARTNERS INC
3225 EAST BASELINE RD                        MEREDITH MADSEN                             MJX                                   5709 CAHUENGA BLVD
#1102                                        9750 NW 17TH ST                             LARA ATALLAH                          NORTH HOLLYWOOD CA 91601
GILBERT AZ 85234                             DORA FL 33172                               12 EAST 49TH ST
                                                                                         29F
                                                                                         NEW YORK NY 10017


032283P002-1409A-265                         032724P001-1409A-265                        032789P001-1409A-265                  037634P002-1409A-265
MLE MERCHANDISING AND SIGN SOLUTIONS, INC    MN DEPT OF REVENUE                          MN DEPT OF REVENUE                    MNH MALL LLC
JAMES CAMPBELL                               MINNESOTA CORP                              MINNESOTA CORP                        A NEW HAMPSHIRE LTD LIABILITY CO
540 W LAMONT RD                              ST. PAUL MN 55145-1260                      ESTIMATED TAX                         SIMON PROPERTY GROUP LP RONALD M TUCKER
ELMHURST IL 60126-1022                                                                   MAIL STATION 1250                     225 WEST WASHINGTON ST
                                                                                         ST. PAUL MN 55145                     INDIANAPOLIS IN 46204



031429P001-1409A-265                         037779P002-1409A-265                        009821P003-1409A-265                  032734P002-1409A-265
MNH MALL, LLC                                MO- BOONE COUNTY COLLECTOR                  MO- CAPE GIRARDEAU COUNTY COLLECTOR   MO- CITY OF CAPE GIRARDEAU
14184 COLLECTIONS CTR DR                     BRIAN MCCOLLUM                              BARBARA GHOLSON                       MEGAN L SCOTT
CHICAGO IL 60693                             801 E WALNUT ST RM 118                      1 BARTON SQUARE STE 303               401 INDEPENDENCE
                                             COLUMBIA MO 65201                           JACKSON MO 63755                      CAPE GIRARDEAU MO 63702
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009761P002-1409A-265                031430P001-1409A-265                 035366P001-1409A-265                033041P001-1409A-265
MO- DEPT OF REVENUE                 MOAC MALL HOLDINGS LLC               MOAC MALL HOLDINGS LLC              MOBILE AREA WATER AND SWR SYSTEM
REBECCA HENSON                      NW 5826                              AKA TRIPLE FIVE                     PO BOX 830130
PO BOX 475                          PO BOX 1450                          KATHLEEN J ALLEN                    BIRMINGHAM AL 35283
JEFFERSON CITY MO 65105             MINNEAPOLIS MN 55485-5826            2131 LINDAU LN STE 500
                                                                         BLOOMINGTON MN 55425



033041S001-1409A-265                010262P001-1409A-265                 032284P002-1409A-265                036665P001-1409A-265
MOBILE AREA WATER AND SWR SYSTEM    MOBILE COUNTY                        MOBILE MEDIA INC                    MOBILE MEDIA INC
4725 MOFFETT RD                     PO BOX 2207                          MELISSA LOTZ                        PO BOX 177 24 CTR ST
MOBILE AL 36618                     MOBILE AL 36652-2207                 PO BOX 177                          PINE BRUSH NY 12566
                                                                         PINE BRUSH NY 12566




031840P002-1409A-265                036438P001-1409A-265                 033684P001-1409A-265                036666P001-1409A-265
CHRIS MOCK                          CHRIS MOCK                           MODABASIC                           MODEL TWO MANAGEMENT
AKA MOCK DESIGNS                    102 FREDERICK ST APT B               13800 HUTTON DR                     8438 MELROSE PL 2ND FLOOR
102 FREDERICK ST APT B              SAN FRANCISCO CA 94117               DALLAS TX 75234                     LOS ANGELES CA 90069
SAN FRANCISCO CA 94117




032285P001-1409A-265                036942P001-1409A-265                 034335P001-1409A-265                033042P001-1409A-265
MODEL TWO MANAGEMENT LLC            MODEL TWO MANAGEMENT LLC             MODEL TWO MANAGEMENT LLC 'TWO MAN   MODESTO IRRIGATION DISTRICT
TANA LOY                            WILBUR GONZLEZ                       8438 MELROSE PL 2ND FL              PO BOX 5355
8438 MELROSE PL 2ND FL              8000 SUNSET BLVD                     LOS ANGELES CA 90069                MODESTO CA 95352
LOS ANGELES CA 90069                STE #A201
                                    LOS ANGELES CA 90046



033042S001-1409A-265                032672P001-1409A-265                 001210P001-1409A-265                003640P001-1409A-265
MODESTO IRRIGATION DISTRICT         MOELIS AND CO LLC                    KATIE M MOERI                       MADISON B MOESLY
1231 11TH ST                        399 PK AVE 5TH FL                    4189 HEARTHSIDE DR                  335 CINNAMON DR
MODESTO CA 95334                    NEW YORK NY 10022                    APT 202                             SATELLITE BEACH FL 32937
                                                                         WILMINGTON NC 28412




001190P001-1409A-265                003118P001-1409A-265                 007391P001-1409A-265                003644P001-1409A-265
MARISA R MOFFETT                    ASHLEY L MOGLER                      LIANA MOHAMED                       NAJMO A MOHAMED
6938 S CRANDON                      7808 VICTORIA CIR                    378 E 2ND ST                        5554 THUMBLWEED DR
APT 2E                              SAINT LOUIS PARK MN 55426            BROOKLYN NY 11218                   GALLOWAY OH 43119
CHICAGO IL 60649




005699P001-1409A-265                035837P001-1409A-265                 004769P001-1409A-265                001235P001-1409A-265
ELNAZ MOHAMMAD ALI                  ALI ELNAZ MOHAMMAD                   SAHAR MOHTADI TABRIZI MILLER        IONE MOI MOI
39505 TRINITY WAY                   39505 TRINITY WAY                    5001 EAST 26TH ST                   10031 FRAGILE FIELDS ST
19                                  19                                   13                                  LAS VEGAS NV 89183-7136
FREMONT CA 94538                    FREMONT CA 94538                     SIOUX FALLS SD 57110
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035838P001-1409A-265        002411P001-1409A-265                 000959P001-1409A-265             035839P001-1409A-265
MOI IONE MOI                ASHLEY MOISE                         JULIA T MOISE                    JULIA T MOISE
10031 FRAGILE FIELDS ST     1821 SW 11TH ST                      9423 FOUNTAINEBLEAU BLVD #213    9365 FOUNTAINEBLEAU BLVD #239
LAS VEGAS NV 89183-7136     FORT LAUDERDALE FL 33312             MIAMI FL 33172                   MIAMI FL 33172




002867P001-1409A-265        035840P001-1409A-265                 037431P002-1409A-265             008634P001-1409A-265
CANDENCE MOJICA             CANDENCE MOJICA                      CANDENCE MOJICA                  AMABEL MOLINA REYES
14020 MAHAM RD              9010 MARKVILLE DR                    9010 MARKVILLE DR                61 STATE ST
131                         APT810                               APT 10                           UNIT D
DALLAS TX 75240             DALLAS TX 75243                      DALLAS TX 75243                  NEW BEDFORD MA 02740




007901P001-1409A-265        001574P001-1409A-265                 005540P001-1409A-265             032286P001-1409A-265
LAUREN A MOLINA             MERCEDES R MOLINAR                   ARIEL F MOLINE                   MOLLY MURRAY PRODUCTIONS, INC
11013 WIZARD WAY APT 204    1213 MABLE AVE                       1774 STERLING CT                 MOLLY MURRAY
ORLANDO FL 32836            BAKERSFIELD CA 93307-5666            LIVERMORE CA 94550               1050-A NORTH ORANGE DR
                                                                                                  LOS ANGELES CA 90038




033685P001-1409A-265        000774P001-1409A-265                 037235P001-1409A-265             002224P001-1409A-265
MOLLY STREET                LISA S MOMBERG                       MON POWER                        VICTORIA C MONAHAN
1013 CENTRE RD              1978 MUIRFIELD AVE                   FIRST ENERGY                     3109 PONDEROSA DR
WILMINGTON DE 19805         UPLAND CA 91784-7943                 NATALIE ALLARD                   ALLISON PARK PA 15101-3949
PUERTO RICO                                                      5001 NASA BLVD
                                                                 FAIRMONT WV 26554



037680P001-1409A-265        037230P001-1409A-265                 037230S001-1409A-265             034423P001-1409A-265
VICTORIA C MONAHAN          MONARCHS SUB LLC                     MONARCHS SUB LLC                 MONARCHS SUB, LLC
MARIA MONAHAN               AKA ZONA ROSA                        AKA ZONA ROSA                    PO BOX 734271
3109 PONDEROSA DR           POLSINELLI PC                        KYLE MINTER                      DALLAS TX 75373-4271
ALLISON PARK PA 15101       900 W 48TH ST STE 900                1701 RIVER RUN STE 400
                            KANSAS CITY MO 64112                 FT WORTH TX 76107



008222P001-1409A-265        032287P001-1409A-265                 033795P001-1409A-265             032288P001-1409A-265
NAUDIA D MONCURE            MONICA A WALDAU                      MONICA LOWDER                    MONICA WISEMAN
5389 KEELE ST               16541 LOS VERDES LN                  274 REDWOOD SHORES PKWAY         367 KENSINGTON CMN
JACKSON MS 39206            HUNTINGTON BEACH CA 92649            #514                             LIVERMORE CA 94551
                                                                 REDWOOD CITY CA 94065




000709P001-1409A-265        001628P001-1409A-265                 002636P001-1409A-265             031040P001-1409A-265
CHRISTOPHER M MONIER        SHAYAN MONISHA                       CANDICE MONK                     MONOCRACY INC DBA RATHER BE
804 CALLE DULCINEA          11819 KEWALO BASIN                   2700 FEATHER RUN TRL             LUCIA PAK
SAN CLEMENTE CA 92672       HOUSTON TX 77034                     APT E20                          4334 S SANTA FE AVE
                                                                 WEST COLUMBIA SC 29169           VERNON CA 90058
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036268P001-1409A-265                     033043P001-1409A-265                   008975P001-1409A-265           010206P001-1409A-265
MONOCRACY INC DBA RATHER BE              MONONGAHELA POWER                      GABRIELA L MONREAL             MONROE COUNTY TREASURER
6001 E WASHINGTON BLVD UNIT #B           800 CABIN HILL DR                      520 S JOHNSON ST               PO BOX 1209
COMMERCE CA 90040                        GREENSBURG PA 15606                    2                              FAIRFIELD OH 45018-1209
                                                                                IOWA CITY IA 52240




010402P001-1409A-265                     008961P001-1409A-265                   007661P001-1409A-265           002147P001-1409A-265
MONROE MAYOR'S COURT                     ELICIA J MONROE                        KRISTIE D MONROE               JACQUELINE S MONROY
POB 330                                  211 WHALERS DR                         1258 S CARYCROFT RD            12923 TWINBROOK PKWY
233 S MAIN ST                            ABSECON NJ 08201                       D201                           ROCKVILLE MD 20851
MONROE OH 45050                                                                 TUCSON AZ 85711




009202P001-1409A-265                     008420P001-1409A-265                   002814P001-1409A-265           037183P001-1409A-265
YESENIA MONROY                           ANIYA L MONTAGUE                       ANTONIA MONTALVO               ANTONIA MONTALVO
42042 RD 128 SP 43                       1011 N 192ND CT                        1212 FAWN PKWY PLZ #255        ANTONIA MONTALVO
OROSI CA 93647                           APT 224                                OMAHA NE 68144                 7520 HOWARD #23
                                         ELKHORN NE 68022                                                      OMAHA NE 68114




000330P001-1409A-265                     033044P002-1409A-265                   033044S001-1409A-265           000060P001-1409A-265
MONTANA ATTORNEY GENERAL                 MONTANA DAKOTA UTILITIES CO            MONTANA DAKOTA UTILITIES CO    MONTANA DEPT OF ENVIRONMENTAL QUALITY
TIM FOX                                  LISA DOLL                              400 NORTH FOURTH ST            LEE METCALF BLDG
215 N SANDERS THIRD FL                   PO BOX 5600                            BISMARCK ND 58501              1520 E SIXTH AVE
JUSTICE BLDG                             BISMARCK ND 58506                                                     HELENA MT 59620-0901
HELENA MT 59620-1401



000215P001-1409A-265                     000139P001-1409A-265                   000436P001-1409A-265           000061P001-1409A-265
MONTANA DEPT OF LABOR AND INDUSTRY       MONTANA DEPT OF REVENUE                MONTANA DEPT OF REVENUE        MONTANA NATURAL RESOURCES INFORMATION
COMMISSIONER                             5 SOUTH LAS CHANCE GULCH               UNCLAIMED PROPERTY DIVISION    1515 EAST 6TH AVE
PO BOX 1728                              HELENA MT 59860                        SAM W MITCHELL BLDG            PO BOX 201800
HELENA, MT 59624                                                                125 N ROBERTS 3RD FL           HELENA MT 59620-1800
                                                                                HELENA MT 59601



000383P001-1409A-265                     007232P001-1409A-265                   000619P001-1409A-265           007948P001-1409A-265
MONTANA OFFICE OF CONSUMER PROTECTION    ADDISON MONTANEZ                       ANGELICA S MONTANEZ            SAMANTHA A MONTANEZ
DEPT OF JUSTICE                          5637 CYPRESS PT DR                     411 S GEORGE ST                165 STAFFORD RD
1219 8TH AVE                             CITRUS HEIGHTS CA 95610                1                              MONSON MA 01057
PO BOX 200151                                                                   YORK PA 17401
HELENA MT 59620-0151



007781P001-1409A-265                     036484P001-1409A-265                   005784P001-1409A-265           006699P001-1409A-265
TIANNA M MONTANEZ                        ELIZABETH MONTANO                      JULISSA E MONTANO              ANECIA MONTAQUE
800 SUMMER AVE                           15435 GARO ST                          6118 S MORRIS BLVD             430 NORTH WARE DR
1B                                       HACIENDA HEIGHTS CA 91745              TUCSON AZ 85706                WEST PALM W FL 33409
NEWARK NJ 07104
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002458P001-1409A-265                    009672P001-1409A-265                     033326P001-1409A-265                 031431P001-1409A-265
DARIA MONTAQUILA                        MARYANN MONTE                            MONTEAU INC                          MONTEBELLO TOWN CENTER INVESTORS LLC
797 CHARLES ST                          37 BROOKSIDE LOOP                        DEEDEE CHON                          PO BOX 748283
PROVIDENCE RI 02904                     STATEN ISLAND NY 10309                   2315 S SANTA FE AVE                  LOS ANGELES CA 90074-8283
                                                                                 LOS ANGELES CA 90058




037743P001-1409A-265                    009631P001-1409A-265                     003275P001-1409A-265                 008143P001-1409A-265
MONTEBELLO TOWN CENTER INVESTORS LLC    CASSANDRA L MONTEMAYOR                   COURTNEY M MONTER                    ASHLEY MONTES
BALLARD SPAHR LLP                       16002 NACOGDOCHES RD                     193 SOUTH SPAULDING AVE              305 TEMPLE ST
DUSTIN P BRANCH                         SAN ANTONIO TX 78247                     PUEBLO WEST CO 81007                 SUDAN TX 79371
2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2909



002098P001-1409A-265                    009140P001-1409A-265                     001975P001-1409A-265                 001439P001-1409A-265
CHRISTINA MONTES                        LESLIE MONTES                            MARISSA L MONTES                     VANNESA MONTES
344 E 209TH ST                          14624 SW 280TH ST                        701 SW 62ND BLVD                     1301 JENNINGS ST
BRONX NY 10467-3509                     204                                      APT 25                               SIOUX CITY IA 51105
                                        HOMESTEAD FL 33032                       GAINESVILLE FL 32607-6012




033045P001-1409A-265                    033045S001-1409A-265                     032290P001-1409A-265                 032291P001-1409A-265
MONTGOMERY COUNTY                       MONTGOMERY COUNTY                        MONTGOMERY COUNTY ALARM DETAIL       MONTGOMERY COUNTY CLERK
WATER SVC                               1850 SPAULDING RD                        MONTGOMERY COUNTY SHERIFF'S OFFICE   400 N SAN JACINTO ST
1850 SPAULDING RD                       KETTERING OH 45432                       ASHLEY GUTH                          CONROE TX 77301
KETTERING OH 45432                                                               PO BOX 2178
                                                                                 CONROE TX 77305



009980P001-1409A-265                    010559P001-1409A-265                     010379P001-1409A-265                 032702P001-1409A-265
MONTGOMERY COUNTY MD                    MONTGOMERY COUNTY POLICE DEPT            MONTGOMERY COUNTY, MARYLAND          MONTGOMERY COUNTY, MARYLAND
DEPT OF FINANCE                         FALSE ALARM REDUCTION SECTION            MONTGOMERY COUNTY GOVERNMENT         MONTGOMERY COUNTY GOVERNMENT
DIVISION OF TREASURY                    PO BOX 7135                              DEPT OF POLICE FALSE ALARM           DEPT OF POLICE FALSE ALARM REDUCTION SECTION
255 ROCKVILLE PIKE L-15                 GAITHERSBURG MD 20898                    PO BOX 83399                         PO BOX 83399
ROCKVILLE MD 20850                                                               GAITHERSBURG MD 20883-3399           GAITHERSBURG MD 20883-3399



005300P001-1409A-265                    031432P001-1409A-265                     010535P001-1409A-265                 004249P001-1409A-265
MORRIAH I MONTGOMERY JOHNSON            MONTGOMERY MALL                          MONTGOMERY TOWNSHIP                  ABIGAIL MONTGOMERY
2513 WESTCLIFFE DR                      MALL AT MONTGOMERY LP                    BUSINESS TAX OFFICE                  9413 HAPPY HOLLOW DR
BURNSVILLE MN 55306                     PO BOX 829425                            PO BOX 511                           NORWALK IA 50211
                                        PHILADELPHIA PA 19182-9425               MONTGOMERYVILLE PA 18936-0511




008679P001-1409A-265                    003348P001-1409A-265                     008878P001-1409A-265                 000462P001-1409A-265
ALEXIA MONTGOMERY                       LAKIA C MONTGOMERY                       YSEL MONTIEL                         FELIPE A MONTOYA ROSAS
908 NEWPORT RD                          8340 LINDA CT                            415 E 137TH ST                       12968 LANTERN LN
BRISTOL PA 19007                        APT 1A                                   LOS ANGELES CA 90061                 VICTORVILLE CA 92392
                                        JESSUP MD 20794
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006403P001-1409A-265                   004873P001-1409A-265                           002154P001-1409A-265                  008060P001-1409A-265
AMY D MONTOYA                          DARINA MONTOYA                                 MADISON K MONTOYA                     MARISA L MONTOYA
13118 SUNSET CLIFF CT                  27837 AUDREY CT                                99 HIGH ST                            1783 VASSAR DR
SUGAR LAND TX 77478                    CANYON COUNTRY CA 91351                        WEYMOUTH MA 02189                     RIVERSIDE CA 92507




035434P001-1409A-265                   009397P001-1409A-265                           009445P001-1409A-265                  037075P002-1409A-265
MONTOYA*ROSAS*FELIPE A                 ALEXANDRA MONTROY                              MICHELLE MONZON                       MOOD MEDIA
12968 LANTERN LN                       689 HILL RD                                    7407 COPPER MESA                      AKA MUZAK LLC
VICTORVILLE CA 92392                   TOMS RIVER NJ 08753                            CONVERSE TX 78109-4660                ANA STOICA
                                                                                                                            2100 S IH 35 FRONTAGE RD #200
                                                                                                                            AUSTIN TX 78704



032292P001-1409A-265                   004834P001-1409A-265                           000672P001-1409A-265                  000798P001-1409A-265
MOODY'S INVESTORS SVC INC              ARIELLE A MOODY                                JASMINE MOODY                         JENNIFER E MOON
PO BOX 102597                          PO BOX 1895                                    1306 NIAGARA AVE                      7411 WARNER DRIVE
ATLANTA GA 30368-0597                  PEMBROKE GA 31321                              NIAGARA FALLS NY 14305                JACKSONVILLE FL 32244-4737




034868P001-1409A-265                   029908P001-1409A-265                           029908S001-1409A-265                  008785P001-1409A-265
MOONBEAM CAPITAL                       MOONBEAM CAPITAL (LANDLORD)                    MOONBEAM CAPITAL (LANDLORD)           PAIGE R MOONEY
COLUMBIA PLACE MALL SC LLC             COLUMBIA PLACE MALL SC LLC                     COLUMBIA PLACE MALL SC LLC            1032 PALMER LN
MOONBEAM LEASING AND MANAGEMENT LLC    MOONBEAM LEASING AND MANAGEMENT LLC            MOONBEAM LEASING AND MANAGEMENT LLC   IMPERIAL MO 63052-2634
9103 ALTA DR                           UPDATED BASED ON THE AMENDMENT                 2100 PLEASANT HILL RD STE 250
STE 204                                9103 ALTA DR STE 204                           DULUTH GA 30096
LAS VEGAS NV 89145                     LAS VEGAS NV 89145


009106P001-1409A-265                   001900P001-1409A-265                           005284P001-1409A-265                  008808P001-1409A-265
ALEXIS L MOORE                         ALEXIS S MOORE                                 ANANSA MOORE                          BREANNA L MOORE
909 18TH ST                            21310 PARKLAWN                                 359 MERIN HEIGHT RD                   5050 SAM HOUSTON AVE
ZION IL 60099                          OAK PARK MI 48237                              JACKSONVILLE NC 28546                 APT 526A
                                                                                                                            HUNTSVILLE TX 77340




005475P001-1409A-265                   009535P001-1409A-265                           009424P001-1409A-265                  008689P001-1409A-265
CAMERA A MOORE                         DAMEATRIS MOORE                                DANNICO MOORE                         DESTINY MOORE
111 CRESCENT HILL                      1807 MODENA ST                                 3335 MUNGER AVE                       4009 PARTHENIA AVE
SELMA AL 36701                         GASTONIA NC 28054                              602                                   LOUISVILLE KY 40215
                                                                                      DALLAS TX 75204




004843P001-1409A-265                   002290P001-1409A-265                           001986P001-1409A-265                  003424P002-1409A-265
EMILY C MOORE                          HAYLEY S MOORE                                 JADE H MOORE                          LASHUNDRA C MOORE
701 PINE ST                            525 CENTRAL AVE                                1438 CUTLER BAY                       124 GRANDVIEW CAMPUS PL
APT 26                                 LAPEL IN 46051                                 NEW BRAUNFELS TX 78130-3985           FLORENCE AL 35630-2011
SAN FRANCISCO CA 94108
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001693P001-1409A-265          003214P001-1409A-265                003645P001-1409A-265              035841P001-1409A-265
LATEISHA MOORE                LEONA L MOORE                       LILLIAN E MOORE                   RACHEL E MOORE
229 CLAREMONT AVE             1425 RIDENOUR BLVD                  944 MALACHITE DR                  414 LEXINGTON DR
MOUNT VERNON NY 10552-3305    7108                                FRUITA CO 81521                   GREENSBURG PA 15601
                              KENNESAW GA 30152




005003P001-1409A-265          007490P001-1409A-265                035288P001-1409A-265              034190P002-1409A-265
TAYLOR A MOORE                VERDIS K MOORER                     MOORESTOWN MALL                   MOORESTOWN MALL LLC
6004 WEST 53RD ST             1926 S CONWAY RD APT 9              400 ROUTE 38 SPACE #1695          KURTZMAN STEADY LLP
SIOUX FALLS SD 57106          ORLANDO FL 32812                    MOORESTOWN NJ 08057               JEFFREY KURTZMAN
                                                                                                    401 S 2ND ST STE 200
                                                                                                    PHILADELPHIA PA 19147



034190S001-1409A-265          033316P001-1409A-265                008746P001-1409A-265              001664P001-1409A-265
MOORESTOWN MALL LLC           MOOV CORP                           MARIA G MORAGOMEZ                 CECILIA MORALES HERNANDEZ
PREIT SERVICES LLC            DAN HOISIE                          6212 WOODBURY AVE                 2460 PECAN ST
CHRISTIANA UY                 201 SPEAR ST                        LAS VEGAS NV 89103                GREEN BAY WI 54311
200 S BROAD ST 3RD FL         3RD FLOOR
PHILADELPHIA PA 1912          SAN FRANCISCO CA 94105



000911P001-1409A-265          035435P001-1409A-265                001503P001-1409A-265              003887P001-1409A-265
AHSUE T MORALES               AHSUE T MORALES                     ALEJANDRA MORALES                 ALEXA E MORALES
633 HIGHLAND AVE              1764 NEWELL AVE                     7855 CHASTAIN AVE                 422 ST JOHN CIR APT 102
#4                            WALNUT CREEK CA 94595               RESEDA CA 91335-2102              102
SAN MATEO CA 94110                                                                                  CASTLEBERRY FL 32730




007717P001-1409A-265          007909P001-1409A-265                037242P001-1409A-265              007601P001-1409A-265
ALICIA MORALES                ALONDRA MORALES                     ALONDRA MORALES                   CHANTAY MORALES
2534 N 86TH AVE               PO BOX 3464                         P O BOX 3464                      218 SABINE ST
PHOENIX AZ 85037              BAYAMON PR 00958                    BAYAMÓN PR 00958                  SYRACUSE NY 13204




001905P001-1409A-265          001722P001-1409A-265                004016P001-1409A-265              004477P001-1409A-265
CINDY V MORALES               DANIELA P MORALES                   DENISE MORALES                    ELYSE N MORALES
11416 SUCCESS AVE             240 COMMODORE DR                    20727 VANOWEN ST APTA27           8958 COSTNER DR
APT 732                       APT 1114                            WINNETKA CA 91306                 CALEDONIA MI 49316
LOS ANGELES CA 90059          PLANTATION FL 33325




035842P001-1409A-265          007881P001-1409A-265                009188P001-1409A-265              008459P001-1409A-265
ELYSE N MORALES               GABRIELA J MORALES                  ILIANA B MORALES                  JASMINE D MORALES
190 BREWER PK CIR             1317 WEST PRICE LN                  8437 SE 67TH AVE                  1120 IVYSTONE SQ
GRAND RAPIDS MI 49548         ROGERS AR 72758                     PORTLAND OR 97206                 100
                                                                                                    CHESAPEAKE VA 23320
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007967P001-1409A-265             005743P001-1409A-265                      007961P001-1409A-265             007288P001-1409A-265
KATE MORALES                     KIARA Z MORALES                           LESLIE J MORALES                 LIZBETH MORALES
871 SUZANNE LN                   6301 S WEST SHORE BLVD APT 103            518 E PINE ST                    396 CHESNUT ST
ELGIN IL 60120                   1702                                      216                              APT 1
                                 TAMPA FL 33616                            SANTA ANA CA 92701               NEW BRITAIN CT 06051




030487P001-1409A-265             003610P001-1409A-265                      006087P001-1409A-265             006452P001-1409A-265
LUZ M MORALES                    MONICA Y MORALES                          NANCY E MORALES                  SHAMERA MORALES
ADDRESS INTENTIONALLY OMITTED    16028 44TH AVE W                          12647 CASTILE CT                 76 WELSH TRACT RD APT 312
                                 APT 25                                    12647 CASTILE                    APT 312
                                 LYNNWOOD WA 98087                         WOODBRIDGE VA 22192              NEWARK DE 19713




009432P001-1409A-265             007008P001-1409A-265                      001541P001-1409A-265             006609P001-1409A-265
STEFANIE D MORALES               YESENIA MORALES                           YESSICA A MORALES                DANYEL MORAN
2333 N WOODLAND                  3103 MARIANA AVE                          125 FARRELL AVE                  719 PAINTBRUSH CT
WICHITA KS 67204                 MIDLAND TX 79701                          GILROY CA 95020                  CEDAR HILL TX 75104




001911P001-1409A-265             005582P001-1409A-265                      000773P001-1409A-265             001132P001-1409A-265
DEBBIE Y MORAN                   MADISON R MORAN                           MARIA MORAN                      NORALICE MORAN
3903 TRISTAN ST                  900 SOUTHERLY RD                          15252 SENECA RD                  19240 SW 119TH PL
HOUSTON TX 77021                 TOWSON MD 21204                           SPACE #66                        MIAMI FL 33177-4368
                                                                           VICTORVILLE CA 92392




004553P001-1409A-265             002712P001-1409A-265                      009546P001-1409A-265             030450P001-1409A-265
SYDNEY L MORAN                   TIFFANY L MORAN                           BRENDA MORANDO                   KIE MORBY
20 BAY ST                        13133 BAGATELLE ST                        12325 NW 2ND PL                  ADDRESS INTENTIONALLY OMITTED
CENTER MORICHES NY 11934         MORENO VALLEY CA 92553                    CORAL SPRINGS FL 33071




003215P001-1409A-265             033541P001-1409A-265                      002171P001-1409A-265             002730P001-1409A-265
KIERLYN L MORBY                  MOREDIRECT INC                            AMBER D MORELAND                 MARY J MORELAND
11050 N BILTMORE DR              PO BOX 918588                             225 BLUEBONNET CT                1303 E MAIN ST
PHX AZ 85029                     ORLANDO FL 32891-8588                     COLLEGE PARK GA 30349-3764       MURFREESBORO TN 37130




001364P001-1409A-265             031433P002-1409A-265                      031433S001-1409A-265             001295P001-1409A-265
OSCAR MORELOS                    MORENO VALLEY MALL HOLDING LLC            MORENO VALLEY MALL HOLDING LLC   ALMA T MORENO
10208 OMELVENY AVE               JENNIFER MORENO                           110 E 9TH ST STE A509            EIDER
PACOIMA CA 91331-3805            22500 TOWN CIR STE 1206                   LOS ANGELES CA 90079             APT #805 CONDO
                                 MORENO VALLEY CA 92553                                                     SAN JUAN PR 00924
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000534P001-1409A-265             000932P001-1409A-265                     006277P001-1409A-265         006433P001-1409A-265
ARIANA I MORENO                  AURELIA G MORENO                         CHANTEA MORENO               LORENA M MORENO
505 GELLERT BLVD                 9307 W RAYMOND ST                        3009 GODDARD PL              1605 GUNTER AT
DALY CITY CA 94015               TOLLESON AZ 85353                        MIDLAND TX 79705             B
                                                                                                       DURHAM NC 27707




004374P001-1409A-265             008451P001-1409A-265                     007401P001-1409A-265         034530P001-1409A-265
LUZ D MORENO                     MONICA MORENO                            SABRINA A MORET              MORGAN STANLEY CAP INC CMPTC SE
111 S ST LOUIS                   4405 KENWOOD DR                          183 SUBURBAN AVE             SERIES 2007-HQ11 REMIC
#8                               WOODBRIDGE VA 22193                      DEER PARK NY 11729           9602 OLD ANNAPOLIS RD
LOS ANGELES CA 90033                                                                                   COLUMBIA MD 21045




031434P001-1409A-265             006459P001-1409A-265                     003628P001-1409A-265         005608P001-1409A-265
MORGAN STANLEY CAP, INC CMPTC    AALIYAH MORGAN                           AMARI MORGAN                 DIOR I MORGAN
SERIES 2007-HQ11 REMIC |         1514 HIGHWAY 16 EAST                     4238 4TH ST SE               33977 ROBERTS RD
9602 OLD ANNAPOLIS RD            JACKSON GA 30233                         202                          EASTLAKE OH 44095
COLUMBIA MD 21045                                                         WASHINGTON DC 20032




006619P001-1409A-265             003451P001-1409A-265                     008252P001-1409A-265         007866P001-1409A-265
EMILY D MORGAN                   JAYMIE I MORGAN                          JESSICA L MORGAN             ROMINA MORGAN
50 N UNIVERSITY DR               408 SPRINGDALE ST                        7445 MONTICELLO RD           7811 CATALPA AVE
EDMOND OK 73034                  ATHENS GA 30606                          APT 524B                     WOODRIDGE IL 60517
                                                                          COLUMBIA SC 29203




000550P001-1409A-265             008979P001-1409A-265                     007898P001-1409A-265         006750P001-1409A-265
SAISHA H MORGAN                  SHRNELL J MORGAN                         TAYLOR E MORGAN              TYNESHA MORGAN
2217 ADDIE DR                    3315 MESA VERDE                          6909 CINNABAR DR             8570 MAGNOLIA TRL
PLEASANT HILL MO 64080           GRAND PRAIRIE TX 75052                   FRISCO TX 75035              EDEN PRAIRIE MN 55344




030869P001-1409A-265             033686P001-1409A-265                     004928P001-1409A-265         031435P001-1409A-265
MORGAN, LEWIS AND BOCKIUS LLP    MORGANS HOTEL GROUP                      JAIME E MORGANTI             MORGANTOWN MALL
PO BOX 8500 S6050                NEGOTIATED HOTEL RATES                   1105 BANYAN WAY              MORGANTOWN MALL ASSOCIATES LP
PHILADELPHIA PA 19178-6050       495 GEARY ST                             PACIFICA CA 94044            L-1853
                                 SAN FRANCISCO CA 94102                                                COLUMBUS OH 43260-1853




034382P002-1409A-265             034382S001-1409A-265                     003135P001-1409A-265         006919P001-1409A-265
MORGANTOWN MALL ASSOCIATES LP    MORGANTOWN MALL ASSOCIATES LP            CLARISSA J MORIN             CATHERINE M MORISANO
WASHINGTON PRIME GROUP INC       WASHINGTON PRIME GROUP INC               175 SW MAIN ST               14122 HINDRY AVE
FROST BROWN TODD LLC             STEPHEN E IFEDUBA                        DOUGLAS MA 01516             HAWTHORNE CA 90250
301 E FOURTH ST                  180 E BROAD ST
CINCINNATI OH 45202              COLUMBUS OH 43215
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006418P001-1409A-265             004880P001-1409A-265                 008530P001-1409A-265             008016P001-1409A-265
ANNA MORITZ                      TERESA M MORO                        SUMMER A MOROCH                  SEQUORIA MORRELL
35 LAURIE BLVD                   1092 WOODFIELD RD                    9221 HASTINGS DR                 10425 RUNNING CEDAR LN
BETHPAGE NY 11714                GREENACRES FL 33415                  204                              503
                                                                      MANASSAS VA 20110                FREDERICKSBURG VA 22407




030594P001-1409A-265             007609P001-1409A-265                 007847P001-1409A-265             030154P001-1409A-265
SARAH MORRILL                    BENITA D MORRIS                      BREANA MORRIS                    BRITTANY N MORRIS
ADDRESS INTENTIONALLY OMITTED    904 NE 25TH TER                      356 BLOSSOM AVE                  ADDRESS INTENTIONALLY OMITTED
                                 GAINESVILLE FL 32641                 MACON GA 31204




004102P001-1409A-265             008105P001-1409A-265                 002013P001-1409A-265             004864P001-1409A-265
CIERRA R MORRIS                  DESTINY MORRIS                       GABBY D MORRIS                   GAILYNN A MORRIS
4414 WALDEN ST                   418 WEST ELDRIDGE                    3447 CENTRAL AVE                 5401 CULVER ST
DENVER CO 80249                  FLINT MI 48505                       ASHLAND KY 41101                 INDIANAPOLIS IN 46226




030352P001-1409A-265             037128P001-1409A-265                 002241P001-1409A-265             008456P001-1409A-265
GRANT MORRIS                     GRANT MORRIS                         GRANT L MORRIS                   SALENA MORRIS
ADDRESS INTENTIONALLY OMITTED    5216 SILVER BLUFF DR                 5216 SILVER BLUFF DR             1334 MACDONALD RD
                                 SAN DIEGO CA 92057                   OCEANSIDE CA 92057               C
                                                                                                       CHESAPEAKE VA 23325




004606P001-1409A-265             030870P001-1409A-265                 005210P001-1409A-265             002999P001-1409A-265
TAYLOR M MORRIS                  MORRISON / FOERSTER                  ALYSSA MORRISON                  HALEY B MORRISON
175 SCHUYLER AVE                 PO BOX 742335                        1828 RADNOR DR                   104 BECKWITH CT
1ST FL                           LOS ANGELES CA 90074-2335            MELBOURNE FL 32901               HUNTSVILLE AL 35811
NEWARK NJ 07112




001945P001-1409A-265             001573P001-1409A-265                 002310P001-1409A-265             005654P001-1409A-265
KALI MORRISON                    KIANA A MORRISON                     RAYANNE A MORRISON               MARIAH A MORROW
25 ROXBURY ST                    9709 HOLLYBURGH TER                  363 SOUTH 1ST AVE                7614 VERA AVE
FARMINGDALE NY 11735             CHARLOTTE NC 28215                   MOUNT VERNON NY 10550            BAKERSFIELD CA 93307




007446P001-1409A-265             009522P001-1409A-265                 003746P001-1409A-265             003309P001-1409A-265
JULIA MORTON                     TANASIA D MORTON                     CLAIR MOSELEY                    JAELYN T MOSER
283 DIAMOND ST                   2631 INTERNATIONAL DR                19703 ANNALEE AVE                14035 NOBLE PK DR
POTTSTOWN PA 19464               APT 1331C                            CARSON CA 90746                  N/A
                                 YPSILANTI MI 48197                                                    ODESSA FL 33556
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001248P001-1409A-265         006519P001-1409A-265                003820P001-1409A-265              007626P001-1409A-265
DESIRAE N MOSES              KATRINA MOSES                       ORIAUNA N MOSES                   CHEYENNE A MOSESFRAZIER
150 BOONE LN                 2541 WASSER TER                     37303 CORNERVIEW RD               4905 COLUMBIA ARD
MOCKSVILLE NC 27028-5184     APT 161                             GEISMAR LA 70734                  APT G
                             HERNDON VA 20171                                                      COLUMBIA MD 21044




030818P001-1409A-265         008184P001-1409A-265                004710P001-1409A-265              001954P001-1409A-265
MOSGEN LIMITED               HAILEE MOSIER                       JAZMYN K MOSLEY                   DEJA M MOSQUEDA
EDDY SO                      6070 GLEBE DR                       21 DAKA CT                        419 CEDAR ST
UNIT 3 6F BLOCK A PO LUNG    INDIANAPOLIS IN 46237               BLOOMFIELD NJ 07003               APT 5
CENTRE 11 WANG CHIU RD                                                                             ALLENTOWN PA 18102
KOWLOON BAY, KOWLOON,
HONG KONG


002135P001-1409A-265         033687P001-1409A-265                033773P001-1409A-265              037134P001-1409A-265
CRYSTAL MOSQUEDAS            MOSS ADAMS LLP                      KRISTIN MOSSMAN                   KRISTIN MOSSMAN
11 CONCORD                   2030 MAIN ST                        217 JOSEPH PATH                   MARY C MOSSMAN
OLD BRIDGE NJ 08857          STE 1400                            MANKATO MN 56001                  545 3RD ST N
                             IRVINE CA 92614                                                       WINTHROP IA 50682




002265P001-1409A-265         035843P001-1409A-265                005734P001-1409A-265              031041P001-1409A-265
KRISTIN N MOSSMAN            KRISTIN N MOSSMAN                   JAKIYA MOSSON                     MOTHER TRUCKER AND CO
705 HERON DR 2               545 3RD ST N                        802 PERSEUS                       22343 LA PALMA AVE
MANKATO MN 56001             WINTHROP IA 50682                   KILLEEN TX 76542                  YORBA LINDA CA 92887




032293P001-1409A-265         035133P002-1409A-265                035844P001-1409A-265              030537P002-1409A-265
MOTIONPOINT CORP             MOTIONPOINT CORP                    LAUREN C MOTSINGER                MOTUS LLC
TERESA TRAVIESO              JULIA PEREZ KANTROWITZ              5656 WALLINGWOOD DR               ADDRESS INTENTIONALLY OMITTED
PO BOX 83422                 4661 JOHNSON RD STE 14              LAWRENCE IN 46226
WOBURN MA 01813-3422         COCONUT CREEK FL 33073




035134P001-1409A-265         006802P001-1409A-265                003716P001-1409A-265              003561P001-1409A-265
MOTUS LLC                    NTXIAVYIA C MOUA                    PHOUA MOUA                        MADELEINE L MOUCHERON
60 SOUTH ST                  2775 HILLTOP CT                     245 SWANTON RD APT 8              9334 MERLOT CIR
BOSTON MA 02111              NORTH ST PAUL MN 55109              MADISON WI 53714                  BREINIGSVILLE PA 18031




008935P002-1409A-265         006800P001-1409A-265                004654P001-1409A-265              032294P001-1409A-265
MACKENZIE S MOULTON          KAINATH MOUMAND                     EMMA E MOUNTS                     MOVABLE INC
2230 S TERRIPIN              4218 JUPITER CT                     206 LANYARD PL                    MOVABLE INK
MESA AZ 85209-4900           UNION CITY CA 94587                 206 LANYARD PL                    JENNIFER CAMARGO
                                                                 LEHIGH ACRES FL 33936             1065 6TH AVE 9TH FL
                                                                                                   NEW YORK NY 10018
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007805P001-1409A-265                006076P001-1409A-265                        006232P001-1409A-265              006463P001-1409A-265
JULIANA MOWATT                      JUNE M MOXONJOHNSON                         MARCY B MOYA                      HALEY N MOYERS
112 DUNLOP AVE                      10200 PK MEADOWS DR                         469 CONNETQUOT AVE                1500 UNION AVE SE
BUFFALO NY 14215                    2012                                        ISLIP TERRACE NY 11752            MINERVA OH 44657
                                    LONE TREE CO 80124




032295P001-1409A-265                010505P001-1409A-265                        031042P001-1409A-265              036269P001-1409A-265
MP LOS ANGELES, LLC                 ALBERT URESTI MPA                           MRS GROSSMANS PAPER CO            MS BUBBLES INC
400 N MICHIGAN AVE                  BEXAR COUNTY                                HUGH SHURLEY                      2731 S ALAMEDA ST
STE 700                             TAX ASSESSOR-COLLECTOR                      3810 CYPRESS DR                   LOS ANGELES CA 90058
CHICAGO IL 60611                    PO BOX 2903                                 PETALUMA CA 94954
                                    SAN ANTONIO TX 78299-2903



037841P001-1409A-265                037841S001-1409A-265                        032145P002-1409A-265              031436P001-1409A-265
MS- DAVID LAROSA HARRISON COUNTY    MS- DAVID LAROSA HARRISON COUNTY            MS- RANKIN COUNTY TAX COLLECTOR   MSM PROPERTIES LLC
MS TAX COLLECTOR                    WESSLER LAW FIRM                            JUDY FORTENBERRY                  GGP NIMBUSLP
PO BOX 1270                         1624 24TH AVE                               211 E GOVERNMENT ST               MALL ST MATTHEWS
GULFPORT MS 39502                   GULFPORT MS 39501                           BRANDON MS 39042-3268             SDS-12-2771
                                                                                                                  PO BOX 86
                                                                                                                  MINNEAPOLIS MN 55486-2771


037410P001-1409A-265                003655P001-1409A-265                        033046P001-1409A-265              031043P002-1409A-265
MSM PROPERTY LLC                    SHIRLYN N MTHETHWA                          MTMSA                             MUCH TOO MUCH
AKA MALL ST MATTHEWS                8399 ANDERSON CIR                           PO BOX 618                        SUSAN E ROSEN
BROOKFIELD PROPERTY REIT INC        AVON IN 46123                               SOUDERTON PA 18964                3000 WEST EMPIRE AVE
350 N ORLEANS ST STE 300                                                                                          BURBANK CA 91504
CHICAGO IL 60654-1607



008089P001-1409A-265                009214P001-1409A-265                        004302P001-1409A-265              002174P001-1409A-265
JOSIE MUELLER                       LILLIA K MUELLER                            HANEEFAH A MUHAMMAD               LATIFAH R MUHAMMAD
509 NIAGARA CT                      24979 CONSTITUTION AVE                      57 ROSE TER                       397 BUCKS HILL RD
R513 GRIGGS HA                      1032                                        NEWARK NJ 07108                   WATERBURY CT 06704
DULUTH MN 55812                     VALENCIA CA 91381




009553P001-1409A-265                008537P001-1409A-265                        033401P001-1409A-265              037155P001-1409A-265
SAAMAIYA A MUHAMMAD                 YAHNA MUHAMMAD                              JUSTINE MUI                       AUGUST MUIR
44 ALCAZAR                          107 LINFOOT CT                              44 VANCLEAVE WAY                  1820 FRIZZELL DR
FAIRPORT NY 14621                   WILLIAMSBURG VA 23185                       OAKLAND CA 94619                  VIRGINIA BEACH VA 23455




009227P001-1409A-265                001403P001-1409A-265                        000637P001-1409A-265              035135P002-1409A-265
AUGUST M MUIR                       SABRINA MUIR                                TONI M MULDER                     MULESOFT INC
1820 FRIZZELL DR                    216 BUNKER HILL RD                          14532 BLAIR ST                    50 FREMONT ST STE 300
VIRGINIA BEACH VA 23455             BELLEVILLE IL 62221-5764                    HOLLAND MI 49424                  SAN FRANCISCO CA 94105-2231
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037914P001-1409A-265            032296P001-1409A-265                    030408P001-1409A-265            035845P001-1409A-265
MULESOFT LLC                    MULESOFT, INC                           JOANNE MULL                     JOANNE MULL
LAWRENCE SCHWAB/GAYE HECK       MULESOFT ACCOUNTS RECEIVABLE            ADDRESS INTENTIONALLY OMITTED   2341 ST JOSEPH
BIALSON BERGEN AND SCHWAB       50 FREMONT ST                                                           WEST BLOOMFIELD MI 48324
633 MENLO AVE STE 100           STE 300
MENLO PARK CA 94025             SAN FRANCISCO CA 94105



001539P001-1409A-265            037606P002-1409A-265                    003803P001-1409A-265            008941P001-1409A-265
JOANNE K MULL                   KASSANDRA MULLEN                        KASSANDRA C MULLEN              TINA A MULLEN
2341 ST JOSEPH                  1 FAIRVIEW AVE APT 6                    1 FAIRVIEW AVE                  1005 SCHENECTADY AVE
WEST BLOOMFIELD MI 48324        YORKVILLE NY 13495                      6                               BROOKLYN NY 11203
                                                                        YORKVILLE NY 13495




002653P001-1409A-265            000659P001-1409A-265                    009366P001-1409A-265            031437P001-1409A-265
ORYEIN E MULLER                 LAMONICA MUMFORD                        MARAJAH I MUMFORD               MUNCIE MALL LLC
95-024 WAIHAU ST                145 PRISCILLA D THOMAS WAY              202 GREENBRIER DR               PO BOX 809046
APT 10B                         606                                     SNOW HILL MD 21863              CHICAGO IL 60680-9046
MILILANI HI 96789               GARDEN CITY GA 31408




036977P001-1409A-265            036977S001-1409A-265                    033047P001-1409A-265            033047S001-1409A-265
MUNCIE MALL LLC                 MUNCIE MALL LLC                         MUNCIE SANITARY DISTRICT        MUNCIE SANITARY DISTRICT
WASHINGTON PRIME GROUP INC      WASHINGTON PRIME GROUP INC              PO BOX 1674                     300 N HIGH ST
FROST BROWN TODD LLC            STEPHEN E IFEDUBA                       MUNCIE IN 43308                 MUNCIE IN 47305
301 E FOURTH ST                 180 E BROAD ST
CINCINNATI OH 45202             COLUMBUS OH 43215



005238P001-1409A-265            001254P001-1409A-265                    000580P001-1409A-265            009984P001-1409A-265
JEWEL G MUNFORD                 ALYSSA L MUNGCAL                        SARAH V MUNGUIA                 MUNICIPALITY OF MONROEVILLE
1841 WALTON ST                  217 8TH AVE                             116 S PINE ST                   BUSINESS TAX OFFICE
PETERSBURG VA 23805             BETHLEHEM PA 18018-5104                 LOWELL NC 28098                 2700 MONROEVILLE BLVD
                                                                                                        MONROEVILLE PA 15146-2388




010584P001-1409A-265            032776P001-1409A-265                    010137P001-1409A-265            010132P001-1409A-265
MUNICIPIO AUTOMOMO DE CAGUAS    MUNICIPIO AUTONOMO DE CAGUAS            MUNICIPIO DE BAYAMON            MUNICIPIO DE CAROLINA
PO BOX 907                      PO BOX 907                              CALLE ABOY 605                  MUNICIPIO AUTONOMO DE CAROLINA
CAGUAS PR 00726                 CAGUAS PR 00726                         APT # 1A                        APARTADO 8
                                                                        SAN JUAN PR 00907               CAROLINA PR 00986




001858P001-1409A-265            007796P001-1409A-265                    008885P001-1409A-265            004083P001-1409A-265
SHEKEYVIA S MUNNERLYN           MAHARAI MUNOZ LOPEZ                     ANNA M MUNOZ                    DAVINA A MUNOZ
1518 NE 31ST                    9101 E MISSOURI AVE                     4275 BALDWIN ST                 3013 MAXSON RD
OCALA FL 34479                  DENVER CO 80247                         HUDSONVILLE MI 49426            UNIT 5
                                                                                                        EL MONTE CA 91732
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008882P001-1409A-265          001937P001-1409A-265                  003234P001-1409A-265            002764P001-1409A-265
FERNANDA E MUNOZ              GRACIELA MUNOZ                        KAREN A MUNOZ                   LIRIS M MUNOZ
3869 YORKLAND DR NW           4618 KATARINA AVE                     610 SOUTH CLAY                  18 PINE CREEK CT
APT#6                         BROWNSVILLE TX 78526                  MIDLAND TX 79701                PITTSBURG CA 94565
COMSTOCK PARK MI 49321




035846P001-1409A-265          000797P001-1409A-265                  006978P001-1409A-265            001162P001-1409A-265
LOPEZ MAHARAI MUNOZ           LORENA MUNOZ                          MARIJAE N MUNOZ                 MICHELLE MUNOZ
9101 E MISSOURI AVE           1504 HIGHLAND AVE                     2217 E BRADY AVE                29 4TH AVEBUE
DENVER CO 80247               BERWYN IL 60402-1317                  LAS VEGAS NV 89101              LONG BRANCH NJ 07740-6533




008265P001-1409A-265          036733P001-1409A-265                  001039P001-1409A-265            002549P001-1409A-265
PERLA MUNOZ                   RICHARD MUNOZ                         RICHARD H MUNOZ                 STEPHANIE M MUNOZ
856 HART AVE                  233 SEYMOUR RD                        233 SEYMOUR RD                  5219 VERNICE ST
LAS VEGAS NV 89106            PORT CHESTER NY 10573                 PORT CHESTER NY 10573           WIMAUMA FL 33598




008173P001-1409A-265          002379P002-1409A-265                  006498P001-1409A-265            033048P001-1409A-265
ASHLEY S MURDOCK              KAITLYN B MURDOCK                     KIRA MURDOCK                    MURFREESBORO ELECTRIC DEPT
2867 OXFORD WAY APT 301       617 PEAKS LNDG                        4230 DROSERA AVE                PO BOX 9
CLAREMONT NC 28610            ACWORTH GA 30102-1982                 MAYS LANDING NJ 08330           MURFREESBORO TN 37133




033048S001-1409A-265          033993P004-1409A-265                  003795P001-1409A-265            006225P001-1409A-265
MURFREESBORO ELECTRIC DEPT    MURFREESBORO ELECTRIC DEPT            VALERIA MURIEL                  ADRIANA M MURILLO
205 NORTH WALNUT ST           JAMIE CASKEY                          38 BAYVIEW AVE FL 1             431 OLMSTEAD AVE
MURFREESBORO TN 37130         205 NORTH WALNUT ST                   NORWALK CT 06854                BRONX NY 10473
                              MURFREESBORO TN 37130




000731P001-1409A-265          002823P001-1409A-265                  037086P001-1409A-265            002788P001-1409A-265
NORMA A MURILLO               VANESSA MURILLO                       VERONICA MURILLO                VERONICA C MURILLO
1403 CREEKWOOD CT             2906 HARRISON AVE                     6010 DAVIS RD                   6010 DAVIS RD
PERRIS CA 92571-4942          EL PASO TX 79930                      FORT WORTH TX 79602             FT WORTH TX 76140




009547P001-1409A-265          004516P001-1409A-265                  004158P001-1409A-265            008325P001-1409A-265
ANDREA MURO                   KATHLEEN M MURPHY                     KAYLEE MURPHY                   KELSEY S MURPHY
700 WOODVIEW DR               12355 WESTMORLAND DR                  215 BRENT RD                    5011 CELADON AVE
GEORGETOWN TX 78626           FISHERS IN 46037                      WALDORF MD 20602                FAIRFIELD OH OH 45014
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006442P001-1409A-265              009578P001-1409A-265                    003057P002-1409A-265          001422P001-1409A-265
LATAY E MURPHY                    LISA MURPHY                             MCKAYLA A MURPHY              MICHELLE H MURPHY
1856 E TULPEHOCKEN ST             74 ENGLISH CLUB DR                      11225 EMILY LANE SW           2211 GRANT ST
PHILADELPHIA PA 19138             ENGLISHTOWN NJ 07726                    OLYMPIA WA 98512-9387         TAMPA FL 33605-6408




010041P001-1409A-265              032297P001-1409A-265                    035848P001-1409A-265          005170P001-1409A-265
MURRAY CITY BUSINESS LICENSING    MURRAY CITY CORP                        AALIYAH N MURRAY              ADRIANA MURRAY
4646 SOUTH 500 WEST               4646 SOUTH 500 WEST                     20751 WAKEDON                 4792 WINEBERRY DR
MURRAY UT 84123                   MURRAY UT 84123                         SOUTHFIELD MI 48033           FORT WORTH TX 76137




009377P001-1409A-265              002634P001-1409A-265                    003317P001-1409A-265          001630P001-1409A-265
AMANDA M MURRAY                   AUTUMN M MURRAY                         DAVITA MURRAY                 MICAH D MURRAY
220 W 70TH ST                     4684 SOUTH BEECHWOOD DR                 31 ANGERER AVE                383 LAS COLINAS BLVD
2                                 MACON GA 31210                          BROCKTON MA 02302             APT 3020
CINCINNATI OH 45216                                                                                     IRVING TX 75039




004618P002-1409A-265              037119P001-1409A-265                    001244P001-1409A-265          035849P001-1409A-265
ARNELL MURRELL                    ARNELL MURRELL                          JAFFAR MURRILL                JAFFAR MURRILL
122 COREY CREEK CT                122 COREY CREEK                         3169 FLOWERS RD SOUTH         3219 FLOWERS RD SOUTH
LAS VEGAS NV 89148-2625           LAS VEGAS NV 89148                      APT K                         APT R
                                                                          ATLANTA GA 30341              ATLANTA GA 30341




030365P001-1409A-265              003393P001-1409A-265                    003120P001-1409A-265          002543P001-1409A-265
HENRIETTA MURTAGH                 HENRIETTA R MURTAGH                     MUSTAFA MUSAWI                JORDAN MUSCARI
ADDRESS INTENTIONALLY OMITTED     521 HILL ST                             2310 DOLAN FALLS LN           7408 W 140TH AVE
                                  WHITINSVILLE MA 01588                   HOUSTON TX 77089              CEDAR LAKE IN 46303




010463P001-1409A-265              030871P001-1409A-265                    032298P002-1409A-265          006228P001-1409A-265
MUSCOGEE COUNTY                   MUSE LAW GROUP TRUST ACCOUNT            MUSE MANAGEMENT INC           MADISON M MUSGROVE
TAX COMMISSIONER                  9595 WILSHIRE BLVD                      EDWARD RYAN                   8912 SHERMAN RD
PO BOX 1441                       STE 900                                 150 BROADWAY STE 1101         FOLEY AL 36535
COLUMBUS GA 31902                 BEVERLY HILLS CA 90212                  NEW YORK NY 10038




004781P001-1409A-265              006538P001-1409A-265                    004248P001-1409A-265          030150P002-1409A-265
CASSIDY M MUSICH                  BRITTNAY MUSICK                         CINDY MUSO                    DAVID MUSSAFER
14457 CLAUDE CT                   202 CHARLES ST APT 202                  61 MELROSE AVE                ADVENT INTERNATIONAL
THORNTON CO 80602                 FREDERICKSBURG VA 22401                 STATEN ISLAND NY 10301        800 BOYLSTON ST STE 3300
                                                                                                        BOSTON MA 02199-8069
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004471P001-1409A-265            007028P001-1409A-265                 036606P001-1409A-265             035850P001-1409A-265
DAVID MUSSAY                    KYLIE E MUSSLEWHITE                  LAUREN MUTH                      MEGAN H MUTH
177 12 FAIR OAKS ST             9502 CARY-ALGONQUIN RD               50 VEVAU ST APT # 419            29259 SNAPDRAGON PL
SAN FRANCISCO CA 94110          CARY IL 60013                        KAHULUI HI 96732                 SANTA CLARITA CA 91387




001399P001-1409A-265            035851P001-1409A-265                 030741P001-1409A-265             008694P001-1409A-265
SAMANTHA MUTHERSBAUGH           SAMANTHA MUTHERSBAUGH                MUTYAAR INC                      BRENDA MUY
101 CENTENNIAL MALL S APT #3    2520 SAINT THOMAS DR                 530 7TH AVE                      6125 OLD GAYHILL RD
LINCOLN NE 68508                LINCOLN NE 68502                     STE 1006                         BRENHAM TX 77833
                                                                     NEW YORK NY 10018




032299P001-1409A-265            032299S001-1409A-265                 034420P001-1409A-265             035136P001-1409A-265
MUZAK LLC                       MUZAK LLC                            MUZAK LLC                        MUZAK LLC
STEPHANIE SANTAMARIA            2100 S IH 35 FRONTAGE RD             PO BOX 71070                     2100 S IH-35 FRONTAGE RD
PO BOX 71070                    AUSTIN TX 78704                      CHARLOTTE NC 28272-1070          AUSTIN TX
CHARLOTTE NC 28272-1070




002606P001-1409A-265            033422P001-1409A-265                 033394P001-1409A-265             033810P001-1409A-265
KATHRYN MUZENSKI                MWB COPY PRODUCTS                    MY SPACE INC                     NICOLE MYER
11421 W NORTH AVE               MWB BUSINESS SYSTEMS                 MYSPACECOM                       6 FAIRVIEW AVE
4                               EMILLIO RIOS                         DECLAN COOPER                    CORTE MADERA CA 94925
WAUWATOSA WI 53226              5700 WARLAND DR                      407 N MAPLE DR
                                CYPRESS CA 90630                     BEVERLY HILLS CA 90210



002650P001-1409A-265            009221P001-1409A-265                 004138P001-1409A-265             007611P001-1409A-265
CHRISTINE R MYERS               CLOWIE M MYERS                       ISABEL G MYERS                   MCKENZIE E MYERS
11211 SPRING PINE ST            4975 MONTELONE AVE                   7161C NABORS DR TINKER AFB OKL   306 E WILSON BLVD
SAN ANTONIO TX 78249            LAS VEGAS NV 89141                   OKLAHOMA CITY OK 73145           HAGERSTOWN MD 21740




006613P001-1409A-265            037806P001-1409A-265                 032300P001-1409A-265             031044P001-1409A-265
SYDNEY D MYERS                  MYKIYA JOHNSON                       MYRTLE BEACH FIRE RESCUE         MYTAGALONGS
815 PASEO CAMARILLO             33459 SHELLEY LYNNE DR               CITY OF MYRTLE BEACH             ELIZABETH SIMMONS
488                             STERLING HEIGHTS MI 48098            RICK BENNER                      5905 RUE KIERAN
CAMARILLO CA 93010                                                   PO BOX 935667                    SAINT-LAURENT QC H4S 0A3
                                                                     ATLANTA GA 91193-5667            CANADA



030742P001-1409A-265            036270P001-1409A-265                 000542P001-1409A-265             007268P001-1409A-265
MYTH CLOTHING CO INC            MYTH CLOTHING COMPANY INC            NIGINA NABIYEVA                  HEUAHEANAHENAHE NAEOLE
ARUN KUMAR                      525 FASHION AVE #1010                4220 HUNT CLUB CIR APT 804       PO BOX 11
525 FASHION AVE                 NEW YORK NY 10018                    FAIRFAX VA 22033                 KAAAWA HI 96730
#1010
NEW YORK NY 10018
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032165P002-1409A-265                         001042P001-1409A-265                      005725P001-1409A-265                     031045P001-1409A-265
KEN NAGAHARA                                 LORI J NAGLE                              JOHN E NAGUE                             NAILMATIC CORP
1206 FLORIDA ST                              5928 TULIP ST                             338 HIGATE DR                            404 5TH AVE
VALLEJO CA 94590                             2ND FL                                    DALY CITY CA 94015                       6TH FL
                                             PHILADELPHIA PA 19135-3304                                                         NEW YORK NY 10018




007752P001-1409A-265                         035852P001-1409A-265                      006487P001-1409A-265                     006184P001-1409A-265
APRIL NAJAR RAMIREZ                          RAMIREZ APRIL NAJAR                       CHRIS A NAJERA                           SOPHIA NAKAZIBWE
535 WOODLAWN AVE                             535 WOODLAWN AVE                          7876 W MEXICO PL                         2850 S LAKELINE BLVD APT 1638
CHULA VISTA CA 91910                         CHULA VISTA CA 91910                      LAKEWOOD MA 80232                        APT 1638
                                                                                                                                CEDAR PARK TX 78613




032301P001-1409A-265                         004362P001-1409A-265                      003471P001-1409A-265                     035853P001-1409A-265
NALANI RAVELO                                SRIDHAR NALLANI                           LIZ JOYCE NAMA MOUYEGHE                  MOUYEGHE LIZ JOYCE NAMA
4721 KESTER AVE # 6                          7800 KENNARD LN                           2475 GRAY FALLS DR                       2475 GRAY FALLS DR
SHERMAN OAKS CA 91403                        SAN RAMON CA 94582                        APT 721                                  APT 721
                                                                                       HOUSTON TX 77077                         HOUSTON TX 77077




034795P001-1409A-265                         034807P001-1409A-265                      034873P001-1409A-265                     034878P001-1409A-265
NAMDAR REALTY GROUP                          NAMDAR REALTY GROUP                       NAMDAR REALTY GROUP                      NAMDAR REALTY GROUP
LAKES MALL REALTY LLC                        CHAPEL HILLS REALTY LLC                   NORTHWEST ARKANSAS MALL                  PITT REALTY LLC
150 GREAT NECK RD                            150 GREAT NECK RD                         SPINOSO MANAGEMENT GROUP LLC             NAMDAR REALTY GROUP LLC
STE 304                                      STE 304                                   100 NORTHERN CONCOURSE NORTH             150 GREAT NECK RD
GREAT NECK NY 11021                          GREAT NECK NY 11021                       SYRACUSE NY 13212                        STE 304
                                                                                                                                GREAT NECK NY 11021


029909P001-1409A-265                         029910P001-1409A-265                      029911P001-1409A-265                     029912P001-1409A-265
NAMDAR REALTY GROUP (LANDLORD)               NAMDAR REALTY GROUP (LANDLORD)            NAMDAR REALTY GROUP (LANDLORD)           NAMDAR REALTY GROUP (LANDLORD)
LAKES MALL REALTY LLC NAMDAR REALTY GROUP    CHAPEL HILLS REALTY LLC                   FASHION SQUARE MALL REALTY LLC           LOGAN VALLEY REALTY LLC
150 GREAT NECK RD STE 304                    NAMDAR REALTY GROUP                       NAMDAR REALTY GROUP LLC                  NAMCO REALTY LLC
GREAT NECK NY 11021                          150 GREAT NECK RD STE 304                 150 GREAT NECK RD STE 304                150 GREAT NECK RD STE 304
                                             GREAT NECK NY 11021                       GREAT NECK NY 11021                      GREAT NECK NY 11021



029913P001-1409A-265                         029913S001-1409A-265                      029914P001-1409A-265                     029915P001-1409A-265
NAMDAR REALTY GROUP (LANDLORD)               NAMDAR REALTY GROUP (LANDLORD)            NAMDAR REALTY GROUP (LANDLORD)           NAMDAR REALTY GROUP (LANDLORD)
4201 NORTH SHILOH DRIVE HOLDINGS LLC         NORTHWEST ARKANSAS MALL                   PITT REALTY LLC                          GULF VIEW REALTY LLC
CWCAPITAL ASSET MANAGEMENT LLC               SPINOSO MANAGEMENT GROUP LLC              NAMDAR REALTY GROUP LLC                  NAMDAR REALTY GROUP LLC
7501 WISCONSIN AVE STE 500 WEST              100 NORTHERN CONCOURSE                    150 GREAT NECK RD STE 304                150 GREAT NECK RD
BETHESDA MD 20814                            NORTH SYRACUSE NY 13212                   GREAT NECK NY 11021                      GREAT NECK NY 11021



032751P001-1409A-265                         036668P001-1409A-265                      035302P001-1409A-265                     035303P001-1409A-265
NAMDAR REALTY GROUP LLC                      NAMDAR REALTY GROUP LLC                   NAME AND ADDRESS INTENTIONALLY OMITTED   NAME AND ADDRESS INTENTIONALLY OMITTED
NITTANY CENTRE REALTY LLC                    150 GREAT NECK RD STE 304
FRANCES ZAR                                  GREAT NECK NY 11021
150 GREAT NECK RD STE 304
GREAT NECK NY 11021
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035304P001-1409A-265                      035305P001-1409A-265                              035306P001-1409A-265                     035307P001-1409A-265
NAME AND ADDRESS INTENTIONALLY OMITTED    NAME AND ADDRESS INTENTIONALLY OMITTED            NAME AND ADDRESS INTENTIONALLY OMITTED   NAME AND ADDRESS INTENTIONALLY OMITTED




035308P001-1409A-265                      035309P002-1409A-265                              035310P002-1409A-265                     035311P001-1409A-265
NAME AND ADDRESS INTENTIONALLY OMITTED    NAME AND ADDRESS INTENTIONALLY OMITTED            NAME AND ADDRESS INTENTIONALLY OMITTED   NAME AND ADDRESS INTENTIONALLY OMITTED




035312P001-1409A-265                      035313P001-1409A-265                              035314P002-1409A-265                     035315P001-1409A-265
NAME AND ADDRESS INTENTIONALLY OMITTED    NAME AND ADDRESS INTENTIONALLY OMITTED            NAME AND ADDRESS INTENTIONALLY OMITTED   NAME AND ADDRESS INTENTIONALLY OMITTED




035316P001-1409A-265                      035317P001-1409A-265                              035318P001-1409A-265                     003249P001-1409A-265
NAME AND ADDRESS INTENTIONALLY OMITTED    NAME AND ADDRESS INTENTIONALLY OMITTED            NAME AND ADDRESS INTENTIONALLY OMITTED   MONICA NAN
                                                                                                                                     5445 GARFIELD AVE
                                                                                                                                     PENNSAUKEN NJ 08109




004318P001-1409A-265                      033688P001-1409A-265                              032302P001-1409A-265                     033689P001-1409A-265
HOLLY J NANAN                             NANCY OGAMI                                       NANCY PARKER LTD                         NAOMI BOYER
10121 CAPE ANN DR                         1022 CONDOR LN                                    15 INDEPENDANT PL                        BE SOCIAL
COLUMBIA MD 21046                         FOSTER CITY CA 94404                              LONDON E8 2HE                            844 N GENESEE AVE
                                                                                            UNITED KINGDOM                           WEST HOLLYWOOD CA 90046




032303P001-1409A-265                      000509P001-1409A-265                              003886P001-1409A-265                     009287P001-1409A-265
NAOMI MCCOLLOCH                           EMILY P NAPIER                                    DORCA NAPOLEON                           KIANNA L NAPUE
773 COLE ST                               10459 WALNUT RIDGE RD                             2142 ALDDRIN RD                          1851 ROOSEVELT AVE
APT #3                                    WALTON KY 41094                                   4A                                       APT 1
SAN FRANCISCO CA 94117                                                                      OCEAN NJ 07712                           MOUNT PLEASANT WI 53406




002263P001-1409A-265                      006954P001-1409A-265                              006396P001-1409A-265                     000483P001-1409A-265
ZARYAAB NAQVI                             ANGELA NARANJO                                    RUTHIKA NARAYANAN                        SOLACE NARCISSE
91 ISABELLE ST                            1102 N IVY ST                                     10 MITCHELL AVE                          3722 WALTON WAY EXT
METUCHEN NJ 08840                         ESCONDIDO CA 92026                                EAST BRUNSWICK NJ 08816                  129
                                                                                                                                     AUGUSTA GA 30907
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035854P001-1409A-265          033443P001-1409A-265                    035137P001-1409A-265                          036670P001-1409A-265
ASHLEY NARINE                 NARVAR INC                              NARVAR INC                                    NARVAR INC
118-02 107TH AVE              CHAIT GUDISEVA                          50 BEAL ST 7TH FL                             633 FOLSOM ST #200
RICHMOND HILL NY 11419        633 FOLSOM ST #200                      SAN FRANCISCO CA 94105                        SAN FRANCISCO CA 94107
                              SAN FRANCISCO CA 94107




002341P001-1409A-265          003756P001-1409A-265                    010438P001-1409A-265                          032304P001-1409A-265
ABIGAIL N NARZ                MYCHAYLA M NASH                         NASSAU COUNTY POLICE DEPT                     NATHANIEL Y DOWNES
13120 NE 129TH ST             1600 WOLFE AVE                          COMMUNICATIONS BUREAU ALARM                   60 ARAGO ST
KIRKLAND WA 98034             NORTH BRADDOCK PA 15104                 PERMIT SECTION - 1490 FRANKLIN                SAN FRANCISCO CA 94112
                                                                      AVE., MINEOLA NY 11501




006691P001-1409A-265          037376P001-1409A-265                    031438P001-1409A-265                          033049P001-1409A-265
LETHADDUS C NATHANIEL         NATICK MALL                             NATICK MALL LLC                               NATIONAL EXEMPTION SVC
5900 TRACY RD                 BROOKFIELD PROPERTY REIT INC            GGP NATICK TRUST                              PO BOX 9020
ATOKA TN 38004                JULIE M BOWDEN                          SDS-12-3111                                   CLEARWATER FL 33758
                              350 N ORLEANS ST STE 300                PO BOX 86
                              CHICAGO IL 60654-1607                   MINNEAPOLIS MN 55486-3111



033050P001-1409A-265          033050S001-1409A-265                    033994P002-1409A-265                          032752P001-1409A-265
NATIONAL FUEL                 NATIONAL FUEL                           NATIONAL FUEL GAS DISTRIBUTION CORP           NATIONAL GRID
PO BOX 4103                   6363 MAIN ST                            NATHANIEL EHRMAN                              PO BOX 11742
BUFFALO NY 14264              WILLIAMSVILLE NY 14221                  6363 MAIN ST                                  NEWARK NJ 07101-4742
                                                                      WILLIAMSVILLE NY 14221




033051P003-1409A-265          033052P001-1409A-265                    033052S001-1409A-265                          033053P001-1409A-265
NATIONAL GRID                 NATIONAL GRID                           NATIONAL GRID                                 NATIONAL GRID
CHRISTINE THOMPSON            PO BOX 11739                            300 ERIE BLVD WEST                            PO BOX 11791
300 ERIE BLVD WEST            NEWARK NJ 07101                         SYRACUSE NY 13252                             NEWARK NJ 07101
SYRACUSE NY 13202




033054P001-1409A-265          037907P001-1409A-265                    033055P002-1409A-265                          032775P001-1409A-265
NATIONAL GRID                 NATIONAL GRID                           NATIONAL MANAGEMENT SYSTEMS                   NATIONAL RECOVERY
PROCESSING CENTER             300 ERIE BLVD W                         26999 CENTRAL PARK BLVD STE 200               PO BOX 67015
WOBURN MA 01807               SYRACUSE NY 13069                       SOUTHFIELD MI 48076-4145                      HARRISBURG PA 17106-7015




033515P001-1409A-265          032305P001-1409A-265                    035201P001-1409A-265                          037220P001-1409A-265
NATIONAL RETAIL FEDERATION    NATIONAL SECURITY CONSULT               NATIONAL UNION FIRE INS CO OF PITTSBURGH PA   NATIONAL UNION FIRE INS CO OF PITTSBURGH PA
PO BOX 85001081               PO BOX 932412                           175 WATER ST 18TH FL                          9171 TOWNE CENTRE DR STE 500
PHILADELPHIA PA 19178-1081    CLEVELAND OH 44193                      NEW YORK CITY NY 10038                        SAN DIEGO CA 92122
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010609P001-1409A-265                            030743P001-1409A-265                   036271P001-1409A-265           032306P001-1409A-265
NATIONAL UNION FIRE INS CO OF PITTSBURGH, PA    NATIVE CANADA FOOTWEAR LTD             NATIVE CANADA FOOTWEAR LTD     NATURAL MODEL MGMT
175 WATER ST                                    JOEY SHERREN                           225 W 35TH ST                  1120 N EL CENTRO AVE # 9
18TH FL                                         5 WEST 6TH AVE                         NEW YORK NY 10001              LOS ANGELES CA 90038
NEW YORK NY 10038                               VANCOUVER BC V5Y 1K1
                                                CANADA



008901P001-1409A-265                            008295P001-1409A-265                   007760P001-1409A-265           006869P001-1409A-265
AMBER K NAUER                                   LEXI J NAVA RODRIGUEZ                  LIZBETH NAVA                   VANESSA NAVA
490 THORME ST                                   4711 NAIO LN                           1400 13TH ST                   3422 COLLIER AVE
BRIDGEPORT CT 06606                             HONOLULU HI 96818                      219                            SAN DIEGO CA 92116
                                                                                       IMPERIAL BEACH CA 91932




003736P001-1409A-265                            003671P001-1409A-265                   035855P001-1409A-265           005612P001-1409A-265
LILYBELL D NAVALTA                              DAYELSY F NAVARRETE ALVAREZ            ALVAREZ DAYELSY F NAVARRETE    AMANDA NAVARRETE
1665 BRANDYWINE AVE APT E40                     8347 SWEET MAIDEN                      8347 SWEET MAIDEN              15251 SENECA RD
CHULA VISTA CA 91911                            SAN ANTONIO TX 78242                   SAN ANTONIO TX 78242           APT 95
                                                                                                                      VICTORVILLE CA 92392




000597P001-1409A-265                            002447P001-1409A-265                   006321P001-1409A-265           003250P001-1409A-265
CIELO N NAVARRETE                               GRABIELA NAVARRETE                     KATIE NAVARRETEFLORES          ARIANNA NAVARRO
127 RETIRO                                      3442 CLOVERDALE LN                     601 N MAIN ST                  6424 E VICTORY RD
MOSS BEACH CA 94038                             DALLAS TX 75234                        PLEASANTVILLE NJ 08232         NAMPA ID 83687




008867P001-1409A-265                            001005P001-1409A-265                   009670P001-1409A-265           004734P001-1409A-265
CLARISSA N NAVARRO                              DANIELLE J NAVARRO                     ROSE J NAVARRO                 STEPHANIE NAVARRO
817 COLCORD AVE APT 3308                        24231 SCHIVENER HOUSE LN               67 KLEIN ST                    2560 HENRY AVE
WACO TX 76707                                   KATY TX 77493                          ROCHESTER NY 14621             PINOLE CA 94564




004608P001-1409A-265                            032307P001-1409A-265                   035138P001-1409A-265           010607P001-1409A-265
KIARALEE E NAVEDO                               NAVEX GLOBAL INC                       NAVEX GLOBAL INC               NAVIGATORS INSURANCE CO
290 BROADWAY ST STE 287                         CLAY OSBORNE                           5500 MEADOWS RD STE 500        19200 VON KARMAN AVE
METHUEN MA 01844                                5500 MEADOWS RD                        LAKE OSWEGO OR 97035           STE 250
                                                STE 500                                                               IRVINE CA 92612
                                                LAKE OSWEGO OR 97035



003924P001-1409A-265                            004364P001-1409A-265                   032308P001-1409A-265           009764P001-1409A-265
MIMI NAW                                        CHRISTINA NAZARIO                      NAZIRA SACAS                   NC DEPT OF REVENUE
223 CEDAR ST                                    701 DIANNE ST                          1221 WEST 3RD ST #154          PO BOX 25000
HIGH POINT NC 27260                             SEAFORD NY 11783                       LOS ANGELES CA 90017           RALEIGH NC 27640-0500
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010572P002-1409A-265                037875P001-1409A-265                              009675P001-1409A-265         035856P001-1409A-265
NC- FORSYTH COUNTY TAX COLLECTOR    NC- PITT COUNTY TAX COLLECTOR                     DAPHINE M NDAGIRE            DAPHINE M NDAGIRE
PO BOX 82                           PO BOX 875                                        822 N 6 1/2 ST               710 NORTH 7TH STREET APARTMENT 3
WINSTON SALEM NC 27102-0082         GREENVILLE NC 27835                               8                            APT 3
                                                                                      TERRE HAUTE IN 47802         TERRE HAUTE IN 47807




006820P001-1409A-265                006687P001-1409A-265                              004978P001-1409A-265         004412P001-1409A-265
JANE MEGANE NDOMO                   DIAMOND N NEAL                                    LYNTOSHIA NEAL               MADISON R NEAL
1428 HAMPSHIRE WEST CT              11526 SULPHUR HILLS PL                            44370 BAYVIEW AVE            3227 INMAN DR
#12                                 WALDORF MD 20695                                  CLINTON TWP MI 48038         CHANDLER TX 75758
SILVER SPRING MD 20903




003022P001-1409A-265                007325P001-1409A-265                              001953P001-1409A-265         007093P002-1409A-265
STARKISHA B NEAL                    DEVON M NEARY                                     ROBIN NEARY                  TAYLOR M NEAVES
1215 2ND AVE N                      7308 ARAGON ST                                    761 E RIVER RD               9603 BANDERA RD APT 627
#14                                 LAS VEGAS NV 89145                                GRAND ISLAND NY 14072-2940   SAN ANTONIO TX 78250-5603
SAUK-RAPIDS MN 56379




000331P001-1409A-265                000062P001-1409A-265                              000216P001-1409A-265         000140P001-1409A-265
NEBRASKA ATTORNEY GENERAL           NEBRASKA DEPT OF ENVIRONMENTAL QUALITY            NEBRASKA DEPT OF LABOR       NEBRASKA DEPT OF REVENUE
DOUG PETERSON                       1200 N ST STE 400                                 COMMISSIONER                 301 CENTENNIAL MALL SOUTH
2115 STATE CAPITOL                  PO BOX 98922                                      550 SOUTH 16TH ST            2ND FL
LINCOLN NE 68509-8920               LINCOLN NE 68509-8922                             ADMINISTRATIVE OFFICE        LINCOLN NE 68509-4818
                                                                                      LINCOLN NE 68509



009765P001-1409A-265                000437P001-1409A-265                              033393P001-1409A-265         001885P001-1409A-265
NEBRASKA DEPT OF REVENUE            NEBRASKA STATE TREASURER                          KELLY NEDDERMAN              ELIZABETH NEDZA
PO BOX 94818                        UNCLAIMED PROPERTY DIVISION                       401 HOFFMAN AVE              10808 S NASHVILLE AVE
LINCOLN NE 68509-4818               809 P ST                                          SAN FRANCISCO CA 94114       WORTH IL 60482-1619
                                    LINCOLN NE 68508-1390




001008P001-1409A-265                006805P001-1409A-265                              007139P001-1409A-265         037552P001-1409A-265
JENNIFER L NEEDHAM                  ABBIE N NEEL                                      CAITLIN M NEELEY             BRITTANY NEESON
15 CARDINAL DR                      5538 WESLEY DR                                    3652 BUENA VISTA DR          118 BOWER CT
FLORENCE KY 41042                   MILTON FL 32570                                   HUBBARD OH 44425             STATEN ISLAND NY 10309




001462P001-1409A-265                003129P001-1409A-265                              004699P001-1409A-265         002718P001-1409A-265
BRITTANY N NEESON                   GABRIELLA NEGRETE                                 JOCELYN NEGRETE              KELLY A NEGRI
118 BOWER CT                        11406 CITRUS DR                                   6515 DENSMORE AVE            162 WEST 14TH ST
STATEN ISLAND NY 10309-1634         101                                               LAKE BALBOA CA 91406         DEER PARK NY 11729
                                    VENTURA CA 93004
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009264P001-1409A-265                    001451P001-1409A-265                       007071P001-1409A-265            003567P001-1409A-265
BETTY R NEILS                           CHRIS A NELLE                              EMILY NELLIS                    ADDISYN L NELSON
5837 S 36TH ST                          16277 CAMERON AVE                          41 NORTH HIGH ST APT B          1003 NORTH 9TH AVE EAST
PHOENIX AZ 85040                        PETERSBURG IL 62675                        BALLSTON SPA NY 12020           DULUTH MN 55805




006849P001-1409A-265                    005345P001-1409A-265                       004081P001-1409A-265            035857P001-1409A-265
ALEYAH S NELSON                         CARLETHA NELSON                            DEIDRA NELSON                   EMMA R NELSON
1213 HERITAGE DR                        1537 GRACE AVE                             19140 PIERSON                   117 N GREENGATE DR
WENDELL NC 27591                        PANAMA CITY FL 32405                       DETROIT MI 48219                YUKON OK 73099




007210P001-1409A-265                    035858P001-1409A-265                       006327P001-1409A-265            009179P001-1409A-265
JADE K NELSON                           JOSLYN A NELSON                            MACKENZIE E NELSON              MEGAN M NELSON
3721 ORLEANS AVE                        223 TOLLVIEW CT                            2070 N SPRIGG ST                CPO BOX 2198 3305 W FOSTER AV
LOWER                                   GILBERTS IL 60136                          4-4106 C                        CHICAGO IL 60626
SIOUX CITY IA 51106                                                                CAPE GIRARDEAU MO 63367




005032P001-1409A-265                    004768P002-1409A-265                       000477P001-1409A-265            000523P001-1409A-265
MICHELLE NELSON                         NICOLE D NELSON                            RICHELLA A NELSON               SAMANTHA M NELSON
6670 WEST 24TH CT                       5478 TIPPLE RD                             155 TALL PINES CT               8704 NE 59TH ST
12                                      ROCKFORD IL 61102-4430                     WINSTON-SALEM NC 27107          VANCOUVER WA 98662
HIALEAH FL 33016




036134P001-1409A-265                    032309P001-1409A-265                       032310P001-1409A-265            031046P001-1409A-265
NEMAN BROTHERS AND ASSOCIATES           NEON WORKFORCE TECHNOLOGIES                NEOPOST                         NEOTERIC COSMETICS INC
DONIGER BURROUGHS                       PO BOX 403                                 25880 NETWORK PL                STEVEN ECKERT
STEPHEN DONIGER SCOTT BURROUGHS         GADSEN AL 35902                            CHICAGO IL 60676-1258           4880 HAVANA ST
603 ROSE AVE                                                                                                       #400
VENICE CA 90291                                                                                                    DENVER CO 80239



002168P001-1409A-265                    037459P001-1409A-265                       030275P001-1409A-265            034414P001-1409A-265
SYDNEY NEPOMUCENO                       NES JEWELRY INC                            CHELSEA NESBITT                 NESHAMINY MALL JOINT VENTURE LIMI
28419 MAYFAIR DR                        NES JEWELRY INC                            ADDRESS INTENTIONALLY OMITTED   LIMITED PARTNERSHIP
VALENCIA CA 91354-1521                  10 WEST 33RD ST                                                            PO BOX 6341
                                        SUITE 918                                                                  CAROL STREAM IL 60197-6341
                                        NEW YORK NY 10001



031439P001-1409A-265                    037505P001-1409A-265                       030587P002-1409A-265            004112P001-1409A-265
NESHAMINY MALL JOINT VENTURE LIMITED    NESHAMINY MALL JOINT VENTURE LP            SAMANTHA NEUBAUER               SAMANTHA E NEUBAUER
PARTNERSHIP                             BROOKFIELD PROPERTY REIT INC               ADDRESS INTENTIONALLY OMITTED   1003 MICHELLE DR
PO BOX 6341                             JULIE M BOWDEN                                                             GULFPORT MS 39503
CAROL STREAM IL 60197-6341              350 N ORLEANS ST STE 300
                                        CHICAGO IL 60654-1607
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033690P001-1409A-265                         000332P001-1409A-265                      000390P001-1409A-265                      000063P001-1409A-265
NEUSTAR INC                                  NEVADA ATTORNEY GENERAL                   NEVADA ATTORNEY GENERAL                   NEVADA DEPT OF
46000 CENTER OAK PLZ                         ADAM PAUL LAXALT                          BUREAU OF CONSUMER PROTECTION             CONSERVATION AND NATURAL RESOURCES
STERLING VA 20166                            OLD SUPREME CT BLDG                       100 NORTH CARSON ST                       901 S STEWART
                                             100 N CARSON ST                           CARSON CITY NV 89701-4717                 STE 1003
                                             CARSON CITY NV 89701                                                                CARSON CITY NV 89701



000141P001-1409A-265                         009908P001-1409A-265                      010372P001-1409A-265                      035400P001-1409A-265
NEVADA DEPT OF TAXATION                      NEVADA DEPT OF TAXATION                   NEVADA DEPT OF TAXATION                   NEVADA DEPT OF TAXATION
1550 E COLLEGE PKWY                          1550 EAST COLLEGE PKWY                    PO BOX 7165                               SALES TAX
CARSON CITY NV 89706                         CARSON CITY NV 89710-0003                 SAN FRANCISCO CA 94120                    STATE OF NEVADA SALES USE
                                                                                                                                 PO BOX 7165
                                                                                                                                 SAN FRANCISCO CA 94120



000064P001-1409A-265                         000065P001-1409A-265                      000217P001-1409A-265                      033056P001-1409A-265
NEVADA DIVISION OF ENVIRONMENT PROTECTION    NEVADA DIVISION OF FORESTRY               NEVADA OFFICE OF THE LABOR COMMISSIONER   NEVADA POWER CO
901 S STEWART                                2478 FAIRVIEW DR                          COMMISSIONER                              PO BOX 30086
STE 1003                                     CARSON CITY NV 89701                      555 E WASHINGTON AVE STE 4100             RENO NV 89520
CARSON CITY NV 89701-5249                                                              LAS VEGAS NV 89101




033056S001-1409A-265                         037222P001-1409A-265                      037222S001-1409A-265                      000438P001-1409A-265
NEVADA POWER CO                              NEVADA POWER CO DBA NV ENERGY             NEVADA POWER CO DBA NV ENERGY             NEVADA STATE TREASURER
6226 W SAHARA AVE                            PO BOX 10100                              SUSANA M GARCIA                           UNCLAIMED PROPERTY DIVISION
LAS VEGAS NV 89146                           RENO NV 89520                             6100 NEIL RD                              GRANT SAWYER BLDG
                                                                                       RENO NV 89511                             555 E WASHINGTON AVE STE 4200
                                                                                                                                 LAS VEGAS NV 89101



007124P001-1409A-265                         006639P001-1409A-265                      030452P001-1409A-265                      002530P001-1409A-265
MELANIE L NEVILL                             PAYTON L NEVILLE                          KIM NEVINGER                              KIMBERLY D NEVINGER
2915 OLD IRONSIDES RD                        3605 STARTOWN RD                          ADDRESS INTENTIONALLY OMITTED             4130 CESAR CHAVEZ ST
COLLEGE STATION TX 77845                     NEWTON NC 28658                                                                     APT 21
                                                                                                                                 SAN FRANCISCO CA 94131




033057P001-1409A-265                         033057S001-1409A-265                      029916P002-1409A-265                      029916S001-1409A-265
NEW BRAUNFELS UTILITIES                      NEW BRAUNFELS UTILITIES                   NEW ENGLAND DEVELOPMENT (LANDLORD)        NEW ENGLAND DEVELOPMENT (LANDLORD)
PO BOX 660                                   263 MAIN PLZ                              CAMBRIDGESIDE GALLERIA ASSOCIATES TRUST   CAMBRIDGESIDE GALLERIA ASSOCIATES TRUST
SAN ANTONIO TX 78293                         NEW BRAUNFELS TX 78130                    UBS REALTY INVESTORS LLC                  NEW ENGLAND DEVELOPMENT
                                                                                       10 STATE HOUSE SQ FL 15                   ONE WELLS AVE
                                                                                       HARTFORD CT 06103-3600                    NEWTON MA 02459



029917P001-1409A-265                         000333P001-1409A-265                      000066P001-1409A-265                      000218P001-1409A-265
NEW ENGLAND DEVELOPMENT (LANDLORD)           NEW HAMPSHIRE ATTORNEY GENERAL            NEW HAMPSHIRE DEPT OF                     NEW HAMPSHIRE DEPT OF LABOR
PALM BEACH OUTLETS I LLC                     JOSEPH A FOSTER                           ENVIRONMENTAL SVC                         COMMISSIONER
75 PK PLZ THIRD FL                           NH DEPARTMENT OF JUSTICE                  29 HAZEN DR                               95 PLEASANT ST
BOSTON MA 02116                              33 CAPITOL ST                             PO BOX 95                                 CONCORD NH 03301
                                             CONCORD NH 03301-6397                     CONCORD NH 03302-0095
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000142P001-1409A-265                             009766P001-1409A-265                             000439P001-1409A-265                            010544P001-1409A-265
NEW HAMPSHIRE DEPT OF REV ADMIN                  NEW HAMPSHIRE DEPT OF REVENUE ADMINISTRATION     NEW HAMPSHIRE TREASURER                         NEW HANOVER COUNTY TAX OFFICE
109 PLEASANT ST                                  PO BOX 637                                       UNCLAIMED PROPERTY DIVISION                     PO BOX 580070
CONCORD NH 03301                                 CONCORD NH 03302-0637                            25 CAPITOL ST                                   CHARLOTTE NC 28258-0070
                                                                                                  RM 121
                                                                                                  CONCORD NH 03301



033058P001-1409A-265                             033058S001-1409A-265                             000334P001-1409A-265                            000067P001-1409A-265
NEW JERSEY AMERICAN WATER                        NEW JERSEY AMERICAN WATER                        NEW JERSEY ATTORNEY GENERAL                     NEW JERSEY DEPT OF ENVIRONMENTAL PROTECTION
BOX 371331                                       1025 LAUREL OAK RD                               GURBIR S GREWAL                                 MARK N MAURIELLO
PITTSBURGH PA 15250                              VOORHEES NJ 08043                                RICHARD J HUGHES JUSTICE COMPLEX                401 E STATE ST
                                                                                                  25 MARKET ST 8TH FL WEST WING                   7TH FL EAST WING
                                                                                                  TRENTON NJ 08625                                TRENTON NJ 08625-0402



000219P001-1409A-265                             010443P001-1409A-265                             000143P001-1409A-265                            000440P001-1409A-265
NEW JERSEY DEPT OF LABOR                         NEW JERSEY DEPT OF LABOR AND                     NEW JERSEY DIVISION OF TAXATION                 NEW JERSEY UNCLAIMED PROPERTY DIVISION
COMMISSIONER                                     WORKFORCE DEVELOPMENT - DIV OF                   BANKRUPTCY SECTION                              PO BOX 214
1 JOHN FITCH PLZ                                 EMPLOYER ACCOUNTS                                PO BOX 245                                      TRENTON NJ 08695-0214
PO BOX 110                                       PO BOX 059                                       TRENTON NJ 08695-0245
TRENTON NJ 08625-0110                            TRENTON NJ 08625-0059



000335P001-1409A-265                             000220P001-1409A-265                             000441P001-1409A-265                            000068P001-1409A-265
NEW MEXICO ATTORNEY GENERAL                      NEW MEXICO DEPT OF LABOR                         NEW MEXICO DEPT OF REVENUE                      NEW MEXICO ENVIRONMENT DEPT
HECTOR BALDERAS                                  SECRETARY                                        UNCLAIMED PROPERTY DIVISION                     1190 ST FRANCIS DR STE N4050
408 GLISTEO ST                                   401 BROADWAY NE                                  PO BOX 8485                                     PO BOX 5469
VILLAGRA BLDG                                    PO BOX 1928                                      ALBUQUERQUE NM 87198-8485                       SANTA FE NM 87505
SANTA FE NM 87501                                ALBUQUERQUE NM 87102



000144P001-1409A-265                             034409P001-1409A-265                             037944S001-1409A-265                            990003P000-1409A-265
NEW MEXICO TAX AND REVENUE DEPT                  NEW RIVER ASSOCIATES                             NEW STYLE COLLECTION                            NEW STYLE COLLECTION
1100 SOUTH ST FRANCIS DR                         PO BOX 511256                                    AS ASSIGNEE OF: ANAN ENTERPRISES INC DBA        1458 S SAN PEDRO ST STE 134
LEGAL SERVICES BUREAU                            LOS ANGELES CA 90051-7811                        SARAH LA                                        LOS ANGELES CA 90015
SANTA FE NM 87504-0630                                                                            JOON M KHANG ATTORNEY
                                                                                                  4000 BARRANCA PKWY STE 250
                                                                                                  IRVINE CA 92604


037947P000-1409A-265                             037946P000-1409A-265                             037858P002-1409A-265                            037858S001-1409A-265
NEW STYLE COLLECTION/ ANAN INTERPRISES INC DB    NEW STYLE COLLECTION/ JESSMYN IN USA             NEW STYLE COLLECTION/ANAN ENTERPRISES DBA       NEW STYLE COLLECTION/ANAN ENTERPRISES DBA
TRANSFEROR: ANAN INTERPRISES INC DBA SARAH LA    TRANSFEROR: JESSMYN IN USA                       AS ASSIGNEE OF: ANAN ENTERPRISES DBA SARAH LA   AS ASSIGNEE OF: ANAN ENTERPRISES DBA SARAH LA
1458 S SAN PEDRO ST STE 134                      1458 S SAN PEDRO ST STE 134                      KYLE KIM                                        KHANG AND KHANG LLP
LOS ANGELES CA 90015                             LOS ANGELES CA 90015                             2080 E 25TH ST                                  4000 BARRANCA PKWY STE 250
                                                                                                  VERNON CA 90058                                 IRVINE CA 92604



030893S002-1409A-265                             037944P003-1409A-265                             037859P002-1409A-265                            037859S001-1409A-265
NEW STYLE COLLECTION/ANAN ENTERPRISES INC DBA    NEW STYLE COLLECTION/ANAN INTERPRISES            NEW STYLE COLLECTION/JESSMYN IN USA             NEW STYLE COLLECTION/JESSMYN IN USA
                                                 AS ASSIGNEE OF: ANAN INTERPRISES DBA             AS ASSIGNEE OF:JESSMYN IN USA                   AS ASSIGNEE OF: JESSMYN IN USA
                                                 SARAH LA                                         KYLE KIM                                        JOON KHANG
                                                 1458 SOUTH SAN PEDRO STE 134                     1658 TARLETON ST                                4000 BARRANCA PARKWAY STE 250
                                                 LOS ANGELES CA 90015                             LOS ANGELES CA 90021-3120                       IRVINE CA 92604
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033059P001-1409A-265             033059S001-1409A-265                        000336P001-1409A-265                000145P001-1409A-265
NEW YORK AMERICAN WATER          NEW YORK AMERICAN WATER                     NEW YORK ATTORNEY GENERAL           NEW YORK CITY DEPT OF FINANCE
PO BOX 371332                    60 BROOKLYN AVENUE?                         LETITIA JAMES                       1 CENTRE ST MUNICIPAL BLDG 500
PITTSBURGH PA 15250              MERRICK NY 11566                            DEPT OF LAW                         NEW YORK NY 10007
                                                                             THE CAPITOL 2ND FL
                                                                             ALBANY NY 12224-0341



000221P001-1409A-265             000146P001-1409A-265                        010600P001-1409A-265                000391P001-1409A-265
NEW YORK DEPT OF LABOR           NEW YORK DEPT OF TAX AND FINANCE            NEW YORK DEPT OF TAXATION           NEW YORK STATE
COMMISSIONER                     BANKRUPTCY SECTION                          CAPITAL REGION OFFICE               CONSUMER PROTECTION BOARD
STATE CAMPUS BLDG 12 RM 500      PO BOX 5300                                 WADE RD                             5 EMPIRE STATE PLZ
ALBANY NY 12240                  ALBANY NY 12205-0300                        ALBANY NY 12227-0001                STE 2101
                                                                                                                 ALBANY NY 12223-1556



000442P001-1409A-265             010331P001-1409A-265                        032311P001-1409A-265                000069P001-1409A-265
NEW YORK STATE COMPTROLLER       NEW YORK STATE CORP TAX                     NEW YORK STATE CORP TAX             NEW YORK STATE DEPT OF ENVIRONMENTAL
OFFICE OF UNCLAIMED FUNDS        PO BOX 4136                                 NYS DEPT OF TAXATION AND FINANCE    CONSERVATION
110 STATE ST                     BINGHAMTON NY 13902-4136                    CORP-V                              625 BROADWAY
ALBANY NY 12236                                                              PO BOX 15163                        ALBANY NY 12233-0001
                                                                             ALBANY NY 12212-5163



032312P001-1409A-265             032313P001-1409A-265                        010454P001-1409A-265                003099P001-1409A-265
NEW YORK STATE INSURANCE FUND    NEW YORK STATE OFFICE OF                    NEW YORK STATE SALES TAX            TAMRA H NEWCOMER
DISABILITY BENEFITS              THE STATE COMPTROLLER                       PO BOX 1208                         18105 AMBERLY LN
PO BOX 5239                      OFFICE OF UNCLAIMED FUNDS                   NEW YORK NY 10116-1208              SOUTH BEND IN 46637
NEW YORK NY 10008-5239           110 STATE ST
                                 REMITTANCE CONTROL 2ND FL
                                 ALBANY NY 12236


001494P001-1409A-265             036676P001-1409A-265                        030494P001-1409A-265                031440P001-1409A-265
ZYANYA A NEWE                    NEWMAN AND ASSOCIATES                       MAGDALENE NEWMAN                    NEWPARK MALL LP
6 SAPPHIRE RD                    28 DOUGLAS ST                               ADDRESS INTENTIONALLY OMITTED       ROUSE PROPERTIES
OCALA FL 34472                   WORCESTER MA 01603-2849                                                         1114 AVE F THE AMERICAS
                                                                                                                 STE 2800
                                                                                                                 NEW YORK NY 10036



037405P001-1409A-265             031441P001-1409A-265                        034342P001-1409A-265                037637P003-1409A-265
NEWPARK MALL LP                  NEWPORT CENTER                              NEWPORT CENTER LLC                  NEWPORT CENTRE LLC
BROOKFIELD PROPERTY REIT INC     NEWPORT CENTER LLC                          867545 RELIABLE PKWY                A DELAWARE LIMITED LIABILITY CO
JULIE M BOWDEN                   867545 RELIABLE PKWY                        CHICAGO IL 60686-0075               SIMON PROPERTY GROUP LP RONALD M TUCKER
350 N ORLEANS ST STE 300         CHICAGO IL 60686-0075                                                           225 WEST WASHINGTON ST
CHICAGO IL 60654-1607                                                                                            INDIANAPOLIS IN 46204



033060P001-1409A-265             033060S001-1409A-265                        029918P001-1409A-265                029918S001-1409A-265
NEWPORT NEWS WATERWORKS          NEWPORT NEWS WATERWORKS                     NEWQUEST (LANDLORD)                 NEWQUEST (LANDLORD)
PO BOX 979                       700 TOWN CTR DR                             AL 95 CREEKSIDE TC PHASE 2 LP       AL 95 CREEKSIDE TC PHASE 2, LP
NEWPORT NEWS VA 23607            NEWPORT NEWS VA 23606                       NEWQUEST PROPERTIES                 NEWQUEST PROPERTIES
                                                                             8827 W SAM HOUSTON PKWY N STE 200   LEGAL DEPARTMENT
                                                                             HOUSTON TX 77040                    8827 W SAM HOUSTON PKWY N STE 200
                                                                                                                 HOUSTON TX 77040
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008255P001-1409A-265             002812P001-1409A-265                     030420P001-1409A-265                      006093P001-1409A-265
MYA L NEWSHOLME                  JALONI J NEWSOM                          JOSH NEWSOM                               ZARIA M NEWSOM
504 LIGHTHOUSE DR                3701 W BENJAMIN HOLT DR                  ADDRESS INTENTIONALLY OMITTED             1105 PALMER RD
MANAHAWKIN NJ 08050              149                                                                                MEMPHIS TN 38116
                                 STOCKTON CA 95219




008457P001-1409A-265             002424P001-1409A-265                     007274P001-1409A-265                      007020P001-1409A-265
EMANI A NEWTON                   JANEA L NEWTON                           JASMINE NEWTON                            JOY E NEWTON
215 ELANA LN                     280 GRANGER VIEW CIR                     10680 WARD RD                             253 37TH PL SE
STAFFORD TX 77477                FRANKLIN TN 37064                        WHITAKERS NC 27891                        AUBURN WA 98002




003196P001-1409A-265             035860P001-1409A-265                     032314P001-1409A-265                      032315P002-1409A-265
RACHEL M NEWTON                  RAVEN M NEWTON                           NEXCESS                                   NEXGEN PACKAGING
441 LONE OAKS LOOP               4607 PINE BLVD                           21700 MELROSE AVE                         RACHELLE FISHER
SILVERTON OR 97381               ORANGE BEACH AL 36561                    SOUTHFIELD MI 48075                       1010 EXECUTIVE CT
                                                                                                                    WESTMONT IL 60559




033691P001-1409A-265             032316P002-1409A-265                     033692P001-1409A-265                      033305P001-1409A-265
NEXT GENERATION FULTON LLC       NEXT MANAGEMENT LLC                      NEXT WEEK COMMERICAL DBA SPARKLE FRIDAY   NEXVISIONIX INC
CROWN ACQUISITIONS INC           MILIE PELLET                             1167 MORENA BLVD                          DELIA KELLY
767 5TH AVE                      15 WATTS ST                              SAN DIEGO CA 92110                        2 PETERS CANYON RD
24TH FLOOR                       NEW YORK NY 10013                                                                  STE 200
NEW YORK NY 10153                                                                                                   IRVINE CA 92606



005347P001-1409A-265             030650P001-1409A-265                     001548P001-1409A-265                      009504P001-1409A-265
WABATHI NGECU                    TIAISHIA NGIGE                           TIAISHIA A NGIGE                          VICTORIA NGO
4806 STONE SHOP CIR              ADDRESS INTENTIONALLY OMITTED            2650 N FIZTHUGH AVE                       8411 WALKER ST
OWINGS MILLS MD 21117                                                     APT 1512                                  PHILADELPHIA PA 19136
                                                                          DALLAS TX 75204




030485P001-1409A-265             004940P001-1409A-265                     005498P001-1409A-265                      009120P001-1409A-265
LOAN H NGUY                      ALINA NGUYEN                             CHRISTINA NGUYEN                          ELISA NGUYEN
ADDRESS INTENTIONALLY OMITTED    5419 DEWEY AVE                           27 GREY MEADOW DR                         12977 N 50TH ST
                                 SAINT LOUIS MO 63116                     BURLINGTON VT 05408                       212A
                                                                                                                    TAMPA FL 33617




002089P001-1409A-265             006577P001-1409A-265                     001521P001-1409A-265                      008952P001-1409A-265
HONG NGUYEN                      IVON NGUYEN                              JENNA P NGUYEN                            JENNIFER NGUYEN
3212 TEN ACRE RD                 11912 CASTLEFORD WAY                     115 NORTH BIRCHER ST                      55 BONCOUER RD
PANAMA CITY FL 32405             CROWLEY TX 76036                         ANAHEIM CA 92801                          CHELTENHAM PA 19012
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005220P001-1409A-265                       000533P001-1409A-265                             004067P001-1409A-265                         005209P001-1409A-265
KAYCEE L NGUYEN                            KENNY N NGUYEN                                   LILIAN S NGUYEN                              NATALIE A NGUYEN
6813 VANCE ST                              355 E PRIMM BLVD PMB 5457                        18 ROCKEFELLER ST                            2343 55TH ST
ARVADA CO 80003                            5457                                             RANDOLPH MA 02368                            SAN DIEGO CA 92105
                                           PRIMM NV 89019




001951P001-1409A-265                       000561P001-1409A-265                             033376P001-1409A-265                         035436P001-1409A-265
SUSAN NGUYEN                               TAMMIE M NGUYEN                                  THI MINH NGUYEN                              THU A NGUYEN
3656 DUNBAR AVE SW APTA1                   505 E SHERIDAN AVE                               MINH THI NGUYEN                              524 PANORAMA DR
APTA1                                      APT 2168                                         33007 ARIZONA ST                             SAN FRANCISCO CA 94131
WYOMING MI 49509                           OKLAHOMA CITY OK 73104                           UNION CITY CA 94587




002979P001-1409A-265                       008402P001-1409A-265                             009511P001-1409A-265                         009452P001-1409A-265
THU ANH NGUYEN                             THUY H NGUYEN                                    VANNA NGUYEN                                 VIVIAN D NGUYEN
524 PANORAMA DR                            5111 KYLIE SPRINGS LN                            1 DEWAR DR                                   6134 VANDEN RD
SAN FRANCISCO CA 94131                     HOUSTON TX 77066                                 WORCESTER MA 01603                           VACAVILLE CA 95687




005425P001-1409A-265                       037475P001-1409A-265                             034312P001-1409A-265                         029919P001-1409A-265
TIFFANY J NHAN                             TIFFANY J NHAN                                   NHR NEWCO HOLDINGS LLC                       NIAGARA FALLS BOULEVARD (LANDLORD)
20 WASHBURN ST                             TIFFANY NHAN                                     6500 HOLLISTER AVE STE 210                   GCCFC2007GG9 NIAGARA FALLS BLVD
WORCESTER MA 01610                         20 WASHBURN ST                                   SANTA BARBARA CA 93117                       LNR PARTNERS LLC
                                           WORCESTER MA 01610                                                                            1601 WASHINGTON AVE STE 700
                                                                                                                                         MIAMI BEACH FL 33139



036869S001-1409A-265                       034920P001-1409A-265                             036869P001-1409A-265                         029919S001-1409A-265
NIAGARA FALLS BOULEVARD LLC                NIAGARA FALLS BOULEVARD LLC ZAMIAS SVC INC       NIAGARA FALLS BOULEVARD LLC ZAMIAS SVC INC   NIAGARA FALLS BOULEVARD, LLC (LANDLORD)
ZAMIAS SVC INC                             ZAMIAS SVC INC                                   GCCFC2007GG9 NIAGARA FALLS BLVD              ZAMIAS SERVICES, INC
500 GALLERIA DR STE 287                    500 GALLERIA DR                                  LNR PARTNERS LLC                             PO BOX 5540
JOHNSTOWN PA 15904                         STE #287                                         1601 WASHINGTON AVE STE 700                  JOHNSTOWN PA 15904
                                           JOHNSTOWN PA 15904                               MIAMI BEACH FL 33139



029919S002-1409A-265                       002106P001-1409A-265                             035861P001-1409A-265                         032317P001-1409A-265
NIAGARA FALLS BOULEVARD, LLC (LANDLORD)    CECILIA NICASIO CHAVEZ                           CHAVEZ CECILIA NICASIO                       NICHA PETPRASERT
ZAMIAS SERVICES, INC                       800 HILL AVE LOT 201                             800 HILL AVE LOT 201                         563 40TH ST APT 1
500 GALLERIA DR STE 287                    AURORA IL 60505                                  AURORA IL 60505                              BROOKLYN NY 11232
JOHNSTOWN PA 15904




032318P001-1409A-265                       008633P001-1409A-265                             036375P001-1409A-265                         006178P001-1409A-265
NICHOLAS E GRENNON                         MONIQUE NICHOLAS                                 AMANDA NICHOLS                               JADEN Y NICHOLS
228 JEFFERSON ST                           2035 CAPSTONE CT                                 4934 ASPEN ST                                219 OKTIBBEHA ST
APT 3R                                     ROCK HILL SC 29732                               FIRESTONE CO 80504                           HATTIESBURG MS 39401
BROOKLYN NY 11237
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033382P001-1409A-265             007248P001-1409A-265                    005413P001-1409A-265               005766P001-1409A-265
ELIZABETH ANN NICKELS            JASMINE NICKENS                         MADISON NICKLES                    BROOKE A NICKS
3462 EVAN BROOKE DR SW           7 JAYSTONE CT                           501 DELMAR RD                      3915 UPMANN DR
WYOMING MI 49418                 SILVER SPRING MD 20905                  JACKSONVILLE NC 28540              ROCKLEDGE FL 32955




032320P001-1409A-265             007581P001-1409A-265                    035862P001-1409A-265               001174P002-1409A-265
NICOLAS EVAN MARANGA             JENNIFAR L NICOLAS                      KELLEE Y NICOLAS                   LAKISHA A NICOLAS
31849 SADDLETREE DR              1029 NW 12TH ST                         1003 TOWER BLVD                    675 NW 56TH ST APT 305
WESTLAKE VILLAGE CA 91361        FORT LAUDERDALE FL 33311                LAKE WALES FL 33853                MIAMI FL 33127-1580




037807P001-1409A-265             033061S001-1409A-265                    030288P001-1409A-265               001049P001-1409A-265
NICOLE CUNNINGHAM                NICOR GAS                               CORY NIEDERHAUS                    CORY A NIEDERHAUS
13924 OCOTILLO RD                PO BOX 190                              ADDRESS INTENTIONALLY OMITTED      53 PLYMOUTH AVE
DESERT HOT SPRINGS CA 92240      AURORA IL 60507-0190                                                       MT. SINAI NY 11766




030305P001-1409A-265             002079P001-1409A-265                    030460P001-1409A-265               003788P001-1409A-265
DAYNA NIEDERSCHUH                DAYNA J NIEDERSCHUH                     KRISTIN NIEHL                      AIMEE L NIES
ADDRESS INTENTIONALLY OMITTED    10208 PLYMOUTH                          ADDRESS INTENTIONALLY OMITTED      905 COMMONWEALTH BLVD
                                 OKLAHOMA CITY OK 73159                                                     MANCHESTER NJ 08759




001156P001-1409A-265             005258P001-1409A-265                    007748P001-1409A-265               006328P001-1409A-265
LETICIA NIETO                    DAYANA NIEVES                           JACKELINE NIEVES                   JARIMAR NIEVES
3130 CRESTDALE DR                CALLE FENIX G7 URB LAS GAVIO            1514 CLAY AVE                      2731 GARFIELD AVE
APT 1136                         TOA BAJA PR 00949                       DUNMORE PA 18509                   CAMDEN NJ 08105
HOUSTON TX 77080-3935




004917P001-1409A-265             008382P001-1409A-265                    005331P001-1409A-265               035863P001-1409A-265
KAMILA NIEVES                    SHALIYAH P NIEVES                       VANESSA M NIEVES                   WENDENDA MA NIKIEMA-OUEDRAOGO
CARR 167                         22 WADSWORTH ST                         12 OAKLAND AVE                     2206 BRIGHTSEAT RD
BO CUCHILLAS                     MANCHESTER CT 06040                     3                                  APT 201
MOCA PR 00676                                                            CRANSTON RI 02910                  LANDOVER MD 20785




005302P001-1409A-265             032322P001-1409A-265                    033413P001-1409A-265               036272P001-1409A-265
WENDENDA MA NIKIEMAOUEDRAOGO     NINA WESTERVELT                         NING CHIU AND CO INC DBA DAVINCI   NINGBO ORIENT HONGYE IMP AND EXP
1242 NORTHPOINT DR               VITTORIA NINA WESTERVELT                50 DIVISION ST STE 501             NO 281 QIYUN ROAD DUAN TANG NAN MEN
D                                NINA WESTERVELT                         SOMERVILLE NJ 08876                NINGBO ZHEJIANG PROVINCE 315012
SAN FRANCISCO CA 94130           190 WITHERS ST                                                             CHINA
                                 #2
                                 BROOKLYN NY 11211
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030819P001-1409A-265                       035298P001-1409A-265                     006395P001-1409A-265            037430P001-1409A-265
NINGBO ORIENT HONGYE IMP AND EXP CO LTD    JACOB NINO                               BREEANN S NISHIDA               BREEANN S NISHIDA
RICHARD WEINSIEDER                         10631 E CERULEAN WAY                     28581 AUTHURIUM WAY             BREEANN NISHIDA
NO 281 QIYUN RD DUAN TANG                  TUCSON AZ 85747                          MURRIETA CA 92563               2542 SARATOGA AVE
NAN MEN NINGBO                             UNITED STATES                                                            CONCORD CA 94519
ZHEJIANG PROVINCE 315012
CHINA


031442P001-1409A-265                       034152P001-1409A-265                     003227P001-1409A-265            010226P001-1409A-265
NITTANY CENTRE REALTY LLC                  NITTANY CENTRE REALTY LLC                AMANDA NITTOLO                  JAMES P NIX JR
NAMDAR REALTY GROUP                        150 GREAT NECK RD STE 304                703 KENSINGTON CT               BALDWIN COUNTY REVENUE COMMI
150 GREAT NECK RD STE 304                  GREAT NECK NY 11021                      BREWSTER NY 10509               PO BOX 1549
GREAT NECK NY 11021                                                                                                 BAY MINETTE AL 36507-1549




005845P001-1409A-265                       001892P001-1409A-265                     006627P001-1409A-265            037918P001-1409A-265
DELLA NIX                                  SYDNEY L NIXON                           KASSIDY E NIZIOLEK              NJ -DEPARTMENT OF TREASURY
22 4TH CT WEST                             2324 NW 112TH ST                         617 S 32ND ST                   DIVISION OF TAXATION
BIRMINGHAM AL 35204                        OKC OK 73120                             SOUTH BEND IN 46615             PO BOX 245
                                                                                                                    TRENTON NJ 08695




033062P001-1409A-265                       033062S001-1409A-265                     034001P002-1409A-265            035296P001-1409A-265
NJ NATURAL GAS CO                          NJ NATURAL GAS CO                        NJ NATURAL GAS CO               NJ- DEPT OF TREASURY
PO BOX 11743                               1415 WYCKOFF RD                          FRANK TORELLO                   UNCLAIMED PROPERTY
NEWARK NJ 07101                            WALL NJ 07719                            1415 WYCKOFF RD                 STEVE HARRIS
                                                                                    PO BOX 1378                     PO BOX 214
                                                                                    WALL NJ 07719                   TRENTON NJ 08625



009767P002-1409A-265                       010450P002-1409A-265                     036839P002-1409A-265            001734P001-1409A-265
NJ- DIVISION OF TAXATION                   NM- DONA ANA COUNTY TREASURER            NM- TAXATION AND REVENUE DEPT   DIANA V NOCELOTL
BANKRUPTCY SECTION                         ERIC RODRIGUEZ                           LISA ELA                        311 SIMMS ST
M UMAR A BUTT                              845 N MOTEL BLVD                         PO BOX 8575                     AURORA IL 60505
PO BOX 245                                 LAS CRUCES NM 88007                      ALBUQUERQUE NM 87198-8575
TRENTON NJ 08695



001419P001-1409A-265                       006400P001-1409A-265                     005653P001-1409A-265            037290P001-1409A-265
RAELYNN A NOEL                             BRIANNA N NOGALES                        ISABELLE NOGOY                  ISABELLE NOGOY
11870 MEADOW WOOD WAY                      17100 31ST DR SE                         4545 17TH AVE NE                ISABELLE NOGOY
MORENO VALLEY CA 92557-6216                BOTHELL WA 98012                         SEATTLE WA 98105                716 TUFTS AVE E
                                                                                                                    PORT ORCHARD WA 98366




003056P001-1409A-265                       007501P001-1409A-265                     006599P001-1409A-265            005926P001-1409A-265
JENNIFER NOLASCO                           GRACE A NOLEN                            TANNER R NOLL                   KAITLYN NOLTING
1472 W 47TH ST                             1703 ELECTRIC ST                         1902 SE ESTERBROOK ST           6443 NESBIT ST
LOS ANGELES CA 90062                       DUNMORE PA 18509                         PORT ST LUCIE FL 34983          COALMONT IN 47845
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005926S001-1409A-265               037320P001-1409A-265                            003600P001-1409A-265           007285P001-1409A-265
KAITLYN NOLTING                    NOMAD MANAGEMENT LOS ANGELES LLC                KIANNA NOMURA                  CHLOE NORA
PO BOX 83                          NOMAD MGMT LOS ANGELES                          94-304 KEAOOPUA ST             1931 BURFOOT ST
COALMONT IN 47845                  GIOVANNI BERNARDI                               MILILANI HI 96789              FALLS CHURCH VA 22043
                                   8430 SANTA MONICA BLVD # 204
                                   WEST HOLLYWOOD CA 90069



005858P001-1409A-265               008305P001-1409A-265                            001536P001-1409A-265           035864P001-1409A-265
TATIANA L NORBERT                  LAUREN T NORDMAN                                AMBER NORDQUIST                AMBER NORDQUIST
10704 GUNGROVE DR                  19800 SASSAFRASS DR                             4604 S LOUISE AVE              393 9TH AVE
UNIT B                             LITTLE ROCK AR 72206                            SIOUX FALLS SD 57106-2219      WALCOTT ND 58077
AUSTIN TX 78750




010264P001-1409A-265               004623P001-1409A-265                            003429P001-1409A-265           004331P001-1409A-265
NORFOLK CITY TREASURER             JENNIFER NORIA                                  MARGARET J NORIEGA RUIZ        KIANNA R NORIEGA
COMMISSIONER OF THE REVENUE        4009 LANFORD RD                                 155 E SUNSET ST                2030 PHILLIPS RD
PO BOX 2260                        MISSION TX 78574                                LONG BEACH CA 90805            NEW BEDFORD MA 02745
NORFOLK VA 23501-2260




000996P001-1409A-265               035865P001-1409A-265                            006170P001-1409A-265           036736P001-1409A-265
RICARDO NORIEGA                    RUIZ MARGARET J NORIEGA                         KEELASHAY NORMAN               ROCHE NORMARY
1A4-4 SAN RAFAEL                   155 E SUNSET ST                                 2936 SIXTH ST                  64 ALLEN AVE APT 199
CAGUAS PR 00725                    LONG BEACH CA 90805                             MUSKEGON HEIGHTS MI 49444      MERIDEN CT 06451




004657P001-1409A-265               003019P001-1409A-265                            005423P001-1409A-265           002201P001-1409A-265
SANDRA C NORRINGTON                ASHLEY NORRIS                                   AUBREY NORRIS                  BRIANNA NORRIS
8356 104TH AVE                     1134 CROSS VLY COVE                             411 MARYLAND ST                83 PEARLHARBOR PL
VERO BEACH FL 32967                CORDOVA TN 38018                                PARKER CITY IN 47368           BRIDGEPORT CT 06610




006066P001-1409A-265               003282P001-1409A-265                            003462P001-1409A-265           006386P001-1409A-265
CHRISTAL L NORRIS                  HALEY M NORRIS                                  JOY NORRIS                     SAMANTHA G NORSWORTHY
4060 BISCAYNE RD                   102 BROWNLEA DR                                 544 SPUR DR NORTH              205 WILLOW COVE
INDIANAPOLIS IN 46226              14                                              BAY SHORE NY 11706             PADUCAH KY 42003
                                   GREENVILLE NC 27858




000337P001-1409A-265               000070P001-1409A-265                            000222P001-1409A-265           000147P001-1409A-265
NORTH CAROLINA ATTORNEY GENERAL    NORTH CAROLINA DEPT OF ENVIRONMENTAL            NORTH CAROLINA DEPT OF LABOR   NORTH CAROLINA DEPT OF REVENUE
JOSH STEIN                         AND NATURAL RESOURCES                           COMMISSIONER                   501 N WILMINGTON ST
DEPT OF JUSTICE                    3800 BARRETT DR                                 1101 MAIL SERVICE CTR          RALEIGH NC 27604
PO BOX 629                         RALEIGH NC 27609                                RALEIGH NC 27699-1101
RALEIGH NC 27602-0629
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010173P001-1409A-265                   010494P001-1409A-265                            000071P001-1409A-265                            000443P001-1409A-265
NORTH CAROLINA DEPT OF REVENUE         NORTH CAROLINA DEPTOF REVENUE                   NORTH CAROLINA ENVIRONMENT AND                  NORTH CAROLINA STATE TREASURER
PO BOX 871                             PO BOX 25000                                    NATURAL RESOURCES                               UNCLAIMED PROPERTY DIVISION
RALEIGH NC 27602                       RALEIGH NC 27640-0001                           3800 BARRETT DR                                 325 N SALISBURY ST
                                                                                       RALEIGH NC 27609                                RALEIGH NC 27603




031443P001-1409A-265                   031444P001-1409A-265                            036916P001-1409A-265                            000338P001-1409A-265
NORTH CHARLESTON JOINT VENTURE         NORTH COUNTY FAIR                               NORTH COUNTY FAIR LP AND                        NORTH DAKOTA ATTORNEY GENERAL
PO BOX 74892                           FILE # 55697                                    EWH ESCONDIDO ASSOCIATES LP                     WAYNE STENEHJEM
CLEVELAND OH 44194-4892                LOS ANGELES CA 90074-5697                       LECLAIRRYAN PLLC                                600 E BLVD AVE
                                                                                       545 LONG WHARF DR 9TH FL                        DEPT 125
                                                                                       NEW HAVEN CT 06511                              BISMARCK ND 58505-0040



000072P001-1409A-265                   000148P001-1409A-265                            035401P001-1409A-265                            000444P001-1409A-265
NORTH DAKOTA DEPT OF HEALTH            NORTH DAKOTA OFFICE OF STATE TAX COMMISSIONER   NORTH DAKOTA OFFICE OF STATE TAX COMMISSIONER   NORTH DAKOTA STATE LAND DEPT
ENVIRONMENTAL HEALTH                   STATE CAPITOL 600 E BLVD AVE                    SALES TAX                                       UNCLAIMED PROPERTY DIVISION
918 EAST DIVIDE AVE                    BISMARC ND 58505                                PO BOX 5623                                     1707 NORTH 9TH ST
BISMARCK ND 58501-1947                                                                 BISMARCK ND 58506-5623                          PO BOX 5523
                                                                                                                                       BISMARK ND 58506-5523



000073P001-1409A-265                   000223P001-1409A-265                            031445P001-1409A-265                            009896P001-1409A-265
NORTH DAKOTA STATE WATER COMMISSION    NORTH DAKOTADEPARTMENT OF LABOR                 NORTH EAST MALL                                 NORTH HILLS SCHOOL DISTRICT
900 EAST BLVD AVE                      COMMISSIONER                                    SIMON PROPERTY GRPTXLP                          135 SIXTH AVE
BISMARCK ND 58505-0850                 STATE CAPITOL BLDG                              867729 RELIABLE PKWY                            PITTSBURGH PA 15229-1291
                                       600 EAST BLVD DEPT 406                          CHICAGO IL 60686-0077
                                       BISMARK ND 58505



033063P001-1409A-265                   033063S001-1409A-265                            037720P002-1409A-265                            034977P001-1409A-265
NORTH LITTLE ROCK ELECTRIC             NORTH LITTLE ROCK ELECTRIC                      NORTH LITTLE ROCK ELECTRIC                      NORTH PARK
PO BOX 936                             120 MAIN ST                                     BOBBIE L BURKS                                  NORTHPARK PARTNERS LP
N LITTLE ROCK AR 72115                 NORTH LITTLE ROCK AK 72114                      PO BOX 936                                      8080 NORTH CENTRAL EXPWY
                                                                                       NORTH LITTLE ROCK AR 72115                      STE 1100
                                                                                                                                       DALLAS TX 75206-1807



029920P001-1409A-265                   031446P001-1409A-265                            031447P001-1409A-265                            037502P001-1409A-265
NORTH PARK (LANDLORD)                  NORTH PARK MERCHANTS ASSOCIATION                NORTH PARK PARTNERS LP                          NORTH POINT MALL LLC
NORTHPARK PARTNERS LP                  PO BOX 612083                                   PO BOX 226864                                   BROOKFIELD PROPERTY REIT INC
8080 NORTH CENTRAL EXPWY STE 1100      DALLAS TX 75361-2083                            DALLAS TX 75222-6864                            JULIE M BOWDEN
DALLAS TX 75206-1807                                                                                                                   350 N ORLEANS ST STE 300
                                                                                                                                       CHICAGO IL 60654-1607



037519P001-1409A-265                   031448P002-1409A-265                            031449P001-1409A-265                            010602P001-1409A-265
NORTH POINT MALL LLC                   NORTH POINT MALL, LLC                           NORTH RIVERSIDE PARK ASSOCIATE                  NORTH SHORE MANAGEMENT
AKA NORTH POINT MALL UNIT 2040         GGPLP REAL ESTATE INC                           PO BOX 601399                                   400 SKOKIE BLVD
BROOKFIELD PROPERTY REIT INC           350 N ORLEANS ST STE 300                        CHARLOTTE NC 28260-1399                         STE 875
350 N ORLEANS ST STE 300               CHICAGO IL 60654-1607                                                                           NORTHBROOK IL 60062
CHICAGO IL 60654-1607
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037166P001-1409A-265                   006380P001-1409A-265                           030363P001-1409A-265                 000953P001-1409A-265
NORTH WALES WATER AUTHORITY            AIYANA F NORTH                                 HEATHER NORTH-BECERRA                HEATHER S NORTHBECERRA
PO BOX 1339                            6502 182ND PL SW                               ADDRESS INTENTIONALLY OMITTED        6155 FLORIDA ST
NORTH WALES PA 19454                   LYNNWOOD WA 98037                                                                   DETROIT MI 48210-1973




031047P001-1409A-265                   000339P001-1409A-265                           035235P001-1409A-265                 033064P001-1409A-265
NORTHERN GIFTS INC                     NORTHERN MARIANA ISLANDS ATTORNEY GENERAL      NORTHERN STATES POWER CO DBA         NORTHERN VIRGINIA ELEC COOP
250 H ST PMB 882                       EDWARD MANIBUSAN                               XCEL ENERGY                          PO BOX 34795
BLAINE WA 98230                        ADMINISTRATION BLDG                            BANKRUPTCY DEPT                      ALEXANDRIA VA 22334
                                       PO BOX 10007                                   PO BOX 9477
                                       CAPITOL HILL                                   MINNEAPOLIS MN 55484
                                       SAIPAN MP 96950-8907


033064S001-1409A-265                   005605P001-1409A-265                           036929P001-1409A-265                 036929S001-1409A-265
NORTHERN VIRGINIA ELEC COOP            RYNIAH A NORTHERN                              NORTHFIELD STAPLETON ASSOC LLC       NORTHFIELD STAPLETON ASSOC LLC
CORPORATE                              327 SHERBORNE LN                               QIC PROPERTIES US INC                KELLEY DRYE AND WARREN LLP
PO BOX 2710                            KISSIMMEE FL 34758                             JOAN GLENN-KATZAKIS                  ROBERT L LEHANE
MANASSAS VA 20108                                                                     600 SUPERIOR AVE EAST STE 1500       101 PARK AVE
                                                                                      CLEVELAND OH 44114                   NEW YORK NY 10178



031450P001-1409A-265                   034927P001-1409A-265                           029921P001-1409A-265                 029921S001-1409A-265
NORTHFIELD STAPLETON ASSOCIATES LLC    NORTHGATE ASSOCIATES                           NORTHGATE ASSOCIATES (LANDLORD)      NORTHGATE ASSOCIATES (LANDLORD)
600 SUPERIOR AVE EAST                  NW NORTHGATE MALL LLC                          NW NORTHGATE MALL LLC                NW NORTHGATE MALL LLC
STE 1500                               NORTHWOOD INVESTORS                            MICHAEL O'SHAUGHNESSY                NORTHWOOD RETAIL
CLEVELAND OH 44114                     575 FIFTH AVE                                  1819 WAZEE STREE                     JONATHAN STEWART
                                       23RD FL                                        DENVER CO 80202                      1058 W CLUB BLVD STE 200
                                       NEW YORK NY 10017                                                                   DURHAM NC 27701


029921S002-1409A-265                   031451P001-1409A-265                           037742P001-1409A-265                 031452P001-1409A-265
NORTHGATE ASSOCIATES (LANDLORD)        NORTHGATE MALL DURHAM LLC                      NORTHPARK MALL LIMITED PARTNERSHIP   NORTHPARK MALL-JOPLIN LLC
NW NORTHGATE MALL LLC                  1058 WEST CLUB BLVD                            BALLARD SPAHR LLP                    CBL AND ASSOCIATES LIMITED PARTN
NORTHWOOD INVESTORS                    STE 200                                        DUSTIN P BRANCH                      2030 HAMILTON PL BLVD
MARSHALL NEVINS                        DURHAM NC 27701                                2029 CENTURY PARK EAST STE 800       #500
575 FIFTH AVE 23RD FL                                                                 LOS ANGELES CA 90067-2909            CHATTANOOGA TN 37421-6000
NEW YORK NY 10017


031453P001-1409A-265                   034413P001-1409A-265                           035063P001-1409A-265                 029922P001-1409A-265
NORTHPARK MERCHANTS ASSOC              NORTHPARK MERCHANTS ASSOCIATION                NORTHPARK PARTNERS                   NORTHPARK PARTNERS (LANDLORD)
MELINDA SWEENEY                        PO BOX 612083                                  NORTH PARK PARTNERS LP               NORTH PARK PARTNERS LP
PO BOX 612083                          DALLAS TX 75261-2083                           8080 NORTH CENTRAL EXPRESS WAY       8080 NORTH CENTRAL EXPRESS WAY STE 1100
DALLAS TX 75261-2083                                                                  STE 1100                             DALLAS TX 75206-1807
                                                                                      DALLAS TX 75206-1807



037007P001-1409A-265                   031454P001-1409A-265                           034327P001-1409A-265                 031455P001-1409A-265
NORTHPARK PARTNERS LP                  NORTHPARK PARTNERS, LP                         NORTHPARK PARTNERS, LP               NORTHPARK REALTY LP
JAMES BILLINGSLEY                      MELINDA SWEENEY                                8080 N CENTRAL EXPWY                 PO BOX 21161
POLSINELLI PC                          8080 N CENTRAL EXPWY                           STE 1100                             NEW YORK NY 10087-1161
2950 N HARWOOD ST                      STE 1100                                       DALLAS TX 75206
STE 2100                               DALLAS TX 75206
DALLAS TX 75201
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033801P001-1409A-265                    036682P001-1409A-265                      031456P001-1409A-265             031457P002-1409A-265
NORTHRIDGE GP LLC                       NORTHRIDGE GP LLC                         NORTHWOODS MALL                  NORTHWOODS MALL CMBS LLC
BPR-FF LLC                              350 N ORLEANS ST STE 300                  SIMON PROPERTY GROUP             BY CBL AND ASSOCIATES MANAGEMENT INC
JILLIANA VELARDE                        CHICAGO IL 60654-1607                     NORTHWOODS DEVELOPMENT CO        GARY RODDY
350 N ORLEANS ST                                                                  867950 RELIABLE PKWY             2030 HAMILTON PL BLVD STE 500
STE 300                                                                           CHICAGO IL 60686-0079            CHATTANOOGA TN 37421-6000
CHICAGO IL 60654-1607


031457S001-1409A-265                    036930P001-1409A-265                      036930S001-1409A-265             006389P002-1409A-265
NORTHWOODS MALL CMBS LLC                NORTHWOODS SHOPPING CENTER LLC            NORTHWOODS SHOPPING CENTER LLC   BREANNE M NORTON
BY CBL AND ASSOCIATES MANAGEMENT INC    WASHINGTON PRIME GROUP INC                STEPHEN E IFEDUBA                2800 S HIGHLAND MESA RD
CALEB HOLZAEPFEL                        FROST BROWN TODD LLC                      180 E BROAD ST                   5-206
736 GEORGIA AE STE 300                  301 E FOURTH ST                           COLUMBUS OH 43215                FLAGSTAFF AZ 86001
CHATTANOOGA TN 37402                    CINCINNATI OH 45202



005638P001-1409A-265                    001787P001-1409A-265                      001988P001-1409A-265             033251P001-1409A-265
LINDSEY N NORTON                        TARA C NORWOOD                            RENEE M NOSEDA                   KIMBERLY ANN VAN NOSTERN
1506 LINCOLNSHIRE DR                    7757 67TH ST N                            13334 WESTMINISTER               1199 PACIFIC HWY
6                                       PINELLAS PARK FL 33781                    STERLING HEIGHTS MI 48313        #2105
CHAMPAIGN IL 61821                                                                                                 SAN DIEGO CA 92101




031048P001-1409A-265                    003143P001-1409A-265                      005596P001-1409A-265             031049P001-1409A-265
NOTED LLC                               NOELLE NOY                                NIA P NOYES                      NPW USA
28 FOX DEN RD                           680 CAMINO DE LA REINA                    1208 10TH AVE S                  NOELLE ELLIOTT
WEST SIMSBURY CT 06092                  #2407                                     ST CLOUD MN 56301                1101 SAINT GREGORY ST
                                        SAN DIEGO CA 92108                                                         STE 200
                                                                                                                   CINCINNATI OH 45202



031458P001-1409A-265                    035328P001-1409A-265                      035328S001-1409A-265             036683P001-1409A-265
NRV MALL ASSOCIATES LLC                 NSTAR ELECTRIC CO DBA                     NSTAR ELECTRIC CO DBA            NTH GENERATION
FREP HOLDINGS LLC                       EVERSOURCE ENERGY                         EVERSOURCE ENERGY                17055 CAMINO SAN BERNARDO
ONE MARITIME PLZ                        HONOR HEATH                               KATHLEEN BERRY                   SAN DIEGO CA 92127
STE 2100                                107 SELDEN ST                             247 STATION DR
SAN FRANCISCO CA 94111                  BERLIN CT 06037                           WESTWOOD MA 02090



035139P001-1409A-265                    032323P001-1409A-265                      032324P001-1409A-265             036448P001-1409A-265
NTH GENERATION COMPUTING INC            NTH GENERATION COMPUTING, INC             NTT SECURITY (US) INC            CONNYE NUHU
17055 CAMINO SAN BERNARDO               BETH FLINN                                PO BOX 30213                     215 WILLOUGHBY CT
SAN DIEGO CA 92127                      17055 CAMINO SAN BERNARDO                 OMAHA NE 68103-1313              MACON GA 31216
                                        SAN DIEGO CA 92127




008160P001-1409A-265                    008875P001-1409A-265                      001577P001-1409A-265             002163P001-1409A-265
STEPHANIE A NULL                        LAUREN L NULTER                           MARIA I NUNCIO                   YULMA NUNEZ DE HERNANDEZ
1042 8TH AVE                            2608 AVERY ST                             2300 18TH ST                     10447 LATOUR LN
BRACKENRIDGE PA 15014                   22                                        PLANO TX 75074-5732              MIRA LOMA CA 91752
                                        PARKERSBURG WV 26104
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001848P001-1409A-265             035866P001-1409A-265                   006509P001-1409A-265               035437P001-1409A-265
BRENDA NUNEZ                     ANGELICA C NUNEZ                       CELYNA NUNEZ                       DE HERNANDEZ YULMA NUNEZ
PO BOX 1105                      4 STEVEN ST                            11284 IVY PL                       10447 LATOUR LN
FRAZIER PARK CA 93225            APT 2                                  LOS ANGELES CA 90064               MIRA LOMA CA 91752
                                 DANBURY CT 06810




008603P001-1409A-265             003718P001-1409A-265                   004588P001-1409A-265               030171P002-1409A-265
LINDA O NUNEZ                    AILISE E NUNNALLEE                     NATHALIE S NUON                    BENNETT NUSSBAUM
1915 GREENFIELD AVE              5006 MADISON HEIGHTS CT SE             1781 KYRA CIR                      ADDRESS INTENTIONALLY OMITTED
NORTH CHICAGO IL 60064           OLYMPIA WA 98501                       SAN JOSE CA 95122




033693P001-1409A-265             001788P001-1409A-265                   032325P001-1409A-265               035140P001-1409A-265
NUTANIX                          ALLY J NUTAUT                          NUTECH FIRE AND SECURITY INC       NUTECH FIRE AND SECURITY INC
THE ENTERPRISE CLOUD CO          2945 S 5TH ST                          PO BOX 31284                       150 CANDACE DR
1740 TECHNOLOGY DR               SPRINGFIELD IL 62703-4015              TAMPA FL 33631-3284                MAITLAND FL 32751
STE 150
SAN JOSE CA 95110



036948P001-1409A-265             002815P001-1409A-265                   030548P001-1409A-265               031927P003-1409A-265
NUTECH FIRE AND SECURITY INC     JESSICA NUTTER                         OLIVIA E NUZIO                     NV- CLARK COUNTY ASSESSOR
JON E KANE ESQ                   818 E LANGSFORD RD                     ADDRESS INTENTIONALLY OMITTED      BRIANA JOHNSON
SOUTH MILHAUSEN PA               APT 204                                                                   500 S GRAND CENTRAL PKWY
1000 LEGION PL                   LEES SUMMIT MO 64063                                                      PO BOX 551401
SUITE #1200                                                                                                LAS VEGAS NV 89155-1401
ORLANDO FL 32801


010398P002-1409A-265             010305P002-1409A-265                   034151P002-1409A-265               033065P001-1409A-265
NV- DEPT OF TAXATION             NV- WASHOE COUNTY TREASURER            NW ARKANSAS MALL REALTY LLC        NW NATURAL
MIXALY M ARAMBULA                PO BOX 30039                           NAMDAR REALTY GROUP LLC            PO BOX 6017
555 E WASHINGTON AVE STE 1300    RENO NV 89520-3039                     JOSHUA S HACKMAN                   PORTLAND OR 97228
LAS VEGAS NV 89101                                                      150 GREAT NECK RD STE 304
                                                                        GREAT NECK NY 11021



033065S001-1409A-265             034004P001-1409A-265                   037639P001-1409A-265               005986P001-1409A-265
NW NATURAL                       NW NATURAL                             NW NORTHGATE MALL LLC              BLESSING NWOKE
ALICE MAH                        220 NW 2ND AVE                         KEVIN S NEIMAN                     21 BOURBON CT
220 NW 2ND AVE                   PORTLAND OR 97209                      LAW OFFICES OF KEVIN S NEIMAN PC   PARKVILLE MD 21234
PORTLAND OR 97209                                                       999 18TH ST STE 1230 S
                                                                        DENVER CO 80202



033066P001-1409A-265             033066S001-1409A-265                   032777P001-1409A-265               035398P001-1409A-265
NWWA                             NWWA                                   NY CITY DEPT OF CONSUMER AFFAIRS   NY CITY DEPT OF FINANCE
PO BOX 1339                      200 WEST WALNUT ST                     42 BROADWAY 9TH FL                 PO BOX 3931
NORTH WALES PA 19454             P O BOX 1339                           NEW YORK NY 10004                  NEW YORK NY 10008-3931
                                 NORTH WALES PA 19454
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037863P001-1409A-265              037917P001-1409A-265                        033694P001-1409A-265                   005497P001-1409A-265
NY- DEPT OF FINANCE               NY- DEPT OF TAXATION AND FINANCE            NYA INTERNATIONAL                      DIANA NYAGA
AUDIT DIVISION                    BANKRUPTCY SECTION                          55 BISHOPSGATE                         1 COPLEY DR
BANKRUPTCY AND ASSIGNMENT UNIT    PO BOX 5300                                 LONDON EC2N 3BD                        METHUEN MA 01844
375 PEARL ST                      ALBANY NY 12205-0300                        UNITED KINGDOM
NEW YORK NY 10038



009770P001-1409A-265              009802P001-1409A-265                        010342P001-1409A-265                   035386P001-1409A-265
NYC DEPT OF FINANCE               NYC DEPT OF FINANCE                         NYC DEPT OF FINANCE                    NYC OFFICE OF ADMINISTRATIVE
BUSINESS CORP TAX                 BUSINESS CORP TAX                           PO BOX 5070                            TRIALS AND HEARINGS
PO BOX 5564                       PO BOX 5563                                 KINGSTON NY 12402-5070                 NICHOLAS DIETZ
BINGHAMTON NY 13902-5564          BINGHAMTON NY 13902-5563                                                           100 CHURCH ST 12TH FL
                                                                                                                     NEW YORK NY 10007



032326P001-1409A-265              034182P001-1409A-265                        030744P001-1409A-265                   036273P001-1409A-265
NYLO MODEL+TALENT AGENCY, INC     NYLO MODEL+TALENT AGENCY, INC               NYLON INTERNATIONAL LLC                NYLON INTERNATIONAL LLC
OLIVIA TEHRANI                    1900 POWELL ST                              CHRISTY RECALDE                        224 SOUTH VAN BRUNT ST
1900 POWELL ST                    STE688                                      224 SOUTH VAN BRUNT ST                 ENGLEWOOD NJ 07631
STE688                            EMERYVILLE CA 94608                         ENGLEWOOD NJ 07631
EMERYVILLE CA 94608



009769P001-1409A-265              033067P001-1409A-265                        033067S001-1409A-265                   037640P001-1409A-265
NYS CORP TAX                      NYSEG                                       NYSEG                                  NYSEG
PO BOX 15181                      PO BOX 11745                                18 LINK DR                             BANKRUPTCY DEPT
ALBANY NY 12212-5181              NEWARK NJ 07101                             BINGHAMTON NY 13904                    PO BOX 5240
                                                                                                                     BINGHAMTON NY 13902




037640S001-1409A-265              031050P001-1409A-265                        035868P001-1409A-265                   001214P001-1409A-265
NYSEG                             NYX LOS ANGELES INC                         COURTNEY S O'BRIEN                     MARY KAY O'CONNOR WENTE
KELLY POTTER                      KATTIE ROH                                  9128 S AVERS                           758 NORTH PT
18 LINK DRIVE                     2201 EEL SEGUNDO BLVD                       EVERGREEN PARK IL 60805                #2
BINGHAMPTON NY 13904              EL SEGUNDO CA 90245                                                                SAN FRANCISCO CA 94109




033292P001-1409A-265              034178P002-1409A-265                        032327P002-1409A-265                   031459P001-1409A-265
COURTNEY O'KANE                   OAK AND REEDS LLC                           OAK AND REEDS, LLC                     OAK COURT MALL
169 JORDAN AVE                    118 ECHO AVE APT 2                          DON FRISBIE                            OAK COURT MALL LLC
SAN FRANCISCO CA 94118            OAKLAND CA 94611-4362                       118 ECHO AVE APT 2                     3961 PAYSPHERE CIR
                                                                              OAKLAND CA 94611-4362                  CHICAGO IL 60674




036982P001-1409A-265              036982S001-1409A-265                        036684P002-1409A-265                   036684S001-1409A-265
OAK COURT MALL LLC                OAK COURT MALL LLC                          OAK PARK MALL LLC                      OAK PARK MALL LLC
WASHINGTON PRIME GROUP INC        WASHINGTON PRIME GROUP INC                  BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
FROST BROWN TODD LLC              STEPHEN E IFEDUBA                           BY GARY RODDY                          CALEB HOLZAEPFEL
301 E FOURTH ST                   180 E BROAD ST                              2030 HAMILTON PL BLVD STE 500          736 GEORGE AVE STE 300
CINCINNATI OH 45202               COLUMBUS OH 53215                           CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402
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031460P001-1409A-265             037641P001-1409A-265                      031461P001-1409A-265           031462P001-1409A-265
OAK PARK MALL, LLC               OAKDALE MALL II LLC                       OAKDALE MALL II, LLC           OAKRIDGE MALL
CBLTC LLC                        URBAN EDGE PROPERTIES                     PO BOX 416525                  WESTFIELD CORP INC
2030 HAMILTON PL BLVD            210 ROUTE 4 EAST                          BOSTON MA 02241-6525           FILE BOX# 55714
STE 500                          PARAMUS NJ 07652                                                         LOS ANGELES CA 90074-5714
CHATTANOOGA TN 37421-6000



035365P001-1409A-265             031463P001-1409A-265                      036685P001-1409A-265           037516P001-1409A-265
OAKRIDGE MALL LLC                OAKS MALL LLC                             OAKS MALL LLC                  OAKS MALL LLC
LECLAIRRYAN PLLC                 WESTROADS-OAKS INC (FKA GGP IV            110 N WACKER DR                AKA THE OAKS MALL
NICLAS A FERLAND                 110 N WACKER DR                           CHICAGO IL 60606               BROOKFIELD PROPERTY REIT INC
545 LONG WHARF DR 9TH FL         CHICAGO IL 60606                                                         350 N ORLEANS ST STE 300
NEW HAVEN CT 06511                                                                                        CHICAGO IL 60654-1607



032328P001-1409A-265             031464P001-1409A-265                      037379P001-1409A-265           031465P001-1409A-265
OAKWOOD CORPORATE HOUSING        OAKWOOD HILLS MALL LLC                    OAKWOOD HILLS MALL LLC         OAKWOOD SHOPPING CENTER LLC
WORLDWIDE CORPORATE HOUSING L    GGPLP PRIME LLC                           BROOKFIELD PROPERTY REIT INC   GGP LIMITED PARTENRSHIP
SARAH HARRISON                   PO BOX 772848                             JULIE M BOWDEN                 PO BOX 772844
FILE 056739                      CHICAGO IL 60677-2848                     350 N ORLEANS ST STE 300       CHICAGO IL 60677-2844
LOS ANGELES CA 90074-6739                                                  CHICAGO IL 60654-1607



037404P001-1409A-265             035376P001-1409A-265                      032329P001-1409A-265           008490P001-1409A-265
OAKWOOD SHOPPING CENTER LLC      OATH AMERICAS INC                         OATH AMERICAS, INC             AISHA I OBEID
AKA OAKWOOD CENTER LA            LAWRENCE SCHWAB                           PO BOX 894147                  8857 HAPPINESS RD
BROOKFIELD PROPERTY REIT INC     BIALSON BERGEN AND SCHWAB                 LOS ANGELES CA 90189-4147      HARRISBURG NC 28075
350 N ORLEANS ST STE 300         633 MENLO AVE STE 100
CHICAGO IL 60654-1607            MENLO PARK CA 94551



037157P001-1409A-265             003201P001-1409A-265                      035867P001-1409A-265           008536P001-1409A-265
BLAKE OBERHEUSER                 BLAKE M OBERHEUSER                        LAUREN N OBIE                  TRISHA ALLISON M OBILLO
637 CAMINO DEL CONTENTO S        637 CAMINO DEL CONTENTO                   10100 NW 86 ST                 42112 AUTUMN RAIN CIR
PUEBLO WEST CO 81007             PUEBLO WEST CO 81007                      KANSAS CITY MO 64153           ASHBURN VA 20148




008461P001-1409A-265             004460P001-1409A-265                      001692P001-1409A-265           033491P001-1409A-265
AKUNNA R OBIOHA                  BIANCA OBLEPIAS                           KEARA OBRIEN                   OBTAINBEST LIMITED
14267 GARLAND BOOK DR            669 ROOSEVELT AVE                         505 PACHECO DR                 PO BOX 141
HOUSTON TX 77083                 CARTERET NJ 07008                         TRACY CA 95376-1426            266 BANBURY RD
                                                                                                          OXFORD OX2 7DL
                                                                                                          UNITED KINGDOM



004182P001-1409A-265             007588P001-1409A-265                      035869P001-1409A-265           008084P001-1409A-265
ABIGAIL C OCAMPO                 NATASHA OCASIO RODRIGUEZ                  RODRIGUEZ NATASHA OCASIO       SIERRA OCCHINO
4126 W BARRY AVE                 129 HAWTHORNE DR                          129 HAWTHORNE DR               2387 N AUGUSTA DR
2                                GUYTON GA 31312                           GUYTON GA 31312                FLAGSTAFF AZ 86004
CHICAGO IL 60641
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002258P001-1409A-265                    033235P001-1409A-265                            036686P001-1409A-265                   031466P001-1409A-265
HEATHER N OCCHIONERO                    OCCUPANCY COST AUDIT GROUP INC                  OCEAN CITY FACTORY OUTLETS             OCEAN CITY FACTORY OUTLETS I, LC
1801 DUNWOODY RD                        1 ORCHARD RD STE 130                            I LC TANGER PROPERTIES                 TANGER PROPERTIES LP
BALTIMORE MD 21234                      LAKE FOREST CA 92630                            LEGAL DEPT                             LEGAL DEPT
                                                                                        3200 NORTHLINE AVE STE 360             3200 NORTHLINE AVE STE 360
                                                                                        GREENBORO NC 27408                     GREENBORO NC 27408



036687P001-1409A-265                    035141P001-1409A-265                            009693P001-1409A-265                   006484P001-1409A-265
OCEAN COUNTY SPECIAL CIVIL              OCEAN NETWORK EXPRESS PTE LTD                   PRASIDY OCHI                           JENIFER C OCHOA CRUZ
PART CN 2191                            OCEAN NETWORK EXPRESS(NORTH AMERICA)            353 VERMONT ST                         1404 N FRENCH ST #K
118 WASHINGTON ST                       8730 STONE PT PARKWY                            BUFFALO NY 14213                       K
TOMS RIVER NJ 08754                     RICHMOND VA 23235                                                                      SANT ANA CA 92701




008442P001-1409A-265                    009006P001-1409A-265                            035870P001-1409A-265                   003274P001-1409A-265
BRIANA D OCHOA                          CONSUELO OCHOA                                  CRUZ JENIFER C OCHOA                   BEATRIZ OCHOACARDENAS
9200 PERRY AVE                          4304 ALISON JANE DR NE                          1404 N FRENCH ST #K                    1325 ROBERTS ST
AMARILLO TX 79119                       KENNESAW GA 30144                               K                                      RENO NV 89502
                                                                                        SANT ANA CA 92701




003796P001-1409A-265                    001291P001-1409A-265                            035375P004-1409A-265                   005840P001-1409A-265
CHASE J OCHRACH                         CHARLENE R OCONNOR                              MARY KAY OCONNOR                       SHANNON K OCONNOR
118 BRENDYLYNN TRACE                    700 W LA JOLLA ST #63                           758 NORTH PT #2                        1526 S CHARLES BLVD
WOODSTOCK GA 30188                      PLACENTIA CA 92870                              SAN FRANCISCO CA 94109                 APT 94A
                                                                                                                               GREENVILLE NC 27858




033068P001-1409A-265                    010648P001-1409A-265                            010648S001-1409A-265                   010649P001-1409A-265
OCS                                     OCTAGON HIGH INCOME MASTER FUND LTD             OCTAGON HIGH INCOME MASTER FUND LTD    OCTAGON INVESTMENT PARTNERS XIV, LTD
PO BOX 9                                OCTAGON                                         OCTAGON                                OCTAGON
DEEP RUN NC 28525                       JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN          JEREMY STERN AND AUSTIN FLYNN
                                        MAPLES CORPORATE SERVICES LIMITED               PO BOX 309                             QUEENSGATE HOUSE SOUTH CHURCH ST
                                        GEORGE TOWN                                     UGLAND HOUSE GEORGE TOWN               GEORGE TOWN
                                        GRAND CAYMAN KY1-1104                           GRAND CAYMAN KY1-1104                  GRAND CAYMAN KY1-1102
                                        CAYMAN ISLANDS                                  CAYMAN ISLANDS                         CAYMAN ISLANDS
010649S001-1409A-265                    010650P001-1409A-265                            010650S001-1409A-265                   010651P001-1409A-265
OCTAGON INVESTMENT PARTNERS XIV, LTD    OCTAGON INVESTMENT PARTNERS XIX, LTD            OCTAGON INVESTMENT PARTNERS XIX, LTD   OCTAGON INVESTMENT PARTNERS XV, LTD
OCTAGON                                 OCTAGON                                         OCTAGON                                OCTAGON
JEREMY STERN AND AUSTIN FLYNN           JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN          JEREMY STERN AND AUSTIN FLYNN
PO BOX 1093                             CLIFTON HOUSE 75 FORT ST                        PO BOX 1350 CLIFTON HOUSE              QUEENSGATE HOUSE SOUTH CHURCH ST
GEORGE TOWN                             GEORGE TOWN                                     75 FORT ST GEORGE TOWN                 GEORGE TOWN
GRAND CAYMAN KY1-1102                   GRAND CAYMAN KY1-1108                           GRAND CAYMAN KY1-1108                  GRAND CAYMAN KY1-1102
CAYMAN ISLANDS                          CAYMAN ISLANDS                                  CAYMAN ISLANDS                         CAYMAN ISLANDS
010651S001-1409A-265                    010652P001-1409A-265                            010652S001-1409A-265                   010653P001-1409A-265
OCTAGON INVESTMENT PARTNERS XV, LTD     OCTAGON INVESTMENT PARTNERS XVI, LTD            OCTAGON INVESTMENT PARTNERS XVI, LTD   OCTAGON INVESTMENT PARTNERS XVII, LTD
OCTAGON                                 OCTAGON                                         OCTAGON                                OCTAGON
JEREMY STERN AND AUSTIN FLYNN           JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN          JEREMY STERN AND AUSTIN FLYNN
PO BOX 1093                             QUEENSGATE HOUSE SOUTH CHURCH ST                PO BOX 1093                            CLIFTON HOUSE 75 FORT ST
GEORGE TOWN                             GEORGE TOWN                                     GEORGE TOWN                            GEORGE TOWN
GRAND CAYMAN KY1-1102                   GRAND CAYMAN KY1-1102                           GRAND CAYMAN KY1-1102                  GRAND CAYMAN KY1-1108
CAYMAN ISLANDS                          CAYMAN ISLANDS                                  CAYMAN ISLANDS                         CAYMAN ISLANDS
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010653S001-1409A-265                     010654P001-1409A-265                              010654S001-1409A-265                            010655P001-1409A-265
OCTAGON INVESTMENT PARTNERS XVII, LTD    OCTAGON INVESTMENT PARTNERS XVIII, LTD            OCTAGON INVESTMENT PARTNERS XVIII, LTD          OCTAGON INVESTMENT PARTNERS XX, LTD
OCTAGON                                  OCTAGON                                           OCTAGON                                         OCTAGON
JEREMY STERN AND AUSTIN FLYNN            JEREMY STERN AND AUSTIN FLYNN                     JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN
PO BOX 1350 CLIFTON HOUSE                QUEENSGATE HOUSE SOUTH CHURCH ST                  PO BOX 1093                                     QUEENSGATE HOUSE SOUTH CHURCH ST
75 FORT ST GEORGE TOWN                   GEORGE TOWN                                       GEORGE TOWN                                     GEORGE TOWN
GRAND CAYMAN KY1-1108                    GRAND CAYMAN KY1-1102                             GRAND CAYMAN KY1-1102                           GRAND CAYMAN KY1-1102
CAYMAN ISLANDS                           CAYMAN ISLANDS                                    CAYMAN ISLANDS                                  CAYMAN ISLANDS
010655S001-1409A-265                     010656P001-1409A-265                              010656S001-1409A-265                            010657P001-1409A-265
OCTAGON INVESTMENT PARTNERS XX, LTD      OCTAGON INVESTMENT PARTNERS XXI, LTD              OCTAGON INVESTMENT PARTNERS XXI, LTD            OCTAGON INVESTMENT PARTNERS XXII, LTD
OCTAGON                                  OCTAGON                                           OCTAGON                                         OCTAGON
JEREMY STERN AND AUSTIN FLYNN            JEREMY STERN AND AUSTIN FLYNN                     JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN
PO BOX 1093                              QUEENSGATE HOUSE SOUTH CHURCH ST                  PO BOX 1093                                     QUEENSGATE HOUSE SOUTH CHURCH ST
GEORGE TOWN                              GEORGE TOWN                                       GEORGE TOWN                                     GEORGE TOWN
GRAND CAYMAN KY1-1102                    GRAND CAYMAN KY1-1102                             GRAND CAYMAN KY1-1102                           GRAND CAYMAN KY1-1102
CAYMAN ISLANDS                           CAYMAN ISLANDS                                    CAYMAN ISLANDS                                  CAYMAN ISLANDS
010657S001-1409A-265                     010658P001-1409A-265                              010658S001-1409A-265                            010659P001-1409A-265
OCTAGON INVESTMENT PARTNERS XXII, LTD    OCTAGON LOAN FUNDING, LTD                         OCTAGON LOAN FUNDING, LTD                       OCTAGON MULTI-STRATEGY CORPORATE
OCTAGON                                  OCTAGON                                           OCTAGON                                         CREDIT MASTER FUND LP, OCTAGON
JEREMY STERN AND AUSTIN FLYNN            JEREMY STERN AND AUSTIN FLYNN                     JEREMY STERN AND AUSTIN FLYNN                   JEREMY STERN AND AUSTIN FLYNN
PO BOX 1093                              QUEENSGATE HOUSE SOUTH CHURCH ST                  PO BOX 1093                                     MAPLES CORPORATE SERVICES LIMITED
GEORGE TOWN                              GEORGE TOWN                                       GEORGE TOWN                                     GEORGE TOWN
GRAND CAYMAN KY1-1102                    GRAND CAYMAN KY1-1102                             GRAND CAYMAN KY1-1102                           GRAND CAYMAN KY1-1104
CAYMAN ISLANDS                           CAYMAN ISLANDS                                    CAYMAN ISLANDS                                  CAYMAN ISLANDS
010659S001-1409A-265                     010660P001-1409A-265                              010660S001-1409A-265                            010217P001-1409A-265
OCTAGON MULTI-STRATEGY CORPORATE         OCTAGON SENIOR SECURED CREDIT MASTER FUND LTD     OCTAGON SENIOR SECURED CREDIT MASTER FUND LTD   OCTC BEN ANDERSON
CREDIT MASTER FUND LP, OCTAGON           OCTAGON                                           OCTAGON                                         OKALOOSA COUNTY FLORIDA
OCTAGON                                  JEREMY STERN AND AUSTIN FLYNN                     JEREMY STERN AND AUSTIN FLYNN                   PO BOX 1390
JEREMY STERN AND AUSTIN FLYNN            UGLAND HOUSE                                      PO BOX 309                                      NICEVILLE FL 32588-1390
PO BOX 309 UGLAND HOUSE GEORGE TOWN      SOUTH CHURCH ST                                   GEORGE TOWN
GRAND CAYMAN KY1-1104                    GRAND CAYMAN KY1-1104                             GRAND CAYMAN KY1-1104
CAYMAN ISLANDS                           CAYMAN ISLANDS                                    CAYMAN ISLANDS
004387P001-1409A-265                     008303P001-1409A-265                              007081P001-1409A-265                            003760P001-1409A-265
CARMILLA M ODEN                          HALEY ODOM                                        LAURYN E ODOM                                   BRILLIANNA C ODONNELL
117 BROWNLEA DR APT 10                   7 DEAL AVE NW                                     848 TARA CT                                     1622 NORWOOD AVE
GREENVILLE NC 27858                      FORT WALTON BEACH FL 32548                        COLUMBIA SC 29210                               PROSPECT PARK PA 19076




002521P001-1409A-265                     033069P001-1409A-265                              000364P001-1409A-265                            010251P001-1409A-265
TENIOLA M ODUMOSU                        OFALLON WATER AND SEWER DEPT                      OFFICE OF CONSUMER PROTECTION                   OFFICE OF JOE G TEDDER
203 WILLOW RD EAST                       255 S LINCOLN AVE                                 DEPT OF CONSUMER AND REGULATORY AFFAIRS         PO BOX 2016
STATEN ISLAND NY 10314                   OFALLON IL 62269                                  941 NORTH CAPITOL ST NE                         BARTOW FL 33831-2016
                                                                                           WASHINGTON DC 20002




032330P001-1409A-265                     010089P001-1409A-265                              000357P001-1409A-265                            000358P001-1409A-265
OFFICE OF STATE CONTROLLER               OFFICE OF TAX COLLECTOR                           OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE ATTORNEY GENERAL
UNCLAIMED PROPERTY DIVISION              70 W RIVER ST                                     CONSUMER PROTECTION UNIT                        CONSUMER PROTECTION DIVISION
PO BOX 942850                            PO BOX 3025                                       PO BOX 110300                                   501 WASHINGTON AVE
SACRAMENTO CA 94250                      MILFORD CT 06460-0825                             JUNEAU AK 99811-0300                            PO BOX 300152 MONTGOMERY AL 36130
                                                                                                                                           MONTGOMERY AL 36104
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000359P001-1409A-265                        000360P001-1409A-265                            000361P001-1409A-265                    000365P001-1409A-265
OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE ATTORNEY GENERAL          OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION                CONSUMER PROTECTION AND ADVOCACY SECTION        CALIFORNIA DEPT OF JUSTICE              CONSUMER PROTECTION DIVISION
323 CTR ST                                  2005 N CENTRAL AVE                              PUBLIC INQUIRY UNIT                     THOMAS STEVENS DIRECTOR
STE 200                                     PHOENIX AZ 65004-1592                           PO BOX 944255                           CARVEL STATE OFFICE BLDG
LITTLE ROCK AR 72201                                                                        SACRAMENTO CA 94244-2550                820 NORTH FRENCH ST
                                                                                                                                    WILMINGTON DE 19801


000369P001-1409A-265                        000372P001-1409A-265                            000373P001-1409A-265                    000374P001-1409A-265
OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE ATTORNEY GENERAL          OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION                CONSUMER PROTECTION DIVISION                    CONSUMER PROTECTION DIVISION            OFFICE OF CONSUMER PROTECTION
1305 EAST WALNUST ST 2ND FL                 302 W WASHINGTON ST                             120 SW 10TH                             1024 CAPITAL CTR DR
HOOVER BLDG                                 5TH FL                                          2ND FL                                  STE 200
DES MOINES IA 50319                         INDIANAPOLIS IN 46204                           TOPEKA KS 66612-1597                    FRANKFORT KY 40601



000375P001-1409A-265                        000377P001-1409A-265                            000378P001-1409A-265                    000384P001-1409A-265
OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE ATTORNEY GENERAL          OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION SECTION                 CONSUMER PROTECTION DIVISION                    CONSUMER PROTECTION DIVISION            CONSUMER PROTECTION DIVISION
PO BOX 94005                                200 SAINT PAUL PL                               6 STATE HOUSE STATION                   9001 MAIL SERVICE CTR
BATON ROUGE LA 70804-9005                   16TH FL                                         AUGUSTA ME 04333                        RALEIGH NC 27699-9001
                                            BALTIMORE MD 21202-2021



000385P001-1409A-265                        000386P001-1409A-265                            000399P001-1409A-265                    000406P001-1409A-265
OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE ATTORNEY GENERAL          OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION AND ANTITRUST BUREAU    DEPT OF JUSTICE                                 CONSUMER AFFAIRS                        CONSUMER PROTECTION DIVISION
600 E BLVD AVE                              CONSUMER PROTECTION DIVISION                    1302 E HWY 14                           812 QUARRIER ST 6TH FL
DPET 125                                    2115 STATE CAPITOL                              STE 356                                 PO BOX 1789
BISMARK ND 58505                            PO BOX 98920                                    PIERRE SD 57501-8503                    CHARLESTON WV 25326-1789
                                            LINCOLN NE 68509


000409P001-1409A-265                        037900P001-1409A-265                            000417P001-1409A-265                    000451P001-1409A-265
OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL                  OFFICE OF THE CHIEF FINANCIAL OFFICER   OFFICE OF THE STATE TREASURER SOUTH DAKOTA
CONSUMER PROTECTION UNIT                    MAIN JUSTICE BLDG                               UNCLAIMED PROPERTY OFFICE               UNCLAIMED PROPERTY DIVISION
123 CAPITOL                                 10TH AND CONSTITUTION AVE NW RM 5111            1350 PENNSYLVANIA AVE NW                500 E CAPITOL AVE
200 W 24TH ST                               WASHINGTON DC 20530                             STE 203                                 PIERRE SD 57501-5070
CHEYENNE WY 82002                                                                           WASHINGTON DC 20004



003722P001-1409A-265                        009115P001-1409A-265                            001619P001-1409A-265                    036633P001-1409A-265
JAANAI OFFOR                                BRIANA S OGAZON                                 SHEILA OGBEVIRE                         MARCY OGINGA
4815 BOYLAN ST                              1638 MELROSE AVE                                4089 ASHWINTON WAY                      344 DANUBE AVE APT 207
FAYETTEVILLE NC 28306                       CHULA VISTA CA 91911                            ROCKFORD IL 61109-3274                  TAMPA FL 33606




005748P001-1409A-265                        008288P001-1409A-265                            000688P001-1409A-265                    031467P001-1409A-265
FAITH A OGLESBY                             KNEISHA P OGLESBY                               VANESSA C OGLESBY                       OGLETHORPE MALL LLC
1416 ASIA CT                                265 SOUTH GEORGIA AVE                           305 IRONSHIRE PL                        SDS-12-1640
LATTA SC 29565                              ATLANTIC CITY NJ 08401                          FORT WASHINGTON MD 20744                PO BOX 86
                                                                                                                                    MINNEAPOLIS MN 55486-1640
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030872P001-1409A-265                          030873P001-1409A-265                   034297P001-1409A-265                     031051P002-1409A-265
OGLETREE DEAKINS NASH SMOAK AND STEWART PC    OGLOZA FORTNEY LLP                     OGLOZA FORTNEY LLP                       OH YES FASHION
PO BOX 89                                     DAVID FRIEDMAN                         535 PACIFIC AVE                          JONG HO OH
COLUMBIA SC 29202                             535 PACIFIC AVE                        STE 201                                  855 W WALNUT ST
                                              STE 201                                SAN FRANCISCO CA 94133                   COMPTON CA 90220
                                              SAN FRANCISCO CA 94133



037896P002-1409A-265                          001022P002-1409A-265                   000074P001-1409A-265                     000340P001-1409A-265
OH- DEPT OF TAXATION                          TAMARA OHANIAN                         OHIO AIR QUALITY DEVELOPMENT AUTHORITY   OHIO ATTORNEY GENERAL
REBECCA L DAUM                                1396 CATNAP LANE                       50 W BROAD ST                            MIKE DEWINE
PO BOX 530                                    MONUMENT CO 80132-6146                 STE 1718                                 STATE OFFICE TOWER
COLUMBUS OH 43215                                                                    COLUMBUS OH 43215                        30 E BROAD ST 14TH FL
                                                                                                                              COLUMBUS OH 43431



000224P001-1409A-265                          000445P001-1409A-265                   000075P001-1409A-265                     000149P001-1409A-265
OHIO DEPT OF COMMERCE                         OHIO DEPT OF COMMERCE                  OHIO DEPT OF NATURAL RESOURCES           OHIO DEPT OF TAXATION
DIRECTOR                                      DIVISION OF UNCLAIMED FUNDS            2045 MORSE RD                            PO BOX 530
77 SOUTH HIGH ST 23RD FL                      77 SOUTH HIGH ST                       BLDG D                                   COLUMBUS OH 43216-0530
COLUMBUS OH 43215-6123                        20TH FL                                COLUMBUS OH 43229-6693
                                              COLUMBUS OH 43215-6108



009771P001-1409A-265                          009803P001-1409A-265                   010497P001-1409A-265                     035402P001-1409A-265
OHIO DEPT OF TAXATION                         OHIO DEPT OF TAXATION                  OHIO DEPT OF TAXATION                    OHIO DEPT OF TAXATION
PO BOX 27                                     BUSINESS TAX DIVISION                  PO BOX 2678                              OH CAT
COLUMBUS OH 43216-0027                        CORP FRANCHISE TAX UNIT                COLUMBUS OH 43216-2678                   PO BOX 182101
                                              PO BOX 2476                                                                     COLUMBUS OH 43218-2101
                                              COLUMBUS OH 43216-2476



033070P001-1409A-265                          033070S001-1409A-265                   037234P001-1409A-265                     000076P001-1409A-265
OHIO EDISON                                   OHIO EDISON                            OHIO EDISON                              OHIO ENVIRONMENTAL PROTECTION AGENCY
PO BOX 3637                                   FIRST ENERGY                           FIRST ENERGY                             OFFICE OF THE DIRECTOR
AKRON OH 44309                                76 SOUTH MAIN STREET                   NATALIE ALLARD                           50 WEST TOWN ST STE 700
                                              AKRON OH 44308                         5001 NASA BLVD                           COLUMBUS OH 43215
                                                                                     FAIRMONT WV 26554



006226P001-1409A-265                          031052P001-1409A-265                   035263P001-1409A-265                     010485P002-1409A-265
HANNAH G OJHA                                 OK ORIGINALS LTD                       OK- COUNTY TREASURER                     OK- TULSA COUNTY TREASURER
305 FERRARA CT                                DONNA MORGAN                           FORREST BUTCH FREEMAN                    J DENNIS SEMLER
KISSIMMEE FL 34758                            389 5TH AVE                            TAMMY JONES                              500 S DENVER
                                              STE 800                                320 ROBERT S KERR RM 307                 TULSA OK 74103
                                              NEW YORK NY 10016                      OKLAHOMA CITY OK 73102



037692P001-1409A-265                          037692S001-1409A-265                   031468P001-1409A-265                     003175P001-1409A-265
OKC OUTLETS I LLC                             OKC OUTLETS I LLC                      OKC OUTLETS JV, LLC                      SARAH OKEDIRAN
THOMPSON HINE LLP                             SINGERMAN REAL ESTATE LLC              980 N MICHIGAN AVE                       5461 N EAST RIVER RD
LOUIS F SOLIMINE                              JOE CONCEPCION                         STE 1660                                 1601
312 WALNUT ST 14TH FL                         980 N MICHIGAN AVE STE 1660            CHICAGO IL 60611                         CHICAGO IL 60656
CINCINNATI OH 45202                           CHICAGO IL 60011
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003065P001-1409A-265                      007681P001-1409A-265                            006676P001-1409A-265               000341P001-1409A-265
LUCIANNA J OKEEFE                         HILLARY H OKELLY                                CYNTHIA L OKEY                     OKLAHOMA ATTORNEY GENERAL
71 HUDSON ST                              5376 NEIL DR                                    2616 22ND ST NW                    MIKE HUNTER
SOUTH GLENS FALLS NY 12803                SAINT PETERSBURG FL 33714                       CANTON OH 44708                    313 NE 21ST ST
                                                                                                                             OKLAHOMA CITY OK 73105




000393P001-1409A-265                      010437P001-1409A-265                            000077P001-1409A-265               010288P001-1409A-265
OKLAHOMA ATTORNEY GENERAL                 OKLAHOMA CITY POLICE DEPT                       OKLAHOMA CONSERVATION COMMISSION   OKLAHOMA COUNTY TREASURER
CONSUMER PROTECTION UNIT                  PERMIT AND ID SECTION                           2800 N LINCOLN BLVD                PO BOX 268875
313 NE 21ST ST                            PO BOX 268837                                   STE 160                            OKLAHOMA CITY OK 73126-8875
OKLAHOMA CITY OK 73105                    OKLAHOMA CITY OK 73126-8837                     OKLAHOMA CITY OK 73105




000078P001-1409A-265                      000225P001-1409A-265                            033071P001-1409A-265               033071S001-1409A-265
OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY    OKLAHOMA DEPT OF LABOR                          OKLAHOMA GAS AND ELECTRIC          OKLAHOMA GAS AND ELECTRIC
707 N ROBINSON                            COMMISSIONER                                    PO BOX 24990                       321 NORTH HARVEY
PO BOX 1677                               3017 N STILES                                   OKLAHOMA CITY OK 73124             PO BOX 321
OKLAHOMA CITY OK 73101-1677               STE 100                                                                            OKLAHOMA CITY OK 73101
                                          OKLAHOMA CITY OK 73105



037461P001-1409A-265                      033072P001-1409A-265                            000446P001-1409A-265               000150P001-1409A-265
OKLAHOMA GAS AND ELECTRIC SVC             OKLAHOMA NATURAL GAS                            OKLAHOMA STATE TREASURER           OKLAHOMA TAX COMMISSION
BANKRUPTCY CLERK                          PO BOX 219296                                   UNCLAIMED PROPERTY DIVISION        2501 LINCOLN BLVD
PO BOX 321 M223                           KANSAS CITY MO 64121                            2401 NW 23RD ST                    OKLAHOMA CITY OK 73194
OKLAHOMA CITY OK 73101                                                                    STE 42
                                                                                          OKLAHOMA CITY OK 73107



009772P001-1409A-265                      010182P001-1409A-265                            010411P001-1409A-265               008691P001-1409A-265
OKLAHOMA TAX COMMISSION                   OKLAHOMA TAX COMMISSION                         OKLAHOMA TAX COMMISSION            IFY OKOYE
INCOME TAX                                PO BOX 26850                                    PO BOX 269027                      2805 SINGLE TRACE CT
PO BOX 26800                              OKLAHOMA CITY OK 73126-0850                     OKLAHOMA CITY OK 73126-9027        AUSTIN TX 78728
OKLAHOMA CITY OK 73126-0800




009435P001-1409A-265                      007802P001-1409A-265                            008014P001-1409A-265               008651P001-1409A-265
SOMTY C OKOYE                             MARCIA E OKRAKEL                                OLAPEJU V OLADITAN                 KEHINDEAYOBAMI D OLAYIWOLA
2805 SINGLE TRACE CT                      3927 49TH AVE SW                                18 GIORDAN CT                      1400 N STATE HWY 360
AUSTIN TX 78728                           OLYMPIA WA 98512                                STATEN ISLAND NY 10303             APT 2714
                                                                                                                             MANSFIELD TX 76063




034206P002-1409A-265                      034206S001-1409A-265                            031469P001-1409A-265               034380P001-1409A-265
OLD HICKORY MALL VENTURE II LLC           OLD HICKORY MALL VENTURE II LLC                 OLD ORCHARD URBAN LIMITED PART     OLD ORCHARD URBAN LIMITED PARTNER
BY CBL AND ASSOCIATES MANAGEMENT INC      BY CBL AND ASSOCIATES MANAGEMENT INC            MIRIAM ROLON                       FILE NO 771681
GARY RODDY                                CALEB HOLZAEPFEL                                FILE NO 771681                     1681 SOLUTIONS CTR
2030 HAMILTON PL BLVD STE 500             736 GEORGIA AVE STE 300                         1681 SOLUTIONS CTR                 CHICAGO IL 60677-1006
CHATTANOOGA TN 37421-6000                 CHATTANOOGA TN 37402                            CHICAGO IL 60677-1006
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035364P001-1409A-265                     003995P001-1409A-265                    004496P001-1409A-265          035871P001-1409A-265
OLD ORCHARD URBAN LIMITED PARTNERSHIP    PETER G OLDHAM                          CINTHIA OLEA GARCIA           GARCIA CINTHIA OLEA
LECLAIRRYAN PLLC                         1125 S EBENEZER AVE                     1965 BLUEBIRD CT              1965 BLUEBIRD CT
NICLAS A FERLAND                         APT 221                                 MIDDLETOWN OH 45044           MIDDLETOWN OH 45044
545 LONG WHARF DR 9TH FL                 SIOUX FALLS SD 57106
NEW HAVEN CT 06511



004754P001-1409A-265                     037413P001-1409A-265                    003537P001-1409A-265          031053P001-1409A-265
MARCELENA A OLEA                         OLGLETHORPE MALL LLC                    JENNIFER L OLIPHANT           OLIS FASHION INC
3200 S LITZLER DR                        BROOKFIELD PROPERTY REIT INC            1361 CYPRESS PT LN            RICKY
APT 5-220                                JULIE M BOWDEN                          APT 104                       106 1/2 JUDGE JOHN AISO ST #20
FLAGSTAFF AZ 85392                       350 N ORLEANS ST STE 300                VENTURA CA 93003              LOS ANGELES CA 90012
                                         CHICAGO IL 60654-1607



000661P001-1409A-265                     005226P001-1409A-265                    005985P001-1409A-265          000640P001-1409A-265
ZITLALY G OLIVARES VALDEZ                ESTEFANIE OLIVARES                      NATALIE OLIVAREZ              AMANDA OLIVAS
17317 120TH LN SE                        3075 REDDING AVE APART 915              4422 LOMINA AVE               2123 SOUTH KANSAS
J103                                     SACRAMENTO CA 95820                     LAKEWOOD CA 90713             2123
RENTON WA 98058                                                                                                WICHITA KS 67211




004867P001-1409A-265                     006760P001-1409A-265                    006140P001-1409A-265          006291P001-1409A-265
KAILEE OLIVAS                            LEANDRA G OLIVAS                        KRISTY D OLIVE                CAROLINE M OLIVEIRA
8220 E 24TH DR                           8710 MESA OAK DR                        5300 PASEO RANCHO CATILLA     106 RAYMOND ST
DENVER CO 80238                          RIVERSIDE CA 92508                      LOS ANGELES CA 90032          FALL RIVER MA 02723




008921P001-1409A-265                     008708P001-1409A-265                    008698P001-1409A-265          000633P001-1409A-265
MAISYN OLIVER                            SKYLER M OLIVER                         TRINITY M OLIVER              ZHANIAH E OLIVERAS
1965 E 15TH AVE                          2036 WESTON AVE                         500 WELLBORN RD N             53 WARNER PL
405                                      YOUNGSTOWN OH 44514                     APPT 2322                     UNIT F
EUGENE OR 97403                                                                  COLLEGE STATION TX 77840      WATERBURY CT 06704




006397P001-1409A-265                     031054P001-1409A-265                    032331P001-1409A-265          001576P001-1409A-265
CLAUDIA OLIVEROS                         OLIVIA MILLER INC                       OLIVIA MOORE                  ALANA M OLIVIERI
519 BRIGGS AVE                           JOSEPH GARGAN                           UNIVERSITY OF CALIFORNIA      540 MAIN ST
MODESTO CA 95351                         1 WEST 34TH ST                          SANTA CRUZ                    APT 407
                                         10TH FL                                 411 PORTER-KRESGE RD #235     NEW YORK NY 10044
                                         NEW YORK NY 10001                       SANTA CRUZ CA 95064



007359P001-1409A-265                     007582P001-1409A-265                    001532P001-1409A-265          006505P001-1409A-265
CAMILLE OLIVO                            NATHALIA OLMO                           CRYSTAL OLMOS                 DEYSI E OLMOS
CALLE VIEJA 7143 20C                     3300 LORNE DR                           4200 KAYTLAIN AVE             619 E GORHAM ST
SABANA SECA PR 00952                     KILLEEN TX 76542                        BAKERSFIELD CA 93313-3983     APT1
                                                                                                               FORT ATKINSON WI 53538
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035872P001-1409A-265             036579P001-1409A-265                     032332P001-1409A-265            036689P001-1409A-265
DEYSI E OLMOS                    JULIE OLMSTEAD                           OLR AMERICA INC                 OLR AMERICA INC
619 E GORHAM ST                  255 MONTEREY BLVD                        PAULA KORNTVED                  100 SOUTH FIFTH ST STE 850
APT1                             SAN FRANCISCO CA 94131                   100 SOUTH FIFTH ST              MINNEAPOLIS MN 55402
MADISON WI 53703                                                          STE 850
                                                                          MINNEAPOLIS MN 55402



030172P002-1409A-265             005570P001-1409A-265                     008042P001-1409A-265            004487P001-1409A-265
DOUGLAS M OLSEN                  KALEY N OLSEN                            HALLE OLSON                     JOSALYN M OLSON
ADDRESS INTENTIONALLY OMITTED    1945 VALANCE ST                          5150 THISTLE CT                 813 LUPINE DR
                                 SAN DIEGO CA 92154                       COLORADO SPRINGS CO 80917       PROCTOR MN 55810




004800P002-1409A-265             035873P001-1409A-265                     001733P001-1409A-265            004577P001-1409A-265
NATALIE B OLSON                  NATALIE B OLSON                          KENIA M OLSZYK                  TOMI OLUGBAKINRO
2713 W MAPLEWOOD AVE APT 210     2713 W MAPLEWOOD AVE #210                415 MONTCLAIR                   4351 SW 160TH AVE
BELLINGHAM WA 98225-8836         BELLINGHAM WA 98225                      APT K                           MIRAMAR FL 33027
                                                                          BETHLEHEM PA 18015




009223P001-1409A-265             033073P001-1409A-265                     033073S001-1409A-265            033074P001-1409A-265
CHRISTINA F OLUPITAN             OLYMPIC COMPACTOR RENTALS III            OLYMPIC COMPACTOR RENTALS III   OLYMPIC II MALL SVC
2609 FEATHERSTONE RD APT 497     PO BOX 55287                             1724 OAK TREE DR                PO BOX 19930
OKC OK 73120                     HOUSTON TX 77255                         HOUSTON TX 77080                FOUNTAIN HILL AZ 85269




033075P001-1409A-265             033076P001-1409A-265                     033077P001-1409A-265            007686P001-1409A-265
OLYMPIC III MALL SVC             OLYMPIC IV MALL SVC                      OLYMPIC MALL SVC                ERIN E OMALLEY
PO BOX 55287                     PO BOX 96383                             PO BOX 800336                   69 CHERYL DR
HOUSTON TX 77255                 LAS VEGAS NV 89193                       HOUSTON TX 77280                RONKONKOMA NY 11779




005963P002-1409A-265             037062P001-1409A-265                     001359P001-1409A-265            031055P001-1409A-265
MADISON A OMALLEY                DANIELLE OMEALLY                         DANIELLE E OMEALLY              OMG ACCESSORIES LLC
3204 DEER TRAIL UNIT 8           12L SUNMIST SQUARE                       12L SUNMIST SQUARE              KIM VANDER WENDE
CORTLAND OH 44410-9114           AMHERST NY 14228                         AMHERST NY 14228                10 W33RD ST
                                                                                                          STE #1224
                                                                                                          NEW YORK NY 10001



009228P001-1409A-265             006581P001-1409A-265                     031056P001-1409A-265            003111P001-1409A-265
CAITLIN ON                       VICKI ON                                 ONE STEP UP                     CRISTYL A ONEAL
6304 EVERGLADES DR               200 MORAGA WAY                           BARRY JANOW                     900 ASHFORD LN
ALEXANDRIA VA 22312              ORINDA CA 94563                          1412 BROADWAY                   1104
                                                                          3RD FL                          ARLINGTON TX 76006
                                                                          NEW YORK NY 10018
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007411P001-1409A-265                       037723P003-1409A-265                           002569P001-1409A-265                      008611P001-1409A-265
JAYLA M ONEAL                              SCARLETT R ONEIL                               SCARLETT R ONEIL                          EMILY P ONNI
1000 17TH AVE                              3735 8TH AVE S APT 320                         929 5TH ST SOUTH                          117 ORCHID CT
169                                        ST CLOUD MN 56301-6408                         SAUK RAPIDS MN 56379                      TOMS RIVER NJ 08753
NASHVILLE TN 37208




031470P001-1409A-265                       034396P001-1409A-265                           037643P002-1409A-265                      033078P003-1409A-265
ONTARIO MILLS LIMITED PARTNERSHIP          ONTARIO MILLS LIMITED PARTNERSHIP              ONTARIO MILLS LIMITED PARTNERSHIP         ONTARIO MUNICIPAL UTILITIES CO
ONTARIO MILLS LIMITED PARTNERS             PO BOX 198844                                  A DELAWARE LIMITED PARTNERSHIP            CITY OF ONTARIO
MARGIE ZEPEDA                              ATLANTA GA 30384-8844                          SIMON PROPERTY GROUP LP RONALD M TUCKER   DELILAH PATTERSON
PO BOX 198844                                                                             225 WEST WASHINGTON ST                    1333 S BON VIEW AVE
ATLANTA GA 30384-8844                                                                     INDIANAPOLIS IN 46204                     ONTARIO CA 91761



031057P001-1409A-265                       032333P001-1409A-265                           037168P001-1409A-265                      037808P001-1409A-265
ONTT USA INC DBA BLUSH PINK                ONWARD SEARCH                                  OOCL LOGISTICS USA INC                    OOCL USA INC
1458 SSAN PEDRO ST                         SHANNON MCGRATH                                BRYAN DAVID PRESS ESQ                     BRYAN DAVID PRESS ESQ
#132                                       PO BOX 5063                                    METRO GROUP MARITIME                      METRO GROUP MARITIME
LOS ANGELES CA 90015                       NEW YORK NY 10087                              61 BROADWAY STE 905                       61 BROADWAY STE 905
                                                                                          NEW YORK NY 10006                         NEW YORK NY 10006



037462P001-1409A-265                       002476P001-1409A-265                           032334P001-1409A-265                      006590P001-1409A-265
OOLY LLC                                   LYDIA OOYAMA                                   OPENDNS INC                               ARIANA OPPENHEIMER
CINDY BITTICK                              11 MIMA CIR                                    STEVE ELGIE                               482 ALLEN PK RD
3923 OCEANIC DR STE 100                    FAIRPORT NY 14450                              444 TOWNSEND ST                           SPRINGFIELD MA 01118
OCEANSIDE CA 92056                                                                        SAN FRANCISCO CA 94107




009090P001-1409A-265                       037644P002-1409A-265                           031471P001-1409A-265                      033442P001-1409A-265
CASSANDRA L OPPERMANN                      OPRY MILLS MALL LIMITED PARTNERSHIP            OPRY MILLS MALL LP                        OPTIMIZELY INC
150 CARMEN RD                              A DELAWARE LIMITED PARTNERSHIP                 PO BOX 402242                             631 HOWARD ST
AMHERST NY 14226                           SIMON PROPERTY GROUP LP RON TUCKER             ATLANTA GA 30384-2242                     STE 100
                                           225 WEST WASHINGTON ST                                                                   SAN FRANCISCO CA 94105
                                           INDIANAPOLIS IN 46204



032335P001-1409A-265                       036690P001-1409A-265                           033246P001-1409A-265                      000801P001-1409A-265
OPTIS LABS LLC                             OPTIS LABS LLC                                 OPTIV SECURITY INC                        JACKELINE A OQUENDO
TANGIRALA C SARMA                          2828 PICCADILLY CIR                            ACCOUNTS PAYABLE                          34 N SWEZEYTOWN RD
2828 PICCADILLY CIR                        SAN RAMON CA 94582                             1125 17TH ST STE 1700                     MIDDLE ISLAND NY 11953-1443
SAN RAMON CA 94582                                                                        DENVER CO 80202




037842P001-1409A-265                       000151P002-1409A-265                           010307P002-1409A-265                      010290P002-1409A-265
OR- CLACKAMAS COUNTY ASSESSMENT AND TAX    OR- DEPT OF REVENUE                            OR- LANE COUNTY TAX COLLECTOR             OR- MULTNOMAH COUNTY
150 BEAVERCREEK RD                         BANKRUPTCY UNIT COLLECTIONS DIV                DANIELA URBATZKA                          DART
OREGON CITY OR 97045                       KIMBERLY LIVELY                                125 E 8TH AVE                             ALLISON WELLMAN
                                           955 CENTER ST NE                               EUGENE OR 37401                           PO BOX 2716
                                           SALEM OR 97301-2555                                                                      PORTLAND OR 97208-2716
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032336P001-1409A-265           035144P001-1409A-265                      035348P001-1409A-265                     036691P001-1409A-265
ORACLE AMERICA INC             ORACLE AMERICA INC                        ORACLE AMERICA INC                       ORACLE AMERICA INC
ANAND ASOPA                    RESPONSYS EMAIL SUBSCRIPTION              DEBORAH MILLER ESQ                       500 ORACLE PKWY
500 ORACLE PKWY                500 ORACLE PKWY                           ALICE MILLER, ESQ.                       REDWOOD CITY CA 94065
REDWOOD CITY CA 94065          REDWOOD CITY CA 94065                     500 ORACLE PKWY
                                                                         REDWOOD CA 94065



037645P001-1409A-265           035142P001-1409A-265                      035143P001-1409A-265                     035145P001-1409A-265
ORACLE AMERICA INC             ORACLE AMERICA INC COUPON CODE            ORACLE AMERICA INC RESPONSYS EMAIL SVC   ORACLE AMERICA INC SEND TIME OPTIMIZATION
AMISH R DOSHI ESQ              500 ORACLE PKWY                           500 ORACLE PKWY                          500 ORACLE PKWY
DOSHI LEGAL GROUP PC           REDWOOD CITY CA 94065                     REDWOOD CITY CA 94065                    REDWOOD CITY CA 94065
1979 MARCUS AVE STE 210E
LAKE SUCCESS NY 11042



032337P001-1409A-265           034010P001-1409A-265                      033079P002-1409A-265                     033079S001-1409A-265
ORACLE USA, INC                ORANGE AND ROCKLAND                       ORANGE AND ROCKLAND UTILITIES            ORANGE AND ROCKLAND UTILITIES
PO BOX 44471                   390 W RTE 59                              PO BOX 1005                              JENNIFER WOEHRLE
SAN FRANCISCO CA 94144-4471    SPRING VALLEY NY 10977                    SPRING VALLEY NY 10977                   390 W RTE 59
                                                                                                                  SPRING VALLEY NY 10977




010462P001-1409A-265           010539P001-1409A-265                      010169P001-1409A-265                     031472P001-1409A-265
ORANGE COUNTY TAX COLLECTOR    ORANGE COUNTY TAX COLLECTOR               ORANGE COUNTY TREASURER                  ORANGE PARK MALL LLC
PO BOX 1438                    PO BOX 545100                             PO BOX 4005                              WASHINTON PRIME GROUP INC
SANTA ANA CA 92702-1438        ORLANDO FL 32854-5100                     SANTA ANA CA 92702-4005                  180 EAST BROAD ST
                                                                                                                  COLUMBUS OH 43215




036978P001-1409A-265           036978S001-1409A-265                      002632P001-1409A-265                     031058P001-1409A-265
ORANGE PARK MALL LLC           ORANGE PARK MALL LLC                      LETIA ORANGE                             ORCHARD INTERNATIONAL INC
WASHINGTON PRIME GROUP INC     WASHINGTON PRIME GROUP INC                2390 NUT TREE RD                         275 SUPERIOR BLVD
FROST BROWN TODD LLC           STEPHEN E IFEDUBA                         12                                       UNIT 1
301 E FOURTH ST                180 E BROAD ST                            VACAVILLE CA 95687                       MISSISSAUGA ON L5T 2L6
CINCINNATI OH 45202            COLUMBUS OH 43215                                                                  CANADA



036274P001-1409A-265           008480P001-1409A-265                      004176P001-1409A-265                     030330P001-1409A-265
ORCHID LOVE INC                ALICIA M ORDAZ                            DAISY ORDONEZ                            ELIZABETH ORDONEZ
2731 SOUTH ALAMEDA ST          323 MOSSWOOD LN                           24929 ALDERBROOK DR                      ADDRESS INTENTIONALLY OMITTED
LOS ANGELES CA 90058           IOWA CITY IA 52246                        APT5
                                                                         NEWHALL CA 91321




001790P001-1409A-265           009708P001-1409A-265                      034130P001-1409A-265                     034131P001-1409A-265
ELIZABETH A ORDONEZ            CHISA J ORDU                              OREC AMARILLO MALL MEMBER LLC            OREC FORT SMITH MALL MEMBER LLC
4001 FAUDREE RD APT L205       6229 LENNOX LN                            124 JOHNSON FERRY RD NE                  124 JOHNSON FERRY RD NE
ODESSA TX 79765                GARLAND TX 75043                          ATLANTA GA 30328                         ATLANTA GA 30328
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034125P001-1409A-265                    004489P001-1409A-265                        000342P001-1409A-265           000226P001-1409A-265
OREC MESILLA VALLEY MALL MEMBER LLC     STEPHANIE OREGEL                            OREGON ATTORNEY GENERAL        OREGON BUREAU OF LABOR AND INDUSTRIES
SPINOSO MANAGEMENT GROUP                1329 NOCHE DR                               ELLEN F ROSENBLUM              COMMISSIONER
112 NORTHERN CONCOURSE                  OXNARD CA 93030                             OREGON DEPARTMENT OF JUSTICE   800 NE OREGON ST
NORTH SYRACUSE NY 13212                                                             1162 CT ST NE                  STE 1045
                                                                                    SALEM OR 97301-4096            PORTLAND, OR 97232



000079P001-1409A-265                    000080P001-1409A-265                        000394P001-1409A-265           009773P001-1409A-265
OREGON DEPT OF ENVIRONMENTAL QUALITY    OREGON DEPT OF FISH AND WILDLIFE            OREGON DEPT OF JUSTICE         OREGON DEPT OF REVENUE
811 SW 6TH AVE                          4034 FAIRVIEW INDUSTRIAL DR SE              CONSUMER PROTECTION            PO BOX 14777
PORTLAND OR 97204-1390                  SALEM OR 97302                              1162 CT ST NE                  SALEM OR 97309-0960
                                                                                    SALEM OR 97301-4096




009816P001-1409A-265                    010464P001-1409A-265                        000447P001-1409A-265           010661P001-1409A-265
OREGON DEPT OF REVENUE                  OREGON DEPT OF REVENUE                      OREGON DEPT OF STATE LANDS     OREGON PUBLIC EMPLOYEES RETIREMENT FUND
PO BOX 14790                            PO BOX 14780                                UNCLAIMED PROPERTY SECTION     KKR
SALEM OR 97309-0470                     SALEM OR 97309-0469                         775 SUNNER ST NE               JEREMIAH LANE
                                                                                    STE 100                        350 WINTER ST NE
                                                                                    SALEM OR 97301-1279            STE 100
                                                                                                                   SALEM OR 97301-3896


002160P001-1409A-265                    009013P001-1409A-265                        002940P001-1409A-265           008371P001-1409A-265
CARLA ORELLANA                          JEISSI J ORELLANA                           KEITHY ARABELLA ORELLANA       VALERIE ORELLANA
205 BENTON DR                           400 EAST LITTLE CREEK RD                    10600 MONTARA AVE              30560 APPALACHIAN DR
APT 1203                                NORFOLK VA 23505                            SOUTH GATE CA 90280            CASTAIC CA 91384
ALLEN TX 75002-5359




002070P001-1409A-265                    032338P001-1409A-265                        034170P001-1409A-265           031059P001-1409A-265
YOSELIN ORELLANA                        ORGANIC CHEF CATERING LLC                   ORGANIC CHEF CATERING LLC      ORGANIC GREY INC
1705 RIVER OAKS DR                      EDEN BENAVIDES                              1760 CESAR CHAVEZ              3140 E PICO BLVD
ALLEN TX 75002-5359                     1760 CESAR CHAVEZ                           STE F                          UNIT A
                                        STE F                                       SAN FRANCISCO CA 94124         LOS ANGELES CA 90023
                                        SAN FRANCISCO CA 94124



033695P001-1409A-265                    030820P001-1409A-265                        031473P001-1409A-265           036961P001-1409A-265
ORGANIC SPREAD MEDIA                    ORIENT FASHION EXPORTS (INDIA)              ORLAND LP                      ORLAND LP AN ILLINOIS LIMITED PARTNERSHIP
32 UNION SQUARE EAST                    PARUL SAXENA                                288 ORLAND SQUARE              SIMON PROPERTY GROUP LP
NEW YORK NY 10013                       E-45/14 OKHLA INDUSTRIAL AREA               ORLAND PARK IL 60462           RONALD M TUCKER
                                        NEW DELHI 110020                                                           225 WEST WASHINGTON ST
                                        INDIA                                                                      INDIANAPOLIS IN 46204



031474P001-1409A-265                    033080P001-1409A-265                        033080S001-1409A-265           031475P001-1409A-265
ORLANDO OUTLET OWNER LLC                ORLANDO UTILITIES COMMISSION                ORLANDO UTILITIES COMMISSION   ORLANDO VINELAND PO LP
SIMON PROPERTY GROUP LLC                PO BOX 4901                                 RELIABLE PLAZA                 PREMIUM OUTLET PARTNERS LP
PO BOX 772811                           ORLANDO FL 32802                            100 WEST ANDERSON ST           PO BOX 827733
CHICAGO IL 60677-2811                                                               ORLANDO FL 32801               PHILADELPHIA PA 19182-7733
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036692P001-1409A-265          002624P001-1409A-265                            009572P001-1409A-265                   030215P001-1409A-265
ORLANDO VINELAND PO LP        KRISTIN N ORLANDO                               ASHLEY ORMANDY                         ANDREA ORNELAS
PO BOX 827733                 74 MADISON AVE                                  217 MAPLE CT                           ADDRESS INTENTIONALLY OMITTED
PHILADELPHIA PA 19182-7733    WESTBURY NY 11590                               MADERA CA 93637




001830P001-1409A-265          008158P001-1409A-265                            005175P001-1409A-265                   008227P001-1409A-265
ARIANA D ORNELAS              MARY G ORNELAS                                  KARINA OROZCO VILLASENOR               ASTRID M OROZCO
240 GURRIES DR                852 EAST 20TH ST LN                             3877 LIGHT YEAR DR                     5135 N POST RD
B                             GREELEY CO 80631                                LAS VEGAS NV 89115                     TRLR 235
GILROY CA 95020                                                                                                      INDIANAPOLIS IN 46226




007441P001-1409A-265          035874P001-1409A-265                            035875P001-1409A-265                   002722P001-1409A-265
MARISOL M OROZCO              VALERIE OROZCO                                  VILLASENOR KARINA OROZCO               KYRA ORR
8839 GRAHAM                   42774 AMAZON ST                                 3877 LIGHT YEAR DR                     605 NE EMERSON ST
DEARBORN MI 48126             HEMET CA 92544                                  LAS VEGAS NV 89115                     PORTLAND OR 97211




001969P001-1409A-265          030874P001-1409A-265                            034373P001-1409A-265                   035876P001-1409A-265
SIERRA D ORR                  ORRICK, HERRINGTON AND SUTCLIFFE LLC            ORRICK, HERRINGTON AND SUTCLIFFE LLC   ERIS M ORTA
200 MULLER GDN RD             ORRICK HERRINGTON AND SUTCLIFFE                 DEPT 34461                             325 CLARENDON
APT 712                       DEPT 34461 PO BOX 39000                         PO BOX 39000                           COLUMBUS OH 43223
TYLER TX 75703-5071           SAN FRANCISCO CA 94139                          SAN FRANCISCO CA 94139




009014P001-1409A-265          007696P001-1409A-265                            002972P001-1409A-265                   007227P001-1409A-265
GABRIELA ORTA                 AMERICA G ORTEGA MARTINEZ                       ERIKA J ORTEGA VILLALOBOS              ANA D ORTEGA
1360 PEORIA ST APT 301        1906 JEROME AV SW                               2816 FM 1978                           88 MANHATTAN AVE
301                           GRAND RAPIDS MI 49507                           SAN MARCOS TX 78666                    3L
AUROA CO 80011                                                                                                       BROOKLYN NY 11206




005859P001-1409A-265          006104P002-1409A-265                            035877P001-1409A-265                   001716P001-1409A-265
BEATRIZ A ORTEGA              BETZABET S ORTEGA                               GIZELLE ORTEGA                         GUADALUPE O ORTEGA
2100 STALCUP RD               11263 GOLDEN LEAF CIRCLE                        5461 DEHESA RD                         3076 OAK CREST CIR
FORT WORTH TX 76112           MANASSAS VA 20109-7667                          EL CAJON CA 92019                      EL PASO TX 79936-0664




035878P001-1409A-265          003992P001-1409A-265                            005691P001-1409A-265                   035879P001-1409A-265
MARTINEZ AMERICA G ORTEGA     MICHELLE L ORTEGA                               VERONICA F ORTEGA                      VILLALOBOS ERIKA J ORTEGA
1906 JEROME AV SW             14647 LASATER RD                                15873 YARNELL ST                       2816 FM 1978
GRAND RAPIDS MI 49507         173                                             SYLMAR CA 91342                        SAN MARCOS TX 78666
                              DALLAS TX 75253
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007618P001-1409A-265                    003063P001-1409A-265                004111P001-1409A-265               003152P001-1409A-265
GABRIELA ORTEGON                        ELVIA M ORTEZ                       ALEX G ORTIZ                       ERANDI ORTIZ
1701 MILL ST                            57 NEW ST                           268 POPLAR ST                      6927 WRIGHT PLZ APT O2
SAN MARCOS TX 78666                     SOUTH RIVER NJ 08882                10                                 OMAHA NE 68106
                                                                            CATASAUQUA PA 18032




001188P001-1409A-265                    005866P002-1409A-265                035880P001-1409A-265               007374P001-1409A-265
FRANCISCA ORTIZ                         GYSSELLE ORTIZ                      GYSSELLE ORTIZ                     INDIRA ORTIZ
6910 W WATERS AVE                       2502 FLINT CT BLDG 4                2502 FLINT CT                      MAGUAYO
APT 600                                 SOUTH BEND IN 46628-3639            SOUTH BEND IN 46628                DORADO PR 00646
TAMPA FL 33634-2215




000869P001-1409A-265                    000961P001-1409A-265                001653P001-1409A-265               006223P002-1409A-265
INGRID ORTIZ                            JANYZE O ORTIZ                      JESSICA ORTIZ                      KATELYNN E ORTIZ
969 GROVE ST                            4416 ELIZABETH ST APT 5             2687 E BERETTA PL                  101 W BROWING RD APT 19A
1ST FL                                  CUDAHY CA 90201                     CHANDLER AZ 85286-5704             COLLINGSWOOD NJ 08108-2936
ELIZABETH NJ 07202




001705P001-1409A-265                    001647P001-1409A-265                004116P002-1409A-265               004406P001-1409A-265
MARGARITA ORTIZ                         MARIA G ORTIZ                       MILAGROS E ORTIZ                   MIRIAM ORTIZ
5709 BROSAM DR                          9108 MAPLE ST                       18908 SMOOTHSTONE WAY APT 5        720 BAYSHORE DR CONDO 303
PLAINFIELD IL 60586                     BELLFLOWER CA 90706-5619            MONTGOMERY VILLAGE MD 20886-3864   FT LAUDERDALE FL 33304




007873P001-1409A-265                    004402P001-1409A-265                007984P001-1409A-265               007442P001-1409A-265
PRECIOSA ORTIZ                          YESENIA ORTIZ                       ZOIE I ORTIZ                       ANDREA M ORTOLANI
1550 E LYCOMING ST                      1500 SEMINOLE DR                    2241 VINE ST                       113 AQUEDUCT CT
PHILADELPHIA PA 19124                   22                                  DENVER CO 80205                    FOREST HILL MD 21050
                                        JOHNSON CITY TN 37604




031476P001-1409A-265                    033229P001-1409A-265                005509P001-1409A-265               007942P001-1409A-265
OSAGE BEACH PREMIUM OUTLETS             CAMELIA OSAIAN                      ASHLEY OSBORN                      EMALEE N OSBURN
PREMIUM OUTLET PARTNERS LP              562 LUTON ST                        6145 STRAWBERRY LN                 1008 PEPPERTREE PL
LEASE ACCOUNTING                        GLENDALE CA 91206                   FLORENCE KY 41042                  NORMAN OK 73071
PO BOX 822941
PHILADELPHIA PA 19182-2941



032703P001-1409A-265                    008567P001-1409A-265                005777P001-1409A-265               010081P001-1409A-265
OSCAR J GARCIA, COUNTY TAX COLLECTOR    DEANNA K OSCARLYNN                  HANNAH L OSENTOSKI                 OSG
VICKI CROW CPAFRESNO                    10870 PINE ST                       202 MANZANA CT NW                  OUTSOURCING SOLUTIONS GROUP
PO BOX 1192                             TAYLOR MI 48180                     APT 3D                             630 N CENTRAL EXPWY
FRESNO CA 93715-1192                                                        WALKER MI 49534                    STE A
                                                                                                               PLANO TX 75074
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003602P001-1409A-265             009429P001-1409A-265                             000590P001-1409A-265                    035881P001-1409A-265
JESSICA C OSIER                  AMINA S OSMAN                                    ESTEFANIA OSORIO MARTINEZ               MARTINEZ ESTEFANIA OSORIO
3060 SEDGWICK CIR                14405 8TH AVE SW                                 1775 LINNERUD DR                        1775 LINNERUD DR
LOVELAND CO 80538                APT 110                                          APT 201                                 APT 201
                                 BURIEN WA 98166                                  SUN PRAIRIE WI 53590                    SUN PRAIRIE WI 53590




006044P001-1409A-265             004070P001-1409A-265                             002348P001-1409A-265                    001074P001-1409A-265
BRYAN OSORTO                     LISETTE M OSORTO                                 BERNADETTE OSSUN                        LAURA J OSTROW
416 1/2 W WHITEHALL ST           2208 RICHWOOD PIKE DR                            5669 N FRESNO ST                        3221A MT ZION RD
ALLENTOWN PA 18102               RUSKIN FL 33570                                  142                                     UPPERCO MD 21155
                                                                                  FRESNO CA 93710




004914P001-1409A-265             035882P001-1409A-265                             008116P001-1409A-265                    000795P001-1409A-265
MARTHA L OSUNA AGUERO            AGUERO MARTHA L OSUNA                            HEAVEN M OSUNA                          LUZ OSUNA
2004 E WHITE AVE                 2004 E WHITE AVE                                 208 LAURA LN                            5896 JANET ST
APT101                           APT101                                           GRAND PRAIRIE TX 75052                  RIVERSIDE CA 92509
FRESNO CA 93701                  FRESNO CA 93701




005872P001-1409A-265             001894P001-1409A-265                             001884P001-1409A-265                    007331P001-1409A-265
ALEXANDREA J OSWALD              ANNA OSWALD                                      CLARA OSWALD                            APRIL OTERO
319 CHESTNUT HEIGHTS DR          4144 W 90TH ST                                   530 WARRICK DR                          1529 SAN PEDRO RD NE
LIVERPOOL NY 13088               HOMETOWN IL 60456-1214                           WASHINGTON PA 15301-9514                RIO RANCHO NM 87144




003739P001-1409A-265             008088P001-1409A-265                             000779P001-1409A-265                    004866P001-1409A-265
MARIANN C OTERO                  JESSICA OTTAH                                    AVA OTWAY                               PAYTON L OTZENBERGER
1804 OXFORD SQ                   2861 INGRAM CIR                                  919 MYRTLE AVE                          12029 LA PALMERA AVE
BEL AIR MD 21015                 MESQUITE TX 75181                                APT 12L                                 LAS VEGAS NV 89138
                                                                                  BROOKLYN NY 11206




010555P001-1409A-265             003171P001-1409A-265                             036886P001-1409A-265                    036886S001-1409A-265
OUACHITA PARISH TAX COLLECTOR    HEDAYA OUBAID                                    THE OUTLET COLLECTION LLC               THE OUTLET COLLECTION LLC
PO BOX 660587                    4515 SE DUPONT RD                                AKA WASHINGTON PRIME GROUP INC          AKA WASHINGTON PRIME GROUP INC
DALLAS TX 75266-0587             BERRYTON KS 66409                                FROST BROWN TODD LLC                    STEPHEN E IFEDUBA
                                                                                  301 E FOURTH ST                         180 E FOURTH ST
                                                                                  CINCINNATI OH 45202                     COLUMBUS OH 43215



036693P001-1409A-265             031477P001-1409A-265                             031478P001-1409A-265                    032704P001-1409A-265
OUTLET MALL OF SAVANNAH LLC      OUTLET MALL OF SAVANNAH, LLC                     OUTLETS AT WESTGATE, LLC                OUTSOURCING SOLUTIONS GROUP
TANGER PROPERTIES LIMITED        TANGER PROPERTIES LIMITED PARTNERSHIP            TANGER PROPERTIES LIMITED PARTNERSHIP   GEOFFREY BRASS
PO BOX 414225                    PO BOX 414225                                    PO BOX 414225                           630 N CENTRAL EXPWY
BOSTON MA 02241-4225             BOSTON MA 02241-4225                             BOSTON MA 02241-4225                    STE A
                                                                                                                          PLANO TX 75074
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034310P001-1409A-265           007420P001-1409A-265                     007161P001-1409A-265                 033364P001-1409A-265
OUTSOURCING SOLUTIONS GROUP    BELEN OVALLE                             BRIDGET S OVANDO                     OVED APPAREL
630 N CENTRAL EXPWY            742 W WHEATRIDGE DR                      13301 KEATING ST                     TONI JONES
STE A                          TUCSON AZ 85704                          ROCKVILLE MD 20853                   31 W 34TH ST
PLANO TX 75074                                                                                               4TH FLOOR
                                                                                                             NEW YORK NY 10001



009644P001-1409A-265           008733P001-1409A-265                     003884P001-1409A-265                 002270P001-1409A-265
ASHLEY N OVERSTREET            MARY K OVERTON                           SELINA R OVERTON                     ERICA C OVERVOLD
813 GREEN APPLE CT             2522 EAGLE AVE                           2712 BEACHMONT AVE                   2122 JUDAH ST
ARNOLD MO 63010                ALAMEDA CA 94501                         NORFOLK VA 23504                     SAN FRANCISCO CA 94122




034726P001-1409A-265           036870P001-1409A-265                     029923P001-1409A-265                 031479P001-1409A-265
OVIEDO MALL HOLDING LLC        OVIEDO MALL HOLDING LLC                  OVIEDO MALL HOLDING LLC (LANDLORD)   OVIEDO MALL HOLDING, LLC
1700 OVIEDO MALL BLVD          MALL MANAGEMENT OFFICE                   OVIEDO MALL HOLDING LLC              MALL OFFICE
OVIEDO FL 32765                1700 OVIEDO MALL BLVD                    MALL MANAGEMENT OFFICE               1700 OVIEDO MALL BLVD
                               OVIEDO FL 32765                          1700 OVIEDO MALL BLVD                OVIEDO FL 32765
                                                                        OVIEDO FL 32765



034165P001-1409A-265           003968P001-1409A-265                     004724P001-1409A-265                 009497P001-1409A-265
OVIEDO MALL HOLDING, LLC       ANGELIKA R OVIEDO                        YANET E OVIEDO                       KIARA S OWEN
OVIEDO MALL HOLDING LLC        566 CENTRAL AVE                          COUNTRY CLUB C/259 #GY21             1163 THE GROVE
MALL OFFICE                    BROOKLYN NY 11207                        CAROLINA PR 00982                    VICTOR NY 14564
1700 OVIEDO MALL BLVD
OVIEDO FL 32765



001064P001-1409A-265           030497P001-1409A-265                     002065P001-1409A-265                 007867P001-1409A-265
MANDIE OWEN                    MANDIE OWEN                              SARAH G OWEN                         IKERRIYA OWENS
18081 MIDWAY RD                ADDRESS INTENTIONALLY OMITTED            94-214 NOHOLOA CT                    2493 BOXFORD LN
APT1912                                                                 APT 29                               CORDOVA TN 38016
DALLAS TX 75287                                                         MILILANI HI 96789-2431




008423P001-1409A-265           005751P001-1409A-265                     009492P001-1409A-265                 009062P001-1409A-265
JAIASHLI OWENS                 JAMI M OWENS                             MAKENA R OWENS                       SHELBY D OWENS
5106 N 52ST                    5311 FAIRBANKS                           9920 LEGRAND DR                      100 BYRAM DR APT 19H
OMAHA NE 68104                 LANSING MI 48917                         WEXFORD PA 15090                     BYRAM MS 39272




009520P001-1409A-265           005071P001-1409A-265                     008052P001-1409A-265                 008470P001-1409A-265
XZARIA T OWENS                 JAYNAH L OWES                            SHALOM OWOLABI                       CLAUDIA E OWUSU
4313 CORYELL WAY               1712 EAST CLEAR LAKE DR                  2405 VILLANOVA ST                    7426 OLIVER AVE S APT 3
MESQUITE TX 75150              SALISBURY MD 21804                       ARLINGTON TX 76018                   3
                                                                                                             RICHFIELD MN 55423
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037161P001-1409A-265                         002395P001-1409A-265                   007006P001-1409A-265           009311P001-1409A-265
EMILY OXLEY                                  EMILY R OXLEY                          KAYLEIGH C OXLEY               TAMI OXLEY
47 FLINT ST                                  47 FLINT ST                            1032 LAIRD AVE                 426 GDN ST
SPRINGFIELD MA 01129                         SPRINGFIELD MA 01129                   PARKERSBURG WV 26101           WEST SACRAMENTO CA 95691




030632P001-1409A-265                         035883P001-1409A-265                   002327P001-1409A-265           037463P001-1409A-265
TAMI OXLEY                                   TAMI OXLEY                             MARIE A OXNER                  OZARKS ELECTRIC COOP
ADDRESS INTENTIONALLY OMITTED                426 GARDEN ST                          668 CHINQUAPIN WAY             DAVID DIXON
                                             WEST SACRAMENTO CA 95691               STONE MOUNTAIN GA 30083        OZARKS ELECTRIC COOP
                                                                                                                   3641 WEDINGTON DR
                                                                                                                   FAYETTEVILLE AR 72704



033081P001-1409A-265                         033081S001-1409A-265                   008057P001-1409A-265           031060P001-1409A-265
OZARKS ELECTRIC COOPERATIVE                  OZARKS ELECTRIC COOPERATIVE            DIANA OZERUGA                  P AND A FASHION
PO BOX 22114                                 3641 WEDINGTON DR                      236 COOKINGHAM WAY             YOUNG MI KWON
TULSA OK 74121                               FAYETTEVILLE AR 72704                  SACRAMENTO CA 95838            738 E 14TH ST
                                                                                                                   STE H
                                                                                                                   LOS ANGELES CA 90021



036275P001-1409A-265                         037321P001-1409A-265                   032339P001-1409A-265           036694P001-1409A-265
P AND A FASHION                              P AND A FASHION                        P AND M DISTRIBUTORS           P AND M DISTRIBUTORS
738 E 14TH ST SUITE H                        PNAK                                   ARN DISTRIBUTORS               2345 E 52ND ST
LOS ANGELES CA 90021                         738 EAST 14TH ST                       2345 E 52ND ST                 VERNON CA 90058
                                             H                                      VERNON CA 90058
                                             LOS ANGELES CA 90021



009774P001-1409A-265                         009804P001-1409A-265                   009817P001-1409A-265           010151P001-1409A-265
PA DEPT OF REVENUE                           PA DEPT OF REVENUE                     PA DEPT OF REVENUE             PA DEPT OF REVENUE
NO PAYMENT NO REFUND                         REFUND REQUESTED                       PAYMENT ENCLOSED               BUREAU OF CORP TAXES
PO BOX 280708                                PO BOX 280706                          PO BOX 280427                  DEPT 280701
HARRISBURG PA 17128-0708                     HARRISBURG PA 17128-0706               HARRISBURG PA 17128-0427       HARRISBURG PA 17128-0701




010501P001-1409A-265                         032888P002-1409A-265                   035256P002-1409A-265           035256S001-1409A-265
PA DEPT OF REVENUE                           PA- CITY OF LANCASTER                  PA- DEPT OF REVENUE            PA- DEPT OF REVENUE
PO BOX 280427                                JULIE TAYLOR                           BANKRUPTCY DIVISION            SEAN GRIMM
HARRISBURG PA 17128                          PO BOX 1020                            PO BOX 280946                  4TH & WALNUT ST
                                             39 W CHESTNUT ST                       HARRISBURG PA 17128-0946       HARRISBURG PA 17128
                                             LANCASTER PA 17608-1020



032705P001-1409A-265                         009087P001-1409A-265                   035884P001-1409A-265           007300P001-1409A-265
PABLO VILLAREAL JR, TAX ASSESSORCOLLECTOR    MICHELLE M PABON MARTINEZ              MARTINEZ MICHELLE M PABON      ARACELI N PACHECO
HIDALGO COUNTY TAX COLLECTOR                 2745 SAMPSON AVE                       2745 SAMPSON AVE               3327 E KERCKHOFF AVE
PO BOX 3337                                  3C                                     3C                             FRESNO CA 93702
EDINBURG TX 78540-3337                       BRONX NY 10465                         BRONX NY 10465
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037322P001-1409A-265                          037322S001-1409A-265                              033082P001-1409A-265                         033082S001-1409A-265
PACIFIC BELL TELEPHONE CO                     PACIFIC BELL TELEPHONE CO                         PACIFIC GAS AND ELECTRIC                     PACIFIC GAS AND ELECTRIC
AT AND T SVC INC                              Melinda Alonzo                                    PAYMENT PROCESSING                           885 EMBARCADERO DR
KAREN CAVAGNARO ESQ                           Bankruptcy Representative                         885 EMBARCADERO DR                           W SACRAMENTO CA 95605
ONE AT&T WAY ROOM 3A104                       4331 Communications Dr, Flr 4W                    W SACRAMENTO CA 95605
BEDMINSTER NJ 07921                           Dallas TX 75211



036907P001-1409A-265                          034271P001-1409A-265                              029924P001-1409A-265                         029925P001-1409A-265
PACIFIC GAS AND ELECTRIC CO                   PACIFIC PREMIER RETAIL TRUST                      PACIFIC RETAIL CAP PRTNRS (LANDLORD)         PACIFIC RETAIL CAP PRTNRS (LANDLORD)
CHARLENE HORTON                               401 WILSHIRE BLVD                                 YTC MALL OWNER LLC                           GS P PACIFIC ER LLC
PO BOX 8329                                   STE 700                                           MANAGING PRINCIPAL                           MANAGING PRINCIPAL
STOCKTON CA 95208                             SANTA MONICA CA 90401                             100 NORTH SEPULVEDA BLVD STE 1925            100 NORTH SEPULVEDA BLVD STE 1925
                                                                                                EL SEGUNDO CA 90245                          EL SEGUNDO CA 90245



029926P001-1409A-265                          029927P001-1409A-265                              034891P001-1409A-265                         034894P001-1409A-265
PACIFIC RETAIL CAP PRTNRS (LANDLORD)          PACIFIC RETAIL CAP PRTNRS (LANDLORD)              PACIFIC RETAIL CAPITAL PARTNERS              PACIFIC RETAIL CAPITAL PARTNERS
NORTHPARK REALTY LP                           WP GALLERIA REALTY LP                             GS P PACIFIC ER LLC                          NORTHPARK REALTY LP
MANAGING PRINCIPAL                            MANAGING PRINCIPAL                                100 NORTH SEPULVEDA BLVD                     100 NORTH SEPULVEDA BLVD
100 NORTH SEPULVEDA BLVD STE 1925             100 N PACIFIC COAST HIGHWAY STE 1925              STE 1925                                     STE 1925
EL SEGUNDO CA 90245                           EL SEGUNDO CA 90245                               EL SEGUNDO CA 90245                          EL SEGUNDO CA 90245



034897P001-1409A-265                          029924S001-1409A-265                              029925S001-1409A-265                         029926S001-1409A-265
PACIFIC RETAIL CAPITAL PARTNERS               PACIFIC RETAIL CAPITAL PARTNERS (LANDLORD)        PACIFIC RETAIL CAPITAL PARTNERS (LANDLORD)   PACIFIC RETAIL CAPITAL PARTNERS (LANDLORD)
WP GALLERIA REALTY LP                         YTC MALL OWNER, LLC                               GS PACIFIC ER LLC                            NORTHPARK REALTY LP
100 N PACIFIC COAST HIGHWAY                   MALL MANAGEMENT OFFFICE                           EASTRIDGE MANAGEMENT OFFICE                  NORTHPARK MALL MANAGEMENT OFFICE
STE 1925                                      203 YORKTOWN SHOPPING CTR                         2200 EASTRIDGE LOOP                          1200 E COUNTY LINE RD
EL SEGUNDO CA 90245                           LOMBARD IL 60148                                  SAN JOSE CA 95122                            RIDGELAND MS 39157



029927S001-1409A-265                          033083P001-1409A-265                              004787P001-1409A-265                         001343P001-1409A-265
PACIFIC RETAIL CAPITAL PARTNERS (LANDLORD)    PACIFICORP                                        JOZETTE PACKER                               MAYLANI PACLEB
WP GALLERIA REALTY LP                         1033 NE 6TH AVE                                   16 W 38TH ST                                 94-342 HANAWAI CIR
THE GALLERIA AT WHITE PLAINS                  PORTLAND OR 97256                                 BAYONNE NJ 07002                             WAIPAHU HI 96797
MALL MANAGEMENT OFFICE 100 MAIN ST
WHITE PLAINS NY 10601



036966P001-1409A-265                          036966S001-1409A-265                              031480P001-1409A-265                         007243P001-1409A-265
PADDOCK MALL LLC                              PADDOCK MALL LLC                                  PADDOCK MALL, LLC                            KRISTY M PADELSKI
WASHINGTON PRIME GROUP INC                    WASHINGTON PRIME GROUP INC                        PO BOX 5503                                  3417 WINDY WOOD DR
FROST BROWN TODD LLC                          STEPHEN E IFEDUBA                                 DEPT: CP000266                               ORLANDO FL 32812
301 E FOURTH ST                               180 E BROAD ST                                    CAROL STREAM IL 60197-5503
CINCINNATI OH 45202                           COLUMBUS OH 43215



005433P001-1409A-265                          004133P001-1409A-265                              004133S001-1409A-265                         001183P001-1409A-265
ANNA M PADEN                                  ALLYSSA S PADIA                                   ALLYSSA S PADIA                              ADRIANA PADILLA
30 CHERYL LN                                  3395 S TATUM CT                                   105 N BEEBE ST APT 2006                      1825 BAYVIEW HEIGHTS DR
STONY POINT NY 10980                          GILBERT AZ 85297                                  GILBERT AZ 85234                             APT 87
                                                                                                                                             SAN DIEGO CA 92105
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030178P001-1409A-265             002109P001-1409A-265                004225P001-1409A-265              007761P001-1409A-265
ADRIANA PADILLA                  ARIANA PADILLA                      GABRIELA PADILLA                  JASMINE T PADILLA
ADDRESS INTENTIONALLY OMITTED    10727 O ST PLZ                      1529 E PRINCETON AVE              3311 EAST MILLER DR
                                 APT 17                              FRESNO CA 93704                   FLAGSTAFF AZ 86004
                                 OMAHA NE 68127




007742P001-1409A-265             006571P001-1409A-265                007354P001-1409A-265              009067P001-1409A-265
JESSICA PADILLA                  LESLIE P PADILLA                    LEXI J PADILLA                    TAIRY M PADILLA
20951 ROSCOE BLVD                1787 HARMONY WAY                    40258 MIMULUS WAY                 2124 ALEXANDER ST
21                               PITTSBURG CA 94565                  TEMECULA CA 92591                 OXNARD CA 93033
CANOGA PARK CA 91304




009081P001-1409A-265             009991P001-1409A-265                033084P001-1409A-265              033084S001-1409A-265
VIVIAN E PADILLA                 PADUCAH FIRE DEPT                   PADUCAH WATER                     PADUCAH WATER
963 CAMELOT DR                   301 WASHINGTON ST                   UTILITY PAYMENT CENTER            1800 N 8TH ST
CRYSTAL LAKE IL 60014            PADUCAH KY 42003                    PO BOX 2477                       PADUCAH KY 42001
                                                                     PADUCAH KY 42002




034014P002-1409A-265             009076P001-1409A-265                000554P001-1409A-265              002897P001-1409A-265
PADUCAH WATER                    KATIE A PAEZ                        BRIANNA M PAGAN                   IDALYS M PAGAN
ANGELA TOMASSI                   16 ATTERBURY RD                     2130 RAMONA DR                    1815 RICHMOND AVEN
1800 N 8TH ST                    SOUTHAMPTON NY 11968                PLEASANT HILL CA 94523            LEHIGH ACRES FL 33972
PADUCAH KY 42001




000686P001-1409A-265             001685P001-1409A-265                008560P001-1409A-265              005999P001-1409A-265
JASMINE J PAGAN                  VICTORIA PAGAN                      NICOLETTE M PAGANO                ANIYAH L PAGE
2201 MCLEAN ST                   68 ASTI AVE                         186 KING RD                       2728 WOODCUTTER AVE
GASTONIA NC 28054                REVERE MA 02151                     ROCKY POINT NY 11778              COLUMBUS OH 43224




005203P001-1409A-265             006882P001-1409A-265                009074P001-1409A-265              035885P001-1409A-265
TYANNA PAGE                      ALISHA A PAIGE JOINER               ERIN PAIGE                        JOINER ALISHA A PAIGE
9617 LANNEAU CT                  6524 MORRISON RD                    1120 APOLLO DR                    6524 MORRISON RD
BAKERSFIELD CA 93311             UTICA MS 39175                      ATLANTA GA 30331                  UTICA MS 39175




001828P001-1409A-265             008017P001-1409A-265                002150P001-1409A-265              009471P001-1409A-265
DAISJAH L PAIO                   CAROLINA PAIZ                       JESY BIANCA PAJAS                 EDNA L PALACIO
99105 OHEKANI LOOP               333 PLAINFIELD ST                   94125 PAHU ST                     9448 JILL LN
AIEA HI 96701                    2ND                                 #29                               DALLAS TX 75227
                                 PROVIDENCE RI 02909                 WAIPAHU HI 96797
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000974P001-1409A-265               035886P001-1409A-265                     035887P001-1409A-265           005581P001-1409A-265
MARIA A PALACIO                    MARIA A PALACIO                          MICHELLE D PALACIO             DANIELA PALACIOS FLORES
121 LINDSEY WAY                    2538 LAKE DEBRA APT 23109                1838 WAKE FOREST RD NW         657 SALOON CT
SANFORD FL 32771-7718              ORLANDO FL 32835                         PALM BAY FL 32907              HENDERSON NV 89011




035888P001-1409A-265               037912P002-1409A-265                     003665P001-1409A-265           000751P001-1409A-265
FLORES DANIELA PALACIOS            JOHN A PALAVANCHI                        KIRAN PALHAN                   AUDREY D PALLADINO
657 SALOON CT                      61 JUSTINE AVE                           832 93RD ST                    3582 WELLER DR
HENDERSON NV 89011                 PLYMOUTH MA 02360                        NIAGARA FALLS NY 14304         GARNET VALLEY PA 19060




002048P001-1409A-265               010274P001-1409A-265                     037695P001-1409A-265           037695S001-1409A-265
KARA PALLANTE                      PALM BEACH COUNTY SHERIFF'S              PALM BEACH MALL HOLDINGS LLC   PALM BEACH MALL HOLDINGS LLC
4 KENT CT                          OFFICE                                   MIRICK OCONNELL                NEW ENGLAND DEVELOPMENT
EASTAMPTON NJ 08060-3271           PO BOX 24681                             PAUL CAREY; KATE FOLEY         ISSIE SHAIT
                                   WEST PALM BEACH FL 33416-4681            100 FRONT ST                   75 PARK PLAZA
                                                                            WORCESTER MA 01608             BOSTON MA 02116



034485P001-1409A-265               032753P001-1409A-265                     032753S001-1409A-265           006568P001-1409A-265
PALM BEACH OUTLETS HOLDINGS LLC    PALM BEACH OUTLETS I LLC                 PALM BEACH OUTLETS I LLC       AMY D PALMA
PO BOX 9468                        PO BOX 9468                              HEADQUARTERS                   118 WALLACE AVE
NEW YORK NY 10087-9468             NEW YORK NY 10087-9468                   230 PARK AVE 12TH FL           AUBURN MA 01501
                                                                            NEW YORK NY 10169




006554P001-1409A-265               036954P001-1409A-265                     006836P001-1409A-265           009609P001-1409A-265
MARIANNE G PALMA                   LISA PALMER                              ABIGAIL J PALMER               ALEXIS PALMER
409 N KODIAK ST                    PO BOX 236                               100 49TH AVE CT                633 S CALHOUN ST
A                                  DONEGAL PA 15628                         GREELEY CO 80634               WICHITA KS 67207
ANAHEIM CA 92807




006985P001-1409A-265               009387P001-1409A-265                     000628P001-1409A-265           004148P001-1409A-265
BRANDI A PALMER                    DEZIYAH G PALMER                         KALIMAH Q PALMER               LAURA PALMERIN
6120 LYN LN                        33 LAFAYETTE AVE                         1617 DIAMOND RIDGE CIR         14964 E 54TH AVE
JACKSON MS 39211                   TOMS RIVER NJ 08753                      CASTLE ROCK CO 80108           DENVER CO 80239




002740P001-1409A-265               005609P001-1409A-265                     009557P001-1409A-265           009340P002-1409A-265
SAMANTHA A PALMIERI                KIRA PALMITER                            MARISOL PALOMINO               ASHLEY G PALUCK
4059 CAMBRONNE ST                  3721 BOSK LN                             4401 MORRIS ST NE              1078 STILLSPRING DRIVE
PITTSBURGH PA 15212                COLLEGE GROVE TN 37046                   244                            VACAVILLE CA 95687-7705
                                                                            ALBUQUERQUE NM 87111
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003911P001-1409A-265              009593P001-1409A-265                         033276P001-1409A-265              032341P001-1409A-265
YILING L PAN                      KALENAONALANI PANA                           PANALPINA INC                     PANDORA MEDIA, INC
108 CALIFORNIA AVE                2030 E COLLEGE WAY                           1425 CORPORATE CTR DR             2101 WEBSTER ST
WATERTOWN NY 13601                OLATHE KS 66062                              STE 900                           STE 1650
                                                                               SAN DIEGO CA 92154                OAKLAND CA 94612




002619P001-1409A-265              008413P001-1409A-265                         004522P001-1409A-265              002546P001-1409A-265
MARI PANEGHELLO                   KACEY R PANELLA                              ANNALYSIA Y PANGELINAN            SARIENDA K PANN
135 LEWIS AVE                     120 AZALEA CIR                               1906 GREY FOX TRL                 5635 WEST 176TH ST
EAST LANSDOWNE PA 19050           JACKSON NJ 08527                             KILLEEN TX 76543                  FARMINGTON MN 55024




007070P001-1409A-265              033356P001-1409A-265                         036697P001-1409A-265              032342P001-1409A-265
MARIELA J PANTALEON               PANTAZIS AND ASSOCIATES INC                  PANTHEON                          PANTHEON FLOOR SOLUTIONS INC
46 HEYWARD ST                     TOM PANTAZIS                                 1536 HUTTON DR STE 100            JOHN GAYHART
BRENTWOOD NY 11718                301 BRENTWOOD RD                             CARROLLTON TX 75006               1536 HUTTON DR
                                  HILLSBOROUGH CA 94010                                                          STE 100
                                                                                                                 CARROLLTON TX 75006



031061P001-1409A-265              036276P001-1409A-265                         007966P001-1409A-265              031062P001-1409A-265
PANTIES PLUS INC                  PANTIES PLUS INC                             IXEL A PANTOJA                    PAPER SOURCE DBA WASTE NOT PAP
ALAN PRAWER                       320 FIFTH AVENUE SECOND FLOOR                7033 LOWE DR                      125 SCLARK ST
320 FIFTH AVE                     NEW YORK NY 10001                            CARPENTERSVILLE IL 60110          FL 15
SECOND FL                                                                                                        CHICAGO IL 60603
NEW YORK NY 10001



002121P001-1409A-265              004690P001-1409A-265                         031063P001-1409A-265              032343P001-1409A-265
DANIELLE PAPILON                  ALEXIS B PAPIRI                              PAR MARR DBA BLING2O              PARAMUS BOARD OF HEALTH
225 BURKE AVE                     32749 BLACKWATER RD                          525 BROADHOLLOW RD                JOCKISH SQUARE
APT C                             FRANKFORD DE 19945                           STE 104                           PARAMUS NJ 07652
TOWSON MD 21286                                                                MELVILLE NY 11747




031481P001-1409A-265              034444P001-1409A-265                         037391P001-1409A-265              003921P001-1409A-265
PARAMUS PARK SHOPPING CENTER L    PARAMUS PARK SHOPPING CENTER LIMI            PARAMUS PARK SHOPPING CENTER LP   PAOLINA PAREDES RAMIREZ
DEIDRE LAURER                     PO BOX 776184                                BROOKFIELD PROPERTY REIT INC      1504 TANYARD HILL RD
PO BOX 776184                     CHICAGO IL 60677-6184                        JULIE M BOWDEN                    GAITHERSBURG MD 20879
CHICAGO IL 60677-6184                                                          350 N ORLEANS ST STE 300
                                                                               CHICAGO IL 60654-1607



006101P001-1409A-265              004571P001-1409A-265                         009003P001-1409A-265              010451P001-1409A-265
EMMA L PARGEON                    RAVEN D PARHAM                               PAIGE PARISELLA                   PARISH OF ASCENSION
12 E 3RD ST                       11401 DUNBROOK RD                            117 WASHINGTON AVE                JEFFREY FWILEYSHERIFF AND TAX CO
POTTSTOWN PA 19464                APT 102                                      APT 414                           PO BOX 118
                                  NORTH CHESTERFIELD VA 23235                  SCHENECTADY NY 12305              GONZALES LA 70707-0118
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010428P001-1409A-265                    031482P001-1409A-265                               037358P001-1409A-265            037368P001-1409A-265
PARISH OF EAST BATON ROUGE              PARK CITY CENTER BUSINESS TRUS                     PARK CITY CENTER LLC            PARK MALL LLC
PO BOX 70                               GGPLP REAL ESTATE INC                              BROOKFIELD PROPERTY REIT INC    AKA PARK PLACE
BATON ROUGE LA 70821                    110 NORTH WACKER DR                                JULIE M BOWDEN                  BROOKFIELD PROPERTY REIT INC
                                        CHICAGO IL 60606                                   350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607           CHICAGO IL 60654-1607



031483P001-1409A-265                    031484P001-1409A-265                               035146P001-1409A-265            035147P001-1409A-265
PARK MEADOWS MALL LLC                   PARK PLACE                                         PARK PLACE TECHNOLOGIES         PARK PLACE TECHNOLOGIES
PK MEADOWS SDS-12-3096                  GGP LIMITED PARTNERSHIP                            POWEREDGE                       MAINTENANCE
MINNEAPOLIS MN 55486-3096               SDS-12-1377                                        5910 LANDERBOOK DR STE 300      5910 LANDERBOOK DR STE 300
                                        PO BOX 86                                          MAYFIELD HEIGHTS OH 44124       MAYFIELD HEIGHTS OH 44124
                                        MINNEAPOLIS MN 55486-1377



035148P001-1409A-265                    035149P001-1409A-265                               032344P001-1409A-265            008326P001-1409A-265
PARK PLACE TECHNOLOGIES                 PARK PLACE TECHNOLOGIES                            PARK PLACE TECHNOLOGIES, LLC    JUNG HYUN PARK
POWER VAULT MD3200                      SERIES 40 STORAGE CONTROLLER MAINTENACE            PETE TURNER                     3223 W PKWY DR
5910 LANDERBOOK DR STE 300              5910 LANDERBOOK DR STE 300                         5910 LANDERBOOK DR              2A
MAYFIELD HEIGHTS OH 44124               MAYFIELD HEIGHTS OH 44124                          STE 300                         NORTHBROOK IL 60062
                                                                                           MAYFIELD HEIGHTS OH 44124



031485P003-1409A-265                    031485S001-1409A-265                               036698P001-1409A-265            009250P001-1409A-265
PARKDALE MALL CMBS LLC                  PARKDALE MALL CMBS LLC                             PARKDALE MALL CMBS LLC          AILENE M PARKER
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC               2030 HAMILTON PL STE 500        222 CLOVER ST
GARY RODDY                              CALEB HOLZAEPFEL                                   CHATTANOOGA TN 37421-6000       SALISBURY MD 21804
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402



007265P001-1409A-265                    004994P001-1409A-265                               003617P001-1409A-265            035889P001-1409A-265
AYLIA PARKER                            ERIN M PARKER                                      HALEY PARKER                    JAYLAAN PARKER
2107 HORIZON TRL APT 3910               3913 NORTH I-10 SERVICE RD                         1030 MUNSEN SPRING DR           3500 JOHN A MERRITT BLVD
ARLINGTON TX 76011                      APT 119                                            COLUMBIA SC 29209               BOX #5063
                                        METAIRIE LA 70002                                                                  NASHVILLE TN 37209




006071P001-1409A-265                    002302P001-1409A-265                               030536P001-1409A-265            005389P003-1409A-265
KATHERINE J PARKER                      MALLORY PARKER                                     MORGAN PARKER                   MORGAN W PARKER
27 GOSS ST                              3051 JUNIPER ST SW                                 ADDRESS INTENTIONALLY OMITTED   1320 MILFORD ST NE
CLINTON MA 01510                        B                                                                                  CANTON OH 44714-1638
                                        JBLM WA 98439




007130P001-1409A-265                    037520P001-1409A-265                               034520P001-1409A-265            006506P001-1409A-265
AURORA G PARKINSON                      PARKS AT ARLINGTON LLC                             PARKS AT ARLINGTON LP           ALLIAH PARKS
1829 EAST 14TH ST                       BROOKFIELD PROPERTY REIT INC                       SDS-12-2881                     274 REGENTS CIR
BROOKLYN NY 11229                       JULIE M BOWDEN                                     PO BOX 86                       MAYS LANDING NJ 08330
                                        350 N ORLEANS ST STE 300                           MINNEAPOLIS MN 55486-2881
                                        CHICAGO IL 60654-1607
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031486P002-1409A-265                    031486S001-1409A-265                            004017P001-1409A-265             003910P001-1409A-265
PARKWAY PLACE SPE LLC                   PARKWAY PLACE SPE LLC                           ALEXANDRIA A PARLIER             AMANDA PARMELE
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC            433 SOUTH VAN BUREN ST           11 HOMER DR
GARY RODDY                              CALEB HOLZAEPFEL                                12                               MONSON MA 01057
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                         IOWA CITY IA 52240
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402



007408P001-1409A-265                    005479P001-1409A-265                            005981P001-1409A-265             007157P001-1409A-265
ISABELLA A PARMETER                     BRIANA M PARONELLI                              CARMELLA A PARRA                 YASIEL PARRA
402 KAYLA CT                            26 HOLLOWAY                                     1313 EL SERENO DR                9 THAYER ST
NEWBURGH NY 12550                       SAN FRANCISCO CA 94112                          BAKERSFIELD CA 93304             APT C14
                                                                                                                         NEW YORK NY 10040




035890P001-1409A-265                    031064P002-1409A-265                            010351P001-1409A-265             001748P001-1409A-265
MARIA A PARRA-VEIRA                     PARRAGON INC                                    SHIRLEY B PARRAGUIRRE            MARIA A PARRAVEIRA
105 LOUISIANA AVE                       KIM KEELY                                       COUNTY CLERK ATTN:FFN            105 LOUISIANA AVE
BRIDGEPORT CT 06610                     432 PK AVE S FL 15                              PO BOX 551604                    BRIDGEPORT CT 06610
                                        NEW YORK NY 10016-8013                          LAS VEGAS NV 89155-1604




009479P001-1409A-265                    003574P001-1409A-265                            002166P001-1409A-265             001862P001-1409A-265
DEZIREE D PARRILLA                      BROOKLYNN PARSON                                HANNAH PARSONS                   MARISSA PARSONS
11 HARLAN ST                            185 WELDON ST                                   784 CALICO CT APT F              407 OVERTON ST
SPRINGFIELD MA 01104                    ROCHESTER NY 14611                              TERRE HAUTE IN 47803             ENDICOTT NY 13760




001712P001-1409A-265                    036801P001-1409A-265                            030658P001-1409A-265             005190P001-1409A-265
SHAYLEE PARSONS                         TONI PARSONS                                    TURQUOISE PARSONS                XORIA PARSONS
16 STAFFORD WAY                         6504 SE 8TH ST RD                               ADDRESS INTENTIONALLY OMITTED    114 PENN FOREST DR
ROCHESTER NY 14626                      OCALA FL 34471                                                                   ALBRIGHTSVILLE PA 18210




006309P001-1409A-265                    004184P001-1409A-265                            033085P001-1409A-265             036429P001-1409A-265
JADE K PARTRIDGE                        JESSICA PASCALE                                 PASCO COUNTY UTILITIES SRV BRN   CASSANDRA PASCO
17894 COUNTY RTE 3                      9 HAYES ST                                      CUST INFO AND SERV DEPT          221 GRACE ST
CLAYTON NY 13624                        NESCONSET NY 11767                              PO BOX 2139                      GROVE CITY PA 16127
                                                                                        NEW PT RICHEY FL 34656




003649P001-1409A-265                    007716P001-1409A-265                            007749P001-1409A-265             002461P001-1409A-265
CASSANDRA R PASCO                       ADRIANNA V PASCUAL                              TORI A PASDERTZ                  CHYANNA PASSLEY
221 GRACE ST                            94-1832 KULEWA LOOP                             800 BAILEY DR                    4347 52ND AVE S
GROVE CITY PA 16127                     APT 44R                                         JOLIET IL 60404                  SAINT PETERSBURG FL 33711
                                        WAIPAHU HI 96797
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037122P001-1409A-265                       002893P001-1409A-265                   004200P001-1409A-265           001075P002-1409A-265
CHYANNA PASSLEY                            ANAHI PASTRANA                         JANESSA A PATAOSANTOS          JEAVINE S PATE
4347 52ND AVE SOUTH                        2903 W BELMONT                         408 KEA ST                     1908 LIBERTY DR
ST PETERSBURG FL 33711                     CHICAGO IL 60618                       WAIHEE                         MADISON AL 35758-8141
                                                                                  KAHULUI HI 96732




008855P001-1409A-265                       001860P001-1409A-265                   006717P001-1409A-265           036387P001-1409A-265
SARAH J PATE                               AMI PATEL                              ANMOLBEN PATEL                 ANMOLBEN PATEL
5100 O'BANNON DR                           7364 HIDDEN CV                         285 N RUTHERFORD BLVD          285 N RUTHERFORD BLVD #J104
APT 71                                     `                                      MURFREESBORO TN 37130          MURFREESBORO TN 37130
LAS VEGAS NV 89146                         COLUMBIA MD 21046-2025




000536P001-1409A-265                       003307P001-1409A-265                   003399P001-1409A-265           007011P001-1409A-265
FANNY PATEL                                KRISHNA B PATEL                        MIRA D PATEL                   VISHWA PATEL
182 CAYUGA AVE                             2967 COLUMBIA DR                       104 IRIS DR                    487 LOWELL ST
SAN FRANCISCO CA 94112                     BENSALEM PA 19020                      EGG HARBOR TOWNSHI NJ 08234    METHUEN MA 01844




000591P001-1409A-265                       037175P001-1409A-265                   003819P002-1409A-265           002385P001-1409A-265
YAMINI PATEL                               YAMINI PATEL                           KAYLA M PATEY                  LAURA G PATINO
548 PICADILLY DR                           548 PICCADILLY DR                      7714 LOLA CIRCLE               263 TIMBERLINE DR BOX B
MURFREESBORO TN 37128                      MURFREESBORO TN 37128                  NAVARRE FL 32566-7995          VICTORIA TX 77905




001037P001-1409A-265                       035891P001-1409A-265                   006019P001-1409A-265           032345P001-1409A-265
TURQUOISE S PATRICK PARSONS                PARSONS TURQUOISE S PATRICK            SIERRA D PATRICKWILLIAMS       PATRIOT CONSULTING TECHNOLOGY GROUP LLC
14325 LUNA RD                              14325 LUNA RD                          7101 GAVILAN AVE               PATRIOT CONSULTING TECHNOLOGY
VICTORVILLE CA 92392                       VICTORVILLE CA 92392                   COLUMBIA SC 29203              ROB FEGAN
                                                                                                                 17192 MURPHY AVE
                                                                                                                 STE 14067
                                                                                                                 IRVINE CA 92623-4067


034168P001-1409A-265                       010180P001-1409A-265                   032346P001-1409A-265           037077P001-1409A-265
PATRIOT CONSULTING TECHNOLOGY GROUP LLC    PATSY SCHULTZ, RTA                     PATTERN TEXTILES LIMITED       PATTERN TEXTILES LTD
17192 MURPHY AVE                           FT BEND COUNTY TAX ASSESSOR            UNIT 206                       15 PUNDERSONS GARDENS UNIT 206
STE 14067                                  PO BOX 1028                            15 PUNDERSONS GARDENS          LONDON E2 9QG
IRVINE CA 92623-4067                       SUGAR LAND TX 77487-1028               LONDON E2 9QG                  UNITED KINGDOM
                                                                                  UNITED KINGDOM



003637P001-1409A-265                       006497P001-1409A-265                   000582P001-1409A-265           003385P001-1409A-265
CLARISSA J PATTERSON                       DAONJRA K PATTERSON                    EMMA G PATTERSON               EMMA J PATTERSON
155 WALTER SE                              1675 LAUREL                            2435 WALNUT AVE                49 BROOK ST
WYOMING MI 49508                           YPSILANTI MI 48198                     BUENA VISTA VA 24416           WEST SAYVILLE NY 11796
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000566P001-1409A-265      001510P001-1409A-265                       005180P001-1409A-265             005614P001-1409A-265
JADE A PATTERSON          LAKENDRA T PATTERSON                       LINDSEY J PATTERSON              MADELINE M PATTERSON
4716 NW 22ND ST           1075 POTATO HOUSE RD                       505 APPLE TREE LN                2499 SOUTH JOSEPHINE ST
COCONUT CREEK FL 33063    HICKORY GROVE SC 29717                     FAIRFIELD CA 94533               DENVER CO 80210




004893P001-1409A-265      005640P002-1409A-265                       006221P001-1409A-265             037698P003-1409A-265
PAYTON PATTERSON          ROSA M PATTERSON                           SANAYA A PATTERSON               ABBIE PATTOCK
400 E MAIN ST             151 W COMMERCE RD APT 438                  2475 LINWOOD AVE                 AKA ABIGAIL PATTOCK
F6                        RICHMOND VA 23224-2370                     NIAGARA FALLS NY 14305           3325 RIVERVIEW ST
ENDICOTT NY 13760                                                                                     LOWER BURRELL PA 15068




004848P001-1409A-265      032347P001-1409A-265                       005550P001-1409A-265             001251P001-1409A-265
ABBIE S PATTOCK           PATTON STEEL CORP                          BRIANA E PATTON                  KRISTEN L PATTON
3325 RIVERVIEW ST         DARIENE RUIZ                               5429 SHERMAN OAKS CT             3909 COPPERHEAD HILLS ST
LOWER BURRELL PA 15068    PO BOX 273                                 HAYMARKET VA 20169               LAS VEGAS NV 89129
                          ONTARIO CA 91762




005104P001-1409A-265      037862P001-1409A-265                       002937P001-1409A-265             002446P001-1409A-265
EMILY R PATUBO            PAUL DEAGRO                                JULLIETTE PAUL                   OLIVIA PAUL
501 W BACON ST            16 WINCHESTER DR                           91-60 193RD ST                   327 WALKER AVE
APT 5301                  EAST BRUNSWICK NJ 08816                    APT 2B                           LANGHORNE PA 19047
RICHMOND VA 23222                                                    HOLLIS NY 11423




033338P001-1409A-265      007263P001-1409A-265                       001698P001-1409A-265             030163P001-1409A-265
PAULETTE MAGLASANG        YURALIS PAULINO                            KATIE N PAULSEN                  LEXIE PAVAO
2461 COBBLESTONE DR       2520 GREY PAW CT                           402 BOYCE ST                     ADDRESS INTENTIONALLY OMITTED
HAYWARD CA 94545          104                                        URBANA OH 43078
                          RALEIGH NC 27603




007346P001-1409A-265      034517P001-1409A-265                       010662P001-1409A-265             005918P001-1409A-265
LEXIE M PAVAO             PAVILIONS AT BUCKLAND HILLS LLC            PAX WORLD HIGH YIELD BOND FUND   YARITZIA PAYAN
146 ARMOUR ST             SDS-12-2776                                PAX                              480 N WALNUT ST
NEW BEDFORD MA 02740      PO BOX 86                                  PHYLLIS CAMARA                   M
                          MINNEAPOLIS MN 55486                       30 PENHALLOW ST                  LA HABRA CA 90631
                                                                     STE 400
                                                                     PORTSMOUTH NH 03801


002407P001-1409A-265      004742P001-1409A-265                       032348P001-1409A-265             001449P001-1409A-265
BINTA M PAYE              YASMINE T PAYE                             PAYMENT PROCESSING SVC LL        CHELSEA R PAYNE
58 KINFIELD ST            1104 HARFORD AVE                           RJ                               3304 NORDLAND DR
PROVIDENCE RI 02909       BALTIMORE MD 21234                         5440 W NORTHERN AVE              URBANA IL 61802
                                                                     GLENDALE AZ 85301
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008172P001-1409A-265                    037605P001-1409A-265                               005364P001-1409A-265           007464P001-1409A-265
JOHNE PAYNE                             JOHNE PAYNE                                        SAMANTHA M PAYNE               TREMON PAYNE
181 PONDEROSA DR                        2432 FALCON RD                                     3094 LAKE DR                   10829 GAMBRIL DR
LADSON SC 29456                         NORTH CHARLESTON SC 29406                          APT C7                         21
                                                                                           MARINA CA 93933                MANASSAS VA 20109




004925P001-1409A-265                    035150P001-1409A-265                               003136P001-1409A-265           008383P001-1409A-265
ASHLEY E PAYO                           PAYPAL INC                                         DESIRAE A PAYTON               KEONNA L PAYTON
725 N FIG ST #44                        EBAY PARK NORTH 2211 NORTH FIRST STREET            2191 WHITMAN WAY               710 PRINCESS CT
ESCONDIDO CA 92025                      SAN JOSE CA 95131                                  APT 11                         NEWPORT NEWS VA 23608
                                                                                           SAN BRUNO CA 94066




003960P001-1409A-265                    006958P001-1409A-265                               007679P002-1409A-265           033086P001-1409A-265
ANGIE M PAZ                             VICTORIA PAZ                                       MELANIE PAZMINO                PDC AREA COMPANIES
4158 MIRADA LN                          2007 VIA BRAVO                                     43 1/2 ERIE ST                 32289 COLLECTION CTR DR
OXNARD CA 93033                         CARROLLTON TX 75006                                ELIZABETH NJ 07206             CHICAGO IL 60693




033087P001-1409A-265                    033087S001-1409A-265                               034015P001-1409A-265           037417P001-1409A-265
PEA RIDGE PUBLIC SVC DIST               PEA RIDGE PUBLIC SVC DIST                          PEA RIDGE PUBLIC SVC DIST      PEACHTREE MALL LLC
PO BOX 86                               500 NOVA STREET                                    500 NOVA ST                    BROOKFIELD PROPERTY REIT INC
BARBOURSVILLE WV 25504                  HUNTINGTON WV 25705                                HUNTINGTON WV 25705            JULIE M BOWDEN
                                                                                                                          350 N ORLEANS ST STE 300
                                                                                                                          CHICAGO IL 60654-1607



031487P001-1409A-265                    007750P001-1409A-265                               032349P001-1409A-265           010663P001-1409A-265
PEACHTREE MALL, LLC                     ALEXEIS PEACOCK                                    PEAGREEN                       PEAKS CLO 1, LTD
SDS-12-2330                             2221 EUCLID RD                                     EMMA NEAL                      ARROWMARK
PO BOX 86                               HUNTSVILLE AL 35810                                HAMPSHIRE HOUSE10 SAINT        DINGLI GRAHAM
MINNEAPOLIS MN 55486-2330                                                                  CLEMENT ST WINCHESTER          190 ELGIN AVE
                                                                                           HAMPSHIRE S023 9HH             GEORGE TOWN
                                                                                           UNITED KINGDOM                 GRAND CAYMAN KY1-9005
                                                                                                                          CAYMAN ISLANDS
007027P001-1409A-265                    007772P001-1409A-265                               009981P001-1409A-265           031488S001-1409A-265
KELCEY S PEAN                           JESSICA D PEARCE                                   PEARLAND ALARM REGISTRATION/   PEARLAND TOWN CENTER LIMITED
215 GREAT LAWN DR                       218 TAREYTON LN                                    FALSE ALARMS                   BY CBL AND ASSOCIATES MANAGEMENT INC
SUMMERVILLE SC 29483                    PORTSMOUTH VA 23701                                2555 CULLEN PKWY               CALEB HOLZAEPFEL
                                                                                           PEARLAND TX 77581              736 GEORGIA AVE STE 300
                                                                                                                          CHATTANOOGA TN 37402



031488P003-1409A-265                    004812P001-1409A-265                               035267P001-1409A-265           031489P001-1409A-265
PEARLAND TOWN CENTER LTD PARTNERSHIP    HEIDI PEARLEY                                      PEARLRIDGE CENTER              PEARLRIDGE MERCHANTS ASSN
BY CBL AND ASSOCIATES MANAGEMENT INC    205 MADEWOOD DR                                    98-1005 MOANALUA RD            PO BOX 31000
GARY RODDY                              DONALDSONVILLE LA 70346                            AIEA HI 96701                  HONOLULU HI 96849-5525
2030 HAMILTON PL BLVD STE 500
CHATTANOOGA TN 37421-6000
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006827P001-1409A-265       003693P001-1409A-265                    005623P001-1409A-265          007768P001-1409A-265
BRITNEE A PEARSON          DEMI PEARSON                            PATRICIA K PEARSON            TOLICIA PEARSON
7952 CASTELARDO PL         11001 OLD SAINT AUGUSTINE RD            4412 HARDWICK WAY             4412 HARDWICK WAY
ROUND ROCK TX 78665        APT 2209                                NORTH HIGHLANDS CA 95660      NORTH HIGHLANDS CA 95660
                           JACKSONVILLE FL 32257




004831P001-1409A-265       037365P001-1409A-265                    031490P001-1409A-265          006248P001-1409A-265
OLIVIA A PEASLEY           PECANLAND MALL LLC                      PECANLAND MALL, LLC           LAUREN PECK
185 PICKETT RD             BROOKFIELD PROPERTY REIT INC            SDS-12-2424                   434 E 17TH ST
PLAINFIELD CT 06374        JULIE M BOWDEN                          PO BOX 86                     APT 314
                           350 N ORLEANS ST STE 3400               MINNEAPOLIS MN 55486-2424     OAKLAND CA 94606
                           CHICAGO IL 60654-1607



007725P001-1409A-265       035892P001-1409A-265                    004050P001-1409A-265          036829P001-1409A-265
MEREDITH PECK              RACHEL PECK                             STEFANIE R PECK               WHITNEY PECK
852 CLAYTON ST             71 HICKORY HOLLOW PL                    406 N WASHINGTON AVE          1928 BROOKDATE DR
SAN FRANCISCO CA 94117     ANTIOCH TN 37013                        SCRANTON PA 18509             COLORADO SPRINGS CO 80918




007645P001-1409A-265       004696P001-1409A-265                    008041P001-1409A-265          004731P001-1409A-265
STHEFANY PEDRAZA           YVETTE A PEDRAZA                        JOHNNALYNN PEDRO              ELLIANNA S PEEBLES
3851 VLY CREEK DR          2557 PALM PL                            2214 ST PAUL DR               6919 GLENBROOK LN
FLOWERY BRANCH GA 30542    HUNTINGTON PARK CA 90255                COLORADO SPRINGS CO 80910     DALLAS TX 75252




033424P001-1409A-265       005178P001-1409A-265                    032351P001-1409A-265          006616P001-1409A-265
PEEK                       CHLOE D PEEPLES                         PEGGY CAMPBELL, COLLECTOR     ALYSSA D PEGO
575 FLORIDA ST             13 BEECHWOOD ST                         411 JULES                     1125 IONIA AVE SW
SAN FRANCISCO CA 94110     CABOT AR 72023                          STE 123                       GRANDRAPIDS MI 49507
INDIA                                                              ST JOSEPH MO 64501




034368P001-1409A-265       005147P001-1409A-265                    001617P001-1409A-265          035438P001-1409A-265
BEN PEGRAM                 JASMINE PEL                             REBEKA PELAEZ GAETZ           GAETZ REBEKA PELAEZ
958 28TH ST                18431 47TH PL W                         86 BALMY ST                   86 BALMY ST
#21                        LYNNWOOD WA 98037                       SAN FRANCISCO CA 94110        SAN FRANCISCO CA 94110
OAKLAND CA 94608




029601P001-1409A-265       035893P001-1409A-265                    007676P001-1409A-265          007589P001-1409A-265
DANIELLE PELCHAT           SIERRA R PELKEY                         OLIVIA PELLEGRINI             RYLEE PELLEGRINO
30 FRONT ST                425 RIVERBEND PKWY                      320 GOODALE ST                1934 HILLTOWN PIKE
415                        29                                      WEST BOYLSTON MA 01583        PO BOX 303
NASHUA NH 03064            ATHENS GA 30605                                                       HILLTOWN PA 18927
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006655P001-1409A-265            006034P001-1409A-265                     033088P001-1409A-265         033088S001-1409A-265
TAMMY L PELLHAM                 KATY PELLICCIOTTI                        PELLITTERI WASTE SYSTEMS     PELLITTERI WASTE SYSTEMS
485 N CITRUS AVE75              5 ORANGE CT                              PO BOX 259426                7035 RAYWOOD RD
75                              WAPPINGERS FALLS NY 12590                MADISON WI 53725             MADISON WI 53713
ESCONDIDO CA 92027




002642P001-1409A-265            008465P001-1409A-265                     008471P001-1409A-265         031491P001-1409A-265
KAITLYNN M PELOT                BRIDGET PELRINE                          BRIANNA M PELUSO             PEMBROKE LAKES MALL LLC
1510 S AVE REGULO               84 JF KENNEDY BLVD                       16 DANBURY CT                GGPLP REAL ESTATE INC
TUCSON AZ 85710                 ELK GROVE VILLAGE IL 60007               LAKE IN THE HILLS IL 60156   SDS-12-3094
                                                                                                      PO BOX 86
                                                                                                      MINNEAPOLIS MN 55486-3094



037377P001-1409A-265            004500P001-1409A-265                     005595P001-1409A-265         035894P001-1409A-265
PEMBROKE LAKES MALL LLC         EMILY PENA CARRENO                       KATIA Y PENA LOPEZ           CARRENO EMILY PENA
BROOKFIELD PROPERTY REIT INC    12905 MAPLEVIEW ST                       420 IOOF AVE                 12905 MAPLEVIEW ST
JULIE M BOWDEN                  133                                      GILROY CA 95020              133
350 N ORLEANS ST STE 300        LAKESIDE CA 92040                                                     LAKESIDE CA 92040
CHICAGO IL 60654-1607



002877P001-1409A-265            008403P001-1409A-265                     035895P001-1409A-265         007141P001-1409A-265
DAISY M PENA                    JACQUELINE PENA                          LOPEZ KATIA Y PENA           RUBI M PENA
1415 E APACHE BLVD              5805 S TALMAN AVE                        420 IOOF AVE                 775 CASCADE ST
APT 317                         CHICAGO IL 60629                         GILROY CA 95020              809
TEMPE AZ 85281                                                                                        OREGON CITY OR 97045




008997P001-1409A-265            008683P001-1409A-265                     005518P002-1409A-265         003314P001-1409A-265
SAMANTHA PENA                   SOLIARYS PENA                            CITLALLY PENAGASTELUM        GABRIELA A PENAGOS
97 ROSE HILL AVE                1919 W 10TH ST                           81857 VIA SAN CLEMENTE       274 BOLTON RD
1                               66                                       LA QUINTA CA 92253-7960      EAST WINDSOR NJ 08520
DANBURY CT 06810                LAKELAND FL 33805




008826P001-1409A-265            003766P002-1409A-265                     033089P001-1409A-265         033089S001-1409A-265
JESSICA PENALOZA                JANINE PENALVER                          PENELEC                      PENELEC
14311 CR 45                     2209 HUDSON LANDINGS DR APT G            PO BOX 3687                  FIRST ENERGY
TYLER TX 75704                  GASTONIA NC 28054                        AKRON OH 44309               76 SOUTH MAIN STREET
                                                                                                      AKRON OH 44308




035255P001-1409A-265            031065P001-1409A-265                     035236P001-1409A-265         036277P001-1409A-265
PENELEC                         PENGUIN RANDOM HOUSE LLC                 PENGUIN RANDOM HOUSE LLC     PENGUIN RANDOM HOUSE LLC
FIRSTENERGY/PENELEC             KAMALA KELLEY                            CREDIT COORDINATOR           1745 BROADWAY
101 CRAWFORD'S CORNER RD        1745 BROADWAY                            400 HAHN RD                  NEW YORK NY 10019
BLDG # 1 SUITE 1-511            NEW YORK NY 10019                        WESTMINSTER MD 21157
HOLMDEL NJ 07733
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033090P001-1409A-265                  033090S001-1409A-265                       037231P001-1409A-265                031492P001-1409A-265
PENN POWER                            PENN POWER                                 PENN POWER                          PENN ROSS JOINT VENTURE
PO BOX 3687                           HEADQUARTERS                               FIRST ENERGY                        1326 PAYSPHERE CIR
AKRON OH 44309                        76 SOUTH MAIN STREET                       NATALIE ALLARD                      CHICAGO IL 60674
                                      AKRON OH 44308                             5001 NASA BLVD
                                                                                 FAIRMONT WV 26554



033817P001-1409A-265                  031493P001-1409A-265                       035896P001-1409A-265                010197P001-1409A-265
PENN ROSS JOINT VENTURE (LANDLORD)    PENN SQUARE MALL LIMITED                   OLIVIA PENN                         JAMES B PENNER
MS MANAGEMENT ASSOCIATES INC          32122 COLLECTIONS CTR DR                   13 HAMPTON WOODS LN                 CITY TAX COLLECTOR
225 WEST WASHINGTON ST                CHICAGO IL 60693                           DARDENNE PRAIRIE MO 63368           PO BOX 1139
INDIANAPOLIS IN 46204-3438                                                                                           MURFREESBORO TN 37133




004807P001-1409A-265                  033091P001-1409A-265                       033091S001-1409A-265                000343P001-1409A-265
KIRSTEN S PENNINGTON                  PENNSYLVANIA AMERICAN WATER                PENNSYLVANIA AMERICAN WATER         PENNSYLVANIA ATTORNEY GENERAL
1902 JUNIPER CIR                      PO BOX 371412                              100 N PENNSYLVANIA AVE              JOSH SHAPIRO
COLUMBIA MO 65201                     PITTSBURGH PA 15250                        WILKES-BARRE PA 18701               1600 STRAWBERRY SQUARE
                                                                                                                     16TH FL
                                                                                                                     HARRISBURG PA 17120



000395P001-1409A-265                  000081P001-1409A-265                       000082P001-1409A-265                000227P001-1409A-265
PENNSYLVANIA ATTORNEY GENERAL         PENNSYLVANIA DEPT OF                       PENNSYLVANIA DEPT OF CONSERVATION   PENNSYLVANIA DEPT OF LABOR AND INDUSTRY
BUREAU OF CONSUMER PROTECTION         ENVIRONMENTAL PROTECTION                   AND NATURAL RESOURCES               SECRETARY
16 FL STRAWBERRY SQUARE               RACHEL CARSON STATE OFFICE BLDG            RACHEL CARSON STATE OFFICE BLDG     651 BOAS ST
HARRISBURG PA 17120                   400 MARKET ST                              6TH FL                              RM 1700
                                      HARRISBURG PA 17101                        HARRISBURG PA 17105-8522            HARRISBURG PA 17121



000152P001-1409A-265                  033092P001-1409A-265                       000448P001-1409A-265                002380P001-1409A-265
PENNSYLVANIA DEPT OF REVENUE          PENNSYLVANIA POWER AND LIGHT CO            PENNSYLVANIA STATE TREASURY         BRANDI J PENNY
11 STRAWBERRY SQUARE                  TWO N NINTH ST                             OFFICE OF UNCLAIMED PROPERTY        10857 SHARONDALE RD
HARRISBURG PA 17128                   ALLENTOWN PA 18101                         PO BOX 1837                         APT 70
                                                                                 HARISBURG PA 17105-1383             CINCINNATI OH 45241




004991P001-1409A-265                  036539P001-1409A-265                       003093P001-1409A-265                033697P002-1409A-265
KATIE M PENROD                        HENRI PENTHER                              CATHERINE D PENUNURI                PEOPLE MATTER
5119 VICTORIA COVE                    552 SAN PEDRO COVE                         1753 E PLEASANT LN                  174 MEETING ST STE 300
BRENTWOOD TN 37027                    SAN RAFAEL CA 94109                        PHOENIX AZ 85042                    CHARLESTON SC 29401-3211




033093P001-1409A-265                  033093S001-1409A-265                       001286P001-1409A-265                008443P001-1409A-265
PEOPLES GAS                           PEOPLES GAS                                ELBONEY PEOPLES                     JASMINE PEOPLES
PO BOX 19100                          HEADQUARTERS                               2812 CRAIGIE AVE                    1355 MARSHSIDE CT
GREEN BAY WI 54307                    200 E RANDOLPH ST                          A                                   INDIANAPOLIS IN 46239
                                      CHICAGO IL 60601-6302                      DECATUR GA 30030
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033094P001-1409A-265      033094S001-1409A-265                     001233P001-1409A-265         031066P001-1409A-265
PEPCO                     PEPCO                                    DANIELLE M PEPI              PEPPERCORN KIDS
PO BOX 4863               CORPORATE CORRESPONDENCE                 35 ALISON CT                 9601 OWENSMOUTH AVE
TRENTON NJ 08650          701 NINTH ST NW                          MAHOPAC NY 10541             STE 27
                          WASHINGTON DC 20068                                                   CHATSWORTH CA 91331




009027P001-1409A-265      003100P001-1409A-265                     001793P002-1409A-265         005156P001-1409A-265
CAROLINA PERDOMO          KRYSTLE A PEREGRINO                      NICOLE C PEREIRA             JEARA PERENA
14548 ANDREWS DR          1166 FASSLER AVE                         253 SAN FELIPE AVE           6730 4TH AVE
DENVER CO 80239           PACIFICA CA 94044                        S SAN FRANCISC0 CA 94080     SACRAMENTO CA 95817




030875P001-1409A-265      034324P001-1409A-265                     008278P001-1409A-265         037705P002-1409A-265
PEREZ AND MORRIS LLC      PEREZ AND MORRIS LLC                     ARIELIS V PEREZ ARIAS        BRANDIN PEREZ
JOSHUA D ROCKWELL         8000 RAVINES EDGE CT                     1059 SW 147TH AVE            JILL WILLIAMSON
8000 RAVINES EDGE CT      STE 300                                  PEMBROKE PINES FL 33027      211 S 61ST ST
STE 300                   COLUMBUS OH 43235                                                     TACOMA WA 98408
COLUMBUS OH 43235



003593P001-1409A-265      006591P001-1409A-265                     002158P001-1409A-265         004071P001-1409A-265
ABIGAIL PEREZ             ABRYANNA A PEREZ                         ADRIANA PEREZ                ADRIANA PEREZ
14527 PACIFIC AVE         4817 BRIDE ST                            880 CALLE TOMAS              159 DANIEL
BALDWIN PARK CA 91706     LAS VEGAS NV 89081                       PALM SPRINGS CA 92264        PROVIDENCE RI 02909




002923P001-1409A-265      007518P001-1409A-265                     008076P001-1409A-265         004832P001-1409A-265
ALEXA M PEREZ             ALONDRA PEREZ                            AMNERIS PEREZ                ANNYA G PEREZ
6146 TWILIGHT VIEW WAY    1395 YOST ST                             525 MAIN ST                  1754 INGALLS ST
EL PASO TX 79932          APT 2                                    GOULDSBORO PA 18424          LAKEWOOD CO 80214
                          AURORA CO 80011




035897P001-1409A-265      030234P001-1409A-265                     000685P001-1409A-265         001992P001-1409A-265
ANNYA G PEREZ             ASHLEY PEREZ                             ASHLEY G PEREZ               BIANCA PEREZ
6020 E 68TH WAY           ADDRESS INTENTIONALLY OMITTED            5400 COLLINS RD LOT 107      2901 VINE CIR
COMMERCE CITY CO 80022                                             JACKSONVILLE FL 32244        ROCKLIN CA 95765-4721




004310P001-1409A-265      002904P001-1409A-265                     009639P001-1409A-265         004640P001-1409A-265
BRANDIN L PEREZ           DANIELA PEREZ                            DESTINY T PEREZ              EMILY J PEREZ
211 S 61ST ST             5403 HAYTER AVE                          6 TEMPLE ST                  296 FORREST ST
TACOMA WA 98408           LAKEWOOD CA 90712                        4L                           1B
                                                                   HOLYOKE MA 01040             JERSEY CITY NJ 07304
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006260P001-1409A-265           002598P001-1409A-265                007733P001-1409A-265              000786P001-1409A-265
EMILY M PEREZ                  EMILY R PEREZ                       ERIS T PEREZ                      EUFEMIA PEREZ
60-16 70TH AVE                 3421 QUINTANA TRL                   6014 N SACRAMENTO AVE             1716 SIERRA DAWN PL
RIDGEWOOD NY 11385             SEGUIN TX 78155                     CHICAGO IL 60659                  ONTARIO CA 91762-5637




008099P001-1409A-265           036546P001-1409A-265                000613P001-1409A-265              003973P001-1409A-265
ICXIA J PEREZ                  ILEANA PEREZ                        INDIA PEREZ                       JACQUELINE PEREZ
COLONIAL VLG DR                CARR 173 KM 85                      3020                              12304 27TH PL W
366                            AGUAS BUUNAS PR 00703               CONCORD NC 28025                  EVERETT WA 98204
LINCOLNTON NC 28092




001700P001-1409A-265           002466P001-1409A-265                002182P001-1409A-265              002347P001-1409A-265
JAZMIN S PEREZ                 JENNIE PEREZ                        JENNIFER PEREZ                    JENNIFER M PEREZ
25508 SAN LUPE AVE             5117 BROOKDALE DR                   625 CRANBROOK PK                  2323 BAYLEAF DR
MORENO VALLEY CA 92551-7038    OKLAHOMA CITY OK 73135              GARLAND TX 75043-5413             ORLANDO FL 32837




004541P001-1409A-265           004202P001-1409A-265                002180P001-1409A-265              003875P001-1409A-265
JORDAN R PEREZ                 JULISA M PEREZ                      LESLIE S PEREZ                    LUZMARIA PEREZ
4880 W 88TH PL                 716 FERNANDINA ST NW                15553 DON ROBERTO RD              124 WYCKOFF RD
WESTMINSTER CO 80031           PALM BAY FL 32907                   VICTORVILLE CA 92394-1872         31
                                                                                                     EATONTOWN NJ 07724




005201P001-1409A-265           003138P001-1409A-265                006946P001-1409A-265              036671P001-1409A-265
MADELYNN A PEREZ               MARIA J PEREZ                       MELEENA PEREZ                     NATALIE D PEREZ
101 BLUEBONNET ST              9805 AUDEILA RD APT 2010            1471 LARKSPUR CT                  15614 INDIANA QUEEN DR
WESLACO TX 78596               DALLAS TX 75238                     ROMEOVILLE IL 60446               TAMPA FL 33615




036678P001-1409A-265           007559P001-1409A-265                004749P001-1409A-265              035898P001-1409A-265
NICOLE M PEREZ                 NIDIA Y PEREZ                       NYLA L PEREZ                      NYLA L PEREZ
180 FREMONT ST                 13902 VILLA CAMINO                  10052 GRACE AVE                   362 BISCAYNE LN
WORCESTER MA 01603             SAN ANTONIO TX 78233                FELLSMERE FL 32948                SEBASTIAN FL 32958




035899P001-1409A-265           004393P001-1409A-265                003159P001-1409A-265              007193P001-1409A-265
SALINA M PEREZ                 SAMANTHA K PEREZ                    SANDRA L PEREZ                    SANDRY A PEREZ
2291 GORMAN ST                 1008 LOWELL RD                      2123 GROSS AVE                    221 MARINA CT
CAMARILLO CA 93010             LAS CRUCES NM 88001                 PENNSAUKEN NJ 08110               SPARTANBURG SC 29303
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005161P001-1409A-265          007769P001-1409A-265                 001904P001-1409A-265             001755P001-1409A-265
SARAHI PEREZ                  STEPHEN A PEREZ                      TREYSY N PEREZ                   KARLA PEREZACEVEDO
1704 S CYPRESS AVE            2913 HUNTER RD APT 314               867 FLAGSTONE WAY                30 W SAGE CREEK PL
BROKEN ARROW OK 74012         SAN MARCOS TX 78666                  LAS VEGAS NV 89110               THE WOODLANDS TX 77382-1470




003334P001-1409A-265          003717P001-1409A-265                 003605P001-1409A-265             032353P001-1409A-265
KIMBERLY A PEREZLEMUS         ERICA M PEREZMONTEZ                  ARIANA PEREZREYES                PERFAWARE, LLC
3404 FULLERTON ST             3432 LONDON RD                       452 TWIN OAKS VLY RD             RANJITH MANIYEDATH
CALVERTON MD 20705            EAU CLAIRE WI 54701                  APT C                            320 DECKER DR
                                                                   SAN MARCOS CA 92069              STE 100
                                                                                                    IRVING TX 75062



032354P001-1409A-265          035151P001-1409A-265                 037390P001-1409A-265             034483P001-1409A-265
PERFORCE SOFTWARE INC         PERFORCE SOFTWARE INC                PERIMETER MALL LLC               PERIMETER MALL VENTURE, LLC
LAURA SCHEINMAN               PO BOX 742263                        BROOKFIELD PROPERTY REIT INC     PO BOX 860381
PO BOX 742263                 LOS ANGELES CA 90074-2263            JULIE M BOWDEN                   MINNEAPOLIS MN 55486-0381
LOS ANGELES CA 90074-2263                                          350 N ORLEANS ST STE 300
                                                                   CHICAGO IL 60654-1607



031494P001-1409A-265          032355P001-1409A-265                 004555P001-1409A-265             035900P001-1409A-265
PERIMETER MALL, LLC           PERISCOPE                            AMY PERKINS                      ANNAH M PERKINS
PERIMETER MALL VENTURE LLC    3500 W OLIVE AVE                     238 GRUENE HAVEN                 80004B GENERAL PATTON ST
PO BOX 860381                 STE 300                              NEW BRAUNFELS TX 78132           FORT DRUM NY 13603
MINNEAPOLIS MN 55486-0381     BURBANK CA 91505




033432P001-1409A-265          004971P001-1409A-265                 009620P001-1409A-265             032356P001-1409A-265
AUDRA ANN PERKINS             TONI M PERKINS                       CHEYANNE PERKINSSELLERS          PERR AND KNIGHT
602 HILLSBOROUGH ST           131 DEVON ST                         3757 SE 11TH ST                  401 WILSHIRE BLVD
OAKLAND CA 94606              APT 2                                DES MOINES IA 50315              STE 300
                              DORCHESTER MA 02121                                                   SANTA MONICA CA 90401




009246P001-1409A-265          003801P002-1409A-265                 003087P001-1409A-265             005905P001-1409A-265
GEORGIA PERREAULT             REBECCA PERREIRA                     COURTNEY L PERRETT               SAMANTHA PERRI
55 DAKOTA DR                  425 CIRBY WAY APT 56                 6427 SEMINOLE LN                 740 STAFFORD AVE
CHICOPEE MA 01013             ROSEVILLE CA 95678                   RAPID CITY SD 57702              STATEN ISLAND NY 10309




000728P001-1409A-265          007444P001-1409A-265                 030284P001-1409A-265             001958P001-1409A-265
ANGELA M PERRICONE            CARISSA L PERRY                      CHRISTOPHER PERRY                JANAE PERRY
21 FOX AVE                    233 BULLOCKS PT AVE                  ADDRESS INTENTIONALLY OMITTED    2310 CARTWRIGHT ST
KEANSBURG NJ 07734            RIVERSIDE RI 02915                                                    TYLER TX 75701-2635
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036567P001-1409A-265         007074P001-1409A-265                    005322P001-1409A-265                  035901P001-1409A-265
JESSICA PERRY                JOHNELL PERRY                           JORDAN PERRY                          JORDAN PERRY
8132 CHANCEL CT              218 HAWKINS ST                          555 W FOREST MEADOWS                  3752 E FARGO ST
NAPLES FL 33917              FRANKLINTON NC 27525                    410A                                  MESA AZ 85205
                                                                     FLAGSTAFF AZ 86001




004356P001-1409A-265         002177P001-1409A-265                    007977P001-1409A-265                  035902P001-1409A-265
KARLEE E PERRY               REBECCA PERRY                           TIA M PERRY                           ANNA-MARIA PERRYMAN
8000 YORK RD                 10705 TIDEWATER TRL                     800 COLUMBIA DR LOT 33                1215 SENECA ST
TU UNIT 0506                 FREDERICKSBURG VA 22408                 MYRTLE BEACH SC 29577                 APT 417
TOWSON MD 21252                                                                                            SEATTLE WA 98101




005015P001-1409A-265         002425P001-1409A-265                    037193P001-1409A-265                  008884P001-1409A-265
ALICIA A PERSAUD             HANESHA PERSAUD                         HANESHA PERSAUD                       KATRINA A PERSAUD
13613 WELLINGTON CRESCENT    19 CYPRESS CT                           HANESHA PERSAUD                       201 EAST GAY ST
BURNSVILLE MN 55337          BROOKLYN NY 11208                       19 CYPRESS CT                         APT335
                                                                     BROOKLYN NY 11208                     WEST CHESTER PA 19380




002492P001-1409A-265         000635P001-1409A-265                    030821P002-1409A-265                  036278P001-1409A-265
ANGELLY PERTUZ               HAILI A PERUCCIO                        PERUVIAN FIT SAC                      PERUVIAN FIT SAC
46 BUTLER AVE                110 FOREST RIDGE RD                     AMALIA E RIMAYHUAMAN                  CALLE 'R' MZ X1 LOTE 12
CENTRAL FALLS RI 02863       WATERBURY CT 06708                      CALLE R MZ X1 LOTE 12 URB R           URB R LUCYANA DE CARABAYLLO
                                                                     LUCYANA DE CARABAYLLO                 LIMA
                                                                     LIMA                                  PERU
                                                                     PERU


001192P001-1409A-265         035061P001-1409A-265                    029928P001-1409A-265                  031495P001-1409A-265
GINA N PESAVENTO             PESHO MONTANA ASSOCIATES                PESHO MONTANA ASSOCIATES (LANDLORD)   PESHO MONTANA ASSOCIATES LLC
26523 W STONEBRIAR WAY       PESHO MONTANA ASSOCIATES LLC            PESHO MONTANA ASSOCIATES LLC          4636 VAN NUYS BLVD
CHANNAHON IL 60410-8744      4636 VAN NUYS BLVD                      4636 VAN NUYS BLVD                    SHERMAN OAKS CA 91403-2964
                             SHERMAN OAKS CA 91403-2964              SHERMAN OAKS, CA 91403-2964




009624P001-1409A-265         035903P001-1409A-265                    003001P001-1409A-265                  007443P001-1409A-265
MADISON PESKIE               JULIA K PESUT                           PRISCILLA PETATAN                     AUBREY R PETE
37 GREENMONT DR              9845 CHILLICOTHE RD                     3602 YALE AVE                         10416 COUNTRY GROVE CIR
ENOLA PA 17025               KIRTLAND OH 44094                       WINSTON SALEM NC 27107                DELMAR DE 19941




000919P001-1409A-265         006602P001-1409A-265                    033420P001-1409A-265                  008434P001-1409A-265
KATY L PETE                  KENNA C PETERKIN                        CANDACE C PETERS                      SARAH J PETERS
10416 COUNTRY GROVE CIR      3720 BOSTIC DR                          539 MANDANA BLVD                      42 PAW PAW AVE
DELMAR DE 19940              203B                                    APT D                                 RIVESVILLE WV 26588
                             GREENVILLE NC 27834                     OAKLAND CA 94610
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003753P001-1409A-265          007888P001-1409A-265                  000666P001-1409A-265            005416P001-1409A-265
SARAH K PETERS                BRITTANY L PETERSEN                   LILLIAN S PETERSEN              BONNIE L PETERSON
3558 CITRUS ST                330 STYLER APT 608                    17 TERREL WAY                   1003 ETON WAY
LEMON GROVE CA 91945          WICHITA KS 67209                      GANSEVOORT NY 12831             NEPTUNE NJ 07753




036439P001-1409A-265          004705P001-1409A-265                  005465P001-1409A-265            009610P001-1409A-265
CHRISTINA PETERSON            JULIA R PETERSON                      NICOLE PETERSON                 VICTORYA L PETERSON
717 OAKDALE AVE APT 215       1712 VAN BUREN AVE                    2106 SW WOODLAND DR             5001 EAST 46TH ST NORTH
SPRINGFIELD OR 97477-7726     CHARLOTTE NC 28216                    ANKENY IA 50023                 BEL AIRE KS 67220




031067P001-1409A-265          007974P001-1409A-265                  010092P001-1409A-265            032706P001-1409A-265
PETIT COLLAGE INC             NINA PETRALBA                         PEYTON C COCHRANE,TAX           PEYTON C COCHRANE,TAX COLLECTOR
HARMONY BAILEY                2403 RUSSELL LONG BLV                 COLLECTOR                       TUSCALOOSA COUNTY
2069A MISSION ST              CANYON TX 79016                       714 GREENSBORO AVE RM 124       714 GREENSBORO AVE RM 124
SAN FRANCISCO CA 94110                                              TUSCALOOSA AL 35401-1891        TUSCALOOSA AL 35401-1891




001621P001-1409A-265          004653P001-1409A-265                  005095P001-1409A-265            031496P001-1409A-265
CORY M PEYTON                 CHIARA PEZZELATO                      JACKIE PFEIL                    PFP COLUMBUS II LLC
2435 S 25TH ST                110 AUDREY AVE                        713 KLEMONT AVE                 GLIMCHER PRPERTIES LP
APT 1                         100                                   PITTSBURGH PA 15202             180 EAST BRAOD ST
PADUCAH KY 42003-3327         OYSTER BAY NY 11771                                                   COLUMBUS OH 43215




036974P001-1409A-265          036974S001-1409A-265                  033698P001-1409A-265            002747P001-1409A-265
PFP COLUMBUS II LLC           PFP COLUMBUS II LLC                   PFS WEB                         ALYSIA N PHAM
WASHINGTON PRIME GROUP INC    WASHINGTON PRIME GROUP INC            505 MILLENNIUM DR               3165 SORREL ST
FROST BROWN TODD LLC          STEPHEN E IFEDUBA                     ALLEN TX 75013                  YORK PA 17404
301 E FOURTH ST               180 E BROAD ST
CINCINNATI OH 45202           COLUMBUS OH 43215



005702P001-1409A-265          033359P001-1409A-265                  002538P001-1409A-265            003553P001-1409A-265
NHI PHAM                      CYNTHIA PHAN                          KIMYEN T PHAN                   NATALIE U PHAN
25 LAUREL PL                  30210 BROOKFILED RD                   5136 SPRINGWOOD DR              3414 N 52ND ST
STRATFORD CT 06615            HAYWARD CA 94544                      TAMPA FL 33624                  FORT SMITH AR 72904




003470P001-1409A-265          007450P001-1409A-265                  001760P001-1409A-265            009621P001-1409A-265
SIENNA PHAN                   SERINA PHANTHALATH                    ASIA U PHARR                    AURIEL S PHARR
269 NORTH SLATE ST            720 MARION DR                         65 JUDY LN                      13215 WINSLOW HILLS DR
GILBERT AZ 85234              LAS VEGAS NV 89110                    STAMFORD CT 06906               DURHAM NC 28278
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032357P001-1409A-265                           031497P001-1409A-265                      037648P001-1409A-265                      003276P001-1409A-265
PHASE 3 DIGITAL, LLC                           PHEASANT LANE MALL                        PHEASANT LANE REALTY TRUST                GABBRIELLE M PHELPS
444 N WELLS STE 402                            PHEASANT LANE REALTY TRUST                A MASSACHUSETTS TRUST                     119 N 54TH ST
CHICAGO IL 60654                               310 DANIEL WEBSTER HWY                    SIMON PROPERTY GROUP LP RONALD M TUCKER   PHILADELPHIA PA 19139
                                               NASHUA NH 03060                           225 WEST WASHINGTON ST
                                                                                         INDIANAPOLIS IN 46204



006471P001-1409A-265                           003155P001-1409A-265                      007212P001-1409A-265                      002601P001-1409A-265
JORDAN D PHELPS                                MADISON PHELPS                            OLIVIA PHELPS                             TERADA L PHENGPHONG
206 MARK SPITZ DR                              923 DEGEEST DR                            1920 BENNETT RD                           31 N SHELLY AVE
CLARKSVILLE TN 37042                           RAPID CITY SD 57703                       ABERDEEN MD 21001                         FRESNO CA 93727




035904P001-1409A-265                           009865P001-1409A-265                      032358P001-1409A-265                      006441P001-1409A-265
GRACE PHENGPHONGSAVANH                         PHIL FRANEY - KCTTC                       PHILADELPHIA PREMIUM OUTLETS              BRANDON PHILLIP
140 SALISBURY ST                               KERN COUNTY TREASURER-TAX COLL            PREMIUM OUTLET PARTNER LP                 31 EAST 31ST ST
DRACUT MA 01824                                1115 TRUXTUN AVE 2ND FL                   LEE YAIST                                 6A
                                               BAKERSFIELD CA 93301-4640                 18 WEST LIGHTCAP RD                       BROOKLYN NY 11226
                                                                                         STE 880
                                                                                         LIMERICK PA 19464


009084P001-1409A-265                           035905P001-1409A-265                      008287P001-1409A-265                      005010P001-1409A-265
ALEXIS N PHILLIPS                              AMBER L PHILLIPS                          CARLY PHILLIPS                            COREY S PHILLIPS
1918 WESTWOOD DR                               2855 REESE RD                             141 CAMPUS VIEW RD                        5127 VANNOY AVE
CAPE GIRARDEAU MO 63701                        COLUMBUS GA 31907                         APT 4                                     CASTRO VALLEY CA 94546
                                                                                         MANKATO MN 56001




007702P002-1409A-265                           003747P001-1409A-265                      002541P001-1409A-265                      035906P001-1409A-265
DYMIN PHILLIPS                                 KATHERINE PHILLIPS                        MACKENZIE C PHILLIPS                      MACKENZIE C PHILLIPS
23104 RICHARDS RD                              25420 SENATOR AVE #9                      1822 CAMELOT DR                           2608 NOLAN CREEK ST
29310                                          HARBOR CITY CA 90710                      CLARKSVILLE TN 37042                      TEMPLE TX 76504
PRAIRIE TX 77446




002589P001-1409A-265                           004386P001-1409A-265                      035907P001-1409A-265                      035908P001-1409A-265
SASHE L PHILLIPS                               TORRIE PHILLIPS                           TORRIE PHILLIPS                           TYSHELLE PHILLIPS
174 PITTSTON CIR                               518                                       518 PRAIRIE RD                            3000 FORD RD
OWINGS MILLS MD 21117                          RAPID CITY SD 57719                       BOX ELDER SD 57719                        APT F23
                                                                                                                                   BRISTOL PA 19007




031498P001-1409A-265                           005399P001-1409A-265                      036470P001-1409A-265                      032359P001-1409A-265
PHIPPS PLAZA CPI - PHIPPS LIMITED LIABILITY    ALEXANDRIA LYNN J PHIPPS                  D'EBONY PHIPPS                            PHOEBE SELIGMAN
THE RETAIL PROPERTY TRUST                      3 SUSAN CT                                333 AIRTEX DR APT 9304                    656 O'FARRELL ST
PHIPPS PLAZA                                   OLD BRIDGE NJ 08857                       HOUSTON TX 77090-6636                     APT 201
PO BOX 772842                                                                                                                      SAN FRANCISCO CA 94109
CHICAGO IL 60677-2842
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010506P001-1409A-265                010508P001-1409A-265                     030295P001-1409A-265            003144P001-1409A-265
PHOENIX CITY TREASURER              PHOENIX CITY TREASURER                   DALLA A PHOMMACHANH             ARIANA A PHOMMARATH
FINANCE DEPT                        PO BOX 29690                             ADDRESS INTENTIONALLY OMITTED   780 CLARK ST
PO BOX 29125                        PHOENIX AZ 85038-9690                                                    BRIDGEPORT CT 06606
PHOENIX AZ 85038-9125




009139P001-1409A-265                032360P001-1409A-265                     034241P001-1409A-265            037325P001-1409A-265
MEW PHONGSAVTH                      PHOTOGENICS LLC                          PHOTOGENISC LLC                 PHOTOSOPHIC INC
1510 MCDONALD ST                    KIM BREWER                               3121B S LA CIENEGA BLVD         PHOTOSOPHIC INC
SIOUX CITY IA 51103                 3121B S LA CIENEGA BLVD                  LOS ANGELES CA 90016            PO BOX 752
                                    LOS ANGELES CA 90016                                                     SANTA CRUZ CA 95061




032361P001-1409A-265                002638P001-1409A-265                     036745P001-1409A-265            004479P001-1409A-265
PHOTOSOPHIC, INC                    VICTORIA D PICASION                      RUTH PICAZO                     VERONICA PICAZO
129 BULKHEAD ST                     7430 PAINTED MURAL AVE                   2115 MANTELLI DR                1154 WHEELER ST SW
SANTA CRUZ CA 95060                 LAS VEGAS NV 89179                       GILROY CA 95020                 WYOMING MI 49509




004842P001-1409A-265                030498P001-1409A-265                     001689P001-1409A-265            008308P001-1409A-265
DANA J PICH                         MARCK PICHOFF                            MARK PICHOFF                    JAWAYNE PICHON
2670 22ND AVE                       ADDRESS INTENTIONALLY OMITTED            317 PLANTERS CANAL RD           2420 TATTERSALL DR
SAN FRANCISCO CA 94116                                                       BELLE CHASSE LA 70037           HARVEY LA 70058




005241P001-1409A-265                035909P001-1409A-265                     009636P001-1409A-265            002023P001-1409A-265
TIONNA A PICINICH                   TIONNA A PICINICH                        AYONA A PICKENS                 ANJERRICA PICKETT
218 COUNTRY CLUB DR                 2267 ATTILBURGH BLVD                     305 SOUTH SUMMEY ST             7199 NIXON ST
MELBOURNE FL 32940                  WEST MELBOURNE FL 32904                  DALLAS NC 28034                 GREENWOOD LA 71033-1909




007186P001-1409A-265                004752P001-1409A-265                     031499P001-1409A-265            037649P001-1409A-265
KINSEY R PICOU                      SARA M PIEDRA                            PIER PARK LLC                   PIER PARK LLC A DELAWARE LIMITED LIABILITY CO
327 ROBERT ST                       115 PROUT AVE                            MS MANAGEMENT ASSOCIATES INC    SIMON PROPERTY GROUP LP
B                                   APT 1                                    225 WEST WASHINGTON ST          RONALD M TUCKER
SLIDELL LA 70458                    MANCHESTER NH 03103                      INDIANAPOLIS IN 46204-3438      225 WEST WASHINGTON ST
                                                                                                             INDIANAPOLIS IN 46204



032362P001-1409A-265                004173P001-1409A-265                     035910P001-1409A-265            001414P001-1409A-265
PIERCE COUNTY BUDGET AND FINANCE    JULIA M PIERCE                           NICOLE L PIERCE                 MAHALIA PIERRE
PO BOX 11621                        221 JEFFERSON ST                         150 BELAIRE AVE                 5212 CULPEPPER PL
TACOMA WA 98411-6621                STRATFORD CT 06615                       #004                            WESLEY CHAPEL FL 33544
                                                                             DAYTON OH 45420
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004097P001-1409A-265         002449P001-1409A-265                    003780P001-1409A-265          035911P001-1409A-265
SAMUEL PIERRE                SANDRA N PIERRE                         CLARUIZ M PIERSON             CLARUIZ M PIERSON
5113 PIPES O THE GLEN WAY    105 LAWRENCE ST                         3485 W HAROLD AVE             210 E CAMERON AVE APT H
ORLANDO FL 32808             2                                       VISALIA CA 93291              VISALIA CA 93277
                             MALDEN MA 02148




001447P001-1409A-265         008923P001-1409A-265                    010008P001-1409A-265          007594P001-1409A-265
JADE L PIERSON               ROSHUNDA R PIERSON                      RUTH PIETRUSZEWSKI            GRACE E PIETZSCH
242 S WINOOSKI AVE           12610 JUPITER RD                        MARTIN COUNTY TAX COLLECTOR   3103 COOPER AVE
APT 7                        APT 1126                                3485 SE WILLOUGHBY BLVD       PENNSAUKEN NJ 08109
BURLINGTON VT 05401          DALLAS TX 75238                         STUART FL 34994-5062




004394P001-1409A-265         001068P001-1409A-265                    005527P001-1409A-265          002573P001-1409A-265
MARIA H PIGATTI              SHELLY PIKE                             ALYSSA M PILAC                GINA PILGER
591 LAKEWAY DR               1757 26TH AVE #106                      8754 N OLEANDER AVE           6632 S 76TH DR
WEST BABYLON NY 11704        OAKLAND CA 94601                        NILES IL 60714                LAVEEN AZ 85339




002097P001-1409A-265         030780P001-1409A-265                    010504P001-1409A-265          032707P001-1409A-265
LINOSHKA M PILIER            PILOT AIR FREIGHT                       PIMA COUNTY TREASURER         PIMA COUNTY TREASURER
722 MYRTLE COVE CT           PO BOX 654058                           PO BOX 29011                  BETH FORD
202                          DALLAS TX 75265-4058                    PHOENIX AZ 85038-9011         PO BOX 29011
ORLANDO FL 32825                                                                                   PHOENIX AZ 85038-9011




002387P001-1409A-265         002525P001-1409A-265                    032363P001-1409A-265          006371P001-1409A-265
ALEXANDRA A PIMENTEL         MORGAN PIMENTEL                         PINEAPPLE AND PROSECCO, LLC   AMANDA B PINEDA
43 ABNER POTTER'S WAY        43 ABNER POTTER'S WAY                   DANIELLE GERVINO              495 BLUE HILL AVE
DARTMOUTH MA 02748           DARTMOUTH MA 02748                      110 SOUND CT                  104
                                                                     NORTHPORT NY 11768            DORCHESTER MA 02121




002780P001-1409A-265         006148P001-1409A-265                    005681P001-1409A-265          004234P001-1409A-265
LEANNA M PINEDA              DAISY G PINEDO                          AUTUMN N PINKNEY              MAKALAH M PINKNEY
4102 SHERWOOD LN             6734 CURTIS AVE                         2321 CENTENNIAL RIDGE WAY     16LUFFING CT
3                            LONG BEACH CA 90805                     103                           ESSEX MD 21221
HOUSTON TX 77092                                                     RALEIGH NC 27603




008209P001-1409A-265         037371P001-1409A-265                    031500P001-1409A-265          034280P001-1409A-265
MORIAH G PINKNEY             PINNACLE HILLS LLC                      PINNACLE HILLS, LLC           SYLVIA ERIKA PINO
2047 ROBINSON RD             AKA PINNACLE HILLS PROMENADE            ROGERS RETAIL LLC             42 GREENWOOD DR SOUTH
NEWTON NC 28658              BROOKFIELD PROPERTY REIT INC            PO BOX 860066                 SAN FRANCISCO CA 94080
                             350 N ORLEANS ST STE 300                MINNEAPOLIS MN 55486-0066
                             CHICAGO IL 60654-1607
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006011P001-1409A-265     005889P001-1409A-265                   035912P001-1409A-265            031068P001-1409A-265
LAURA PINTO              LUIS A PINTOR FERREYRA                 FERREYRA LUIS A PINTOR          PIPER FINN
408 MILGATE ST           2206 IOWA ST                           2206 IOWA ST                    235 W1400 N
UTICA NY 13501           MELROSE PARK IL 60160                  MELROSE PARK IL 60160           BOUNTIFUL UT 84010




005393P001-1409A-265     009284P001-1409A-265                   007307P001-1409A-265            032364P001-1409A-265
ELIZABETH N PIPER        MIAYA PIPES                            QUIERRA PIPKORN                 PIPP MOBILE STORAGE SYSTEMS
2825 WOODSDALE BLVD      6613 KINNERTON DR                      8501 W GRANTOSA DR APT 3        PO BOX 674812
LINCOLN NE 68502         INDIANAPOLIS IN 46254                  MILWAUKEE WI 53225              DETROIT MI 48267-4812




004021P001-1409A-265     004437P001-1409A-265                   008467P001-1409A-265            030667P001-1409A-265
MELISSA E PIRANDO        MARISSA G PISCANI                      ALEXA N PISCANIO                VICTORIA PISTOCHINI
343 SYLVAN KNOLL RD      132 HANSEN AVE                         6400 FOLSOM BLVD                ADDRESS INTENTIONALLY OMITTED
STAMFORD CT 06902        PEARL RIVER NY 10965                   432
                                                                SACRAMENTO CA 95819




001222P001-1409A-265     035419P001-1409A-265                   030438P001-1409A-265            037032P001-1409A-265
VICTORIA H PISTOCHINI    VICTORIA H PISTOCHINI                  KATIE PITCHFORD                 KATIE PITCHFORD
4361 IDAHO ST APT 4      4561 MIDDLESEX RD                      ADDRESS INTENTIONALLY OMITTED   302 S 14TH ST
SAN DIEGO CA 92104       WILMINGTON NC 28405                                                    FORT SMITH AK 72901-3809
                                                                                                UNITED STATES




001004P001-1409A-265     010579P001-1409A-265                   004254P001-1409A-265            002565P002-1409A-265
KATIE D PITCHFORD        PITT COUNTY TAX COLLECTOR              MEAGAN E PITTMAN                SHAMARA L PITTMAN
302 S 14TH ST            PO BOX 875                             575 SANDSTONE DR                1321 KITCHEN ST APT 1
FORT SMITH AR 72901      GREENVILLE NC 27835-0875               DOTHAN AL 36303                 JONESBORO AR 72401-4272




035913P001-1409A-265     037783P001-1409A-265                   009126P001-1409A-265            006903P001-1409A-265
SHAMARA L PITTMAN        PITTS REALTY LLC                       JORDAN Q PITTS                  SAVANAH A PITTS
1321 KITCHEN ST          NAMDAR REALTY GROUP LLC                1510 WAHNISH WAY                1650 HAGER ST
UNIT 1                   JOSHUA S HACKMAN                       TALLAHASSEE FL 32307            2
JONESBORO AR 72401       150 GREAT NECK RD STE 304                                              UTICA NY 13502
                         GREAT NECK NU 11021



008667P001-1409A-265     009852P001-1409A-265                   032365P003-1409A-265            002073P001-1409A-265
LISA M PITZ              DAVID PIWONKA                          PIXLEE INC                      KEVIN P PIYATILAKE
1825 WILLOW HAVEN LN     CYPRESSFAIRBANK ISD TAX ASR            ALEXIS COLE                     179 20TH AV 4
APT 3E                   10494 JONES RD STE 106                 625 MARKET ST 9TH FL            4
CHARLOTTE NC 28262       HOUSTON TX 77065                       SAN FRANCISCO CA 94105          SAN FRANCISCO CA 94121
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009490P001-1409A-265                 003939P001-1409A-265                        033501P001-1409A-265            002694P001-1409A-265
DANITZA Z PIZA                       ESKARLET Y PIZZATI                          PL MORENA BOULEVARD LP          BRENDA D PLAISIR
1702 E ALMERIA RD                    216 BAYLOR PL                               KIMCO REALTY CORP               300 NEPTUNE GARDENS
PHOENIX AZ 85006                     KENNER LA 70065                             PO BOX 5020                     APT 2009
                                                                                 NEW HYDE PARK NY 11042-0020     NEPTUNE NJ 07753




035914P001-1409A-265                 036700P002-1409A-265                        032366P001-1409A-265            010124P001-1409A-265
BRENDA D PLAISIR                     PLANS EXAMINERS INC                         PLATTE COUNTY COLLECTOR         PLATTE COUNTY MISSOURI SOUTH
2132 ALDRIN RD                       DAVID T BRAZELTON                           SHEILA L PALMER PLATTE COUNT    UNION BANK KELLY H
APT 1B                               1000 CHURCH HILL RD STE 210                 415 THIRD AVE RM 212            9221 N OAK TRAFFICWAY
OCEAN NJ 07712                       PITTSBURGH PA 15205                         PLATTE CITY MO 64079            KANSAS CITY MO 64155




034882P001-1409A-265                 029929P001-1409A-265                        029929S001-1409A-265            031501P001-1409A-265
PLAZA ASSOCIATES                     PLAZA ASSOCIATES (LANDLORD)                 PLAZA ASSOCIATES (LANDLORD)     PLAZA BONITA
PLAZA ASSOCIATES INC                 CVM HOLDINGS LLC                            PLAZA ASSOCIATES, INC           CINDY KELLEMS
2840 PLAZA PL                        4325 GLENWOOD AVE                           LEGAL DEPT                      FILE # 55879
STE 100                              RALEIGH NC 27612                            2840 PLZ PL STE 100             LOS ANGELES CA 90074-5879
RALEIGH NC 27612                                                                 RALEIGH NC 27612



034377P001-1409A-265                 036918P001-1409A-265                        031502P001-1409A-265            037464P001-1409A-265
PLAZA BONITA                         PLAZA BONITA LLC                            PLAZA CAROLINA MALL, LP         PLAZA LAS AMERICAS INC
FILE # 55879                         LECLAIRRYAN PLLC                            PO BOX 71478                    CO JOAQUIN J ALEMANY ESQ
LOS ANGELES CA 90074-5879            NICLAS A FERLAND                            SAN JUAN PR 00936-8578          HOLLAND AND KNIGHT LLP
                                     545 LONG WHARF DR 9TH FL                                                    701 BRICKELL AVE STE 3300
                                     NEW HAVEN CT 06511                                                          MIAMI FL 33131



029930P002-1409A-265                 032367P001-1409A-265                        010502P001-1409A-265            031503P001-1409A-265
PLAZA LAS AMERICAS INC (LANDLORD)    PLAZA LAS AMERICAS, INC                     PLAZA METROPLOITAN DISTRICT 1   PLAZA WEST COVINA LP
PO BOX 363268                        PO BOX 363268                               PO BOX 281167                   MARY LOTHE
SAN JUAN PR 00936-3268               SAN JUAN PR 00936-3268                      LAKEWOOD CO 80228-1167          1 EAST WACKER DR
                                                                                                                 STE 3600
                                                                                                                 CHICAGO IL 60601



036701P001-1409A-265                 037778P001-1409A-265                        008248P001-1409A-265            008206P001-1409A-265
PLAZA WEST COVINA LP                 PLAZA WEST COVINA LP                        CECILIA M PLAZA                 NAKIA C PLEASANT
1 EAST WACKER DR STE 3600            BALLARD SPAHR LLP                           5626 VIRGINIA LN                480 LEXINGTON AVE
CHICAGO IL 60601                     DUSTIN P BRANCH                             OXON HILL MD 20745              #2
                                     2029 CENTURY PARK EAST SUITE 800                                            HAYWARD CA 94544
                                     LOS ANGELES CA 90067



008321P001-1409A-265                 032368P001-1409A-265                        033699P001-1409A-265            000514P001-1409A-265
CHEYANN PLECITY                      PLINTO STUDIO, LLC                          PLUM TREE GROUP INC             KRYSTAL A PLUMITALLO
111B MCCOLLUM CIR                    230 19TH AVE                                325 W HURON                     213 OVERLAND RIDGE
MANSFIELD DEPOT CT 06251             #1                                          STE 710                         104
                                     SAN FRANCISCO CA 94121                      CHICAGO IL 60654                WALTON KY 41094
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007458P001-1409A-265                003626P001-1409A-265                        032369P001-1409A-265               034179P001-1409A-265
MAURICIA R PLUMMER                  TASHAWRA R PLUMMER                          PLURALSIGHT LLC                    PLURALSIGHT LLC
1759 LANCING DR                     76 FORRESTER ST SW                          MICHAEL CORRY                      182 NORTH UNION AVE STE 200
APT 172                             101                                         182 NORTH UNION AVE STE 200        FARMINGTON UT 84025
SALEM VA 24153                      WASHINGTON DC 20032                         FARMINGTON UT 84025




033407P001-1409A-265                009735P001-1409A-265                        033531P001-1409A-265               034889P001-1409A-265
PMW TECHNOLOGIES INC                PNC BANK                                    PNC BANK                           POAG AND MCEWEN
MOLLY LANNING                       2 PNC PLZ                                   PO BOX 535239                      POAG LIFESTYLE CENTERS LLC
466 KING ST                         620 LIBERTY AVE 31ST FL                     PITTSBURGH PA 15253                2650 THOUSAND OAKS BLVD
CHARLESTON SC 29403                 PITTSBURGH PA 15222                                                            STE 2200
                                                                                                                   MEMPHIS TN 38118



029931P001-1409A-265                029932P001-1409A-265                        034903P001-1409A-265               034905P001-1409A-265
POAG AND MCEWEN (LANDLORD)          POAG AND MCEWEN (LANDLORD)                  POAG SHOPPING CENTERS              POAG SHOPPING CENTERS
POAG LIFESTYLE CENTERS LLC          G AND L VI PROMENADE LLC                    CP VENTURE FIVE - AV LLC           POAG SHOPPING CENTERS LLC
LEGAL DEPT                          PETER JANOFF                                POAG SHOPPING CENTERS LLC          2650 THOUSAND OAKS BLVD
2650 THOUSAND OAKS BLVD STE 2200    220 EAST 42ND ST 27TH FL                    2650 THOUSAND OAKS BLVD            STE 2200
MEMPHIS TN 38118                    NEW YORK NY 10017                           STE 2200                           MEMPHIS TN 38118
                                                                                MEMPHIS TN 38118


029933P001-1409A-265                029933S001-1409A-265                        029933S002-1409A-265               029934P001-1409A-265
POAG SHOPPING CENTERS (LANDLORD)    POAG SHOPPING CENTERS (LANDLORD)            POAG SHOPPING CENTERS (LANDLORD)   POAG SHOPPING CENTERS (LANDLORD)
CP VENTURE FIVE - AV LLC            PGIM REAL ESTATE                            PGIM REAL ESTATE                   METROPOLIS LIFESTYLE CENTER LLC
POAG SHOPPING CENTERS LLC           MICHAEL HARRINGTON                          LAW DEPT                           LEGAL DEPT
LEGAL DEPARTMENT                    7 GIRALDA FARMS                             7 GIRALDA FARMS                    2650 THOUSAND OAKS BLVD STE 2200
2650 THOUSAND OAKS BLVD STE 2200    MADISON NJ 07940                            MADISON NJ 07940                   MEMPHIS TN 38118
MEMPHIS TN 38118


029934S001-1409A-265                005869P001-1409A-265                        006271P001-1409A-265               001120P001-1409A-265
POAG SHOPPING CENTERS (LANDLORD)    ALIYA A POBLETE                             EMILY G PODESTA                    YEVGENIYA PODOLYAKINA
POAG SHOPPING CENTERS, LLC          1349 TRALEE CIR                             423 CLINTON AVE                    2610 RIDGEVIEW CT
LEGAL DEPT                          ABERDEEN MD 21001                           APT 2                              PARLIN NJ 08859
2650 THOUSAND OAKS BLVD STE 2200                                                ROSEVILLE CA 95678
MEMPHIS TN 38118



003055P001-1409A-265                009281P001-1409A-265                        004304P001-1409A-265               005466P001-1409A-265
RENEE L PODRAZA                     KATHERINE POE                               HANNAH R POHL                      CHARLEENE POLANCO
3345 VORDEN ST                      4340 WEBSTER AVE                            15 CRYSTRAL STREAM CT              11-13 FAIRHAVEN PL
NEW PORT RICHEY FL 34655            43467                                       WENTZVILLE MO 63385                FAIR LAWN NJ 07410
                                    CINCINNATI OH 45236




002831P001-1409A-265                035915P001-1409A-265                        032754P001-1409A-265               033700P001-1409A-265
CONNIE M POLANCO                    CONNIE M POLANCO                            POLARIS ENERGY SVC                 POLICYIQ
157 PERRY AVE                       118 PAINE ST                                L-2413                             RESOURCES CONNECTION INC
#3                                  #2                                          COLUMBUS OH 43260                  1670 ONE PPG PL
WORCESTER MA 01610                  WORCESTER MA 01605                                                             PITTSBURGH PA 15222
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002616P001-1409A-265                    007635P001-1409A-265                003848P001-1409A-265              006880P001-1409A-265
SENDI POLIN                             LISA POLITE                         MAGGIE M POLLAK                   KALIEAH A POLLARD
3616 N LARAMIE                          4603 MEADOWS AVE                    48180 TILCH RD                    29 MONTCLAIRE DR
2                                       SAVANNAH GA 31405                   MACOMB MI 48044                   PLEASANTVILLE NJ 08232
CHICAGO IL 60641




004164P001-1409A-265                    003432P001-1409A-265                002995P001-1409A-265              037528P001-1409A-265
KATHERINE E POLLARD                     KYLEE A POLLARD                     MARGARET POLLEY                   POM COLLEGE STATION LLC
821 GLENWICK CT                         1074 STATE RTE 981                  16925 S 82ND AVE                  BY CBL AND ASSOCIATES MANAGEMENT INC
BURLESON TX 76028                       LATROBE PA 15650                    TINLEY PARK IL 60477              GARY RODDY
                                                                                                              2030 HAMILTON PL BLVD STE 500
                                                                                                              CHATTANOOGA TN 37421



037528S001-1409A-265                    002622P001-1409A-265                001346P001-1409A-265              000518P001-1409A-265
POM COLLEGE STATION LLC                 TIARA N POMONTTY                    LESLIE P POMPA                    JORDAN POMPUTIS
BY CBL AND ASSOCIATES MANAGEMENT INC    60 SHANLEY ST                       46725 CLINTON ST                  3017 FREMONT AVE S
CALEB HOLZAEPFEL                        STRATFORD CT 06615                  12                                5
736 GEORGIA AVE STE 300                                                     INDIO CA 92201                    MINNEAPOLIS MN 55408
CHATTANOOGA TN 37402



005693P002-1409A-265                    002193P001-1409A-265                001856P001-1409A-265              027302P001-1409A-265
NATHALY PONCE OCHOA                     ANDREA R PONCE                      ERNESTO PONCE                     LIZBETH PONCE
214 LINDEN AVE APT 6                    595 TANGERINE DR                    12525 WASHINGTON PL               6700 DAVIDSON ST
WESTBURY NY 11590                       EL CENTRO CA 92243                  APT 201                           RICHLAND HILLS TX 76118
                                                                            LOS ANGELES CA 90066-4840




008605P001-1409A-265                    008627P001-1409A-265                003915P001-1409A-265              008249P001-1409A-265
NADALIE PONCE                           VERONICA E PONCE                    KASSANDRA A PONDER                NIJUAH L PONDER
657 ZIEGLER DR                          1145 SHEARWATER DR                  8630 WHITE STAR DR                725 SYCAMORE ST
GRAYSLAKE IL 60030                      PATTERSON CA 95363                  SAN ANTONIO TX 78242              HAMILTON OH 45011




004136P001-1409A-265                    030745P001-1409A-265                007827P001-1409A-265              030308P001-1409A-265
TARA M PONTE                            POOF APPAREL CORP                   CASSIDY M POOLE                   DEBORAH JOHNSON POOR
256 WOODWARD RD                         ALBANA ERBELI                       2327 MT EDEN RED                  ADDRESS INTENTIONALLY OMITTED
PROVIDENCE RI 02904                     1407 BROADWAY #900                  SHELBYVILLE KY 40065
                                        NEW YORK NY 10018




005157P001-1409A-265                    032370P001-1409A-265                032371P001-1409A-265              031069P001-1409A-265
MICAYLA A POPE                          POPRESEARCH LLC                     POPSUGAR INC                      POPULAR BASICS DBA POPULAR 21
404 DEER CREEK CIR                      53 RIVERSIDE AVE                    111 SUTTER ST                     747 EAST 10TH ST
DESOTO TX 75115                         WESTPORT CT 06880                   STE 1600                          UNIT 111
                                                                            SAN FRANCISCO CA 94104            LOS ANGELES CA 90021
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002019P001-1409A-265          036973P001-1409A-265                     036973S001-1409A-265           034405P001-1409A-265
KYLA PORCARO                  PORT CHARLOTTE MALL LLC                  PORT CHARLOTTE MALL LLC        PORT CHARLOTTE MALL, LLC
437 BROAD ST                  WASHINGTON PRIME GROUP INC               WASHINGTON PRIME GROUP INC     PO BOX 406373
APT 2                         FROST BROWN TODD LLC                     STEPHEN E IFEDUBA              ATLANTA GA 30384-6373
CUMBERLAND RI 02864-7820      301 E FOURTH ST                          180 E BROAD ST
                              CINCINNATI OH 45202                      COLUMBUS OH 43215



031504P001-1409A-265          036702P001-1409A-265                     004542P001-1409A-265           035916P001-1409A-265
PORT CHARLOTTE TOWN CENTER    PORT CHARLOTTE TOWN CENTER               KAMERON V PORTER               KAMERON V PORTER
PORT CHARLOTTE MALL LLC       PO BOX 406373                            310 N JEFFERSON AVE            1333 EAST ELM ST
PO BOX 406373                 ATLANTA GA 30384-6373                    122                            APT 7
ATLANTA GA 30384-6373                                                  SPRINGFILED MO 65806           SPRINGFILED MO 65802




004382P001-1409A-265          034118P001-1409A-265                     006597P001-1409A-265           003333P001-1409A-265
LARITA M PORTER               PORTHCAWL JACKSON, LLC                   BRIANNA X PORTILLO CERVANTES   INGRID PORTILLO
6643 FAIRWAY AVE              110 E HOUSTON ST                         3945 HOLLYBROOK LN             25 HORTON ST
INDIANAPOLIS IN 46250         SAN ANTONIO TX 78205                     PUEBLO CO 81005                ATTLEBORO MA 02703




007249P001-1409A-265          006144P001-1409A-265                     035917P002-1409A-265           033095P001-1409A-265
JACKY E PORTILLO              VICKY C PORTILLO                         BRIANNA PORTILLO-CERVANTES     PORTLAND GENERAL ELECTRIC
4194 LAKE SHORE DR            15705 KERVIN AVE                         3945 HOLLYBROOK LN             PO BOX 4438
APT 4194                      PARAMOUNT CA 90723                       PUEBLO CO 81005                PORTLAND OR 97208
WACO TX 76710




033095S001-1409A-265          037229P001-1409A-265                     035918P001-1409A-265           003849P001-1409A-265
PORTLAND GENERAL ELECTRIC     PORTLAND GENERAL ELECTRIC PGE            EVELYN POSEY                   IAN O POSEY
ONE WORLD TRADE CENTER        JUSTIN WILLIAMS                          7310 E SPRINGBROOK CT          6114 ENSIGN AVE
121 SW SALMON ST              7895 SW MOHAWK ST ERC                    MIDDLETOWN MD 21769            NORTH HOLLYWOOD CA 91606
PORTLAND OR 97204             TUALATIN OR 97062




003459P001-1409A-265          030613P001-1409A-265                     000759P003-1409A-265           005718P001-1409A-265
JAYLA S POSEY                 SHERRY POSEY                             SHERRY J POSEY                 TEHYA M POSEY
5128 FORESTWOOD               ADDRESS INTENTIONALLY OMITTED            225 ADDERMAN DR                27502 CORONADO WAY
ADAMSVILLE AL 35005                                                    AUGUSTA GA 30907               HAYWARD CA 94545




031070P001-1409A-265          032372P001-1409A-265                     035152P002-1409A-265           036703P001-1409A-265
POSH TREND                    POSITION TECHNOLOGIES INC                POSITION TECHNOLOGIES INC      POSITION TECHNOLOGIES INC
JOANNE TORRES                 ROSA GUGLIOTTA                           JAMES A STOB                   2000 S BATAVIA AVE STE 350
2436 E8TH ST                  2000 S BATAVIA AVE                       2000 S BATAVIA AVE STE 350     GENEVA IL 60134
LOS ANGELES CA 90021          STE 350                                  GENEVA IL 60134
                              GENEVA IL 60134
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031505P001-1409A-265            032373P001-1409A-265                      031506P001-1409A-265            032374P001-1409A-265
POST OAK MALL ASSOCIATES LP     POSTMASTER                                POTOMAC MILLS SHOPPING CENTER   POTSMIS
CBL #0043                       POSTAGE DUE CLERK                         MALL AT POTOMAC MILLS LLC       COME CLEAN MAINTENANCE
PO BOX 955607                   LAN TRUONG                                PO BOX 277866                   BILL MIRANDA
ST LOUIS MO 63195-5607          ONTARIO MAIN POST OFFICE                  ATLANTA GA 30384-7866           936 BSEVENTH ST
                                1555 E HOLT BLVD                                                          NOVATO CA 94945
                                ONTARIO CA 91761-9998


006601P001-1409A-265            004105P001-1409A-265                      004492P001-1409A-265            034690P001-1409A-265
MADISON E POTTER                OLIVIA R POTTER                           SAMANTHA K POTTINGER            POTTS AND ASSOCIATES
1530 SOUTH CHARLES BLVD         8670 RANNEY RD                            354 PALISADE AVE                20860 N TATUM BLVD STE 405
APT 53                          TABERG NY 13471                           APT 2                           PHOENIX AZ 85050
GREENVILLE NC 27858                                                       GARFIELD NJ 07026




004535P001-1409A-265            009926P001-1409A-265                      009297P001-1409A-265            031507P001-1409A-265
KENNEDE POTTS                   VICKIE L POTTS                            YAZMIN R POUERIET               POUGHKEEPSIE GALLERIA LLC
404 DOGWOOD WAY                 CHARLOTTE COUNTY TAX COLLECTOR            56 WERNER PL                    M AND T BANK
CANTON GA 30114                 18500 MURDOCK CIR                         TEANECK NJ 07666                PO BOX 8000 DEPT 380
                                PORT CHARLOTTE FL 33948                                                   BUFFALO NY 14267




032755P003-1409A-265            032755S001-1409A-265                      036704P001-1409A-265            036704S001-1409A-265
POUGHKEEPSIE GALLERIA LLC       POUGHKEEPSIE GALLERIA LLC                 POUGHKEEPSIE GALLERIA LLC       POUGHKEEPSIE GALLERIA LLC
BARCLAY DAMON LLP               PYRAMID MANAGEMENT GROUP LLC              M AND T BANK                    BARCLAY DAMON LLP
KEVIN M NEWMAN                  JOHN D CICO                               DEPT # 380                      KEVIN NEWMAN SCOTT FLEISCHER
BARCLAY DAMON TOWER             THE CLINTON EXCHANGE                      PO BOX 8000                     BARCLAY DAMON TOWER
125 E JEFFERSON ST              4 CLINTON SQ                              BUFFALO NY 14267                125 EAST JEFFERSON ST
SYRACUSE NY 13202               SYRACUSE NY 13202                                                         SYRACUSE NY 13202


000752P001-1409A-265            007826P001-1409A-265                      005252P001-1409A-265            003494P001-1409A-265
LAUREN R POUK                   ROXANNE M POULSEN                         ADRIENNE E POWELL               AUTUMN A POWELL
8772 EUROPEAN FAN PALM ALLEY    1454 RIVER RD                             4515 NW 86TH ST                 1921 BLACKTHORN DR
WINTER GARDEN FL 34787          SAN MARCOS TX 78666                       #25                             CHAMPAIGN IL 61821
                                                                          URBANDALE IA 50322




003263P001-1409A-265            005523P001-1409A-265                      004707P001-1409A-265            004347P001-1409A-265
CHELSEA J POWELL                MESA T POWELL                             MICHAELDAVID POWELL             SEAIRA POWELL
1121 MCREE HEIGHTS CIR          1216 CRISPUS DR                           1105 CHARTER OAK CT             3000 EVANGLINE ST
NEWTON NC 28658                 CHAMPAIGN IL 61820                        VILLA RICA GA 30180             APT 88
                                                                                                          MONROE LA 71201




001845P001-1409A-265            006436P001-1409A-265                      003397P001-1409A-265            005246P001-1409A-265
SEAN N POWELL                   SYDNEY POWELL                             TAYLORANN M POWELL              TEYLER POWELL
5621 HIGHWAY 69 S               14900 NACOGDOCHES RD                      92812 SOVERN PL                 4220 BOSTIC DR
APT 625                         2404                                      JUNCTION CITY OR 97448          GREENVILLE NC 27834
TUSCALOOOSA AL 35405            SAN ANTONIO TX 78247
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000605P001-1409A-265                   034695P001-1409A-265                           032756P001-1409A-265                  034673P001-1409A-265
EMILY F POWERS                         PPI APPAREL GROUP                              PR CAPITAL CITY LIMITED PARTNERSHIP   PR CAPITAL CITY LIMITED PARTNERSHIP
408 IVAN DR                            COFACE NORTH AMERICA INSURANCE CO              CROWN AMERICAN CAPITAL CITY           KURTZMAN STEADY LLC
LEWISVILLE TX 75067                    AMY SCHMIDT                                    PO BOX 392406                         JEFFREY KURTZMAN
                                       650 COLLEGE RD EAST STE 2005                   CLEVELAND OH 44193-2406               401 S 2ND ST STE 200
                                       PRINCETON NJ 08540                                                                   PHILADELPHIA PA 19147



034673S001-1409A-265                   031508P001-1409A-265                           034674P001-1409A-265                  034674S001-1409A-265
PR CAPITAL CITY LIMITED PARTNERSHIP    PR EXTON SQUARE PROPERTY LP                    PR EXTON SQUARE PROPERTY LP           PR EXTON SQUARE PROPERTY LP
PREIT SERVICES LLC                     EXTON SQUARE PROPERTY LLC                      KURTZMAN STEADY LLP                   PREIT SERVICES LLC
CHRISTIANA UY                          PO BOX 373281                                  JEFFREY KURTZMAN ESQ                  CHRISTIANA UY
200 S BROAD ST 3RD FL                  CLEVELAND OH 44193-3281                        401 S 2ND ST STE 200                  200 S BROAD ST 3RD FL
PHILADELPHIA PA 19102                                                                 PHILADELPHIA PA 19147                 PHILADELPHIA PA 19102



036705P001-1409A-265                   034487P001-1409A-265                           034675P001-1409A-265                  034675S001-1409A-265
PR EXTON SQUARE PROPERTY LP            PR FINANCING LIMITED PARTNERSHIP               PR FINANCING LIMITED PARTNERSHIP      PR FINANCING LIMITED PARTNERSHIP
PO BOX 373281                          DBA FRANCIS SCOTT KEY MALL                     AKA FRANCIS SCOTT KEY MALL            AKA FRANCIS SCOTT KEY MALL
CLEVELAND OH 44193-3281                PO BOX 951727                                  KURTZMAN STEADY LLP                   PREIT SERVICES LLC
                                       CLEVELAND OH 44193                             401 S 2ND ST STE 200                  200 S BROAD ST 3RD FL
                                                                                      PHILADELPHIA PA 19147                 PHILADELPHIA PA 19102



034676P001-1409A-265                   034676S001-1409A-265                           031509P001-1409A-265                  036706P001-1409A-265
PR JACKSONVILLE LIMITED PARTNERSHIP    PR JACKSONVILLE LIMITED PARTNERSHIP            PR JACKSONVILLE LP                    PR JACKSONVILLE LP
KURTZMAN STEADY LLP                    PREIT SERVICES LLC                             JACKSONVILLE MALL                     200 S BROAD ST THIRD FLOOR
JEFFREY KURTZMAN                       CHRISTIANA UY                                  200 S BROAD ST                        PHILADELPHIA PA 19102
401 S 2ND ST STE 200                   200 S BROAD ST 3RD FL                          THIRD FL
PHILADELPHIA PA 19147                  PHILADELPHIA PA 19102                          PHILADELPHIA PA 19102



036706S001-1409A-265                   032757P001-1409A-265                           031510P001-1409A-265                  034677P001-1409A-265
PR JACKSONVILLE LP                     PR LOGAN VALLEY LIMITED PART                   PR MAGNOLIA LLC                       PR MAGNOLIA LLC
KURTZMAN STEADY LLC                    NORDDEUTSCHE LANDESBANK NY BK                  NATIONAL CITY BANK                    KURTZMAN STEADY LLP
JEFFREY KURTZMAN ESQ                   PO BOX 951738                                  PO BOX 73391                          JEFFREY KURTZMAN
401 S 2ND ST STE 200                   CLEVELAND OH 44193                             CLEVELAND OH 44193                    401 S 2ND ST STE 200
PHILADELPHIA PA 19147                                                                                                       PHILDELPHIA PA 19147



034677S001-1409A-265                   034678P001-1409A-265                           034678S001-1409A-265                  031511P001-1409A-265
PR MAGNOLIA LLC                        PR NORTH DARTMOUTH LLC                         PR NORTH DARTMOUTH LLC                PR PATRICK HENRY LLC
PREIT SERVICES LLC                     KURTZMAN STEADY LLP                            PREIT SERVICES LLC                    PREIT ASSOCIATES LP
CHRISTIANA UY                          JEFFREY KIRTZMAN                               CHRISTIANA UY                         PO BOX 951750
200 S BROAD ST 3RD FL                  401 S 2ND ST STE 200                           200 S BROAD ST 3RD FL                 CLEVELAND OH 44193
PHILADELPHIA PA 19103                  PHILADELPHIA PA 19147                          PHILADELPHIA PA 19102



034679P001-1409A-265                   034679S001-1409A-265                           036707P001-1409A-265                  036707S001-1409A-265
PR PATRICK HENRY LLC                   PR PATRICK HENRY LLC                           PR SPRINGFIELD DELCO LTD PART         PR SPRINGFIELD DELCO LTD PART
KURTZMAN STEADY LLP                    PREIT SERVICES LLC                             POBOX 373988                          KURTZMAN STEADY LLC
JEFFREY KURTZMAN                       CHRISTIANA UY                                  CLEVELAND OH 44193-3988               JEFFREY KURTZMAN ESQ
401 S 2ND ST STE 200                   200 S BROAD ST 3RD FL                                                                401 S 2ND ST STE 200
PHILADELPHIA PA 19147                  PHILADELPHIA PA 19102                                                                PHILADELPHIA PA 19147
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032758P002-1409A-265               032758S001-1409A-265                       031512P002-1409A-265                       031512S001-1409A-265
PR SPRINGFIELD TOWN CENTER LLC     PR SPRINGFIELD TOWN CENTER LLC             PR SPRINGFIELD/DELCO LIMITED PARTNERSHIP   PR SPRINGFIELD/DELCO LIMITED PARTNERSHIP
KURTZMAN STEADY LLP                PREIT SERVICES LLC                         KURTZMAN STEADY LLP                        PREIT SERVICES LLC
JEFFERY KURTZMAN                   CHRISTIANA UY                              JEFFREY KURTZMAN                           CHRISTIANA UY
401 S 2ND ST STE 200               200 S BROAD ST 3RD FL                      401 S 2ND ST STE 200                       200 S BROAD ST 3RD FL
PHILADELPHIA PA 19147              PHILADELPHIA PA 19102                      PHILADELPHIA PA 19147                      PHILADELPHIA PA 19102



032759P001-1409A-265               031513P002-1409A-265                       031513S001-1409A-265                       034489P002-1409A-265
PR SPRINGFIELD/DELCO LTD PART      PR VALLEY LIMITED PARTNERSHIP              PR VALLEY LIMITED PARTNERSHIP              PR VIEWMONT LIMITED PARTNERSHIP
SPRINGFIELD ASSOCIATED             KURTZMAN STEADY LLP                        PREIT SERVICES LLC                         KURTZMAN STEADY LLP
PO BOX 373988                      JEFFREY KURTZMAN                           CHRISTIANA UY                              JEFFREY KURTZMAN
CLEVELAND OH 44193-3988            401 S 2ND ST STE 200                       200 S BROAD ST 3RD FL                      401 S 2ND ST STE 200
                                   PHILADELPHIA PA 19147                      PHILADELPHIA PA 19102                      PHILADELPHIA PA 19147



034489S001-1409A-265               031514P001-1409A-265                       036708P001-1409A-265                       036708S001-1409A-265
PR VIEWMONT LIMITED PARTNERSHIP    PR VIEWMONT LP                             PR WOODLAND LIMITED                        PR WOODLAND LIMITED
PREIT SERVICES LLC                 PO BOX 951773                              PARTNERSHIP                                KURTZMAN STEADY LLC
CHRISTIANA UY                      CLEVELAND OH 44193                         PO BOX 73858                               JEFFREY KURTZMAN ESQ
200 S BROAD ST 3RD FL                                                         CLEVELAND OH 44193-0002                    401 S 2ND ST STE 200
PHILADELPHIA PA 19102                                                                                                    PHILADELPHIA PA 19147



032760P002-1409A-265               032760S001-1409A-265                       037012P002-1409A-265                       036603P001-1409A-265
PR WOODLAND LIMITED PARTNERSHIP    PR WOODLAND LIMITED PARTNERSHIP            PR- MUNICIPIO DE SAN JUAN                  LAURA ROMINA PRADAL
KURTZMAN STEADY LLP                PREIT SERVICES LLC                         FERRARI LAW PSC                            ESTANISLAO DEL CAMPO 1159 1H
JEFFREY KURTZMAN                   CHRISTIANA UY                              CARLA FERRARI LUGO                         FLORIDA VINCENTE LOPEZ
401 S 2ND ST STE 200               200 S BROAD ST 3RD FL                      PO BOX 988                                 BUENOS AIRES 0 CP1602
PHILADELPHIA PA 19147              PHILADELPHIA PA 19102                      AGUADILLA PR 00605                         ARGENTINA



003420P001-1409A-265               035919P001-1409A-265                       035920P001-1409A-265                       004420P001-1409A-265
ACE FRANCIS R PRADO                ATHENA N PRASTOS                           JADA J PRATHER                             BRIANNA L PRATT
44 BRUNSWICK ST                    206 E FARMINGDALE ST                       71 FOX HILL DR                             308 SE FLAGSTONE DR
SAN FRANCISCO CA 94112             ISLIP TERRACE NY 11752                     APT B                                      LEE'S SUMMIT MO 64063
                                                                              DOVER NJ 07801




009364P001-1409A-265               036709P001-1409A-265                       032375P001-1409A-265                       008275P001-1409A-265
JADA M PRATT                       PRC RELOCATION AND CONSULTING              PRC RELOCATION AND CONSULTING SVC INC      ANGELICA PRECIADO
1411 GROVE AVE                     27068 LA PAZ #467                          27068 LA PAZ #467                          616 S CHESTER AVE
APT 14                             LAGUNA HILLS CA 92653                      LAGUNA HILLS CA 92653                      COMPTON CA 90221
RICHMOND VA 23220




033096P001-1409A-265               033096S001-1409A-265                       034023P001-1409A-265                       033701P001-1409A-265
PRECISION WASTE SOLUTIONS LLC      PRECISION WASTE SOLUTIONS LLC              PRECISION WASTE SOLUTIONS LLC              PREDICTIX LLC
PO BOX 18856                       8118 JEWELLA AVE                           8118 JEWELLA AVE                           1349 WEST PEACHTREE ST NW
SHREVEPORT LA 71138                SHREVEPORT LA 71108                        SHREVEPORT LA 71108                        STE 1850
                                                                                                                         ATLANTA GA 30309
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032376P001-1409A-265                   035153P001-1409A-265                        007015P001-1409A-265                     032377P001-1409A-265
PREDICTSPRING INC                      PREDICTSPRING INC                           RYAN PREDIERI                            PREEMPLOYCOM INC
STEPHANIE CLAY                         447 RINCONADA CT                            513 24TH AVE NW                          KRISTI SNAPP
447 RINCONADA CT                       LOS ALTOS CA 94022                          B                                        PO BOX 491570
LOS ALTOS CA 94022                                                                 NORMAN OK 73069                          REDDING CA 96049-1570




003732P001-1409A-265                   034828P001-1409A-265                        034848P001-1409A-265                     034856P001-1409A-265
ELISE S PREHODA                        PREIT                                       PREIT                                    PREIT
9737 COLUMBIA RD                       PREIT THE BELLEVUE                          CHERRY HILL CENTER LLC                   PR WOODLAND LIMITED PARTNERSHIP
OLMSTED FALLS OH 44138                 THIRD FLOOR                                 200 SOUTH BROAD ST                       PREIT SVC LLC
                                       200 SOUTH BROAD ST                          THE BELLEVUE THIRD FLOOR                 200 SOUTH BROAD ST
                                       PHILADELPHIA PA 19102                       PHILADELPHIA PA 19102                    THE BELLEVUE THIRD FL
                                                                                                                            PHILADELPHIA PA 19102


034893P001-1409A-265                   034924P001-1409A-265                        034931P001-1409A-265                     035016P001-1409A-265
PREIT                                  PREIT                                       PREIT                                    PREIT
EXTON SQUARE PROPERTY LLC              PR FINANCING LIMITED PARTNERSHIP            PR PATRICK HENRY LLC                     PR NORTH DARTMOUTH LLC
PREIT SVC LLC                          PREIT SVC LLC                               PREIT SVC LLC                            PREIT SVC LLC
200 SOUTH BROAD ST                     200 SOUTH BROAD ST                          200 SOUTH BROAD ST                       200 SOUTH BROAD ST
THE BELLEVUE THIRD FLOOR               The Bellevue, Third Floor                   THE BELLEVUE THIRD FL                    THE BELLEVUE THIRD FL
PHILADELPHIA PA 19102                  Philadelphia PA 19102                       PHILADELPHIA PA 19102                    PHILADELPHIA PA 19102


035059P001-1409A-265                   029935P001-1409A-265                        029936P001-1409A-265                     029936S001-1409A-265
PREIT                                  PREIT (LANDLORD)                            PREIT (LANDLORD)                         PREIT (LANDLORD)
PR JACKSONVILLE LIMITED PARTNERSHIP    PREIT                                       PR MAGNOLIA LLC                          MAGNOLIA MALL, MANAGEMENT OFFICE
PREIT SVC LLC                          PROPERTY ACCOUNTANT                         DIRECTOR LEGAL                           GENERAL MANAGER
200 SOUTH BROAD ST                     200 SOUTH BROAD ST                          200 SOUTH BROAD ST                       2701 DAVID MCLEOD BLVD
PHILADELPHIA PA 19102                  THE BELLEVUE THIRD FL                       THE BELLEVUE THIRD FL                    FLORENCE SC 29501
                                       PHILADELPHIA PA 19102                       PHILADELPHIA PA 19102


029937P001-1409A-265                   029938P001-1409A-265                        029938S001-1409A-265                     029939P001-1409A-265
PREIT (LANDLORD)                       PREIT (LANDLORD)                            PREIT (LANDLORD)                         PREIT (LANDLORD)
CHERRY HILL CENTER LLC                 PR WOODLAND LIMITED PARTNERSHIP             PR WOODLAND LIMITED PARTNERSHIP          EXTON SQUARE PROPERTY LLC
GENERAL COUNSEL                        PREIT SVC LLC                               GENERAL MANAGER                          PREIT SVC LLC
200 SOUTH BROAD ST                     200 SOUTH BROAD ST                          3195 28ST SE                             200 SOUTH BROAD ST
THE BELLEVUE THIRD FL                  THE BELLEVUE THIRD FL                       KENTWOOD MI 49512                        THE BELLEVUE THIRD FL
PHILADELPHIA PA 19102                  PHILADELPHIA PA 19102                                                                PHILADELPHIA PA 19102


029939S001-1409A-265                   029940P001-1409A-265                        029940S001-1409A-265                     029941P001-1409A-265
PREIT (LANDLORD)                       PREIT (LANDLORD)                            PREIT (LANDLORD)                         PREIT (LANDLORD)
EXTON SQUARE PROPERTY, LLC             PR PATRICK HENRY LLC                        PR PATRICK HENRY LLC MANAGEMENT OFFICE   PR VALLEY LIMITED PARTNERSHIP
GENERAL MANAGER                        PREIT SVC LLC                               GENERAL MANAGER                          PREIT SVC LLC
MANAGEMENT OFFICE EXTON SQUARE MALL    200 SOUTH BROAD ST                          12300 JEFFERSON AVE RTE 143 & I64        200 SOUTH BROAD ST
260 EXTON SQUARE PKWY                  THE BELLEVUE THIRD FL                       NEWPORT NEWS VA 23602                    THE BELLEVUE THIRD FL
EXTON PA 19431                         PHILADELPHIA PA 19102                                                                PHILADELPHIA PA 19102


029941S001-1409A-265                   029942P001-1409A-265                        029942S001-1409A-265                     029943P001-1409A-265
PREIT (LANDLORD)                       PREIT (LANDLORD)                            PREIT (LANDLORD)                         PREIT (LANDLORD)
PR VALLEY LIMITED PARTNERSHIP          PR FINANCING LIMITED PARTNERSHIP            PR FINANCING LIMITED PARTNERSHIP         PR NORTH DARTMOUTH LLC
MANAGEMENT OFFICE                      PREIT SVC LLC                               MANAGEMENT OFFICE                        PREIT SVC LLC
GENERAL MANAGER                        200 SOUTH BROAD ST                          GENERAL MANAGER                          200 SOUTH BROAD ST
17301 VLY MALL RD                      THE BELLEVUE THIRD FL                       5500 BUCKEYTOWN PIKE                     THE BELLEVUE THIRD FL
HAGERSTOWN MD 21740                    PHILADELPHIA PA 19102                       FREDERICK MD 21703                       PHILADELPHIA PA 19102
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029943S001-1409A-265                         029944P001-1409A-265                       029944S001-1409A-265                 029945P001-1409A-265
PREIT (LANDLORD)                             PREIT (LANDLORD)                           PREIT (LANDLORD)                     PREIT (LANDLORD)
DARTMOUTH MALL                               MOORESTOWN MALL LLC                        MOORESTOWN MALL LLC                  PR SPRINGFIELD TOWN CENTER LLC
MALL MANAGER                                 PREIT SVC LLC                              GENERAL MANAGER                      PREIT SVC LLC
MANAGEMENT OFFICE 200 DARTMOUTH MALL         200 SOUTH BROAD ST                         MANAGEMENT OFFICE MOORESTOVVN MALL   GENERAL COUNSEL
DARTMOUTH MA 02747                           THE BELLEVUE THIRD FL                      400 RTE 38                           200 SOUTH BROAD ST 3RD FL
                                             PHILADELPHIA PA 19102                      MOORESTOWN NJ 08057                  PHILADELPHIA PA 19102


029945S001-1409A-265                         029946P001-1409A-265                       029946S001-1409A-265                 029947P001-1409A-265
PREIT (LANDLORD)                             PREIT (LANDLORD)                           PREIT (LANDLORD)                     PREIT (LANDLORD)
SPRINGFIELD TOWN CENTER MANAGEMENT OFFICE    WG PARK LP                                 WILLOW GROVE PARK                    PR JACKSONVILLE LIMITED PARTNERSHIP
GENERAL MANAGER                              PREIT SVC LLC                              GENERAL MANAGER                      PREIT SVC LLC
6500 SPRINGFIELD MALL                        200 SOUTH BROAD ST                         MANAGEMENT OFFICE 2500 MORELAND RD   200 SOUTH BROAD ST
SPRINGFIELD VA 22150                         THE BELLEVUE THIRD FL                      WILLOW GROVE PA 19090                THE BELLEVUE THIRD FL
                                             PHILADELPHIA PA 19102                                                           PHILADELPHIA PA 19102


029947S001-1409A-265                         034827P001-1409A-265                       029948P001-1409A-265                 034191P001-1409A-265
PREIT (LANDLORD)                             PREIT / KRAVCO                             PREIT / KRAVCO (LANDLORD)            PREIT ASSOCAITES, LP
PR JACKSONVILLE LIMITED PARTNERSHIP          PREIT SVC                                  PREIT SVC LLC                        SPRINGFIELD MALL
GENERAL MANAGER                              LLC THE BELLEVUE                           PROPERTY ACCOUNTANT                  200 SOUTH BROAD ST #3RD FLR
375 JACKSONVILLE MALL                        THIRD FL                                   200 SOUTH BROAD ST                   PHILADELPHIA PA 19102
JACKSONVILLE NC 28546                        200 SOUTH BROAD ST                         THE BELLEVUE THIRD FL
                                             PHILADELPHIA PA 19102                      PHILADELPHIA PA 19102


031515P001-1409A-265                         033314P001-1409A-265                       033314S002-1409A-265                 034187P001-1409A-265
PREIT ASSOCIATES LP                          PREIT ASSOCIATES LP                        PREIT ASSOCIATES LP                  PREIT ASSOCIATES LP
MOORESTOWN MALL LLC / MOORESTO               ANGELA YU                                  DARTMOUTH MALL                       PARTNERSHIP/CAPITAL CITY MALL
ANGELA YU                                    200 SOUTH BROAD ST                         THERESA HOBBS                        200 S BROAD ST 3RD FL
200 SOUTH BROAD ST                           3RD FLOOR                                  PO BOX 951316                        PHILADELPHIA PA 19102
3RD FL                                       PHILADELPHIA PA 19102                      CLEVELAND OH 44193
PHILADELPHIA PA 19102


034188P001-1409A-265                         034189P001-1409A-265                       034486P001-1409A-265                 034488P001-1409A-265
PREIT ASSOCIATES LP                          PREIT ASSOCIATES LP                        PREIT ASSOCIATES LP                  PREIT ASSOCIATES LP
200 S BROAD ST THIRD FL                      PR SPRIENGFIELD TOWN CENTER LLC            PO BOX 951316                        PO BOX 951750
PHILADELPHIA PA 19102                        200 SOUTH BROAD ST                         CLEVELAND OH 44193                   CLEVELAND OH 44193
                                             3RD FL
                                             PHILADELPHIA PA 19102



031516P001-1409A-265                         034186P001-1409A-265                       034454P001-1409A-265                 034456P001-1409A-265
PREIT ASSOCIATES, LP                         PREIT ASSOCIATES, LP                       PREMIUM OUTLET PARTNERS LP           PREMIUM OUTLET PARTNERS LP
LOGAN VALLEY REALTY LLC                      JACKSONVILLE MALL                          PHILADELPHIA PREMIUM OUTLETS         TENANT ID: DH-RAMPAG
NAMDAR REALTY GROUP                          200 S BROAD ST                             PO BOX 822464                        DESERT HILLS PREMIUM OUTLETS
150 GREAT NECK RD STE 304                    THIRD FL                                   PHILADELPHIA PA 19182-2464           PO BOX 822873
GREAT NECK NY 11201                          PHILADELPHIA PA 19102                                                           PHILADELPHIA PA 19182-2873



034457P001-1409A-265                         034458P001-1409A-265                       034459P001-1409A-265                 034460P001-1409A-265
PREMIUM OUTLET PARTNERS LP                   PREMIUM OUTLET PARTNERS LP                 PREMIUM OUTLET PARTNERS LP           PREMIUM OUTLET PARTNERS LP
CAMARILLO PREMIUM OUTLETS                    LEESBURG CORNER PREMIUM OUTLETS            EDINBURGH PREMIUM OUTLETS            ALBERTVILLE PREMIUM OUTLETS
PO BOX 822896                                PO BOX 822914                              PO BOX 822925                        PO BOX 822928
PHILADELPHIA PA 19182-2896                   PHILADELPHIA PA 19182-2914                 PHILADELPHIA PA 19182-2925           PHILADELPHIA PA 19182-2928
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034461P001-1409A-265           034462P001-1409A-265                  034463P001-1409A-265                      034467P001-1409A-265
PREMIUM OUTLET PARTNERS LP     PREMIUM OUTLET PARTNERS LP            PREMIUM OUTLET PARTNERS LP                PREMIUM OUTLET PARTNERS LP
OSAGE BEACH PREMIUM OUTLETS    JACKSON PREMIUM OUTLETS               PO BOX 822983                             OUTLETS
PO BOX 822941                  PO BOX 822943                         PHILADELPHIA PA 19182-2983                PO BOX 827695
PHILADELPHIA PA 19182-2941     PHILADELPHIA PA 19182                                                           PHILADELPHIA PA 19182-7695




034469P001-1409A-265           034470P001-1409A-265                  037651P002-1409A-265                      004278P001-1409A-265
PREMIUM OUTLET PARTNERS LP     PREMIUM OUTLET PARTNERS LP            PREMIUM OUTLET PARTNERS LP                KAYLA M PRENTKI
PO BOX 827733                  ALLEN PREMIUM OUTLETS LP              A DELAWARE LIMITED PARTNERSHIP            196 GLEASON CIR
PHILADELPHIA PA 19182-7733     PO BOX 827776                         SIMON PROPERTY GROUP LP RONALD M TUCKER   EAST ROCHESTER NY 14445
                               PHILADELPHIA PA 19182                 225 WEST WASHINGTON ST
                                                                     INDIANAPOLIS IN 46204



033236P001-1409A-265           037160P001-1409A-265                  007278P001-1409A-265                      003049P001-1409A-265
PRESIDIOINC                    EMELINE PRESTON                       EMELINE N PRESTON                         STEPHANIE R PRESTON
ATLANTIX GLOBAL SYSTEMS        EMELINE SANCHEZ                       330 E VERNON AVE                          448 ANN AVE
SCOTT KRASS                    330 E VERNON AVE APT#2                2                                         448 ANN AVE
1 SUN CT                       NORMAL IL 61761                       NORMAL IL 61761                           BRICK NJ 08724
NORCROSS GA 30092



004337P001-1409A-265           031071P001-1409A-265                  030259P001-1409A-265                      036432P001-1409A-265
TANISHA PRESTON                PRETTY WOMAN LLC                      BYRONE K PRICE JR                         CHANTANAE PRICE
1801 SPRUCE AVE                MEGAN LA ROCA                         ADDRESS INTENTIONALLY OMITTED             14617 LITTLE ANNE DR
3                              35 CORPORATE DR                                                                 LITTLE ELM TX 75068-2739
WEST PALM BEACH FL 33407       HOLSTVILLE NY 11742




006959P001-1409A-265           001859P001-1409A-265                  006077P001-1409A-265                      033448P001-1409A-265
JESSAH PRICE                   MERCEDES D PRICE                      MIA D PRICE                               STACEY PRICE
22215 GUIDOT                   611 WEST BACON ST                     3565 MYDERS                               6719 COGATE AVE
TAYLOR MI 48180                APT 1115B                             310                                       LOS ANGELES CA 90048
                               RICHMOND VA 23222                     MEMPHIS TN 38111




003697P001-1409A-265           006231P001-1409A-265                  032378P001-1409A-265                      037873P001-1409A-265
TASHAI B PRICE                 VICTORIA PRICE                        PRICEWATERHOUSE COOPERS LLP               PRICEWATERHOUSECOOPERS LLP
502 TUNNEL RD                  413 DUNBAR ST                         PO BOX 7247-8001                          ADAM KATZ PARTNER
VERNON CT 06066                KINGSPORT TN 37660                    PHILADELPHIA PA 19170-8001                300 MADISON AVE
                                                                                                               NEW YORK NY 10017




009292P001-1409A-265           008580P001-1409A-265                  032379P001-1409A-265                      033535P001-1409A-265
SHAKIYA PRIDE                  MARIA D PRIETO                        PRIMADONNA CO LLC                         PRIME BUSINESS CREDIT
11430 FARMVILLE RD             13354 EMILY RD                        31900 LAS VEGAS BLVD S                    PO BOX 741084
FARMVILLE VA 23901             APT 111                               PRIMM NV 89019                            LOS ANGELES CA 90074-1084
                               DALLAS TX 75240
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032761P001-1409A-265              031517P001-1409A-265                          030225P001-1409A-265            010148P001-1409A-265
PRIME ELECTRICAL SERVICES, INC    PRIME RETAIL                                  APRIL PRIMROSE                  PRINCE WILLIAM COUNTY
CHERI MARTINEZ                    LVP ST AUGUSTINE OUTLETS LLC                  ADDRESS INTENTIONALLY OMITTED   TAX ADMINISTRATION DIVISION
480 ENTERPRISE ST                 PO BOX 60785                                                                  DEPT 871
SAN MARCOS CA 92078               CHARLOTE NC 28260-0785                                                        ALEXANDRIA VA 22334-0871




036710P001-1409A-265              005823P001-1409A-265                          032380P001-1409A-265            033702P001-1409A-265
PRINCE WILLIAM COUNTY             ERICA S PRINCE                                PRINCIPAL FINANCIAL GROUP       PRINCIPAL TRUST CO
PO BOX 2467                       2253 MEAGAN DR                                PO BOX 9394                     1013 CENTRE RD
WOODBRIDGE VA 22195-2467          BYRAM MS 39272                                DES MOINES IA 50306-9394        WILMINGTON DE 19805
                                                                                                                PUERTO RICO




004778P001-1409A-265              032381P001-1409A-265                          036711P001-1409A-265            032382P002-1409A-265
DONYELL E PRINGLE                 PRINT STORIES LTD                             PRINT STORIES LTD               PRINTFRESH
6307 BUCKLER RD                   MARK LAFFERTY                                 1A STRONSA RD                   LAURA LERTDARAPONG
CLINTON MD 20735                  1A STRONSA RD                                 LONDON,W129LB                   2930 JASPER ST UNIT 408
                                  LONDON W129LB                                 UNITED KINGDOM                  PHILADELPHIA PA 19134-3532
                                  UNITED KINGDOM



030781P001-1409A-265              037898P003-1409A-265                          037898S001-1409A-265            035245P002-1409A-265
PRIORITY FULFILLMENT SVC          PRIORITY FULFILLMENT SVC INC                  PRIORITY FULFILLMENT SVC INC    PRIORITY INC AKA PRIORITY SIGN INC
505 MILLENNIUM DR                 CHIESA SHAHINIAN AND GIANTOMASI PC            THOMAS MADDEN                   RICE BUSINESS LAW
ALLEN TX 75013                    S ZUBER                                       505 MILLENIUM DRIVE             SHAWN G RICE
                                  ONE BOLAND DR                                 ALLEN TX 75013                  101 FALLS RD STE 601
                                  WEST ORANGE NJ 07052                                                          GRAFTON WI 53024



036712P001-1409A-265              032383P001-1409A-265                          034227P001-1409A-265            006423P001-1409A-265
PRIORITY SIGN INC                 PRIORITY SIGN, INC                            PRISA LHC LLC                   ALAYNA PRISBY
837 RIVERFONT DR                  JENNIFER WERSTEIN                             C/0 POAG SHOPPING CENTERS LLC   8185 HAWTHORNE DR
SHEBOYGAN WI 53081                837 RIVERFONT DR                              2650 THOUSAND OAKS BLVD         SAINT JOHN IN 46373
                                  SHEBOYGAN WI 53081                            STE 2200
                                                                                MEMPHIS TN 38118



036713P001-1409A-265              032384P001-1409A-265                          005982P001-1409A-265            030822P001-1409A-265
PRISTINE PARKING INC              PRISTINE PARKING, INC                         KAITLIN M PRITTS                PRIYANKA IMPEX PVT LTD
391 29TH ST APT # 2               RYEN MOTZEK                                   16624 LOARTOWN RD               PARUL SAXENA
SAN FRANCISCO CA 94131            391 29TH ST                                   FROSTBURG MD 21532              PLOT NO 18B DLF INDUSTRIAL E
                                  APT # 2                                                                       PHASE I FAIDABAD 121 003
                                  SAN FRANCISCO CA 94131                                                        HARYANA
                                                                                                                INDIA


036714P001-1409A-265              030235P001-1409A-265                          036940P001-1409A-265            005624P001-1409A-265
PRIZMA DIGITAL LLC                ASHLEY L PROBASCO                             JENNIFER PROCINO                BRITTANY J PROCTOR
1217 YALE ST STE 111              ADDRESS INTENTIONALLY OMITTED                 ANGELLE MONTANARO               2900 WINTERBERRY WAY
SANTA MONICA CA 90404                                                           17 DUNDERAVE RD                 HUNTSVILLE AL 35763
                                                                                WHITE PLAINS NY 10603
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034696P001-1409A-265                     034696S001-1409A-265                                037089P001-1409A-265                    030823P001-1409A-265
PRODUCT DEVELOPMENT INTERNATIONAL LLC    PRODUCT DEVELOPMENT INTERNATIONAL LLC               PRODUCT DEVELOPMENT INTERNATIONAL LLC   PRODUCT DEVELOPMENT INTL
THE ROSNER LAW GROUP LLC                 GOLDBERG WEPRIN FINKELGOLDSTEIN LLP                 DONN FOSS                               SANDY
FREDERICK B ROSNER JASON A GIBSON        NEAL M ROSENBLOOM                                   215 W 40TH ST 12TH FL                   1350 BROADWAY
824 N MARKET ST STE 810                  1501 BROADWAY 22ND FL                               NEW YORK NY 10018                       STE 601
WILMINGTON DE 19801                      NEW YORK NY 10004                                                                           NEW YORK NY 10018



036279P001-1409A-265                     036279S001-1409A-265                                036279S002-1409A-265                    032385P001-1409A-265
PRODUCT DEVELOPMENT INTL                 PRODUCT DEVELOPMENT INTL.                           PRODUCT DEVELOPMENT INTL.               PRODUCTIVE SYSTEMS INC
1350 BROADWAY STE 601                    GOLDBERG WEPRIN ET AL                               THE ROSNER LAW GROUP LLC                2633 S LAPEER
NEW YORK NY 10018                        NEAL M. ROSENBLOOM ESQ                              FREDERICK ROSNER JASON GIBSON           STE C
                                         1501 BROADWAY 22ND FL                               824 N MARKET ST STE 810                 ORION MI 48360
                                         NEW YORK NY 10004                                   WILMINGTON DE 19801



032386P001-1409A-265                     036715P002-1409A-265                                033097P001-1409A-265                    033097S001-1409A-265
PROFESSIONAL RETAIL SVC                  PROFESSIONAL RETAIL SVC INC                         PROGRESS ENERGY FLORIDA INC             PROGRESS ENERGY FLORIDA INC
3249 RTE 112 BLDG 4                      KATHLEEN LARMOUR                                    PO BOX 33199                            410 SOUTH WILMINGTON ST
STE 2                                    3249 RTE 112 BUILDING 4 STE 2                       ST PETERSBURG FL 33733                  RALEIGH NC 27601
MEDFORD NY 11763                         MEDFORD NY 11763




036716P001-1409A-265                     036280P001-1409A-265                                030746P001-1409A-265                    034704P001-1409A-265
PROGRESSIVE BUSINESS PUBLICATION         PROJECT 28 CLOTHING LLC                             PROJECT 28 CLOTHING, LLC                PROLOGIS
370 TECHNOLOGY DR                        525 7TH AVE 12TH FL                                 JAMIE GOLDBERG                          USLV NEWCA 1 LLC
MALVERN PA 19355                         NEW YORK NY 10018                                   525 7TH AVE 12TH FL                     2817 EAST CEDAR ST STE 200
                                                                                             NEW YORK NY 10018                       ONTARIO CA 91761




031518P001-1409A-265                     035380P002-1409A-265                                035380S001-1409A-265                    034285P001-1409A-265
PROLOGIS USLV NEWCA 1 LLC                PROLOGIS USLV NEWCA 1 LLC                           PROLOGIS USLV NEWCA 1 LLC               PROLOGIS USLV SUBREIT 1 LLC
PROLOGIS USLV SUBREIT 1 LLC              NATALIE EDWARDS                                     K&L GATES LLP                           4545 AIRPORT WAY
4545 AIRPORT WAY                         1800 WAZEE ST STE 500                               EMILY MATHER                            DENVER CO 80239
DENVER CO 80239                          DENVER CO 80202                                     4350 LASSITER AT NORTH HILLS AVE
                                                                                             STE 300
                                                                                             RALEIGH NC 27609


032387P001-1409A-265                     005510P001-1409A-265                                033256P001-1409A-265                    032388P002-1409A-265
PROMOSIS, INC                            DESTYNE PROSPERWOOD                                 PROTIVITI INC                           PROTOS SECURITY
HARRY JANOCK                             22571 NORWALK SQ                                    12269 COLLECTIONS CTR DR                SINGLE SOURCE SECURITY LLC
18 PROSPECT ST                           ASHBURN VA 20148                                    CHICAGO IL 90071                        PO BOX 625
MARBLEHEAD MA 01945                                                                                                                  DALEVILLE VA 24083




036717P001-1409A-265                     032389P001-1409A-265                                037785P001-1409A-265                    033098P001-1409A-265
PROTOS SECURITY                          PROVIDENT LIFE AND CASUALTY INSURANCE CO            PROVINCE INC                            PROVO CITY UTILITIES
PO BOX 625                               E0051953                                            EDWARD KIM                              351 W CTR ST
DALEVILLE VA 24083                       UNUM PROVIDENT                                      2360 CORPORATE CIR                      PROVO UT 84601
                                         1 FOUNTAIN SQUARE                                   STE 330
                                         CHATTANOOGA TN 37402                                HENDERSON NV 89074
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030432P001-1409A-265             003262P001-1409A-265                     035921P001-1409A-265           006099P001-1409A-265
KATELYN PROVO                    KATELYN R PROVO                          KATELYN R PROVO                ARIEL E PROVOST
ADDRESS INTENTIONALLY OMITTED    1609 7TH ST SE                           2211 BRONCO LN                 506 EMORY CT
                                 204                                      BUFFALO MN 55313               SALISBURY MD 21804
                                 ST CLOUD MN 56304




035922P001-1409A-265             001791P001-1409A-265                     032390P001-1409A-265           005611P001-1409A-265
ARIEL E PROVOST                  DANIEL J PROVOST                         PRSM ASSOCIATION               NEOSHA L PRUDE
603 LANCASTER CT                 10800 WOODSIDE AVE                       PO BOX 226125                  125 VERONA AVE
SALISBURY MD 21804               SPC 131                                  DALLAS TX 75222-6125           NETTLETON MS 38858
                                 SANTEE CA 92071-3188




007303P001-1409A-265             002230P001-1409A-265                     035923P001-1409A-265           009430P001-1409A-265
ERIN M PRUITT                    JAMIE A PRUITT                           CASANDRA PRYER                 BRITTANY N PRZEGON
10224 PLUM CREEK LN              1310 FRANK ST                            5201 N 16TH ST                 2020 CANYON CREEK RD
APT J                            KINGSPORT TN 37665                       PHILADELPHIA PA 19141          GILBERTSVILLE PA 19525
CHARLOTTE NC 28210




033099P001-1409A-265             033099S001-1409A-265                     034684P001-1409A-265           033100P001-1409A-265
PSE AND G                        PSE AND G                                PSE AND G                      PSEGLI
PO BOX 14444                     HEADQUARTERS                             BANKRUPTCY DEPT                PO BOX 888
NEW BRUNSWICK NJ 08906           80 PARK PLZ                              VILNA WALDRON GASTON           HICKSVILLE NY 11802
                                 PO BOX 1171                              PO BOX 490
                                 NEWARK NJ 07101-1171                     CRANFORD NJ 07016



033100S001-1409A-265             034681P001-1409A-265                     034681S001-1409A-265           006920P001-1409A-265
PSEGLI                           PSNH DBA EVERSOURCE                      PSNH DBA EVERSOURCE            MEGAN PTASCHEK
80 PARK PLZ                      LEGAL DEPT                               PAWEL SAKOWSKI                 209 43RD AVE
PO BOX 1171                      HONOR HEATH                              PO BOX 2899                    GREELEY CO 80634
NEWARK NJ 07101-1171             107 SELDEN ST                            HARTFORD CT 06101
                                 BERLIN CT 06037



033468P001-1409A-265             035264P002-1409A-265                     032391P001-1409A-265           033101P001-1409A-265
PUBLIC STORAGE                   PUBLIC SVC CO DBA XCEL ENERGY            PUBLIC WORKS                   PUBLIC WORKS AND UTILITIES
ANITA REYES                      BANKRUPTCY DEPT                          1 SIX 1 INC DBA PUBLIC WORKS   PO BOX 2922
9890 PACIFIC HEIGHTS BLVD        KATIE A MILLER                           161 ERIE ST                    WICHITA KS 67201
SAN DIEGO CA 92121               PO BOX 9477                              SAN FRANCISCO CA 94103
                                 MINNEAPOLIS MN 55484



033101S001-1409A-265             006657P001-1409A-265                     031519P001-1409A-265           035287P001-1409A-265
PUBLIC WORKS AND UTILITIES       ALI D PUDDICOMBE                         PUEBLO MALL                    PUEBLO MALL
455 N MAIN 8TH FL                1690 DUNN AVE                            RENAISSANCE PARTNERS I LLC     3429 DILLON DR SPACE E6
WICHITA KS 67202                 804                                      RENEE TORRES                   PUEBLO CO 81008
                                 DAYTONA BEACH FL 32114                   8235 DOUGLAS AVE
                                                                          STE 655
                                                                          DALLAS TX 75225
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036718P001-1409A-265               000344P001-1409A-265                            000153P001-1409A-265                   000228P001-1409A-265
PUEBLO MALL                        PUERTO RICO ATTORNEY GENERAL                    PUERTO RICO DEPT DE HACIENDA           PUERTO RICO DEPT OF LABOR
8235 DOUGLAS AVE STE 655           WANDA VAZQUEZ GARCED                            PO BOX 9024140                         SECRETARY
DALLAS TX 75225                    CALLE OLIMPO ESQ AXTMAYER                       SAN JUAN PR 00902                      EDIFICIO PRUDENCIO RIVERA MARTINEZ AVE
                                   PDA 11 MIRAMAR                                                                         MUNOS RIVERA 505, PO BOX 195540 HATO REY
                                   SAN JUAN PR 00907                                                                      SAN JUAN PR 00917



000100P001-1409A-265               037694P001-1409A-265                            037694S001-1409A-265                   007884P001-1409A-265
PUERTO RICO DEPT OF NATURAL AND    PUERTO RICO ELECTRIC POWER AUTHORITY            PUERTO RICO ELECTRIC POWER AUTHORITY   CHRISTINE A PUGA CHAVEZ
ENVIRONMENTAL RESOURCES            AKA AUTORIDAD DE ENERGIA ELECTRICA              ELLIOTT GREENLEAF PC                   1260 STAGECOACH TRL LOOP
PO BOX 366147                      CARLOS M AQUINO RAMOS                           RAFAEL X ZAHRALDDIN-ARAVENA            CHULA VISTA CA 91915
SAN JUAN PR 00936                  PO BOX 364267                                   1100 N MARKET ST STE 1700
                                   SAN JUAN PR 00936-4264                          WILMINGTON DE 09801



035924P001-1409A-265               033102P001-1409A-265                            033102S001-1409A-265                   034028P003-1409A-265
CHAVEZ CHRISTINE A PUGA            PUGET SOUND ENERGY                              PUGET SOUND ENERGY                     PUGET SOUND ENERGY
1260 STAGECOACH TRL LOOP           PAYMENT PROCESSING GEN 02W                      MAI-LING KAN                           355 110TH AVENUE NE
CHULA VISTA CA 91915               PO BOX 91269                                    PO BOX 97034                           BELLEVUE WA 98004
                                   BELLEVUE WA 98009                               BELLEVUE WA 98009




003688P001-1409A-265               008578P001-1409A-265                            006756P001-1409A-265                   003779P001-1409A-265
JETERRICA PUGH                     KARINA PUGH                                     OLIVIA S PUGH                          DAPHNE PUGLIESE
5635 LUNKER LN                     13353 EMILY RD                                  6201 OLD SHELL RD                      2822 MONTCLAIR DR
TALLAHASSEE FL 32303               DALLAS TX 75240                                 APT 222B                               ELLICOTT CITY MD 21043
                                                                                   MOBILE AL 36608




002832P001-1409A-265               035925P001-1409A-265                            003114P001-1409A-265                   001972P001-1409A-265
SUSAN PULIAFICO                    SUSAN PULIAFICO                                 ADRIANA PULIDO                         NICOLAS A PULIDO
8 GEORGETOWN OVAL                  52 WEST ST                                      8901 GRANT ST                          2284 POIPU WAY
NEW CITY NY 10956                  WEST NYACK NY 10994                             APT 714                                2284 POIPU WAY
                                                                                   THORNTON CO 80229                      SAN DIEGO CA 92154-1562




003990P001-1409A-265               009706P001-1409A-265                            004469P001-1409A-265                   008513P003-1409A-265
CORTENAY PULLIAM                   ALEXIS S PULLIN                                 GABRIELLE PUMA                         ALEXIS PURIFOY
642 AUTUMN FIELDS LN               8102 CADENCE CT                                 4635 SUNSTONE RD                       7606 KENDRICK CROSSING LN
RANTOUL IL 61866                   NORTH CHARLESTON SC 29420                       APT 49                                 LOUISVILLE KY 40219-5029
                                                                                   TAYLORSVILLE UT 84123




007586P001-1409A-265               030782P001-1409A-265                            036348P001-1409A-265                   003268P001-1409A-265
BRIYANNA PURIFOYE                  PUROLATOR INC                                   PUROLATOR INC                          JESSICA P PURSCH
225 SPRINGHILL DR                  MARISA RIVAS                                    TWO JERICHO PLZ STE 204                1188 MICHAEL DR
APT 306                            TWO JERICHO PLZ                                 JERICHO NY 11753                       TRACY CA 95377
ROSELLE IL 60172                   STE 204
                                   JERICHO NY 11753
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031072P001-1409A-265                        003452P001-1409A-265                             034733P001-1409A-265                         034736P001-1409A-265
PURSE SENSATION INC                         NAJE R PURVIS                                    PYRAMID                                      PYRAMID
3011 E46TH ST                               8388 S GUPTA DR                                  PYRAMID MANAGEMENT GROUP LLC                 PYRAMID WALDEN CO LP
VERNON CA 90058                             TUCSON AZ 85747                                  THE CLINTON EXCHANGE                         THE CLINTON EXCHANGE
                                                                                             FOUR CLINTON SQUARE                          FOUR CLINTON SQUARE
                                                                                             SYRACUSE NY 13202-1078                       SYRACUSE NY 13202-1078



034751P001-1409A-265                        034752P001-1409A-265                             034754P001-1409A-265                         034910P001-1409A-265
PYRAMID                                     PYRAMID                                          PYRAMID                                      PYRAMID
HOLYOKE MALL CO                             CROSSGATES MALL CO NEWCO LLC                     CAROUSEL CENTER CO LP THE CLINTON EXCHANGE   THE CLINTON EXCHANGE
THE CLINTON EXCHANGE                        THE CLINTON EXCHANGE                             4 CLINTON SQUARE                             FOUR CLINTON SQUARE
4 CLINTON SQUARE                            4 CLINTON SQUARE                                 SYRACUSE NY 13202                            SYRACUSE NY 13202-1078
SYRACUSE NY 13202                           SYRACUSE NY 13202



034972P001-1409A-265                        029949P001-1409A-265                             029949S001-1409A-265                         029950P001-1409A-265
PYRAMID                                     PYRAMID (LANDLORD)                               PYRAMID (LANDLORD)                           PYRAMID (LANDLORD)
PYRAMID MANAGEMENT GROUP LLC                EKLECCO NEWCO LLC                                PYRAMID MANAGEMENT GROUP, LLC                PYRAMID WALDEN CO LP
THE CLINTON EXCHANGE                        MANAGEMENT DIVISION                              GENERAL COUNSEL                              MANAGEMENT DIVISION
4 CLINTON SQUARE                            THE CLINTON EXCHANGE FOUR CLINTON SQUARE         THE CLINTON EXCHANGE FOUR CLINTON SQUARE     THE CLINTON EXCHANGE FOUR CLINTON SQUARE
SYRACUSE NY 13202-1078                      SYRACUSE NY 13202-1078                           SYRACUSE NY 13202-1078                       SYRACUSE NY 13202-1078



029950S001-1409A-265                        029951P001-1409A-265                             029952P001-1409A-265                         029953P001-1409A-265
PYRAMID (LANDLORD)                          PYRAMID (LANDLORD)                               PYRAMID (LANDLORD)                           PYRAMID (LANDLORD)
PYRAMID WALDEN COMPANY, LP                  HOLYOKE MALL CO                                  CROSSGATES MALL CO NEWCO LLC                 CAROUSEL CENTER CO LP
GENERAL COUNSEL                             GENERAL COUNSEL                                  MANAGEMENT DIVISION                          THE CLINTON EXCHANGE 4 CLINTON SQUARE
THE CLINTON EXCHANGE FOUR CLINTON SQUARE    THE CLINTON EXCHANGE 4 CLINTON SQUARE            THE CLINTON EXCHANGE 4 CLINTON SQUARE        SYRACUSE NY 13202
SYRACUSE NY 13202-1078                      SYRACUSE NY 13202                                SYRACUSE NY 13202



029954P001-1409A-265                        029956P001-1409A-265                             029957P001-1409A-265                         035154P001-1409A-265
PYRAMID (LANDLORD)                          PYRAMID (LANDLORD)                               PYRAMID (LANDLORD)                           PYRAMID CONTROLS
THE CLINTON EXCHANGE                        PYRAMID MANAGEMENT GROUP, LLC                    JPMG MANASSAS MALL OWNER LLC                 5546 FAIR LN
MANAGEMENT DIVISION                         GENERAL COUNSEL                                  MANAGEMENT DIVISION                          CINCINNATI OH 45227
FOUR CLINTON SQUARE                         THE CLINTON EXCHANGE 4 CLINTON SQUARE            THE CLINTON EXCHANGE FOUR CLINTON SQUARE
SYRACUSE NY 13202-1078                      SYRACUSE NY 13202-1078                           SYRACUSE NY 13202-1078



034264P001-1409A-265                        033284P001-1409A-265                             035343P001-1409A-265                         035343S001-1409A-265
PYRAMID CROSSGATES CO                       PYRAMID LOGISTICS SVC INC                        PYRAMID WALDEN CO LP                         PYRAMID WALDEN CO LP
CO NEWCO LLC                                APRIL LESHER                                     BARCLAY DAMON LLP                            PYRAMID MANAGEMENT GROUP LLC
4 CLINTON EXCHANGE                          14650 HOOVER ST                                  KEVIN M NEWMAN                               JOHN D CICO
SYRACUSE NY 13202                           WESTMINSTER CA 92683                             BARCLAY DAMON TOWER                          THE CLINTON EXCHANGE
                                                                                             125 E JEFFERSON ST                           4 CLINTON SQ
                                                                                             SYRACUSE NY 13202                            SYRACUSE NY 13202


031520P001-1409A-265                        032393P001-1409A-265                             034719P001-1409A-265                         034746P001-1409A-265
PYRAMID WALDEN COMPANY, LP                  PYROCOMM SYSTEMS, INC                            QIC GLOBAL REAL ESTATE                       QIC GLOBAL REAL ESTATE
M AND T BANK                                15531 CONTAINER LN                               BPC HENDERSON LLC                            TEMECULA TOWNE CENTER ASSOCIATES LLC
PO BOX 8000 DEPT 496                        HUNTINGTON BEACH CA 92649-1530                   600 SUPERIOR AVE EAST                        600 SUPERIOR AVE EAST
BUFFALO NY 14267                                                                             STE 1500                                     STE 1500
                                                                                             CLEVELAND OH 44114                           CLEVELAND OH 44114
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034887P001-1409A-265                     034915P001-1409A-265                          034983P001-1409A-265                  029958P001-1409A-265
QIC GLOBAL REAL ESTATE                   QIC GLOBAL REAL ESTATE                        QIC GLOBAL REAL ESTATE                QIC GLOBAL REAL ESTATE (LANDLORD)
SHOPS AT TANFORAN ASSOCIATES LLC         NORTH?ELD STAPLETON ASSOCIATES LLC            FC WIREGRASS SPE LLC                  BPC HENDERSON LLC
600 SUPERIOR AVE EAST                    600 SUPERIOR AVE EAST                         600 SUPERIOR AVE EAST                 ASSOCIATE GENERAL COUNSEL LEASING
STE 1500                                 STE 1500                                      STE 1500                              600 SUPERIOR AVE EAST STE 1500
CLEVELAND OH 44114                       CLEVELAND OH 44114                            CLEVELAND OH 44114                    CLEVELAND OH 44114



029959P001-1409A-265                     029960P001-1409A-265                          029961P001-1409A-265                  029962P001-1409A-265
QIC GLOBAL REAL ESTATE (LANDLORD)        QIC GLOBAL REAL ESTATE (LANDLORD)             QIC GLOBAL REAL ESTATE (LANDLORD)     QIC GLOBAL REAL ESTATE (LANDLORD)
TEMECULA TOWNE CENTER ASSOCIATES LLC     ROBINSON MALL ASSOCIATES LLC                  SHOPS AT TANFORAN ASSOCIATES LLC      NORTHFIELD STAPLETON ASSOCIATES LLC
ASSOCIATE GENERAL COUNSEL LEASING        ASSOCIATE GENERAL COUNSEL LEASING             ASSOCIATE GENERAL COUNSEL LEASING     ASSOCIATE GENERAL COUNSEL LEASING
600 SUPERIOR AVE EAST STE 1500           600 SUPERIOR AVE EAST STE 1500                600 SUPERIOR AVE EAST STE 1500        600 SUPERIOR AVE EAST STE 1500
CLEVELAND OH 44114                       CLEVELAND OH 44114                            CLEVELAND OH 44114                    CLEVELAND OH 44114



029963P001-1409A-265                     035334P001-1409A-265                          031073P001-1409A-265                  035233P003-1409A-265
QIC GLOBAL REAL ESTATE (LANDLORD)        QINGDAO GAON JEWELRY CO LTD                   QINGDAO HANIL JEWELRY CO LTD          QINGDAO HANIL JEWELRY CO LTD
FC WIREGRASS SPE LLC                     AIDEN SEO                                     GARMENT INDUSTRY NO 17                SUNNY LI DAN
ASSOCIATE GENERAL COUNSEL LEASING        RM 406-1 4TH FL                               BLDG 4-7 QINGDAO INTERNAT             BUILDING 47 QINGAO INTERNATIONAL
600 SUPERIOR AVE EASTSUITE 1500          SHU YUN EAST RD 57 XIA ZHUANG ST              JIUJI TONGJI NEW ECONOMIC ZONE JIMO   GARMENT INDUSTRY CITY NO17
CLEVELAND OH 44114                       CHENG YANG DISTRICT                           QINGDAO SHANDONG                      JIUJIANG ROAD TONGJI NEW ECONOMIC ZONE JIMO
                                         QING DAO 266109                               CHINA                                 QINGDAO SHANDONG 266200
                                         CHINA                                                                               CHINA
036281P001-1409A-265                     030824P001-1409A-265                          036282P001-1409A-265                  034230P001-1409A-265
QINGDAO HANIL JEWELRY CO LTD             QINGDAO JOOHOO JEWELRY CO LTD                 QINGDAO JOOHOO JEWELRY CO LTD         QKC MAUI MZB LLC
QIANZAOHANG INDUSTRY PK JIMO DISTRICT    LI HUA                                        QIANSHEQU DABEIQU CHENGYANG JIEDAO    275 W KA'AHUMANU AVE
QINGDAO SHANDONG                         QIANSHEQU DABEIQU CHENGYANG                   CHENGYANGQU                           STE 1200
CHINA                                    JIEDAO CHENGYANGQU                            QINGDAO                               KAHULUI HI 96732
                                         QINGDAO                                       CHINA
                                         CHINA


031521P001-1409A-265                     033103P001-1409A-265                          033103S001-1409A-265                  037466P001-1409A-265
QKC MAUI OWNER LLC                       QKC MAUI OWNER LLC                            QKC MAUI OWNER LLC                    QKC MAUI OWNER LLC
QKC MAUI MZB LLC                         PO BOX 843743                                 275 W KAAHUMANU AVE 1200              LAWRENCE A LICHTMAN ESQ
275 W KA'AHUMANU AVE                     LOS ANGELES CA 90084                          KAHULUI HI 96732                      HONIGMAN LLP
STE 1200                                                                                                                     2290 FIRST NATIONAL BLDG
KAHULUI HI 96732                                                                                                             660 WOODWARD AVE
                                                                                                                             DETROIT MI 48226


037466S001-1409A-265                     003460P001-1409A-265                          037361P001-1409A-265                  036719P001-1409A-265
QKC MAUI OWNER LLC                       ANGELICA QUACKENBUSH                          QUAIL SPRINGS MALL LLC                QUALITY SOLUTIONS INC
KEVIN HAYES                              120 BROOKS AVE                                BROOKFIELD PROPERTY REIT INC          SECURITY SOURCE
P.O. Box 843743                          BAYVILLE NJ 08721                             JULIE M BOWDEN                        128 N FIRST ST PO BOX 589
LOS ANGELES CA 90084                                                                   350 N ORLEANS ST STE 300              COLWICH KS 67030
                                                                                       CHICAGO IL 60654-1607



037652P001-1409A-265                     032394P001-1409A-265                          033324P001-1409A-265                  030618P001-1409A-265
QUALITY SOLUTIONS INC                    QUALITY SOLUTIONS, INC                        QUALTRICS LABS INC                    SPENCER QUAN
CUSHMAN AND WAKEFIELD INC                SECURITY SOURCE                               DEVIN MATTSON                         ADDRESS INTENTIONALLY OMITTED
SARA MAYES                               STEVEN E GARRETT                              2250 N UNIVERSITY PKWY
2021 MCKINNEY AVE                        128 N FIRST ST                                #48
SUITE 900                                PO BOX 589                                    PROVO UT 84604
DALLAS TX 75201                          COLWICH KS 67030
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001410P001-1409A-265               001578P001-1409A-265                   030306P001-1409A-265            036840P001-1409A-265
SPENCER S QUAN                     DAYNA QUANBECK                         DAYNA QUANBECK                  DAYNA QUANBECK
619 HOLLOWAY AVE                   299 NORTH ALMENAR DR                   ADDRESS INTENTIONALLY OMITTED   CHARLOTTE RUSSE
SAN FRANCISCO CA 94112             GREENBRAE CA 94904                                                     INTERIM CEO TREASURER AND CFO
                                                                                                          575 FLORIDA ST
                                                                                                          SAN FRANCISCO CA 94110



036699P001-1409A-265               007364P001-1409A-265                   007872P001-1409A-265            032395P001-1409A-265
PHYLICIA M QUANN                   MARIAH QUARANTELLO                     IMANI B QUARLES                 QUARTZ AND LEISURE
477 RARITAN ST                     299 LACKAWANNA AVE                     3400 N KNOXVILLE AVE            MARISSA GIANNINI
CAMDEN NJ 08105                    BUFFALO NY 14212                       APT D1                          172 OLD TANNERY RD
                                                                          PEORIA IL 61603                 MONROE CT 06468




035289P001-1409A-265               005483P001-1409A-265                   008761P002-1409A-265            031522P001-1409A-265
QUEEN KAAUHUMANU CENTER            CHRISTIAN F QUEEN                      NICOLE M QUEEN                  QUEENS CENTER SPE LLC
275 W KAAHUMANU AVE SPACE #1044    674 QUAIL DR                           4570 54TH ST UNIT 224           THE MACERICH CO
KAHULUI HI 96732                   GLEN BURNIE MD 21061                   SAN DIEGO CA 92115-3577         401 WILSHIRE BLVD STE 700
                                                                                                          SANTA MONICA CA 90401




037775P001-1409A-265               003238P001-1409A-265                   036720P001-1409A-265            032396P001-1409A-265
QUEENS CENTER SPE LLC              AMANDA L QUENTAL                       QUEST                           QUEST MEDIA AND SUPPLIES INC
BALLARD SPAHR LLP                  109 BAKER ST                           PO BOX 910                      PO BOX 910
DUSTIN P BRANCH                    MANASSAS PARK VA 20111                 ROSEVILLE CA 95678              ROSEVILLE CA 95678
2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2909



032397P001-1409A-265               035155P001-1409A-265                   031074P001-1409A-265            033104P001-1409A-265
QUEST SOFTWARE, INC                QUEST TECHNOLOGY MANAGEMENT            QUEST USA CORP                  QUESTAR GAS CO
PO BOX 910                         PO BOX 910                             495 FLATBUSH AVE                PO BOX 45841
ROSEVILLE CA 95678                 ROSEVILLE CA 95678                     BROOKLYN NY 11225               SALT LAKE CTY UT 84139




033104S001-1409A-265               007557P001-1409A-265                   008978P001-1409A-265            002102P001-1409A-265
QUESTAR GAS CO                     CRYSTAL QUEZADA                        KARINA G QUEZADA                SHARON J QUI GONZALEZ
180 EAST 100 SOUTH                 2746 STAR PEAK DR                      1263 DAVID AVE                  257 WILLOW RD APT H SAN YSID
PO BOX 45360                       HOUSTON TX 77088                       CONCORD CA 94518                257
SALT LAKE CITY UT 84145-0360                                                                              SAN YSIDRO CA 92173




035926P001-1409A-265               007531P001-1409A-265                   035927P001-1409A-265            037589P001-1409A-265
GONZALEZ SHARON J QUI              DARIEN P QUICK BEAR                    BEAR DARIEN P QUICK             HALEY QUICK
257 WILLOW ROAD APT H SAN YSID     PO BOX 1055                            PO BOX 1055                     1110 PARKHILL DR
257                                ROSEBUD SD 57570                       ROSEBUD SD 57570                NORWALK IA 50211
SAN YSIDRO CA 92173
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007449P001-1409A-265                  007987P001-1409A-265                          003694P001-1409A-265                        004662P001-1409A-265
HALEY M QUICK                         MADISYN QUIDAS                                DANIELLE E QUIHUIS                          CHRYSTAL M QUIJANO
1110 PARKHILL DR                      6239 ROSSING ST                               1346 E SAINT CHARLES AVE                    4416 LAUREL AVE
NORWALK IA 50211                      HURLOCK MD 21643                              PHOENIX AZ 85042                            PENNSAUKEN NJ 08109




002056P001-1409A-265                  005988P001-1409A-265                          004562P001-1409A-265                        007373P001-1409A-265
MARILINDA QUILES                      NICOLE QUILES                                 ERIN C QUINN                                JESSICA A QUINONES
95 SPRUCE ST                          62 COMSTOCK AVE                               223 BLOUGH CT                               PO BOX 50922
APT 2                                 STATEN ISLAND NY 10314                        FAIRLESS HILLS PA 19030                     TOA BAJA PR 00950
PATERSON NJ 07501-1793




002708P001-1409A-265                  006547P001-1409A-265                          006780P001-1409A-265                        035928P001-1409A-265
LAUREN C QUINONES                     TONASIA QUINONES                              DESTINYJOYCE QUINSAATTOBOSA                 JESENIA I QUINTANA
319 NORTHGATE CT                      11 13TH ST FL #2                              1388 KAKAE PL                               6625 S 140TH ST
WESTERVILLE OH 43081                  TROY NY 12180                                 WAILUKU HI 96793                            OMAHA NE 68137




000711P001-1409A-265                  003652P001-1409A-265                          002963P001-1409A-265                        005657P001-1409A-265
HELEN B QUINTANILLA                   SAVANNAH QUINTANILLA                          TATIANA G QUINTANILLA                       DANAY QUINTERO GARCIA
12414 DARKWOOD RD                     2222 DUDLEY ST                                11719 ALLIN ST                              1819 DEANNA DR
SAN DIEGO CA 92129                    BURTON MI 48529                               486                                         APOPKA FL 32703
                                                                                    CULVER CITY CA 90230




037546P001-1409A-265                  035929P001-1409A-265                          003727P001-1409A-265                        004744P001-1409A-265
ASHLY NICOLE CORREA QUINTERO          GARCIA DANAY QUINTERO                         CINDY E QUIROGA                             IMANI QUIROS
39 PERRY AVE APT 2 R                  1819 DEANNA DR                                3061 NW 184TH ST                            81 SUGAR BERRY PL
WORCESTER MA 01610                    APOPKA FL 32703                               MIAMI FL 33056                              DALLAS GA 30157
ESTADOS UNIDOS




003416P001-1409A-265                  009078P001-1409A-265                          033521P001-1409A-265                        033521S001-1409A-265
MELODY QUIROZ                         ANUM QURESHI                                  QWEST COMMUNICATIONS (CENTURYLINK)          QWEST COMMUNICATIONS (CENTURYLINK)
729 S INGLEWOOD AVE                   114 TRAILS CROSSING                           QWEST                                       CENTURY BUSINESS SVC
INGLEWOOD CA 90301                    WHITESBORO NY 13492                           PAYMENT CNTR                                PO BOX 52187
                                                                                    DENVER CO 80244-0001                        PHOENIX AZ 85072-2187




033521S002-1409A-265                  033521S003-1409A-265                          036896P001-1409A-265                        036896S001-1409A-265
QWEST COMMUNICATIONS (CENTURYLINK)    QWEST COMMUNICATIONS (CENTURYLINK)            QWEST CORP DBA CENTURYLINK QC               QWEST CORP DBA CENTURYLINK QC
QWEST                                 QWEST                                         CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY   CENTURYLINK COMMUNICATIONS LLC
PO BOX 29060                          PO BOX 12480                                  LEGAL BKY                                   220 N 5TH ST
PHOENIX AZ 85038-9060                 SEATTLE WA 98111-4480                         1025 EL DORADO BLVD                         BISMARCK ND 58501
                                                                                    BROOMFIELD CO 80021
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030747P001-1409A-265                036283P002-1409A-265                               036283S001-1409A-265             032398P001-1409A-265
R AHN                               R AHN                                              R AHN                            R AND S ERECTION OF SAN FRANCISCO INC
JAYDEN KIM                          AKA G AHN ISLAND INC                               AKA G AHN ISLAND INC             R AND S ERECTION OF SAN FRANCISC
2115 E ANDERSON ST                  YOUNG WOON CHOI                                    LEE AND ASSOCIATES               STEPHANIE
VERNON CA 90058                     2115 E ANDERSON ST                                 3530 WILSHIRE BLVD STE 1280      715 CESAR CHAVEZ ST
                                    VERNON CA 90058                                    LOS ANGELES CA 90010             SAN FRANCISCO CA 94124



032412P001-1409A-265                008919P001-1409A-265                               001072P001-1409A-265             003743P001-1409A-265
R-CISC                              CAREN A RAAHAUGE                                   JOHANNA M RABENA                 EMILY P RABER
RETAIL CYBER INTELLIGENCE SHAR      4315 RTE 353                                       9115 HIRASAKI AVE                814 VINEYARD CIRLCE
GREG GENUNG                         SALAMANCA NY 14779                                 GILROY CA 95020-3264             814
2101 L ST NW                                                                                                            SLIPPERY ROCK PA 16057
STE 800
WASHINGTON DC 20037


030678P001-1409A-265                031523P002-1409A-265                               033105P001-1409A-265             033105S001-1409A-265
ZINA RABINOVICH                     RACINE MALL LLC                                    RACINE WATER UTILITY             RACINE WATER UTILITY
ADDRESS INTENTIONALLY OMITTED       CO HULL PROPERTY GROUP LLC ASHLEY DOLCE            WATER AND WASTEWATER UTILITIES   180 EAST 100 SOUTH
                                    1190 INTERSTATE PKWY                               PO BOX 080948                    PO BOX 45360
                                    AUGUSTA GA 30909                                   RACINE WI 53408                  SALT LAKE CITY UT 84145-0360




009044P001-1409A-265                035930P001-1409A-265                               000941P001-1409A-265             005332P001-1409A-265
ERYN Y RADCLIFF                     JENNIFER N RADECKER                                CHANTEL M RADER                  RAEANNA ISABELL RADOMES
303 E 8TH ST                        4146 DAUPHINE ST                                   1318 19TH ST                     5795 W FLAMINGO RD APT 158
DULUTH MN 55805                     SLIDELL LA 70458                                   VIENNA WV 26105                  LAS VEGAS NV 89103




032401P001-1409A-265                035931P001-1409A-265                               006960P001-1409A-265             032402P002-1409A-265
RAE MODEL AND TALENT AGENCY, LLC    GABRIELLE L RAFAIL                                 MIKAYLA C RAFFERTY               RAGE THE MODEL AGENCY
JESSICA RAE DE JESUS                6630 W HERBISON RD                                 4400 VESTAL PKWY E               RAGE MODELS
414 MASON ST                        DEWITT MI 48820                                    BINGHAMTON NY 13902              ELAINE PARKER
STE 705                                                                                                                 23679 CALABASAS RD STE 501
SAN FRANCISCO CA 94102                                                                                                  CALABASAS CA 91302



031075P001-1409A-265                036284P001-1409A-265                               007433P001-1409A-265             001432P001-1409A-265
RAGGS 2 RICHES                      RAGGS 2 RICHES                                     SAMANTHA RAGHUBIR                MONICA Y RAGSDALE
CHRISTINA KANG                      2288 E49TH ST                                      89 11 116 ST                     1806 45TH ST
2288 E49TH ST                       VERNON CA 90058                                    RICHMOND HILL NY 11418           PENNSAUKEN NJ 08109
VERNON CA 90058




008675P001-1409A-265                036362P001-1409A-265                               036556P001-1409A-265             005763P001-1409A-265
FARIA RAHMAN                        AILED RAIA                                         JAMIE L RAICEVICH                ASHLEY P RAIN
208 NORTH TEXAS AVE                 1434 E DEL RIO DR                                  4120 PRAIRIE AVE APT 251         6710 36TH AVE EAST LOT 42
ATLANTIC CITY NJ 08401              TEMPE AZ 85282                                     AMARILLO TX 79109                PALMETTO FL 34221
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037351P001-1409A-265          037351S001-1409A-265                              035932P001-1409A-265        007845P001-1409A-265
RAINBOW INVESTMENT CO         RAINBOW INVESTMENT CO                             KURISTIAN G RAINEY          NASAIYA RAINEY
AKA GROSSMONT CENTER          AKA GROSSMONT CENTER                              842 SPRINGDALE LN           21A JORDAN GARDENS
DENNIS J WICKHAM              NIKOLAS PARRISH                                   GASTONAI NC 28052           NIAGARA FALLS NY 14305
750 B STREET STE 2100         5500 GROSSMONT CENTER DR STE 213
SAN DIEGO CA 92101            LA MESA CA 91942



009577P001-1409A-265          036413P001-1409A-265                              001976P001-1409A-265        008533P001-1409A-265
TAYLOR M RAINEY               BRANDON RAINS                                     BRANDON W RAINS             BRIANNA N RAINS
1330 W BROADWAY RD            185 EAST CAPE ROCK DR                             185 EAST CAPE ROCK DR       7767 LA RIVIERA DR
C305                          CAPE GIRARDEAU MO 63701                           CAPE GIRARDEAU MO 63701     SACRAMENTO CA 95826
TEMPE AZ 85282




001605P001-1409A-265          001373P001-1409A-265                              009072P001-1409A-265        008229P001-1409A-265
MAHASEN RAIS                  DIPTI P RAJAMANICKAM                              SHAKIRA RAKIBULLAH          JORDYN L RAKOTZ
216 MICHAELS CT               20532 DEERPARK CT                                 3329 LOUIS PAUL WAY         121 GRACE CT
WOODBRIDGE NJ 07095           SARATOGA CA 95070                                 SAN JOSE CA 95148           MANKATO MN 55434




036723P001-1409A-265          032403P001-1409A-265                              035156P001-1409A-265        036724P001-1409A-265
RAKUTEN CARD LINKED OFFER     RAKUTEN CARD LINKED OFFER NETWORK, INC            RAKUTEN MARKETING LLC       RAKUTEN MARKETING LLC
800 CONCAR DR                 800 CONCAR DR                                     215 PARK AVE SOUTH 9TH FL   PO BOX 415613
SAN MATEO CA 94402            SAN MATEO CA 94402                                NEW YORK NY 10003           BOSON MA 02241-5613




032404P001-1409A-265          032405P001-1409A-265                              003487P001-1409A-265        037130P001-1409A-265
RAKUTEN MARKETING, LLC        RALEIGH - OFFICE OF FIRE MARSHALL                 KAITLIN RAMBOSK             KAITLIN RAMBOSK
RAKUTEN USA LLC               PO BOX 30213                                      926 RADCLIFF AVE            8730 THOMAS DR APT 1201A
PO BOX 415613                 RALEIGH NC 27622                                  LYNN HAVEN FL 32444         PANAMA CITY BEACH FL 32408
BOSON MA 02241-5613




003294P001-1409A-265          004268P001-1409A-265                              002779P001-1409A-265        008506P001-1409A-265
NANCY E RAMIREZ DE LA CRUZ    EMILY K RAMIREZ HERNANDEZ                         ASHLEY A RAMIREZ SANCHEZ    SOFIA G RAMIREZ SCHOFS
10800 CLAY RD #9105           2586 63RD AVE                                     128 HOBBS CIR               120 MAHTOMEDI AVE
HOUSTON TX 77041              OAKLAND CA 94605                                  SANTA PAULA CA 93060        MAHTOMEDI MN 55115




007016P001-1409A-265          005880P001-1409A-265                              002167P001-1409A-265        009457P001-1409A-265
DALLELY RAMIREZ VELASCO       ALEXANDRA J RAMIREZ                               AMBERLY C RAMIREZ           ANA KAREN M RAMIREZ
1511 OAKCREST AVE             1716 HOWARD ST                                    3244 FIRTH WAY              11741 GILMORE ST APT 123
NORMAN OK 73071               WACO TX 76711                                     SAN JOSE CA 95121-1519      123
                                                                                                            NORTH HOLLYWOOD CA 91606
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007999P001-1409A-265          002985P001-1409A-265                006681P001-1409A-265              035933P001-1409A-265
ANGELICA RAMIREZ              ANTONIO E RAMIREZ                   ARLENE RAMIREZ                    ASHLEY K RAMIREZ
19906 RED FEATHER RD          5722 E CALLE IGLESIA                8973 SW 210TH TER                 1221 A ST NE
APPLE VALLEY CA 92307         TEMPE AZ 85283                      CUTLER BAY FL 33189               A314
                                                                                                    AUBURN WA 98002




000853P001-1409A-265          036401P001-1409A-265                001563P001-1409A-265              006764P001-1409A-265
ASHLEY R RAMIREZ              AYLIN RAMIREZ                       CARMELINA RAMIREZ                 DANIELA RAMIREZ
17356 CAVALCADE DR            43 COOPER ST                        1144 HALLMARK AVE                 302 23RD AVE WEST
MORENO VALLEY CA 92555        PAWTUCKET RI 02860                  LEHIGH ACRES FL 33974             BRADENTON FL 34205




035934P001-1409A-265          003511P001-1409A-265                000695P001-1409A-265              006733P001-1409A-265
DE LA CRUZ NANCY E RAMIREZ    DESTINY RAMIREZ                     DIANA K RAMIREZ                   EILEEN G RAMIREZ
10800 CLAY RD #9105           10525 DOLECETTO DR                  1801 FRANCIS AVE                  33 SCOTLAND RD
HOUSTON TX 77041              RANCHO CORDOVA CA 95670             GRAND RAPIDS MI 49507             ELIZABETH NJ 07208




035935P001-1409A-265          000890P001-1409A-265                003254P001-1409A-265              030342P001-1409A-265
ESMERALDA RAMIREZ             FRANCISCO J RAMIREZ                 GABRIELLA RAMIREZ                 GABRIELLA RAMIREZ
33 TANFORAN                   5550 ASTOR LN                       423 25TH AVE #105                 ADDRESS INTENTIONALLY OMITTED
SAN BRUNO CA 94066            310                                 SAN FRANCISCO CA 94121
                              ROLLING MEADOWS IL 60008




035936P001-1409A-265          007235P001-1409A-265                003378P001-1409A-265              037612P001-1409A-265
HERNANDEZ EMILY K RAMIREZ     JOSEFINA RAMIREZ                    KELLY RAMIREZ                     LIZBETH RAMIREZ
2586 63RD AVE                 2514 CR 60                          15965 78TH AVE                    JONATHAN CARDOSO
OAKLAND CA 94605              ROSHARON TX 77583                   TINLEY PARK IL 60477              153 S 4TH ST
                                                                                                    RICHMOND CA 94804
                                                                                                    UNITED STATES



008187P001-1409A-265          008398P001-1409A-265                004391P001-1409A-265              035937P001-1409A-265
LIZBETH RAMIREZ               MANUELITA RAMIREZ                   MARIA RAMIREZ                     MARIA RAMIREZ
153 S 4TH ST                  241 SHADY LN                        2151 LOVEDALE AVE                 3209 JAMES DR
RICHMOND CA 94804             VALLEJO CA 94591                    DALLAS TX 75227                   DALLAS TX 75227




001802P001-1409A-265          004930P001-1409A-265                004309P002-1409A-265              003374P001-1409A-265
MARIA H RAMIREZ               MELISSA J RAMIREZ                   MONICA RAMIREZ                    NALLELY RAMIREZ
723 N GRANT ST                65 KIRTLAND ST SW                   1435 W 70TH ST                    1401 SOUTH ST
AMARILLO TX 79107-5361        GRAND RAPIDS MI 49507               LOS ANGELES CA 90047-2031         PASADENA TX 77503
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005235P001-1409A-265      006969P001-1409A-265                     005502P001-1409A-265            035938P001-1409A-265
NANCY V RAMIREZ           NATALY O RAMIREZ                         SAMARIA V RAMIREZ               SANCHEZ ASHLEY A RAMIREZ
8788 KLEIN RD             1438 MOHRLAKE DR                         8400 WEEPING CHERRY LN          128 HOBBS CIR
STOCKTON CA 95206         BRANDON FL 33511                         EVERMAN TX 76140                SANTA PAULA CA 93060




033327P001-1409A-265      004062P001-1409A-265                     002696P001-1409A-265            002527P001-1409A-265
SARAH RAMIREZ             SAVANA A RAMIREZ                         SIENNAROSE A RAMIREZ            STEPHANIE E RAMIREZ
2323 BRYANT ST            533 EASTON AVE                           4115 BELLA SIERRA CT            67 BISMARK DR
SAN FRANCISCO CA 94110    SAN BRUNO CA 94066                       LAS CRUCES NM 88011             STAFFORD VA 22554




003525P001-1409A-265      035939P001-1409A-265                     007306P001-1409A-265            005062P001-1409A-265
VANESSA N RAMIREZ         VELASCO DALLELY RAMIREZ                  YEZICA RAMIREZ                  MARIA A RAMIREZCONTRERAS
6500 NEWTON ST            1511 OAKCREST AVE                        4006 MIDLAND ST                 6451 OXFORD AVE APT A211
ARVADA CO 80003           NORMAN OK 73071                          LOS ANGELES CA 90031            PHILADELPHIA PA 19111




003812P001-1409A-265      001604P001-1409A-265                     037334P001-1409A-265            005451P001-1409A-265
LIZBETH RAMIREZJOSE       SHIVANI RAMJIT                           SHIVANI RAMJIT                  BRITNEY RAMKEESOON
267 COWDEN ST             354 BURGESS PL                           SHIVANI RAMJIT                  2444 38TH ST
2                         CLIFTON NJ 07050                         209 SOUTH ESSEX AVENUE          ASTORIA NY 11103
CENTRAL FALLS RI 02863                                             ORANGE NJ 07050




002898P001-1409A-265      008790P001-1409A-265                     037091P001-1409A-265            004915P001-1409A-265
DARSHANIE RAMNATH         ALISA RAMON                              ALISA RAMON                     RAUL E RAMOS DE JESUS
27718 ONEALS RD           3898 E ESPLANADE AVE                     1411 W SIXTH ST                 CARR 184 KM301 BO MALUA GUAV
SEAFORD DE 19973          GILBERT AZ 85297                         TEMPE AZ 85281                  CAYEY PR 00736




004174P001-1409A-265      005287P001-1409A-265                     005848P001-1409A-265            008551P001-1409A-265
AILEEN A RAMOS            ALICIA RAMOS                             ALONDRA V RAMOS                 ANGELES A RAMOS
3076 REDWOOD AVE          6008 100TH                               830 PEACHTREE RD                3318 OLD CHOCOLATE BAYOU RD TR
LYNWOOD CA 90262          LUBBOCK TX 79424                         CHARLOTTE NC 28216              PEARLAND TX 77584




008998P001-1409A-265      030168P001-1409A-265                     030255P001-1409A-265            001111P001-1409A-265
BRENDA M RAMOS            BRIGIDO RAMOS                            BRITTNEY RAMOS                  BRITTNEY L RAMOS
1860 OAKMEAD DR           ADDRESS INTENTIONALLY OMITTED            ADDRESS INTENTIONALLY OMITTED   4641 ANSON ST
17                                                                                                 NEW ORLEANS LA 70131
CONCORD CA 94520
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004011P001-1409A-265       035940P001-1409A-265                    005626P001-1409A-265          008883P001-1409A-265
CHEYENNE RAMOS             DE JESUS RAUL E RAMOS                   ELSA RAMOS                    JAZMIN RAMOS
2798 OXFORD AVE            CARR 184 KM301 BO MALUA GUAV            2412 COWAN BLVD APT F         15042 DEVONSHIRE ST
GRAND JUNCTION CO 81503    CAYEY PR 00736                          FREDERICKSBURG VA 22401       MISSION HILLS CA 91345




003327P001-1409A-265       002994P001-1409A-265                    005288P001-1409A-265          009496P001-1409A-265
LEILY Y RAMOS              MARIAH L RAMOS                          MARISSA I RAMOS               MAYDALIS RAMOS
921 WAVERLY PL             2204 17TH ST                            367 VECINO CT                 122 SOUTH MAIN ST APT B
BALDWIN NY 11510           WYANDOTTE MI 48192                      SPRING VALLEY CA 91977        SPRING VALLEY NY 10977




005649P001-1409A-265       003259P001-1409A-265                    008312P001-1409A-265          001283P001-1409A-265
PAULINA RAMOS              ROSA I RAMOS                            SHAINA B RAMOS                YINAMAR RAMOS
2834 W LA SALLE ST         1002 N MARIPOSA AVE                     2912 SHALE CREEK DR           HC 74 BOX 5196
PHOENIX AZ 85041           15                                      RENO NV 89511                 NARANJITO PR 00719
                           LOS ANGELES CA 90029




004584P001-1409A-265       002275P002-1409A-265                    004841P001-1409A-265          000946P001-1409A-265
JADA M RAMSEY              PRERNA RANA                             DUSTIN RANCES                 KIMBERLY A RAND
35 RUTH PL                 11293 ROLLING HILLS DR                  857 30TH AVE                  4404 ADOLPH AVE
EATONTOWN NJ 07724         DUBLIN CA 94568-3524                    SAN FRANCISCO CA 94121        NORTH PORT FL 34288




003676P001-1409A-265       007757P001-1409A-265                    003212P001-1409A-265          006288P001-1409A-265
SAMANTHA RANDEL            DEJEA J RANDLE                          MORGAN P RANDLEMAN            CIERRA RANDOLPH
22525 QUIVIRA RD           119 GEORGE ST                           104 KENDRICK FARM DR          1000 LAUREL AVE
BUCYRUS KS 66013           BREAUX BRIDGE LA 70517                  MOUNT HOLLY NC 28642          KANSAS CITY KS 66104




005722P001-1409A-265       005338P001-1409A-265                    006742P001-1409A-265          003580P001-1409A-265
LASHUNTI L RANDOLPH        ABIGAIL RANGEL                          GINA E RANGEL                 ELENA RANGELJUAREZ
4228 WEST MICHIGAN AVE     15315 SABLETON CREST LN                 467 E SCOTT AVE               6602 HONEY BEAR CT
KALAMAZOO MI 49008         CYPRESS TX 77429                        FRESNO CA 93710               TAMPA FL 33625




034303P001-1409A-265       006922P001-1409A-265                    008821P001-1409A-265          009420P001-1409A-265
RANIBOW INVESTMENT CO      ANDREA M RANKIN                         CLAIRE E RANKIN               ANTOINIQUE RANSBERRY
591 CAMINO DE LA REINA     5440 WESTERN AVE                        542 S SPRING ST APT B         4123 W MELROSE ST
STE 900                    OMAHA NE 68132                          CAPE GIRARDEAU MO 63703       CHICAGO IL 60641
SAN DIEGO CA 92108
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007672P001-1409A-265              002576P001-1409A-265                   006388P001-1409A-265           032406P001-1409A-265
NIYAH RANSOM                      EVA RAPOFF                             BRITNEY M RAPOSO               RAPT PRODUCTIONS, INC
5900 GRANDEL BLVD                 1536 BARCLAY PL                        37 JOHNSON ST                  LINDSAY GAUTHIER
LOUISVILLE KY 40258               NISKAYUNA NY 12309                     1                              128 UTAH ST
                                                                         FALL RIVER MA 02723            SAN FRANCISCO CA 94102




032407P001-1409A-265              036725P001-1409A-265                   008485P001-1409A-265           004398P001-1409A-265
RAR PICTURES                      RAR PICTURES                           YASMERE D RASHADA              BIBI KANWAL RASHDI
ROBERT ANDREW RODRIGUEZ           490 LAKE PK AVE #16013                 3897 PEACHGATE AVE             1110 BALLPARK LN APT 2005
490 LAKE PK AVE                   OAKLAND CA 94610-8038                  LAS VEGAS NV 89120             LAWRENCEVILLE GA 30043
#16013
OAKLAND CA 94661



030386P002-1409A-265              001063P001-1409A-265                   001534P001-1409A-265           031076P001-1409A-265
JENNIFER RATTIN                   JENNIFER M RATTIN                      JENNA L RAVENSCRAFT            RAW EDGE
ADDRESS INTENTIONALLY OMITTED     531 SILVER AVE                         1706 NORTH EAST ST             3810 SMAIN ST
                                  SAN FRANCISCO CA 94112                 YORK PA 17406                  LOS ANGELES CA 90037




010593P001-1409A-265              007947P001-1409A-265                   007003P001-1409A-265           008871P001-1409A-265
RAY VALDES, TAX COLLECTOR         DESTINY E RAY                          TIERA A RAY                    GRACEN A RAYFIELD
SEMINOLE COUNTY                   1212 PROVIDENCE CIR                    9201 UNIVERSITY CITY BLVD      1928 GREENBRIER
POST OFICE BOX 630                3                                      CHARLOTTE NC 28223             CAPE GIRARDEAU MO 63701
SANFORD FL 32772-0630             CHAMPAIGN IL 61821




032408P001-1409A-265              032409P001-1409A-265                   003591P001-1409A-265           006114P002-1409A-265
RAYMOND HANDLING SOLUTIONS INC    RAYMOND RUDOLPH PHOTOGRAPHY            EMANI T RAYMOND                LYDIE RAYMOND
FILE 1700                         RAYMOND RUDOLPH                        2273 FRIENDSHIP ST             734 STUYVESANT AVE
1801 W OLYMPIC BLVD               2218 PULLMAN AVE                       PHILADELPHIA PA 19149          IRVINGTON NJ 07111-1825
PASADENA CA 91199-1700            BELMONT CA 94002




030559P001-1409A-265              003568P001-1409A-265                   004409P001-1409A-265           033704P001-1409A-265
RACHEL L RAYNES                   MONICA I RAYOS                         HAILEY C RAYSER                RBG RETIREMENT BENEFITS GROUP
ADDRESS INTENTIONALLY OMITTED     500 S CHURCH ST                        3013 ESTEPA DR                 3030 N ROCKY PT DR W
                                  AUGUSTA MI 49012                       UNIT F                         STE 700
                                                                         CAMERON PARK CA 95682          TAMPA FL 33607




032410P001-1409A-265              036726P002-1409A-265                   032411P001-1409A-265           034261P001-1409A-265
RC STORE MAINTENANCE INC          RC STORE MAINTENANCE INC               RCCM, LLC                      RCCM, LLC
JILL MCCARTHY                     CHRISTINE MEZA                         RYAN DESANTO                   355 JEFFERSON ST
569 BATEMAN CIR                   569 BATEMAN CIR                        355 JEFFERSON ST               PLYMOUTH MEETING PA 19462
CORONA CA 92880                   CORONA CA 92880                        PLYMOUTH MEETING PA 19462
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002913P001-1409A-265                       009505P001-1409A-265                               002537P001-1409A-265                       036588P001-1409A-265
KIERA N READIE                             LADYMON S READUS                                   KELLY REAGAN                               KELLY REAGAN
3 TERRY LN                                 416 W OLD PLANK RD                                 1625 BLACKBERRY RD                         462 GOUDE LN
CLARK NJ 07066                             UNIT 105                                           DEATSVILLE AL 36022                        CECIL AL 36013
                                           COLUMBIA MO 65203




003619P001-1409A-265                       030825P001-1409A-265                               036285P001-1409A-265                       030826P001-1409A-265
MAKAYLA M REAGAN                           REAL ACCESSORIES CO LTD                            REAL ACCESSORIES CO LTD                    REAL ACCESSORIES CORP LTD
3225 S STONEGATE CR DR                     GERRY CHEN                                         588 CHUNHUA RD BLDG C1 STE 318             GERRY CHEN
208                                        588 CHUNHUA RD                                     BEIYUAN YIWU ZHEJIANG                      1 CHUNSHENG RD 3RD FL BEI
NEW BERLIN WI 53151                        BLDG C1 - STE 318                                  CHINA 322000                               INDUSTRIAL PARK
                                           BEIYUAN YIWU ZHEJIANG CN 322000                                                               YIWU ZHEJIAN
                                           CHINA                                                                                         CHINA


031077P001-1409A-265                       036286P001-1409A-265                               036989P003-1409A-265                       036989S001-1409A-265
REALPLAY CORP                              REALPLAY CORP DBA RIPLAY                           REALPLAY CORP INC D/B/A RIPLAY             REALPLAY CORP INC D/B/A RIPLAY
DBA RIPLAY INC                             18350 SAN JOSE AVE                                 GREGORY F FISCHER; THOMAS J FRANCELLA JR   TONY WANG
MARK HSIA                                  CITY OF INDUSTRY CA 91748                          COZEN O'CONNOR                             18350 SAN JOSE AVE
18350 SAN JOSE AVE                                                                            1201 NORTH MARKET ST STE 1001              CITY OF INDUSTRY CA 91748
CITY OF INDUSTRY CA 91748                                                                     WILMINGTON DE 19801



033703P001-1409A-265                       000679P001-1409A-265                               005578P001-1409A-265                       003927P001-1409A-265
REALTY ASSOCIATES FUND VIII                VICTORIA REARDON                                   AYLIA C REAVES                             SAMANTHA M REAVES
TA ASSOCIATES REALTY                       104 EAST ST                                        103 LINDEN AVE                             5567 BRIARWOOD DR
1301 DOVE ST                               FLANDERS NY 11901                                  PLEASANTVILLE NJ 08232                     HORN LAKE MS 38637
STE 860
NEWPORT BEACH CA 92660



035941P001-1409A-265                       032413P001-1409A-265                               007213P001-1409A-265                       004342P001-1409A-265
SAMANTHA M REAVES                          REBECCA TAFF                                       NASYA RECHEL                               LIZETH RECINOS
7327 NORTHBROOK COVE                       2595 43RD AVE                                      9815 PK SPRINGS CT                         1237 SCRIPPS CT
HORN LAKE MS 38637                         SAN FRANCISCO CA 94116                             CHARLOTTE NC 28210                         MARIETTA GA 30008




033106P001-1409A-265                       032727P001-1409A-265                               036655P001-1409A-265                       033421P001-1409A-265
RECOLOGY GOLDEN GATE                       RECOLOGY WASTE ZERO                                MELISSA RECTOR                             RED DDOR INTERACTIVE INC
250 EXECUTIVE PK BLVD                      RECOLOGY SUNSET SCAVENGER                          2009 FEATHER LN                            NATALIE MARTIN
STE 2100                                   DEBRIS BOX SERVICE PO BOX 7360                     LEWISVILLE TX 75077                        560 CARLSBAD VLG DR
SAN FRANCISCO CA 94134                     SAN FRANCISCO CA 94120-7360                                                                   STE 200
                                                                                                                                         CARLSBAD CA 92008



029964P001-1409A-265                       029964S001-1409A-265                               033107P001-1409A-265                       033107S001-1409A-265
RED DEVELOPMENT (LANDLORD)                 RED DEVELOPMENT (LANDLORD)                         RED LEES SUMMIT EAST LLC                   RED LEES SUMMIT EAST LLC
RED SUMMIT FAIR LLC                        RED SUMMIT FAIR, LLC                               SUMMIT FAIR                                925 NORTHWEST BLUE PKWY
AND SAHARA PAVILION SOUTH SC LLC AS TIC    AND SAHARA PAVILION SOUTH SC LLC AS TIC            PO BOX 98161                               LEES SUMMIT MO 64086
CO RED DEVELOPMENT LLC                     C/O RED DEVELOPMENT                                LAS VEGAS NV 89193
ONE EAST WASHINGTON ST STE 300             7600 W 110 TH ST STE 200
PHOENIX AZ 85004-2513                      OVERLAND PARK KS 66210-2323
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031524P001-1409A-265                         031524S001-1409A-265                   037653P001-1409A-265                     037653S001-1409A-265
RED SUMMIT FAIR LLC                          RED SUMMIT FAIR LLC                    RED SUMMIT FAIR LLC AND SAHARA           RED SUMMIT FAIR LLC AND SAHARA
RED PROPERTY MANAGEMENT LL                   SINGER AND LEVICK PC                   PAVILION SOUTH SC LLC AS TIC             PAVILION SOUTN SC LLC AS TIC
PO BOX 98161                                 MICHELLE E SHRIRO ESQ                  SINGER AND LEVICK PC MICHELLE E SHRIRO   ONE EAST WASHINGTON ST STE300
LAS VEGAS NV 89193-8161                      16200 ADDISON RD STE 140               16200 ADDISON RD                         PHOENIX AZ 85004
                                             ADDISON TX 75001                       SUITE 140
                                                                                    ADDISON TX 75001


008417P001-1409A-265                         004578P001-1409A-265                   004244P001-1409A-265                     004947P001-1409A-265
ANNIE REDD                                   ASHLEY REDDIC                          RIGHCHE D REDDICE                        DESTINY D REDDISH
1104 OAKWOOD AVE                             11108 MORGAN RIVER CT                  166 PALISADE AVE                         3905 KIAH DR
TOLEDO OH 43607                              RANCHO CORDOVA CA 95670                BRIDGEPORT CT 06610                      WESELY CHAPEL FL 33543




020477P001-1409A-265                         004859P001-1409A-265                   035353P001-1409A-265                     003450P001-1409A-265
NATASHA P REDDY                              IMANI R REDFERN                        REDLANDS EMPLOYMENT SVC INC              JACQUELINE E REDLIN
107 VIA DEL SOL                              1600 CRAWFORD DR                       DBA ARROW STAFFING                       1200 S KEVA AVE
VACAVILLE CA 95687                           CHARLOTTE NC 28216                     499 W STATE ST                           SIOUX FALLS SD 57106
                                                                                    REDLANDS CA 92373




001433P001-1409A-265                         008289P001-1409A-265                   009713P001-1409A-265                     005590P001-1409A-265
SARAH M REDMAN                               ESPERANZA M REDMONDMARTINEZ            OLIVIA A REEB                            BRITTANY A REED
3550 VILLA LN                                1332 HUDSON RD                         1008 W OHIO AVE                          2605 6TH ST NE
124                                          SAINT PAUL MN 55106                    TAMPA FL 33603                           BIRMINGHAM AL 35215
NAPA CA 94558-6454




008902P001-1409A-265                         036485P001-1409A-265                   006479P001-1409A-265                     002391P001-1409A-265
DIERRA REED                                  ELIZABETH REED                         JANICE L REED                            JESSIE C REED
193 EAST GRAND AVE                           6311 35TH AVE WEST                     8686COY AVE                              117 KATHLEEN ST
FOX LAKE IL 60020                            BRADENTON FL 34209-6935                APT84                                    TUPELO MS 38801
                                                                                    BATON ROUGE LA 70810




002874P001-1409A-265                         001350P001-1409A-265                   005806P001-1409A-265                     990001P000-1409A-265
KALLIE L REED                                KELSEY M REED                          NICOLE S REED                            REEP-RTL NPM GA LLC
3508 LIBERTY ST                              3397 ELWOOD AVE SW                     104 SW OXFORD PL                         C/O REAL ESTATE
PARKERSBURG WV 26104                         GRANDVILLE MI 49418-1805               LEE'S SUMMIT MO 64063                    51 MADISON AVE
                                                                                                                             NEW YORK NY 10010-1603




037937P000-1409A-265                         036368P001-1409A-265                   007262P001-1409A-265                     005709P001-1409A-265
REEP-RTL NPM GA LLC/ NORTH POINT MALL LLC    ALEXANDRIA REESE                       KIMBRIA C REESE                          MORGAN L REESE
TRANSFEROR: NORTH POINT MALL LLC             1271 SUMMIT ST APT M                   2064 GORDON VERNER CIR                   232 AMBREA DR
C/O REAL ESTATE                              COLUMBUS OH 43202                      STOCKTON CA 95206                        TRUMANN AR 72472
51 MADISON AVE
NEW YORK NY 10010-1603
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035942P001-1409A-265                007395P001-1409A-265                        004857P001-1409A-265            037703P002-1409A-265
MORGAN L REESE                      SAMATHA L REESE                             SHARON B REESE                  AMARA REEVES
526 MILDRED                         68 WEST MORTON ST                           2507 E MILL PLAIN BLVD          725 SHAWMUT AVENUE APT 703
TRUMANN AR 72472                    SAINT PAUL MN 55107                         #5                              BOSTON MA 02119
                                                                                VANCOUVER WA 98661




004901P001-1409A-265                003638P001-1409A-265                        030240P001-1409A-265            004376P001-1409A-265
AMARA K REEVES                      ARIANA REEVES                               AUBREE REEVES                   CANDACE M REEVES
725 SHAWMUT AVE                     1447 HAYNESCREST CT                         ADDRESS INTENTIONALLY OMITTED   9827 SADLER LN
703                                 GRAYSON GA 30017                                                            PERRY HALL MD 21128
BOSTON MA 02119




035943P001-1409A-265                000916P001-1409A-265                        002522P001-1409A-265            037428P001-1409A-265
CANDACE M REEVES                    LATESHA A REEVES                            ARSHIA I REFAI                  ARSHIA I REFAI
905 BERNADETTE DR                   142 E 34 ST                                 6063C JOAQUIN MURIETA AVE       ARSHIA REFAI
FOREST HILL MD 21050                SAN BERNARDINO CA 92404                     NEWARK CA 94560                 6063C JOAQUIN MURIETA AVE
                                                                                                                NEWARK CA 94560




032414P001-1409A-265                009170P001-1409A-265                        009233P001-1409A-265            031078P002-1409A-265
REFINERY 29                         BRIZEIDA REGALADO                           MARIEL I REGAN LARMAND          REGENT SUTTON LLC
225 BROADWAY                        330 AVE H                                   97 N UNION ST                   1411 BROADWAY
23RD FL                             DALLAS TX 75203                             APT 5                           NEW YORK NY 10018
NEW YORK NY 10007                                                               BURLINGTON VT 05401




031078S001-1409A-265                036287P001-1409A-265                        005922P001-1409A-265            009792P001-1409A-265
REGENT SUTTON LLC                   REGENT-SUTTON LLC                           ILIANA P REGINATORRES           REGIONAL INCOME TAX AGENCY
WELLS FARGO CAPITAL FINANCE         1411 BROADWAY 8TH FLOOR                     17142 SILVER CREST DR           PO BOX 89475
DOROTHY GADSON                      NEW YORK NY 10018                           SAN DIEGO CA 92127              CLEVELAND OH 44101-6475
100 PARK AVE
NEW YORK NY 10017



032415P001-1409A-265                009736P001-1409A-265                        004536P001-1409A-265            035944P001-1409A-265
REGIONAL INCOME TAX AGENCY          REGIONS                                     MARIA B REGIS GUERECA           GUERECA MARIA B REGIS
PO BOX 94951                        960 OLD MONROVIA RD                         4349 W KEIM DR                  4349 W KEIM DR
CLEVELAND OH 44101-4951             HUNTSVILLE AL 35806                         APT #2                          APT #2
                                                                                GLENDALE AZ 85301               GLENDALE AZ 85301




033794P001-1409A-265                036728P001-1409A-265                        007176P001-1409A-265            006835P001-1409A-265
REGISTER ROOFING AND SHEET METAL    REGISTER ROOFING AND SHEET METAL            VALERIA REGLA                   RACHELLE K REGNET
J REGISTER CO INC                   4640 SUB CHASER CT UNIT 113                 11248 JUNEBERRY LN              27 16TH AVE
STEPHANIE PRENTICE                  JACKSONVILLE FL 32244                       FONTANA CA 92337                NORTH TONAWANDA NY 14120
4640 SUB CHASER CT
UNIT 113
JACKSONVILLE FL 32244
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001961P001-1409A-265              026876P002-1409A-265                           006636P001-1409A-265                  001308P001-1409A-265
ALLYSON S REHM                    MARIA R REICHLEIN                              ALEXIS S REID                         ALIZA REID
2806 EDWARDS ST                   2143 SW 8TH DR                                 1455 SAINT GEORGE PL                  313 RAMSEUR RD
GREENVILLE NC 27858-4005          GRESHAM OR 97080                               CONYERS GA 30012                      MAIDEN NC 28650




007905P001-1409A-265              006986P001-1409A-265                           004839P001-1409A-265                  009184P001-1409A-265
ANARI REID                        CORELYN J REID                                 TANASHA REID                          TERRAH A REID
14700 SE PERTOVITSKY RD           4 JENNIFER WAY                                 111 HAMPTON OAKS DR                   1188 63RD AVE SOUTH
E-301                             FAIRFIELD NJ 07004                             HAMPTON GA 30228                      SAINT PETERSBURG FL 33705
RENTON WA 98058




000977P001-1409A-265              007530P001-1409A-265                           004952P001-1409A-265                  009450P001-1409A-265
KIMBERLY REIDDAWKINS              KAITLYN N REIL                                 JANERYS REILLO                        CHRISTINA T REILLY
5219 CORTEZ DR                    26 RABIDEAU DR                                 DOS BOCAS                             1663 FAIRWOOD LN
ORLANDO FL 32808                  EASTHAMPTON MA 01027                           COROZAL PR 00783                      BRICK NJ 08724




035945P001-1409A-265              004463P001-1409A-265                           002450P001-1409A-265                  007908P001-1409A-265
HEATHER L REILLY                  JESSICA REILLY                                 KRISTEN REILLY                        ABIGAIL REINHARD
525 SCOTT BLVD                    34 CADOGAN WAY                                 149 BAY TER                           6634 STRATHERN CT
AP 201                            NASHUA NH 03062                                STATEN ISLAND NY 10306                DUBLIN OH 43016
CASTLE ROCK CO 80104




005148P001-1409A-265              009068P001-1409A-265                           033108P001-1409A-265                  033108S001-1409A-265
KAILYNNE A REINOEHL               GABRYEL REINSTATLER                            RELIANT                               RELIANT
401 SOUTH BROAD ST                1663 RICHMOND DR                               PO BOX 650475                         1000 MAIN ST
LITITZ PA 17543                   LOUISVILLE KY 40205                            DALLAS TX 75265                       HOUSTON TX 77002




002438P001-1409A-265              035408P001-1409A-265                           032416P001-1409A-265                  034330P001-1409A-265
JANET M REMACHE                   RENA SCHERER TAX ASSESSOR                      RENA SCHERER TAX ASSESSOR COLLECTOR   RENAISSANCE PARTNERS I LLC
265 BEECH ST APT 3                205 N BRIDGE ST STE 101 PO BOX 2569            205 N BRIDGE ST STE 101               8235 DOUGLAS AVE
HACKENSACK NJ 07601               VICTORIA TX 77902                              PO BOX 2569                           STE 655
                                                                                 VICTORIA TX 77902                     DALLAS TX 75225




037747P001-1409A-265              009646P002-1409A-265                           002281P001-1409A-265                  029618P001-1409A-265
RENAISSANCE PARTNERS I LLC        ESTHEPANIE RENDON                              SYLVIA S RENDON                       YAJAIRA M RENDON
AKA PUEBLO MALL                   753 CENTRAL PARK DR W APT 201                  33174 FM 2893                         13317 SE MEADOWPARK DR
BALLARD SPAHR LLP                 PLAINFIELD IN 46168-2676                       LOS FRESNOS TX 78566                  HAPPY VALLEY OR 97086
2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2909
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002328P001-1409A-265    030495P001-1409A-265                      033109P001-1409A-265                033109S001-1409A-265
VICTORIA REPOLEY        MAGGIE ROSE REPP                          REPUBLIC SVC #097                   REPUBLIC SVC #097
14 TWEED RD             ADDRESS INTENTIONALLY OMITTED             PO BOX 9001099                      18500 N ALLIED WAY 100
LEVITTOWN PA 19056                                                LOUISVILLE KY 40290                 PHOENIX AZ 85054




033110P001-1409A-265    033110S001-1409A-265                      033111P001-1409A-265                033111S001-1409A-265
REPUBLIC SVC #237       REPUBLIC SVC #237                         REPUBLIC SVC #394                   REPUBLIC SVC #394
PO BOX 9001099          18500 N ALLIED WAY 100                    PO BOX 9001099                      18500 N ALLIED WAY 100
LOUISVILLE KY 40290     PHOENIX AZ 85054                          LOUISVILLE KY 40290                 PHOENIX AZ 85054




033112P001-1409A-265    033112S001-1409A-265                      033113P001-1409A-265                033113S001-1409A-265
REPUBLIC SVC #604       REPUBLIC SVC #604                         REPUBLIC SVC #625                   REPUBLIC SVC #625
PO BOX 9001099          18500 N ALLIED WAY 100                    PO BOX 78829                        18500 N ALLIED WAY 100
LOUISVILLE KY 40290     PHOENIX AZ 85054                          PHOENIX AZ 85062                    PHOENIX AZ 85054




033114P001-1409A-265    033114S001-1409A-265                      033115P001-1409A-265                033115S001-1409A-265
REPUBLIC SVC #695       REPUBLIC SVC #695                         REPUBLIC SVC #696                   REPUBLIC SVC #696
PO BOX 9001099          18500 N ALLIED WAY 100                    PO BOX 9001099                      18500 N ALLIED WAY 100
LOUISVILLE KY 40290     PHOENIX AZ 85054                          LOUISVILLE KY 40290                 PHOENIX AZ 85054




033116P001-1409A-265    033116S001-1409A-265                      033117P001-1409A-265                033117S001-1409A-265
REPUBLIC SVC #798       REPUBLIC SVC #798                         REPUBLIC SVC #841                   REPUBLIC SVC #841
PO BOX 9001099          18500 N ALLIED WAY 100                    PO BOX 9001099                      18500 N ALLIED WAY 100
LOUISVILLE KY 40290     PHOENIX AZ 85054                          LOUISVILLE KY 40290                 PHOENIX AZ 85054




033118P001-1409A-265    033118S001-1409A-265                      005700P001-1409A-265                003386P001-1409A-265
REPUBLIC SVC #894       REPUBLIC SVC #894                         AMANDA REQUA                        SHANNON P RERA
PO BOX 9001154          18500 N ALLIED WAY 100                    1107 SUNSET DR                      938 BENTLEY PK CIR
LOUISVILLE KY 40290     PHOENIX AZ 85054                          BEL AIR MD 21014                    O'FALLON MO 63368




006897P001-1409A-265    033705P001-1409A-265                      035157P001-1409A-265                033706P001-1409A-265
MAGDALENA RESENDIZ      RESOURCES GLOBAL PROFESSIONALS            RESOURCES INVESTMENT ADVISORS INC   RESPONSYS
745 E PECAN ST          4350 LA JOLLA VLG DR                      4860 COLLEGE BLVD                   1100 GRUNDY LN
143                     STE 210                                   OVERLAND PARK KS 66211              3RD FLOOR
HURST TX 76053          SAN DIEGO CA 92121                                                            SAN BRUNO CA 94066
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035946P001-1409A-265                     030175P001-1409A-265                         033213P001-1409A-265                  032417P001-1409A-265
SABRINA A RESTER                         RETAIL AMP DESIGN                            RETAIL GROUP OF AMERICA               RETAIL MDS INC
101 FOREMAN RD                           RE-AMP DESIGN                                290 BAYCHESTER AVE                    355 JEFFERSON ST
APT A50                                  DAWN CAREY                                   BRONX NY 10475                        PLYMOUTH MEETING PA 19462
MOBILE AL 36608                          1620 FIFTH AVE
                                         # 110
                                         SAN DIEGO CA 92101


033707P001-1409A-265                     033708P001-1409A-265                         032418P001-1409A-265                  034212P001-1409A-265
RETAIL ME NOT INC                        RETAIL PORTFOLIO STRATEGIES INC              RETAIL PROCESS ENGINEERING LLC        RETAIL PROCESS ENGINEERING LLC
301 CONGRESS AVE                         1154 CAMELOT CIR                             JACK WALWORTH                         20537 AMBERFIELD DR
STE 700                                  NAPLES FL 34119                              20537 AMBERFIELD DR                   LAND O'LAKES FL 34638
AUSTIN TX 78701                                                                       LAND O'LAKES FL 34638




032419P002-1409A-265                     032420P001-1409A-265                         037655P001-1409A-265                  037655S001-1409A-265
RETAIL SECURITY SVC INC                  RETAILMENOT INC                              RETAILMENOT INC                       RETAILMENOT INC
KATHLEEN LARMOUR                         RNOT LLC                                     ASHBY AND GEDDES PA                   HALEY ODOM ACKERMAN
3249 RTE 112 BLDG 4 STE 2                CAITLIN DOUCET                               GREGORY A TAYLOR AND STACY L NEWMAN   301 CONGRESS AVE STE 700
MEDFORD NY 11763                         301 CONGRESS AVE                             500 DELAWARE AVE                      AUSTIN TX 78701
                                         STE 700                                      PO BOX 1150
                                         AUSTIN TX 78701                              WILMINGTON DE 19899


033709P001-1409A-265                     033710P001-1409A-265                         032421P001-1409A-265                  036730P001-1409A-265
RETIREMENT BENEFITS GROUP                RETRANS LOGISTICS                            RETRANSFORM                           RETRANSFORM
9276 SCRANTON RD                         855 RIDGE LAKE BLVD                          ANNET TECHNOLOGIES USA INC            6330 LBJ FREEWAY STE 230
STE 550                                  STE 500                                      LYNN PETERS                           DALLAS TX 75240
SAN DIEGO CA 92121                       MEMPHIS TN 38120                             6330 LBJ FWY
                                                                                      STE 230
                                                                                      DALLAS TX 75240


033350P001-1409A-265                     035158P001-1409A-265                         031079P001-1409A-265                  031080P001-1409A-265
RETURN PATH INC                          RETURN PATH INC                              REUNITED LLC                          REVELLO LLC
KATE SOCHA                               3 PARK AVE 41ST FL                           JENNA PIZZUTELLI                      JACK HABER
3 PARK AVE                               NEW YORK NY 10016                            1375 BROADWAY                         27 WEST 20TH ST
41ST FLOOR                                                                            22 FL                                 STE 605
NEW YORK NY 10016                                                                     NEW YORK NY 10018                     NEW YORK NY 10011



008254P001-1409A-265                     006351P001-1409A-265                         006100P001-1409A-265                  010022P001-1409A-265
ALEXIS M REVELS                          KERRI REVELS                                 LAMONNA REVELS                        REVENUE COLLECTIONS
906 MONTAGE RD                           84 WESTVIEW ST                               6846 DICKS AVE                        CHARLESTON COUNTY
RICHMOND VA 23225                        BLDG O APT 84                                PHILADELPHIA PA 19142                 4045 BRIDGE VIEW DRVIE
                                         YPSILANTI MI 48197                                                                 N. CHARLESTON SC 29405-7464




032708P001-1409A-265                     032422P001-1409A-265                         010228P001-1409A-265                  036897P001-1409A-265
REVENUE COLLECTIONS CHARLESTON COUNTY    REVENUE COMMISSIONER, MONTGOME               REVENUE DIVISION                      REXEL USA INC
CITY OF NORTH CHARLESTON                 REVENUE COMMISSIONER MONTGOMERY COUNTY       PO BOX 15623                          AKA CAPITOL ELECTRIC
4045 BRIDGE VIEW DRVIE                   PO BOX 1667                                  KANSAS CITY MO 64106-0623             CHRIS STORY
N. CHARLESTON SC 29405-7464              MONTGOMERY AL 36102-1667                                                           400 TECHNOLOGY CT SE STE R
                                                                                                                            SMYRNA GA 30082
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004970P001-1409A-265       005289P001-1409A-265                003423P001-1409A-265              004171P001-1409A-265
NASHALIZ REYES ANDRADES    INGRID N REYES GARCIA               KARLA S REYES MONDRAGON           KEYSLA M M REYES SIERRA
CALLE 523                  267 53RD ST                         904 LAKEVILLE CIR                 1107 CLEAR SPRINGS RD
Q E-2 COUNTRY              SAN DIEGO CA 92114                  PETALUMA CA 94954                 VIRGINIA BEACH VA 23464
CAROLINA PR 00982




005861P001-1409A-265       007453P001-1409A-265                004967P001-1409A-265              009344P001-1409A-265
ALEXA F REYES              ALEXANDRA REYES                     ALLISON REYES                     ALMA T REYES
37 ROOSEVELT AVE           5025 NORTH 1ST AVE                  8414 BRIDGE CT                    938 BEIDEMAN AVE
EAST BRUNSWICK NJ 08816    1309                                INDIANAPOLIS IN 46231             CAMDEN NJ 08105
                           TUCSON AZ 85718




035947P001-1409A-265       004185P001-1409A-265                003650P001-1409A-265              006533P001-1409A-265
ANDRADES NASHALIZ REYES    ARIELLE REYES                       AURORA REYES                      BERENICE REYES
CALLE 523                  100 EINSTEIN LOOP                   706 KINGSHIGHWAY                  2805 N 15TH ST
Q E-2 COUNTRY              21A                                 2R                                ROGERS AR 72756
CAROLINA PR 00982          BRONX NY 10475                      BROOKLYN NY 11223




005907P001-1409A-265       003871P002-1409A-265                001594P001-1409A-265              005651P001-1409A-265
CHRISTINA REYES            CHRISTINE M REYES                   EMMA D REYES                      ERICA D REYES
2522 SWEET RAIN WAY        3606 DIAMOND LEAF CT                1906 W 41 1/2 ST                  2741 FAUDREE RD
CORONA CA 92881            VALRICO FL 33594-3650               MISSION TX 78573-5001             2203
                                                                                                 ODESSA TX 79765




035948P001-1409A-265       004023P001-1409A-265                035949P003-1409A-265              005375P001-1409A-265
GARCIA INGRID N REYES      IRENE C REYES                       IRENE C REYES                     JAYLINE I REYES
267 53RD ST                16751 SE 82ND DR APT151             5847 REED LANE SE APT 213         306 NORTH MAIN ST
SAN DIEGO CA 92114         CLACKAMAS OR 97015                  SALEM OR 97306                    RED LION PA 17356




008393P001-1409A-265       000744P001-1409A-265                003967P001-1409A-265              004649P001-1409A-265
JOCELYN REYES              JOSE A REYES                        JULIANNA F REYES                  KARLA C REYES
925 ORWELL AVE             828 W MINES AVE                     20818 ENADIA WAY                  7910 LA ROCHE LN
ORLANDO FL 32809           MONTEBELLO CA 90640                 CANOGA PARK CA 91306              HOUSTON TX 77036




037299P001-1409A-265       005094P001-1409A-265                007037P001-1409A-265              007964P001-1409A-265
KARLA CITLALLY REYES       KATHERYN H REYES                    LUIS A REYES                      MARIA C REYES
KARLA CITLALLY REYES       710 COLUMBIA AVE                    CALLE 3 VILLAS DE CAMBALACHE      3610 BANBURY DR
7910 LA ROCHE LN           2                                   T-10                              12-I
HOUSTON TX 77036           NORTH BERGEN NJ 07047               RIO GRANDE PR 00745               RIVERSIDE CA 92505
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005919P001-1409A-265             035950P001-1409A-265                          009571P001-1409A-265         003930P001-1409A-265
MERYSSA REYES                    MONDRAGON KARLA S REYES                       XIOMARA A REYES              YESENIA G REYES
1378 CORTE LIRA                  456 CLEVELAND AVE                             14224 W DESERT COVE RD       2055 ARNOLD WAY
SAN MARCOS CA 92069              PETALUMA CA 94952                             SURPRISE AZ 85379-4338       101
                                                                                                            ALPINE CA 91901




037700P003-1409A-265             001417P001-1409A-265                          007358P001-1409A-265         000468P001-1409A-265
ALCIDES A REYES-GILESTRA         BOBBI C REYESADAMS                            DEVANY REYESMARTINEZ         ANA REYNA
867 MUNOZ RIVERA AVE STE C402    6118 WALLOWING WAY                            PO BOX 474                   13613 TUCKER AVE
SAN JUAN PR 00925                COLORADO SPRINGS CO 80925                     ERIE CO 80516                CHINO CA 91710-4856




000468S001-1409A-265             008540P001-1409A-265                          004160P001-1409A-265         008418P001-1409A-265
ANA REYNA                        NIXIE A REYNA                                 VIVIAN REYNA                 ELIZABETH REYNAHERNANDEZ
GENARO LEGORRETA JR              24810 NORTH BASS BLVD                         6707 UTSA BLVD APT 4107      125 S GROVE ST
4091 RIVERSIDE DR                HARLINGEN TX 78552                            4107                         F6
STE 101                                                                        SAN ANTONIO TX 78249         YPSILANTI MI 48198
CHINO CA 91710



008653P001-1409A-265             005721P001-1409A-265                          001974P001-1409A-265         009943P001-1409A-265
BRIANNA M REYNOLDS               CHELSEA S REYNOLDS                            DANA A REYNOLDS              JIM REYNOLDS
13512 PORTAGE PL                 43C ALLEN DR                                  65 MARGIN ST                 CLEVELAND COUNTY TREASURER
CENTREVILLE VA 20120             SARATOGA SPRINGS NY 12866                     UNIT 1A                      201 S JONES STE 100
                                                                               WESTERLY RI 02891-7107       NORMAN OK 73069




001633P001-1409A-265             032423P001-1409A-265                          035159P002-1409A-265         036879P002-1409A-265
STEPHANIE N REYNOLDS             RGIS INVENTORY SPECIALISTS                    RGIS LLC                     RGIS LLC
404 BREEZE WAY                   PO BOX 77631                                  MARK ROLL                    SONIA MENDOZA
WINDER GA 30680                  DETROIT MI 48277                              2000 E TAYLOR RD STE 200     2000 E TAYLOR RD
                                                                               AUBURN HILLS MI 48326-1711   AUBURN HILLS MI 48326-1711




036288P001-1409A-265             031081P002-1409A-265                          009709P001-1409A-265         006776P001-1409A-265
RHAPSODY CLOTHING INC DBA        RHAPSODY CLOTHING INC DBA EPILOGUE            JENNIFER RHAU                AVA RHEAMS
EPILOGUE 2222 E OLYMPIC BLVD     BRYAN KANG                                    15 LATHAM VLG LN             6935 REDSTART LN
LOS ANGELES CA 90021             9885 NOVARA LN                                11                           DALLAS TX 75214
                                 CYPRESS CA 90630                              LATHAM NY 12110




037252P001-1409A-265             030442P001-1409A-265                          037432P001-1409A-265         002413P001-1409A-265
AVA RHEAMS                       KELLI M RHEAUME                               CASSIDY RHOADES              CASSIDY R RHOADES
CONNIE RHEAMS                    ADDRESS INTENTIONALLY OMITTED                 371 E CALDERWOOD RD          371 E CALDERWOOD RD
6935 REDSTART LN                                                               TUCSON AZ 85704              TUCSON AZ 85704
DALLAS TX 75214
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000345P001-1409A-265                 000083P001-1409A-265                    000229P001-1409A-265                      010161P001-1409A-265
RHODE ISLAND ATTORNEY GENERAL        RHODE ISLAND DEPT OF                    RHODE ISLAND DEPT OF LABOR AND TRAINING   RHODE ISLAND DIVISION OF
PETER KILMARTIN                      ENVIRONMENTAL MANAGEMENT                DIRECTOR                                  TAXATION
150 S MAIN ST                        235 PROMENADE ST                        1511 PONTIAC AVE                          ONE CAPITOL HILL - STE 4
PROVIDENCE RI 02903                  PROVIDENCE RI 02908-5767                CRANSTON RI 02920                         PROVIDENCE RI 02908-5802




000154P001-1409A-265                 000449P001-1409A-265                    032424P001-1409A-265                      001738P001-1409A-265
RHODE ISLAND DIVISION OF TAXATION    RHODE ISLAND TREASURY OFFICE            RHONDA MUNNERLYN                          EMILY A RICALDAY
ONE CAPITOL HILL                     UNCLAIMED PROPERTY DIVISION             1812 PITKIN AVE                           28316 S KANSAS CITY RD
PROVIDENCE RI 02908                  STATE HOUSE                             APT 2B                                    LA FERIA TX 78559
                                     ROOM102                                 BROOKLYN NY 11212
                                     PROVIDENCE RI 02903



005430P001-1409A-265                 001717P001-1409A-265                    008226P001-1409A-265                      006552P001-1409A-265
GENESIS RICARD                       VALERIE RICAURTE                        ELLA L RICE                               MALIA C RICE
4715 SHALIMAR DR                     76 NICOLE CT                            121 MAIN ST                               4543 WEST SHENANDOAH CIR
NEW ORLEANS LA 70126                 OLD BRIDGE NJ 08857-2675                ESSEX JUNCTION VT 05452                   FORT WAYNE IN 46835




002625P001-1409A-265                 007078P001-1409A-265                    006664P001-1409A-265                      007591P001-1409A-265
MEAGAN E RICE                        NITAYA RICE                             SHAWNKEYDRA P RICE                        TONIA R RICE
106 EAST 11TH ST                     2366 CHESTNUT LOG DR                    912 LENOX AVE                             3947 SE HUMBOLDT
ELMIRA HEIGHTS NY 14903              LITHIA SPRINGS GA 30122                 WAUKEGAN IL 60085                         TOPEKA KS 66609




003912P001-1409A-265                 002050P001-1409A-265                    031526P001-1409A-265                      036122P001-1409A-265
CHAWNEE M RICH                       GABRIELLA RICH                          RICH-TAUBMAN ASSOCIATES                   RICH-TAUBMAN ASSOCIATES
268 DOMINICAN AVE                    7400 POWERS AVE APT 252                 DEPARTMENT 56802                          ANDREW S CONWAY
HENDERSON NV 89002                   JAKCSONVILLE FL 32217                   PO BOX 67000                              THE TAUBMAN CO
                                                                             DETROIT MI 48267-0568                     200 EAST LONG LAKE RD
                                                                                                                       SUITE 300
                                                                                                                       BLOOMFIELD HILLS MI 48304


033201P001-1409A-265                 000818P001-1409A-265                    001408P001-1409A-265                      008333P001-1409A-265
ABBEY S RICHARDS                     JAN A RICHARDS                          KATHERINE S RICHARDS                      AZZIYA A RICHARDSON
11514 HANBURY MANOR BLVD             9005 S ROBERTS RD                       19230 SYLVAN ST                           21926 PESA COVE
NOBLESVILLE IN 46060                 APT 3B                                  TARZANA CA 91335                          GARDEN RIDGE TX 78266
                                     HICKORY HILLS IL 60457-2093




036451P001-1409A-265                 005485P001-1409A-265                    008819P001-1409A-265                      001176P001-1409A-265
CORY RICHARDSON                      ERIKA D RICHARDSON                      HALEY W RICHARDSON                        HOLLY M RICHARDSON
22 GIESKE ROAD                       18 YORK DR                              3060 SOMERS GRATIS RD                     1300 GEMINI ST
LORETTO TN 38469-2605                LITTLE ROCK AR 72209                    CAMDEN OH 45311                           APT 1305
                                                                                                                       HOUSTON TX 77058
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035951P001-1409A-265            005025P001-1409A-265                 002748P001-1409A-265             037112P001-1409A-265
HOLLY M RICHARDSON              KEOSHA R RICHARDSON                  PATRICIA D RICHARDSON            SHANTE N RICHARDSON
5045 CRENSHAW RD                3 MALLARD PATH                       9123 E MISSISSIPPI AVE APT 10-   201 SANDSTONE CT
APT 312                         LIVERPOOL NY 13090                   10-102                           LUMBERTON NJ 08048
PASADENA TX 77505                                                    DENVER CO 80247




004279P001-1409A-265            002502P001-1409A-265                 009286P001-1409A-265             004581P001-1409A-265
TALYN A RICHARDSON              TYLER M RICHARDSON                   CHRISTA RICHARDSONWARD           TELISA N RICHERSON
57 SOUTH MAIN ST                33 ELIZABETH ST                      2323 NORTH CAMBIGDE AVE          3052 FORREST HILL DR
MANCHESTER NY 14504             STATEN ISLAND NY 10310               MILWAUKEE WI 53211               COLUMBUS GA 31907




001389P001-1409A-265            010479P001-1409A-265                 035291P001-1409A-265             010060P001-1409A-265
CAITLIN D RICHERT               RICHLAND COUNTY BUSINESS             RICHLAND MALL                    RICHMOND COUNTY TAX COMMISSION
164 SW PEACOCK BLVD UNIT 104    PO BOX 192                           6001 WEST WACO DR STE 314        535 TELFAIR ST
PORT SAINT LUCIE FL 34986       COLUMBIA SC 29202-8028               WACO TX 76710                    STE 100
                                                                                                      AUGUSTA GA 30901




005586P001-1409A-265            002706P001-1409A-265                 002326P001-1409A-265             006134P001-1409A-265
CIARA J RICHMOND                DANIELLE RICHMOND                    STACEY RICHMOND                  TINA D RICHTER
571 HILLSWICK CIR               11606 CHAMBERLAINE WAY               3260 MARINE RD                   212 NORTH BIRD ST
FOLSOM CA 95630                 13                                   CUMMING GA 30041                 SUN PRAIRIE WI 53590
                                ADELANTO CA 92301




002819P001-1409A-265            036629P001-1409A-265                 033711P001-1409A-265             003978P001-1409A-265
BRITTANY N RICKARDS             MALLORY RICKMAN                      RICKY RAMOS GALICIA RAMOS        SAMANTHA R RICO
7297 GUILFORD RD                1625 SPRUCE AVE                      3486 ORION RD                    PO BOX 675
APT C                           SOUTH FULTON TN 38257                SPRING HILL FL 34606             AVONDALE AZ 85323
UPPER DARBY PA 19082




001929P001-1409A-265            007095P001-1409A-265                 037114P001-1409A-265             008003P001-1409A-265
VALERIE M RIDDER                JANAE D RIDDLE                       TOSHIA RIDDLE                    TOSHIA A RIDDLE
3000 SE SKYLARK DR              2309 SUMMIT TRL                      6625 FAIRFIELD AVE               6625 FAIRFIELD AVE
TOPEKA KS 66605-2156            KEARNEY MO 64060                     FORT WAYNE IN 46807              FORT WAYNE IN 46807




037396P001-1409A-265            031527P001-1409A-265                 007629P001-1409A-265             035952P001-1409A-265
RIDGEDALE CENTER LLC            RIDGEDALE CENTER, LLC                JD D RIDGWAY                     CALSEY J RIELAND
BROOKFIELD PROPERTY REIT INC    GGPLP REAL ESTATE INC                3408 CENTRAL AVE                 2202 RICE LAKE RD
JULIE M BOWDEN                  SDS-12-2774                          PARKERSBURG WV 26104             303-B
350 N ORLEANS ST STE 300        PO BOX 86                                                             DULUTH MN 55811
CHICAGO IL 60654-1607           MINNEAPOLIS MN 55486-2774
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002629P001-1409A-265                 035953P001-1409A-265                 034224P001-1409A-265                     008048P001-1409A-265
MACKENZIE E RIELLY                   MACKENZIE E RIELLY                   RICHARD D RIEMANN                        LILIAN RIENG
317 SHERMAN ST                       27860 HWY 32                         2534 DURANT AVE                          715 BEDLOW DR
LEBANON MO 65536                     LEBANON MO 65536                     BERKELEY CA 94704                        STOCKTON CA 95210




003852P001-1409A-265                 000868P001-1409A-265                 035954P001-1409A-265                     008505P001-1409A-265
MELINDA RIES                         REBECCA S RIGGIO                     REBECCA S RIGGIO                         KAELI V RIGGS
654 WESTLAKE ST                      11311 MARINA DR #47                  12 FEDERAL HILL RD                       9006 LANATANA DR
ENCINITAS CA 92024                   BERLIN MD 21811-9428                 OCEAN PINES MD 21811-9428                LOUISVILLE KY 40229




030748P001-1409A-265                 002746P001-1409A-265                 990002P000-1409A-265                     037940P000-1409A-265
RIGHT FIT SHOES LLC                  BRITTANY R RIHA                      RII HOLDING COMPANY INC                  RII HOLDING COMPANY INC/ ROPLAST INDUSTRIES L
CHAIM SALAMEH                        64A WEST RIVER STYX RD               535 W CRESCENT DR                        TRANSFEROR: ROPLAST INDUSTRIES LLC
1407 BROADWAY                        HOPATCONG NJ 07843                   PALO ALTO CA 94301                       535 W CRESCENT DR
STE 2006                                                                                                           PALO ALTO CA 94301
NEW YORK NY 10018



009332P001-1409A-265                 001587P001-1409A-265                 032792P001-1409A-265                     035384P001-1409A-265
ALEXIS RILEY                         ASHLEY N RILEY                       JENNIFER RILEY                           KENDALL RILEY
5110 OLIVIA RD                       8 TIMBERLINE CT                      9325 SKYLARK CT #230                     AUJILE RILEY
VENICE FL 34293                      PUTNAM VALLEY NY 10579               SAN DIEGO CA 92123                       1646 LIBERTY DR
                                                                                                                   AKRON OH 44313




007499P001-1409A-265                 004368P001-1409A-265                 035955P001-1409A-265                     007324P001-1409A-265
KOURTNEY M RILEY                     LEAH M RILEY                         TYRA R RILEY                             BRIANNA M RIMPLEY
1135 EAGLE LN                        600 2ND AVE                          270 FLEMING RD                           6625 BANDERA RD
MANTECA CA 95337                     ALTOONA PA 16602                     CINCINNATI OH 45215                      307
                                                                                                                   SAN ANTONIO TX 78238




002188P001-1409A-265                 008879P001-1409A-265                 004345P001-1409A-265                     036740P001-1409A-265
KIMBERLY A RINCON                    LORENA RINCON                        SIERRA A RING                            ROSEMARY RINGHAM
2665 SW ACCO RD                      1633 NW 31                           809 TIMBERIDGE CT                        854 JOHN AVE APT A
PORT ST LUCIE FL 34953               OKLAHOMA CITY OK 73118               RIVERDALE GA 30274                       BROWNSVILLE TX 78521-5474




031528P001-1409A-265                 030827P001-1409A-265                 036289P001-1409A-265                     008118P001-1409A-265
RIO GRANDE VALLEY PREMIUM OUTLETS    RIO SUL SA DE CV                     RIO SUL SA DE CV                         MERCEDES M RIOJAS
MERCEDES PREMIUM OUTLETS LP          LORENA MEDINA                        ANT CAMINO A RESURRECCION #10610-A COL   4600 OTTAWA ST
PO BOX 822324                        ANT CAMINO A RESURRECCION            SANTA ROSA PUEBLA 72228                  KANSAS CITY KS 66106
PHILADELPHIA PA 19182-2324           10610A COL SANTA ROSA                MEXICO
                                     PUEBLA 72228
                                     MEXICO
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004801P001-1409A-265             005798P001-1409A-265                035369P001-1409A-265              000963P001-1409A-265
ALICIA M RIOS                    AYLENE M RIOS                       CHRISTINE RIOS                    CYNTHIA RIOS
1026 DECLARATION DR              3810 N ROMERO RD                    959 WOODTHRUSH CT                 11729 KEITH DR
COPPERAS COVE TX 76522           #24                                 SAN JOSE CA 95120                 WHITTIER CA 90606
                                 TUCSON CO 85705




008739P001-1409A-265             000857P001-1409A-265                008840P001-1409A-265              001650P002-1409A-265
JAZMIN A RIOS                    KARINA M RIOS                       KENIA RIOS                        NINOSHKA J RIOS
9943 EAST ALABAMA CIR APT1414    14220 SW 120TH CT                   14140 BROADWAY EXTENSION APT 3    33 SALEM ST APT 1B
APT1414                          MIAMI FL 33186                      EDMOND OK 73013                   SPRINGFIELD MA 01103-3110
AURORA CO 80247




004612P001-1409A-265             006040P001-1409A-265                006040S001-1409A-265              004400P001-1409A-265
SHAWNA J RIOS                    VANESSA RIOS                        VANESSA RIOS                      XIOMARA G RIOS
19839 CLAYTON ST UNIT 504        2925 BIDWELL CT                     PO BOX 52                         2764 PLEASANT HILL RD
SOMERSET TX 78069                FAIRFIELD CA 94534                  FAIRFIELD CA 94533                GRAND PRAIRIE TX 75052




009018P001-1409A-265             008939P001-1409A-265                009096P001-1409A-265              033436P001-1409A-265
VERONICA RIOS-MARTINEZ           JORIE M RIOUX                       MADI R RIPBERGER                  RIPPLE JUNCTION DESIGN CO
440 N E ST                       16 STANDISH RD                      3588 W 300 S                      SCOTT ANDERSON
TULARE CA 93274                  BELLINGHAM MA 02019                 TIPTON IN 46072                   6183 CENTRE PK DR
                                                                                                       WEST CHESTER OH 45069




036465P001-1409A-265             001622P001-1409A-265                008095P001-1409A-265              005400P001-1409A-265
DANIELLE RISACHER                DANIELLE T RISACHER                 CAPRICE U RISBY                   RACHAEL L RISSANEN
3713 PRESCOTT DR                 3713 PRESCOTT DR                    1741 N PUTNAM AVE                 2775 OLD IVY CT
HOWELL MI 48843                  HOWELL MI 48843-6981                3                                 BUFORD GA 30519
                                                                     NORMAL IL 61761




010383P001-1409A-265             002497P001-1409A-265                004467P001-1409A-265              005450P001-1409A-265
RITA                             KELLY RITCHEY                       MARIAH E RITCHEY                  MIRA R RITOLASCHOW
PO BOX 89475                     615 INVERNESS CT SE                 3311 DOVER CT                     45-30 156TH ST
CLEVELAND OH 44101-6475          SALEM OR 97306                      LAFAYETTE IN 47909                NEW YORK NY 11355




033332P001-1409A-265             009059P001-1409A-265                008107P001-1409A-265              000594P001-1409A-265
RITTER COMMUNICATIONS INC        KEILANI A RITZI                     MIRIAM J J RIVAS SOSA             ABIGAIL E RIVAS
2400 RITTER DR                   4490 W ELDORADO PKWY                1613 W COLLEGE BLVD               2541 FALLBROOK DR
JONESBORO AR 72401               2328                                JONESBORO AR 72401                HAMPSHIRE IL 60140
                                 MCKINNEY TX 75070
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005185P001-1409A-265                 004012P001-1409A-265                       002164P001-1409A-265           009506P001-1409A-265
CARINA RIVAS                         DIANA RIVAS                                GEORGINA I RIVAS               IVAN A RIVAS
3 OAK SHADE RD                       2215 TALLOW CT                             414 SHERIDAN ST                6211 JOHN WAYNE DR
STERLING VA 20164                    AUSTIN TX 78744                            MODESTO CT 95351               FREDERICKSBURG VA 22407




001331P001-1409A-265                 035956P001-1409A-265                       003358P001-1409A-265           006409P001-1409A-265
LAUREN RIVAS                         LAUREN RIVAS                               SAMANTHA L RIVAS               SILVIA RIVAS
265 DAVIDSON RD                      256 DAVIDSON RD                            279 WEST END AVE               1782 MISSION BAY CIR
SWANNANOA NC 28778                   SWANNANOA NC 28778                         LONG BRANCH NJ 07740           101
                                                                                                               VIERA FL 32955




035957P001-1409A-265                 003367P001-1409A-265                       004852P001-1409A-265           031082P001-1409A-265
SOSA MIRIAM J J RIVAS                STELLA C RIVAS                             VERENECE RIVAS                 RIVER AND ROSY LLC
1613 W COLLEGE BLVD                  6504 GEYSER AVE                            43 DELBROOK WAY                ERIKA RIVERA
JONESBORO AR 72401                   RESEDA CA 91335                            HAMPTON VA 23666               12509 HARRIS AVE
                                                                                                               LYNWOOD CA 90262




037388P001-1409A-265                 031529P001-1409A-265                       037512P001-1409A-265           032762P001-1409A-265
RIVER CROSSING SHOPPES LLC           RIVER HILLS MALL LLC                       RIVER HILLS MALL LLC           RIVER PARISH DISPOSAL LLC
AKA THE SHOPPES AT RIVER CROSSING    GGP LIMITED PARTENRSHIP                    BROOKFIELD PROPERTY REIT INC   PO BOX 10482
BROOKFIELD PROPERTY REIT INC         PO BOX 772836                              JULIE M BOWDEN                 NEW ORLEANS LA 70181-0482
350 N ORLEANS ST STE 300             CHICAGO IL 60677-2836                      350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607                                                           CHICAGO IL 60654-1607



003532P001-1409A-265                 001093P001-1409A-265                       007182P001-1409A-265           003131P001-1409A-265
CATERIN RIVERA CHICAS                ELSA L RIVERA FUENTES                      ALANIS J RIVERA                ALICIA M RIVERA
9830 ROSE MIST #B LN                 1454 E 5 ST                                3024 SANTA LUCIA DR            1788 GUN CLUB RD
HOUSTON TX 77038                     APT 2                                      ORLANDO FL 32822               CHARLESTON SC 29414
                                     ONTARIO CA 91764




035958P001-1409A-265                 002227P001-1409A-265                       005426P001-1409A-265           007894P001-1409A-265
ANGELICA G RIVERA                    ARIANNA RIVERA                             BRITNEY R RIVERA               CAITLIN E RIVERA
2094 BUCKLEY LN                      8 BROOK LN                                 200 PINEGROVE CT               401 LAKE AVE
ROUND ROCK TX 78664                  HOPEWELL JUNCTION NY 12533-7304            JACKSONVILLE NC 28546          PITMAN NJ 08071




037189P001-1409A-265                 008038P001-1409A-265                       035959P001-1409A-265           000631P001-1409A-265
CAMILLE D OLIVO RIVERA               CAROLINA RIVERA                            CHICAS CATERIN RIVERA          CHRISTINA E RIVERA
CAMILLE DENNISE OLIVO RIVERA         10346 BROCKTON DR                          9830 ROSE MIST #B LN           69 MANCHESTER AVE
CALLE VIEJA 7143 20 C                DALLAS TX 75217                            HOUSTON TX 77038               WATERBURY CT 06705
SABANA SECA PR 00952
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000626P001-1409A-265        005799P001-1409A-265                    001644P001-1409A-265            035439P001-1409A-265
CHRISTINE L RIVERA          DESTINY C RIVERA                        EDITH RIVERA                    FUENTES ELSA L RIVERA
346 HANOVER ST #5           14000 EL EVADO RD                       404 EVANS RIDGE TER NE          1454 E 5 ST
MERIDEN CT 06451            SPACE 49                                APT D                           APT 2
                            VICTORVILLE CA 92392                    LEESBURG VA 20176-4484          ONTARIO CA 91764




001325P001-1409A-265        004563P001-1409A-265                    008624P001-1409A-265            007046P001-1409A-265
GIOVANNI RIVERA             GRACE O RIVERA                          ILEANA RIVERA                   INES RIVERA
524 CASTLE CREEK RD         5274 CONRAD CT                          3719 WEST 42ND ST               1105 COND PARQUE SAN ANTON
APT 45                      GRANDVILLE MI 49418                     CLEVLAND OH 44109               CAROLINA PR 00987
BINGHAMTON NY 13901-5142




002223P001-1409A-265        037599P001-1409A-265                    005906P001-1409A-265            002950P001-1409A-265
JAMIE B RIVERA              JANERYS REILLO RIVERA                   JANYRA RIVERA                   JAQUELINE RIVERA
161 BRUCE AVE               HC5 BOX 9603                            4115 BEACH CHANNEL DR           PO BOX 1137
YONKERS NY 10705            COROZAL PUERTO RICO PR 00783            FAR ROCKAWAY NY 11691           VISTA CA 92085




003900P001-1409A-265        037027P001-1409A-265                    030419P002-1409A-265            002232P001-1409A-265
JENISHA RIVERA              JENISHA RIVERA                          JOSE RIVERA                     JOSE R RIVERA
7011 TOLMIE CT NE           7011 TOLMIE CT NE                       ADDRESS INTENTIONALLY OMITTED   7485 SALIZAR ST
LACEY WA 98516              OLYMPIA WA 98516                                                        SAN DIEGO CA 92111




035421P001-1409A-265        006312P001-1409A-265                    004529P001-1409A-265            005441P001-1409A-265
JOSE R RIVERA               KATHLEEN RIVERA                         KEARA RIVERA                    MAIA E RIVERA
110 S MONTCLAIR             100 DALE AVE                            1411 E 5TH ST                   40 SPARROW DR
DALLAS TX 75208             MELBOURNE FL 32935                      233 N FRANKLIN                  CORAM NY 11727
                                                                    SIOUX FALLS SD 57103




005931P001-1409A-265        009040P001-1409A-265                    005458P001-1409A-265            005542P001-1409A-265
MARIA N RIVERA              MARIANA RIVERA                          MATTHEW RIVERA                  MENA A RIVERA
CALLE TAURO                 43 BELLE SPRINGS AVE                    307 WEST 143RD ST APT 4B        420 EAST WARREN AVE
URB LOS ANGELE              LAS VEGAS NV 89123                      NEW YORK NY 10030               LONGWOOD FL 32750
CAROLINA PR 00979




001040P001-1409A-265        004381P001-1409A-265                    033798P001-1409A-265            003443P001-1409A-265
MICHELE RIVERA              NISA A RIVERA                           RAQUEL H RIVERA                 REBECCA L RIVERA
198 LONGWOOD DR             135 NORTHERN AVE                        277 7TH STREET                  2273 FORT PK
MANALAPAN NJ 07726-3847     ALEXANDRIA BAY NY 13607                 APT 4A                          LINCOLN PARK MI 48146
                                                                    BROOKLYN NY 11215
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002649P001-1409A-265                       030617P001-1409A-265                               006596P001-1409A-265                     000611P001-1409A-265
SOPHY RIVERA                               SOPHY RIVERA                                       VANESSA RIVERA                           VICTORIA RIVERA
100 MORGAN ST                              ADDRESS INTENTIONALLY OMITTED                      8225 E SPEEDWAY BLVD                     7927 NEW RIVER DR
308A                                                                                          516                                      12-306
STAMFORD CT 06905                                                                             TUCSON AZ 85710                          ORLANDO FL 32821




002132P001-1409A-265                       007930P001-1409A-265                               005326P001-1409A-265                     006809P001-1409A-265
YANZELMALEE RIVERA                         YARIE M RIVERA                                     YESENIA Y RIVERA                         JUDITH A RIVERALLANES
15 ELTING CIR                              19 GREAT BROOK VLY AVE                             375 S 9TH ST                             1748 SUNNY CREST LN
HOLYOKE MA 01040                           2                                                  SAN JOSE CA 95112                        BONITA CA 91902
                                           WORCESTER MA 01605




008797P001-1409A-265                       010453P001-1409A-265                               032763P001-1409A-265                     036734P001-1409A-265
JOANETTA RIVERS                            RIVERSIDE COUNTY TREASURER                         RIVERTOWN CROSSINGS                      RIVERTOWN CROSSINGS
4111 CAMDEN AVE                            PO BOX 12005                                       GGP - GRANDVILLE LLC                     GGP GRANDVILLE LLC SDS 12 1796
OMAHA NE 68111-1830                        RIVERSIDE CA 92502-2205                            KIM GREER                                PO BOX 86
                                                                                              SDS-12-1796                              MINNEAPOLIS MN 55486-1796
                                                                                              PO BOX 86
                                                                                              MINNEAPOLIS MN 55486-1796


037468P001-1409A-265                       037468S001-1409A-265                               031530P001-1409A-265                     033119P001-1409A-265
RIVERWALK MARKETPLACE (NEW ORLEANS) LLC    RIVERWALK MARKETPLACE (NEW ORLEANS) LLC            RIVERWALK MARKETPLACE LLC                RIVIERA UTILITIES
THE HOWARD HUGHES CORP                     SPECTOR & JOHNSON, PLLC                            13355 NOEL RD                            700 WHISPERING PINES RD
13355 NOEL RD                              HOWARD MARC SPECTOR                                22ND FL                                  DAPHNE AL 36526
ONE GALLERIA TOWER 22ND FLOOR              12770 COIT ROAD, SUITE 1100                        DALLAS TX 75240
DALLAS TX 75240                            DALLAS TX 75251



003434P001-1409A-265                       032399P001-1409A-265                               031083P001-1409A-265                     036290P001-1409A-265
ANNA B RIZVI                               RJ ACQUISITION CORP                                RJB STONE DBA SASS AND BELLE             RJB STONE DBA SASS AND BELLE
16720 IVANDALE RD                          EDDIE LEON                                         AMANDA FENNEL                            UNIT 134-135 BATTERSEA BUSINES CENTRE
HAMILTON VA 20158                          3260 EAST 26TH ST                                  UNIT 134-135 BATTERSEA BUSINESS CENTRE   99-109 LAVENDER HILL
                                           LOS ANGELES CA 90058                               99-109 LAVENDER HILL                     LONDON SW11 5QL
                                                                                              LONDON SW11 5QL                          UNITED KINGDOM
                                                                                              UNITED KINGDOM


031084P001-1409A-265                       036291P001-1409A-265                               031085P001-1409A-265                     032764P001-1409A-265
RK APPAREL INC                             RK APPAREL INC                                     RK CLOTHING LLC DBA WINK CLOTH           RK ELECTRICAL, INC
COLIN LEE                                  3222 EAST WASHINGTON BLVD                          1458 S SAN PEDRO ST                      ALEXIS ZANIKH
1201 MATEO ST                              VERNON CA 90058                                    #211                                     42021 OSGOOD RD
LOS ANGELES CA 90021                                                                          LOS ANGELES CA 90015                     FREMONT CA 94539




033712P001-1409A-265                       002670P001-1409A-265                               008510P001-1409A-265                     035960P001-1409A-265
RL CARRIERS                                SYDNEY RO                                          ALEC L ROACH                             ALEC L ROACH
PO BOX 10020                               94-508 KEALOHI WAY                                 6260 BUNCOMBE RD                         6252 BUNCOMBE RD
PORT WILLIAM OH 45164                      MILILANI HI 96789                                  LOT 50                                   APARTMENT C
                                                                                              SHREVEPORT LA 71129                      SHREVEPORT LA 71129
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030483P001-1409A-265                      003122P001-1409A-265                 033283P001-1409A-265                032425P001-1409A-265
LISA M ROACH                              PASION L ROACH                       ROADEX CY INC                       ROBBIN BROWN
ADDRESS INTENTIONALLY OMITTED             7504 PARKVIEW DR                     1515 W 178TH ST                     9134 WARNER RD
                                          COLUMBIA SC 29223                    GARDENA CA 90248                    HASLETT MI 48840




002828P001-1409A-265                      002239P001-1409A-265                 010532P001-1409A-265                990004P000-1409A-265
KAITLYN N ROBERSON                        NATHANIEL ROBERSON                   ROBERT A GOERING, TREASURER         ROBERT BERMAN
9 ASTER DR                                1450 MARKET ST                       HAMILTON COUNTY TREASURER           OWNER REPRESENTATIVE
SICKLERVILLE NJ 08081                     APT 638                              PO BOX 490                          555 WEST CRESCENT DR
                                          SAN DIEGO CA 92101                   CINCINNATI OH 45201-5320            PALO ALTO CA 94301




037948P000-1409A-265                      037934P001-1409A-265                 032426P001-1409A-265                032427P001-1409A-265
ROBERT BERMAN/ RII HOLDING COMPANY INC    ROBERT F CASEY JR PC                 ROBERT P DUCKWORTH                  ROBERTO RUBEN ESCALANTE
TRANSFEROR: RII HOLDING COMPANY INC       ROBERT F CASEY JR                    CLERK CIRCUIT COURT FOR AA COUNTY   BOBBY ESCALANTE
OWNER REPRESENTATIVE                      249 AYER ROAD SUITE 304              8 CHURCH CIR RM H-101               15617 VIA MONTECRISTO
555 WEST CRESCENT DR                      HARVARD MA 01451                     ANNAPOLIS MD 21401                  SAN DIEGO CA 92127
PALO ALTO CA 94301



001262P001-1409A-265                      035961P001-1409A-265                 006795P001-1409A-265                003447P001-1409A-265
MELISSA A ROBERTO                         DAKOTA R ROBERTS                     DARSHIKA N ROBERTS                  RENEE L ROBERTS
2403 BELMONT LN                           5667 TULIP TREE DR                   951 LEORA LN                        216 GLISSADE DR
APT 374                                   MEMPHIS TN 38115                     APT 5115                            FAIRDALE KY 40118
NORTH LAUDERDALE FL 33068                                                      THE COLONY TX 75056




004194P001-1409A-265                      008848P001-1409A-265                 004461P001-1409A-265                003379P001-1409A-265
TAMERA ROBERTS                            TAQUANDA ROBERTS                     CAITIE ROBERTSON                    HALEIGH A ROBERTSON
150-29-113TH                              436 NORTH VIRGINIA AVE               4208 WEST PITTSBURG ST              5600 NW 81ST TER
NEW YORK NY 11433                         ATLANTIC CITY NJ 08401               BROKEN ARROW OK 74012               KANSAS CITY MO 64151




036538P001-1409A-265                      008610P001-1409A-265                 005997P001-1409A-265                005713P001-1409A-265
HEATHER ROBERTSON                         ISABELLE C ROBERTSON                 JOSHUA J ROBERTSON                  NATESHIA L ROBERTSON
11A GUMNUT RISE STRATHDALE BENDIGO        5189 MEADOW MOSS LN                  2057 W HEBRON PKWY 3326             400 EAST NOCTURNE DR
VICTORIA 3550                             NORTH RIDGEVILLE OH 44039            CARROLTON TX 75010                  J86
AUSTRALIA                                                                                                          NASHVILLE TN 37207




008268P001-1409A-265                      001143P001-1409A-265                 005591P001-1409A-265                036926P001-1409A-265
PRIYA E ROBERTSON                         STESHA G ROBERTSON                   ANDRINA ROBIN                       ROBINSON MALL ASSOC LLC
GENERAL DELIVERY                          9167 RAMBLEWOOD DR                   393 CARMEN RD                       QIC PROPERTIES US INC
SAINT PAUL MN 55101                       436                                  APT 2                               JOAN GLENN-KATZAKIS
                                          CORAL SPRINGS FL 33067               AMHERST NY 14226                    600 SUPERIOR AVE EAST STE 1500
                                                                                                                   CLEVELAND OH 44114
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036926S001-1409A-265          031531P001-1409A-265                    034291P001-1409A-265          008168P001-1409A-265
ROBINSON MALL ASSOC LLC       ROBINSON MALL ASSOCIATES LLC            ROBINSON MALL DEVELOPERS      DASHRUNIA S ROBINSON MOORE
KELLEY DRYE AND WARREN LLP    600 SUPERIOR AVE EAST                   50 PUBLIC SQUARE              56 ALBERT
ROBERT L LEHANE               STE 1500                                STE 1410                      BUFFALO NY 14207
101 PARK AVE                  CLEVELAND OH 44114                      CLEVELAND OH 44113
NEW YORK NY 10178



001551P001-1409A-265          002514P001-1409A-265                    007904P001-1409A-265          004466P001-1409A-265
AMBER ROBINSON                ANGELA L ROBINSON                       ANIYAH D ROBINSON             ASIA ROBINSON
4259 LYND AVE                 206 OAK MANOR CT                        216 EAST HORNER ST            123 THOMAS ST
ARCADIA CA 91006-5836         SUFFOLK VA 23434                        ATMORE AL 36502               BLOOMFIELD NJ 07003




006360P001-1409A-265          003696P001-1409A-265                    009108P001-1409A-265          003936P001-1409A-265
BAYLEE E ROBINSON             DALISA ROBINSON                         DANIEL L ROBINSON             ERIN ROBINSON
6820 BECKY CT                 5224 ST ANTHONY AVE                     4379 LEMON GRASS DR           235 WELLESLEY ST
COLUMBIA SC 29203             APT A                                   JOHNSTOWN CO 80534            WESTON MA 02493
                              NEW ORLEANS LA 70122




036522P001-1409A-265          009589P001-1409A-265                    008780P001-1409A-265          003395P001-1409A-265
GENEVIEVE ROBINSON            JAIDA K ROBINSON                        JANISHA C ROBINSON            JULIA M ROBINSON
152 PLYMOUTH DR APT 2D        635 DOFFIN LN                           111 BRECKENRIDGE DR           8631 CHARING CROSS LN
NORWOOD MA 02062              GASTONIA NC 28052                       APT 301                       DALLAS TX 75238
                                                                      HATTIESBURG MS 39402




008663P001-1409A-265          003002P001-1409A-265                    035962P001-1409A-265          005001P001-1409A-265
KYRA J ROBINSON               MCKENNA ROBINSON                        MOORE DASHRUNIA S ROBINSON    NATASHA M ROBINSON
21 NOLL PL                    5212 TEAKWOOD CT                        56 ALBERT                     526 BESSEMER AVE
NEWARK NJ 07106               PITTSBURGH PA 15209                     BUFFALO NY 14207              GROVE CITY PA 16127




001193P001-1409A-265          008332P001-1409A-265                    028398P001-1409A-265          004532P001-1409A-265
RENITA G ROBINSON             RUSHAI ROBINSON                         SHAUNQUELLA A ROBINSON        SHELBY L ROBINSON
8418 LONE QUAIL DR            4951 WOODSTONE DR                       6001 GLENMERE DR              3140 DUCO CT
MISSOURI CITY TX 77489        APT #1607                               COLUMBUS GA 31907             APT 4
                              SAN ANTONIO TX 78230                                                  ASHLAND KY 41102




006721P001-1409A-265          007253P001-1409A-265                    004515P001-1409A-265          008543P001-1409A-265
SUMMER ROBINSON               TARIYAH C ROBINSON                      TIARA E ROBINSON              TIFFANY N ROBINSON
405 BRIDGE LN                 1218 ROWLAND AVE                        3461 SW RONALD ST             9508 WALKER WAY
SMYRNA GA 30082               CANTON OH 44705                         PORT ST LUCIE FL 34953        MANASSAS PARK VA 20111
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002300P001-1409A-265          003376P001-1409A-265                    029628P001-1409A-265                   002251P001-1409A-265
VICTORIA ROBINSON             KAILA M ROBINSONSMITH                   XENIA A ROBLEDO                        BROOKE Y ROBLES
110 RUSSELL RD                1660 TROY AVE                           3409 S 61ST AVE                        351 RANCHERO WAY
103                           BROOKLYN NY 11234                       CICERO IL 60804                        TRACY CA 95376-1943
CAYCE SC 29033




007357P001-1409A-265          009008P001-1409A-265                    002215P001-1409A-265                   007457P001-1409A-265
CORALIZ ROBLES                EMELI M ROBLES                          YVONNE ROBLES                          KIM N ROBSON
RR03 BOX9925                  323 N 7TH ST                            2741 LANFRANCO ST                      50 DUDLEY AVE
TOA ALTA PR 00953             SANTA PAULA CA 93060                    LOS ANGELES CA 90033                   1
                                                                                                             YORKVILLE NY 13495




004292P001-1409A-265          008058P001-1409A-265                    009322P001-1409A-265                   005600P001-1409A-265
BRIANA N ROBY                 IDA BELLE E ROCHA                       KAREN A ROCHA                          BRIANNA J ROCHELLE
8810 SONNYBOY LN              581 MOCKING BIRD LN                     475 CHIP DR                            617 PEBBLESTONE DR
1101                          OAKLEY CA 94561                         BETHEL HEIGHTS AR 72764                DURHAM NC 27703
PENSACOLA FL 32514




036466P001-1409A-265          032428P001-1409A-265                    034450P001-1409A-265                   034452P001-1409A-265
DAVIDA ROCHELLE               ROCHESTER ARMORED CAR CO INC            ROCHESTER MALLS, LLC                   ROCHESTER MALLS, LLC
4240 GANNET CIR # 219         PO BOX 8 DTS                            PO BOX 8000                            PO BOX 8000 DEPT976
LAS VEGAS NV 98103            OMAHA NE 68101                          DEPT# 981                              BUFFALO NY 14267
                                                                      BUFFALO NY 14267




001211P001-1409A-265          002457P001-1409A-265                    032429P001-1409A-265                   031532P001-1409A-265
TILLMAN J ROCHESTER           CASSIDY D ROCK                          ROCKAWAY TOWNSHIP DIVISION OF HEALTH   ROCKAWAY TOWNSQUARE
17107 TER PK DR               94-1121 KA UKA BLVD                     65 MOUNT HOPE RD                       THE RETAIL PROPERTY TRUST
HOUSTON TX 77095-1293         APT A102                                ROCKAWAY NJ 07866                      ROCKAWAY CENTER ASSOCIATES
                              WAIPAHU HI 96797                                                               PO BOX 772829
                                                                                                             CHICAGO IL 60677-2829



036738P001-1409A-265          036962P001-1409A-265                    006234P001-1409A-265                   008674P001-1409A-265
ROCKAWAY TOWNSQUARE           ROCKY BARNES LLC                        JAILENE RODASSANDOVAL                  SHARLYN L RODELA
ROCKAWAY CENTER ASSOCIATES    2275 N BEACHWOOD DR                     2338 29TH ST SW                        365 WREXHAM
PO BOX 772829                 LOS ANGELES CA 90068                    WYOMING MI 49519                       101
CHICAGO IL 60677-2829                                                                                        MAUMEE OH 43537




002861P001-1409A-265          002253P001-1409A-265                    036768P001-1409A-265                   005826P001-1409A-265
SKYLAR O RODENKIRCH           JARVIS T RODGERS                        STEVEN MARTINEZ RODIGUEZ               NOEL RODRIGUE
41084 FAIRMONT AVE            2043 WESTERN PECAN                      2601 NW 207TH ST APT # 269             8 BRODERICK DR
PAIRIEVILLE LA 70769          NEW BRAUNFELS TX 78130-2762             MIAMI GARDEN FL 33056                  JACKSON NJ 08527
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004829P001-1409A-265          037164P001-1409A-265                 001460P001-1409A-265             003194P001-1409A-265
MERSADYSE RODRIGUES           MERSADYSE RODRIGUES                  TAYLOR J RODRIGUES               VANESSA RODRIGUES
92 ROGERS ST                  MERSADYSE RODRIGUES                  42 J DR                          9111 BURNET AVE
QUINCY MA 02169               92 ROGERS ST                         1E                               34
                              QUINCY MA 02169                      WESTPORT MA 02790-3900           NORTH HILLS CA 91343




008373P001-1409A-265          001998P001-1409A-265                 002179P001-1409A-265             008989P001-1409A-265
LAURA C RODRIGUEZ MARTINEZ    STEPHANY RODRIGUEZ MENDEZ            ANGELIZ RODRIGUEZ ORTIZ          AILEEN RODRIGUEZ
3718 JERMANTOWN RD            10667 TELFAIR AVE                    URB LOS ANGELES CALLE ASTROS     796 FONT BLVD
FAIRFAX VA 22030              PACOIMA CA 91331                     84                               1301
                                                                   CAROLINA PR 00979                SAN FRANCISCO CA 94132




003319P001-1409A-265          008786P001-1409A-265                 005526P001-1409A-265             008873P001-1409A-265
ALEJANDRA I RODRIGUEZ         ALEXANDRA RODRIGUEZ                  ALEXIS J RODRIGUEZ               ALLISON RODRIGUEZ
6119 BIRDWOOD RD              1380 NORTH AVE                       676 LAS LOMAS ST                 1010 EDMUND AVE
HOUSTON TX 77074              315                                  IMPERIAL CA 92251                DUNDEE FL 33838
                              ELIZABETH NJ 07208-2627




006141P001-1409A-265          007098P001-1409A-265                 008221P001-1409A-265             006446P001-1409A-265
ALYSSA J RODRIGUEZ            ANAKAREN RODRIGUEZ                   ANDRY J RODRIGUEZ                ANGELENA I RODRIGUEZ
4107 HATHAWAY DR              307 DANDELION BEND                   925 N NORTH CAROLINA AVE         156 CYPRESS ST
GRAND PRIAIRIE TX 75052       SAN ANTONIO TX 78245                 C                                CHULA VISTA CA 91910
                                                                   ATLANTIC CITY NJ 08401




005409P001-1409A-265          001243P001-1409A-265                 006296P001-1409A-265             008732P001-1409A-265
ANGELICA RODRIGUEZ            ANNA RODRIGUEZ                       ARELY M RODRIGUEZ                ARICELA M RODRIGUEZ
155 LAS FLORES DR SPC 14      6153 PALMETTO ST                     1519 GONDOLA CT                  328 CAROLINA FOREST BLVD
SAN MARCOS CA 92069           2                                    STOCKTON CA 95207                3B
                              RIDGEWOOD NY 11385-3324                                               JACKSONVILLE NC 28546




005954P001-1409A-265          001783P001-1409A-265                 007869P001-1409A-265             004872P001-1409A-265
ARYAM RODRIGUEZ               ASTRID M RODRIGUEZ                   AYLIN RODRIGUEZ                  AYLLEN RODRIGUEZ
URB ALTAGRACIA                2252 S 26TH ST                       1701 FRONT ST                    5819 GUNDRY AVE
ST H7                         MILWAUKEE WI 53215-2515              EAST MEADOW NY 11554             LONG BEACH CA 90805
TOA BAJA PR 00949




005564P001-1409A-265          008293P001-1409A-265                 004004P002-1409A-265             006493P001-1409A-265
BELEN M RODRIGUEZ             BRANDEY RODRIGUEZ                    BRANDON RODRIGUEZ                BRENDA RODRIGUEZ
430 NW 32ND AVE               167 SARATOGA ST                      443 BEACH 138 ST                 626 LITTLE BEND
MIAMI FL 33125                LAWRENCE MA 01841                    BELLE HARBOR NY 11694            MESQUITE TX 75150
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003415P001-1409A-265           006825P001-1409A-265                   007863P001-1409A-265           000705P001-1409A-265
BRIANNA A RODRIGUEZ            BRIANNA M RODRIGUEZ                    CELESTE RODRIGUEZ              CHERYL RODRIGUEZ
1101 SOUTH DILWORTH RD         2305 WESTHOLME BLVD                    2208 MORNING MIST              6620 SILVERY AVE
HARLINGEN TX 78552             A                                      EL PASO TX 79938               LAS VEGAS NV 89108
                               BAKERSFIELD CA 93309




006064P001-1409A-265           036459P001-1409A-265                   001832P001-1409A-265           035963P001-1409A-265
CYNTHIA G RODRIGUEZ            DAFNE V RODRIGUEZ                      DAMARIS RODRIGUEZ              DAMARIS RODRIGUEZ
2255 W GILL PL                 4141 KRUPP                             3567 FORT MEADE RD             1002 CROWN ST
DENVER CO 80223                EL PASO TX 79902                       APT 608                        MT. AIRY MD 21771
                                                                      LAUREL MD 20724




008669P001-1409A-265           005732P001-1409A-265                   007766P001-1409A-265           004860P001-1409A-265
DESTINY RODRIGUEZ              DESTINY M RODRIGUEZ                    DOMINIQUE L RODRIGUEZ          DONNA J RODRIGUEZ
1954 WINSLOW CT                1904 N MARRS                           1402 LONGVIEW ST               1535 PONDHAVEN DR
WOODBRIDGE VA 22191            AMARILLO TX 79107                      MESQUITE TX 75149              HIGH POINT NC 27265




009337P001-1409A-265           000510P001-1409A-265                   009048P001-1409A-265           033230P001-1409A-265
ELBALICIA RODRIGUEZ            ELIZABETH R RODRIGUEZ                  ESMERALDA RODRIGUEZ            ESPERANZA RODRIGUEZ
429 BROOKSIDE AVE              1725 HARVEY MITCHELL PKWY S            1107 EZRA CT                   EDIF LUIZ MUNOZ MARIN I-3
OAKHURST NJ 07755              APT 5022                               JOHNS ISLAND SC 29455          GUAYNABO PR 00965
                               COLLEGE STATION TX 77840




008401P001-1409A-265           004717P001-1409A-265                   005004P001-1409A-265           005546P001-1409A-265
FRANNY RODRIGUEZ               GABRIELLA RODRIGUEZ                    GABRIELLA J RODRIGUEZ          HANNAH C RODRIGUEZ
223 EAGON AVE                  7439 MASON FALLS DR                    513 COBBLESTONE LN             2909 N OLIVER APT 5531B
EGG HARBOR TOWNSHI NJ 08234    WINSTON GA 30187                       LANCASTER PA 17601             WICHITA KS 67208




006048P001-1409A-265           000824P001-1409A-265                   004888P001-1409A-265           002570P001-1409A-265
IDTZEL B RODRIGUEZ             IVELISSE RODRIGUEZ                     JACKLISSA RODRIGUEZ            JACQUELINE M RODRIGUEZ
314C WOODCREEK DR              87 WESLEY ST                           374 VAN HORNE ST APT 3         558 WEST 2ND ST
212                            LAWRENCE MA 01841                      APT 3                          SAN PEDRO CA 90731
BOLINGBROOK IL 60440                                                  JERSEY CITY NJ 07304




001540P001-1409A-265           003839P001-1409A-265                   005817P001-1409A-265           001385P001-1409A-265
JAIRIZ M RODRIGUEZ             JERYLIN RODRIGUEZ                      JULIA RODRIGUEZ                JULIANA RODRIGUEZ
3810 NE 27TH CT                3231 S RIDGEWAY                        1332 SW 24TH ST                68 CALLE IGNACIO MORALES
OCALA FL 34479                 CHICAGO IL 60623                       OKLAHOMA CITY OK 73108         #68
                                                                                                     NARANJITO PR 00719-3009
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002393P001-1409A-265     030427P001-1409A-265                     004141P001-1409A-265            007852P001-1409A-265
JULYSSA RODRIGUEZ        KARELYN RODRIGUEZ                        KATIA S RODRIGUEZ               KAYLA J RODRIGUEZ
44 UDALL DR              ADDRESS INTENTIONALLY OMITTED            2774 PAVERO WAY                 138 FOUNDRY ST
GREAT NECK NY 11020                                               LAS VEGAS NV 89142              HOUSE
                                                                                                  CENTRAL FALLS RI 02863




005760P001-1409A-265     000592P001-1409A-265                     000583P001-1409A-265            037201P001-1409A-265
KIMBERLY M RODRIGUEZ     KRISTEN RODRIGUEZ                        KRISTINE E RODRIGUEZ            LESLIT RODRIGUEZ
1230 NLBJ DR             1109 DRAKE COVE                          4580 70TH ST W APT116           10815 CHIMNEY ROCK RD
528                      LEANDER TX 78641                         BRADENTON FL 34210              HOUSTON TX 77096
SAN MARCOS TX 78666




003579P001-1409A-265     005463P001-1409A-265                     006434P001-1409A-265            005293P001-1409A-265
LESLIT A RODRIGUEZ       LILLY R RODRIGUEZ                        MARGARITA RODRIGUEZ             MARIA P RODRIGUEZ
10815 CHIMNEY ROCK RD    2331 NEPTUNE AVE                         3212 STEPPING STONE LN          3448 S CRENSHAW ST APT B
HOUSTON TX 77096         SEAFORD NY 11783                         FORT WAYNE IN 46835             3448 B
                                                                                                  VISALIA CA 93277




006819P001-1409A-265     005662P001-1409A-265                     030155P001-1409A-265            030155S001-1409A-265
MARILY RODRIGUEZ         MARISA RODRIGUEZ                         MARISOL RODRIGUEZ               MARISOL RODRIGUEZ
801 NORMANDY DR          15231 MONTE ST                           ADDRESS INTENTIONALLY OMITTED   HALEY GRAHAM
BAKERSFIELD CA 93306     SYLMAR CA 91342                                                          ADDRESS INTENTIONALLY OMITTED




003524P001-1409A-265     035964P001-1409A-265                     035965P001-1409A-265            001215P001-1409A-265
MARTHA E RODRIGUEZ       MARTINEZ LAURA C RODRIGUEZ               MENDEZ STEPHANY RODRIGUEZ       NAARA RODRIGUEZ
155 ROSWELL FARMS DR     3718 JERMANTOWN RD                       10667 TELFAIR AVE               15523 MONTILLA LOOP
ROSWELL GA 30075         FAIRFAX VA 22030                         PACOIMA CA 91331                TAMPA FL 33625-2471




001486P001-1409A-265     035966P001-1409A-265                     005804P001-1409A-265            008699P001-1409A-265
NALEIZKA RODRIGUEZ       NALEIZKA RODRIGUEZ                       NATALIE M RODRIGUEZ             NATASHA LEE A RODRIGUEZ
1701 MABETTE ST          1701 MABETTE ST                          10260 PLAINVIEW AVE APT 26      10818 ARCARO LN
BLDG 14 AP               BUILDING 14 AP                           TUJUNGA CA 91042                UNION KY 41091
KISSIMMEE FL 34741       KISSIMMEE FL 34741




035967P001-1409A-265     004232P001-1409A-265                     035968P001-1409A-265            009643P001-1409A-265
ODALYS RODRIGUEZ         ORIANA D RODRIGUEZ                       ORTIZ ANGELIZ RODRIGUEZ         PERLA E RODRIGUEZ
840 EL CORTEZ WAY        27916 WHALES ST                          URB LOS ANGELES CALLE ASTROS    417 RED ANT DR
SPARKS NV 89434          UNIT 208                                 84                              WESLACO TX 78596-4860
                         WESLEY CHAPEL FL 33544                   CAROLINA PR 00979
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030557P001-1409A-265             001960P001-1409A-265                 001615P001-1409A-265             003284P001-1409A-265
QUIRIA RODRIGUEZ                 QUIRIA M RODRIGUEZ                   RAIJENE A RODRIGUEZ              RENEE D RODRIGUEZ
ADDRESS INTENTIONALLY OMITTED    221 CLARA ST                         1155 WEST GROVE PKWY UNIT 1      215 S COMMERCIAL ST
                                 14                                   190                              EDCOUCH TX 78538
                                 SAN FRANCISCO CA 94107               TEMPE AZ 85283




034289P001-1409A-265             036123P001-1409A-265                 000771P001-1409A-265             000860P001-1409A-265
ROBERT ANDREW RODRIGUEZ          ROBERT ANDREW RODRIGUEZ              ROSARIO RODRIGUEZ                SANDRA RODRIGUEZ
490 LAKE PK AVE                  RAR PICTURES                         2438 CALDWELL                    20962 REBECCA LN
#16013                           490 LAKE PK AVE                      ONTARIO CA 91761-6047            SAN BENITO TX 78586
OAKLAND CA 94610                 UNIT 16013
                                 OAKLAND CA 94610



009489P001-1409A-265             004883P001-1409A-265                 008532P001-1409A-265             002287P001-1409A-265
SARAH I RODRIGUEZ                STEPHANIE R RODRIGUEZ                VANESA RODRIGUEZ                 VICKY M RODRIGUEZ
23203 CORKWAY CIR                206 CEDAR ST                         17 ASPEN LN                      2234 EUCLID AVE
MURRIETA CA 92562                STORM LAKE IA 50588                  CARPENTERSVILLE IL 60110         EAST PALO ALTO CA 94303-1705




002783P001-1409A-265             003745P001-1409A-265                 002958P001-1409A-265             036831P001-1409A-265
YANARIS RODRIGUEZ                YANET A RODRIGUEZ                    YASMINE RODRIGUEZ                YESENIA RODRIGUEZ
200 POND ST                      7415 SEQUOIA WAY                     29 HITCHCOCK LN                  2527 W 6TH APT 111
BRIDGEPORT CT 06606              EL PASO TX 79915                     FARMINGDALE NY 11735             MIAMI FL 33016




007381P001-1409A-265             007714P001-1409A-265                 004877P001-1409A-265             005769P001-1409A-265
ZULEYKA I RODRIGUEZ              DAYSI RODRIGUEZLITTLE                GLORIA L RODRIGUEZMAYA           ELAHA S ROEEN
54 CTR ST                        9859 DALE AVE                        788 DANA DR                      217 W CENTRAL AVE
HOLYOKE MA 01040                 16                                   GRAND RAPIDS MI 49548            TRACY CA 95376
                                 SPRING VALLEY CA 91977




034478P001-1409A-265             006682P001-1409A-265                 002001P001-1409A-265             009501P001-1409A-265
ROGERS RETAIL, LLC               ALANA J ROGERS                       BARRON ROGERS                    BRITTANY E ROGERS
PO BOX 860066                    113 W STRATFORD AVE                  12 HILL DR                       131 MEANDER WAY
MINNEAPOLIS MN 55486-0066        LANSDOWNE PA 19050                   JACKSON TN 38301                 GREENWOOD IN 46142




004284P001-1409A-265             001094P001-1409A-265                 008607P001-1409A-265             008531P001-1409A-265
CHARVEY D ROGERS                 INDIA L ROGERS                       JABBAR I ROGERS                  KEONNA D ROGERS
210 CROSSING LN APT I66          5923 14TH ST                         11910 WHITE BLUFF RD             209 W CONGRESS
I66                              ZEPHYRHILLS FL 33542-3637            P1                               GREENVILLE MI 48838
DOTHAN AL 36303                                                       SAVANNAH GA 31419
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007539P001-1409A-265      007728P001-1409A-265                  008657P001-1409A-265            001450P001-1409A-265
SERITA S ROGERS           MARKIA Z ROGERSTYE                    AILEEN P ROHAN                  MAHBOBEH R ROHANI
159 FAIRMONT AVE          412 C BALSAM ST                       6925 W 109TH PL                 1327 S KANSAS AVE
JACKSON TN 38301          MYRTLE BEACH SC 29577                 WORTH IL 60482                  APT 10
                                                                                                SPRINGFILED MO 65807




008526P001-1409A-265      007029P001-1409A-265                  002817P001-1409A-265            001109P001-1409A-265
NASRIN ROHIM              EVELYN M ROJAS                        JACQUELYN ROJAS                 JADE R ROJAS
3114 HAGA DR              3902 W ROCHELLE AVE                   16607 HIBISCUS LN               14125 LOUISIANA AVE
SAN JOSE CA 95111         MILWAUKEE WI 53209                    FRIENDSWOOD TX 77546            15109
                                                                                                SAVAGE MN 55378




035969P001-1409A-265      006041P001-1409A-265                  004995P001-1409A-265            035970P001-1409A-265
JADE R ROJAS              LILIANA N ROJAS                       MARIA I ROJAS                   MAKAYLA ROJEK
7514 DERBY LN             2359 DIGERUD DR                       906 S VICTORIA RD               15083 NIGHT HERON DR
SHAKOPEE MN 55379         FAIRFIELD CA 94533                    DONNA TX 78527                  WINTER GARDEN FL 34787




003906P001-1409A-265      033815P001-1409A-265                  033796P001-1409A-265            032430P001-1409A-265
EMILY G ROJO              ROJU SURFACEWORKS LLC DBA             ROLAND'S ELECTRIC INC           ROLF P KOEHLER
1773 SWEETWATER RANCH     CHRISTIAN JUSINSKI                    LAURIE CARDILLO                 KOEHLER CONSTRUCTION
SPRINGDALE AR 72764       SURFACEHAUS                           307 SUBURBAN AVE                ROLF KOEHLER
                          1549 OREGON ST                        DEER PARK NY 11729              PO BOX 112
                          BERKELEY CA 94703                                                     WAPPINGERS FALLS NY 12590



031086P001-1409A-265      006528P001-1409A-265                  035971P001-1409A-265            031533P001-1409A-265
ROLLA COSTER INC          QAYA S ROLLEY                         CAMERON D ROLLIN                ROLLING OAKS MALL
DBA BRI'S WORLD           1309 11TH ST APT A                    1949 E UNIVERSITY DR            ROLLING OAKS MALL LLC
MARK TUNNELL              ALTOONA PA 16601                      APT #2035A                      3342 PAYSHPERE CIRLCE
3001 S BROADWAY                                                 TEMPE AZ 85281                  CHICAGO IL 60674
LOS ANGELES CA 90007



034255P001-1409A-265      036967P001-1409A-265                  036967S001-1409A-265            002035P001-1409A-265
ROLLING OAKS MALL LLC     ROLLING OAKS MALL LLC                 ROLLING OAKS MALL LLC           DIAMOND J ROLLINS
3342 PAYSHPERE CIRLCE     WASHINGTON PRIME GROUP INC            WASHINGTON PRIME GROUP INC      7614 BONDALE AVE
CHICAGO IL 60674          FROST BROWN TODD LLC                  STEPHEN E IFEDUBA               APT 89
                          301 E FOURTH ST                       180 E BROAD ST                  NORFOLK VA 23505
                          CINCINNATI OH 45202                   COLUMBUS OH 43215



008593P001-1409A-265      007678P001-1409A-265                  009376P001-1409A-265            001088P001-1409A-265
JAILA A ROLLINS           JSHONTELLE E ROLLINS                  TIARA ROLLINS                   BRAE G ROMAIN
5662 TROY VILLA BLVD      452 ALBERT ST                         206 COLLEGE ST                  27 CEDAR AVE
HUBER HEIGHTS OH 45424    ELMIRA NY 14904                       GREENSBORO AL 36744             ROCKVILLE CENTRE NY 11570
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003630P001-1409A-265         009627P002-1409A-265                    004551P001-1409A-265             000811P001-1409A-265
DAISY ROMAN                  ELLEN ROMAN                             GEORGE G ROMAN                   IRIS ROMAN
4306 RUBY ST                 818 N LUCIA AVE                         RESIDENCIAL LUIS LLORENS TORRE   435 VILLA CAROL #5
SCHILLER PARK IL 60176       REDONDO BEACH CA 90277                  EDIFICIO 117 A                   CAROLINA PR 00985
                                                                     SAN JUAN PR 00913




035972P001-1409A-265         006988P001-1409A-265                    007271P001-1409A-265             007087P001-1409A-265
IRIS ROMAN                   YANELIZ ROMAN                           YESENIA ROMANMUNOZ               FABIANA K ROMANO
435 #5 VILLA CAROL           171 GRANDE RD                           994 S PATTON CT                  1800 N GREEN VLY PKWY
CAROLINA PR 00985            EAST HARTFORD CT 06118                  DENVER CO 80219                  1223
                                                                                                      HENDERSON NV 89074




006350P001-1409A-265         005067P001-1409A-265                    009674P001-1409A-265             008881P001-1409A-265
LIZBETH ROMANO               KATIE L ROMANSIK                        ALBA ROSELLA ROMERO LOPEZ        ABIGAIL C ROMERO
6614 LIMESTONE ST            7955 KINGSWOOD DR                       77 WOLCOTT ST                    417 W LAGUNA DR
HOUSTON TX 77092             #107                                    NEW HAVEN CT 06513-3811          TEMPE AZ 85282
                             CITRUS HEIGHTS CA 95610




035973P001-1409A-265         001140P001-1409A-265                    008306P001-1409A-265             003281P001-1409A-265
ABIGAIL C ROMERO             ALAIN E ROMERO                          AMBER N ROMERO                   ASHLEY ROMERO
PO BOX 28231                 3146 BERNIS CT                          6943 S ARTESIAN AVE              3175 W MEXICO AVE
TEMPE AZ 85285               SPRING VALLEY CA 91977-2501             CHICAGO IL 60629                 DENVER CO 80219




005233P001-1409A-265         005696P001-1409A-265                    008936P001-1409A-265             003575P001-1409A-265
ASHLEY M ROMERO              BRIANA ROMERO                           BRIANNA ROMERO                   FAITH ROMERO
864 CR 331                   1391 FORTNER DR                         175 RAMONA CT                    1917 CLEARBROOK DR
CLEVELAND TX 77327           INDIANAPOLIS IN 46231                   YORKTOWN HGTS NY 10598           CHULA VISTA CA 91913




008335P001-1409A-265         007266P001-1409A-265                    001835P001-1409A-265             001102P001-1409A-265
MADELEINE I ROMERO           MARIA ROMERO                            VALERIE M ROMO                   ZULEIKA ROMOSGONZALEZ
70-16 68TH PL GLENDALE NY    18 AVENNIDA DESCANSO                    7321 LAURA LN                    730 WEST UNION ST
1ST                          OCEANSIDE CA 92057                      RESEDA CA 91335-2487             4
GLENDALE NY 11385                                                                                     ALLENTOWN PA 18101




005808P001-1409A-265         004922P001-1409A-265                    035974P001-1409A-265             008512P001-1409A-265
COLEEN RONDAEL               ANGELICA M RONDON BARRETO               BARRETO ANGELICA M RONDON        JAZMIN RONDON
4 FIR DR                     CARR 1926 LOS ROMEROS SIERRA            CARR 1926 LOS ROMEROS SIERRA     2025 E SAINT LOUIS AVE
DANBURY CT 06811             SAN JUAN PR 00926                       SAN JUAN PR 00926                LAS VEGAS NV 89104
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004221P001-1409A-265           005577P001-1409A-265                003806P001-1409A-265              032431P001-1409A-265
MYA J RONQUILLO                MACKENZIE L ROOKS                   ASHLEY N ROOS                     ROPLAST INDUSTRIES INC
1039 ROEDEER DR                208 S 250 E                         105 B JAY MAX WAY                 BOB LEDUC
CLARKSVILLE TN 37042           COLUMBUS IN 47201                   GLASGOW KY 42141                  3155 SOUTH 5TH AVE
                                                                                                     OROVILLE CA 95965




036739P002-1409A-265           036739S001-1409A-265                002081P001-1409A-265              004726P002-1409A-265
ROPLAST INDUSTRIES INC         ROPLAST INDUSTRIES INC              KALIE ROQUE                       BARBARA ROSA
ROBERT BERMAN                  OBERMAYER REBMANN ET AL             12618 ENSIGN AVE                  720 BILYEU ST UNIT 105
3155 SOUTH 5TH AVE             MICHAEL D VAGNONI                   SAVAGE MN 55378                   RALEIGH NC 27606-2160
OROVILLE CA 95965              1500 MARKET ST STE 3400
                               PHILADELPHIA PA 19102



001297P001-1409A-265           004767P001-1409A-265                007201P001-1409A-265              002845P001-1409A-265
NAOMI L ROSA                   ALEXANDRA M ROSADO                  ANDREA ROSADO                     CARYLIN M ROSADO
196 STRAWBERRY HILL AVE        25 CAPRA WAY                        993 OLD BRIDGE TPKE               2600 SW 10TH ST
WOODBRIDGE NJ 07095            APT 301                             EAST BRUNSWICK NJ 08816           1202
                               SAN FRANCISCO CA 94123                                                OCALA FL 34471




004065P001-1409A-265           037139P001-1409A-265                007765P001-1409A-265              006564P001-1409A-265
SHAIANN D ROSADO               SHAIANN DENISE ROSADO               KARLA B ROSALES VENTURA           JOSEPH R ROSALES
83 WINDHAM ST                  31? KONOMOC? ST                     521 MOONLIGHT DR                  2008 STEPPING STONE
WILLIMANTIC CT 06226           NEW LONDON CT 06320                 GARLAND TX 75040                  NEW BRAUNFELS TX 78130
                               UNITED STATES




005812P001-1409A-265           000772P001-1409A-265                001602P001-1409A-265              035975P001-1409A-265
LEXY J ROSALES                 SANTIAGO ROSALES                    VALERIA ROSALES                   VENTURA KARLA B ROSALES
129 BRIDLE PATH DR             13095 LANCASTER LN                  11 BAYBERRY LN                    521 MOONLIGHT DR
EGG HARBOR TOWNSHI NJ 08234    MORENO VALLEY CA 92553              LEVITTOWN NY 11756-4001           GARLAND TX 75040




007448P001-1409A-265           002473P001-1409A-265                005231P001-1409A-265              002717P001-1409A-265
NOELIA ROSALEZ                 DARISBETH ROSARIO                   SHAYLA ROSARIO                    CRYSTAL ROSAS REAL
5507 CLEARWATER DR             CALLE 1                             3435 IDLEGROVE CT                 1130 BUSH AVE
OKC OK 73179                   RIO LAJAS PARC                      ORLANDO FL 32822                  SAINT PAUL MN 55106
                               DORADO PR 00646




001855P001-1409A-265           004518P001-1409A-265                003104P001-1409A-265              002271P001-1409A-265
ALEJANDRA ROSAS                CLAUDETT ROSAS                      HEIDI ROSAS                       MARIA L ROSAS
5623 W MYRTLE AVE              10074 MEADOWS CT                    139 S AVE 52                      2650 N ORACLE RD
APT 7                          FELLSMERE FL 32948                  2                                 APT 1017
GLENDALE AZ 85301                                                  LOS ANGELES CA 90042              TUCSON AZ 85705-4392
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035976P001-1409A-265           003360P001-1409A-265                         004788P002-1409A-265            008145P001-1409A-265
REAL CRYSTAL ROSAS             BRITTNEY N ROSASDAVIS                        ALYSIA I ROSBACK                COURTNEY ROSCOE
1130 BUSH AVE                  13616 SUMMER GLEN VISTA                      1000 FERN ST SW UNIT I201       648 CHERRY ST
SAINT PAUL MN 55106            EL CAJON CA 92021                            OLYMPIA WA 98502-6131           DAYTONA BEACH FL 32114




033329P001-1409A-265           009657P001-1409A-265                         037295P001-1409A-265            003043P001-1409A-265
ROSE ANN DENTON                HALEY A ROSE                                 JENNIFER ROSE                   KIMBERLY ROSE
2343 BURGENER BLVD             138 FROSTWOOD LN                             17504 KINGSTON DR               1442 ELIZABETH BLVD
SAN DIEGO CA 92110             GREENWOOD IN 46143                           MILFORD DE 19963                PITTSBURGH PA 15221




001164P001-1409A-265           037881P001-1409A-265                         032432P001-1409A-265            005745P001-1409A-265
LAUREN A ROSE                  ROSEANN GUARNACCIO                           ROSEMARIE REYES                 KALEY R ROSENBAUM
700 LOWER STATE RD             DANSKER AND ASPROMONTE ASSOCIATES            1930 VASSAR ST                  108 GRAY RD
11-C04                         30 VESEY ST                                  APT 214                         BRISTOL TN 37620
NORTH WALES PA 19454           NEW YORK NY 10007                            GLENDALE CA 91204




033516P001-1409A-265           004815P001-1409A-265                         009475P001-1409A-265            031534P001-1409A-265
ROSENTHAL AND ROSENTHAL INC    ASHLEY J ROSENTHAL                           ANDREA M ROSERO                 ROSEVILLE SHOPPINGTOWN LLC
PO BOX 88926                   3026 GARLAND ST                              2367 S LEXINGTON DR             DBA GALLERIA AT ROSEVILLE
CHICAGO IL 60695-1926          ERIE PA 16506                                BLDG 3 APT 309                  PO BOX 31001-0782
                                                                            MOUNT PROSPECT IL 60056         LOCKBOX 910782
                                                                                                            PASEDENA CA 91110-0782



036914P001-1409A-265           035337P002-1409A-265                         008006P001-1409A-265            006728P001-1409A-265
ROSEVILLE SHOPPINGTOWN LLC     DOUGLAS ROSNER                               ALEXYS ROSS                     AMY L ROSS
LECLAIRRYAN PLLC               GOULSTON & STORRS                            76 SOUTH WATER ST               3196 BRACKENWOOD PL
NICLAS A FERLAND               400 ATLANTIC AVE                             EAST WINDSOR CT 06088           EL DORADO HILLS CA 96762
545 LONG WHARF DR 9TH FL       BOSTON MA 02110
NEW HAVEN CT 06511



004447P001-1409A-265           030158P001-1409A-265                         035977P001-1409A-265            007517P001-1409A-265
ANNAIS ROSS                    BRITTANY N ROSS                              CHELSEY N ROSS                  CHRISTAL ROSS
615 STONEWHEEL CT E            ADDRESS INTENTIONALLY OMITTED                11001 OLD ST AUGUSTINE RD       1014 KAISER WAY
MILLERSVILLE MD 21108                                                       1101                            FORT MILL SC 29715
                                                                            JACKSONVILLE FL 32257




007507P001-1409A-265           009669P001-1409A-265                         030433P001-1409A-265            003469P001-1409A-265
HENNESSEY N ROSS               JADALIN ROSS                                 KATELYN ROSS                    KATELYN S ROSS
3370 SAINT ROSE PKWY           934 LONGBRANCH RD                            ADDRESS INTENTIONALLY OMITTED   1001 GRAY FOX CT
APT 2435                       GROVER NC 28073                                                              HOWELL MI 48843
HENDERSON NV 89052
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003518P001-1409A-265                        008824P001-1409A-265                  002286P001-1409A-265            002111P001-1409A-265
MARY C ROSS                                 NATALIE J ROSS                        SAVANNAH R ROSS                 WAKEENA ROSS
619 MARY JO DR                              119 SANDY RIDGE RD                    1621 BUTLER RD                  152 MEADE AVE
JESSUP PA 18434                             EROS LA 71238                         BEAVERDAM VA 23015              PASSAIC NJ 07055




006218P001-1409A-265                        004507P001-1409A-265                  005983P001-1409A-265            006865P001-1409A-265
BRIANNA M ROSSER                            GABRIELLE D ROSSETTI                  COTASHA D ROSSLOPES             DESTINEE M ROSSMCCOY
1091 FABRY RD SE                            4996 PIGEON RUN                       65 PRINCE ST                    29653 SHACKETT AVE
SALEM OR 97306                              NAVARRE OH 44662                      BROCKTON MA 02302               MADISON HEIGHTS MI 48071




003794P001-1409A-265                        004474P001-1409A-265                  004775P001-1409A-265            008313P001-1409A-265
JADE A ROSZAK                               CHANDLER M ROTHERMEL                  SERENA G ROTONDO                AMANDA ROTZINGER
112 LINDEN ST                               161 EAST ARMUCHEE RD                  10423 90TH AVE SW               10189 BARREL RIDGE ST
DAWSON MN 56232                             LAFAYETTE GA 30728                    LAKEWOOD WA 98498               LAS VEGAS NV 89183




009891P001-1409A-265                        031535P001-1409A-265                  008991P001-1409A-265            033206P001-1409A-265
ROUND ROCK CONSUL TAX OFFICE                ROUND ROCK PREMIUM OUTLETS            KILEY C ROUNDTREE               AMANDA J ROUSE CITRENBAUM
FORREST C CHILD JR TAX AC                   PO BOX 822312                         1849 S POWER RD                 755 DARIEN WAY
1311 ROUND ROCK AVE                         PHILADELPHIA PA 19182                 #1297                           SAN FRANCISCO CA 94127
ROUND ROCK TX 78681                                                               MESA AZ 85206




031536P001-1409A-265                        032433P001-1409A-265                  035978P001-1409A-265            000677P001-1409A-265
ROUSE PROVIDENCE LLC                        ROUSE PROVIDENCE, LLC                 CITRENBAUM AMANDA J ROUSE       MARISSA A ROUSE
SDS-12-3060                                 LAZ PARKING                           755 DARIEN WAY                  122 IVY STONE DR
PO BOX 86                                   11 PROVIDENCE PL                      SAN FRANCISCO CA 94127          122 IVY STONE
MINNEAPOLIS MN 55486-3060                   PROVIDENCE RI 02903                                                   RAEFORD NC 28376




002434P001-1409A-265                        009153P001-1409A-265                  002066P001-1409A-265            010470P001-1409A-265
ELLEN ROUSSEAU                              AMY ROUSSELOT                         CATHERINE ROUZER                ROVIN GARRETT, RTA
5547 LIMERICK AVE                           2601 ALTA VISTA DR                    808 WALNUT ST                   TAX ASSESSOR-COLLECTOR
SAN DIEGO CA 92117                          NEWPORT BEACH CA 92660                FRANKLIN IN 46131               PO BOX 1586
                                                                                                                  LAKE JACKSON TX 77566




032709P001-1409A-265                        002776P001-1409A-265                  008896P001-1409A-265            006250P001-1409A-265
ROVIN GARRETT, RTA TAX ASSESSORCOLLECTOR    CHANTE S ROWE                         TIARA ROWELL                    BRECKYN ROWLEY
BRAZORIA COUNTY                             1760 WINDWARD OAKS CT                 2306 123RD PL E                 1801 SW WASHBURN AVE
PO BOX 1586                                 KISSIMMEE FL 34746                    PARRISH FL 34219                118-B
LAKE JACKSON TX 77566                                                                                             TOPEKA KS 66621
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004276P001-1409A-265               007871P001-1409A-265                    032434P004-1409A-265                       032434S002-1409A-265
JULIA M ROXAS                      TAYLOR J ROY                            ROYAL WHOLESALE ELECTRIC                   ROYAL WHOLESALE ELECTRIC
1122 N DUBUQUE ST                  23 BLOOMFIELD ST                        AKA CONSOLIDATED ELECTRICAL DISTRIBUTORS   AKA CONSOLIDATED ELECTRICAL DISTRIBUTORS
8                                  SEEKONK MA 02771                        PO BOX 847124                              NICK BARRON-KERTIS
IOWA CITY IA 52245                                                         LOS ANGELES CA 90084-7124                  PO BOX 847124
                                                                                                                      LOS ANGELES CA 90084-7124



032434S003-1409A-265               005555P001-1409A-265                    000698P001-1409A-265                       005579P001-1409A-265
ROYAL WHOLESALE ELECTRIC           SHAWNA L ROYAL                          DANIELLE R ROYALL                          DONYAE M ROYSTER
CONSOLIDATED ELECTRICAL DIST       153 BAY STATE RD                        126 FOREST VIEW RD                         527 WEST 12TH ST
1036 W TAFT AVE STE 150            WORCESTER MA 01606                      CUMBERLAND VA 23040                        LAKELAND FL 33567
ORANGE CA 92865




009591P001-1409A-265               031537P001-1409A-265                    037408P001-1409A-265                       031538P001-1409A-265
KIARA S ROYSTER                    RPI BEL AIR MALL LLC                    RPI BEL AIR MALL LLC                       RPI CARLSBAD LP
100 TOBLER CT APT 101              ROUSE PROPERTIES LLC                    AKA THE SHOPPES AT BEL AIR                 1114 AVE OF THE AMERICAS
DURHAM NC 27704                    GENERAL COUNSEL                         BROOKFIELD PROPERTY REIT INC               STE 2800
                                   200 VESEY ST                            350 N ORLEANS ST STE 300                   NEW YORK NY 10036
                                   25TH FL                                 CHICAGO IL 60654-1607
                                   NEW YORK NY 10281


037482P001-1409A-265               031539P001-1409A-265                    037492P001-1409A-265                       031540P001-1409A-265
RPI CARLSBAD LP                    RPI CHESTERFIELD LLC                    RPI CHESTERFIELD LLC                       RPI GREENVILLE MALL LP
AKA THE SHOPPES AT CARLSBAD        11500 MIDLOTHIAN TURNPIKE               AKA CHESTERFIELD TOWNE CENTER              ROUSE PROPERTIES INC
BROOKFIELD REIT INC                RICHMOND VA 23235                       BROOKFIELD PROPERTY REIT INC               1114 AVE OF THE AMERICAS
350 N ORLEANS ST STE 300                                                   350 N ORLEANS ST STE 300                   STE 2800
CHICAGO IL 60654-1607                                                      CHICAGO IL 60654-1607                      NEW YORK NY 10036



037481P001-1409A-265               031541P001-1409A-265                    037490P001-1409A-265                       031542P001-1409A-265
RPI GREENVILLE MALL LP             RPI SALISBURY MALL LLC                  RPI SALISBURY MALL LLC                     RPI TURTLE CREEK MALL LLC
BROOKFIELD PROPERTY REIT INC       ROUSE PROPERTIES INC                    AKA THE CENTER AT SALISBURY                3000 E HIGHLAND DR
JULIE M BOWDEN                     1114 AVE OF THE AMERICAS                BROOKFIELD PROPERTY REIT INC               #200
350 N ORLEANS ST STE 300           STE 2800                                350 N ORLEANS ST STE 300                   JONESBORO AR 72401
CHICAGO IL 60654-1607              NEW YORK NY 10036                       CHICAGO IL 60654-1607



037407P001-1409A-265               032400P001-1409A-265                    034307P001-1409A-265                       031543P001-1409A-265
RPI TURTLE CREEK MALL LLC          RR DONNELLEY RECEIVABLES INC            RR FRANCHISING, INC                        RSE INDEPENDENCE LLC
AKA THE MALL AT TURTLE CREEK       CYNTHIA BAILEY-MISANEK                  SOUTHERN CA                                ROUSE PROPERTIES LLC
BROOKFIELD PROPERTY REIT INC       PO BOX 842282                           6281 BEACH BLVD                            200 VESEY ST
350 N ORLEANS ST STE 300           BOSTON MA 02284-2282                    STE 225                                    25TH FL
CHICAGO IL 60654-1607                                                      BUENA PARK CA 90621                        NEW YORK NY 10281



037483P001-1409A-265               037484P001-1409A-265                    036742P001-1409A-265                       036743P001-1409A-265
RSE INDEPENDENCE LLC               RSE INDEPENDENCE LLC                    RSM MAINTENANCE                            RSS COMM2012CCRE4 NV FOLV LLC
AKA INDEPENDENCE MALL UNIT 1024    AKA INDEPENDENCE MALL                   461 FROM RD                                9062 OLD ANNAPOLIS RD
BROOKFIELD PROPERTY REIT INC       BROOKFIELD PROPERTY REIT INC            PARAMUS NJ 07652                           COLUMBIA MD 21045
350 N ORLEANS ST STE 300           350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607              CHICAGO IL 60654-1607
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031544P001-1409A-265              036903P001-1409A-265                 035979P001-1409A-265             001853P001-1409A-265
RSS COMM2012CCRE4NV FOLV, LLC     NORA RUANE                           REBECCA RUANE                    JESSICA M RUANO
COMM COMMERCIAL MORTGAGE PASS-    14 WEST 44TH STREET                  12328 MEDFORD RD                 23 ROSEMARY CT
9062 OLD ANNAPOLIS RD             BAYONNE NJ 07002                     PHILADELPHIA PA 19154            NOVATO CA 94945
COLUMBIA MD 21045




003383P001-1409A-265              004049P001-1409A-265                 006755P001-1409A-265             002689P001-1409A-265
ALYSA A RUBALCABA                 EVELYN RUBALCABA                     ALMA I RUBIO                     ESMERALDA RUBIO
8131 NORTHPARK DR                 277 BLOOMINGTON AVE                  1416 LA LILA AVE                 1311 CTR ST
RIVERSIDE CA 92508                124                                  ARVIN CA 93203                   RACINE WI 53403
                                  RIALTO CA 92376




035980P001-1409A-265              009251P001-1409A-265                 005142P001-1409A-265             000803P001-1409A-265
ESMERALDA RUBIO                   MERCY J RUBIO                        CASSIDY RUBLE                    DAVID L RUBLE
1311 CENTER ST                    3423 CARPENTER RD                    132 FLORIAN LN                   5170 CLAIREMONT MESA BLVD
RACINE WI 53403                   LOT14B                               RIVERTON IL 62561                #2
                                  YPSILANTI MI 48197                                                    SAN DIEGO CA 92117




030749P001-1409A-265              037809P001-1409A-265                 008385P001-1409A-265             009198P001-1409A-265
RUBY AND LACE APPAREL LLC         RUBY AND LACE APPAREL LLC            DAVID A RUCKER                   MYELLE A RUCKER
143 50TH ST                       236 46TH STREET 2ND FLOOR            5852 PRESCOTT CT                 4612 NOLAND BLVD
BROOKLYN NY 11232                 BROOKLYN NY 11220                    CHARLOTTE NC 28269               WILLIAMSBURG VA 23188




006603P001-1409A-265              034218P001-1409A-265                 008194P001-1409A-265             007829P001-1409A-265
BRIANNA RUDD                      RAYMOND RUDOLPH                      AUDREY RUDY                      LEAH A RUDY
2615 JEFFERSON DR                 2218 PULLMAN AVE                     3033 MARKER RD                   5 LIAM LN
GREENVILLE NC 27858               BELMONT CA 94002                     MIDDLETOWN MD 21769              CARLISLE PA 17015




007669P001-1409A-265              000859P001-1409A-265                 003765P001-1409A-265             006794P001-1409A-265
ISABEL RUEDA                      YOLANDA RUELAS                       KENEISHA M RUFFIN                TONJANIQUE D RUFFIN
1611 RUNNING CREEK DR             21115 OAKWOOD ST                     4104 CLIO ST                     583 DELMAR ST
NORTH LAS VEGAS NV 89031          PERRIS CA 92570                      NEWORLEANS LA 70125              TERRYTOWN LA 70056




006376P001-1409A-265              000814P001-1409A-265                 003547P001-1409A-265             001910P001-1409A-265
CHELSEA C RUFFINI                 ANDREA C RUGE                        AARON T RUGGIERE                 ARLENE RUIZ ESTRADA
212 FERNLEDGE DR                  42 WHARTON AVE                       3335 E SIMPSON AVE               K21 ASTROMELIA
NEW KENSINGTON PA 15068           MINE HILL NJ 07803                   FRESNO CA 93703                  TOA ALTA PR 00953
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000821P001-1409A-265            004290P001-1409A-265                008658P001-1409A-265              007461P001-1409A-265
ALEJANDRA RUIZ                  ANABEL M RUIZ                       ANGELEA D RUIZ                    BANESSA C RUIZ
882 N DRIFTWOOD AVE             410 SPRING ST                       37 SILAS WOODS RD                 2718 ANDREA LN
RIALTO CA 92676                 AURORA IL 60505                     MANORVILLE NY 11949               DALLAS TX 75228




007031P001-1409A-265            002939P001-1409A-265                003956P001-1409A-265              005703P001-1409A-265
BRIANNA M RUIZ                  CLARISSA RUIZ                       CRISTINA RUIZ                     DESTINEE J RUIZ
43 FENNEC CT                    1200 SAN PABLO ST NE                8326 E PORTOBELLO AVE             2012 N 40TH A ST
TINTON FALLS NJ 07753           1016                                MESA AZ 85212                     WACO TX 76707
                                ALBUQUERQUE NM 87110




007468P001-1409A-265            035981P001-1409A-265                004968P001-1409A-265              007362P001-1409A-265
ESMERALDA RUIZ                  ESTRADA ARLENE RUIZ                 MARI C RUIZ                       MIGUEL A RUIZ
525 ELLIOTT ST SE               K21 ASTROMELIA                      1374 SW ADCOCK AVE                1008 SUNSET ST
GRAND RAPIDS MI 49507           TOA ALTA PR 00953                   PORT ST LUCIE FL 34953            CALEXICO CA 92231




008043P001-1409A-265            007409P001-1409A-265                001456P001-1409A-265              002124P001-1409A-265
STEPHANIE RUIZ                  DEBORAH RUIZBAYATE                  VANESSA RUIZDIAZ                  JOANNA B RUIZSANCHEZ
1270 SANDESTIN WAY              6105 ANGELINA WAY                   204 HEMPSTEAD AVE                 13693 S MARKS
ORLANDO FL 32824                INDIANAPOLIS IN 46203               MALVERNE NY 11565                 CARUTHERS CA 93609




001003P001-1409A-265            031087P001-1409A-265                036292S001-1409A-265              002775P001-1409A-265
JESSICA A RUMICK                RUMORS APPAREL INC                  RUMORS APPAREL INC                PATIENCE RUMPH
1740 OSPREY LN                  MICHAEL YI                          MICHAEL YI                        5 DUNHAVEN PL
LUTZ FL 33549-4117              946 E 29TH ST                       18751 TURFWAY PARK                2A
                                LOS ANGELES CA 90011                YORBA LINDA CA 92886              NOTTINGHAM MD 21236




035982P001-1409A-265            004899P002-1409A-265                032435P001-1409A-265              033342P001-1409A-265
PATIENCE RUMPH                  STEPHANIE N RUNNER                  RUNNING PIXELS, INC               RUNNING STITCH INC
5 DUNHAVEN PL APT 2A            309 AGNEW RD # 2                    3461 CANYON CREST RD              RUNNING STITCH DESIGN NYC
APT 2A                          JEANNETTE PA 15644-2519             ALTADENA CA 91001                 NATHANAEL ROTSKO
NOTTINGHAM MD 21236                                                                                   262 WEST 38TH ST STE 701
                                                                                                      NEW YORK NY 10018



032436P001-1409A-265            001671P001-1409A-265                006295P001-1409A-265              036744P001-1409A-265
RUNZHEIMER INTERNATIONAL LTD    STEPHANIE D RUSH                    AUTUMN RUSHING                    RUSHMORE MALL
ACCOUNTING                      139 PICCADILLY PL                   332 CALHOUN BARN RD               KEYBANK NATIONAL ASSOCIATION
26858 NETWORK PL                APT H                               CALHOUN LA 71225                  8115 PRESTON RD STE 500
CHICAGO IL 60673-1268           SAN BRUNO CA 94066                                                    DALLAS TX 75225
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000481P001-1409A-265             002558P001-1409A-265                 004150P001-1409A-265             035983P001-1409A-265
AYOMI RUSSELL                    CAYLA J RUSSELL                      COTRINA RUSSELL                  COTRINA RUSSELL
540 NW 4TH AVE                   8502 CONSTITUTION DR                 4211 YANCEYVILLE RD              4211 YANCEYVILLE RD
APT 3004                         CINCINNATI OH 45215                  APT J                            J
FORT LAUDERDALE FL 33311                                              BROWNS SUMMIT NC 27214           BROWNS SUMMIT NC 27214




007513P001-1409A-265             001915P001-1409A-265                 030169P001-1409A-265             030606P001-1409A-265
JAUANA RUSSELL                   SAMANTHA J RUSSELL                   SHARI RUSSELL                    SHARI RUSSELL
1345 WENLON DR                   810 JONATHON LN                      ADDRESS INTENTIONALLY OMITTED    ADDRESS INTENTIONALLY OMITTED
3213 APT A                       MUSKEGON MI 49442
MUFREESBORO TN 37130




036755P001-1409A-265             001153P001-1409A-265                 002422P001-1409A-265             005350P001-1409A-265
SHARI RUSSELL                    SHARI A RUSSELL                      BROOKE RUSSO                     TAMEKIA RUTH
56 BROOKSIDE AVE                 56 BROOKSIDE AVE                     8 GRAY BIRCH LN                  1025 PROGRESS RD
BRIDGEPORT CT 06606-1501         BRIDGEPORT CT 06606-1501             WAYLAND MA 01778                 BATON ROUGE LA 70807




009999P001-1409A-265             010457P001-1409A-265                 000832P001-1409A-265             004881P001-1409A-265
RUTHERFORD COUNTY CLERK          RUTHERFORD COUNTY TRUSTEE            CHRISTINE M RUTLEDGE             MORGAN RUTLEDGE
319 NORTH MAPLE ST STE 121       PO BOX 1316                          421 BUFORD RD                    8916 WILLOW SPRINGS DR
MURFREESBORO TN 37130            MURFREESBORO TN 37133                NORTH CHESTERFIELD VA 23235      LOUISVILLE KY 40242




033347P001-1409A-265             036463P001-1409A-265                 035984P001-1409A-265             002483P001-1409A-265
RYAN CARPENTIER                  DANIEL RYAN                          ERIN I RYAN                      KESS RYAN
UNSCENE VISUALS                  92 FORT SHANTOK RD                   1602 HUGHES DR                   337 N PK LN
2851 ROLLING HILLS DR            UNCASVILLE CT 06382-1302             CEDAR PARK TX 78613              SEYMOUR WI 54165
SPACE 49
FULLERTON CA 92835



030399P001-1409A-265             004688P001-1409A-265                 005788P001-1409A-265             004794P001-1409A-265
JESSICA RYCROFT                  DENVER R RYCZEK                      CAMIELLE G RYKHUS                CHLOE E RYMER
ADDRESS INTENTIONALLY OMITTED    2185 PANDORA DR                      1335 POHL RD APT 8               2523 BRIAR OAKES BLVD
                                 STERLING HEIGHTS MI 48310            MANKATO MN 56001                 MONTICELLO MN 55362




030828P002-1409A-265             034150P001-1409A-265                 006415P001-1409A-265             008845P001-1409A-265
S K A EXPORTS                    SA GALLERIA LLC                      MADELYN J SAAB                   ISABELLA J SAAD
SANJAY AHUJA                     1481 PAYSPHERE CIR                   30 PK LN                         5140 SW 89TH TER
PLOT NO 84 SECTOR 4              CHICAGO IL 60674                     HOOKSETT NH 03106                COOPER CITY FL 33328
IMT MANESAR
GURGAON HARYANA 122050
INDIA
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000662P001-1409A-265              002041P001-1409A-265                            001223P001-1409A-265        009707P001-1409A-265
MCKENNA N SAARI                   SARAH M SAARI                                   ADRIANA M SAAVEDRA          SOPHIA M SABA
26452 137TH AVE SE                533 W CENTRAL AVE                               118 BRIGHT ST APT 1         9772 RESTON LN
KENT WA 98042                     DAVIDSONVILLE MD 21035-1942                     APT 1                       MCCORDSVILLE IN 46055
                                                                                  JERSEY CITY NJ 07302-4209




006746P001-1409A-265              005036P002-1409A-265                            035985P001-1409A-265        009689P001-1409A-265
JUSTEEN SABALA                    BREAUNNA L SABALL                               BREAUNNA L SABALL           ABBY L SACKS
1144 TRENTON PL                   PO BOX 78                                       45 FREDONIAN ST             9404 JACKSON ST
MANTECA CA 95336                  FITCHBURG MA 01420-0001                         SHIRLEY MA 01464            BURKE VA 22015




010534P001-1409A-265              036746P001-1409A-265                            004666P001-1409A-265        009056P001-1409A-265
SACRAMENTO COUNTY                 SACRAMENTO COUNTY                               ASIA SADDLER                SANA SADIKOT
UNSECURED TAX UNIT                DEPT OF AGRICULTURE WEIGHTS AND MEASURES        118 COLLEGE DR              30 THOMAS RD
PO BOX 508                        ACCOUNTING                                      9128                        EAST BRUNSWICK NJ 08816
SACRAMENTO CA 95812-0508          4137 BRANCH CTR RD                              HATTIESBURG MS 39406
                                  SACRAMENTO CA 95827-3823



008050P001-1409A-265              003008P001-1409A-265                            001697P001-1409A-265        030590P001-1409A-265
CAITLIN SAECHAO                   MELANIE K SAECHAO                               DANIELLE M SAEDLO           SANDI SAEFONG
5340 SOUTHWEST AVE                1128 S 299TH PL                                 509 TASKER ST               ADDRESS INTENTIONALLY OMITTED
SACRAMENTO CA 95824               FEDERAL WAY WA 98003                            RIDLEY PARK PA 19078




007214P001-1409A-265              004896P001-1409A-265                            003878P001-1409A-265        032437P002-1409A-265
KELLY SAENZ PORTILLO              GENESIS SAENZ                                   MILDRED A SAEZ              SAF GROUP MANAGEMENT
1022 DASSOW CT                    STR 155                                         45 UNIVERSITY DR            FAYTHE SABETY
ALPHARETTA GA 30009               PERCHAS                                         LONG BRANCH NJ 07740        PO BOX 428
                                  MOROVIS PR 00687                                                            ROCKVILLE CENTRE NY 11571




032438P001-1409A-265              002505P001-1409A-265                            005597P001-1409A-265        035160P001-1409A-265
SAFE ENVIRONMENT BUSINESS SOLU    ANTONIA SAFOSCHNIK                              VANYA SAGAM                 SAGE SOFTWARE INC
ZUGRESS SECURITY SVC              86 REDWOOD LN                                   8 HANOVER LN                1715 NORTH BROWN RD
FRANK NEWTON                      MASSAPEQUA PARK NY 11762                        SOUTH WINDSOR CT 06074      LAWRENCEVILLE GA 30043
8 REVOLUTIONARY RD
OSSINING NY 10562



032439P001-1409A-265              008549P001-1409A-265                            010359P001-1409A-265        035394P001-1409A-265
SAGE SOFTWARE, INC                BREIA R SAGER                                   SAGINAW CHARTER TOWNSHIP    SAGINAW CHARTER TOWNSHIP
14855 COLLECTIONS CTR DR          299 FERN VLY COVE N                             CLERK'S OFFICE              PO BOX 6400
CHICAGO IL 60693                  CORDOVA TN 38018                                PO BOX 6400                 SAGINAW MI 48608
                                                                                  SAGINAW MI 48608
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033120P001-1409A-265              033120S001-1409A-265                      033386P001-1409A-265            000584P001-1409A-265
SAGINAW CHARTER TWP WATER DEPT    SAGINAW CHARTER TWP WATER DEPT            SCHAULEH VIVIAN SAHBA           CHRISTINA SAID
P O BOX 6400                      4980 SHATTUCK ROAD                        3643 FOLSOM ST                  24 HARRISON AVE
SAGINAW MI 48608                  SAGINAW MI 48603                          SAN FRANCISCO CA 94110          EAST BRUNSWICK NJ 08816




033244P001-1409A-265              008946P001-1409A-265                      035986P001-1409A-265            003493P001-1409A-265
MELISSA SAILER                    NALTA SAINT JULIS                         JULIS NALTA SAINT               KAHINA SAINTVIL
1067 LAUREL DR                    4473 17TH PL SW                           4473 17TH PL SW                 142 NW 106 AVE
LAFAYETTE CA 94549                NAPLES FL 34116                           NAPLES FL 34116                 PLANTATION FL 33324




006698P001-1409A-265              001561P001-1409A-265                      006937P001-1409A-265            008832P001-1409A-265
SOCAENA SAINVAL                   ELIZABETH K SAJDAK                        NADIANY SAKO                    ESLENDY SALADORUBIO
3200 N ALAFAYA TRL                701 MERRYTURN RD                          12219 MAJESTIC MAPLE DR         8209 GEORGIA CT N
APT 1120-C                        MADISON WI 53714                          CLARKSBURG MD 20871             BROOKLYN PARK MN 55445
ORLANDO FL 32826




001198P001-1409A-265              002703P001-1409A-265                      007937P001-1409A-265            004813P001-1409A-265
YASMIEN SALAH                     JASMIN P SALAHSHOUR                       DANA SALAMA                     SIMON M SALAMEH
6628 WEST LLYOD DR                24319 BURBANK BLVD                        8154 FOREST PK DR N             3507 PECAN PL
WORTH IL 60482                    WOODLAND HILLS CA 91367                   APT 12                          FAIRFAX VA 22033
                                                                            CORDOVA TN 38018




003905P001-1409A-265              003689P001-1409A-265                      008556P001-1409A-265            005282P001-1409A-265
ALEXANDRA M SALAN                 BRISSA E SALAS                            CYNTHIA SALAS                   ELIZABETH SALAS
757 CARDINAL ST                   22427 HIGHFIELD RIDGE LN                  2960 HANNA AVE                  5309 E ESCONDIDO CIR
BEAUMONT CA 92223                 SPRING TX 77373                           FORT WORTH TX 76106             MESA AZ 85206




004169P001-1409A-265              035987P001-1409A-265                      005447P001-1409A-265            006653P001-1409A-265
KATARI M SALAS                    KATRINA A SALAS                           KIMBERLY SALAS                  MAHALYN T SALAS
43C VIEJAS GRADE RD               204 CATALINA AVE                          110533 FIELDSTONE CIR F33       286 TALUS ST
ALPINE CA 91903                   PACIFICA CA 94044                         CHASKA MN 55318                 CHULA VISTA CA 91911




002575P001-1409A-265              003526P001-1409A-265                      030507P001-1409A-265            001352P001-1409A-265
JESSICA SALAZAR                   JESSICA N SALAZAR                         MARLENE SALAZAR                 MARLENE K SALAZAR
325 WEST MAPLE AVE                14239 JULIEDALE DR                        ADDRESS INTENTIONALLY OMITTED   9549 MILDEN ST
BOUND BROOK NJ 08805              HUMBLE TX 77396                                                           LA MESA CA 91942
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035988P001-1409A-265                      004718P001-1409A-265                  000570P001-1409A-265                     008907P001-1409A-265
MARLENE K SALAZAR                         ROSARIO SALAZAR                       VERONICA SALAZAR                         VICTOR A SALAZAR
2466 KEVIN CT                             5510 W 35TH ST                        425 NW 95TH                              10636 10TH AVE
ALPINE CA 91901                           CICERO IL 60804                       OKLAHOMA CITY OK 73114                   HESPERIA CA 92345




036820P001-1409A-265                      000975P001-1409A-265                  001194P001-1409A-265                     000657P001-1409A-265
VICTORIA SALAZAR                          XIOMARA SALAZAR                       EVELYN SALCEDO                           JESSICA L SALCEDO
9431 VALLEY BLVD                          11723 BROAK OAK CT                    2309 SW CHOCTAW ST                       2309 SW CHOCTAW ST
SAN ANTONIO TX 78250-3959                 ORLANDO FL 32837                      BENTONVILLE AR 72712-7049                BENTONVILLE AR 72712




004701P001-1409A-265                      006668P001-1409A-265                  002843P001-1409A-265                     008115P001-1409A-265
ALEJANDRA SALDANA                         LYDIA E SALDANA                       PRISCILLA L SALDANA                      REYNA A SALDANA
5301 E MCKINNEY ST                        5260 SW 111TH AVE                     370 CASA NORTE DR                        16977 CHOLLA AVE
TRLR 443                                  MIAMI FL 33165                        1025                                     HESPERIA CA 92345
DENTON TX 76208                                                                 NORTH LAS VEGAS NV 89031




037326P001-1409A-265                      035989P001-1409A-265                  006338P001-1409A-265                     001542P001-1409A-265
RIKKI SALDANA                             RIKKI M SALDANA                       STEPHANIE SALDANA                        EVELYN SALDIVAR
1971 GLARNER ST                           1971 GLARNER ST                       9308 W MILKWEED LOOP RD                  653 OLD NICHOLS RD
HOLLISTER CA 95023                        HOLLISTER CA 95023                    PHOENIX AZ 85037                         RONKONKOMA NY 11779




000487P001-1409A-265                      002078P001-1409A-265                  032440P003-1409A-265                     032440S001-1409A-265
MICHELLE SALDIVAR                         ASHLEY E SALEM                        SALESFORCECOM INC                        SALESFORCECOM INC
1717 SUNSET AVE                           1314 VISTA GRANDE RD                  AKA DEMANDWARE                           ASEEM GUPTA
8                                         EL CAJON CA 92019                     KEVIN RAMIREZ                            50 FREMONT ST STE 300
WAUKEGAN IL 60087                                                               50 MISSION ST                            SAN FRANCISCO CA 94105
                                                                                SAN FRANCISCO CA 94105



032440S002-1409A-265                      037843P001-1409A-265                  035163P001-1409A-265                     035162P001-1409A-265
SALESFORCECOM INC                         SALESFORCECOM INC                     SALESFORCECOM INC ECOMM PLATFORM         SALESFORCECOM INC SOCIAL STUDIO
JANET E BOSTWICK PC                       LAWRENCE SCHWAB/THOMAS GAA            SALESFORCE TOWER 415 MISSION ST 3RD FL   SALESFORCE TOWER 415 MISSION ST 3RD FL
295 DEVONSHIRE ST                         BIALSON BERGEN AND SCHWAB             SAN FRANCISCO CA 94105                   SAN FRANCISCO CA 94105
BOSTON MA 02110                           633 MENLO AVE STE 100
                                          MENLO PARK CA 94025



035161P001-1409A-265                      002564P001-1409A-265                  009178P001-1409A-265                     035422P001-1409A-265
SALESFORCECOM INC SVC CLOUD               JAIME SALGADO COVARRUBIAS             BRENDA SALGADO                           COVARRUBIAS JAIME SALGADO
SALESFORCE TOWER 415 MISSION ST 3RD FL    482 W SAN YSIDRO BLVD 1963            1524 SEVEN PINES RD                      482 W SAN YSIDRO BLVD #1963
SAN FRANCISCO CA 94105                    SAN YSIDRO CA 92173                   SPRINGFIELD IL 62704                     SAN YSIDRO CA 92173
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006883P001-1409A-265              001819P001-1409A-265                      002836P001-1409A-265             009681P001-1409A-265
DAPHNE N SALGADO                  ISABEL A SALGADO                          YARITZA SALINAS TORRES           BRENDA SALINAS VALDEZ
515 W HARVARD ST                  3016 VALWOOD PKWY                         413 OJAI RD                      3108 S B ST
21                                FARMERS BRANCH TX 75234-3604              SANTA PAULA CA 93060             ROGERS AR 72758
GLENDALE CA 91204




002131P001-1409A-265              004943P001-1409A-265                      009133P001-1409A-265             035990P001-1409A-265
KRISTIE Y SALINAS                 LYSETT G SALINAS                          TAINA S SALINAS                  TORRES YARITZA SALINAS
6320 NANCY ELLEN ST               709 RUTH CT                               107 E SPRINGFIELD                413 OJAI RD
AMARILLO TX 79119-6650            APT B                                     2713 N MENARD                    SANTA PAULA CA 93060
                                  NAVASOTA TX 77868                         CHAMPAIGN IL 61820




003648P001-1409A-265              003751P001-1409A-265                      031545P001-1409A-265             035345P001-1409A-265
SABRINA L SALLIOTTE               MONICA C SALMO                            SALMON RUN SHOPPING CENTER LLC   SALMON RUN SHOPPING CENTER LLC
512 SUNNYGLADE                    7396 WOODBAIR LN WEST BLOOMF              M AND T BANK                     BARCLAY DAMON LLP
CLIFTON CO 81520                  WEST BLOOMFLIED MI 48322                  PO BOX 8000 DEPT 237             KEVIN M NEWMAN
                                                                            BUFFALO NY 14267                 BARCLAY DAMON TOWER
                                                                                                             125 E JEFFERSON ST
                                                                                                             SYRACUSE NY 13202


035345S001-1409A-265              036747P001-1409A-265                      036747S001-1409A-265             006856P001-1409A-265
SALMON RUN SHOPPING CENTER LLC    SALMON RUN SHOPPING CENTER LLC            SALMON RUN SHOPPING CENTER LLC   ERIKA A SALSEDO
PYRAMID MANAGEMENT GROUP LLC      M AND T BANK                              BARCLAY DAMON LLP                331 W VINE ST
JOHN D CICO                       DEPT# 237                                 KEVIN NEWMAN SCOTT FLEISCHER     STOCKTON CA 95203
THE CLINTON EXCHANGE              PO BOX 8000                               BARCLAY DAMON TOWER
4 CLINTON SQ                      BUFFALO NY 14267                          125 EAST JEFFERSON ST
SYRACUSE NY 13202                                                           SYRACUSE NY 13202


010525P001-1409A-265              037458P001-1409A-265                      002545P002-1409A-265             033254P001-1409A-265
SALT LAKE COUNTY ASSESSOR         MIRANDA SALTERS                           MIRANDA D SALTERS                OLIVIA SALVA
PO BOX 410470                     8076 GREEN BUD LN                         4013 LIFESTYLE ROAD              120 W 3RD AVE
SALT LAKE CITY UT 84141-0470      GLEN BURNIE MD 21060                      FAYETTEVILLE NC 28312-9336       #301
                                                                                                             SAN MEATEO CA 94402




001740P001-1409A-265              019812P001-1409A-265                      024118P001-1409A-265             032441P001-1409A-265
ALIA E SALVADOR                   BELLA I SALVATO                           ALISSA SALZWEDEL                 SAM MORRAY DESIGN LIMIITED
1688 HUME DR                      1866 JACKSONVILLE RD                      8211 BRENDEN LN                  UNIT 5
SANGER CA 93657                   BAGDAD KY 40003                           EDEN PRAIRIE MN 55347            60 HANBURY ST
                                                                                                             LONDON E1 5JL
                                                                                                             UNITED KINGDOM



001967P001-1409A-265              002246P001-1409A-265                      000957P001-1409A-265             002766P001-1409A-265
JESSICA SAMANIEGO                 GLENDY J SAMAYOA                          BRITTANY A SAMEK                 ADRIENNE J SAMES
8550 BOYSON ST                    5411 W 24TH PL                            458 CONGRESS ST                  13508 HOLLOW COVE
DOWNEY CA 90242-3638              CICERO IL 60804                           NORTH VERSAILLES PA 15137        TAMPA FL 33613
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004442P001-1409A-265              032442P001-1409A-265                        030829P001-1409A-265                      036295P001-1409A-265
ZEINA SAMHAN                      SAMIA HAMPSTEAD                             SAMIL SOLUTION                            SAMIL SOLUTION
9208 S 53RD CT                    71 ORANGE ST                                PAUL KANG                                 6F RIO BUILDING 790-2 YEOKSAM
OAK LAWN IL 60453                 EDISON NJ 08817                             6F RIO BLDG 790-2 YEOKSAM                 SEOUL 135-929
                                                                              #NAME?                                    REPUBLIC OF KOREA
                                                                              SEOUL 135-929
                                                                              KOREA


036295S001-1409A-265              035222P001-1409A-265                        037894P001-1409A-265                      004576P001-1409A-265
SAMIL SOLUTION                    SAMIL SOLUTION CO LTD                       SAMIL SOLUTION CO LTD                     SAMANTHA E SAMMAN
THE SARACHEK LAW FIRM             THE SARACHEK LAW FIRM                       GUNWOO KIM                                1488 CASEY LN
JOSEPH E SARACHEK ESQ             JOSEPH E SARACHEK                           6F RIO BUILDING 170 YEOKSAMRO GANGNAMGU   PORT ORANGE FL 32129
101 PARK AVE 27TH FLOOR           101 PARK AVE 27TH FL                        SEOUL 06248
NEW YORK NY 10178                 NEW YORK NY 10178                           KOREA



007084P001-1409A-265              001887P001-1409A-265                        037327P001-1409A-265                      004264P001-1409A-265
GILLIAN V SAMMY                   RONZA SAMPUOR                               RONZA SAMPUOR                             ASHLEIGH L SAMS
3209 DUNDEE ST                    556 BRIGHTON AVE                            301 E COOLIDGE AVE UNIT 13                5465 N SCARSDALE CIR
EL PASO TX 79925                  6                                           MODESTO CA 95350                          RENO NV 89502
                                  MODESTO CA 95355




009544P001-1409A-265              032443P001-1409A-265                        032444P001-1409A-265                      036674P003-1409A-265
NASHALIA I SAMTIAGO               SAMUEL MCCURLEY ARDREY                      SAMUEL MIRON, INC                         NATALIE SAMUEL
26 RODERICK AVE                   SAMUEL ARDREY                               1559 LAKE SHORE AVE                       125 N 21ST ST APT 3R
EAST LONGMEADOW MA 01028          801 46TH AVE                                LOS ANGELES CA 90026                      PHILADELPHIA PA 19103-1403
                                  SAN FRANCISCO CA 94121




008218P002-1409A-265              003117P001-1409A-265                        036593P001-1409A-265                      006654P001-1409A-265
NATALIE R SAMUEL                  DEAVIYON N SAMUELS                          KENYONNA C SAMUELS                        LOGAN T SAMUELS
125 N 21ST ST APT 3R              43253 W COWPATH RD                          3876 NORTHSIDE DR                         7518 JAMESON RD
PHILADELPHIA PA 19103-1402        MARICOPA AZ 85138                           MACON GA 31210                            PARMA OH 44129




036748P001-1409A-265              010101P001-1409A-265                        032445P001-1409A-265                      033816P001-1409A-265
SAMY'S CAMERA INC                 SAN BERNARDINO COUNTY                       SAN BERNARDINO COUNTY FIRE DEP            SAN DIEGO COUNTY RECORDER
PO BOX 48126                      DIVISION OF WEIGHTS AND MEASURES            157 W FIFTH ST                            1600 PACIFIC HWY
LOS ANGELES CA 90036              777 EAST RIALTO AVE                         SECOND FL                                 ROOM 162
                                  SAN BERNARDINO CA 92415-0720                SAN BERNARDINO CA 92415                   SAN DIEGO CA 92101




010456P001-1409A-265              033121P001-1409A-265                        033121S001-1409A-265                      031089P002-1409A-265
SAN DIEGO COUNTY-TAX COLLECTOR    SAN DIEGO GAS AND ELECTRIC                  SAN DIEGO GAS AND ELECTRIC                SAN DIEGO HAT
PO BOX 129009                     PO BOX 25111                                8326 CENTURY PK CT                        2875 WHIPTAIL LOOP
SAN DIEGO CA 92112                SANTA ANA CA 92799                          SAN DIEGO CA 92123                        CARLSBAD CA 92010-6713
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034313P001-1409A-265                032446P001-1409A-265                  032447P001-1409A-265                         010563P001-1409A-265
SAN FRANCISCO ELEVATOR SERVICES,    SAN FRANCISCO ELEVATOR SVC            SAN FRANCISCO HEALTH PREMIUM PAYMENTS        SAN FRANCISCO TAX COLLECTOR
6517 SIERRA LN                      BRAIN MCLEMORE                        PO BOX 194367                                BUSINESS LICENSE UNIT
DUBLIN CA 94568                     6517 SIERRA LN                        SAN FRANCISCO CA 94119-4367                  PO BOX 7427
                                    DUBLIN CA 94568                                                                    SAN FRANCISCO CA 94120-7427




010564P001-1409A-265                009897P001-1409A-265                  032710P001-1409A-265                         033122P001-1409A-265
SAN FRANCISCO TAX COLLECTOR         SAN FRANCISCO WEIGHTS AND             SAN FRANCISCO WEIGHTS AND MEASURES PROGRAM   SAN FRANCISCO WTR PWR AND SWR
UNSECURED PROPERTY TAX              MEASURES PROGRAM                      DEPT OF HEALTH                               PO BOX 7369
PO BOX 7427                         1390 MARKET ST STE 210                1390 MARKET ST STE 210                       SAN FRANCISCO CA 94120
SAN FRANCISCO CA 94120-7427         SAN FRANCISCO CA 94102                SAN FRANCISCO CA 94102




033122S001-1409A-265                005412P001-1409A-265                  007910P001-1409A-265                         010063P001-1409A-265
SAN FRANCISCO WTR PWR AND SWR       CHRISTINE SAN GABRIEL                 MACKENZI M SAN JULE                          SAN MATEO COUNTY TAX
525 GOLDEN GATE AVE                 237 CALDWELL LOOP                     3434 CASTLEROCK LN                           555 COUNTY CTR 1ST FL
SAN FRANCISCO CA 94102              JACKSONVILLE NC 28546                 GARLAND TX 75044                             REDWOOD CITY CA 94063




032711P001-1409A-265                004615P001-1409A-265                  035992P001-1409A-265                         035440P001-1409A-265
SAN MATEO COUNTY TAX                MELISSA E SAN VICENTE                 GABRIEL CHRISTINE SAN                        VICENTE MELISSA E SAN
SANDIE ARNOTT TAX COLLECTOR         27 OAK BROOK PL                       237 CALDWELL LOOP                            27 OAK BROOK PL
555 COUNTY CTR 1ST FL               PLEASANT HILL CA 94523                JACKSONVILLE NC 28546                        PLEASANT HILL CA 94523
REDWOOD CITY CA 94063




004082P001-1409A-265                003534P001-1409A-265                  001662P001-1409A-265                         007996P001-1409A-265
AMBER SANBORN                       REBECCA SANCHEZ GUERRERO              STEPHANEE SANCHEZ JIMENEZ                    AIME SANCHEZ
1549 TEXAS AVE                      485 N CITRUS AVE                      509 N BERENDO ST                             474 AUBADE CT
GRAND JUNCTION CO 81501             5                                     109                                          HENDERSON NV 89011
                                    ESCONDIDO CA 92027                    LOS ANGELES CA 90004




003647P001-1409A-265                003846P001-1409A-265                  001797P001-1409A-265                         002194P001-1409A-265
ALIDA L SANCHEZ                     ALONDRA SANCHEZ                       AMEYALI SANCHEZ                              ANDREINA SANCHEZ
5074 JONES AVE                      11219 EVESBOROUGH DR                  918 DESOTO ST                                1002 EL CENTRO AVE
RIVERSIDE CA 92505                  HOUSTON TX 77099                      2                                            APT 1
                                                                          SAINT PAUL MN 55130                          EL CENTRO CA 92243-2051




007889P001-1409A-265                000512P001-1409A-265                  037057P001-1409A-265                         006732P001-1409A-265
ANGELA M SANCHEZ                    ARLENY Y SANCHEZ                      ASHLEY RAMIREZ SANCHEZ                       BELLA SANCHEZ
5720 DAVIS RD                       7379 STERLING SPRINGS WAY             128 HOBBS                                    288 RICHNECK RD
WALKERTOWN NC 27051                 BURLINGTON KY 41005                   SANTA PAULA CA 93060                         NEWPORT NEWS VA 23608
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008110P001-1409A-265             027762P001-1409A-265                003548P001-1409A-265              001314P001-1409A-265
BERENICE SANCHEZ                 BRIANA SANCHEZ                      BRITTANY A SANCHEZ                BRITTNY SANCHEZ
2020 S 360TH ST                  4236 PASEO DE LA VISTA              4527 SHADBERRY DR                 7808 BAYSHORE CT
APT P106                         BONITA CA 91902                     TAMPA FL 33624                    FT WORTH TX 76179-2701
FEDERAL WAY WA 98003




003965P001-1409A-265             008852P001-1409A-265                036477P001-1409A-265              001321P001-1409A-265
CECILIA D SANCHEZ                CHRYSTIN SANCHEZ                    DIANA SANCHEZ                     EVELYN J SANCHEZ
2567 FOLSOM                      4223 N 83RD DR                      11040 LORNE ST # 230              790 NORTH G ST
2                                PHOENIX AZ 85037                    SUN VALLEY CA 91352               SAN BERNARDINO CA 92410
SAN FRANCISCO CA 94110




008586P001-1409A-265             035993P001-1409A-265                001570P001-1409A-265              035994P001-1409A-265
GISELLE SANCHEZ                  GUERRERO REBECCA SANCHEZ            JACQUALYN A SANCHEZ               JIMENEZ STEPHANEE SANCHEZ
4100 ULINE AVE                   485 N CITRUS AVE                    206 PUEBLO RD                     509 N BERENDO ST
ALEXANDRIA VA 22304              5                                   CORONA CA 92882                   109
                                 ESCONDIDO CA 92027                                                    LOS ANGELES CA 90004




030445P001-1409A-265             002875P001-1409A-265                008131P001-1409A-265              003252P001-1409A-265
KELSEY SANCHEZ                   KELSEY E SANCHEZ                    MARCELLA M SANCHEZ                MARGARITA SANCHEZ
ADDRESS INTENTIONALLY OMITTED    62 CABOT ST #6                      22459 WEST LOWER BUCKEYE          3924 LOGAN AVE
                                 BEVERLY MA 01915                    BUCKEYE AZ 85336                  SAN DIEGO CA 92113




003888P001-1409A-265             001643P001-1409A-265                004473P001-1409A-265              035441P001-1409A-265
MARICELA SANCHEZ                 MARITZA J SANCHEZ                   MAYRA SANCHEZ                     MONTESINOS LILIA A SANCHEZ
3610 HIGH MESA DR                485 ESTES ST                        134 BLAKE ST                      1300 26TH AVE
DALLAS TX 75234                  GURNEE IL 60031-2884                SAN FRANCISCO CA 94118            605
                                                                                                       SAN FRANCISCO CA 94122




000815P001-1409A-265             036675P001-1409A-265                007255P001-1409A-265              007345P001-1409A-265
NEREIDA SANCHEZ                  NEREIDA SANCHEZ                     OLIVIA A SANCHEZ                  PATRICIA SANCHEZ
573 W SAN YSIDRO BLVD #114       3775 SUNSET LN APT 12               230 MANSFIELD RD                  5508 DESERT WILLOW LN
APT 12                           SAN YSIDRO CA 92173-3325            HOLLISTER CA 95023                KNIGHTDALE NC 27545
SAN YSIDRO CA 92173




009468P001-1409A-265             002532P001-1409A-265                008594P001-1409A-265              004625P001-1409A-265
ROCIO SANCHEZ                    SABRINA SANCHEZ                     SAMANTHA A SANCHEZ                SANDRA J SANCHEZ
500 14TH AVE                     8112 W MONTEBELLO AVE               4727 HOLLYBROOK LN                1204 10TH ST
BELMAR NJ 07719                  GLENDALE AZ 85303                   HOUSTON TX 77039                  PLANO TX 75074
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005128P001-1409A-265         001398P001-1409A-265                004068P001-1409A-265              007685P001-1409A-265
SANDY J SANCHEZ              SELENA M SANCHEZ                    SHAWNKIRA SANCHEZ                 SIERRA SANCHEZ
14236 ROSCOE BLVD            1317 EAST POLK                      7530 ORCHARD ST                   2717 JEFFERSON ST
APT 1                        HARLINGEN TX 78550                  APT 40                            ALBUQUERQUE NM 87110
PANORAMA CITY CA 91402                                           RIVERSIDE CA 92504




000871P001-1409A-265         001993P001-1409A-265                004072P001-1409A-265              008404P001-1409A-265
VANESSA M SANCHEZ            VANESSA S SANCHEZ                   VICTORIA SANCHEZ                  VIVIAN SANCHEZ
22491 DE BERRY APT N173      4267 KLEIN MEADOWS                  2170 RAIN DROP CIR                3516 W 65TH PL
GRAND TERRACE CA 92313       NEW BRAUNFELS TX 78130              PITTSBURG CA 94565                CHICAGO IL 60629




005660P001-1409A-265         004346P001-1409A-265                002359P001-1409A-265              003098P001-1409A-265
YADIRA R SANCHEZ             YESSENIA SANCHEZ                    YOLANDA L SANCHEZ                 DAYSY SANCHEZPREIADO
3902 LANCOME ST              3676 DEL SOL BLVD                   5076 SAVANNAH RIVER WAY           14230 MILITARY RD S
LAS VEGAS NV 89115           B                                   107                               TUKWILA WA 98168
                             SAN DIEGO CA 92154                  ORLANDO FL 32839




001367P001-1409A-265         006476P001-1409A-265                032448P001-1409A-265              005829P001-1409A-265
KAYLA M SANDELL              JACI L SANDER                       SANDERS FIRE AND SAFETY           ANRIEL SANDERS
3814 YORKLAND DR NW APT 1    705 HEAVENS DR                      SANDERS INDUSTRIAL EQUIPMENT C    455 WEST HILL DR
COMSTOCK PARK MI 49321       APT 3                               26 VIALL AVE                      455 WEST HILL
                             MANDEVILLE LA 70471                 MECHANICVILLE NY 12118            JACKSON MS MS 39209




006550P001-1409A-265         036997P001-1409A-265                006199P001-1409A-265              008967P001-1409A-265
COURTNEY L SANDERS           CULLEN SANDERS                      CULLEN A SANDERS                  DANYELLE S SANDERS
4649 TEMESCAL CANYON RD      397 N RANGE RD                      397 N RANGE RD                    2301 KENSINGTON PL APT H
APT 102                      COCOA FL 32926                      COCOA FL 32926                    ASHEVILLE NC 28803
CORONA CA 92883




035995P001-1409A-265         007603P001-1409A-265                004441P001-1409A-265              007516P001-1409A-265
HALEY D SANDERS              IJANAE SANDERS                      KAYLA R SANDERS                   TASHA N SANDERS
4616 CAROL LN                301 PARKWEST                        3820 PENDIENTE CT                 1915 ROOF ST
SHINGLE SPRINGS CA 95682     U5                                  N208                              COLUMBIA SC 29223
                             LANSING MI 48917                    SAN DIEGO CA 92124




006539P001-1409A-265         007065P001-1409A-265                004951P001-1409A-265              008706P001-1409A-265
WHITNEY N SANDERS            ZANIYA J SANDERS                    ERYKA SANDERSON                   ALEXCIS M SANDOVAL
3229 CLEARVIEW DR SW         2602 LITTLE HILL COVE               35 W GREENWICH ST                 405 SLOAN ST
MARIETTA GA 30060            #114                                BETHLEHEM PA 18018                APT 604
                             OVIEDO FL 32765                                                       TAYLOR TX 76574
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004224P001-1409A-265                 002016P001-1409A-265                      001315P001-1409A-265           009423P001-1409A-265
ALMA D SANDOVAL                      ALMA R SANDOVAL                           DAVID SANDOVAL                 DAVID SANDOVAL
23347 AVE 11                         844 GOLF COURSE RD                        8935 CAROB DR                  1945 SANDALWOOD DR
MADERA CA 93637                      ANTHONY NM 88021                          FONTANA CA 92335               EL CENTRO CA 92243




005012P001-1409A-265                 005304P001-1409A-265                      003109P001-1409A-265           007825P001-1409A-265
LAURA SANDOVAL                       MARTHA I SANDOVAL                         NANCY C SANDOVAL               RAVEN D SANDOVAL
407 W BUCKTHORN ST                   8944 LANDER ST                            18725 RUNNYMEDE ST             3669 PIN OAK AVE
INGLEWOOD CA 90301                   WESTMINSTER CO 80031                      RESEDA CA 91335                NEW ORLEANS LA 70131




008562P001-1409A-265                 033123P001-1409A-265                      033123S001-1409A-265           009842P001-1409A-265
YOSELIN SANDOVAL                     SANDPIPER ENERGY INC                      SANDPIPER ENERGY INC           SANDRA DALTON, CLERK OF
9281 BAYBERRY AVE                    PO BOX 826531                             32145 BEAVER RUN DR            CIRCUIT COURT
MANASSAS VA 20110                    PHILADELPHIA PA 19182                     SALISBURY MD 21804             100 WEST PATRICK ST
                                                                                                              FREDERICK MD 21701




032449P001-1409A-265                 009844P001-1409A-265                      004944P001-1409A-265           031546S001-1409A-265
SANDRA VILLELA                       SANDY CITY COMMERCIAL LICENSE             RACKY SANGARE                  SANGERTOWN SQUARE L.L.C.
2537 W OCCIDENTAL ST                 10000 CENTENNIAL PKWY                     205 SW 75TH ST                 BARCLAY DAMON LLP
SANTA ANA CA 92704-4044              SANDY UT 84070                            GAINESVILLE FL 32607           KEVIN NEWMAN SCOTT FLEISCHER
                                                                                                              BARCLAY DAMON TOWER
                                                                                                              125 EAST JEFFERSON ST
                                                                                                              SYRACUSE NY 13202


031546P001-1409A-265                 035344P001-1409A-265                      035344S001-1409A-265           008148P001-1409A-265
SANGERTOWN SQUARE LLC                SANGERTOWN SQUARE LLC                     SANGERTOWN SQUARE LLC          JASH SANGHAVI
MANUFACTURES AND TRADERS TRUST CO    BARCLAY DAMON LLP                         PYRAMID MANAGEMENT GROUP LLC   12781 SW 45TH DR
PO BOX 8000 DEPT # 332               KEVIN M NEWMAN                            JOHN D CICO                    MIRAMAR FL 33027
BUFFALO NY 14267                     BARCLAY DAMON TOWER                       THE CLINTON TOWER
                                     125 E JEFFERSON ST                        4 CLINTON SQ
                                     SYRACUSE NY 13202                         SYRACUSE NY 13202


035996P001-1409A-265                 031547P001-1409A-265                      008120P001-1409A-265           037260P001-1409A-265
ALLAZIA M SANKS                      SANTA ROSA PLAZA                          BRIANNA SANTAELLA              BRIANNA SANTAELLA
922 HOLDERNESS LN                    THE RETAIL PROPERTY TRUST                 133 4TH PL                     133 4TH PLACE
CINCINNATI OH 45240                  EMI SANTA ROSA LTD PARTNERSHIP            MCFARLAND CA 93250             MCFARLAND CA 33801
                                     PO BOX 772814
                                     CHICAGO IL 60677-2814



001269P001-1409A-265                 002045P001-1409A-265                      035997P001-1409A-265           006068P002-1409A-265
ALEXANDRA SANTANA                    ALONDRA SANTANA                           ALONDRA SANTANA                ALYSSA M SANTANA
CALLE TOPACIO                        40 RICHARDSON ST                          13 PLEASANT CIR                5706 W GEORGE APT 2
D8 URB COUNT                         LOWELL MA 01850                           METHUEN MA 01844               CHICAGO IL 60634
CANOVANAS PR 00729
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005593P001-1409A-265     009211P001-1409A-265                     003728P002-1409A-265         003436P001-1409A-265
LLEREMI SANTANA          LUCERO J SANTANA                         TANYA M SANTANA              MARI K SANTANGELO
14101 SW 272ND ST        914 S CHESTNUT                           85 ARCH ST APT 202           4735 TONAWANDA CREEK RD NORT
HOMESTEAD FL 33032       MCKINNEY TX 75069                        NEW BRITAIN CT 06052         NORTH TONAWANDA NY 14120




005733P001-1409A-265     008445P001-1409A-265                     007920P001-1409A-265         005228P001-1409A-265
ALEXEA L SANTIAGO        ASHLEY M SANTIAGO                        EMILIA SANTIAGO              GABRIELA SANTIAGO
1821 WISDOM DR           2809 LYNDSCAPE ST                        506 S WHITE HORSE PIKE       EL FARO
AMARILLO TX 79106        ORLANDO FL 32833                         A2                           #10
                                                                  STRATFORD NJ 08084           VEGA BAJA PR 00693




002725P001-1409A-265     007205P001-1409A-265                     002882P001-1409A-265         005937P001-1409A-265
IVELISSE SANTIAGO        JAHZLYN M SANTIAGO                       JONATHAN SANTIAGO            KATIRIA SANTIAGO
129 LOCUST ST            22 BROOKS ST                             AVE FRAGOSO                  60 HOWARD AVE
3W                       CRANSTON RI 02920                        CAROLINA PR 00985            LANCASTER PA 17602
WATERBURY CT 06704




005996P001-1409A-265     009319P001-1409A-265                     002116P001-1409A-265         004680P001-1409A-265
KELSIE SANTIAGO          LEILANNY M SANTIAGO                      RACHEL SANTIAGO              EMILY N SANTIBANEZ
852 HOWARD AVE           84 CHESAPEAKE ST                         731 STONE RD                 13102 S WAYSIDE DR
2                        LANCASTER PA 17602                       ROCHESTER NY 14616-4428      HOUSTON TX 77048
BRIDGEPORT CT 06605




006808P001-1409A-265     004920P001-1409A-265                     003519P001-1409A-265         004679P001-1409A-265
ANDREA E SANTOS          HAYDEE L SANTOS                          HAYLIE N SANTOS              KAYLA S SANTOS
7783 GLADE CT            CALLE 1D                                 623 FARRAR DR                816 CELESTINE CIR
MANASSAS VA 20112        COND JARDINES                            CAPE GIRARDEAU MO 63701      VACAVILLE CA 95687
                         SAN JUAN PR 00918




000887P001-1409A-265     030622P001-1409A-265                     008234P001-1409A-265         004380P001-1409A-265
MARIA DE LOS A SANTOS    STEPHANIE SANTOS                         SULEIMY R SANTOS             TAYLOR L SANTOS
CALLE 16 BUZON 624       ADDRESS INTENTIONALLY OMITTED            401 TERAVISTA PKWY           341 CANTERBURY CIR NW
PARC 201                                                          928                          FORT WALTON BEACH FL 32548
LA CENTRAL PR 00729                                               ROUND ROCK TX 78665




008296P001-1409A-265     031090P001-1409A-265                     036943P002-1409A-265         032450P001-1409A-265
PALOMA SANTOSBERMUDES    SANWEN INC                               SANWEN INC                   SAP AMERICA INC
94-1081 NALII ST         1921 CENTRAL AVE                         MAZZOLA LAW FIRM PC          CAROLYNN BEAMES
WAIPAHU HI 96797         S. EL MONTE CA 91733                     JC MAZZOLA                   3999 WEST CHESTER PIKE
                                                                  733 THIRD AVE                NEWTON SQUARE PA 19073
                                                                  15TH FLOOR
                                                                  NEW YORK NY 10017
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002464P001-1409A-265       006049P001-1409A-265                    036296P001-1409A-265          035206P001-1409A-265
TURQUOISE N SAPENTER       MELISSA K SAPUTO                        SARA BELLA JEWELRY            SARA BELLA JEWELRY INC
3166 BRIDLE DR             813 NORTHAMPTON DR                      58 WALCOTT ST                 DARLENE M BRIEN
HAYWARD CA 94541           CRYSTAL LAKE IL 60014                   PAWTUCKET RI 02860            58 WALCOTT ST
                                                                                                 PAWTUCKET RI 02860




009283P001-1409A-265       002256P001-1409A-265                    032451P001-1409A-265          032452P001-1409A-265
JACQUELINE SARACENO        MARVI GAIL M SARAGENA                   SARAH BETZ                    SARAH DONNER
5304 GROSSETO WAY          91-069 FORT WEAVER RD                   1332 SMALLWOOD DR             9920 VAN DORN
MYRTLE BEACH SC 29579      1                                       COLUMBUS OH 43235             LINCOLN NE 68520
                           EWA BEACH HI 96706




037832P002-1409A-265       010664P001-1409A-265                    010665P001-1409A-265          010666P001-1409A-265
SARAH SCARBOROUGH          SARANAC CLO III LIMITED                 SARANAC CLO V LIMITED         SARANAC CLO VII LIMITED
2931 BIRCHCREEK DRIVE      CANARAS                                 CANARAS                       CANARAS
WESLEY CHAPEL FL 33544     BENJAMIN STEGER                         BENJAMIN STEGER               BENJAMIN STEGER
                           FIFTH FL 37 ESPLANADE                   FIFTH FL 37 ESPLANADE         FIFTH FL 37 ESPLANADE
                           ST HELIER                               ST HELIER                     ST HELIER
                           JERSEY JE 1 2TR                         JERSEY JE 1 2TR               JERSEY JE 1 2TR
                           CHANNEL ISLANDS                         CHANNEL ISLANDS               CHANNEL ISLANDS
032453P001-1409A-265       009918P001-1409A-265                    031548P001-1409A-265          033440P001-1409A-265
SARASOTA COUNTY            SARASOTA COUNTY FIRE DEPT               SARASOTA SHOPPINGTOWN LLC     SARD VERBINNEN AND CO LLC
101 S WASHINGTON BLVD      FINANCE DEPARTMENT-4TH FLOOR            BANK OF AMERICA               VILMA DADIA
SARASOTA FL 34236-6993     1660 RINGLING BLVD                      FILE #57406                   630 THIRD AVE
                           SARASOTA FL 34236                       LOS ANGELES CA 90074-7406     NEW YORK NY 10017




002058P001-1409A-265       005353P002-1409A-265                    033405P001-1409A-265          030750P001-1409A-265
AUBREY SARGENT             JAYDEN A SARGENT                        SARGENTI ARCHITECTS P C       SARINA ACCESSORIES
525 MANDANA BLVD           6204 N SHERIDAN RD                      NICOLE SIMONE                 DAVID FAHAM
APT 306                    PEORIA IL 61614-3548                    461 FROM RD                   15 WEST 36 ST
OAKLAND CA 94610                                                   PARAMUS NJ 07652              5TH FL
                                                                                                 NEW YORK NY 10018



036297P001-1409A-265       004177P001-1409A-265                    001533P001-1409A-265          008602P001-1409A-265
SARINA ACCESSORIES         CATHERINE A SARMIENTO                   JASMINE M SARMIENTO           ANNA E SASSAMAN
15 WEST 36 ST 5TH FLOOR    246 SUYDAM ST                           3439 MARION ST                209 WINDING WAY
NEW YORK NY 10018          1L                                      DENVER CO 80205               MORRISVILLE PA 19067
                           BROOKLYN NY 11237




002027P001-1409A-265       004256P001-1409A-265                    002012P001-1409A-265          030503P001-1409A-265
ANGELQUE SATCHELL          ASHLEY SATCHELL                         RAINA SATIJA                  MARIE SATTERFIELD
1424 CONGRESS ST APT B     623 CHATHAM RD                          703 E ELM ST                  ADDRESS INTENTIONALLY OMITTED
CHESTER PA 19013           FAIRLESS HILLS PA 19030                 APT B205
                                                                   NORRISTOWN PA 19401
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001611P001-1409A-265          036841P001-1409A-265                     001264P001-1409A-265         001595P001-1409A-265
TIFFANY MARIE SATTERFIELD     TIFFANY MARIE SATTERFIELD                BRIANA I SAUCEDO             JAMES SAUCEDO
3459 21ST ST                  CHARLOTTE RUSSE                          6022 CAPROCK CT              15804 BUCK PT LN
SAN FRANCISCO CA 94110        SECRETARY                                APT 1301                     FONTANA CA 92336
                              575 FLORIDA ST                           EL PASO TX 79912
                              SAN FRANCISCO CA 94110



005123P001-1409A-265          030462P001-1409A-265                     006720P001-1409A-265         006354P001-1409A-265
JANNELLE SAUCEDO              KRYSTAL SAUCEDO                          ROSEMARY N SAUCEDO           ALEXIS N SAUER
1277 MIRAMAR WALK             ADDRESS INTENTIONALLY OMITTED            1715 TARGET AVE              1831 CLEARWOOD RD
OXNARD CA 93035                                                        TULARE CA 93274              BALTIMORE MD 21234




004908P001-1409A-265          008625P001-1409A-265                     034133P001-1409A-265         032321P001-1409A-265
AUBRIE E SAULSBERRY           CALEY SAUNDERS                           HUDSON SAUNDERS              NIKKI SAUNDERS
4308 SE TROTTER DR            745 TRACY LN UNIT 146                    1273 HAYES ST                49 PINE GROVE
LEES SUMMIT MO 64082          CLARKSVILLE TN 37040                     #1                           TOTTERIDGE
                                                                       SAN FRANCISCO CA 94117       LONDON N20 8LA
                                                                                                    UNITED KINGDOM



008075P001-1409A-265          009517P001-1409A-265                     000994P001-1409A-265         008801P001-1409A-265
KAITLYN M SAVAGE              KAYLA Q SAVAGE                           WHITNEY R SAVAGE             JOANNE M SAVINDA
99 MAGNOLIA DR                525 BAKER ST                             27447 ELSWORTH ST            321 POE DR
GOFFSTOWN NH 03045            KINGS MOUNTAIN NC 28086                  FARMINGTON HILLS MI 48336    PENN HILLS PA 15235-4647




006373P001-1409A-265          003624P001-1409A-265                     034399P001-1409A-265         037658P002-1409A-265
DEJA A SAVOT                  LANA SAWAKED                             SAWGRASS MILLS               SAWGRASS MILLS PHASE III LIMITED PARTNERSHIP
310 CAROLINE DR               7211 OTIS CT                             PO BOX 277861                A DELAWARE LIMITED PARTNERSHIP
A12                           ARVADA CO 80003                          ATLANTA GA 30384-7861        SIMON PROPERTY GROUP LPRONALD M TUCKER
LAPLATA MD 20646                                                                                    225 WEST WASHINGTON ST
                                                                                                    INDIANAPOLIS IN 46204



033124P001-1409A-265          033124S001-1409A-265                     008949P001-1409A-265         000943P001-1409A-265
SAWNEE ELECTRIC MEMBERSHIP    SAWNEE ELECTRIC MEMBERSHIP               MEGHAN SAXTON                BOUALAY L SAYAVONG
ID 1204                       543 ATLANTA HIGHWAY                      5 FIELD RD                   2016 NORTH 34TH
PO BOX 2252                   CUMMING GA 30040                         ENFIELD CT 06082             FORT SMITH AR 72904
BIRMINGHAM AL 35246




006303P001-1409A-265          035351P001-1409A-265                     008362P001-1409A-265         009983P001-1409A-265
HANNAH J SAYLES               SB360 CAPITAL PARTNERS LLC               DOMINIQUE J SBARRA           SBC TAX COLLECTOR
7452 ERIE AVE SW              ROBERT RASKIN                            225 S LIBERTY ST             268 W HOSPITALITY LN
NAVARRE OH 44662              1010 NORTHERN BLVD SUITE 340             HAMMONTON NJ 08037           FIRST FL
                              GREAT NECK NY 11021                                                   SAN BERNADINO CA 92415-0360
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009776P001-1409A-265        032782P001-1409A-265                032785P001-1409A-265              009818P001-1409A-265
SC DEPT OF REVENUE          SC DEPT OF REVENUE                  SC DEPT OF REVENUE                SC DEPT OF REVENUE CORPORATE TAXABLE
CORPORATE REFUND            REGISTRATION UNIT                   SALES TAX RETURN                  COLUMBIA SC 29214-0033
COLUMBIA SC 29214-0032      PO BOX 125                          PO BOX 125
                            COLUMBIA SC 29214                   COLUMBIA SC 29214




008999P001-1409A-265        004549P001-1409A-265                001310P001-1409A-265              009373P001-1409A-265
JOSLYNN SCACCIA             ALLYAH N SCAGLIONE                  REBA SCALES                       KIRA M SCALLION
130 BUSH ST                 387 TOMS RIVER RD                   3306 TRAVIS AVE                   2541 CHAUCER CT
BUFFALO NY 14207            JACKSON NJ 08527                    MIDLAND TX 79703-7128             EUGENE OR 97405




003789P001-1409A-265        003291P001-1409A-265                007623P001-1409A-265              007729P001-1409A-265
MERISSA A SCARABINO         SARAH F SCARBOROUGH                 ASHLEY N SCARBROUGH               KENDRA SCARLETT
7 PORLAMAR CT               2931 BIRCHCREEK DR                  209 NORTH CONGRESS ST             8742 AIRYBRINK LN
TOMS RIVER NJ 08757         WESLEY CHAPEL FL 33544              MENDENHALL MS 39114               COLUMBIA MD 21045




031091P001-1409A-265        000896P001-1409A-265                006924P001-1409A-265              003113P001-1409A-265
SCENTO INC                  LAUREN SCHAAR                       WHITNEY N SCHACK                  TARA SCHAEFFER
LEYLA CHAVEZ                953 DEERFIELD ST                    379 WEST MEYERS AVE               4 THAYER POND DR UNIT 24
8640 ARGENT ST              ONTARIO CA 91761                    HAZEL PARK MI 48030               NORTH OXFORD MA 01537
SANTEE CA 92071




004747P003-1409A-265        035998P001-1409A-265                001338P001-1409A-265              033411P001-1409A-265
LEXI R SCHEERSCHMIDT        LEXI R SCHEERSCHMIDT                ERIC R SCHEIB                     MARGARET SCHEMPF
1120 AMESBURY CT APT 206    2200 WILLOW OAK CIR                 393 27TH ST                       4943 1/2 MAPLEWOOD AVE
CLOVER SC 29716-0498        212                                 SAN FRANCISCO CA 94131            LOS ANGELES CA 90004
                            VA BEACH VA 23451




007574P001-1409A-265        033714P002-1409A-265                003750P001-1409A-265              008546P001-1409A-265
SARAH N SCHENK              SCHENKER INC                        MEGAN L SCHERBERGER               EMILY A SCHERER
1325 ANITA ST               41 PINELAWN RD # 110                5925 W MARY JANE LN               6393 GLENMONT DR
PUEBLO CO 81001             MELVILLE NY 11747-3149              GLENDALE AZ 85306                 HAMILTON OH 45011




003102P001-1409A-265        004468P001-1409A-265                001103P001-1409A-265              037143P001-1409A-265
MEGAN K SCHERTZ             REGINA SCHETROMA                    CARRIE L SCHICK                   TIFFANY SCHITA
2701 VAN NESS DR            1480 N BAILEY RD                    725 STCLAIR AVE                   2627 NW 33RD ST APT 2212
606                         DOWNINGTOWN PA 19335                ERIE PA 16505-3230                OAKLAND PARK FL 33309
SAN FRANCISCO CA 94109
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007597P001-1409A-265                     002750P001-1409A-265                     002539P001-1409A-265            005559P001-1409A-265
TIFFANY A SCHITA                         ANNE M SCHLEGEL                          AUBREANNA SCHLEGEL              KORAH M SCHLEINKOFER
2627 NW 33RD ST                          302 JACQUELINE LN                        221 N VINE ST                   328 KIHAPAI ST
APT 2212                                 JACKSON MO 63755                         WICHITA KS 67203                KAILUA HI 96734
OAKLAND PARK FL 33309




036571P001-1409A-265                     030417P001-1409A-265                     030289P001-1409A-265            001045P001-1409A-265
JORDAN SCHLUETER                         JORDAN M SCHLUETER                       CORY SCHLUMP                    CORY D SCHLUMP
306 KENTABOO AVE                         ADDRESS INTENTIONALLY OMITTED            ADDRESS INTENTIONALLY OMITTED   317 GROVELAND AVE
FLORENCE KY 41042                                                                                                 APT 109
                                                                                                                  MINNEAPOLIS MN 55403




000875P001-1409A-265                     004423P001-1409A-265                     009197P001-1409A-265            002970P001-1409A-265
TIFFANY K SCHLURENSAUER                  EMILY A SCHMIDT                          SYDNEY SCHMIDT                  ELISABETH B SCHMITT
15 COTTAGE ST                            3819 EAST AVE                            14632 WHISPERING BREEZE DR      102 KASEY ST
SALT POINT NY 12578                      #36                                      FISHERS IN 46037                SLIDELL LA 70458
                                         LIVERMORE CA 94550




002835P001-1409A-265                     008386P001-1409A-265                     035347P002-1409A-265            034158P001-1409A-265
WENDY H SCHMITT                          SAMANTHA SCHMOLDT                        ERIC SCHNABEL                   SCHNADER HARRISON SEGAL AND LEWIS L
102 KASEY ST                             943 HOLLYBROOK DR                        DORSEY LLP                      1600 MARKET ST
SLIDELL LA 70458                         INEZ TX 77968                                                            STE 3600
                                                                                                                  PHILADELPHIA PA 19103




030876P001-1409A-265                     008792P001-1409A-265                     033715P001-1409A-265            005240P001-1409A-265
SCHNADER HARRISON SEGAL AND LEWIS LLP    ALYSIA M SCHNEBERGER                     SCHNEIDER ELECTRIC              MORGAN R SCHNEIDER
DAVID M BABACK                           7800 WOODMAN AVE                         10350 ORMSBY PK PL              16609 KELLOGG AVE
1600 MARKET ST                           APT 123                                  STE 400                         THREE RIVERS MI 49093
STE 3600                                 PANORAMA CITY CA 91402                   LOUISVILLE KY 40223
PHILADELPHIA PA 19103



005504P001-1409A-265                     010542P001-1409A-265                     031092P001-1409A-265            036298P001-1409A-265
STEPHANIE R SCHOENEMAN                   MW SCHOFIELD                             SCHOLASTIC INC                  SCHOLASTIC INC
1806 NE 41ST CIR                         CLARK COUNTY ASSESSOR                    PAULA JOHNSON                   557 BROADWAY
VANCOUVER WA 98663                       PO BOX 551401                            557 BROADWAY                    NEW YORK NY 10012
                                         LAS VEGAS NV 89155-1401                  NEW YORK NY 10012




003377P001-1409A-265                     004289P001-1409A-265                     004478P002-1409A-265            006743P001-1409A-265
ALYSSA SCHOOLS                           THERESIA A SCHOONMAKER                   HANNAH S SCHRADER               NICOLE M SCHREINER
5047 BRITANEY RD                         12 BEL AIR FARM RD                       45 WESTON WAY                   323 WELLINGTON CT
ROANOKE VA 24012                         MILLBROOK NY 12545                       BALLSTON SPA NY 12020-4100      JACKSON NJ 08527
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008150P001-1409A-265                  004074P001-1409A-265                    006098P001-1409A-265            004497P001-1409A-265
KEELI SCHREPEL                        SAMANTHA SCHROEDER                      JAMIE L SCHROTH                 ABBY SCHUELLER
3462 GLEN ELLEN DR                    2096 WINDBROOK DR SE                    222 CEDAR GROVE RD              3000 UNIVERSITY AVE
FAIRFIELD CA 94534                    PALM BAY FL 32909                       TOMS RIVER NJ 08753             APT 24203
                                                                                                              WEST DES MOINES IA 50266




002030P001-1409A-265                  036647P001-1409A-265                    002026P001-1409A-265            037150P001-1409A-265
MIA R SCHULD                          MEAGHAN SCHULTZ                         SAMANTHA A SCHULTZ              SCHUSTER AGUILO LLC
26159 HAWTHORNE CT                    6442 FLAGLER DR                         1524 ROYAL GATE DR              PO BOX 363128
OLMSTED FALLS OH 44138                GULF BREEZE FL 32563                    NEW BRAUNFELS TX 78132-2423     SAN JUAN PR 00936-3128




032454P001-1409A-265                  004614P001-1409A-265                    006394P001-1409A-265            030204P001-1409A-265
SCHUSTER USERA AGUILO AND SANTIAGO    JULIE L SCHUSTER                        JASMINE N SCHWARTZ              AMANDA SCHWEFEL
PO BOX 363128                         308 SAN GABRIEL ST                      3232 N TALBOT AVE               ADDRESS INTENTIONALLY OMITTED
SAN JUAN PR 00936-3128                WINTER SPRINGS FL 32708                 8
                                                                              ERLANGER KY 41018




001535P001-1409A-265                  036382P001-1409A-265                    000997P001-1409A-265            031093P001-1409A-265
AMANDA L SCHWEFEL                     AMY SCHWENDEMAN                         AMY K SCHWENDEMAN               SCHYLLING INC
4261 MARGARITA ST                     1046 BAYRIDGE DR                        1046 BAYRIDGE DR                21 HIGH ST
IRVINE CA 92604                       LEWIS CENTER OH 43035                   LEWIS CENTER OH 43035           STE 400
                                                                                                              NORTH ANDOVER MA 01845




009485P001-1409A-265                  006419P001-1409A-265                    005560P001-1409A-265            009487P001-1409A-265
EMILY SCIANNA                         NATALIE E SCIANNA                       ROSETTA M SCIMECA               ANTHONY J SCIOLI
5030 COLLEGE AVE                      2113 SOUTH SORRENTO HILLS RD            125 S ZURICH AVE                611 ELM ST
MAILBOX 19                            SAINT AUGUSTINE FL 32092                EGG HARBOR CITY NJ 08215        BIRSDBORO PA 19508
SAN DIEGO CA 92115




003308P001-1409A-265                  033441P001-1409A-265                    032455P001-1409A-265            009253P001-1409A-265
YVONNE SCISCO                         SCOPE APPAREL                           SCOTT MANSFIELD                 ALAYA J SCOTT
2811 MANION DR                        BURNSIDE / SCOPE IMPORTS                1256 SW SILVERLAKE BLVD # 100   1116 NE ADAMS ST
MISSOURI CITY TX 77459                BRIGITT ISENHOUR                        BEND OR 97702                   PEORIA IL 61603
                                      6300 W LOOP SOUTH
                                      STE 100
                                      BELLAIRE TX 77401


006854P001-1409A-265                  000499P001-1409A-265                    001452P001-1409A-265            022290P001-1409A-265
ARENITA SCOTT                         ASHLYN B SCOTT                          BREONA M SCOTT                  BRITTNEY SCOTT
2420 LYNCREST DR                      3033 PORTULACA DR                       72 FOXWELL BEND RD              31623 WALLER TOMBALL RD
COLORADO SPRINGS CO 80918             ROUND ROCK TX 78681                     GLEN BURNIE MD 21061            WALLER TX 77484
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004041P001-1409A-265              006624P001-1409A-265                       009154P001-1409A-265            009210P001-1409A-265
CORINNE SCOTT                     DARONDA A SCOTT                            DEANNA SCOTT                    DYKEYAH SCOTT
10 NORLAND CT                     273 PULLMAN AVE                            111 CHINN DR                    1422 HAWKTREE DR
SARATOGA SPRINGS NY 12866         ROCHESTER NY 14626                         CANTON MS 39046                 COLLEGE STATION TX 77845




008577P001-1409A-265              008891P001-1409A-265                       029224P002-1409A-265            004526P001-1409A-265
HAILEY C SCOTT                    HALEY A SCOTT                              KRISTIONA SCOTT                 MACEE R SCOTT
700 BEVERLY HILLS RD APT #836     1869 WATSON AVE                            3753 FAIRWAY DR APT 22B         2611 QUAIL ST
836                               APT 2                                      LA MESA CA 91941                HARRISONVILLE MO 64701
HATTIESBURG MS 39401              BRONX NY 10472




008970P002-1409A-265              005971P001-1409A-265                       031549P001-1409A-265            037773P001-1409A-265
MATLYNE P SCOTT                   TAEJAHA N SCOTT                            SCOTTSDALE FASHION SQUARE LLC   SCOTTSDALE FASHION SQUARE LLC
424 SHERIDAN DR APT J             288 WHEELER AVE                            PO BOX 31001-2156               BALLARD SPAHR LLP
CAPE GIRARDEAU MO 63703-6419      BRIDGEPORT CT 06606                        PASADENA CA 91110-2156          DUSTIN P BRANCH
                                                                                                             2029 CENTURY PARK EAST STE 800
                                                                                                             LOS ANGELES CA 90067-2909



034493P001-1409A-265              031550P001-1409A-265                       032456P001-1409A-265            034260P001-1409A-265
SCOTTSDALE QUARTER REIT I, LLC    SCOTTSDALE QUARTER SDQ FEE, LLC            SCOUT MODEL AGENCY              SCOUT MODEL AGENCY
SDQ FEE LLC                       SCOTTSDALE QUARTER REIT I LL               RYAN LIPPERT                    355 BRYANT ST # 206
L-3707                            L-3707                                     355 BRYANT ST # 206             SAN FRANCISCO CA 94107
COLUMBUS OH 43260-3707            COLUMBUS OH 43260-3707                     SAN FRANCISCO CA 94107




033125P001-1409A-265              033125S001-1409A-265                       006448P001-1409A-265            030400P001-1409A-265
SCRANTON SEWER AUTHORITY          SCRANTON SEWER AUTHORITY                   ANA J SCRUGGS                   JESSICA SCUDEN
312 ADAMS AVE                     307 N WASHINGTON AVE                       32571 ROTHENBERG DR             ADDRESS INTENTIONALLY OMITTED
SCRANTON PA 18503                 SCRANTON PA 18503                          TEMECULA CA 92592




003085P001-1409A-265              036598P001-1409A-265                       001199P001-1409A-265            007640P001-1409A-265
JESSICA SCUDERI                   KRISTEN RIVERA SCULL                       SAMANTHA SCURRY                 HALEIGH SCUTT
525 NW PINESAP PL                 311 E WHATLEY ST                           191 CARLTON DR EAST             21581 WEST 215TH ST
JENSEN BEACH FL 34957             POOLER GA 31322-3229                       SHIRLEY NY 11967                SPRING HILL KS 66083




007251P001-1409A-265              032457P001-1409A-265                       037223P001-1409A-265            037223S001-1409A-265
KAYLA M SCYOC                     SDI INDUSTRIES, INC                        SDQ FEE LLC                     SDQ FEE LLC
435 ERIE CT                       13000 PIERCE ST                            WASHINGTON PRIME GROUP INC      WASHINGTON PRIME GROUP INC
SHELBYVILLE KY 40065              PACOIMA CA 91331                           FROST BROWN TODD LLC            STEPHEN E IFEDUBA
                                                                             301 E FOURTH ST                 180 E BROAD ST
                                                                             CINCINNATI OH 45202             COLUMBUS OH 43215
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003162P001-1409A-265             006212P001-1409A-265                    005962P001-1409A-265             008525P001-1409A-265
KATHRYN SEAGO                    DIAMOND L SEALEY                        COURTNEY B SEALS                 KYLIE M SEALS
325 OSTEMO PL                    130-17 225TH ST                         7440 NEW VISTA DR                4143 YOSEMITE BLVD
SOUTH BEND IN 46617              NEW YORK NY 11413                       ASHLAND KY 41102                 SPC D2
                                                                                                          MODESTO CA 95357




030457P002-1409A-265             001741P001-1409A-265                    003255P001-1409A-265             003734P001-1409A-265
KRISTEN SEARCY                   KRISTEN L SEARCY                        SAMONA R SEARCY                  HENNESSY M SEBASTIAN
ADDRESS INTENTIONALLY OMITTED    36811 THINBARK                          631 MELODY LN                    487 DEBORAH DR
                                 WAYNE MI 48184-2424                     GRAND JUNCTION CO 81506          UTICA NY 13502




008576P001-1409A-265             002544P001-1409A-265                    037297P001-1409A-265             031094P001-1409A-265
VICTORIA SEBASTIAN               JULIA B SECLETER                        JULIA B SECLETER                 SECOND GENERATION, INC
7 BALSAM DR                      1950 42ND WAY NORTH                     JULIA SECLETER                   DBA BE BOP / FISHBOWL
CHELMSFORD MA 01824              ST PETERSBURG FL 33713                  1950 42ND WAY NORTH              MARGARET RUSKIN
                                                                         SAINT PETERSBURG FL 33713-4749   4433 PACIFIC BLVD
                                                                                                          VERNON CA 90058



030751P001-1409A-265             036299P001-1409A-265                    010388P001-1409A-265             009890P001-1409A-265
SECRET CHARM LLC                 SECRET CHARM LLC                        SECRETARIO DE HACIENDA           SECRETARY OF STATE
REBECCA MCMANUS                  1437 EAST 20TH ST                       PO BOX 9022501                   1305 STATE CAPITOL
1437 EAST 20TH ST                LOS ANGELES CA 90011                    SAN JUAN PR 00902-2501           PO BOX 94608
LOS ANGELES CA 90011                                                                                      LINCOLN NE 68509-4608




009946P001-1409A-265             010049P001-1409A-265                    010053P001-1409A-265             010216P001-1409A-265
SECRETARY OF STATE               SECRETARY OF STATE                      SECRETARY OF STATE               SECRETARY OF STATE
202 N CARSON ST                  500 E CAPITOL                           DEPT OF BUSINESS SVC             PO BOX 1366
CARSON CITY NV 89701-4201        PIERRE SD 57501-5077                    501 S 2ND ST                     JEFFERSON CITY MO 65102
                                                                         SPRINGFIELD IL 62756-5510




010269P001-1409A-265             010324P001-1409A-265                    010392P001-1409A-265             010447P001-1409A-265
SECRETARY OF STATE               SECRETARY OF STATE                      SECRETARY OF STATE               SECRETARY OF STATE
PO BOX 23083                     CORPORATE DIVISION                      COMMERCIAL DIVISION              CORPORATIONS DIVISION
JACKSON MS 39225-3083            PO BOX 40234                            PO BOX 94125                     PO BOX 105607
                                 OLYMPIA WA 98504-0234                   BATON ROUGE LA 70804-9125        ATLANTA GA 30348-5607




032780P001-1409A-265             032458P001-1409A-265                    032459P001-1409A-265             036751P001-1409A-265
SECRETARY OF STATE               SECRETARY OF STATE CORP TAX             SECURAMERICA, LLC                SECURITAS SECURITY SVC
LUCAS BUILDING FIRST FLOOR       RETURN PROC IOWA DEPT OF REV            LORRAINE MONPLAISIR              FILE 57220
1007 EAST GRAND AVE              PO BOX 10468                            3399 PEACHTREE RED NE            LOS ANGELES CA 90074-7220
RM 105 STATE CAPITOL             DES MOINES IA 50306-0468                STE 1500
DES MOINES IA 50319                                                      ATLANTA GA 30326
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032460P001-1409A-265              037469P001-1409A-265                                032461P001-1409A-265           009367P001-1409A-265
SECURITAS SECURITY SVC USA INC    SECURITAS SECURITY SVC USA INC                      SECURITY SIGNAL DEVICES, INC   CARMEN I SEDA
SECURITAS SECURITY SVC            JAIME BERGARA BUSINESS SVC MANAGER 00220            TERA BRINGHURST                53 KNIGHT ST
FILE 57220                        4330 PARK TER DR                                    1740 N LEMON ST                53
LOS ANGELES CA 90074-7220         WESTLAKE VILLAGE CA 91361                           ANAHEIM CA 92801               CENTRAL FALLS RI 02863




003318P001-1409A-265              002736P002-1409A-265                                032462P001-1409A-265           031095P001-1409A-265
LAUREN M SEDAL                    KELLEY D SEDIVY                                     SEDLAK MANAGMENT CONSULTANTS   SEE KAI RUN
12769 BARRS RD SW                 1200 IMPRESSIONIST LOOP                             22901 MILLCREEK BLVD           22118 20TH AVE
MASSILLON OH 44647                ROSEVILLE CA 95747-5171                             STE 600                        SE #130
                                                                                      CLEVELAND OH 44122             BOTHELL WA 98021




032463P001-1409A-265              004395P001-1409A-265                                002980P002-1409A-265           006417P001-1409A-265
SEE MANAGEMENT, INC               ANNIE M SEEL                                        HANNAH P SEELEY                LAUREN SEELY
MICHELLA ROSA                     4249 SE WISCONSIN                                   2816 TRIGGS AVE                123A GATES ST
307 SEVENTH AVE STE 1607          TOPEKA KS 66609                                     DULUTH MN 55811                SAN FRANCISCO CA 94110
NEW YORK NY 10001




032190P002-1409A-265              033726P001-1409A-265                                036553P001-1409A-265           026611P001-1409A-265
LAUREN SEELY                      STANLEY SEEMER                                      JACQUELINE SEGARRA             ANNALYSE L SEGOBIA
501 S KINGSLEY DR                 1500 MICHIGAN ST                                    13 KINROSE CT                  1935 WYOMING AVE
# 18                              SAN FRANCISCO CA 94124                              COLUMBIA SC 29229              LAS CRUCES NM 88001
LOS ANGELES CA 90020




008410P001-1409A-265              000973P001-1409A-265                                002733P001-1409A-265           005151P001-1409A-265
JATZIRI M SEGUNDO                 BIANCA V SEGURA                                     LUCKY SEHGAL                   SAMANTHA SEIBEL
2762 SCOTLAND DR                  2307 OAK BEACH BLVD                                 738 LONG BRIDGE ST             2533 ALDRINGHAM RD
COLUMBUS IN 47203                 SEBRING FL 33875                                    UNIT 619                       TOLEDO OH 43606
                                                                                      SAN FRANCISCO CA 94158




001530P001-1409A-265              009419P001-1409A-265                                001260P001-1409A-265           035999P001-1409A-265
CHRISTINE S SEIBOLD               SOPHIA S SEIDENSTICKER                              DANIELLE A SEILER              AFRICA SEIVWRIGHT
2759 RANCH RD 32                  2049 WILLIAMS ST                                    210 BOLIVAR DR                 1685 WEDEKIND RD APT F
BLANCO TX 78606-4704              SHAKOPEE MN 55379                                   YORKTOWN VA 23692-4917         APT F
                                                                                                                     RENO NV 89512




008468P001-1409A-265              006821P001-1409A-265                                036000P001-1409A-265           032464P001-1409A-265
DUNIA SEKANDER                    JULIE A SELA BUDI                                   BUDI JULIE A SELA              SELECT PERSONNEL SVC
397 TYRONE ST                     10581 GREENWOOD RD                                  10581 GREENWOOD RD             PO BOX 512007
EL CAJON CA 92020                 GLEN ALLEN VA 23059                                 GLEN ALLEN VA 23059            LOS ANGELES CA 90051-0007
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033716P001-1409A-265           033717P001-1409A-265                   035357P001-1409A-265           032465P001-1409A-265
SELECT REMEDY                  SELECT STAFFING / NGROUP               SELECT STAFFING/EMPLOYBRIDGE   SELENA SLOAN
7061 CLAIREMONT MESA BLVD      7061 CLAIREMONT MESA BLVD              JONATHAN NEIL AND ASSOC INC    14643 ERWIN ST
STE 218                        STE 218                                JACK RORKE                     UNIT 1
SAN DIEGO CA 92111             SAN DIEGO CA 92111                     PO BOX 7000                    VAN NUYS CA 91411
                                                                      TARZANA CA 91357



002664P001-1409A-265           005953P001-1409A-265                   004181P001-1409A-265           000648P001-1409A-265
ASPEN N SELLERS                KAYLYNN N SELVEY                       JOCELYN M SEMAS                CHANDLER N SEMB
1824 W DONALD CIR              415 4TH ST                             795 AUBURN ST                  4640 LAKE CALABAY DR
BOISE ID 83706                 NEW CUMBERLAND PA 17070                BRIDGEWATER MA 02324           ORLANDO FL 32837




001405P001-1409A-265           007143P001-1409A-265                   036001P001-1409A-265           004235P001-1409A-265
JESSICA SEMIDEY                AMADORE SEMUHUNGU                      KAMPAN SENAKIT                 YASARA SENEWIRATNE
12 EDDY ST                     51142 BRIDLEWOOD CIR                   103 FIVE ISLAND BLVD           4214 BRITTANY DR
CUMBERLAND RI 02864-7809       GRANGER IN 46530                       #103                           ELLICOTT CITY MD 21043
                                                                      PANAMA CITY BEACH FL 32407




030752P001-1409A-265           036300P001-1409A-265                   030753P001-1409A-265           036301P001-1409A-265
SENSATIONAL COLLECTIONS INC    SENSATIONAL COLLECTIONS INC            SENSUAL INC                    SENSUAL INC
JESSICA MUMFORD                1410 BROADWAY STE 505                  ISAAC SHALOM                   463 7TH AVE STE 1101
1410 BROADWAY                  NEW YORK NY 10018                      463 7TH AVE                    NEW YORK NY 10018
STE 505                                                               STE 1101
NEW YORK NY 10018                                                     NEW YORK NY 10018



031551P001-1409A-265           037687P001-1409A-265                   032466P001-1409A-265           037659P001-1409A-265
SEPHORA USA INC                SEPHORA USA INC                        SEPTON DEVELOPMENT GROUP INC   SERAPHIM P AND C INC DBA MAXBERRY TNI
525 MARKET ST                  CAROL HEE                              9414 E SAN SALVADOR DR         JAENAM COE ESQ
32ND FL                        525 MARKET ST 11TH FLR                 STE 150                        LAW OFFICES OF JAENAM COE PC
SAN FRANCISCO CA 94105         SAN FRANCISCO CA 94105                 SCOTTSDALE AZ 85258            3731 WILSHIRE BLVD STE 910
                                                                                                     LOS ANGELES CA 90010



006921P001-1409A-265           001882P001-1409A-265                   005789P001-1409A-265           003784P001-1409A-265
BAYLEE C SERBIAN               CHRISTIAN E SERGIO                     MARIA J SERINO                 ISABELLA L SERNA
3314 VINA CT                   CN28 CALLE 153                         2800 TURNER RD #40             2735 23RD ST WEST
NORTH LAS VEGAS NV 89032       CALLE 153 CN28                         SAN BENITO TX 78586            BRADENTON FL 34205
                               CAROLINA PR 00983-2043




003560P001-1409A-265           008647P001-1409A-265                   003439P001-1409A-265           006736P001-1409A-265
VICTORIA A SERNA               ALEXANDRA SERRANO                      ANGELICA M SERRANO             GUADALUPE SERRANO
1223 W CAMILE ST               12945 BOGGY POINTE DR                  2329 W 66TH PL                 220 LONE TREE RD
SANTA ANA CA 92703             ORLANDO FL 32824                       HIALEAH FL 33016               HOLLISTER CA 95023
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005039P001-1409A-265                001412P001-1409A-265                           005370P001-1409A-265                   006947P001-1409A-265
IDA LOUISSE SERRAON                 KARLA SERRATO                                  VIVIANA R SERRATO                      TERESA J SERRATOS
200 DEERPATH RD                     726 CYPRESS AVE                                1373 S PLEASANT AVE                    3929 REED ST 1
HICKORY CREEK TX 75065              FRESNO TX 77545-8474                           ONTARIO CA 91761                       BOISE ID 83705




001490P001-1409A-265                003207P001-1409A-265                           000808P001-1409A-265                   032467P001-1409A-265
ELIZABETH A SERRITOS                MARISA SERROS                                  KATYA Y SERVELLON                      SERVICECHANNEL, INC
10320 CENTRAL AVE UNIT 307          4473 COBBLEFIELD CIR W                         3101 DULWICH DR                        CYNDY PRYOR
OAK LAWN IL 60453                   JACKSONVILLE FL 32224                          NORTH CHESTERFIELD VA 23234-3809       PO BOX 392642
                                                                                                                          PITTSBURGH PA 15251-9642




035164P001-1409A-265                030830P002-1409A-265                           036302P001-1409A-265                   006191P001-1409A-265
SERVICECHANNELCOM INC               SERVICIOS FLEXIBLES SAC                        SERVICIOS FLEXIBLES SAC SERFL          LESLIE S SETLAKANASTOS
6210 STONERIDGE MALL RD STE 450     YOVANA Y HUAMAN BUSTAMANTE                     MZ R LT 30 URB ROSARIO DEL NORTE SMO   4204 E CHAPAROSA WAY
PLEASANTON CA 94588                 MZ R LT 30 SMP                                 LIMA 31                                CAVE CREEK AZ 85331
                                    ASOC ROSARIO DEL NORTE                         PERU
                                    LIMA LIMA 31
                                    PERU


036904P003-1409A-265                006108P001-1409A-265                           005455P001-1409A-265                   030877P001-1409A-265
SEVEN LUCKYSTARS SHOES LIMITED      SOHEILA C SEVERINO                             TYLER R SEVERINO                       SEYFARTH SHAW LLP
A/K/A STYLISHSHOES CO LTD           2921 BERKLEY ST                                742 OCEAN AVE                          3807 COLLECTION CTR DR
YANG JIN LAN                        CAMDEN NJ 08105                                WEST HAVEN CT 06516                    CHICAGO IL 60693
ROOM 2215 NO 37 WEST HUANSHI RD
LIWAN DISTRICT
GUANGZHOU DUANDONG 510145
CHINA
037099P002-1409A-265                001387P001-1409A-265                           031552P001-1409A-265                   036752S001-1409A-265
JASMINE SEYMORE                     JASMINE A SEYMORE                              SFI FORD CITY - CHICAGO LLC            SFI FORD CITY - CHICAGO LLC
2772 N 60TH ST                      2772 N 60TH ST                                 ISTAR FINANCIAL INC                    KATTEN MUCHIN ROSENMAN LLP
MILWAUKEE WI 53210                  MILWAUKEE WI 53210                             1114 AVE OF THE AMERICAS               PETER A SIDDIQUI
                                                                                   39TH FL                                525 W MONROE ST
                                                                                   NEW YORK NY 10036                      CHICAGO IL 60661



036752S002-1409A-265                036752P001-1409A-265                           002587P001-1409A-265                   007021P001-1409A-265
SFI FORD CITY - CHICAGO LLC         SFI FORD CITY CHICAGO LLC                      ONSHOUDA S SHABAN                      SADIYAH SHABAZZ
SAUL EWING ARNSTEIN AND LEHR LLP    1114 AVE OF THE AMERICAS 39TH FLOOR            112 TUMBLEBROOK RD                     818 S OAKLAND ST
MARK MINUTI                         NEW YORK NY 10036                              MERIDEN CT 06450                       GASTONIA NC 28054
1201 N MARKET ST STE 2300
PO BOX 1266
WILMINGTON DE 19899-1266


009196P001-1409A-265                006848P001-1409A-265                           001606P001-1409A-265                   004462P001-1409A-265
AMANDA C SHADE                      CAMERON B SHAFFER                              JAVERIA SHAHID                         ZAINAB SHAHID
925 CLARENDON AVESW APT1            128 WINDING WAY                                55 BURNET ST                           2710 HICKORY DR
CANTON OH 44710                     COLUMBIA SC 29212                              AVENEL NJ 07001-1724                   EASTON PA 18040
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032791P001-1409A-265              031096P001-1409A-265                     005440P001-1409A-265                 030174P002-1409A-265
ERIK SHAKELIAN                    SHALOM                                   HALAYNEA R SHANAHAN                  LAURI M SHANAHAN
21688 GATEWAY CTR                 8 NICHOLAS CT STE B                      2650 HORSESHOE TRL                   ADDRESS INTENTIONALLY OMITTED
DIAMOND BAR CA 91765              DAYTON NJ 08810                          HASTINGS MI 49058




030831P001-1409A-265              006279P001-1409A-265                     002236P001-1409A-265                 032468P001-1409A-265
SHANGHAI MUDOO TEXTILE CO LTD     SUNDAR SHANKAR                           MEAGHAN SHANKS                       SHANNON STRASSER
JUDY YU                           749 ELLERBROOK ST                        1119 NEW BOSTON RD                   9456 CHESHIRE CT
RM 510520 UNIT 2 NO 3000          MOUNTAIN HOUSE CA 95391                  FALL RIVER MA 02720                  LITTLETON CO 80130
SHANGHAI
CHINA



009312P001-1409A-265              030476P001-1409A-265                     001121P001-1409A-265                 031097P001-1409A-265
BRIANNA L SHANNON                 LEISA SHANNON                            LEISA M SHANNON                      SHANTEX GROUP LLC
2 AMPARO WAY                      ADDRESS INTENTIONALLY OMITTED            525 WEST 7TH ST                      DAVID ORLAND
NEPTUNE NJ 07753-3782                                                      EDMOND OK 73003                      530 7TH AVE
                                                                                                                STE 703
                                                                                                                NEW YORK NY 10018



034697P001-1409A-265              036303P001-1409A-265                     036303S001-1409A-265                 005122P001-1409A-265
SHANTEX GROUP LLC                 SHANTEX GROUP LLC                        SHANTEX GROUP LLC                    LARA SHAR
KLESTDT WINTERS JURELLER ET AL    530 7TH AVE STE 703                      KLESTADT WINTERS JURELLER SOUTHARD   208 BOLTON'S MILL PKWY
TRACY L KLESTADT                  NEW YORK NY 10018                        AND STEVENS LLP                      WILLIAMSBURG VA 23185
200 W 41ST ST 17TH FL                                                      TRACY L KLESTADT
NEW YORK NY 10036                                                          200 WEST 41ST ST 17TH FLOOR
                                                                           NEW YORK NY 10036


007386P001-1409A-265              001872P001-1409A-265                     010396P001-1409A-265                 005099P001-1409A-265
DEJA R SHARKEY                    MARTINA SHARKEY                          SHARON L HANCOCK, CLERK OF           ALEXIS T SHARP
58 ANTHONY ST                     10831 REXDALE AVE                        CIRCUIT COURT                        6113 N 8TH ST
1                                 PORT RICHEY FL 34668-2550                PO BOX 970                           PHILADELPHIA PA 19120
EAST PROVIDENCE RI 02914                                                   LA PLATA MD 20646




005108P002-1409A-265              004519P001-1409A-265                     007632P001-1409A-265                 000627P001-1409A-265
JORDAN L SHARP                    LAUREN N SHARP                           TEZSANAEE SHARP                      ALISSANDRA SHARRAI
1908 MT VERNON DR                 1103 BILLY COVE                          28715 BAYBERRY CT W                  100 SW KNOX AVE
JONESBORO AR 72401-3654           POCAHONTAS AR 72455                      LIVONIA MI 48154                     TOPEKA KS 66606




032469P001-1409A-265              004652P001-1409A-265                     006174P001-1409A-265                 008899P001-1409A-265
SHATHABI RAVINDRA                 CENCIA K SHAW                            KAYLA SHAW                           WHITNEY A SHAW
1975 N GRANT ST                   125 AOLOA LOOP                           33232 SE BRYANT RD                   4114 WOODED WAY
#303                              KAHULUI HI 96732                         ESTACADA OR 97023                    LOUISVILLE KY 40219
DENVER CO 80203
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009936P001-1409A-265            037236P002-1409A-265                      001473P001-1409A-265                 001719P001-1409A-265
SHAWNEE COUNTY TREASURER        SHAY WEASLER                              ASHLEY N SHAY                        KRISTA SHAY
200 SE 7TH ST                   FAYETTEVILLE NC 28311                     86 CIR DR                            86 CIR DR
RM 101                                                                    HOLLIDAYSBURG PA 16648               HOLLIDAYSBURG PA 16648-9233
TOPEKA KS 66603-3959




032470P001-1409A-265            031098P001-1409A-265                      008612P001-1409A-265                 008668P001-1409A-265
SHAYLA CORKERY                  SHAZURI LLC                               BROOKE M SHEA                        MARY C SHEA
11210 N POQUITO VLY RD          405 13TH ST                               5821 JUDGE DOBBIN CT                 2301 SAINT BRIDES RD W
PRESCOTT VALLEY AZ 86315        CARLSTADT NJ 07072                        ELKRIDGE MD 21075                    CHESAPEAKE VA 23322




007613P001-1409A-265            009220P001-1409A-265                      006407P001-1409A-265                 007619P001-1409A-265
JESSICA J SHEARON               KRISTEN N SHEDD                           ALICIA S SHEFFIELD                   MIRIAM A SHEFFIELD
342 HARPER DR                   8802 CHURCH ST                            150 WESTPARK DR                      7214 W SANDRA TER
CLARKSVILLE TN 37043            NEEDVILLE TX 77461                        APT 607                              PEORIA AZ 85382
                                                                          ATHENS GA 30606




002210P001-1409A-265            010029P001-1409A-265                      032712P001-1409A-265                 032568P002-1409A-265
MARYAN Y SHEIKH                 SHEILA L PALMER COLLECTOR                 SHEILA L PALMER COLLECTOR            TOSHIKO SHEK
124 PATRICK ST SE               ADMINISTRATIVE BUILDING                   ADMINISTRATIVE BLDG                  1435 N FAIRFAX AVE
266                             415 THIRD ST STE 212                      415 THIRD ST STE 212                 #21
VIENNA VA 22180                 PLATTE CITY MO 64079                      PLATTE CITY MO 64079                 LOS ANGELES CA 90046




010322P001-1409A-265            032471P001-1409A-265                      009793P001-1409A-265                 033126P001-1409A-265
SHELBY COUNTY CLERK'S OFFICE    SHELBY COUNTY HEALTH DEPT                 SHELBY COUNTY OCCUPATIONAL LICENSE   SHELBY ENERGY COOPERATIVE
BUSINESS TAX DIVISION           ENVIRONMENTAL HEALTH AND FOOD             419 WASHINGTON ST                    PO BOX 309
PO BOX 3743                     SAFETY 5TH FLOOR PERMIT OFFICE            SHELBYVILLE KY 40065                 SHELBYVILLE KY 40066
MEMPHIS TN 38173-0743           814 JEFFERSON AVE
                                MEMPHIS TN 38105



033126S001-1409A-265            000504P001-1409A-265                      009512P001-1409A-265                 007540P001-1409A-265
SHELBY ENERGY COOPERATIVE       DENARIA R SHELL                           KRISTYN SHELLHAAS                    JAIZAE L SHELLYOUNG
PO BOX 527                      7930 EXETER LN                            3915 IRONWOOD CT                     343 AMHERST DR
1355 STATE HWY 128              COLUMBIA SC 29223                         FORT WAYNE IN 46815                  SPARTANBURG SC 29306
SHELBYVILLE IL 62565




003883P001-1409A-265            036002P001-1409A-265                      002892P001-1409A-265                 030401P001-1409A-265
CHELSEA SHELTMAN                CHELSEA SHELTMAN                          CAITLIN SHELTON                      JESSICA SHELTON
3255 GTWY ST                    3255 GATEWAY ST                           6451 BLUE LEAF LN                    ADDRESS INTENTIONALLY OMITTED
APT 237                         APT 237                                   JACKSONVILLE FL 32244
SPRINGFIELD OR 97477            SPRINGFIELD OR 97477
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033127P001-1409A-265                          033127S001-1409A-265                          007564P001-1409A-265            030279P001-1409A-265
SHENANDOAH VALLEY ELEC COOP                   SHENANDOAH VALLEY ELEC COOP                   BROOKE SHEPARD                  CHRISTA M SHEPARD
PO BOX 236                                    180 OAKWOOD DR                                11755 NORBOURNE DR              ADDRESS INTENTIONALLY OMITTED
MT CRAWFORD VA 22841                          ROCKINGHAM VA 22801                           1008
                                                                                            CINCINNATI OH 45240




001104P001-1409A-265                          007563P001-1409A-265                          007525P001-1409A-265            006723P001-1409A-265
STEPHANIE SHEPHERD                            AMARI SHEPPARD                                BERNICE C SHEPPARD              GABRIELLA A SHEPPARD
3431 VICTORY PALM DR                          2123 MILLHOUSE RD                             607 GORDON ST                   313 MEADOWS DR
EDGEWATER FL 32141                            HOUSTON TX 77073                              JEFFERSON GA 30549              GALLOWAY NJ 08205




032472P001-1409A-265                          002432P001-1409A-265                          030351P001-1409A-265            036003P001-1409A-265
SHERIFF OF MONONGALIA COUNTY                  GLENN SHERMAN                                 GLENN SHERMAN                   GLENN SHERMAN
243 HIGH ST RM 26 TAX OFFICE                  1643B SAVANNAH HIGHWAY                        ADDRESS INTENTIONALLY OMITTED   262 EASTGATE DR
MORGANTOWN WV 26505-5492                      CHARLESTON SC 29407                                                           PMB #252
                                                                                                                            AIKEN SC 29803




005081P001-1409A-265                          037472P001-1409A-265                          000616P001-1409A-265            007743P001-1409A-265
QUANDRA L SHERMAN                             SOPHIA SHERMAN                                SOPHIA M SHERMAN                ZOIE R SHERMAN
7374 S WILKESON ST                            41 GREEN VILLAGE RD                           41 GREEN VLG RD                 914 N TUCANA LN
APT D                                         MADISON NJ 07940                              MADISON NJ 07940                GILBERT AZ 85234
TACOMA WA 98408




032713P001-1409A-265                          009378P001-1409A-265                          036600P001-1409A-265            032473P001-1409A-265
SHERRI AYLOR, COUNTY TAX ASSESSORCOLLECTOR    FARHEEN J SHETHWALA                           LAIGHA SHEWMAKE                 SHI INTERNATIONAL CORP
ROBERT MILLER COUNTY TAX ASSES                8404 N KEYSTONE AVE                           314230 STAGECOACH RD            KATIE SERAFIN
PO BOX 2289                                   SKOKIE IL 60076                               SPANISH FORT AL 36527           PO BOX 952121
AMARILLO TX 79105-2289                                                                                                      DALLAS TX 75395-2121




034654P002-1409A-265                          035165P002-1409A-265                          035320P001-1409A-265            036757P001-1409A-265
SHI INTERNATIONAL CORP                        SHI INTERNATIONAL CORP                        SHI INTERNATIONAL CORP          SHI INTERNATIONAL CORP
CHRIS MARRONE                                 VARIOUS SOFTWARE SUBSCRIPTIONS                290 DAVIDSON AVE                PO BOX 952121
ACCOUNTING                                    SUPPORT AND MAINTENANCE AGREEMENTS            SOMERSET NJ 08873               DALLAS TX 75395-2121
300 DAVIDSON AVE                              PO BOX 952121
SOMERSET NJ 08873                             DALLAS TX 75395-2121



006103P001-1409A-265                          003508P001-1409A-265                          003239P001-1409A-265            002211P001-1409A-265
CHAZNEY SHIELDS                               CHERYL K SHIELDS                              JUSTYN D SHIELDS                MEGAN S SHIER
2105 MESA VLY WAY                             4421 S KAILER DR                              8536 MAURER RD                  63 ADAMS LAKE DR
1310                                          WICHITA KS 67217                              115                             APT 5
AUSTELL GA 30106                                                                            LENEXA KS 66219                 WATERFORD MI 48328
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001202P001-1409A-265              018567P002-1409A-265                      031099P001-1409A-265             036304P002-1409A-265
SHANTEL SHIMABUKU                 LAURIANNE M SHIMABUKURO RAMOS             SHINESTAR                        SHINESTAR
94-824 LUMIAUAU ST                167 HAINA CT UNIT 102                     CALVIN                           AKA ELECOCO INC
APT V102                          WAHIAWA HI 96786                          4553 SEVILLE AVE                 YOUNG K CHANG
WAIPAHU HI 96797-4851                                                       VERNON CA 90058                  4553 SEVILLE AVE
                                                                                                             VERNON CA 90058



030754P001-1409A-265              037195P001-1409A-265                      001010P001-1409A-265             001609P001-1409A-265
SHINHWA                           JAMI SHIRTLIFF                            JAMI R SHIRTLIFF                 CARLISHIA SHIVELY
MELISSA GOMEZ                     JAMI SHIRTLIFF                            3915 ROBIN AVE                   234 STATE ST APT 607
RM 102 UNIT 1 PEI HOU LOU JU M    2440 JEPPESEN ACRES RD                    EUGENE OR 97402-6303             DETROIT MI 48226
QU LIU TING ZHEN                  EUGENE OR 97401
CHENG YANG DISTRIC
CHINA


003818P001-1409A-265              006759P001-1409A-265                      006045P001-1409A-265             001341P001-1409A-265
KRISTEN M SHOCK                   RAEGAN SHOE                               SARAH M SHOEMAKER                TRINA R SHOFROTH
914 SHEPHARD CT                   2306 BROOKHOLLOW TER                      1663 MORNINGSIDE DR SE           6866 VAN BUREN PL
BEL AIR MD 21014                  GEORGETOWN TX 78626                       GRAND RAPIDS MI 49506            MERRILLVILLE IN 46410




003685P001-1409A-265              033718P001-1409A-265                      032474P001-1409A-265             035166P001-1409A-265
HANNAH E SHOOP                    SHOPKICK INC                              SHOPPERTRAK RCT CORP             SHOPPERTRAK RCT CORP
10 NW MARKET ST                   999 MAIN ST                               233 S WACKER DR                  CONTRACT ADMINISTRATOR
APT B                             REDWOOD CITY CA 94603                     41ST FL                          233 SOUTH WACKER STE 4100
LEE'S SUMMIT MO 64063                                                       CHICAGO IL 60606                 CHICAGO IL 60606




035258P001-1409A-265              035258S001-1409A-265                      031553P001-1409A-265             037506P001-1409A-265
SHOPPERTRAK RCT CORP              SHOPPERTRAK RCT CORP                      SHOPPES AT BUCKLAND HILLS LLC    SHOPPES AT BUCKLAND HILLS LLC
ATTORNEY ERIN WEST                ZACHARY W JARRELL                         GGP LIMITED PARTNERSHIP          BROOKFIELD PROPERTY REIT INC
GODFREY AND KAHN SC               233 S WACKER DR 41ST FLR                  SDS-12-3095                      JULIE M BOWDEN
ONE E MAIN ST SUITE 500           CHICAGO IL 60606                          PO BOX 86                        350 N ORLEANS ST STE 300
MADISON WI 53703                                                            MINNEAPOLIS MN 55486-3095        CHICAGO IL 60654-1607



031554P001-1409A-265              034512P001-1409A-265                      037140P001-1409A-265             031555P001-1409A-265
SHOPPES AT RIVER CROSSING         SHOPPES AT RIVER CROSSING, LLC            SHOPPTERTRAK RCT CORP            SHOPS AT LA CANTERA AND LIFESTYLE CENTER
SHOPPES AT RIVER CROSSING LLC     SDS-12-2746                               SHOPPERTRAK RCT CORP             LA CANTERA RETAIL LIMITED PART
SDS-12-2746                       PO BOX 86                                 ZACHARY W JARRELL                THE SHOPPES @ LA CANTERA
PO BOX 86                         MINNEAPOLIS MN 55486-2746                 233 S WACKER DR 41ST FL          SDS-12-2532
MINNEAPOLIS MN 55486-2746                                                   CHICAGO IL 60606                 PO BOX 86
                                                                                                             MINNEAPOLIS MN 55486-2532


036928P001-1409A-265              036928S001-1409A-265                      031556P001-1409A-265             032475P001-1409A-265
SHOPS AT TANFORAN ASSOC LLC       SHOPS AT TANFORAN ASSOC LLC               SHOPS AT TANFORAN REIT INC       SHORT CIRCUIT ELECTRONICS INC
QIC PROPERTIES US INC             KELLEY DRYE AND WARREN LLP                SHOPS AT TANFORAN ASSOCIATES L   CATHY CAMPBELL
JOAN GLENN-KATZAKIS               ROBERT L LEHANE                           222 NORTH SEPULVEDA BLVD         4201 NE PRT DR
600 SUPERIOR AVE EAST STE 1500    101 PARK AVE                              STE 2350                         LEE'S SUMMIT MO 64064
CLEVELAND OH 44114                NEW YORK NY 10178                         EL SEGUNDO CA 90245
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036759P001-1409A-265             030375P001-1409A-265                     001575P001-1409A-265         036004P001-1409A-265
SHORT CIRCUIT ELECTRONICS INC    JASMINE SHORT                            JASMINE A SHORT              JASMINE A SHORT
4201 NE PORT DRIVE               ADDRESS INTENTIONALLY OMITTED            23812 SPRINGS CT #112        23812 SPRINGS CT
LEE'S SUMMIT MO 64064                                                     PLAINFIELD IL 60585          BUILDING 4 AP
                                                                                                       PLAINFIELD IL 60585




001354P001-1409A-265             001799P001-1409A-265                     000822P001-1409A-265         037241P001-1409A-265
MARYMARGARET L SHORT             SYDNEY SHORT                             ASHLEY L SHORTAL             ALEXANDRIA SHORTS
2017 JESSICA WAY                 106 CHELSEY ST                           12589 AGATITE RD             ALEXANDRIA SHORTS
NAVARRE FL 32566-2947            SCOTT CITY MO 63780-1564                 JACKSONVILLE FL 32258        7145 FOUNDERS CLUB CT
                                                                                                       CHARLOTTE NC 28269




006748P001-1409A-265             007590P001-1409A-265                     030755P001-1409A-265         036305P001-1409A-265
ALEXANDRIA C SHORTS              MILANDREA T SHORTS                       SHOSHO FASHION               SHOSHO FASHION
7145 FOUNDERS CLUB CT            110 DRESDEN PL                           DIYAY JAFARI                 2454 E27TH ST
CHARLOTTE NC 28269               RAYMOND MS 39154                         2454 E27TH ST                VERNON CA 90058
                                                                          VERNON CA 90058




009007P001-1409A-265             001249P001-1409A-265                     007971P001-1409A-265         001525P001-1409A-265
SKYLAR A SHOSHOO                 KAREN SHOTWELL                           EMILY N SHOURDS              APRIL R SHOWALTER
1128 S WHIPPOORWILL LN           9889 CYPRESSWOOD DR                      617 LYNN SHORES DR           640 FRANK GRIFFIN AVE
MADISON 211                      #9210                                    VIRGINIA BEACH VA 23452      PLANT CITY FL 33565
PALATINE IL 60067                HOUSOTN TX 77070




030832P001-1409A-265             035218P002-1409A-265                     009012P001-1409A-265         007951P001-1409A-265
SHROFF AND CO LTD                SHROFF AND CO LTD                        DAJANA L SHUFORD             BAILEY K SHUKOWITSH
SUNITA BOSE PARTRDGE             BURJI SHROFF                             1205 STEPHEN DR              1173 FARMINGTON AVE
UNIT D & E 25/F YHC TOWER        UNIT E 17F YHC TOWER NO 1                2                            POTTSTOWN PA 19464
NO1 SHEUNG YUET RD KOWLOON       SHEUNG YUET RD                           PANAMA CITY FL 32405
KOWLOON HONG KONG                KLN BAY 0000
HONG KONG                        HONG KONG


002250P001-1409A-265             007158P001-1409A-265                     007340P001-1409A-265         003280P001-1409A-265
VALERIE SHUM                     GABRIELLE SHUMPERT                       AUBREY SHUMWAY               TRISTEN J SHUMWAY
925 SUTTER ST                    2751 BEASLEY DR                          1150 S CLARIZZ BLVD          445 BURNETT AVE
#303                             TUPELO MS 38801                          #339                         APT 201
SAN FRANCISCO CA 94109                                                    BLOOMINGTON IN 47401         SAN FRANCISCO CA 94131




006039P001-1409A-265             001690P001-1409A-265                     036005P001-1409A-265         006322P001-1409A-265
ELIZABETH A SHUSTA               JASMIN SIBAJA                            QUINCI SIBBY                 DIANA C SIBRIAN
111 CANAL DR                     29402 KICKAPOO MEADOWS LN                1760 W ROCKET DR             18621 MUSTARD SEED CT
ROCKFORD MN 55373                WALLER TX 77484-9521                     TOLEDO OH 43606              18621 MUSTARD
                                                                                                       GERMANTOWN MD 20874
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036006P001-1409A-265      000734P001-1409A-265                 000565P001-1409A-265             003061P001-1409A-265
DIANA C SIBRIAN           JEANIE S SIBRIAN                     NICOLE M SICILIANO               TATYANA D SIDDEEQ
18621 MUSTARD SEED CT     1060 W MONTROSE ST                   813 NORTH LAKE CLAIRE CIR        1686 BALDWIN PK DR
GERMANTOWN MD 20874       BLOOMINGTON CA 92316-1558            OVIEDO FL 32765                  TALLAHASSEE FL 32304




037446P002-1409A-265      007596P001-1409A-265                 006870P001-1409A-265             036007P001-1409A-265
JASLEEN SIDHU             JASLEEN K SIDHU                      JESSICA L SIEBENALER             JESSICA L SIEBENALER
16491 UPPER PASTURE       16491 UPPER PASTURE                  1801 SW WASHBURN AVE BOX 113     1901 28TH RD
LATHROP CA 95330          LATHROP CA 95330                     TOPEKA KS 66621                  WAVERLY KS 66871




001041P001-1409A-265      004759P001-1409A-265                 030336P001-1409A-265             000719P001-1409A-265
AMY L SIEFKEN             CARLI J SIEGEL                       ERICA SIEMENS                    ERICA S SIEMENS
2327 S 142 CT BLDG 16     1177 BERGMANN DR                     ADDRESS INTENTIONALLY OMITTED    PO BOX 6207
18                        STILLWATER MN 55082                                                   GOODYEAR AZ 85338
OMAHA NE 68144




033430P001-1409A-265      033128P001-1409A-265                 033128S001-1409A-265             002047P001-1409A-265
SIERRA INFOSYS INC        SIERRA PACIFIC POWER CO              SIERRA PACIFIC POWER CO          EILEEMARYS SIERRA
MAYA BAVA                 PO BOX 30065                         6100 NEIL RD                     31 CALLE ROSA
6001 SAVOY DR             RENO NV 89520                        RENO NV 89511                    31 CALLE ROSA
STE 210                                                                                         CAROLINA PR 00979-7501
HOUSTON TX 77036



005166P001-1409A-265      001971P001-1409A-265                 036008P001-1409A-265             008185P001-1409A-265
TANYA M SIFUENTES         RACHEL M SIGETY                      RACHEL M SIGETY                  MORGAN N SIGMUND
6936 MARGUERITA AVE       2899 ST CLAIR CT                     2779 GLORIETTA DR                PO BOX 175
RIVERSIDE CA 92506        APT 202                              HOWELL MI 48843                  TROY MO 63379
                          HOWELL MI 48843




008315P001-1409A-265      002818P001-1409A-265                 003966P001-1409A-265             000856P001-1409A-265
TIFFANY L SIGUENZA        ASHIA SILENCIEUX                     JENNIFER SILERIO                 DEBBIE SILVA
5 ELWELL PL               951 BEACON PKWY E                    4701 CRIMSON LEAF DR             7614 HARBOR BEND CIR
DANBURY CT 06810          BIRMINGHAM AL 35209                  LAS VEGAS NV 89130               ORLANDO FL 32822




007726P001-1409A-265      004493P001-1409A-265                 008827P001-1409A-265             003244P001-1409A-265
HAYLEY SILVA              KIMBERLY SILVA                       SELENA M SILVA                   VANEZA E SILVA
510 26TH AVE              24115 COTTONWOOD AVE #159            2241 E CALLE ARROYO LINDO        1254 E FOX CHASE DR
307                       #159                                 TUCSON AZ 85706-3101             ROUND LAKE BEACH IL 60073
SAN FRANCISCO CA 94121    MORENO VALLEY CA 92553
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002797P001-1409A-265                        009118P001-1409A-265                             002296P001-1409A-265                001952P001-1409A-265
XOCHILT G SILVA                             ALYSSA R SILVAS                                  BRITANIA P SIMISTER                 DANIELLE D SIMMONS
796 MERCEDES PL                             6287 GRAND OAK WAY                               103 OLD FORT RD                     264 MATTOX RD
TERRYTOWN LA 70056                          SAN JOSE CA 95135                                ATHENS GA 30606-1435                TUPELO MS 38801-9189




008199P001-1409A-265                        036009P001-1409A-265                             004634P001-1409A-265                036010P001-1409A-265
DANIELLE R SIMMONS                          KA'RIAH P SIMMONS                                KARINNA SIMMONS                     KARINNA SIMMONS
590 GOVERNOR TREUTLEN CIR                   2900 N MENOMONEE RIVER PKWY                      11504 LEON GRANDE CV                1550 W PLANO PKWY APT # 2272
POOLER GA 31322                             MILWAUKEE WI 53222                               AUSTIN TX 78759                     PLANO TX 75075




006180P001-1409A-265                        006334P002-1409A-265                             034712P001-1409A-265                034722P001-1409A-265
YAZMIN L SIMMONS                            ANESIA B SIMMS                                   SIMON                               SIMON
4775 38TH CIR                               5522 117TH STREET CT E APT G206                  THE RETAIL PROPERTY TRUST           MONTEBELLO TOWN CENTER INVESTORS LLC
VERO BEACH FL 32967                         PUYALLUP WA 98373-8135                           MS MANAGEMENT ASSOCIATES INC        SIMON PROPERTY GROUP INC
                                                                                             225 W WASHINGTON ST                 225 WEST WASHINGTON ST
                                                                                             INDIANAPOLIS IA 46204-3439          INDIANAPOLIS IN 46204-3438



034722S001-1409A-265                        034722S002-1409A-265                             034728P001-1409A-265                034729P001-1409A-265
SIMON                                       SIMON                                            SIMON                               SIMON
UBS REALTY INVESTORS LLC                    MONTEBELLO TOWN CENTER INVESTORS LLC             THE RETAIL PROPERTY TRUST           SIMON PROPERTY GROUP
GENERAL COUNSEL                             2134 TOWN CTR DR                                 MS MANAGEMENT ASSOCIATES INC        225 W WASHINGTON ST
10 STATE HOUSE SQUARE                       MONTEBELLO CA 90640                              225 WEST WASHINGTON ST              INDIANAPOLIS IN 46204
15TH FL                                                                                      INDIANAPOLIS IN 46204-3438
HARTFORD CT 06103-3604


034732P001-1409A-265                        034737P001-1409A-265                             034745P001-1409A-265                034756P001-1409A-265
SIMON                                       SIMON                                            SIMON                               SIMON
SIMON PROPERTY GROUP                        WOODFIELD MALL LLC                               JG ELIZABETH II LLC                 PENN ROSS JOINT VENTURE
MS MANAGEMENT ASSOCIATES INC                MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC        MS MANAGEMENT ASSOCIATES INC
225 W WASHINGTON ST                         225 WEST WASHINGTON ST                           225 W WASHINGTON ST                 225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204                       INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IA 46204-3438          INDIANAPOLIS IN 46204



034764P001-1409A-265                        034766P001-1409A-265                             034767P001-1409A-265                034773P001-1409A-265
SIMON                                       SIMON                                            SIMON                               SIMON
MALL AT MONTGOMERY LP                       MAYFLOWER EMERALD SQUARE LLC                     MALL AT SMITH HAVEN LLC             MNH MALL LLC
SIMON PROPERTY GROUP                        MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC        MS MANAGEMENT ASSOCIATES INC
225 W WASHINGTON ST                         225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST              225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204                       INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438          INDIANAPOLIS IN 46204-3438



034780P001-1409A-265                        034780S001-1409A-265                             034782P001-1409A-265                034783P001-1409A-265
SIMON                                       SIMON                                            SIMON                               SIMON
JACKSONVILLE AVENUES LIMITED PARTNERSHIP    JACKSONVILLE AVENUES LIMITED PARTNERSHIP         SOUTHRIDGE LIMITED PARTNERSHIP      SIMON PROPERTY GROUP LP
MS MANAGEMENT ASSOCIATES INC                CBL AND ASSOCIATES INC CHARLES B LEBOVITZ        C PO MS MANAGEMENT ASSOCIATES INC   MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST                      2030 HAMILTON PL BLVD                            225 WEST WASHINGTON ST              225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-3438                  CBL CTR STE 500                                  INDIANAPOLIS IN 46204-3438          INDIANAPOLIS IN 46204-3438
                                            CHATTANOOGA TN 37421-6000
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034792P001-1409A-265                034794P001-1409A-265                       034797P001-1409A-265                     034800P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
MALL AT WHITE OAKS LLC              LIVINGSTON MALL VENTURE                    PENN SQUARE MALL LIMITED PARTNERSHIP     MALL AT INGRAM PARK LLC
CIN MS MANAGEMENT ASSOCIATES INC    DO MS MANAGEMENT ASSOCIATES INC            MS MANAGEMENT ASSOCIATES INC             MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST              225 WEST WASHINGTON ST                     225 WEST WASHINGTON ST                   225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-3438          INDIANAPOLIS IN 46204-3438                 INDIANAPOLIS IN 46204-3438               INDIANAPOLIS IN 46204-3438



034801P001-1409A-265                034809P001-1409A-265                       034809S001-1409A-265                     034819P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
ROCKAWAY CENTER ASSOCIATES          CFUS PROPERTIES INC                        SHERRY DIRITA GMAC COMMERCIAL MORTGAGE   MAYFLOWER SQUARE ONE LLC
MS MANAGEMENT ASSOCIATES INC        ASSET MANAGER                              200 WITMER RD                            MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST              TWO CONCOURSE PARKWAY                      HORSHAM PA 19044-8015                    NATIONAL CITY CENTER
INDIANAPOLIS IN 46204-3438          STE 260                                                                             115 W WASHINGTON
                                    ATLANTA GA 30328                                                                    INDIANAPOLIS IN 46204


034820P001-1409A-265                034821P001-1409A-265                       034825P001-1409A-265                     034836P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
MALL AT AUBURN LLC                  GREENWOOD PARK MALL LLC                    SA GALLERIA IV LP                        SIMON CAPITAL LIMITED PARTNERSHIP
MS MANAGEMENT ASSOCIATES INC        MS MANAGEMENT ASSOCIATES INC               MS MANAGEMENT ASSOCIATION INC            225 WEST WASHINGTON ST
225 WEST WASHINGTON ST              225 WEST WASHINGTON ST                     225 WEST WASHINGTON ST                   INDIANAPOLIS IN 46204
INDIANAPOLIS IN 46204-3438          INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204



034839P001-1409A-265                034844P001-1409A-265                       034853P001-1409A-265                     034888P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
GALLERIA AT WOLFCHASE LLC           MEADOWOOD MALL SPE LLC                     NEWPORT CENTRE LLC                       SIMON PROPERTY GROUP (TEXAS) LP
MS MANAGEMENT ASSOCIATES INC        MS MANAGEMENT ASSOCIATES INC               SIMON PROPERTY GROUP                     MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST              225 W WASHINGTON ST                        225 W WASHINGTON ST                      225 WEST WASHINGTON STREET-
INDIANAPOLIS IN 46204               INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204                    INDIANAPOLIS IN 46204-3438



034900P001-1409A-265                034902P001-1409A-265                       034961P001-1409A-265                     034980P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
LEHIGH VALLEY MALL LLC              CIRCLE CENTRE MALL LLC                     MAYFLOWER APPLE BLOSSOM LP               MALL AT SUMMIT LLC
SIMON PROPERTY GROUP                SIMON PROPERTY GROUP                       SIMON PROPERTY GROUP                     MS MANAGEMENT ASSOCIATES INC
225 W WASHINGTON ST                 225 W WASHINGTON ST                        225 W WASHINGTON ST                      225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204               INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204                    INDIANAPOLIS IN 46204



034985P001-1409A-265                034988P001-1409A-265                       035002P001-1409A-265                     035003P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
MIDLAND PARK MALL LP                MALL AT TURTLE CROSSING LLC                WOODBUM PREMIUM OUTLETS                  SAN FRANCISCO PREMIUM OUTLETS LLC
MS MANAGEMENT ASSOCIATES INC        SIMON PROPERTY GROUP                       225 WEST WASHINGTON ST                   SIMON PROPERTY GROUP
225 WEST WASHINGTON ST              225 WEST WASHINGTON ST                     INDIANAPOLIS IN 46204                    225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204               INDIANAPOLIS IN 46204                                                               INDIANAPOLIS IN 46204



035008P001-1409A-265                035009P001-1409A-265                       035010P001-1409A-265                     035021P001-1409A-265
SIMON                               SIMON                                      SIMON                                    SIMON
TACOMA MALL PARTNERSHIP             WEST TOWN MALL LLC                         PHEASANT LANE REALTY TRUST               PIER PARK LLC
MS MANAGEMENT ASSOCIATES INC        SIMON PROPERTY GROUP                       MS MANAGEMENT ASSOCIATES INC             SIMON PROPERTY GROUP
225 WEST WASHINGTON ST              225 W WASHINGTON ST                        225 WEST WASHINGTON ST                   225 W WASHINGTON ST
INDIANAPOLIS IN 46204-3438          INDIANAPOLIS IN 46204                      INDIANAPOLIS IN 46204-3438               INDIANAPOLIS IN 46204
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035022P001-1409A-265                        035024P001-1409A-265                             035026P001-1409A-265               035038P001-1409A-265
SIMON                                       SIMON                                            SIMON                              SIMON
HAMILTON TC LLC                             MALL AT SOLOMON POND LLC                         ORLAND LP                          CHARLOTTE OUTLETS
SIMON PROPERTY GROUP                        MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC       SIMON PROPERTY GROUP
225 W WASHINGTON ST                         225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST             105 EISENHOWERRKWAY
INDIANAPOLIS IN 46204                       INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438         1ST FL
                                                                                                                                ROSELAND NJ 7068-


035052P001-1409A-265                        035060P001-1409A-265                             035069P001-1409A-265               029965P001-1409A-265
SIMON                                       SIMON                                            SIMON                              SIMON (LANDLORD)
DEL AMO FASHION CENTER OPERATING CO LLC     MALL AT BRIARWOOD LLC                            CPI-PHIPPS LIMITED LIABILITY CO    THE RETAIL PROPERTY TRUST
SIMON PROPERTY GROUP                        MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC       MS MANAGEMENT ASSOCIATES INC
225 W WASHINGTON ST                         225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST             225 W WASHINGTON ST
INDIANAPOLIS IN 46204                       INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438         INDIANAPOLIS IA 46204-3439



029966P001-1409A-265                        029966S001-1409A-265                             029966S002-1409A-265               029966S003-1409A-265
SIMON (LANDLORD)                            SIMON (LANDLORD)                                 SIMON (LANDLORD)                   SIMON (LANDLORD)
MONTEBELLO TOWN CENTER INVESTORS LLC        UBS REALTY INVESTORS LLC                         UBS REALTY INVESTORS LLC           MONTEBELLO TOWN CENTER INVESTORS, LLC
SIMON PROPERTY GROUP INC                    12001 NORTH CENTRAL EXPWY STE 650                GENERAL COUNSEL                    2134 TOWN CTR DR
225 WEST WASHINGTON ST                      DALLAS TX 75243-3735                             10 STATE HOUSE SQUARE              MONTEBELLO CA 90640
INDIANAPOLIS IN 46204-3438                                                                   15TH FL
                                                                                             HARTFORD CT 06103-3604


029967P001-1409A-265                        029968P001-1409A-265                             029969P001-1409A-265               029970P001-1409A-265
SIMON (LANDLORD)                            SIMON (LANDLORD)                                 SIMON (LANDLORD)                   SIMON (LANDLORD)
SIMON PROPERTY GROUP                        JG ELIZABETH II LLC                              WOODFIELD MALL LLC                 MALL AT MONTGOMERY LP
MS MANAGEMENT ASSOCIATES INC                MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC       SIMON PROPERTY GROUP
GENERAL COUNSEL                             225 W WASHINGTON ST                              225 WEST WASHINGTON ST             GENERAL COUNSEL
225 W WASHINGTON ST                         INDIANAPOLIS IA 46204-3438                       INDIANAPOLIS IN 46204-3438         225 W WASHINGTON ST
INDIANAPOLIS IN 46204                                                                                                           INDIANAPOLIS IN 46204


029971P001-1409A-265                        029972P001-1409A-265                             029973P001-1409A-265               029974P001-1409A-265
SIMON (LANDLORD)                            SIMON (LANDLORD)                                 SIMON (LANDLORD)                   SIMON (LANDLORD)
MAYFLOWER EMERALD SQUARE LLC                MALL AT SMITH HAVEN LLC                          MNH MALL LLC                       JACKSONVILLE AVENUES LIMITED PARTNERSHIP
MS MANAGEMENT ASSOCIATES INC                MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC       MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST                      225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST             225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-3438                  INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438         INDIANAPOLIS IN 46204-3438



029974S001-1409A-265                        029974S002-1409A-265                             029975P001-1409A-265               029976P001-1409A-265
SIMON (LANDLORD)                            SIMON (LANDLORD)                                 SIMON (LANDLORD)                   SIMON (LANDLORD)
JACKSONVILLE AVENUES LIMITED PARTNERSHIP    JACKSONVILLE AVENUES LIMITED PARTNERSHIP         SOUTHRIDGE LIMITED PARTNERSHIP     SIMON PROPERTY GROUP LP
HEITMAN                                     CBL AND ASSOCIATES INC CHARLES B LEBOVITZ        CPO MS MANAGEMENT ASSOCIATES INC   MS MANAGEMENT ASSOCIATES INC
LAUREN D HOGAN VICE PRESIDENT               CBL CTR STE 500                                  225 WEST WASHINGTON ST             225 WEST WASHINGTON ST
191 NORTH WACKER DR STE 2500                2030 HAMILTON PL BLVD                            INDIANAPOLIS IN 46204-3438         INDIANAPOLIS IN 46204-3438
CHICAGO IL 60606                            CHATTANOOGA TN 37421-6000


029977P001-1409A-265                        029978P001-1409A-265                             029979P001-1409A-265               029980P001-1409A-265
SIMON (LANDLORD)                            SIMON (LANDLORD)                                 SIMON (LANDLORD)                   SIMON (LANDLORD)
PENN SQUARE MALL LIMITED PARTNERSHIP        MALL AT WHITE OAKS LLC                           LIVINGSTON MALL VENTURE DO MS      MALL AT INGRAM PARK LLC
MS MANAGEMENT ASSOCIATES INC                MS MANAGEMENT ASSOCIATES INC                     MANAGEMENT ASSOCIATES INC          MS MANAGEMENT ASSOCIATES INC
225 WEST WASHINGTON ST                      225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST             225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-3438                  INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438         INDIANAPOLIS IN 46204-3438
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029981P001-1409A-265            029981S001-1409A-265                      029981S002-1409A-265                      029982P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
CFUS PROPERTIES INC             GENERAL GROWTH MANAGEMENT, INC            SHERRY DIRITA, GMAC COMMERCIAL MORTGAGE   MAYFLOWER SQUARE ONE LLC
ASSET MANAGER                   LAW/LEASING DEPT                          200 WITMER RD                             MS MANAGEMENT ASSOCIATES INC
TWO CONCOURSE PKWY STE 260      110 NORTH WACKER                          HORSHAM PA 19044-8015                     NATIONAL CITY CTR 115 W WASHINGTON
ATLANTA GA 30328                CHICAGO IL 60606                                                                    INDIANAPOLIS IN 46204



029983P001-1409A-265            029984P001-1409A-265                      029985P001-1409A-265                      029986P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
MALL AT AUBURN LLC              GREENWOOD PARK MALL LLC                   SA GALLERIA IV LP                         SIMON CAPITAL LIMITED PARTNERSHIP
MS MANAGEMENT ASSOCIATES INC    MS MANAGEMENT ASSOCIATES INC              MS MANAGEMENT ASSOCIATION INC             225 WEST WASHINGTON ST
225 WEST WASHINGTON ST          225 WEST WASHINGTON ST                    225 WEST WASHINGTON ST                    INDIANAPOLIS IN 46204
INDIANAPOLIS IN 46204-3438      INDIANAPOLIS IN 46204                     INDIANAPOLIS IN 46204



029987P001-1409A-265            029988P001-1409A-265                      029989P001-1409A-265                      029990P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
GALLERIA AT WOLFCHASE LLC       MEADOWOOD MALL SPE LLC                    NEWPORT CENTRE LLC                        SIMON PROPERTY GROUP TEXAS LP
225 WEST WASHINGTON ST          MS MANAGEMENT ASSOCIATES INC              SIMON PROPERTY GROUP                      MS MANAGEMENT ASSOCIATES INC
INDIANAPOLIS IN 46204           225 W WASHINGTON ST                       GENERAL COUNSEL                           225 WEST WASHINGTON ST
                                INDIANAPOLIS IN 46204                     225 W WASHINGTON ST                       INDIANAPOLIS IN 46204-3438
                                                                          INDIANAPOLIS IN 46204


029991P001-1409A-265            029992P001-1409A-265                      029993P001-1409A-265                      029994P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
LEHIGH VALLEY MALL LLC          CIRCLE CENTRE MALL LLC                    MAYFLOWER APPLE BLOSSOM LP                MIDLAND PARK MALL LP
SIMON PROPERTY GROUP            SIMON PROPERTY GROUP                      SIMON PROPERTY GROUP                      MS MANAGEMENT ASSOCIATES INC
GENERAL COUNSEL                 GENERAL COUNSEL                           GENERAL COUNSEL                           225 WEST WASHINGTON ST
225 W WASHINGTON ST             225 W WASHINGTON ST                       225 W WASHINGTON ST                       INDIANAPOLIS IN 46204
INDIANAPOLIS IN 46204           INDIANAPOLIS IN 46204                     INDIANAPOLIS IN 46204


029995P001-1409A-265            029996P001-1409A-265                      029997P001-1409A-265                      029998P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
MALL AT TURTLE CROSSING LLC     WOODBUM PREMIUM OUTLETS                   SAN FRANCISCO PREMIUM OUTLETS LLC         TACOMA MALL PARTNERSHIP
SIMON PROPERTY GROUP            225 WEST WASHINGTON ST                    SIMON PROPERTY GROUP                      MS MANAGEMENT ASSOCIATES INC
GENERAL COUNSEL                 INDIANAPOLIS IN 46204                     GENERAL COUNSEL                           225 WEST WASHINGTON ST
225 WEST WASHINGTON ST                                                    225 WEST WASHINGTON ST                    INDIANAPOLIS IN 46204-3438
INDIANAPOLIS IN 46204                                                     INDIANAPOLIS IN 46204


029999P001-1409A-265            030000P001-1409A-265                      030001P001-1409A-265                      030002P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
WEST TOWN MALL LLC              PHEASANT LANE REALTY TRUST                PIER PARK LLC                             HAMILTON TC LLC
SIMON PROPERTY GROUP            MS MANAGEMENT ASSOCIATES INC              SIMON PROPERTY GROUP                      SIMON PROPERTY GROUP
GENERAL COUNSEL                 225 WEST WASHINGTON ST                    GENERAL COUNSEL                           GENERAL COUNSEL
225 W WASHINGTON ST             INDIANAPOLIS IN 46204-3438                225 W WASHINGTON ST                       225 W WASHINGTON ST
INDIANAPOLIS IN 46204                                                     INDIANAPOLIS IN 46204                     INDIANAPOLIS IN 46204


030003P001-1409A-265            030004P001-1409A-265                      030005P001-1409A-265                      030006P001-1409A-265
SIMON (LANDLORD)                SIMON (LANDLORD)                          SIMON (LANDLORD)                          SIMON (LANDLORD)
MALL AT SOLOMON POND LLC        ORLAND LP                                 CHARLOTTE OUTLETS                         DEL AMO FASHION CENTER OPERATING CO LLC
MS MANAGEMENT ASSOCIATES INC    MS MANAGEMENT ASSOCIATES INC              SIMON PROPERTY GROUP                      SIMON PROPERTY GROUP
225 WEST WASHINGTON ST          225 WEST WASHINGTON ST                    LEASE SERVICES                            GENERAL COUNSEL
INDIANAPOLIS IN 46204-3438      INDIANAPOLIS IN 46204-3438                105 EISENHOWERRKWAY 1ST FL                225 W WASHINGTON ST
                                                                          ROSELAND NJ 07068                         INDIANAPOLIS IN 46204
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030007P001-1409A-265               030008P001-1409A-265                       030024P001-1409A-265              033547P001-1409A-265
SIMON (LANDLORD)                   SIMON (LANDLORD)                           SIMON (LANDLORD)                  SIMON (LANDLORD)
MALL AT BRIARWOOD LLC              CPI-PHIPPS LIMITED LIABILITY CO            SIMON PROPERTY GROUP              ROCKAWAY CENTER ASSOCIATES
MS MANAGEMENT ASSOCIATES INC       MS MANAGEMENT ASSOCIATES INC               GENERAL COUNSEL                   MS MANAGEMENT ASSOCIATES INC.
225 WEST WASHINGTON ST             225 WEST WASHINGTON ST                     225 W WASHINGTON ST               225 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-3438         INDIANAPOLIS IN 46204-3438                 INDIANAPOLIS IN 46204             INDIANAPOLIS IN 46204-3438



031100P001-1409A-265               037336P001-1409A-265                       034139P001-1409A-265              036871P001-1409A-265
SIMON AND SCHUSTER INC             SIMON AND SCHUSTER INC                     SIMON CAPITAL GP                  SIMON MILLS CORP
KAMALA KELLEY                      SHARMILA GOPALAKRISHNA                     1361 MEMENTUM PL                  ARIZONA MILLS LLC
PO BOX 70660                       100 FRONT ST                               CHICAGO IL 60689-5311             GENERAL COUNSEL
CHICAGO IL 60673-0660              RIVERSIDE                                                                    225 W WASHINGTON ST
                                   RIVERSIDE NJ 08075                                                           INDIANAPOLIS IN 46204



033455P001-1409A-265               034357P001-1409A-265                       034286P001-1409A-265              034439P001-1409A-265
SIMON PROPERTY GROUP               SIMON PROPERTY GROUP                       SIMON PROPERTY GROUP (TEXAS) LP   SIMON PROPERTY GROUP (TEXAS) LP
7600 KINGSTON PIKE                 NORTHWOODS DEVELOPMENT CO                  4601 SOUTH BROADWAY AVE           FIREWHEEL TOWN CENTER
KNOXVILLE TN 37919                 867950 RELIABLE PKWY                       TYLER TX 75703                    PO BOX 775750
                                   CHICAGO IL 60686-0079                                                        CHICAGO IL 60677-5750




034455P001-1409A-265               034355P001-1409A-265                       034428P001-1409A-265              031557P001-1409A-265
SIMON PROPERTY GROUP (TEXAS) LP    SIMON PROPERTY GROUP (TX) LP               SIMON PROPERTY GROUP LLC          SIMON PROPERTY GROUP LP
PO BOX 822693                      867925 RELIABLE PKWY                       PO BOX 772811                     4825 SPG LP AS AGENTS FOR
PHILADELPHIA PA 19182-2693         CHICAGO IL 60686-0079                      CHICAGO IL 60677-2811             HAYWOOD MALL PO BOX 281484
                                                                                                                ATLANTA GA 30384-1484




034345P001-1409A-265               034347P001-1409A-265                       034348P001-1409A-265              034440P001-1409A-265
SIMON PROPERTY GROUP LP            SIMON PROPERTY GROUP LP                    SIMON PROPERTY GROUP LP           SIMON PROPERTY GROUP LP
867655 RELIABLE PKWY               867675 RELIABLE PKWY                       867695 RELIABLE PKWY              CASTLETON SQUARE LLC
CHICAGO IL 60686-0076              CHICAGO IL 60686-0076                      CHICAGO IL 60686-0076             PO BOX 775754
                                                                                                                CHICAGO IL 60677-5754




034441P001-1409A-265               034448P001-1409A-265                       034449P001-1409A-265              034464P001-1409A-265
SIMON PROPERTY GROUP LP            SIMON PROPERTY GROUP LP                    SIMON PROPERTY GROUP LP           SIMON PROPERTY GROUP LP
CAPITAL GP                         PO BOX 776329                              PO BOX 776438                     PO BOX 824014
PO BOX 775758                      CHICAGO IL 60677-6329                      CHICAGO IL 60677-6438             PHILADELPHIA PA 19182-4014
CHICAGO IL 60677-5758




034473P001-1409A-265               037663P001-1409A-265                       036949P001-1409A-265              031558S001-1409A-265
SIMON PROPERTY GROUP LP            SIMON PROPERTY GROUP LP                    SIMON PROPERTY GROUP TEXAS LP     SIMON PROPERTY GROUP, L.P.
PO BOX 83388                       RONALD M TUCKER                            A TEXAS LIMITED PARTNERSHIP       SIMON PROPERTY GROUP LP
CHICAGO IL 60691-3388              225 WEST WASHINGTON ST                     SIMON PROPERTY GROUP              RONALD M TUCKER ESQ
                                   INDIANAPOLIS IN 46204                      RONALD M TUCKER                   225 WEST WASHINGTON ST
                                                                              225 WEST WASHINGTON ST            INDIANAPOLIS IN 46204
                                                                              INDIANAPOLIS IN 46204
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031558P001-1409A-265                             034350P001-1409A-265                              034353P001-1409A-265                  034346P001-1409A-265
SIMON PROPERTY GROUP, LP                         SIMON PROPERTY GROUP, LP                          SIMON PROPERTY GROUP, LP              SIMON PROPERTY GRP, LP
JG ELIZABETH II LLC                              867731 RELIABLE PKWY                              867800 RELIABLE PKWY                  867670 RELIABLE PKWY
PO BOX 775273                                    CHICAGO IL 60686-0077                             CHICAGO IL 60686-0078                 CHICAGO IL 60686-0076
CHICAGO IL 60677-5273




034349P001-1409A-265                             008568P001-1409A-265                              034720P001-1409A-265                  034725P001-1409A-265
SIMON PROPERTY GRPTXLP                           NICOLE D SIMON                                    SIMON/MILLS CORP                      SIMON/MILLS CORP
867729 RELIABLE PKWY                             1314 CHINOOK TRL                                  ONTARIO MILLS LIMITED PARTNERSHIP     SIMON PROPERTY GROUP
CHICAGO IL 60686-0077                            12                                                MS MANAGEMENT ASSOCIATES INC          225 W WASHINGTON ST
                                                 FRANKFORT KY 40601                                225 WEST WASHINGTON ST                INDIANAPOLIS IN 46204
                                                                                                   INDIANAPOLIS IN 46204-3438



034727P001-1409A-265                             034741P001-1409A-265                              034744P001-1409A-265                  034755P001-1409A-265
SIMON/MILLS CORP                                 SIMON/MILLS CORP                                  SIMON/MILLS CORP                      SIMON/MILLS CORP
ARIZONA MILLS LLC                                FRANKLIN MILLS ASSOCIATES LIMITED PARTNERSHIP     CONCORD MILLS LIMITED PARTNERSHIP     OPRY MILLS MALL LIMITED PARTNERSHIP
225 W WASHINGTON ST                              MS MANAGEMENT ASSOCIATES INC                      225 W WASHINGTON ST                   MS MANAGEMENT ASSOCIATES INC
INDIANAPOLIS IN 46204                            225 W WASHINGTON ST                               INDIANAPOLIS IN 46204                 225 WEST WASHINGTON ST
                                                 INDIANAPOLIS IA 46204-3438                                                              INDIANAPOLIS IN 46204-3438



035028P001-1409A-265                             030009P001-1409A-265                              030010P001-1409A-265                  030011P001-1409A-265
SIMON/MILLS CORP                                 SIMON/MILLS CORP (LANDLORD)                       SIMON/MILLS CORP (LANDLORD)           SIMON/MILLS CORP (LANDLORD)
MALL AT POTOMAC MILLS LLC                        ONTARIO MILLS LIMITED PARTNERSHIP                 SIMON PROPERTY GROUP                  ARIZONA MILLS LLC
MS MANAGEMENT ASSOCIATES INC                     MS MANAGEMENT ASSOCIATES INC                      GENERAL COUNSEL                       GENERAL COUNSEL
225 WEST WASHINGTON ST                           225 WEST WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
INDIANAPOLIS IN 46204-3438                       INDIANAPOLIS IN 46204-3438                        INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204



030012P001-1409A-265                             030013P001-1409A-265                              030014P001-1409A-265                  030015P001-1409A-265
SIMON/MILLS CORP (LANDLORD)                      SIMON/MILLS CORP (LANDLORD)                       SIMON/MILLS CORP (LANDLORD)           SIMON/MILLS CORP (LANDLORD)
FRANKLIN MILLS ASSOCIATES LIMITED PARTNERSHIP    CONCORD MILLS LIMITED PARTNERSHIP                 OPRY MILLS MALL LIMITED PARTNERSHIP   MALL AT POTOMAC MILLS LLC
MS MANAGEMENT ASSOCIATES INC                     225 W WASHINGTON ST                               MS MANAGEMENT ASSOCIATES INC          MS MANAGEMENT ASSOCIATES INC
225 W WASHINGTON ST                              INDIANAPOLIS IN 46204                             225 WEST WASHINGTON ST                225 WEST WASHINGTON ST
INDIANAPOLIS IA 46204-3438                                                                         INDIANAPOLIS IN 46204-3438            INDIANAPOLIS IN 46204-3438



034443P001-1409A-265                             003943P001-1409A-265                              004641P001-1409A-265                  032476P001-1409A-265
SIMON/WOODMONT DEVELOPMENT LLC                   TIFFANY A SIMONINI                                TRICINA SIMONS                        SIMPLEXGRINNELL LP
PO BOX 775857                                    850 MAPLE AVE                                     92 38 175TH ST                        DEPT CH 10320
CHICAGO IL 60677-5857                            SOUTH SAN FRANCISC CA 94080                       2A                                    PALATINE IL 60055-0320
                                                                                                   JAMAICA NY 11433




006517P001-1409A-265                             003597P001-1409A-265                              002666P001-1409A-265                  000501P001-1409A-265
ARIEL SIMPSON                                    BRIA SIMPSON                                      BRIANA SIMPSON                        GOVERNESS L SIMPSON
2013 CASTLE DR APT A                             1436 E LAKEVIEW DR APT 301                        1415 FOX SEDGE TRL                    600 11TH AVE SE
GARLAND TX 75040                                 JOHNSON CITY TN 37601                             WOODSTOCK IL 60098                    MINNEAPOLIS MN 55414
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006160P001-1409A-265           007302P001-1409A-265                002032P001-1409A-265              008731P001-1409A-265
JALAE SIMPSON                  ALLISON R SIMS                      JAYLA SIMS                        RUTH SIMS
200 TREY DR                    2213 CAMPUS VLG AVE                 8144 MEADOW VALE DR               3202 S MASON AVE
GREENVILLE NC 27834            SAGINAW MI 48604                    MEMPHIS TN 38125-3209             J105
                                                                                                     TACOMA WA 98409




006994P001-1409A-265           002068P001-1409A-265                007561P001-1409A-265              033461P001-1409A-265
SAQUOIA M SIMS                 SHAKEANA SIMS                       TRISHA SINAMBAN                   SINCLAIR SVC ASSESSMENTS
PO BOX 92                      1904 JEFFERSON PK AVE               6040 LAMBERT BRIDGE AVE           SINCLAIR CUSTOMER METRICS
LOCUST GROVE GA 30248          19                                  LAS VEGAS NV 89139                900 ISOM RD
                               CHARLOTTESVILLE VA 22903                                              STE 110
                                                                                                     SAN ANTONIO TX 78216



002423P001-1409A-265           036011P001-1409A-265                000489P001-1409A-265              004139P001-1409A-265
JONTE P SING                   SONALI SINGAL                       CINDI SINGH                       JASMINE SINGH
46-271 KAHUHIPA ST             9 HICKORY LN                        3205 81ST ST                      1635 SHERBOURNE RD
E106                           NORTH BRUNSWICK NJ 08902            JACKSON HEIGHTS NY 11370          VALLEY STREAM NY 11580
KANEOHE HI 96744




007736P001-1409A-265           009678P001-1409A-265                033391P001-1409A-265              004736P002-1409A-265
MANPREET SINGH                 SIMRAN SINGH                        SINGLE DIGITS INC                 MALIK T SINGLETARY
381 TAMARACK DR                24 RAMBLING RD                      4 BEDFORD FARMS DR STE 210        107 VINELAND PARKWAY DRIVE
UNION CITY CA 94587            EAST AMHERST NY 14051               BEDFORD NH 03110                  VINE GROVE KY 40175




009436P001-1409A-265           008260P001-1409A-265                008244P001-1409A-265              037422P001-1409A-265
IVORY D SINGLETON              NYJAH R SINGLETON                   TANASIA SINGLETON                 AIKO SINIO
4220 BONOPARTE APT3            1526 WESTOVER DR                    1910 BLUE HILL DR                 3358 LEGACY DR
NORTH CHARLESTON SC 29418      WILLOUGHBY OH 44094                 CINCINNATI OH 45240               LOCKPORT IL 60441




003945P001-1409A-265           037539P001-1409A-265                001501P001-1409A-265              006649P001-1409A-265
AIKO K SINIO                   ALYSSA SINKER                       ALYSSA A SINKER                   ALLIE R SINOHUE
3358 LEGACY DR                 1 FAIRVIEW AVE APT 6                1 FAIRVIEW AVE APT 6              15251 SENECA RD
LOCKPORT IL 60441              YORKVILLE NY 13495                  YORKVILLE NY 13495-1744           7
                                                                                                     VICTORVILLE CA 92392




009711P002-1409A-265           008552P001-1409A-265                006966P001-1409A-265              007655P001-1409A-265
JESSICA SINOPOLI               ITZEL A SINOTO                      DAPHNE SIPAQUE                    TARA SIRAKIS
10 ST PATRICK PL               7221 WESTBROOK AVE                  236 PALM AVE                      1868 COVER DR
BALLSTON LAKE NY 12019-1840    LAS VEGAS NV 89147                  NATIONAL CITY CA 91950            POLAND OH 44514
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032477P001-1409A-265               003599P001-1409A-265                     002320P002-1409A-265            006017P001-1409A-265
SIRIUS COMPUTER SOLUTIONS, INC     JENSEN N SIROFCHUCK                      JORDAN A SISON                  JAIME SISSEL
10100 REUNION PL STE 500           138 BABCOCK RD                           272 WILSON AVE                  5059 HOMEPLACE DR
SAN ANTONIO TX 78216               MERCER PA 16137                          TWP WASHINGTON NJ 07676-4729    APEX NC 27539




032478P003-1409A-265               032478S001-1409A-265                     036760P001-1409A-265            032479P001-1409A-265
SITE CREW INC                      SITE CREW INC                            SITECREW INC                    SITEFOLIO LLC
PALMIERI TYLER ATTORNEYS AT LAW    BRIAN FAUL                               3185 G AIRWAY AVE               1037 NE 65 ST STE 229
DON FISHER                         3185G AIRWAY AVE                         COSTA MESA CA 92626             SEATTLE WA 98115
1900 MAIN ST STE 700               COSTA MESA CA 92626
IRVINE CA 92614



037214P002-1409A-265               006684P001-1409A-265                     002992P001-1409A-265            037080P001-1409A-265
SITEFOLIO LLC                      KRYSTAL SITTON                           SUSANNA SITU                    SUSANNA SITU
SITEFOLIO LLC                      24108 NEW MOUNTAIN RD                    2380 PRICETON DR                2380 PRINCETON DR
MARGARET MANSKER                   ALDIE VA 20105                           SAN BRUNO CA 94066              SAN BRUNO CA 94066
1037 NE 65TH STREET #229
SEATTLE WA 98115



000985P001-1409A-265               036012P001-1409A-265                     033419P001-1409A-265            005080P001-1409A-265
SUSAN SIVAR                        SUSAN SIVAR                              ELIZABETH SIVERTS               JOCELYN SIXTOS
8550 ARGYLE BUSINESS LOOP          10053 BENGAL FOX DR                      528 GREENWICH ST                4451 S RICHMOND
#1401                              JACKSONVILLE FL 32222                    SAN FRANCISCO CA 94133          CHICAGO IL 60632
JACKSONVILLE FL 32244




036293P001-1409A-265               007875P001-1409A-265                     007535P001-1409A-265            002668P001-1409A-265
SKA EXPORTS                        HANNAH J SKAGGS                          KYNDALL SKAGGS                  PAIGE T SKANE
PLOT NO84 SECTOR-4 IMT MANESAR     923 NE 108TH ST                          9722 CEDARDALE DR               13 PRESCOTT ST
GURGAON-122050 HARYANA             KANSAS CITY MO 64155                     HOUSTON TX 77055                EVERETT MA 02149
INDIA




009054P001-1409A-265               005048P001-1409A-265                     004958P001-1409A-265            003807P001-1409A-265
JORDYN M SKARIE                    BETHANY SKELTON                          CASSANDRA SKENANDORE            ALYSSA R SKENE
2106 ORMOND DR                     305 PORTSIDE CIR WEST                    8960 N 96TH ST                  10897 48TH AVE
SHAKOPEE MN 55379                  MOBILE AL 36695                          6                               G9
                                                                            MILWAUKEE WI 53224              ALLENDALE MI 49401




030756P001-1409A-265               030389P001-1409A-265                     030493P002-1409A-265            002085P001-1409A-265
SKETCH APPAREL INC                 JEROME SKIBBA                            MAGAN SKIDMORE                  MEGAN SKIDMORE
STEVE CHO                          ADDRESS INTENTIONALLY OMITTED            ADDRESS INTENTIONALLY OMITTED   323 S WITT ST
110 E9TH ST                                                                                                 WEST COLUMBIA SC 29169
#A810
LOS ANGELES CA 90079
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006905P001-1409A-265              006081P001-1409A-265                      036306P002-1409A-265        007935P001-1409A-265
TAYLOR A SKIERESZ                 AYANNA L SKINNER                          SKJ ENTERPRISES             JAMAYA T SKRINE
6 BENTLEY CIR                     1955 UNION PL APT B25                     STEPHEN J JUNG              6041 AMBASSADOR DR
LANCASTER NY 14086                COLUMBIA TN 38401                         1901 E55TH ST               MCDONOUGH GA 30253
                                                                            VERNON CA 90058




009549P001-1409A-265              031088P001-1409A-265                      036294P001-1409A-265        005675P001-1409A-265
OLIVIA SKURKA                     SKY APPAREL INC                           SKY APPAREL INC             MEGAN R SLABIAK
31 LOCUST AVE NORTH               SCOTT PARK                                134 W 30TH ST UNIT B-1      23762 MELVILLE AVE
MEDFORD NY 11763                  134 W 30TH ST                             LOS ANGELES CA 90007        HAZEL PARK MI 48030
                                  UNIT B-1
                                  LOS ANGELES CA 90007



006542P001-1409A-265              035167P001-1409A-265                      036880P001-1409A-265        032480P001-1409A-265
NICOLE K SLABONIK                 SLACK TECHNOLOGIES                        SLACK TECHNOLOGIES          SLACK TECHNOLOGIES, INC
97 ROSE OF SHARON DR              155 5TH ST 6TH FLOOR                      155 5TH STREET              LILY SKOLNIK
ETTERS PA 17319                   SAN FRANCISCO CA 94103                    SAN FRANCISCO CA 94103      500 HOWARD ST
                                                                                                        SAN FRANCISCO CA 94105




008851P001-1409A-265              007503P001-1409A-265                      008893P001-1409A-265        032481P001-1409A-265
EMILEE M SLAGHT                   BRIANCA D SLATER                          LORNA D SLATER              SLATES HARWELL LLP
123 4TH AVE W                     1165 JACKSON ST                           113 CREEKVIEW DR            LAURA CAREY
327                               SAINT CHARLES MO 63301                    LAFAYETTE IN 47909          1700 PACIFIC STE 3800
OLYMPIA WA 98501                                                                                        DALLAS TX 75201




006089P001-1409A-265              003060P001-1409A-265                      004236P001-1409A-265        000739P001-1409A-265
LAUREN SLAUGHTER                  MADELEINE E SLEBODNIK                     SAMANTHA M SLITER           TAMIKA A SLOAN
1301 LINKVIEW CROSSING            32117 DOVER AVE                           1800 BAYFIELD RD            1533 WEST BUTLER ST
LOCUST GROVE GA 30248             GARDEN CITY MI 48135                      14 B                        PHILADELPHIA PA 19140
                                                                            COLUMBIA SC 29223




009266P001-1409A-265              005835P001-1409A-265                      003179P001-1409A-265        003876P001-1409A-265
TAYLOR SLOAN                      TIANA L SLOAN                             KADIJA D SLOANS             BIONTE A SLOWTALKER
1100 PHILADELPHIA AVE             6255 PANTHER PEAK                         5903 NORTH 74TH ST          820 12 S FLOWER ST
UPSTAIRS                          SAN ANTONIO TX 78247                      MILWAUKEE WI 53218          INGLEWOOD CA 90301
OCEAN CITY MD 21842




037733P001-1409A-265              031559P001-1409A-265                      034476P001-1409A-265        036931P001-1409A-265
SM EASTLAND MALL LLC              SM EASTLAND MALL, LLC                     SM MESA MALL LLC            SM MESA MALL LLC
BALLARD SPAHR LLP                 MACERICH EQ LIMITED PARTNERSHI            PO BOX 849455               WASHINGTON PRIME GROUP INC
DUSTIN P BRANCH                   401 WILSHIRE BLVD                         LOS ANGELES CA 90084-9455   FROST BROWN TODD LLC
2029 CENTURY PARK EAST STE 800    STE 700                                                               301 E FOURTH ST
LOS ANGELES CA 90067-2909         SANTA MONICA CA 90401                                                 CINCINNATI OH 45202
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036931S001-1409A-265              034370P001-1409A-265                 036307P001-1409A-265             037172P001-1409A-265
SM MESA MALL LLC                  SM RUSHMORE MALL, LLC                SMAI NYC LLC                     SAPRINA SMALL
STEPHEN E IFEDUBA                 DEPT 25965520                        1385 BROADWAY STE 421            106 VINEWOOD CIR
180 E BROAD ST                    LOS ANGELES CA 90084-2596            NEW YORK NY 10018                TUPELO MS 38801
COLUMBUS OH 43215




002863P001-1409A-265              003299P001-1409A-265                 003800P001-1409A-265             003847P001-1409A-265
SAPRINA L SMALL                   MADISON N SMALLEY                    YAMINAH SMALLIE                  STACY N SMALLMAN
106 VINEWOOD CIR                  3455 S KINGS AVE                     5905 AIRWAYS BLVD APT 401        77 BOXWOOD DR
TUPELO MS 38801                   SPRINGFIELD MO 65807                 SOUTHAVEN MS 38671               TRUMANN AR 72472




007080P001-1409A-265              003188P001-1409A-265                 032482P001-1409A-265             000473P001-1409A-265
VANESSA SMALLS                    NAILAH SMALLWOOD                     SMARTSHEET INC                   AMARIS K SMILING
504 BALLY BUNION LN               80 E BEL AIR AVE                     DEPT 3421                        1099 HIDEOUT DR
COLUMBIA SC 29229                 APT A6                               PO BOX 123421                    MANNING SC 29102
                                  ABERDEEN MD 21001                    DALLAS TX 75312-3421




032483P001-1409A-265              003527P001-1409A-265                 000877P001-1409A-265             008589P001-1409A-265
SMITH COUNTY TAX OFFICE           ADIA D SMITH                         ADRIENNE E SMITH                 ALEXANDRIA D SMITH
GARY B BARBER                     2119 LAUREL SPRINGS LN               205 TOWNVIEW DR                  123 JENNIE BERRY LN
PO BOX 2011                       KINGWOOD TX 77339                    WAPPINGERS FALLS NY 12590        PEARL MS 39208
TYLER TX 75710




006600P001-1409A-265              019383P002-1409A-265                 007091P001-1409A-265             002343P001-1409A-265
ALEXIS SMITH                      ALEXIS SMITH                         ALEXIS J SMITH                   ALEYA M SMITH
1409 SOUTHWOOD PLANTATION RD A    25 HUSTED RD APT 203                 17 ISLAND DR                     8256 N SUNSET RANCH LOOP
TALLAHASSEE FL 32311              CARMEL NY 10512                      POLAND OH 44514                  TUCSON AZ 85743




008886P001-1409A-265              005730P002-1409A-265                 009437P001-1409A-265             009523P001-1409A-265
ALLISON M SMITH                   ANGEL M SMITH                        ANGELA D SMITH                   ASHLEY SMITH
319 E MARKET ST                   4015 BUTTERNUT ST                    9021 MARLEE RD                   8511 DARCY LN
3RD FLR REAR                      E CHICAGO IN 46312-2911              JACKSONVILLE FL 32222            PARTLOW VA 22534
YORK PA 17403




004220P001-1409A-265              000810P001-1409A-265                 036013P001-1409A-265             009685P002-1409A-265
ASHLEY M SMITH                    ASHLEY N SMITH                       ASHLEY N SMITH                   BAYLEI A SMITH
219 FRANKFORD AVE                 4740 S CLARENCE                      810 E PEACH                      6137 STRAUSS RD APT B
BLACKWOOD NJ 08012                WICHITA KS 67217                     HAYSVILLE KS 67060               LOCKPORT NY 14094-5807
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009123P001-1409A-265              036014P001-1409A-265                  030254P001-1409A-265            037553P001-1409A-265
BREANNA N SMITH                   BREAUNNA L SMITH                      BRITTANY SMITH                  BRITTANY SMITH
1714 E KENSINGTON BLVD            908 LINWOOD ST                        ADDRESS INTENTIONALLY OMITTED   300 SOUTH EIGHTH ST
APT F                             HYATTSVILLE MD 20783                                                  MEBANE NC 27302
SHOREWOOD WI 53211




005269P001-1409A-265              002805P001-1409A-265                  009255P001-1409A-265            007060P001-1409A-265
BRITTANY S SMITH                  BROOKE D SMITH                        CHANDRELL SMITH                 CLAUDESHA B SMITH
300 S 8TH ST                      506 NW FALK DR                        5224 EASTERN AVE                500 6TH ST S
MEBANE NC 27302                   LEES SUMMIT MO 64063                  KANSAS CITY MO 64129            2717 MAPLE AVE
                                                                                                        SAINT CLOUD MN 56301




003047P001-1409A-265              036462P001-1409A-265                  006330P001-1409A-265            009555P001-1409A-265
COURTNEY SMITH                    DA'NEISHA D SMITH                     DEONDREYA SMITH                 DESTINY SMITH
MTSU BOX 9705 1301 EAST MAIN S    118 MARK TWAIN DR #15                 3905 LOST CREEK DR              1900 HAZELWOOD DR APTE5
MURFREESBORO TN 37132             RIVER RIDGE LA 70123                  PLANO TX 75074                  WEST ASHLEY SC 29407




003873P001-1409A-265              009218P001-1409A-265                  037575P001-1409A-265            000886P001-1409A-265
DHANIELLE S SMITH                 ELIZABETH SMITH                       ERICA SMITH                     ERICA N SMITH
147 CORY CT                       370 WEST ST                           2929 FIRE MOUNTAIN DR UNIT 46   2929 FIRE MOUNTAIN DR
AUBURNDALE FL 33823               WRENTHAM MA 02093                     OCEANSIDE CA 92054              APT 46
                                                                                                        OCEANSIDE CA 92054




020751P001-1409A-265              033217P001-1409A-265                  033217S001-1409A-265            010310P001-1409A-265
GERALYN SMITH                     IVORY SMITH                           IVORY SMITH                     JACK SMITH
1461 OTTERCREEK DR                919 STEIN CT UNIT 104                 LOU BERTRAND AND ASSOCIATES     LAMAR COUNTY TAX
CINCINNATI OH 45240               KENT OH 44240                         409 SOUTH PROSPECT              PO BOX 309
                                                                        RAVENNA OH 44266                PURVIS MS 39475




008662P001-1409A-265              001950P001-1409A-265                  005729P001-1409A-265            005186P001-1409A-265
JAHMARA C SMITH                   JAMILA E SMITH                        JANAYE R SMITH                  JANOAH A SMITH
202 STATE ST                      1182 BROOKRIDGE TRCE                  5404 LOCKLEAR PL                201 SUDBROOK LN
CAMDEN NJ 08102                   FORT WALTON BEACH FL 32547            RIVERVIEW FL 33578              PIKESVILLE MD 21208




009189P001-1409A-265              008349P001-1409A-265                  008407P001-1409A-265            001272P001-1409A-265
JANYA Z SMITH                     JENNA M SMITH                         JESSICA SMITH                   JESSICA D SMITH
481 CREEK HOLLOW WAY              4 BEALL DR                            6308 SANDSTONE DR               2519 DOUBLETREE RD
ATHENS GA 30601                   PAINESVILLE OH 44077                  ARLINGTON TX 76001              SPRING VALLEY CA 91978-1914
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001770P001-1409A-265       004243P001-1409A-265                004620P001-1409A-265              006725P001-1409A-265
JESSICA L SMITH            KADIJAH SMITH                       KALANI A SMITH                    KARDISHA R SMITH
2250 FOXBORO CT            7601 FOX DEN CT                     1406 GRANEX DR                    4651 N 76TH ST
ERIE PA 16510-4058         CLINTON MD 20735                    DR                                MILWAUKEE WI 53218
                                                               KILLEEN TX 76542




005290P001-1409A-265       036015P001-1409A-265                008430P001-1409A-265              036590P001-1409A-265
KATHLEEN E SMITH           KATHLEEN E SMITH                    KAYLEE A SMITH                    KELSEY SMITH
3453 BUSBEE DR NW          207 CEDARHURST DR                   9457 TIMBER VIEW DR               18 ORCHARD CIR
4101                       CANTON GA 30115                     INDIANAPOLIS IN 46250             HALIFAX MA 02338
KENNESAW GA 30144




006540P001-1409A-265       008775P001-1409A-265                008977P001-1409A-265              002340P002-1409A-265
KIAH N SMITH               KIMBLE P SMITH                      KINLIE S SMITH                    LAUREN SMITH
2121 WINDY HILL RD         3615 N 29TH ST                      PO BOX 538                        229 SW STATE ROUTE 131
APT 915                    FORT SMITH AR 72904-3400            PECULIAR MO 64078                 HOLDEN MO 64040
MARIETTA GA 30060




008100P001-1409A-265       009225P001-1409A-265                008452P001-1409A-265              007283P001-1409A-265
LINDSEY J SMITH            LORIANNA N SMITH                    LYNDY M SMITH                     LYNETTE M SMITH
636 WEST BROAD ST          8260 CRAIN HWY                      326 ASUELO WAY                    1615 S 56TH ST
HORSEHEADS NY 14845        LA PLATA MD 20646                   SANTA ROSA CA 95401               PHILADELPHIA PA 19143




006447P001-1409A-265       007755P001-1409A-265                036016P001-1409A-265              008966P001-1409A-265
MADISON M SMITH            MAHARRI C SMITH                     MCKENZIE SMITH                    MEGAN S SMITH
530 DARBY DR               5478 NORTH 56 ST                    4216 REGENCY DR                   103 FONTAINE ST
BELLINGHAM WA 98226        MILWAUKEE WI 53218                  SALUDA VA 23149                   MARLBOROUGH MA 01752




007887P001-1409A-265       000650P001-1409A-265                008029P001-1409A-265              036680P001-1409A-265
MICHELLE D SMITH           MORGAN SMITH                        MORGAN SMITH                      NICOLE SMITH
PO BOX 291                 170 E ARROYO ST                     212 HIGHLAND DR                   3855 HABITAT DR APT B
MOORESVILLE IN IN 46158    RENO NV 89502                       TUPELO MS 38801                   COLUMBUS OH 43228-9464




006615P001-1409A-265       009619P001-1409A-265                004044P001-1409A-265              003902P001-1409A-265
NICOLE L SMITH             NIYIN SMITH                         PEYTON SMITH                      PORCHIA SMITH
114 DE NORMANDIE WAY       3603 DEARBORN DR                    7004 GLENDOWER RD                 908 LINWOOD ST
MARTINEZ CA 94553          DURHAM FL 27704                     RALEIGH NC 27613                  HYATTSVILLE MD 20783
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008281P001-1409A-265          001686P001-1409A-265                         023924P001-1409A-265           036017P001-1409A-265
QUINASIA SMITH                RACHEL A SMITH                               REBECCAH D SMITH               REILLY E SMITH
5835 GRANT ST                 6003 OSPREY LAKE CIR                         16672 JACKDAW PATH             1315 FANNIN ST
5835                          RIVERVIEW FL 33578                           LAKEVILLE MN 55044             NEDERLAND TX 77627
HOLLYWOOD FL 33021




008311P001-1409A-265          005041P001-1409A-265                         001912P001-1409A-265           006747P001-1409A-265
RHEANNA M SMITH               SAMANTHA G SMITH                             SARA C SMITH                   SHAILEY J SMITH
1053 GLEN MOLLY DR            85 WINTHROP AVE                              10002 ANITA BLVD               550 S ASH ST
SPARKS NV 89434               BRAINTREE MA 02184                           LOUISVILLE KY 40272            PO BOX 6
                                                                                                          GREENWOOD NE 68366




007838P001-1409A-265          009309P002-1409A-265                         001268P002-1409A-265           001613P001-1409A-265
SHAMONE L SMITH               SHANNON SMITH                                SHARON N SMITH                 SHELBY SMITH
8011 FRONT BEACH RD           1105 GLENWOOD RD                             8168 SWIFT FOX TRL             339 NORTH ROYAL AVE
1603                          TOMS RIVER NJ 08753-4119                     JACKSONVILLE FL 32222-4148     FLORENCE AL 35630-2493
PANAMA CITY BEACH FL 32407




009114P001-1409A-265          036018P001-1409A-265                         005059P001-1409A-265           009222P001-1409A-265
SHELBY SMITH                  SHELBY SMITH                                 SHELLANEY SMITH                SHONICE L SMITH
1501 SPRINGHILL TER           601 CREST ST                                 21W185 CORONET RD              910 ST ANDREWS DR
DOTHAN AL 36303               FLORENCE AL 35630-2493                       LOMBARD IL 60148               MURFREESBORO TN 37128




001129P001-1409A-265          030616P001-1409A-265                         007035P001-1409A-265           002137P001-1409A-265
SIRIKA SMITH                  SIRIKA SMITH                                 SONAE SMITH                    SUMER N SMITH
1630 WENDY DR                 ADDRESS INTENTIONALLY OMITTED                3569 PIONEER DR                801 WHEELER CEMETERY RD
PLEASANT HILL CA 94523                                                     HOPE MILLS NC 28348            MAYSVILLE GA 30558




006390P001-1409A-265          037081P001-1409A-265                         006529P001-1409A-265           001492P001-1409A-265
SYDNEY N SMITH                SYLVIA SMITH                                 SYLVIA K SMITH                 TALORE T SMITH
13908 COUNTRY CT DR           8343 PRINCETON SQUARE BLVD E #613            8343 PRINCETON SQUARE BLVD E   585 FALLEN TIMBERS DR
TAMPA FL 33625                JACKSONVILLE FL 32256                        613                            ORANGE PARK FL 32073-5277
                                                                           JACKSONVILLE FL 32256




002470P001-1409A-265          006197P001-1409A-265                         000636P001-1409A-265           005587P001-1409A-265
TAYLOR S SMITH                THALIA SMITH                                 TRACEY M SMITH                 UNIQUA SMITH
3325 WILMINGTON DR            147 W FUNDERBURG RD                          126 WEST 7TH ST                4700 BOULDER DR
GRAND PRAIRIE TX 75052        APT A8                                       LANSDALE PA 19446              810
                              FAIRBORN OH 45324                                                           MIDLAND TX 79707
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007328P001-1409A-265             007707P001-1409A-265                002067P001-1409A-265                 031101P001-1409A-265
ZENOBIA SMITH                    CHANTEL SMITHBERGER                 BRITNEE SMITHERS                     SMOKO INC
11651 ROYAL LYTHAM LN            7950 MENTOR AVE                     1558 W 62ND ST                       JENNIFER PHOMMACHAK
WALDORF MD 20602                 D301                                LOS ANGELES CA 90047-1531            1139 WESTMINSTER AVE
                                 MENTOR OH 44060                                                          STE E
                                                                                                          ALHAMBRA CA 91803



033278P001-1409A-265             033129P001-1409A-265                033129S001-1409A-265                 034686P002-1409A-265
SMS - SYSTEMS MAINTENANCE SVC    SMUD                                SMUD                                 SMUD
LENNY STEINBERG                  PO BOX 15555                        6301 S ST                            A/K/A SACRAMENTO MUNICIPAL UITILITY DISTRICT
14416 COLLECTIONS CTR DR         SACRAMENTO CA 95852                 SACRAMENTO CA 95817                  PO BOX 15830 ATTN A255
CHICAGO IL 60693                                                                                          SACRAMENTO CA 95852




003402P001-1409A-265             032484P001-1409A-265                035168P001-1409A-265                 035169P002-1409A-265
KELLY N SMYTHE                   SNAGAJOBCOM INC                     SNAGAJOBCOM INC APPLICANT TRACKING   SNAGAJOBCOM INC MONTHLY MAINTENANCE
47 LORIJEAN LN                   32978 COLLECTION CTR DR             32978 COLLECTION CTR DR              32978 COLLECTION CTR DR
EAST NORTHPORT NY 11731          CHICAGO IL 60693-0329               CHICAGO IL 60693-0329                CHICAGO IL 60693-0329




003231P001-1409A-265             007812P001-1409A-265                002846P001-1409A-265                 001529P001-1409A-265
ALYSHA M SNEED                   KYRA M SNEED                        SHIAN SNIDER                         KATLYN SNIFFIN
521 W 2ND ST                     17852 LAKE CARLTON DR               22 CONIFER WAY                       1223 MAPLE AVE
PINCONNING MI 48650              APT D                               SICKLERVILLE NJ 08081                SOUTH HEMPTEAD NY 11550
                                 LUTZ FL 33558




036019P001-1409A-265             004448P001-1409A-265                037540P001-1409A-265                 008678P001-1409A-265
TA'KEYAH C SNIPES                TAKEYAH C SNIPES                    AMY SNODGRASS                        AMY J SNODGRASS
601 THUNDERBIRD DR               229 STUMER RD                       3323 HARTEL AVE                      3323 HARTEL AVE
BOX ELDER SD 57719               11                                  PHILADELPHIA PA 19136                PHILADELPHIA PA 19136
                                 RAPID CITY SD 57701




036400P001-1409A-265             033130P002-1409A-265                006482P001-1409A-265                 037218P001-1409A-265
ASHLEY M SNODGRASS               SNOHOMISH COUNTY PUD 1              TAYLOR R SNOOK                       TAYLOR R SNOOK
418 S LEBARON                    DENISE R CAVALLO                    12150 WASHINGTON CTR PKWY            125150 WASHINGTON CENTER PARKWAY
MESA AZ 85210-2402               PO BOX 1107                         UNIT 3-108                           APT 3-108
                                 EVERETT WA 98206                    THORNTON CO 80241                    THORNTON CO 80241




009585P001-1409A-265             031102P003-1409A-265                007547P001-1409A-265                 030833P001-1409A-265
SARAH SNOW                       SNOWDEN BROTHERS LLC                AOLANI S SNOWDEN                     SNP CREATIVE DESIGN CO LTD
2500 BURMA DR APT 100            WILLIAM L SNOWDEN                   12136 S EMERALD                      SPRITE CHONG
PEARL MS 39208                   1100 BELLEVUE WAY NE                CHICAGO IL 60628                     SHI JI MEI JU 3F XING YANG RO
                                 STE 8A #553                                                              CHENG YANG DISTRICT
                                 BELLEVUE WA 98004                                                        QINGDAO SH 266109
                                                                                                          CHINA
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035259P003-1409A-265                       036308P001-1409A-265                          001713P001-1409A-265            001896P001-1409A-265
SNP CREATIVE DESIGN CO LTD                 SNP CREATIVE DESIGN CO LTD                    ALYSSA A SNYDER                 CHRISTINA M SNYDER
FLAT 5 4F FOTAN INDUSTRIAL CENTRE 26 28    SHI JI MEI JU 3F XINGYANG ROAD 778            232 6TH ST                      138 VICTORSON ST
AU PUI WAN ST FOTAN                        CHENGYANG QINGDAO 266109                      WHITEHALL PA 18052-7106         RINEYVILLE KY 40162-9614
HONG KONG 00852                            CHINA
HONG KONG



003699P001-1409A-265                       007116P001-1409A-265                          009142P001-1409A-265            033719P001-1409A-265
LEONOR SNYDER                              SOFIA SOARES                                  JORDYN M SOBERS                 SOCAL OFFICE TECHNOLOGIES
234 EAST OAK HILL ST                       625 CATSKILL DR                               1403 SEAGULL LN                 5700 WARLAND DR
ONTARIO CA 91761                           EFFORT PA 18330                               APT G                           CYPRESS CA 90630
                                                                                         SALISBURY MD 21804




033339P001-1409A-265                       002777P002-1409A-265                          037266P001-1409A-265            005097P001-1409A-265
SOCIABLE LABS                              CATHERINE SOCKOL                              CATHERINE SOCKOL                AGAPEITOF F SOE
25 DIVISION ST                             1746 14TH AVE                                 CATHERINE SOCKOL                11628 KINDSLAND ST
STE 205                                    VERO BEACH FL 32960-3608                      1746 14TH AVE                   LAS VEGAS NV 89183
SAN FRANCISCO CA 94103                                                                   VERO BEACH FL 32969




003344P001-1409A-265                       037749P001-1409A-265                          031560P001-1409A-265            032485P001-1409A-265
CASEY SOEKLAND                             SOF IX PB OWNER LP                            SOF-IX PB OWNER LP              SOFTEK INC
900 BUSH ST                                BALLARD SPAHR LLP                             1 EAST WACKER DR                FRANK LOPEZ
#1103                                      DUSTIN P BRANCH                               #3600                           650 MUNOZ RIVERA AVE
SAN FRANCISCO CA 94109                     2029 CENTURY PARK EAST STE 800                CHICAGO IL 60601                STE 601
                                           LOS ANGELES CA 90067-2909                                                     SAN JUAN PR 00918



033720P001-1409A-265                       034253P001-1409A-265                          032486P001-1409A-265            030359P002-1409A-265
SOFTWARE ONE INC                           SOGE LLC                                      SOGE STUDIO                     HANNAH P SOGER
20875 CROSSROADS CIR                       333 SCHERMERHORN ST                           SOGE LLC                        ADDRESS INTENTIONALLY OMITTED
STE 1                                      #9Q                                           JONATHAN WILLIAMS
WAUKESHA WI 53186                          NEW YORK NY 11217                             333 SCHERMERHORN ST
                                                                                         #9Q
                                                                                         NEW YORK NY 11217


006801P001-1409A-265                       031103P001-1409A-265                          030248P001-1409A-265            003078P001-1409A-265
PAWAN K SOHAL                              SOIE BLU                                      BILLIAN SOKOL                   GILLIAN H SOKOL
29301 STONEBROOK LN                        1100 S SAN PEDRO ST                           ADDRESS INTENTIONALLY OMITTED   7005 BRINT RD
HAYWARD CA 94544                           # D6                                                                          APT 11
                                           LOS ANGELES CA 90015                                                          SYLVANIA OH 43560




005428P001-1409A-265                       002952P001-1409A-265                          036021P001-1409A-265            036137P001-1409A-265
KAYLI SOLBERG                              ISABELLA SOLER                                ISABELLA SOLER                  SOLID AND STRIPE INC
6560 ROBB RD                               166-10 17TH RD                                3806 LACONIA AVE                DEBT RECOVERY ATTORNEYS
FOWLERVILLE MI 48836                       WHITESTONE NY 11357                           BRONX NY 10469                  MICHAEL E SAYER
                                                                                                                         17595 HARVARD
                                                                                                                         STE C-557
                                                                                                                         IRVINE CA 92614
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032487P001-1409A-265                  001221P001-1409A-265                          005358P001-1409A-265                031561P001-1409A-265
SOLID ENTERPRISES, INC                CYNTHIA M SOLIS                               EVELYN A SOLIS                      SOLOMON POND MALL
SOLID DIGITAL                         8075 105TH AVE                                3468 BURRWOOD DR                    MALL AT SOLOMON POND LLC
ADAM COHEN                            VERO BEACH FL 32967                           RICHFIELD OH 44286                  14199 COLLECTIONS CTR DR
410 5TH FL                                                                                                              CHICAGO IL 60693
PETALUMA CA 94952



003384P001-1409A-265                  030834P001-1409A-265                          036309P001-1409A-265                006706P001-1409A-265
KAREN S SOLORZANO                     SOLSTICE INDIA LTD                            SOLSTICE INDIA LTD                  RAVEN X SOLTERO
1949 WEST DR                          SHARAD BHARGAVA                               C-157 MAYAPURI INDL AREA PHASE-II   207 E OLYMPIA ST
APT 19                                207 SUNCITY BUSINESS TOWER                    NEW DELHI 110064                    CHULA VISTA CA 91911
VISTA CA 92083                        SEC54 GOLF COURSE RD GURGAON122003            INDIA
                                      HARYANA
                                      INDIA


036589P001-1409A-265                  033721P001-1409A-265                          008389P001-1409A-265                008711P001-1409A-265
KELLY SOLTIS                          SOLUTIONARY                                   NYLA C SOMAL                        EMELY G SOMMER
430 MONTEREY BLVD                     9420 UNDERWOOD AVE                            2033 SE LENNARD RD                  1848 KESSLER BLVD
SAN FRANCISCO CA 94127                3RD FL                                        209                                 SOUTH BEND IN 46616
                                      OMAHA NE 68114                                PSL FL 34983




007049P001-1409A-265                  030448P001-1409A-265                          001030P001-1409A-265                035442P001-1409A-265
JESSICA E SOMOZA                      KHRISTENE SON                                 KHRISTENE J SON                     KHRISTENE J SON
12300 POND RUN DR                     ADDRESS INTENTIONALLY OMITTED                 714 CABIN DR                        552 SAN PEDRO COVE
APT #103                                                                            MILL VALLEY CA 94941                SAN RAFAEL CA 94901
WOODBRIDGE VA 22192




031104P001-1409A-265                  005200P001-1409A-265                          032488P001-1409A-265                004372P001-1409A-265
SONDER LLC                            MINSU SONG                                    SONITROL GOLD COAST                 STEVEN SONNTAG
BLAKE ULVES                           1930 WINTER PK PL                             1334 BLUE OAKS BLVD                 187 ANNA'S CT
5753 E SANTA ANA CANYON RD            CORALVILLE IA 52241                           ROSEVILLE CA 95678-7014             COLCHESTER VT 05446
PO BOX G185
ANAHEIM HILLS CA 92807



037833P002-1409A-265                  002628P001-1409A-265                          005069P001-1409A-265                031562P001-1409A-265
SONOMA COUNTY CENTRAL COLLECTIONS     MACKENZIE N SONSALLA                          AMTUL Z SOOFI                       SOONER FASHION MALL LLC
SONOMA COUNTY WEIGHTS AND MEASURES    6861 TOPAZ CT                                 11133 GATEVIEW LN                   GGP LIMITED PARTENRSHIP
585 FISCAL DR RM 100                  DEFOREST WI 53532                             LAS VEGAS NV 89144                  PO BOX 772803
SANTA ROSA CA 95403                                                                                                     CHICAGO IL 60677-2803




037511P001-1409A-265                  005045P001-1409A-265                          003157P001-1409A-265                003983P001-1409A-265
SOONER FASHION MALL LLC               KAREN SOPENA                                  VANESSA X SORIA                     MELISA SORIANO
BROOKFIELD PROPERTY REIT INC          538 BIG BEND WAY APT A                        3529 CUYLER AVE                     6099 VIA DE LOS ARBOLES
JULIE M BOWDEN                        OCEANSIDE CA 92057                            BERWYN IL 60402                     EL PASO TX 79932
350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607
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007064P001-1409A-265                     007639P001-1409A-265                            000252P001-1409A-265            000253P001-1409A-265
MYRKA SORIANO                            ISABEL A SORTO                                  SOS DISTRICT OF COLUMBIA        SOS OF ALABAMA
4545 PENNWOOD AVE                        1711 HARVEY MITCHELL PWKY S                     LAUREN C VAUGHAN                JOHN H MERRILL
APT 124                                  4-304                                           1350 PENNSYLVANIA AVE NW        PO BOX 5616
LAS VEGAS NV 89102                       COLLEGE STATION TX 77840                        RM 419                          MONTGOMERY AL 36103-5616
                                                                                         WASHINGTON DC 20004



000254P001-1409A-265                     000255P001-1409A-265                            000256P001-1409A-265            000257P001-1409A-265
SOS OF ALASKA                            SOS OF ARIZONA                                  SOS OF ARKANSAS                 SOS OF CALIFORNIA
ALASKA STATE CAPITOL BLDG                MICHELLE REAGAN                                 MARK MARTIN                     ALEX PADILLA
PO BOX 110001                            OFFICE OF THE SECRETARY OF STATE                STATE CAPITOL                   1500 11TH ST
JUNEAU AK 99811-0001                     1700 W WASHINGTON ST                            500 WOODLANE AVE                SACRAMENTO CA 95814
                                         F17                                             STE 256
                                         PHOENIX AZ 85007-2888                           LITTLE ROCK AR 72201


000258P001-1409A-265                     000259P001-1409A-265                            000260P001-1409A-265            000261P001-1409A-265
SOS OF COLORADO                          SOS OF CONNECTICUT                              SOS OF DELAWARE                 SOS OF FLORIDA
WAYNE W WILLIAMS                         DENISE W MERRILL                                JEFFREY W BULLOCK               KEN DETZNER
COLORADO DEPT OF STATE                   30 TRINITY ST                                   401 FEDERAL ST                  RA GRAY BLDG
1700 BROADWAY                            HARTFORD CT 06106                               STE 3                           500 SOUTH BRONOUGH ST
STE 200                                                                                  DOVER DE 19901                  TALLAHASSEE FL 32399-0250
DENVER CO 80290


000262P001-1409A-265                     000263P001-1409A-265                            000264P001-1409A-265            000265P001-1409A-265
SOS OF GEORGIA                           SOS OF HAWAII                                   SOS OF IDAHO                    SOS OF ILLINOIS
BRIAN P KEMP                             SHAN S TSUTSUI                                  LAWERENCE DENNEY                JESSE WHITE
214 STATE CAPITOL                        LEUTENANT GOVERNOR                              700 WEST JEFFERSON ST RM E205   213 STATE CAPITOL
ATLANTA GA 30334                         STATE CAPITOL                                   PO BOX 83720                    SPRINGFIELD IL 62756
                                         RM 415                                          BOISE ID 83720-0080
                                         HONOLULU HI 96813


000266P001-1409A-265                     000267P001-1409A-265                            000268P001-1409A-265            000269P001-1409A-265
SOS OF INDIANA                           SOS OF IOWA                                     SOS OF KANSAS                   SOS OF KENTUCKY
CONNIE LAWSON                            PAUL D PATE                                     KRIS W KOBACH                   ALISON LUNDERGAN GRIMES
200 W WASHINGTON ST                      FIRST FL LUCAS BLDG                             MEMORIAL HALL 1ST FL            OFFICE OF THE KENTUCY SECRETARY OF STATE
RM 201                                   321 E 12TH ST                                   120 SW 10TH AVE                 700 CAPITAL AVE STE 152
INDIANAPOLIS IN 46204                    DES MOINES IA 50319                             TOPEKA KS 66612-1594            FRANKFORT KY 40601



000270P001-1409A-265                     000271P001-1409A-265                            000272P001-1409A-265            000273P001-1409A-265
SOS OF LOUISIANA                         SOS OF MAINE                                    SOS OF MARYLAND                 SOS OF MASSACHUSETTS
TOM SCHEDLER                             MATTHEW DUNLAP                                  JOHN C WOBENSMITH               WILLIAM FRANCIS GALVIN
8585 ARCHIVES AVE                        148 STATE HOUSE STATION                         FRED L WINELAND BLDG            ONE ASHBURTON PL
PO BOX 94125 BATON ROUGE LA 708049125    AUGUSTA ME 04333-0148                           16 FRANCIS ST                   RM 1611
BATON ROUGE LA 70809                                                                     ANNAPOLIS MD 21401              BOSTON MA 02108-1512



000274P001-1409A-265                     000275P001-1409A-265                            000276P001-1409A-265            000277P001-1409A-265
SOS OF MICHIGAN                          SOS OF MINNESOTA                                SOS OF MISSISSIPPI              SOS OF MISSOURI
RUTH JOHNSON                             STEVE SIMON                                     DELBERT HORSEMANN               JOHN R ASHCROFT
MICHIGAN DEPARTMENT OF STATE             OFFICE OF THE SECRETARY OF STATE                401 MISSISSIPPI ST              600 WEST MAIN ST
LANSING MI 48919                         RETIREMENT SYSTEMS OF MINNESOTA BLDG            JACKSON MS 39201                JEFFERSON CITY MO 65101
                                         60 EMPIRE DR STE 100
                                         ST. PAUL MN 55103
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000278P001-1409A-265                 000279P001-1409A-265                            000280P001-1409A-265          000281P001-1409A-265
SOS OF MONTANA                       SOS OF NEBRASKA                                 SOS OF NEVADA                 SOS OF NEW HAMPSHIRE
COREY STAPLETON                      JOHN A GALE                                     BARBARA K CEGAVSKE            WILLIAM M GARDNER
STATE CAPITOL BLDG 1301 E 6TH AVE    PO BOX 94608                                    NEVADA STATE CAPITOL BLDG     107 N MAIN ST RM 204
PO BOX 202801 HELENA MT 59620        LINCOLN NE 68509-4608                           101 N CARSON ST STE 3         STATE HOUSE
HELENA MT 59601                                                                      CARSON CITY NV 89701          CONCORD NH 03301



000282P001-1409A-265                 000283P001-1409A-265                            000284P001-1409A-265          000285P001-1409A-265
SOS OF NEW JERSEY                    SOS OF NEW MEXICO                               SOS OF NEW YORK               SOS OF NORTH CAROLINA
KIM GUADAGNO                         MAGGIE TOULOUSE OLIVER                          ROSSANA ROSADO                ELAINE F MARSHALL
225 W STATE ST                       NEW MEXICO STATE CAPITOL ANNEX NORTH            ONE COMMERCE PLZ              2 SOUTH SALISBURY ST
PO BOX 001                           325 DON GASPAR STE 300                          99 WASHINGTON AVE             PO BOX 29622
TRENTON NJ 08625-0300                SANTA FE NM 87501                               ALBANY NY 12231-0001          RALEIGH NC 27626-0622



000286P001-1409A-265                 000287P001-1409A-265                            000288P001-1409A-265          000289P001-1409A-265
SOS OF NORTH DAKOTA                  SOS OF OHIO                                     SOS OF OKLAHOMA               SOS OF OREGON
ALVIN A AL JAEGER                    JON HUSTED                                      CHRIS BENGE                   DENNIS RICHARDSON
600 E BLVD AVE                       180 EAST BROAD ST                               2300 N LINCOLN BLVD           900 CT ST NE
DEPT 108 1ST FL                      16TH FL                                         STE 101                       CAPTIAL RM 136
BISMARCK ND 58505-0500               COLUMBUS OH 43215                               OKLAHOMA CITY OK 73105-4897   SALEM OR 97310-0722



000290P001-1409A-265                 000292P001-1409A-265                            000291P001-1409A-265          000293P001-1409A-265
SOS OF PENNSYLVANIA                  SOS OF PUERTO RICO                              SOS OF RHODE ISLAND           SOS OF SOUTH CAROLINA
ROBERT TORRES                        ROSELLO NEVARES                                 NELLIE M GORBEA               MARK HAMMOND
302 NORTH OFFICE BLDG                LA FORTALEZA                                    82 SMITH ST                   EDGAR BROWN BLDG
HARRISBURG PA 17120                  PO BOX 9020082                                  STATE HOUSE RM 217            1205 PENDELTON ST STE 525
                                     SAN JUAN PR 00902-0082                          PROVIDENCE RI 02903           COLUMBIA SC 29201



000294P001-1409A-265                 000295P001-1409A-265                            000296P001-1409A-265          000297P001-1409A-265
SOS OF SOUTH DAKOTA                  SOS OF TENNESSEE                                SOS OF TEXAS                  SOS OF UTAH
SHANTEL KREBS                        TRE HARGETT                                     ROLANDO B PABLOS              160 E 300 S
CAPITOL BLDG                         312 ROSA L PARKS AVE                            JAMES E RUDDER BUUILDING      2ND FL
500 E CAPITOL AVE STE 204            8TH FL SNODGRASS TOWER                          1019 BRAZOS                   SALT LAKE CITY UT 84111
PIERRE SD 57501-5070                 NASHVILLE TN 37243-1102                         AUSTIN TX 78701



000298P001-1409A-265                 000299P001-1409A-265                            000300P001-1409A-265          000301P001-1409A-265
SOS OF VERMONT                       SOS OF VIRGINIA                                 SOS OF WASHINGTON             SOS OF WEST VIRGINIA
JIM CONDOS                           KELLY THOMASSON                                 KIM WYMAN                     MAC WARNER
26 TERREACE ST                       PO BOX 1475                                     LEGISLATEIVE BLDG             BLDG 1 STE 157K
MONTPELIER VT 05609-1101             RICHMOND VA 23218                               PO BOX 40220                  1900 KANAWHA BLVD EAST
                                                                                     OLYMPIA WA 98504-0220         CHARLESTON WV 25305-0770



000302P001-1409A-265                 000303P001-1409A-265                            007566P001-1409A-265          007369P001-1409A-265
SOS OF WISCONSIN                     SOS OF WYOMING                                  YEZMARIE SOSA RODRIGUEZ       STACY K SOSA SIERRA
DOUG LAFOLLETTE                      ED MURRAY                                       716 MUIRFIELD CIR             1700 257TH
PO BOX 7848                          STATE CAPITOL BLDG                              APOPKA FL 32712               1
MADISON WI 53707-7848                200 WEST 24TH ST                                                              LOMITA CA 90717
                                     CHEYENNE WY 82002-0020
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000540P001-1409A-265           002753P001-1409A-265                036022P001-1409A-265              036023P001-1409A-265
DUVALY SOSA                    MIKI SOSA                           RODRIGUEZ YEZMARIE SOSA           SIERRA STACY K SOSA
4227 W EVA ST                  91-201 HOOWALEA WAY                 716 MUIRFIELD CIR                 1700 257TH
PHOENIX AZ 85051               EWA BEACH HI 96706                  APOPKA FL 32712                   1
                                                                                                     LOMITA CA 90717




035230P001-1409A-265           002651P001-1409A-265                002931P001-1409A-265              007555P002-1409A-265
CHARLES SOSNICK                ESMERALDA SOTELO RAMOS              CYNTHIA SOTELO                    DESIREE M SOTELO
485 LEXINGTON AVE              91-42118TH ST                       807 W 41ST ST                     11701 METRIC BLVD APT 922
7TH FLOOR                      RICHMOND HILL NY 11418              LOS ANGELES CA 90037              AUSTIN TX 78758-3283
NEW YORK NY 10017




036024P001-1409A-265           006472P001-1409A-265                001906P001-1409A-265              009645P001-1409A-265
RAMOS ESMERALDA SOTELO         SAVANNAH N SOTELO                   SARA A SOTO DE MAYOR              ALEXANDRA M SOTO
91-42118TH ST                  164 GILDED ROCK CIR                 445 RICHEY ST                     339 COCOA CT
RICHMOND HILL NY 11418         164 GILDED ROC                      BLDG 7 APT                        KISSIMMEE FL 34758
                               FOLSOM CA 95630                     CORONA CA 92879




001897P001-1409A-265           000784P001-1409A-265                002673P001-1409A-265              003161P001-1409A-265
ANAHI SOTO                     FERNANDO J SOTO                     KARLA A SOTO                      MACKENZIE SOTO
9203 DRAGONWOOD TRL            11618 MONTERRA DR                   16707 DAVID GLEN DR               4120 S MILL AVE
HOUSTON TX 77083               FONTANA CA 92337                    FRIENDSWOOD TX 77546              TEMPE AZ 85282




036025P001-1409A-265           005568P001-1409A-265                036026P001-1409A-265              003361P001-1409A-265
MACKENZIE SOTO                 MARIA S SOTO                        MONICA SOTO                       NATALY SOTO
4120 S MILL AVE APARTMENT E    3500 MILLPOOL CT                    3112 SOUTH 138TH ST               2902 N GREGG AVE APT4
TEMPE AZ 85282                 ORLANDO FL 32822                    OMAHA NE 68144                    APT 4
                                                                                                     FAYETTEVILLE AR 72703




003326P001-1409A-265           007746P001-1409A-265                009391P001-1409A-265              008376P001-1409A-265
SAMANTHA M SOTOMAYOR           MARCELLA G SOTTOSANTI               MAMA P SOUMAHORO                  KIMBERLY A SOUPHAKHETH
385 CONCORD DR                 3527 COUNTY RD 21                   900 WASHINGTON BLVD               828 FARR AVE
FREEHOLD NJ 07728              IRONTON OH 45638                    APT 606B                          ESCONDIDO CA 92026
                                                                   STAMFORD CT 06901




007608P001-1409A-265           000881P001-1409A-265                000346P001-1409A-265              000398P001-1409A-265
BRIANNE E SOUSA                WILLIAM SOUSA                       SOUTH CAROLINA ATTORNEY GENERAL   SOUTH CAROLINA DEPT OF CONSUMER AFFAIRS
146 CHERRY ST                  2329 WORDEN ST                      ALAN WILSON                       3600 FOREST DR STE 300
NAUGATUCK CT 06770             SAN DIEGO CA 92107                  REMBERT C DENNIS OFFICE BLDG      PO BOX 5757
                                                                   1000 ASSEMBLY ST RM 519           COLUMBIA SC 29250-5757
                                                                   COLUMBIA SC 29211-1549
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000084P001-1409A-265                    000230P001-1409A-265                             000085P001-1409A-265                          000155P001-1409A-265
SOUTH CAROLINA DEPT OF HEALTH           SOUTH CAROLINA DEPT OF LABOR LICENSING AND       SOUTH CAROLINA DEPT OF NATURAL RESOURCES      SOUTH CAROLINA DEPT OF REVENUE
AND ENVIRONMENTAL CONTROL               REGULATIONS                                      RAMBERT C DENNIS BLDG                         301 GERVAIS ST
2600 BULL ST                            DIRECTOR                                         1000 ASSEMBLY ST                              PO BOX 125
COLUMBIA SC 29201                       SYNERGY BUSINESS PK KINGSTREE BLDG               COLUMBIA SC 29201                             COLUMBIA SC 29201
                                        110 CENTERVIEW DR
                                        COLUMBIA SC 29210


032725P001-1409A-265                    032778P001-1409A-265                             033131P001-1409A-265                          000450P001-1409A-265
SOUTH CAROLINA DEPTOF REVENUE           SOUTH CAROLINA DEPTOF REVENUE                    SOUTH CAROLINA ELECTRIC AND GAS               SOUTH CAROLINA STATE TREASURER
CORP ESTIMATE                           CORP ESTIMATE                                    1400 LADY ST                                  UNCLAIMED PROPERTY DIVISION
COLUMBIA SC 29214-0006                  PO BOX 100153                                    COLUMBIA SC 29218                             PO BOX 11778
                                        COLUMBIA SC 29202                                                                              COLUMBIA SC 29211




031563P002-1409A-265                    031563S001-1409A-265                             000347P001-1409A-265                          000086P001-1409A-265
SOUTH COUNTY SHOPPINGTOWN LLC           SOUTH COUNTY SHOPPINGTOWN LLC                    SOUTH DAKOTA ATTORNEY GENERAL                 SOUTH DAKOTA DEPT OF ENVIRONMENT
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC             MARTY J JACKLEY                               AND NATURAL RESOURCES
GARY RODDY                              CALEB HOLZAEPFEL                                 1302 EAST HIGHWAY 14                          JOE FOSS BLDG PMB 2020
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                          STE 1                                         523 E CAPITAL
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402                             PIERRE SD 57501-8501                          PIERRE SD 57501



000231P001-1409A-265                    010341P001-1409A-265                             000156P001-1409A-265                          033132P001-1409A-265
SOUTH DAKOTA DEPT OF LABOR              SOUTH DAKOTA DEPT OF REVENUE                     SOUTH DAKOTA DEPT OF REVENUE AND REGULATION   SOUTH JERSEY GAS
SECRETARY                               AND REGULATION                                   445 E CAPITOL AVE                             PO BOX 6091
700 GOVERNORS DR                        PO BOX 5055                                      PIERRE SD 57501                               BELLMAWR NJ 08099
PIERRE SD 57501                         SIOUX FALLS SD 57117-5055




033132S001-1409A-265                    031564P001-1409A-265                             008223P001-1409A-265                          032489P001-1409A-265
SOUTH JERSEY GAS                        SOUTH SHORE PLAZA                                MARJORIE D SOUTHERLAND                        SOUTHERN BOULEVARD DEPOT, INC
1 SOUTH JERSEY PLZ                      THE RETAIL PROPERTY TRUST                        196 SOUTH HUNT CLUB RUN                       748 SOUTHERN BLVD
FOLSOM NJ 08037                         BRAINTREE PROPERTY ASSOCIATES                    NEWPORT NEWS VA 23608                         BRONX NY 10455
                                        PO BOX 772833
                                        CHICAGO IL 60677-2833



036837P001-1409A-265                    032490P002-1409A-265                             033133P001-1409A-265                          033133S001-1409A-265
SOUTHERN CAL TELECOM                    SOUTHERN CAL TELECOM INC                         SOUTHERN CALIFORNIA EDISON                    SOUTHERN CALIFORNIA EDISON
12090 WOODSIDE AVE                      KENNETH KIEFER                                   PO BOX 300                                    2244 WALNUT GROVE AVE
LAKESIDE CA 92040                       12090 WOODSIDE AVE                               ROSEMEAD CA 91772                             ROSEMEAD CA 91770
                                        LAKESIDE CA 92040




033528P001-1409A-265                    033134P001-1409A-265                             033134S001-1409A-265                          032765P002-1409A-265
SOUTHERN CALIFORNIA EDISON (SCE)        SOUTHERN CALIFORNIA GAS CO                       SOUTHERN CALIFORNIA GAS CO                    SOUTHERN CONNECTICUT GAS CO
PO BOX 300                              PO BOX C                                         555 WEST FIFTH STREET                         MARCIA FANTANO
ROSEMEAD CA 91772-0001                  MONTEREY PARK CA 91756                           LOS ANGELES CA 90013                          100 MARSH HILL RD
                                                                                                                                       ORANGE CT 06477
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033821P001-1409A-265                          036972P001-1409A-265                            036972S001-1409A-265              031565P001-1409A-265
SOUTHERN CONNECTICUT GAS CO                   SOUTHERN HILLS MALL LLC                         SOUTHERN HILLS MALL LLC           SOUTHERN HILLS MALL, LLC
60 MARSH HILL RD                              WASHINGTON PRIME GROUP INC                      WASHINGTON PRIME GROUP INC        JEFFERSON VALLEY CENTER LLC
ORANGE CT 06477                               FROST BROWN TODD LLC                            STEPHEN E IFEDUBA                 180 EAST BROAD ST
                                              301 E FOURTH ST                                 180 E BROAD ST                    COLUMBUS OH 43215
                                              CINCINNATI OH 45202                             COLUMBUS OH 43215



032491P001-1409A-265                          031566P001-1409A-265                            036968P001-1409A-265              036968S001-1409A-265
SOUTHERN NEVADA HEALTH DISTRICT               SOUTHERN PARK MALL LLC                          SOUTHERN PARK MALL LLC            SOUTHERN PARK MALL LLC
PO BOX 845688                                 PO BOX 809222                                   WASHINGTON PRIME GROUP INC        WASHINGTON PRIME GROUP INC
LOS ANGELES CA 90084-5688                     CHICAGO IL 60680-9222                           FROST BROWN TODD LLC              STEPHEN E IFEDUBA
                                                                                              301 E FOURTH ST                   180 E BROAD ST
                                                                                              CINCINNATI OH 45202               COLUMBUS OH 43215



031567P001-1409A-265                          037752P001-1409A-265                            035274P001-1409A-265              037496P001-1409A-265
SOUTHLAKE INDIANA LLC                         SOUTHLAKE INDIANA LLC                           SOUTHLAKE MALL                    SOUTHLAND CENTER LLC
1 EAST WACKER DR                              BALLARD SPAHR LLP                               2063 SOUTHLAKE MALL SP# CL318     BROOKFIELD PROPERTY REIT INC
STE 3600                                      DUSTIN P BRANCH                                 HOBART IN 46410                   JULIE M BOWDEN
CHICAGO IL 60601                              2029 CENTURY PARK EAST STE 800                                                    350 N ORLEANS ST STE 300
                                              LOS ANGELES CA 90067-2909                                                         CHICAGO IL 60654-1607



031568P001-1409A-265                          037215P002-1409A-265                            031569P001-1409A-265              037751P001-1409A-265
SOUTHLAND MALL PROPERTIES LLC                 SOUTHLAND MALL PROPERTIES LLC                   SOUTHPARK MALL LLC                SOUTHPARK MALL LLC
PO BOX 865061                                 CO GUMBERG ASSET MANAGEMENT CORP                STARWEST JV LLC                   BALLARD SPAHR LLP
ORLANDO FL 32886-5061                         PETRA COOLE                                     1 EAST WACKER DR                  DUSTIN P BRANCH
                                              3200 N FEDERAL HIGHWAY                          STE 3600                          2029 CENTURY PARK EAST STE 800
                                              FT LAUDERDALE FL 33306                          CHICAGO IL 60601                  LOS ANGELES CA 90067-2909



010667P001-1409A-265                          010667S001-1409A-265                            031570P001-1409A-265              033135P001-1409A-265
SOUTHPAW CREDIT OPPORTUNITY MASTER FUND LP    SOUTHPAW CREDIT OPPORTUNITY MASTER FUND LP      SOUTHRIDGE LIMITED PARTNERSHIP    SOUTHWEST GAS CORP
SOUTHPAW                                      SOUTHPAW                                        PO BOX 404831                     PO BOX 98890
JEREMY SKREZYNA                               JEREMY SKREZYNA                                 ATLANTA GA 30384-4831             LAS VEGAS NV 89150
89 NEXUS WAY 2ND FL                           2 GREENWICH OFFICE PK
CAMANA BAY                                    GREENWICH CT 06831
GRAND CAYMAN
CAYMAN ISLANDS
033135S001-1409A-265                          031571P001-1409A-265                            037337P001-1409A-265              001631P001-1409A-265
SOUTHWEST GAS CORP                            SOUTHWEST PLAZA LLC                             SOUTHWESTERN BELL TELEPHONE CO    HONIEH SOWDAGAR
5241 SPRING MOUNTAIN ROAD                     GGPLP LLC                                       AT AND T SVC INC                  9608 EAGLE HILL DR
LAS VEGAS NV 89193                            PO BOX 772808                                   KAREN A CAVAGNARO                 OKLAHOMA CITY OK 73162
                                              CHICAGO IL 60677-2808                           LEAD PARALEGAL ONE AT AND T WAY
                                                                                              ROOM 3A104
                                                                                              BEDMINSTER NJ 07921


008844P001-1409A-265                          007022P001-1409A-265                            003069P001-1409A-265              007830P001-1409A-265
HAYLEY B SOWELL                               CHEYENNE SOWINSKI                               EMINA SPAHIC                      ALEXIS I SPAIN
901 S SOUTH ST                                5880 S DUNVEGAN DR                              2725 CREEKMONT LN                 749 E 7TH ST
GASTONIA NC 28052                             NEW BERLIN WI 53146                             SAINT LOUIS MO 63125              ERIE PA 16503
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030878P002-1409A-265                          007993P001-1409A-265                     016310P001-1409A-265             031105P001-1409A-265
SPAIN,PRICE,READER AND THOMPSON PC            SOPHIA C SPALDING                        TORREN SPANNBELL                 SPARKLE FRIDAY
5300 MEMORIAL DR STE 940                      710 SOUTH GREGORY RD                     12419 LOOKOUT PT DR              NEXT WAVE COMMERCIAL INC
HOUSTON TX 77007-8279                         PO BOX 286                               CHARLOTTE NC 28269               KRISTI BENEDETTO
                                              FOWLERVILLE MI 48836                                                      1167 MORENA BLVD
                                                                                                                        SAN DIEGO CA 92110



036310P001-1409A-265                          032492P001-1409A-265                     037090P001-1409A-265             005864P001-1409A-265
SPARKLE FRIDAY                                SPARKLE TAFAO                            ALAINNA SPARKS                   ALAINNA M SPARKS
1167 MORENA BLVD                              PO BOX 668                               1198 SADDLE CREEK DR             696 TYNER ST UNIT 22
SAN DIEGO CA 92110                            LA PUENTA CA 91747                       FORT WALTON BEACH FL 32547       FORT WALTON BEACH FL 32547




036027P001-1409A-265                          030333P001-1409A-265                     001822P001-1409A-265             007587P001-1409A-265
ALAINNA M SPARKS                              EMILY SPARKS                             EMILY Y SPARKS                   KAYANNA L SPARKS
1198 SADDLE CREEK DR                          ADDRESS INTENTIONALLY OMITTED            2411 GOVERNOR NICHOLLS ST        15875 JOY RD
FORT WALTON BEACH FL 32547                                                             NEW ORLEANS LA 70119             APT 205
                                                                                                                        DETROIT MICHIGAN MI 48228




006171P001-1409A-265                          004945P001-1409A-265                     032493P001-1409A-265             008644P001-1409A-265
KOURTNEY M SPARKS                             MADELINE SPARKS                          SPARTANBURG COUNTY SC            ARIELLE SPEARMAN
8717 ORANGELAWN                               1460 SE 58TH AVE                         OREN L BRADY III                 1208 NORTHWOOD DR N
DETROIT MI 48204                              PORTLAND OR 97215                        COUNTY TREASURER                 CHAMPAIGN IL 61821
                                                                                       PO BOX 5807
                                                                                       SPARTANBURG SC 29304



010223P001-1409A-265                          007502P001-1409A-265                     032494P001-1409A-265             034374P001-1409A-265
NELDA WELLS SPEARS                            SEPTEMBER L SPEARS                       SPECIAL FUND FOR DISABILITY BE   SPECIALIST STAFFING SOLUTIONS
PO BOX 149328                                 350 CYPRESS CREEK RD                     328 STATE ST                     DEPT CH 16598
AUSTIN TX 78714-9328                          12318                                    SCHENECTADY NY 12305-2318        PALATINE IL 60055
                                              CEDAR PARK TX 78613




030783P001-1409A-265                          032495P001-1409A-265                     030016P002-1409A-265             035011P001-1409A-265
SPECIALIZED TRANSPORTATION AGENT GROUP INC    SPECTRAFLOW, INC                         SPECTRUM CAPITAL (LANDLORD)      SPECTRUM CAPITAL/YATES CONSTRUCTION
5001 US HIGHWAY 30 WEST                       SARAH DEMERS                             YATES CONSTRUCTION               BLOOMFIELD HOLDINGS LLC
FORT WAYNE IN 46818                           46 DIGITAL DR                            BLOOMFIELD HOLDINGS LLC          200 BASS PRO DR
                                              STE 5                                    200 BASS PRO DR STE 125          STE 125
                                              NOVATO CA 94949                          PEARL MS 39208                   PEARL MS 39208



032496P001-1409A-265                          000655P001-1409A-265                     001404P001-1409A-265             002020P001-1409A-265
SPELLBOUND DEVELOPMENT GROUP                  JASMINE R SPELLER                        LYRIC SPELLS                     MCKENZIE SPENCE
PO BOX 1639                                   1815 HUNT CLUB ST                        702 S HILGARD ST                 2811 TORI OAK TRL
NEWPORT BEACH CA 92659-1639                   FORT WALTON BEACH FL 32547               O FALLON IL 62269-2703           CORINTH TX 76210
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001131P001-1409A-265                  008837P001-1409A-265                             036763P001-1409A-265                   034149P001-1409A-265
JEFREA L SPENCER                      TORI L SPENCER                                   SPG INDEPENDENCE CENTER LLC            SPILL CO
652 CARRIAGE HILL RD                  11612 BROCKMAN LN                                PO BOX 644182                          1437 EARLSHIRE PL
VIRGINIA BEACH VA 23452-6519          GREAT FALLS VA 22066                             PITTSBURGH PA 15264-4182               PLANO TX 75075




007824P001-1409A-265                  032497P001-1409A-265                             034738P001-1409A-265                   034849P001-1409A-265
QUAMEISHEON SPILLER                   SPINNING DESIGNS, INC                            SPINOSO REAL ESTATE GROUP              SPINOSO REAL ESTATE GROUP
1369 W STANLEY RD                     LIZ GARCIA                                       112 NORTHERN CONCOURSE NORTH           LSREF SUMMER REO TRUST 2009
MOUNT MORRIS MI 48458                 5106 HWY 34                                      SYRACUSE NY 13212                      HUDSON AMERICAS LLC
                                      WALL NJ 07727                                                                           2711 N HASKELL AVE
                                                                                                                              STE 1700
                                                                                                                              DALLAS TX 75204


034969P001-1409A-265                  034969S001-1409A-265                             036872P001-1409A-265                   036872S001-1409A-265
SPINOSO REAL ESTATE GROUP             SPINOSO REAL ESTATE GROUP                        SPINOSO REAL ESTATE GROUP              SPINOSO REAL ESTATE GROUP
MESILLA VALLEY SPE - 991068834 LLC    MINDY WOLIN SHERMAN PARTNER PERKINS COIE LLP     112 NORTHERN CONCOURSE                 GENERAL MANAGER
KEYBANK NATIONAL                      MESILLA VALLEY SPE 991068834 LLC                 NORTH SYRACUSE NY 13212                GENESEE VALLEY CENTER
8115 PRESTON RD                       131 SOUTH DEARBORN ST STE 1700                                                          G3341 S LINDEN RD
STE 800                               CHICAGO IL 60603-5559                                                                   FLINT MI 48507
DALLAS TX 75225


036873P001-1409A-265                  030020S001-1409A-265                             030021S001-1409A-265                   030021S002-1409A-265
SPINOSO REAL ESTATE GROUP             SPINOSO REAL ESTATE GROUP (LANDLORD)             SPINOSO REAL ESTATE GROUP (LANDLORD)   SPINOSO REAL ESTATE GROUP (LANDLORD)
LSREF SUMMER REO TRUST 2009           WESTLAND SHOPPING CENTER                         MESILLA VALLEY SPE 991068834, LLC      MINDY WOLIN SHERMAN, PARTNER PERKINS COIE LLP
HUDSON AMERICAS LLC                   SPINOSO MANAGEMENT GROUP LLC                     SPINOSO MANAGEMENT GROUP LLC           MESILLA VALLEY SPE 991068834 LLC
LEGAL DEPARTMENT                      35000 W WARREN RD                                112 NORTHERN CONCOURSE                 131 SOUTH DEARBORN ST STE 1700
2711 N HASKELL AVE STE 1700           WESTLAND MI 48185                                NORTH SYRACUSE NY 13212                CHICAGO IL 60603-5559
DALLAS TX 75204


030017P001-1409A-265                  030018P001-1409A-265                             030019P001-1409A-265                   030020P001-1409A-265
SPINOSO REAL ESTATE GRP (LANDLORD)    SPINOSO REAL ESTATE GRP (LANDLORD)               SPINOSO REAL ESTATE GRP (LANDLORD)     SPINOSO REAL ESTATE GRP (LANDLORD)
SPINOSO REAL ESTATE GROUP             LSREF3 SPARTAN (GENESEE) LLC                     GENESEE VALLEY CENTER                  LSREF SUMMER REO TRUST 2009
112 NORTHERN CONCOURSE                2711 NORTH HASKELL AVE STE 1700                  GENERAL MANAGER                        HUDSON AMERICAS LLC
NORTH SYRACUSE NY 13212               DALLAS TX 75204                                  G3341 S LINDEN RD                      LEGAL DEPARTMENT
                                                                                       FLINT MI 48507                         2711 N HASKELL AVE STE 1700
                                                                                                                              DALLAS TX 75204


030021P001-1409A-265                  037216P002-1409A-265                             000908P001-1409A-265                   037333P001-1409A-265
SPINOSO REAL ESTATE GRP (LANDLORD)    SPIRE ALABAMA INC                                SHERRY L SPIVACKE                      SHERRY L SPIVACKE
MESILLA VALLEY SPE 991068834 LLC      AKA ALAGASCO                                     23735 TATIA CT                         SHERRY L SPIVACKE
KEYBANK NATIONAL                      2101 6TH AVE NORTH                               MURRIETA CA 92562                      23735 TATIA CT
8115 PRESTON RD STE 800               BIRMINGHAM AL 35203                                                                     MURRIETA CA 92562
DALLAS TX 75225



004828P001-1409A-265                  030663P001-1409A-265                             006307P001-1409A-265                   005883P001-1409A-265
REBECCA L SPIVEY                      VANESSA K SPOFFORD                               CHARLOTTE E SPOON                      LAUREN C SPOONER
PO BOX 632                            ADDRESS INTENTIONALLY OMITTED                    6667 ENFIELD AVE                       223 RIDGEVIEW RD
LAKE VIEW SC 29563                                                                     RESEDA CA 91335                        WEARE NH 03281
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031572P001-1409A-265                    037008P003-1409A-265                       008012P001-1409A-265              003499P001-1409A-265
SPOTSYLVANIA MALL                       SPOTSYLVANIA MALL CO                       KAYLEN F SPRADLING                GABRIEL S SPRAGG
PO BOX 932400                           D/B/A SPOTSYLVANIA TOWNE CENTRE            216 YORKTOWN BLVD                 206 BRIAR CLIFF DR
CLEVELAND OH 44193                      5577 YOUNGSTOWN WARREN RD                  LOCUST GROVE VA 22508             LONGWOOD FL 32779
                                        NILES OH 44446




031106P001-1409A-265                    036311P001-1409A-265                       031573P001-1409A-265              037494P001-1409A-265
SPRAYCO                                 SPRAYCO                                    SPRING HILL MALL                  SPRING HILL MALL LLC
ALLISON HOWARD                          35601 VERONICA ST                          GENERAL GROWTH PARTNERSHIP        BROOKFIELD PROPERTY REIT INC
35601 VERONICA ST                       LIVONIA MI 48150                           SDS-12-1694                       JULIE M BOWDEN
LIVONIA MI 48150                                                                   PO BOX 86                         350 N ORLEANS ST STE 300
                                                                                   MINNEAPOLIS MN 55486-1694         CHICAGO IL 60654-1607



009796P001-1409A-265                    009440P001-1409A-265                       031574P001-1409A-265              010045P001-1409A-265
SPRINGDALE TAX COMMISSION               KRYSTAL SPRINGER                           SPRINGFIELD TOWN CENTER           SPRINGFIELD TOWNSHIP
11700 SPRINGDALE PIKE                   259 MONROE ST                              PREIT ASSOCIATES LP               BUSINESS TAX OFFICE
SPRINGDALE OH 45246                     BROOKLYN NY 11216-1405                     PR SPRIENGFIELD TOWN CENTER LLC   50 POWELL RD
                                                                                   200 SOUTH BROAD ST                SPRINGFIELD PA 19064
                                                                                   3RD FL
                                                                                   PHILADELPHIA PA 19102


033136P001-1409A-265                    033136S001-1409A-265                       036028P001-1409A-265              033722P001-1409A-265
SPRINGFIELD TOWNSHIP                    SPRINGFIELD TOWNSHIP                       SAVANNAH SPRINKLES                SPRINT SOLUTIONS INC
MARGARET A YOUNG TAX COLLECTOR          50 POWELL RD                               2008 BROOK HOLLOW                 12524 SUNRISE VLY DR
50 POWELL RD                            SPRINGFIELD PA 19064                       CEDAR PARK TX 78613               RESTON VA 20191
SPRINGFIELD PA 19064




008482P001-1409A-265                    036029P001-1409A-265                       004996P001-1409A-265              032498P001-1409A-265
TIFFANI SPROUSE                         TIFFANI SPROUSE                            VICTORIA SPROUSE                  SPS COMMERCE INC
5 FREEDOM DR                            78 MAIN ST                                 1549 HOLCOMB BRIDGE RD            PO BOX 205782
WILLIAMSBURG VA 23185                   NEWPORTNEWS VA 23601                       A                                 DALLAS TX 75320-5782
                                                                                   NORCROSS GA 30092




035172P002-1409A-265                    037151P001-1409A-265                       036764P001-1409A-265              034277P001-1409A-265
SPS COMMERCE INC                        SQUAR MILNER LLP                           SQUAR MILNER PETERSON MIRAN       SQUAR, MILNER, PETERSON, MIRANDA
BOYD JOHNSON                            3655 NOBEL DR SUITE 300                    4100 NEWPORT PL 3RD FLOOR         DA AND WILLIAMSON LLP
333 S 7TH ST STE 1000                   SAN DIEGO CA 92122                         NEWPORT BEACH CA 92660            4100 NEWPORT PL 3RD FL
MINNEAPOLIS MN 55402                                                                                                 NEWPORT BEACH CA 92660




032499P001-1409A-265                    036430P001-1409A-265                       003536P001-1409A-265              004124P001-1409A-265
SQUAR, MILNER, PETERSON, MIRANDA AND    CASTLETON SQUARE                           DEBRA SQUICCIARINI                LEILA M SQUIER
WILLIAMSON LLP                          CASTLETON SQUARE LLC                       24 LINDRON AVE                    399 SOUTH DANBY RD
SQUAR MILNER PETERSON MIRAN             PO BOX 775754                              SMITHTOWN NY 11787                SPENCER NY 14883
4100 NEWPORT PL 3RD FL                  CHICAGO IL 60677-5754
CRAIG WEAVER
NEWPORT BEACH CA 92660
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007524P001-1409A-265                    009596P001-1409A-265                               031575P001-1409A-265                  033137P001-1409A-265
MAGGIE K SQUILLANTE                     ASHEA SQUIRE                                       SRMSPE, LLC                           SRP
2204 ADAMS AVE                          20720 SONG BIRD DR                                 PO BOX 54266                          PO BOX 80062
2                                       PFLUGERVILLE TX 78660                              NEW ORLEANS LA 70154                  PRESCOTT AZ 86304
SCRANTON PA 18509




033137S001-1409A-265                    034867P001-1409A-265                               030022P001-1409A-265                  030022S001-1409A-265
SRP                                     SRS REAL ESTATE                                    SRS REAL ESTATE (LANDLORD)            SRS REAL ESTATE (LANDLORD)
1521 N PROJECT DR                       CAPREF BURBANK LLC                                 CAPREF BURBANK LLC                    WILLIAMS LEGAL ADVISORY GROUP,LLC
TEMPE AZ 85281-1206                     8333 DOUGLAS AVE                                   BURBANK ASSET MANAGEMENT              LEGAL NOTICES
                                        STE 975                                            8333 DOUGLAS AVE STE 975              169 RAMAPO VLY RD STE 106
                                        DALLAS TX 75225                                    DALLAS TX 75225                       OAKLAND NJ 07436



001516P001-1409A-265                    036765P001-1409A-265                               031576P001-1409A-265                  033723P001-1409A-265
PAULINA S SRUN                          SS BSCMI05 TOP20 LAKEFOREST                        SSBSCMI05TOP20 LAKEFOREST             SSD SYSTEMS
3012 CORSICA DR                         9062 OLD ANNAPOLIS RD                              BEAR STRNS COM MG SEC INC MG          1740 N LEMON ST
EL DORADO HILLS CA 95762                COLUMBIA MD 21045                                  9062 OLD ANNAPOLIS RD                 ANAHEIM CA 92801
                                                                                           COLUMBIA MD 21045




036312P001-1409A-265                    030757P001-1409A-265                               009942P001-1409A-265                  031580P001-1409A-265
SSS CLOTHING INC                        SSS CLOTHING, INC                                  ST CHARLES COUNTY GOVERNMENT          ST CHARLES TOWNE CENTER
1820 W CARSON ST #202-313               ALEX YOON / MICHAEL KIM                            DEPT OF FINANCE                       CHARLES MALL COLP
TORRANCE CA 90501                       1820 W CARSON ST                                   201 NORTH SECOND ST STE 541           867645 RELIABLE PKWY
                                        #202-313                                           ST. CHARLES MO 63301                  CHICAGO IL 60686-0076
                                        TORRANCE CA 90501



031577P002-1409A-265                    031577S001-1409A-265                               031578P002-1409A-265                  037362P001-1409A-265
ST CLAIRE SQUARE SPE LLC                ST CLAIRE SQUARE SPE LLC                           ST CLOUD MALL LLC                     ST CLOUD MALL LLC
BY CBL AND ASSOCIATES MANAGEMENT INC    BY CBL AND ASSOCIATES MANAGEMENT INC               GGP LIMITED PARTNERSHIP               AKA CROSSROADS CENTER MN
GARY RODDY                              CALEB HOLZAEPFEL                                   3534 W 83RD PL APT 15                 BROOKFIELD PROPERTY REIT INC
2030 HAMILTON PL BLVD STE 500           736 GEORGIA AVE STE 300                            CHICAGO IL 60652-3248                 350 N ORLEANS ST STE 300
CHATTANOOGA TN 37421-6000               CHATTANOOGA TN 37402                                                                     CHICAGO IL 60654-1607



008341P001-1409A-265                    032501P001-1409A-265                               033724P001-1409A-265                  010027P001-1409A-265
STACY ST HILAIRE                        ST JUDE CHILDRENS RESEARCH HOSPITAL                ST JUDE CHILDRENS RESEARCH HOSPITAL   ST LOUIS COUNTY COLLECTOR OF
298 PIERMONT AVE                        AMERICAN LEBANESE SYRIAN ASSOC                     501 ST JUDE PL                        41 S CENTRAL AVE
2A                                      501 ST JUDE PL                                     MEMPHIS TN 38105                      ST. LOUIS MO 63105
NYACK NY 10960                          MEMPHIS TN 38105




031579P001-1409A-265                    036963P001-1409A-265                               032500P001-1409A-265                  036030P001-1409A-265
ST LOUIS PREMIUM OUTLETS                ST LOUIS PREMIUM OUTLETS LLC                       ST TAMMANY PARISH TAX COLLECTOR       HILAIRE STACY ST
SIMON/WOODMONT DEVELOPMENT LLC          A DELAWARE LIMITED LIABILITY CO                    PO BOX 61080                          298 PIERMONT AVE
PO BOX 775857                           SIMON PROPERTY GROUP LP RONALD M TUCKER            NEW ORLEANS LA 70161-1080             2A
CHICAGO IL 60677-5857                   225 WEST WASHINGTON ST                                                                   NYACK NY 10960
                                        INDIANAPOLIS IN 46204
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007209P001-1409A-265      003426P001-1409A-265                002680P001-1409A-265              008862P001-1409A-265
CORA G STABER             JESSICA STACRUZ                     GABRIELLE STAFFO                  ALANNA L STAFFORD
128 EAST POLK AVE         15 JOSEPH LN                        1072 WILLOW BROOK BEND            16804 BISH RD
EAU CLAIRE WI 54701       BARDONIA NY 10954                   FARMINGTON NY 14425               SAEGERTOWN PA 16433




002428P001-1409A-265      007927P001-1409A-265                001238P001-1409A-265              037025P001-1409A-265
SYDNI R STAFFORD          ZOIE N STAFFORD                     DELANIE A STAGGS                  DELANIE ANN STAGGS
51 SANTANGELO CIR         333 S GILBERT ST 2126               1107 NORTH ALBERT PIKE            1107 NORTH ALBERT PIKE
MIDDLETOWN CT 06457       IOWA CITY IA 52242                  FORT SMITH AR 72904               FORT SMITH AR 72904




033803P001-1409A-265      001776P001-1409A-265                030387P002-1409A-265              005574P001-1409A-265
STUTI STAH                JENINE W STALEY                     JENNIFER STALIANS                 JENNIFER N STALLINGS
1738 KENSTONE WALK        212 GRANDVIEW AVE                   ADDRESS INTENTIONALLY OMITTED     2902 APPENNINI CV
ATLANTA GA 30338          BRIDGEPORT CT 06606-2511                                              CEDAR PARK TX 78613




037132P001-1409A-265      004835P001-1409A-265                036031P001-1409A-265              032502P001-1409A-265
KATHRYN STALLION          KATHRYN P STALLION                  KATHRYN M STALLWORTH              STAMFORD TOWN CENTER
105 SIBLEY DR             105 SIBLEY DR                       16324 COUNTY RD 52                A/R DEPT
MINOOKA IL 60447          MINOOKA IL 60447                    SILVERHILL AL 36576               100 GREYROCK PL
UNITED STATES                                                                                   STAMFORD CT 06901




007764P001-1409A-265      036802P001-1409A-265                009470P001-1409A-265              032503P001-1409A-265
JESSICA STAMP             TONIA R STAMPS                      ERICA STANCO                      STANDARD AND POOR'S FINANCIAL SVC LLC
920 OXFORD AVE            8224 STERLING LN                    12 LOCUST ST                      2542 COLLECTION CTR DR
10                        COVINGTON GA 30014                  GLEN HEAD NY 11545                CHICAGO IL 60693
EAU CLAIRE WI 54703




032504P001-1409A-265      035170P001-1409A-265                032505P001-1409A-265              003185P001-1409A-265
STANDARD INSURANCE CO     STANDARD INSURANCE CO               STANDARD PARKING                  NICOLE L STANDOFF
JOY GIBLIN                900 SW FIFTH AVE                    NOSE ALUYI                        1280 HACIENDA DR
PO BOX 3789               PORTLAND OR 97204-1282              55 EAST MONROE                    APT C24
PORTLAND OR 97208-3789                                        CHICAGO IL 60603-5713             VISTA CA 92081




005716P001-1409A-265      007550P001-1409A-265                033725P002-1409A-265              006349P001-1409A-265
ALYSSA M STANFILL         AUTUMN B STANFORD                   STANLEY SECURITY SOLUTIONS        BRANDI E STANLEY
2118 WEST FLOWER AVE      4111 BAYMAR DR                      41734 CHRISTY ST                  2022 16TH ST
FULLERTON CA 92833        YOUNGSTOWN OH 44511                 FREMONT CA 94538-5106             PARKERSBURG WV 26101
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009186P001-1409A-265                   001309P001-1409A-265                       004010P001-1409A-265               034682P001-1409A-265
KALIAH STANLEY                         CHANTEL STANTON                            MEAGAN STANTON                     STAPLES
2807 N GLEBE RD                        350 GALE BLVD                              1203 KELLOGG AVE                   ADRIENNE CHAVIS
ARLINGTON VA 22207                     APT 4                                      UTICA NY 13502                     7 TECHNOLOGY CIR
                                       MELVINDALE MI 48122                                                           COLUMBIA SC 29203




032506P001-1409A-265                   036133P001-1409A-265                       031107P001-1409A-265               036313P001-1409A-265
STAPLES ADVANTAGE                      STAR FABRICS                               STAR OF INDIA FASHIONS INC         STAR OF INDIA FASHIONS INC
DEPT LA                                DONIGER BURROUGHS                          ELAINE KEPPLER                     PO BOX 28330
PO BOX 83689                           STEPHEN DONIGER SCOTT BURROUGHS            PO BOX 28330                       TEMPE AZ 85285
CHICAGO IL 60696-3689                  603 ROSE AVE                               TEMPE AZ 85285
                                       VENICE CA 90291



037762P001-1409A-265                   031581P001-1409A-265                       037760P001-1409A-265               037759P001-1409A-265
STAR WEST CHICAGO RIDGE LLC            STAR WEST CHICAGO RIDGE, LLC               STAR WEST FRANKLIN PARK MALL LLC   STAR WEST GATEWAY LLC
BALLARD SPAHR LLP                      1 EAST WACKER DR                           BALLARD SPAHR LLP                  BALLARD SPAHR LLP
DUSTIN P BRANCH                        STE 3600                                   DUSTIN P BRANCH                    DUSTIN P BRANCH
2029 CENTURY PARK EAST STE 800         CHICAGO IL 60601                           2029 CENTURY PARK EAST STE 800     2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2029                                                         LOS ANGELES CA 90067-2909          LOS ANGELES CA 90067-2909



037758P001-1409A-265                   037757P001-1409A-265                       037754P001-1409A-265               037753P001-1409A-265
STAR WEST GREAT NORTHERN MALL LLC      STAR WEST LOUIS JOLIET LLC                 STAR WEST PARKWAY MALL LP          STAR WEST SOLANO LLC
BALLARD SPAHR LLP                      BALLARD SPAHR LLP                          BALLARD SPAHR LLP                  BALLARD SPAHR LLP
DUSTIN P BRANCH                        DUSTIN P BRANCH                            DUSTIN P BRANCH                    DUSTIN P BRANCH
2029 CENTURY PARK EAST STE 800         2029 CENTURY PARK EAST STE 800             2029 CENTURY PARK EAST STE 800     2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2909              LOS ANGELES CA 90067-2909                  LOS ANGELES CA 90067-2909          LOS ANGELES CA 90067-2909



031582P001-1409A-265                   031583P001-1409A-265                       008415P001-1409A-265               030469P001-1409A-265
STAR-WEST FRANKLIN PARK MALL II LLC    STAR-WEST GATEWAY LLC                      MADISYN O STARK                    LAURA L STARKAND
1 EAST WACKER DR STE 3600              STAR-WEST JV LLC                           1000 CASCADEWAY DR                 ADDRESS INTENTIONALLY OMITTED
CHICAGO IL 60601                       1 EAST WACKER DR                           MURFREESBORO TN 37129
                                       STE 3600
                                       CHICAGO IL 60601



004511P001-1409A-265                   003955P001-1409A-265                       033216P001-1409A-265               033216S001-1409A-265
MADELINE M STARKE                      JASMINE STARKS                             JOSEHANNA STARKS                   JOSEHANNA STARKS
1252 E ST GERMAIN ST                   10535 S FOREST AVE                         185 HILLMONT DR                    MORGAN AND MORGAN
APT 106                                CHICAGO IL 60628                           PADUCAH KY 42003                   504 BROADWAY
SAINT CLOUD MN 56304                                                                                                 STE 100
                                                                                                                     PADUCA KY 42001



030835P001-1409A-265                   036314P001-1409A-265                       032507P001-1409A-265               034106P001-1409A-265
STARLIGHT ACCESSORIES INC              STARLIGHT ACCESSORIES INC                  STARS MODEL MANAGEMENT             STARWEST JV, LLC
ALLEN SMOUHA                           10 WEST 33RD ST STE 800                    CLKS INC                           1 EAST WACKER DR
10 WEST 33RD ST                        NEW YORK NY 10001                          23 GRANT AVE                       STE 3600
STE 800                                                                           4TH FL                             CHICAGO IL 60601
NEW YORK NY 10001                                                                 SAN FRANCISCO CA 94108
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031584P001-1409A-265                 031585P001-1409A-265                          031586P001-1409A-265                      034708P001-1409A-265
STARWEST LOUIS JOLIET, LLC           STARWEST PARKWAY MALL, LP                     STARWEST SOLANO, LLC                      STARWOOD
1 EAST WACKER DR                     1 EAST WACKER DR                              1 EAST WACKER DR                          STARWOOD RETAIL PROPERTY MANAGEMENT LLC
STE 3600                             STE 3600                                      STE 3600                                  ONE EAST WACKER DRIVE
CHICAGO IL 60601                     CHICAGO IL 60601                              CHICAGO IL 60601                          STE 3700
                                                                                                                             CHICAGO IL 60601



034796P001-1409A-265                 034846P001-1409A-265                          034861P001-1409A-265                      034899P001-1409A-265
STARWOOD                             STARWOOD                                      STARWOOD                                  STARWOOD
STAR-WEST CHICAGO RIDGE LLC          SRP PROPERTY MANAGEMENT LLC                   STARWOOD RETAIL PROPERTY MANAGEMENT LLC   SRP PROPERTY MANAGEMENT LLC
CBL AND ASSOCIATES MANAGEMENT INC    ONE EAST WACKER DRIVE                         1 E WACKER DR                             1 E WACKER DR
SUITE 500 — CBL CENTER               STE 3700                                      STE 3700                                  STE 3700-
2030 HAMILTON PL BLVD                CHICAGO IL 60601                              CHICAGO IL 60601                          CHICAGO IL 60601
CHATTANOOGA TN 37421


030025P001-1409A-265                 030025S001-1409A-265                          030026P001-1409A-265                      030026S001-1409A-265
STARWOOD (LANDLORD)                  STARWOOD (LANDLORD)                           STARWOOD (LANDLORD)                       STARWOOD (LANDLORD)
SOUTHLAKE INDIANA LLC                SOUTHLAKE INDIANA LLC                         SRP PROPERTY MANAGEMENT LLC               STARWEST LOUIS JOLIET, LLC
SRP PROPERTY MANAGEMENT LLC          GENERAL MANAGER                               LEASE COORDINATION                        GENERA1MANAGER
LEASE COORDINATION                   2109 SOUTHLAKE MALL                           ONE EAST WACKER DR STE 3700               3340 MALL LOOP DR 1249
ONE EAST WACKER DR STE 3700          MERRILLVILLE IN 46410                         CHICAGO IL 60601                          JOLIET IL 60431
CHICAGO IL 60601


030026S002-1409A-265                 030026S003-1409A-265                          030027P001-1409A-265                      030027S001-1409A-265
STARWOOD (LANDLORD)                  STARWOOD (LANDLORD)                           STARWOOD (LANDLORD)                       STARWOOD (LANDLORD)
BARCLAYS BANK PLC                    SOUTHPARK MALL LLC                            SRP PROPERTY MANAGEMENT LLC               BELDEN MALL, LLC
MICHAEL S BIRAJICLIAN                GENERAL MANAGER                               LEASE COORDINATION                        GENERAL MANAGER
745 SEVENTH AVE                      500 SOUTHPARK CTR                             1 E WACKER DR STE 3700                    4230 BELDEN VLG MALL
NEW YORK NY 10019                    STRONGSVILLE OH 44136                         CHICAGO IL 60601                          CANTON OH 44718



030027S002-1409A-265                 030028P001-1409A-265                          030028S001-1409A-265                      030029P001-1409A-265
STARWOOD (LANDLORD)                  STARWOOD (LANDLORD)                           STARWOOD (LANDLORD)                       STARWOOD (LANDLORD)
STARWEST SOLANO, LLC                 STARWEST CHICAGO RIDGE LLC                    STARWEST CHICAGO RIDGE, LLC               STARWEST FRANKLIN PARK MALL LLC
GENERAL MANAGER                      CBL AND ASSOCIATES MANAGEMENT INC             CBL AND ASSOCIATES MANAGEMENT INC         STARTWOOD RETAIL PROPERTY MANAGEMENT LLC
1350 TRAVIS BLVD                     STE 500 - CBL CTR                             GENERAL MANAGER                           LEASE COORDINATION
FAIRFIELD CA 94533                   2030 HAMILTON PL BLVD                         444 CHICAGO RIDGE MALL DR                 ONE EAST WACKER DR STE 3700
                                     CHATTANOOGA TN 37421                          CHICAGO RIDGE IL 60415                    CHICAGO IL 60601


030029S001-1409A-265                 030030P001-1409A-265                          030030S001-1409A-265                      030031P001-1409A-265
STARWOOD (LANDLORD)                  STARWOOD (LANDLORD)                           STARWOOD (LANDLORD)                       STARWOOD (LANDLORD)
STARWEST FRANKLIN PARK MALL, LLC     STARWOOD RETAIL PROPERTY MANAGEMENT LLC       BELMAR SHOPPING CENTER                    STARWOOD RETAIL PROPERTY MANAGEMENT LLC
GENERAL MANAGER                      DIRECTOR OF LEASE ADMINISTRATION              GENERAL MANAGER                           LEASE COORDINATION
5001 MONROE ST                       1 E WACKER DR STE 3700                        464 S TELLER ST                           ONE EAST WACKER DR STE 3700
TOLEDO OH 43623                      CHICAGO IL 60601                              LAKEWOOD CO 80226                         CHICAGO IL 60601



030031S001-1409A-265                 030031S002-1409A-265                          030031S003-1409A-265                      030031S004-1409A-265
STARWOOD (LANDLORD)                  STARWOOD (LANDLORD)                           STARWOOD (LANDLORD)                       STARWOOD (LANDLORD)
NORTHLAKE MALL                       PARKWAY PLAZA, LLC                            PLAZA WEST COVINA LP                      GATEWAY, LLC
GENERAL MANAGER                      GENERAL MANAGER                               GENERAL MANAGER                           GENERAL MANAGER
6801 NORTHLAKE MALL DR               415 PKWY PLZ                                  112 PLZ DR                                5 GTWY MALL
CHARLOTTE NC 28216                   EL CAJON CA 92020                             WEST COVINA CA 91790                      LINCOLN NE 68505
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030032P001-1409A-265                       030032S001-1409A-265                          010393P001-1409A-265                010668P001-1409A-265
STARWOOD (LANDLORD)                        STARWOOD (LANDLORD)                           STATE BOARD OF EQUALIZATION         STATE INSURANCE FUND CORP
STARWOOD RETAIL PROPERTY MANAGEMENT LLC    CAPITAL MALL LP                               PO BOX 942879                       PAX
LEASE ADMINISTRATION                       GENERAL MANAGER                               SACRAMENTO CA 94279-8073            PHYLLIS CAMARA
ONE EAST WACKER DR STE 3700                625 BLACK LAKE BLVD                                                               ESQ AVE DE DIEGO
CHICAGO IL 60601                           OLYMPIA WA 98502                                                                  BO MONACILLOS URB LA RIVIERA CARR 21
                                                                                                                             RIO PIEDRAS PR 00921


010177P001-1409A-265                       032779P001-1409A-265                          009974P001-1409A-265                000157P001-1409A-265
STATE OF CALIFORNIA                        STATE OF COLORADO                             STATE OF CONNECTICUT                STATE OF CONNECTICUT DEPT OF REVENUE SVC
SECRETARY OF STATE                         DEPT OF REVENUE                               DEPT OF REVENUE SVC                 25 SIGOURNEY ST
STATEMENT OF OFFICERS                      DENVER CO 80261                               25 SIGOURNEY ST                     STE 2
PO BOX 944230                                                                            PO BOX 2980                         HARTFORD CT 06106
SACRAMENTO CA 94244-2300                                                                 HARTFORD CT 06104-2980



010271P001-1409A-265                       035399P001-1409A-265                          000366P001-1409A-265                000159P001-1409A-265
STATE OF DELAWARE                          STATE OF DELAWARE                             STATE OF FLORIDA ATTORNEY GENERAL   STATE OF FLORIDA DEPT OF REVENUE
DIVISION OF REVENUE                        GROSS RECEIPTS TAX                            CONSUMER PROTECTION DIVISION        5050 WEST TENNESSEE ST
PO BOX 2340                                PO BOX 2340                                   THE CAPITOL PL-01                   TALLAHASSE FL 32399-0100
WILMINGTON DE 19899-2340                   WILMINGTON DE 18999-2340                      TALLAHASSEE FL 32399-1040




010193P001-1409A-265                       000367P001-1409A-265                          000421P001-1409A-265                000368P001-1409A-265
STATE OF GEORGIA                           STATE OF GEORGIA GOVERNOR'S OFFICE            STATE OF HAWAII                     STATE OF HAWAII CONSUMER PROTECTION
DEPT OF REVENUE                            CONSUMER PROTECTION DIVISION                  UNCLAIMED PROPERTY DIVISION         LEIOPAPA A KAMEHAMEHA BLDG
PO BOX 105136                              2 MARTIN LUTHER KING DR                       PO BOX 150                          235 SOUTH BERETANIA ST STE 801
ATLANTA GA 30348-5136                      STE 356                                       HONOLULU HI 96810                   HONOLULU HI 96816
                                           ATLANTA GA 30334-9077



032508P001-1409A-265                       000160P001-1409A-265                          000429P001-1409A-265                032509P001-1409A-265
STATE OF HAWAII DEPPARMENT OF              STATE OF HAWAII DEPT OF TAXATION              STATE OF MAINE                      STATE OF MARYLAND
COMMERCE AND CONSUMER AFFAIRS              PO BOX 259                                    OFFICE OF THE STATE TREASURER       DEPART OF ASSESS AND TAXATION
BUSINESS REGISTRATION DIVISION             HONOLULU HI 96809                             ATTN: UNCLAIMED PROPERTY            PERSONAL PROPERTY DIVISION
PO BOX 40                                                                                39 STATE HOUSE STATION              301 WEST PRESTON ST RM 801
HONOLULU HI 96810                                                                        AUGUSTA ME 04333-0039               BALTIMORE MD 21201-2395



010147P001-1409A-265                       010511P001-1409A-265                          032510P001-1409A-265                000379P001-1409A-265
STATE OF MICHIGAN                          STATE OF MICHIGAN                             STATE OF MICHIGAN                   STATE OF MICHIGAN ATTORNEY GENERAL
DEPT 77802                                 PO BOX 30059                                  CORPORATIONS DIVISION               CONSUMER PROTECTION DIVISION
DETROIT MI 48277-0802                      LANSING MI 48909                              PO BOX 30702                        PO BOX 30213
                                                                                         LANSING MI 48909                    LANSING MI 48909-7713




010553P001-1409A-265                       010598P001-1409A-265                          010184P001-1409A-265                010243P001-1409A-265
STATE OF NEW HAMPSHIRE                     STATE OF NEW HAMPSHIRE                        STATE OF NEW JERSEY                 STATE OF NEW JERSEY
NH DEPT OF REVENUE ADMIN                   SECRETARY OF STATE                            DIV OF EMPLOYER ACCOUNTS            DIVISION OF TAXATION
DOCUMENT PROCESSING DIVISION               STATE HOUSEROOM 204                           PO BOX 059                          PO BOX 193
PO BOX 637                                 107 NORTH MAIN ST                             TRENTON NJ 08625-0059               TRENTON NJ 08646-0193
CONCORD NH 03302-0637                      CONCORD NH 03301-4989
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010400P001-1409A-265           010403P001-1409A-265                             010498P001-1409A-265                         010586P001-1409A-265
STATE OF NEW JERSEY            STATE OF NEW JERSEY                              STATE OF NEW JERSEY                          STATE OF NEW JERSEY
SALES AND USE TAX              PO BOX 059                                       DIVISION OF TAXATION                         DEPT OF LABOR
PO BOX 999                     TRENTON NJ 08646-0059                            PO BOX 270                                   PO BOX 929
TRENTON NJ 08646-0999                                                           TRENTON NJ 08646-0270                        TRENTON NJ 08646-0929




009902P001-1409A-265           010162P001-1409A-265                             009775P001-1409A-265                         010554P002-1409A-265
STATE OF RHODE ISLAND          STATE OF RHODE ISLAND                            STATE OF RHODE ISLAND DIVISION OF TAXATION   STATE OF VIRGINIA
148 W RIVER ST                 DIVISION OF TAXATION                             ONE CAPITOL HILLSUITE 9                      TACS
PROVIDENCE RI 02904-2615       ONE CAPITOL HILL STE 4                           PROVIDENCE RI 02908-5811                     PO BOX 2156
                               PROVIDENCE RI 02908-5802                                                                      RICHMOND VA 23518-2156




010318P001-1409A-265           032714P001-1409A-265                             030758P001-1409A-265                         036315P001-1409A-265
STATE OF WASHINGTON DEPT OF    STATE OF WASHINGTON DEPT OF REVENUE              STATEMENT ACCESSORIES DBA TRUE               STATEMENT ACCESSORIES DBA TRUE
REVENUE                        STATE OF WASHINGTON DEPT OF                      RAYMOND BRAHA                                LOVE ACCESSORIES
PO BOX 34052                   PO BOX 34052                                     LOVE ACCESSORIES                             10 WEST 33RD ST STE 210
SEATTLE WA 98124-1052          SEATTLE WA 98124-1052                            10 WEST 33RD ST STE 210                      NEW YORK NY 10001
                                                                                NEW YORK NY 10001



000930P001-1409A-265           004357P001-1409A-265                             010064P001-1409A-265                         003073P001-1409A-265
ALLISON STAUDT                 KACI J STEARS                                    ANDY STEBBING                                CHATORIA STEED
118 LOWER ROCKY PT RD          11422 CREAGERSTOWN RD                            LANCASTER COUNTY TREASURER                   5348 CONTENDER LN
SOUND BEACH NY 11789           WOODSBORO MD 21798                               555 S 10TH ST COUNTY CITY BLDG               #1423
                                                                                LINCOLN NE 68508                             FORT WORTH TX 76132




004274P001-1409A-265           009727P001-1409A-265                             033727P001-1409A-265                         007610P001-1409A-265
ASHLIE A STEEL                 STEELCASE FINANCIAL SERVICES, INC                STEELCASE FINANCIAL SVC INC                  SHANICE STEELE
4504 W JUNIPER DR APT B        901 44TH ST SE                                   180 MONTGOMERY ST                            1311 E WALDBURG ST
USAF ACADEMY CO 80840          GRAND RAPIDS MI 49508                            4TH FLOOR                                    SAVANNAH GA 31404
                                                                                SAN FRANCISCO CA 94104




002353P001-1409A-265           031587P001-1409A-265                             036353P001-1409A-265                         007481P001-1409A-265
TIANA R STEELE                 STEEPLEGATE MALL REALTY LLC                      ABIGAIL STEERE                               MEGAN M STEFANOW
140 N MEADOW ST                NAMDAR REALTY GROUP LLC                          1193 JAY ST                                  28574 REVERE
APT 3                          150 GREAT NECK RD                                EUGENE OR 97402                              WARREN MI 48092
WATERTOWN NY 13601             STE 304
                               GREAT NECK NY 11021



003267P001-1409A-265           030033P001-1409A-265                             030033S001-1409A-265                         030034P001-1409A-265
CAITLIN J STEFFENSON           STEINER AND ASSOCIATES (LANDLORD)                STEINER AND ASSOCIATES (LANDLORD)            STEINER AND ASSOCIATES (LANDLORD)
971 KENNEDY PL                 LIBERTY CENTER LLC                               GENERAL MANAGER                              JONES LANG LASALLE AMERICAS INC
TRACY CA 95377                 APOLLO COMMERCIAL REAL ESTATE FINANCE INC        LIBERTY CTR                                  RETAIL DOCUMENTS
                               RACHEL HUNTER                                    7100 FOUNDRY ROW                             3344 PEACHTREE RD STE 1100
                               9 WEST 57TH ST                                   LIBERTY TOWNSHIP OH 45069                    ATLANTA GA 30326
                               NEW YORK NY 10019
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030035P001-1409A-265                 032511P001-1409A-265                         031206P001-1409A-265               032512P001-1409A-265
STEINER AND ASSOCIATES (LANDLORD)    STEINER CONSTRUCTION SERV LLC                STEINER REAL ESTATE SVC LLC        STELLAR DATA, INC
LIBERTY CENTER                       6497 CITY WEST PKWY                          LIBERTY CENTER LLC                 RAY YAMINI
GENERAL MANAGER                      EDEN PRAIRIE MN 55344                        L - 3745                           7950 SILVERTON AVE
7100 FOUNDRY ROW                                                                  COLUMBUS OH 43260-3745             STE 101 / 102
LIBERTY TOWNSHIP OH 45069                                                                                            SAN DIEGO CA 92126



003166P001-1409A-265                 032798P001-1409A-265                         005033P001-1409A-265               033812P001-1409A-265
KALIN A STELTNER                     NICHOLAS STENCEL                             SARAH STEPANEK                     STEPHANIE A RELKIN LLC
8720 DWIGHT BOYER RD                 21688 GATEWAY CTR                            13062 BLACKHAWK AVE                STEPHANIE RELKIN
WATERVLIET MI 49098                  DIAMOND BAR CA 91765                         GRAND HAVEN MI 49417               96 CARLYLE PL
                                                                                                                     ROSLYN HEIGHTS NY 11577




032513P001-1409A-265                 032514P001-1409A-265                         005535P001-1409A-265               000701P001-1409A-265
STEPHANIE STRATE                     STEPHANIE VEGA                               DIAMOND STEPHENS                   KENISHA STEPHENS
1954 CHEREMOYA AVE # 2               563 S LASSEN AVE                             3701 N MARLEON DR                  14206 MCCABE DR
LOS ANGELES CA 90068                 SAN BERNADINO CA 92410                       MUNCIE IN 47304                    CHESTER VA 23831




006871P001-1409A-265                 004035P002-1409A-265                         033508P001-1409A-265               032515P001-1409A-265
TIONNA STEPHENS                      CINE STEPTOE                                 STERLING FACTORS CORP              STERLING MAINTENANCE SVC
1252 UNION RD                        4512 COLONIAL DRIVE                          PO BOX 75359                       5155 W ROSECRANS AVE
J                                    COLUMBIA SC 29203-5919                       CHICAGO IL 60675-5359              #230
GASTONIA NC 28054                                                                                                    HAWTHORNE CA 90250




034850P001-1409A-265                 030036P001-1409A-265                         030036S001-1409A-265               031108P001-1409A-265
STERLING ORGANIZATION                STERLING ORGANIZATION (LANDLORD)             STERLING ORGANIZATION (LANDLORD)   STERLING PUBLISHING
SVAP II STONES RIVER LLC             SVAP II STONES RIVER LLC                     WELLS FARGO BANK                   CINA
STERLING RETAIL SVC INC              STERLING RETAIL SVC INC                      123 N WACKER DR STE 1900           PO BOX 5078
340 ROYAL POINCIANA WAY              340 ROYAL POINCIANA WAY STE 316              CHICAGO IL 60606                   NEW YORK NY 10087
STE 316                              PALM BEACH FL 33480
PALM BEACH FL 33480


034656P002-1409A-265                 034258P001-1409A-265                         036846P001-1409A-265               003390P001-1409A-265
STERLING TALENT SOLUTIONS            STERLING VALUE ADD INVESTMENTS II            JEREMY STERN                       JESSICA M STERN
ROCCO DIPAULO                        340 ROYAL POINCIANA WAY                      OCTAGON CREDIT                     18330 N 79TH AVE
ONE STATE STREET PLAZA 24TH FLOOR    STE 316                                      250 PK AVE 15TH FLOOR              3155
NEW YORK NY 10004                    PALM BEACH FL 33480                          NEW YORK NY 10177                  GLENDALE AZ 85308




006348P001-1409A-265                 036032P001-1409A-265                         003147P001-1409A-265               010387P001-1409A-265
JOCELYN F STESLICKE                  JOCELYN F STESLICKE                          JELENA STEVANOVIC                  STEVE MOSSMAN-DENTON COUNTY
333 COLLEGE AVE                      23393 NC HWY 902                             18245 1ST AVE S H4                 TAX ASSESSOR COLLECTOR
GREENSBORO NC 27413                  BENNETT NC 27208                             NORMANDY PARK WA 98148             PO BOX 90223
                                                                                                                     DENTON TX 76202-5223
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037812P001-1409A-265                  030784P001-1409A-265                     007349P001-1409A-265            005960P001-1409A-265
STEVENS GLOBAL LOGISTICS INC          STEVENS GLOBAL LOGISTICS, INC            JAIBREONN STEVENS               JAYDEN A STEVENS
3700 REDONDO BEACH AVE                PO BOX 729                               24841 MANUEL RD                 5921 WATERFORD BLUFF LN
REDONDO BEACH CA 90278                LAWNDALE CA 90260-0729                   HEMPSTEAD TX 77445              1414
                                                                                                               RALEIGH NC 27612




037608P001-1409A-265                  030456P001-1409A-265                     030471P001-1409A-265            006378P001-1409A-265
KENNETH STEVENS                       KOURTNEY STEVENS                         LAUREN STEVENS                  LAUREN A STEVENS
GRANT L CARTWRIGHT ESQ                ADDRESS INTENTIONALLY OMITTED            ADDRESS INTENTIONALLY OMITTED   3724 HOMESTEAD DR
MAY POTENZA BARAN AND GILLESPIE PC                                                                             MEAD CO 80542
201 N CENTRAL AVE 22ND FL
PHOENIX AZ 85004



007191P001-1409A-265                  004308P001-1409A-265                     005431P001-1409A-265            001825P001-1409A-265
MYA A STEVENS                         SERENITY S STEVENS                       CURTSHA T STEVENSON             JALEESA S STEVENSON
31200 FM 2920 RD                      7156 ANDREWS AVE                         2775 N STATE HWY 360 APT        1515 S FANNIN ST
912                                   PHILADELPHIA PA 19138                    GRAND PRAIRIE TX 75050          SOUR LAKE TX 77659-7243
WALLER TX 77484




007435P001-1409A-265                  002852P001-1409A-265                     006638P001-1409A-265            005929P001-1409A-265
WHITNEY STEVENSON                     AUDREY STEVES                            VALAQUEZ STEVONS                WENDY R STEWARD
30510 HICKORY RD APT 305              1125 SW KENT PL                          103 GLADSTONE DR                1647 CITADEL DR
PRINCESS ANNE MD 21853                TOPEKA KS 66604                          DURHAM NC 27703                 COLUMBIA MO 65202




032517P001-1409A-265                  006027P001-1409A-265                     004100P001-1409A-265            002080P001-1409A-265
STEWART HANDLING SYSTEM, INC          ANDREA L STEWART                         ASHLEY N STEWART                CAREY STEWART
9227 ORCO PKWY                        237 LAKESIDE DR                          12 MEADOW DR                    4851 PENNY CV
UNIT E                                STEPHENS CITY VA 22655                   LONDONDERRY NH 03053            SOUTHAVEN MS 38672-6647
RIVERSIDE CA 92509




037558P001-1409A-265                  001823P001-1409A-265                     033204P001-1409A-265            008310P001-1409A-265
CAREY STEWART                         DARRA L STEWART                          DREW A STEWART                  KIERA STEWART
4851 PENNY COVE                       4358 COOPER OAKS DR SE                   104 VALLEY HIGH RD              4025 S DELLS ST
SOUTHAVEN MS 38672                    SMYRNA GA 30082                          BURNSVILLE MN 55337             HARVEY LA 70058




006992P001-1409A-265                  003976P001-1409A-265                     003961P001-1409A-265            032518P001-1409A-265
MARCELL A STEWART                     SOYAN R STEWART                          TINA C STEWART                  STEYER LOWENTHAL BOOKROOKAS AL
3729 COVINGTON DR                     2304 SOUTH HELEN'S WAY AVE               22835 COUNTY RD 38              BOOKROOKAS ALVAREZ AND SMITH LLP
HOLIDAY FL 34691                      GONZALES LA 70737                        SUMMERDALE AL 36580             CHRISTINE KLEM
                                                                                                               1 CALIFORNIA ST STE 300
                                                                                                               SAN FRANCISCO CA 94111
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008600P001-1409A-265              006563P001-1409A-265                034333P001-1409A-265              036033P001-1409A-265
SAMANTHA L STICH                  ALEXIA K STILES                     LIN M STILLMAN                    KEELEY STIMPERT
621 1/2 UNION ST                  5202 BENSON CT                      841 ROCKAWAY BEACH AVE            1380 CHAPARRAL LN
EAU CLAIRE WI 54703               LOUISVILLE KY 40272                 PACIFICA CA 94044                 WINTER SPRINGS FL 32708




005179P001-1409A-265              009533P001-1409A-265                000978P001-1409A-265              006650P001-1409A-265
DEJEANE L STINE                   MADELYNN STINE                      CHANEL P STINYARD                 ALYSSA K STIRRUP
520 COPPER VIEW ST                12 LAKE DR                          3964 CELESTE DR                   8734 LEPERE SCHOOL RD
HENDERSON NV 89052                SPRING CITY PA 19475                205                               MILLSTADT IL 62260
                                                                      SPRINGDALE AR 72762




005893P001-1409A-265              003272P001-1409A-265                003394P001-1409A-265              034926P001-1409A-265
RICKYA S STITH                    SAMARA STITH                        MYRIAM STIVEN                     STOCKBRIDGE MADISON
73 CHARITON DR                    859 PAULDING ST                     63 UNION ST                       STOCKBRIDGE MADISON LLC
EAST STROUDSBURG PA 18301         2                                   RANDOLPH MA 02368                 451 EAGLE RIDGE DR
                                  PEEKSKILL NY 10566                                                    LAKE WALES FL 33859




030037P001-1409A-265              031588P001-1409A-265                032519P001-1409A-265              032520P001-1409A-265
STOCKBRIDGE MADISON (LANDLORD)    STOCKBRIDGE MADISON LLC             STOCKBRIDGE MADISON, LLC          STOCKTON CITY
STOCKBRIDGE MADISON LLC           27550 HOOVER RD                     KEREM CAKMAN                      425 N EL DORADO ST
451 EAGLE RIDGE DR                WARREN MI 48093                     PO BOX 8130                       STOCKTON CITY CA 95201
LAKE WALES FL 33859                                                   BLOOMFIELD HILLS MI 48302




036527P001-1409A-265              001640P001-1409A-265                001485P001-1409A-265              009509P001-1409A-265
GRAZINA STODTKO                   ADRIANA STOFKOVA                    NESSA S STOJANOVICH               CATHERINE STOKES
BREDELLE 39                       504 WILLOW GROVE ST                 13685 W PLEASANTVIEW DR           3810 E CURTIS ST
58097 HAGEN                       HACKETTSTOWN NJ 07840               NEW BERLIN WI 53151               TAMPA FL 33610
GERMANY,




004656P001-1409A-265              006438P001-1409A-265                001471P001-1409A-265              006453P001-1409A-265
KEANNA STOKES                     TAYLER A STOKES                     PAIGE STOLFE                      ALEXIS L STONE
2117 W NEWMAN PKWY                3341 MYRTLE AVE                     3748 AUTUMN RIDGE RD              3003 MAYNARD PL
PEORIA IL 61604                   EDMOND OK 73034                     TERRE HAUTE IN 47802-9232         BELLINGHAM WA 98226




036034P001-1409A-265              002077P001-1409A-265                031589P001-1409A-265              037355P001-1409A-265
ALEXIS L STONE                    MARGARET M STONE                    STONEBRIAR MALL LLC               STONEBRIAR MALL LLC
2610 ALVERADO DR                  2254 10TH ST                        GGP/HOMART II LLC                 AKA STONEBRIAR CENTRE
BELLINGHAM WA 98229               APT 5                               PO BOX 6374                       BROOKFIELD PROPERTY REIT INC
                                  CORALVILLE IA 52241                 CAROL STREAM IL 60197-6374        350 N ORLEANS ST STE 300
                                                                                                        CHICAGO IL 60654-1607
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006332P001-1409A-265                      002582P001-1409A-265                            007593P001-1409A-265             035171P001-1409A-265
SEAN R STONEHOUSE                         JENISE M STONEY                                 HAILEY R STOPPENBACH             STORED VALUE SOLUTIONS INC
65 MIDDLEBORO RD                          1100 HOWE AVE                                   105 W MICHIGAN AVE               ONE OXMOOR PLACE SUITE 305 101 BULLITT LANE
EAST FREETOWN MA 02717                    540                                             APT 3                            LOUISVILLE KY 40222-5465
                                          SACRAMENTO CA 95825                             THREE RIVERS MI 49093




036769P001-1409A-265                      037338P001-1409A-265                            032521P001-1409A-265             033728P001-1409A-265
STORED VALUE SOLUTIONS INC                STORED VALUE SOLUTIONS INC DBA COMDATA INC      STORED VALUE SOLUTIONS, INC      STORED VALUE SYSTEMS INC SVS
3802 RELIABLE PKWY LOCKBOX 3802           COMDATA INC                                     CERIDIAN STORED VALUE SOLUTION   101 BULLITT LN
CHICAGO IL 60686-0038                     5301 MARYLAND WAY STE 100                       3802 RELIABLE PKWY               STE 305
                                          BRENTWOOD TN 37027                              LOCKBOX 3802                     LOUISVILLE KY 40222
                                                                                          CHICAGO IL 60686-0038



006520P001-1409A-265                      006722P001-1409A-265                            006251P001-1409A-265             008343P001-1409A-265
SIERRA R STORRS                           ALLISON STOUT                                   HANNA J STRADER                  JASMINE A STRAIT
2003 KIMBALL AVE                          5810 OLD SILER CITY RD                          12318 246TH RD                   9410 JOWETT PL
ARNOLD PA 15068                           RAMSEUR NC 27316                                HOLTON KS 66436                  SUGAR LAND TX 77478




006566P001-1409A-265                      033222P001-1409A-265                            000913P001-1409A-265             036035P001-1409A-265
BRIANA L STRANGE                          CONSTANCE STRAUBE                               DENISE M STRAUGHN                NATALIE STRAUGHN
23 KIRBY ST                               30621 FIVE POINTS RD # 5                        1809 BAY OAKS CIR                5481 NW 15TH PL
#2                                        KINGSTON IL 60145                               MILTON FL 32583                  GAINESVILLE FL 32605
MARLBOROUGH MA 01752




001746P001-1409A-265                      006909P001-1409A-265                            008077P001-1409A-265             031109P001-1409A-265
TIFFANY STRAUGHTER                        KALEEMA J STRAUN                                LYNNE P STRAW                    STREAMLINE IMPORTING INC
5788 GRAMERCY DR                          1635 PALM LEAF DR                               8339 CHERRY CORNER RD            SCOTT VAN REETH
WEST PALM BEACH FL 33407-1624             BRANDON FL 33510                                CURWENSVILLE PA 16833            229 NORTH RTE 303
                                                                                                                           STE 107
                                                                                                                           CONGERS NY 10920



009912P001-1409A-265                      005392P001-1409A-265                            030759P001-1409A-265             031590P001-1409A-265
STREAMLINE TAX SOLUTIONS, LP              KENDRA A STREATER                               STREET DENIM INC                 STREET RETAIL INC
1600 REDBUD BLVD                          1640 OCEAN PKWY                                 LIOR MOUSSAIEFF                  1626 EAST JEFFERSON ST
STE 301                                   D65                                             525 7TH AVE - STE 1208           ROCKVILLE MD 20852
MCKINNEY TX 75069                         BROOKLYN NY 11223                               NEW YORK NY 10018




037666P002-1409A-265                      003127P001-1409A-265                            002669P001-1409A-265             004884P001-1409A-265
STREET RETAIL INC                         CYNTHIA D STREET                                TAYA S STREETER                  ANA F STREMEL
TA ASSEMBLY ROW SOMERVILLE MA             3817 ASHLEY TER                                 66 ROBINSON AVE                  3925 SHERATON CIR
BALLARD SPAHR LLP LESLIE C HEILMAN ESQ    YUKON OK 73099                                  ASHEVILLE NC 28803               BOYNTON BEACH FL 33436
919 N MARKET ST 11TH FL
WILMINGTON DE 19801
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007473P001-1409A-265        034235P001-1409A-265                       032522P001-1409A-265           036770P002-1409A-265
JORDYN M STRICKLAND         STRIKE EXCHANGE, LLC                       STRIKE SOCIAL                  STRIKE SOCIAL
3772 WALWORTH ONTARIO RD    29398 NETWORK PL                           STRIKE EXCHANGE LLC            AKA STRIKE EXCHANGE LLC
WALWORTH NY 14568           CHICAGO IL 60673                           29398 NETWORK PL               29398 NETWORK PL
                                                                       CHICAGO IL 60673               CHICAGO IL 60673-1293




009259P001-1409A-265        008639P001-1409A-265                       002547P001-1409A-265           001125P001-1409A-265
STEPHANIE STRINGER          GABRIELLE R STROBLE                        BRITTANY STRONG                HALEY E STRONG
1021 CENTRAL AVE            4209 NOTTING HILL DR                       6887 CROSSWOODS CIR            3100 DOCKSIDE CIR
WILMETTE IL 60091           MOORE OK 73160                             APT 196                        APT 17
                                                                       CITRUS HEIGHTS CA 95621        RALEIGH NC 27613




027178P001-1409A-265        003680P001-1409A-265                       002452P001-1409A-265           001794P001-1409A-265
HILLARY D STRONG            KATELYN R STRONG                           TEA K STRONG                   MIKAELA R STROPE
912 HILLWOOD DR SW          2 CAMBRIDGE MNR #26                        91-1089 PUAMAEOLE ST APT U     601 BILL FRANCE BLVD
DECATUR AL 35601            CLINTON NY 13323                           EWA BEACH HI 96706             APT 1707
                                                                                                      DAYTONA BEACH FL 32114




004336P001-1409A-265        009395P001-1409A-265                       007839P001-1409A-265           005768P001-1409A-265
KRISTINA S STROTHERS        GLENNELLE L STROUD                         SARAH N STROUT                 JACQUELINE STROWD
10214 WESLEIGH DR           342 LAWNCREST AVE                          1831 E APACHE BLVD             1144 DOGWOOD ST
COLUMBIA MD 21046           DAYTON OH 45417                            1136                           TURBEVILLE SC 29162
                                                                       TEMPE AZ 85281




005646P001-1409A-265        008608P001-1409A-265                       008128P001-1409A-265           005266P001-1409A-265
REAGAN RUBY D STUARD        ANIYAH STUBBLEFIELD                        ALEXA C STUBY                  MARISSA STUDER
3808 FM 715                 7907 TYNELAND CT                           15216 GRAND SUMMIT EXTENSION   407 CALDWELL AVE
MIDLAND TX 79706            HOUSTON TX 77070                           GRANDVIEW MO 64030             WILMERDING PA 15148




033729P001-1409A-265        032523P002-1409A-265                       036771P001-1409A-265           032524P001-1409A-265
STUDIO B FILMS              STUDIO SUPERMOON LLC                       STUDIO SUPERMOON LLC           STUDIO WPA, LLC
2121 BONAR ST               KATY JONES AND TRISTAN JOHNSTON            5028 SIERRA VILLA DR           BRAD WENNER
STUDIO B                    5028 SIERRA VILLA DR                       LOS ANGELES CA 90041           3403 PIEDMONT AVE
BERKELEY CA 94702           LOS ANGELES CA 90041                                                      STUDIO 202
                                                                                                      OAKLAND CA 94611



034259P001-1409A-265        001436P001-1409A-265                       005384P001-1409A-265           002592P001-1409A-265
STUDIO WPA, LLC             JACOB STULL                                ASHLEIGH J STULTS              JILL M STUMMER
3403 PIEDMONT AVE           1596 MORGAN LN                             108 TAYLOR LAKE DR             3148 BEAVER BROOK LN
STUDIO 202                  APT D                                      TROY IL 62294                  BALDWINSVILLE NY 13027
OAKLAND CA 94611            WALNUT CREEK CA 94597
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002091P001-1409A-265             004609P001-1409A-265                            006767P001-1409A-265                   030760P002-1409A-265
KELSEY C STUTTE                  JENNA P STUTZ                                   JILIAN S STUTZ                         STYLE MELODY DBA LOVE TREE
119 CONCORD DR NE                22 FURNACE LN                                   252 LILAC PL                           LOVE TREE FASHION INC
PORT CHARLOTTE FL 33952          PEMBROKE MA 02359                               PALMYRA VA 22963                       CHRISTOPHER KIM
                                                                                                                        5500 S BOYLE AVE
                                                                                                                        VERNON CA 90058-3933



030836P001-1409A-265             007671P001-1409A-265                            004203P001-1409A-265                   003651P001-1409A-265
STYLISHSHOES CO LTD              EMELYN SUAREZ                                   JOANNA A SUAREZ                        KATIE S SUAREZ
RYAN JI                          385 MAIN ST                                     6759 E CALLE MERCURIO                  709 DEKALB AV
22F FU LI INTERNATIONAL SHOES    C4                                              TUCSON AZ 85710                        6
CTR NO 37 HUANSHI XI RD          DANBURY CT 06810                                                                       BROOKLYN NY 11216
GUANGZHOU
CHINA


005707P001-1409A-265             030038P001-1409A-265                            030038S001-1409A-265                   002378P001-1409A-265
MONTSERRAT SUBIA                 SUBLEASE FROM SEPHORA (LANDLORD)                SUBLEASE FROM SEPHORA (LANDLORD)       SHIVANI P SUDAN
6001 AMARILLO AVE                SEPHORA USA INC FIRST MARKET TOWER              SEPHORA USA, INC, FIRST MARKET TOWER   62 LEIGH ST
LA MESA CA 91942                 SENIOR VICE PRESIDENT OF REAL ESTATE            GENERAL COUNSEL                        FRAMINGHAM MA 01701
                                 525 MARKET ST 32ND FL                           525 MARKET ST 32ND FL
                                 SAN FRANCISCO CA 94105                          SAN FRANCISCO CA 94105



002921P001-1409A-265             026647P001-1409A-265                            008282P001-1409A-265                   036721P001-1409A-265
FAITH SUDDUTH                    KARLA SUDDUTH                                   LEEANNA M SUENO                        RACHEL SULAK
4242 SPRING ST                   7953 PEACEFUL WAY                               9308 ROPING COWBOY AVE                 2520 CASTLE CIR
APT 35                           LIBERTY TOWNSHIP OH 45044                       LAS VEGAS NV 89178                     FORT WORTH TX 76108-9704
LA MESA CA 91941




030151P001-1409A-265             030151S001-1409A-265                            007968P001-1409A-265                   006345P001-1409A-265
ANNE M SULLIVAN                  ANNE M SULLIVAN                                 AYESHA V SULLIVAN                      CYANE M SULLIVAN
ADDRESS INTENTIONALLY OMITTED    ADAM DOMBCHIK                                   4955 GST SE #5C                        9226 S 73RD E AVE
                                 ADDRESS INTENTIONALLY OMITTED                   C5                                     TULSA OK 74133
                                                                                 WASHINGTON DC 20019




004209P001-1409A-265             004694P001-1409A-265                            006875P001-1409A-265                   005140P001-1409A-265
KARA L SULLIVAN                  LISA SULLIVAN                                   MAIYA D SULLIVAN                       MIRANDA C SULLIVAN
8939 FRANKLIN TRENTON RD         1810 E GEER ST                                  152 APPLE VLY RD                       1626 EMERALD LAKE DR
CARLISLE OH 45005                DURHAM NC 27704                                 MACON GA 31217                         MATTHEWS NC 28104




032525P001-1409A-265             002309P001-1409A-265                            030182P001-1409A-265                   006525P001-1409A-265
SUMMER WILSON                    LEE A SUMMERFIELD                               ALEISIA SUMMERS                        JENNIFER SUMMERS
990 BROADWAY                     12705 MARINERS CT                               ADDRESS INTENTIONALLY OMITTED          1520 AVALON
APT 5                            26                                                                                     BEAUMONT TX 77707
SAN FRANCISCO CA 94133           NEWPORT NEWS VA 23606
                             Case 19-10210-LSS   Doc Russe
                                             Charlotte 1780 Holding,
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006488P001-1409A-265          008054P001-1409A-265                         036773P001-1409A-265             032766P001-1409A-265
JULIA SUMMERS                 TAMARA R SUMMERSMARQUEZ                      SUMMIT ENERGY                    SUMMIT ENERGY SERVICES, INC
4721 LEAF CREST CT            12115 W VAN BUREN ST                         25716 NETWORK PL                 25716 NETWORK PL
COLUMBIA SC 29210             APT 2723                                     CHICAGO IL 60673-1257            CHICAGO IL 60673-1257
                              AVONDALE AZ 85323




035173P001-1409A-265          036753P001-1409A-265                         004293P001-1409A-265             008591P001-1409A-265
SUMMIT ENERGY SVC INC         SHAKYIA SUMNER                               CHRISTY L SUMRALL                JORDAN E SUMSER
10350 ORMSBY PK PL STE 400    1498 STUYVESANT AVE                          13349 SARTORIS CT                709 CARROL ST
LOUISVILLE KY 40223           TRENTON NJ 08618                             FOLEY AL 36535                   709
                                                                                                            AKRON OH 44304




005944P001-1409A-265          003899P001-1409A-265                         005935P001-1409A-265             032526P001-1409A-265
ZANAJA SUMTER                 JESSICA SUN                                  LYDIA SUNDERLAND                 SUNDOWN OUTDOOR ADVERTISING, INC
13 UNDERWOOD AVE              203 S JUDD ST                                1732 HAZELWOOD RD                HOPE LIGHT
GREENVILLE SC 29607           SIOUX CITY IA 51103                          CLARKSVILLE TN 37042             22 COMLEYVILLE RD
                                                                                                            ENNIS MT 59729




001586P001-1409A-265          030761P001-1409A-265                         036316P001-1409A-265             031591P001-1409A-265
MARY SUNN                     SUNRISE APPAREL IMPORT INC DBA               SUNRISE APPAREL IMPORT INC DBA   SUNRISE MALL LLC
9814 WEST BELOIT RD           SHINE IMPORTS                                SHINE IMPORTS 2455 E 27TH ST     BANK OF AMERICA
MILWAUKEE WI 53227            NOEMI LOPEZ                                  VERNON CA 90058                  FILE#50205
                              2455 E 27TH ST                                                                LOS ANGELES CA 90074-0205
                              VERNON CA 90058



035360P001-1409A-265          031592P001-1409A-265                         031110P001-1409A-265             033138P001-1409A-265
SUNRISE MALL LLC              SUNRISE MILLS (MLP) LP                       SUNSCAPE EYEWEAR, INC            SUNSHINE RECYCLING INC
LECLAIRRYAN PLLC              SAWGRASS MILLS                               GRADY DUNN                       PO BOX 531672
NICLAS A FERLAND              PO BOX 277861                                17526 VON KARMAN                 ATLANTA GA 30353
545 LONG WHARF DR 9TH FL      ATLANTA GA 30384-7861                        STE A
NEW HAVEN CT 06511                                                         IRVINE CA 92614



033138S001-1409A-265          031593P001-1409A-265                         036124P001-1409A-265             009721P001-1409A-265
SUNSHINE RECYCLING INC        SUNVALLEY ASSOCIATES                         SUNVALLEY SHOPPING CENTER LLC    SOVANNY A SUONG
1263 LANDSTREET RD            DEPARTMENT 57901                             ANDREW S CONWAY                  13220 22ND AVE S
ORLANDO FL 32824              PO BOX 67000                                 THE TAUBMAN CO                   SEATAC WA 98168
                              DETROIT MI 48267-0579                        200 EAST LONG LAKE RD
                                                                           SUITE 300
                                                                           BLOOMFIELD HILLS MI 48304


031111P001-1409A-265          034404P001-1409A-265                         008700P001-1409A-265             009563P001-1409A-265
SUPER IMPULSE                 SUPER-REGIONAL MALLS OPERATING CO            HAYLEY SURECHIEF                 MEGAN SURENKAMP
10 CANAL ST                   MALL AT BRIARWOOD LLC                        1372 HAWTHORNE AVE SE            8762 E HENDRICKS COUNTY RD
STE 330                       PO BOX 404570                                SMYRNA GA 30080                  MOORESVILLE IN 46158
BRISTOL PA 19007              ATLANTA GA 30384-4570
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032527P001-1409A-265               001349P001-1409A-265                               003202P001-1409A-265              002707P001-1409A-265
SURFACE PRINT SOURCE LLC           SHAWANA L SURLES                                   ARIELLE D SURRATT                 MONICA O SURRELL
STEPHEN PALLADINETTI III           3031 NORTHINGTON DR                                36091 SPRUCE ST                   3440 DUNDEE LN
MELANIE BERGWALL                   APT 401                                            NEWARK CA 94560                   JACKSON MS 39212
1320 E PASSYUNK AVE                MONTGOMERY AL 36108
PHILADELPHIA PA 19147



004125P001-1409A-265               032528P001-1409A-265                               008811P002-1409A-265              033139P001-1409A-265
CRYSTAL D SURUJDEO                 SUSAN BRANIECKI CLERCK OF CIRCUIT COURT            VERONICA L SUSTACHE               SUSTAINABLE SOLUTIONS GROUP
142-14 123 AVE                     CIRCUIT COURT                                      1003 WESTBURY POINTE DR APT 204   DEPT #40299
JAMAICA NY 11436                   1 WEST MARKET ST RM 104                            BRANDON FL 33511-2735             PO BOX 740209
                                   SNOW HILL MD 21863                                                                   ATLANTA GA 30374




033139S001-1409A-265               006073P001-1409A-265                               002822P001-1409A-265              036036P001-1409A-265
SUSTAINABLE SOLUTIONS GROUP        RHYANNA SUTHERLAND                                 DALAZHANEI SUTTON                 DALAZHANEI SUTTON
7977 HIGHWAY 92                    253-20 CRAFT AVE                                   1001 E CAREY AVE                  361 N NELLIS BLVD
WOODSTOCK GA 30015                 ROSEDALE NY 11422                                  1302                              #104
                                                                                      LAS VEGAS NV 89030                LAS VEGAS NV 89110




000632P001-1409A-265               001296P001-1409A-265                               036037P001-1409A-265              009668P001-1409A-265
HANNAH G SUTTON                    SARAH SUTTON                                       SARAH SUTTON                      TANISHA N SUTTON
2001 RED BANK RD LOT 427           902 SILVERSTONE DR                                 624 YALE BLVD                     5272 N LOVERS LN RD
DOVER PA 17315                     SAINT CHARLES MO 63303-6037                        SAINT CHARLES MO 63301            APT 101
                                                                                                                        MILWAUKEE WI 53225




036775P001-1409A-265               036944P002-1409A-265                               031594P001-1409A-265              005138P001-1409A-265
SVAP II STONES RIVER LLC           SVAP II STONES RIVER LLC                           SVAP II STONES RIVER, LLC         SHANNON Z SVITEK
340 ROYAL POINCIANA WAY STE 316    BERNICE C LEE                                      STERLING VALUE ADD INVESTMENTS    78 DOVECOTE LN
PALM BEACH FL 33480                SHRAIBERG LANDAU AND PAGE PA                       340 ROYAL POINCIANA WAY           COMMACK NY 11725
                                   302 DATURA STREET STE 100                          STE 316
                                   WEST PALM BEACH FL 33401                           PALM BEACH FL 33480



033730P001-1409A-265               030190P002-1409A-265                               008493P001-1409A-265              008432P001-1409A-265
SVS                                ALEXANDRA SWAIN                                    NANSEE SWAKED                     KATRINA SWANK
101 BULLITT LN                     ADDRESS INTENTIONALLY OMITTED                      5731 W 92ND AVE                   2777 CARNEGIE RD
STE 305                                                                               APT #105                          APT 204
LOUISVILLE KY 40222                                                                   WESTMINSTER CO 80031              YORK PA 17402




030486P001-1409A-265               009028P001-1409A-265                               036038P001-1409A-265              003918P001-1409A-265
LOUISE SWANK                       GRACE E SWANSON                                    KARLI A SWANSON                   LINDSEY G SWART
ADDRESS INTENTIONALLY OMITTED      1616 NE 50TH ST                                    6960 WEST 86TH PL                 1245 KINGSTON WAY
                                   SEATTLE WA 98105                                   CROWN POINT IN 46307              GARDNERVILLE NV 89460
                                           Case 19-10210-LSS   Doc Russe
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006989P001-1409A-265                        005152P001-1409A-265                        033731P001-1409A-265             001878P001-1409A-265
SHAWN R SWARTZ                              QUAVIA J SWEAT                              SWEDEN UNLIMITED LLC             MORGAN C SWEENEY
1650 PERRY HIGHWAY                          250 AMBERLEIGH DR APT110                    199 LAFAYETTE ST                 2113 CLEVELAND AVE
MERCER PA 16137                             WILMINGTON NC 28411                         STE 4A2                          APT 7
                                                                                        NEW YORK NY 10012                CHATTANOOGA TN 37404




036039P001-1409A-265                        001627P001-1409A-265                        001931P001-1409A-265             001590P001-1409A-265
MORGAN C SWEENEY                            RYAN P SWEENEY                              BROOKE M SWEETAPPLE              ROBERT C SWEIGERT
7700 GLEASON DR                             11433 WIDE VLY LN                           101 NORTH GORDON RD              259 SHETLAND DR
APT 34I                                     SAN DIEGO CA 92131                          FORT LAUDERDALE FL 33301         ST. JOHN'S FL 32259
KNOXVILLE TN 37919




004533P001-1409A-265                        007745P001-1409A-265                        037305P001-1409A-265             005169P001-1409A-265
MELISSA SWETLAND                            KIRA F SWIDZINSKI                           KIRA F SWIDZINSKI                RACHEL SWIERC
49 SUNSET LN                                22 HILARY DR                                CHRISTIAN W SWIDZINSKI           199 S HARLAN ST
VACAVILLE CA 95687                          BAYVILLE NY 11709                           22 HILARY DR                     YORK PA 17402
                                                                                        BAYVILLE NY 11709




005391P001-1409A-265                        008973P001-1409A-265                        036776P001-1409A-265             035174P001-1409A-265
AMIESHA SWINTON                             LUCIE V SWITALSKI                           SWITCH                           SWITCH COMMUNICATIONS GROUP LLC
8710 CAMERON ST UNIT 926                    5348 W FOREST TRL                           PO BOX 400850                    7135 S DECATUR BLVD
SILVER SPRING MD 20910                      OAK FOREST IL 60452                         LAS VEGAS NV 89140               LAS VEGAS NV 89118




032529P001-1409A-265                        034402P001-1409A-265                        004876P001-1409A-265             008009P001-1409A-265
SWITCH COMMUNICATIONS GROUP, LLC            SWITCH COMMUNICATIONS GROUP, LLC            MELEAH SWOOPES                   DERRIANNA SWOPES
MARY WINGATE                                PO BOX 400850                               509 WEST LAKESIDE DR             6552 W 91ST
PO BOX 400850                               LAS VEGAS NV 89140                          FLORENCE AL 35630                122
LAS VEGAS NV 89140                                                                                                       OVERLAND PARK KS 66212




032530P001-1409A-265                        004585P001-1409A-265                        002508P002-1409A-265             036688P001-1409A-265
SYDNEY J HARRISON CLERK OF CIRCUIT COURT    MARKITA L SYLVAIN                           CASSANDRA T SYLVESTRE            OLGA SYMAKOVA
14735 MAIN ST                               4040 W TWAIN AVE                            2100 BLOSSOM WAY S               RTT INC LAISVES AL 51A 317
UPPER MARLBORO MD 20772-9987                #137                                        SAINT PETERSBURG FL 33712-6016   KAUNAS LT 44309
                                            LAS VEGAS NV 89103




004218P001-1409A-265                        003146P001-1409A-265                        002608P001-1409A-265             035175P001-1409A-265
ELISABETH G SYME                            KERI L SYMONDS                              KIRA L SYMONDS                   SYMPHONY TALENT LLC
4000 39TH BLVD                              29 VICTORY ST                               29 VICTORY ST                    19 WEST 34TH ST STE 1000
212                                         CRANSTON RI 02910                           CRANSTON RI 02910                NEW YORK NY 10001
GAINESVILLE FL 32608
                           Case 19-10210-LSS   Doc Russe
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032531P001-1409A-265        034309P001-1409A-265                     010613P001-1409A-265                     035200P001-1409A-265
SYMPHONY TALENT, LLC        SYMPHONY TALENT, LLC                     SYNDICATE 2623/623 AT LLOYDS (BEAZLEY)   SYNDICATE 2623/623 AT LLOYDS BEAZLEY
DAVID ANGLIKOWSKI           630 FIFTH AVE                            1270 AVE OF THE AMERICAS                 175 BERKELEY ST
630 FIFTH AVE               STE 659                                  STE 1200                                 BOSTON MA 02116-5066
STE 659                     NEW YORK NY 10111                        NEW YORK NY 10020
NEW YORK NY 10111



032532P001-1409A-265        035176P001-1409A-265                     032533P001-1409A-265                     030679P002-1409A-265
SYNERGI PARTNERS INC        SYSREPUBLIC INC                          SYSREPUBLIC, INC                         ZSANETT SZABO
PO BOX 5599                 PO BOX 6393138                           JEANNE JOHNS                             ADDRESS INTENTIONALLY OMITTED
FLORENCE SC 29502-5599      CINCINNATI OH 45263                      21250 HAWTHORNE BLVD
                                                                     STE 310
                                                                     TORRANCE CA 90503



007410P001-1409A-265        009653P001-1409A-265                     036040P001-1409A-265                     037194P001-1409A-265
KATARZYNA J SZAJEWSKI       TAYLOR SZCZEPANIUK                       ISAIAH SZCZESNY                          ISAIAH SZCZESNY
3440 N OKETO AVE            116 PLEASANT RIDGE RD                    317 CASPER DR                            ISAIAH SZCZESNY
CHICAGO IL 60634            PITTSBURGH PA 15136                      SPARTANBURG SC 29307                     317 CASPER DR
                                                                                                              UNITED STATES
                                                                                                              SPARTANBURG SC 29307



004906P001-1409A-265        003406P001-1409A-265                     031112P001-1409A-265                     031595P001-1409A-265
MEGAN J SZESNAT             ABBEY M SZUMLOZ                          T BELLA                                  T EAGLE RIDGE FL, LLC
22 ALBRIGHT AVE             8775 RAULLI DR                           3222 E WASHINGTON BLVD                   AMY DITRAPANI
ALBANY NY 12203             CICERO NY 13039                          VERNON CA 90058                          451 EAGLE RIDGE DR
                                                                                                              LAKE WALES FL 33859




031113P002-1409A-265        036317P001-1409A-265                     033732P001-1409A-265                     004545P001-1409A-265
T TREND INC                 T TREND INC                              TA REALTY                                ARACELY TABLAS
SUNNY YUN                   750 E 14TH ST #110                       1301 DOVE ST                             303 47TH ST
750 E 14TH ST STE 110       LOS ANGELES CA 90021                     NEWPORT BEACH CA 92660                   G-3
LOS ANGELES CA 90021                                                                                          SAN DIEGO CA 92102




002456P001-1409A-265        031596P001-1409A-265                     034687P001-1409A-265                     001997P001-1409A-265
SAGE N TABOR                TACOMA MALL PARTNERSHIP                  TACOMA PUBLIC UTILITIES                  ABBY M TAFT
1315 N MERDIAN              PO BOX 775756                            CITY OF TACOMA                           8 HEIGHTS CT
WICHITA KS 67203            CHICAGO IL 60677-5756                    TACOMA PUBLIC UTILITIES                  BINGHAMTON NY 13905
                                                                     3628 S 35TH ST
                                                                     TACOMA WA 98409-3192



007123P001-1409A-265        030413P002-1409A-265                     000780P001-1409A-265                     001330P001-1409A-265
ZOEY A TAFT                 JOED TAGUE                               JOED V TAGUE                             SANNA TAHA
328 MATTHEWS RD             ADDRESS INTENTIONALLY OMITTED            7707 MARY CAROLYN ST                     3914 ASHWORTH PL
SPRINGBROOK TWP PA 18444                                             SAN ANTONIO TX 78240                     LAKELAND FL 33810-3802
                           Case 19-10210-LSS   Doc Russe
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001330S001-1409A-265        005785P001-1409A-265                             009304P001-1409A-265                        036584P001-1409A-265
SANNA TAHA                  ELIZABETH TAIT                                   PAOLA TAKAHASHIROSALES                      KARIE ANN TAKASUGI
KOBAL LAW                   4288 CHRISTOPER MICHAEL CT                       140 E BERKELEY ST                           99-108 PUAKAIA ST
12169 WEST LINEBAUGH AVE    TRACY CA 95377                                   GLADSTONE OR 97027                          AIEA HI 96701
TAMPA FL 33626




004782P001-1409A-265        002259P001-1409A-265                             006128P001-1409A-265                        034474P001-1409A-265
JOCELYN TALAVERAMONTIEL     KRISTINA S TALBERT                               MARAVIA TALFORD                             TALISMAN LV FASHION HOLD, LLC
9214 MALLISON AVE           7904 DUNHILL VLG APT 201                         6801 LEISURE TOWN RD                        PO BOX 845643
SOUTH GATE CA 90280         201                                              APT 63                                      LOS ANGELES CA 90084-5643
                            BALTIMORE MD 21244                               VACAVILLE CA 95688




004622P001-1409A-265        005044P002-1409A-265                             036041P001-1409A-265                        007970P001-1409A-265
MONTANA L TALMAGE           KATRYNA TALON                                    KATRYNA TALON                               JEANNETTE TAMAYO
2119 W 41ST ST              1108 12TH ST                                     2304 TAYLOR AVE                             250 KENNEDY ST 18
TULSA OK 74107              BELLINGHAM WA 98225-6650                         BELLINGHAM WA 98225                         CHULA VISTA CA 91911




003541P001-1409A-265        006300P001-1409A-265                             004193P001-1409A-265                        002319P001-1409A-265
DANIELLE S TAN              ABIGAIL S TANDOH                                 LYNDA TANEKEU                               CYNTHIA TANELUS
5912 CASTANA AVE            1444 VLG LN                                      19125 CHERRY BEND DR                        5413 21 ST PL SW
LAKEWOOD CA 90712           101                                              GERMANTOWN MD 20874                         NAPLES FL 34116
                            YPSILANTI MI 48198




010295P001-1409A-265        000578P001-1409A-265                             030422P001-1409A-265                        001058P001-1409A-265
TANEY COUNTY COLLECTOR      KAIYAH TANFORAN                                  JUSTIN TANG                                 JUSTIN G TANG
SHEILA L WYATT              1488 RED RIBBONS LN                              ADDRESS INTENTIONALLY OMITTED               2678 MARSH DR
PO BOX 278                  MANTECA CA 95337                                                                             SAN RAMON CA 94583
FORSYTH MO 65653




034841P001-1409A-265        034843P001-1409A-265                             034949P001-1409A-265                        035000P001-1409A-265
TANGER                      TANGER                                           TANGER                                      TANGER
TANGER SAN MARC LLC         TANGER PROPERTIES LIMITED PARTNERSHIP            TANGER PROPERTIES LIMITED PARTNERSHIP AND   DEER PARK ENTERPRISE LLC
3200 NORTHLINE AVE          3200 NORTHLINE AVE                               COROC/RIVIERA LLC                           TANGER OUTLET CENTERS
STE 360                     STE 360                                          3200 NORTHLINE AVE                          3200 NORTHLINE AVE
GREENSBORO NC 27408         GREENSBORO NC 27408                              GREENSBORO NC 27408                         STE 360
                                                                                                                         GREENSBORO NC 27408


035001P001-1409A-265        035020P001-1409A-265                             035045P001-1409A-265                        030039P001-1409A-265
TANGER                      TANGER                                           TANGER                                      TANGER (LANDLORD)
OUTLETS AT WESTGATE LLC     TANGER NATIONAL HABOUR LLC                       MID-SOUTH OUTLET SHOPS LLC                  TANGER SAN MARC LLC
TANGER OUTLET CENTERS       3200 NORTHLINE AVE                               TANGER PROPERTIES LIMITED PARTNERSHIP       LEGAL DEPT
3200 NORTHLINE AVE          STE 360                                          3200 NORTHLINE AVE                          3200 NORTHLINE AVE STE 360
STE 360                     GREENSBORO NC 27408                              STE 360                                     GREENSBORO NC 27408
GREENSBORO NC 27408                                                          GREENSBORO NC 27408
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030039S001-1409A-265                     030040P001-1409A-265                             030041P001-1409A-265                          030042P001-1409A-265
TANGER (LANDLORD)                        TANGER (LANDLORD)                                TANGER (LANDLORD)                             TANGER (LANDLORD)
TANGER MANAGEMENT, LLC                   TANGER PROPERTIES LIMITED PARTNERSHIP            TANGER PROPERTIES LIMITED PARTNERSHIP AND     ATLANTIC CITY ASSOCIATES NUMBER THREE LLC
OPERATIONS                               LEGAL DEPT                                       COROCRIVIERA LLC                              TANGER MANAGEMENT LLC
3200 NORTHLINE AVE STE 360               3200 NORTHLINE AVE STE 360                       LEGAL DEPARTMENT                              LEGAL DEPARTMENT
GREENSBORO NC 27408                      GREENSBORO NC 27408                              3200 NORTHLINE AVE                            3200 NORTHLINE AVE STE 360
                                                                                          GREENSBORO NC 27408                           GREENSBORO NC 27408


030043P001-1409A-265                     030043S001-1409A-265                             030043S002-1409A-265                          030044P001-1409A-265
TANGER (LANDLORD)                        TANGER (LANDLORD)                                TANGER (LANDLORD)                             TANGER (LANDLORD)
DEER PARK ENTERPRISE LLC                 DPSW DEER PARK, LLC                              BDG DEER PARK ASSOCIATES, LLC                 OUTLETS AT WESTGATE LLC
TANGER OUTLET CENTERS                    RICHARD MACK                                     BLUMENFELD DEVELOPMENT GROUP LTD              TANGER OUTLET CENTERS
LEGAL DEPARTMENT                         APOLLO REAL ESTATE ADVISOR 60 COLUMBUS CIR       DAVID BLUMENFELD                              REAL ESTATE LEGAL DEPARTMENT
3200 NORTHLINE AVE STE 360               20TH FL                                          300 ROBBINS LN                                3200 NORTHLINE AVE STE 360
GREENSBORO NC 27408                      NEW YORK NY 10023                                SYOSSET NY 11791                              GREENSBORO NC 27408


030045P001-1409A-265                     030046P001-1409A-265                             030047P001-1409A-265                          030048P001-1409A-265
TANGER (LANDLORD)                        TANGER (LANDLORD)                                TANGER (LANDLORD)                             TANGER (LANDLORD)
TANGER NATIONAL HABOUR LLC               FASHION OUTLETS AT FOXWOODS LLC                  OCEAN CITY FACTORY OUTLETS I LC               OUTLET MALL OF SAVANNAH LLC
LEGAL DEPT                               TANGER PROPERTIES LIMITED PARTNERSHIP            TANGER PROPERTIES LIMITED PARTNERSHIP         TANGER OUTLET CENTERS
3200 NORTHLINE AVE STE 360               LEGAL DEPARTMENT                                 LEGAL DEPARTMENT                              REAL ESTATE LEGAL DEPARTMENT
GREENSBORO NC 27408                      3200 NORTHLINE AVE STE 360                       3200 NORTHLINE AVE STE 360                    3200 NORTHLINE AVE STE 360
                                         GREENSBORO NC 27408                              GREENSBORO NC 27408                           GREENSBORO NC 27408


030049P001-1409A-265                     030050P001-1409A-265                             036780P001-1409A-265                          031597P001-1409A-265
TANGER (LANDLORD)                        TANGER (LANDLORD)                                TANGER FORT WORTH LLC                         TANGER FORT WORTH, LLC
MIDSOUTH OUTLET SHOPS LLC                TANGER FORT WORTH LLC                            3200 NORTHLINE AVE STE 360                    TANGER PROPERTIES LIMITED PART
TANGER PROPERTIES LIMITED PARTNERSHIP    TANGER MANAGEMENT LLC                            GREENSBORO NC 27408                           3200 NORTHLINE AVE
LEGAL DEPARTMENT                         LEGAL DEPARTMENT                                                                               STE 360
3200 NORTHLINE AVE STE 360               3200 NORTHLINE AVE STE 360                                                                     GREENSBORO NC 27408
GREENSBORO NC 27408                      GREENSBORO NC 27408


031598P001-1409A-265                     031599P001-1409A-265                             031600P001-1409A-265                          036781P001-1409A-265
TANGER NATIONAL HARBOR LLC               TANGER OUTLETS DEER PARK LLC                     TANGER PROP LP FOXWOODS LIMITED PARTNERSHIP   TANGER PROP LP FOXWOODS
3200 NORTHLINE AVE                       TANGER PROPERTIES LIMITED PART                   FASHION OUTLETS AT FOXWOODLLC                 FASHION OUTLETS AT FOXWOOD LLC
STE 360                                  3200 NORTHLINE AVE                               TANGER MANAGEMENTLLC                          TANGER MANAGEMENT LLC
GREENSBORO NC 27408                      STE 360                                          3200 NORTHLINE AVE STE 360                    3200 NORTHLINE AVE STE 360
                                         GREENSBORO NC 27408                              GREENSBORO NC 27408                           GREENSBORO NC 27408



031601P001-1409A-265                     036782P001-1409A-265                             036783P001-1409A-265                          034244P002-1409A-265
TANGER PROPERTIES LIMITED                TANGER PROPERTIES LIMITED                        TANGER PROPERTIES LIMITED                     TANGER PROPERTIES LIMITED PARTNER
PO BOX 414225                            3200 NORTHLINE AVE STE 360                       3200 NORTHLINE AVE STE 360                    LEIGH M BOYER
BOSTON MA 02241-4225                     GREENBORO NC 27408                               GREENSBORO NC 27408                           3200 NORTHLINE AVE
                                                                                                                                        STE 360
                                                                                                                                        GREENSBORO NC 27408



034246P001-1409A-265                     034247P001-1409A-265                             034248P001-1409A-265                          034249P001-1409A-265
TANGER PROPERTIES LIMITED PARTNER        TANGER PROPERTIES LIMITED PARTNERSHIP            TANGER PROPERTIES LIMITED PARTNERSHIP         TANGER PROPERTIES LIMITED PARTNERSHIP
I LC TANGER PROPERTIES                   3200 NORTHLINE AVE STE 360                       3200 NORTHLINE AVE STE 360                    FASHION OUTLETS AT FOXWOODLLC
LIMITED PARTNERSHIP                      GREENSBORO NC 27408                              GREENBORO NC 27408                            TANGER MANAGEMENTLLC
3200 NORTHLINE AVE STE 360                                                                                                              3200 NORTHLINE AVE STE 360
ATTN: LEGAL DEPARTMENT                                                                                                                  GREENSBORO NC 27408
GREENBORO NC 27408
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034407P001-1409A-265                     031602P001-1409A-265                031603P001-1409A-265              005490P001-1409A-265
TANGER PROPERTIES LIMITED PARTNERSHIP    TANGER PROPERTIES LP                TANGER PROPERTIES LTD PRTNSHP     DENNICKA GAIL C TANGLAO
PO BOX 414225                            PO BOX 414225                       PO BOX 414225                     29 PERITA DR
BOSTON MA 02241-4225                     BOSTON MA 02241-4225                BOSTON MA 02241-4225              DALY CITY CA 94015




032534P001-1409A-265                     034422P001-1409A-265                035177P002-1409A-265              007699P001-1409A-265
TANGO ANALYTICS LLC                      TANGO ANALYTICS LLC                 TANGO ANALYTICS LLC               HARVEST L TANIGUCHI
DEE DEE GAGE                             PO BOX 734054                       9797 ROMBAUER RD #450             3100 JANE PL NE
PO BOX 734054                            DALLAS TX 75373-4054                COPPELL TX 75019-5173             B201
DALLAS TX 75373-4054                                                                                           ALBUQUERQUE NM 87111




031114P002-1409A-265                     005102P001-1409A-265                030474P001-1409A-265              001285P001-1409A-265
TANK STREAM DESIGN INC                   ALLIE R TANKEL                      LEALA TANNER                      LEALA E TANNER
BRYAN H KELLY                            9 LAMANCHA WAY                      ADDRESS INTENTIONALLY OMITTED     888 O'FARRELL ST #311
19571 PAULING                            ANDOVER MA 01810                                                      SAN FRANCISCO CA 94109
FOOTHILL RANCH CA 92610




007719P001-1409A-265                     005924P001-1409A-265                006269P001-1409A-265              003197P001-1409A-265
RACHEL D TANNER                          SATYAPRIYA TANUGULA                 IRIS K TAORMINA                   HEMIMA TAPIA ROSALES
808 ASHWOOD CT                           960 LIVE OAK DR                     2636 GALACTIC HALO AVE            5345 E 106TH ST
808 ASHWOOD CO                           SANTA CLARA CA 95051                HENDERSON NV 89044                INDIANAPOLIS IN 46280
ORANGE PARK FL 32065




008680P001-1409A-265                     004804P001-1409A-265                001565P001-1409A-265              030410P001-1409A-265
DALISHA L TAPIA VIZCARRONDO              GLORIA M TAPIA                      JANNIFER A TAPIA                  JOCELYN TAPIA
ST 3 BB17 URB EL CORTIJO                 322 CONSUELO                        1713 EL CENTRO AVE                ADDRESS INTENTIONALLY OMITTED
BAYAMON PR 00956                         SAN ANTONIO TX 78228                SEELEY CA 92273




002969P001-1409A-265                     008856P001-1409A-265                036042P001-1409A-265              007701P001-1409A-265
JOYCELYN TAPIA                           MIRIAM Y TAPIA                      ROSALES HEMIMA TAPIA              SHAYLEE J TAPIAMONTOYA
3977 HAHN AVE                            3225 HARBOR ST                      5345 E 106TH ST                   5405 VIERRA AVE SW
BETHPAGE NY 11714                        6A                                  INDIANAPOLIS IN 46280             ALBUQUERQUE NM 87105
                                         PITTSBURG CA 94565




004241P001-1409A-265                     004039P001-1409A-265                005298P001-1409A-265              002959P001-1409A-265
GISELLE M TARANGO                        JULIANNA V TARASYUK                 KARA N TARBERT                    AISHA TARIN
1345 E ORANGE GROVE AVE                  10215 NE 5TH ST                     3780 DAVIS CORNER RD              1805 KAGEHIRO DR
GLENDALE CA 91205                        VANCOUVER WA 98664                  STREET MD 21154                   TRACY CA 95376
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006485P001-1409A-265              009001P001-1409A-265                      008859P001-1409A-265             033378P001-1409A-265
MARIA TARIN                       VALERIA TARIN                             KATLYN TAS                       ANASTASIYA TASHAYEVA
12400 CYPRESS AVE #45             3428 W MAIN ST                            1 WESTBROOK DR                   333 KELLOGG WAY
CHINO CA 91710                    APT 8                                     APT L201                         SANTA CLARA CA 95051
                                  KALAMAZOO MI 49006                        SWEDESBORO NJ 08085




033713P001-1409A-265              009248P001-1409A-265                      036456P002-1409A-265             036474P001-1409A-265
ROBIN TASHIMA                     SELENA M TASLI                            CRYSTAL TATE                     DESTINEE B TATE
2437 PERALTA ST                   362 DECATOR AVE                           208 CANAL ST                     1326 MOORES CT
STE C                             SHIRLEY NY 11967                          JEANERETTE LA 70544-3609         BRENTWOOD TN 37027
OAKLAND CA 94607




007638P001-1409A-265              008854P001-1409A-265                      000670P001-1409A-265             037883P002-1409A-265
EMARI V TATE                      TIARA V TATE                              LASTASHA T TATUM                 TATYANA SIBIO
20703 CRYSTAL HILL CIR            4767 CR 76                                3517 STATLER DR                  37 DEWITT TER
APT O                             TYLER TX 75708                            MESQUITE TX 75150                COLONIA NJ 07067
GERMANTOWN MD 20874




005515P001-1409A-265              034753P001-1409A-265                      034765P001-1409A-265             034876P001-1409A-265
DANIKA C TAUB                     TAUBMAN                                   TAUBMAN                          TAUBMAN
2912 HUNTER ST                    SUNVALLEY                                 DOLPHIN MALL ASSOCIATES LLC      200 EAST LONG LAKE RD
SHARPSVILLE PA 16150              200 EAST LONG LAKE RD                     200 EAST LONG LAKE RD            STE 300
                                  Suite 300                                 STE 300                          BLOOMFIELD HILLS MI 48304-2324
                                  Bloomfield Hills MI 48304-2324            BLOOMFIELD HILLS MI 48304-2324



034896P001-1409A-265              036874P001-1409A-265                      030051P001-1409A-265             030052P001-1409A-265
TAUBMAN                           TAUBMAN                                   TAUBMAN (LANDLORD)               TAUBMAN (LANDLORD)
TWELVE OAKS MALL LLC              DOLPHIN MALL ASSOCIATES LLC               SUNVALLEY                        DOLPHIN MALL ASSOCIATES LLC
200 EAST LONG LAKE RD             LEASE ADMINISTRATION                      200 EAST LONG LAKE RD STE 300    LEASE ADMINISTRATION
STE 300                           200 EAST LONG LAKE RD STE 300             BLOOMFIELD HILLS MI 48304-2324   200 EAST LONG LAKE RD STE 300
BLOOMFIELD HILLS MI 48304-2324    BLOOMFIELD HILLS MI 48304-2324                                             BLOOMFIELD HILLS MI 48304-2324



030053P001-1409A-265              030054P001-1409A-265                      030055P001-1409A-265             000858P001-1409A-265
TAUBMAN (LANDLORD)                TAUBMAN (LANDLORD)                        TAUBMAN (LANDLORD)               KAREN L TAVARES
TAUBMAN                           TWELVE OAKS MALL LLC                      TB MALL AT UTC LLC               58 THURBER AVE
200 EAST LONG LAKE RD STE 300     LEASE ADMINISTRATION                      LEASE ADMINISTRATION             SOMERSET MA 02725
BLOOMFIELD HILLS MI 48304-2324    200 EAST LONG LAKE RD STE 300             200 EAST LONG LAKE RD STE 300
                                  BLOOMFIELD HILLS MI 48304-2324            BLOOMFIELD HILLS MI 48304-2324



009307P001-1409A-265              003719P001-1409A-265                      003206P001-1409A-265             006473P001-1409A-265
ANA TAVERAS                       JESSIE TAVERAS                            SCHAEMARIE H TAVITA              KALEY N TAWADROS
45 BROADWAY APT 4M                56 HAMPSTEAD ST                           99830 NAHIOLEA ST                3706 E NORTH ST APT
FREEPORT NY 11520-2850            METHUEN MA 01844                          HALAWA HEIGHTS HI 96701          D6
                                                                                                             GREENVILLE SC 29615
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008671P001-1409A-265             010589P001-1409A-265                    010509P001-1409A-265             009906P001-1409A-265
NARDINE TAWADROS                 TAX ASSESSOR - COLLECTOR                TAX ASSESSOR/COLLECTOR           TAX COLLECTOR
4180 MCCLOSKEY CT                PO BOX 961018                           PO BOX 2992                      TOWN OF WATERFORD
CHANTILLY VA 20151               FORT WORTH TX 76161-0018                EL PASO TX 79999-2992            15 ROPE FERRY RD
                                                                                                          WATERFORD CT 06385-2886




010434P001-1409A-265             010467P001-1409A-265                    010339P001-1409A-265             010515P001-1409A-265
TAX COLLECTOR                    TAX COLLECTOR                           TAX COLLETOR, CITY OF STAMFORD   TAX COLLETOR,PINELLAS COUNTY
PALM BEACH COUNTY                CITY OF WATERBURY                       PO BOX 50                        PO BOX 31149
PO BOX 3353                      PO BOX 1560                             STAMFORD CT 06904-0050           TAMPA FL 33631-3149
WEST PALM BEACH FL 33402-3353    HARTFORD CT 06144-1560




010395P001-1409A-265             032535P002-1409A-265                    010573P001-1409A-265             010277P001-1409A-265
TAX COMMISSION                   TAX COMPLIANCE INC                      TAX TRUST ACCT                   TAXATION AND REVENUE DEPR
PO BOX 960                       15500 EVENING CREEK DR N                RDS                              PO BOX 25128
JACKSON MS 39205                 STE 500                                 BUSINESS LICENSE DEPT            SANTA FE NM 87504-5128
                                 SAN DIEGO CA 92128-8125                 PO BOX 830900
                                                                         BIRMINGHAM AL 35283-0900



009768P001-1409A-265             010210P001-1409A-265                    032536P001-1409A-265             034154P001-1409A-265
TAXATION AND REVENUE DEPT        TAXATION AND REVENUE DEPT               TAXFREE SHOPPING, LTD            TAXFREE SHOPPING, LTD
PO BOX 25127                     PO BOX 123                              COLIN LIGHT                      1512 CRESCENT DR
SANTA FE NM 87504-5127           MONROE LA 71210                         1512 CRESCENT DR                 STE 100
                                                                         STE 100                          CARROLLTON TX 75006
                                                                         CARROLLTON TX 75006



033308P001-1409A-265             037929P001-1409A-265                    030180P002-1409A-265             007519P001-1409A-265
TAXWARE LLC                      TAYLOR NICOLE CANIPE                    AJA TAYLOR                       ALEXIS TAYLOR
KELLY SULLIVAN                   1478 SMITH FARM RD                      ADDRESS INTENTIONALLY OMITTED    5048 OAK LEAF DR
200 BALLARDVALE RD               LINCOLNTON NC 28092                                                      JACKSON MS 39212
4TH FLOOR
WILMINGTON MA 01887



007119P001-1409A-265             005056P001-1409A-265                    001593P001-1409A-265             009390P001-1409A-265
ASHLYE TAYLOR                    ASYEN N TAYLOR                          CATIE M TAYLOR                   DEANNA TAYLOR
4908 18TH ST E                   1805 ANNALEE DR                         2409 FOXFIELD DR                 188 ARLINGTON AVE
BRADENTON FL 34203               ANTIOCH TN 37013                        GLENSHAW PA 15116                PATERSON NJ 07502




008242P001-1409A-265             003103P003-1409A-265                    002082P001-1409A-265             003151P001-1409A-265
DEZIREE TAYLOR                   ELLEASA TAYLOR                          JASMINE R TAYLOR                 JEVONNE J TAYLOR
1717 CANDEE ST                   9605 HIGH FALLS LANE APT 102            702 CAPRI ST                     7701 W SAINT JOHN RD
GEORGETOWN TX 78626              CHARLOTTE NC 28262-1140                 MONTGOMERY AL 36105-1512         1025
                                                                                                          GLENDALE AZ 85308
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009199P001-1409A-265           003603P001-1409A-265                         009428P001-1409A-265             004550P001-1409A-265
KYMIYA M TAYLOR                MADESTINI Q TAYLOR                           MAYA TAYLOR                      MESHARRA J TAYLOR
1600 EAST WASHINGTON BLVD      2636 HOWARD ST                               1280 DEL MAR CLUB                882 MILES LN
OROPEZA 101                    LAKE STATION IN 46405                        DECULA GA 30019                  DOTHAN AL 36303
FORT WAYNE IN 46803




007774P001-1409A-265           005673P001-1409A-265                         000903P001-1409A-265             002233P001-1409A-265
NAJIRE TAYLOR                  RAVEEN TAYLOR                                SHEILA F TAYLOR                  TATYANA L TAYLOR
270 W STEUBEN ST               3495 PROMENADE PL                            2517 43RD AVE                    1000 MCDONALD WAY
PITTSBURGH PA 15205            APT 123                                      TUSCALOOSA AL 35401-6258         #4
                               WALDORF MD 20603                                                              BAKERSFIELD CA 93309




009562P001-1409A-265           003721P001-1409A-265                         000800P001-1409A-265             004816P001-1409A-265
TAWANDA TAYLOR                 TIANNA J TAYLOR                              YVONNE L TAYLOR                  JASMINE C TAYLORJONES
449 SOUTH CAROLINE             3967 N WEST AVE                              2129 CRESTMONT ST                3 SCOTT ST
DAYTONA BEACH FL 32114         FRESNO CA 93705                              NORMAN OK 73069                  NORWALK CT 06851




000700P001-1409A-265           034185P002-1409A-265                         031604P001-1409A-265             034213P001-1409A-265
CAMILLE M TAZEL                TB MALL AT UTC LLC                           TBB ORLANDO LLC                  TBB ORLANDO LLC
2435 49TH ST NE                ANDREW S CONWAY                              409 SILVERSIDE RD STE 105        2070 SAM RITTENBERG BLVD
CANTON OH 44705                THE TAUBMAN COMPANY                          WILMINGTON DE 19809              CHARLESTON SC 29407
                               200 E LONG LAKE RD STE 300
                               BLOOMFIELD HILLS MI 48304-2324



035178P001-1409A-265           034319P001-1409A-265                         009481P001-1409A-265             004988P001-1409A-265
TCI LEASING                    TEACHERS INSURANCE AND ANNUITY AS            KATAVIA A TEACHEY                SABRINA TEAGER
4950 TRIGGS ST                 730 THIRD AVE                                3200 VENUS DR                    2516 S SYCAMORE AVE
COMMERCE CA 90022              NEW YORK NY 10017                            DURHAM NC 27703                  LOS ANGELES CA 90016




008330P001-1409A-265           035367P001-1409A-265                         001968P001-1409A-265             008276P001-1409A-265
SYMPHANY TEAGUE                TRACI TEAL                                   DEMETRIAS C TEAL                 MIYANA K TEASLEY
4045 GEORGE BUSBEE PKWY NW     1803 BARKER CIR                              4901 KINSEY DR                   6530 W DENNY CT
13202                          WESTCHESTER PA 19380                         APT 2322                         CHESTERFIELD VA 23832
KENNESAW GA 30144                                                           TYLER TX 75703-3040




033302P001-1409A-265           033372P001-1409A-265                         032537P002-1409A-265             036785P001-1409A-265
TECH SVC TODAY LLC             TECHNICOLOR GLOBAL LOGISTICS L               TECHNOLOGENT                     TECHNOLOGENT
CRAIG KNOWLES                  TECHNICOLOR GLOBAL LOGISTICS LLC             AKA THOMAS GALLAWAY CORP         CALIFORNIA UNITED BANK
1901 S CONGRESS AVE STE 400    JOE SLAMONS                                  JAMES KUAN                       15821 VENTURA BLVD STE 100
BOYNTON BEACH FL 33426         3223 E MISSION OAKS BLVD                     100 SPECTRUM CENTER DR STE 700   ENCINO CA 91436
                               CAMARILLO CA 93012                           IRVINE CA 92618
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033733P001-1409A-265              033734P001-1409A-265                 032538P001-1409A-265             035179P001-1409A-265
TECHNOMEDIA                       TECHNOMEDIA HODES IQ                 TECHNOVERT SOLUTIONS INC         TECHNOVERT SOLUTIONS INC
1756 FLOWER ST                    1756 FLOWER ST                       PRERNA PUNDI                     DBA SAKETA
GLENDALE CA 91201                 GLENDALE CA 91201                    2211 ELLIOTT AVE                 2211 ELLIOTT AVE STE 200
                                                                       STE 200                          SEATTLE WA 98121
                                                                       SEATTLE WA 98121



033140P001-1409A-265              033140S001-1409A-265                 010452P001-1409A-265             010337P001-1409A-265
TECO                              TECO                                 JOE G TEDDER                     THOMAS W TEDDERS JR
PO BOX 2562                       702 NORTH FRANKLIN STREET            POLK COUNTY TAX COLLECTOR        CITY-COUNTY TAX COMMISSIONER
TAMPA FL 33601                    TAMPA FL 33602                       PO BOX 1189 430 E MAIN ST        PO BOX 4724
                                                                       BARTOW FL 33831-1189             MACON GA 31208-4724




007600P001-1409A-265              033735P002-1409A-265                 006053P001-1409A-265             001149P001-1409A-265
STEPHANIE TEEMS                   TEENPLO CLOTHING                     MILLENA V TEIXEIRA               ALBELIS D TEJADA
9111 SILVER VISTA                 3500 S SAN PEDRO ST                  15 JULIAN LN                     33 CROYLAND RD
SAN ANTONIO TX 78254              LOS ANGELES CA 90011-2439            MILFORD MA 01757                 2
                                                                                                        PROVIDENCE RI 02905-2101




001421P001-1409A-265              037059P001-1409A-265                 006356P001-1409A-265             007925P001-1409A-265
BRITNEY B TEJADA                  BRITNEY BEATRICE TEJADA              CRYSTAL TEJADA                   JESSICA A TEJADA
4309 URBANA DR                    4309 URBANA DR                       3633 CLIFTON RD                  1391 S ELDER LN
FORT SMITH AR 72904               FORT SMITH AR 72904                  UNIT B                           WAUKEGAN IL 60085
                                                                       GREENSBORO NC 27407




009353P001-1409A-265              033736P001-1409A-265                 033737P001-1409A-265             033263P001-1409A-265
STEPHEN N TEJEDA                  TEJON INDUSTRIAL CORP                TEKSERVE POS LLC                 TEKWORKS INC
2304 TOWER DR                     4436 LEBEC RD                        2495 PEMBROKE AVE                TEKWORKS
GEORGETOWN TX 78626               LEBEC CA 93243                       HOFFMAN ESTATES IL 60169         13000 GREGG ST
                                                                                                        STE B
                                                                                                        POWAY CA 92064



033504P001-1409A-265              032539P001-1409A-265                 005897P001-1409A-265             000767P001-1409A-265
TELECHECK                         TELEPROVIDERS, INC                   JENNIFER S TELLEZ VERA           MARISOL TELLEZ
PO BOX 60028                      DONNA KRUSE                          406 OAKLAWN AVE                  520 W PHILLIPS ST
CITY OF INDUSTRY CA 91716-0028    23461 SOUTHPOINTE DR                 APT H                            ONTARIO CA 91762
                                  STE 185                              CHULA VISTA CA 91910
                                  LAGUNA HILLS CA 92653



036043P001-1409A-265              004771P001-1409A-265                 036925P001-1409A-265             036925S001-1409A-265
VERA JENNIFER S TELLEZ            BRIANNA TELLY                        TEMECULA TOWN CENTER ASSOC LLP   TEMECULA TOWN CENTER ASSOC LLP
406 OAKLAWN AVE                   145 ROBERT AVE APT 116               QIC PROPERTIES US INC            KELLEY DRYE AND WARREN LLP
APT H                             RIPON CA 95366                       JOAN GLENN-KATZAKIS              ROBERT L LEHANE
CHULA VISTA CA 91910                                                   600 SUPERIOR AVE EAST STE 1500   101 PARK AVE
                                                                       CLEVELAND OH 44114               NEW YORK NY 10178
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031605P001-1409A-265                    004180P001-1409A-265                            006629P001-1409A-265                032540P001-1409A-265
TEMECULA TOWNE CENTER ASSOCIATES LLC    UNIQUE TEMPLE                                   KAMRYN L TENBUSH                    TENNANT SALES AND SVC CO
600 SUPERIOR AVE EAST                   12214 W TONTO ST                                788 NE EDGEHILL DR                  PO BOX 71414
STE 1500                                AVONDALE AZ 85323                               ESTACADA OR 97023                   CHICAGO IL 60694-1414
CLEVELAND OH 44114




000348P001-1409A-265                    000400P001-1409A-265                            000087P001-1409A-265                000232P001-1409A-265
TENNESSEE ATTORNEY GENERAL              TENNESSEE ATTORNEY GENERAL                      TENNESSEE DEPT OF ENVIRONMENT AND   TENNESSEE DEPT OF LABOR
HERBERT H SLATERY III                   CONSUMER PROTECTION                             CONSERVATION                        COMMISSIONER
PO BOX 20207                            500 JAMES ROBERTSON PKWY                        BOB MARTINEAU                       220 FRENCH LANDING DR
NASHVILLE TN 37202-0207                 5TH FL                                          312 ROSA L PARKS AVE                NASHVILLE TN 37243
                                        NASHVILLE TN 37243-0600                         NASHVILLE TN 37243



000161P001-1409A-265                    009777P001-1409A-265                            000452P001-1409A-265                010131P001-1409A-265
TENNESSEE DEPT OF REVENUE               TENNESSEE DEPT OF REVENUE                       TENNESSEE DEPT OF TREASURY          TENNESSEE DEPT OFREVENUE
ANDREW JACKSON BLDG                     ANDREW JACKSON STATE OFFICE BUILDING            UNCLAIMED PROPERTY DIVISION         ANDREWJACKSON STATE OFFICEBLDG
500 DEADRICK ST                         500 DEADERICK ST                                502 DEADERICK ST                    500 DEADERICK ST 6TH FL
NASHVILLE TN 37242                      NASHVILLE TN 37242                              NASHVILLE TN 37243-0203             NASHVILLE TN 37242-0700




032541P001-1409A-265                    008170P001-1409A-265                            036044P001-1409A-265                033306P001-1409A-265
TENNESSEE SECRETARY OF STATE            DONYELL I TENSON                                ANA M TEO-SALVADOR                  TEOGAS INC
312 EIGHTH AVENORTH6TH FL               117 CHERRY ST                                   3627 BARCROFT VIEW TER APT          THINKASG
WILLIAM R SNODGRASS TOWER               TINTON FALLS NJ 07724                           FALLS CHURCH VA 22041               CINDY HILL
NASHVILLE TN 37243                                                                                                          2 SOUTH POINTE DR
                                                                                                                            STE 125
                                                                                                                            LAKE FOREST CA 92630


001909P001-1409A-265                    003332P001-1409A-265                            033264P001-1409A-265                036318P001-1409A-265
ANA M TEOSALVADOR                       KAITLIN M TERCEIRA                              TERESA MARINO                       TERI LINGERIE CO LLC
6085 ARGYLE DR                          48 DELMAGE RD                                   1304 W 2ND ST 460                   3261 NW YEON AVE
5                                       SWANSEA MA 02777                                LOS ANGELES CA 90026                PORTLAND OR 97210
FALLS CHURCH VA 22041




031115P002-1409A-265                    005674P001-1409A-265                            032542P001-1409A-265                033482P001-1409A-265
TERI LINGERIE CO LLC                    SUBHIYAH TERMEH                                 TERMINIX INTERNATIONAL              TERMINIX INTERNATIONAL CO LP
LISA COLELLO                            310 VICTORIA STATION BLVD                       PO BOX 742592                       TERMINIX NATIONAL ACCOUNTS
3261 NW YEON AVE                        LAWRENCEVILLE GA 30043                          CINCINNATI OH 45274-2592            SHEILA VELASQUEZ
PORTLAND OR 97210                                                                                                           MAIL DROP # A4-1075
                                                                                                                            PO BOX 17167
                                                                                                                            MEMPHIS TN 38187


034385P001-1409A-265                    032543P001-1409A-265                            036786P001-1409A-265                033738P001-1409A-265
TERMINIX INTERNATIONAL CO LP            TERMINIX NATIONAL ACCOUNTS                      TERMINIX NATIONAL ACCOUNTS          TERRANOMICS RETAIL SVC
MAIL DROP # A4-1075                     TERMINIX INTERNATIONAL CO LP                    MAIL DROP # A4                      300 SANTANA ROW
PO BOX 17167                            SHEILA VELASQUEZ                                1075 PO BOX 17167                   5TH FLOOR
MEMPHIS TN 38187                        MAIL DROP # A4-1075                             MEMPHIS TN 38187                    SAN JOSE CA 95128
                                        PO BOX 17167
                                        MEMPHIS TN 38187
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003240P001-1409A-265                    032516P001-1409A-265                            035260P001-1409A-265                   004267P001-1409A-265
AMANDA K TERRANOVA                      STEVEN TERREBONNE                               STEVEN TERREBONNE                      ASIA A TERRELL
3612 S HOCKER AVE                       119 VIRGINIA HILLS DR # 2                       3656 E 1ST ST #11                      7623 CARLTON ARMS BLVD
INDEPENDENCE MO 64055                   MARTINEZ CA 94553                               LONG BEACH CA 90803                    WINTER HAVEN FL 33884




006414P001-1409A-265                    002563P001-1409A-265                            008230P001-1409A-265                   006270P001-1409A-265
KAYLEN TERRELL                          KIANNA S TERRELL                                TKEYAH T TERRENCE                      SOFIA TERRILE
728 15TH ST N                           2710 OAK ST                                     840 B NORTH VIRGINIA                   5800 OWENSMOUTH AVE
BESSEMER AL 35020                       APT 603                                         ATLANTIC CITY NJ 08401                 UNIT 9
                                        ALTOONA PA 16601                                                                       WOODLAND HILLS CA 91367




032544P001-1409A-265                    001240P001-1409A-265                            030574P001-1409A-265                   005214P001-1409A-265
TERRY'S TESTING INC                     CAROLYN TERRY                                   ROBIN M TERRY                          SAMANTHA N TERRY
16280 CANON LN                          4551 KIPLING ST APT 46                          ADDRESS INTENTIONALLY OMITTED          602 PILLOW AVE
CHINO HILLS CA 91709                    WHEAT RIDGE CO 80033-2835                                                              CHESWICK PA 15024




006355P001-1409A-265                    002727P001-1409A-265                            001065P001-1409A-265                   010012P001-1409A-265
SAMANTHA N TERRY                        SHALANTA M TERRY                                AMBER N TESORIERO                      JOSEPH W TESTA
287 ALEXANDRIA DR                       558 BARLOW DR                                   56 BEECH DR                            373 SOUTH HIGH ST 21ST FLR
HACKETTSTOWN NJ 07840                   PORTSMOUTH VA 23707                             OSWEGO NY 13126                        COLUMBUS OH 43215-6310




032545P001-1409A-265                    000349P001-1409A-265                            000401P001-1409A-265                   000088P001-1409A-265
TEVORA BUSINESS SOLUTIONS, INC          TEXAS ATTORNEY GENERAL                          TEXAS ATTORNEY GENERAL                 TEXAS COMMISSION OF ENVIRONMENTAL QUALITY
MATT STEVENS                            KEN PAXTON                                      CONSUMER PROTECTION                    PO BOX 13087
1 SPECTRUM POINTE DR                    300 W 15TH ST                                   300 W 15TH ST                          MAIL CODE - TCEQ
STE 200                                 AUSTIN TX 78701                                 9TH FL                                 AUSTIN TX 78711-3087
LAKE FOREST CA 92630                                                                    AUSTIN TX 78711-2548



009920P001-1409A-265                    000162P001-1409A-265                            000453P001-1409A-265                   009778S001-1409A-265
TEXAS COMPTROLLER OF PUBLIC             TEXAS COMPTROLLER OF PUBLIC ACCOUNTS            TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
ACCOUNTS ATT: LILIANA HUERTA            PO BOX 13528 CAPITOL STATION                    UNCLAIMED PROPERTY CLAIMS SECTION      REVENUE ACCOUNTING DIV
17777 CTR CT DR #700                    AUSTIN TX 78711-3528                            PO BOX 12046                           LORETTA HERNANDEZ
CERRITOS CA 90703                                                                       AUSTIN TX 78711-2046                   111 E 17TH ST
                                                                                                                               AUSTIN TX 78711



032715P001-1409A-265                    000233P001-1409A-265                            030762P001-1409A-265                   032546P001-1409A-265
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    TEXAS WORKFORCE COMMISSION                      TEXTILE UNLIMITED CORP                 TFS LEASING
LILIANA HUERTA                          EXECUTIVE DIRECTOR                              JINA KIM                               PROGRAM OF GE LAGE LANDEN FINANCIAL SVC
17777 CTR CT DR #700                    101 EAST 15TH ST                                20917 HIGGINS CT                       ACCOUNTS RECEIVABLE
CERRITOS CA 90703                       RM 651                                          TORRANCE CA 90501                      PO BOX 41602
                                        AUSTIN TX 78778-0001                                                                   PHILADELPHIA PA 19101-1602
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036787P001-1409A-265                       009724P001-1409A-265                             031606P001-1409A-265               036788P001-1409A-265
TFS LEASING                                TFS LEASING PROGRAM OF                           TGA OAK VIEW MALL LLC              TGA OAK VIEW MALL LLC
PROGRAM OF GE LAGE LANDEN FINANCIAL SVC    DE LAGE LANDEN FINANCIAL SVC                     TEACHERS INSURANCE AND ANNUITY     730 THIRD AVE
POBOX 41602                                1111 OLD EAGLE SCHOOL RD                         730 THIRD AVE                      NEW YORK NY 10017
PHILADELPHIA PA 19101-1602                 WAYNE PA 19087                                   NEW YORK NY 10017




001522P001-1409A-265                       034908P001-1409A-265                             030056P001-1409A-265               030677P001-1409A-265
DIEN THACH                                 THALHIMER                                        THALHIMER (LANDLORD)               ZAY THAMMAVONGSA
1606 7TH ST SE                             1420 N PARHAM ROAD LC                            1420 N PARHAM ROAD LC              ADDRESS INTENTIONALLY OMITTED
ROANOKE VA 24013-2704                      11100 WEST BROAD ST                              MARK SLUSHER
                                           GLEN ALLEN VA 23060                              11100 WEST BROAD ST
                                                                                            GLEN ALLEN VA 23060



001545P001-1409A-265                       009444P001-1409A-265                             007903P001-1409A-265               007991P001-1409A-265
ZAY A THAMMAVONGSA                         MERLIN M THAMPAN                                 SALAH THAO                         PENELOPE E THAO
9445 E 39TH PL                             10778 HEATHER ST                                 8142 W EGGERT PL                   1048 ROCKDALE ST
TULSA OK 74145                             FL 2                                             MILWAUKEE WI 53218                 GREEN BAY WI 54304
                                           PHILADELPHIA PA 19116-3329




003310P001-1409A-265                       033428P001-1409A-265                             036319P001-1409A-265               006002P001-1409A-265
SHANNON THAO                               ALISSE THATCHER                                  THAUMA                             SYDNEY G THAYER
412 MONTANA AVE E                          595 N WILSON AVE                                 389 FIFTH AVE # 508                6797 MAPLEWOOD RD
SAINT PAUL MN 55130                        PASADENA CA 91106                                NEW YORK NY 10016                  INDIAN RIVER MI 49749




005740P001-1409A-265                       030879P001-1409A-265                             031607P001-1409A-265               036789P001-1409A-265
ALYSA M THAYRAVANH                         THE ADA GROUP LLC                                THE AVENUES                        THE AVENUES
14641 POLO RD                              ATTORNEYS FOR DISABLED AMERICA                   AVENUES MALL LLC                   AVENUES MALL LLC
VICTORVILLE CA 92394                       2047 CARTER HILL RD                              AVENUES MALL LLC                   867550 RELIABLE PKWY
                                           MONTGOMERY AL 36106                              867550 RELIABLE PKWY               CHICAGO IL 60686-0075
                                                                                            CHICAGO IL 60686-0075



031116P001-1409A-265                       034691P001-1409A-265                             033489P001-1409A-265               033489S001-1409A-265
THE BLUEBERRY HILL                         THE CHARLOTTE RUSSE STORE                        THE CIT GROUP COMMERCIAL SVC INC   THE CIT GROUP COMMERCIAL SVC INC
3588 SOUTH 500 WEST                        2899 WHITEFORD RD                                PO BOX 1036                        ROBERT FRANKLIN DIR AND ASST GEN COUNSEL
UNIT Q                                     SPRINGETTSBURY TOWNSHIP PA 17402-8902            CHARLOTTE NC 28201-1036            LAW DEPT
SOUTH SALT LAKE UT 84115                                                                                                       201 S TRYON ST
                                                                                                                               CHARLOTTE NC 28202



033141P001-1409A-265                       033141S001-1409A-265                             010385P001-1409A-265               010018P001-1409A-265
THE CITY OF DAYTONA BEACH                  THE CITY OF DAYTONA BEACH                        THE CITY OF LOCUST GROVE           THE CITY OF MAUMEE
PO BOX 2455                                301 S RIDGEWOOD AVE                              BUSINESS LICENSE                   400 CONANT ST
DAYTONA BEACH FL 32115                     ROOM 176                                         PO BOX 900                         MAUMEE OH 43537-3300
                                           DAYTONA BEACH FL 32114                           LOCUST GROVE GA 30248
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031117P001-1409A-265                            032547P001-1409A-265                         031608P001-1409A-265                       037671P001-1409A-265
THE CLOTHING CO                                 THE COLORFIELD DESIGN STUDIO, INC            THE CONNECTICUT POST LIMITED PARTNERSHIP   THE CONNECTICUT POST LIMITED PARTNERSHIP
1105 TOWE AVE                                   344 WEST 38TH ST 6TH FL                      US CENTENNIAL MALLS JV LLC                 DUSTIN P BRANCH ESQ
#103                                            NEW YORK NY 10018                            8750 N CENTRAL EXPY                        BALLARD SPAHR LLP
LOS ANGELES CA 90021                                                                         STE 1740                                   2029 CENTURY PK EAST STE 800
                                                                                             DALLLAS TX 75231                           LOS ANGELES CA 90067



033142P001-1409A-265                            033142S001-1409A-265                         033275P001-1409A-265                       032548P001-1409A-265
THE CONNECTICUT WATER CO                        THE CONNECTICUT WATER CO                     THE CONSUMER GROUP                         THE CREATIVE GROUP
PO BOX 981015                                   93 W MAIN ST                                 14248 MINORCA COVE                         ROBERT HALF INTERNATIONAL INC
BOSTON MA 02298                                 CLINTON CT 06413                             DEL MAR CA 92014                           KARIN KATSELLS
                                                                                                                                        5O CALIFORNIA ST
                                                                                                                                        10TH FL
                                                                                                                                        SAN FRANCISCO CA 94111


036790P001-1409A-265                            031609P001-1409A-265                         036875P001-1409A-265                       030837P001-1409A-265
THE CREATIVE GROUP                              THE CROSSING PREMIUM OUTLETS                 THE CROSSINGS PREMIUM OUTLETS LLC          THE FAIRMONT MIRAMAR
5O CALIFORNIA ST 10TH FLOOR                     CHELSEA PACONO FINANCE LLC                   SIMON PROPERTY GROUP                       101 WILSHIRE BLVD
SAN FRANCISCO CA 94111                          ACCOUNTING                                   GENERAL COUNSEL                            SANTA MONICA CA 90401
                                                PO BOX 827653                                225 W WASHINGTON ST                        INDIA
                                                PHILADELPHIA PA 19182-7653                   INDIANAPOLIS IN 46204



033548P001-1409A-265                            031610P001-1409A-265                         036791P001-1409A-265                       037672P001-1409A-265
THE FIDELITY AND DEPOSIT COMPANY OF MARYLAND    THE FOUNTAINS AT FARAH LP                    THE FOUNTAINS AT FARAH LP                  THE FOUNTAINS AT FARAH LP
DALYNN JEAN HOCH                                AMBER LEE                                    123 W MILLS AVE STE 600                    CENTERGY RETAIL LLC
1299 ZURICH WAY                                 123 W MILLS AVE                              EL PASO TX 79901                           ATTENTION: WEST MILLER
SCHAUMBURG IL 60196-0156                        STE 600                                                                                 8235 DOUGLAS AVE STE 900
                                                EL PASO TX 79901                                                                        DALLAS TX 75225



034129P001-1409A-265                            033313P001-1409A-265                         032549P001-1409A-265                       034137P001-1409A-265
THE FOUNTAINS OF FARAH LP                       THE GRAYSON CO LLC                           THE HOME DEPOT CRC/GECF                    THE HUGHES CORP
123 W MILLS AVE                                 CARRIE O'DRISCOLL                            DEPT 32 2000911507                         13355 NOEL RD 22ND FL
STE 600                                         200 PARK AVE SOUTH                           PO BOX 9001030                             DALLAS TX 75240
EL PASO TX 79901                                STE 1611                                     LOUISVILLE KY 40290-1030
                                                NEW YORK NY 10003



033143P001-1409A-265                            033143S001-1409A-265                         037233P001-1409A-265                       036792P001-1409A-265
THE ILLUMINATING CO                             THE ILLUMINATING CO                          THE ILLUMINATING CO                        THE INDUSTRY GROUP USA LLC
PO BOX 3638                                     76 SOUTH MAIN STREET                         FIRST ENERGY                               469 SOUTH ROBERTSON BLVD
AKRON OH 44309                                  AKRON OH 44308-1890                          NATALIE ALLARD                             BEVERLY HILLS CA 90211
                                                                                             5001 NASA BLVD
                                                                                             FAIRMONT WV 26554



035062P001-1409A-265                            030058P001-1409A-265                         030059P001-1409A-265                       030059S001-1409A-265
THE IRVINE CO                                   THE IRVINE CO (LANDLORD)                     THE IRVINE CO (LANDLORD)                   THE IRVINE CO (LANDLORD)
THE IRVINE CO LLC                               THE IRVINE CO RETAIL PROPERTIES              THE IRVINE CO LLC                          THE IRVINE CO LLC
100 INNOVATION                                  GENERAL COUNSEL                              GENERAL COUNSEL RETAIL PROPERTIES          ACCOUNTING DEPT - FASHION ISLAND
IRVINE CA 92617                                 100 INNOVATION DR                            100 INNOVATION                             100 INNOVATION
                                                IRVINE CA 92617                              IRVINE CA 92617                            IRVINE CA 92617
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030059S002-1409A-265               031611S001-1409A-265                       031611P001-1409A-265                    033467P001-1409A-265
THE IRVINE CO (LANDLORD)           THE IRVINE COMPANY LLC                     THE IRVINE COMPANY, LLC                 THE JUNE GROUP LLC
THE IRVINE CO LLC                  BEWLEY LASSLEBEN AND MILLER LLP            RETAIL CENTER: IRVINE SPECTRUM CENTER   QUALSTAFF RESOURCES
GENERAL MANGER FASHION ISLAND      ERNIE ZACHARY PARK                         PO BOX 840368095403                     KATHY HINES ACCOUNTING MANAGE
400 NEWPORT CTR DR STE A150        13215 E PENN ST STE 510                    LOS ANGELES CA 90084-0368               9444 WAPLES ST 100
NEWPORT BEACH CA 92660             WHITTIER CA 90602                                                                  SAN DIEGO CA 92121



032550P002-1409A-265               031118P001-1409A-265                       033477P001-1409A-265                    034475P001-1409A-265
THE LIONS MODEL MANAGEMENT LLC     THE LITTLE DANE INC                        THE MACERICH PARTNERSHIP LP             THE MACERICH PARTNERSHIP LP
NANCI J GREGORY                    DAVID FUSSENEGGER TEXTIL GMBH              MACERICH MANAGEMENT                     PO BOX 849449
286 5TH AVE 12TH FL                1706 AGADIR ST                             DEPT 25963045                           LOS ANGELES CA 90084-9449
NEW YORK NY 10001                  CONCORD CA 94518                           LOS ANGELES CA 90084-2596




034266P001-1409A-265               036793P001-1409A-265                       031612P001-1409A-265                    031613P001-1409A-265
THE MACERICH PARTNERSHIP, LP       THE MALL AT UNIVERSITY TOWN                THE MALL AT UNIVERSITY TOWN CENTER      THE MALL IN COLUMBIA BUSINESS
401 WILSHIRE BLVD                  200 E LONG LAKE RD STE 300                 TB MALL AT UTC LLC                      GGP LIMITED PARTNERSHIP
STE 700                            BLOOMFIELD HILLS MI 48304-2324             200 E LONG LAKE RD STE 300              SDS-12-2738
SANTA MONICA CA 90401                                                         BLOOMFIELD HILLS MI 48304-2324          PO BOX 86
                                                                                                                      MINNEAPOLIS MN 55486-2738



033739P001-1409A-265               033740P001-1409A-265                       033741P001-1409A-265                    032551P001-1409A-265
THE MARKER SAN FRANCISCO           THE MARKETING ARM                          THE MGHERRING GROUP                     THE MILFORD HEALTH DEPT
501 GEARY ST                       1999 BRYAN ST                              5710 LBJ FWY                            82 NEW HAVEN AVE
SAN FRANCISCO CA 94102             18TH FLOOR                                 STE 450                                 MILFORD CT 06460
                                   DALLAS TX 75201                            DALLAS TX 75240




034132P001-1409A-265               031119P001-1409A-265                       036321P001-1409A-265                    033480P001-1409A-265
THE MILLER LAW OFFICES             THE MINES PRESS INC DBA ISCREA             THE MINES PRESS INC DBA ISCREA          THE NASDAQ STOCK MARKET INC
12441 VENTURA BLVD                 JENNIFER SCHIMINSKI                        231 CROTON AVE                          LOCKBOX 20200
STUDIO CITY CA 91604               231 CROTON AVE                             CORTLANDT MANOR NY 10567                PO BOX 8500
                                   CORTLANDT MANOR NY 10567                                                           PHILADELPHIA PA 19178-0200




031120P001-1409A-265               036322P001-1409A-265                       033379P001-1409A-265                    033462P001-1409A-265
THE NES GROUP                      THE NES GROUP                              THE NETWORK INC                         THE NPD GROUP INC
NES JEWELRY INC                    10 WEST 33RD ST 9TH FLOOR                  AR COLLECTIONS                          NIKKI ARNSTEIN
ARNEL VIRAM                        NEW YORK NY 10001                          333 RESEARCH CT                         900 WEST SHORE RD
10 WEST 33RD ST                                                               NORCROSS GA 30092                       PORT WASHINGTON NY 11050
9TH FL
NEW YORK NY 10001


037341P001-1409A-265               037341S001-1409A-265                       031614P001-1409A-265                    031615P001-1409A-265
THE OHIO BELL TELEPHONE CO         THE OHIO BELL TELEPHONE CO                 THE OUTLET SHOPPES OF THE BLUEGRASS     THE PARKS AT ARLINGTON
AT AND T SVC INC                   Marin West                                 LOUISVILLE OUTLET SHOPPES LLC           PARKS AT ARLINGTON LP
KAREN A CAVAGNARO                  Bankruptcy Representative                  JENNIFER CHARTRAND                      SDS-12-2881
LEAD PARALEGAL ONE AT AND T WAY    4331 Communications Drive                  5000 HAKES DR STE 500                   PO BOX 86
ROOM 3A104                         Floor 4W                                   MUSKEGON IL 49441                       MINNEAPOLIS MN 55486-2881
BEDMINSTER NJ 07921                Dallas TX 75211
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031121P001-1409A-265                   034813P001-1409A-265                           034822P001-1409A-265                  034845P001-1409A-265
THE PIGGY STORY                        THE PREMIUM OUTLETS                            THE PREMIUM OUTLETS                   THE PREMIUM OUTLETS
KATHLEEN MILNE                         LAS VEGAS PREMIUM OUTLETS SOUTH LLC            GILROY PREMIUM OUTLETS LLC            LAS VEGAS PREMIUM OUTLETS NORTH LLC
16516 ARMINTA ST                       SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
VAN NUYS CA 91406                      225 W WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
                                       INDIANAPOLIS IN 46204                          INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204



034923P001-1409A-265                   034952P001-1409A-265                           034960P001-1409A-265                  034962P001-1409A-265
THE PREMIUM OUTLETS                    THE PREMIUM OUTLETS                            THE PREMIUM OUTLETS                   THE PREMIUM OUTLETS
SIMON PROPERTY GROUP                   PHILADELPHIA OUTLETS LLC                       HOUSTON PREMIUM OUTLETS LLC           WILLIAMSBURG PREMIUM OUTLETS LLC
225 W WASHINGTON ST                    SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
INDIANAPOLIS IN 46204                  225 W WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
                                       INDIANAPOLIS IN 46204                          INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204



034981P001-1409A-265                   034984P001-1409A-265                           034987P001-1409A-265                  034992P001-1409A-265
THE PREMIUM OUTLETS                    THE PREMIUM OUTLETS                            THE PREMIUM OUTLETS                   THE PREMIUM OUTLETS
ELLENTON PREMIUM OUTLETS LLC           CAMARILLO PREMIUM OUTLETS LLC                  GROVE CITY PREMIUM OUTLETS LLC        THE CROSSINGS PREMIUM OUTLETS LLC
SIMON PROPERTY GROUP                   SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
225 W WASHINGTON ST                    225 W WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
INDIANAPOLIS IN 46204                  INDIANAPOLIS IN 46204                          INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204



034993P001-1409A-265                   034994P001-1409A-265                           034995P001-1409A-265                  034996P001-1409A-265
THE PREMIUM OUTLETS                    THE PREMIUM OUTLETS                            THE PREMIUM OUTLETS                   THE PREMIUM OUTLETS
VACAVILLE PREMIUM OUTLETS LLC          ORLANDO PREMIUM OUTLET VINELAND LLC            ALLEN PREMIUM OUTLETS LLC             CINCINNATI PREMIUM OUTLETS LLC
SIMON PROPERTY GROUP                   SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
225 W WASHINGTON ST                    225 W WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
INDIANAPOLIS IN 46204                  INDIANAPOLIS IN 46204                          INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204



034999P001-1409A-265                   035006P001-1409A-265                           030060P001-1409A-265                  030061P001-1409A-265
THE PREMIUM OUTLETS                    THE PREMIUM OUTLETS                            THE PREMIUM OUTLETS (LANDLORD)        THE PREMIUM OUTLETS (LANDLORD)
GRAND PRAIRIE PREMIUM OUTLETS LLC      ST LOUIS PREMIUM OUTLETS LLC                   LAS VEGAS PREMIUM OUTLETS SOUTH LLC   GILROY PREMIUM OUTLETS LLC
SIMON PROPERTY GROUP                   SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
225 W WASHINGTON ST                    225 W WASHINGTON ST                            GENERAL COUNSEL                       GENERAL COUNSEL
INDIANAPOLIS IN 46204                  INDIANAPOLIS IN 46204                          225 W WASHINGTON ST                   225 W WASHINGTON ST
                                                                                      INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204


030062P001-1409A-265                   030063P001-1409A-265                           030063S001-1409A-265                  030064P001-1409A-265
THE PREMIUM OUTLETS (LANDLORD)         THE PREMIUM OUTLETS (LANDLORD)                 THE PREMIUM OUTLETS (LANDLORD)        THE PREMIUM OUTLETS (LANDLORD)
LAS VEGAS PREMIUM OUTLETS NORTH LLC    SIMON PROPERTY GROUP                           THE PROMENADE AT BOLINGBROOK          PHILADELPHIA OUTLETS LLC
SIMON PROPERTY GROUP                   GENERAL COUNSEL                                GENERAL MANAGER                       SIMON PROPERTY GROUP
GENERAL COUNSEL                        225 W WASHINGTON ST                            631 BOUGHTON RD                       GENERAL COUNSEL
225 W WASHINGTON ST                    INDIANAPOLIS IN 46204                          BOLINGBROOK IL 60440                  225 W WASHINGTON ST
INDIANAPOLIS IN 46204                                                                                                       INDIANAPOLIS IN 46204


030065P001-1409A-265                   030066P001-1409A-265                           030067P001-1409A-265                  030068P001-1409A-265
THE PREMIUM OUTLETS (LANDLORD)         THE PREMIUM OUTLETS (LANDLORD)                 THE PREMIUM OUTLETS (LANDLORD)        THE PREMIUM OUTLETS (LANDLORD)
HOUSTON PREMIUM OUTLETS LLC            WILLIAMSBURG PREMIUM OUTLETS LLC               ELLENTON PREMIUM OUTLETS LLC          CAMARILLO PREMIUM OUTLETS LLC
SIMON PROPERTY GROUP                   SIMON PROPERTY GROUP                           SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP
GENERAL COUNSEL                        GENERAL COUNSEL                                GENERAL COUNSEL                       GENERAL COUNSEL
225 W WASHINGTON ST                    225 W WASHINGTON ST                            225 W WASHINGTON ST                   225 W WASHINGTON ST
INDIANAPOLIS IN 46204                  INDIANAPOLIS IN 46204                          INDIANAPOLIS IN 46204                 INDIANAPOLIS IN 46204
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THE PREMIUM OUTLETS (LANDLORD)                   THE PREMIUM OUTLETS (LANDLORD)               THE PREMIUM OUTLETS (LANDLORD)            THE PREMIUM OUTLETS (LANDLORD)
GROVE CITY PREMIUM OUTLETS LLC                   VACAVILLE PREMIUM OUTLETS LLC                ORLANDO PREMIUM OUTLET VINELAND LLC       ALLEN PREMIUM OUTLETS LLC
SIMON PROPERTY GROUP                             SIMON PROPERTY GROUP                         SIMON PROPERTY GROUP                      SIMON PROPERTY GROUP
GENERAL COUNSEL                                  GENERAL COUNSEL                              GENERAL COUNSEL                           GENERAL COUNSEL
225 W WASHINGTON ST                              225 W WASHINGTON ST                          225 W WASHINGTON ST                       225 W WASHINGTON ST
INDIANAPOLIS IN 46204                            INDIANAPOLIS IN 46204                        INDIANAPOLIS IN 46204                     INDIANAPOLIS IN 46204


030073P001-1409A-265                             030074P001-1409A-265                         030075P001-1409A-265                      031616P001-1409A-265
THE PREMIUM OUTLETS (LANDLORD)                   THE PREMIUM OUTLETS (LANDLORD)               THE PREMIUM OUTLETS (LANDLORD)            THE PROMENADE SHOPS AT CENTERR
CINCINNATI PREMIUM OUTLETS LLC                   GRAND PRAIRIE PREMIUM OUTLETS LLC            ST LOUIS PREMIUM OUTLETS LLC              G AND I VI PROMENADE LLC
SIMON PROPERTY GROUP                             SIMON PROPERTY GROUP                         SIMON PROPERTY GROUP                      220 EAST 42ND ST
GENERAL COUNSEL                                  GENERAL COUNSEL                              GENERAL COUNSEL                           27TH FL
225 W WASHINGTON ST                              225 W WASHINGTON ST                          225 W WASHINGTON ST                       NEW YORK NY 10017
INDIANAPOLIS IN 46204                            INDIANAPOLIS IN 46204                        INDIANAPOLIS IN 46204


031122P001-1409A-265                             036323P001-1409A-265                         031123P001-1409A-265                      033144P001-1409A-265
THE PROPOSE INC DBA NOBLE U                      THE PROPOSE INC DBA NOBLE U                  THE PURPLE COW                            THE RESOURCE MANAGEMENT GROUP
EUNICE YIM                                       516 E JEFFERSON BLVD                         MARGIE TASKER                             4686 MERCURY ST
516 E JEFFERSON BLVD                             LOS ANGELES CA 90021                         ONE CORPORATE DR                          SAN DIEGO CA 92111
LOS ANGELES CA 90021                                                                          GRANTSVILLE MD 21536




031617P001-1409A-265                             031618P001-1409A-265                         034288P001-1409A-265                      034429P001-1409A-265
THE RETAIL PROPERTY GROUP                        THE RETAIL PROPERTY TRUST                    THE RETAIL PROPERTY TRUST                 THE RETAIL PROPERTY TRUST
THE RETAIL PROPERTY TRUST                        ROOSEVELT FIELD                              4852MALL OF GEORGIA LLC                   EMI SANTA ROSA LTD PARTNERSHIP
DENNIS DENAUT                                    PO BOX 772854                                PO BOX 772805                             PO BOX 772814
PO BOX 772827                                    CHICAGO IL 60677-2854                        CHICAGO IL 60677-2805                     CHICAGO IL 60677-2814
CHICAGO IL 60677-2827



034431P001-1409A-265                             034434P001-1409A-265                         036964P001-1409A-265                      033742P001-1409A-265
THE RETAIL PROPERTY TRUST                        THE RETAIL PROPERTY TRUST                    THE RETAIL PROPERTY TRUST                 THE RIMM-KAUFMAN GROUP RKG
BRAINTREE PROPERTY ASSOCIATES LTD PARTNERSHIP    CPI - PHIPPS LIMITED LIABILITY               A MASSACHUSETTS BUSINESS TRUST            701 EAST WATER ST
SHOUTH SHORE PLAZA                               PHIPPS PLAZA                                 SIMON PROPERTY GROUP LP RONALD M TUCKER   CHARLOTTESVILLE VA 22902
PO BOX 772833                                    PO BOX 772842                                225 WEST WASHINGTON ST
CHICAGO IL 60677-2833                            CHICAGO IL 60677-2842                        INDIANAPOLIS IN 46204



032552P001-1409A-265                             032553P001-1409A-265                         031619P001-1409A-265                      036794P001-1409A-265
THE ROYAL PROMOTION GROUP, INC                   THE SCOOP IN DESIGN INC                      THE SHOPS AT DOS LAGOS                    THE SHOPS AT DOS LAGOS
AJAY KHANNA                                      917 NORTH FLORENCE ST                        DOS LAGOS CRN LLC                         PROPERTY MANAGER
119 WEST 57TH ST                                 BURBANK CA 91505                             2780 CABOT DR STE 140                     2780 CABOT DR STE 140
NEW YORK NY 10019                                                                             ATTN: PROPERTY MANAGER                    CORONA CA 92883
                                                                                              CORONA CA 92883



031620P001-1409A-265                             037474P001-1409A-265                         037474S001-1409A-265                      033743P001-1409A-265
THE SHOPS AT SUMMERLIN NORTH                     THE SHOPS AT SUMMERLIN NORTH LP              THE SHOPS AT SUMMERLIN NORTH LP           THE STANDARD
THE HUGHES CORP                                  THE HOWARD HUGHES CORP                       SPECTOR & JOHMSON, PLLC                   550 SOUTH FLOWER
13355 NOEL RD 22ND FL                            13355 NOEL RD                                HOWARD MARC SPECTOR                       LOS ANGELES CA 90071
DALLAS TX 75240                                  ONE GALLERIA TOWER 22ND FLOOR                12770 COIT ROAD SUITE 1100
                                                 DALLAS TX 75240                              DALLAS TX 75251
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033744P001-1409A-265          033309P001-1409A-265                   033310P001-1409A-265              031124P001-1409A-265
THE STANDARD                  THE TAUBMAN CO LLC                     THE TAUBMAN CO LLC                THE TIMING INC
NEGOTIATED HOTEL RATE         THE TAUBERMAN CO LLC                   BECKY KATICH                      DIANE LEE
550 SOUTH FLOWER              BECKY KATICH                           200 E LONG LAKE RD                2809 SOUTH SANTA FE AVE
LOS ANGELES CA 90071          200 E LONG LAKE RD                     BLOOMFIELD HILLS MI 48304         VERNON CA 90058
                              BLOOMFIELD HILLS MI 48304



033145P001-1409A-265          033145S001-1409A-265                   010003P001-1409A-265              031125P001-1409A-265
THE UNITED ILLUMINATING CO    THE UNITED ILLUMINATING CO             THE VILLAGE OF GURNEE             THE VINTAGE SHOP
PO BOX 9230                   157 CHURCH ST                          325 NORTH O'PLAINE RD             MSK APPAREL INC
CHELSEA MA 02150              NEW HAVEN CT 06506-0901                GURNEE IL 60031-2636              AUSTIN KIM DANNY SHIN
                                                                                                       1015 S CROCKER ST
                                                                                                       #R-14
                                                                                                       LOS ANGELES CA 90021


032554P001-1409A-265          004488P001-1409A-265                   004488S001-1409A-265              004619P001-1409A-265
THE Z SPACE STUDIO            MARLEE THEIL                           MARLEE THEIL                      JENSEN N THEISEN
499 ALABAMA ST # 450          145 HARMONY RD                         220 HOUNSLOW RD                   1307 APPLEJACK CT
SAN FRANCISCO CA 94110        423                                    CRANBERRY TWP PA 16066            HENDERSON NV 89002
                              SLIPPERY ROCK PA 16057




003908P001-1409A-265          032555P001-1409A-265                   004030P001-1409A-265              004296P001-1409A-265
JENNIFER L THEKAN             THERESA JONES                          STEPHANIE E THERRIEN              NIKKOLE L THIEDE
7161 TOWNSEND DR              134 TYRAN DR                           21 MONSKA DR                      2311 WESTFIELD LN
HIGHLANDS RANCH CO 80130      STOCKBRIDGE GA 30281                   EASTHAMPTON MA 01027              BELVIDERE IL 61008




003845P001-1409A-265          037342P001-1409A-265                   035180P001-1409A-265              036795P001-1409A-265
SHATERRA M THIGPEN            THOMAS AND CO                          THOMAS AND THORNGREN INC          THOMAS AND THORNGREN INC
14376 MCART RD                KATHY WILSON                           ONE VANTAGE WAY SUITE A105        THOMAS AND CO
30                            PO BOX 280100                          NASHVILLE TN 37228                PO BOX 645555
VICTORVILLE CA 92392          NASHVILLE TN 37228-0100                                                  CINCINNATI OH 45264-5555




032556P001-1409A-265          032557P001-1409A-265                   033398P001-1409A-265              032558P001-1409A-265
THOMAS AND THORNGREN, INC     THOMAS E WEYER JR                      THOMAS VIELHAUER AND ASSOCIATES   THOMAS W TEDDERS, JR, BIBB COUNTY TAX
THOMAS AND CO                 64351 PYRENEES AVE                     EMMALY VIELHAUER                  COMMISSIONER
KELLY MILEY                   DESERT HOT SPRINGS CA 92240            4109 KILT CIR                     PO BOX 4724
PO BOX 645555                                                        EL DORADO HILLS CA 95762          MACON GA 31208-4724
CINCINNATI OH 45264-5555



003484P001-1409A-265          002795P001-1409A-265                   000669P001-1409A-265              002614P001-1409A-265
ALLISON THOMAS                ALYSIA THOMAS                          ASHLEY THOMAS                     BRIANNA M THOMAS
1015 LAKE LN                  38 BEAM AVE                            131 BRACEBRIDGE CT                20405 NW 11 CT
PENNSBURG PA 18073            JACKSON NJ 08527                       RIVERSIDE CA 92506                MIAMI FL 33169
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036045P001-1409A-265              004349P001-1409A-265                    005171P001-1409A-265             005741P001-1409A-265
CRYSTOL V THOMAS                  ESPERANZA S THOMAS                      JORDAN C THOMAS                  KAYLA J THOMAS
253-17 147TH RD                   5443 W CALLE SAN ANGELO                 238 CARRIAGE BLVD                150 CROWN ST
ROSEDALE NY 11422                 GUADALUPE AZ 85283                      PITTSBURGH PA 15239              B2
                                                                                                           BROOKLYN NY 11225




006173P001-1409A-265              008805P001-1409A-265                    002285P001-1409A-265             009295P001-1409A-265
KYLIE V THOMAS                    LOUDEJINY THOMAS                        MIKALA R THOMAS                  SAVANNAH M THOMAS
25 OAKBROOKE                      42 BERKELEY CIR                         745 N 119TH AT WEST              5000 STATION ST
TROY IL 62294                     42                                      WICHITA KS 67235                 APT 112
                                  SUFFERN NY 10901                                                         MORGANTOWN WV 26501




006050P001-1409A-265              005977P001-1409A-265                    004252P001-1409A-265             036046P001-1409A-265
TIJO THOMAS                       TRANCE THOMAS                           TYRA A THOMAS                    TYRA A THOMAS
427 SHERWOOD DR                   1210 PALM BEACH LAKES BLVD              3006 HIGHMAN AVE                 3420 ANDREW CT
302                               APT#C11                                 BALTIMORE MD 21230               APT 302
SAUSALITO CA 94965                WEST PALM BEACH FL 33401                                                 LAUREL MD 20724




008596P001-1409A-265              003209P001-1409A-265                    030596P001-1409A-265             003994P001-1409A-265
TYRA L THOMAS                     NICOLE M THOMASON                       SARAH D THOMASON                 DAVID W THOMPSON II
550 W CENTRAL AVE                 512 NORTH DR PO BOX 1514                ADDRESS INTENTIONALLY OMITTED    12335 ALEXANDRIA
#1301                             LEBEC CA 93243                                                           SAN ANTONIO TX 78233
WICHITA KS 67203




032559P002-1409A-265              033527P001-1409A-265                    008334P001-1409A-265             007045P001-1409A-265
THOMPSON INDUSTRIAL SUPPLY        THOMPSON PUBLISHING GROUPINC            ALEXIS B THOMPSON                ANISSIYA THOMPSON
PO BOX 1229                       THOMSON REUTERS INC                     10618 E 66TH ST S 160            18 SHAW ST
RANCHO CUCAMONGA CA 91729-1299    SUBSCRIPTION SVC CENTER                 TULSA OK 74133                   UTICA NY 13502
                                  PO BOX 26185
                                  TAMPA FL 33623-6185



008849P001-1409A-265              003594P001-1409A-265                    004927P001-1409A-265             002799P001-1409A-265
ASHANTE G THOMPSON                AUBREYANNA THOMPSON                     BRIQUETTE THOMPSON               BRITTNEY B THOMPSON
6891 GLENLAKE PKWY APT D          2042 ROHDEA WAY                         14117 SNAFFLE BIT TRL            1128 COMMUNITY DR
SANDY SPRINGS GA 30328            OXNARD CA 93030                         HASLET TX 76052                  SCRANTON PA 18504




036047P001-1409A-265              009405P001-1409A-265                    002548P001-1409A-265             009712P001-1409A-265
BRITTNEY B THOMPSON               CRYSTAL M THOMPSON                      DESTIN D THOMPSON                EDIDIONG THOMPSON
770 1/2 MILLER ST                 580 AIKEN ST                            3301 W ESPLANADE AVE N APT 508   6904 N LOOP 1604 E
LUZERNE PA 18709                  SAINT AUGUSTINE FL 32084                5084B                            3105
                                                                          METAIRIE LA 70002                SAN ANTONIO TX 78249
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036048P002-1409A-265         004538P001-1409A-265                    006182P001-1409A-265                     002060P001-1409A-265
GABRIELLE THOMPSON           JAHREES S THOMPSON                      JANET O THOMPSON                         JASMYN M THOMPSON
6467 GRAWOOD DR              78 ASHLEY HALL PLANTATION RD            3117 W ARTHUR AVE                        6606 N 89TH CT APT D
KEITHVILLE LA 71047          78                                      CHICAGO IL 60645                         D
                             CHARLESTON SC 29407                                                              OMAHA NE 68122




004294P002-1409A-265         002591P001-1409A-265                    030402P002-1409A-265                     009579P001-1409A-265
JAYLA THOMPSON               JAZMINE Z THOMPSON                      JESSICA THOMPSON                         KAYLA C THOMPSON
23 GAINSCOTT LANE            3309 LA COSTA WAY                       ADDRESS INTENTIONALLY OMITTED            1645 N WOODMERE DR
WILLINGBORO NJ 08046-3029    RALEIGH NC 27610                                                                 A25
                                                                                                              CHARLESTON SC 29407




006190P001-1409A-265         000712P001-1409A-265                    036652P001-1409A-265                     001077P001-1409A-265
MALIK D THOMPSON             MARIA C THOMPSON                        MELANIE THOMPSON                         NATALIE L THOMPSON
10220 CORBY ST               616 G ST APT69                          41633 MAROON TOWN DR                     740 NE 199TH ST
309                          CHULA VISTA CA 91910                    BERMUDA DUNES CA 92201                   105G
OMAHA NE 68134                                                                                                MIAMI FL 33179




006412P001-1409A-265         007569P001-1409A-265                    002908P001-1409A-265                     001550P001-1409A-265
REBECCA D THOMPSON           RONELL Z THOMPSON                       SABRINA R THOMPSON                       SHANEE M THOMPSON
110 SCHOOL ST                2127 PACIFIC LOON LN                    2317 PK LN                               10342 98TH ST
MORGANTOWN WV 26505          CONROE TX 77385                         W6                                       OZONE PARK NY 11417-1643
                                                                     HOLT MI 48842




003247P001-1409A-265         007720P001-1409A-265                    033503P001-1409A-265                     032560P001-1409A-265
SHAVONNE S THOMPSON          TAMIKA S THOMPSON                       THOMSON FINANCIAL CORP                   THOMSON REUTERS
90 EASTGAY DR                1648 INDIAN WAY                         THOMSON REUTERS TAX AND ACCOUNTING INC   TAX AND ACCOUNTING INC
A                            OKEMOS MI 48864                         PO BOX 5136                              PO BOX 71687
AKRON OH 44313                                                       CAROL STREAM IL 60197-5137               CHICAGO IL 60694-1687




032118P001-1409A-265         003445P001-1409A-265                    006320P001-1409A-265                     002568P001-1409A-265
JANIS THOOLEN                DENISHA L THORNTON                      GABRIELLE E THORNTON                     JASMINE THORNTON
729 JONES ST                 2592 COLUMBUS WAY SOUTH                 7919 CAPISTRANO DR                       1001 E 77TH ST
#112                         SAINT PETERSBURG FL 33712               RICHMOND VA 23227                        APT 207
SAN FRANCISCO CA 94109                                                                                        RICHFIELD MN 55423




033282P001-1409A-265         032561P001-1409A-265                    034113P001-1409A-265                     002793P001-1409A-265
NILS THORSEN                 THREE FACTOR LLC                        THREE FACTOR LLC                         AISLING A THREETS
1507 30TH AVE                SPYRO MALASPINAS                        1042 N MAPLE CT                          13125 GREY WOLF LN
SAN FRANCISCO CA 94122       1042 N MAPLE CT                         CHANDLER AZ 85226                        COVINGTON GA 30014
                             CHANDLER AZ 85226
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006118P001-1409A-265        003502P001-1409A-265                   033146P001-1409A-265               006551P001-1409A-265
IYANA S THRELKELD           DARYN N THROWER                        THTMA                              DANESSA L THUETT
911 BEARD ST                4 BRIGADE CT                           1146 WOODWARD DR                   1002 E EVANS AVE
APT 1                       OWINGS MILLS MD 21117                  GREENSBURG PA 15601                PUEBLO CO 81004
FLINT MI 48503




036847P001-1409A-265        009937P001-1409A-265                   009110P001-1409A-265               002294P001-1409A-265
NEHA THUMAR                 THURSTON COUNTY TREASURER              KAITLYN N TIFFANY                  STEPHANIE TIFFANY
MARATHON FUND               2000 LAKERIDGE DR SW                   8850 MOAT CROSSING PL              175 S SHERMAN ST
ONE BRYANT PK 38TH FLOOR    OLYMPIA WA 98502-6080                  BRISTOW VA 20136                   APT 202
NEW YORK NY 10036                                                                                     DENVER CO 80209




031126P001-1409A-265        035324P001-1409A-265                   036797P002-1409A-265               005467P001-1409A-265
TIGER TALES                 TIGERSHARK INC                         TIGERSHARK INC                     KAILEY S TIGHE
5 RIVER RD                  14080 PALM DR STE D PMB 240            MARISSA R PERPLIES                 1925 WEST MEMORIAL DR
STE 128                     DESERT HOT SPRINGS CA 92240            14080 PALM DR STE D PMB 240        MUNCIE IN 47302
WILTON CT 06897                                                    DESERT HOT SPRINGS CA 92240-6851




009502P001-1409A-265        000982P001-1409A-265                   003388P001-1409A-265               007607P001-1409A-265
LYNDZEE TILLEY              ROBERT L TILLEY                        DESTINY D TILLMAN                  TAMERA K TILLMAN
524 SUMMER BREEZE DR        12608 SENDA PANACEA                    6529 N 42ND ST                     520 CALAVERAS DR
DURHAM NC 27704             SAN DIEGO CA 92129                     MILWAUKEE WI 53209                 ATLANTA GA 30350




032562P001-1409A-265        034156P001-1409A-265                   007204P001-1409A-265               031127P001-1409A-265
TIM DAW PHOTOGRAPHY         TIM DAW PHOTOGRAPHY                    KELLIE TIMBER                      TIMELESS DBA LIBIAN
TIM DAW                     1520 1ST AVE #7                        1928 CAGLE DR                      JULIE KIM
1520 1ST AVE #7             OAKLAND CA 94606                       MONROE LA 71202                    1140 E PICO BLVD
OAKLAND CA 94606                                                                                      LOS ANGELES CA 90021




008688P001-1409A-265        002206P001-1409A-265                   008320P001-1409A-265               003970P001-1409A-265
PHEAYSIA L TIMMONS          ALEENA M TINAJERO                      DANIELA A TINOCO                   BRANDON E TINSLEY
4019 DUPONT AVE N FL2       1027 W CAMERON AVE                     106 S WOODWORTH AVE                2206 EMPORIA ST
MINNEAPOLIS MN 55412        WEST COVINA CA 91790-3622              18S                                WOODBRIDGE VA 22191
                                                                   FRANKTON IN 46044




000624P001-1409A-265        031128P001-1409A-265                   009932P001-1409A-265               036049P001-1409A-265
MADISON K TINSLEY           TINY TRUCKER CO                        TIPPECANOE COUNTY TREASURER        RODRIGUEZ YOHAIRA I TIRADO
321 SW FILLMORE ST          3816 LAKE PK ST                        20 N 3RD ST                        4421 SOUTH KIRKMAN RD
TOPEKA KS 66606             FALLBROOK CA 92028                     LAFAYETTE IN 47901-1218            K-204
                                                                                                      ORLANDO FL 32811
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009082P001-1409A-265               009527P001-1409A-265                     031621P001-1409A-265             036799P001-1409A-265
TERESA A TISDALE                   ALEXIS L TITUS                           TM FAIRLANE CENTER LP            TM FAIRLANE CENTER LP
30875 WEXFORD LN                   3231 S204TH ST                           591 WEST PUTNAM AVE              75 REMITTANCE DR DEPT 1350
ROCKY MOUNT MO 65072               J101                                     GREENWICH CT 06830               CHICAGO IL 60675-1350
                                   SEATAC WA 98198




037761P001-1409A-265               031622P001-1409A-265                     037756P002-1409A-265             031623P001-1409A-265
TM FAIRLANE CENTER LP              TM MACARTHUR CENTER LP                   TM MACARTHUR CENTER LP           TM NORTHLAKE MALL LP
BALLARD SPAHR LLP                  591 WEST PUTNAM AVE                      BALLARD SPAHR LLP                591 WEST PUTNAM AVE
DUSTIN P BRANCH                    GREENWICH CT 06830                       DUSTIN P BRANCH                  GREENWICH CT 06830
2029 CENTURY PARK EAST STE 800                                              2029 CENTURY PARK EAST STE 800
LOS ANGELES CA 90067-2909                                                   LOS ANGELES CA 90067-2909



037755P001-1409A-265               031624P001-1409A-265                     037750P002-1409A-265             036800P002-1409A-265
TM NORTHLAKE MALL LP               TM WELLINGTON GREEN MALL LP              TM WELLINGTON GREEN MALL LP      TMP SRE 1 LLC
BALLARD SPAHR LLP                  591 WEST PUTNAM AVE                      BALLARD SPAHR LLP                JONES LANG LASALLE
DUSTIN P BRANCH                    GREENWICH CT 06830                       DUSTIN P BRANCH                  JESSICA THEBERGE
2029 CENTURY PARK EAST STE 800                                              2029 CENTURY PARK EAST STE 800   CITADEL MALL
LOS ANGELES CA 90067-2909                                                   LOS ANGELES CA 90067-2909        2070 SAM RITTENBERG BLVD
                                                                                                             CHARLESTON SC 29407


036800S001-1409A-265               031625P001-1409A-265                     035331P002-1409A-265             037913P001-1409A-265
TMP SRE 1 LLC                      TMP SRE 1, LLC                           TN- CITY OF CHATTANOOGA          TN- CITY OF CLARKSVILLE
KELLEY DRYE AND WARREN LLP         TBB ORLANDO LLC                          CITY OF CHATTANOOGA TAXES        ASHLEE F KNIGHT
ROBERT L LEHANE                    2070 SAM RITTENBERG BLVD                 101 E 11TH ST RM 100             PO BOX 928
101 PARK AVE                       CHARLESTON SC 29407                      CHATTANOOGA TN 37402             CLARKSVILLE TN 37041
NEW YORK NY 10178



037844P001-1409A-265               010238P002-1409A-265                     037882P001-1409A-265             037927S001-1409A-265
TN- CITY OF KNOXVILLE TENNESSEE    TN- CITY OF MEMPHIS                      TN- DEPT OF REVENUE              TN- DEPT OF REVENUE
CITY OF KNOXVILLE                  KITRICIA MCCLELLAN                       ATTORNEY GENERAL                 Deborah McAlister
ATTENTION: MARK BYRD               PO BOX 185                               PO BOX 20207                     500 Deaderick ST
PO BOX 1028                        MEMPHIS TN 38101-0185                    NASHVILLE TN 37202-0207          Nashville TN 37242
KNOXVILLE TN 37901



032289P003-1409A-265               037933P002-1409A-265                     037941P002-1409A-265             037837P001-1409A-265
TN- MONTGOMERY COUNTY TRUSTEE      TN- MONTGOMERY COUNTY TRUSTEE            TN- MONTGOMERY COUNTY TRUSTEE    TN- SHELBY COUNTY TRUSTEE
350 PAGEANT LN                     DIANA L APPLETON                         DIANA APPLETON                   KITRICIA MCCLELLAN
STE 101-B                          350 PAGEANT LN STE 101-B                 350 PAGEANT LN STE 101-B         PO BOX 2751
CLARKSVILLE TN 37040               CLARKSVILLE TN 37040                     CLARKSVILLE TN 37040             MEMPHIS TN 38101




002620P002-1409A-265               030280P001-1409A-265                     033279P001-1409A-265             009127P001-1409A-265
SKYLAR TO                          CHRISTA TOBEY                            TOBIAS HARDIEBOYS                CHEYENNE D TODD
9 ASHTON ST #2                     ADDRESS INTENTIONALLY OMITTED            MOA MOA INC                      5171 COVENTRY PKWY
EVERETT MA 02149-1606                                                       148 HIGHLAND AVE                 5171
                                                                            SAN FRANCISCO CA 94110           FORT WAYNE IN 46804
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000910P001-1409A-265              036050P001-1409A-265                     009302P001-1409A-265            030447P001-1409A-265
ELIZABETH TODD                    ELIZABETH TODD                           JASMINE L TODD                  KEVIN TODD
1002 CHARGENE ST                  1327 SIMMONS AVE                         4703 PALADIUM DR                ADDRESS INTENTIONALLY OMITTED
SAINT CHARLES MO 63301            SAINT LOUIS MO 63122                     MANSFIELD TX 76063




001137P001-1409A-265              000743P001-1409A-265                     033147P001-1409A-265            033147S001-1409A-265
KEVIN A TODD                      LANCE A TOERIEN                          TOG                             TOG
9140 GRAMERCY DR                  10590 OAKBEND DR                         PO BOX 1240                     602 CRESCENT PL
APT 299                           SAN DIEGO CA 92131-2369                  ATTLEBORO MA 02703              RIDGELAND MS 39157
SAN DIEGO CA 92123




006253P001-1409A-265              005656P002-1409A-265                     003934P001-1409A-265            033148P001-1409A-265
SARAH TOLAND                      MADALYN M TOLBERT                        TIANA N TOLBERT                 TOLEDO EDISON CO
100 HILLDALE RD                   PO BOX 1001                              12475 MT BELFORD WAY            PO BOX 3687
ETTERS PA 17319                   JEFFERSON GA 30549-0916                  COLORADO SPRINGS CO 80831       AKRON OH 44309




033148S001-1409A-265              002187P001-1409A-265                     000663P001-1409A-265            033341P001-1409A-265
TOLEDO EDISON CO                  AHKEEA TOLLIVER                          JAMICA M TOLLIVER               TOM CODY DESIGN INC
76 SOUTH MAIN ST                  841 SADDLEBRED DR                        846 SW 143RD ST                 TOM CODY DESIGN
AKRON OH 44308-1890               RICHMOND VA 23223                        BURIEN WA 98166                 DONALD MEIKLE
                                                                                                           260 W 39TH ST - 6TH FL
                                                                                                           NEW YORK NY 10018



033389P001-1409A-265              005196P001-1409A-265                     030551P001-1409A-265            000876P002-1409A-265
TOM GOULD CUSTOMS CONSULTING      CHRISTINE TOM                            PAMELA TOMAINO                  PAMELA A TOMAINO
WILLIAM THOMAS GOULD INC          1 HAZEN LN                               ADDRESS INTENTIONALLY OMITTED   4007 BELGRAVE CIR
TOM GOULD OR LORI GARDNER         CONGERS NY 10920                                                         FREDERICK MD 21704-7255
3807 SIERRA HWY STE 6 PMB 4617
ACTON CA 93510-1256



004186P001-1409A-265              036051P001-1409A-265                     005688P001-1409A-265            036612P001-1409A-265
SHEILA M TOMAS LOPEZ              LOPEZ SHEILA M TOMAS                     ALYSA G TOMASETTI               LINDA TOMASSION
409 W MANNING ST                  409 W MANNING ST                         2054 SANTA LUCIA AVE            4327 3RD ST
CHATTANOOGA TN 37405              CHATTANOOGA TN 37405                     OXNARD CA 93030                 WAYNE MI 48184




001868P001-1409A-265              033149P001-1409A-265                     033149S001-1409A-265            034070P001-1409A-265
LINDA L TOMASSION                 TOMBIGBEE ELECTRIC POWER ASSN            TOMBIGBEE ELECTRIC POWER ASSN   TOMBIGBEE ELECTRIC POWER ASSN
4327 3RD ST                       PO BOX 1789                              MITZI HINDS                     PO DRAWER 1789
WAYNE MI 48184                    TUPELO MS 38802                          1346 AUBURN RD                  TUPELO MS 38802
                                                                           TUPELO MS 38802
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030525P001-1409A-265             003132P001-1409A-265                      003698P001-1409A-265                          005121P001-1409A-265
MICHAEL TOMLINSON                MICHAEL G TOMLINSON                       PRESLEY K TOMLINSON                           KRISTIN N TOMOFF
ADDRESS INTENTIONALLY OMITTED    3418 MORNING DOVE CIR                     3001 W WEDINGTON                              10283 VERSAILLES DR
                                 LAWRENCE KS 66049                         53                                            STRONGSVILLE OH 44136
                                                                           FAYETTEVILLE AR 72701




032563P001-1409A-265             033150P001-1409A-265                      003565P001-1409A-265                          032716P001-1409A-265
TOMS RIVER FIRE COMMS            TOMS RIVER MUNICIPAL UTIL AUTH            DANIELLE M TONG                               TONY YZAGUIRRE, JR TAX ASSESSORCOLLECTOR
TOMS RIVER FIRE PREVENTION       340 W WATER ST                            1536 POLK DR                                  CAMERON COUNTY TAX OFFICE
WILLIAM GOLKIEWICZ               TOMS RIVER NJ 08753                       BRUNSWICK OH 44212                            PO BOX 952
PO BOX 728                                                                                                               BROWNSVILLE TX 78522-0952
TOMS RIVER NJ 08754



001803P001-1409A-265             035443P001-1409A-265                      005531P001-1409A-265                          031129P001-1409A-265
NOELLE C TOOMAJIAN               NOELLE C TOOMAJIAN                        CYERA TOONE                                   TOP CHOICE INTERNATIONAL TRADING
3635 MISSION ST                  1619 HILL RD                              1670 KARON DR                                 ALAN LEE
SAN FRANCISCO CA 94110           NOVATO CA 94947                           COLUMBUS OH 43219                             1950 EAST 220TH ST
                                                                                                                         STE 100
                                                                                                                         CARSON CA 90810



032564P001-1409A-265             032565P001-1409A-265                      030838P001-1409A-265                          030345P001-1409A-265
TOP DOG                          TOP NOTCH BUILDING SVC                    TOP TIGER GROUP LIMITED                       GAIL TOPAL
RICHARD D RIEMANN                KAREN ZAMBRANO                            MEGA INTL COMMERCIAL BANK CO                  ADDRESS INTENTIONALLY OMITTED
HALLIE                           20A FAIRMONT AVE                          EDWARD SHEN
2534 DURANT AVE                  MEDFORD NY 11763                          LTD 100 CHI LIN RD
BERKELEY CA 94704                                                          TAIPEI
                                                                           TAIWAN


000762P001-1409A-265             031626P001-1409A-265                      034376P001-1409A-265                          008501P001-1409A-265
GAIL S TOPAL                     TOPANGA PLAZA                             TOPANGA PLAZA                                 BRIANA M TOPINIO
100-72 BAKER CT                  BRANDI TUCKER                             FILE # 54734                                  39 KUUKAMA ST
ISLAND PARK NY 11558             FILE # 54734                              LOS ANGELES CA 90074-4734                     KAHULUI HI 96732
                                 LOS ANGELES CA 90074-4734




036325P001-1409A-265             035219P002-1409A-265                      037674P002-1409A-265                          031130P001-1409A-265
TOPSON DOWNS LOVE FIRE           TOPSON DOWNS OF CALIFORNIA INC            TOPSON DOWNS OF CALIFORNIA INC                TOPSON DOWNS/LOVE FIRE
3840 WATSEKA VAE                 A/K/A TINSEL TOWN                         A/K/A TOPSON DOWNS LOVE FIRE                  MICHELLE MULLENEAUX
CULVER CITY CA 90232             JOSEPH ESTRADA                            ATTN: ACCOUNTING DEPARTMENT - EMILIA ACOSTA   3840 WATSEKA VAE
                                 3840 WATSEKA AVE                          3840 WATSEKA AVE                              CULVER CITY CA 90232
                                 CULVER CITY CA 90232                      CULVER CITY CA 90232



033745P001-1409A-265             005910P001-1409A-265                      005898P001-1409A-265                          035050P001-1409A-265
TOPSVILLE INC                    MISHKAT TORANIA                           SAVANNAH R TOREBKA                            TORG
1400 BROADWAY                    685 RED TAIL CT                           8 BUCHANAN DR                                 OKC OUTLETS LLC
STE 1001                         BROOKFIELD WI 53045                       GANSEVOORT NY 12831                           C/OSINGERMAN REAL ESTAT
NEW YORK NY 10018                                                                                                        980 N MICHIGAN AVE STE I660
                                                                                                                         CHICAGO IL 60611
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030076P001-1409A-265           030076S001-1409A-265                            009318P001-1409A-265     005620P001-1409A-265
TORG (LANDLORD)                TORG (LANDLORD)                                 ALEXIS M TORNO           STEVEN TORO
OKC OUTLETS L LLC              ACCOUNTING AVISON YOUNG ATLANTA, LLC            10151 MONKS HOOD CT      5022 17TH AVE NE
SINGERMAN REAL ESTAT           ACCOUNTING                                      LAS VEGAS NV 89183       SEATTLE WA 98105
CHARLIE KELLOGG                30 IVAN ALLEN JUNIOR BLVD STE 900
980 N MICHIGAN AVE STE I660    ATLANTA GA 30308
CHICAGO IL 60611


002803P001-1409A-265           004868P001-1409A-265                            005076P001-1409A-265     037713P002-1409A-265
LAURA G TORRES ROMO            BRISEIDA E TORRES FLORES                        CARLA C TORRES ROBLEDO   KATY TORRES
2896 GRIFFIN AVE               4815 VALOR WAY                                  PO BOX 36                1706 15TH ST APT 207
8                              MADISON WI 53718                                ORANGE PARK FL 32067     KENOSHA WI 53114
LOS ANGELES CA 90031




002655P002-1409A-265           007798P001-1409A-265                            001044P001-1409A-265     008492P001-1409A-265
ADRIANA TORRES                 AMY L TORRES                                    ANA M TORRES             ANGELIQUE TORRES
310 GOLDEN ROD DR              150 W NATALIE LN                                9111 LEAWOOD BLVD        3708 W 67TH PL
MINOOKA IL 60447               ADDISON IL 60101                                HOUSTON TX 77099-2031    CHICAGO IL 60629




007405P001-1409A-265           006626P001-1409A-265                            008104P001-1409A-265     008951P001-1409A-265
CASSANDRA N TORRES             CITLALI B TORRES                                DIANA TORRES             DIANA TORRES
11146 JERSEY AVE               5216 S HAMLIN AVE                               821 SUNSET AVE           427 N LINNELL AVE
NORWALK CA 90650               CHICAGO IL 60632                                DALLAS TX 75208          FARMERSVILLE CA 93223




001779P001-1409A-265           036052P001-1409A-265                            003251P001-1409A-265     005634P001-1409A-265
DIAZIA E TORRES                FLORES BRISEIDA E TORRES                        JESSICA TORRES           JOSMAIRIM TORRES
952 STAMLER DR                 4815 VALOR WAY                                  1440 NE 223RD AVE #106   4102 DINNER LAKE WAY
TOMS RIVER NJ 08753            MADISON WI 53718                                WOOD VILLAGE OR 97060    LAKE WALES FL 33859




003242P001-1409A-265           002960P001-1409A-265                            002090P001-1409A-265     003478P001-1409A-265
JUDITH TORRES                  KATIA M TORRES                                  KATY TORRES              KEYLA M TORRES
5946 HUDSON WOODS CT           72 FIELDSTREAM DR APT C                         1706 15TH ST             82-28 155TH AVE
LAS VEGAS NV 89156             WATERBURY CT 06704                              #207                     2
                                                                               KENOSHA WI 53140         HOWARD BEACH NY 11414




001888P001-1409A-265           037105P001-1409A-265                            000928P001-1409A-265     000861P001-1409A-265
LISSETTE A TORRES              LISSETTE A TORRES                               MICHELLE P TORRES        RAMON E TORRES
784 JULIAN ST                  784 JUILIAN                                     549 LINDSAY ANNE CT      CALLE BOHIO F 46
TURLOCK CA 95380-3812          TURLOCK CA 95380                                PLANT CITY FL 33563      URB CAGUAX
                                                                                                        CAGUAS PR 00725
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030562P001-1409A-265                     037210P001-1409A-265                     004287P001-1409A-265         036053P001-1409A-265
RAMON E TORRES                           RAMON E TORRES                           REBECCA A TORRES             ROBLEDO CARLA C TORRES
ADDRESS INTENTIONALLY OMITTED            URB CAGUAX CALLE BOHIO F46               1333 FELICIA CT              PO BOX 36
                                         CAGUAS PR 00725                          OXNARD CA 93030              ORANGE PARK FL 32067




004741P001-1409A-265                     002790P001-1409A-265                     001511P001-1409A-265         037480P001-1409A-265
TATIANA TORRES                           VALERIA TORRES                           VANESSA TORRES               YINAMAR RAMOS TORRES
7913 6TH ST                              1504 GRANDCLUB BLVD                      1041 DESIERTO LUNA ST        YINAMAR RAMOD TORRES
DOWNEY CA 90241                          1504                                     EL PASO TX 79912-1140        LUIS O RAMOS COLON
                                         FORT PIERCE FL 34982                                                  HC 74 BOX 5196
                                                                                                               NARANJITO PR 00794



000724P001-1409A-265                     030674P001-1409A-265                     037144P001-1409A-265         000727P001-1409A-265
YOLANDA TORRES                           YOLANDA TORRES                           YOLANDA TORRES               ALBA E TORRESFIGUEROA
C-SARTUNIA L-4 PARQUE ECUESTRE           ADDRESS INTENTIONALLY OMITTED            CALLE SATUNINA L 4           11554 W FOXBERRY DR
CAROLINA PR 00985                                                                 PARQUE ECUESTRE              MARANA AZ 85653
                                                                                  CAROLINA PR 00987




009582P001-1409A-265                     004862P001-1409A-265                     002540P001-1409A-265         002566P001-1409A-265
ASHLEY M TORREZ                          BROOKE M TORREZ                          VERONICA M TORTORELLI        CLAUDIA TORUNO
604 WESTCHESTER RD                       3711 EMERALD ST                          4222 TRUMAN DR               13477 SW 284TH ST
TAYLOR TX 76574                          7                                        SEFFNER FL 33584             HOMESTEAD FL 33033
                                         TORRANCE CA 90503




004455P001-1409A-265                     035181P001-1409A-265                     037834P001-1409A-265         037872P001-1409A-265
MAYRA V TOSCANO                          TOSHIBA BUSINESS SOLUTIONS               TOSHIBA BUSINESS SOLUTIONS   TOSHIBA BUSINESS SOLUTIONS
1412 W WASHINGTON AVE                    8555 AERO DR STE 350                     25530 COMMERCENTRE DR        CO BRIAN A SULLIVAN
SANTA ANA CA 92706                       SAN DIEGO CA 92123                       LAKE FOREST CA 92630         1225 NORTH KING ST
                                                                                                               SUITE 600
                                                                                                               WILMINGTON DE 19801



032566P001-1409A-265                     009728P001-1409A-265                     036803P001-1409A-265         032567P001-1409A-265
TOSHIBA BUSINESS SOLUTIONS (US           TOSHIBA FINANCIAL SVC                    TOSHIBA GLOBAL COMMERCE      TOSHIBA GLOBAL COMMERCE SOLUTIONS
ERIK MASI                                PO BOX 35701                             SOLUTIONS LOCKBOX # 644938   MARC HARRIS
8555 AERO DR                             BILLINGS MT 59107                        PITTSBURGH PA 15264-6938     LOCKBOX # 644938
STE 350                                                                                                        PITTSBURGH PA 15264-6938
SAN DIEGO CA 92123



037675P001-1409A-265                     008353P001-1409A-265                     036054P001-1409A-265         032569P001-1409A-265
TOSHIBA GLOBAL COMMERCE SOLUTIONS INC    CHONTIARERA TOSTON                       JESSICA TOSTON-MONROE        TOTAL COMFORT MECHANICAL
ATTN: LEGAL DEPARTMENT                   8224 OAKSHIRE ST                         24323 JACKSON AVE #1212      450 SHREWSBURY PLAZE #150
3901 S MIAMI BLVD                        LAS VEGAS NV 89131                       MURRIETA CA 92562            SHREWSBURY NJ 07702
DURHAM NC 27703
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034221P001-1409A-265                 037219P001-1409A-265                             036805P001-1409A-265            032570P002-1409A-265
TOTAL COMFORT MECHANICAL             TOTAL COMFORT MECHANICAL                         TOTAL PACKAGE PROFESSIONAL      TOTAL PACKAGE PROFESSIONAL SVCS LLC
246 INDUSTRIAL WAY WEST              PAUL M ELIAS ESQ                                 2356 MOORE ST STE 205           CARMEN WHITING
STE Q                                BITTIGER ELIAS AND TRIOLO PC                     SAN DIEGO CA 92110              2356 MOORE ST STE 205
EATONTOWN NJ 07724                   12 ROUTE 17 NORTH STE 206                                                        SAN DIEGO CA 92110
                                     PARAMUS NJ 07652



035390P001-1409A-265                 035390S001-1409A-265                             030839P001-1409A-265            036326P001-1409A-265
TOTE FASHION INTERNATIONAL CO LTD    TOTE FASHION INTERNATIONAL CO LTD                TOTE FASHION SOURCING LIMITED   TOTE FASHION SOURCING LIMITED
DIAMOND MCCARTHY LLP                 KEVEN                                            KEVEN/RUBY/JANICE -HK           ROOM 2201 22/F 161 WAI YIP ST KWUN TONG
SHERYL GIUGLIANO                     RM C3 1801 18/F RYKADAN CAPITAL TOWER            5F7 NO1 FU HSING N RD           KOWLOON
295 MADISON AVE                      135 HOI BUN ROAD                                 TAIPEI, TAWAIN ROC              HONG KONG
27TH FLOOR                           KWUN TONG KLN 00000                              CHINA
NEW YORK NY 10017                    HONG KONG


000756P001-1409A-265                 031627P001-1409A-265                             036969P001-1409A-265            036969S001-1409A-265
TRACY E TOTH                         TOWN CENTER AT AURORA                            TOWN CENTER AT AURORA LLC       TOWN CENTER AT AURORA LLC
104 COBBLESTONE TRL                  TOWN CENTER AT AURORA LLC                        WASHINGTON PRIME GROUP INC      WASHINGTON PRIME GROUP INC
DANBURY CT 06810-8449                PO BOX 809611                                    FROST BROWN TODD LLC            STEPHEN E IFEDUBA
                                     CHICAGO IL 60680-9611                            301 E FOURTH ST                 180 E BROAD ST
                                                                                      CINCINNATI OH 45202             COLUMBUS OH 43215



031628P001-1409A-265                 037510P001-1409A-265                             031629P001-1409A-265            010560P001-1409A-265
TOWN CENTER AT COBB, LLC             TOWN EAST MALL LLC                               TOWN EAST MALL PARTNERSHIP      TOWN OF AUBURN
PO BOX 281552                        BROOKFIELD PROPERTY REIT INC                     SDS-12-1514                     PO BOX 733
ATLANTA GA 30384-1552                JULIE M BOWDEN                                   PO BOX 86                       READING MA 01867-0405
                                     350 N ORLEANS ST STE 300                         MINNEAPOLIS MN 55486-1514
                                     CHICAGO IL 60654-1607



032571P001-1409A-265                 010015P001-1409A-265                             032572P001-1409A-265            009828P001-1409A-265
TOWN OF BABYLON                      TOWN OF BEL AIR                                  TOWN OF BIG FLATS               TOWN OF BRAINTREE
BUILDING DIVISION-SIGN PERMIT        39 HICKORY AVE                                   SHONDREA COBB                   1 JFK MEMORIAL DR
SECTION 200 E SUNRISE HWY            BEL AIR MD 21014                                 476 MAPLE ST                    BRAINTREE MA 02184
LINDENHURST NY 11757-2598                                                             BIG FLATS NY 14814




010577P001-1409A-265                 032717P001-1409A-265                             009836P001-1409A-265            032718P001-1409A-265
TOWN OF BRAINTREE                    TOWN OF BRAINTREE TAX COLLECTOR                  TOWN OF CASTLE ROCK             TOWN OF CASTLE ROCK
PO BOX 859209                        TAX COLLECTORS OFFICE                            100 N WILCOX ST                 JANE PETERBURS
BRAINTREE MA 02185-9209              PO BOX 859209                                    CASTLE ROCK CO 80104            100 N WILCOX ST
                                     BRAINTREE MA 02185-9209                                                          CASTLE ROCK CO 80104




009834P001-1409A-265                 009855P001-1409A-265                             032573P001-1409A-265            033151P001-1409A-265
TOWN OF CHRISTIANSBURG               TOWN OF CUTLER BAY                               TOWN OF DARTMOUTH               TOWN OF EDINBURGH MUNIC UTIL
100 EAST MAIN ST                     10720 CARIBBEAN BLVD STE 105                     400 SLOCUM RD                   PO BOX 65
CHRISTIANSBURG VA 24073-3029         CULTER BAY FL 33189                              DARTMOUTH MA 02747              EDINBURGH IN 46124
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033151S001-1409A-265             010187P001-1409A-265                     010118P001-1409A-265         032574P001-1409A-265
TOWN OF EDINBURGH MUNIC UTIL     TOWN OF ENFIELD                          TOWN OF GILBERT              TOWN OF GUILDERLAND
107 S HOLLAND ST                 PO BOX 10007                             DEVELOPMENT SVC              DEPT OF FIRE PREVENTION
EDINBURGH IN 46124               LEWISTON ME 04243-9434                   90 E CIVIC CTR DR            BOX 339 RTE 20
                                                                          GILBERT AZ 85296             GUILDERLAND NY 12084




010566P001-1409A-265             033152P001-1409A-265                     033152S001-1409A-265         009829P001-1409A-265
TOWN OF HANOVER                  TOWN OF HANOVER WATER                    TOWN OF HANOVER WATER        TOWN OF HEMPSTEAD
PO BOX 755                       PO BOX 424                               40 POND ST                   DEPT OF BUILDING
READING MA 01867-0405            READING MA 01867                         HANOVER MA 02339             1 WASHINGTON ST
                                                                                                       HEMPSTEAD NY 11550-4923




033153P001-1409A-265             033153S001-1409A-265                     010582P001-1409A-265         010436P001-1409A-265
TOWN OF HEMPSTEAD DEPT OF WTR    TOWN OF HEMPSTEAD DEPT OF WTR            TOWN OF KINGSTON             TOWN OF KITTERY
ROOSEVELT FIELD WD               1995 PROSPECT AVE                        PO BOX 900                   PAYMENT CENTER
1995 PROSPECT AVE                EAST MEADOW NY 11554                     KINGSTON MA 02364-0900       PO BOX 1491
EAST MEADOW NY 11554                                                                                   BRATTLEBORO VT 05302




009975P001-1409A-265             010026P001-1409A-265                     009888P001-1409A-265         032575P001-1409A-265
TOWN OF LEESBURG                 TOWN OF MANCHESTER                       TOWN OF NATICK               TOWN OF NIAGARA TOWN CLERK
25 W MARKET ST                   41 CTR ST                                TOWN CLERK'S OFFICE          7105 LOCKPORT RD
LEESBURG VA 20176                PO BOX 191                               13 EAST CENTRAL ST           NIAGARA FALLS NY 14305
                                 MANCHESTER CT 06045-0191                 NATICK MA 01760-4632




032576P001-1409A-265             010313P001-1409A-265                     010005P001-1409A-265         010526P001-1409A-265
TOWN OF NORTH ATTLEBORO          TOWN OF NORTH ATTLEBOROUGH               TOWN OF SALEM, NH            TOWN OF SAUGUS
BOARD OF HEALTH                  PO BOX 315                               MUNICIPAL OFFICE BUILDING    PO BOX 4157
43 SOUTH WASHINGTON ST           MEDFORD MA 02155-0004                    33 GEREMONTY DR              WOBURN MA 01888-4157
NORTH ATTLEBORO MA 02760                                                  SALEM NH 03079-3390




032719P001-1409A-265             032577P001-1409A-265                     031630P001-1409A-265         031631P001-1409A-265
TOWN OF SAUGUS                   TOWN OF WATERTOWN                        TOWNE EAST SQUARE            TOWNE WEST SQUARE, LLC
COLLECTOR OF TAXES               TAX COLLECTOR'S OFFICE                   SIMON PROPERTY GROUP LP      PO BOX 402962
PO BOX 4157                      PO BOX 850                               867800 RELIABLE PKWY         ATLANTA GA 30384-2962
WOBURN MA 01888-4157             WATERTOWN MA 02471-0850                  CHICAGO IL 60686-0078




002118P001-1409A-265             000841P001-1409A-265                     004321P001-1409A-265         032578P001-1409A-265
NYESHA N TOWNS                   ANGELENA E TOWNSEND                      ASHLEIGH TOWNSEND            TOWNSHIP OF ABINGTON
2614 BON AIR DR                  1416 SKYRIDE DR APT D                    5700 DORCHESTER WAY          ABINGTON TOWNSHIP TREASURER
ORLANDO FL 32818                 CRYSTAL LAKE IL 60014                    IRONDALE AL 35210            1176 OLD YORK RD
                                                                                                       ABINGTON PA 19001
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009967P001-1409A-265                    032579P001-1409A-265                    032580P001-1409A-265                     033154P001-1409A-265
TOWNSHIP OF BENSALEM                    TOWNSHIP OF EAST BRUNSWICK              TOWNSHIP OF FREEHOLD                     TOWNSHIP OF FREEHOLD
2400 BYBERRY RD                         FOOD VENDOR ESTABLISHMENT               ONE MUNICIPAL PLZ                        WATER AND SEWER DEPT
BENSALEM PA 19020                       LICENSEE RENEWAL                        FREEHOLD NJ 07728                        1 MUNICIPAL PLZ
                                        PO BOX 1081                                                                      FREEHOLD NJ 07728
                                        EAST BRUNSWICK NJ 08816-1081



033154S001-1409A-265                    032581P001-1409A-265                    032582P001-1409A-265                     032583P001-1409A-265
TOWNSHIP OF FREEHOLD                    TOWNSHIP OF HAMILTON                    TOWNSHIP OF JACKSON                      TOWNSHIP OF LIVINGSTON
1 MUNICIPAL PLZ                         6101 THIRTEENTH ST                      MUNICIPAL BLDG                           DIVISION OF FIRE PREVENTION BU
FREEHOLD NJ 07728                       MAYS LANDING NJ 08330                   95 WEST VETERANS HWY                     62 SOUTH LIVINGSTON AVE
                                                                                JACKSON NJ 08527                         LIVINGSTON NJ 07039




033155P001-1409A-265                    032584P001-1409A-265                    032585P001-1409A-265                     010002P001-1409A-265
TOWNSHIP OF MOORESTOWN                  TOWNSHIP OF TOMS RIVER                  TOWNSHIP OF WAYNE                        TOWNSHIP OF WHITEHALL
111 W 2ND ST                            DEPT OF HEALTH                          475 VLY RD                               BUSINESS PRIVILEGE LICENSE
MOORESTOWN NJ 08057                     PO BOX 728                              WAYNE NJ 07470                           3221 MACARTHUR RD
                                        TOMS RIVER NJ 08754                                                              WHITEHALL PA 18052




031632P001-1409A-265                    037401P001-1409A-265                    031131P001-1409A-265                     035321P001-1409A-265
TOWSON TC LLC                           TOWSON TC LLC                           TOYSMITH                                 TRACE 3 LLC
FOUR STATE PROPERTIES LLC               AKA TOWSON TOWN CENTER                  3101 WEST VLY HWY E                      12636 HIGH BLUFF DRIVE SUITE 300
SDS 12-2891                             BROOKFIELD PROPERTY REIT INC            SUMNER WA 98390                          SAN DIEGO CA 92130
PO BOX 86                               350 N ORLEANS ST STE 300
MINNEAPOLIS MN 55486-2891               CHICAGO IL 60654-1607



032586P001-1409A-265                    036806P001-1409A-265                    035185P001-1409A-265                     035183P001-1409A-265
TRACE3                                  TRACE3                                  TRACE3 LLC                               TRACE3 LLC FIREWALL
3TRACE                                  PO BOX 847467                           CORPORATE WORKSTATIONS ADVANCED THREAT   12636 HIGH BLUFF DR STE 300
MERCY WELDON                            LOS ANGELES CA 90084-7467               12636 HIGH BLUFF DR STE 300              SAN DIEGO CA 92130
PO BOX 847467                                                                   SAN DIEGO CA 92130
LOS ANGELES CA 90084-7467



035182P001-1409A-265                    035184P001-1409A-265                    033746P001-1409A-265                     006157P001-1409A-265
TRACE3 LLC OFFICE 365 AD INTEGRATION    TRACE3 LLC SMART HAND SVC               TRACE4                                   CHELSEA C TRACEBAYLOR
12636 HIGH BLUFF DR STE 300             12636 HIGH BLUFF DR STE 300             TRACE3                                   11735 VLG HEIGHTS DR
SAN DIEGO CA 92130                      SAN DIEGO CA 92130                      15326 ALTON PKWY                         WAYNESBORO PA 17268
                                                                                IRVINE CA 92618




032587P001-1409A-265                    031633P001-1409A-265                    037498P001-1409A-265                     032588P001-1409A-265
TRACEY PHILLIPS                         TRACY MALL PARTNERS LP                  TRACY MALL PARTNERS LP                   TRACY NGUYEN
5013 FALLEN CREEK LN                    SDS-12-1385                             AKA WEST VALLEY MALL                     6353 HAZELTINE AVE
BIRMINGHAM AL 35235                     PO BOX 86                               BROOKFIELD PROPERTY REIT INC             VAN NUYS CA 91401
                                        MINNEAPOLIS MN 55486-1385               350 N ORLEANS ST STE 300
                                                                                CHICAGO IL 60654-1607
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005839P001-1409A-265                   036055P001-1409A-265                     034940P001-1409A-265                   030077P001-1409A-265
ANNABELLE TRACY                        ANNABELLE TRACY                          TRADEMARK MANAGEMENT LTD               TRADEMARK MANAGEMENT LTD (LANDLORD)
2628 S WADSWORTH WAY                   7110 W VIRGINIA AVE                      GALLERIA MALL INVESTORS LP             GALLERIA MALL INVESTORS LP
LAKEWOOD CO 80227                      APT A201                                 SIMON PROPERTY GROUP                   SIMON PROPERTY GROUP
                                       LAKEWOOD CO 80226                        225 W WASHINGTON ST                    GENERAL COUNSEL
                                                                                INDIANAPOLIS IN 46204                  225 W WASHINGTON ST
                                                                                                                       INDIANAPOLIS IN 46204


030078P001-1409A-265                   034167P001-1409A-265                     030078S001-1409A-265                   005868P001-1409A-265
TRADEMARK MANAGEMENT LTD (LANDLORD)    TRADEMARK MANAGEMENT, LTD                TRADEMARK MANAGEMENT, LTD (LANDLORD)   ALEXIS TRADER
UPTOWN VILLAGE AT CEDAR HILL LP        1701 RIVER RUN                           PTOWN VILLAGE AT CEDAR HILL, LP        2 ORLANDO CT
TRADEMARK PROPERTY CO                  STE 500                                  PROPERTY MANAGER                       SICKLERVILLE NJ 08081
LEGAL DEPT                             FORT WORTH TX 76107                      305 W FM 1382 STE 590
1701 RIVER RUN STE 500                                                          CEDAR HILL, TX 75104
FORT WORTH TX 76107


009629P001-1409A-265                   008621P001-1409A-265                     001774P001-1409A-265                   004022P001-1409A-265
ASHLEY TRAINOR                         ALYSSA TRAN                              ANDY T TRAN                            JACKLYN TRAN
208 74TH ST                            13093 MONICA CT                          111 ANDREA RD                          7788 16TH ST
NIAGARA FALLS NY 14304                 FAIRFAX VA 22030                         CHELTENHAM PA 19012-1311               WESTMINSTER CA 92683




036056P001-1409A-265                   001559P001-1409A-265                     036057P001-1409A-265                   006704P002-1409A-265
JACKLYN TRAN                           JANICE M TRAN                            JANICE M TRAN                          MIA N TRAN
119 NORTH GLENWOOD                     21095 VINCENT ACRES CIR                  233 LINDSEY CIR                        850 S PARKSIDE AVE
MIDLAND TX 79703                       DENHAM SPRINGS LA 70726                  CARENCRO LA 70520                      ELMHURST IL 60126




004457P001-1409A-265                   033260P001-1409A-265                     008735P001-1409A-265                   008898P001-1409A-265
NEENAH TRAN                            ROBERT TRAN                              SILVIE TRAN                            VICKIE TRAN
78 SHELDON ST                          ROBERT TRAN CONSULTING                   760 RIVER VIEW DR                      8751 GESSNER DR
QUINCY MA 02186                        1265 2ND AVE                             SAN JOSE CA 95111                      ELK GROVE CA 95624
                                       #1
                                       SAN FRANCISCO CA 94122



030785P001-1409A-265                   033526P001-1409A-265                     030786P002-1409A-265                   004333P001-1409A-265
TRANSGROUP EXPRESS INC                 TRANSITION STAFFING GROUP INC            TRANSPORTATION COMMODITIES INC         LAURA B TRAUD
PO BOX 69207                           TRANSITION STAFFING GROUP                AKA TCI LEASE RENTAL                   204 GRINDSTONE DR
SEATTLE WA 98168                       EMILY NEWTON                             TIM ANGEL                              APEX NC 27502
                                       PO BOX 2392                              4950 TRIGGS ST
                                       NEW YORK NY 10116-2392                   COMMERCE CA 90022



032589P001-1409A-265                   032590P001-1409A-265                     037691P001-1409A-265                   010604P001-1409A-265
TRAVEL EDGE USA, INC                   TRAVELERS                                TRAVELERS INDEMNITY CO ET AL           TRAVELERS PROPERTY CASUALTY CO OF AMERICA
WVT INC                                BANK OF AMERICA                          ACCOUNT RESOLUTION                     485 LEXINGTON AVE
2677 N MAIN ST                         91287 COLLECTIONS CTR DR                 SALVATORE MARINO                       6TH FL
STE 550                                CHICAGO IL 60693-1287                    ONE TOWER SQUARE 0000 FP15             NEW YORK NY 10017
SANTA ANA CA 92705                                                              HARTFORD CT 06183
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010601P001-1409A-265                        010209P001-1409A-265                      001930P001-1409A-265            031634P001-1409A-265
TRAVELERS PROPERTY CASUALTY INSURANCE CO    TRAVIS A HULSEY, DIRECTOR                 TALORIA I TRAYLOR               TRCC/ROCK OUTLET CENTER LLC
485 LEXINGTON AVE                           PO BOX 12207                              201 BLUE GABLE RD APT 505       4436 LEBEC RD
6TH FL                                      BIRMINGHAM AL 35202-2207                  HATTIESBURG MS 39401            LEBEC CA 93243
NEW YORK NY 10017




036950P001-1409A-265                        005162P001-1409A-265                      031635P001-1409A-265            034438P001-1409A-265
TRCCROCK OUTLET CENTER LLC                  CORAL G TREAMER                           TREASURE COAST SQUARE           TREASURE COAST-JCP ASSOCIATES
AUSTIN L MCMULLEN                           1600 CAROLINE ST                          TREASURE COAST-JCP ASSOCIATES   PO BOX 775746
1600 DIVISION ST STE 700                    FREDERICKSBURG VA 22401                   PO BOX 775746                   CHICAGO IL 60677-5746
NASHVILLE TN 37203                                                                    CHICAGO IL 60677-5746




010561P001-1409A-265                        010433P001-1409A-265                      010178P001-1409A-265            033156P001-1409A-265
TREASURER - TAX COLLECTOR                   TREASURER OF JAMES CITY COUNTY            TREASURER OF STATE OF OHIO      TREASURER SPOTSYLVANIA COUNTY
CHARLES LOMELI TAX COLLECTOR                BUSINESS LICENSE                          PO BOX 27                       UTILITY PAYMENTS
PO BOX 7407                                 PO BOX 8701                               COLUMBUS OH 43266-0027          PO BOX 9000
SAN FRANCISCO CA 94120-7407                 WILLIAMSBURG VA 23187                                                     SPOTSYLVANIA VA 22553




033156S001-1409A-265                        034700P001-1409A-265                      009997P001-1409A-265            010294P001-1409A-265
TREASURER SPOTSYLVANIA COUNTY               TREASURER STATE OF IOWA                   TREASURER STATE OF NEW JERSEY   TREASURER, CITY OF MEMPHIS
9104 COURTHOUSE RD                          KATHRYN FEHRING                           31 CLINTON ST                   DAVID LENOIR
SPOTSYLVANIA VA 22553                       321 EAST 12TH STREET                      PO BOX 46001                    PO BOX 2751
                                            DES MOINES IA 50319                       NEWARK NJ 07102                 MEMPHIS TN 38101-2751
                                            UNITED STATES



010220P001-1409A-265                        010181P001-1409A-265                      009971P001-1409A-265            010078P001-1409A-265
TREASURER, CITY OF ROANOKE                  TREASURER, STATE OF OHIO                  TREASURER, VIRGINIA BEACH       TREASURER-CITY OF CLEVELAND
PO BOX 1451                                 PO BOX 16560                              2401 COURTHOUSE DR              601 LAKESIDE AVE-RM 127
ROANOKE VA 24007-1451                       COLUMBUS OH 43216-6560                    VIRGINIA BEACH VA 23456-9018    CLEVELAND OH 44114-1015




010011P001-1409A-265                        010474P001-1409A-265                      001864P001-1409A-265            004130P001-1409A-265
TREASURER-STATE OF OHIO                     TREASURY DIVISION                         SAMUEL TREJOSIMON               ANA I TREMINIO
ALEXANDRA PINEDO                            MANAGER OF FINANCE                        220 N TORREY PINES DR           7603 AIMUA CT
3621 S HARBOR BLVD #110                     PO BOX 17420                              LAS VEGAS NV 89107-1307         HOUSTON TX 77083
SANTA ANA CA 92704                          DENVER CO 80217-0420




036174P001-1409A-265                        000653P001-1409A-265                      002809P001-1409A-265            004664P001-1409A-265
BELLE TRENDZ                                JOSEPHINE N TREVINO                       LYRISSA D TREVINO               MALYDIA A TREVINO
23552 CANYON VISTA CT                       3006 SAN PAULA AVE                        1414 N 31ST PL                  2105 GREEN TREE COVE
DIAMOND BAR CA 91765                        DALLAS TX 75228                           PHX AZ 85008                    ROUND ROCK TX 78665
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006384P001-1409A-265             008616P001-1409A-265                  031636P001-1409A-265            031132P001-1409A-265
MARIA I TREVINO                  CHELSEY TREZEVANT                     TRI COUNTRY MALL LLC            TRI-COASTAL DESIGN GROUP INC
837COLUMBIA AVE                  PO BOX 5817                           TRI-COUNTRY MALL LLC            CARY MORALES
LANCASTER PA 17603               WILLIAMSBURG VA 23188                 1700 PRINCETON PIKE             40 SHUPE BLVD
                                                                       CINCINNATI OH 45246             WHARTON NJ 07885




034166P001-1409A-265             030079P001-1409A-265                  030079S001-1409A-265            034748P002-1409A-265
TRI-COUNTRY MALL LLC             TRI-COUNTY MALL (LANDLORD)            TRI-COUNTY MALL (LANDLORD)      TRI-COUNTY MALL LLC
1700 PRINCETON PIKE              TRI COUNTY MALL                       ARNALL GOLDEN GREGORY LLP       11700 PRINCETON PIKE
CINCINNATI OH 45246              RENEE BELL                            RUSSELL A AROUH ESQ             CINCINNATI OH 45246
                                 11700 PRINCETON PIKE                  171 17TH ST NW STE 2100
                                 CINCINNATI OH 45246                   ATLANTA GA 30363



032592P002-1409A-265             000873P001-1409A-265                  005160P001-1409A-265            007387P001-1409A-265
TRICIA BRINK MANAGEMENT          EVA P TRIEU                           CHRISTINE E TRINGALI            DAGNES M TRINIDAD SANTIAGO
KEANNA PARDASSIE                 12220 BUCKSKIN TRL                    12 MACDONALD DR                 108 FILLMORE ST
2216 OCEAN PK BLVD STE A         POWAY CA 92064                        NASHUA NH 03062                 M
SANTA MONICA CA 90405                                                                                  PROVIDENCE RI 02908




002430P001-1409A-265             036058P001-1409A-265                  032593P001-1409A-265            034397P001-1409A-265
NANCY TRINIDAD                   SANTIAGO DAGNES M TRINIDAD            TRINTECH INC                    TRINTECH INC
4121 E HOLLAND AVE               108 FILLMORE ST                       THOMAS ALEXANDER                PO BOX 205367
FRESNO CA 93726                  M                                     PO BOX 205367                   DALLAS TX 75320-5367
                                 PROVIDENCE RI 02908                   DALLAS TX 75320-5367




035186P001-1409A-265             030080P001-1409A-265                  007026P001-1409A-265            032594P001-1409A-265
TRINTECH INC                     TRIPLE FIVE (LANDLORD)                ALANAH M TRISNA                 TRISTAN ILES JOHNSTON
15851 DALLAS PKWY STE 900        MOAC MALL HOLDINGS LLC                5325 74TH PL EAST OAKLEAF H     4148 CHARLES AVE
ADDISON TX 75001                 60 EAST BROADWAY                      ELLENTON FL 34222               CULVER CITY CA 90232
                                 BLOOMINGTON MN 55425




031133P001-1409A-265             036327P001-1409A-265                  002175P002-1409A-265            008842P002-1409A-265
TRIXXI CLOTHING CO               TRIXXI CLOTHING COMPANY               LEILANI A TROCHE                AMANDA B TROOST
YANI VASQUEZ                     6817 E ACCO ST                        329 HANOVER ST                  1301 BRIDGE XING
6817 E ACCO ST                   COMMERCE CA 90040                     MERIDEN CT 06451-5468           YORKTOWN VA 23692-4797
COMMERCE CA 90040




030219P001-1409A-265             004698P001-1409A-265                  003523P001-1409A-265            006346P001-1409A-265
ANGELEE TROSCLAIR                ANGELEE A TROSCLAIR                   DANIELLE TROTMAN                MICHELLE S TROTMAN
ADDRESS INTENTIONALLY OMITTED    3104 KENTA DR                         705 COMMONS CT                  240 CROWN ST
                                 MARRERO LA 70072                      EAST STROUDSBURG PA 18301       APT 4F
                                                                                                       BROOKLYN NY 11225
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005925P001-1409A-265               033387P001-1409A-265                              033747P001-1409A-265                   031134P001-1409A-265
JANE L TROWBRIDGE                  TROY JAMES BOYS                                   TRS RECOVERY SVC                       TRUE BRANDS
1806 NE 85TH TER                   ADAM K                                            5251 WESTHEIMER                        KRISTIN LYNCH
KANSAS CITY MO 64155               3651 LINDELL RD                                   HOUSTON TX 77056                       154 N 35TH ST
                                   STE D                                                                                    SEATTLE WA 98107
                                   LAS VEGAS NV 89103



030840P001-1409A-265               036328P001-1409A-265                              008163P001-1409A-265                   007092P001-1409A-265
TRUE ELITE LTD                     TRUE ELITE LTD                                    ERIELLE A TRUEHEART                    DANIEL TRUITT
DAVID ROSENFELT                    F202 HUIFUN INTERNATIONAL NANG DAOJIAO            11 HIGHGATE AVE                        2505 TONI AVE
F202 HUIFUN INTERNATIONAL NANG     DONGGUAN                                          BUFFALO NY 14214                       SPRINGDALE AR 72762
DAOJIAO DONGGUAN GU                GUANGDONG
CHINA                              CHINA



002932P002-1409A-265               000967P001-1409A-265                              006797P001-1409A-265                   033748P001-1409A-265
BRIANNE S TRUJILLO                 TIFFANY C TRULL                                   MORGAN J TRULOVE                       TRULYCREATIVE NETWORK SOLUTIONS
1008 HERBERT CIR                   23 LINLEW DR APT 17                               1231 E OMAHA ST                        25060 HANCOCK AVE
LOS ANGELES CA 90063-1746          DERRY NH 03038                                    APT B2                                 #250
                                                                                     BROKEN ARROW OK 74012                  MURRIETA CA 92562




034378P001-1409A-265               009911P001-1409A-265                              036922P001-1409A-265                   031637P001-1409A-265
TRUMBALL SHOPPING CENTER #2 LLC    TRUMBULL COUNTY TREASURER                         TRUMBULL SHOPPING CENTER NO 2 LLC      TRUMBULL SHOPPING CENTER#2 LLC
BANK OF AMERICA                    160 HIGH ST NW                                    LECLAIRRYAN PLLC                       BANK OF AMERICA
FILE # 56817                       WARREN OH 44481-1090                              NICLAS A FERLAND                       FILE # 56817
LOS ANGELES CA 90074-6817                                                            545 LONG WHARF DR 9TH FL               LOS ANGELES CA 90074-6817
                                                                                     NEW HAVEN CT 06511



010072P001-1409A-265               037526P002-1409A-265                              037526S001-1409A-265                   034386P001-1409A-265
TRUMBULL TAX COLLECTOR             TRUSTEES OF THE ESTATE OF BERNICE                 TRUSTEES OF THE ESTATE OF BERNICE      TRUSTEESOF THE ESTATE OF
TOWN OF TRUMBULL CT                PAUAHI BISHOP DBA KAMEHAMEHA SCHOOLS              PAUAHI BISHOP DBA KAMEHAMEHA SCHOOLS   BERNICE PAUAHI BISHOP WINDWARD
5866 MAIN ST PO BOX 110326         AKA WINDWARD MALL                                 AKA WINDWARD MALL                      MALL PO BOX 31000 BOX 5497
TRUMBULL CT 06611-0326             RUSH MOORE LLP                                    JONES LANG LASALLE AMERICAS INC        HONOLULU HI 96849-5797
                                   737 BISHOP ST STE 2400                            46-056 KAMEHAMEHA HWY STE 285
                                   HONOLULU HI 96813                                 KANEOHE HI 96744


033473P001-1409A-265               008604P001-1409A-265                              000723P001-1409A-265                   037676P001-1409A-265
TRUSTWAVE HOLDINGS INC             JULIA C TRUSZKIEWICZ                              JENNIFER TSANGARIS                     TTEES OF THE EST OF BERNICE PAUAHI BISHOP
TRUSTWAVE                          1885 N NICOLE LN                                  507 GENEVA AVE                         D/B/A KAMEHAMEHA SCHOOLS
DEPARTMENT CH 19213                ROUND LAKE BEACH IL 60073                         STRUTHERS OH 44471                     RUSH MOORE LLP SUSAN TIUS ESQ
PALATINE IL 60055-9213                                                                                                      737 BISHOP STREET SUITE 2400
                                                                                                                            HONOLULU HI 96813
                                                                                                                            UNITED STATES


007238P001-1409A-265               005947P001-1409A-265                              004728P001-1409A-265                   007234P001-1409A-265
TATIANA M TUAPANTE                 SHALONZIA TUBBS                                   MARICA TUBMAN                          AMBER M TUCKER
55 WILLIAM ST                      1002 4TH AVE                                      242 AMELIA DR W                        3906 GRAMMONT ST
APT 2                              SELMA AL 36701                                    MARTINEZ GA 30907                      MONROE LA 71203
SOUTH RIVER NJ 08882
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003859P001-1409A-265        003417P001-1409A-265                   004715P002-1409A-265           033157P001-1409A-265
CIERA M TUCKER              KENDRA M TUCKER                        MYA R TUCKER                   TUCSON ELECTRIC POWER CO
2959 NTH 61ST               506 HUGER ST                           48108 20TH ST W                PO BOX 80077
MILWAUKEE WI 53210          COLUMBIA SC 29201                      BRADENTON FL 34207-1927        PRESCOTT AZ 86304




033157S001-1409A-265        001777P001-1409A-265                   007485P001-1409A-265           006230P001-1409A-265
TUCSON ELECTRIC POWER CO    LILIANA TUDA                           REBECCA TUDOR                  SABRINA A TUFFOUR
88 EAST BROADWAY BLVD       663 GOLDEN EAGLE                       110 N MAIN ST                  912 SOMERSET ST
TUCSON AZ 85701             CHAPARRAL NM 88081                     4                              APT 5
                                                                   BERLIN MD 21811                NEW BRUNSWICK NJ 08901




006688P001-1409A-265        032595P001-1409A-265                   007783P001-1409A-265           031638P001-1409A-265
KIARA S TUGGLE              TULARE COUNTY TAX COLLECTOR            ARIN TULLOCH                   TULSA REALTY 126 LLC
8619 CHESTERFIELD DR        221 S MOONEY BLVD                      10014 PALERMO CIR              4107 SOUTH YALE AVE
SOUTHAVEN MS 38671          RM 104-E                               302                            TULSA OK 74135
                            VISALIA CA 93291                       BRANDON FL 33619




005810P001-1409A-265        031639P001-1409A-265                   034192P001-1409A-265           037406P001-1409A-265
TAYLA D TUNSTALL            TUP 130 LLC                            TUP 130 LLC                    TUP 130 LLC
5377 BLUE RIDGE PKWY        GENERAL COUNSEL                        ROUSE PROPERTIES LLC           AKA THE MALL AT BARNES CROSSING
MEMPHIS TN 38134            DONNA JARZEN                           GENERAL COUNSEL                BROOKFIELD PROPERTY REIT INC
                            CO ROUSE PROPERTIES LLC                200 VESEY ST                   350 N ORLEANS ST STE 300
                            200 VESEY ST 25TH FL                   25TH FL                        CHICAGO IL 60654-1607
                            NEW YORK NY 10281                      NEW YORK NY 10281


007198P001-1409A-265        003097P001-1409A-265                   036420P001-1409A-265           009545P001-1409A-265
ALIPATE F TUPOU             SYDNEY TURBEKHEAL                      BRITTNEY TURBERVILLE           TERE Q TURBERVILLE
1239 W FOURTH ST            6075 PIERCE ST                         5434 COTTAGE LN                1001 GREEN ACRES
D                           ARVADA CO 80003                        HOOVER AZ 35226                GEORGETOWN TX 78626
ONTARIO CA 91762




009626P001-1409A-265        009023P001-1409A-265                   030763P001-1409A-265           036329P001-1409A-265
TREVOR N TURGEON            ALINA TURLA                            TURN ON PRODUCTS INC           TURN ON PRODUCTS INC DBA
368 GREEN HOLLOW RD         1345 10TH AVE EAST                     MARC WASSERMAN                 263 W 38TH ST 8TH FL
DANIELSON CT 06239          APT 1406                               263 W 38TH ST 8TH FL           NEW YORK NY 10018
                            TUSCALOSSA AL 35404                    NEW YORK NY 10018




009099P001-1409A-265        006893P001-1409A-265                   007520P001-1409A-265           036059P002-1409A-265
TAYLOR M TURNBOW            ANDREAS TURNER                         ASHLEY R TURNER                DYMOND TURNER
4317 MINERAL AVE SW         26115 PENNIE ST                        2901 MAYFIELD RD 3208          8 TROPHY LN
BIRMINGHAM AL 35221         DEARBORN HEIGHTS MI 48125              3208                           KISSIMMEE FL 34759
                                                                   GRAND PRAIRIE TX 75052
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008081P001-1409A-265                         007990P001-1409A-265                               036657P001-1409A-265                   008108P001-1409A-265
JALEESA N TURNER                             LILLIANN E TURNER                                  MELISSA TURNER                         TATYANA TURNER
2845 ZELDA RD APT G5                         640 DR MARY MCLEOD BETHUNE BLV                     3438 S IRISH RD                        414 EMILY LN
MONTGOMERY AL 36106                          DAYTONA BEACH FL 32114                             DAVISON MI 48423-2440                  WINCHESTER VA 22602




008487P001-1409A-265                         002125P001-1409A-265                               031640P002-1409A-265                   031640S001-1409A-265
WINTER C TURNER                              TAYANA D TURNERMUSE                                TURTLE CREEK LIMITED PARTNERSHIP       TURTLE CREEK LIMITED PARTNERSHIP
443 E WILBUR AVE                             36221 GRAND RIVER AVE APT 2                        BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
MILWAUKEE WI 53207                           204                                                GARY RODDY                             CALEB HOLZAEPFEL
                                             FARMINGTON MI 48335                                2030 HAMILTON PL BLVD STE 500          736 GEORGE AVE STE 300
                                                                                                CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402



010253P001-1409A-265                         005034P001-1409A-265                               005860P001-1409A-265                   031135P001-1409A-265
TUSCALOOSA COUNTY RETURN                     ADRIANNA W TUTT                                    LAPREA N TUTT                          TUTTO DI ME
SALES TAX RETURN                             311 WEST SYLVANIA AVE APT 239B                     2835 ASHLAND AVE                       1582 E23RD ST
PO BOX 20738                                 NEPTUNE NJ 07753                                   BALTIMORE MD 21205                     LOS ANGELES CA 90011
TUSCALOOSA AL 35402-0738




009661P001-1409A-265                         036126P001-1409A-265                               007320P001-1409A-265                   032767P001-1409A-265
ADNA TUTUNDZIC                               TVO MALL OWNER LLC                                 MAGDA TWARDOWSKA                       TWELVE OAKS MALL LLC
76 HILLSIDE RD                               ANDREW S CONWAY                                    89 CANAAN CT                           NANCY N DAVIS
PENFIELD NY 14526                            THE TAUBMAN CO                                     UNIT 27 BUILDI                         DEPARTMENT 52701
                                             200 EAST LONG LAKE RD                              STRATFORD CT 06614                     PO BOX 67000
                                             SUITE 300                                                                                 DETROIT MI 48267-0527
                                             BLOOMFIELD HILLS MI 48304


031641P001-1409A-265                         007422P001-1409A-265                               030841P001-1409A-265                   030764P001-1409A-265
TWELVE OAKS MALL, LLC                        ERIN TWILLIE                                       TWITTEX LIMITED                        TWO GUYS AND ONE LLC
DEPARTMENT 52701                             35305 CORNER DR                                    VLAD BEL                               KANDICE HONBO
PO BOX 67000                                 SLIDELL LA 70460                                   RM 1311 DIE JING ZHONG RD              3011 E PICO BLVD
DETROIT MI 48267-0527                                                                           82 PEARL RIVER WOVEN BLDG              #A
                                                                                                GUANGZHOU 510000                       LOS ANGELES CA 90023
                                                                                                CHINA


036330P001-1409A-265                         031136P001-1409A-265                               036331P001-1409A-265                   034693P002-1409A-265
TWO GUYS AND ONE LLC                         TWO'S CO                                           TWO'S CO                               TX- ALLEN ISD
3011 E PICO BLVD #A                          AMLYNCHSBCGLOBALNET                                500 SAW MILL RIVER RD                  LINEBARGER GOGGAN BLAIR AND SAMPSON LLP
LOS ANGELES CA 90023                         ANGELA LYNCH                                       ELMSFORD NY 10523                      ELIZABETH WELLER
                                             500 SAW MILL RIVER RD                                                                     2777 N STEMMONS FRWY STE 1000
                                             ELMSFORD NY 10523                                                                         DALLAS TX 75207



034666P002-1409A-265                         034669P002-1409A-265                               036908P001-1409A-265                   035237P002-1409A-265
TX- ARLINGTON INDEPENDENT SCHOOL DISTRICT    TX- BEXAR COUNTY                                   TX- BRAZORIA COUNTY TAX OFFICE         TX- CAMERON COUNTY
PERDUE BRANDON FIELDER ET AL                 LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            PERDUE BRANDON FIELDER ET AL           LINEBARGER GOGGAN BLAIR AND SAMPSON LLP
EBONEY COBB                                  711 NAVARRO ST STE 300                             MICHAEL J DARLOW                       DIANE W SANDERS
500 E BORDER ST STE 640                      SAN ANTONIO TX 78205                               1235 N LOOP WEST STE 600               PO BOX 17428
ARLINGTON TX 76010                                                                              HOUSTON TX 77008                       AUSTIN TX 78760
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037879P001-1409A-265                       034670P002-1409A-265                               034662P001-1409A-265                      034664P001-1409A-265
TX- CITY OF ALLEN                          TX- CITY OF EL PASO                                TX- CITY OF GARLAND                       TX- CITY OF GRAPEVINE
LINEBARGER GOGGAN BLAIR AND SAMPSON        LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            PERDUE BRANDON FIELDER ET AL              PERDUE BRANDON FIELDER ET AL
ELIZABETH WELLER                           711 NAVARRO ST STE 300                             EBONEY COBB                               EBONEY COBB
2777 N STEMMONS FRWY STE 1000              SAN ANTONIO TX 78205                               500 E BORDER ST STE 640                   500 E BORDER ST STE 640
DALLAS TX 75207                                                                               ARLINGTON TX 76010                        ARLINGTON TX 76010



037534P002-1409A-265                       036909P001-1409A-265                               035239P002-1409A-265                      035370P003-1409A-265
TX- CITY OF HARLINGEN                      TX- CITY OF HOUSTON                                TX- CITY OF MCALLEN                       TX- CITY OF MERCEDES
LINEGARGER GOGGAN BLAIR & SAMPSON LLP      PERDUE BRANDON FIELDER ET AL                       LINEBARGER GOGGAN BLAIR AND SAMPSON LLP   PERDUE BRANDON FIELDER COLLINS AND MOTT LLP
DIANE W SANDERS                            MICHAEL J DARLOW                                   DIANE W SANDERS                           JOHN T BANKS
PO BOX 17428                               1235 N LOOP WEST STE 600                           PO BOX 17428                              3301 NORTHLAND DR STE 505
AUSTIN TX 78760                            HOUSTON TX 77008                                   AUSTIN TX 78760                           AUSTIN TX 78731



035379P001-1409A-265                       035379S001-1409A-265                               034651P001-1409A-265                      010569P002-1409A-265
TX- CITY OF MESQUITE AND MESQUITE ISD      TX- CITY OF MESQUITE AND MESQUITE ISD              TX- CITY OF WACO AND OR WACO ISD          TX- CLEAR CREEK ISD
757 N GALLOWAY AVE                         SCHUERENBERG AND GRIMES                            MCCREARY VESELKA BRAGG AND ALLEN PC       PERDUE BRANDON FIELDER ET AL
MESQUITE TX 75149                          GARY A GRIMES                                      TARA LEDAY                                CARL O SANDIN
                                           120 W MAIN STE 201                                 PO BOX 1269                               1235 N LOOP WEST STE 600
                                           MESQUITE TX 75149                                  ROUND ROCK TX 78680-1269                  HOUSTON TX 77008



009778P002-1409A-265                       034647P001-1409A-265                               034648P001-1409A-265                      034649P001-1409A-265
TX- COMPTROLLER OF PUBLIC ACCOUNTS         TX- COUNTY OF BRAZOS ET AL                         TX- COUNTY OF COMAL ET AL                 TX- COUNTY OF DENTON ET AL
OFFICE OF THE ATTORNEY GENERAL             MCCREARY VESELKA BRAGG AND ALLEN PC                MCCREARY VESELKA BRAGG AND ALLEN PC       MCCREARY VESELKA BRAGG AND ALLEN PC
BANKRUPTCY COLLECTIONS DIV                 TARA LEDAY                                         TARA LEDAY                                TARA LEDAY
PO BOX 12548 MC 008                        PO BOX 1269                                        PO BOX 1269                               PO BOX 1269
AUSTIN TX 78711                            ROUND ROCK TX 78680-1269                           ROUND ROCK TX 78680-1269                  ROUND ROCK TX 78680-1269



034650P001-1409A-265                       034652P001-1409A-265                               034667P002-1409A-265                      035226P002-1409A-265
TX- COUNTY OF HAYS ET AL                   TX- COUNTY OF WILLIAMSON ET AL                     TX- CROWLEY INDEPENDENT SCHOOL DISTRICT   TX- CYPRESS FAIRBANKS ISD
MCCREARY VESELKA BRAGG AND ALLEN PC        MCCREARY VESELKA BRAGG AND ALLEN PC                PERDUE BRANDON FIELDER ET AL              LINEBARGER GOGGAN BLAIR AND SAMPSON LLP
TARA LEDAY                                 TARA LEDAY                                         EBONEY COBB                               PO BOX 3064
PO BOX 1269                                PO BOX 1269                                        500 E BORDER ST STE 640                   HOUSTON TX 77253-3064
ROUND ROCK TX 78680-1269                   ROUND ROCK TX 78680-1269                           ARLINGTON TX 76010



034663P002-1409A-265                       035227P001-1409A-265                               009862P002-1409A-265                      036911P001-1409A-265
TX- DALLAS COUNTY                          TX- FORT BEND COUNTY                               TX- FORT BEND COUNTY LID 2                TX- FORT BEND ISD
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    LINEBARGER GOGGAN BLAIR AND SAMPSON                PERDUE BRANDON FIELDER ET AL              PERDUE BRANDON FIELDER ET AL
ELIZABETH WELLER                           PO BOX 3064                                        CARL O SANDIN                             YOLANDA HUMPHREY
2777 N STEMMONS FRWY STE 1000              HOUSTON TX 77253-3064                              1235 N LOOP WEST STE 600                  1235 N LOOP WEST STE 600
DALLAS TX 75207                                                                               HOUSTON TX 77008                          HOUSTON TX 77008



037921P001-1409A-265                       034661P002-1409A-265                               034665P001-1409A-265                      035220P002-1409A-265
TX- FRISCO INDEPENDENT SCHOOL DISTRICT     TX- GARLAND INDEPENDENT SCHOOL DISTRICT            TX- GRAPEVINE COLLEYVILLE ISD             TX- HARLINGEN CISD
PERDUE BRANDON FIELDER ET AL               PERDUE BRANDON FIELDER ET AL                       PERDUE BRANDON FIELDER ET AL              LINEBARGER GOGGAN BLAIR AND SAMPSON LLP
ERIN HUTTO                                 EBONEY COBB                                        EBONEY COBB                               DIANE W SANDERS
1919 S SHILOH RD STE 310 LB 40             500 E BORDER ST STE 640                            500 E BORDER ST STE 640                   PO BOX 17428
GARLAND TX 75042                           ARLINGTON TX 76010                                 ARLINGTON TX 76010                        AUSTIN TX 78760
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035229P002-1409A-265                       009863P002-1409A-265                               009864P002-1409A-265                      035238P001-1409A-265
TX- HARRIS COUNTY ET AL                    TX- HARRIS COUNTY M U D 358                        TX- HARRIS COUNTY WCID #155               TX- HIDALGO COUNTY
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    PERDUE BRANDON FIELDER ET AL                       PERDUE BRANDON FIELDER ET AL              LINEBARGER GOGGAN BLAIR AND SAMPSON
JOHN P DILLMAN                             CARL O SANDIN                                      CARL O SANDIN                             DIANE W SANDERS
PO BOX 3064                                1235 N LOOP WEST STE 600                           1235 N LOOP WEST STE 600                  PO BOX 17428
HOUSTON TX 77253-3064                      HOUSTON TX 77008                                   HOUSTON TX 77008                          AUSTIN TX 78760



010523P002-1409A-265                       035228P002-1409A-265                               034660P001-1409A-265                      034672P001-1409A-265
TX- HUMBLE INDEPENDENT SCHOOL DISTRICT     TX- JEFFERSON COUNTY                               TX- LEWISVILLE ISD                        TX- LUBBOCK CENTRAL APPRAISAL DISTRICT
PERDUE BRANDON FIELDER ET AL               LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            LINEBARGER GOGGAN BLAIR AND SAMPSON       PERDUE BRANDON FIELDER ET AL
CARL O SANDIN                              PO BOX 3064                                        ELIZABETH WELLER                          LAURA J MONROE
1235 N LOOP WEST STE 600                   HOUSTON TX 77253-3064                              2777 N STEMMONS FRWY STE 1000             PO BOX 817
HOUSTON TX 77008                                                                              DALLAS TX 75207                           LUBBOCK TX 79408



035240P002-1409A-265                       010040P002-1409A-265                               034671P001-1409A-265                      035225P001-1409A-265
TX- MCLENNAN COUNTY                        TX- MIDLAND CENTRAL APPRAISAL DISTRICT ET AL       TX- MIDLAND COUNTY                        TX- MONTGOMERY COUNTY
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    MCCREARY VESELKA BRAGG AND ALLEN PC                PERDUE BRANDON FIELDER ET AL              LINEBARGER GOGGAN BLAIR AND SAMPSON
DIANE W SANDERS                            TARA LEDAY                                         LAURA J MONROE                            PO BOX 3064
PO BOX 17428                               PO BOX 1269                                        PO BOX 817                                HOUSTON TX 77253-3064
AUSTIN TX 78760                            ROUND ROCK TX 78680-1269                           LUBBOCK TX 79408



034659P002-1409A-265                       035241P002-1409A-265                               034658P002-1409A-265                      010241P002-1409A-265
TX- NORTHWEST ISD                          TX- SAN MARCOS CISD                                TX- SMITH COUNTY                          TX- SPRING BRANCH ISD
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    LINEBARGER GOGGAN BLAIR AND SAMPSON LLP            LINEBARGER GOGGAN BLAIR AND SAMPSON LLP   PERDUE BRANDON FIELDER ET AL
ELIZABETH WELLER                           DIANE W SANDERS                                    ELIZABETH WELLER                          OWEN M SONIK
2777 N STEMMONS FRWY STE 1000              PO BOX 17428                                       2777 N STEMMONS FRWY STE 1000             1235 N LOOP WEST STE 600
DALLAS TX 75207                            AUSTIN TX 78760                                    DALLAS TX 75207                           HOUSTON TX 77008



034668P002-1409A-265                       031775P002-1409A-265                               034694P001-1409A-265                      037814P002-1409A-265
TX- TARRANT COUNTY                         TX- TAX APPRASIAL DISTRICT BELL COUNTY ET AL       TX- TAXING DISTRICTS COLLECTED BY         TX- TYLER INDEPENDENT SCHOOL DISTRICT
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    MCCREARY VESELKA BRAGG AND ALLEN PC                POTTER COUNTY                             TAB BEALL
ELIZABETH WELLER                           TARA LEDAY                                         PERDUE BRANDON FIELDER COLLINS AND MOTT   PERDUE BRANDON FIELDER COLLINS AND MOTT
2777 N STEMMONS FRWY STE 1000              PO BOX 1269                                        PO BOX 9132                               PO BOX 2007
DALLAS TX 75207                            ROUND ROCK TX 78680-1269                           AMARILLO TX 79105-9132                    TYLER TX 75710-2007



035340P002-1409A-265                       032654P002-1409A-265                               036910P001-1409A-265                      033158P001-1409A-265
TX- VICTORIA COUNTY                        TX- WOODLANDS METRO CENTER MUD                     TX- WOODLANDS ROAD UTILITY DISTRICT #1    TXU ENERGY
LINEBARGER GOGGAN BLAIR AND SAMPSON LLP    PERDUE BRANDON FIELDER ET AL                       PERDUE BRANDON FIELDER ET AL              PO BOX 650638
DIANE W SANDERS                            MICHAEL J DARLOW                                   MICHAEL J DARLOW                          DALLAS TX 75265
PO BOX 17428                               1235 N LOOP WEST STE 600                           1235 N LOOP WEST STE 600
AUSTIN TX 78760                            HOUSTON TX 77008                                   HOUSTON TX 77008



033158S001-1409A-265                       035354P001-1409A-265                               032596P001-1409A-265                      036461P001-1409A-265
TXU ENERGY                                 TXU ENERGY RETAIL CO LLC                           TYCO INTEGRATED SECURITY LLC              DALLAS TYE
6555 SIERRA DR                             BANKRUPTCY DEPT                                    TYCO FIRE AND SECURITY (US) MANA          331 BURRANEER BAY ROAD CARINGBAH 0
IRVING TX 75039                            PO BOX 650393                                      PO BOX 371967                             NSW 2229
                                           DALLAS TX 75265                                    PITTSBURGH PA 15250-7967                  AUSTRALIA
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031642P001-1409A-265              037353P001-1409A-265                       032597P001-1409A-265             008619P001-1409A-265
TYLER MALL LIMITED PARTNERSHIP    TYLER MALL LIMITED PARTNERSHIP             TYLER POLICE DEPT                ASHLEIGH TYLER
GGP-TRS LLC                       AKA GALLERIA AT TYLER5                     WANDA BALWIN                     321 FIREWEED LN
SDS-12-3113                       BROOKFIELD PROPERTY REIT INC               711 WEST FERGUSON ST             FORT COLLINS CO 80524
PO BOX 86                         350 N ORLEANS ST STE 300                   TYLER TX 75702-5696
MINNEAPOLIS MN 55486-3113         CHICAGO IL 60654-1607



008524P001-1409A-265              007014P001-1409A-265                       008340P001-1409A-265             001812P001-1409A-265
BRIANNA J TYLER                   JAIYDA E TYLER                             KREMIA A TYLER                   LOREN A TYLER
1651 POST RD 208                  5001 WAINWRIGHT AVE                        1416 RALEIGH DR                  4441 HOME STAKES DR
SAN MARCOS TX 78666               LANSING MI 48911                           COLUMBIA MO 65202                APT 6
                                                                                                              PARKTON NC 28371




036060P001-1409A-265              006437P001-1409A-265                       002487P001-1409A-265             030181P001-1409A-265
LOREN A TYLER                     MORGHAN D TYLER                            WHITNEY TYLER                    AJAI B TYNES
403 GENOVA DR                     510 SPARTA LN                              9905 ALEXIA DR                   ADDRESS INTENTIONALLY OMITTED
APT 37A                           412                                        INDIANAPOLIS IN 46236
FAYETTEVILLE NC 28303             SPARTANBURG SC 29303




006065P001-1409A-265              031643P001-1409A-265                       007665P001-1409A-265             007700P001-1409A-265
TYRA M TYREE                      TYRONE SQUARE/ SIMON CAPITAL GP            TIONNA B TYRONE                  GABRIELLE TYSON
2402 TREELODGE PKWY               SIMON PROPERTY GROUP LP                    702 SALEM RD                     415 REBECCA AVE
ATLANTA GA 30350                  PO BOX 775758                              APT #437                         DOTHAN AL 36303
                                  CHICAGO IL 60677-5758                      VICTORIA TX 77904




009201P001-1409A-265              031644P001-1409A-265                       037769P001-1409A-265             003412P001-1409A-265
LAURYN D TYSON                    TYSONS CORNER HOLDING LLC                  TYSONS CORNER HOLDINGS LLC       MARIELA S TZIC
7511 PENNINGTON RD                PO BOX 849554                              BALLARD SPAHR LLP                4908 S BROADWAY
NORFOLK VA 23505                  LOS ANGELES CA 90084-9554                  DUSTIN P BRANCH                  LOS ANGELES CA 90037
                                                                             2029 CENTURY PARK EAST STE 800
                                                                             LOS ANGELES CA 90067-2909



001659P001-1409A-265              031137P001-1409A-265                       033749P001-1409A-265             000545P001-1409A-265
ANDREA M TZINTZUN                 TZUMI ELECTRONICS LLC                      UC4 SOFTWARE INC                 ANDREA MAE N UDAN
1068 ONDINE CT                    FRED ERANI                                 10901 W 120TH AVE                704 DEL MAR CIR
SAN JOSE CA 95132-3136            16 EAST 34TH ST                            BROOMFIELD CO 80021              VACAVILLE CA 95688
                                  NEW YORK NY 10016




004651P001-1409A-265              036061P001-1409A-265                       001908P001-1409A-265             033159P001-1409A-265
ANDREA UGARTE RETOLAZA            RETOLAZA ANDREA UGARTE                     ZENAIDA UGARTE                   UGI PENN NATURAL GAS INC
208 ESTELLA AVE                   208 ESTELLA AVE                            5959 CASA DEL REY CIR            PO BOX 15533
LAS VEGAS NV 89107                LAS VEGAS NV 89107                         ORLANDO FL 32809-5302            WILMINGTON DE 19886
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033159S001-1409A-265           037523P001-1409A-265                    008347P001-1409A-265                     031645P001-1409A-265
UGI PENN NATURAL GAS INC       UGI UTILITIES INC                       KATE E UHELSKY                           UK LASALLE, INC
ONE UGI CENTER                 AKA UGI PENN NATURAL GAS                406 SUMNER ST                            CUMBERLAND MALL
WILKES-BARRE PA 18711-0601     MELANIE M ANDERSON                      B8                                       SDS-12-1662
                               PO BOX 13009                            AKRON OH 44304                           PO BOX 86
                               READING PA 19612                                                                 MINNEAPOLIS MN 55486-1662



006630P001-1409A-265           036062P001-1409A-265                    008507P001-1409A-265                     036808P001-1409A-265
ARIANNA N ULATE                ARIANNA N ULATE                         BAY F ULERY                              ULINE
13300 SE SUNSET HARBOR RD      13 BAHIA PASS LOOP                      4684 WHARFSIDE PKWY                      PO BOX 88741
WEIRSDALE FL 32195             OCALA FL 34472                          LAFAYETTE IN 47909                       CHICAGO IL 60680-1741




032600P002-1409A-265           003778P001-1409A-265                    036587P001-1409A-265                     004524P001-1409A-265
ULINE SHIPPING SUPPLIES        JENNIFER J ULLOA                        KAYLYN E ULMER                           EMERALD A UMANA
NANCY L HALCOM                 4211 W COUNTRY AVE                      1603 SANDHILL RD                         13 FIESTA DR
12575 ULINE DR                 VISALIA CA 93291                        OREM UT 84058-7531                       CENTEREACH NY 11720
PLEASANT PRAIRIE WI 53158




007372P001-1409A-265           036063P001-1409A-265                    035197P001-1409A-265                     037174P001-1409A-265
IMANOL B UNANUE                MYONNA L UNDERWOOD                      UNDERWRITERS AT LLOYDS LONDON            UNIDAYS INC
CALLE AMBAR #55                32236 ELLEN PL                          ONE LIME STREET                          FAO A FROST
GURABO PR 00778                WAYNE MI 48184                          LONDON EC3M 7HA                          276 FIFTH AVE
                                                                       UNITED KINGDOM                           SUITE 711 7TH FLOOR
                                                                                                                NEW YORK NY 10001



032601P001-1409A-265           030842P001-1409A-265                    036945P001-1409A-265                     032602P001-1409A-265
UNIDAYS, INC                   UNIQUE FASHION CO LTD                   UNITED CALIFORNIA DISCOUNT CORP          UNITED CALIFORNIA GLASS AND DOOR
STE 711 7TH FL                 F518 BLDG 28 NO 140 TIAN LIN            UC FACTORS                               ANETTE GAWENDA
276 FIFTH AVE                  SHANGHAI 200233                         2200 E RTE 66 STE 102                    745 CESAR CHAVEZ
NEW YORK NY 10001              CHINA                                   PO BOX 187                               SAN FRANCISCO CA 94124
                                                                       GLENDORA CA 91740



032603P001-1409A-265           035188P001-1409A-265                    035187P001-1409A-265                     010009P001-1409A-265
UNITED HEALTHCARE INSURANCE    UNITED HEALTHCARE INSURANCE             UNITED HEALTHCARE INSURANCE MEDICAL RX   UNITED ISD
22703 NETWORK PL               STOP LOSS                               AND STOP LOSS                            3501 E SAUNDERS
CHICAGO IL 60673-1227          185 ASYLUM ST                           185 ASYLUM ST                            LAREDO TX 78041
                               HARTFORD CT 06103-3408                  HARTFORD CT 06103-3408




030787P001-1409A-265           033481P001-1409A-265                    032604P001-1409A-265                     010010P001-1409A-265
UNITED PARCEL SVC              UNITED PARCEL SVC                       UNITED STATES POSTAL SVC                 UNITED STATES SECRET SVC
PO BOX 894820                  UPS                                     USPS/NEOPOST                             3520 THOMASVILLE RD
LOS ANGELES CA 90189-4820      LOCKBOX 577                             PO BOX 894715                            STE 301
                               CAROL STREAM IL 60132-0577              LOS ANGELES CA 90189-4715                TALLAHASSEE FL 32309
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032605P001-1409A-265                  036890P001-1409A-265                               036890S001-1409A-265                      037886P001-1409A-265
UNITED STATES TREASURY                THE UNITED TELEHONE CO OF PENNSYLVANIA             THE UNITED TELEHONE CO OF PENNSYLVANIA    UNITED TELEPHONE CO OF OHIO DBA
DEPT OF THE TREASURY                  DBA CENTURYLINK                                    DBA CENTURYLINK                           CENTURYLINK
INTERNAL REVENUE SVC                  CENTURYLINK COMMUNICATIONS LLC BANKRUPTCY          CENTURYLINK COMMUNICATIONS LLC            CENTURYLINK COMMUNICATIONS LLC
CINCINNATI OH 45999-0009              LEGAL BKY                                          220 N 5TH ST                              LEGAL BANKRUPTCY
                                      1025 EL DORADO BLVD                                BISMARCK ND 58501                         1025 EL DORADO BLVD
                                      BROOMFIELD CO 80021                                                                          BROOMFIELD CO 80021


037886S001-1409A-265                  037889P001-1409A-265                               037889S001-1409A-265                      033160P001-1409A-265
UNITED TELEPHONE CO OF OHIO DBA       UNITED TELEPHONE CO OF PENNSYLVANIA LLC            UNITED TELEPHONE CO OF PENNSYLVANIA LLC   UNITIL
CENTURYLINK                           DBA CENTURYLINK                                    DBA CENTURYLINK                           PO BOX 981010
CENTURYLINK COMMUNICATIONS LLC        CENTURYLINK COMMUNICATIONS LLC                     CENTURYLINK COMMUNICATIONS LLC            BOSTON MA 02298
220 N 5TH ST                          LEGAL BANKRUPTCY                                   220 N 5TH ST
BISMARCK ND 58501                     1025 EL DORADO BLVD                                BISMARCK ND 58501
                                      BROOMFIELD CO 80021


033160S001-1409A-265                  033750P001-1409A-265                               036139P001-1409A-265                      033161P001-1409A-265
UNITIL                                UNIVERS WORKPLACE SOLUTIONS_TRICERION              UNIVERSAL DYEING AND PRINTING             UNIVERSAL ENVRNMNTL CONSULTING
6 LIBERTY LN WEST                     897 12TH ST                                        DONIGER BURROUGHS                         900 MERCHANTS CONCOURSE
HAMPTON NH 03842-1720                 HAMMONTON NJ 08037                                 STEPHEN DONIGER SCOTT BURROUGHS           STE 214
                                                                                         603 ROSE AVE                              WESTBURY NY 11590
                                                                                         VENICE CA 90291



033322P001-1409A-265                  031138P001-1409A-265                               032606P001-1409A-265                      031646P001-1409A-265
UNIVERSAL MUSIC ENTERPRISES           UNIVERSAL SPECIALTIES                              UNIVERSITY ART CENTER, INC                UNIVERSITY MALL
UNIVERSAL MUSIC GROUP DISTRIBUTION    PETER TROUW                                        2550 EL CAMINO REAL                       LBCMT 2007C3 DORSET STREET L
KATY HILL                             919 CEDAR ST                                       REDWOOD CITY CA 94061                     KEYPOINT PARTNERS LLC
2220 COLORADO AVE                     CEDAR HILL TX 75104                                                                          ONE BURLINGTON WOODS DR
3RD FLOOR                                                                                                                          BURLINGTON MA 01803
SANTA MONICA CA 90404


037677P001-1409A-265                  031647P001-1409A-265                               031648P001-1409A-265                      032768P001-1409A-265
UNIVERSITY MALL LLC                   UNIVERSITY MALL, LLC                               UNIVERSITY PARK MALL, LLC                 UNIVERSITY TOWN CENTER
BALLARD SPAHR LLP                     PO BOX 235021                                      867525 RELIABLE PKWY                      PO BOX 674647
LESLIE C HEILMAN ESQ                  MONTGOMERY AL 36123-5021                           CHICAGO IL 60686-0075                     DETROIT MI 48267-4647
919 N MARKET ST 11TH FL
WILMINGTON DE 19801



031649P001-1409A-265                  035064P001-1409A-265                               030081P001-1409A-265                      036809P001-1409A-265
UNIVERSITY VILLAGE                    UNIVERSITY VILLAGE LIMITED PARTNERSHIP             UNIVERSITY VILLAGE LP (LANDLORD)          UNSCENE VISUALS
PO BOX 24702                          2623 NORTHEAST UNIVERSITY VLG ST                   UNIVERSITY VILLAGE LIMITED PARTNERSHIP    2851 ROLLING HILLS DR SPACE 49
SEATTLE WA 98124-0702                 STE 7                                              2623 NORTHEAST UNIVERSITY VLG ST          FULLERTON CA 92835
                                      SEATTLE WA 98105                                   STE 7
                                                                                         SEATTLE WA 98105



009569P001-1409A-265                  033162P001-1409A-265                               033162S001-1409A-265                      032607P001-1409A-265
ELISSIA N UNSELD                      UPPER MERION SEWER REVENUE                         UPPER MERION SEWER REVENUE                UPPER MERION TOWNSHIP
8604 RAWLES AVE                       175 W VLY FORGE RD                                 TOWNSHIP 175 WEST VALLEY FORGE ROAD       175 W VLY FORGE RD
APT 3D                                KNG OF PRUSSA PA 19406                             KING OF PRUSSIA PA 19406-1802             KING OF PRUSSIA PA 19406
INDIANAPOLIS IN 46219
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036810P001-1409A-265                  032608P001-1409A-265                          031139P001-1409A-265         031650P001-1409A-265
UPS                                   UPS PROFESSIONAL SERVICES, INC                UPTOWN APPAREL               UPTOWN VILLAGE AT CEDAR HILL L
LOCKBOX 577                           28013 NETWORK PL                              LUCIA PARK                   MARISOL HENRY
CAROL STREAM IL 60132-0577            CHICAGO IL 60673-1280                         1729 EWASHINGTON BLVD        305 W FM 1382
                                                                                    LOS ANGELES CA 90021         STE 590
                                                                                                                 CEDAR HILL TX 75104



034238P001-1409A-265                  037741P001-1409A-265                          009380P001-1409A-265         036811P001-1409A-265
UPTOWN VILLAGE AT CEDAR HILL L LP     UPTOWN VILLAGE AT CEDAR HILL LP               SIDNEY UQUILLAS              URBAN EDGE CAGUAS LP
305 W FM 1382                         BALLARD SPAHR LLP                             45 MURRAY ST                 210 ROUTE 4 EAST
STE 590                               DUSTIN P BRANCH                               1ST FL                       PARAMUS NJ 07652
CEDAR HILL TX 75104                   2029 CENTURY PARK EAST STE 800                BINGHAMTON NY 13905
                                      LOS ANGELES CA 90067-2909



030765P001-1409A-265                  036332P001-1409A-265                          034824P001-1409A-265         030082P001-1409A-265
URBAN EPISODE INC                     URBAN EPISODE INC                             URBAN RETAIL PROPERTIES      URBAN RETAIL PROPERTIES (LANDLORD)
JOOEUN JUNG                           794 EAST 18TH ST                              ARNOT REALTY CORP -          ARNOT MALL
JOEY LEE                              LOS ANGELES CA 90021                          100 STILLWATER DR            GENERAL MANAGER
794 EAST 18TH ST                                                                    HORSEHEADS NY 14845          3300 CHAMBERS RD SOUTH STE 5127
LOS ANGELES CA 90021                                                                                             HORSEHEADS NY 14845



030082S001-1409A-265                  030082S002-1409A-265                          007514P001-1409A-265         035378P001-1409A-265
URBAN RETAIL PROPERTIES (LANDLORD)    URBAN RETAIL PROPERTIES (LANDLORD)            COURTNEY R URBAN             URBANCAL OAKLAND MALL LLC
ARNOT REALTY CORP                     ARNOT REALTY CORP                             78 MARCELLE ST               PRINCIPAL REAL ESTATE INVESTORS LLC
DANIEL PANOSIAN PRESIDENT AND CEO     PREIT SVC LLC                                 CHICOPEE MA 01020            DONNA JACOBSON
100 STILLWATER DR                     200 SOUTH BROAD ST                                                         711 HIGH ST
HORSEHEADS NY 14845                   THE BELLEVUE THIRD FL                                                      DES MOINES IA 50392
                                      PHILADELPHIA PA 19102


031651P001-1409A-265                  009374P001-1409A-265                          031140P002-1409A-265         008056P001-1409A-265
URBANCAL OAKLAND MALL, LLC            JEYDRI URBINA                                 URBINO APPAREL               MADELINE N URCUYO
PO BOX 310300                         1315 OAKWOOD AVE                              LINDA CHUNG                  2809 BARKSDALE DR
PROPERTY: 623510                      RALEIGH NC 27610                              6720 WILSON AVE STE 200      PLANO TX 75025
DES MOINES IA 50331-0300                                                            STE 200
                                                                                    LOS ANGELES CA 90001



001769P001-1409A-265                  006594P001-1409A-265                          002810P001-1409A-265         033452P001-1409A-265
MILLIE J URENA                        ELIZETTE Y URENO                              KAREN F URETA                URGENT GEAR INC
8220 MARA VISTA CT                    4105 COLBY ST                                 565 E RUE ROYALE ST          URGENT GEAR
ORLANDO FL 32827                      FREMONT CA 94538                              APT 34                       JAY MORRISON
                                                                                    COVINA CA 91723              728 EAST COMMERCIAL ST
                                                                                                                 LOS ANGELES CA 90012



005911P001-1409A-265                  033751P001-1409A-265                          008722P001-1409A-265         006443P001-1409A-265
ANGELICA M URIBE                      URIERT                                        MELISSA URQUIZU              NADYA R URRUTIA
2 VLG LN                              465 E 32ND ST                                 4935 AMERICANA DR APT #110   1513 BRETON CT
DALY CITY CA 94015                    LOS ANGELES CA 90011                          ANNANDALE VA 22003           HUGHSON CA 95326
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037902P001-1409A-265                            037903P002-1409A-265                                032598P001-1409A-265               037477P001-1409A-265
US ATTORNEYS OFFICE                             US ATTORNEYS OFFICE DISTRICT OF DELAWARE            US BANCORP EQUIPMENT FINANCE       US BANK NA AS TRUSTEE FOR
HERCULES BUILDING                               DAVID C WEISS; ELLEN SLIGHTS                        TERRICA BAUNE                      BSCMSI SERIES 2005TOP20
1313 N MARKET ST                                HERCULES BUILDING                                   PO BOX 790448                      PERKINS COIE LLP
WILMINGTON DE 19801                             1313 N MARKET STREET STE 400                        ST. LOUIS MO 63179-0448            CO BRIAN A AUDETTE
                                                WILMINGTON DE 19801                                                                    131 S DEARBORN ST STE 1700
                                                                                                                                       CHICAGO IL 60603


037477S001-1409A-265                            031652P001-1409A-265                                034234P001-1409A-265               034359P001-1409A-265
US BANK NA AS TRUSTEE FOR                       US BANK NA, AS TRUSTEE                              US CENTENNIAL MALLS JV LLC         US CENTENNIAL MALLS JV LLC
Michele Ray                                     PR FINANCING LIMITED PARTNERSH                      28769 NETWORK PL                   PARTNERSHIP
Servicing Officer                               DBA FRANCIS SCOTT KEY MALL                          CHICAGO IL 60673-1769              8750 N CENTRAL EXPY
C-III Asset Management, LLC, in its capacity    PO BOX 951727                                                                          STE 1740
5221 N. O?Connor Blvd., Suite 800               CLEVELAND OH 44193                                                                     DALLLAS TX 75231
Irving TN 75039


034360P001-1409A-265                            031653P001-1409A-265                                037678P001-1409A-265               037835P001-1409A-265
US CENTENNIAL MALLS JV LLC                      US CENTENNIAL VANCOUVER MALL                        US CENTENNIAL VANCOUVER MALL LLC   US CUSTOMS AND BORDER PROTECTION
8750 N CENTRAL EXPY                             US CENTENNIAL MALLS JV LLC                          DUSTIN P BRANCH ESQ                REVENUE DIVISION BANKRUPTCY TEAM
STE 1740                                        8750 N CENTRAL EXPY                                 BALLARD SPAHR LLP                  6650 TELECOM DR STE 100
DALLAS TX 75231                                 STE 1740                                            2029 CENTURY PK EAST STE 800       INDIANAPOLIS IN 46278
                                                DALLAS TX 75231                                     LOS ANGELES CA 90067



000234P001-1409A-265                            000235P001-1409A-265                                000236P001-1409A-265               000237P001-1409A-265
US DEPT OF LABOR                                US DEPT OF LABOROSHA                                US DEPT OF LABOROSHA               US DEPT OF LABOROSHA
200 CONSTITUTION AVE NW                         OSHA REGION 1                                       OSHA REGION 2                      OSHA REGION 3
WASHINGTON DC 20210                             JFK FEDERAL BLDG                                    FEDERAL BLDG                       THE CURTIS CENTER-SUITE 740 WEST
                                                25 NEW SUDBURY ST RM E340                           201 VARICK ST RM 670               170 S INDEPENDENCE MALL WEST
                                                BOSTON MA 02203                                     NEW YORK NY 10014                  PHILADELPHIA PA 19106



000238P001-1409A-265                            000239P001-1409A-265                                000240P001-1409A-265               000241P001-1409A-265
US DEPT OF LABOROSHA                            US DEPT OF LABOROSHA                                US DEPT OF LABOROSHA               US DEPT OF LABOROSHA
OSHA REGION 4                                   OSHA REGION 5                                       OSHA REGION 6                      OSHA REGION 7
61 FORSYTH ST SW                                JOHN C KLUCZYNSKI FEDERAL BLDG                      525 GRIFFIN ST STE 602             TWO PERSHING SQUARE BLDG
RM 6T50                                         230 SOUTH DEARBORN ST RM 3244                       DALLAS TX 75202                    2300 MAIN ST STE 1010
ATLANTA GA 30303                                CHICAGO IL 60604                                                                       KANSAS CITY MO 64108



000242P001-1409A-265                            000243P001-1409A-265                                000244P001-1409A-265               000016P001-1409A-265
US DEPT OF LABOROSHA                            US DEPT OF LABOROSHA                                US DEPT OF LABOROSHA               US EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
OSHA REGION 8                                   OSHA REGION 9                                       OSHA REGION 10                     OFFICE OF CHIEF COUNSEL
CESAR CHAVEZ MEMORIAL BLDG                      SAN FRANCISCO FEDERAL BLDG                          300 FIFTH AVE                      131 M ST NE
1244 SPEER BLVD STE 551                         90 7TH ST STE 18100                                 STE 1280                           WASHINGTON DC 20507
DENVER CO 80204                                 SAN FRANCISCO CA 94103                              SEATTLE WA 98104-2397



037904P001-1409A-265                            032599P001-1409A-265                                033530P002-1409A-265               033530S001-1409A-265
US OFFICE OF THE ATTORNEY GENERAL               US SECURITY ASSOCIATES, INC                         US TELEPACIFIC CORP                US TELEPACIFIC CORP
BANKRUPTCY DEPARTMENT                           PO BOX 931703                                       TPX COMMUNICATION                  TPX COMMUNICATION
US DEPARTMENT OF JUSTICE                        ATLANTA GA 31193                                    OFFICE OF THE GENERAL COUNSEL      3300 N CIMARRON RD
950 PENNSYLVANIA AVE NW                                                                             515 S FLOWER ST 47TH FL            LAS VEGAS NV 89129
WASHINGTON DC 20530-0001                                                                            LOS ANGELES CA 90071-2201
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033530S002-1409A-265                 032609P001-1409A-265                     033429P001-1409A-265                 032610P001-1409A-265
US TELEPACIFIC CORP                  USA CONNECT DBA PREPAID USA              USA ENTERTAINMENT NEWS INC           USABLE LIFE
TPX COMMUNICATION                    DARLESHIA WARNER                         USA ENTERTAINMENT                    PO BOX 31000
LUZ LETTIERE                         4740 GREEN RIVER RD                      JILL STEMPEL                         HONOLULU HI 96849-5314
515 S FLOWER ST 47TH FL              STE 308                                  60 MADISON AVE
LOS ANGELES CA 90071-2201            CORONA CA 92880                          STE 1027
                                                                              NEW YORK NY 10010


033346P001-1409A-265                 033271P001-1409A-265                     030083P001-1409A-265                 030083S001-1409A-265
USER TESTING INC                     USF COLLECTIONS INC                      USLV NEWCA 1, LLC (LANDLORD)         USLV NEWCA 1, LLC (LANDLORD)
THOMAS LINDAHL                       GIANNA BONURA                            MARKET OFFICER                       PROLOGIS
2672 BAYSHORE PKWY # 703             1385 BROADWAY                            2817 EAST CEDAR ST STE 200           GENERAL COUNSEL
MOUNTAIN VIEW CA 94043               STE # 1012A                              ONTARIO CA 91761                     4545 AIRPORT WAY
                                     NEW YORK NY 10018                                                             DENVER CO 80239



036334P001-1409A-265                 037344P001-1409A-265                     035204P001-1409A-265                 032611P001-1409A-265
USPA ACCESSORIES DBA CONCEPT         USPA ACCESSORIES LLC                     USPA ACCESSORIES LLC DBA CONCEPT     USPS
ONE 1411 BROADWAY 7TH FLOOR          D/B/A CONCEPT ONE ACCESSORIES            ONE ACCESSORIES                      CPU MASHANTUCKET
NEW YORK NY 10018                    LAZARUS AND LAZARUS PC                   LAZARUS AND LAZARUS PC               7 MATTS PATH
                                     HARLAN M LAZARUS                         240 MADISON AVE 8TH FL               MASHANTUCKET CT 06338
                                     240 MADISON AVE 8TH FL                   NEW YORK NY 10016
                                     NEW YORK NY 10016


000350P001-1409A-265                 009831P001-1409A-265                     000089P001-1409A-265                 000245P001-1409A-265
UTAH ATTORNEY GENERAL                UTAH COUNTY TREASURER                    UTAH DEPT OF ENVIRONMENTAL QUALITY   UTAH LABOR COMMISSION
SEAN D REYES                         100 E CTR ST RM 1200                     PO BOX 144810                        COMMISSIONER
UTAH STATE CAPITOL COMPLEX           PROVO UT 84606-3159                      SALT LAKE CITY UT 84114-4810         160 E 300 S
350 NORTH STATE ST STE 230                                                                                         STE 300
SALT LAKE CITY UT 84114-2320                                                                                       SALT LAKE CITY UT 84114



000163P001-1409A-265                 000454P001-1409A-265                     033163P001-1409A-265                 033163S001-1409A-265
UTAH STATE TAX COMMISSION            UTAH TREASURER'S OFFICE                  UTILITY BILLING SOLUTIONS LLC        UTILITY BILLING SOLUTIONS LLC
210 NORTH 1950 WEST                  UNCLAIMED PROPERTY DIVISION              PO BOX 105                           241-B BROOKSTONE PLACE
SALT LAKE CITY UT 84134              168 N 1950 W                             SOCIAL CIRCLE GA 30025               SOCIAL CIRCLE GA 30025
                                     STE 102
                                     SALT LAKE CITY UT 84116



033164P001-1409A-265                 005473P001-1409A-265                     001066P001-1409A-265                 037846P001-1409A-265
UTILITY RECOVERY SYSTEMS INC         KENDALL UTTERBACK                        EMILY A UTZ                          VA- BARBARA O CARRAWAY TREASURER
1721 S FRANKLIN RD                   2311 SOUTH ROYCE ST                      4869 MUIR AVE                        CITY OF CHESAPEAKE
STE 200                              SIOUX CITY IA 51106                      SAN DIEGO CA 92107                   PO BOX 16495
INDIANAPOLIS IN 46239                                                                                              CHESAPEAKE VA 23328-6495




033856P002-1409A-265                 010314P002-1409A-265                     010314S001-1409A-265                 009970P002-1409A-265
VA- CHESTERFIELD COUNTY TREASURER    VA- CITY OF NORFOLK TREASURER            VA- CITY OF NORFOLK TREASURER        VA- CITY OF VIRGINIA BEACH
IRIS MAYFIELD                        PO BOX 3215                              ZACHARY A SIMMONS                    CITY TREASURER BANKRUPTCY DEPT
9901 LORI RD                         NORFOLK VA 23514-3215                    810 UNION ST STE 900                 2401 COURTHOUSE DR BLDG 1
CHESTERFIELD VA 23832                                                         NORFOLK VA 23510                     VIRGINIA BEACH VA 23456-9018
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009970S001-1409A-265           032685P002-1409A-265                         031958P002-1409A-265              010189P002-1409A-265
VA- CITY OF VIRGINIA BEACH     VA- CITY TREASURER WINCHESTER                VA- COUNTY OF ALBEMARLE           VA- COUNTY OF FAIRFAX
OFFICE OF THE CITY ATTORNEY    CITY OF WINCHESTER VIRGINIA                  KIMBERLEY STONE                   OFFICE OF THE COUNTY ATTORNEY
AIMEE KNAPP SULLIVAN           JEFFREY BARBOUR                              401 MCINTIRE RD                   JOHN W BURTON
2401 COURTHOUSE DR RM 260      PO BOX 263                                   CHARLOTTESVILLE VA 22902          12000 GOVT CENTER PKWY STE 549
VIRGINIA BEACH VA 23456        WINCHESTER VA 22604-0263                                                       FAIRFAX VA 22035



010155P002-1409A-265           037820P002-1409A-265                         037821P002-1409A-265              010386P003-1409A-265
VA- COUNTY OF HENRICO          VA- COUNTY OF LOUDOUN VIRGINIA               VA- JAMES CITY COUNTY TREASURER   VA- SPOTSYLVANIA COUNTY TREASURERS OFFICE
ANDREW R NEWBY                 STEVEN F JACKSON ASST COUNTY ATTY            101-B MOUNTS BAY RD               LARRY K PRITCHETT
PO BOX 90775                   1 HARRISON ST SE                             WILLIAMSBURG VA 23185             PO BOX 100
HENRICO VA 23273               LEESBURG VA 20175                                                              SPOTSYLVANIA VA 22553




037845P002-1409A-265           031654P001-1409A-265                         001800P001-1409A-265              030531P001-1409A-265
VA- TREASURER OF VIRGINIA      VACAVILLE PREMIUM OUTLETS                    MAURICE VACHON                    MO VACHON
VA DEPT OF THE TREASURY        PREMIUM OUTLET PARTNERS LP                   6430 RENWICK CIR                  ADDRESS INTENTIONALLY OMITTED
UNCLAIMED PROPERTY DIVISION    PO BOX 822983                                TAMPA FL 33647
PO BOX 2478                    PHILADELPHIA PA 19182-2983
RICHMOND VA 23218



002710P001-1409A-265           000950P001-1409A-265                         030210P001-1409A-265              000947P001-1409A-265
MARYAL L VADEN                 ARMIDA VADO                                  ANA VALADEZ                       ANA C VALADEZ
114 RIM ROCK PL                8636 KEMPSTER AVE                            ADDRESS INTENTIONALLY OMITTED     30034 WHEMBLY CIR
C                              FONTANA CA 92335                                                               MENIFEE CA 92584
NORTH LITTLE ROCK AR 72116




007275P001-1409A-265           034237P001-1409A-265                         003007P001-1409A-265              003543P002-1409A-265
CRISTINA VALADEZ               JOSE EDUARDO VALDERRAMA HERRERA              ARACELI VALDEZ FLORES             INDIRA VALDEZ HERRERA
1511 SILVER ST                 305 CONVENT AVE                              4324 HUERFANO AVE                 602 SALAZAR AVE
SIOUX CITY IA 51103            APT 42                                       SAN DIEGO CA 92117                BAKERSFIELD CA 93307-5828
                               NEW YORK NY 10031




004344P002-1409A-265           036064P001-1409A-265                         036065P001-1409A-265              000535P001-1409A-265
ALINA C VALDEZ                 FLORES ARACELI VALDEZ                        HERRERA INDIRA VALDEZ             JANET VALDEZ
179 CALLA ST                   4324 HUERFANO AVE                            602 SALAZAR AVE                   3636 MINNEHAHA AVE
PROVIDENCE RI 02905-1429       SAN DIEGO CA 92117                           BAKERSFIELD CA 93307              APT 7
                                                                                                              MINNEAPOLIS MN 55406




004465P001-1409A-265           033261P001-1409A-265                         008025P001-1409A-265              002192P001-1409A-265
KATHLEEN M VALDINA             JOHN L VALDIVIA                              MARIA VALDIVIA                    PAOLA VALENCIA GARCIA
7 KENSINGTON DR                DEPT VISUAL                                  4949 WGRACEST                     901 E FREEMAN PL #1
CHELMSFORD MA 01824            12719 BLUEFIELD AVE                          CHICAGO IL 60641                  TUCSON AZ 85719
                               LA MIRADA CA 90638
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035275P001-1409A-265                   031655P001-1409A-265                    035359P001-1409A-265                  032612P001-1409A-265
VALENCIA TOWN CENTER                   VALENCIA TOWN CENTER VENTURE            VALENCIA TOWN CENTER VENTURE LP       VALENCIA TOWN CENTER, LP
24201 WEST VALENCIA BLVD SPACE 1049    PO BOX 310011324                        LECLAIRRYAN PLLC                      CANDICE BUENAVENTURA
VALENCIA CA 91355                      PASADENA CA 91110-1324                  NICLAS A FERLAND                      2049 CENTURY PK EAST
                                                                               545 LONG WHARF DR 9TH FL              41ST FL
                                                                               NEW HAVEN CT 06511                    LOS ANGELES CA 90067



036066P001-1409A-265                   005309P001-1409A-265                    002100P001-1409A-265                  007992P001-1409A-265
GARCIA PAOLA VALENCIA                  ALEXA A VALENCIANO                      ALYSSA R VALENZUELA                   ANGELICA VALENZUELA
901 E FREEMAN PL #1                    301 S GRANDIN AVE                       3924 W CALLE SEGUNDA                  6639 E BROADWAY BLVD
TUCSON AZ 85719                        AZUSA CA 91702                          APT 217                               153
                                                                               CHANDLER AZ 85226                     TUCSON AZ 85710




004326P001-1409A-265                   003708P001-1409A-265                    002617P001-1409A-265                  009347P001-1409A-265
ASHLEY VALENZUELA                      SHIRLEY B VALENZUELA                    MARINA C VALERIO                      TALIA N VALEROLUNA
67200 GARBINO RD                       531 GRANT ST                            753 WEST SANTA PAULA ST               625 STOLPE ST SW
CATHEDRAL CITY CA 92234                CALEXICO CA 92231                       SANTA PAULA CA 93060                  GRAND RAPIDS MI 49503




009426P001-1409A-265                   036812P001-1409A-265                    037345P001-1409A-265                  031656P001-1409A-265
REYNA J VALLADARES                     VALLE VISTA MALL REALTY                 VALLE VISTA MALL REALTY HOLDING LLC   VALLE VISTA MALL REALTY HOLDING, LLC
714 N 11TH AVE                         1010 NORTHERN BLVD STE #212             DAVID M NEUMANN ESQ                   1010 NORTHERN BLVD
MELROSE PARK IL 60160                  GREAT NECK NY 11021                     MEYERS ROMAN FRIEDBERG AND LEWIS      STE #212
                                                                               DAVID M NEUMANN ESQ                   GREAT NECK NY 11021
                                                                               28601 CHAGRIN BLVD STE 600
                                                                               CLEVELAND OH 44122


008729P001-1409A-265                   003006P001-1409A-265                    036067P001-1409A-265                  003173P001-1409A-265
JULISSA VALLEJO GONZALEZ               BIANCA VALLEJO                          GONZALEZ JULISSA VALLEJO              KARELY VALLEJO
6113 ASHBURTON DR                      4546 N DRAKE AVE                        6113 ASHBURTON DR                     1325 SANTA RITA E
SAN JOSE CA 95123                      CHICAGO IL 60625                        SAN JOSE CA 95123                     APT 257
                                                                                                                     CHULA VISTA CA 91913




002785P001-1409A-265                   036068P001-1409A-265                    006404P001-1409A-265                  034499P001-1409A-265
REBEKAH R VALLEJO                      WENDY Y VALLEJO                         ALEXANDRA VALLESGUERRERO              VALLEY HILLS MALL LLC
7500 HACHITA CT                        6551 ANNIE OAKLEY DR APT 617            PO BOX 1153                           LENDING LP
BAKERSFIELD CA 93309                   HENDERSON NV 89014                      FRAZIER PARK CA 93225                 SDS-12-1532
                                                                                                                     PO BOX 86
                                                                                                                     MINNEAPOLIS MN 55486-1532



037493P001-1409A-265                   031657P001-1409A-265                    037515P001-1409A-265                  032613P002-1409A-265
VALLEY HILLS MALL LLC                  VALLEY PLAZA MALL LP                    VALLEY PLAZA MALL LP                  VALLEY POWER SVC
BROOKFIELD PROPERTY REIT INC           GGPLP REAL ESTATE INC                   AKA VALLEY PLAZA MALL CA              ANDY LAURENSON
JULIE M BOWDEN                         SDS-12-1667                             BROOKFIELD PROPERTY REIT INC          425 S HACIENDA BLVD
350 N ORLEANS ST STE 3200              PO BOX 86                               350 N ORLEANS ST STE 300              CITY INDUSTRY CA 91745-1123
CHICAGO IL 60654-1607                  MINNEAPOLIS MN 55486-1667               CHICAGO IL 60654-1607
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031658P001-1409A-265             037729P001-1409A-265                      031659P002-1409A-265                      031659S001-1409A-265
VALLEY STREAM GREEN ACRES LLC    VALLEY STREAM GREEN ACRES LLC             VALLEY VIEW MALL SPE LLC                  VALLEY VIEW MALL SPE LLC
MACWH LP                         BALLARD SPAHR LLP                         BY CBL AND ASSOCIATES MANAGEMENT INC      BY CBL AND ASSOCIATES MANAGEMENT INC
401 WILSHIRE BLVD                DUSTIN P BRANCH                           GARY RODDY                                CALEB HOLZAEPFEL
STE 700                          2029 CENTURY PARK EAST STE 800            2030 HAMILTON PL BLVD STE 500             736 GEORGE AVE STE 300
SANTA MONICA CA 90401            LOS ANGELES CA 90067-2029                 CHATTANOOGA TN 37421-6000                 CHATTANOOGA TN 37402



031660P002-1409A-265             002029P001-1409A-265                      030843P001-1409A-265                      036335P001-1409A-265
VALLEY WEST MALL LLC             PATRICIA VALOSICH                         VALUELINE GROUP CO LTD                    VALUELINE GROUP CO LTD
WATSON DEVELOPMENT LLC           132 RISDON RD                             DAVID                                     FLOOR 7 HUATIAN BUILDING NO 18 HOUJIE BLVD S
DAVE WATSON                      1                                         FL 7 HUATIAN BLDG NO                      HOUJIE TOWN DONGGUAN CITY
4725 EXCELSIOR BLVD              MOUNT HOLLY NJ 08060                      18 HOUJIE BLVD S HOUJIE TOWN              GUANGDONG PROVINCE 523960
#402                                                                       DONGGUAN CITY GU 523960                   CHINA
ST LOUIS PARK MN 55416                                                     CHINA


004168P001-1409A-265             004689P001-1409A-265                      032614P001-1409A-265                      008672P001-1409A-265
EBONI N VALYANMORRIS             KERSTEN VAN DUSEN                         VAN GIANG NGUYEN                          BRIANA R VAN VIANEN
1708 LAUDERDALE MANOR DR         2838 S 116TH E AVE                        1547 BARBERRY CT                          129 EDGEWOOD DR
FT LAUDERDALE FL 33311           B                                         SAN JOSE CA 95121                         NEW HOLLAND PA 17557
                                 TULSA OK 74129




008400P001-1409A-265             036069P001-1409A-265                      036070P001-1409A-265                      008778P001-1409A-265
MOLLY VAN WAGNER                 DUSEN KERSTEN VAN                         WAGNER MOLLY VAN                          NICOLE E VANCAMPENHOUT
400 N HOLLYWOOD WAY              2838 S 116TH E AVE                        400 N HOLLYWOOD WAY                       2017 WHEAT WAY
BURBANK CA 91505                 B                                         BURBANK CA 91505                          GREEN BAY WI 54311-5067
                                 TULSA OK 74129




002584P001-1409A-265             002221P001-1409A-265                      036336P001-1409A-265                      031141P001-1409A-265
AARYE M VANCE                    REAGAN VANCE                              VANDALE INDUSTRIES INC                    VANDALE INDUSTRIES, INC
981 UPPER MEADOWS PL             4259 KLEIN MEADOWS                        16 EAST 34TH ST 8TH FL                    KITTY CHAN
HENDERSON NV 89052               NEW BRAUNFELS TX 78130                    NEW YORK NY 10016                         16 EAST 34TH ST
                                                                                                                     8TH FL
                                                                                                                     NEW YORK NY 10016



006979P001-1409A-265             002602P001-1409A-265                      007133P001-1409A-265                      003145P001-1409A-265
KRISTINA M VANDERVELDE           KIMBERLY A VANDRIESSCHE                   ELISA C VANEGAS                           LEONA VANG
1809 SEVEN PINES RD              5422 GOETZ CT                             1707 IDAHO ST                             7420 WHISPERWILLOW DR
APT 5                            BAY CITY MI 48706                         FAIRFIELD CA 94533                        SACRAMENTO CA 95828
SPRINGFIELD IL 62704




004669P001-1409A-265             008863P001-1409A-265                      032615P001-1409A-265                      002316P001-1409A-265
VICTORIA R VANG                  ZOUANG VANG                               VANGUARD CLEANING SYSTEM OF SOUTHERN CA   KYLE VANHORN
1707 TEAKWOOD DR                 3422 STEIN BLVD                           RR FRANCHISING INC                        6 BEVERLY PL
WYLIE TX 75098                   APT 5                                     MARIA MENDOZA                             NORTH BRUNSWICK NJ 08902
                                 EAU CLAIRE WI 54701                       6281 BEACH BLVD
                                                                           STE 225
                                                                           BUENA PARK CA 90621
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032616P001-1409A-265             008861P001-1409A-265                006246P001-1409A-265              031142P002-1409A-265
VANJESS, LLC                     SYDNEY D VANN                       PHONETHIDA VANNASIN               VANS
7233 LAS PALMAS DR               5201 CROGANS WAY RD                 1163 DONNER DR                    JAMES REAMS
FONTANA CA 92336                 COUNCIL BLUFFS IA 51501             FLORENCE KY 41042                 N850 COUNTY HWY CB
                                                                                                       APPLETON WI 54914




036337P001-1409A-265             004143P001-1409A-265                008147P001-1409A-265              033752P001-1409A-265
VANS                             KYLI E VANSCHAICK                   ANSHERNEA S VANTERPOOL            VANTIV LLC
N850 COUNTY HWY CB               1906 NW 59TH TERR                   638 SAGO LN                       8500 GOVERNORS HILL DR
APPLETON WI 54914                TOPEKA KS 66618                     ORLANDO FL 32811                  MAILDROP 1GH1Y1
                                                                                                       SYMMES TOWNSHIP OH 45249




035189P001-1409A-265             005256P001-1409A-265                003224P001-1409A-265              006036P001-1409A-265
VANTIV LLC                       EUNICE VARELA                       VERONICA VARGAS ROMERO            CARLA A VARGAS SUAREZ
8500 GOVERNORS HILL DR           294 PALACIOS REALES                 3313 HARPERS FERRY DR             32 LORRAINE ST
SYMMES TOWNSHIP OH 45249-1384    CALLE MINIVE K                      STOCKTON CA 95219                 PAWTUCKET RI 02860
                                 TOA ALTA PR 00953




007079P001-1409A-265             006503P001-1409A-265                005686P001-1409A-265              006708P001-1409A-265
ALANNA M VARGAS                  ALESSANDRA M VARGAS                 ALEXUS VARGAS                     ALICIA VANESSA L VARGAS
2050 MENDON RD                   27531 OPEN CREST DR                 3534 S 55TH CT                    1036 VIA SINUOSO
WOONSOCKET RI 02895              SAUGUS CA 91350                     CICERO IL 60804                   CHULA VISTA CA 91910




003245P001-1409A-265             005418P001-1409A-265                005779P001-1409A-265              003984P001-1409A-265
ANGEL VARGAS                     ANNISA N VARGAS                     CRYSTAL Y VARGAS                  IVANA VARGAS
2158 S 19TH ST                   8272 LONGDEN CIR                    1123 N FRINK ST                   447 S SCHUTZ
MILWAUKEE WI 53215               CITRUS HEIGHTS CA 95610             PEORIA IL 61606                   134
                                                                                                       EL PASO TX 79907




006901P001-1409A-265             008825P001-1409A-265                006222P001-1409A-265              036071P001-1409A-265
JACQUELINE VARGAS                JACQUELINE VARGAS                   MARIAH VARGAS                     ROMERO VERONICA VARGAS
12921 GRENOBLE DR                1101 GETTYSBURG AVE                 8117 HARRISON AVE                 3313 HARPERS FERRY DR
ROCKVILLE MD 20853               2103                                MUNSTER IN 46321                  STOCKTON CA 95219
                                 CLOVIS CA 93612




036072P001-1409A-265             036073P001-1409A-265                004675P001-1409A-265              000525P001-1409A-265
STEPHANIE M VARGAS               SUAREZ CARLA A VARGAS               YESICA Y VARGAS                   CHARLI VARNER
4017 CONNECTICUT AVE             32 LORRAINE ST                      7 JOAN DR                         177 HOLLY STREET UNIT 2
KENNER LA 70065                  PAWTUCKET RI 02860                  AMERICAN CANYON CA 94503          WESTON WV 26452
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006847P001-1409A-265          006666P001-1409A-265                 004520P001-1409A-265             003437P001-1409A-265
JASMINE VARNER                QUENTIN T VARNER                     SOPHIA VARNER                    CAITLIN A VARTORELLA
7307 MIDFIELD DR              7730 FALLING NEEDLE VIEW             1412 E 3RD ST                    4754 BAYWOOD DR
CHATTANOOGA TN 37421          #306                                 DULUTH MN 55812                  BRUNSWICK OH 44212
                              COLORADO SPRINGS CO 80924




008066P001-1409A-265          008396P001-1409A-265                 007005P001-1409A-265             008032P001-1409A-265
BARBARA VASQUEZ PEREZ         ADRIANA J VASQUEZ                    APRIL M VASQUEZ                  BERTHA M VASQUEZ
320 S CALLISCH AVE APT 105    7742 PIPERS LN                       6605 FELDSPAR ST                 1140 PATRICIA LN
105                           SAN ANTONIO TX 78251                 HOUSTON TX 77092                 OSAGE BEACH MO 65065
FRESNO CA 93721




009534P001-1409A-265          001922P001-1409A-265                 036074P001-1409A-265             009102P001-1409A-265
CRYSTAL VASQUEZ               CRYSTAL I VASQUEZ                    CRYSTAL I VASQUEZ                ERICKA I VASQUEZ
8433 S SCOTTSDALE             380 CHICKEN FARM RD                  855 CLARK AVE APT 21D            7007 W INDIAN SCHOOL RD APT
CHICAGO IL 60652              VINTON TX 79821-7205                 ANTHONY NM 88021                 PHOENIX AZ 85033




005315P001-1409A-265          036075P001-1409A-265                 036076P001-1409A-265             037331P001-1409A-265
JENIFER VASQUEZ               MARTINEZ TRACY VASQUEZ               PEREZ BARBARA VASQUEZ            SANDRA VASQUEZ
36 VANDERBILT AVE             1320 E CRANBERRY AVE                 320 S CALLISCH AVE APT 105       SANDRA SALAIZ
STATEN ISLAND NY 10304        HAZLETON PA 18201                    105                              1034 MANSFIELD LANE
                                                                   FRESNO CA 93721                  DUNCANVILLE TX 75137




009271P001-1409A-265          001459P001-1409A-265                 001927P001-1409A-265             030766P001-1409A-265
MELISSIA A VAUGHAN            JILL K VAUGHN                        NAKIA R VAUGHN                   VAULT SPORTSWEAR INC
5211 PATRICK HENRY DR         411 KIRBY DR                         8125 SHELDON RD                  NOURI CHAYA
MEMPHIS TN 38134              LANTANA TX 76226                     #207                             1407 BROADWAY
                                                                   ELK GROVE CA 95758               RM 2107
                                                                                                    NEW YORK NY 10018



036338P001-1409A-265          006572P001-1409A-265                 036077P001-1409A-265             001079P001-1409A-265
VAULT SPORTSWEAR INC          ANYA H VAZ                           ANU BRIGID VAZKAELA              ALICIA M VAZQUEZ
1407 BROADWAY RM 2107         1544 JERMAIN DR                      1 ALOHA TOWER DR                 124 GATEWOOD BAY
NEW YORK NY 10018             TOLEDO OH 43606                      2408                             CIBOLO TX 78108
                                                                   HONOLULU HI 96813




009664P001-1409A-265          000990P001-1409A-265                 005261P001-1409A-265             006877P001-1409A-265
AMANDA VAZQUEZ                ANNY VAZQUEZ                         CLARISSA C VAZQUEZ               EVELYN VAZQUEZ
75 FARRANDALE AVE             59-14 159TH ST                       15931 W SUNSET AVE               9240 DOWNEY AVE
BLOOMFIELD NJ 07003           FLUSHING NY 11365                    KERMAN CA 93630                  DOWNEY CA 90240
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003004P001-1409A-265       001372P001-1409A-265                      006679P001-1409A-265          036636P001-1409A-265
FLAVIA E VAZQUEZ           LOUIE A VAZQUEZ                           MAGALY VAZQUEZ                MARIA VAZQUEZ
4626 E DWIGHT WAY          4101 N CAMBRAY DR                         28917 OAK SPRINGS CANYON RD   8201 LUNA AVE
FRESNO CA 93702            FAYETTEVILLE AR 72703-5063                2A                            BURBANK IL 60459
                                                                     CANYON COUNTRY CA 91387




036078P001-1409A-265       008067P001-1409A-265                      006892P001-1409A-265          002572P001-1409A-265
MIRALYS VAZQUEZ            SONIA J VAZQUEZ                           STEPHANIE VAZQUEZ             YAJAILIN VAZQUEZ
1700 MINDANAO DR           7517 SAND LAKE POINTE LOOP                1028 SW 53RD ST               2512 1ST AVE EAST
APT 1509                   208                                       OKLAHOMA CITY OK 73109        PALMETTO FL 34221
JACKSONVILLE FL 32246      ORLANDO FL 32809




009094P001-1409A-265       032800P001-1409A-265                      036814P001-1409A-265          032617P001-1409A-265
JASMINE L VEASLEY          VECCHION VECCHIONE AND CONNORS            VECTOR RESOURCES INC          VECTOR RESOURCES, INC
94-1007 HANINA ST          147 HERRICKS RD                           3530 VOYAGER ST               CLARA FUENTES
WAIPAHU HI 96797           GARDEN CITY NY 11040                      TORRANCE CA 90503             3530 VOYAGER ST
                                                                                                   TORRANCE CA 90503




033165P001-1409A-265       033165S001-1409A-265                      034082S001-1409A-265          007110P001-1409A-265
VECTREN ENERGY DELIVERY    VECTREN ENERGY DELIVERY                   VECTREN ENERGY DELIVERY       ALEJANDRA VEGA
PO BOX 6248                ONE VECTREN SQUARE                        TABITHA ROSER                 1525 S 59 AVE
INDIANAPOLIS IN 46206      EVANSVILLE IN 47708                       PO BOX 209                    CICERO IL 60804
                                                                     EVANSVILLE IN 47702




007656P001-1409A-265       037029P001-1409A-265                      007445P001-1409A-265          036079P001-1409A-265
JOANNA VEGA                JOANNA VEGA                               KALYN VEGA                    MARISSA VEGA
3010 CASA LOMA             3010 CASA LOMA DR                         2030 NORTH CHARLOTTE DR       1323 PROMONTORY DR
SAN BERNARDINO CA 92404    SAN BERNARDINO CA 92404                   PEORIA IL 61604               PINGREE GROVE IL 60140




008601P001-1409A-265       009061P001-1409A-265                      007789P001-1409A-265          005198P001-1409A-265
ROSEMARY VEGA              RUBY VEGA                                 STEFANY VEGAPOLICARPO         KAITLIN VEIGL
1206 PRAIRIE ST            3404 S 2ND PL                             643 STOLPE ST SW              129 THUNDER RD
CHASKA MN 55318            ROGERS AR 72758                           GRAND RAPIDS MI 40503         HOLBROOK NY 11741




004353P001-1409A-265       008138P001-1409A-265                      003352P001-1409A-265          009263P001-1409A-265
JACQUELINE E VELA          DAVIN E VELADOR                           GLADYSS J VELARDE             ANDREA VELASCO
8301 PINEY BRANCH RD       184 ROSEBUD AVE                           5759 S AVENIDA SERBA          9206 GOLDEN WHEAT DR
SILVER SPRING MD 20910     HOLLISTER CA 95023                        TUCSON AZ 85706               BAKERSFIELD CA 93313
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007310P001-1409A-265     006976P001-1409A-265                     003295P001-1409A-265             003027P001-1409A-265
NATALIE R VELASCO        RHEA VELASCO                             MARIA N VELASQUEZ PACHECO        ELIZABETH VELASQUEZ
9312 VISTA COLINA DR     7279 PROUD PATRIOT ST                    8933 NW 107TH CT                 7220 DOGLEG
BAKERSFIELD CA 93306     LAS VEGAS NV 89148                       UNIT 201                         PORT RICHEY FL 34668
                                                                  DORAL FL 33178




037573P001-1409A-265     005230P001-1409A-265                     036080P001-1409A-265             003661P001-1409A-265
ELIZABETH VELASQUEZ      OLIVIA A VELASQUEZ                       PACHECO MARIA N VELASQUEZ        RICHARD A VELASQUEZ
7220 DOGLEG CT           3401 COYOTE LN                           8933 NW 107TH CT                 331 DEBORAH CT
PORT RICHEY FL 34668     PUEBLO CO 81005                          UNIT 201                         UPLAND CA 91784
                                                                  DORAL FL 33178




004153P001-1409A-265     037199P001-1409A-265                     005899P001-1409A-265             008318P001-1409A-265
SASHA S VELASQUEZ        KATHERINE VELAZQUEZ                      NELISSA A VELAZQUEZ              SHERLINEE G VELAZQUEZ
10214 DEMPSEY AVE        KATHERIENE VELAZQUEZ                     436 BRIDGEFORD CROSSING DAVENP   1075 MATHIAS LN
NORTH HILLS CA 91343     #486 REINA DE LAS FLORES                 DAVENPORT FL 33837               KYLE TX 78640
                         VISTAS DE RIO GRANDE 2
                         RIO GRANDE PR 00745



001434P001-1409A-265     030664P001-1409A-265                     036081P001-1409A-265             000725P001-1409A-265
VANESSA VELAZQUEZ        VANESSA VELAZQUEZ                        VANESSA VELAZQUEZ                KATHERINE VELAZQUEZGUERRA
1 CARYL AVE              ADDRESS INTENTIONALLY OMITTED            211 OAK ST                       CALLE REINA DE LAS FLORES #486
APT 45                                                            APT 2R                           VISTAS DE RIO
YONKERS NY 10705-3945                                             YONKERS NY 10701                 RIO GRANDE PR 00745




004259P001-1409A-265     007906P001-1409A-265                     001764P001-1409A-265             004911P001-1409A-265
DOMINIQUE VELDE          LYDIA A VELEZ GONZALEZ                   BEATRIZ VELEZ                    GIOVANNY A VELEZ
2303 N CHRYSLER DR       121 BRIGSTOCK DR                         45 LAFAYETTE AVE                 CALLE 28 AK 9
TUCSON AZ 85716          6                                        BEACON NY 12508-1421             VILLAS DE RIO
                         WINCHESTER VA 22602                                                       RIO GRANDE PR 00745




003891P001-1409A-265     005780P001-1409A-265                     005945P001-1409A-265             037825P002-1409A-265
LANCE VELEZ              MONICA A VELEZ                           THALIA A VELEZ                   VELIA A CHAVEZ
79 SMITH HILL RD         9275 KERN AVE                            2707 RIEDLING DR                 RENTERIA
AIRMONT NY 10952         GILROY CA 95020                          A3                               329 CALLE MARIPOSA
                                                                  LOUISVILLE KY 40206              OCEANSIDE CA 92054




006333P001-1409A-265     031143P003-1409A-265                     031143S001-1409A-265             036339P001-1409A-265
ANNA VELLA               VEN BRIDGE CO LTD                        VEN BRIDGE CO LTD                VEN BRIDGE CO LTD
10971 BEECHWOOD RDG      BLDG 96                                  SEAN GOGARTY                     3-5TH FLOOR NO 96 EAST ZHUANXING RD
HERNANDO MS 38632        1277 EAST ZHUANXING RD                   1285 CORTEZ AVE                  SHANGHAI
                         SHANGHAI                                 BURLINGAME CA 94010              CHINA
                         CHINA
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003164P001-1409A-265                007690P001-1409A-265                        001015P001-1409A-265               007533P001-1409A-265
CASHAUNA VENABLE                    NATALIA VENEGAS                             DANIELLE VENEZIA                   JOURDAN M VENSON
961 ATLANTIC AVE APT 627            4083 N US HIGHWAY 1 LOT 35                  140 WILLARD AVE                    3876 NATHAN KORNMAN DR
APT 627                             FORT PIERCE FL 34946                        FARMINGDALE NY 11735               HARVEY LA 70058
COLUMBUS OH 43229




007206P001-1409A-265                010381P002-1409A-265                        010105P001-1409A-265               010669P001-1409A-265
SAABIRAH VENSON                     VENTURA COUNTY TAX COLLECTOR                VENTURA COUNTY WEIGHTS AND MEA     VENTURE VII CDO LIMITED MJX
550 3RD AVE S DORM 334              BANKRUPTCY                                  SURES                              MJX
ST CLOUD MN 56301                   800 S VICTORIA AVE                          800 S VICTORIA AVE #L1750          LARA ATALLAH
                                    VENTURA CA 93009-1290                       VENTURA CA 93009                   QUEENSGATE HOUSE SOUTH CHURCH ST
                                                                                                                   GEORGE TOWN
                                                                                                                   GRAND CAYMAN KY1-1102
                                                                                                                   CAYMAN ISLANDS
010670P001-1409A-265                010671P001-1409A-265                        010672P001-1409A-265               010673P001-1409A-265
VENTURE XII CLO LIMITED MJX         VENTURE XIII CLO LIMITED MJX                VENTURE XIV CLO LIMITED MJX        VENTURE XVII CLO LIMITED MJX
MJX                                 MJX                                         MJX                                MJX
LARA ATALLAH                        LARA ATALLAH                                LARA ATALLAH                       LARA ATALLAH
QUEENSGATE HOUSE SOUTH CHURCH ST    QUEENSGATE HOUSE SOUTH CHURCH ST            QUEENSGATE HOUSE SOUTH CHURCH ST   QUEENSGATE HOUSE SOUTH CHURCH ST
GEORGE TOWN                         GEORGE TOWN                                 GEORGE TOWN                        GEORGE TOWN
GRAND CAYMAN KY1-1102               GRAND CAYMAN KY1-1102                       GRAND CAYMAN KY1-1102              GRAND CAYMAN KY1-1102
CAYMAN ISLANDS                      CAYMAN ISLANDS                              CAYMAN ISLANDS                     CAYMAN ISLANDS
009033P001-1409A-265                009136P001-1409A-265                        002699P001-1409A-265               004131P001-1409A-265
APRIL VENTURENO                     ANABELL VERA                                JESSICA N VERA                     EBONY M VERACOMMISSIONG
3831 DAISY DR                       128 WAX MYRTLE DR                           1692 COPPER PENNY DR               506 E NEW YORK AVE
LAFAYETTE IN 47905                  SANFORD FL 32773                            CHULA VISTA CA 91915               2
                                                                                                                   BROOKLYN NY 11225




030788P001-1409A-265                004449P001-1409A-265                        007510P001-1409A-265               008926P001-1409A-265
VERACTION LLC                       VICTORIA VERBITZKI                          GABRIANNA P VERBLE                 MORGAN R VERBRIGGHE
JENNIFER MORRISON                   21 ASH ST                                   112 MIDAS                          5810 W JEFFERSON COMMONS CIRC
3400 PLAYERS CLUB PKWY              BRAINTREE MA 02184                          STEELVILLE MO 65565                APT 214
STE 300                                                                                                            KALAMAZOO MI 49009
MEMPHIS TN 38125



036082P001-1409A-265                006915P001-1409A-265                        000526P001-1409A-265               008103P001-1409A-265
MORGAN R VERBRIGGHE                 MARIA VERDUZCO                              NINA VERDUZCO                      TASHINGA VERE
1202 N 19TH ST                      626 JOSEPHINE ST                            206 OAK ST N                       1500 COLONIAL AVE
ESCANABA MI 49829                   EDNA TX 77957                               CHASKA MN 55318                    BRISTOL PA 19007




032618P001-1409A-265                035391P001-1409A-265                        032619P001-1409A-265               032620P001-1409A-265
VERIFICORP INC                      VERIFONE                                    VERIFONE INC                       VERITIV EXPRESS
NICK SHETH                          CREDIT DEPT                                 ANTONIA TAM                        VERITIV OPERATING CO
223 CLIPPER ST                      300 SOUTH PK PL STE 100                     PO BOX 641536                      CARL ROBERTS
SAN FRANCISCO CA 94114              CLEARWATER FL 33759                         SAN JOSE CA 95164                  8847 COMPLEX DR
                                                                                                                   SAN DIEGO CA 92123
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036815P001-1409A-265                       033522P001-1409A-265                           036816P001-1409A-265               032769P001-1409A-265
VERITIV EXPRESS                            VERIZON                                        VERIZON                            VERIZON WIRELESS
8847 COMPLEX DR                            PO BOX 1                                       PO BOX 28000                       PO BOX 660108
SAN DIEGO CA 92123                         WORSHESTER MA 01654-0001                       LEHIGH VALLEY PA 18002-8000        DALLAS TX 75266-0108




000455P001-1409A-265                       000090P001-1409A-265                           000351P001-1409A-265               000091P001-1409A-265
VERMONT - OFFICE OF THE STATE TREASURER    VERMONT AGENCY OF NATURAL RESOURCES            VERMONT ATTORNEY GENERAL           VERMONT DEPT OF ENVIRONMENTAL CONSERVATION
UNCLAIMED PROPERTY DIVISION                EXECUTIVE OFFICE OF GOVERNOR                   TJ DONOVAN                         COMMISIONER'S OFFICE
109 STATE ST                               PETER SHUMLIN                                  PAVILLION OFFICE BLDG              ALYSSA B SCHUREN
FL 4                                       109 STATE ST                                   109 STATE ST                       1 NATIONAL LIFE DR
MONTPELLIER VT 05609-6200                  MONTPELIER VT 05609                            MONTPELIER VT 05609-1001           DAVIS 2
                                                                                                                             MONTPELIER VT 05620-3520


000246P001-1409A-265                       000164P001-1409A-265                           009780P001-1409A-265               009819P001-1409A-265
VERMONT DEPT OF LABOR AND INDUSTRY         VERMONT DEPT OF TAXES                          VERMONT DEPT OF TAXES              VERMONT DEPT OF TAXES
COMMISSIONER                               109 STATE ST PAVILION OFFICE BLDG              PO BOX 1881                        PO BOX 1779
NATIONAL LIFE BLDG DRAWER 20               MONTPELIER VT 05609                            MONTPELIER VT 05601-1881           MONTPELIER VT 05601-1779
MONTPELIER, VT 05620




009895P001-1409A-265                       010350P001-1409A-265                           033166P001-1409A-265               033166S001-1409A-265
VERMONT DEPT OF TAXES                      VERMONT DEPT OF TAXES                          VERMONT GAS SYSTEMS                VERMONT GAS SYSTEMS
133 STATE ST                               PO BOX 547                                     PAYMENT PROCESSING CENTER          85 SWIFT ST
MONTPELIER VT 05633-1401                   MONTPELIER VT 05601-0547                       PO BOX 22082                       SOUTH BURLINGTON VT 05403
                                                                                          ALBANY NY 12201




034083P002-1409A-265                       010108P001-1409A-265                           032269P001-1409A-265               002665P001-1409A-265
VERMONT GAS SYSTEMS                        VERMONT SECRETARY OF STATE                     MICAELA VERRELIEN                  SHAWNA VERRETT
EMILY A CADIEUX                            81 RIVER ST                                    312 SCHENECTADY AVE                800 BEHRMAN HIGHWAY
85 SWIFT ST                                DRAWER 09                                      APT D1                             UNIT B
SOUTH BURLINGTON VT 05403                  MONTPELIER VT 05609-1104                       BROOKLYN MA 11213                  TERRYTOWN LA 70056




033753P001-1409A-265                       032621P001-1409A-265                           007185P001-1409A-265               034911P001-1409A-265
VERSATILE ENTERTAINMENT INC                VERTEX INC                                     MARY C VERWULST                    VESTAR
PEOPLES LIBERATION INC                     1041 OLD CASSATT RD                            1871 CLARKSON PARMA TL RD          YESTAR CPT TEMPE MARKETPLACELLC
150 WEST JEFFERSON BLVD                    BERWYN PA 19312                                HILTON NY 14468                    2425 EAST CAMELBACK RD
LOS ANGELES CA 90007                                                                                                         STE 750
                                                                                                                             PHOENIX AZ 85016



030084P001-1409A-265                       030084S001-1409A-265                           037522P001-1409A-265               031661P001-1409A-265
VESTAR (LANDLORD)                          VESTAR (LANDLORD)                              VESTAR CPT TEMPE MARKETPLACE LLC   VESTAR RW TEMPE MARKETPLACE
YESTAR CPT TEMPE MARKETPLACE LLC           DAVID L LANSKY, ESQ CLARK HILL PLC             CLARK HILL PLC                     2425 E CAMELBACK RD
VESTAR                                     14850 NORTH SCOTTSDALE RD STE 500              DAVID M BLAU                       # 750
PRESIDENT- MANAGEMENT SERVICES             SCOTTSDALE AZ 85254                            151 S OLD WOODWARD AVE STE 200     PHOENIX AZ 85016
2425 EAST CAMELBACK RD STE 750                                                            BIRMINGHAM MI 48009
PHOENIX AZ 85016
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031661S001-1409A-265                       031661S002-1409A-265                      002234P001-1409A-265        032622P001-1409A-265
VESTAR RW TEMPE MARKETPLACE                VESTAR RW TEMPE MARKETPLACE               FOTINI E VESTINOS           VETERANS WORLDWIDE MAINTENANCE
CLARK HILL PLC                             CLARK HILL PLC                            3037 BAYSHORE POINTE DR     VETERANS PLUMBING SVC AND
DAVID M BLAU ESQ                           KAREN M GRIVNERESQ                        TAMPA FL 33611              SUPPLIES INC / SHANON DRAGO
151 S OLD WOODWARD AVE STE 200             824 N MARKET ST STE 710                                               105 MAIN ST 3RD FL
BIRMINGHAM MI 48009                        WILMINGTON DE 19801                                                   HACKENSACK NJ 07601



036818P001-1409A-265                       008213P001-1409A-265                      003167P001-1409A-265        001407P001-1409A-265
VETERANS WORLDWIDE MAINTENANCE             SERENA L VETTER                           KIMBERLY VEYNA              TERRY L VIANDS
105 MAIN ST 3RD FLOOR                      1934 BLAINE AVE                           3600 E BARTLETT AVE         6004 TWIN HILLS DR
HACKENSACK NJ 07601                        RACINE WI 53405                           NORTH LAS VEGAS NV 89030    JOSHUA TX 76058




009720P001-1409A-265                       030522P001-1409A-265                      009503P001-1409A-265        031662P001-1409A-265
BAILEY A VIATOR                            MELISSA SAN VICENTE                       GABRIELLA M VICIDOMINI      VICTORIA MALL LP
512 N ROBERTSON                            ADDRESS INTENTIONALLY OMITTED             37 WEST GREENTREE DR        PO BOX 204227
DELCAMBRE LA 70528                                                                   MEDFORD NY 11763            AUGUSTA GA 30917




036905P001-1409A-265                       030381P001-1409A-265                      001365P002-1409A-265        003094P001-1409A-265
VICTORIA MALL LP                           JEFFREY VICTORIA                          JEFFREY V VICTORIA          JESSICA I VICTORIO
CO HULL PROPERTY GROUP LLC ASHLEY DOLCE    ADDRESS INTENTIONALLY OMITTED             850 BEECH ST                2227 CABO BAHIA
1190 INTERSTATE PKWY                                                                 UNIT 102                    CHULA VISTA CA 91914
AUGUSTA GA 30909                                                                     SAN DIEGO CA 92101




032623P001-1409A-265                       004405P001-1409A-265                      002600P001-1409A-265        000951P001-1409A-265
VICTORVILLE CITY                           PATRICIA V VIDANAORTIZ                    MILKA VIDOVA                INDIRA G VIEIRA
14343 CIVIC DR                             271 ALPINE AVE                            3547 OAKCREST PL            718 WEEDEN ST
VICTORVILLE CA 92392                       CHULA VISTA CA 91910                      CROWN POINT IN 46307        2R
                                                                                                                 PAWTUCKET RI 02860-1678




034293P001-1409A-265                       031663P001-1409A-265                      036821P001-1409A-265        005406P001-1409A-265
VIEJAS BAND OF KUMEYAAY INDIANS            VIEJAS OUTLET CENTER                      VIEJAS OUTLET CENTER        JENNIFER VIELMA
5005 WILLOWS RD                            VIEJAS BAND OF KUMEYAAY INDIAN            5005 WILLOWS RD STE 229     3840 PORTLAND AVE S
STE 229                                    5005 WILLOWS RD                           ALPINE CA 91901             MINNEAPOLIS MN 55407
ALPINE CA 91901                            STE 229
                                           ALPINE CA 91901



003762P001-1409A-265                       001474P001-1409A-265                      006814P001-1409A-265        004596P001-1409A-265
KAREN S VIERA                              ALYSIA C VIGIL                            ASHLEYRAE J VIGIL           LARISSA VIGIL
134 HOWARD AVE                             1128 LAWLER RANCH PRKWY                   707 SOUTH MCCOY DR          1901 W 12TH ST
ROOSEVELT NY 11575                         SUISUN CITY CA 94585                      PUEBLO CO 81007             120
                                                                                                                 PUEBLO CO 81003
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004596S001-1409A-265            009691P001-1409A-265                    000692P001-1409A-265          001263P001-1409A-265
LARISSA VIGIL                   ROQUE VIGIL                             MONICA VILANO                 XIOMARA M VILCHEZ
1620 N MONUMENT AVE             1901 EAST PECAN RD                      2101 WESLEY DR                103-35 41ST AVE
PUEBLO CO 81001                 PHOENIX AZ 85040                        ARLINGTON TX 76012            APT 3
                                                                                                      CORONA NY 11368




033167P001-1409A-265            001926P001-1409A-265                    007099P001-1409A-265          036608P001-1409A-265
VILLA OF LOMBARD                PRISCILLA VILLA TORRES                  DELIZ A VILLA                 LEIDIARA VILLA
255 E WILSON AVE                1418 STROZIER AVE                       1852 BROADWAYPL NE            88-09 5TH AVE
LOMBARD IL 60148                SOUTH EL MONTE CA 91733-3230            ALBUQUERQUE NM 87102          NORTH BERGEN NJ 07047-5229




036083P001-1409A-265            001625P001-1409A-265                    036084P001-1409A-265          002355P001-1409A-265
TORRES PRISCILLA VILLA          MARIELA VILLADA LOPEZ                   LOPEZ MARIELA VILLADA         JENNIFER VILLAFUERTE
1418 STROZIER AVE               66833 YUCCA DR                          66833 YUCCA DR                16 WATSON AVE
SOUTH EL MONTE CA 91733-3230    DESERT HOT SPRINGS CA 92240             DESERT HOT SPRINGS CA 92240   ELIZABETH NJ 07202




009954P001-1409A-265            009953P001-1409A-265                    032624P001-1409A-265          010285P001-1409A-265
VILLAGE OF ALGONQUIN            VILLAGE OF ASHWAUBENON                  VILLAGE OF ASHWAUBENON        VILLAGE OF BARBOURSVILLE
COMMUNITY DEVELOPMENT           2155 HOLMGREN WAY                       AMY LUECKE                    PO BOX 266
2200 HARNISH DR                 ASHWAUBENON WI 54304-4605               2155 HOLMGREN WAY             BARBOURSVILLE WV 25504
ALGONQUIN IL 60102                                                      ASHWAUBENON WI 54304




033168P001-1409A-265            033168S001-1409A-265                    010013P001-1409A-265          032625P001-1409A-265
VILLAGE OF BLOOMINGDALE         VILLAGE OF BLOOMINGDALE                 VILLAGE OF BOLINGBROOK        VILLAGE OF CARPENTERSVILLE
PO BOX 4717                     201 S BLOOMINGDALE RD                   375 W BRIARCLIFF RD           VILLAGE CLERK
N SUBURBAN IL 60197             BLOOMINGDALE IL 60108-1487              BOLINGBROOK IL 60440          1200 LW BESINGER DR
                                                                                                      CARPENTERSVILLE IL 60110




032770P003-1409A-265            010074P001-1409A-265                    010082P001-1409A-265          033169P001-1409A-265
VILLAGE OF CHICAGO RIDGE        VILLAGE OF GREENDALE                    VILLAGE OF GREENDALE          VILLAGE OF JOHNSON CITY MUNICI
CHARLES E TOKAR                 GREENDALE POLICE DEPT                   6500 NORTHWAY                 243 MAIN ST
10455 S RIDGELAND AVE           5911 W GRANGE AVE                       GREENDALE WI 53129            JOHNSON CITY NY 13790
CHICAGO RIDGE IL 60415          GREENDALE WI 53129




032626P001-1409A-265            032627P001-1409A-265                    032628P001-1409A-265          033170P001-1409A-265
VILLAGE OF LAKE GROVE           VILLAGE OF LINCOLNWOOD                  VILLAGE OF NORRIDGE           VILLAGE OF NORRIDGE WATER DEPT
NEW BUSINESS LICENSES           6900 N LINCOLN AVE                      4000 N OLCOTT AVE             4000 N OLCOTT AVE
PO BOX 708                      LINCOLNWOOD IL 60712                    NORRIDGE IL 60706             NORRIDGE IL 60706
LAKE GROVE NY 11755
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009972P001-1409A-265            033171P001-1409A-265                   032629P001-1409A-265           033172P003-1409A-265
VILLAGE OF NORTH RIVERSIDE      VILLAGE OF NYACK WATER DEPT            VILLAGE OF ORLAND PARK         VILLAGE OF ORLAND PARK
2401 SOUTH DESPLAINES AVE       9 N BROADWAY                           CHRIS KRYGOWSKI                PO BOX 74713
NORTH RIVERSIDE IL 60546        NYACK NY 10960                         BLDG DEPARTMENT                CHICAGO IL 60694
                                                                       14700 S RAVINIA AVE
                                                                       ORLAND PARK IL 60462



033172S001-1409A-265            034085P001-1409A-265                   032771P001-1409A-265           010055P001-1409A-265
VILLAGE OF ORLAND PARK          VILLAGE OF ORLAND PARK                 VILLAGE OF SCHAUMBURG          VILLAGE OF SKOKIE
DONNA M KRZEBIRT                14700 RAVINIA AVE                      101 SCHAUMBURG CT              COMMUNITY DEVELOPMENT DEPT
14700 RAVINIA                   ORLANDO PARK IL 60462                  SCHAUMBURG IL 60193            5127 OAKTON ST
ORLANDO PARK IL 60462                                                                                 SKOKIE IL 60077




009882P001-1409A-265            009830P001-1409A-265                   007583P001-1409A-265           006287P001-1409A-265
VILLAGE OF WELLINGTON           VILLAGE OF WEST DUNDEE                 JAELYN M VILLAGOMEZ            NICOLE L VILLAGOMEZ
BUSINESS TAX RECEIPTS           COMMUNITY DEVELOPMENT DEPT             2106 JOSEPH DR                 2001 WHITETAIL CT
12300 FOREST HILL BLVD          100 CARRINGTON DR                      COPPERAS COVE TX 76522         AVON IN 46123
WELLINGTON FL 33414             WEST DUNDEE IL 60118




003137P001-1409A-265            006512P001-1409A-265                   007969P001-1409A-265           006175P001-1409A-265
BEATRIZ VILLALOBOS              IDALIA P VILLALOBOS                    LORENA VILLALOBOS              NANCY VILLALOBOS
25700 UNIVERSITY CT             601 E 16TH ST                          15891 BRYANT RD                4142 ORLEANS ST
APT 103                         FREDERICK MD 21701                     RIVERSIDE CA 92504             DENVER CO 80249
HAYWARD CA 94542




005500P001-1409A-265            006845P001-1409A-265                   009666P001-1409A-265           003998P001-1409A-265
NICOLE VILLALOBOS               PALOMA M VILLALOBOS                    ADILENNE VILLANUEVA            MARIAH Y VILLANUEVA
1250 N IMPERIAL AVE             1531 PACKARD AVE                       10102 8TH AVE S                10422 18TH AVE SOUTH
13                              RACINE WI 53403                        APT L095                       SEATTLE WA 98168
BRAWLEY CA 92227                                                       SEATTLE WA 98168




005667P001-1409A-265            010415P001-1409A-265                   003578P001-1409A-265           003971P001-1409A-265
PRISCILLA VILLANUEVA            PABLO VILLAREAL JR                     CLAUDIA E VILLARREAL PERALES   ALEXIS E VILLARREAL
2830 BALLESTEROS LN             TAX ASSESSOR-COLLECTOR                 1550 BLALOCK RD                1348 VIRGINIA ST
TUSTIN CA 92782                 PO BOX 3337                            188                            RACINE WI 53405
                                EDINBURG TX 78540-3337                 HOUSTON TX 77080




036085P001-1409A-265            004501P001-1409A-265                   002329P001-1409A-265           000966P001-1409A-265
PERALES CLAUDIA E VILLARREAL    NALLELY VILLEGAS                       STACY VILLIBORD                AMANDA D VINCENT
1550 BLALOCK RD                 10 EROBI LN                            6837 STANDISH DR               650 CARDINAL HILL RD
188                             IOWA CITY IA 52240                     HYATTSVILLE MD 20784           WINFIELD MO 63389-3345
HOUSTON TX 77080
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005556P001-1409A-265                         002405P001-1409A-265                            008271P001-1409A-265                     003204P001-1409A-265
DIAVIAN I VINCENT                            NAOMI VINCENT                                   ANIYAH R VINSON                          GENOVIA A VINSON
2317 BELMONT AVE                             1731 W THIRD ST                                 806 DONLEE RD                            1300 3RD AVE S
ELMONT NY 11003                              SANTA ROSA CA 95401                             LANCASTER TX 75134                       408B
                                                                                                                                      BIRMINGHAM AL 35233




008609P001-1409A-265                         002974P001-1409A-265                            036324P002-1409A-265                     032630P001-1409A-265
LAWRENCE L VINSON                            SHEKITA R VINSON                                THE VINTAGE SHOP                         VIP INC
2 SEMINOLE TRL                               432 SOUTH BLVD APT 4A                           LEWIS BRISBOIS BISGAARD AND SMITH        9210 ROCHESTER CT
FT MITCHELL AL 36856                         4A                                              LOVEE D SARENAS                          RANCHO CUCAMONGA CA 91730
                                             SALISBURY MD 21801                              633 W 5TH ST STE 4000
                                                                                             LOS ANGELES CA 90071



000352P001-1409A-265                         034986P001-1409A-265                            036822P001-1409A-265                     036822S001-1409A-265
VIRGINIA ATTORNEY GENERAL                    VIRGINIA CENTER COMMON REALTY HOLDING           VIRGINIA CENTER COMMONS                  VIRGINIA CENTER COMMONS
MARK R HERRING                               MIKE KOHAN                                      REALTY HOLDING LLC 10101 BROOK RD        MEYERS ROMAN FRIEDBERG AND LEWIS LPA
202 NORTH NINTH ST                           VIRGINIA CENTER COMMON REALTY HOLDING LLC       GLEN ALLEN VA 23059                      DAVID M NEUMANN
RICHMOND VA 23219                            10101 BROOK RD                                                                           28601 CHAGRIN BLVD STE 600
                                             GLEN ALLEN VA 23059                                                                      CLEVELAND OH 44122



030085P001-1409A-265                         000403P001-1409A-265                            000092P001-1409A-265                     000247P001-1409A-265
VIRGINIA CTR CMN RLTY HLD (LANDLORD)         VIRGINIA DEPT OF AGRICULTURE                    VIRGINIA DEPT OF ENVIRONMENTAL QUALITY   VIRGINIA DEPT OF LABOR AND INDUSTRY
(MIKE KOHAN)                                 AND CONSUMER SVC                                629 EAST MAIN ST                         COMMISSIONER
VIRGINIA CENTER COMMON REALTY HOLDING LLC    DIVISION OF CONSUMER PROTECTION                 PO BOX 1105                              13 SOUTH THIRTEENTH ST
10101 BROOK RD                               102 GOVERNOR ST                                 RICHMOND VA 23218                        RICHMOND VA 23219
GLEN ALLEN VA 23059                          RICHMOND VA 23219



010286P001-1409A-265                         000165P001-1409A-265                            009779P001-1409A-265                     010347P001-1409A-265
VIRGINIA DEPT OF TAX                         VIRGINIA DEPT OF TAXATION                       VIRGINIA DEPT OF TAXATION                VIRGINIA DEPT OF TAXATION
SALES TAX                                    OFFICE OF CUSTOMER SERVICE                      PO BOX 1500                              ACCELERATED PAYMENT PROGRAM
PO BOX 26626                                 PO BOX 1115                                     RICHMOND VA 23218-1500                   PO BOX 5145
RICHMOND VA 23261-6626                       RICHMOND VA 23218-1115                                                                   RICHMOND VA 23220-0145




000456P001-1409A-265                         033173P001-1409A-265                            033173S001-1409A-265                     032631P001-1409A-265
VIRGINIA DEPT OF TREASURY                    VIRGINIA NATURAL GAS                            VIRGINIA NATURAL GAS                     VIRGINIA PENALOZA
UNCLAIMED PROPERTY DIVISION                  PO BOX 5409                                     544 SOUTH INDEPENDENCE BLVD              9732 PANDORA LN
101 NORTH 14TH ST                            CAROL STREAM IL 60197                           VIRGINIA BEACH VA 23452                  ANAHEIM CA 92804
RICHMOND VA 23219




032632P001-1409A-265                         033755P001-1409A-265                            033756P001-1409A-265                     037507P001-1409A-265
VIRTUAL DESIGN AND CONSTRUCTION              VISA                                            VISA USA                                 VISALIA MALL LP
AL WHITLEY                                   PO BOX 8999                                     PO BOX 8999                              BROOKFIELD PROPERTY REIT INC
3904 GROTON ST                               SAN FRANCISCO CA 94128                          SAN FRANCISCO CA 94128                   JULIE M BOWDEN
STE 200                                                                                                                               350 N ORLEANS ST STE 300
SAN DIEGO CA 92110                                                                                                                    CHICAGO IL 60654-1607
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031664P001-1409A-265                    007138P001-1409A-265                033451P001-1409A-265               032633P001-1409A-265
VISALIA MALL, LP                        MICAELA J VISCARRA                  VISION                             VISION MODELS
GGPLP REAL ESTATE INC                   1211 S PRAIRIE AVE                  VICTORIA LEE                       CHAMPAGNE TROTT MANAGEMENT LLC
SDS-12-3073                             SIOUX FALLS SD 57105                721 EAST 10TH ST                   8631 WASHINGTON BLVD
PO BOX 86                                                                   LOS ANGELES CA 90021               CULVER CITY CA 90232
MINNEAPOLIS MN 55486-3073



032635P001-1409A-265                    035190P001-1409A-265                032634P001-1409A-265               034308P001-1409A-265
VISION SOLUTIONS INC                    VISION SOLUTIONS INC                VISION SVC PLAN                    VISUALADE LLC
DEPT CH 19317                           15300 BARRANCA PKWY                 PO BOX 45210                       6285 ESPRING ST
PALATINE IL 60055-9317                  IRVINE CA 92618                     SAN FRANCISCO CA 94145             #258
                                                                                                               LONG BEACH CA 90808




032636P001-1409A-265                    032637P001-1409A-265                034317P001-1409A-265               006911P001-1409A-265
VISUALADE, INC                          VIVA ROCKS, INC                     VIVA ROCKS, INC                    ANGELA A VIVEROS
VISUALADE LLC                           KEVA DINR                           715 COLORADO AVE                   19 WHITE GATE DR APT I
JESSE DEAN                              715 COLORADO AVE                    STE D                              WAPPINGERS FALLS NY 12590
6285 ESPRING ST                         STE D                               PALO ALTO CA 94303
#258                                    PALO ALTO CA 94303
LONG BEACH CA 90808


009355P001-1409A-265                    036086P001-1409A-265                003498P001-1409A-265               008027P001-1409A-265
DIANA VIVIA ROMERO                      ROMERO DIANA VIVIA                  ERMA L VIXAMA                      TAYLOR J VIZCARRA
351 WASHINGTON ST                       351 WASHINGTON ST                   5401 CROSS CREEK DR                22326 PICO ST
HAVERHILL MA 01832                      HAVERHILL MA 01832                  205                                GRAND TERRACE CA 92313
                                                                            ORLANDO FL 32839




006535P001-1409A-265                    008236P001-1409A-265                031144P002-1409A-265               021121P001-1409A-265
MEAGAN E VOGT                           HEIDI M VOIT                        VOLAR FASHION LLC                  BOBBIEJO VOLPICELLI
7224 JAMAICA RD                         3932 SANDSTONE CIR                  MIKE ADVANI                        1580 HAIGHT AVE
MIAMISBURG OH 45342                     POWELL OH 43065                     10316 NORWALK BLVD                 BRONX NY 10461
                                                                            SANTA FE SPRINGS CA 90670-3330




021121S001-1409A-265                    009880P001-1409A-265                034200P001-1409A-265               031665P002-1409A-265
BOBBIEJO VOLPICELLI                     VOLUSIA COUNTY                      VOLUSIA MALL LIMITED PARTNERSHIP   VOLUSIA MALL LLC
UGALDE AND RZONCA                       REVENUE DIVISION                    2030 HAMILTON PL BLVD              BY CBL AND ASSOCIATES MANAGEMENT INC
96-14 63RD DR                           123 W INDIANA AVE                   STE 500                            GARY RODDY
STE 500                                 RM 103                              CHATTANOOGA TN 37421-6000          2030 HAMILTON PL BLVD STE 500
REGO PARK NY 11374                      DELAND FL 32720                                                        CHATTANOOGA TN 37421-6000



031665S001-1409A-265                    006308P001-1409A-265                036087P001-1409A-265               006686P001-1409A-265
VOLUSIA MALL LLC                        SHAUNA VONMARBOD                    SHAUNA VONMARBOD                   AKOUTO VONWOGBE
BY CBL AND ASSOCIATES MANAGEMENT INC    31 OLIVE ST                         1029 PK DR                         225 HYDE ST
CALEB HOLZAEPFEL                        COCOA FL 32922                      APT 21                             104
736 GEORGIA AVE STE 300                                                     INDIAN HARBOUR BEA FL 32937        SAN FRANCISCO CA 94102
CHATTANOOGA TN 37402
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032638P001-1409A-265                           036823P001-1409A-265                                003744P001-1409A-265                 034925P001-1409A-265
VOO PRINT                                      VOO PRINT                                           MADISON N VORIS                      VORNADO
RYAN BARRETT                                   UNIT 21A SPINNAKER HOUSE BATTERSEA REACH            3711 E MITCHELL DR                   OAKDALE MALL LLC
UNIT 21A SPINNAKER HOUSE                       JUNIPER DR                                          PHOENIX AZ 85018                     210 ROUTE 4 EAST
BATTERSEA REACH JUNIPER DR                     LONDON SW18 1FR                                                                          PARAMUS NJ 07652
LONDON SW18 1FR                                UNITED KINGDOM
UNITED KINGDOM


030086P001-1409A-265                           030086S001-1409A-265                                030086S002-1409A-265                 006155P001-1409A-265
VORNADO (LANDLORD)                             VORNADO (LANDLORD)                                  VORNADO (LANDLORD)                   AMY VOS
OAKDALE MALL LLC                               OAKDALE MALL LLC                                    CAPMARK FINANCE INC                  1581 SUNVIEW ST
EXECUTIVE VICE PRESIDENT RETAIL REAL ESTATE    CHIEF FINANCIAL OFFICER                             LOAN SERVICING DEPT                  MUSKEGON MI 49445
210 RTE 4 EAST                                 210 RTE 4 EAST                                      200 WITMER RD
PARAMUS NJ 07652                               PARAMUS NJ 07652                                    HORSHAM PA 19044



033757P001-1409A-265                           005206P001-1409A-265                                030414P001-1409A-265                 008535P001-1409A-265
VSP VISION CARE FOR LIFE                       JOHNNY VU                                           JOHNNY VU                            NKAOXEE VUE
3333 QUALITY DR                                8242 MCFADDEN AVE                                   ADDRESS INTENTIONALLY OMITTED        8310 GLOBE DR
RANCHO CORDOVA CA 95670                        MIDWAY CITY CA 92655                                                                     APT 524
                                                                                                                                        MADISON WI 53717




005263P001-1409A-265                           031145P002-1409A-265                                035371P003-1409A-265                 010596P002-1409A-265
KAITLYN S VUKOVICH                             W ACCESSORIES LTD                                   WA- CLARK COUNTY TREASURERS OFFICE   WA- KING COUNTY TREASURY
6482 RED FOX RD                                WEILIN CHEN                                         TODD BARROS                          LINDA C NELSEN
REYNOLDSBURG OH 43068                          147 W35TH ST STE 1108                               PO BOX 5000                          500 4TH AVE RM 600
                                               STE 1108                                            VANCOUVER WA 98666                   SEATTLE WA 98104-2387
                                               NEW YORK NY 10001



035216P002-1409A-265                           034054P002-1409A-265                                037173P002-1409A-265                 010520P002-1409A-265
WA- PIERCE COUNTY FINANCE                      WA- SNOHOMISH COUNTY TREASURER                      WA- THURSTON COUNTY TREASURER        WA- WHATCOM COUNTY TREASURER
ALLEN RICHARDSON                               LINDA WATSON                                        2000 LAKERIDGE DR SW                 JANELL M WILSON
950 FAWCETT AVE STE 100                        3000 ROCKEELLER AVE MS 501                          OLYMPIA WA 98502                     PO BOX 5268
TACOMA WA 98402-5603                           EVERETT WA 98201                                                                         BELLINGHAM WA 98227




004482P001-1409A-265                           002252P001-1409A-265                                006726P001-1409A-265                 004799P002-1409A-265
AUDREY B WAANANEN                              AALIYAH WADE                                        MAYA WADE                            TARAH D WADE
850 GEARY ST                                   1026 PIPERCOVE WAY                                  4030 PERRYSVILLE AVE                 214 GLENWOOD AVE APT 304
APT 44                                         BEL AIR MD 21014                                    PITTSBURGH PA 15214                  EAST ORANGE NJ 07017
SAN FRANCISCO CA 94109




005065P001-1409A-265                           035445P001-1409A-265                                003052P001-1409A-265                 007960P002-1409A-265
TYLA WADE                                      JOCELYN M WAGNER                                    MARGARET M WAGNER                    ONIKEH H WAI
5353 HERITAGE AVE                              1130 65TH ST                                        534 WALKER CIR                       202 PARK AVE APT 210
MEMPHIS TN 38115                               APT E                                               HARLEYSVILLE PA 19438                GAITHERSBURG MD 20877
                                               EMERYVILLE CA 94608
                                Case 19-10210-LSS   Doc Russe
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010546P001-1409A-265             008447P001-1409A-265                     032639P002-1409A-265         009060P001-1409A-265
WAKE COUNTY REVENUE DEPT         PAMELA WAKEFIELD                         WAL-FAB INC                  ELIZABETH R WALCOTT
PO BOX 580084                    980 POMONA DR                            ABLE INDUSTRIAL PRODUCTS     9800 STATE HIGHWAY 246
CHARLOTTE NC 28258-0084          CHAMPAIGN IN 61822                       CHARLES R WROWKA             SPENCER IN 47460
                                                                          25201 STAGELINE DR
                                                                          LAGUNA HILLS CA 92653



001757P001-1409A-265             030569P001-1409A-265                     036088P001-1409A-265         001307P001-1409A-265
RENEE N WALDEN                   RENEE N WALDEN                           RENEE N WALDEN               THRESSIA R WALDEN
928 SUMMERVILLE RD               ADDRESS INTENTIONALLY OMITTED            403 SHELWOOD CIR APT K       7356 W ROLLER RIDGE
KINGSPORT TN 37663-3109                                                   ASHEVILLE NC 28804           SELIGMAN MO 65745




006056P002-1409A-265             001016P001-1409A-265                     004739P001-1409A-265         037190P001-1409A-265
ALLYNN WALKER                    ALLYSON V WALKER                         ANNE WALKER                  CANDYCE WALKER
2447 LYNN AVE                    3750 PARTRIDGE DR                        9818 PALOMINO DR             421 SANDHILL AVE
DAYTON OH 45406-1923             MACON GA 31204                           ROGERS AR 72758              WIGGINS MS 39577




001899P001-1409A-265             002978P001-1409A-265                     002599P001-1409A-265         007040P001-1409A-265
CANDYCE M WALKER                 CORENTHIA M WALKER                       DANIELLE Y WALKER            DEJAZ S WALKER
15580 GEORGE ONEAL RD            826 PLAYGROUND RD                        901 EAST 72ND ST APT 2D      237 PALMER AE
APT 414                          CHARLESTON SC 29407                      TACOMA WA 98404              1
BATON ROUGE LA 70817                                                                                   SYRACUSE NY 13207




030322P001-1409A-265             009224P001-1409A-265                     002935P001-1409A-265         006731P001-1409A-265
DYLAN WALKER                     FELICIA P WALKER                         JENNIFER M WALKER            JESSICA WALKER
ADDRESS INTENTIONALLY OMITTED    HEATHER RIDGEDR                          3137 KERRYBROOK DR           202 WAYNESBORO WAY
                                 311                                      MURFREESBORO TN 37129        DOTHAN AL 36305
                                 FREDERICK MD 21702




037449P001-1409A-265             002677P001-1409A-265                     008971P002-1409A-265         006474P001-1409A-265
JESSICA WALKER                   JILLIAN WALKER                           KAYLA WALKER                 LAURA C WALKER
JESSICA WALKER                   4505 S HARDY DR                          923 N MERIDIAN ST APT 421    2338 RICE LAKE RD
1118 E SAUNDERS RD               APT 1155                                 INDIANAPOLIS IN 46204-1095   2372
LOT 209                          TEMPE AZ 85283                                                        DULUTH MN 55811
DOTHAN AL 36301



009704P001-1409A-265             006105P001-1409A-265                     001275P001-1409A-265         030506P001-1409A-265
LURA C WALKER                    MADISON WALKER                           MAEGEN L WALKER              MARISSA WALKER
186 BIG OAK DR                   4883 CIR DR                              1120 N 8TH ST                ADDRESS INTENTIONALLY OMITTED
ADKINS TX 78101                  NORTHAMPTON PA 18067                     FORT SMITH AR 72901-1329
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001051P001-1409A-265         001105P001-1409A-265                036089P001-1409A-265              009075P001-1409A-265
MARISSA I WALKER             MARQUITTA T WALKER                  MERI G WALKER                     MYA T WALKER
10 WILSON CIR                816 SUNFLOWER DR                    16646 PEBBLE CREEK LN             7207 TAWNY MILL ST
BERKELEY CA 94708            LAUREL MS 39440                     PLAINFIELD IL 60586               LAS VEGAS NV 89148




004106P002-1409A-265         004269P001-1409A-265                008122P001-1409A-265              002034P001-1409A-265
SHAVONNA S WALKER            STACIA M WALKER                     TAKERIAH WALKER                   TAKIERRA WALKER
7240 SIXTY FOOT RD AOT 7     762 E HUNTERS RUN DR                1532 N TER                        3310 NW 208TH ST
PITTSVILLE MD 21850          MARION IN 46953                     WICHITA KS 67208                  OPA LOCKA FL 33056-1361




004425P001-1409A-265         006310P001-1409A-265                003856P001-1409A-265              009425P001-1409A-265
JORDAN R WALLACE             LAPOLTINA N WALLACE                 MADISON L WALLACE                 TANIEYAI D WALLACE
7410 10TH AVE N              3221 JEFFERSON ST                   110 WILLIAMSBURG RD               2313 HUMMINGBIRD WAY
SAINT PETERSBURG FL 33710    MUSKEGON MI 49444                   LANSING MI 48917                  MESQUITE TX 75181




004079P001-1409A-265         036090P001-1409A-265                003754P001-1409A-265              007173P001-1409A-265
TORSICA T WALLACE            TORSICA T WALLACE                   ZACHALIZE WALLACE                 ZHERAWNICA S WALLACE
200 STILLWOOD DR             2840 ROBINSON ST APT 330            7032 EFFINGHAM SQ                 6541 SWIFT CREEK RD
JACKSON MS 39206             JACKSON MS 39209                    INDIANAPOLIS IN 46260             LITHONIA GA 30058




003701P001-1409A-265         036091P001-1409A-265                005862P001-1409A-265              007694P001-1409A-265
MADISON E WALLACK            RAYSHAIA N WALLER                   BRITTANY M WALLS                  ALLISON M WALSH
7459 SOUTH STATE ST          6413 ROCKSHIRE ST                   753 7TH ST SE                     20 HAWTHORN DR
LOWVILLE NY 13367            ALEXANDRIA VA 22315                 HICKORY NC 28602                  SUCCASUNNA NJ 07876




001829P001-1409A-265         036987P002-1409A-265                008286P001-1409A-265              004040P001-1409A-265
CARYN S WALSH                MAUREEN WALSH                       MAGGIE L WALSTROM                 BROOKE D WALTERS
9954 SOUTH CANTERBURY RD     A/K/A RYANN WALSH                   407 2ND ST SOUTH                  605 NORTH FIRST ST
PHILADELPHIA PA 19114        3 FERGUSON RD                       BUFFALO MN 55313                  JOHNSTOWN CO 80534
                             WILMINGTON MA 01887




004592P001-1409A-265         005770P001-1409A-265                005359P001-1409A-265              006490P001-1409A-265
DESTINY L WALTERS            JALYN C WALTERS                     KAILEY S WALTERS                  MAEAH WALTHALL
1590 SKY VLY DR              4811 PINTAIL CT NE                  3073 DAWSON LN SW                 9313 MILLBRANCH PL
#F-303                       LACEY WA 98516                      ATLANTA GA 30331                  FAIRFAX VA 22030
RENO NV 89523
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000863P001-1409A-265        000934P001-1409A-265                001095P001-1409A-265              008263P001-1409A-265
LACEY A WALTON              ORIENTHEO J WALTON                  PORSCHA L WALTON                  SHANNON WALTON
2180 ORR LN                 13743 MCKENZIE AVE                  1218 5TH AVE SW                   3215 KNIGHT ST
EUGENE OR 97405             POWAY CA 92064                      HICKORY NC 28602-2405             243
                                                                                                  SHREVEPORT LA 71105




008794P001-1409A-265        007558P001-1409A-265                030324P001-1409A-265              002687P001-1409A-265
TERCELIA M WALZ             EDEL WAMBUI                         EBONEE WARD                       EBONEE C WARD
211 HOMESTEAD ST            4720 BENT ELM                       ADDRESS INTENTIONALLY OMITTED     3135 HIGHLAND RD
A10                         SAN ANTONIO TX 78259                                                  APT 607
MANCHESTER CT 06042                                                                               BATON ROUGE LA 70802




036092P001-1409A-265        003269P001-1409A-265                002226P002-1409A-265              007432P001-1409A-265
EBONEE C WARD               JENNIFER WARD                       KELSY A WARD                      MAYA D WARD
1443 BRIGHTSIDE DR          10498 121ST AVE                     3503 OLD HOPPER RD                771 PENINSULA OVERLOOK
APT 1834A                   LARGO FL 33773                      CAPE GIRARDEAU MO 63701           HAMPTON GA 30228
BATON ROUGE LA 70820




001055P001-1409A-265        002920P001-1409A-265                004191P001-1409A-265              009393P002-1409A-265
MICHAEL A WARD              PANDORA WARD                        SABRINA K WARD                    TESSALA B WARD
4511 WEST KEIM DR           1129 N WHITCOMB AVE                 11423 SAINT LAWRENCE DR           810 CHURCH ST APT 8
GLENDALE AZ 85301           A                                   BATON ROUGE LA 70811              KINGS MOUNTAIN NC 28086-2174
                            INDIANPOLIS IN 46224




008262P001-1409A-265        030176P001-1409A-265                001580P001-1409A-265              006996P001-1409A-265
ZARIA WARD                  WARE MALCOMB                        BRANDICE J WARE                   AMAYA R WARNELL
10612 ABERCORN ST           JESSICA PROCTER                     1271 BEDROCK DR                   49 WENDOVER CT
A10                         10 EDELMAN                          ORANGE PARK FL 32065-5236         SHELBYVILLE KY 40065
SAVANNAH GA 31419           IRVINE CA 92618




002015P001-1409A-265        000649P001-1409A-265                003521P001-1409A-265              001786P001-1409A-265
ASIA S WARNER               CHERYL M WARNER                     SHALISA R WARNER                  TIFFANY R WARNETSKY
1990 ERIE LN                10859 S PEORIA ST                   6190 PARKDALE DR                  209 CHESTNUT ST
HOFFMAN ESTATES IL 60169    CHICAGO IL 60643                    COLUMBUS OH 43229                 ARCHBALD PA 18403




004013P001-1409A-265        010023P001-1409A-265                009798P001-1409A-265              001073P001-1409A-265
MONICA A WARRA              WARREN COUNTY AUDITOR               WARREN COUNTY SCHOOLS             ALEXIS S WARREN
19421 LAUREL DR             406 JUSTICE DR                      NET PROFIT RETURN                 865 NEWLINS RD E
LIVONIA MI 48154            LEBANON OH 45036                    PO BOX 890944                     EASTON PA 18040
                                                                CHARLOTTE NC 28289-0944
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007254P001-1409A-265             002138P001-1409A-265                            007482P001-1409A-265                      009051P001-1409A-265
DARISHA L WARREN                 JAMIE L WARREN                                  LANIJA WARREN                             SERENITY WARREN
7625 DORSHIRE DR                 10627 GREER DR                                  5302 MALCOLM ST                           16 TREMONT TER
C                                RICHLAND MI 49083                               PHILADELPHIA PA 19143                     IRVINGTON NJ 07111
SOUTHAVEN MS 38671




030635P001-1409A-265             031666P001-1409A-265                            037088P001-1409A-265                      037088S001-1409A-265
TANYA L WARREN                   WARWICK MALL OWNER LLC                          WARWICK MALL OWNER LLC                    WARWICK MALL OWNER LLC
ADDRESS INTENTIONALLY OMITTED    400 BLAD HILL RD                                CO VANESSA P MOODY                        MARK T BRENNAN
                                 WARWICK RI 02886                                GOULSTON AND STORRS PC                    400 BALD HILL RD
                                                                                 400 ATLANTIC AVE                          WARWICK RI 02886
                                                                                 BOSTON MA 02110



010129P001-1409A-265             034863P001-1409A-265                            030087P001-1409A-265                      006781P001-1409A-265
WARWICK POLICE DEPT              WAS GROUP                                       WAS GROUP (LANDLORD)                      ASHLEY WASHBURN
LICENSE DIVISION                 VIEJAS SPRINGS VILLAGE OUTLET CENTER            VIEJAS SPRINGS VILLAGE OUTLET CENTER      1643 NEWGATE LN
99 VETERANS MEMORIAL DR          5005 WILLOWS RD                                 5005 WILLOWS RD STE 229                   HOWELL MI 48843
WARWICK RI 02886-4617            STE 229                                         ALPINE CA 91901
                                 ALPINE CA 91901



000353P001-1409A-265             010487P001-1409A-265                            000248P001-1409A-265                      000457P001-1409A-265
WASHINGTON ATTORNEY GENERAL      WASHINGTON COUNTY TRUSTEE                       WASHINGTON DEPT OF LABOR AND INDUSTRIES   WASHINGTON DEPT OF REVENUE
BOB FERGUSON                     PO BOX 215                                      DIRECTOR                                  UNCLAIMED PROPERTY SECTION
1125 WASHINGTON ST SE            JONESBOROUGH TN 37659                           PO BOX 44000                              PO BOX 34053
PO BOX 40100                                                                     OLYMPIA WA 98504-4000                     SEATTLE WA 98124-1053
OLYMPIA WA 98504-0100



033174P001-1409A-265             033174S001-1409A-265                            034731P001-1409A-265                      034743P001-1409A-265
WASHINGTON GAS                   WASHINGTON GAS                                  WASHINGTON PRIME                          WASHINGTON PRIME
PO BOX 37747                     101 CONSTITUTION AVE NW                         MELBOURNE SQUARE LLC                      ORANGE PARK MALL LLC
PHILADELPHIA PA 19101            WASHINGTON DC 20080                             180 E BROAD ST                            180 E BROAD ST
                                                                                 FLOOR 20                                  FLOOR 20
                                                                                 COLUMBUS OH 43215                         COLUMBUS OH 43215



034772P001-1409A-265             034775P001-1409A-265                            034781P001-1409A-265                      034787P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME                                WASHINGTON PRIME                          WASHINGTON PRIME
SOUTHERN PARK MALL LLC           MAPLEWOOD MALL LLC                              POLARIS FASHION PLACE LLC                 WESTSHORE PLAZA LLC
180 E BROAD ST                   180 E BROAD ST                                  180 E BROAD ST                            180 E BROAD ST
FLOOR 20                         FLOOR 20                                        FLOOR 20                                  FLOOR 20
COLUMBUS OH 43215                COLUMBUS OH 43215                               COLUMBUS OH 43215                         COLUMBUS OH 43215



034791P001-1409A-265             034804P001-1409A-265                            034835P001-1409A-265                      034855P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME                                WASHINGTON PRIME                          WASHINGTON PRIME
BOYNTON BEACH MALL LLC           DAYTON MALL LLC                                 TOWNE WEST SQUARE LLC                     OAK COURT MALL LLC
180 E BROAD ST                   180 E BROAD ST                                  180 E BROAD ST                            180 E BROAD ST
FLOOR 20                         FLOOR 20                                        FLOOR 20                                  FLOOR 20
COLUMBUS OH 43215                COLUMBUS OH 43215                               COLUMBUS OH 43215                         COLUMBUS OH 43215
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034857P001-1409A-265             034859P001-1409A-265                   034879P001-1409A-265                 034946P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME                       WASHINGTON PRIME                     WASHINGTON PRIME
WEST RIDGE MALL LLC              MUNCI MALL LLC                         AURORA MALL LLC                      PADDOCK MALL LLC
180 E BROAD ST                   180 E BROAD ST                         180 E BROAD ST                       180 E BROAD ST FL 20
FLOOR 20                         FLOOR 20                               FLOOR 20                             COLUMBUS OH 43215
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215



034958P001-1409A-265             034959P001-1409A-265                   034963P001-1409A-265                 034964P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME                       WASHINGTON PRIME                     WASHINGTON PRIME
PORT CHARLOTTE MALL LLC          ROLLING OAKS MALL LLC                  SM RUSHMORE MALL LLC                 MFC BEAVERCREEK LLC
180 E BROAD ST                   180 E BROAD ST                         180 E BROAD ST                       180 E BROAD ST
FLOOR 20                         FLOOR 20                               FLOOR 20                             FLOOR 20
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215



034965P001-1409A-265             034966P001-1409A-265                   035007P001-1409A-265                 035037P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME                       WASHINGTON PRIME                     WASHINGTON PRIME
GRAND CENTRAL PARKERSBURG LLC    SOUTHERN HILLS LLC                     CHARLOTTESVILLE FASHION SQUARE LLC   WTM GLIMCHER LLC
180 E BROAD ST                   180 E BROAD ST                         180 E BROAD ST                       180 EAST BROAD ST
FLOOR 20                         FLOOR 20                               FLOOR 20                             21ST FL
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215



035071P001-1409A-265             030088P001-1409A-265                   030089P001-1409A-265                 030090P001-1409A-265
WASHINGTON PRIME                 WASHINGTON PRIME (LANDLORD)            WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
SDQ FEE LLC                      WESTMINSTER MALL LLC                   BRE/PEARLRIDGE LLC                   MELBOURNE SQUARE LLC
180 E BROAD ST                   GENERAL COUNSEL                        GENERAL COUNSEL                      GENERAL COUNSEL
FLOOR 20                         180 E BROAD ST FL 20                   180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215



030091P001-1409A-265             030092P001-1409A-265                   030093P001-1409A-265                 030094P001-1409A-265
WASHINGTON PRIME (LANDLORD)      WASHINGTON PRIME (LANDLORD)            WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
ORANGE PARK MALL LLC             SOUTHERN PARK MALL LLC                 MAPLEWOOD MALL LLC                   POLARIS FASHION PLACE LLC
GENERAL COUNSEL                  GENERAL COUNSEL                        GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20             180 E BROAD ST FL 20                   180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215



030095P001-1409A-265             030096P001-1409A-265                   030097P001-1409A-265                 030098P001-1409A-265
WASHINGTON PRIME (LANDLORD)      WASHINGTON PRIME (LANDLORD)            WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
WESTSHORE PLAZA LLC              BOYNTON BEACH MALL LLC                 DAYTON MALL LL LLC                   JEFFERSON VALLEY MALL LLC
GENERAL COUNSEL                  GENERAL COUNSEL                        GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20             180 E BROAD ST FL 20                   180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215



030099P001-1409A-265             030100P001-1409A-265                   030101P001-1409A-265                 030102P001-1409A-265
WASHINGTON PRIME (LANDLORD)      WASHINGTON PRIME (LANDLORD)            WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
TOWNE WEST SQUARE LLC            OAK COURT MALL LLC                     WEST RIDGE MALL LLC                  MUNCI MALL LLC
GENERAL COUNSEL                  GENERAL COUNSEL                        GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20             180 E BROAD ST FL 20                   180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                COLUMBUS OH 43215                      COLUMBUS OH 43215                    COLUMBUS OH 43215
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030103P001-1409A-265                  030104P001-1409A-265                               030105P001-1409A-265                 030106P001-1409A-265
WASHINGTON PRIME (LANDLORD)           WASHINGTON PRIME (LANDLORD)                        WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
AURORA MALL LLC                       GREAT LAKES MALL LLC                               BRUNSWICK SQUARE LLC                 PADDOCK MALL LLC
GENERAL COUNSEL                       GENERAL COUNSEL                                    GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20                  180 E BROAD ST FL 20                               180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                     COLUMBUS OH 43215                                  COLUMBUS OH 43215                    COLUMBUS OH 43215



030107P001-1409A-265                  030108P001-1409A-265                               030109P001-1409A-265                 030110P001-1409A-265
WASHINGTON PRIME (LANDLORD)           WASHINGTON PRIME (LANDLORD)                        WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
PORT CHARLOTTE MALL LLC               ROLLING OAKS MALL LLC                              SM RUSHMORE MALL LLC                 MFC BEAVERCREEK LLC
GENERAL COUNSEL                       GENERAL COUNSEL                                    GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20                  180 E BROAD ST FL 20                               180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                     COLUMBUS OH 43215                                  COLUMBUS OH 43215                    COLUMBUS OH 43215



030111P001-1409A-265                  030112P001-1409A-265                               030113P001-1409A-265                 030114P001-1409A-265
WASHINGTON PRIME (LANDLORD)           WASHINGTON PRIME (LANDLORD)                        WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
GRAND CENTRAL PARKERSBURG LLC         SOUTHERN HILLS LLC                                 NORTHWOODS SHOPPING CENTER LLC       LINCOLNWOOD TOWN CENTER LLC
GENERAL COUNSEL                       GENERAL COUNSEL                                    GENERAL COUNSEL                      GENERAL COUNSEL
180 E BROAD ST FL 20                  180 E BROAD ST FL 20                               180 E BROAD ST FL 20                 180 E BROAD ST FL 20
COLUMBUS OH 43215                     COLUMBUS OH 43215                                  COLUMBUS OH 43215                    COLUMBUS OH 43215



030115P001-1409A-265                  030116P001-1409A-265                               030117P001-1409A-265                 030118P001-1409A-265
WASHINGTON PRIME (LANDLORD)           WASHINGTON PRIME (LANDLORD)                        WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
CHARLOTTESVILLE FASHION SQUARE LLC    MESA MALL LLC                                      MORGANTOWN MALL ASSOCIATES LIMITED   MALL AT JOHNSON CITY LLC
GENERAL COUNSEL                       GENERAL COUNSEL                                    PARTNERSHIP, GENERAL COUNSEL         GENERAL COUNSEL
180 E BROAD ST FL 20                  180 E BROAD ST FL 20                               180 EAST BROAD ST 21ST FL            180 EAST BROAD ST 21TH FL
COLUMBUS OH 43215                     COLUMBUS OH 43215                                  COLUMBUS OH 43215                    COLUMBUS OH 43215



030119P001-1409A-265                  030120P001-1409A-265                               030121P001-1409A-265                 030122P001-1409A-265
WASHINGTON PRIME (LANDLORD)           WASHINGTON PRIME (LANDLORD)                        WASHINGTON PRIME (LANDLORD)          WASHINGTON PRIME (LANDLORD)
ATC GLIMCHER LLC                      GLIMCHER SUPERMALL VENTURE LLC                     WTM GLIMCHER LLC                     SDQ FEE LLC
GENERAL COUNSEL                       GENERAL COUNSEL                                    GENERAL COUNSEL                      GENERAL COUNSEL
180 EAST BROAD ST 21ST FL             180 EAST BROAD ST 21ST FL                          180 EAST BROAD ST 21ST FL            180 E BROAD STREETFLOOR 20
COLUMBUS OH 43215                     COLUMBUS OH 43215                                  COLUMBUS OH 43215                    COLUMBUS OH 43215



034175P001-1409A-265                  000407P001-1409A-265                               000093P001-1409A-265                 000094P001-1409A-265
WASHINGTON PRIME GROUP LP             WASHINGTON STATE ATTORNEY GENERAL                  WASHINGTON STATE DEPT OF ECOLOGY     WASHINGTON STATE DEPT OF NATURAL RESOURCES
180 EAST BROAD ST                     CONSUMER PROTECTION DIVISION                       PO BOX 47600                         PO BOX 47000
COLUMBUS OH 43215                     1125 WASHINGTON ST SE                              OLYMPIA WA 98504-7600                1111 WASHINGTON ST SE
                                      OLYMPIA WA 98501-0100                                                                   OLYMPIA WA 98504-7000




000166P001-1409A-265                  000095P001-1409A-265                               008806P001-1409A-265                 009665P001-1409A-265
WASHINGTON STATE DEPT OF REVENUE      WASHINGTON STATE DEPT OF TRANSPORTATION            AMANI N WASHINGTON                   ANGELLE B WASHINGTON
PO BOX 47464                          TRANSPORTATION BUILDING                            40 HARRISON DR                       2605 JOHN WEST RD
OLYMPIA WA 98504-7476                 310 MAPLE PK AVE SE                                SHIRLEY NY 11967                     8203
                                      PO BOX 47300                                                                            DALLAS TX 75228
                                      OLYMPIA WA 98504-7300
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007886P001-1409A-265             009651P001-1409A-265                    009617P001-1409A-265             006715P001-1409A-265
ASHLEY M WASHINGTON              BIONNA WASHINGTON                       CAMARA Y WASHINGTON              DESTINY D WASHINGTON
7311 BRIDGEVIEW CIR APT108       623 PITTMAN HALL                        308 VIA ALTOS                    PO BOX 473
TAMPA FL 33634                   YSPILANTI MI 48197                      MESQUITE TX 75150                FORT MILL SC 29716




008336P001-1409A-265             000569P001-1409A-265                    003877P001-1409A-265             008814P001-1409A-265
JALESSA S WASHINGTON             MIAH P WASHINGTON                       SADIYAH M WASHINGTON             SHERTODRA WASHINGTON
1000 B HARROLD DR APT 6205       10502 WALLACE AVE                       2188 RIVER PK CT                 1604 N PARKDALE DR
6205                             KANSAS CITY MO 64134                    AUGUSTA GA 30907                 TYLER TX 75702-2926
CHARLESTON SC 29414




006364P001-1409A-265             010306P001-1409A-265                    032640P001-1409A-265             033175P001-1409A-265
TRINARRIA P WASHINGTON           WASHOE COUNTY CLERK                     WASHOE COUNTY HEALTH DIVISION    WASTE CONNECTIONS OF FLORIDA
1715 BERRYHILL RD                PO BOX 30083                            ENVIRONMENTAL HEALTH SVC         PO BOX 5278
CORDOVA TN 38016                 RENO NV 89520-3083                      1001 EAST NINTH ST               CAROL STREAM IL 60197
                                                                         PO BOX 11130
                                                                         RENO NV 89520



033175S001-1409A-265             033176P001-1409A-265                    037874P001-1409A-265             033177P001-1409A-265
WASTE CONNECTIONS OF FLORIDA     WASTE CONNECTIONS OF FLORIDA            WASTE MANAGEMENT OF OREGON INC   WASTE MGMT
1001 FANNIN STSUITE 4000         PO BOX 742695                           BANKRUPTCY DEPT                  PO BOX 4648
HOUSTON TX 77002                 CINCINNATI OH 45274                     2625 W GRANDVIEW RD STE 150      CAROL STREAM IL 60197
                                                                         PHOENIX AZ 85023




033177S001-1409A-265             033178P001-1409A-265                    033178S001-1409A-265             033179P001-1409A-265
WASTE MGMT                       WASTE MGMT INC OF FLORIDA               WASTE MGMT INC OF FLORIDA        WASTE MGMT OF ATLANTA HAULING
1001 FANNIN STSUITE 4000         PO BOX 4648                             1001 FANNIN STSUITE 4000         PO BOX 105453
HOUSTON TX 77002                 CAROL STREAM IL 60197                   HOUSTON TX 77002                 ATLANTA GA 30348




033179S001-1409A-265             033180P001-1409A-265                    033180S001-1409A-265             033181P001-1409A-265
WASTE MGMT OF ATLANTA HAULING    WASTE MGMT OF DENVER                    WASTE MGMT OF DENVER             WASTE MGMT OF NW FLORIDA
1001 FANNIN STSUITE 4000         PO BOX 78251                            1001 FANNIN STSUITE 4000         PO BOX 9001054
HOUSTON TX 77002                 PHOENIX AZ 85062                        HOUSTON TX 77002                 LOUISVILLE KY 40290




033181S001-1409A-265             033182P001-1409A-265                    033182S001-1409A-265             033183P001-1409A-265
WASTE MGMT OF NW FLORIDA         WASTE MGMT OF OHIO INC                  WASTE MGMT OF OHIO INC           WASTE MGMT OF OREGON
1001 FANNIN STSUITE 4000         PO BOX 4648                             1001 FANNIN STSUITE 4000         COLUMBIA COUNTY OPERATIONS
HOUSTON TX 77002                 CAROL STREAM IL 60197                   HOUSTON TX 77002                 PO BOX 541065
                                                                                                          LOS ANGELES CA 90054
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033183S001-1409A-265             033184P001-1409A-265                033185P001-1409A-265              033185S001-1409A-265
WASTE MGMT OF OREGON             WASTE MGMT OF OREGON                WASTE MGMT OF TEXAS INC           WASTE MGMT OF TEXAS INC
1001 FANNIN STSUITE 4000         PO BOX 541065                       HOUSTON METRO                     1001 FANNIN STSUITE 4000
HOUSTON TX 77002                 LOS ANGELES CA 90054                PO BOX 660345                     HOUSTON TX 77002
                                                                     DALLAS TX 75266




033186P001-1409A-265             033187P001-1409A-265                033187S001-1409A-265              033188P001-1409A-265
WASTE MGMT OF TEXAS INC          WASTE MGMT OF WI MN                 WASTE MGMT OF WI MN               WASTE MGMT SUN VALLEY
PO BOX 660345                    PO BOX 4648                         1001 FANNIN STSUITE 4000          PO BOX 541065
DALLAS TX 75266                  CAROL STREAM IL 60197               HOUSTON TX 77002                  LOS ANGELES CA 90054




033188S001-1409A-265             033189P001-1409A-265                033189S001-1409A-265              006770P001-1409A-265
WASTE MGMT SUN VALLEY            WASTE PRO GAUTIER                   WASTE PRO GAUTIER                 ISABELLE G WASZAK
1001 FANNIN STSUITE 4000         PO BOX 865289                       205 BEASLEY ROAD                  501 N CAPITOL AVE
HOUSTON TX 77002                 ORLANDO FL 32886                    GAUTIER MS 39553                  1119
                                                                                                       INDIANAPOLIS IN 46204




036824P001-1409A-265             008817P001-1409A-265                009421P001-1409A-265              009010P001-1409A-265
WATERBURY HEALTH DEPT            REAGAN E WATERS                     SARAH WATERSON                    ADRIANNA M WATKINS
ENVIRONMENTAL HEALTH DIVISION    2012 S 5TH                          LANDES 310 125 S JORDAN AVE       12205 WALNUT PT
ONE JEFFERSON SQUARE             SPRINGFIELD IL 62703                BLOOMINGTON IN 47406              HAGERSTOWN MD 21740
WATERBURY CT 06706




006025P002-1409A-265             002122P001-1409A-265                000702P001-1409A-265              030334P001-1409A-265
AJA C WATKINS                    ASHLEY N WATKINS                    DAVE WATKINS                      EMILY WATKINS
2252 BARRETT LN                  1804 FRANKLIN ST                    5040 COMANCHE DR                  ADDRESS INTENTIONALLY OMITTED
HUMBOLDT TN 38343-1817           LITTLE ROCK AR 72204                APT 103
                                                                     LA MESA CA 91942




006151P001-1409A-265             006753P001-1409A-265                008435P001-1409A-265              008690P001-1409A-265
ERICA WATKINS                    JAIME WATKINS                       JAYLA WATKINS                     SIERRA A WATKINS
50369 OAKVIEW DR                 113 DOVER BLUFF DR                  1314 CHINOOK TRL                  8314 E 25TH PL
NEW BALTIMORE MI 48047           ORANGE PARK FL 32073                APT 9                             179
                                                                     FRANKFORT KY 40601                TULSA OK 74129




030123P001-1409A-265             006775P001-1409A-265                003225P001-1409A-265              009231P001-1409A-265
WATSON CENTERS (LANDLORD)        AMORA K WATSON                      BROOKE I WATSON                   GLENDOLIN E WATSON
VALLEY WEST DM                   1734 INDIA HOOK RD                  15825 QUORUM DR                   244 OLD HWY 18 1 PRT GIBSON M
3100 WEST LAKE ST STE 420        203                                 2213                              PORT GIBSON MS 39150
MINNEAPOLIS MN 55416             ROCK HILL SC 29732                  ADDISON TX 75001
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004887P001-1409A-265              037452P001-1409A-265                037163P001-1409A-265              000942P001-1409A-265
KATANA WATSON                     KATANA WATSON                       MEGAN WATSON                      MEGAN B WATSON
512 VICTORIA DR                   KATANA WATSON                       MEGAN WATSON                      203 LANDVIEW DR
COATESVILLE PA 19320              512 VICTORIA DR                     MEGAN WATSON                      DOTHAN AL 36301
                                  COATESVILLE PA 19320                203 LANDVIEW DR
                                                                      TAYLOR AL 36301



000694P001-1409A-265              009717P001-1409A-265                003433P001-1409A-265              003023P001-1409A-265
DEMAYA WATTS                      KAYLA WATTS                         SYDNIE A WATTS                    ANNICE WAY
2814 TOOMEY AVE                   118 E 10TH ST                       1161 STATE HIGHWAY B              6491 HWY 341
CHARLOTTE NC 28203                COVINGTON KY 41011                  ROGERSVILLE MO 65742              PONTOTOC MS 38863




032641P001-1409A-265              002338P001-1409A-265                032642P001-1409A-265              033190P001-1409A-265
WAYNE A ROBEY,                    SHARON R WAYNE                      WAYS AND MEANS SF, LLC            WE ENERGIES
CLERK OF THE CIRCUIT COURT FOR    9026 E PARAISO DR                   1606 CASTRO ST                    PO BOX 90001
HOWARD COUNTY LAND RECORDS        SCOTTSDALE AZ 85255                 SAN FRANCISCO CA 94114            MILWAUKEE WI 53290
9250 BENDIX RD
COLUMBIA MD 21045



033190S001-1409A-265              034100P002-1409A-265                031667P001-1409A-265              036917P001-1409A-265
WE ENERGIES                       WE ENERGIES                         WEA GREAT NORTHERN MALL LLC       WEA PALM DESERT LLC
231 WEST MICHIGAN ST              BANKRUPTCY                          WESTFIELD SHOPPINGTOWN GREAT N    LECLAIRRYAN PLLC
MILWAUKEE WI 53203                JILL CASTILLO                       2049 CENTURY PK EAST              NICLAS A FERLAND
                                  333 W EVERETT ST                    41ST FL                           545 LONG WHARF DR 9TH FL
                                  MILWAUKEE WI 53203                  LOS ANGELES CA 90067              NEW HAVEN CT 06511



031668P001-1409A-265              036919P001-1409A-265                031669P001-1409A-265              033399P001-1409A-265
WEA PALM DESERT LP                WEA SOUTHCENTER LLC                 WEA SOUTHCENTER, LLC              WEARFIRST SPORTSWEAR
PO BOX 742257                     LECLAIRRYAN PLLC                    FILE# 56923                       WEARFIRST SPORTS/HARRY THOMPSON
LOS ANGELES CA 90074-2257         NICLAS A FERLAND                    LOS ANGELES CA 90074-6923         HARRY THOMPSON
                                  545 LONG WHARF DR 9TH FL                                              42 WEST 39TH ST
                                  NEW HAVEN CT 06511                                                    13TH FLOOR
                                                                                                        NEW YORK NY 10018


007181P001-1409A-265              037374P001-1409A-265                009298P001-1409A-265              000643P001-1409A-265
SHAYQUESSA WEASLER                SHAYQUESSA WEASLER                  AALIYAH WEATHERSBY                DASCIA WEAVER
167 PINE ST                       106 HOME PLACE CT APT 1             1005 WIGWAM PKWY                  4363 RIVERSIDE DR
APT 1                             FAYETTEVILLE NC 28311               APT 6104                          D2
MANCHESTER NH 03103                                                   HENDERSON NV 89074                DAYTON OH 45405




008713P001-1409A-265              005513P001-1409A-265                009594P001-1409A-265              001457P001-1409A-265
SHALYNN WEAVER                    SHELBY L WEAVER                     TAYLOR WEAVER                     VANESSA L WEAVER
4925 GLENCROSS DR                 221 EISENHOWER DR                   16303 CHELSEA PL                  549 S 99TH PL
DAYTON OH 45406                   APT 146                             APT #921                          MESA AZ 85208
                                  BILOXI MS 39531                     SELMA TX 78154
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004233P001-1409A-265          010527P001-1409A-265                  036849P001-1409A-265               007834P001-1409A-265
YAMILEX K WEAVER              WEBB COUNTY TAX ASSESSOR              CHRISTINE WEBB                     MORRIGAN C WEBB
11047 NW 8 CT                 PO BOX 420128                         KKR                                1440 PARADISE PT DR #17
PLANATION FL 33324            LAREDO TX 78042-8128                  555 CALIFORNIA ST 51ST FLOOR       NAVARRE FL 32566
                                                                    SAN FRANCISCO CA 94104




002076P001-1409A-265          007620P001-1409A-265                  035191P001-1409A-265               008728P001-1409A-265
TARA R WEBB                   VANESSA R WEBB                        WEBDAM BY BYNDER LLC               ALYSSA WEBER
2197 S UECKER LN              19955 N 51RST AVE                     1730 S AMPHLETT BLVD STE 330       5050 3RD AVE W
APT 424                       1059                                  SAN MATEO CA 94402                 APT A
LEWISVILLE TX 75067-7806      GLENDALE AZ 85308                                                        BRADENTON FL 34209




034141P001-1409A-265          004330P001-1409A-265                  009688P001-1409A-265               031670P001-1409A-265
KATHLEEN WEBER                MADELINE WEBER                        MARISSA A WEBER                    WEBERSTOWN MALL
1395 GOLDEN GATE AVE          15 TAYLER TRL                         516 EAST CLEARWATER PL             WASHINGTON PRIME GROUP LP
#504                          WOODSTOCK CT 06282                    200                                180 EAST BROAD ST
SAN FRANCISCO CA 94115                                              SIOUX FALLS SD 57108               COLUMBUS OH 43215




036975P001-1409A-265          036975S001-1409A-265                  034173P001-1409A-265               009358P001-1409A-265
WEBERSTOWN MALL LLC           WEBERSTOWN MALL LLC                   WEBERSTOWN MALL LP                 ELIZABETH K WEBSTER
WASHINGTON PRIME GROUP INC    WASHINGTON PRIME GROUP INC            180 EAST BROAD ST                  1413 JACK PINE WAY
FROST BROWN TODD LLC          STEPHEN E IFEDUBA                     COLUMBUS OH 43215                  3279 YELLOWSTO
301 E FOURTH ST               180 E BROAD ST                                                           KALAMZAZOO MI 49006
CINCINNATI OH 45202           COLUMBUS OH 43215



004379P002-1409A-265          036094P001-1409A-265                  003622P001-1409A-265               033337P001-1409A-265
JANZEL WEBSTER                JANZEL WEBSTER                        KARENA M WEDDERBURN                WEDNESDAY NY LLC
3156 MOUNT ZION RD APT 405    2201 COBBLESTONE BLVD                 2566 W TENNESSEE ST                WEDNESDAY NEW YORK LLC
STOCKBRIDGE GA 30281-4180     STOCKBRIDGE GA 30281                  APT 11321                          MICHELLE MENSAH
                                                                    TALLAHASSE FL 32304                245 5TH AVE
                                                                                                       FLOOR 25TH
                                                                                                       NEW YORK NY 10016


031146P001-1409A-265          031147P001-1409A-265                  010259P001-1409A-265               001161P001-1409A-265
WEE GALLERY INC               WEE ONES LLC                          JIMMY WEEKS                        KAYLEE WEGEMER
147 2ND AVE S                 PAULA BOECKMANN                       CLAY COUNTY TAX COLLECTOR          1029 W 25TH ST
STE 210                       13601 LAKEFRONT DR                    PO BOX 218                         ERIE PA 16502
ST PETERSBURG FL 33701        EARTH CITY MO 63045                   GREEN COVE SPRINGS FL 32043-0218




004475P001-1409A-265          036095P001-1409A-265                  006878P001-1409A-265               033793P001-1409A-265
ALEXIS J WEIESNBACH           ALEXIS J WEIESNBACH                   SANDY R WEIGHTMAN                  WEIGHTS AND MEASURES
138 WINTER WOOD LOOP          55 COUNTRY CLUB DR                    1021 ENGLISH AVE                   COUNTY OF SONOMA
LINN CREEK MO 65052           CAMDENTON MO 65020                    TURLOCK CA 95380                   133 AVIATION BLVD
                                                                                                       STE 110
                                                                                                       SANTA ROSA CA 95403-8279
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009894P001-1409A-265                          000755P002-1409A-265                                    006652P001-1409A-265                           000964P001-1409A-265
WEIGHTS AND MEASURES DIVISION                 RANDI R WEINER                                          TAMERA L WEINERT                               HEATHER WEINMANN
AGRIGULTURAL COMMISSIONER'S                   675 EAST ST RD APT 1216                                 19819 10TH PL W                                700 W HARBOR DR
133 AVIATION BLVD STE 110                     WARMINSTER PA 18974                                     LYNNWOOD WA 98036                              UNIT 1505
SANTA ROSA CA 95403-1077                                                                                                                             SAN DIEGO CA 92101




036533P001-1409A-265                          008171P001-1409A-265                                    035335P001-1409A-265                           002494P001-1409A-265
HANNAH LEE WEINSTEIN                          VALERIE G WEISBECK                                      JANET WEISS                                    KEIRYN E WEISS
118 PLANTERS CREEK DR                         11436 BROADWAY ST                                       DORSEY LLP                                     1199 MOJAVE TRL
BALDWIN GA 30511                              ALDEN NY 14004                                                                                         GREEN BAY WI 54313




000804P001-1409A-265                          030266P001-1409A-265                                    004018P001-1409A-265                           035025P001-1409A-265
ANTONIETA WELCH                               CARRIE A WELCH                                          DESTANI L WELCH                                WELCO REALTY
5656 SEXTON LN                                ADDRESS INTENTIONALLY OMITTED                           4217 VLG LN                                    BAY PLAZA LLC
RIVERSIDE CA 92509-6663                                                                               41                                             PRESTIGE PROPERTIES AND DEVELOPMENT CO INC
                                                                                                      WEST DES MOINES IA 50266                       546 FIFTH AVE
                                                                                                                                                     15TH FL
                                                                                                                                                     NEW YORK NY 10036


030124P001-1409A-265                          001478P001-1409A-265                                    005967P001-1409A-265                           006735P001-1409A-265
WELCO REALTY (LANDLORD)                       CAITLYN WELDON                                          MADISON P WELFORD                              CARLEY J WELLMAN
BAY PLAZA LLC                                 64 GLENEIDA BLVD                                        3565 MILL GREEN RD                             3301 SPRINGHAVEN ST
PRESTIGE PROPERTIES AND DEVELOPMENT CO INC    MAHOPAC NY 10541                                        STREET MD 21154                                CATLETTSBURG KY 41129
546 FIFTH AVE 15TH FL
NEW YORK NY 10036



004057P001-1409A-265                          009733P001-1409A-265                                    035248P002-1409A-265                           037225P002-1409A-265
KAYLA M WELLMAN                               WELLS FARGO                                             WELLS FARGO BANK AKA WELLS FARGO               WELLS FARGO BANK AKA WELLS FARGO
3241 WEST ST BRIDES CIR                       401 B ST STE 2201                                       TRADE CAPITAL                                  CAPITAL FINANCE
ORLANDO FL 32812                              SAN DIEGO CA 92101                                      GRT BANKRUPTCY ADNMINISTRATION                 GRT BANKRUPTCY ADMINISTRATION
                                                                                                      PO BOX 13708                                   PO BOX 13708
                                                                                                      MACON GA 31208-3708                            MACON GA 31208-3708



037348P001-1409A-265                          037348S001-1409A-265                                    037478P001-1409A-265                           037478S001-1409A-265
WELLS FARGO BANK NA                           WELLS FARGO BANK NA                                     WELLS FARGO BANK NA AS TRUSTEE FOR GECMC05C1   WELLS FARGO BANK NA AS TRUSTEE FOR GECMC05C1
AS TRUSTEE FOR CSMS 2008?C                    Frank Rinaldi                                           PERKINS COIE LLP                               MICHAEL J. LUDDEN
PERKINS COIE LLP                              VP solely in capacity as Special Servicer to            CO BRIAN A AUDETTE                             C-III ASSET MANAGEMENT, LLC, IN ITS CAPA
CO BRIAN A AUDETTE                            CWCapital Asset Management                              131 S DEARBORN ST STE 1700                     5221 N.OCONNOR BLVD., SUITE 800
131 S DEARBORN ST STE 1700                    7501 Wisconsin Avenue, Suite 500-W                      CHICAGO IL 60603                               IRVING TX 75039
CHICAGO IL 60603                              Bethesda MD 20814


030767P001-1409A-265                          035192P001-1409A-265                                    037524P001-1409A-265                           032643P001-1409A-265
WELLS FARGO CENTURY, INC                      WELLS FARGO VENDOR                                      WELLS FARGO VENDOR FINANCIAL LLC               WELLS FARGO VENDOR FINANCIAL SVC LLC
THOMAS KASSEBAUM                              FINANCIAL SVC LLC                                       MICHELLE SCHULTEN                              WELLS FARGO FINANCIAL LEASING
100 PK AVE                                    1961 HIRST DR                                           1010 THOMAS EDISON BLVD SW                     1961 HIRST DR
3RD FL                                        MOBERLY MO 65270                                        CEDAR RAPIDS IA 52404                          MOBERLY MO 65270
NEW YORK NY 10017
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030490P001-1409A-265              001116P001-1409A-265                               007375P001-1409A-265                      008437P001-1409A-265
MADISON WELLS                     MADISON R WELLS                                    MARY WELLS                                SARAH WELLS
ADDRESS INTENTIONALLY OMITTED     1450 WILDWOOD LAKES BLVD B202                      418 HWY 318                               131 CYNDEE CIR
                                  NAPLES FL 34104                                    FRANKLIN LA 70538                         AUGUSTA GA 30907




033375P001-1409A-265              006237P001-1409A-265                               002202P001-1409A-265                      000765P001-1409A-265
WENDY LY                          SARAH F WENZLOFF                                   STACEY J WERFT                            HANNAH M WERNER
32744 FOKGLOVE WAY                2700 CANTERFIELD PKWY E                            11801 YORK ST #1526                       21 OAKHILL AVE
UNION CITY CA 94587               110                                                NORTHGLENN CO 80233                       GREENSBURG PA 15601
                                  WEST DUNDEE IL 60118




009047P001-1409A-265              002604P001-1409A-265                               036096P001-1409A-265                      037899P002-1409A-265
VERONICA R WERNER                 HAILEY J WERON                                     HAILEY J WERON                            PAMELA WERTENBERGER
1779 SPRINGWILLOW DR              3763 N JULLION WAY                                 4797 PATTON PL                            27928 VOGT
MECHANICSBURG PA 17055            BOISE ID 83704                                     BOISE ID 83704                            ST CLAIR SHORES MI 48081




007105P001-1409A-265              001397P001-1409A-265                               033191P001-1409A-265                      037232P001-1409A-265
VICTORIA L WERTZ                  CATHERINE E WESSON                                 WEST PENN POWER                           WEST PENN POWER
1717 HUNTER RIDGE DR              11269 N RIVER VUE CIR                              800 CABIN HILL DR                         FIRST ENERGY
SPRINGFIELD IL 62704              BILOXI MS 39532                                    GREENSBURG PA 15606                       NATALIE ALLARD
                                                                                                                               5001 NASA BLVD
                                                                                                                               FAIRMONT WV 26554



036971P001-1409A-265              036971S001-1409A-265                               033759P001-1409A-265                      031671P001-1409A-265
WEST RIDGE MALL LLC               WEST RIDGE MALL LLC                                WEST STREET CAPITAL PARTNERS LP           WEST TOWN MALL
WASHINGTON PRIME GROUP INC        WASHINGTON PRIME GROUP INC                         GOLDMAN SACHS PRINCIPAL INVESTMENT AREA   WEST TOWN MALL LLC
FROST BROWN TODD LLC              STEPHEN E IFEDUBA                                  200 WEST ST                               867530 RELIABLE PKWY
301 E FOURTH ST                   180 E BROAD ST                                     NEW YORK NY 10282                         CHICAGO IL 60686-0075
CINCINNATI OH 45202               COLUMBUS OH 43215



034341P001-1409A-265              037681P002-1409A-265                               033192P001-1409A-265                      033192S001-1409A-265
WEST TOWN MALL LLC                WEST TOWN MALL LLC                                 WEST VIRGINIA AMERICAN WATER              WEST VIRGINIA AMERICAN WATER
867530 RELIABLE PKWY              A DELAWARE LIMITED LIABILITY CO                    PO BOX 371880                             1600 PENNSYLVANIA AVE
CHICAGO IL 60686-0075             SIMON PROPERTY GROUP LP RONALD M TUCKER            PITTSBURGH PA 15250                       CHARLESTON WV 25302
                                  225 WEST WASHINGTON ST
                                  INDIANAPOLIS IN 46204



000354P001-1409A-265              000096P001-1409A-265                               000167P001-1409A-265                      000249P001-1409A-265
WEST VIRGINIA ATTORNEY GENERAL    WEST VIRGINIA DEPT OF ENVIRONMENTAL                WEST VIRGINIA DEPT OF REVENUE             WEST VIRGINIA DIVISION OF LABOR
PATRICK MORRISEY                  PROTECTION                                         1206 QUARRIER ST                          COMMISSIONER
STATE CAPITOL COMPLEX             601 57TH ST                                        CHARLESTON WV 23501                       BUREAU OF COMMERCESTATE CAPITOL COMPLEX
BLDG 1 RM E26                     CHARLESTON WV 25304                                                                          BLDG 6 RM B749
CHARLESTON WV 25305-0220                                                                                                       CHARLESTON WV 25305
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010326P001-1409A-265                 009782P001-1409A-265                           010287P001-1409A-265             000458P001-1409A-265
WEST VIRGINIA SECRETARY OF           WEST VIRGINIA STATE TAX DEPT                   WEST VIRGINIA STATE TAX DEPT     WEST VIRGINIA STATE TREASURER'S OFFICE
STATE'S OFFICE                       TAX ACCOUNT ADMINISTRATION DIVISION            PO BOX 2666                      UNCLAIMED PROPERTY DIVISION
PO BOX 40300                         CORPORATE TAX UNIT                             CHARLESTON WV 25330-2666         ONE PLAYERS CLUB DR
CHARLESTON WV 25364                  PO BOX 1202                                                                     CHARLESTON WV 25311
                                     CHARLESTON WV 25324-1202



005318P001-1409A-265                 003398P001-1409A-265                           006377P001-1409A-265             007321P001-1409A-265
BRIANNA WEST                         BRIANNA S WEST                                 ELIZABETH R WEST                 JASMINE L WEST
2005 MORELAND BLVD                   6221 S HULEN                                   4819 TRAFALGAR ST SW             17601 DAYTON ST
307                                  FORT WORTH TX 76133                            CANTON OH 44706                  VICTORVILLE CA 92395
CHAMPAIGN IL 61822




008648P001-1409A-265                 032340P001-1409A-265                           010610P001-1409A-265             035202P001-1409A-265
MERCEDES WEST                        PAK WEST                                       WESTCHESTER FIRE INS CO          WESTCHESTER FIRE INS CO
10911 WOODMEADOW PKWY #928           4042 WEST GARRY AVENE                          436 WALNUT ST                    436 WALNUT ST
DALLAS TX 75228                      SANTA ANA CA 92704                             PHILADELPNIA PA 19106            PHILADELPHIA PA 19106




034270P001-1409A-265                 031672P001-1409A-265                           037774P001-1409A-265             034269P001-1409A-265
WESTCOR REALTY LIMITED PARTNERSHI    WESTCOR REALTY LIMITED PARTNERSHIP             WESTCOR SAN TAN VILLAGE LLC      WESTCOR SANTAN HOLDINGS LLC
401 WILSHIRE BLVD                    11411 NORTH TATUM BLVD                         BALLARD SPAHR LLP                401 WILSHIRE BLVD
STE 700                              PHOENIX AZ 85028                               DUSTIN P BRANCH                  STE 700
SANTA MONICA CA 90401                                                               2029 CENTURY PARK EAST STE 800   SANTA MONICA CA 90401
                                                                                    LOS ANGELES CA 90067-2909



031673P001-1409A-265                 033543P001-1409A-265                           032644P001-1409A-265             037525P001-1409A-265
WESTCOR SANTAN VILLAGE LLC           WESTCOTT DESIGN LTD                            WESTERN EXTERMINATOR CO          WESTERN EXTERMINATOR CO
WESTCOR SANTAN HOLDINGS LLC          UNIT 13 BALTIMORE HOUSE                        PO BOX 16350                     AKA RENTOKIL NORTH AMERICA
401 WILSHIRE BLVD                    BATTERSEA REACH JUNIPER DR                     READING PA 19612-6350            JOSEPH KRAYNAK
STE 700                              LONDON SW18 1TS                                                                 1125 BERKSHIRE BLVD STE 150
SANTA MONICA CA 90401                UNITED KINGDOM                                                                  WYOMISSING PA 19610



036341P002-1409A-265                 033760P001-1409A-265                           034181P001-1409A-265             031674P001-1409A-265
WESTERN FASHION INC                  WESTERN SURETY CO                              VITTORIA NINA WESTERVELT         WESTFIELD - BRANDON TOWN CENTE
NAVIN KUMAR                          101 SOUTH PHILIPS AVE                          190 WITHERS ST                   PNC BANK LOCKBOX #532615
5236 BELL CT                         SIOUX FALLS SD 57117                           #2                               PO BOX 532615
CHINO CA 91710                                                                      BROOKLYN NY 11211                ATLANTA GA 30353-2615




031674S001-1409A-265                 031674S002-1409A-265                           031674S003-1409A-265             034127P001-1409A-265
WESTFIELD - BRANDON TOWN CENTE       WESTFIELD - BRANDON TOWN CENTE                 WESTFIELD - BRANDON TOWN CENTE   WESTFIELD AMERICA LIMITED PARTNER
LAW OFFICE OF SUSAN E KAUFMAN LLC    LECLAIRRYAN PLLC                               LECLAIRRYAN PLLC                 11601 WILSHIRE BLVE
SUSAN E KAUFMAN ESQ                  NICLAS A FERLAND ILAN MARKUS                   ANDREW L COLE ESQ                11TH FL
919 N MARKET ST STE 460              545 LONG WHARF DR 9TH FL                       800 NORTH KING ST STE 303        LOS ANGELES CA 90025
WILMINGTON DE 19801                  NEW HAVEN CT 06511                             WILMINGTON DE 19801
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034210P001-1409A-265                    034707P001-1409A-265                               034709P001-1409A-265           034710P001-1409A-265
WESTFIELD AMERICA LIMITED PARTNER       WESTFIELD CORP                                     WESTFIELD CORP                 WESTFIELD CORP
2049 CENTURY PK EAST                    MISSION VALLEY SHOPPINGTOWN LLC                    PLAZA BONITA LP                EWH ESCONDIDO ASSOCIATES LP
41ST FL                                 2049 CENTURY PK EAST                               2049 CENTURY PK EAST           2049 CENTURY PK EAST
LOS ANGELES CA 90067                    41ST FL                                            41ST FL                        41ST FL
                                        LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067



034715P001-1409A-265                    034735P001-1409A-265                               034758P001-1409A-265           034816P001-1409A-265
WESTFIELD CORP                          WESTFIELD CORP                                     WESTFIELD CORP                 WESTFIELD CORP
WESTFIELD TOPANGA OWNER LP              CITRUS PARK VENTURE LIMITED PARTNERSHIP            ROSEVILLE SHOPPINGTOWN LLC     WEA PALM DESERT LLC
2049 CENTURY PK EAST                    2049 CENTURY PK EAST                               2049 CENTURY PK EAST           WEST?ELD LLC
41ST FL                                 41ST FL                                            41ST FL                        2049 CENTURY PK EAST
LOS ANGELES CA 90067                    LOS ANGELES CA 90067                               LOS ANGELES CA 90067           41ST FL
                                                                                                                          LOS ANGELES CA 90067


034823P001-1409A-265                    034864P001-1409A-265                               034982P001-1409A-265           034989P001-1409A-265
WESTFIELD CORP                          WESTFIELD CORP                                     WESTFIELD CORP                 WESTFIELD CORP
BRANDON SHOPPING CENTER PARTNERS LTD    WHEATON PLAZA REGIONAL SHOPPING CENTER LLC         WEA SOUTHCENTER LLC            TRUMBULL SHOPPING CENTER #2 LLC
2049 CENTURY PK EAST                    2049 CENTURY PK EAST                               2049 CENTURY PK EAST           2049 CENTURY PK EAST
41ST FL                                 41ST FL                                            41ST FL                        41ST FL -
LOS ANGELES CA 90067                    LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067



035018P001-1409A-265                    030125P001-1409A-265                               030126P001-1409A-265           030127P001-1409A-265
WESTFIELD CORP                          WESTFIELD CORP (LANDLORD)                          WESTFIELD CORP (LANDLORD)      WESTFIELD CORP (LANDLORD)
WESTLAND SOUTH SHORE MALL LP            MISSION VALLEY SHOPPINGTOWN LLC                    PLAZA BONITA LP                EWH ESCONDIDO ASSOCIATES LP
2049 CENTURY PK EAST                    LEGAL DEPT                                         LEGAL DEPT                     LEGAL DEPT
41ST FL                                 2049 CENTURY PK EAST 41ST FL                       2049 CENTURY PK EAST 41ST FL   2049 CENTURY PK EAST 41ST FL
LOS ANGELES CA 90067                    LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067



030128P001-1409A-265                    030129P001-1409A-265                               030130P001-1409A-265           030131P001-1409A-265
WESTFIELD CORP (LANDLORD)               WESTFIELD CORP (LANDLORD)                          WESTFIELD CORP (LANDLORD)      WESTFIELD CORP (LANDLORD)
WESTFIELD TOPANGA OWNER LP              CITRUS PARK VENTURE LIMITED PARTNERSHIP            MERIDEN SQUARE PARTNERSHIP     ROSEVILLE SHOPPINGTOWN LLC
LEGAL DEPT                              LEGAL DEPT                                         LEGAL DEPT                     LEGAL DEPT
2049 CENTURY PK EAST 41ST FL            2049 CENTURY PK EAST 41ST FL                       2049 CENTURY PK EAST 41ST FL   2049 CENTURY PK EAST 41ST FL
LOS ANGELES CA 90067                    LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067



030131S001-1409A-265                    030132P001-1409A-265                               030132S001-1409A-265           030133P001-1409A-265
WESTFIELD CORP (LANDLORD)               WESTFIELD CORP (LANDLORD)                          WESTFIELD CORP (LANDLORD)      WESTFIELD CORP (LANDLORD)
WESTFIELD LLC                           SUNRISE MALL LLC                                   WESTLIELD LLC                  ARMAPOLIS MALL OWNER LLC
LEASE DOCUMENTATION                     LEGAL DEPT                                         LEASE DOCUMENTATION            LEGAL DEPT
2049 CENTURY PK EAST 41ST FL            2049 CENTURY PK EAST 41ST FL                       2049 CENTURY PK EAST 41ST FL   2049 CENTURY PK EAST 41ST FL
LOS ANGELES CA 90067                    LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067



030134P001-1409A-265                    030135P001-1409A-265                               030136P001-1409A-265           030137P001-1409A-265
WESTFIELD CORP (LANDLORD)               WESTFIELD CORP (LANDLORD)                          WESTFIELD CORP (LANDLORD)      WESTFIELD CORP (LANDLORD)
WEA PALM DESERT LLC                     BRANDON SHOPPING CENTER PARTNERS LTD               OAKRIDGE MALL LLC              VALENCIA TOWN CENTER VENTURE LP
WESTFIELD LLC                           LEGAL DEPT                                         LEGAL DEPT                     LEGAL DEPT
LEGAL DEPARTMENT                        2049 CENTURY PK EAST 41ST FL                       2049 CENTURY PK EAST 41ST FL   2049 CENTURY PK EAST 41ST FL
2049 CENTURY PK EAST 41ST FL            LOS ANGELES CA 90067                               LOS ANGELES CA 90067           LOS ANGELES CA 90067
LOS ANGELES CA 90067
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030138P001-1409A-265                          030139P001-1409A-265                    030140P001-1409A-265                   030141P001-1409A-265
WESTFIELD CORP (LANDLORD)                     WESTFIELD CORP (LANDLORD)               WESTFIELD CORP (LANDLORD)              WESTFIELD CORP (LANDLORD)
WHEATON PLAZA REGIONAL SHOPPING CENTER LLC    WEA SOUTHCENTER LLC                     TRUMBULL SHOPPING CENTER #2 LLC        OLD ORCHARD URBAN LIMITED PARTNERSHIP
LEGAL DEPT                                    LEGAL DEPT                              LEGAL DEPT                             LEGAL DEPT
2049 CENTURY PK EAST 41ST FL                  2049 CENTURY PK EAST 41ST FL            2049 CENTURY PK EAST 41ST FL           2049 CENTURY PK EAST 41ST FL
LOS ANGELES CA 90067                          LOS ANGELES CA 90067                    LOS ANGELES CA 90067                   LOS ANGELES CA 90067



030141S001-1409A-265                          030142P001-1409A-265                    030143P001-1409A-265                   031675P001-1409A-265
WESTFIELD CORP (LANDLORD)                     WESTFIELD CORP (LANDLORD)               WESTFIELD CORP (LANDLORD)              WESTFIELD CULVER CITY
THE IRVINE CO RETAIL PROPERTIES               WESTLAND SOUTH SHORE MALL LP            CULVER CITY MALL LLC                   CULVER CITY MALL LLC
ACCOUNTING DEPT                               LEGAL DEPT                              LEGAL DEPT                             6000 SEPULVEDA BLVD
100 INNOVATION DR                             2049 CENTURY PK EAST 41ST FL            2049 CENTURY PK EAST 41ST FL           STE 2820
IRVINE CA 92617                               LOS ANGELES CA 90067                    LOS ANGELES CA 90067                   CULVER CITY CA 90230



034209P001-1409A-265                          036921P001-1409A-265                    031676P002-1409A-265                   031676S001-1409A-265
WESTFIELD SHOPPINGTOWN GREAT NORT             WESTFIELD TOPANGA OWNER LLC             WESTGATE MALL CMBS LLC                 WESTGATE MALL CMBS LLC
2049 CENTURY PK EAST                          LECLAIRRYAN PLLC                        BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
41ST FL                                       NICLAS A FERLAND                        GARY RODDY                             CALEB HOLZAEPFEL
LOS ANGELES CA 90067                          545 LONG WHARF DR 9TH FL                2030 HAMILTON PL BLVD STE 500          736 GEORGIA AVE STE 300
                                              NEW HAVEN CT 06511                      CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402



034199P001-1409A-265                          031677P001-1409A-265                    036826P001-1409A-265                   037748P001-1409A-265
WESTGATE MALL LIMITED PARTNERSHIP             WESTLAND MALL LLC                       WESTLAND MALL LLC                      WESTLAND MALL LLC
2030 HAMILTON PL BLVD                         STARWEST JV LLC                         1 EAST WACKER DR STE 3600              BALLARD SPAHR LLP
STE 500                                       YISELL ALFONSO                          CHICAGO IL 60601                       DUSTIN P BRANCH
CHATTANOOGA TN 37421-6000                     1 EAST WACKER DR                                                               2029 CENTURY PARK EAST STE 800
                                              STE 3600                                                                       LOS ANGELES CA 90067-2909
                                              CHICAGO IL 60601


031678P001-1409A-265                          037782P001-1409A-265                    031679P001-1409A-265                   036920P001-1409A-265
WESTLAND MALL REALTY, LLC                     WESTLAND REALTY LLC                     WESTLAND SOUTH SHORE MALL LP           WESTLAND SOUTH SHORE MALL LP
PO BOX 368                                    NAMDAR REALTY GROUP LLC                 WESTFIELD AMERICA LIMITED PART         LECLAIRRYAN PLLC
EMERSON NJ 07630                              JOSHUA S HACKMAN                        EVAN HARMS                             NICLAS A FERLAND
                                              150 GREAT NECK RD STE 304               2049 CENTURY PK EAST                   545 LONG WHARF DR 9TH FL
                                              GREAT NECK NY 11021                     41ST FL                                NEW HAVEN CT 06511
                                                                                      LOS ANGELES CA 90067


031680P001-1409A-265                          036932P001-1409A-265                    036932S001-1409A-265                   032645P001-1409A-265
WESTMINISTER MALL LLC                         WESTMINSTER MALL LLC                    WESTMINSTER MALL LLC                   WESTMORELAND COUNTY
PO BOX 809038                                 WASHINGTON PRIME GROUP INC              STEPHEN E IFEDUBA                      DEPT OF WEIGHTS AND MEASURES
CHICAGO IL 60680-9038                         FROST BROWN TODD LLC                    180 E BROAD ST                         WESTMORELAND COUNTY TREASURER
                                              301 E FOURTH ST                         COLUMBUS OH 43215                      2 N MAIN ST
                                              CINCINNATI OH 45202                                                            SCOTT C SISTEK DIRECTOR
                                                                                                                             GREENSBURG PA 15601


005877P001-1409A-265                          031681P001-1409A-265                    037372P001-1409A-265                   034121P001-1409A-265
ANNIE M WESTRA                                WESTROADS MALL                          WESTROADS MALL LLC                     WESTROADS-OAKS INC (FKA GGP IVANH
1710 DOLORES RIVER DR                         WESTROADS MALL LLC                      BROOKFIELD PROPERTY REIT INC           110 N WACKER DR
WINDSOR CO 80550                              GGPLP-SDS 12-1531                       JULIE M BOWDEN                         CHICAGO IL 60606
                                              PO BOX 86                               350 N ORLEANS ST STE 300
                                              MINNEAPOLIS MN 55486-1531               CHICAGO IL 60654-1607
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009172P001-1409A-265          003220P001-1409A-265                 036097P001-1409A-265             004528P001-1409A-265
TAYLOR A WETHERELL            DEJA M WETZEL                        DEJA M WETZEL                    ROCHELLE WEYMOUTH
1000 LONGFELLOW BLVD          2206 GTWY OAKS DR                    2206 GATEWAY OAKS DR             303 WEST STRAIN ST
LAKELAND FL 33801             #173                                 #173                             FORT BRANCH IN 47648
                              SACRAMENTO CA 95833                  SACRAMENTO CA 95833




032772P002-1409A-265          032772S001-1409A-265                 031682P001-1409A-265             032646P001-1409A-265
WG PARK LP                    WG PARK LP                           WG PARK LP/WILLOW GROVE PARK M   WG SECURITY PORDUCTS, INC
KURTZMAN STEADY LLP           PREIT SERVICES LLC                   PREIT ASSOCIATES LP              591 W HAMILTON AVE
JEFFREY KURTZMAN              CHRISTIANA UY                        200 S BROAD ST THIRD FL          STE 260
401 S 2ND ST STE 200          200 S BROAD ST 3RD FL                PHILADELPHIA PA 19102            CAMPBELL CA 95008
PHILADELPHIA PA 19147         PHILADELPHIA PA 19102



036827P001-1409A-265          032647P001-1409A-265                 035193P001-1409A-265             005285P001-1409A-265
WG SECURITY PRODUCTS INC      WGSN                                 WGSN INC                         JULIA D WHALEN
591 W HAMILTON AVE STE 260    LOCATED IN LONDON NO 1099            229 WEST 43RD ST 7TH FL          116 MEADOWVIEW CT
CAMPBELL CA 95008             229 WEST 43RD ST                     NEW YORK NY 10036                JACKSONVILLE NC 28546
                              7TH FL
                              NEW YORK NY 10036



002888P001-1409A-265          007668P001-1409A-265                 000527P001-1409A-265             003461P001-1409A-265
PAMILA L WHALEN               BRIANNA A WHALEY                     LANDYN J WHARTON                 LAURA M WHARTON
4724 S SIXTH ST               3205 NW 83RD ST                      312 BIRCH ST                     245 HENDRICKSON AVE
LOUISVILLE KY 40214           APT 434                              ELLSWORTH AFB MI 57706           EDGEWATER PARK NJ 08010
                              GAINESVILLE FL 32606




033193P001-1409A-265          033193S001-1409A-265                 031683P001-1409A-265             035358P001-1409A-265
WHCEA                         WHCEA                                WHEATON PLAZA REGIONAL LLP       WHEATON PLAZA REGIONAL SHOPPING
PO BOX 77027                  6800 ELECTRIC DR                     FILE# 55275                      CENTER LLC
MINNEAPOLIS MN 55480          PO BOX 330                           LOS ANGELES CA 90074-5275        LECLAIRRYAN PLLC
                              ROCKFORD MN 55373                                                     545 LONG WHARF DR 9TH FL
                                                                                                    NEW HAVEN CT 06511



002742P001-1409A-265          004998P001-1409A-265                 036098P001-1409A-265             002052P001-1409A-265
ELIZABETH A WHEELER           HANNAH K WHEELER                     JOLENE R WHEELER                 LA SHONDA L WHEELER
7620 RAINBOW CREEK DR         2502 COOPERS POST LN                 1010 SPARROW                     231 COLEMAN ST
FORT WORTH TX 76123           SUGAR LAND TX 77478                  LANSING MI 48910                 BRIDGEPORT CT 06604




006612P001-1409A-265          037113P001-1409A-265                 007390P001-1409A-265             008947P001-1409A-265
MADELINE C WHEELER            TAYLOR WHEELER                       TAYLOR A WHEELER                 WHITNEY WHEELER
874 E BLUE HERON ST           2185 7TH AVE APT 4C                  2185 7TH AVE APT 4C              1028 BENTON HARBOR BLVD
MERIDIAN ID 83646             NEW YORK NY 10027                    NEW YORK NY 10027                MOUNT JULIET TN 37122
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003400P001-1409A-265                       032648P002-1409A-265                    034163P001-1409A-265                     032649P001-1409A-265
REBECCA M WHELAN                           WHIIP CREATIVE MARKETING LLC            WHIIP CREATIVE MARKETING LLC             WHISTON AND WRIGHT LIMITED
207 JUNIPER RIDGE DR                       COLLEEN MILHAUSEN                       1632 MORELAND DR                         CHANDELIER BLDG UNIT G1
WATERBURY CT 06708                         1632 MORELAND DR                        ALAMEDA CA 94501                         8 SCRUBS LN
                                           ALAMEDA CA 94501                                                                 LONDON NW10 6RB
                                                                                                                            UNITED KINGDOM



036828P001-1409A-265                       006143P001-1409A-265                    032650P001-1409A-265                     030287P001-1409A-265
WHISTON AND WRIGHT LIMITED                 ALLYSON M WHITACRE                      WHITAKER BROTHERS BUSINESS MACHINE INC   CLEO WHITCOMB
CHANDELIER BUILDING UNIT G1 8 SCRUBS LN    3930 NORRISVILLE RD                     REINEC BILAWA                            ADDRESS INTENTIONALLY OMITTED
LONDON NW10 6RB                            JARRETTSVILLE MD 21084                  9265 DOWDY DR # 108
UNITED KINGDOM                                                                     SAN DIEGO CA 92126




001302P001-1409A-265                       031684P001-1409A-265                    037414P001-1409A-265                     033520P001-1409A-265
CLEO I WHITCOMB                            WHITE MARSH MALL LLC                    WHITE MARSH MALL LLC                     WHITE OAK COMMERCIAL FINANCE
145 W WASHINGTON ST                        GGPLP REAL ESTATE INC                   BROOKFIELD PROPERTY REIT INC             WHITE OAK COMMERCIAL FINANCE LLC
GREENVIEW IL 62642-9524                    SDS-12-2760                             JULIE M BOWDEN                           KAJEED AHMAD
                                           PO BOX 86                               350 N ORLEANS ST STE 300                 POBOX 100895
                                           MINNEAPOLIS MN 55486-2760               CHICAGO IL 60654-1607                    ATLANTA GA 30384-4174



034256P001-1409A-265                       031685P001-1409A-265                    033761P001-1409A-265                     005449P001-1409A-265
WHITE OAKS MALL LP                         WHITE PLAINS GALLERIA LP                WHITE RABBIT PHOTO BOUTIQUE              ADRIENNE A WHITE
3392 PAYSPHERE CIR                         WP GALLERIA REALTY LP                   620 EMPRESS RD                           100 MCKEOUGH AVE
CHICAGO IL 60674                           PO BOX 21160                            POMONA CA 91768                          2004
                                           NEW YORK NY 10087-1160                                                           SARALAND AL 36571




008082P001-1409A-265                       036099P001-1409A-265                    005073P001-1409A-265                     008132P001-1409A-265
ALISSA WHITE                               ALISSA WHITE                            ALYSSA WHITE                             BETHANY F WHITE
6104 FRESH GDN DR                          6104 FRESH GARDEN DR                    1004 IRENE AVE                           274 WOOD VLY LN
KNOXVILLE TN 37918                         KNOXVILLE TN 37918                      FORT WAYNE IN 46808                      LOUISVILLE KY 40299




008622P001-1409A-265                       008094P001-1409A-265                    007921P001-1409A-265                     004712P001-1409A-265
BRINLEY WHITE                              BROOKELYNN L WHITE                      DANYEL L WHITE                           IMARI WHITE
1301 W 23RD ST                             524 SOUTH APRILIA AVE                   5501 RIDGEWOOD LN                        620 MCKINLEY ST
605 FRANKLIN D                             COMPTON CA 90220                        NLR AR 72118                             RM 158
CEDAR FALLS IA 50613                                                                                                        LAFAYETTE LA 70504




005678P001-1409A-265                       036574P001-1409A-265                    009404P001-1409A-265                     008723P001-1409A-265
JASMINE WHITE                              JOSHUA WHITE                            KAYLA WHITE                              KHYA M WHITE
3610A CRESWICK CIR                         916 COREY DR                            2827 TECOMA DR                           445 FREDRICA AVE
ORANGE PARK FL 32065                       JACKSON MS 39212                        KNOXVILLE TN 37917                       JACKSON MS 39209
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008685P001-1409A-265             005901P001-1409A-265                008743P001-1409A-265              004217P001-1409A-265
MACKENZEE WHITE                  MADISON M WHITE                     MAKENNA WHITE                     MARI J WHITE
213 BENHAM DR                    5701 GIDDYUP LN                     6619 SUGAR RIDGE DR               3273 LEMANS LN
MILLSTADY IL 62260               FORT WORTH TX 76179                 ROANOKE VA 24018                  MEMPHIS TN 38119




002244P001-1409A-265             009422P002-1409A-265                008742P001-1409A-265              007301P001-1409A-265
MIA WHITE                        MICHELLE R WHITE                    NEYANNI WHITE                     QUANECIA WHITE
1414 SW 27TH ST                  1032 SONORA CT                      13161 SYCAMORE ST                 5018 E EL MONTE WAY
3                                SANTA ROSA CA 95401                 VACHERIE LA 70090                 105
TOPEKA KS 66611                                                                                        FRESNO CA 93727




003222P001-1409A-265             037052P001-1409A-265                001123P001-1409A-265              005987P001-1409A-265
ROBYN WHITE                      ROBYN SRIBHEN WHITE                 ROXANNE M WHITE                   SOPHIA WHITE
1571 31ST AVE                    1571 31ST AVE                       6828 NE JACKSONVILLE RD           3000 W DOUGLAS AVE
SAN FRANCISCO CA 94122           SAN FRANCISCO CA 94122              ANTHONY FL 34479                  128
                                                                                                       WICHITA KS 67203




036100P001-1409A-265             009499P001-1409A-265                003005P001-1409A-265              001702P001-1409A-265
SOPHIA WHITE                     TAKIYAH A WHITE                     TAYLOR WHITE                      TERESA J WHITE
2011 N KEITH CIR                 430 W MANHEIM ST                    11440 WESTMONT CT                 4941 BLACKBIRD TRL
WICHITA KS 67212                 PHILADELPHIA PA 19144               WALDORF MD 20602                  MIDLOTHIAN TX 76065




030660P002-1409A-265             007048P001-1409A-265                033194P001-1409A-265              003271P001-1409A-265
TYLER WHITE                      VALENCIA WHITE                      WHITEHALL TOWNSHIP AUTHORITY      MIKAELA WHITEHEAD
ADDRESS INTENTIONALLY OMITTED    2948 BROADINGHAM RD                 1901 SCHADT AVE                   20 WAYNE DR
                                 RICHMOND VA 23234                   WHITEHALL PA 18052                POUGHKEEPSIE NY 12601




006692P001-1409A-265             001493P001-1409A-265                002838P001-1409A-265              002517P001-1409A-265
MANDY WHITENER                   ASHEA M WHITFIELD                   HANNAH L WHITING                  TASHI WHITLEY
3045 16TH ST NE                  2785 SEVEN OAKS RD                  1706 DUNRAVEN RD                  2508 CHAMBERS ST
HICKORY NC 28601                 WAYNESBORO GA 30830-5198            BLOOMINGTON IL 61704              N LAS VEGAS NV 89030




005005P001-1409A-265             002613P001-1409A-265                004630P002-1409A-265              008514P001-1409A-265
AMANDA R WHITLOCK                BRETT C WHITMARSH                   JAMETRICE T WHITMORE              SHAJUANA WHITSON
1534 BRIARFIELD RD               2720 TERRY CT                       6540 CARVER OAKS DR APT 1521      50 WESTON SW APT 218
HAMPTON VA 23666                 PINOLE CA 94564                     FAYETTEVILLE NC 28311-8977        GRAND RAPIDS MI 49503
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009035P001-1409A-265             001556P001-1409A-265                        007127P001-1409A-265      037848P001-1409A-265
DAKOTA N WHITTINGTON             JALISA F WHITTLE                            DEVONSHAE WHYTE           WI- CITY OF BROOKFIELD
150 MONTAUP ST                   28 FEINER PL                                6005 DOGWOOD CIR          2000 N CALHOUN RD
FALL RIVER MA 02724              IRVINGTON NJ 07111-1702                     TAMARAC FL 33319          BROOKFIELD WI 53005




010248P002-1409A-265             010248S001-1409A-265                        031922P002-1409A-265      005006P001-1409A-265
WI- CITY OF MADISON TREASURER    WI- CITY OF MADISON TREASURER               WI- CITY OF WAUWATOSA     KAITLYNNE S WIBLY
PO BOX 20                        DAVID M GAWENDA                             CITY ATTORNEY             10 HIGHLAND
MADISON WI 53701                 210 MARTIN LUTHER KING JR RM 107            ALAN KESNER               STRUTHERS OH 44471
                                 MADISON WI 53703                            7725 W NORTH AVE
                                                                             WAUWATOSA WI 53213



001735P001-1409A-265             008409P001-1409A-265                        003235P001-1409A-265      030570P001-1409A-265
MARKIE M WICKS                   JACEY R WICKSTROM                           CASSANDRA WIDENER         RICHARD WIDJAJA
3421 SEVEN SPRINGS BLVD          5267 383RD ST                               111 E MICHIGAN ST         ADDRESS INTENTIONALLY OMITTED
NEW PORT RICHEY FL 34655-3134    NORTH BRANCH MN 55056                       FORTVILLE IN 46040




003101P001-1409A-265             006280P001-1409A-265                        036428P001-1409A-265      001660P001-1409A-265
RICHARD T WIDJAJA                ASHLEIGH WIEDER                             CASEY WIEGAND             DELILAH R WIELANDT
469 CLEMENTINA ST                54 ANDREWS AVE                              6815 PEMBERTON DR         743 BEECH ST
18                               BUFFALO NY 14225                            DALLAS TX 75230           POTTSTOWN PA 19464-5719
SAN FRANCISCO CA 94103




009327P001-1409A-265             007010P001-1409A-265                        004986P002-1409A-265      006983P001-1409A-265
TAYLOR E WIERZBICKI              QUEON J WIGGINS                             TATIANNA WIGGINS          MEGAN L WIGHTMAN
2 HOLLY AVE                      521 MASSACHUSETTS AVE                       1071 PALAMINO LANE        1416 SUDENE AVE
432BA FARGO QU                   1                                           ELGIN SC 29045-2001       FULLERTON CA 92831
FLORIDA NY 10921                 BOSTON MA 02118




002087P001-1409A-265             007216P001-1409A-265                        006343P001-1409A-265      008109P001-1409A-265
BRIANNA WIKGREN                  SARAH M WILAMOWSKI                          KELLIE L WILBUR           JALYNN D WILCOX
1 BREWSTER RD                    165 SPERRY RD                               2459 ZINK RD              3922 CREST DR
FAIRFAX VT 05454                 BETHANY CT 06524                            B304-A                    HEPHZIBAH GA 30815
                                                                             FAIRBORN OH 45324




002916P001-1409A-265             031148P001-1409A-265                        005871P001-1409A-265      009516P001-1409A-265
KAITLYN M WILCOX                 WILD AND WOLF INC                           FAITH D WILES             CHRISTINA WILEY
5710 E TROPICANA AVE             432 PK AVE SOUTH                            4737 COURTNEY LN          2223 BENSON RD S
UNIT 2223                        15TH FL                                     APT C                     AA 102
LAS VEGAS NV 89122               NEW YORK NY 10016                           RALEIGH NC 27616          RENTON WA 98055
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007708P001-1409A-265    006110P001-1409A-265                032651P001-1409A-265              032652P001-1409A-265
RANESHA WILEY           TYA R WILEY                         WILHELMINA INTERNATIONAL INC      WILHELMINA WEST
7214 CRISP              3110 N CRANBERRY                    DEPT 8107 PO BOX 650002           300 PK AVE S
RAYTOWN MO 64133        WICHITA KS 67226                    DALLAS TX 75265-8107              FL 2
                                                                                              NEW YORK NY 10010




007897P001-1409A-265    004963P001-1409A-265                007599P001-1409A-265              009026P001-1409A-265
PEYTON S WILLCUTT       KACIE WILLEMS                       ANNA G WILLETT                    AKIRA L WILLIAMS
507 GARRETT DR          574 HOGAN TRL                       3776 KAWKAWLIN RIVER DR           3034 KELLY CIR
507                     SOBIESKI WI 54171                   BAY CITY MI 48706                 APT A
ATHENS AL 35611                                                                               MONTGOMERY AL 36116




008033P001-1409A-265    033226P001-1409A-265                006496P001-1409A-265              008256P001-1409A-265
ALEXIS S WILLIAMS       ALTAMESE WILLIAMS                   ANECIA WILLIAMS                   ANNA J WILLIAMS
8159 CREEKSIDE CIR N    8131 SW 9TH ST                      1290 DECATUR ST                   1013 FRANELM RD
CORDOVA TN 38016        N LAUDERDALE FL 33068               CAMDEN NJ 08104                   LOUISVILLE KY 40214




000703P001-1409A-265    003975P001-1409A-265                030247P001-1409A-265              026911P001-1409A-265
ANNMARIE WILLIAMS       AZZIE R WILLIAMS                    BETHANY WILLIAMS                  BETHANY S WILLIAMS
4657 32ND ST #5         227 GATEWOOD DR APT F8              ADDRESS INTENTIONALLY OMITTED     1997 HARRISON ST
SAN DIEGO CA 92116      F8                                                                    12
                        LANSING MI 48917                                                      NEENAH WI 54956




037549P001-1409A-265    009321P001-1409A-265                003357P001-1409A-265              008061P001-1409A-265
BREANN WILLIAMS         BREANN T WILLIAMS                   BRIANNA N WILLIAMS                BRIONNA C WILLIAMS
6565 E 42ND ST          924 E TECUMSEH ST                   9200 SMOKE HOLLOW RD              325 E BRADLEY AVE
TULSA OK 74145          4021 E VIRGIN                       KERNERSVILLE NC 27284             APT 126
                        TULSA OK 74106                                                        EL CAJON CA 92021




002031P001-1409A-265    003476P001-1409A-265                004909P001-1409A-265              004580P001-1409A-265
BRITTANY WILLIAMS       CALAH J WILLIAMS                    CAMILLE WILLIAMS                  CASSIDY R WILLIAMS
3101 SEMINARY COVE      10807 W GREEN TREE RD               457 SHORE ACRES RD 2A             5725 BLUFTON RD
MEMPHIS TN 38115        MILWAUKEE WI 53224                  ARNOLD MD 21012                   HOLLYWOOD SC 29449




008528P001-1409A-265    009243P001-1409A-265                003303P001-1409A-265              005268P001-1409A-265
CASSIUS T WILLIAMS      CHEYENNE A WILLIAMS                 CHIYANNA A WILLIAMS               CORRIN WILLIAMS
4 LIBBY LN              5248 W PURDUE AVE                   949 WOODALE CIR                   6 MANCHESTER CT
LITTLE ROCK AR 72206    GLENDALE AZ 85302                   COLUMBIA SC 29203                 WENONAH NJ 08090
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007804P001-1409A-265    007042P001-1409A-265                   003531P002-1409A-265           007916P001-1409A-265
CRYSTAL A WILLIAMS      DAISA D WILLIAMS                       DANEA A WILLIAMS               DAYZONO WILLIAMS
158 STEGMAN ST          16062 PFC PARIS MONTANEZ DR            3256 S GRANADA AVE             804 B BROOK CT
JERSEY CITY NJ 07305    FONTANA CA 92336                       SPRING VALLEY CA 91977-3116    ANNAPOLIS MD 21401




004162P001-1409A-265    003855P001-1409A-265                   009581P001-1409A-265           004830P001-1409A-265
DEBORAH WILLIAMS        DEJA A WILLIAMS                        DEJA D WILLIAMS                FALON WILLIAMS
3106 N 4TH CT           134-29 243RD ST                        14866 COLLINSON AVE            6136 S 30TH ST
OCALA FL 34479          ROSEDALE NY 11422                      EASTPOINTE MI 48021            KALAMAZOO MI 49048




009174P001-1409A-265    002443P001-1409A-265                   004907P001-1409A-265           036101P001-1409A-265
GENEYA A WILLIAMS       GLORIA M WILLIAMS                      HAILEY WILLIAMS                HAILEY J WILLIAMS
85 HILL CT              11 BRIAN RD                            12819 MAPLEVIEW ST APT 54      4236 NORTH CORDOBA AVE
PO BOX 1122 B           MIDDLEBORO MA 02346                    54                             SPRING VALLEY CA 91977
CALVERTON NY 11933                                             LAKESIDE CA 92040




006342P001-1409A-265    008770P001-1409A-265                   003510P001-1409A-265           003017P001-1409A-265
JAIONAH WILLIAMS        JAMEILYA S WILLIAMS                    JAMELA J WILLIAMS              JAMYE N WILLIAMS
3071 VALENCIA CIR       1305 FOREST DR                         689 DIELLEN LN                 58 CORNELL DR
ANN ARBOR MI 48108      GULFPORT MS 39507                      ELMONT NY 11003                DELRAN NJ 08075




007537P001-1409A-265    004242P001-1409A-265                   001374P001-1409A-265           008135P001-1409A-265
JAYA L WILLIAMS         JAYLIN T WILLIAMS                      JOCELYN B WILLIAMS             JOHNETA M WILLIAMS
2021 HIGHRIDGE 11 G     6022 YORKGLEN MANOR LN                 815 S ROXBORO ST               8 MANOR CT
HUNTSVILLE AL 35802     HOUSTON TX 77084                       303                            SICKLERVILLE NJ 08081
                                                               DURHAM NC 27707




034283P001-1409A-265    004579P001-1409A-265                   001052P001-1409A-265           007096P001-1409A-265
KALE WILLIAMS           KALIYAH S WILLIAMS                     KANDICE L WILLIAMS             KAYA WILLIAMS
44 SHERMAN ST           795 PROGRESS ST UNIT 1                 6045 ARMSTRONG RD              150 W 174TH ST
BROOKLYN NY 11215       MACON GA 31201                         ELKTON FL 32033                4E
                                                                                              BRONX NY 10453




036102P001-1409A-265    009234P001-1409A-265                   009564P001-1409A-265           007144P001-1409A-265
KE'ARA M WILLIAMS       KEARA M WILLIAMS                       KEONI WILLIAMS                 KIANA L WILLIAMS
801 E 8TH ST            515 VINE ST                            6206 S 238TH PL                2412 COVERT ST
#4212C                  278                                    FF104                          APT 41
CHATTANOOGA TN 37403    CHATTANOOGA TN 37043                   KENT WA 98032                  PARKERSBURG WV 26101
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003356P001-1409A-265        002526P001-1409A-265                          037036P001-1409A-265         001597P001-1409A-265
KIMBERLY N WILLIAMS         KYIESHA WILLIAMS                              KYIESHA WILLIAMS             KYMBERLIE A WILLIAMS
8636 MAY ORCHARD LN         36441 JEFFERSON ST                            36441 JEFFERSON ST           471 CLEGHORNE RD
CORDOVA TN 38018            APT F27                                       SLIDELL LA 70460             COLBERT GA 30628-2026
                            SLIDELL LA 70458




006374P001-1409A-265        002220P001-1409A-265                          006096P001-1409A-265         005892P001-1409A-265
LISA WILLIAMS               LOUIS WILLIAMS                                LYTONIA WILLIAMS             MAKAIYA R WILLIAMS
6223 NW 1ST CT              6045 ARMSTRONG RD                             534 PLEASANT SIDE DR         273 SHADYRIDGE DR
MIAMI FL 33150              ELKTON FL 32033                               MONCKS CORNER SC 29461       MONROEVILLE PA 15146




003473P001-1409A-265        002778P001-1409A-265                          006936P001-1409A-265         008497P001-1409A-265
MARGARET A WILLIAMS         MEGAN N WILLIAMS                              RENATA H WILLIAMS            RENISHA WILLIAMS
2917 CAMBRIDGE DR           2440 LEGENDARY DR                             1708 14TH ST                 300 NW 13ST APT1
WOODBRIDGE VA 22192         MARTINSVILLE IN 46151                         ALTOONA PA 16601             BELLE GLADE FL 33430




035257P002-1409A-265        008843P001-1409A-265                          001893P001-1409A-265         001148P001-1409A-265
SABRINA WILLIAMS            SAVANNAH K WILLIAMS                           SHANIELLE WILLIAMS           SHANTA WILLIAMS
5741 CASE AVE               13301 BIRCH ST                                26 HEMLOCK DR                5806 ARVIS DR
1/2                         APT 722                                       HOPEWELL JUNCTION NY 12533   LOUISVILLE KY 40258
NORTH HOLLYWOOD CA 91601    OVERLAND PARK KS 66209




002850P001-1409A-265        037079P001-1409A-265                          000726P002-1409A-265         008704P001-1409A-265
SHELLANDRA C WILLIAMS       SHELLANDRA C WILLIAMS                         SHINITA M WILLIAMS           SKYLA L WILLIAMS
7091 HAWKS CROSSING DR E    8344 CHAMPIONSHIP DR APT 301                  3010 LAUREN PL UNIT 106      10342 SEACLIFF LN
OLIVE BRANCH MS 38654       MEMPHIS TN 38125                              WILMINGTON NC 28405          NORTH CHESTERFIELD VA 23236




007693P001-1409A-265        009480P002-1409A-265                          007962P001-1409A-265         004808P001-1409A-265
TAIYLER R WILLIAMS          TARA WILLIAMS                                 TATYANA A WILLIAMS           TIANA WILLIAMS
5095 S FIRST ST             15416 PLANTATION OAKS DRIVE APT 10            334 CREPE MYRTLE RD          11098 N BAYOU VIEW DR
22                          TAMPA FL 33647-2117                           BURGAW NC 28425              GONZALES LA 70737
MURRELLS INLET SC 29576




007352P001-1409A-265        002222P001-1409A-265                          006872P001-1409A-265         000820P001-1409A-265
TIARA WILLIAMS              TIFFANY WILLIAMS                              TIMOTHY E WILLIAMS           TRANIQUE A WILLIAMS
23104 RICHARDS RD           717 CHIPLEY AVE                               456 DONALD BLVD              8104 WEBB RD
HEMPSTEAD TX 77445          GREENWOOD SC 29646-2837                       HOLBROOK NY 11741            APT 2208
                                                                                                       RIVERDALE GA 30274
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000825P001-1409A-265            036103P001-1409A-265                           002661P001-1409A-265              005064P001-1409A-265
TYLENCIA WILLIAMS               TYLENCIA WILLIAMS                              WESLEIGH WILLIAMS                 ZARIA WILLIAMS
320 S HARRISON ST               1860 PATERSON ST                               3144 URSULA ST                    226 EAST 80TH ST
APT 3-0                         RAHWAY NJ 07065                                AURORA CO 80011                   SHREVEPORT LA 71106
EAST ORANGE NJ 07018




010120P001-1409A-265            010120S001-1409A-265                           009893P001-1409A-265              007088P001-1409A-265
WILLIAMSON COUNTY               WILLIAMSON COUNTY                              WILLIAMSON COUNTY TRUSTEE         HAYLEY M WILLIAMSON
LARRY GADDES PCAC CTA           MCCREARY VESELKA BRAGG AND ALLEN PC            1320 W MAIN ST STE 203            8743 ROSWELL RIDGE
904 SOUTH MAIN ST               TARA LEDAY                                     PO BOX 1365                       HELOTES TX 78023
GEORGETOWN TX 78626-5829        PO BOX 1269                                    FRANKLIN TN 37065
                                ROUND ROCK TX 78680



004932P001-1409A-265            000956P001-1409A-265                           008196P001-1409A-265              002388P001-1409A-265
KYLEE M WILLIAMSON              MELISSA A WILLIAMSON                           AMANDA S WILLIS                   ASHLEY C WILLIS
PO BOX 574                      1694 THE HIDEOUT                               1606 VLG MARKET BLVD SE           2850 ROYALLVALLEY WAY
WAVERLY WV 26184                LAKE ARIEL PA 18436                            APT 101                           O'FALLON MO 63368
                                                                               LEESBURG VA 20175




004929P001-1409A-265            036104P001-1409A-265                           004708P001-1409A-265              006209P001-1409A-265
AUBREE D WILLIS                 AUBREE D WILLIS                                BRYANISHA WILLIS                  GABRIELLA J WILLIS
310 S TWIN OAKS VLY RD          1950 THIBODO RD                                208 WESTPARK CT                   6870 FOLEY BEACH EXPRESS
#107-143                        205                                            NEW ORLEANS LA 70114              APT #512
SAN MARCOS CA 92078             VISTA CA 92081                                                                   ORANGE BEACH AL 36561




007406P001-1409A-265            001170P001-1409A-265                           005380P001-1409A-265              005598P001-1409A-265
KYNDALL WILLIS                  MONICA T WILLIS                                RONTEONA N WILLIS                 SEQUOIA WILLIS
1110 ASKHAM DR                  20034 CRESCENT CREEK DR                        45 GINKGO CT                      606 PK ST
CARY NC 27511                   KATY TX 77449-7494                             COLUMBIA SC 29229                 DORCHESTER MA 02124




036667P001-1409A-265            036830P001-1409A-265                           034514P001-1409A-265              031687P001-1409A-265
MONIQUE WILLOUGHBY              WILLOW PRODUCTION LLC                          WILLOWBROOK MALL HOLDING CO LLC   WILLOWBROOK MALL LLC
19 BEAY MEADOW DR               2091 ARIELLE LN                                SDS-12-2767                       WILLOWBROOK MALL HOLDING CO LL
BATAVIA OH 45103-7502           SIMI VALLEY CA 90365                           PO BOX 86                         SDS-12-2767
                                                                               MINNEAPOLIS MN 55486-2767         PO BOX 86
                                                                                                                 MINNEAPOLIS MN 55486-2767



037393P001-1409A-265            037394P001-1409A-265                           031686P002-1409A-265              037354P001-1409A-265
WILLOWBROOK MALL LLC            WILLOWBROOK MALL LLC                           WILLOWBROOK MALL TX LLC           WILLOWBROOK MALL TX LLC
AKA WILLOWBROOK NJ STORAGE      AKA WILLOWBROOK NJ                             GGP/HOMART II LLC                 BROOKFIELD PROPERTY REIT INC
BROOKFIELD PROPERTY REIT INC    BROOKFIELD PROPERTY REIT INC                   350 N ORLEANS ST STE 300          JILL M BOWDEN
350 N ORLEANS ST STE 300        350 N ORLEANS ST STE 300                       CHICAGO IL 60654-1607             350 N ORLEANS ST STE 300
CHICAGO IL 60654-1607           CHICAGO IL 60654-1607                                                            CHICAGO IL 60654-1607
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005476P001-1409A-265             034833P001-1409A-265                   030144P001-1409A-265            030144S001-1409A-265
BRIANNA N WILLS                  WILMORITE INC                          WILMORITE, INC (LANDLORD)       WILMORITE, INC (LANDLORD)
1066 PALMA VERDE PL              GREECE RIDGE LLC                       EASTVIEW MALL LLC               EASTVIEW MALL, LLC
APOPKA FL 32712                  1265 SCOTTSVILLE RD                    GENERAL COUNSEL                 1265 SCOTTSVILLE RD
                                 ROCHESTER NY 14624                     1265 SCOTTSVILLE RD             ROCHESTER NY 14624
                                                                        ROCHESTER NY 14624



030145P001-1409A-265             005271P001-1409A-265                   004790P001-1409A-265            004665P001-1409A-265
WILMORITE, INC (LANDLORD)        CAROLINE R WILNER                      ALAYNA M WILSON                 ALICIA D WILSON
GREECE RIDGE LLC                 1155 TRACY AVE                         6908 COLESHIRE DR               5612 REMMELL AVE
1265 SCOTTSVILLE RD              SCHENECTADY NY 12309                   DALLAS TX 75232                 BALTIMORE MD 21206
ROCHESTER NY 14624




002403P001-1409A-265             004826P001-1409A-265                   003033P002-1409A-265            036105P001-1409A-265
ANGEL WILSON                     ANGEL S WILSON                         ASHLEY N WILSON                 ASHLEY N WILSON
85 BEAVERDAM LN                  2380 BERWICK BLVD                      28494 N AMETRINE WAY            28494 N AMETRINE WAY
COVINGTON GA 30016               B                                      SAN TAN VLY AZ 85143-6018       SAN TAN VALLEY AZ 85143
                                 COLUMBUS OH 43209




030256P001-1409A-265             005321P001-1409A-265                   004396P001-1409A-265            005875P001-1409A-265
BRITTNEY WILSON                  DESTINY WILSON                         DIANE V WILSON                  FRANNI D WILSON
ADDRESS INTENTIONALLY OMITTED    327 SUMMERSWEET CT                     418 THOMASTON AVE               109 CRADDOCK AVE
                                 BLYTHEWOOD SC 29016                    SUMMERVILLE SC 29485            1105
                                                                                                        SAN MARCOS TX 78666




009556P001-1409A-265             006475P001-1409A-265                   004001P001-1409A-265            009299P001-1409A-265
INGRID T WILSON                  JADA R WILSON                          JAYLEN WILSON                   JERILYN WILSON
549 QUEENS RD                    2409 PAPAYA RD                         5318 WERLING DR                 4350 TRINITY MILLS RD
GASTONIA NC 28052                EDGEWOOD MD 21040                      FORT WAYNE IN 46806             7107
                                                                                                        DALLAS TX 75287




005655P001-1409A-265             009659P001-1409A-265                   006916P001-1409A-265            001071P001-1409A-265
JULIUS L WILSON                  KAYLA D WILSON                         KEAIRA D WILSON                 KELLY D WILSON
8 MADISON AVE                    15001 GREENHAVEN DR APT 201            5720 COPPER CREEK CT            12393 N FALLEN SHADOWS DR
ROCHELLE PARK NJ 07662           15001 GREENHAV                         APT 13                          MARANA AZ 85658-4390
                                 BURNSVILLE MN 55306                    CHARLOTTE NC 28227




005687P001-1409A-265             005949P001-1409A-265                   030467P001-1409A-265            003337P002-1409A-265
KIRSTEN WILSON                   KIRSTEN WILSON                         LASHONDA C WILSON               LAUREN M WILSON
4701 LEAH DR                     2414 SYCAMORE LN                       ADDRESS INTENTIONALLY OMITTED   743 DOYLE AVE
EVANSVILLE IN 47711              EDGEWOOD MD 21040                                                      REDLANDS CA 92374-2404
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004858P001-1409A-265          004015P001-1409A-265                        002325P001-1409A-265             030556P001-1409A-265
MAKAYLA R WILSON              MAKENZI R WILSON                            MONICA B WILSON                  PRISCILLA WILSON
3606 N RUSSET ST              415 E BEAR BLVD                             9116 TORTELLINI DR               ADDRESS INTENTIONALLY OMITTED
PORTLAND OR 97217             B105                                        SANDY UT 84093
                              SPRINGFIELD MO 65806




000760P001-1409A-265          009438P001-1409A-265                        000706P001-1409A-265             005607P001-1409A-265
PRISCILLA D WILSON            RACHAEL E WILSON                            RON L WILSON                     SCHUYLER J WILSON
1136 THORNDALE ST             8213 E 72ND TERR                            8211 LA SALLE PL                 8107 EAST PHILLIPS CIR
GREEN BAY WI 54304            KANSAS CITY MO 64133                        RANCHO CUCAMONGA CA 91730-7139   CENTENNIAL CO 80112




006961P001-1409A-265          031688P001-1409A-265                        037682P002-1409A-265             031149P001-1409A-265
ZOE S WILSON                  WILTON MALL LLC                             WILTON MALL LLC                  WIN WIN APPAREL
5137 FERN                     WESTCOR REALTY LIMITED PARTNER              DUSTIN P BRANCH ESQ              807 E 12TH ST
TOLEDO OH 43613               401 WILSHIRE BLVD                           BALLARD SPAHR LLP                STE 146
                              STE 700                                     2029 CENTURY PARK E STE 800      LOS ANGELES CA 90021
                              SANTA MONICA CA 90401                       LOS ANGELES CA 90067-2909



030177P001-1409A-265          003587P001-1409A-265                        007063P001-1409A-265             004525P001-1409A-265
WINDOW INNOVATIONS, INC       SAMANTHA M WINGROVE                         INDIA E WINN                     NICOLE M WINSLOW
STEVE CLARK                   155 WINGROVE DR                             4200 54TH AVE S                  38 EMILY DR
230 EAGLE LN                  LITTLE HOCKING OH 45742                     SAINT PETERSBURG FL 33711        OLD BRIDGE NJ 08857
BRENTWOOD GA 94513




002902P001-1409A-265          005474P001-1409A-265                        002577P001-1409A-265             006587P001-1409A-265
ALLIYAH WINSTON               KATHRYN E WINTER                            SERENA WINTER                    DOMINIQUE WINTERS
32320 10TH PL S               26 MILLERS CREEK LN                         12659 W AUDI CT                  1934 W FLORENCE AVE
FEDERAL WAY WA 98003          SLIDELL LA 70458                            BOISE ID 83713                   1
                                                                                                           LOS ANGELES CA 90047




006784P001-1409A-265          035286P001-1409A-265                        031689P003-1409A-265             003486P001-1409A-265
TARAYSHA J WINTERS            WINWARD MALL                                WIREGRASS REALTY LLC             KALI S WIRT
2918 N STERLING AVE           46-056 KAMEHAMEHA HWY SPACE #K02            NAMDAR REALTY GROUP LLC          9409 EAST MARION ST
PEORIA IL 61604               KANEOHE HI 96744                            JOSHUA S HACKMAN                 WICHITA KS 67210
                                                                          150 GREAT NECK RD STE 304
                                                                          GREAT NECK NY 11021



000355P001-1409A-265          037349P001-1409A-265                        037349S001-1409A-265             000168P001-1409A-265
WISCONSIN ATTORNEY GENERAL    WISCONSIN BELL INC                          WISCONSIN BELL INC               WISCONSIN DEPT OF REVENUE
BRAD SCHIMEL                  AT AND T SVC INC                            Marin West                       2135 RIMROCK RD
114 EAST STATE CAPITOL        KAREN A CAVAGNARO                           Wisconsin Bell, Inc.             MADISON WI 53713
MADISON WI 53707-7857         LEAD PARALEGAL ONE AT AND T WAY             4331 Communications Drive
                              ROOM 3A104                                  Floor 4W
                              BEDMINSTER NJ 07921                         Dallas TX 75211
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009781P001-1409A-265         010134P001-1409A-265                     010568P001-1409A-265                  000250P001-1409A-265
WISCONSIN DEPT OF REVENUE    WISCONSIN DEPT OF REVENUE                WISCONSIN DEPT OF REVENUE             WISCONSIN DEPT OF WORKFORCE DEVELOPMENT
PO BOX 8908                  BOX 93389                                PO BOX 7846                           SECRETARY
MADISON WI 53708-8908        MILWAUKEE WI 53293-0389                  MADISON WI 53707-7846                 PO BOX 7946
                                                                                                            MADISON WI 53707-7946




033195P002-1409A-265         000459P001-1409A-265                     000097P001-1409A-265                  000098P001-1409A-265
WISCONSIN PUBLIC SVC         WISCONSIN STATE TREASURER                WISCONSON DEPT OF NATURAL RESOURCES   WISCONSON DNR ENVIRONMENTAL PROTECTION
PO BOX 19003                 UNCLAIMED PROPERTY UNIT                  101 S WEBSTER ST                      101 S WEBSTER ST
GREEN BAY WI 54307           PO BOX 2114                              PO BOX 7921                           PO BOX 7921
                             MADISON WI 53701-2114                    MADISON WI 53707-7921                 MADISON WI 53707-7921




003540P001-1409A-265         036107P001-1409A-265                     003504P001-1409A-265                  007187P001-1409A-265
LABRIA M WISE                LABRIA M WISE                            MARIAH WISE                           STEPHANIE L WISE
30402 OAK ST                 402 PARKVIEW CT UNIT C                   7816 CIR FRONT CT                     9547 TAPOK DR
PRINCESS ANNE MD 21853       SALISBURY MD 21804                       EVANSVILLE IN 47715                   APT 402
                                                                                                            MANASSAS VA 20110




003782P001-1409A-265         031150P001-1409A-265                     008527P001-1409A-265                  002631P001-1409A-265
MOLLY G WISEMAN              WISH FOR FALLING STAR                    LAUREN WISNER                         HOLLY H WISWELL
6215 MORGANFORD              10520 BRUNS DR                           6314 CAMBRIDGE TRL                    5700 MING AVE
SAINT LOUIS MO 63116         TUSTIN CA 92782                          LIBERTY TOWNSHIP OH 45044             30
                                                                                                            BAKERSFIELD CA 93309




036108P001-1409A-265         002813P001-1409A-265                     002126P001-1409A-265                  005588P001-1409A-265
HOLLY H WISWELL              EAHGI P WITCHER                          ASHLEY A WITHERELL                    REBECCA WITHEROW
1511 WELLS AVE               3231 CARR ST                             1022 ERIE ST                          5200 WINDHAVEN PKWY
BAKERSFIELD CA 93308         FLINT MI 48506                           WATERTOWN NY 13601-1106               4104
                                                                                                            LEWISVILLE TX 75056




009021P001-1409A-265         033196P001-1409A-265                     033196S001-1409A-265                  036109P001-1409A-265
TAYLOR WITHERSPOON           WITHLACOOCHEE RIVER ELEC COOP            WITHLACOOCHEE RIVER ELEC COOP         ALAINA M WITT
10502 TABA COVE CT           PO BOX 100                               14651 21ST ST                         6764 LAKEVIEW BLVD
FAIRFAX VA 22030             DADE CITY FL 33526                       DADE CITY FL 33523                    17113
                                                                                                            WESTLAND MI 48185




008741P001-1409A-265         005844P001-1409A-265                     031690P001-1409A-265                  037728P001-1409A-265
AMAREA WITT                  NEONNA WITTY                             WM INLAND INVESTORS IV LP             WM INLAND INVESTORS IV LP
1389 BEECH ST                3506 B BLUE SPRUCE LN                    THE MACERICH PARTNERSHIP LP           BALLARD SPAHR LLP
SAINT PAUL MN 55106          B                                        PO BOX 849449                         DUSTIN P BRANCH
                             INDIANAPOLIS IN 46205                    LOS ANGELES CA 90084-9449             2029 CENTURY PARK EAST STE 800
                                                                                                            LOS ANGELES CA 90067-2029
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031691P001-1409A-265       037736P001-1409A-265                      037715P002-1409A-265            009346P001-1409A-265
WMAP LLC                   WMAP LLC                                  MAGGIE WOEHLER                  MAGGIE M WOEHLER
900 N MICHIGAN AVE         AKA THE SHOPS AT ATLAS PARK               3123 LODGEPOLE DR               3123 LODGEPOLE DR
STE 1900                   BALLARD SPAHR LLP                         WHITELAND IN 46184              3123 LODGEPOLE
CHICAGO IL 60611           2029 CENTURY PARK EAST STE 800                                            WHITELAND IN 46184
                           LOS ANGELES CA 90067-2909



009042P001-1409A-265       002878P001-1409A-265                      003636P001-1409A-265            036110P001-1409A-265
STEPHANIE M WOELTJE        CHELSEA A WOESTMAN                        HEATHER WOJTOWICZ               ANI W WOLDEMARIAM
318 N SPRIGG ST            733 N 17TH ST RM 130D                     1858 HERITAGE DR                10422 HEADLY CT
101                        LINCOLN NE 68508                          JAMISON PA 18929                FAIRFAX VA 22032
CAPE GIRARDEAU MO 63701




005130P001-1409A-265       008078P001-1409A-265                      001204P001-1409A-265            036111P001-1409A-265
NATALI S WOLDEN            TRACEY J WOLDEN                           TESFANESHE WOLDESEMAYAI         TATIANA WOLF-CASTRO
30 CARTER LN               30 CARTER LN                              196 MARTINE AVE                 4170 S AIRY HILL DR
NEW EGYPT NJ 08533         NEW EGYPT NJ 08533                        APT 2A                          ST. GEORGE UT 84790
                                                                     WHITE PLAINS NY 10601-3462




003026P001-1409A-265       007857P001-1409A-265                      030443P001-1409A-265            002377P001-1409A-265
TATIANA WOLFCASTRO         MIRANDA M WOLFE                           KELLI WOLFE-CARTER              KELLI WOLFECARTER
2811 LIHOLANI ST #9        842 COUNTRY CLUB DR                       ADDRESS INTENTIONALLY OMITTED   231 ELM ST
9                          11                                                                        OXFORD MS 38655
MAKAWAO HI 96768           MORGANTOWN WV 26505




004517P001-1409A-265       007943P001-1409A-265                      007066P001-1409A-265            003632P001-1409A-265
SARA C WOLFSON             ELIZABETH WOLMART                         TAYLOR E WOLSKE                 ELISE WOLSKI
4 CHESTNUT PK CT           1240 BURKE AVE                            7J KINGDOM WAY                  2957 MAIN ST
4 CHESTNUT PAR             5H                                        MECHANICVILLE NY 12118          CALEDONIA NY 14423
NEW CITY NY 10956          BRONX NY 10469




009173P001-1409A-265       007523P001-1409A-265                      003538P001-1409A-265            036112P001-1409A-265
MELANIE WOLVERTON          CAITLYN B WONG                            SANDY WONG                      SANDY WONG
7660 CARLYLE DR            1710 CHAPMAN AVE SW                       685 ASHFORD OAKS DR             5934 AUVER BLVD
RENO NV 89506              ROANOKE VA 24016                          205                             102
                                                                     ALTAMONTE SPRINGS FL 32714      ORLANDO, FL FL 32807




010481P001-1409A-265       006631P001-1409A-265                      003404P001-1409A-265            009986P001-1409A-265
WOOD COUNTY SHERIFF        ALYSSA WOOD                               AMANDA WOOD                     ANGELA WOOD
ATT: TREASURER OFFICE      1014 E KERR AVE APT 302                   9500 NE 9TH ST                  TAX COLLECTOR
PO BOX 1985                URBANA IL 61802                           VANCOUVER WA 98664              280 N COLLEGE STE 202
PARKERSBURG WV 26102                                                                                 FAYETTEVILLE AR 72701
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010349P001-1409A-265                008959P001-1409A-265                         007240P001-1409A-265             009384P001-1409A-265
EARL K WOOD                         ELLEN E WOOD                                 JASMINE R WOOD                   KAITLYN WOOD
ORANGE COUNTY TAX COLLECTOR         8432 BRADDOCK WAY                            3917 BEACON DR                   11550 BROWN SCHOOLHOUSE RD
PO BOX 545100                       COLUMBIA MD 21046                            WINSTON SALEM NC 27106           FREEDOM NY 14065
ORLANDO FL 32854-5100




010200P001-1409A-265                002386P001-1409A-265                         031692P001-1409A-265             037395P001-1409A-265
MARILYN E WOOD                      TAEHA WOODARD                                WOODBRIDGE CENTER PROPERTY LLC   WOODBRIDGE CENTER PROPERTY LLC
MOBILE COUNTY REVENUE COMMISSI      47 KENWOOD CIR                               GGP LIMITED PARTNERSHIP          BROOKFIELD PROPERTY REIT INC
PO BOX 1169                         BLOOMFIELD CT 06002                          7855 SOLUTION CTR                JULIE M BOWDEN
MOBILE AL 36633-1169                                                             CHICAGO IL 60677-7008            350 N ORLEANS ST STE 300
                                                                                                                  CHICAGO IL 60654-1607



032653P001-1409A-265                031693P001-1409A-265                         031694P001-1409A-265             036965P001-1409A-265
WOODBRIDGE HEALTH DEPT              WOODBURN PREMIUM OUTLETS LLC                 WOODFIELD MALL LLC               WOODFIELD MALL LLC
2 GEORGE FREDERICK PLZ              7584 SOLUTION CTR                            7409 SOLUTION CTR                A DELAWARE LIMITED LIABILITY CO
WOODBRIDGE NJ 07095                 CHICAGO IL 60677-7055                        CHICAGO IL 60677-7004            SIMON PROPERTY GROUP LP RONALD M TUCKER
                                                                                                                  225 WEST WASHINGTON ST
                                                                                                                  INDIANAPOLIS IN 46204



031695P001-1409A-265                037501P001-1409A-265                         009282P001-1409A-265             037547P001-1409A-265
WOODLANDS ANCHOR ACQUISITION LLC    THE WOODLANDS MALL ASSOCIATES LLC            ANGELINA A WOODS                 AYSHA WOODS
GGP LIMITED PARTNERSHIP             BROOKFIELD PROPERTY REIT INC                 7556 S POPLAR PT DR              102 CARLSBAD COURT
SDS-12-3053                         JULIE M BOWDEN                               TRAFALGAR IN 46181               LATROBE PA 15650
PO BOX 86                           350 N ORLEANS ST STE 300                                                      UNITED STATES
MINNEAPOLIS MN 55486-3053           CHICAGO IL 60654-1607



004431P001-1409A-265                000598P001-1409A-265                         005589P001-1409A-265             009017P001-1409A-265
AYSHA G WOODS                       IMANI K WOODS                                JALAYNE A WOODS                  MELISSA WOODS
102 CARLSBAD CT                     301C KENSINGTON PL APARTMEN                  4330 KELLER RD                   901 SOUTH 6TH ST
LATROBE PA 15650                    ASHEVILLE NC NC 28803                        103                              TERRE HAUTE IN 47807
                                                                                 HOLT MI 48842




036113P001-1409A-265                037044P001-1409A-265                         002743P001-1409A-265             002981P002-1409A-265
MELISSA WOODS                       MELISSA WOODS                                MONICA WOODS                     RACHEL M WOODS
926 S CENTER ST                     2351 SHRIVER AVE                             4462 DAVLIND DR                  3534 W 83RD PL APT 15
APT 2                               INDIANAPOLIS IN 46208                        2                                CHICAGO IL 60652-3248
TERRE HAUTE IN 47807                                                             HOLT MI 48842




001007P001-1409A-265                009472P001-1409A-265                         001724P001-1409A-265             036388P001-1409A-265
TIFFANY C WOODS                     ELIZA J WOODSIDE                             JILIAN A WOODWARD                ANNA WOODYARD
1790 N GREGG                        14442 W 139PL                                299 BELLA VISTA LN               1240 E VICTORY DR
APT 2                               OLATHE KS 66062                              MANCHESTER CT 06040              SAVANNAH GA 31404
FAYETTEVILLE AR 72703
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003226P001-1409A-265               007673P001-1409A-265                       004846P001-1409A-265                  009642P001-1409A-265
BAILEY L WOOTEN                    CHANLER N WOOTEN                           DANIELLE P WORBY                      SALENA WORCESTER
3938 GRANITE                       4775 ALDEN LAKE DR WEST                    118 W CHESTER PK                      PO BOX 163
CAPE GIRARDEAU MO 63701            HORN LAKE MS 38637                         APT C                                 NEWFIELD NY 14867
                                                                              RIDLEY PARK PA 19078




005645P001-1409A-265               036114P001-1409A-265                       037780P002-1409A-265                  032655P001-1409A-265
NAKEJA WORDS                       NAKEJA WORDS                               WORKERS COMPENSATION BOARD OF STATE   WORKFRONT INC
1725 EAST JORDAN AVE               326 O'BRIEN ST                             OF NEW YORK - JUDGMENT                ANNETTE RUSCH
BLOOMINGTON IN 47406               SOUTH BEND IN 46628                        JAMES R MCGINN                        3301 N THANKSGIVING WAY
                                                                              328 STATE ST                          STE # 100
                                                                              SCHENECTADY NY 12305                  LEHI UT 84043



035194P001-1409A-265               032656P001-1409A-265                       031151P001-1409A-265                  036342P001-1409A-265
WORKFRONT INC                      WORKGROUP LTD                              WORKMAN PUBLISHING CO                 WORKMAN PUBLISHING CO
3301 N THANKSGIVING WAY STE 100    450 LINDEN ST                              ADELIA KALYVAS                        225 VARICK ST
LEHI UT 84043                      SAN FRANCISCO CA 94102                     225 VARICK ST                         NEW YORK NY 10014
                                                                              NEW YORK NY 10014




036488P001-1409A-265               008356P001-1409A-265                       033762P001-1409A-265                  037683P001-1409A-265
EMILY WORKMAN                      MICHELLE N WORKS                           WORLD FASHION                         WORLDPAY INC
14926 WILLOW CREEK DR              5600 ENTERPRISE RD APT 4E                  3001 C EAST 11TH ST                   ANN GABOR LEADER RISK MANAGEMENT
OMAHA NE 68138                     MYRTLE BEACH SC 29588                      LOS ANGELES CA 90023                  201 17TH ST NW 1000
                                                                                                                    ATLANTA GA 30363




033763P001-1409A-265               034379P001-1409A-265                       000623P001-1409A-265                  008985P001-1409A-265
WORLDVIEW TRAVEL                   WORLDWIDE CORPORATE HOUSING, LP            AZANA WORRELL                         BROOK WORSHAM
101 W FOURTH ST                    FILE 056739                                8733 ASPINWALL DR                     5321 STAR SONG DR
STE 400                            LOS ANGELES CA 90074-6739                  CHARLOTTE NC 28216                    INDIANAPOLIS IN 46241
SANTA ANA CA 92701




004646P001-1409A-265               037684P001-1409A-265                       033197P001-1409A-265                  033197S001-1409A-265
DOMINIQUE N WORTHEN                WP GALLERIA REALTY LP                      WPG WESTSHORE LLC                     WPG WESTSHORE LLC
30 SWENEY CT                       DUSTIN P BRANCH ESQ                        HUNTINGTON NATIONAL BANK              180 EAST BROAD ST
SPRINGBORO OH 45066                BALLARD SPAHR LLP                          L-2576                                COLUMBUS OH 43215
                                   2029 CENTURY PK EAST STE 800               COLUMBUS OH 43260
                                   LOS ANGELES CA 90067



036970P001-1409A-265               036970S001-1409A-265                       008165P002-1409A-265                  032657P001-1409A-265
WPG WESTSHORE LLC                  WPG WESTSHORE LLC                          HALEY L WREN                          WRENN MANAGEMENT, LLC
WASHINGTON PRIME GROUP INC         WASHINGTON PRIME GROUP INC                 21851 WOODLAND MEADOWS LANE           8149 SANTA MONICA BLVD
FROST BROWN TODD LLC               STEPHEN E IFEDUBA                          TREMONT IL 61586-9042                 #284
301 E FOURTH ST                    180 E BROAD ST                                                                   LOS ANGELES CA 90046
CINCINNATI OH 45202                COLUMBUS OH 43215
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002646P001-1409A-265              036115P001-1409A-265                007737P001-1409A-265              030222P001-1409A-265
ALISA M WRIGHT                    ALISA M WRIGHT                      ALYSSA T WRIGHT                   ANTHONETTE WRIGHT
1490 OLD STATE RTE 74             16454 NELSON PK DR                  12136 KNIGHTS KROSSING CIR        ADDRESS INTENTIONALLY OMITTED
BATAVIA OH 45103                  APT 306                             4-201 A
                                  CLERMONT FL 34714                   ORLANDO FL 32817




006546P001-1409A-265              009363P001-1409A-265                033215P001-1409A-265              033215S001-1409A-265
CASSANDRA R WRIGHT                CASSIDY L WRIGHT                    DOMINIC WRIGHT                    DOMINIC WRIGHT
7210 CONSTITUTION SQUARE HEIGH    10435 DAKOTA RIVER                  267 NECK ST UNIT B3               COLUCCI, COLUCCI, MARCUS AND FLAVIN
202                               CONVERSE TX 78109                   NORTH WEYMOUT MA 02191            RYAN T ALLEN
COLORADO SPRINGS CO 80915                                                                               400 TRADECENTER
                                                                                                        WOBURN MA 01801



007305P001-1409A-265              036552P001-1409A-265                000984P001-1409A-265              036563P001-1409A-265
FELICIA G WRIGHT                  IVORY WRIGHT                        IVORY N WRIGHT                    JENNIFER WRIGHT
1819 STONEHENGE AVE NW            32 WILKINSON AVE APT #2             32 WILKINSON AVE                  552 E WIGEON WAY
MASSILLON OH 44646                JERSEY CITY NJ 07305                APT#2                             SUISUN CITY CA 94585
                                                                      JERSEY CITY NJ 07305




000547P001-1409A-265              009152P001-1409A-265                003025P001-1409A-265              000936P002-1409A-265
LAMAR D WRIGHT                    MAUREEN WRIGHT                      NAYLA S WRIGHT                    NICHOLE A WRIGHT
10940 PROUTY RD                   210 SAMOSET ST                      16775 DANE CT W                   234 N PEARL AVE
2                                 PLYMOUTH MA 02360                   BROOKFIELD WI 53005               WATERTOWN NY 13601-3037
PAINESVILLE OH 44077




004534P001-1409A-265              005541P001-1409A-265                008377P001-1409A-265              005739P001-1409A-265
SAWYEN D WRIGHT                   SERINA WRIGHT                       SHAKYLA R WRIGHT                  TYLER E WRIGHT
1000 MORRIS AVE                   1512 IDAHO AVE                      4133 MARSTON AVE                  712 A WEST MADISON ST
UNION NJ 07083                    ORLANDO FL 32809                    SHREVEPORT LA 71109               HOUSTON MS 38851




033792P001-1409A-265              035195P001-1409A-265                033198P001-1409A-265              037205P001-1409A-265
WRIKE INC                         WRIKE INC                           WSSC                              MEGAN WU
DEANA ZIRBES                      70 NORTH 2ND ST                     14501 SWEITZER LN                 10730 RIESLING DR
70 NORTH 2ND ST                   SAN JOSE CA 95113                   LAUREL MD 20707                   SAN DIEGO CA 92131
SAN JOSE CA 95113




030156P001-1409A-265              008641P001-1409A-265                006672P001-1409A-265              035377P002-1409A-265
MEGAN S WU                        TIM WU                              CATHRYN C WUNROW                  WV- STATE TAX DEPT
ADDRESS INTENTIONALLY OMITTED     20 WINDING WAY                      1050 POST ST                      LORA L RUTLEDGE
                                  SAN FRANCISCO CA 94112              #48                               BANKRUPTCY UNIT
                                                                      SAN FRANCISCO CA 94109            PO BOX 766
                                                                                                        CHARLESTON WV 25323-0766
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005991P001-1409A-265            003467P001-1409A-265                             002555P001-1409A-265                  037265P001-1409A-265
KENNA WYATT                     ALEXIONNA A WYCHE                                RHONDA L WYMAN                        CASSIDY WYNANS
3332 RENWOOD BLVD               1856 MAHAFFEY CIR                                3370 STROSE PKWY                      CASSIDY WYNANS
204                             LAKELAND FL 33811                                1235                                  1607 MEADOWVIEW DR
LOUISVILLE KY 40214                                                              HENDERSON NV 89052                    CORINTH TX 76210




008517P001-1409A-265            005486P001-1409A-265                             032658P001-1409A-265                  000356P001-1409A-265
CASSIDY L WYNANS                EMONEI L WYNN                                    WYNRIGHT CORP                         WYOMING ATTORNEY GENERAL
1607 MEADOWVIEW DR              128 GILMORE CR                                   PO BOX 71383                          PETER K MICHAEL
CORINTH TX 76210                HASTINGS FL 32145                                CHICAGO IL 60694-1383                 200 W 24TH ST
                                                                                                                       STATE CAPITOL BLDG RM 123
                                                                                                                       CHEYENNE WY 82002



000251P001-1409A-265            000099P001-1409A-265                             000169P001-1409A-265                  000460P001-1409A-265
WYOMING DEPT OF EMPLOYMENT      WYOMING DEPT OF ENVIRONMENTAL QUALITY            WYOMING DEPT OF REVENUE               WYOMING TREASURER'S OFFICE
DIRECTOR                        DEQ HEADQUARTERS                                 122 WEST 25TH ST HERSCHLER BLDG       UNCLAIMED PROPERTY DIVISION
1510 EAST PERSHING BLVD         200 WEST 17TH ST                                 CHEYENNE WY 82002                     2515 WARREN AVE
CHEYENNE WY 82002               CHEYENNE WY 82002                                                                      STE 502
                                                                                                                       CHEYENNE WY 82002



000882P001-1409A-265            002533P001-1409A-265                             033764P001-1409A-265                  033199P001-1409A-265
REBECCA H WYSOCKI               JORDYN A WYSS                                    XAD INC                               XCEL ENERGY
419 W MARTIN LN                 2800 62ND ST                                     ONE WORLD TRADE CENTER                NORTHERN STATES POWER
MILWAUKEE WI 53207              DES MOINES IA 50322                              60TH FLOOR                            PO BOX 9477
                                                                                 NEW YORK NY 10007                     MINNEAPOLIS MN 55484




033199S001-1409A-265            033200P001-1409A-265                             032659P001-1409A-265                  033494P001-1409A-265
XCEL ENERGY                     XCEL ENERGY                                      XCEPTANCE SOFTWARE TECHNOLOGIES INC   XEROX CORP
414 NICOLLET MALL               PUBLIC SVC CO OF COLORADO                        SARA YOUNG                            BUCK CONSULTANTS LLC
MINNEAPOLIS MN 55401            PO BOX 9477                                      ONE BROADWAY 14TH FL                  PO BOX 202617
                                MINNEAPOLIS MN 55484                             CAMBRIDGE MA 02142                    DALLAS TX 75320-2617




030844P001-1409A-265            007426P001-1409A-265                             001216P001-1409A-265                  003106P001-1409A-265
XIAMEN GRIT AND ZEST APPAREL    GAONOU XIONG                                     JULIE XIONG                           NANNY XIONG
GINA CHEN                       2241 FREMONT AVE E                               1601 LEONE AVE                        1168 REBER ST
RM 6B NO3 JIANYE RD             SAINT PAUL MN 55119                              SAINT PAUL MN 55106                   GREEN BAY WI 54302
SIMING DISTRICT XIAMEN
FUJIAN 361012 CN
CHINA


008153P001-1409A-265            003851P001-1409A-265                             033765P001-1409A-265                  030789P001-1409A-265
SUSAN XIONG                     YANG YOUA XIONG                                  XSTORE                                XTRA LEASE LLC
2075 S HAYSTON AVE              226 MAPLE ST                                     ORACLE CORP                           PO BOX 99262
APT113                          SAINT PAUL MN 55106                              500 ORACLE PKWY                       CHICAGO IL 60693-9262
FRESNO CA 93702                                                                  REDWOOD SHORES CA 94065
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032660P001-1409A-265      009129P001-1409A-265                  036131P001-1409A-265            036131S001-1409A-265
XYZ GRACPHICS, INC        SANDRA YACOUB                         YACSIRA PLAZA VALENTIN          YACSIRA PLAZA VALENTIN
KRISSA SITTON             4317 LIN-NAN LN                       URB LAS VEGAS                   REYNALDO SANTIAGO GONZALEZ
190 LOMBARD ST            NORTON SHORES MI 49441                F-3                             LYDIA SAMANTHA CARMONA TORRES
SAN FRANCISCO CA 94111                                          FLORIDA PR 00650                DEPARTAMENTO DEL TRABAJO Y RECURSOS HUMANOS
                                                                                                PO BOX 71592
                                                                                                SAN JUAN PR 00936-8692


008561P001-1409A-265      003190P001-1409A-265                  001185P001-1409A-265            033486P001-1409A-265
ABIGAIL YAFFE             AMANDA R YAGER                        BRIANNA K YAHIRO                YAHOO HOTJOBS!
4 WESTRIDGE PL            1122 REYNOLDS AVE                     9579 OBSERVER ST                YAHOO HOT JOBS
SEVEN VALLEYS PA 17360    TAYLOR PA 18517                       LAS VEGAS NV 89123-6274         PO BOX 0506
                                                                                                CAROL STREAM IL 60132-0506




032033P001-1409A-265      005125P001-1409A-265                  036116P001-1409A-265            005876P001-1409A-265
FATIMA YAHYA              LAURA A YAMADA                        SOPHIA YAN                      FRANCESCA YANDELL
9834 WESTMINSTER DR       225 CHRISTOPHER MICHAEL LN            14 1-2 BADGER ST                1047 COLDWELL AVE
HUMBLE TX 77338           TRACY CA 95377                        NASHUA NH 03060                 2
                                                                                                MODESTO CA 95350




005876S001-1409A-265      001319P001-1409A-265                  005529P001-1409A-265            001411P001-1409A-265
FRANCESCA YANDELL         ARMANDO YANEZ                         ELIZABETH YANEZ                 ALEXANDRIA B YANG
918 SYCAMORE AVE          18384 DAMIANA LN                      5930 LIVE OAK ST                22040 HIGHWAY 45
MODESTO CA 95350          SAN BERNARDINO CA 92407               BELL GARDENS CA 90201           FAYETTEVILLE AR 72703-9499




006709P001-1409A-265      001553P001-1409A-265                  007414P001-1409A-265            007902P001-1409A-265
ANITA YANG                GAODEE YANG                           GAOHLINTSA YANG                 GAUJOUA YANG
40 CAMPUS VIEW RD         11240 KINGSBOROUGH TRL                17 LINDER CT                    6472 N 53RD ST
APT 1                     COTTAGE GROVE MN 55016                SAINT PAUL MN 55106             MILWAUKEE WI 53223
MANKATO MN 56001




009495P001-1409A-265      005781P001-1409A-265                  003261P001-1409A-265            006689P001-1409A-265
JENNA N YANG              MAI NENG YANG                         PAHOUA K YANG                   STEPHANIE YANG
6938 ROUNDTREE ST         1598 MARYLAND AVE E                   151 NORTH VIEW AVE              1718 E 27TH ST
SHAWNEE KS 66226          APT B                                 CRANSTON RI 02920               DES MOINES IA 50317
                          SAINT PAUL MN 55106




002596P002-1409A-265      001973P001-1409A-265                  005013P001-1409A-265            006674P001-1409A-265
XAI K YANG                YER YANG                              DEZAREE J YARBROUGH             NATASHA V YARUSHKINA
992 MINNEHAHA AVE E       3819 OAK TER                          1600 W LA JOLLA DR              512 HENRY ST
ST PAUL MN 55106          WHITE BEAR LAKE MN 55110              APT 1046                        OAKLAND CA 94607
                                                                TEMPE AZ 85282
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010468P001-1409A-265                    032721P001-1409A-265                       030624P001-1409A-265                   030845P001-1409A-265
YATB                                    YATB                                       STEPHANIE L YATES                      YB INTERNATIONAL
PO BOX 15627                            YORK ADAMS TAX BUREAU                      ADDRESS INTENTIONALLY OMITTED          35 2# BLDG XIANGSHAN RD
YORK PA 17405                           PO BOX 15627                                                                      YIWU
                                        YORK PA 17405                                                                     ZHEJIANG
                                                                                                                          CHINA



036343P001-1409A-265                    036906P001-1409A-265                       002006P001-1409A-265                   007918P001-1409A-265
YB INTERNATIONAL                        YB INTERNATIONAL CO LTD                    MICHELLE N YBARRA                      SOLANA G YBARRA
3FL 2# BUILDING NO 1006 XIANGSHAN RD    BROWN AND JOSEPH CO DON LEVITON            145 STONY KNOLL RD                     119 TOWER RD
YIWU CITY                               PO BOX 59838                               EL CAJON CA 92019-2024                 GREENUP KY 41144
ZHEJIANG PROVINCE 322000                SCHAUMBURG IL 60159
CHINA



009371P001-1409A-265                    006841P001-1409A-265                       034148P001-1409A-265                   036804P001-1409A-265
LUCY YE                                 KABIKA C YEBULA                            TOSHIKI CHUN YEE SHEK                  TOSHIKO CHUN YEE SHEK
1525 AMHERST MANOR DR                   6213 SULLINS RD                            1435 N FAIRFAX AVE                     1435 N FAIRFAX AVE #21
211                                     CHARLOTTE NC 28214                         #21                                    LOS ANGELES CA 90046
BUFFALO NY 14221                                                                   LOS ANGELES CA 90046




008304P001-1409A-265                    030249P001-1409A-265                       005942P001-1409A-265                   001115P001-1409A-265
ALYSSA K YEE                            BONNIE YEE                                 CHRISTOPHER YEE                        CHRISTINE YELLOVICH
8887 CHANDLER DR UNIT B                 ADDRESS INTENTIONALLY OMITTED              3241 SPINNING ROD WAY                  2 TIMBERLINE RD
UNIT B                                                                             SACRAMENTO CA 95833                    BAYVILLE NJ 08721
SURFSIDE BEACH SC 29575




036672P001-1409A-265                    033811P001-1409A-265                       003089P001-1409A-265                   036521P001-1409A-265
NATALIE HSIAO FANG YEN                  ALEXANDRE YENNI                            ELLA K YEOMAN                          GEAN REY YIP
3200 CHESTNUT ST APT 5008C              86 BARRY LN                                1735 CARLTON AVE                       3726 STARR KING CIR
PHILADELPHIA PA 19104-3481              ATHERTON CA 94027                          MODESTO CA 95350                       PALO ALTO CA 94306




001658P001-1409A-265                    037176P001-1409A-265                       001406P001-1409A-265                   034337P001-1409A-265
SHANNON YOCKEL                          YOLANDA                                    CHRISTY B YONGE                        YORK DESIGN HOUSE LLC
5 NORTH STINSON AVE                     YOLANDA                                    28381 LA HWY 16 LOT 14                 THE COOPER DESIGN SPACE
GLOUCESTER CITY NJ 08030-2510           TORRES CALLE SATUNINA L4                   DENHAM SPRINGS LA 70726                LIZ CASELLA LLC
                                        PARQUE ECUESTRE                                                                   860 S LOS ANGELES ST 708
                                        CAROLINA PR 00987                                                                 LOS ANGELES CA 90014



035279P001-1409A-265                    031696P001-1409A-265                       034193P002-1409A-265                   034193S001-1409A-265
YORK GALLERIA                           YORK GALLERIA LIMITED PARTNERS             YORK GALLERIA LIMITED PARTNERSHIP      YORK GALLERIA LIMITED PARTNERSHIP
2899 WHITEFORD RD STE 274               2030 HAMILTON PL                           BY CBL AND ASSOCIATES MANAGEMENT INC   BY CBL AND ASSOCIATES MANAGEMENT INC
YORK PA 17402                           STE 500                                    GARY RODDY                             CALEB HOLZAEPFEL
                                        CHATTANOOGA TN 37421-6000                  2030 HAMILTON PL BKVD STE 500          736 GEORGIA AVE STE 300
                                                                                   CHATTANOOGA TN 37421-6000              CHATTANOOGA TN 37402
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004672P001-1409A-265             030303P002-1409A-265                     004444P001-1409A-265                      035273P001-1409A-265
CHRISHALON D YORK                DAVID ANTHONY YORK                       DYNELL D YORK                             YORKTOWN SHOPPING CENTER
2015 STONE WOOD                  ADDRESS INTENTIONALLY OMITTED            421 CAMPBELL                              203 YORKTOWN SPACE # 162 BLDG C
HEARTLAND TX 75126                                                        KALAMAZOO MI 49006                        LOMBARD IL 60148




006614P001-1409A-265             033766P001-1409A-265                     032662P001-1409A-265                      005665P001-1409A-265
SONIA A YORLANG                  YOTTAA INC                               YOU LUCKY DOG                             ALEXIS YOUNG
1515 W CASINO RD                 100 5TH AVE                              CYBERBASKET INC                           971 MILLCREEK PL
C7                               4TH FLOOR                                2926 MAIN ST                              SOUTHAVEN MS 38671
EVERETT WA 98204                 WALTHAM MA 02453                         SAN DIEGO CA 92113




006974P001-1409A-265             003168P001-1409A-265                     004644P001-1409A-265                      000585P001-1409A-265
ALIGA J YOUNG                    BRIEL A YOUNG                            BROOKE E YOUNG                            CARMEN S YOUNG
1720 WELLS BRANCH PKWY           176 PACIFIC AVE                          322 EISENHOWER DR                         824 MARTIN LUTHER KING JR BLV
7103                             CHAPIN SC 29036                          SAINT PETERS MO 63376                     RIVIERA BEACH FL 33404
AUSTIN TX 78728




003969P001-1409A-265             001337P001-1409A-265                     008241P001-1409A-265                      036117P001-1409A-265
DANIELLE YOUNG                   DOMINIQUE L YOUNG                        GABRIYAN A YOUNG                          GABRIYAN A YOUNG
4010 NORENE LN                   706 DUNN CIR                             9299 BIGGER ST                            850 HOOVER VLG DR
LOUISVILLE KY 40219              KILLEEN TX 76541                         MERRILLVILLE IN 46410                     A
                                                                                                                    INDIANAPOLIS IN 46260




007527P001-1409A-265             006398P001-1409A-265                     009207P001-1409A-265                      002149P001-1409A-265
JAYCIE YOUNG                     JORDAN T YOUNG                           KAITLYN V YOUNG                           KEYANDRA YOUNG
2017 BROOK RD                    10753 KEATHLEY DR                        4695 E BENNETT                            12512 OXFORD AVE
RICHMOND VA 23220                FRISCO TX 75035                          LAS VEGAS NV 98121                        1
                                                                                                                    HAWTHORNE CA 90250-4600




005584P001-1409A-265             003858P001-1409A-265                     005367P001-1409A-265                      007657P001-1409A-265
KYANI YOUNG                      LEIDY Y YOUNG                            MORGAN E YOUNG                            ZARIA I YOUNG
6378 BLUEBELL ST                 632 BLANDFORD ST                         808 VALERIE LN                            1412 SUNSET BLVD
EASTVALE CA 92880                ROCKVILLE MD 20850                       KNOXVILLE TN 37938                        DAYTONA BEACH FL 32117




030454P001-1409A-265             004645P001-1409A-265                     033349P001-1409A-265                      031152P001-1409A-265
KIMBERLY YOUNKER                 MARINA YOUSSEF                           YOUTH TRENDS INC                          YS INDUSTRIES INC
ADDRESS INTENTIONALLY OMITTED    12043 ALTA CARMEL CT                     YOUTH TRENDS MARKETING SVC AND RESEARCH   JACOB
                                 UNIT 124                                 29 CEDAR DR                               857 S SAN PEDRO 308
                                 SAN DIEGO CA 92128                       ALLENDALE NJ 07401                        LOS ANGELES CA 90014
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037739P002-1409A-265              031697P001-1409A-265                036807P001-1409A-265              006306P001-1409A-265
YTC MALL OWNER LLC                YTC MALL OWNER, LLC                 TRACU YU                          BRITTANY M YUHAS
BALLARD SPAHR LLP                 KRE YTC VENTURE LLC                 6919 S KOMENSKY AVE               3214 CALUMET DR
DUSTIN P BRANCH                   9 WEST 57TH ST                      CHICAGO IL 60629                  RALEIGH NC 27610
2029 CENTURY PARK EAST STE 800    STE 4200
LOS ANGELES CA 90067-2909         NEW YORK NY 10019



032663P001-1409A-265              032664P001-1409A-265                010588P001-1409A-265              006161P001-1409A-265
YUNKER INDUSTRIES, INC            YVETTE WARD                         TONY YZAGUIRRE JR                 KAILA N ZAIDINSKI
310 O'CONNOR DR                   1207 MIRAMAR ST                     TAX ASSESSOR-COLLECTOR            113 WANTAGH AVE
PO BOX 917                        #111                                PO BOX 952                        LEVITTOWN NY 11756
ELKHORN WI 53121                  LOS ANGELES CA 90026                BROWNSVILLE TX 78522-0952




030502P002-1409A-265              001342P001-1409A-265                004999P001-1409A-265              003608P001-1409A-265
MARIAH ZAINO                      MARIAH J ZAINO                      SANJA A ZAINULABDIN               TAMARA ZALLEW
ADDRESS INTENTIONALLY OMITTED     75 HARLEY DR                        8343 KARLOV AVE                   3297 SWEETWATER SPRINGS BLVD
                                  APT 02                              SKOKIE IL 60076                   APT 2
                                  WORCESTER MA 01606                                                    SPRING VALLEY CA 91978




008938P001-1409A-265              002688P001-1409A-265                004147P001-1409A-265              008433P001-1409A-265
STEPHANIE A ZAMBRANO              VERONICA ZAMBRANO                   ALICIA ZAMORA                     ASHLEY ZAMORA
4866 W TENNESSEE AVE              748 OTTAWA AVE                      19968 E 41ST AVE                  609 TAYLOR ST
DENVER CO 80219                   SAINT PAUL MN 55107                 DENVER CO 80249                   BAKERFIELD CA 93309




007287P001-1409A-265              006499P001-1409A-265                006297P001-1409A-265              004603P001-1409A-265
GYPSY A ZAMORA                    JUANITA ZAMORA                      MADISON M ZAMORA                  MARIAH N ZAMORA
11429 MONTERREY DR                1400 BRETHOUR CT                    16554 162ND LN                    2837 15TH AVE CT
SILVER SPRING MD 20902            15                                  SURPRISE AZ 85374                 GREELEY CO 80631
                                  STERLING VA 20164




005836P001-1409A-265              000463P001-1409A-265                001281P001-1409A-265              007052P001-1409A-265
ARIANA ZAPATA                     JOHANA L ZAPATA                     NICOLE ZAPPACOSTA                 CHRISTY ZARAGOZA
31117 VIA GILBERTO                173 HILLCREST DR                    4029 ADELAIDE AVE                 14622 GRAMERCY PL
TEMECULA CA 92592                 DALY CITY CA 94015                  NORTH PORT FL 34288-8823          GARDENA CA 90249




001730P001-1409A-265              007602P001-1409A-265                005129P001-1409A-265              009148P001-1409A-265
TIANNA L ZARAGOZA                 VANESSA ZARAGOZA                    VICTORIA M ZARAGOZA               LHEANNA ZARRAGA
2028 VIA ALEXANDRA                200 ROCKWELL RD                     11312 OAKWOOD DR                  1233 KNOX AVE
2028 VIA ALEXA                    JACKSON TN 38305                    FONTANA CA 92337                  SAN JOSE CA 95122
ESCONDIDO CA 92026
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001504P001-1409A-265             008581P001-1409A-265                006085P001-1409A-265              036118P001-1409A-265
VIRIDIANA ZAVALA LOPEZ           ANDREA ZAVALA                       GRABIELA C ZAVALA                 LOPEZ VIRIDIANA ZAVALA
1133 E G ST                      11 W CENTRAL AVE                    46877 BACKWATER DR                1133 E G ST
ONTARIO CA 91764-3956            LOMBARD IL 60148                    STERLING VA 20164                 ONTARIO CA 91764-3956




001515P001-1409A-265             008454P001-1409A-265                006788P001-1409A-265              008519P001-1409A-265
ROCIO ZAVALA                     CHRISTAL R ZAVALASANCHEZ            INAARA ZAVERI                     MICHELE ZAZUETA
2707 W RIDGELAND AVE             8004 LA RIVIERA DR                  5359 GRANITE ST                   4260 E 70TH AVE
WAUKEGAN IL 60085-2436           25                                  LOVES PARK IL 61111               COMMERCE CITY CO 80022
                                 SACRAMENTO CA 95826




001402P001-1409A-265             000699P001-1409A-265                032665P001-1409A-265              009856P001-1409A-265
KATIE ZDUNEK                     ALYSSA J ZEE                        ZEENA FREEMAN                     GARY D ZEIGLER
529 CHESTNUT ST                  39 TEDDINGTON WAY                   1130 COLE ST                      STARK COUNTY TREASURER
APT 216                          MOUNT LAUREL NJ 08054               SAN FRANCISCO CA 94117            110 CENTRAL PLZ SOUTH #250
BOWLING GREEN KY 42101                                                                                 CANTON OH 44702-1410




030286P001-1409A-265             004863P001-1409A-265                004822P001-1409A-265              036634P001-1409A-265
CINDI ZELANIS                    JAZMIN Y ZELAYA                     KIMBERLY A ZELAYA                 MARESA M ZELAYA
ADDRESS INTENTIONALLY OMITTED    2621 GRAND AVE                      4618 INDIAN RUN                   8010 SW 10 TER
                                 HUNTINGTON PARK CA 90255            FLATWOODS KY 41139                MIAMI FL 33144




002551P001-1409A-265             008542P001-1409A-265                009463P003-1409A-265              007674P001-1409A-265
ALLYSSA ZELLNER                  MARJAE K ZENO                       VANESSA ZEPEDA                    JAIMEY M ZEPF
2045 HILLVIEW DR                 738 BRITTANY ANN LN                 10257 LAKERIDGE SQ CT APT L       18 EASTVIEW RD
GREEN BAY WI 54302               STOCKTON CA 95207                   ASHLAND VA 23005-8158             HOPKINTON MA 01748




005164P001-1409A-265             005137P001-1409A-265                003346P001-1409A-265              004766P001-1409A-265
ALVARO J ZERMENO                 JENIFER D ZERMENO                   GABRIELLE C ZERNICH               YU ZHANG
290 MILLER RD                    12121 ADMIRALTY WAY L201            719 THORN ST                      3478 18TH ST APT 5
HOLLISTER CA 95023               EVERETT WA 98204                    SEWICKLEY PA 15143                SAN FRANCISCO CA 94110




005525P001-1409A-265             001231P001-1409A-265                030846P001-1409A-265              036344P001-1409A-265
KEVIN ZHAO                       ROXANE ZHAO                         ZHENGPENG TRADE CO LTD            ZHENGPENG TRADE CO LTD
41 ACORN ST                      661 39TH AVE                        SUNNY                             100 GUANGHUA STREET 3 ROAD YANGMING DISTRICT
MALDEN MA 02148                  SAN FRANCISCO CA 94121              RM 502 BLDG 2 HETONG JIN YUAN     MUDANJIANG
                                                                     QN FEN RD                         HEILONGJIANG 157000
                                                                     WENZHOU                           CHINA
                                                                     CHINA
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007484P001-1409A-265             005916P001-1409A-265                  036119P001-1409A-265            030340P001-1409A-265
LENAWADIA J ZIADA                KEELY R ZIMMER                        KEELY R ZIMMER                  EVELYN ZIMMERMAN
8736 S 49TH CT                   10491 LOVERS LN                       921 IRONWOOD CIR                ADDRESS INTENTIONALLY OMITTED
OAK LAWN IL 60453                GRAND RAPIDS MI 49534                 GRAND RAPIDS MI 49534




004746P001-1409A-265             003570P001-1409A-265                  036591P001-1409A-265            031153P001-1409A-265
KELSEY M ZIMMERMAN               DEANNA R ZIRBES                       KENDALL ZOLNIER                 ZOMI GEMS
524 MONTGOMERY AVE               1137 BUSH ST                          7913 SECOND ST                  1037 AMHERST DR
PENNSBURG PA 18073               APT 6                                 MASURY OH 45813                 BURBANK CA 91504
                                 SAN FRANCISCO CA 94109




035372P002-1409A-265             034415P001-1409A-265                  035196P001-1409A-265            032666P001-1409A-265
ZOMI GEMS                        ZONA ROSA DEVELOPMENT, LLC            ZOOM VIDEO COMMUNICATIONS INC   ZOOM VIDEO COMMUNICATIONS, INC
EMINE AGOUPI                     STEINER PROPERTIES LLC                55 ALMADEN BLVD                 55 ALMADEN BLVD
1037 AMHERST DR                  PO BOX 634630                         SAN JOSE CA 95113               STE 600
BURBANK CA 91504                 CINCINNATI OH 45263-4630                                              SAN JOSE CA 95113




001750P001-1409A-265             036120P001-1409A-265                  030615P001-1409A-265            002782P001-1409A-265
FRANCHESKA I ZORRILLA            FRANCHESKA I ZORRILLA                 SIMONE K ZORZI                  LILLIANA M ZUNIGA
40 RUSSO ST                      66 WESTFIELD ST                       ADDRESS INTENTIONALLY OMITTED   436 OAKWOOD DR
APT 3                            APT 12                                                                ALAMO TX 78516
PROVIDENCE RI 02904-1271         PROVIDENCE RI 02907




010611P001-1409A-265             037418P002-1409A-265                  005735P001-1409A-265
ZURICH AMERICAN INS CO           ALEXANDRIA ZWARTS                     ALEXANDRIA C ZWARTS
1299 ZURICH WAY                  3725 CONTERBURY LN                    3725 CANTERBURY LN
SCHAUMBURG IL 60196-1056         BELLINGHAM WA 98225                   APT #48
                                                                       BELLINGHAM WA 98225




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